               Case 19-10210-LSS               Doc 456       Filed 04/03/19      Page 1 of 2900




                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

                                                              Chapter 11
In re
                                                              Case No.: 19-10210 (LSS)
                                           1
Charlotte Russe Holding, Inc., et al.,
                                                              (Jointly Administered)
                           Debtors.




                 GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

                                                  Introduction

       Charlotte Russe Holding, Inc., Charlotte Russe Holdings Corporation, Charlotte Russe
Intermediate Corporation, Charlotte Russe Enterprise, Inc., Charlotte Russe, Inc., Charlotte
Russe Merchandising, Inc., and Charlotte Russe Administration, Inc. (collectively, the
“Debtors”)2 with the assistance of their advisors, have filed their respective Schedules of
Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the
“Statements,” and together with the Schedules, the “Schedules and Statements”) with the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”),
pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and
Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).
           These Global Notes, Methodology, and Specific Disclosures Regarding the
    Debtors’ Schedules of Assets and Liabilities and Statement of Financial Affairs (the
    “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral
    part of each Debtor’s Schedules and Statements. The Global Notes should be referred to,
    considered, and reviewed in connection with any review of the Schedules and Statements.
           The Schedules and Statements do not purport to represent financial statements
    prepared in accordance with Generally Accepted Accounting Principles in the United States
1
   The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
Charlotte Russe Holding Inc., (4325); Charlotte Russe Holdings Corporation (1045); Charlotte Russe Intermediate
Corporation (6345); Charlotte Russe Enterprise, Inc. (2527); Charlotte Russe, Inc. (0505); Charlotte Russe
Merchandising, Inc. (9453); and Charlotte Russe Administration, Inc. (9456). The Debtors’ headquarters are located
at 5910 Pacific Center Boulevard, Suite 120, San Diego, CA 92121.
2
 A detailed description of the Debtors and their businesses, and the facts and circumstances surrounding
the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Brian M. Cashman,
Chief Restructuring Officer of Charlotte Russe Holding, Inc., in Support of Debtors’ Chapter 11 Petitions
and First Day Motions, filed contemporaneously with the Debtors’ voluntary petitions for relief filed
under chapter 11 of title 11 of the United States Code on February 3, 2019.


                                                         1
201518802 v1
               Case 19-10210-LSS      Doc 456        Filed 04/03/19   Page 2 of 2900




 (“GAAP”), nor are they intended to be fully reconciled with the financial statements of each
 Debtor (whether publically filed or otherwise). Additionally, the Schedules and Statements
 contain unaudited information that is subject to further review and potential adjustment,
 and reflect the Debtors’ reasonable efforts to report the assets and liabilities of each Debtor on
 an unconsolidated basis. Moreover, given, among other things, the uncertainty surrounding the
 collection and ownership of certain assets and the valuation and nature of certain liabilities, to
 the extent that a Debtor shows more assets than liabilities, this is not an admission that the
 Debtor was solvent as of the Petition Date (as defined herein) or at any time before the Petition
 Date. Likewise, to the extent a Debtor shows more liabilities than assets, this is not an
 admission that the Debtor was insolvent at the Petition Date or any time before the Petition
 Date.
        In preparing the Schedules and Statements, the Debtors relied upon information
 derived from their books and records that was available at the time of such preparation.
 Although the Debtors have made reasonable efforts to ensure the accuracy and completeness
 of such financial information, inadvertent errors or omissions, as well as the discovery of
 conflicting, revised, or subsequent information, may cause a material change to the Schedules
 and Statements. Accordingly, the Debtors reserve all of their rights to amend, supplement, or
 otherwise modify the Schedules and Statements as is necessary and appropriate.
 Notwithstanding the foregoing, the Debtors shall not be required to update the Schedules and
 Statements.
         The Debtors and their officers, employees, agents, attorneys, and financial advisors do
 not guarantee or warrant the accuracy or completeness of the data that is provided in the
 Schedules and Statements and shall not be liable for any loss or injury arising out of or
 caused in whole or in part by the acts, omissions, whether negligent or otherwise, in
 procuring, compiling, collecting, interpreting, reporting, communicating or delivering the
 information contained in the Schedules and Statements. Except as expressly required by the
 Bankruptcy Code, the Debtors and their officers, employees, agents, attorneys and financial
 advisors expressly do not undertake any obligation to update, modify, revise, or re-categorize
 the information provided in the Schedules and Statements or to notify any third party should
 the information be updated, modified, revised, or re-categorized. The Debtors, on behalf of
 themselves, their officers, employees, agents and advisors disclaim any liability to any third
 party arising out of or related to the information contained in the Schedules and Statements
 and reserve all rights with respect thereto.
        Mr. Brian M. Cashman, in his capacity as Chief Restructuring Officer of each of the
 Debtor entities, has signed each of the Schedules and Statements. In reviewing and signing
 the Schedules and Statements, Mr. Cashman has relied upon the efforts, statements and
 representations of various personnel employed by the Debtors. Mr. Cashman has not (and
 could not have) personally verified the accuracy of each such statement and representation,
 contained in the Schedules and Statements, including, for example, statements and
 representations concerning amounts owed to creditors.
        The Global Notes are in addition to any specific notes contained in each Debtor’s
 Schedules and Statements. The fact that the Debtors have prepared Global Notes or specific
 notes with respect to any information in the Schedules and Statements and not to other
 information in the Schedules and Statements should not be interpreted as a decision by the


                                                 2
201518802 v1
               Case 19-10210-LSS     Doc 456        Filed 04/03/19   Page 3 of 2900




 Debtors to exclude the applicability of such Global Notes or specific notes to any of the
 Debtors’ remaining Schedules and Statements, as appropriate.
        Disclosure of information in one or more Schedules, one or more Statements, or one or
 more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall
 be deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

                          Global Notes and Overview of Methodology
 1. Global Notes Control. In the event that the Schedules and Statements differ from the
    Global Notes, the Global Notes shall control.
 2. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
    and accurate Schedules and Statements; however, inadvertent errors or omissions may
    exist. The Debtors reserve all rights to amend or supplement the Schedules and Statements
    from time to time, in all respects, as may be necessary or appropriate, including,
    without limitation, the right to amend the Schedules and Statements with respect to
    a n y claim (“Claim”) description, designation, or Debtor against which the Claim is
    asserted; dispute or otherwise assert offsets or defenses to any Claim reflected in the
    Schedules and Statements as to amount, liability, priority, status, or classification;
    subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or
    object to the extent, validity, enforceability, priority, or avoidability of any Claim. Any
    failure to designate a Claim in the Schedules and Statements as “disputed,” “contingent,”
    or “unliquidated” does not constitute an admission by the Debtors that such Claim or
    amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not
    constitute an admission of liability by the Debtor against which the Claim is listed or
    against any of the Debtors. Furthermore, nothing contained in the Schedules and
    Statements shall constitute a waiver of rights with respect to the Debtors’ chapter 11
    cases, including, without limitation, issues involving Claims, substantive consolidation,
    defenses, equitable subordination, recharacterization, and/or causes of action arising
    under the provisions of chapter 5 of the Bankruptcy Code, and any other relevant non-
    bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
    rights contained elsewhere in the Global Notes does not limit in any respect the general
    reservation of rights contained in this paragraph.
      The listing in the Schedules or Statements (including, without limitation, Schedule
      A/B, Schedule E/F or Statement 4) by the Debtors of any obligation between a Debtor and
      another Debtor is a statement of what appears in a particular Debtor’s books and records
      and does not reflect any admission or conclusion of the Debtors regarding whether such
      amount would be allowed as a Claim or how such obligations may be classified and/or
      characterized in a plan of reorganization or by the Bankruptcy Court. The Debtors reserve
      all rights with respect to such obligations.
 3. Description of Cases and “as of” Information Date. On February 3, 2019 (the
    “Petition Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the
    Bankruptcy Code. The Debtors are operating their businesses and managing their
    properties as debtors in possession pursuant to sections 1107(a) and 1108 of the
    Bankruptcy Code. On F e b r u a r y 5 , 2 0 1 9 the Bankruptcy Court entered an order
    directing procedural consolidation and joint administration of the Debtors’ chapter 11

                                                3
201518802 v1
               Case 19-10210-LSS      Doc 456       Filed 04/03/19   Page 4 of 2900




      cases [Docket No. 75].
      The asset information provided in the Schedules and Statements, except as
      otherwise noted, represents the asset data of the Debtors as of February 3, 2019,
      and the liability information provided herein, except as otherwise noted,
      represents the liability data of the Debtors as of February 3, 2019.
 4. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
    an inefficient use of estate assets for the Debtors to obtain current market valuations for
    all of their assets. Accordingly, unless otherwise indicated, the Debtors’ Schedules and
    Statements reflect net book values as of February 3, 2019, in the Debtors’ books and
    records. Additionally, because the book values of certain assets, may materially differ
    from their fair market values, they may be listed as undetermined amounts as of the
    Petition Date. Furthermore, as applicable, assets that have fully depreciated or were
    expensed for accounting purposes may not appear in the Schedules and Statements if they
    have no net book value.
 5. Recharacterization.       Notwithstanding the Debtors’ reasonable efforts to properly
    characterize, classify, categorize, or designate certain Claims, assets, executory
    contracts, unexpired leases, and other items reported in the Schedules and Statements, the
    Debtors may, nevertheless, have improperly characterized, classified, categorized,
    designated, or omitted certain items due to the complexity and size of the Debtors’
    businesses. Accordingly, the Debtors reserve all of their rights to recharacterize,
    reclassify, recategorize, redesignate, add, or delete items reported in the Schedules and
    Statements at a later time as is necessary or appropriate as additional information
    becomes available, including, without limitation, whether contracts or leases listed
    herein were deemed executory or unexpired as of the Petition Date and remain
    executory and unexpired postpetition.
 6. Real Property and Personal Property–Leased. In the ordinary course of their
    businesses, the Debtors leased real property and various articles of personal property,
    including, fixtures, and equipment, from certain third-party lessors. The Debtors have
    made reasonable efforts to list all such leases in the Schedules and Statements. The
    Debtors have made reasonable efforts to include lease obligations on Schedule D (secured
    debt) to the extent applicable and to the extent the lessor filed a UCC-1. However, nothing
    in the Schedules or Statements is or shall be construed as an admission or
    determination as to the legal status of any lease (including whether to assume and
    assign or reject such lease or whether it is a true lease or a financing arrangement).
 7. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between
    the prepetition and post-petition periods based on the information and research
    conducted in connection with the preparation of the Schedules and Statements. The
    allocation of liabilities between the prepetition and post-petition periods may change as
    additional information becomes available and further research is conducted. Accordingly,
    the Debtors reserve all of their rights to amend, supplement or otherwise modify the
    Schedules and Statements as is necessary and appropriate.
      The Debtors have excluded certain categories of assets, tax accruals, and liabilities from
      the Schedules and Statements, including, without limitation, employee benefit


                                                4
201518802 v1
               Case 19-10210-LSS       Doc 456        Filed 04/03/19   Page 5 of 2900




      accruals, and deferred gains. In addition, certain immaterial assets and liabilities may
      have been excluded.
      The Debtors also have excluded rejection damage Claims of counterparties to executory
      contracts and unexpired leases that may be rejected. In addition, certain immaterial assets
      and liabilities may have been excluded.
      The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
      outstanding Claims on a post-petition basis. To the extent the Debtors pay any of the
      claims listed in the Schedules and Statements pursuant to any orders entered by the
      Bankruptcy Court, the Debtors reserve all rights to amend and supplement the Schedules
      and Statements and take other action, such as filing claims objections, as is necessary and
      appropriate to avoid overpayment or duplicate payment for such liabilities.
 8. Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
    “insiders” to include the following: (a) directors; (b) senior level officers; (c) equity
    holders holding in excess of 5% of the voting securities of the Debtor entities; (d)
    managing members; (e) Debtor affiliates; and (f) relatives of any of the foregoing (to
    the extent known by the Debtors).
      Person or entities listed as “insiders” have been included for informational purposes
      only and their inclusion shall not constitute an admission that those entities are insiders
      for purposes of section 101(31) of the Bankruptcy Code. The Debtors do not take any
      position with respect to: (a) such person’s influence over the control of the Debtors; (b) the
      management responsibilities or functions of such individual; (c) the decision-making or
      corporate authority of such individual; or (d) whether such individual could successfully
      argue that he or she is not an “insider” under applicable law, including the federal
      securities laws, or with respect to any theories of liability or for any other purpose.
 9. Intellectual Property Rights. The exclusion of any intellectual property shall not be
    construed as an admission that such intellectual property rights have been abandoned,
    terminated, assigned, expired by their terms, or otherwise transferred pursuant to a
    sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual
    property shall not be construed to be an admission that such intellectual property
    rights have not been abandoned, terminated, assigned, expired by their terms, or
    otherwise transferred pursuant to a sale, acquisition, or other transaction.
      In addition, although the Debtors have made diligent efforts to attribute intellectual
      property to the rightful Debtor entity, in certain instances, intellectual property owned by
      one Debtor may, in fact, be owned by another Debtor. Accordingly, the Debtors
      reserve all of their rights with respect to the legal status of any and all such intellectual
      property rights.
 10. Intercompany and Other Transactions. The Debtors record certain intercompany
     receivables and payables for tax purposes only. As these transfers are not reflected on the
     Debtors’ balance sheets and the claims net to zero on a consolidated basis, the Statements
     and Schedules may not reflect all intercompany activity.
 11. Executory Contracts and Unexpired Leases. Although the Debtors made diligent
     attempts to attribute executory contracts and unexpired leases to their rightful Debtors,
     in certain instances, the Debtors may have inadvertently failed to do so. Accordingly, the

                                                  5
201518802 v1
               Case 19-10210-LSS      Doc 456        Filed 04/03/19   Page 6 of 2900




      Debtors reserve all of their rights with respect to the named parties of any and all
      executory contracts, including the right to amend Schedule G.
      Moreover, other than real property leases reported in Schedule A/B 55, the Debtors have
      not necessarily set forth executory contracts and unexpired leases as assets in the
      Schedules and Statements, even though these contracts and leases may have some
      value to the Debtors’ estates. The Debtors’ executory contracts and unexpired leases
      have been set forth in Schedule G.
 12. Materialman’s/Mechanic’s Liens. The assets listed in the Schedules and Statements
     are presented without consideration of any materialman’s or mechanic’s liens.
 13. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b)
     Schedule E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d)
     Schedule G as “executory” or “unexpired,” does not constitute an admission by the
     Debtors of the legal rights of the Claimant, or a waiver of the Debtors’ rights to
     recharacterize or reclassify such Claims or contracts or leases or to exercise their rights to
     setoff against such Claims.
 14. Claims Description. Schedules D and E/F permit each Debtor to designate a Claim
     as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
     given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
     does not constitute an admission by that Debtor that such amount is not “disputed,”
     “contingent,” or “unliquidated,” or that such Claim is not subject to objection. The
     Debtors reserve all of their rights to dispute, or assert offsets or defenses to, any claim
     reflected on their respective Schedules and Statements on any grounds, including liability
     or classification. Additionally, the Debtors expressly reserve all of their rights to
     subsequently designate such claims as “disputed,” “contingent” or “unliquidated.”
     Moreover, listing a Claim does not constitute an admission of liability by the Debtors.
 15. Causes of Action. Despite their reasonable efforts to identify all known assets, the
     Debtors may not have listed all of their causes of action or potential causes of action
     against third-parties as assets in the Schedules and Statements, including, without
     limitation, causes of actions arising under the provisions of chapter 5 of the Bankruptcy
     Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers.
     The Debtors reserve all of their rights with respect to any cause of action (including
     avoidance actions), controversy, right of setoff, cross-Claim, counter-Claim, or
     recoupment and any Claim on contracts or for breaches of duties imposed by law or in
     equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
     damage, judgment, account, defense, power, privilege, license, and franchise of any kind
     or character whatsoever, known, unknown, fixed or contingent, matured or unmatured,
     suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured
     or unsecured, assertable directly or derivatively, whether arising before, on, or after
     the Petition Date, in contract or in tort, in law, or in equity, or pursuant to any other
     theory of law (collectively, “Causes of Action”) they may have, and neither these
     Global Notes nor the Schedules and Statements shall be deemed a waiver of any Claims or
     Causes of Action or in any way prejudice or impair the assertion of such Claims or Causes
     of Action.
 16. Summary of Significant Reporting Policies. The following is a summary of

                                                 6
201518802 v1
               Case 19-10210-LSS        Doc 456       Filed 04/03/19   Page 7 of 2900




      significant reporting policies:
                  a.     Undetermined Amounts. The description of an amount
                         as “unknown,” or “undetermined” is not intended to
                         reflect upon the materiality of such amount.

                 b.      Totals. All totals that are included in the Schedules
                         and Statements represent totals of all known amounts.
                         To the extent there are unknown or undetermined
                         amounts, the actual total may be different than the listed
                         total.
                  c.     Paid Claims. The Debtors have authority to pay certain
                         outstanding prepetition payables pursuant to various
                         Bankruptcy Court orders. To the extent the Debtors pay
                         any of the liabilities listed in the Schedules pursuant to
                         any orders entered by the Bankruptcy Court, the Debtors
                         reserve all of their rights to amend or supplement the
                         Schedules or take other action as is necessary and
                         appropriate to avoid over-payment of or duplicate
                         payments for any such liabilities.

                  d.     Liens. Property and equipment listed in the Schedules
                         and Statements are presented without consideration of
                         any liens that may attach (or have attached) to such
                         property and equipment.

                  e.     Currency. Unless otherwise indicated, all amounts are
                         reflected in U.S. dollars.

 17. Estimates and Assumptions.          To close the books and records of the Debtors as of the
     Petition Date and to prepare such information on a legal entity basis, the Debtors were
     required to make estimates, allocations, and assumptions that affect the reported amounts
     of assets, liabilities, revenue and expenses as of the Petition Date. The Debtors reserve all
     rights, but shall not be required, to amend the reported amounts of assets, revenue, and
     expenses to reflect changes in those estimates and assumptions.
 18. Credits and Adjustments. The claims of individual creditors for, among other things,
     goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
     and records and may not reflect credits, allowances, or other adjustments due from such
     creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
     allowances, and other adjustments, including the right to assert claims objections and/or
     setoffs with respect to the same.
 19. Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary
     course of business. Offsets in the ordinary course can result from various items,
     including, without limitation, intercompany transactions, pricing discrepancies, returns,
     refunds, warranties, debit memos, credits, and other disputes between the Debtors and
     their suppliers and/or customers. These offsets and other similar rights are consistent

                                                  7
201518802 v1
               Case 19-10210-LSS       Doc 456       Filed 04/03/19   Page 8 of 2900




      with the ordinary course of business in the Debtors’ industry and are not tracked
      separately. Therefore, although such offsets and other similar rights may have been
      accounted for when certain amounts were included in the Schedules, offsets are not
      independently accounted for, and as such, are or may be excluded from the Debtors’
      Schedules and Statements.
                   Specific Disclosures with Respect to the Debtors’ Schedules
 Schedule A/B. All values set forth in Schedule A/B reflect the book value of the Debtors’
 assets as of F e b r u a r y 3 , 2 0 1 9 , unless otherwise noted below. Other than real property
 leases reported on Schedule A/B 55, the Debtors have not included leases and contracts on
 Schedule A/B. Leases and contracts are listed on Schedule G.

          Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3
          as of F e b r u a r y 3 , 2 0 1 9 . Details with respect to the Debtors’ cash management
          system and bank accounts are provided in the Debtors’ Motion for Entry of Interim
          and Final Orders (I) Authorizing Continued Use of Cash Management System, (II)
          Authorizing Continued Use of Existing Business Forms, (III) Authorizing the
          Continuation of Intercompany Transactions, (IV) Granting Administrative Priority
          Status to Post-Petition Intercompany Transactions, (V) Authorizing Use of Prepetition
          Bank Accounts, Account Control Agreements, and Certain Payment Methods, and (VI)
          Temporarily Suspending the Requirements of 11 U.S.C. §345(B) [Docket No. 9] (the
          “Cash Management Motion”).
          Schedule A/B 7. The Bankruptcy Court, pursuant to the Interim Order (I) Approving
          The Debtors’ Proposed Adequate Assurance of Payment For Future Utility Services,
          (II) Prohibiting Utility Companies From Altering, Refusing, Or Discontinuing
          Services, (III) Approving The Debtors’ Proposed Procedures for Resolving Adequate
          Assurance Requests, and (IV) Granting Related Relief [Docket No. 101], has
          authorized the Debtors to provide adequate assurance of payment for postpetition
          utility services, including a deposit in the amount of $500,000.00. Such deposit is
          not listed on Schedule A/B 7, which was prepared as of the Petition Date.
          Schedule A/B 11. Accounts receivable do not include intercompany receivables.
          Schedule A/B 15. Ownership interests in subsidiaries have been listed in Schedules
          A/B 15 as an undetermined amount because the fair market value of such ownership
          is dependent on numerous variables and factors and likely differs significantly from
          their net book value.
          Schedule A/B 38-42 – Dollar amounts are presented net of accumulated depreciation
          and other adjustments.
          Schedule A/B 55. The Debtors do not own any real property. The Debtors have
          listed their real property leases in Schedule A/B 55, along with the value of any
          leasehold improvements.
          Schedules A/B 60-65. Intangibles and Intellectual Property listed in Schedules A/B
          60-65 are listed as an undetermined amount or at their net book value. The fair market
          value of such ownership is dependent on numerous variables and factors and may
          differ significantly from their net book value. The Debtors maintain databases into

                                                 8
201518802 v1
               Case 19-10210-LSS       Doc 456        Filed 04/03/19   Page 9 of 2900




          which they collect and retain personally identifiable information of customers
          including a customer database which contains customers name, address, phone
          number, e-mail address, gender, birthday, and online purchase history. The amounts
          listed with respect to the database are undetermined because the fair market value of
          such ownership cannot be determined. The Debtors maintain various licenses in
          connection with the conduct of their business such as business licenses in each of the
          jurisdictions in which they do business. These licenses are voluminous and have not
          been listed on Schedule A/B 62, as their value is undetermined. In addition, the
          Debtors maintain Intellectual Property Out-Licenses granting sell-off rights to vendors
          who have manufactured, produced or otherwise directed the production of apparel and
          shoes containing Purchased Intellectual Property under purchase orders that were
          cancelled, rejected otherwise terminated by the Debtors, permitting such certain of
          such vendors the limited right to sell off specific goods covered by such purchase
          orders without removing the branded tags, rivets, heat transfers, buttons, or emblems
          containing Purchased Intellectual Property. In addition, the Debtors are parties to
          Contracts that allow third parties to use or reference the name or logo of the Debtors,
          including relevant Purchased Intellectual Property, in referencing the commercial
          relationship of the Debtors under such Contracts, including, for example, advertising or
          signage in real properties in which the Debtors operate a Store.
          Schedule A/B 74 & 75. In the ordinary course of their businesses, the Debtors may
          have accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs,
          refunds, or warranty Claims. Additionally, certain of the Debtors may be a party to
          pending litigation in which the Debtors have asserted, or may assert, Claims as a
          plaintiff or counter-Claims as a defendant. Because such Claims are unknown to the
          Debtors and not quantifiable as of the Petition Date, they are not listed on Schedule
          A/B 74 or 75. The Debtors’ failure to list any contingent and/or unliquidated claim
          held by the Debtors in response to these questions is not an admission that such
          cause of action, claim, or right does not exist, and should not be construed as a waiver,
          release, relinquishment, or forfeiture of such cause of action, claim, or right.


 Schedule D. The Claims listed on Schedule D arose or were incurred on various
 dates; a determination of the date upon which each Claim arose or was incurred would
 be unduly burdensome and cost prohibitive. Accordingly, not all such dates are included. All
 Claims listed on Schedule D, however, appear to have been incurred before the Petition Date.
 With respect to the Claims listed on Schedule D, reference to the applicable loan agreements
 and related documents is necessary for a complete description of the collateral and the
 nature, extent, and priority of liens. Nothing in the Global Notes or the Schedules and
 Statements shall be deemed a modification or interpretation of the terms of such
 agreements. Except as specifically stated on Schedule D, real property lessors, utility
 companies, and other parties that may hold security deposits have not been listed on
 Schedule D. Nothing herein shall be construed as an admission by the Debtors of the legal
 rights of the Claimant or a waiver of the Debtors’ rights to recharacterize or reclassify such
 Claim or contract.



                                                  9
201518802 v1
                 Case 19-10210-LSS                     Doc 456           Filed 04/03/19              Page 10 of 2900




    Moreover, the Debtors have not included on Schedule D parties that may believe their Claims
    are secured through setoff rights, letters of credit, surety bonds, or inchoate statutory lien
    rights.
    Schedule E/F part 1. The Bankruptcy Court has authorized the Debtors, in their discretion,
    to pay certain liabilities that may be entitled to priority under the applicable provisions of the
    Bankruptcy Code. For example, on February 5, 2019, the Bankruptcy Court entered that
    certain: Final Order (I) Authorizing the Payment of Prepetition Sales, Use, and Franchise
    Taxes and Similar Taxes and Fees And (II) Authorizing Banks and Other Financial
    Institutions to Receive, Process, Honor, and Pay Checks Issued and Electronic Payment
    Requests Made Relating to the Foregoing [Docket No. 282] and Final Order Authorizing (I)
    Payment of Wages, Compensation and Employee Benefits and (II) Financial Institutions to
    Honor and Process Checks and Transfers Related to Such Obligations [Docket No. 283].
    The Debtors’ analysis of potential priority claims is ongoing and may take significant time to
    complete.
    The liabilities listed on the Schedules do not reflect any analysis of Claims under section
    503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
    dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
    Bankruptcy Code or the characterization of the structure of any such transaction or any
    document or instrument related to any creditor’s Claim.
    Schedule E/F part 2.The Debtors have used reasonable efforts to report all general
    unsecured Claims against the Debtors on Schedule E/F part 2, based upon the Debtors’
    books and records as of the Petition Date.
    Determining the date upon which each Claim on Schedule E/F part 2 was incurred or
    arose would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not
    list a date for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on
    Schedule E/F part 2 may have been aggregated by unique creditor name and remit to address
    and may include several dates of incurrence for the aggregate balance listed.
    Schedule E/F part 2 contains information regarding pending litigation involving the Debtors.
    The dollar amount of potential Claims associated with any such pending litigation is listed as
    “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
    and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
    subordination pursuant to section 510 of the Bankruptcy Code. In addition, as of the Petition
    Date, the Debtors’ books and records reflected an aggregate net liability in respect of gift cards
    and store credits. The Debtors estimate that as of the Petition Date, approximately
    $3,142,190.003 in issued gift cards is outstanding.4 Because the Debtors do not know the
    identities of holders of such cards and credits, these are not listed on Schedule E/F, part 2.
    Schedule E/F part 2 also includes potential or threatened litigation claims. Any information
    contained in Schedule E/F part 2 with respect to such potential litigation shall not be a
    binding representation of the Debtors’ liabilities with respect to any of the potential suits and

3
  The gross amount of Gift Cards outstanding is $16,814,489. However, the amount that is actually reflected on the Debtors’ books and records is
$3,142,190.00 as a result of annual breakage which reflects the value of all Gift Cards issued over thirteen (13) months and the estimate of the
percentage of Gift Cards that were issued within the thirteen (13) months prior that will most likely not be redeemed within thirteen (13) months.
The Debtors do not maintain information regarding the individual holders of unredeemed Gift Cards.
4
  This amount includes outstanding Charlotte Russe Merchandise Credit Card balances.


                                                                       10
201518802 v1
               Case 19-10210-LSS     Doc 456     Filed 04/03/19     Page 11 of 2900




 proceedings included therein. The Debtors expressly incorporate by reference into Schedule
 E/F part 2 all parties to pending litigation listed in the Debtors’ Statements 7, as contingent,
 unliquidated, and disputed claims, to the extent not already listed on Schedule E/F part 2.
 Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
 contracts and unexpired leases. Such prepetition amounts, however, may be paid in
 connection with the assumption, or assumption and assignment, of executory contracts or
 unexpired leases. Additionally, Schedule E/F part 2 does not include potential rejection
 damage Claims, if any, of the counterparties to executory contracts and unexpired leases that
 may be rejected.
 Schedule G. Although reasonable efforts have been made to ensure the accuracy of each
 Debtor’s Schedule G, inadvertent errors may have occurred. Certain information, such as the
 contact information of the counter-party, may not be included where such information could
 not be obtained using the Debtors’ reasonable efforts. Listing or omitting a contract or
 agreement on Schedule G does not constitute an admission that such contract or agreement is
 or is not an executory contract or unexpired lease, was in effect on the Petition Date, or is
 valid or enforceable. Certain of the leases and contracts listed on Schedule G may contain
 certain renewal options, guarantees of payment, indemnifications, options to purchase, rights
 of first refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations
 are not set forth separately on Schedule G.
 Certain confidentiality and non-disclosure agreements may not be listed on Schedule G.

 Certain of the contracts and agreements listed on Schedule G may consist of several
 parts, including, purchase orders, amendments, restatements, waivers, letters, and other
 documents that may not be listed on Schedule G or that may be listed as a single entry. In
 some cases, the same supplier or provider appears multiple times on Schedule G. This
 multiple listing is intended to reflect distinct agreements between the applicable Debtor and
 such supplier or provider. The Debtors expressly reserve their rights to challenge whether
 such related materials constitute an executory contract, a single contract or agreement, or
 multiple, severable or separate contracts.
 The contracts, agreements, and leases listed on Schedule G may have expired or may have
 been modified, amended, or supplemented from time to time by various amendments,
 restatements, waivers, estoppel certificates, letters, memoranda and other documents,
 instruments, and agreements that may not be listed therein despite the Debtors’ use of
 reasonable efforts to identify such documents. Further, unless otherwise specified on
 Schedule G, each executory contract or unexpired lease listed thereon shall include all
 exhibits, schedules, riders, modifications, declarations, amendments, supplements,
 attachments, restatements, or other agreements made directly or indirectly by any agreement,
 instrument, or other document that in any manner affects such executory contract or
 unexpired lease, without respect to whether such agreement, instrument, or other document is
 listed thereon.
 In addition, the Debtors may have entered into various other types of agreements in the
 ordinary course of their businesses, such as subordination, nondisturbance, and attornment
 agreements, supplemental agreements, settlement agreements, amendments/letter agreements,
 title agreements and confidentiality agreements. Such documents may not be set forth on

                                               11
201518802 v1
               Case 19-10210-LSS     Doc 456     Filed 04/03/19     Page 12 of 2900




 Schedule G. Certain of the executory agreements may not have been memorialized and could
 be subject to dispute. Executory agreements that are oral in nature have not been included on
 the Schedule G.
 The Debtors reserve all of their rights, Claims and causes of action with respect to the
 contracts on Schedule G, including the right to dispute or challenge the characterization of the
 structure of any transaction or any document or instrument related to a creditor’s Claim.
 Omission of a contract or agreement from Schedule G does not constitute an admission that
 such omitted contract or agreement is not an executory contract or unexpired lease. The
 Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts or
 agreements are not impaired by the omission. Schedule G may be amended at any time to add
 any omitted contract, agreement or lease.
 The listing of any contract on Schedule G does not constitute an admission by the Debtors as
 to the validity of any such contract or that such contract is an executory contract or unexpired
 lease. The Debtors reserve all of their rights to dispute the effectiveness of any such contract
 listed on Schedule G or to amend Schedule G at any time to remove any contract.
 The Debtors maintain a variety of insurance policies, including, without limitation, property,
 general liability, and employee related policies. For purposes of Schedule G, all insurance
 policies are included however, multiple Debtors may be a party to or covered by the policies.
 Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors
 or guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H.
 The Debtors may not have identified certain guarantees associated with the Debtors’ executory
 contracts, unexpired leases, secured financings, debt instruments, and other such agreements.
 The Debtors reserve all of their rights to amend the Schedules to the extent that additional
 guarantees are identified or such guarantees are discovered to have expired or be
 unenforceable.
 In the ordinary course of their businesses, the Debtors may be involved in pending or
 threatened litigation. These matters may involve multiple plaintiffs and defendants, some or
 all of whom may assert cross-Claims and counter-Claims against other parties. Because the
 Debtors have treated all such Claims as contingent, disputed, or unliquidated, such Claims
 have not been set forth individually on Schedule H. Litigation matters can be found on
 each Debtor’s Schedule E/F part 2 and Statement 7, as applicable.
                   Specific Disclosures with Respect to the Debtors’ Statements
 Statement 3. Statement 3 includes any disbursement or other transfer made by the
 Debtors within 90 days before the Petition Date except for those made to insiders
 (which payments appear in response to Statement question 4), employees, and bankruptcy
 professionals (which payments appear in Statement 11 and include any retainers paid to
 bankruptcy professionals). The amounts listed in Statement 3 reflect the Debtors’
 disbursements netted against any check level detail; thus, to the extent a disbursement was
 made to pay for multiple invoices, only one entry has been listed on Statement 3. All
 disbursements listed on Statement 3 are made through the Debtors’ cash management system.
 Additionally, all disbursement information reported in Statement 3 for a specific Debtor
 pertains to the bank accounts maintained by that Debtor.


                                               12
201518802 v1
               Case 19-10210-LSS    Doc 456     Filed 04/03/19     Page 13 of 2900




 Statement 4. Statement 4 accounts for a respective Debtor’s transfers to insiders as
 applicable, but excludes intercompany transactions. With respect to individuals, the amounts
 listed reflect the universe of payments and transfers to such individuals including
 compensation, bonus (if any), expense reimbursement, relocation reimbursement, and/or
 severance. Amounts paid on behalf of such employee for certain life and disability
 coverage, which coverage is provided to all of the Debtors’ employees, has not been
 included.
 Statement 5. Statement 5 excludes goods returned in the ordinary course of business.
 Statement 6. There may be instances, including, without limitation, holdbacks made by credit
 card processors, where such a setoff has occurred without the Debtors’ knowledge.
 Statement 7. A ny information contained in Statement 7 shall not be a binding
 representation of the Debtors’ liabilities with respect to any of the suits and proceedings
 identified therein. The Debtors track all incidents in their stores through incident reports.
 However, only those incidents that have resulted in active litigation and/or proceedings are
 reported on SOFA 7.
 Statement 10. The Debtors occasionally incur losses for a variety of reasons, including
 theft and property damage. The Debtors, however, may not have records of all such losses
 if such losses do not have a material impact on the Debtors’ businesses or are not reported for
 insurance purposes. Ordinary course shrinkage is not reflected in the Statements. The losses
 listed on Statement 10 are based on estimated amounts.
 Statement 11. Out of an abundance of caution, the Debtors have included payments to
 all professionals who have rendered any advice related the Debtors’ bankruptcy
 proceedings in Statement 11. However, it is possible that the disclosed fees also relate to
 other, non-bankruptcy related services, and may include services rendered to other parties.
 Statement 26d. The Debtors have used their reasonable efforts to provide a listing of parties
 to which financial statements have been provided. However, the Debtors provide numerous
 banks, vendors and customers with financial statements and the listing on Statement 26d may
 not be a complete listing of every party provided financial statements.
 Statement 30. Unless otherwise indicated in a Debtor’s specific response to Statement 30,
 the Debtors have included a comprehensive response to Statement 30 in Statement 4.




                                               13
201518802 v1
                              Case 19-10210-LSS                             Doc 456               Filed 04/03/19                   Page 14 of 2900


Fill in this information to identify the case:

Debtor name: Charlotte Russe, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10214

                                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                               12/15



 Part 1:     Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




     1a. Real property:
         Copy line 88 from Schedule A/B ......................................................................................................                     $43,167,891.68



     1b. Total personal property:
         Copy line 91A from Schedule A/B ....................................................................................................                      $93,931,408.58



     1c. Total of all property:
         Copy line 92 from Schedule A/B ......................................................................................................                     $137,099,300.26



 Part 2:     Summary of Liabilities



2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                 $112,179,000.00



3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                   $5,009,160.94



     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                              + $10,602,141.71




4.   Total liabilities
     Lines 2 + 3a + 3b .........................................................................................................................................   $127,790,302.65




Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                                                                 Page 1 of 1
                          Case 19-10210-LSS                Doc 456       Filed 04/03/19       Page 15 of 2900


Fill in this information to identify the case:

Debtor name: Charlotte Russe, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10214

                                                                                                                        ¨ Check if this is an
                                                                                                                                amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                         12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.



 Part 1:      Cash and cash equivalents

1.      Does the debtor have any cash or cash equivalents?
        ¨ No. Go to Part 2.
        þ Yes. Fill in the information below
        All cash or cash equivalents owned or controlled by the debtor                                                Current value of
                                                                                                                      debtor’s interest

2.      Cash on hand
2.1.    PETTY CASH (SAN FRANCISCO)                                                                                    $300.00

2.2.    PETTY CASH (SAN DIEGO)                                                                                        $244.08

2.3.    STORE WORKING CASH (REGISTERS)                                                                                $707,827.00

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)    Type of account             Last 4 digits of account       Current value of
                                                                                       number                         debtor’s interest
3.1.       BANK OF HAWAII                                  STORE DEPOSITORY            0399                           $32,064.64
3.2.       BANCO POPULAR                                   STORE DEPOSITORY            9819                           $31,308.70
3.3.       REGIONS                                         STORE DEPOSITORY            7317                           $58,194.88
3.4.       PNC BANK                                        STORE DEPOSITORY            4229                           $0.00
3.5.       WELLS FARGO                                     STORE DEPOSITORY            9724                           $44,319.27
3.6.       BANK OF AMERICA                                 DEPOSITORY - CREDIT         2672                           $0.00
                                                           CARD RECEIPT ACCOUNT
3.7.       BANK OF AMERICA                                 DEPOSITORY -                2607                           $26,107.47
                                                           CONCENTRATION
                                                           ACCOUNT
3.8.       BANK OF AMERICA                                 OPERATING                   2609                           $242,116.87
3.9.       BANK OF AMERICA                                 PAYROLL DISBURSEMENT        2420                           $21,730.55
3.10.      BANK OF AMERICA                                 GENERAL DISBURSEMENT        0163                           $0.00

Official Form 206A/B                           Schedule A/B: Assets — Real and Personal Property                                 Page 1 of 90
                               Case 19-10210-LSS                 Doc 456         Filed 04/03/19              Page 16 of 2900

Debtor         Charlotte Russe, Inc.                                                                                    Case number (if known) 19-10214

3.              Checking, savings, money market, or financial brokerage accounts (Identify all)
                Name of institution (bank or brokerage firm)     Type of account                  Last 4 digits of account        Current value of
                                                                                                  number                          debtor’s interest
3.11.           BANK OF AMERICA                                  RENT DISBURSEMENT                6079                            $0.00
        1
3.12.           BANK OF AMERICA                                  LINE OF CREDIT                   5 RUS                           $22,854,000.00


1
    EXCLUDES STANDBY AND DOC LETTERS OF CREDIT



4.            Other cash equivalents (Identify all)
              Description                 Name of institution              Type of account             Last 4 digits of account   Current value of
                                                                                                       number                     debtor’s interest
4.1.          CREDIT CARD                 BANK OF AMERICA                  DEPOSITORY - CREDIT         2672                       $3,362,596.05
              RECEIVABLE -                                                 CARD RECEIPT
              VS/MC/DEBIT                                                  ACCOUNT
4.2.          CREDIT CARD                 BANK OF AMERICA                  DEPOSITORY - CREDIT         2672                       $130,508.36
              RECEIVABLE - AMEX                                            CARD RECEIPT
                                                                           ACCOUNT
4.3.          CREDIT CARD                 BANK OF AMERICA                  DEPOSITORY - CREDIT         2672                       $80,378.92
              RECEIVABLE -                                                 CARD RECEIPT
              DISCOVER                                                     ACCOUNT
4.4.          CREDIT CARD                 BANK OF AMERICA                  DEPOSITORY - CREDIT         2672                       $113,237.56
              RECEIVABLE - PAYPAL                                          CARD RECEIPT
                                                                           ACCOUNT
4.5.          CREDIT CARD                 BANK OF AMERICA                  DEPOSITORY - CREDIT         2672                       $5,654.79
              RECEIVABLE -                                                 CARD RECEIPT
              AFTERPAY                                                     ACCOUNT
4.6.          CREDIT CARD                 BANK OF AMERICA                  DEPOSITORY - CREDIT         2672                       $11,689.63
              RECEIVABLE -                                                 CARD RECEIPT
              AMAZONPAY                                                    ACCOUNT

5.          Total of part 1
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                          $27,722,278.77



    Part 2:       Deposits and prepayments

6.          Does the debtor have any deposits or prepayments?
            ¨ No. Go to Part 3.
            þ Yes. Fill in the information below
7.            Deposits, including security deposits and utility deposits
              Description, including name of holder of deposit                                                                    Current value of
                                                                                                                                  debtor’s interest

7.1.          UTILITIES                                                                                                           $468.00
              ALABAMA GAS

7.2.          SEWER & WATER                                                                                                       $100.00
              ALTAMONTE SPRINGS UTILITY BILL

7.3.          UTILITIES                                                                                                           $2,620.00
              APS

7.4.          CASH FUNDING                                                                                                        $58,500.00
              AT SYSTEMS (NOW GARDA)
Official Form 206A/B                               Schedule A/B: Assets — Real and Personal Property                                          Page 2 of 90
                         Case 19-10210-LSS                  Doc 456   Filed 04/03/19    Page 17 of 2900

Debtor    Charlotte Russe, Inc.                                                                 Case number (if known) 19-10214

7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                 Current value of
                                                                                                          debtor’s interest

7.5.     UTILITIES                                                                                        $450.00
         ATMOS ENERGY

7.6.     UTILITIES                                                                                        $38,000.00
         AUTORIDAD DE ENERGIA ELECTRICA

7.7.     WATER                                                                                            $1,000.00
         AUTORIDAD/ACUEDUCTOS/ALCANTARILLADOS

7.8.     UTILITIES                                                                                        $5,030.00
         BALDWIN EMC

7.9.     UTILITIES                                                                                        $58.00
         BLACK HILL ENERGY

7.10.    UTILITIES                                                                                        $3,045.00
         CARROLL ELECTRIC

7.11.    UTILITIES                                                                                        $2,762.00
         CDE LIGHTBAND

7.12.    UTILITIES                                                                                        $3,605.00
         CENTRAL GEORGIO

7.13.    UTILITIES                                                                                        $200.00
         CHARLOTTE COUNTY UTILITIES

7.14.    UTILITIES                                                                                        $1.12
         CHESTERFIELD COUNTY UTILITIES DEPARTMENT

7.15.    UTILITIES                                                                                        $150.00
         CITY OF BEAUMONT

7.16.    WATER                                                                                            $125.00
         CITY OF BOYNTON BEACH

7.17.    WATER                                                                                            $172.00
         CITY OF DAYTONA BEACH

7.18.    UTILITIES                                                                                        $1,175.00
         CITY OF DOTHAN ALABAMA

7.19.    WATER                                                                                            $300.00
         CITY OF HURST

7.20.    UTILITIES                                                                                        $2,112.00
         CITY OF OCALA

7.21.    UTILITIES                                                                                        $550.00
         CITY OF TACOMA

7.22.    WATER                                                                                            $250.00
         CLARKSVILLE GAS & WATER DEPT




Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                         Page 3 of 90
                         Case 19-10210-LSS                  Doc 456   Filed 04/03/19    Page 18 of 2900

Debtor    Charlotte Russe, Inc.                                                                 Case number (if known) 19-10214

7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                 Current value of
                                                                                                          debtor’s interest

7.23.    UTILITIES                                                                                        $3,000.00
         CLAY ELECTRIC COOP INC

7.24.    UTILITIES                                                                                        $250.00
         CLECO POWER

7.25.    UTILITIES                                                                                        $100.00
         COLUMBIA GAS OF KENTUCKY

7.26.    UTILITIES                                                                                        $3,975.00
         COMED

7.27.    UTILITIES                                                                                        $2,235.68
         COMMUNICATION RESOURCE(FOR CONED)

7.28.    UTILITIES                                                                                        $4,280.00
         CON EDISON

7.29.    UTILITIES                                                                                        $69,698.24
         CONSTELLATION NEW ENERGY

7.30.    UTILITIES                                                                                        $2,460.00
         DELMARVA POWER

7.31.    UTILITIES                                                                                        $16,687.00
         DOMINION VIRGINIA

7.32.    UTILITIES                                                                                        $32,526.00
         DUKE ENERGY

7.33.    UTILITIES                                                                                        $60.00
         EDINBURG UTILITIES

7.34.    UTILITIES                                                                                        $2,910.00
         EL PASO ELECTRIC

7.35.    SEWER & WATER                                                                                    $250.00
         EMERALD COAST UTILITIES AUTHORITY

7.36.    UTILITIES                                                                                        $3,000.00
         EMPIRE DISTRICT

7.37.    UTILITIES                                                                                        $332.05
         EMPIRE ELECTRIC

7.38.    UTILITIES                                                                                        $3,704.26
         ENERGY WORKS LANCASTER

7.39.    UTILITIES                                                                                        $7,001.00
         ENTERGY

7.40.    UTILITIES                                                                                        $1,650.00
         FLORENCE UTILITIES




Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                         Page 4 of 90
                         Case 19-10210-LSS                  Doc 456   Filed 04/03/19    Page 19 of 2900

Debtor    Charlotte Russe, Inc.                                                                 Case number (if known) 19-10214

7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                 Current value of
                                                                                                          debtor’s interest

7.41.    UTILITIES                                                                                        $24,611.00
         FLORIDA POWER & LIGHT CO.

7.42.    UTILITIES                                                                                        $29,746.66
         FPL

7.43.    UTILITIES                                                                                        $2,825.00
         GAINESVILLE REGIONAL UT

7.44.    UTILITIES                                                                                        $19,687.00
         GEORGIA POWER

7.45.    UTILITIES                                                                                        $2,827.00
         GREEN MOUNTAIN POWER

7.46.    UTILITIES                                                                                        $6,855.00
         GULF POWER

7.47.    UTILITIES                                                                                        $2,200.00
         IMPERIAL IRRIGATION DISTRICT

7.48.    UTILITIES                                                                                        $1,388.68
         INTERMOUTAIN RURAL ELECTRIC ASSOC.

7.49.    UTILITIES                                                                                        $2,400.00
         JACKSON ELECTRIC

7.50.    UTILITIES                                                                                        $1,915.00
         JACKSON ENERGY AUTHORITY

7.51.    UTILITIES                                                                                        $1,300.00
         JACKSONVILLE ELECTRIC

7.52.    WATER                                                                                            $125.00
         JEFFERSON WATER

7.53.    UTILITIES                                                                                        $3,500.00
         JOHNSON CITY POWER BOARD

7.54.    UTILITIES                                                                                        $1,800.00
         JONES-ONSLOW EMC

7.55.    UTILITIES                                                                                        $2,068.00
         KENTUCKY POWER COMPANY

7.56.    UTILITIES                                                                                        $7,000.00
         KNOXVILLE UTILITIES BOARD

7.57.    UTILITIES                                                                                        $3,116.66
         LAKELAND ELECTRIC

7.58.    UTILITIES                                                                                        $12,433.04
         LIPA




Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                         Page 5 of 90
                         Case 19-10210-LSS                  Doc 456   Filed 04/03/19    Page 20 of 2900

Debtor    Charlotte Russe, Inc.                                                                 Case number (if known) 19-10214

7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                 Current value of
                                                                                                          debtor’s interest

7.59.    UTILITIES                                                                                        $30.00
         LUS LAFAYETTE UTIL SYS

7.60.    SEWER & WATER                                                                                    $200.00
         MIAMI DADE WATER SEWER DEPT

7.61.    UTILITIES                                                                                        $100.00
         MISSOURI GAS ENERGY

7.62.    WATER                                                                                            $100.00
         MOBILE AREA WATER AND SEWER SYSTEM

7.63.    UTILITIES                                                                                        $1,592.00
         MONPOWER

7.64.    WATER                                                                                            $100.00
         MUNICIPAL AUTHORITY OF WESTMORELAND

7.65.    UTILITIES                                                                                        $600.00
         MURFREESBORO ELECTRIC

7.66.    UTILITIES                                                                                        $2,927.97
         NATIONAL GRID

7.67.    UTILITIES                                                                                        $7,000.00
         NEW BRAUNFELS UTILITIES

7.68.    WATER                                                                                            $65.00
         NORTH CANTON WATER - SEWER

7.69.    UTILITIES                                                                                        $700.00
         NORTHERN VIRGINIA ELECTRIC

7.70.    UTILITIES                                                                                        $468.00
         NSTAR

7.71.    UTILITIES                                                                                        $480.00
         NV ENERGY

7.72.    UTILITIES                                                                                        $100.00
         OKLAHOMA NATURAL GAS COMPANY

7.73.    UTILITIES                                                                                        $5,280.00
         ORLANDO UTILITY COMMISSION

7.74.    CLOSING PAYMENT                                                                                  $40,225.94
         PEEK AREN'T YOU CURIOS

7.75.    UTILITIES                                                                                        $1,276.50
         PEPCO

7.76.    UTILITIES                                                                                        $2,594.15
         PSEGLI/PSE&G




Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                         Page 6 of 90
                         Case 19-10210-LSS                  Doc 456   Filed 04/03/19    Page 21 of 2900

Debtor    Charlotte Russe, Inc.                                                                 Case number (if known) 19-10214

7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                 Current value of
                                                                                                          debtor’s interest

7.77.    PHONE                                                                                            $2,150.00
         PUERTO RICO TELEPHONE CO.

7.78.    UTILITIES                                                                                        $350.00
         SANDPIPER ENERGY

7.79.    PHONE                                                                                            $400.00
         SBC (AMERICTECH)

7.80.    UTILITIES                                                                                        $3,914.00
         SHELBY ENERGY ELECTRIC

7.81.    UTILITIES                                                                                        $114,370.00
         SOUTHERN CA EDISON

7.82.    UTILITIES                                                                                        $5,500.00
         SRP

7.83.    UTILITIES                                                                                        $10,579.96
         TAMPA ELECTRIC CO

7.84.    UTILITIES                                                                                        $1,014.38
         TOMBIGBEE ELECTRIC POWER ASS

7.85.    UTILITIES                                                                                        $6,652.00
         TUCSON ELECTRIC POWER

7.86.    INSURANCE                                                                                        $259,000.00
         UNITED HEALTH CARE

7.87.    UTILITIES                                                                                        $150.00
         VERMONT GAS

7.88.    UTILITIES                                                                                        $1,370.00
         WASHINGTON GAS

7.89.    UTILITIES                                                                                        $4,070.00
         WITHLACOOCHEE RIVER ELECTRIC

7.90.    UTILITIES                                                                                        $492.00
         XCEL ENERGY

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                              Current value of
                                                                                                          debtor’s interest
8.1.     CONTRACTS ( RUCKUS WATCHDOG REMOTE SUPPORT)                                                      $2,547.50
         1903 SOLUTIONS
8.2.     UTILITIES                                                                                        $19,796.29
         32556MUZAK LLC
8.3.     CONTRACTS ( ANNAUL CHARGE)                                                                       $996.00
         ACTION VERB, LLC



Official Form 206A/B                        Schedule A/B: Assets — Real and Personal Property                         Page 7 of 90
                         Case 19-10210-LSS               Doc 456   Filed 04/03/19      Page 22 of 2900

Debtor    Charlotte Russe, Inc.                                                                Case number (if known) 19-10214

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.4.     OTHER                                                                                           $587.60
         AMEX
8.5.     INSURANCE                                                                                       $3,900.00
         BOND - UNITED STATES CUSTOMS
8.6.     CONTRACTS ( TAX RETURNS SOFTWARE)                                                               $3,332.50
         CORPTAX, INC.
8.7.     CONTRACTS ( JIRA CLOUD COMMERCIAL LICENSES)                                                     $2,526.04
         CPRIME
8.8.     CONTRACTS ( JIRA CLOUD COMMERCIAL LICENSES)                                                     $1,166.79
         CPRIME
8.9.     CONTRACTS ( SERVICE AGREEMENT CONTRACT)                                                         $4,258.99
         CROSSPOINT NETWORK SOLUTIONS
8.10.    CONTRACTS ( NETSURE-4H-FS)                                                                      $82.50
         CURVATURE
8.11.    CONTRACTS ( ZEBRA EVM, ONECARE SERVICE)                                                         $2,027.40
         DECISIONPOINT
8.12.    CONTRACTS ( PREMIER SUPPORT)                                                                    $1,000.00
         DOCUSIGN
8.13.    CONTRACTS ( UP BUSINESS)                                                                        $1,457.75
         EAGLE TECHNOLOGY MANAGEMENT
8.14.    CONTRACTS ( DASHBOARD GEAR)                                                                     $1,287.50
         ERP ACCESSORIES
8.15.    UTILITIES                                                                                       $444.24
         FEB TEL AT&T
8.16.    UTILITIES                                                                                       $2,400.79
         FEB TEL CENTURYLINK
8.17.    UTILITIES                                                                                       $75.00
         FEB TEL CHARTER COMMUNICATIONS
8.18.    UTILITIES                                                                                       $1,935.33
         FEB TEL COMCAST
8.19.    UTILITIES                                                                                       $155.77
         FEB TEL CONSOLIDATED COMMUNICA
8.20.    UTILITIES                                                                                       $1,266.21
         FEB TEL FRONTIER
8.21.    UTILITIES                                                                                       $589.59
         FEB TEL GC PIVOTAL LLC
8.22.    UTILITIES                                                                                       $260.87
         FEB TEL GRANDE COMMUNICATIONS


Official Form 206A/B                       Schedule A/B: Assets — Real and Personal Property                         Page 8 of 90
                         Case 19-10210-LSS               Doc 456   Filed 04/03/19      Page 23 of 2900

Debtor    Charlotte Russe, Inc.                                                                Case number (if known) 19-10214

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.23.    UTILITIES                                                                                       $132.26
         FEB TEL GTT COMMUNICATIONS INC
8.24.    UTILITIES                                                                                       $83.93
         FEB TEL HARGRAY REMITTANCE CEN
8.25.    UTILITIES                                                                                       $138.20
         FEB TEL HAWAIIAN TELCOM
8.26.    UTILITIES                                                                                       $85.39
         FEB TEL HTC
8.27.    UTILITIES                                                                                       $94.48
         FEB TEL MEGAPATH
8.28.    UTILITIES                                                                                       $80.05
         FEB TEL OPTIMUM
8.29.    UTILITIES                                                                                       $99.17
         FEB TEL PTS
8.30.    UTILITIES                                                                                       $346.06
         FEB TEL PUERTO RICO TELEPHONE/
8.31.    UTILITIES                                                                                       $47.92
         FEB TEL RITTER COMMUNICATIONS
8.32.    UTILITIES                                                                                       $139.96
         FEB TEL TIME WARNER CABLE
8.33.    UTILITIES                                                                                       $1,624.55
         FEB TEL VERIZON
8.34.    UTILITIES                                                                                       $143.17
         FEB TEL WINDSTREAM GEORGIA LLC
8.35.    UTILITIES                                                                                       $337.51
         FEB TEL WINDSTREAM SUGAR LAND
8.36.    UTILITIES                                                                                       $257.90
         FEB TRA 601 WASTE PRO GAUTIER
8.37.    UTILITIES                                                                                       $560.00
         FEB TRA CORPORATE SVCS CONSULT
8.38.    UTILITIES                                                                                       $78,955.64
         FEB TRA KETER ENVIRONMENTAL SV
8.39.    UTILITIES                                                                                       $1,235.90
         FEB TRA PRECISION WASTE SOLUTI
8.40.    UTILITIES                                                                                       $16,309.56
         FEB TRA SUSTAINABLE SOLUTIONS
8.41.    UTILITIES                                                                                       $585.52
         FEB TRA SUSTAINABLE SOLUTIONS


Official Form 206A/B                       Schedule A/B: Assets — Real and Personal Property                         Page 9 of 90
                         Case 19-10210-LSS               Doc 456   Filed 04/03/19      Page 24 of 2900

Debtor    Charlotte Russe, Inc.                                                                Case number (if known) 19-10214

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.42.    UTILITIES                                                                                       $1,382.69
         FEB TRA TOG
8.43.    UTILITIES                                                                                       $27,156.96
         FEB TRA WASTE MGMT INC
8.44.    UTILITIES                                                                                       $332.02
         FEB-DEC ELC XCEL ENERGY
8.45.    TAXES (PUERTO RICO TAX OVERPAYMENT)                                                             $309,409.74
         FRANCHISE TAX BOARD
8.46.    CONTRACTS ( MESSENGERPLUS - PRIMARY LICENSE)                                                    $1,401.75
         HELPSYSTEMS LLC
8.47.    CONTRACTS ( INFOR: LAWSON)                                                                      $22,964.58
         INFOR (US) INC.
8.48.    CONTRACTS ( EVOLUTION CONTRACT)                                                                 $1,022.31
         LECTRA USA INC.
8.49.    CONTRACTS ( EXTENDED WARRANTY, VERIFONE MX9XX)                                                  $43,133.77
         LEVEL 10
8.50.    CONTRACTS ( LPMS-CASE MANAGEMENT)                                                               $109.46
         LP SOFTWARE
8.51.    CONTRACTS ( LP: CAMS MAINTENANCE, ERMS & SMART ALERT MAINT)                                     $1,068.03
         LP SOFTWARE
8.52.    CONTRACTS ( ANNUAL SUPPORT/MAINTENANCE LPMS)                                                    $2,915.50
         LP SOFTWARE
8.53.    CONTRACTS ( LICENSE SUBSCRIPTION)                                                               $3,500.00
         MAGENTO
8.54.    CONTRACTS ( VM SYSTEM I PKMS SOFTWARE SUPPORT)                                                  $85,788.07
         MANHATTAN ASSOCIATES
8.55.    UTILITIES                                                                                       $25,671.55
         MAR TRA WASTE MGMT INC
8.56.    CONTRACTS ( PREPAID ENTERPRISE LICENSE)                                                         $17,499.99
         MOVABLE INC
8.57.    CONTRACTS ( PLATINUM SUBSCRIPTION)                                                              $18,863.70
         MULESOFT
8.58.    CONTRACTS ( MICROS XSTORE SOFTWARE)                                                             $12,016.28
         ORACLE AMERICA, INC.
8.59.    CONTRACTS ( SOFTWARE UPDATE LICENSE & SUPPORT)                                                  $13,391.91
         ORACLE AMERICA, INC.
8.60.    CONTRACTS ( RETAIL XSTORE SOFTWARE UPDATE)                                                      $3,144.07
         ORACLE AMERICA, INC.


Official Form 206A/B                       Schedule A/B: Assets — Real and Personal Property                       Page 10 of 90
                         Case 19-10210-LSS               Doc 456   Filed 04/03/19      Page 25 of 2900

Debtor    Charlotte Russe, Inc.                                                                Case number (if known) 19-10214

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.61.    CONTRACTS ( MAIN CONTRACT SVC)                                                                  $968.46
         PARK PLACE
8.62.    CONTRACTS ( PERFORCE: STANDARD SUPPORT)                                                         $218.75
         PERFORCE SOFTWARE INC
8.63.    CONTRACTS ( BUSINESS-PROFESSIONAL)                                                              $1,330.66
         PLURALSIGHT
8.64.    CONTRACTS ( BUSINESS-PROFESSIONAL)                                                              $1,127.12
         PLURALSIGHT
8.65.    OTHER                                                                                           $37,083.29
         PREDICT SPRINGS INC
8.66.    CONTRACTS ( FLEXFORM ANNUAL SUPPORT)                                                            $960.00
         PRODUCTIVE SYSTEMS, INC.
8.67.    CONTRACTS ( 2018 CORE MEMBER DUES)                                                              $500.00
         R-CISC
8.68.    OTHER                                                                                           $20,625.00
         S&P
8.69.    OTHER                                                                                           $2,731.22
         S&P FINANCIAL SERVICES
8.70.    CONTRACTS (SOLARWINDS MAINTENANCE)                                                              $1,491.32
         SHI
8.71.    CONTRACTS ( SHI: CYBERARK MAINTENANCE)                                                          $2,893.36
         SHI
8.72.    CONTRACTS ( SMARTNET EXTENDED SERVICES)                                                         $5,353.44
         SHI
8.73.    CONTRACTS ( TOAD FOR ORACLE)                                                                    $193.00
         SHI
8.74.    CONTRACTS ( COMMVAULT SOFTWARE PREMIER SUPPORT)                                                 $7,628.75
         SHI
8.75.    CONTRACTS ( ESD TRIPWIRE)                                                                       $2,977.98
         SHI
8.76.    CONTRACTS ( ESD ADOBE LICENSES)                                                                 $473.01
         SHI
8.77.    CONTRACTS ( ESD ADOBE LICENSES-CREATIVE CLOUD)                                                  $3,900.00
         SHI
8.78.    CONTRACTS ( IMPERVA-DATABASE SECURITY MONITORING)                                               $3,607.67
         SHI
8.79.    CONTRACTS ( ADOBE CREATIVE CLOUD - 4 USERS)                                                     $1,222.07
         SHI


Official Form 206A/B                       Schedule A/B: Assets — Real and Personal Property                       Page 11 of 90
                           Case 19-10210-LSS                Doc 456   Filed 04/03/19      Page 26 of 2900

Debtor     Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment                                               Current value of
                                                                                                            debtor’s interest
8.80.     CONTRACTS ( ADOBE CREATIVE CLOUD - 1 USERS)                                                       $339.46
          SHI
8.81.     CONTRACTS ( PHOTOSHOP MULTIPLE PLATFORMS ESD SOFTWARE)                                            $340.76
          SHI
8.82.     CONTRACTS ( RED HAT ENTERPRISE LINUX)                                                             $306.67
          SHI
8.83.     CONTRACTS ( AUTODESK MAINTENANCE)                                                                 $686.74
          SHI
8.84.     CONTRACTS ( ANNUAL LICENSE PURCHASE)                                                              $15,000.00
          SLACK TECHNOLOGIES
8.85.     OTHER                                                                                             $2,362.50
          SMART SHEET
8.86.     OTHER                                                                                             ($33,189.00)
          ST JUDE PRINT RECLASS
8.87.     OTHER                                                                                             $14,653.10
          STANDARD AND POOR'S FINANCIAL
8.88.     CONTRACTS (IMPLEMENTATION (LT & ST))                                                              $45,339.16
          TANGO ANALYTICS
8.89.     CONTRACTS ( LICENSE HQ)                                                                           $4,524.98
          TAX COMPLIANCE, INC (TCI)
8.90.     CONTRACTS ( CARBON BLACK ANNUAL SUBSCRIPTION)                                                     $2,199.99
          TEVORA
8.91.     CONTRACTS (OKTA CLOUD CONNECT (LT & ST))                                                          $41,562.50
          TRACE 3
8.92.     CONTRACTS ( TRAPS ADVANCED ENDPOINT PROTECTION)                                                   $2,933.33
          TRACE3
8.93.     CONTRACTS ( PALO ALTO SUPPORT RENEWAL)                                                            $7,377.33
          TRACE3
8.94.     OTHER                                                                                             $3,986.67
          USPS
8.95.     OTHER                                                                                             $18,024.98
          WGSN

9.      Total of part 2
        Add lines 7 through 8. Copy the total to line 81.                                                      $1,840,300.77




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                       Page 12 of 90
                            Case 19-10210-LSS                 Doc 456            Filed 04/03/19        Page 27 of 2900

Debtor     Charlotte Russe, Inc.                                                                                   Case number (if known) 19-10214

 Part 3:      Accounts receivable

10.     Does the debtor have any accounts receivable?
        ¨ No. Go to Part 4.
        þ Yes. Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor’s interest

11.        Accounts receivable
                                Face amount          Doubtful or uncollectible
                                                     accounts

11a.       90 days old or       $324,886.67       - $0.00                             = ........ →                           $324,886.67
           less:

                                Face amount          Doubtful or uncollectible
                                                     accounts

11b.       Over 90 days old:    $__________       - $_____________________            = ........ →                           $_______________

12.     Total of part 3
        Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                   $324,886.67



 Part 4:      Investments

13.     Does the debtor own any investments?
        ¨ No. Go to Part 5.
        þ Yes. Fill in the information below.
                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor’s interest

14.     Mutual funds or publicly traded stocks not included in Part 1
        Name of fund or stock

14.1. ___________________________________________________________________                            _____________________ $________________

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses,
          including any interest in an LLC, partnership, or joint venture
          Name of entity                                                          % of ownership
15.1.     CHARLOTTE RUSSE ADMINISTRATION, INC.                                    100.00%            _____________________ UNDETERMINED
15.2.     CHARLOTTE RUSSE MERCHANDISING, INC.                                     100.00%            _____________________ UNDETERMINED

16.       Government bonds, corporate bonds, and other negotiable and non-negotiable
          instruments not included in Part 1
          Describe
16.1.     __________________________________________________________________                         _____________________ $_______________

17.     Total of part 4
        Add lines 14 through 16. Copy the total to line 83.                                                                   UNDETERMINED



 Part 5:      Inventory, excluding agriculture assets

18.     Does the debtor own any inventory (excluding agriculture assets)?
        ¨ No. Go to Part 6.
        þ Yes. Fill in the information below.
Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                       Page 13 of 90
                           Case 19-10210-LSS                  Doc 456     Filed 04/03/19     Page 28 of 2900

Debtor     Charlotte Russe, Inc.                                                                         Case number (if known) 19-10214

          General description              Date of the last         Net book value of      Valuation method used   Current value of
                                           physical inventory       debtor's interest      for current value       debtor’s interest
                                                                    (Where available)
19.       Raw materials
19.1.     ________________________ _____________________ $___________________              _____________________ $_______________

20.       Work in progress
20.1.     ________________________ _____________________ $___________________              _____________________ $_______________

21.       Finished goods, including goods held for resale
          General description              Date of the last physical Net book value of     Valuation method used   Current value of
                                           inventory                 debtor's interest     for current value       debtor’s interest
21.1.     FINISHED GOODS HELD              6/2018                   $54,926,522.00         RETAIL METHOD           $54,926,522.00
          FOR RESALE

22.       Other inventory or supplies
          General description              Date of the last physical Net book value of     Valuation method used   Current value of
                                           inventory                 debtor's interest     for current value       debtor’s interest
22.1.     CHARLOTTE RUSSE -                1/21/2019                $794,954.00            NET BOOK VALUE          $794,954.00
          HANGERS
22.2.     CHARLOTTE RUSSE -                1/21/2019                $1,547,580.00          NET BOOK VALUE          $1,547,580.00
          BAGS
22.3.     CHARLOTTE RUSSE -                1/21/2019                $110,147.00            NET BOOK VALUE          $110,147.00
          PREPAID SUPPLIES
22.4.     CHARLOTTE RUSSE -                1/21/2019                $132,500.00            NET BOOK VALUE          $132,500.00
          SECURITY TAGS
22.5.     CHARLOTTE RUSSE -                1/21/2019                $210,421.00            NET BOOK VALUE          $210,421.00
          SUPPLIES BOXES
22.6.     CHARLOTTE RUSSE - DC             1/21/2019                $3,986.00              NET BOOK VALUE          $3,986.00
          PACKAGING
22.7.     CHARLOTTE RUSSE -                1/21/2019                $129.00                NET BOOK VALUE          $129.00
          TICKETS / LABELS
22.8.     PEEK - HANGERS                   1/21/2019                $7,831.00              NET BOOK VALUE          $7,831.00
22.9.     PEEK - BAGS                      1/21/2019                $1,672.00              NET BOOK VALUE          $1,672.00

23.     Total of part 5
        Add lines 19 through 22. Copy the total to line 84.                                                          $57,735,742.00

24.     Is any of the property listed in Part 5 perishable?
        þ No
        ¨ Yes
25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        þ Yes Book value: $8,821,445.66 Valuation method: RETAIL METHOD Current value: $8,821,445.66
26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?
        þ No
        ¨ Yes




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                              Page 14 of 90
                           Case 19-10210-LSS                  Doc 456       Filed 04/03/19       Page 29 of 2900

Debtor     Charlotte Russe, Inc.                                                                            Case number (if known) 19-10214

 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
        þ No. Go to Part 7.
        ¨ Yes. Fill in the information below.
          General description                                                Net book value of    Valuation method    Current value of
                                                                             debtor's interest    used for current    debtor’s interest
                                                                             (Where available)    value

28.       Crops—either planted or harvested
28.1.     ___________________________________________________                $_______________     _________________   $_______________

29.       Farm animals. Examples: Livestock, poultry, farm-raised fish
29.1.     ___________________________________________________                $_______________     _________________   $_______________

30.       Farm machinery and equipment (Other than titled motor vehicles)
30.1.     ___________________________________________________                $_______________     _________________   $_______________

31.       Farm and fishing supplies, chemicals, and feed
31.1.     ___________________________________________________                $_______________     _________________   $_______________

32.       Other farming and fishing-related property not already listed in Part 6
32.1.     ___________________________________________________                $_______________     _________________   $_______________

33.     Total of part 6
        Add lines 28 through 32. Copy the total to line 85.                                                                  $0.00

34.     Is the debtor a member of an agricultural cooperative?
        ¨ No
        ¨ Yes. Is any of the debtor’s property stored at the cooperative?
         ¨ No
         ¨ Yes
35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
36.     Is a depreciation schedule available for any of the property listed in Part 6?
        ¨ No
        ¨ Yes
37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes

 Part 7:      Office furniture, fixtures, and equipment; and collectibles

38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
        ¨ No. Go to Part 8.
        þ Yes. Fill in the information below.




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                Page 15 of 90
                            Case 19-10210-LSS                 Doc 456         Filed 04/03/19       Page 30 of 2900

Debtor     Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

          General description                                                  Net book value of    Valuation method      Current value of
                                                                               debtor's interest    used for current      debtor’s interest
                                                                               (Where available)    value

39.       Office furniture
39.1.     OFFICE FURNITURE - OWNED                                             $58,208.57           Cost-Based/Straight   $58,208.57
                                                                                                    Line

40.       Office fixtures
40.1.     OFFICE FIXTURES - OWNED                                              $3,896,035.94        Cost-Based/Straight   $3,896,035.94
                                                                                                    Line

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

                                                                               Net book value of    Valuation method      Current value of
                                                                               debtor's interest    used for current      debtor’s interest
                                                                                                    value

41.1.     OFFICE EQUIPMENT - OWNED                                             $1,652,396.29        Cost-Based/Straight   $1,652,396.29
                                                                                                    Line

42.       Collectibles. Examples: Antiques and figurines; paintings, prints, or other
          artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
          or baseball card collections; other collections, memorabilia, or collectibles
42.1.     ___________________________________________________                  $_______________     _________________     $_______________

43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                                  $5,606,640.80

44.     Is a depreciation schedule available for any of the property listed in Part 7?
        ¨ No
        þ Yes
45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 8:      Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?
        ¨ No. Go to Part 9.
        þ Yes. Fill in the information below.
          General description                                                  Net book value of    Valuation method      Current value of
          Include year, make, model, and identification numbers (i.e., VIN,    debtor's interest    used for current      debtor’s interest
          HIN, or N-number)                                                    (Where available)    value
                                                                               (Where available)
47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.     ___________________________________________________                  $_______________     _________________     $_______________

48.       Watercraft, trailers, motors, and related accessories. Examples: Boats,
          trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.     ___________________________________________________                  $_______________     _________________     $_______________

49.       Aircraft and accessories
49.1.     ___________________________________________________                  $_______________     _________________     $_______________




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                    Page 16 of 90
                           Case 19-10210-LSS                  Doc 456     Filed 04/03/19           Page 31 of 2900

Debtor     Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

50.       Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.     EQUIPMENT - OWNED                                                 $701,559.57             Cost-Based/Straight    $701,559.57
                                                                                                    Line

51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                   $701,559.57

52.     Is a depreciation schedule available for any of the property listed in Part 8?
        ¨ No
        þ Yes
53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 9:      Real property

54.     Does the debtor own or lease any real property?
        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.
           Description and location of property                  Nature and          Net book value      Valuation           Current value of
           Include street address or other description such as   extent of           of debtor's         method used for     debtor’s interest
           Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
           (for example, acreage, factory, warehouse,            in property         (Where available)
           apartment or office building), if available.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.      __________________________________________            LEASEHOLD           $5,751.92           Cost-               $5,751.92
                                                                 IMPROVEMENTS                            Based/Straight
           RETAIL STORE                                                                                  Line
           STORE # 01 AT THE SHOPPES AT CARLSBAD
           2525 EL CAMINO REAL, SPACE #261
           CARLSBAD CA 92008

55.2.      __________________________________________            LEASEHOLD           $8,582.17           Cost-               $8,582.17
                                                                 IMPROVEMENTS                            Based/Straight
           RETAIL STORE                                                                                  Line
           STORE # 02 AT MISSION VALLEY
           1640 CAMINO DEL RIO NORTH, SPACE #237
           SAN DIEGO CA 92108

55.3.      __________________________________________            LEASEHOLD           $219,481.45         Cost-               $219,481.45
                                                                 IMPROVEMENTS                            Based/Straight
           RETAIL STORE                                                                                  Line
           STORE # 04 AT PARKWAY
           627 PARKWAY PLAZA
           EL CAJON CA 92020

55.4.      __________________________________________            LEASEHOLD           $36,054.79          Cost-               $36,054.79
                                                                 IMPROVEMENTS                            Based/Straight
           RETAIL STORE                                                                                  Line
           STORE # 06 AT PLAZA BONITA
           3030 PLAZA BONITA ROAD, SPACE #1256
           NATIONAL CITY CA 91950




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                    Page 17 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 32 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.5.    __________________________________________            LEASEHOLD           $3,636.56           Cost-             $3,636.56
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 07 AT GROSSMONT CENTER
         5500 GROSSMONT CENTER, SUITE 313, SPACE
         #B1-60
         LA MESA CA 91942

55.6.    __________________________________________            LEASEHOLD           $10,446.51          Cost-             $10,446.51
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 09 AT NORTH COUNTY FAIR
         200 EAST VIA RANCHO PARKWAY, SPACE #329
         ESCONDIDO CA 92025

55.7.    __________________________________________            LEASEHOLD           $289,344.28         Cost-             $289,344.28
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 10 AT MAINPLACE MALL
         2800 NORTH MAIN PLACE, SPACE #416
         SANTA ANA CA 92705

55.8.    __________________________________________            LEASEHOLD           $9,930.02           Cost-             $9,930.02
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 101 AT ARBOR PLACE
         1440 DOUGLAS BLVD
         DOUGLASVILLE GA 30135

55.9.    __________________________________________            LEASEHOLD           $352.37             Cost-             $352.37
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 102 AT PARK PLACE
         5870 EAST BROADWAY BLVD., SPACE #412 &
         414
         TUCSON AZ 85711

55.10.   __________________________________________            LEASEHOLD           $82,331.27          Cost-             $82,331.27
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 103 AT HOLYOKE MALL
         50 HOLYOKE STREET, SPACE #H315
         HOLYOKE MA 01040

55.11.   __________________________________________            LEASEHOLD           $81,139.57          Cost-             $81,139.57
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 104 AT CROSSGATES MALL
         ONECROSSGATES MALL ROAD, SPACE #P204
         ALBANY NY 12203

55.12.   __________________________________________            LEASEHOLD           $62.50              Cost-             $62.50
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 108 AT DULLES TOWN CENTER
         21100 DULLES TOWN CIRCLE, SPACE #81
         DULLES VA 20166




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 18 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 33 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.13.   __________________________________________            LEASEHOLD           $541.18             Cost-             $541.18
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 109 AT SUNVALLEY SHOPPING
         CENTER
         1 SUN VALLEY MALL, SPACE #D204
         CONCORD CA 94520

55.14.   __________________________________________            LEASEHOLD           $19,178.14          Cost-             $19,178.14
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 110 AT FAIRLANE TOWN CENTER
         18900 MICHIGAN AVENUE, SPACE #H108
         DEARBORN MI 48126

55.15.   __________________________________________            LEASEHOLD           $11,318.41          Cost-             $11,318.41
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 111 AT DESTINY USA
         1 DESTINY USA DR., SPACE #B-202
         SYRACUSE NY 13204

55.16.   __________________________________________            LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 112 AT LAKEFOREST
         701 RUSSELL AVENUE, SPACE #H219
         GAITHERSBURG MD 20877

55.17.   __________________________________________            LEASEHOLD           $3,347.68           Cost-             $3,347.68
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 113 AT OPRY MILLS
         436 OPRY MILLS DRIVE
         NASHVILLE TN 37214

55.18.   __________________________________________            LEASEHOLD           $293,393.70         Cost-             $293,393.70
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 114 AT PLAZA CAROLINA
         65 INFANTRY HWY & FRAGOSO AVE., SPACE
         #124
         CAROLINA PR 00983

55.19.   __________________________________________            LEASEHOLD           $3,579.53           Cost-             $3,579.53
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 116 AT MONROEVILLE MALL
         114 MONROEVILLE MALL
         MONROEVILLE PA 15146

55.20.   __________________________________________            LEASEHOLD           $93,432.16          Cost-             $93,432.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 117 AT SPRING HILL MALL
         1322 SPRING HILL MALL
         CARPENTERSVILLE IL 60110




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 19 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 34 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.21.   __________________________________________            LEASEHOLD           $5,043.24           Cost-             $5,043.24
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 118 AT PLAZA LAS AMERICAS
         525 F.D. ROOSEVELT AVENUE, SPACE #52
         HATO REY PR 00918

55.22.   __________________________________________            LEASEHOLD           $82,730.31          Cost-             $82,730.31
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 12 AT CHULA VISTA CENTER*
         555 BROADWAY, SPACE #1034
         CHULA VISTA CA 91910

55.23.   __________________________________________            LEASEHOLD           $502,984.39         Cost-             $502,984.39
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 120 AT FOX VALLEY MALL
         1500 FOX VALLEY CENTER DR., SPACE F7
         AURORA IL 60504

55.24.   __________________________________________            LEASEHOLD           $6,114.28           Cost-             $6,114.28
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 121 AT LA PLAZA MALL
         2200 SOUTH 10TH STREET, SPACE #Q12B
         MCALLEN TX 78503

55.25.   __________________________________________            LEASEHOLD           $71,079.90          Cost-             $71,079.90
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 122 AT STONEBRIAR CENTRE
         2601 PRESTON ROAD, SPACE #1086
         FRISCO TX 75034

55.26.   __________________________________________            LEASEHOLD           $3,924.77           Cost-             $3,924.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 123 AT FLATIRON CROSSING
         1 WEST FLATIRON CROSSING DRIVE, SPACE
         #2012
         BROOMFIELD CO 80021

55.27.   __________________________________________            LEASEHOLD           $230,282.11         Cost-             $230,282.11
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 124 AT GALLERIA AT ROSEVILLE
         1151 GALLERIA BLVD., SPACE #211
         ROSEVILLE CA 95678

55.28.   __________________________________________            LEASEHOLD           $12,684.61          Cost-             $12,684.61
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 125 AT NORTH EAST MALL
         1101 MELBOURNE ST., SPACE #C03E
         HURST TX 76053




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 20 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 35 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.29.   __________________________________________            LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 126 AT WOODFIELD
         F330 WOODFIELD SHOPPING CENTER
         SCHAUMBURG IL 60173

55.30.   __________________________________________            LEASEHOLD           $92,647.83          Cost-             $92,647.83
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 127 AT GENESEE VALLEY CENTER
         3239 S. LINDEN ROAD, SPACE #480
         FLINT MI 48507

55.31.   __________________________________________            LEASEHOLD           $34,118.92          Cost-             $34,118.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 130 AT TOWN EAST MALL
         2063 TOWN EAST MALL, SPACE #1016
         MESQUITE TX 75150

55.32.   __________________________________________            LEASEHOLD           $4,670.57           Cost-             $4,670.57
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 131 AT WOODLAND HILLS MALL
         7021 S. MEMORIAL DR., SPACE #125
         TULSA OK 74133

55.33.   __________________________________________            LEASEHOLD           $86,580.37          Cost-             $86,580.37
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 132 AT OXFORD VALLEY MALL
         2300 E. LINCOLN HIGHWAY, SPACE #M5 & M5A
         LANGHORNE PA 19047

55.34.   __________________________________________            LEASEHOLD           $181,076.46         Cost-             $181,076.46
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 133 AT NEWPARK MALL
         2093-2086 NEW PARK MALL
         NEWARK CA 94560

55.35.   __________________________________________            LEASEHOLD           $3,654.14           Cost-             $3,654.14
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 135 AT MONTGOMERY MALL
         230 MONTGOMERY MALL, SPACE 1017
         NORTH WALES PA 19454

55.36.   __________________________________________            LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 137 AT DOLPHIN MALL
         11401 NW 12TH STREET, SPACE #327
         MIAMI FL 33172




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 21 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 36 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.37.   __________________________________________            LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 138 AT EMERALD SQUARE
         999 S. WASHINGTON ST.,SPACE E211A
         NORTH ATTLEBOROUGH MA 02760

55.38.   __________________________________________            LEASEHOLD           $970.97             Cost-             $970.97
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 139 AT GURNEE MILLS
         6170 GRAND AVENUE, SPACE #313
         GURNEE IL 60031

55.39.   __________________________________________            LEASEHOLD           $958.06             Cost-             $958.06
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 14 AT WESTMINSTER MALL
         2150E WESTMINSTER MALL
         WESTMINSTER CA 92683

55.40.   __________________________________________            LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 140 AT CASTLETON SQUARE
         6020 EAST 82ND STREET, SPACE #510
         INDIANAPOLIS IN 46250

55.41.   __________________________________________            LEASEHOLD           $222,725.87         Cost-             $222,725.87
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 141 AT SMITH HAVEN MALL
         465 SMITH HAVEN MALL,SPACE H01B
         LAKE GROVE NY 11755

55.42.   __________________________________________            LEASEHOLD           $48,529.11          Cost-             $48,529.11
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 142 AT ALTAMONTE MALL
         451 EAST ALTAMONTE DRIVE, SPACE #1373
         ALTAMONTE SPRINGS FL 32701

55.43.   __________________________________________            LEASEHOLD           $45,597.76          Cost-             $45,597.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 144 AT BROADWAY MALL
         878 BROADWAY MALL,SPACE #878
         HICKSVILLE NY 11801

55.44.   __________________________________________            LEASEHOLD           $128,799.70         Cost-             $128,799.70
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 146 AT FORD CITY MALL
         7601 S. CICERO AVENUE, SPACE #1350
         CHICAGO IL 60652




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 22 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 37 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.45.   __________________________________________            LEASEHOLD           $34.92              Cost-             $34.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 147 AT INDIAN RIVER MALL
         6200 20TH STREET, SPACE #350A
         VERO BEACH FL 32966

55.46.   __________________________________________            LEASEHOLD           $80,791.16          Cost-             $80,791.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 148 AT SOUTHERN PARK MALL
         7401 MARKET STREET, SPACE #245
         YOUNGSTOWN OH 44512

55.47.   __________________________________________            LEASEHOLD           $265,457.34         Cost-             $265,457.34
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 15 AT BREA MALL
         1118A BREA MALL
         BREA CA 92821

55.48.   __________________________________________            LEASEHOLD           $1,550.65           Cost-             $1,550.65
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 150 AT MALL OF NEW HAMPSHIRE
         1500 S. WILLOW BLVD., SPACE #S-167
         MANCHESTER NH 03103

55.49.   __________________________________________            LEASEHOLD           $168,484.28         Cost-             $168,484.28
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 152 AT SUNRISE MALL
         2135 SUNRISE MALL
         MASSAPEQUA NY 11758

55.50.   __________________________________________            LEASEHOLD           $99,767.40          Cost-             $99,767.40
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 153 AT CLACKAMAS TOWN CENTER
         12000 SE 82ND AVENUE, SPACE #2108
         HAPPY VALLEY OR 97086

55.51.   __________________________________________            LEASEHOLD           $62.30              Cost-             $62.30
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 156 AT MAPLEWOOD MALL
         3001 WHITE BEAR AVENUE, SPACE #1040A
         ST. PAUL MN 55109

55.52.   __________________________________________            LEASEHOLD           $418,364.69         Cost-             $418,364.69
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 157 AT DEPTFORD MALL
         1750 DEPTFORD CENTER ROAD, SPACE # 1003
         DEPTFORD NJ 08096




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 23 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 38 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.53.   __________________________________________            LEASEHOLD           $271,434.92         Cost-             $271,434.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 158 AT LOUIS JOLIET
         3340 MALL LOOP DRIVE, SUITE #1198
         JOLIET IL 60431

55.54.   __________________________________________            LEASEHOLD           $145,795.89         Cost-             $145,795.89
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 159 AT GLENBROOK SQUARE
         4201 COLDWATER ROAD, SPACE #M01
         FORT WAYNE IN 46805

55.55.   __________________________________________            LEASEHOLD           $62.30              Cost-             $62.30
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 160 AT EDEN PRAIRIE CENTER
         1138 EDEN PRAIRIE CENTER
         EDEN PRAIRIE MN 55344

55.56.   __________________________________________            LEASEHOLD           $5,801.45           Cost-             $5,801.45
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 162 AT INDEPENDENCE
         3500 OLEANDER DRIVE, SPACE 1024 & 1026
         WILMINGTON NC 28403

55.57.   __________________________________________            LEASEHOLD           $974.75             Cost-             $974.75
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 163 AT AVENUES, THE
         10300 SOUTHSIDE BLVD., SPACE #215
         JACKSONVILLE FL 32256

55.58.   __________________________________________            LEASEHOLD           $283.83             Cost-             $283.83
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 165 AT THE MALL AT WELLINGTON
         GREEN
         10300 W. FOREST HILL BOULEVARD, SPACE
         #159
         WELLINGTON FL 33414

55.59.   __________________________________________            LEASEHOLD           $41,682.55          Cost-             $41,682.55
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 168 AT POLARIS FASHION PLACE
         1500 POLARIS PARKWAY, SPACE #1170
         COLUMBUS OH 43240

55.60.   __________________________________________            LEASEHOLD           $230,687.46         Cost-             $230,687.46
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 169 AT ROBINSON, MALL AT
         100 ROBINSON CENTRE DR., SPACE #1330
         PITTSBURGH PA 15205




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 24 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 39 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.61.   __________________________________________            LEASEHOLD           $62.34              Cost-             $62.34
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 171 AT SOUTHRIDGE MALL
         5300 SOUTH 76TH STREET,SPACE #300 & 310
         GREENDALE WI 53129

55.62.   __________________________________________            LEASEHOLD           $54,774.43          Cost-             $54,774.43
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 172 AT TIPPECANOE MALL
         2415 SAGAMORE PARKWAY SOUTH, SPACE
         #D06A
         LAFAYETTE IN 47905

55.63.   __________________________________________            LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 173 AT NORTH RIVERSIDE PARK MALL
         ®
         7501 W. CERMAK ROAD, SPACE #K4
         NORTH RIVERSIDE IL 60546

55.64.   __________________________________________            LEASEHOLD           $3,144.88           Cost-             $3,144.88
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 176 AT PARKS AT ARLINGTON, THE
         3811 SOUTH COOPER STREET, SPACE #2302
         ARLINGTON TX 76015

55.65.   __________________________________________            LEASEHOLD           $727.71             Cost-             $727.71
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 177 AT LYNNHAVEN MALL
         701 LYNNHAVEN PKWY, SUITE #1085 OR SPACE
         #E-11
         VIRGINIA BEACH VA 23452

55.66.   __________________________________________            LEASEHOLD           $48,193.55          Cost-             $48,193.55
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 178 AT WESTSHORE PLAZA
         297 WESTSHORE PLAZA, SPACE #C2
         TAMPA FL 33609

55.67.   __________________________________________            LEASEHOLD           $79,300.04          Cost-             $79,300.04
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 179 AT BAYBROOK MALL
         1318 BAYBROOK MALL
         FRIENDSWOOD TX 77546

55.68.   __________________________________________            LEASEHOLD           $4,140.38           Cost-             $4,140.38
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 181 AT TREASURE COAST SQUARE
         3410A N.W. FEDERAL HIGHWAY
         JENSEN BEACH FL 34957



Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 25 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 40 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.69.   __________________________________________            LEASEHOLD           $344,196.26         Cost-             $344,196.26
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 184 AT THE GALLERIA AT FT.
         LAUDERDALE
         2414 E. SUNRISE BLVD., SPACE #2003
         FT. LAUDERDALE FL 33304

55.70.   __________________________________________            LEASEHOLD           $111.21             Cost-             $111.21
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 185 AT WOODBRIDGE CENTER ®
         250 WOODBRIDGE CENTER DRIVE, SPACE
         #2320
         WOODBRIDGE NJ 07095

55.71.   __________________________________________            LEASEHOLD           $291.66             Cost-             $291.66
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 186 AT BOYNTON BEACH MALL
         801 N. CONGRESS AVE., SUITE #249
         BOYNTON BEACH FL 33426

55.72.   __________________________________________            LEASEHOLD           $66.12              Cost-             $66.12
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 189 AT LAKES MALL, THE
         5600 HARVEY STREET, SUITE #1020
         MUSKEGON MI 49444

55.73.   __________________________________________            LEASEHOLD           $3,318.30           Cost-             $3,318.30
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 190 AT CHICAGO RIDGE MALL
         571 CHICAGO RIDGE MALL DR.
         CHICAGO RIDGE IL 60415

55.74.   __________________________________________            LEASEHOLD           $6,364.96           Cost-             $6,364.96
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 191 AT PENN SQUARE
         1901 NW EXPRESSWAY, SUITE #1106
         OKLAHOMA CITY OK 73118

55.75.   __________________________________________            LEASEHOLD           $62.50              Cost-             $62.50
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 192 AT WHITE OAKS MALL
         2501 W. WABASH AVE., SPACE #H13B
         SPRINGFIELD IL 62704

55.76.   __________________________________________            LEASEHOLD           $85,690.97          Cost-             $85,690.97
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 193 AT CORONADO CENTER
         6600 MENAUL BLVD. NE, SPACE #B-8 & B-9
         ALBUQUERQUE NM 87110




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 26 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 41 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.77.   __________________________________________            LEASEHOLD           $2,788.35           Cost-             $2,788.35
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 194 AT LIVINGSTON MALL
         112 EISENHOWER PARKWAY, SPACE #2032
         LIVINGSTON NJ 07039

55.78.   __________________________________________            LEASEHOLD           $86,147.25          Cost-             $86,147.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 196 AT PARAMUS PARK
         700 PARAMUS PARK, SUITE #1026
         PARAMUS NJ 07652

55.79.   __________________________________________            LEASEHOLD           $138,114.63         Cost-             $138,114.63
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 197 AT ANNAPOLIS
         2550 ANNAPOLIS MALL, SPACE #1300
         ANNAPOLIS MD 21401

55.80.   __________________________________________            LEASEHOLD           $719.27             Cost-             $719.27
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 198 AT WESTROADS MALL
         10000 CALIFORNIA STREET, SPACE #3635
         OMAHA NE 68114

55.81.   __________________________________________            LEASEHOLD           $239,811.52         Cost-             $239,811.52
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 199 AT MERIDIAN MALL
         1982 W. GRAND RIVER AVENUE, SPACE #249
         OKEMOS MI 48864

55.82.   __________________________________________            LEASEHOLD           $67.66              Cost-             $67.66
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 200 AT INGRAM PARK MALL
         6301 N.W. LOOP 410, SPACE #S-16A-1
         SAN ANTONIO TX 78238

55.83.   __________________________________________            LEASEHOLD           $66.64              Cost-             $66.64
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 201 AT ROCKAWAY TOWNSQUARE
         301 MT. HOPE AVENUE, SPACE #1085 & 1086
         ROCKAWAY NJ 07866

55.84.   __________________________________________            LEASEHOLD           $212.62             Cost-             $212.62
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 202 AT DESOTO SQUARE
         303 U.S. HWY 301 BLVD. WEST, SPACE #609A
         BRADENTON FL 34205




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 27 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 42 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.85.   __________________________________________            LEASEHOLD           $110.42             Cost-             $110.42
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 204 AT LAKESIDE MALL
         14000 LAKESIDE CIRCLE, SPACE #D210 & D211
         STERLING HEIGHTS MI 48313

55.86.   __________________________________________            LEASEHOLD           $544.14             Cost-             $544.14
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 205 AT DAYTON MALL
         2700 MIAMISBURG-CENTERVILLE RD., SPACE #
         360
         DAYTON OH 45459

55.87.   __________________________________________            LEASEHOLD           $62.50              Cost-             $62.50
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 206 AT REGENCY MALL
         5666 DURAND AVE., SPACE # B240
         RACINE WI 53406

55.88.   __________________________________________            LEASEHOLD           $115,017.22         Cost-             $115,017.22
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 207 AT DEERBROOK MALL
         20131 HIGHWAY 59, SPACE # 2072
         HUMBLE TX 77338

55.89.   __________________________________________            LEASEHOLD           $131,604.99         Cost-             $131,604.99
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 209 AT CHAPEL HILLS MALL
         1710 BRIARGATE BLVD., SPACE # 127
         COLORADO SPRINGS CO 80920

55.90.   __________________________________________            LEASEHOLD           $14,254.14          Cost-             $14,254.14
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 21 AT LAKEWOOD CENTER
         78 LAKEWOOD CENTER
         LAKEWOOD CA 90712

55.91.   __________________________________________            LEASEHOLD           $62.50              Cost-             $62.50
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 211 AT NESHAMINY MALL
         707 NESHAMINY MALL SPACE # 639
         BENSALEM PA 19020

55.92.   __________________________________________            LEASEHOLD           $62.50              Cost-             $62.50
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 213 AT DOVER MALL
         1365 NORTH DUPONT HWY, SPACE # 4060
         DOVER DE 19901




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 28 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 43 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.93.   __________________________________________            LEASEHOLD           $91,454.37          Cost-             $91,454.37
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 214 AT LLOYD CENTER
         974 LLOYD CENTER, SPACE # G104
         PORTLAND OR 97232

55.94.   __________________________________________            LEASEHOLD           $444.44             Cost-             $444.44
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 216 AT MID RIVERS
         1600 MID-RIVERS MALL, SPACE # 1264
         ST. PETERS MO 63376

55.95.   __________________________________________            LEASEHOLD           $21,538.17          Cost-             $21,538.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 217 AT SOUTH COUNTY
         85 SOUTH COUNTY CENTERWAY, SPACE # 450
         ST. LOUIS MO 63129

55.96.   __________________________________________            LEASEHOLD           $4,305.76           Cost-             $4,305.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 218 AT LAS VEGAS PREMIUM OUTLETS
         SOUTH
         7400 LAS VEGAS BLVD SO. # 240B
         LAS VEGAS NV 89123

55.97.   __________________________________________            LEASEHOLD           $166,257.34         Cost-             $166,257.34
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 219 AT SOONER MALL
         3329 W. MAIN STREET
         NORMAN OK 73072

55.98.   __________________________________________            LEASEHOLD           $76,718.45          Cost-             $76,718.45
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 220 AT YORKTOWN SHOPPING
         CENTER
         203 YORKTOWN, SPACE # 162, BLDG. C
         LOMBARD IL 60148

55.99.   __________________________________________            LEASEHOLD           $62.49              Cost-             $62.49
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 221 AT SUPERSTITION SPRINGS
         6555 E. SOUTHERN AVENUE, SPACE #H-22
         MESA AZ 85206

55.100. __________________________________________             LEASEHOLD           $326,744.70         Cost-             $326,744.70
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 222 AT PALM DESERT
         72-840 HIGHWAY 111, SPACE # T385
         PALM DESERT CA 92260




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 29 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 44 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.101. __________________________________________             LEASEHOLD           $211.04             Cost-             $211.04
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 223 AT QUAIL SPRINGS MALL
         2501 W. MEMORIAL ROAD, SPACE #208
         OKLAHOMA CITY OK 73134

55.102. __________________________________________             LEASEHOLD           $3,038.26           Cost-             $3,038.26
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 226 AT FLAGSTAFF MALL
         4650 NORTH HIGHWAY 89, SPACE #G-20-22
         FLAGSTAFF AZ 86004

55.103. __________________________________________             LEASEHOLD           $224.95             Cost-             $224.95
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 228 AT SQUARE ONE MALL
         ROUTE 1 SOUTH, SPACE # N120
         SAUGUS MA 01906

55.104. __________________________________________             LEASEHOLD           $345.59             Cost-             $345.59
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 230 AT AUBURN MALL
         385 SOUTHBRIDGE STREET, SPACE # N370
         AUBURN MA 01501

55.105. __________________________________________             LEASEHOLD           $149,213.21         Cost-             $149,213.21
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 231 AT THE MALL AT ROCKINGHAM
         PARK
         99 ROCKINGHAM PARK BLVD. SPACE #222A
         SALEM NH 03079

55.106. __________________________________________             LEASEHOLD           $216,241.10         Cost-             $216,241.10
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 232 AT BROOKFIELD SQUARE
         95 N. MOORLAND ROAD, SPACE # C-21
         BROOKFIELD WI 53005

55.107. __________________________________________             LEASEHOLD           $50,753.16          Cost-             $50,753.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 235 AT GREENWOOD PARK MALL
         1251 U.S. 31 NORTH, SPACE # D15A
         GREENWOOD IN 46142

55.108. __________________________________________             LEASEHOLD           $8,464.18           Cost-             $8,464.18
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 238 AT GREAT NORTHERN
         700 GREAT NORTHERN MALL, SPACE #668
         N. OLMSTEAD OH 44070




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 30 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 45 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.109. __________________________________________             LEASEHOLD           $171,997.68         Cost-             $171,997.68
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 239 AT GILROY PREMIUM OUTLETS
         8300 ARROYO CIRCLE, SPACE # B015
         GILROY CA 95020

55.110. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 241 AT BRANDON
         562 BRANDON TOWN CENTER MALL
         BRANDON FL 33511

55.111. __________________________________________             LEASEHOLD           $56,828.65          Cost-             $56,828.65
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 243 AT ARNOT MALL
         3300 CHAMBERS ROAD SOUTH, SPACE C-14
         HORSEHEADS NY 14845

55.112. __________________________________________             LEASEHOLD           $72,941.76          Cost-             $72,941.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 244 AT HOUSTON GALLERIA
         5135 WEST ALABAMA SPACE # 7270
         HOUSTON TX 77056

55.113. __________________________________________             LEASEHOLD           $85,750.59          Cost-             $85,750.59
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 248 AT THE SHOPPES AT BUCKLAND
         HILLS
         194 BUCKLAND HILLS DRIVE, SUITE 2088
         MANCHESTER CT 06040

55.114. __________________________________________             LEASEHOLD           $93,849.90          Cost-             $93,849.90
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 249 AT VALLEY WEST MALL
         1551 VALLEY WEST DRIVE, SPACE 109
         WEST DES MOINES IA 50266

55.115. __________________________________________             LEASEHOLD           $45.83              Cost-             $45.83
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 25 AT MORENO VALLEY MALL
         22500 TOWN CIRCLE, SPACE #1138
         MORENO VALLEY CA 92553

55.116. __________________________________________             LEASEHOLD           $185,895.01         Cost-             $185,895.01
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 250 AT SPRINGFIELD MALL
         1250 BALTIMORE PIKE, SPACE 8A & 8AL
         SPRINGFIELD PA 19064




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 31 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 46 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.117. __________________________________________             LEASEHOLD           $1,060.70           Cost-             $1,060.70
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 253 AT CAPITAL CITY MALL
         3574 CAPITAL CITY MALL DRIVE, SPACE 220 &
         224
         CAMP HILL PA 17011

55.118. __________________________________________             LEASEHOLD           $101,111.76         Cost-             $101,111.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 254 AT MALL OF LOUISIANA
         6401 BLUEBONNET BLVD, SPACE 2100
         BATON ROUGE LA 70836

55.119. __________________________________________             LEASEHOLD           $67,333.93          Cost-             $67,333.93
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 255 AT OAKLAND MALL
         450 WEST 14 MILE ROAD, SPACE 450
         TROY MI 48083

55.120. __________________________________________             LEASEHOLD           $198.11             Cost-             $198.11
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 257 AT MALL ST. VINCENT
         1133 ST. VINCENT AVENUE, SPACE 380
         SHREVEPORT LA 71104

55.121. __________________________________________             LEASEHOLD           $166,285.92         Cost-             $166,285.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 259 AT JEFFERSON VALLEY MALL
         650 LEE BOULEVARD, SPACE F18B
         YORKTOWN HEIGHTS NY 10598

55.122. __________________________________________             LEASEHOLD           $1,212.16           Cost-             $1,212.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 260 AT VALLE VISTA MALL
         2020 SOUTH EXPRESSWAY 83, SPACE F07A
         HARLINGEN TX 78552

55.123. __________________________________________             LEASEHOLD           $541.17             Cost-             $541.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 261 AT HANES MALL
         3320 SILAS CREEK PARKWAY, SP# AL124
         WINSTON-SALEM NC 27103

55.124. __________________________________________             LEASEHOLD           $153,092.62         Cost-             $153,092.62
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 262 AT NORTHWOODS MALL
         2150 NORTHWOODS BLVD SP E7
         N. CHARLESTON SC 29406-4021




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 32 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 47 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.125. __________________________________________             LEASEHOLD           $119,251.14         Cost-             $119,251.14
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 263 AT GREECE RIDGE CENTER
         271 GREECERIDGE CENTER DR., SP H-15
         ROCHESTER NY 14626

55.126. __________________________________________             LEASEHOLD           $5,679.84           Cost-             $5,679.84
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 264 AT LANSING MALL
         5330 SAGINAW HIGHWAY, SP 310
         LANSING MI 48917

55.127. __________________________________________             LEASEHOLD           $2,992.56           Cost-             $2,992.56
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 265 AT WESTMORELAND MALL
         5256 ROUTE 30, SP# 257
         GREENSBURG PA 15601

55.128. __________________________________________             LEASEHOLD           $375.02             Cost-             $375.02
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 267 AT TOWNE WEST SQUARE
         4600 W. KELLOGG SP# J07A
         WICHITA KS 67209

55.129. __________________________________________             LEASEHOLD           $159,394.15         Cost-             $159,394.15
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 268 AT BAY PARK SQUARE
         303 BAY PARK SQUARE, SP# 915
         GREEN BAY WI 54304

55.130. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 27 AT WEST COVINA
         735 PLAZA DRIVE
         WEST COVINA CA 91790

55.131. __________________________________________             LEASEHOLD           $239,518.59         Cost-             $239,518.59
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 270 AT PEMBROKE LAKES MALL
         11401 PINES BOULEVARD, SP# 664
         PEMBROKE PINES FL 33026

55.132. __________________________________________             LEASEHOLD           $72,681.84          Cost-             $72,681.84
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 273 AT MALL ST. MATTHEWS
         5000 SHELBYVILLE ROAD, SPACE 1320
         LOUISVILLE KY 40207




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 33 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 48 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.133. __________________________________________             LEASEHOLD           $298,406.61         Cost-             $298,406.61
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 274 AT MALL OF AMERICA
         141 EAST BROADWAY, SPACE E141
         BLOOMINGTON MN 55425

55.134. __________________________________________             LEASEHOLD           $45,686.54          Cost-             $45,686.54
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 275 AT WOLFCHASE GALLERIA
         2760 N. GERMANTOWN RD, SPACE 1470A
         MEMPHIS TN 38133

55.135. __________________________________________             LEASEHOLD           $49,600.35          Cost-             $49,600.35
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 276 AT CORDOVA MALL
         5100 NORTH 9TH AVENUE, SPACE D412
         PENSACOLA FL 32504

55.136. __________________________________________             LEASEHOLD           $216,238.52         Cost-             $216,238.52
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 277 AT OAKRIDGE
         925 BLOSSOM HILL ROAD, SUITE 1504
         SAN JOSE CA 95123

55.137. __________________________________________             LEASEHOLD           $4,632.46           Cost-             $4,632.46
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 278 AT SOUTHLAKE
         2063 SOUTHLAKE MALL, SP# CL318
         MERRILLVILLE IN 46410

55.138. __________________________________________             LEASEHOLD           $109,718.37         Cost-             $109,718.37
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 279 AT BATTLEFIELD MALL
         101 BATTLEFIELD ROAD SPACE P12B
         SPRINGFIELD MO 65804

55.139. __________________________________________             LEASEHOLD           $1,200.24           Cost-             $1,200.24
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 28 AT TOPANGA
         6600 TOPANGA CANYON BLVD., SPACE #45
         CANOGA PARK CA 91303

55.140. __________________________________________             LEASEHOLD           $1,862.16           Cost-             $1,862.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 280 AT HAWTHORN MALL
         122 HAWTHORN CENTER, SP# 704
         VERNON HILLS IL 60061




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 34 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 49 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.141. __________________________________________             LEASEHOLD           $232,225.84         Cost-             $232,225.84
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 281 AT SAN MARCOS OUTLET CENTER
         4015 INTERSTATE 35 SOUTH, SUITE 321
         SAN MARCOS TX 78666

55.142. __________________________________________             LEASEHOLD           $360,969.53         Cost-             $360,969.53
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 282 AT FASHION SQUARE MALL
         (RELOCATION)
         4667 FASHION SQUARE MALL, SPACE C318
         SAGINAW MI 48604

55.143. __________________________________________             LEASEHOLD           $278,883.14         Cost-             $278,883.14
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 284 AT MEMORIAL CITY MALL
         292 MEMORIAL CITY MALL, SP# 612
         HOUSTON TX 77024

55.144. __________________________________________             LEASEHOLD           $357,393.03         Cost-             $357,393.03
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 286 AT RIVERHEAD OUTLET CENTER
         1410 TANGER MALL DRIVE, SP. 1410
         RIVERHEAD NY 11901

55.145. __________________________________________             LEASEHOLD           $153,700.01         Cost-             $153,700.01
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 287 AT CONNECTICUT POST MALL
         1201 BOSTON POST RD SP #2053
         MILFORD CT 06460

55.146. __________________________________________             LEASEHOLD           $55,089.65          Cost-             $55,089.65
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 288 AT MEADOWOOD MALL
         5352 MEADOWOOD MALL CIRCLE
         RENO NV 89502

55.147. __________________________________________             LEASEHOLD           $136,623.86         Cost-             $136,623.86
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 29 AT MEADOWS MALL
         4300 MEADOWS LANE, SUITE #1460
         LAS VEGAS NV 89107

55.148. __________________________________________             LEASEHOLD           $730.47             Cost-             $730.47
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 291 AT VALENCIA TOWN CENTER
         24201 WEST VALENCIA BLVD SPACE 1049
         VALENCIA CA 91355




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 35 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 50 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.149. __________________________________________             LEASEHOLD           $137,518.83         Cost-             $137,518.83
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 292 AT LAS VEGAS PREMIUM OUTLETS
         NORTH
         755 SOUTH GRAND CENTRAL PARKWAY, SPACE
         1186
         LAS VEGAS NV 89106

55.150. __________________________________________             LEASEHOLD           $106,351.77         Cost-             $106,351.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 293 AT COASTAL GRAND MALL
         2000 COASTAL GRAND CIRCLE
         MYRTLE BEACH SC 29577

55.151. __________________________________________             LEASEHOLD           $245,499.99         Cost-             $245,499.99
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 295 AT SOUTHPARK
         828 SOUTHPARK CENTER, SPACE #BU828
         STRONGVILLE OH 44136

55.152. __________________________________________             LEASEHOLD           $49,845.99          Cost-             $49,845.99
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 296 AT MILLCREEK MALL
         5800 PEACH STREET, SPACE 622
         ERIE PA 16565

55.153. __________________________________________             LEASEHOLD           $55,151.80          Cost-             $55,151.80
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 297 AT MAGNOLIA MALL
         2701 DAVID MCLEOD BOULEVARD, SP# 1226
         FLORENCE SC 29501

55.154. __________________________________________             LEASEHOLD           $330,767.81         Cost-             $330,767.81
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 30 AT ARROWHEAD TOWNE CENTER
         7700 W. ARROWHEAD TOWN CENTER, SPACE
         #1097
         GLENDALE AZ 85308

55.155. __________________________________________             LEASEHOLD           $34,922.17          Cost-             $34,922.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 300 AT WESTLAND CENTER
         35000 WEST WARREN ROAD, SP# 716
         WESTLAND MI 48185

55.156. __________________________________________             LEASEHOLD           $56,675.57          Cost-             $56,675.57
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 301 AT CHERRYVALE MALL
         7200 HARRISON AVENUE, SP# G23
         ROCKFORD IL 61112



Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 36 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 51 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.157. __________________________________________             LEASEHOLD           $654.25             Cost-             $654.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 302 AT STONES RIVER MALL
         1720 OLD FORT PARKWAY, SP#D170
         MURFREESBORO TN 37129

55.158. __________________________________________             LEASEHOLD           $560.13             Cost-             $560.13
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 304 AT PACIFIC VIEW
         3301-1 EAST MAIN STREET, SPACE 2266
         VENTURA CA 93003

55.159. __________________________________________             LEASEHOLD           $154,123.31         Cost-             $154,123.31
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 305 AT TOWNE EAST SQUARE
         7700 EAST KELLOGG DRIVE, SP# P07B
         WICHITA KS 67207

55.160. __________________________________________             LEASEHOLD           $3,845.69           Cost-             $3,845.69
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 306 AT CHERRY HILL
         2000 ROUTE 38, SP# 1811
         CHERRY HILL NJ 08002

55.161. __________________________________________             LEASEHOLD           $3,769.56           Cost-             $3,769.56
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 307 AT FASHION OUTLETS OF LAS
         VEGAS
         32100 LAS VEGAS BOULEVARD SOUTH, SP# 236
         PRIMM NV 89019

55.162. __________________________________________             LEASEHOLD           $2,052.24           Cost-             $2,052.24
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 308 AT GATEWAY
         #5 GATEWAY MALL, SP# 292
         LINCOLN NE 68505

55.163. __________________________________________             LEASEHOLD           $3,475.63           Cost-             $3,475.63
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 309 AT NEWPORT CENTRE
         30 MALL DRIVE WEST, SP# OA63
         JERSEY CITY NJ 07310

55.164. __________________________________________             LEASEHOLD           $276,604.13         Cost-             $276,604.13
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 310 AT STONEWOOD CENTER
         410 STONEWOOD STREET, SP# G-27
         DOWNEY CA 90241




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 37 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 52 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.165. __________________________________________             LEASEHOLD           $77.00              Cost-             $77.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 311 AT OAK COURT
         4465 POPLAR AVENUE, SP# 2314A
         MEMPHIS TN 38117

55.166. __________________________________________             LEASEHOLD           $223,574.54         Cost-             $223,574.54
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 312 AT WOODLAND MALL
         3195 28TH STREET SE, SPACE E-107
         GRAND RAPIDS MI 49512

55.167. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 313 AT WEST RIDGE MALL
         1801 SW WANAMAKER ROAD, SP# G25A
         TOPEKA KS 66604

55.168. __________________________________________             LEASEHOLD           $6,744.62           Cost-             $6,744.62
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 314 AT STATEN ISLAND MALL
         2655 RICHMOND AVENUE, SP# 1240
         STATEN ISLAND NY 10314

55.169. __________________________________________             LEASEHOLD           $541.16             Cost-             $541.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 315 AT ASHEVILLE MALL
         3 SOUTH TUNNEL ROAD, SP# L85
         ASHEVILLE NC 28805

55.170. __________________________________________             LEASEHOLD           $330,665.75         Cost-             $330,665.75
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 316 AT LOGAN VALLEY
         ROUTE 220 & GOODS LANE, SP# 416
         ALTOONA PA 16602

55.171. __________________________________________             LEASEHOLD           $28,108.96          Cost-             $28,108.96
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 317 AT MUNCIE MALL
         3501 NORTH GRANVILLE AVENUE, SP# K02D
         MUNCIE IN 47303

55.172. __________________________________________             LEASEHOLD           $108,871.31         Cost-             $108,871.31
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 319 AT MACARTHUR CENTER
         300 MONTICELLO AVENUE
         NORFOLK VA 23510




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 38 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 53 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.173. __________________________________________             LEASEHOLD           $104.16             Cost-             $104.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 32 AT TUCSON MALL
         4500 NORTH ORACLE ROAD, SPACE #173
         TUCSON AZ 85705

55.174. __________________________________________             LEASEHOLD           $104.16             Cost-             $104.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 321 AT COLLEGE MALL
         2840 EAST THIRD STREET
         BLOOMINGTON IN 47401

55.175. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 322 AT ESPLANADE MALL
         1401 WEST ESPLANADE, SP# 414
         KENNER LA 70065

55.176. __________________________________________             LEASEHOLD           $2,926.70           Cost-             $2,926.70
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 323 AT IMPERIAL VALLEY
         3451 SOUTH DOGWOOD AVENUE, SP# 1056
         EL CENTRO CA 92243

55.177. __________________________________________             LEASEHOLD           $3,282.56           Cost-             $3,282.56
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 324 AT WHEATON
         11160 VEIRS MILL ROAD, SP# 156
         WHEATON MD 20902

55.178. __________________________________________             LEASEHOLD           $149.99             Cost-             $149.99
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 325 AT COOLSPRINGS GALLERIA
         1800 GALLERIA BOULEVARD, SP# 2080
         FRANKLIN TN 37067

55.179. __________________________________________             LEASEHOLD           $137.29             Cost-             $137.29
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 326 AT SANTA ROSA MALL
         300 MARY ESTHER BOULEVARD, SUITE 21
         MARY ESTHER FL 32569

55.180. __________________________________________             LEASEHOLD           $90,223.00          Cost-             $90,223.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 327 AT EAST TOWNE MALL
         375 EAST TOWNE MALL, SP# A-110
         MADISON WI 53704




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 39 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 54 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.181. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 328 AT BURBANK TOWN CENTER
         201 EAST MAGNOLIA BOULEVARD, SP# 239
         BURBANK CA 91502

55.182. __________________________________________             LEASEHOLD           $6,241.73           Cost-             $6,241.73
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 329 AT COLUMBIA PLACE MALL
         7201 AU-556 TWO NOTCH ROAD
         COLUMBIA SC 29223

55.183. __________________________________________             LEASEHOLD           $5,204.24           Cost-             $5,204.24
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 33 AT NORTHRIDGE FASHION CTR
         9301 TAMPA AVENUE, SPACE #9
         NORTHRIDGE CA 91324

55.184. __________________________________________             LEASEHOLD           $3,498.20           Cost-             $3,498.20
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 330 AT SPOTSYLVANIA TOWNE
         CENTRE
         230 SPOTSYLVANIA MALL (COMBO OF SP#
         230&235)
         FREDRICKSBURG VA 22407

55.185. __________________________________________             LEASEHOLD           $877.08             Cost-             $877.08
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 331 AT PEACHTREE MALL
         3131 MANCHESTER EXPRESSWAY, SP# 9
         COLUMBUS GA 31909

55.186. __________________________________________             LEASEHOLD           $50,917.25          Cost-             $50,917.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 332 AT OGLETHORPE MALL
         7804 ABERCORN STREET, SP# 196
         SAVANNAH GA 31406

55.187. __________________________________________             LEASEHOLD           $400,190.80         Cost-             $400,190.80
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 333 AT FRANKLIN PARK
         5001 MONROE STREET, #1075
         TOLEDO OH 43623

55.188. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 334 AT CARY TOWNE CENTER
         1105 WALNUT STREET, SP# H0154
         CARY NC 27511




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 40 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 55 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.189. __________________________________________             LEASEHOLD           $940.95             Cost-             $940.95
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 335 AT ST. CHARLES TOWNE CENTER
         11110 MALL CIRCLE, SP# Q05
         WALDORF MD 20603

55.190. __________________________________________             LEASEHOLD           $101,461.39         Cost-             $101,461.39
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 336 AT NORTHWEST ARKANSAS
         4201 NORTH SHILOH DRIVE, SP#1480
         FAYETTEVILLE AR 72703

55.191. __________________________________________             LEASEHOLD           $133,421.22         Cost-             $133,421.22
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 337 AT GOVERNOR'S SQUARE
         1500 APALACHEE PARKWAY, SP# 2185
         TALLAHASSEE FL 32301

55.192. __________________________________________             LEASEHOLD           $281,142.21         Cost-             $281,142.21
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 338 AT CUMBERLAND MALL
         1216 CUMBERLAND MALL, SP #0254
         ATLANTA GA 30339

55.193. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 34 AT MONTEBELLO TOWN CENTER
         1843 MONTEBELLO TOWN CENTER, SPACE #C-
         05
         MONTEBELLO CA 90640

55.194. __________________________________________             LEASEHOLD           $6,043.84           Cost-             $6,043.84
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 340 AT GREENBRIER
         1401 GREENBRIER PARKWAY SOUTH, SP# 1060
         CHESAPEAKE VA 23320

55.195. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 342 AT STAMFORD TOWN CENTER
         100 GREYROCK PLACE, SP# E125
         STAMFORD CT 06901

55.196. __________________________________________             LEASEHOLD           $4,461.77           Cost-             $4,461.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 343 AT PARK CITY CENTER
         142 PARK CITY CENTER, SP# G757
         LANCASTER PA 17601




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 41 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 56 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.197. __________________________________________             LEASEHOLD           $3,854.20           Cost-             $3,854.20
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 344 AT EMPIRE
         1660 WEST EMPIRE MALL, SP# 402
         SIOUX FALLS SD 57106

55.198. __________________________________________             LEASEHOLD           $5,076.47           Cost-             $5,076.47
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 345 AT UNIVERSITY PARK MALL
         6501 NORTH GRAPE ROAD, SP# 280A
         MISHAWAKA IN 46545

55.199. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 346 AT GALLERIA AT PITTSBURGH*
         434 PITTSBURGH MILLS CIRCLE
         TARENTUM PA 15084

55.200. __________________________________________             LEASEHOLD           $230,155.81         Cost-             $230,155.81
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 347 AT VALLEY RIVER CENTER
         293 VALLEY RIVER CENTER, SP# E0008/E0009
         EUGENE OR 97401

55.201. __________________________________________             LEASEHOLD           $127,108.45         Cost-             $127,108.45
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 348 AT AURORA MALL
         14200 EAST ALAMEDA AVENUE, SP# 1009A
         AURORA CO 80012

55.202. __________________________________________             LEASEHOLD           $8,177.02           Cost-             $8,177.02
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 349 AT GREAT LAKES MALL
         7850 MENTOR AVENUE, SP# 574A
         MENTOR OH 44060

55.203. __________________________________________             LEASEHOLD           $1,968.51           Cost-             $1,968.51
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 35 AT GLENDALE GALLERIA
         2122 GLENDALE GALLERIA
         GLENDALE CA 91210

55.204. __________________________________________             LEASEHOLD           $400.00             Cost-             $400.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 350 AT WEST VALLEY MALL
         3200 NORTH NAGLEE ROAD, SP# 516
         TRACY CA 95304




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 42 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 57 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.205. __________________________________________             LEASEHOLD           $111.07             Cost-             $111.07
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 352 AT OCEAN COUNTY
         1201 HOOPER AVENUE, SP# 1033A
         TOMS RIVER NJ 08753

55.206. __________________________________________             LEASEHOLD           $4,613.02           Cost-             $4,613.02
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 354 AT BEL AIR
         3299 BELAIR MALL, SP# C-22
         MOBILE AL 36606

55.207. __________________________________________             LEASEHOLD           $115,776.00         Cost-             $115,776.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 355 AT CRABTREE VALLEY
         4325 GLENWOOD AVENUE, SP# 1025
         RALEIGH NC 27612

55.208. __________________________________________             LEASEHOLD           $5,199.06           Cost-             $5,199.06
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 356 AT TURTLE CREEK MALL
         1000 TURTLE CREEK DRIVE, SP#185
         HATTIESBURG MS 39402

55.209. __________________________________________             LEASEHOLD           $122,701.12         Cost-             $122,701.12
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 357 AT NORTHLAKE
         6801 NORTHLAKE MALL DRIVE, SP# 168
         CHARLOTTE NC 28216

55.210. __________________________________________             LEASEHOLD           $3,834.01           Cost-             $3,834.01
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 359 AT KENTUCKY OAKS
         5101 HINKLEVILLE ROAD, SP# 330 (COMBO OF
         325&330)
         PADUCAH KY 42001

55.211. __________________________________________             LEASEHOLD           $48,909.80          Cost-             $48,909.80
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 360 AT TRIANGLE TOWN CENTER
         5959 TRIANGLE TOWN BLVD,SP# 1037(COMBO
         OF 1037&1039)
         RALEIGH NC 27616

55.212. __________________________________________             LEASEHOLD           $416,451.94         Cost-             $416,451.94
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 361 AT CROSS CREEK
         418 CROSS CREEK MALL, UNIT TB-04
         FAYETTEVILLE NC 28303




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 43 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 58 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.213. __________________________________________             LEASEHOLD           $2,229.56           Cost-             $2,229.56
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 362 AT VALLEY VIEW
         4802 VALLEY VIEW BLVD NW, SP# UE220
         (COMBO OF UE220&UE225)
         ROANOKE VA 24012

55.214. __________________________________________             LEASEHOLD           $625.00             Cost-             $625.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 363 AT BARNES CROSSING
         1001 BARNES CROSSING ROAD, SP# 224
         TUPELO MS 38801

55.215. __________________________________________             LEASEHOLD           $1,577.62           Cost-             $1,577.62
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 364 AT JEFFERSON
         4801 OUTER LOOP, SP# C552 (COMBO OF C552
         & C556)
         LOUISVILLE KY 40219

55.216. __________________________________________             LEASEHOLD           $2,440.99           Cost-             $2,440.99
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 365 AT SHOPS AT TANFORAN
         1150 EL CAMINO REAL, SPACE 160
         SAN BRUNO CA 94066

55.217. __________________________________________             LEASEHOLD           $2,445.15           Cost-             $2,445.15
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 366 AT FIREWHEEL TOWN CENTER
         370 CEDAR SAGE DRIVE, SP# M01
         GARLAND TX 75040

55.218. __________________________________________             LEASEHOLD           $166,789.69         Cost-             $166,789.69
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 368 AT THE PROMENADE SHOPS AT
         CENTERRA
         5897 SKY POND DRIVE, SUITE K100
         LOVELAND CO 80538

55.219. __________________________________________             LEASEHOLD           $3,764.66           Cost-             $3,764.66
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 369 AT EASTLAND
         800 NORTH GREEN RIVER ROAD, SP# 0070A
         EVANSVILLE IN 47715

55.220. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 37 AT GALLERIA AT SUNSET
         1300 WEST SUNSET ROAD, SPACE #1309
         HENDERSON NV 89014



Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 44 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 59 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.221. __________________________________________             LEASEHOLD           $845.59             Cost-             $845.59
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 370 AT ACADIANA
         5725 JOHNSTON STREET, SP# A257
         LAFAYETTE LA 70503

55.222. __________________________________________             LEASEHOLD           $41,872.24          Cost-             $41,872.24
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 371 AT EASTRIDGE
         2200 EASTRIDGE LOOP, SP# 1040
         SAN JOSE CA 95122

55.223. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 374 AT EXTON SQUARE
         316 EXTON SQUARE PARKWAY
         EXTON PA 19341

55.224. __________________________________________             LEASEHOLD           $677.08             Cost-             $677.08
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 375 AT TURTLE CREEK, MALL AT
         3000 EAST HIGHLAND DRIVE, SP# 403
         JONESBORO AR 72401

55.225. __________________________________________             LEASEHOLD           $700.00             Cost-             $700.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 377 AT NORTHPARK MALL-MS
         1200 EAST COUNTY LINE ROAD, SP# 1412
         RIDGELAND MS 39157

55.226. __________________________________________             LEASEHOLD           $192.31             Cost-             $192.31
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 378 AT OAK VIEW MALL
         3001 SOUTH 144TH STREET, SP# D15
         OMAHA NE 68144

55.227. __________________________________________             LEASEHOLD           $262,909.89         Cost-             $262,909.89
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 38 AT ONTARIO MILLS MALL
         1 MILLS CIRCLE, SPACE #502
         ONTARIO CA 91764

55.228. __________________________________________             LEASEHOLD           $94,034.75          Cost-             $94,034.75
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 381 AT TWELVE OAKS MALL
         27244 NOVI ROAD, SPACE #B126
         NOVI MI 48377




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 45 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 60 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.229. __________________________________________             LEASEHOLD           $104.97             Cost-             $104.97
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 382 AT GALLERIA AT WHITE PLAINS
         100 MAIN STREET, SP# 210
         WHITE PLAINS NY 10601

55.230. __________________________________________             LEASEHOLD           $1,978.04           Cost-             $1,978.04
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 383 AT LAKELAND SQUARE MALL
         3800 US HIGHWAY 98 NORTH, SP# 756
         (PREVIOUSLY 758)
         LAKELAND FL 33809

55.231. __________________________________________             LEASEHOLD           $110,149.07         Cost-             $110,149.07
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 384 AT BELDEN VILLAGE
         4145 BELDEN VILLAGE MALL
         CANTON OH 44718

55.232. __________________________________________             LEASEHOLD           $387.12             Cost-             $387.12
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 386 AT LEHIGH VALLEY
         124 LEHIGH VALLEY MALL, SP# 1038A
         WHITEHALL PA 18052

55.233. __________________________________________             LEASEHOLD           $2,807.43           Cost-             $2,807.43
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 387 AT NORTH POINT
         1000 N. POINT CIRCLE, SP# 2040
         ALPHARETTA GA 30022

55.234. __________________________________________             LEASEHOLD           $288.74             Cost-             $288.74
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 388 AT CIRCLE CENTER
         49 WEST MARYLAND DRIVE, SP# F12B
         INDIANAPOLIS IN 46204

55.235. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 391 AT AVENUE VIERA
         2261 TOWNE CENTER AVENUE, SP# 870
         VIERA FL 32940

55.236. __________________________________________             LEASEHOLD           $241,459.30         Cost-             $241,459.30
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 392 AT SOUTHLAND-FL
         20505 S DIXIE HIGHWAY, SP# 813 AND 805
         CUTLER BAY FL 33189




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 46 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 61 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.237. __________________________________________             LEASEHOLD           $1,589.77           Cost-             $1,589.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 395 AT BRUNSWICK SQUARE
         755 STATE ROUTE 18, SP# 216A
         EAST BRUNSWICK NJ 08816

55.238. __________________________________________             LEASEHOLD           $1,709.69           Cost-             $1,709.69
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 396 AT THE SHOPS AT PERRY
         CROSSING
         340 METROPOLIS MILE STE. 115
         PLAINFIELD IN 46168

55.239. __________________________________________             LEASEHOLD           $1,001.10           Cost-             $1,001.10
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 398 AT VALLEY HILLS MALL
         1960 HIGHWAY 70 SE, SP #222
         HICKORY NC 28602

55.240. __________________________________________             LEASEHOLD           $3,505.76           Cost-             $3,505.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 399 AT SILVER CITY GALLERIA
         2 GALLERIA MALL DRIVE, SP #A212
         TAUNTON MA 02780

55.241. __________________________________________             LEASEHOLD           $3,497.13           Cost-             $3,497.13
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 40 AT VALLEY PLAZA MALL
         2701 MING AVENUE, SPACE #108
         BAKERSFIELD CA 93304

55.242. __________________________________________             LEASEHOLD           $8,004.19           Cost-             $8,004.19
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 400 AT REGENCY SQUARE VIRGINIA
         1420 PARHAM ROAD, SP #S135
         RICHMOND VA 23229

55.243. __________________________________________             LEASEHOLD           $621.98             Cost-             $621.98
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 402 AT HULEN MALL
         250 HULEN MALL, SP #1625
         FORT WORTH TX 76132

55.244. __________________________________________             LEASEHOLD           $15,081.18          Cost-             $15,081.18
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 403 AT VOLUSIA MALL
         1700 W INTERNATIONAL SPEEDWAY BLVD., SP
         #249
         DAYTONA FL 32114




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 47 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 62 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.245. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 404 AT PINNACLE HILLS
         2203 S. PROMENADE BLVD. SPACE 4150
         ROGERS AR 72758

55.246. __________________________________________             LEASEHOLD           $139.25             Cost-             $139.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 405 AT DOS LAGOS, THE SHOPS AT
         2795 CABOT DRIVE, SUITE 125
         CORONA CA 92883

55.247. __________________________________________             LEASEHOLD           $139.25             Cost-             $139.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 405 THE SHOPS AT DOS LAGOS
         2795 CABOT DRIVE, SUITE 125
         CORONA CA 92883

55.248. __________________________________________             LEASEHOLD           $5,155.73           Cost-             $5,155.73
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 407 AT NORTHFIELD AT STAPLETON
         8316 NORTHFIELD BLVD. SPACE #1630
         DENVER CO 80238

55.249. __________________________________________             LEASEHOLD           $700.83             Cost-             $700.83
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 408 AT FOUR SEASONS
         410 FOUR SEASONS TOWN CENTRE, SP #142
         GREENSBORO NC 27407

55.250. __________________________________________             LEASEHOLD           $447,925.84         Cost-             $447,925.84
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 410 AT QUEENS CENTER
         90-15 QUEENS BOULEVARD, SPACE #0069
         ELMHURST NY 11373

55.251. __________________________________________             LEASEHOLD           $455.48             Cost-             $455.48
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 412 AT SAWGRASS MILLS
         2602 SAWGRASS MILLS CIRCLE, SP# 1215
         SUNRISE FL 33323

55.252. __________________________________________             LEASEHOLD           $1,780.61           Cost-             $1,780.61
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 418 AT EDGEWATER MALL
         2600 BEACH BLVD., SP #2
         BILOXI MS 39531




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 48 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 63 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.253. __________________________________________             LEASEHOLD           $124.20             Cost-             $124.20
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 419 AT GEORGIA SQUARE MALL
         3700 ATLANTA HWY, SP #48
         ATHENS GA 30606

55.254. __________________________________________             LEASEHOLD           $47,056.50          Cost-             $47,056.50
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 42 AT PEARLRIDGE CENTER
         98-1005 MOANALUA ROAD
         AIEA HI 96701

55.255. __________________________________________             LEASEHOLD           $989.89             Cost-             $989.89
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 420 AT BOULEVARD-NY
         1229 NIAGRA FALLS BLVD., SPACE 409
         AMHERST NY 14226

55.256. __________________________________________             LEASEHOLD           $951.09             Cost-             $951.09
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 421 AT PARKWAY PLACE
         2801 MEMORIAL PKWY SOUTH SPACE 190
         HUNTSVILLE AL 35801

55.257. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 422 AT GULF COAST TOWN CTR
         9903 GULF COAST MAIN ST. STE.100
         FORT MEYERS FL 33913

55.258. __________________________________________             LEASEHOLD           $349.47             Cost-             $349.47
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 423 AT RIO GRANDE VALLEY
         5001 EAST US EXPRESSWAY 83 , SUITE 304
         MERCEDES TX 78570

55.259. __________________________________________             LEASEHOLD           $775.98             Cost-             $775.98
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 424 AT BOLINGBROOK
         635 E. BOUGHTON RD. STE. 110, SPACE 780
         BOLINGBROOK IL 60440

55.260. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 425 AT NORTHGATE-NC
         1058 WEST CLUB BLVD., SP #201
         DURHAM NC 27701




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 49 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 64 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.261. __________________________________________             LEASEHOLD           $3,083.27           Cost-             $3,083.27
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 426 AT GREENWOOD MALL
         2625 SCOTTSVILLE RD. , SPACE 116& 118
         BOWLING GREEN KY 42104

55.262. __________________________________________             LEASEHOLD           $8,143.35           Cost-             $8,143.35
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 427 AT YORK GALLERIA
         2899 WHITEFORD RD., SUITE 274
         YORK PA 17402

55.263. __________________________________________             LEASEHOLD           $1,175.88           Cost-             $1,175.88
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 428 AT FIRST COLONY
         16535 SOUTHWEST FREEWAY, SP #123
         SUGARLAND TX 77479

55.264. __________________________________________             LEASEHOLD           $266,078.32         Cost-             $266,078.32
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 429 AT ZONA ROSA
         7260 NW 86TH PL, SPACE H-177
         KANSAS CITY MO 64153

55.265. __________________________________________             LEASEHOLD           $2,466.11           Cost-             $2,466.11
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 430 AT POST OAK
         1500 HARVEY ROAD, SP #2020
         COLLEGE STATION TX 77840

55.266. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 431 AT VIEWMONT MALL
         100 VIEWMONT MALL, SP #771
         SCRANTON PA 18508

55.267. __________________________________________             LEASEHOLD           $1,902.30           Cost-             $1,902.30
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 432 AT OAKDALE
         601-635 HARRY L DR. SPACE 66-69
         JOHNSON CITY NY 13790

55.268. __________________________________________             LEASEHOLD           $2,177.39           Cost-             $2,177.39
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 433 AT EAGLE RIDGE
         718 EAGLE RIDGE DR.
         LAKE WALES FL 33859




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 50 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 65 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.269. __________________________________________             LEASEHOLD           $381,049.76         Cost-             $381,049.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 435 AT PATRICK HENRY (RELOCATION)
         12300 JEFFERSON AVE. , SP #214
         NEWPORT NEWS VA 23602

55.270. __________________________________________             LEASEHOLD           $1,274.17           Cost-             $1,274.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 437 AT MONMOUTH
         180 ROUTE 35 & 36, SP #1004
         EATONTOWN NJ 07724

55.271. __________________________________________             LEASEHOLD           $7,863.08           Cost-             $7,863.08
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 438 AT WESTGATE MALL
         7701 WEST INTERSTATE 40, SP #354
         AMARILLO TX 79121

55.272. __________________________________________             LEASEHOLD           $638.15             Cost-             $638.15
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 439 AT RIVER HILLS MALL
         1850 ADAMS ST., SP #418
         MANKATO MN 56001

55.273. __________________________________________             LEASEHOLD           $2,289.26           Cost-             $2,289.26
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 440 AT FREEHOLD RACEWAY
         3710 ROUTE 9, SP #A120
         FREEHOLD NJ 07728

55.274. __________________________________________             LEASEHOLD           $1,336.43           Cost-             $1,336.43
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 442 AT EASTDALE
         1000 EASTDALE MALL, SPACE E-1
         MONTGOMERY AL 36117

55.275. __________________________________________             LEASEHOLD           $913.23             Cost-             $913.23
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 443 AT SALMON RUN
         21182 SALMON RUN MALL LOOP WEST, SP #D-
         106
         WATERTOWN NY 13601

55.276. __________________________________________             LEASEHOLD           $6,822.25           Cost-             $6,822.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 444 AT GREEN ACRES
         1004 GREEN ACRES MALL, SP #44
         VALLEY STREAM NY 11581




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 51 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19         Page 66 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.277. __________________________________________             LEASEHOLD           $1,575.81           Cost-             $1,575.81
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 445 AT CROSSROADS-MI
         6650 SOUTH WESTNEDGE AVENUE, SP# 222
         PORTAGE MI 49024

55.278. __________________________________________             LEASEHOLD           $329.58             Cost-             $329.58
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 446 AT TEMPE MARKETPLACE
         2000 E. RIO FALADO PKWY, STE. 1248
         TEMPE AZ 85281

55.279. __________________________________________             LEASEHOLD           $1,421.61           Cost-             $1,421.61
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 447 AT POUGHKEEPSIE-SOUTH HILLS
         2001 SOUTH ROAD, SP #A206
         POUGHKEEPSIE NY 12601

55.280. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 448 AT COASTLAND CENTER
         1752 TAMIAMI TRAIL NORTH SP #D-4
         NAPLES FL 34102

55.281. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 449 AT AUGUSTA
         3450 WRIGHTSBORO ROAD, SP #1430
         AUGUSTA GA 30909

55.282. __________________________________________             LEASEHOLD           $208.74             Cost-             $208.74
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 45 AT GRAPEVINE MILLS
         3000 GRAPEVINE MILLS PARKWAY, SPACE #542
         GRAPEVINE TX 76051

55.283. __________________________________________             LEASEHOLD           $154.36             Cost-             $154.36
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 451 AT SOUTH SHORE PLAZA
         250 GRANITE STREET, SP #1058A
         BRAINTREE MA 02184

55.284. __________________________________________             LEASEHOLD           $626.95             Cost-             $626.95
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 452 AT GALLERIA DALLAS
         13350 DALLAS PKWY, SP #3185
         DALLAS TX 75240




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 52 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19         Page 67 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.285. __________________________________________             LEASEHOLD           $5,198.16           Cost-             $5,198.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 453 AT PECANLAND
         4700 MILHAVEN ROAD, STE. 1210
         MONROE LA 71203

55.286. __________________________________________             LEASEHOLD           $9,854.15           Cost-             $9,854.15
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 454 AT SANGERTOWN
         ROUTE 5 & 5A, SP #L60
         NEW HARTFORD NY 13413

55.287. __________________________________________             LEASEHOLD           $2,640.92           Cost-             $2,640.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 455 AT CHESTERFIELD-VA
         11500 MIDLOTHIAN TURNPIKE, SP #286
         RICHMOND VA 23235

55.288. __________________________________________             LEASEHOLD           $4,442.32           Cost-             $4,442.32
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 456 AT PADDOCK MALL
         3100 COLLEGE ROAD, SP #148
         OCALA FL 34474

55.289. __________________________________________             LEASEHOLD           $1,715.97           Cost-             $1,715.97
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 457 AT WARWICK
         400 BALD HILLS ROAD. SP #2001
         WARWICK RI 02886

55.290. __________________________________________             LEASEHOLD           $1,761.88           Cost-             $1,761.88
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 458 AT ORLANDO PREMIUM OUTLET -
         INTERNATIONAL DRIVE
         4977 INTERNATIONAL DR. STE. 3B06
         ORLANDO FL 32819

55.291. __________________________________________             LEASEHOLD           $920.00             Cost-             $920.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 459 AT CAPITAL MALL-WA
         625 BLACK LAKE BLVD. , SP #K5
         OLYMPIA WA 98502

55.292. __________________________________________             LEASEHOLD           $875.20             Cost-             $875.20
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 460 AT SALISBURY
         2300 N. SALISBURY BLVD., SP #B-109
         SALISBURY MD 21801




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 53 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19         Page 68 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.293. __________________________________________             LEASEHOLD           $375.02             Cost-             $375.02
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 461 AT LOCUST GROVE*
         1000 TANGER DRIVE, SP #206 & 207
         LOCUST GROVE GA 30248

55.294. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 464 AT FOLEY OUTLET CENTER
         2601 SOUTH MCKENZIE STREET, SPACE 322
         FOLEY AL 36535

55.295. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 466 AT OAKWOOD-LA
         197 WESTBANK EXPWY., SPACE #1620
         GRETNA LA 70053

55.296. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 467 AT SAN TAN VILLAGE
         2196 E. WILLIAMS FIELD RD., BUILDING 2, STE.
         108 (SP #680)
         GILBERT AZ 85295

55.297. __________________________________________             LEASEHOLD           $1,810.61           Cost-             $1,810.61
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 469 AT PHILADELPHIA OUTLETS
         18 LIGHTCAP ROAD
         POTTSTOWN PA 19464

55.298. __________________________________________             LEASEHOLD           $35.00              Cost-             $35.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 47 AT OVIEDO MARKETPLACE
         1700 OVIEDO MARKETPLACE, SPACE #1375
         OVIEDO FL 32765

55.299. __________________________________________             LEASEHOLD           $1,552.34           Cost-             $1,552.34
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 470 AT VANCOUVER MALL
         8700 N.E. VANCOUVER MALL DR., SPACE 108
         VANCOUVER WA 98662

55.300. __________________________________________             LEASEHOLD           $845.86             Cost-             $845.86
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 471 AT TUSCALOOSA
         1701 MCFARLAND BOULEVARD E., SPACE B18
         TUSCALOOSA AL 35404




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 54 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 69 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.301. __________________________________________             LEASEHOLD           $2,135.46           Cost-             $2,135.46
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 472 AT CENTRAL MALL-AR
         5111 ROGERS AVENUE, SPACE 184
         FORTH SMITH AR 72903

55.302. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 473 AT MILLER HILL
         1600 MILLER TRUNK HWY., SPACE E06C
         DULUTH MN 55811

55.303. __________________________________________             LEASEHOLD           $845.59             Cost-             $845.59
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 474 AT HARFORD
         696 BEL AIR ROAD, SPACE 36 & 38
         BEL AIR MD 21014

55.304. __________________________________________             LEASEHOLD           $717.71             Cost-             $717.71
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 475 AT TAYLOR-MI
         23000 EUREKA RD. SPACE 1385
         TAYLOR MI 48180

55.305. __________________________________________             LEASEHOLD           $834.53             Cost-             $834.53
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 476 AT RIVER CROSSING
         5080 RIVERSIDE DR. SPACE 222
         MACON GA 31210

55.306. __________________________________________             LEASEHOLD           $112.76             Cost-             $112.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 477 AT HOUSTON OUTLETS
         29300 HEMPSTEAD RD. SUITE 622
         CYPRESS TX 77433

55.307. __________________________________________             LEASEHOLD           $11,074.32          Cost-             $11,074.32
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 478 AT PORT CHARLOTTE
         1441 TAMIAMI TRAIL #933A
         PORT CHARLOTTE FL 33948

55.308. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 479 AT HAGERSTOWN
         17301 VALLEY MALL ROAD, SPACE 298
         HAGERSTOWN MD 21740




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 55 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 70 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.309. __________________________________________             LEASEHOLD           $104.31             Cost-             $104.31
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 480 AT APPLE BLOSSOM
         1850 APPLEBLOSSOM DRIVE SPACE A107A
         WINCHESTER VA 22601

55.310. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 481 AT WILLIAMSBURG PREMIUM
         OUTLETS
         5625 RICHMOND RD. SPACE F200
         WILLIAMSBURG VA 23188

55.311. __________________________________________             LEASEHOLD           $112.76             Cost-             $112.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 482 AT ROLLING OAKS
         6909 NORTH LOOP 1604 EAST # J06A
         SAN ANTONIO TX 78247

55.312. __________________________________________             LEASEHOLD           $159.11             Cost-             $159.11
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 483 AT FSK
         5500 BUCKEYSTOWN PIKE, SPACE 246
         FREDRICK MD 21703

55.313. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 484 AT RUSHMORE
         2200 NORTH MAPLE AVENUE, SPACE 220
         RAPID CITY SD 57701

55.314. __________________________________________             LEASEHOLD           $56,003.46          Cost-             $56,003.46
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 485 AT FAIRFIELD COMMONS
         2727 FAIRFIELD COMMONS, SPACE E129
         BEAVERCREEK OH 45431

55.315. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 486 AT PARKERSBURG
         272 GRAND CENTRAL MALL
         VIENNA WV 26105

55.316. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 487 AT CHATTANOOGA-TN
         2100 HAMITLON PLACE BLVD. SPACE 110
         CHATANOOGA TN 37421




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 56 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 71 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.317. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 488 AT SIOUX CITY "SOUTHERN HILLS"
         4400 SERGEANT RD. SPACE 512 & 514
         SIOUX CITY IA 51106

55.318. __________________________________________             LEASEHOLD           $9,809.04           Cost-             $9,809.04
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 49 AT ARIZONA MILLS
         5000 ARIZONA MILLS CIRCLE, SPACE #640
         TEMPE AZ 85282

55.319. __________________________________________             LEASEHOLD           $0.30               Cost-             $0.30
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 490 AT BAYSHORE
         5800 N. BAYSHORE DR. SPACE B130
         GLENDALE WI 53217

55.320. __________________________________________             LEASEHOLD           $1,693.84           Cost-             $1,693.84
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 492 AT BRASS MILLS
         495 UNION ST. SPACE 2062 & 2064
         WATERBURY CT 06706

55.321. __________________________________________             LEASEHOLD           $113.23             Cost-             $113.23
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 493 AT BELLIS FAIR
         ONE BELLIS FAIR PKWY, SPACE #209
         BELLINGHAM WA 98226

55.322. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 494 AT MESILLA VALLEY
         700 S. TELSHOR BLVD., SPACE #1080
         LAS CRUCES NM 88011

55.323. __________________________________________             LEASEHOLD           $146,774.43         Cost-             $146,774.43
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 495 AT OAK PARK-KS
         11611 WEST 95TH ST.
         OVERLAND PARK KS 66214

55.324. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 497 AT EAU CLAIRE
         4800 GOLF ROAD, SP #0428
         EAU CLAIRE WI 54701




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 57 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 72 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.325. __________________________________________             LEASEHOLD           $4,025.74           Cost-             $4,025.74
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 498 AT MANASSAS
         8300 SUDLEY ROAD, SPACE 013
         MANASSAS VA 20109

55.326. __________________________________________             LEASEHOLD           $3,123.33           Cost-             $3,123.33
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 500 AT BURNSVILLE
         1178 BURNSVILLE CENTER SPACE 1088
         BURNSVILLE MN 55306

55.327. __________________________________________             LEASEHOLD           $11,940.74          Cost-             $11,940.74
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 503 AT KING'S PLAZA
         5230 KINGS PLAZA, SPACE 143
         BROOKLYN NY 11234

55.328. __________________________________________             LEASEHOLD           $1,397.12           Cost-             $1,397.12
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 505 AT WEST PARK
         3049 WILLIAMS ST. , SPACE 127B & 133
         CAPE GIRARDEAU MO 63703

55.329. __________________________________________             LEASEHOLD           $4,597.33           Cost-             $4,597.33
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 507 AT GREENVILLE-NC
         714 GREENVILLE BLVD S.E., SPACE E2 & E3
         GREENVILLE NC 27858

55.330. __________________________________________             LEASEHOLD           $907.10             Cost-             $907.10
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 508 AT MARKET PLACE-IL
         2000 NORTH NEIL ST. SPACE 285
         CHAMPAIGN IL 61821

55.331. __________________________________________             LEASEHOLD           $5,209.77           Cost-             $5,209.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 509 AT GONZALES OUTLETS
         2200 TANGER BOULEVARD, SPACE 114
         GONZALES LA 70737

55.332. __________________________________________             LEASEHOLD           $1,209.95           Cost-             $1,209.95
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 510 AT NORTHWOODS-IL
         2200 W.WAR MEMORIAL DR., SPACE EL15A
         PEORIA IL 61613




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 58 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19         Page 73 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.333. __________________________________________             LEASEHOLD           $1,029.55           Cost-             $1,029.55
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 511 AT PEARLAND TOWN CENTER
         11200 BROADWAY ST. , SP #1330
         PEARLAND TX 77584

55.334. __________________________________________             LEASEHOLD           $1,029.55           Cost-             $1,029.55
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 511 AT PEARLAND TOWN CENTER
         11200 BROADWAY ST. , SP #1330
         PEARLAND TX 77584

55.335. __________________________________________             LEASEHOLD           $321.77             Cost-             $321.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 512 AT COLUMBIANA CENTRE
         100 COLUMBIANA CIRCLE, SUITE #1435
         COLUMBIA SC 29212

55.336. __________________________________________             LEASEHOLD           $104.17             Cost-             $104.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 513 AT KINGSTON COLLECTION
         101 INDEPENDENCE MALL WAY
         KINGSTON MA 02364

55.337. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 516 AT EASTRIDGE-NC
         246 NEW HOPE ROAD
         GASTONIA NC 28054

55.338. __________________________________________             LEASEHOLD           $356.01             Cost-             $356.01
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 521 AT ELLENTON PREMIUM OUTLETS
         5121 FACTORY SHOPS BLVD #925
         ELLENTON FL 34222

55.339. __________________________________________             LEASEHOLD           $3,841.47           Cost-             $3,841.47
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 522 AT SOUTHCENTER-WA
         621 SOUTHCENTER MALL
         TUKWILA WA 98188

55.340. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 525 AT WIREGRASS, SHOPS @
         28211 PASEO DRIVE SUITE 120
         WESLEY CHAPEL FL 33543




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 59 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 74 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.341. __________________________________________             LEASEHOLD           $111.07             Cost-             $111.07
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 527 AT JERSEY SHORE OUTLETS
         1 PREMIUM OUTLET BLVD. SPACE #2
         TINTON FALLS NJ 07753

55.342. __________________________________________             LEASEHOLD           $149.04             Cost-             $149.04
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 533 AT CAMARILLO OUTLETS
         500 VENTURA BOULEVARD, SPACE #1514
         CAMARILLO CA 93010

55.343. __________________________________________             LEASEHOLD           $15,889.76          Cost-             $15,889.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 534 AT MIDLAND PARK
         4511 NORTH MIDKIFF DRIVE, SPACE C10A
         MIDLAND TX 79705

55.344. __________________________________________             LEASEHOLD           $597.21             Cost-             $597.21
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 536 AT GULF VIEW SQUARE
         9409 US HWY 19 SPACE 553C
         PORT RICHEY FL 34668

55.345. __________________________________________             LEASEHOLD           $19,054.47          Cost-             $19,054.47
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 537 AT MCCAIN
         3929 MCCAIN BLVD., SPACE H04B
         N.LITTLE ROCK AR 72116

55.346. __________________________________________             LEASEHOLD           $60,299.82          Cost-             $60,299.82
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 538 AT VCC
         10101 BROOK ROAD SPACE 650 A/C
         GLEN ALLEN VA 23059

55.347. __________________________________________             LEASEHOLD           $4,900.79           Cost-             $4,900.79
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 539 AT LINCOLNWOOD
         3333 WEST TOUHY AVE SPACE B03 & B02A
         LINCOLNWOOD IL 60712

55.348. __________________________________________             LEASEHOLD           $8,474.44           Cost-             $8,474.44
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 542 AT TYSON'S CORNER
         7860 TYSON'S CORNER CENTER, SP #M011U
         (RELO)
         TYSONS CORNER VA 22102




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 60 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 75 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.349. __________________________________________             LEASEHOLD           $1,249.12           Cost-             $1,249.12
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 543 AT GROVE CITY PREMIUM
         OUTLETS
         1911 LEESBURG GROVE CITY ROAD, SUITE
         #1065
         GROVE CITY PA 16127

55.350. __________________________________________             LEASEHOLD           $612.88             Cost-             $612.88
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 544 AT TUTTLE CROSSING
         5043 TUTTLE CROSSING BLVD, SPACE #225A
         DUBLIN OH 43016

55.351. __________________________________________             LEASEHOLD           $1,012.94           Cost-             $1,012.94
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 545 AT ST. CLAIRE SQUARE
         134 ST. CLAIR SQUARE, SPACE #120
         FAIRVIEW HEIGHTS IL 62208

55.352. __________________________________________             LEASEHOLD           $12,473.97          Cost-             $12,473.97
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 548 AT TRUMBULL
         5065 MAIN ST., SPACE #220
         TRUMBULL CT 06611

55.353. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 553 AT ST. AUGUSTINE OUTLETS
         500 OUTLET MALL BLVD, SPACE 105
         ST. AUGUSTINE FL 32084

55.354. __________________________________________             LEASEHOLD           $21,159.98          Cost-             $21,159.98
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 554 AT DANBURY FAIR
         7 BACKUS AVENUE SPACE #B202
         DANBURY CT 06810

55.355. __________________________________________             LEASEHOLD           $21,564.01          Cost-             $21,564.01
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 556 AT ROUND ROCK OUTLETS
         4401 NORTH IH-35, SPACE 0135
         ROUND ROCK TX 78664

55.356. __________________________________________             LEASEHOLD           $31,505.02          Cost-             $31,505.02
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 557 AT CROSSINGS PREMIUM
         OUTLETS, THE
         1000 PREMIUM OUTLETS DR., SPACE G-13
         TANNERSVILLE PA 18372



Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 61 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19          Page 76 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.357. __________________________________________             LEASEHOLD           $17,726.25          Cost-             $17,726.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 558 AT JACKSON PREMIUM OUTLET
         537 MONMOUTH ROAD, SPACE 0104
         JACKSON NJ 08527

55.358. __________________________________________             LEASEHOLD           $23,642.39          Cost-             $23,642.39
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 559 AT VACAVILLE PREMIUM OUTLETS
         321 NUT TREE RD., SPACE 370
         VACAVILLE CA 95687

55.359. __________________________________________             LEASEHOLD           $24,512.85          Cost-             $24,512.85
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 560 AT ORLANDO PREMIUM OUTLET -
         VINELAND AVE
         8200 VINELAND AVENUE, SPACE 1509
         ORLANDO FL 32821

55.360. __________________________________________             LEASEHOLD           $24,493.95          Cost-             $24,493.95
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 561 AT ALBERTVILLE PREMIUM
         OUTLETS
         6415 LABEAUX AVENUE NE, SPACE CO40
         ALBERTVILLE MN 55301

55.361. __________________________________________             LEASEHOLD           $29,364.56          Cost-             $29,364.56
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 562 AT EDINBURGH OUTLET CENTER
         11671 N EXECUTIVE DRIVE, SPACE 1110
         EDINBURGH IN 46124

55.362. __________________________________________             LEASEHOLD           $27,128.06          Cost-             $27,128.06
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 563 AT OSAGE BEACH PREMIUM
         OUTLET
         4540 OSAGE BEACH PARKWAY, UNIT I3
         OSAGE BEACH MO 65065

55.363. __________________________________________             LEASEHOLD           $30,147.21          Cost-             $30,147.21
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 564 AT ALLEN PREMIUM OUTLETS
         820 WEST STACY RD., SPACE 0105
         ALLEN TX 75013

55.364. __________________________________________             LEASEHOLD           $25,740.47          Cost-             $25,740.47
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 565 AT CINCINNATI PREMIUM OUTLET
         828 PREMIUM OUTLET DRIVE
         MONROE OH 45050



Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 62 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 77 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.365. __________________________________________             LEASEHOLD           $8,708.89           Cost-             $8,708.89
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 567 AT LEESBURG CORNER PREMIUM
         OUTLETS
         241 FORT EVANS ROAD N.E., SPACE 0801
         LEESBURG VA 20176

55.366. __________________________________________             LEASEHOLD           $30,186.25          Cost-             $30,186.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 569 AT NORTHPARK-TX
         8687 N. CENTRAL EXPRESSWAY SPACE 2228
         DALLAS TX 75225

55.367. __________________________________________             LEASEHOLD           $57,715.76          Cost-             $57,715.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 570 AT FASHION OUTLETS OF
         NIAGARA FALLS
         1982 MILITARY RD.
         NIAGARA FALLS NY 14304

55.368. __________________________________________             LEASEHOLD           $45,293.68          Cost-             $45,293.68
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 573 AT LA CANTERA
         16401 LA CANTERA PKWY, SPACE 3080
         SAN ANTONIO TX 78256

55.369. __________________________________________             LEASEHOLD           $845.59             Cost-             $845.59
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 576 AT CAMBRIDGESIDE GALLERIA
         100 CAMBRIDGESIDE PL SPACE E-304
         CAMBRIDGE MA 02141

55.370. __________________________________________             LEASEHOLD           $6,913.29           Cost-             $6,913.29
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 577 AT OLD ORCHARD
         4999 OLD ORCHARD CENTER SPACE L6
         SKOKIE IL 60077

55.371. __________________________________________             LEASEHOLD           $154,382.10         Cost-             $154,382.10
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 582 AT ATLANTIC CITY OUTLETS
         122 CHRISTOPHER COLUMBUS BLVD., SPACE
         #1250 & 1255
         ATLANTIC CITY NJ 08401

55.372. __________________________________________             LEASEHOLD           $190,275.69         Cost-             $190,275.69
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 585 AT BELMAR
         7239 W. ALASKA DRIVE
         LAKEWOOD CO 80226



Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 63 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 78 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.373. __________________________________________             LEASEHOLD           $245,739.92         Cost-             $245,739.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 587 AT WINDWARD MALL
         46-056 KAMEHAMEHA HIGHWAY, SPACE #K02
         KANEOHE HI 96744

55.374. __________________________________________             LEASEHOLD           $106,860.03         Cost-             $106,860.03
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 588 AT OUTLET SHOPPES @ EL PASO,
         THE
         7051 SOUTH DESERT BLVD., SUITE D428
         EL PASO TX 79835

55.375. __________________________________________             LEASEHOLD           $106,352.18         Cost-             $106,352.18
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 589 AT GRAND PRAIRIE OUTLETS
         2950 WEST INTERSTATE 20, SPACE #812
         GRAND PRAIRIE TX 75052

55.376. __________________________________________             LEASEHOLD           $128,371.61         Cost-             $128,371.61
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 590 AT THE ARCHES AT DEER PARK
         152 THE ARCHES CIRCLE, SPACE #1394
         DEER PARK NY 11729

55.377. __________________________________________             LEASEHOLD           $103,815.38         Cost-             $103,815.38
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 591 AT WESTGATE OUTLET
         6800 N. 95TH AVE., SUITE 640
         GLENDALE AZ 85305

55.378. __________________________________________             LEASEHOLD           $237,586.97         Cost-             $237,586.97
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 594 AT ALGONQUIN COMMONS
         1952 S. RANDALL ROAD
         ALGONQUIN IL 60102

55.379. __________________________________________             LEASEHOLD           $94,331.23          Cost-             $94,331.23
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 596 AT WOODBURN COMPANY
         STORES
         1001 ARNEY ROAD
         WOODBURN OR 97071

55.380. __________________________________________             LEASEHOLD           $136,877.09         Cost-             $136,877.09
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 597 AT SAN FRANCISCO PREMIUM
         OUTLETS
         3084 PARAGON OUTLETS DRIVE
         LIVERMORE CA 94551



Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 64 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 79 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.381. __________________________________________             LEASEHOLD           $100,598.92         Cost-             $100,598.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 598 AT HOWELL OUTLETS
         1475 NORTH BURKHART ROAD, SPACE G-100
         HOWELL MI 48855

55.382. __________________________________________             LEASEHOLD           $126,994.32         Cost-             $126,994.32
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 599 AT THE OUTLET SHOPPES AT
         ATLANTA
         915 RIDGEWALK PARKWAY, SPACE C-320
         WOODSTOCK GA 30188

55.383. __________________________________________             LEASEHOLD           $11,676.77          Cost-             $11,676.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 61 AT ROOSEVELT FIELD
         630 OLD COUNTRY RD. , SPACE #2054A
         GARDEN CITY NY 11530

55.384. __________________________________________             LEASEHOLD           $6,838.16           Cost-             $6,838.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 62 AT HAYWOOD MALL
         700 HAYWOOD ROAD, BOX #222
         GREENVILLE SC 29607

55.385. __________________________________________             LEASEHOLD           $66.67              Cost-             $66.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 65 AT FRESNO FASHION FAIR
         675A EAST SHAW
         FRESNO CA 93710

55.386. __________________________________________             LEASEHOLD           $1,111.28           Cost-             $1,111.28
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 66 AT COBB, TOWN CENTER AT
         400 ERNEST BARRETT PARKWAY, SPACE #213
         KENNESAW GA 30144

55.387. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 68 AT MELBOURNE SQUARE
         1700 WEST NEW HAVEN AVENUE SPACE 737
         MELBOURNE FL 32904

55.388. __________________________________________             LEASEHOLD           $9,150.50           Cost-             $9,150.50
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 69 AT LAKELINE MALL
         11200 LAKELINE MALL DRIVE, SPACE #B-7A
         CEDAR PARK TX 78613




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 65 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 80 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.389. __________________________________________             LEASEHOLD           $236,966.80         Cost-             $236,966.80
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 700 AT OUTLET COLLECTION AT
         RIVERWALK
         500 PORT OF NEW ORLEANS PLACE, SUITE 265
         NEW ORLEANS LA 70130

55.390. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7001 AT SANTA MONICA
         1015 MONTANA AVENUE
         SANTA MONICA CA 90403

55.391. __________________________________________             LEASEHOLD           $77,986.03          Cost-             $77,986.03
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7004 AT FASHION ISLAND
         401 NEWPORT CENTER DR, SUITE #273
         NEWPORT BEACH CA 92660

55.392. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7005 AT NORTHPARK CENTER
         8687 N CENTRAL EXPRESSWAY, SUITE #1706
         DALLAS TX 75225

55.393. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7006 AT UNIVERSITY VILLAGE
         2624 NE VILLAGE LANE
         SEATTLE WA 98105

55.394. __________________________________________             LEASEHOLD           $20,629.95          Cost-             $20,629.95
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7007 AT PARK MEADOWS
         8401 PARK MEADOWS CENTER DRIVE, SUITE
         #1183
         LONE TREE CO 80124

55.395. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7008 AT SAN FRANCISCO
         2156 CHESTNUT STREET
         SAN FRANCISCO CA 94123

55.396. __________________________________________             LEASEHOLD           $882.48             Cost-             $882.48
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7009 AT FASHION PLACE
         6191 S. STATE STREET, SUITE A215
         MURRAY UT 84107




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 66 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 81 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.397. __________________________________________             LEASEHOLD           $221,869.54         Cost-             $221,869.54
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 701 AT PALLADIO AT BROADSTONE
         240 PALLADIO PARKWAY, SPACE #1327
         FOLSOM CA 95630

55.398. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7010 AT SHOPS AT MERRICK PARK
         350 SAN LORENZO AVENUE, SPACE #2030
         CORAL GABLES FL 33146

55.399. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7011 AT PHIPPS PLAZA
         3500 PEACHTREE ROAD NE, SPACE #1050D
         ATLANTA GA 30326

55.400. __________________________________________             LEASEHOLD           $19,266.32          Cost-             $19,266.32
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7013 AT NORTH POINT MALL
         1000 NORTH POINT CIRCLE, SPACE #1036
         ALPHARETTA GA 30022

55.401. __________________________________________             LEASEHOLD           $102,012.67         Cost-             $102,012.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 7014 AT SCOTTSDALE QUARTER
         15323 N. SCOTTSDALE RD., SUITE E-105
         SCOTTSDALE AZ 85254

55.402. __________________________________________             LEASEHOLD           $227,009.54         Cost-             $227,009.54
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 702 AT SOLANO MALL
         1350 TRAVIS BLVD., SPACE M-7
         FAIRFIELD CA 94533

55.403. __________________________________________             LEASEHOLD           $142,053.95         Cost-             $142,053.95
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 703 AT VIEJAS OUTLETS
         5005 WILLOWS RD. SUITE #229, SPACE A-101
         ALPINE CA 91901

55.404. __________________________________________             LEASEHOLD           $226,781.17         Cost-             $226,781.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 704 AT PARKDALE MALL
         6155 EASTEX FREEWAY, SPACE D-406
         BEAUMONT TX 77706




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 67 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 82 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.405. __________________________________________             LEASEHOLD           $190,019.92         Cost-             $190,019.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 705 AT WESTGATE MALL (SC)
         205 WEST BLACKSTOCK ROAD, SPACE 080
         SPARTANBURG SC 29301

55.406. __________________________________________             LEASEHOLD           $203,387.21         Cost-             $203,387.21
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 706 AT OLD HICKORY MALL
         2021 NORTH HIGHLAND AVENUE, SPACE E4
         JACKSON TN 38305

55.407. __________________________________________             LEASEHOLD           $164,674.18         Cost-             $164,674.18
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 707 AT PALM BEACH OUTLETS
         1721 PALM BEACH LAKES BOULEVARD, SPACE
         E409
         WEST PALM BEACH FL 33401

55.408. __________________________________________             LEASEHOLD           $203,527.26         Cost-             $203,527.26
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 709 AT HONEY CREEK MALL
         3401 SOUTH US HIGHWAY 41, SPACE E7
         TERRA HAUTE IN 47802

55.409. __________________________________________             LEASEHOLD           $14,240.60          Cost-             $14,240.60
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 71 AT CORAL SQUARE MALL
         9167 WEST ATLANTIC BOULEVARD
         CORAL SPRINGS FL 33071

55.410. __________________________________________             LEASEHOLD           $220,173.66         Cost-             $220,173.66
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 710 AT PUEBLO MALL
         3429 DILLON DRIVE, SPACE E6
         PUEBLO CO 81008

55.411. __________________________________________             LEASEHOLD           $159,690.46         Cost-             $159,690.46
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 712 AT ST. LOUIS PREMIUM OUTLETS
         18521 OUTLET BOULEVARD, SPACE# 700
         CHESTERFIELD MO 63005

55.412. __________________________________________             LEASEHOLD           $261,185.51         Cost-             $261,185.51
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 714 AT CHARLOTTESVILLE FASHION
         SQUARE
         1600 RIO ROAD EAST, SPACE 1414A
         CHARLOTTESVILLE VA 22901-1405




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 68 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 83 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.413. __________________________________________             LEASEHOLD           $229,913.52         Cost-             $229,913.52
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 715 AT TACOMA
         4502 SOUTH STEEL STREET, SPACE 1151A
         TACOMA WA 98409-7242

55.414. __________________________________________             LEASEHOLD           $219,674.91         Cost-             $219,674.91
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 716 AT WEST TOWN MALL
         7600 KINGSTON PIKE, SPACE 1502
         KNOXVILLE TN 37919-5600

55.415. __________________________________________             LEASEHOLD           $172,157.74         Cost-             $172,157.74
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 717 AT MESA MALL
         2424 US HIGHWAY 6, SPACE 310A
         GRAND JUNCTION CO 81505

55.416. __________________________________________             LEASEHOLD           $230,637.97         Cost-             $230,637.97
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 718 AT PHEASANT LANE
         310 DANIEL WEBSTER HIGHWAY, SPACE W253
         NASHUA NH 03060

55.417. __________________________________________             LEASEHOLD           $154,381.81         Cost-             $154,381.81
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 720 AT THE OUTLETS AT MISSISSIPPI
         200 BASS PRO DRIVE, SPACE #265
         PEARL MS 39208

55.418. __________________________________________             LEASEHOLD           $118,772.07         Cost-             $118,772.07
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 723 AT OUTLETS AT CASTLE ROCK
         5050 FACTORY SHOPS BLVD., SPACE 515
         CASTLE ROCK CO 80108

55.419. __________________________________________             LEASEHOLD           $161,376.29         Cost-             $161,376.29
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 725 AT ASSEMBLY ROW
         361 ARTISAN WAY
         SOMERVILLE MA 02145

55.420. __________________________________________             LEASEHOLD           $398,324.32         Cost-             $398,324.32
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 726 AT SHOPS AT ATLAS PARK
         8000 COOPER AVE., SPACE 6-104
         GLENDALE NY 11385




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 69 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 84 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.421. __________________________________________             LEASEHOLD           $157,784.10         Cost-             $157,784.10
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 728 AT THE OUTLET SHOPPES OF THE
         BLUEGRASS
         1155 BUCK CREEK RD., SUITE 702
         SIMPSONVILLE KY 40067

55.422. __________________________________________             LEASEHOLD           $192,190.61         Cost-             $192,190.61
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 729 AT MARKETS AT TOWN CENTER
         4870 BIG ISLAND DRIVE, SUITE 05
         JACKSONVILLE FL 32246

55.423. __________________________________________             LEASEHOLD           $227,805.61         Cost-             $227,805.61
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 730 AT MORGANTOWN MALL
         9500 MALL ROAD, SPACE #511
         MORGANTOWN WV 26501

55.424. __________________________________________             LEASEHOLD           $258,216.31         Cost-             $258,216.31
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 731 AT UNIVERSITY MALL
         155 DORSET ST., SPACE #K-02
         SOUTH BURLINGTON VT 05403

55.425. __________________________________________             LEASEHOLD           $248,153.98         Cost-             $248,153.98
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 732 AT DARTMOUTH MALL
         110 DARTMOUTH MALL, SPACE 1210
         DARTMOUTH MA 02747

55.426. __________________________________________             LEASEHOLD           $310,071.96         Cost-             $310,071.96
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 733 AT MOORESTOWN MALL
         400 ROUTE 38, SPACE #1695
         MOORESTOWN NJ 08057

55.427. __________________________________________             LEASEHOLD           $220,905.31         Cost-             $220,905.31
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 735 AT THE FOUNTAINS AT FARAH
         8889 GATEWAY BLVD. WEST, SUITE AL340
         EL PASO TX 79925

55.428. __________________________________________             LEASEHOLD           $393,354.23         Cost-             $393,354.23
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 736 AT SOUTH SHORE
         1701 SUNRISE HIGHWAY, SPACE #G1
         BAY SHORE NY 11706




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 70 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 85 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.429. __________________________________________             LEASEHOLD           $115,158.65         Cost-             $115,158.65
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 737 AT MALL AT JOHNSON CITY
         2011 N. ROAN ST., SPACE #D2A
         JOHNSON CITY TN 37601

55.430. __________________________________________             LEASEHOLD           $225,263.88         Cost-             $225,263.88
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 738 AT GOLDEN TRIANGLE MALL
         2201 SOUTH I-35E, SPACE #S14-A
         DENTON TX 76205

55.431. __________________________________________             LEASEHOLD           $137,180.55         Cost-             $137,180.55
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 739 AT NATIONAL HARBOR
         6800 OXON HILL RD. SUITE #660
         NATIONAL HARBOR MD 20745

55.432. __________________________________________             LEASEHOLD           $189,149.55         Cost-             $189,149.55
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 74 AT TYRONE SQUARE
         6901 22ND AVENUE
         ST. PETERSBURG FL 33710

55.433. __________________________________________             LEASEHOLD           $69,705.39          Cost-             $69,705.39
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 740 AT PIER PARK
         600 PIER PARK DRIVE, SPACE #G310
         PANAMA CITY FL 32413

55.434. __________________________________________             LEASEHOLD           $356,897.02         Cost-             $356,897.02
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 742 AT QUEEN KA'AHUMANU CENTER
         275 W. KAAHUMANU AVE., SPACE #1044
         KAHULUI HI 96732

55.435. __________________________________________             LEASEHOLD           $274,275.40         Cost-             $274,275.40
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 743 AT KILLEEN MALL
         2100 SOUTH W.S. YOUNG DRIVE, SPACE #1496
         KILLEEN TX 76543

55.436. __________________________________________             LEASEHOLD           $3,084.17           Cost-             $3,084.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 744 AT VICTORIA MALL
         7800 N. NAVARRO ST., SUITE #233
         VICTORIA TX 77904




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 71 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 86 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.437. __________________________________________             LEASEHOLD           $18,002.36          Cost-             $18,002.36
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 745 AT FOXWOODS OUTLET CENTER
         455 TROLLEY LINE BOULEVARD, SPACE #330
         MASHANTUCKET CT 06338

55.438. __________________________________________             LEASEHOLD           $177,096.28         Cost-             $177,096.28
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 746 AT OCEAN CITY OUTLET CENTER
         12741 OCEAN GATEWAY, SUITE #890
         OCEAN CITY MD 21842

55.439. __________________________________________             LEASEHOLD           $205,271.41         Cost-             $205,271.41
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 748 AT TANGER OUTLETS SAVANNAH
         200 TANGER OUTLET BOULEVARD, SPACE #361
         POOLER GA 31322

55.440. __________________________________________             LEASEHOLD           $54,006.78          Cost-             $54,006.78
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 75 AT PALISADES CENTER
         2512 PALISADES CENTER DRIVE B206
         WEST NYACK NY 10994

55.441. __________________________________________             LEASEHOLD           $1,071.72           Cost-             $1,071.72
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 751 AT HAMILTON TOWN CENTER
         13170 HARREL PARKWAY, SUITE 500
         NOBLESVILLE IN 46060

55.442. __________________________________________             LEASEHOLD           $369,343.47         Cost-             $369,343.47
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 752 AT SOLOMON POND MALL
         601 DONALD LYNCH BLVD. SUITE #N233A
         MARLBOROUGH MA 01752

55.443. __________________________________________             LEASEHOLD           $211,303.32         Cost-             $211,303.32
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 753 AT SUMMIT FAIR
         880 NW BLUE PARKWAY, SUITE C
         LEE'S SUMMIT MO 64086

55.444. __________________________________________             LEASEHOLD           $2,023.05           Cost-             $2,023.05
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 754 AT FLORENCE MALL
         301 COX CREEK PARKWAY, SUITE #1018
         FLORENCE AL 35630




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 72 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 87 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.445. __________________________________________             LEASEHOLD           $251,482.81         Cost-             $251,482.81
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 755 AT WILTON MALL
         3065 ROUTE 50, SUITE #A002
         SARATOGA SPRINGS NY 12866

55.446. __________________________________________             LEASEHOLD           $619,451.08         Cost-             $619,451.08
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 756 AT THE MALL AT BAY PLAZA
         200 BAYCHESTER AVE., SPACE 201
         BRONX NY 10475

55.447. __________________________________________             LEASEHOLD           $290,466.73         Cost-             $290,466.73
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 758 AT ORLAND SQUARE MALL
         288 ORLAND SQUARE DR., SPACE #H11D
         ORLAND PARK IL 60462

55.448. __________________________________________             LEASEHOLD           $252,670.25         Cost-             $252,670.25
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 759 AT HARLEM IRVING PLAZA
         4158 NORTH HARLEM AVE., SUITE 142
         NORRIDGE IL 60706

55.449. __________________________________________             LEASEHOLD           $401,828.70         Cost-             $401,828.70
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 760 AT SERRAMONTE CENTER
         288 SERRAMONTE CENTER
         DALY CITY CA 94015

55.450. __________________________________________             LEASEHOLD           $226,296.58         Cost-             $226,296.58
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 761 AT RICHLAND MALL
         6001 WEST WACO DRIVE, SUITE 314
         WACO TX 76710

55.451. __________________________________________             LEASEHOLD           $250,507.78         Cost-             $250,507.78
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 763 AT POTOMAC MILLS
         2700 POTOMAC MILLS CIRCLE, SPACE #929
         WOODBRIDGE VA 22192

55.452. __________________________________________             LEASEHOLD           $259,899.44         Cost-             $259,899.44
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 764 AT SPRINGFIELD TOWN CENTER
         6767 SPRINGFIELD MALL
         SPRINGFIELD VA 22150




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 73 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 88 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.453. __________________________________________             LEASEHOLD           $217,214.81         Cost-             $217,214.81
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 765 AT GOVERNOR'S SQUARE MALL
         2801 WILMA RUDOLPH BLVD. SPACE #340
         CLARKSVILLE TN 37040

55.454. __________________________________________             LEASEHOLD           $299,602.77         Cost-             $299,602.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 766 AT SOUTH PLAINS MALL
         6002 SLIDE ROAD, SPACE D-23
         LUBBOCK TX 79414

55.455. __________________________________________             LEASEHOLD           $259,381.82         Cost-             $259,381.82
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 767 AT THE MALL AT VICTOR VALLEY
         14400 BEAR VALLEY ROAD, SUITE 621
         VICTORVILLE CA 92392

55.456. __________________________________________             LEASEHOLD           $26,586.65          Cost-             $26,586.65
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 768 AT THE OUTLETS AT TEJON
         5701 OUTLETS AT TEJON PARKWAY, SUITE 135
         ARVIN CA 93203

55.457. __________________________________________             LEASEHOLD           $395,673.57         Cost-             $395,673.57
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 769 AT EASTLAND MALL
         1615 EAST EMPIRE ST., SPACE #1140
         BLOOMINGTON IL 61701

55.458. __________________________________________             LEASEHOLD           $889.75             Cost-             $889.75
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 770 AT ASHLAND TOWN CENTER
         500 WINCHESTER AVE., SUITE 366
         ASHLAND KY 41101

55.459. __________________________________________             LEASEHOLD           $53,394.23          Cost-             $53,394.23
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 771 AT OUTLET COLLECTION SEATTLE
         1101 OUTLET COLLECTION WAY, SUITE 1039
         AUBURN WA 98001

55.460. __________________________________________             LEASEHOLD           $358,976.60         Cost-             $358,976.60
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 772 AT NATICK MALL
         1245 WORCESTER STREET, SUITE 2070
         NATICK MA 01760




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 74 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 89 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.461. __________________________________________             LEASEHOLD           $242,498.93         Cost-             $242,498.93
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 773 AT THE OAKS MALL
         6345 W. NEWBERRY RD., SUITE D0008
         GAINESVILLE FL 32605

55.462. __________________________________________             LEASEHOLD           $253,716.16         Cost-             $253,716.16
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 774 AT THE WOODLANDS MALL
         1201 LAKE WOODLANDS DRIVE, SUITE 2022
         THE WOODLANDS TX 77380

55.463. __________________________________________             LEASEHOLD           $301,490.43         Cost-             $301,490.43
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 775 AT JORDAN CREEK TOWN CENTER
         101 JORDAN CREEK PARKWAY, SUITE 12010
         WEST DES MOINES IA 50266

55.464. __________________________________________             LEASEHOLD           $218,013.71         Cost-             $218,013.71
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 776 AT WHITE MARSH MALL
         8200 PERRY HALL BLVD., SPACE #2070
         BALTIMORE MD 21236

55.465. __________________________________________             LEASEHOLD           $199,298.77         Cost-             $199,298.77
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 777 AT TANGER OUTLET COMMERCE
         800 STEVEN B. TANGER BLVD., SUITE #101-A
         COMMERCE GA 30529

55.466. __________________________________________             LEASEHOLD           $291,010.27         Cost-             $291,010.27
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 778 AT WEBERSTOWN MALL
         4950 PACIFIC AVE., SUITE 227
         STOCKTON CA 95207

55.467. __________________________________________             LEASEHOLD           $140,716.73         Cost-             $140,716.73
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 779 AT CHARLOTTE PREMIUM
         OUTLETS
         5512 NEW FASHION WAY, SUITE 986
         CHARLOTTE NC 28278

55.468. __________________________________________             LEASEHOLD           $400,769.93         Cost-             $400,769.93
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 78 AT PERIMETER MALL
         4400 ASHFORD-DUNWOODY ROAD, SPACE
         #1255
         ATLANTA GA 30346




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 75 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 90 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.469. __________________________________________             LEASEHOLD           $322,224.78         Cost-             $322,224.78
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 780 AT GALLERIA AT TYLER
         1269 GALLERIA AT TYLER, SPACE #E108
         RIVERSIDE CA 92503

55.470. __________________________________________             LEASEHOLD           $292,812.08         Cost-             $292,812.08
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 781 AT BOISE TOWNE SQUARE
         350 NORTH MILWAUKEE ST., SUITE 1304
         BOISE ID 83704

55.471. __________________________________________             LEASEHOLD           $77,856.83          Cost-             $77,856.83
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 782 AT CULVER CITY
         6000 SEPULVEDA BLVD., SUITE 2600
         CULVER CITY CA 90230

55.472. __________________________________________             LEASEHOLD           $349,395.22         Cost-             $349,395.22
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 783 AT VINTAGE FAIRE MALL
         3401 DALE RD., SUITE #119
         MODESTO CA 95356

55.473. __________________________________________             LEASEHOLD           $403,738.04         Cost-             $403,738.04
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 784 AT ARDEN FAIR
         1689 ARDEN WAY, SUITE 2160
         SACRAMENTO CA 95815

55.474. __________________________________________             LEASEHOLD           $1,427.06           Cost-             $1,427.06
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 786 AT THE MALL AT UNIVERSITY
         TOWN CENTER
         140 UNIVERSITY TOWN CENTER DR., SUITE 210
         SARASOTA FL 34243

55.475. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 788 AT LIBERTY CENTER
         7100 FOUNDRY ROW, SPACE # S-136
         LIBERTY TOWNSHIP OH 45069

55.476. __________________________________________             LEASEHOLD           $269,387.13         Cost-             $269,387.13
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 789 AT TANGER OUTLET SOUTHAVEN
         5205 AIRWAYS BLVD., SUITE 230
         SOUTHAVEN MS 38671




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 76 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 91 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.477. __________________________________________             LEASEHOLD           $474.22             Cost-             $474.22
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 79 AT CITRUS PARK ®
         8021 CITRUS PARK TOWN CENTER MALL,
         SPACE #960
         TAMPA FL 33625

55.478. __________________________________________             LEASEHOLD           $397,181.42         Cost-             $397,181.42
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 790 AT WILLOW GROVE PARK
         2500 MORELAND RD., SP #1045
         WILLOW GROVE PA 19090

55.479. __________________________________________             LEASEHOLD           $387,199.65         Cost-             $387,199.65
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 792 AT DOWNTOWN SUMMERLIN
         1990 PARK CENTRE DRIVE, SUITE 130
         LAS VEGAS NV 89135

55.480. __________________________________________             LEASEHOLD           $361,108.92         Cost-             $361,108.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 793 AT COLUMBIA MALL
         2300 BERNADETTE DRIVE, SP #518
         COLUMBIA MO 65203

55.481. __________________________________________             LEASEHOLD           $328,133.38         Cost-             $328,133.38
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 794 AT THE MALL IN COLUMBIA
         10300 LITTLE PATUXENT PKWY, SP #1635
         COLUMBIA MD 21044

55.482. __________________________________________             LEASEHOLD           $454,627.08         Cost-             $454,627.08
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 795 AT SANTA ROSA PLAZA
         2009B SANTA ROSA PLAZA
         SANTA ROSA CA 95401

55.483. __________________________________________             LEASEHOLD           $342,064.08         Cost-             $342,064.08
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 796 AT FREMAUX TOWN CENTER
         760 TOWN CENTER PARKWAY, SP #C300
         SLIDELL LA 70458

55.484. __________________________________________             LEASEHOLD           $335,218.64         Cost-             $335,218.64
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 797 AT HILLSIDE VILLAGE
         305 WEST FM 1382, SUITE 202
         CEDAR HILL TX 75104




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 77 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 92 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.485. __________________________________________             LEASEHOLD           $1,681.64           Cost-             $1,681.64
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 80 AT WALDEN GALLERIA
         ONE WALDEN GALLERIA, SPACE D108
         BUFFALO NY 14225

55.486. __________________________________________             LEASEHOLD           $358,863.28         Cost-             $358,863.28
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 801 AT BROADWAY SQUARE
         4601 S. BROADWAY AVE., SP #H24
         TYLER TX 75703

55.487. __________________________________________             LEASEHOLD           $377,940.81         Cost-             $377,940.81
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 802 AT TOWSON TOWN CENTER
         825 DULANEY VALLEY RD., SP #1070
         TOWSON MD 21204

55.488. __________________________________________             LEASEHOLD           $247,588.28         Cost-             $247,588.28
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 804 AT THE OUTLET SHOPPES AT
         OKLAHOMA CITY
         7650 WEST RENO AVE., SUITE 810
         OKLAHOMA CITY OK 73127

55.489. __________________________________________             LEASEHOLD           $536,498.92         Cost-             $536,498.92
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 807 AT WILLOWBROOK MALL
         2115 WILLOWBROOK MALL
         WAYNE NJ 07470

55.490. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 811 AT DEL AMO FASHION CENTER
         21540 HAWTHORNE BLVD., SPACE #508
         TORRANCE CA 90503

55.491. __________________________________________             LEASEHOLD           $5,696.26           Cost-             $5,696.26
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 815 AT OTAY RANCH TOWN CENTER
         2015 BIRCH RD, STE. 305
         CHULA VISTA CA 91915

55.492. __________________________________________             LEASEHOLD           $26,540.76          Cost-             $26,540.76
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 816 AT CROSSROADS CENTER
         4101 W. DIVISION STREET, SUITE B0038 (RELO)
         ST. CLOUD MN 56301




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 78 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 93 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.493. __________________________________________             LEASEHOLD           $118,941.91         Cost-             $118,941.91
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 817 AT INLAND CENTER
         500 INLAND CENTER DRIVE, SPACE #242 (RELO)
         SAN BERNARDINO CA 92408

55.494. __________________________________________             LEASEHOLD           $2,832.43           Cost-             $2,832.43
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 82 AT HAMILTON MALL
         4403 BLACK HORSE PIKE, SPACE #143
         MAYS LANDING NJ 08330

55.495. __________________________________________             LEASEHOLD           $2,357.28           Cost-             $2,357.28
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 820 AT ROCKLAND PLAZA
         66 ROCKLAND PLAZA ROUTE 59, SUITE 17
         NANUET NY 10954

55.496. __________________________________________             LEASEHOLD           $7,708.48           Cost-             $7,708.48
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 821 AT NEW BRAUNFELS TOWN
         CENTER AT CREEKSIDE
         257 CREEKSIDE CROSSING
         NEW BRAUNFELS TX 78130

55.497. __________________________________________             LEASEHOLD           $250.80             Cost-             $250.80
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 822 AT ALA MOANA CENTER
         1450 ALA MOANA BLVD., SUITE 3065
         HONOLULU HI 96814

55.498. __________________________________________             LEASEHOLD           $11,854.21          Cost-             $11,854.21
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 823 AT MAYFAIR MALL
         2500 NORTH MAYFAIR ROAD, SPACE #574
         WAUWATOSA WI 53226

55.499. __________________________________________             LEASEHOLD           $12,534.17          Cost-             $12,534.17
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 825 AT RIVERCHASE GALLERIA
         2000 RIVERCHASE GALLERIA, SPACE #134
         BIRMINGHAM AL 35244

55.500. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 827 AT FOX RIVER MALL
         4301 WEST WISCONSIN AVE., SUITE #902
         APPLETON WI 54913




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 79 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 94 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.501. __________________________________________             LEASEHOLD           $14,871.02          Cost-             $14,871.02
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 828 AT RIDGEDALE CENTER
         12401 WAYZATA BLVD, SPACE #2278
         MINNETONKA MN 55305

55.502. __________________________________________             LEASEHOLD           $312,273.67         Cost-             $312,273.67
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 83 AT FRANKLIN MILLS
         1400 FRANKLIN MILLS CIRCLE, SPACE #727
         PHILADELPHIA PA 19154

55.503. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 830 AT RIVERTOWN CROSSINGS
         (PLUS)
         3700 RIVERTOWN PARKWAY SW, SPACE #1106
         GRANDVILLE MI 49418

55.504. __________________________________________             LEASEHOLD           $21,682.23          Cost-             $21,682.23
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 833 AT CAROLINA PLACE
         11025 CAROLINA PLACE PARKWAY, SPACE #D-
         25
         PINEVILLE NC 28134

55.505. __________________________________________             LEASEHOLD           $23,676.00          Cost-             $23,676.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 834 AT CORAL RIDGE MALL
         1451 CORAL RIDGE AVENUE, SUITE #409
         CORALVILLE IA 52241

55.506. __________________________________________             LEASEHOLD           $25,630.52          Cost-             $25,630.52
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 835 AT ALDERWOOD MALL
         3000 184TH STREET SW, SUITE 172
         LYNNWOOD WA 98037

55.507. __________________________________________             LEASEHOLD           $21,423.21          Cost-             $21,423.21
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 836 AT WILLOWBROOK MALL (TX)
         1656 WILLOWBROOK MALL
         HOUSTON TX 77070

55.508. __________________________________________             LEASEHOLD           $25,755.20          Cost-             $25,755.20
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 837 AT FLORENCE MALL (KY)
         1082 FLORENCE MALL
         FLORENCE KY 41042




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 80 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 95 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.509. __________________________________________             LEASEHOLD           $27,791.06          Cost-             $27,791.06
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 839 AT VISALIA MALL
         2197 SOUTH MOONEY BLVD., SPACE #1400
         VISALIA CA 93277

55.510. __________________________________________             LEASEHOLD           $5,549.91           Cost-             $5,549.91
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 84 AT PLAZA DEL SOL
         725 AVENIDA WEST MAIN, SPACE #600
         SIERRA BAYAMON PR 00961

55.511. __________________________________________             LEASEHOLD           $111,525.54         Cost-             $111,525.54
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 840 AT TANGER OUTLETS FORT
         WORTH
         15853 N. FREEWAY, STE. 1140
         FT. WORTH TX 76177

55.512. __________________________________________             LEASEHOLD           $146,603.91         Cost-             $146,603.91
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 841 AT JACKSONVILLE MALL
         375 JACKSONVILLE MALL, SPACE #L11
         JACKSONVILLE NC 28546

55.513. __________________________________________             LEASEHOLD           $109,006.90         Cost-             $109,006.90
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 843 AT 34TH STREET
         130 W. 34TH STREET
         NEW YORK NY 10001

55.514. __________________________________________             LEASEHOLD           $143,379.72         Cost-             $143,379.72
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 844 AT BRIARWOOD MALL
         100 BRIARWOOD CIRCLE, SPACE #D121
         ANN ARBOR MI 48108

55.515. __________________________________________             LEASEHOLD           $17,830.84          Cost-             $17,830.84
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 845 AT FAIR OAKS MALL
         11722L FAIR OAKS, SPACE #K119
         FAIRFAX VA 22033

55.516. __________________________________________             LEASEHOLD           $1,599.44           Cost-             $1,599.44
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 86 AT ORANGE PARK MALL
         1910 WELLS ROAD, SPACE #H13 & H15
         ORANGE PARK FL 32073




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                     Page 81 of 90
                        Case 19-10210-LSS               Doc 456         Filed 04/03/19           Page 96 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.517. __________________________________________             LEASEHOLD           $3,539.96           Cost-             $3,539.96
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 87 AT MALL OF GEORGIA
         3333 BUFORD DRIVE, SPACE #1094
         BUFORD GA 30519

55.518. __________________________________________             LEASEHOLD           $5,827.57           Cost-             $5,827.57
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 89 AT MERIDEN
         470 LEWIS AVENUE, SPACE #4008
         MERIDEN CT 06451

55.519. __________________________________________             LEASEHOLD           $0.00               Cost-             $0.00
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 90 AT CONCORD MILLS
         8111 CONCORD MILLS BOULEVARD, SPACE
         #673
         CONCORD NC 28027

55.520. __________________________________________             LEASEHOLD           $394,649.65         Cost-             $394,649.65
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 91 AT JERSEY GARDENS
         651 KAPKWOSKI ROAD, SPACE #270
         ELIZABETH NJ 07201

55.521. __________________________________________             LEASEHOLD           $296,569.05         Cost-             $296,569.05
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 92 AT TEMECULA, PROMENADE IN
         40820 WINCHESTER ROAD, SPACE #1200
         TEMECULA CA 92591

55.522. __________________________________________             LEASEHOLD           $147.91             Cost-             $147.91
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 94 AT PROVIDENCE PLACE
         129 PROVIDENCE PLACE, SUITE 5370
         PROVIDENCE RI 02903

55.523. __________________________________________             LEASEHOLD           $2,042.04           Cost-             $2,042.04
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 96 AT TRI-COUNTY MALL
         11700 PRINCETON PIKE, SPACE #D21
         CINCINNATI OH 45246

55.524. __________________________________________             LEASEHOLD           $1,152.40           Cost-             $1,152.40
                                                               IMPROVEMENTS                            Based/Straight
         RETAIL STORE                                                                                  Line
         STORE # 97 AT FLORIDA MALL, THE
         8001 SOUTH ORANGE BLOSSOM TRAIL, SPACE
         #1230
         ORLANDO FL 32809




Official Form 206A/B                     Schedule A/B: Assets — Real and Personal Property                                       Page 82 of 90
                           Case 19-10210-LSS                  Doc 456        Filed 04/03/19          Page 97 of 2900

Debtor     Charlotte Russe, Inc.                                                                                  Case number (if known) 19-10214

          Description and location of property                      Nature and          Net book value      Valuation            Current value of
          Include street address or other description such as       extent of           of debtor's         method used for      debtor’s interest
          Assessor Parcel Number (APN), and type of property        debtor’s interest   interest            current value
          (for example, acreage, factory, warehouse,                in property         (Where available)
          apartment or office building), if available.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.525. __________________________________________                  LEASEHOLD           $48,699.14          Cost-                $48,699.14
                                                                    IMPROVEMENTS                            Based/Straight
          RETAIL STORE                                                                                      Line
          STORE # 98 AT RIVER TOWN CROSSINGS
          3700 RIVERTOWN PARKWAY, SPACE #1045
          GRANDVILLE MI 49418

55.526. __________________________________________                  LEASEHOLD           $25,792.94          Cost-                $25,792.94
                                                                    IMPROVEMENTS                            Based/Straight
          RETAIL STORE                                                                                      Line
          STORE # 99 AT EASTVIEW MALL
          672 EASTVIEW MALL
          VICTOR NY 14564

56.     Total of part 9
        Add the current value on lines 55. Copy the total to line 88.                                                           $43,167,891.68

57.     Is a depreciation schedule available for any of the property listed in Part 9?
        ¨ No
        þ Yes
58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 10: Intangibles and intellectual property

59.     Does the debtor have any interests in intangibles or intellectual property?
        ¨ No. Go to Part 11.
        þ Yes. Fill in the information below.
          General description                                                  Net book value of      Valuation method        Current value of
                                                                               debtor's interest      used for current        debtor’s interest
                                                                               (Where available)      value

60.       Patents, copyrights, trademarks, and trade secrets
60.1.     ___________________________________________________                  $_______________       _________________       $_______________

61.       Internet domain names and websites
                                                                               Net book value of      Valuation method        Current value of
                                                                               debtor's interest                              debtor’s interest
61.1.     ___________________________________________________                  $_______________       _________________       $_______________

62.       Licenses, franchises, and royalties
62.1.     ___________________________________________________                  $_______________       _________________       $_______________

63.       Customer lists, mailing lists, or other compilations
63.1.     A CUSTOMER DATABASE WHICH CONTAINS CUSTOMERS                         UNDETERMINED           N/A                     UNDETERMINED
          NAME, ADDRESS, PHONE NUMBER, E-MAIL ADDRESS,
          GENDER, BIRTHDAY, AND ONLINE PURCHASE HISTORY
          (STARTING FROM JULY 4, 2018)



Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                         Page 83 of 90
                           Case 19-10210-LSS                  Doc 456        Filed 04/03/19           Page 98 of 2900

Debtor     Charlotte Russe, Inc.                                                                                      Case number (if known) 19-10214

64.       Other intangibles, or intellectual property
64.1.     ___________________________________________________                  $_______________         _________________         $_______________

65.       Goodwill
65.1.     ___________________________________________________                  $_______________         _________________         $_______________

66.     Total of part 10
        Add lines 60 through 65. Copy the total to line 89.                                                                        UNDETERMINED

67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A)
        and 107)?
        ¨ No
        þ Yes
68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        þ No
        ¨ Yes
69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 11: All other assets

70.     Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        ¨ No. Go to Part 12.
        þ Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor’s interest

71.     Notes receivable
        Description (include name of obligor)                 Total face amount          Doubtful or                              Current value of
                                                                                         uncollectible amount                     debtor’s interest

71.1. _______________________________________                 $________________        - $________________         = ........ →   $________________
        _______________________________________

72.       Tax refunds and unused net operating losses (NOLs)
          Description (for example, federal, state,     Tax refund amount         NOL amount            Tax year                  Current value of
          local)                                                                                                                  debtor’s interest
72.1.     AKRON, OH                                     $4,168.00                 $_______________      PROJECTED 2/2/19          UNDETERMINED
72.2.     ALABAMA                                       $720.00                   $_______________      PROJECTED 2/2/19          UNDETERMINED
72.3.     ALABAMA CPT                                   $5,084.00                 $_______________      PROJECTED 2/2/19          UNDETERMINED
72.4.     ARIZONA NOL                                   $_______________          ($524,739.00)         AS OF 1.28.17             UNDETERMINED
72.5.     ARIZONA NOL                                   $_______________          ($377,302.00)         2017 ADDITIONAL           UNDETERMINED
                                                                                                        ACTIVITY (FYE
                                                                                                        2.3.18)
72.6.     ARKANSAS                                      $240.00                   $_______________      PROJECTED 2/2/19          UNDETERMINED
72.7.     ASHLAND, KY                                   $1,570.00                 $_______________      PROJECTED 2/2/19          UNDETERMINED
72.8.     BOWLING GREEN, KY                             $1,037.00                 $_______________      PROJECTED 2/2/19          UNDETERMINED
72.9.     CALIFORNIA                                    $400.00                   $_______________      PROJECTED 2/2/19          UNDETERMINED

Official Form 206A/B                            Schedule A/B: Assets — Real and Personal Property                                           Page 84 of 90
                        Case 19-10210-LSS        Doc 456        Filed 04/03/19       Page 99 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

72.10.   CALIFORNIA NOL                      $_______________    ($36,251,312.00)     AS OF 1.28.17       UNDETERMINED
72.11.   CALIFORNIA NOL                      $_______________    ($2,300,977.00)      2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.12.   COLOMBUS, OH                        $10,459.00          $_______________     PROJECTED 2/2/19    UNDETERMINED
72.13.   COLORADO NOL                        $_______________    ($2,071,573.00)      AS OF 1.28.17       UNDETERMINED
72.14.   COLORADO NOL                        $_______________    ($444,183.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.15.   CONNECTICUT                         $3,415.00           $_______________     PROJECTED 2/2/19    UNDETERMINED
72.16.   CONNECTICUT NOL                     $_______________    ($303,723.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.17.   DELAWARE                            $2,677.00           $_______________     PROJECTED 2/2/19    UNDETERMINED
72.18.   FAIRLAWN, OH                        $1,790.00           $_______________     PROJECTED 2/2/19    UNDETERMINED
72.19.   FEDERAL NOL                         $_______________    ($101,910,751.00)    AS OF 1.28.17       UNDETERMINED
72.20.   FEDERAL NOL                         $_______________    ($20,934,600.00)     2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.21.   FLORENCE, KY                        $703.00             $_______________     PROJECTED 2/2/19    UNDETERMINED
72.22.   FLORIDA                             $450.00             $_______________     PROJECTED 2/2/19    UNDETERMINED
72.23.   GEORGIA                             $1,615.00           $_______________     PROJECTED 2/2/19    UNDETERMINED
72.24.   HAWAII                              $321.00             $_______________     PROJECTED 2/2/19    UNDETERMINED
72.25.   HAWAII NOL                          $_______________    ($633,299.00)        AS OF 1.28.17       UNDETERMINED
72.26.   HAWAII NOL                          $_______________    ($132,778.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.27.   IDAHO                               $30.00              $_______________     PROJECTED 2/2/19    UNDETERMINED
72.28.   IDAHO NOL                           $_______________    ($21,568.00)         AS OF 1.28.17       UNDETERMINED
72.29.   IDAHO NOL                           $_______________    ($27,536.00)         2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.30.   ILLINOIS NOL                        $_______________    ($6,111,606.00)      AS OF 1.28.17       UNDETERMINED
72.31.   ILLINOIS NOL                        $_______________    ($851,307.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.32.   INDIANA NOL                         $_______________    ($3,559,281.00)      AS OF 1.28.17       UNDETERMINED
72.33.   INDIANA NOL                         $_______________    ($447,710.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.34.   IOWA                                $5,058.00           $_______________     PROJECTED 2/2/19    UNDETERMINED
72.35.   JEDD LIBERTY TOWNSHIP, OH           $344.00             $_______________     PROJECTED 2/2/19    UNDETERMINED
72.36.   KANSAS                              $250.00             $_______________     PROJECTED 2/2/19    UNDETERMINED
72.37.   KANSAS NOL                          $_______________    ($954,337.00)        AS OF 1.28.17       UNDETERMINED
72.38.   KANSAS NOL                          $_______________    ($120,679.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                      ACTIVITY (FYE
                                                                                      2.3.18)
72.39.   KENTUCKY                            $246.00             $_______________     PROJECTED 2/2/19    UNDETERMINED
72.40.   LOIUSIANA                           $5,833.00           $_______________     PROJECTED 2/2/19    UNDETERMINED
Official Form 206A/B                 Schedule A/B: Assets — Real and Personal Property                            Page 85 of 90
                       Case 19-10210-LSS    Doc 456      Filed 04/03/19        Page 100 of 2900

Debtor   Charlotte Russe, Inc.                                                            Case number (if known) 19-10214

72.41.   LOUISVILLE, KY                  $1,959.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.42.   MAINE                           $21.00             $_______________    PROJECTED 2/2/19    UNDETERMINED
72.43.   MAINE NOL                       $_______________   ($117,607.50)       AS OF 1.28.17       UNDETERMINED
72.44.   MAINE NOL                       $_______________   ($28,313.96)        2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.45.   MARYLAND                        $736.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.46.   MASSACHUETTS                    $399.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.47.   MASSACHUSETTS NOL               $_______________   ($1,719,229.00)     AS OF 1.28.17       UNDETERMINED
72.48.   MASSACHUSETTS NOL               $_______________   ($456,414.00)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.49.   MICHIGAN NOL                    $_______________   ($588,534.00)       AS OF 1.28.17       UNDETERMINED
72.50.   MICHIGAN NOL                    $_______________   ($559,876.00)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.51.   MINNESOTA                       $5,202.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.52.   MINNESOTA NOL                   $_______________   ($2,848,679.00)     AS OF 1.28.17       UNDETERMINED
72.53.   MINNESOTA NOL                   $_______________   ($302,391.00)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.54.   MISSISSIPPI                     $600.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.55.   MISSOURI                        $3,851.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.56.   MONROE, OH                      $3,294.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.57.   MULTONOMAH, OR                  $1,000.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.58.   MULTONOMAH, OR NOL              $_______________   ($49,580.00)        AS OF 1.28.17       UNDETERMINED
72.59.   MULTONOMAH, OR NOL              $_______________   ($26,786.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.60.   NEBRASKA                        $500.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.61.   NEBRASKA NOL                    $_______________   ($129,054.00)       AS OF 1.28.17       UNDETERMINED
72.62.   NEBRASKA NOL                    $_______________   ($110,536.00)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.63.   NEW HAMPSHIRE                   $2,118.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.64.   NEW HAMPSHIRE NOL               $_______________   ($180,702.00)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.65.   NEW JERSEY                      $685.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.66.   NEW MEXICO                      $854.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.67.   NEW YORK                        $929.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.68.   NEW YORK CITY                   $2,263.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.69.   NEW YORK CITY NOL               $_______________   ($1,540,364.00)     AS OF 1.28.17       UNDETERMINED
72.70.   NEW YORK CITY NOL               $_______________   ($230,118.00)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.71.   NEW YORK MTA                    $210.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.72.   NEW YORK MTA NOL                $_______________   ($6,330,480.91)     AS OF 1.28.17       UNDETERMINED

Official Form 206A/B             Schedule A/B: Assets — Real and Personal Property                          Page 86 of 90
                       Case 19-10210-LSS    Doc 456      Filed 04/03/19        Page 101 of 2900

Debtor   Charlotte Russe, Inc.                                                            Case number (if known) 19-10214

72.73.   NEW YORK MTA NOL                $_______________   ($777,329.00)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.74.   NEW YORK NOL                    $_______________   ($11,148,712.46)    AS OF 1.28.17       UNDETERMINED
72.75.   NEW YORK NOL                    $_______________   ($1,378,570.00)     2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.76.   NORTH CAROLINA                  $21.00             $_______________    PROJECTED 2/2/19    UNDETERMINED
72.77.   OKLAHOMA                        $17.00             $_______________    PROJECTED 2/2/19    UNDETERMINED
72.78.   OREGON NOL                      $_______________   ($699,274.00)       AS OF 1.28.17       UNDETERMINED
72.79.   OREGON NOL                      $_______________   ($133,981.00)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.80.   PENNSLYVANIA                    $628.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.81.   PORTLAND, OR                    $1,000.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.82.   PORTLAND, OR NOL                $_______________   ($49,580.00)        AS OF 1.28.17       UNDETERMINED
72.83.   PORTLAND, OR NOL                $_______________   ($26,786.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.84.   RHODE ISLAND                    $50.00             $_______________    PROJECTED 2/2/19    UNDETERMINED
72.85.   RHODE ISLAND NOL                $_______________   ($130,920.30)       AS OF 1.28.17       UNDETERMINED
72.86.   RHODE ISLAND NOL                $_______________   ($125,244.25)       2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.87.   RITA, OH                        $8,419.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.88.   SHELBY COUNTY, KY               $1,014.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.89.   SIMPSONVILLE, KY                $161.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.90.   SOUTH CAROLINA                  $151.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.91.   SPRINGDALE, OH                  $1,838.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.92.   TENNESSEE                       $294.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.93.   TOLDEO, OH                      $1,315.00          $_______________    PROJECTED 2/2/19    UNDETERMINED
72.94.   UTAH                            $400.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.95.   UTAH NOL                        $_______________   ($866,687.00)       AS OF 1.28.17       UNDETERMINED
72.96.   UTAH NOL                        $_______________   ($30,130.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.97.   VERMONT                         $750.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.98.   VERMONT NOL                     $_______________   ($221,414.00)       AS OF 1.28.17       UNDETERMINED
72.99.   VERMONT NOL                     $_______________   ($23,822.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.100. VIRGINIA                         $905.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.101. WARREN SCHOOL COUNTY, KY         $787.00            $_______________    PROJECTED 2/2/19    UNDETERMINED
72.102. WEST VIRGINIA NOL                $_______________   ($648,563.00)       AS OF 1.28.17       UNDETERMINED
72.103. WEST VIRGINIA NOL                $_______________   ($85,360.00)        2017 ADDITIONAL     UNDETERMINED
                                                                                ACTIVITY (FYE
                                                                                2.3.18)
72.104. WISCONSIN                        $75.00             $_______________    PROJECTED 2/2/19    UNDETERMINED

Official Form 206A/B             Schedule A/B: Assets — Real and Personal Property                          Page 87 of 90
                       Case 19-10210-LSS             Doc 456         Filed 04/03/19         Page 102 of 2900

Debtor    Charlotte Russe, Inc.                                                                            Case number (if known) 19-10214

72.105. WISCONSIN NOL                            $_______________        ($1,781,060.00)        AS OF 1.28.17        UNDETERMINED
72.106. WISCONSIN NOL                            $_______________        ($296,371.00)          2017 ADDITIONAL      UNDETERMINED
                                                                                                ACTIVITY (FYE
                                                                                                2.3.18)

73.      Interests in insurance policies or annuities
         Insurance company        Insurance policy      Annuity issuer name   Annuity account     Annuity account   Current value of
                                  No.                                         type                No.               debtor’s interest
73.1.    TRAVELERS PROPERTY       PROPERTY       _________________            _______________ _______________ UNDETERMINED
         CASUALTY INSURANCE       INSURANCE
         CO.                      POLICY NO.
                                  KTJ‐CMB‐3065P37‐0‐19
73.2.    NORTH SHORE              DIC INSURANCE         _________________     _______________ _______________ UNDETERMINED
         MANAGEMENT               POLICY NO.
                                  NSM39117
73.3.    UNDERWRITERS AT          CARGO                 _________________     _______________ _______________ UNDETERMINED
         LLOYD'S LONDON           INSURANCE
                                  POLICY NO.
                                  M‐20831
73.4.    TRAVELERS PROPERTY       GENERAL        _________________            _______________ _______________ UNDETERMINED
         CASUALTY CO. OF          LIABILITY ‐
         AMERICA                  EMPLOYEE
                                  BENEFIT
                                  LIABILITY
                                  INSURANCE
                                  POLICY NO.
                                  TC2J‐GLSA‐6E00763A‐19
73.5.    TRAVELERS PROPERTY       AUTOMOBILE     _________________            _______________ _______________ UNDETERMINED
         CASUALTY CO. OF          INSURANCE
         AMERICA                  POLICY NO.
                                  TJ‐CAP‐6E007641‐19
73.6.    TRAVELERS PROPERTY       WORKERS’         _________________          _______________ _______________ UNDETERMINED
         CASUALTY CO. OF          COMPENSATION
         AMERICA                  INSURANCE
                                  POLICY NO.
                                  UB‐1L338947‐19‐51‐R
                                  (AZ,FL,MA,OR,WI)
73.7.    CONTINENTAL INS. CO.     INTERNATIONAL         _________________     _______________ _______________ UNDETERMINED
         (CNA)                    PACKAGE
                                  INSURANCE
                                  POLICY NO. PST
                                  62 313 6940
73.8.    NAVIGATOR’S              UMBRELLA        _________________           _______________ _______________ UNDETERMINED
         INSURANCE CO.            LIABILITY
                                  INSURANCE
                                  POLICY NO.
                                  NY19UMR701624IV
73.9.    AMERICAN FIRE &          EXCESS                _________________     _______________ _______________ UNDETERMINED
         CASUALTY INS. CO.        LIABILITY
         (LIBERTY)                INSURANCE
                                  POLICY NO. ECA
                                  (20) 54326811
73.10. NATIONAL UNION FIRE        SPECIAL RISK          _________________     _______________ _______________ UNDETERMINED
       INS. CO. OF                INSURANCE
       PITTSBURGH, PA             POLICY NO.
                                  88‐085‐312
73.11. SYNDICATE 2623/623 AT      CYBER LIABILITY _________________           _______________ _______________ UNDETERMINED
       LLOYDS (BEAZLEY)           INSURANCE
                                  POLICY NO.
                                  W24A9F180101


Official Form 206A/B                   Schedule A/B: Assets — Real and Personal Property                                      Page 88 of 90
                           Case 19-10210-LSS                  Doc 456      Filed 04/03/19   Page 103 of 2900

Debtor     Charlotte Russe, Inc.                                                                       Case number (if known) 19-10214

74.       Causes of action against third parties (whether or not a lawsuit
          has been filed)
                                                         Nature of claim                     Amount requested   Current value of
                                                                                                                debtor’s interest
74.1.     LYONS CONSULTING GROUP, LLC                    BREACH OF CONTRACT                  $540,000.00        UNDETERMINED

75.       Other contingent and unliquidated claims or causes of action of
          every nature, including counterclaims of the debtor and rights to
          set off claims
                                                         Nature of claim                     Amount requested   Current value of
                                                                                                                debtor’s interest
75.1.     VISA MASTERCARD SETTLEMENT                     INTERCHANGE LITIGATION              UNDETERMINED       UNDETERMINED

76.       Trusts, equitable or future interests in property
76.1.     _______________________________________________________________________________________               $_______________

77.       Other property of any kind not already listed
          Examples: Season tickets, country club membership
77.1.     _______________________________________________________________________________________               $_______________

78.     Total of part 11
        Add lines 71 through 77. Copy the total to line 90.                                                       UNDETERMINED

79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?
        þ No
        ¨ Yes




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                           Page 89 of 90
                           Case 19-10210-LSS                       Doc 456             Filed 04/03/19                 Page 104 of 2900

Debtor    Charlotte Russe, Inc.                                                                                                  Case number (if known) 19-10214



 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.
      Type of property                                                                  Current value of                   Current value of
                                                                                        personal                           real property
                                                                                        property

80.   Cash, cash equivalents, and financial assets. Copy line 5,                          $27,722,278.77
      Part 1.

81.   Deposits and prepayments. Copy line 9, Part 2.                                       $1,840,300.77


82.   Accounts receivable. Copy line 12, Part 3.                                            $324,886.67


83.   Investments. Copy line 17, Part 4.                                                 UNDETERMINED


84.   Inventory. Copy line 23, Part 5.                                                    $57,735,742.00


85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00


86.   Office furniture, fixtures, and equipment; and                                       $5,606,640.80
      collectibles. Copy line 43, Part 7.

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                             $701,559.57



88.   Real property. Copy line 56, Part 9. ...................................................................... →         $43,167,891.68

89.   Intangibles and intellectual property. Copy line 66, Part 10.                      UNDETERMINED


90.   All other assets. Copy line 78, Part 11.                                     +     UNDETERMINED



91.   Total. Add lines 80 through 90 for each column. ..........91a.                      $93,931,408.58          + 91b.    $43,167,891.68




92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92. ......................................................................     $137,099,300.26




Official Form 206A/B                              Schedule A/B: Assets — Real and Personal Property                                                Page 90 of 90
                        Case 19-10210-LSS                Doc 456        Filed 04/03/19           Page 105 of 2900


Fill in this information to identify the case:

Debtor name: Charlotte Russe, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10214

                                                                                                                             ¨ Check if this is an
                                                                                                                                    amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                    12/15

Be as complete and accurate as possible.

1.    Do any creditors have claims secured by debtor’s property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this
      form.
      þ Yes. Fill in all of the information below.

 Part 1:      List Creditors Who Have Secured Claims

2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                        Page 1 of 5
                          Case 19-10210-LSS                 Doc 456        Filed 04/03/19           Page 106 of 2900

Debtor    Charlotte Russe, Inc.                                                                                  Case number (if known) 19-10214



                                                                                                            Column A         Column B
                                                                                                            Amount of        Value of
                                                                                                            Claim            collateral that
                                                                                                            Do not deduct    supports this
                                                                                                            the value of     claim
                                                                                                            collateral.


2.1.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         BANK OF AMERICA, N.A.                              ALL OF THE DEBTOR'S PERSONAL                    $22,854,000.00   UNDETERMINED
         100 FEDERAL STREET                                 PROPERTY AND ASSETS AS MORE FULLY
         9TH FL                                             DESCRIBED ON EXHIBIT A ATTACHED
         BOSTON MA 02110                                    HERETO, WHETHER NOW OWNED OR
                                                            HEREAFTER ACQUIRED OR ARISING, AND
         Creditor’s email address, if known                 INCLUDING ALL REPLACEMENTS,
                                                            SUBSTITUTIONS. ADDITIONS AND
         _____________________________________
                                                            ACCESSIONS OF, TO, OR FOR ANY OF THE
         Date debt was incurred: 6/27/2005                  FOREGOING AND ALL PROCEEDS AND
                                                            PRODUCTS THEREOF.
         Last 4 digits of account number:
                                                            Describe the lien
         Do multiple creditors have an interest in the
         same property?                                     UCC-1 ORIGINALLY RECORDED 6/27/2005
                                                            IN STATE OF CALIFORNIA AS DOCUMENT #
         ¨ No                                               05-7032208805 AND AS AMENDED BY
                                                            DOCUMENT #S 10-72316621, 10-72316701,,
         þ Yes. Have you already specified the              10-72326116, 13-73624170, 13-73624173, 15-
         relative priority?                                 74440298
             þ No. Specify each creditor, including         Is the creditor an insider or related party?
             this creditor, and its relative priority.
             BANK OF AMERICA HAS A FIRST                    þ No
             PRIORITY LIEN ON, AMONG OTHER
             THINGS, THE DEBTORS' ACCOUNTS,                 ¨ Yes
             CHATTEL PAPER, INVENTORY,                      Is anyone else liable on this claim?
             COMMERCIAL TORTS AND GENERAL
             INTANBIGLES (OTHER THAN                        ¨ No
             INTELLECTUAL PROPERTY) AND A
             SECOND PRIOIRTY LIEN ON ALL                    þ Yes. Fill out Schedule H: Codebtors
             OTHER ASSETS, SUBORDINATE TO                   (Official Form 206H).
             JEFFERIES FINANCE, LLC AS AGENT                As of the petition filing date, the claim is:
             UNDER THE AMENDED & RESTATED                   Check all that apply.
             CREDIT AGREMEENT DATED AS OF
             MAY 22, 2013, AS AMENDED, THE                  ¨ Contingent
             "PREPETITION TERM LOAN
             AGREEMENT" JEFFERIES FINANCE,                  ¨ Unliquidated
             LLC. THE LIEN OF EMPLOYMENT
             DEVELOPMENT DEPARTMENT IS
                                                            ¨ Disputed
             SUBORDINATE TO THE LIENS OF BANK
             OF AMERICA, N.A. AND JEFFRIES
             FINANCE LLC
             ¨ Yes. The relative priority of creditors is
             specified on lines: ______




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                     Page 2 of 5
                          Case 19-10210-LSS                 Doc 456        Filed 04/03/19           Page 107 of 2900

Debtor    Charlotte Russe, Inc.                                                                                 Case number (if known) 19-10214

2.2.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         EMPLOYMENT DEVELOPMENT                             STATE TAX LIEN - THE AMOUNT OF                  UNDETERMINED UNDETERMINED
         DEPARTMENT                                         DELINQUENCY ABOVE SET FORTII SHALL
         PO BOX 826880                                      BE A LIEN UPON ALL REAL OR PERSONAL
         SACRAMENTO CA 94280                                PROPERTY AND RIGHTS TO SUCH
                                                            PROPERTY. INCLUDING ALL AFTER-
         Creditor’s email address, if known                 ACQUIRED PROPERTY AND RIGHTS TO
                                                            PROPERTY BELONGING TO THE ABOVE
         _____________________________________
                                                            NAMED.
         Date debt was incurred: 2/4/2015
                                                            Describe the lien
         Last 4 digits of account number:
                                                            UCC-1 ORIGINALLY RECORDED 2/4/2015 IN
         Do multiple creditors have an interest in the      STATE OF CALIFORNIA AS DOCUMENT #
         same property?                                     15-7448881379

         ¨ No                                               Is the creditor an insider or related party?

         þ Yes. Have you already specified the              þ No
         relative priority?                                 ¨ Yes
             ¨ No. Specify each creditor, including         Is anyone else liable on this claim?
             this creditor, and its relative priority.
             _________________________________              ¨ No
             _________________________________
             þ Yes. The relative priority of creditors is   þ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
             specified on lines: 2.1
                                                            As of the petition filing date, the claim is:
                                                            Check all that apply.

                                                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed
2.3.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         JEFFRIES FINANCE LLC, AS                           ALL ASSETS OF TIIE DEBTOR. WHETHER              $89,325,000.00   UNDETERMINED
         ADMINISTRATIVE AGENT AND AS                        NOW EXISTING OR HEREAFTER
         COLLATERAL AGENT                                   ACQUIRED OR ARISING, INCLUDING ALL
         520 MADISON AVENUE                                 PROCEEDS THEREOF
         NEW YORK NY 10022
                                                            Describe the lien
         Creditor’s email address, if known
                                                            UCC-1 ORIGINALLY RECORDED 5/23/2013
         _____________________________________              IN STATE OF CLAIFORNIA AS DOCUMENT #
                                                            13-7362419551 AND AS AMENDED BY
         Date debt was incurred: 5/23/2013                  DOCUMENT # 14-74068220
         Last 4 digits of account number:                   Is the creditor an insider or related party?
         Do multiple creditors have an interest in the
         same property?
                                                            þ No
                                                            ¨ Yes
         ¨ No                                               Is anyone else liable on this claim?
         þ Yes. Have you already specified the
         relative priority?                                 ¨ No
             ¨ No. Specify each creditor, including         þ Yes. Fill out Schedule H: Codebtors
             this creditor, and its relative priority.      (Official Form 206H).
             _________________________________              As of the petition filing date, the claim is:
             _________________________________              Check all that apply.
             þ Yes. The relative priority of creditors is ¨ Contingent
             specified on lines: 2.1
                                                          ¨ Unliquidated
                                                          ¨ Disputed

Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                    Page 3 of 5
                          Case 19-10210-LSS              Doc 456        Filed 04/03/19            Page 108 of 2900

Debtor     Charlotte Russe, Inc.                                                                                    Case number (if known) 19-10214

2.4.     Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         TFS LEASING PROGRAM OF DE LAGE                  ALL EQUIPMENT LEASED OR FINANCED                    UNDETERMINED UNDETERMINED
         LANDEN FINANCIAL SERVICES                       BY SECURED PARTY TO OR FOR DEBTOR
         1111 OLD EAGLE SCHOOL ROAD                      PURSUANT TO SECURED PARTY'S
         WAYNE PA 19087                                  CONTRACT NUMBER 25475289,
                                                         TOGETHER WITH ALL ADDITIONS,
         Creditor’s email address, if known              ATTACHMENTS, ACCESSORIES AND
                                                         SUBSTITUTIONS TO OR FOR THE SAME,
         _____________________________________
                                                         AND ALL PROCEEDS OF THE FOREGOING.
         Date debt was incurred: 2/6/2017                LEASE NUMBER 25475289

         Last 4 digits of account number:                Describe the lien

         Do multiple creditors have an interest in the   UCC-1 ORIGINALLY RECORDED 2/6/2017 IN
         same property?                                  STATE OF CALIFORNIA AS DOCUMENT #
                                                         17-7620669892
         þ No                                            Is the creditor an insider or related party?
         ¨ Yes. Have you already specified the
         relative priority?                              þ No
             ¨ No. Specify each creditor, including      ¨ Yes
             this creditor, and its relative priority.   Is anyone else liable on this claim?
             _________________________________
             _________________________________            þ No
             ¨ Yes. The relative priority of creditors is ¨ Yes. Fill out Schedule H: Codebtors
             specified on lines: ______                  (Official Form 206H).
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.

                                                         ¨ Contingent
                                                         ¨ Unliquidated
                                                         ¨ Disputed


       Total of the dollar amounts from Part 1, Column A, including the amounts
3.                                                                                                 $112,179,000.00
       from the Additional Page, if any.




 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.
         Name and address                                                                                On which line in       Last 4 digits of
                                                                                                         Part 1 did you enter   account number
                                                                                                         the related            for this entity
                                                                                                         creditor?

3.1.     BANK OF AMERICA MERRILL LYNCH                                                                   Line 2.1               _______________
         MATTHEW POTTER
         100 FEDERAL STREET
         BOSTON MA 02110

3.2.     BANK OF AMERICA, N.A.                                                                           Line 2.1               _______________
         40 BROAD STREET
         BOSTON MA 02109




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                         Page 4 of 5
                      Case 19-10210-LSS          Doc 456      Filed 04/03/19     Page 109 of 2900

Debtor    Charlotte Russe, Inc.                                                                 Case number (if known) 19-10214

3.3.     CHIPMAN BROWN CICERO & COLE LLP                                             Line 2.3               _______________
         WILLIAM E CHIPMAN, JR.,MARK D OLIVERE
         HERCULES PLAZA
         1313 NORTH MARKET ST STE 5400
         WILMINGTON DE 19801-6101

3.4.     KING & SPALDING LLP                                                         Line 2.3               _______________
         MICHAEL RUPE ESQ
         1185 6TH AVENUE, 35TH FLOOR
         NEW YORK NY 10036

3.5.     KING & SPALDING LLP                                                         Line 2.3               _______________
         W. AUSTIN JOWERS;CHRISTOPHER G BOIES
         1185 6TH AVENUE, 35TH FLOOR
         NEW YORK NY 10036

3.6.     KING AND SPALDING LLP                                                       Line 2.3               _______________
         MICHAEL R HANDLER,ESQ
         1185 AVENUE OF THE AMERICAS,35TH FLOOR
         NEW YORK NY 10036

3.7.     MORGAN LEWIS & BOCKIUS LLP                                                  Line 2.1               _______________
         JULIA FROST-DAVIES
         ONE FEDERAL STREET
         BOSTON MA 02110

3.8.     MORGAN LEWIS & BOCKIUS LLP                                                  Line 2.1               _______________
         CHRISTOPHER CARTER
         ONE FEDERAL STREET
         BOSTON MA 02110

3.9.     RICHARDS LAYTON & FINGER PA                                                 Line 2.1               _______________
         MARK D COLLINS;BRETT M HAYWOOD
         ONE RODNEY SQUARE
         920 NORTH KING STREET
         WILMINGTON DE 19801




Official Form 206D                Schedule D: Creditors Who Have Claims Secured by Property                         Page 5 of 5
                        Case 19-10210-LSS                Doc 456         Filed 04/03/19            Page 110 of 2900


Fill in this information to identify the case:

Debtor name: Charlotte Russe, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10214

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G) .Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.



 Part 1:      List All Creditors with PRIORITY Unsecured Claims

1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
2.         List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If
           the debtor has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.


2.1.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $57.45                  $57.45
           ABANIKANDA, DEBRA I
           1167 WILLMOHR STREET                        ¨ Contingent
           APT 2F
           BROOKLYN NY 11212                           ¨ Unliquidated                                                        Nonpriority amount

                                                       ¨ Disputed                                                            $0.00

           Date or dates debt was incurred             Basis for the claim:
           __________________________________          WAGES & PTO

           Last 4 digits of account                    Is the claim subject to offset?
           number:
                                                       ¨ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (4)      ¨ Yes

2.2.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $90.09                  $90.09
           ABBASI, ARIBA
           605 GLENWOOD LANE                           ¨ Contingent
           LOMBARD IL 60148
                                                       ¨ Unliquidated                                                        Nonpriority amount

                                                       ¨ Disputed                                                            $0.00

           Date or dates debt was incurred             Basis for the claim:
           __________________________________          WAGES & PTO

           Last 4 digits of account                    Is the claim subject to offset?
           number:
                                                       ¨ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (4)      ¨ Yes
Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 111 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.3.     Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $149.91                 $149.91
         ABBOTT, DAEZSHA D
         1903 N. LINCOLN AVE                      ¨ Contingent
         118
         URBANA IL 61801                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4.     Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $43.66                  $43.66
         ABDENOUR, EMILY F
         4907 UXTON COURT                         ¨ Contingent
         STERLING HEIGHTS MI 48310
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5.     Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $63.44                  $63.44
         ABDOUNI, YASMINE Y
         5927 BLACK OAK DR                        ¨ Contingent
         TOLEDO OH 43615
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 112 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.6.     Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $536.04                 $536.04
         ABDRABOU, SHAYMAA H
         220 NE 12TH AVE                          ¨ Contingent
         LOT 48
         HOMESTEAD FL 33030                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7.     Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $85.47                  $85.47
         ABEGUNDE, EMI O
         3814 GREAT FALLS COURT                   ¨ Contingent
         IRVING TX 75062
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.8.     Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $147.63                 $147.63
         ABELLA, DENISE M
         10781 FGCU SOUTH BRIDGE LOOP B           ¨ Contingent
         FORT MYERS FL 33965
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 113 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.9.     Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $84.71                  $84.71
         ABINA, MALEAHA R
         11100 N HARRISON ST                      ¨ Contingent
         KC MO 64155
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.10.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,028.77               $1,028.77
         ABLES, CHANNING
         6811 CURRINGTON CIRCLE                   ¨ Contingent
         LOUISVILLE KY 40258
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.11.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $37.80                  $37.80
         ABNEY, ALEXANDRA H
         9706 MARBY GRANGE WAY                    ¨ Contingent
         BAKERSFIELD CA 93312
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 4 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 114 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.12.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,319.51               $1,319.51
         ABORDO, CARMELA
         309 CATOR AVE                            ¨ Contingent
         JERSEY CITY NJ 07305
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.13.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $235.86                 $235.86
         ABOULHOSN, ABIR C
         14201 WHIRLAWAY PL                       ¨ Contingent
         MIDLOTHIAN VA 23112
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.14.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $127.65                 $127.65
         ABOUNA, FUASTINA H
         2428 COMMON RD                           ¨ Contingent
         WARREN MI 48092
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 115 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.15.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $450.00                 $450.00
         ABREU, ANAILI
         12824 SW 28TH ST                         ¨ Contingent
         MIRAMAR FL 33027
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.16.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $249.48                 $249.48
         ABREU, ASHLEY M
         1857 DUNN COVE DR                        ¨ Contingent
         APOPKA FL 32703
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.17.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $53.40                  $53.40
         ABRHAM, EMAN A
         33 ILLINOIS AVE                          ¨ Contingent
         2
         SOMERVILLE MA 02145                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 116 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.18.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $150.00                 $150.00
         ABRIL, CARLA
         5344 GUINEA RD                           ¨ Contingent
         FAIRFAX VA 22032
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.19.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $97.13                  $97.13
         ABUNDIS, EMILLY
         1811 76TH STREET                         ¨ Contingent
         BYRON CENTER MI 49315
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.20.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $25.41                  $25.41
         ACEDO, MADILYN H
         448 ATLAS PEAK                           ¨ Contingent
         LAS VEGAS NV 89183
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 117 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.21.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $211.69                 $211.69
         ACEVEDO, ALYSHA M
         39 CEDAR STREET                          ¨ Contingent
         2
         PATERSON NJ 07501                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.22.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,488.09               $1,488.09
         ACEVEDO, ARACELI
         COND PARQUE 228 #100                     ¨ Contingent
         CALLE DR. VEVE
         BAYAMON PR 00961                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.23.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $359.06                 $359.06
         ACEVES, REBECA
         857 MARSHALL AVE                         ¨ Contingent
         APT #5
         ST PAUL MN 55104                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 118 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.24.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $339.00                 $339.00
         ACHAN, ASHLEY
         424 MORRIS AVE                           ¨ Contingent
         APT 5D
         BRONX NY 10451                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.25.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $606.30                 $606.30
         ACHESON, BROOK
         195 JENKINS ROAD                         ¨ Contingent
         FORT RECOVERY OH 45846
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.26.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,500.36               $4,500.36
         ACHURRA, KEISHA M
         3812 DAIQUIRI COURT                      ¨ Contingent
         VIRGINIA BEACH VA 23456
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 119 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.27.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $53.40                  $53.40
         ACKERMAN, SARAH J
         48 CHERRY AVE                            ¨ Contingent
         WEST SAYVILLE NY 11796
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.28.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,447.80               $1,447.80
         ACKLEY, KAYLA
         122 AVERYHILL RD                         ¨ Contingent
         LEDYARD CT 06339
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.29.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $551.69                 $551.69
         ACOSTA, ADRIANNA
         3031 W DESERT COVE AVE                   ¨ Contingent
         PHOENIX AZ 85029
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 10 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 120 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.30.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $81.10                  $81.10
         ACOSTA, ANYSSA M
         7758 LITTLE VALLEY AVE                   ¨ Contingent
         LAS VEGAS NV 89147
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.31.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $627.90                 $627.90
         ACOSTA, FELICIA A
         1625 GRAND AVE                           ¨ Contingent
         SPRING VALLEY CA 91977-4331
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.32.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $37.26                  $37.26
         ACOSTA, MARIAH
         4009 BARBARA VISTA AVE                   ¨ Contingent
         ALBUQUERQUE NM 87121
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 11 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 121 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.33.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $641.69                 $641.69
         ACOSTA, NATALY
         8334 W MONTE VISTA                       ¨ Contingent
         PHOENIX AZ 85037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.34.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $506.75                 $506.75
         ACOSTA, ODALYS A
         41 S SHANNON RD                          ¨ Contingent
         APT 11107
         TUCSON AZ 85745                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.35.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $213.62                 $213.62
         ACOSTA, R'ANGELA R
         2065 E DON CARLOS AVE                    ¨ Contingent
         TEMPE AZ 85281
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 12 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 122 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.36.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $266.13                 $266.13
         ACUNA, JENNY
         3286 SW 24 ST                            ¨ Contingent
         MIAMI FL 33145
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.37.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $109.80                 $109.80
         ACUNA, JOANNA L
         7593 WOODBINE WAY                        ¨ Contingent
         SAN DIEGO CA 92114
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.38.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $81.20                  $81.20
         ACUNA, JOLEEN
         2103 FORT DONELSON                       ¨ Contingent
         SAN ANTONIO TX 78245
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 13 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 123 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.39.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $194.88                 $194.88
         ACUNA, MALIYA R
         11022 BENWELL DR.                        ¨ Contingent
         LYNWOOD CA 90262
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.40.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $459.55                 $459.55
         ADAMACHE, ALEXANDRA
         1447 MONDANA PL                          ¨ Contingent
         PITTSBURG CA 94565
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.41.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $354.15                 $354.15
         ADAMS, AIYANA M
         121-17 GRAYSON STREET                    ¨ Contingent
         QUEENS NY 11413
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 14 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 124 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.42.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $499.68                 $499.68
         ADAMS, AMBER C
         4580 MARSHALL RUN CIRCLE                 ¨ Contingent
         101
         GLEN ALLEN VA 23059                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.43.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $33.66                  $33.66
         ADAMS, BRYTTANY N
         1705 S HIGHLAND AVE LOMBARD              ¨ Contingent
         NO APARTMENT
         LOMBARD IL 60148                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.44.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,499.76               $1,499.76
         ADAMS, GIANNA R
         432 ROSARIO LANE                         ¨ Contingent
         WHITE LAKE MI 48386
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 15 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 125 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.45.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $100.48                 $100.48
         ADAMS, KATHERINE M
         9300 DAVIS RD S                          ¨ Contingent
         MOUNT VERNON IN 47620
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.46.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $104.48                 $104.48
         ADAMS, KEYERA R
         4909 RAVEL STONE CT                      ¨ Contingent
         RALEIGH NC 27610
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.47.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $100.24                 $100.24
         ADAMS, LEXUS
         7550 TOUCHSTONE ST.                      ¨ Contingent
         HOUSTON TX 77028
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 16 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 126 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.48.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $156.67                 $156.67
         ADAMS, SHANEKA L
         4320 SAINT JAMES CHURCH ROAD             ¨ Contingent
         APT E
         RALEIGH NC 27616                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.49.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $174.50                 $174.50
         ADAMS, SYDNEY
         17538 W 95TH AVE                         ¨ Contingent
         ARVADA CO 80007
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.50.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,389.58               $2,389.58
         ADAMS, TARA K
         8306 NOBLET RD.                          ¨ Contingent
         DAVISON MI 48423
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 17 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 127 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.51.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $692.58                 $692.58
         ADAMS, TERIA N
         3401 ROBEY TER #204                      ¨ Contingent
         204
         SILVER SPRING MD 20904                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.52.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,384.23               $2,384.23
         ADAMS, TIFFANI K
         1215 WISDOM DR                           ¨ Contingent
         CEDAR HILL TX 75104-7339
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.53.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $107.74                 $107.74
         ADDERHOLD, DAVID S
         340 HUCKLEBERRY HILLS LANE               ¨ Contingent
         TUSCUMBIA AL 35674
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 18 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 128 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.54.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $228.96                 $228.96
         ADDIS, CECILIE B
         10345 ALMAYO AVENUE                      ¨ Contingent
         106
         LOS ANGELES CA 90064                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.55.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $192.86                 $192.86
         ADDISON-BISHOP, SYDNEY N
         2903 MANSFIELD ST                        ¨ Contingent
         ROANOKE VA 24012
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.56.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $247.23                 $247.23
         ADELSTEIN, HIILANI K
         94-337 ANANIA DRIVE                      ¨ Contingent
         10
         MILILANI HI 96789                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 19 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 129 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.57.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $227.04                 $227.04
         ADEMOVIC, AMINA
         250 PARDELLA AVE                         ¨ Contingent
         SAINT LOUIS MO 63125
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.58.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $43.62                  $43.62
         ADIAN, TABITHA M
         1409 E CRESTWOOD DR                      ¨ Contingent
         VICTORIA TX 77901-3411
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.59.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $117.43                 $117.43
         ADKINS, HANNAH E
         4202 RIVER ROAD                          ¨ Contingent
         VIENNA WV 26105
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 20 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 130 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.60.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $5,455.07               $5,455.07
         ADKINS, JILL A
         8745 OLENMEAD DR                         ¨ Contingent
         LEWIS CENTER OH 43035
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.61.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $173.16                 $173.16
         ADU-AMANFOH, DEANNA F
         29 CEDARGROVE AVENUES                    ¨ Contingent
         LAKE GROVE NY 11755
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.62.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $260.88                 $260.88
         AFEDZIE, MAAME ESI A
         100 STATE STREET                         ¨ Contingent
         CORINNE TOWERS
         FRAMINGHAM MA 01701                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 21 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 131 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.63.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $229.07                 $229.07
         AGPAOA, MARIONE JANEL M
         PO BOX 331212                            ¨ Contingent
         KAHULUI HI 96733
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.64.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $112.75                 $112.75
         AGRAMONTE, THAIS A
         4522 D STREET                            ¨ Contingent
         PHILADELPHIA PA 19120
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.65.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $225.84                 $225.84
         AGUILAR, AMBER D
         42200 MAIN STREET APT 61                 ¨ Contingent
         TEMECULA CA 92590
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 22 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 132 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.66.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $75.95                  $75.95
         AGUILAR, CITLALLI
         211 DARBY TRAILS DR                      ¨ Contingent
         SUGAR LAND TX 77479
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.67.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $236.10                 $236.10
         AGUILAR, KAREN
         11517 HUMBOLDT ST                        ¨ Contingent
         NORTHGLENN CO 80233
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.68.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $54.45                  $54.45
         AGUILAR, LESLI
         5040 MARIN CIRCLE                        ¨ Contingent
         LAS VEGAS NV 89122
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 23 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 133 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.69.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $149.58                 $149.58
         AGUILAR, MYKA M
         5711 MARIETTA DR                         ¨ Contingent
         ARLINGTON TX 76017
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.70.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $609.18                 $609.18
         AGUILAR, PERLA
         1109 FELECITA RD                         ¨ Contingent
         ARVIN CA 93203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.71.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $418.50                 $418.50
         AGUILAR, STEPHANIE G
         4531 KAY PL                              ¨ Contingent
         LAS VEGAS NV 89107
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 24 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 134 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.72.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $171.11                 $171.11
         AGUILAR-CARBAJAL, YATZIRI
         5100 N HWY 99                            ¨ Contingent
         #44
         STOCKTON CA 95212                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.73.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $561.00                 $561.00
         AGUILERA, ANA
         24505 JENKINS DR                         ¨ Contingent
         MORENO VALLEY CA 92553-3964
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.74.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $186.00                 $186.00
         AGUILERA, ARABIA F
         2405 SOUTHERN BOULEVARD                  ¨ Contingent
         13A
         BRONX NY 10458                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 25 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 135 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.75.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $173.50                 $173.50
         AGUIRRE, CELESTE A
         618 OAK AVE                              ¨ Contingent
         AURORA IL 60506
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.76.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $95.46                  $95.46
         AGUIRRE, GABRIELLA P
         65 COUGAR PLACE                          ¨ Contingent
         NORTH LIBERTY IA 52317
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.77.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $161.94                 $161.94
         AGUSTIN, ROSA
         2308 PEARSON CT                          ¨ Contingent
         C
         LAS VEGAS NV 89106                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 26 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 136 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.78.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,116.77               $1,116.77
         AHMED, DOUACHAI
         1054 MARGARET STREET                     ¨ Contingent
         SAINT PAUL MN 55106
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.79.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $102.60                 $102.60
         AHMED, MARIA
         8900 SUNSET PARK LN                      ¨ Contingent
         CONROE TX 77302
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.80.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $38.38                  $38.38
         AHMED, TAJRIAN
         76 LAWRENCE AVENUE                       ¨ Contingent
         DANBURY CT 06810
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 27 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 137 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.81.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,291.22               $1,291.22
         AIKEN, KIANA
         3966 HERITAGE CROSSING PL SW             ¨ Contingent
         POWDER SPRINGS GA 30127
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.82.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $73.72                  $73.72
         AIOUB, HADEEL
         125 BUCKINGHAM WAY                       ¨ Contingent
         MOUNT LAUREL NJ 08054
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.83.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $171.40                 $171.40
         AJA-CLEMONS, ALEXUS B
         4817 ASHBROOK PL                         ¨ Contingent
         LAS VEGAS NV 89147
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 28 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 138 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.84.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $144.00                 $144.00
         AKINYI, MONICA N
         12116 GREENWAY CT                        ¨ Contingent
         #101
         FAIRFAX VA 22033                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.85.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $516.65                 $516.65
         AKRAM, MIKAL A
         9122 STEEL STREET                        ¨ Contingent
         DETROIT MI 48228
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.86.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $55.72                  $55.72
         AKSAMITOWSKI, SKYLAR E
         225 DUNDEE AVE UNIT 16                   ¨ Contingent
         GREELEY CO 80634
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 29 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 139 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.87.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $261.63                 $261.63
         AL, JARAH TEBA
         8 FULLER PLACE UNIT 203                  ¨ Contingent
         8 FULLER PLACE
         ESSEX JUNCTION VT 05452                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.88.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $166.85                 $166.85
         ALANIS, GISELLA
         2247 S 33RD ST                           ¨ Contingent
         MILWAUKEE WI 53215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.89.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $31.56                  $31.56
         ALANIZ, CYNTHIA N
         490 E F ST                               ¨ Contingent
         COLTON CA 92324
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 30 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 140 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.90.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $552.42                 $552.42
         ALANIZ, THALIA B
         341 YOLANDA DR                           ¨ Contingent
         EL PASO TX 79915
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.91.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $62.40                  $62.40
         ALANYA, KATHERINE
         39 WILSON ST                             ¨ Contingent
         BRENTWOOD NY 11717
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.92.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $92.81                  $92.81
         ALBA, CRISTAL
         715 GENEVIEVE DR                         ¨ Contingent
         SOUTH ELGIN IL 60177
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 31 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 141 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.93.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $122.75                 $122.75
         ALBARELLA, VERONICA
         189 CLINTON STREET                       ¨ Contingent
         WOODBRIDGE NJ 07095
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.94.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $11,181.29              $11,181.29
         ALBERT URESTI MPA
         BEXAR COUNTY TAX ASSESSOR-               ¨ Contingent
         COLLECTOR
         PO BOX 2903                              ¨ Unliquidated                                                       Nonpriority amount
         SAN ANTONIO TX 78299-2903                ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.95.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $158.88                 $158.88
         ALCALA, MURILLO ELIZABETH
         3717 BECK AVE                            ¨ Contingent
         BELL CA 90201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 32 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 142 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.96.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $73.55                  $73.55
         ALCARAZ, CHELSEA-MALIAH D
         590 FARRINGTON HWY 524-247               ¨ Contingent
         KAPOLEI HI 96707
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.97.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $324.45                 $324.45
         ALCON, MONICA G
         126 RALEIGH ST.                          ¨ Contingent
         DENVER CO 80219
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.98.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $327.00                 $327.00
         ALDERMAN, ANDREA N
         13947 GROVE PARK DR.                     ¨ Contingent
         STERLING HEIGHTS MI 48313
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 33 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 143 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.99.    Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $334.25                 $334.25
         ALDRICH, ALLYSSA M
         6439 BENTON RD                           ¨ Contingent
         PADUCAH KY 42003
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.100.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $247.32                 $247.32
         ALEGRIA, ANAHI
         3100 S MAIN ST APT 4C                    ¨ Contingent
         SANTA ANA CA 92707
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.101.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,100.78               $2,100.78
         ALEJANDRO, ALEXANDRA
         BB9 CALLE D                              ¨ Contingent
         CALLE D BB-9
         TOA BAJA PR 00949-5350                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 34 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 144 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.102.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $32.75                  $32.75
         ALEMAN, CYNTHIA N
         1400 NIMITZ WAY                          ¨ Contingent
         MESQUITE TX 75181
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.103.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $253.56                 $253.56
         ALEXANDER, CHLOE
         9535 EAST 10TH STREET                    ¨ Contingent
         INDIANAPOLIS IN 46229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.104.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $481.17                 $481.17
         ALEXANDER, DANIELLE
         3453 PARKRIDGE PLACE                     ¨ Contingent
         LAS CRUCES NM 88005
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 35 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 145 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.105.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $197.85                 $197.85
         ALEXANDER, D'BRIA M
         336 LAUREN CIRCLE DRIVE                  ¨ Contingent
         ENGLEWOOD OH 45322
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.106.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $424.01                 $424.01
         ALEXANDER, JOHRDAN
         4839 HARVEST RD.                         ¨ Contingent
         COLORADO SPRINGS CO 80917
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.107.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $205.51                 $205.51
         ALEXANDER, LAKENYA J
         9603 CUSTER RD                           ¨ Contingent
         APT 1511
         PLANO TX 75025                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 36 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 146 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.108.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $183.45                 $183.45
         ALEXANDER, MIYA I
         383 HEWES STREET                         ¨ Contingent
         APT. 1B
         BROOKLYN NY 11211                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.109.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $86.81                  $86.81
         ALEXANDER, TIFFANY N
         10014 MOORGATE AVE                       ¨ Contingent
         APT. 202
         SPOTSYLVANIA VA 22553                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.110.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $418.42                 $418.42
         ALEXIS, KYLAH
         98A MALLETS BAY AVENUE                   ¨ Contingent
         WINOOSKI VT 05403
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 37 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 147 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.111.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,451.51               $1,451.51
         ALEXIS-BRASWELL, WOODLYNE D
         8618 WISSAHICKON AVE                     ¨ Contingent
         PHILADELPHIA PA 19128
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.112.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $176.04                 $176.04
         ALFARO, JAQUELINE M
         14975 E 50TH PLACE                       ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.113.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $72.60                  $72.60
         ALFARO, STEFFANE V
         11026 TIARA ST                           ¨ Contingent
         NORTH HOLLYWOOD CA 91601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 38 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 148 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.114.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,459.87               $2,459.87
         ALFORD, GINA M
         2011 INVERTON RD                         ¨ Contingent
         DUNDALK MD 21222
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.115.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $64.89                  $64.89
         ALI, BAHIA
         2609 DALITY DR                           ¨ Contingent
         RALEIGH NC 27604
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.116.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $304.58                 $304.58
         ALIC, LEJLA
         9322 LONGHORN CT                         ¨ Contingent
         FAIRDALE KY 40118
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 39 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 149 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.117.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $88.56                  $88.56
         AL-IEDANI, DINA
         1200 E OLD SETTLERS BLVD.                ¨ Contingent
         1018
         ROUND ROCK TX 78864                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.118.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $94.53                  $94.53
         ALINDA, MYKELA A
         21819 E 141ST ST S                       ¨ Contingent
         COWETA OK 74429
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.119.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $233.76                 $233.76
         ALIP, CHARISSE
         1727 SCOTT RD                            ¨ Contingent
         APT M
         BURBANK CA 91504                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 40 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 150 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.120.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $265.50                 $265.50
         ALLAH, KANDACE
         2937 FREDRICK DOUGLAS BLVD               ¨ Contingent
         APT 260
         NEW YORK NY 10039                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.121.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $101.94                 $101.94
         ALLAIRE, CHRISTINA R
         714 OVERBROOK DRIVE                      ¨ Contingent
         FORT WALTON BEACH FL 32547
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.122.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $78.32                  $78.32
         ALLARD, KACEE J
         5205 WEST THUNDERBIRD ROAD               ¨ Contingent
         APARTMENT 2216
         GLENDALE AZ 85306                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 41 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 151 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.123.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $116.42                 $116.42
         ALLARD, KAYLA M
         94 GLEN RD                               ¨ Contingent
         BURLINGTON VT 05401-4134
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.124.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,163.44               $1,163.44
         ALLEN, ALEXA I
         2300 REBSAMEN PARK RD                    ¨ Contingent
         E317
         LITTLE ROCK AR 72202                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.125.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $139.80                 $139.80
         ALLEN, BRITTNEY A
         7575 EL CAJON BLVD APT10                 ¨ Contingent
         LA MESA CA 91942
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 42 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 152 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.126.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $110.55                 $110.55
         ALLEN, JASMINE S
         8401 MEMORIAL LN. APT 7338               ¨ Contingent
         PLANO TX 75024
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.127.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,242.90               $1,242.90
         ALLEN, MEGAN
         1815 WATERS EDGE DRIVE                   ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.128.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,849.99               $2,849.99
         ALLEN, MEGAN N
         616 S FAIRVIEW AVE                       ¨ Contingent
         LANSING MI 48912
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 43 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 153 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.129.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $149.20                 $149.20
         ALLEN, RHEAGAN L
         2525 SHILOH ROAD                         ¨ Contingent
         LOT 290
         TYLER TX 75703                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.130.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $416.48                 $416.48
         ALLEN, SYMONE
         408 S MAIN ST.                           ¨ Contingent
         3
         BEEBE AR 72012                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.131.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $182.08                 $182.08
         ALLEN, TYLER A
         11212 WESTPARK DR                        ¨ Contingent
         #623
         HOUSTON TX 77042                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 44 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 154 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.132.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $207.94                 $207.94
         ALLESHOUSE, LEIGHA R
         270 COUNTY ROUTE 52                      ¨ Contingent
         GREENWICH NY 12834
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.133.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $105.42                 $105.42
         ALLEY, JAYDEN
         3312 COLLEGE AVE                         ¨ Contingent
         TERRE HAUTE IN 47803
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.134.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $136.00                 $136.00
         ALLICK, KNIYAH M
         1889 S KIRKMAN RD                        ¨ Contingent
         621
         ORLANDO FL 32811                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 45 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 155 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.135.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,114.18               $3,114.18
         ALLIN, ALEXANDRA C
         4313 E GREENWAY                          ¨ Contingent
         PHOENIX AZ 85032
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.136.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,952.14               $2,952.14
         ALLISON, KIMBERLY C
         903 VINE STREET                          ¨ Contingent
         DALLAS CENTER IA 50063
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.137.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $213.57                 $213.57
         ALLOTEY, ALELEAH N
         1727 NE ROSA PARKS WAY                   ¨ Contingent
         PORTLAND OR 97211
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 46 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 156 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.138.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $224.88                 $224.88
         ALLRED, SOPHIE M
         7702 CALLE DE ALCALDE                    ¨ Contingent
         PINE VALLEY CA 91962-1382
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.139.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $300.44                 $300.44
         ALLY, SALINA
         282 PARAMARIBO ST                        ¨ Contingent
         PUNTA GORDA FL 33983-5853
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.140.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,009.27               $3,009.27
         ALMAGER, RAY GREGORY O
         519 KEELER ST.                           ¨ Contingent
         SPUR TX 79370
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 47 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 157 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.141.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $158.07                 $158.07
         ALMAGUER, ESTREA V
         4398 E. 94TH PL                          ¨ Contingent
         THORNTON CO 80229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.142.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $621.08                 $621.08
         ALMANZA, DANIELA
         3282 SENTINEL CIR                        ¨ Contingent
         LAWRENCEVILLE GA 30043
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.143.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $66.00                  $66.00
         ALMANZA, JACQUELINE L
         3444 E SANTA FE LN                       ¨ Contingent
         GILBERT AZ 85297
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 48 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 158 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.144.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,610.52               $1,610.52
         ALMANZA, MARICELA D
         723 WATSON ST                            ¨ Contingent
         AURORA IL 60505-5245
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.145.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,187.59               $2,187.59
         ALMANZA, SANTANA M
         4466 LARK AVE.                           ¨ Contingent
         SAN ANTONIO TX 78228-6007
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.146.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $507.26                 $507.26
         ALMANZAR, BRIANNA M
         1312 BURKEDALE DR.                       ¨ Contingent
         PORT LAVACA TX 77979
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 49 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 159 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.147.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $249.84                 $249.84
         ALMEIDA, ALEXANDRIA
         232 BROAD STREET APT 2                   ¨ Contingent
         BRIDGEWATER MA 02324
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.148.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $179.76                 $179.76
         ALMEIDA, ISABELLA C
         9119 ORCHID SHADE DR.                    ¨ Contingent
         EL DORADO HILLS CA 95762
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.149.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $284.95                 $284.95
         ALMENDARES, NICOLE R
         510 BLUE SAGE PL.                        ¨ Contingent
         SIMPSONVILLE SC 29680
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 50 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 160 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.150.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $40.43                  $40.43
         ALMODOVAR, SERENA N
         1564 ARBORWOOD CIRCLE                    ¨ Contingent
         ROMEOVILLE IL 60446
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.151.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $660.47                 $660.47
         ALNASER, MELISSA M
         1037 E 12 MILE RD                        ¨ Contingent
         MADISON HEIGHTS MI 48071
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.152.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $184.56                 $184.56
         ALOMAR, DEEMA O
         2440 JEAN MARIE ST                       ¨ Contingent
         CORONA CA 92882
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 51 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 161 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.153.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $99.68                  $99.68
         ALONSO, MAITE
         8221 JESUS BAZAN ST.                     ¨ Contingent
         MONTE ALTO TX 78538
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.154.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $211.23                 $211.23
         ALONZO, ALEXIA
         888 NW 25TH AVE                          ¨ Contingent
         MIAMI FL 33125
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.155.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $64.32                  $64.32
         ALSTON, ZAQUEALA
         1600 EAST WASHINGTON BLVD                ¨ Contingent
         FORT WAYNE IN 46803
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 52 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 162 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.156.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $187.80                 $187.80
         ALTAMIRANO, EDITH
         7905 FLORENCE ST                         ¨ Contingent
         LAMONT CA 93241
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.157.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.05                 $138.05
         ALTIERI, BRENDA
         4224 S 76TH AVE                          ¨ Contingent
         PHOENIX AZ 85043
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.158.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.69                 $138.69
         ALTIMEMY, MARWA
         10005 ROCKWELL TERRACE                   ¨ Contingent
         OKLAHOMA CITY OK 73162
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 53 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 163 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.159.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $880.26                 $880.26
         ALTOMONTE, ALEXIS M
         6 GRENOBLE CT                            ¨ Contingent
         MATAWAN NJ 07747
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.160.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $214.40                 $214.40
         ALVA, CLARISSA N
         116 MEADOW DRIVE                         ¨ Contingent
         CONVERSE TX 78109
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.161.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $740.91                 $740.91
         ALVARADO, ABI P
         5281 BERKSHIRE CT                        ¨ Contingent
         APT 9
         STEPHENS CITY VA 22655                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 54 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 164 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.162.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $139.04                 $139.04
         ALVARADO, ASHLEY
         8759 W. STATE AVE                        ¨ Contingent
         GLENDALE AZ 85305
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.163.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $666.54                 $666.54
         ALVARADO, CASSANDRA M
         2520 W WHITENDALE AVE                    ¨ Contingent
         VISALIA CA 93277
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.164.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $188.49                 $188.49
         ALVARADO, DAIANNY
         1745 WELLS RD.                           ¨ Contingent
         124
         ORANGE PARK FL 32073                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 55 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 165 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.165.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $234.27                 $234.27
         ALVARADO, JACQUELINE
         2310 W 29TH PL                           ¨ Contingent
         LOS ANGELES CA 90018
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.166.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $93.24                  $93.24
         ALVARADO, KARLY
         35 CHESTNUTHILL AVE                      ¨ Contingent
         CRANSTON RI 02920
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.167.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $133.08                 $133.08
         ALVARADO, MONTSERRAT
         31600 126TH AVE SE SPC 120               ¨ Contingent
         AUBURN WA 98092
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 56 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 166 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.168.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $177.06                 $177.06
         ALVARADO, SARAI
         436 BROOKSHIRE DR                        ¨ Contingent
         COLUMBIA SC 29210
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.169.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $423.48                 $423.48
         ALVARADO, YARELI
         5972 PEDRICK ROAD                        ¨ Contingent
         DIXON CA 95620
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.170.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $72.75                  $72.75
         ALVARENGA, GABRIELA Y
         14593 EARLHAM CT                         ¨ Contingent
         WOODBRIDGE VA 22193
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 57 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 167 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.171.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $25.22                  $25.22
         ALVAREZ, CAITLIN
         8451 MEADOW WING CIRCLE                  ¨ Contingent
         COLORADO SPRINGS CO 80927
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.172.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $424.58                 $424.58
         ALVAREZ, DIOSELIN
         9195 PORTLAND RD NE                      ¨ Contingent
         7
         SALEM OR 97305                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.173.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $196.47                 $196.47
         ALVAREZ, FATIMA
         1741 CONCORD DR                          ¨ Contingent
         MARIETTA GA 30060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 58 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 168 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.174.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $132.52                 $132.52
         ALVAREZ, JACKELINE
         6619 HUNTSMAN BLVD                       ¨ Contingent
         SPRINGFIELD VA 22152
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.175.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $171.48                 $171.48
         ALVAREZ, JEZAIDA
         919 SE MLK JR BLVD                       ¨ Contingent
         STUART FL 34994
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.176.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $137.40                 $137.40
         ALVAREZ, JULIA
         320 FRANCISCAN CT                        ¨ Contingent
         APT. #17
         FREMONT CA 94539                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 59 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 169 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.177.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $83.95                  $83.95
         ALVAREZ, KELLY S
         9 CANTON ST                              ¨ Contingent
         PROVIDENCE RI 02908
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.178.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $124.25                 $124.25
         ALVAREZ, MIREYA
         5612 RYEGRASS DR                         ¨ Contingent
         ROCKFORD IL 61102
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.179.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $459.14                 $459.14
         ALVAREZ, NANCY I
         1441 DETROIT AVE                         ¨ Contingent
         242
         CONCORD CA 94520                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 60 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 170 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.180.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $380.70                 $380.70
         ALVAREZ, VALERIA
         19 EVERETT ST.                           ¨ Contingent
         2
         EAST BOSTON MA 02128                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.181.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $447.35                 $447.35
         ALVELO, EMILY G
         1126 WILLOW AVENUE                       ¨ Contingent
         HOBOKEN NJ 07030
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.182.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $189.51                 $189.51
         AMANDA, TIFFANY
         75 RAINTREE LANE                         ¨ Contingent
         ORMOND BEACH FL 32174
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 61 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 171 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.183.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $263.76                 $263.76
         AMARAL, JENNA M
         28 TANGLEWOOD DR                         ¨ Contingent
         NEW BEDFORD MA 02740
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.184.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $496.87                 $496.87
         AMATO, ADDISON
         3405 W LONE CACTUS DR.                   ¨ Contingent
         PHOENIX AZ 85027
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.185.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $398.56                 $398.56
         AMAYA, RIVAS ELIZABETH
         1650 WEST CHESTER PIKE APT M-H           ¨ Contingent
         M-H 2
         WEST CHESTER PA 19465                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 62 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 172 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.186.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $203.53                 $203.53
         AMBRIS, DAISY M
         3516 CHAPS RANCH AVE                     ¨ Contingent
         NORTH LAS VEGAS NV 89031
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.187.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.60                 $138.60
         AMBRIZ, PAULINA E
         4143 N PERSHING AVENUE                   ¨ Contingent
         STOCKTON CA 95207
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.188.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $296.40                 $296.40
         AMBRIZ, YADIRA
         3909 ALMEDA GENOA                        ¨ Contingent
         HOUSTON TX 77047
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 63 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 173 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.189.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,389.14               $2,389.14
         AMERICA, SADE
         6031 LANCELOT LN SE                      ¨ Contingent
         SMYRNA GA 30080-5766
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.190.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $762.36                 $762.36
         AMES, ABIGAIL A
         325 COLLINWOOD LOOP                      ¨ Contingent
         FOLEY AL 36535
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.191.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $248.82                 $248.82
         AMES, CONSUELO
         29311 KICKAPOO MEADOWS LN                ¨ Contingent
         WALLER TX 77484
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 64 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 174 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.192.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $160.95                 $160.95
         AMESQUITA, ELIZABETH
         5350 N. NOTTINGHAM AVE.                  ¨ Contingent
         CHICAGO IL 60656
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.193.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $192.12                 $192.12
         AMMONS, JENNA L
         38270 SE COUPLAND RD                     ¨ Contingent
         ESTACADA OR 97023
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.194.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $108.88                 $108.88
         AMRULLAH, MALIYAH J
         5012 BIRKENHEAD RD                       ¨ Contingent
         JACKSONVILLE FL 32210
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 65 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 175 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.195.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $121.67                 $121.67
         AMTHOR, LAEL D
         302 RED BUD CIRCLE                       ¨ Contingent
         BRUCEVILLE TX 76630
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.196.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $257.40                 $257.40
         AN, SAMMARY
         730 BEDLOW DR                            ¨ Contingent
         STOCKTON CA 95210
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.197.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $47.63                  $47.63
         ANANG, MICHAELA I
         15317 WILFORD WAY                        ¨ Contingent
         EDMOND OK 73013
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 66 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 176 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.198.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $268.51                 $268.51
         ANAYA, BEATRIZ
         12524 S TRUMBULL AVE                     ¨ Contingent
         ALSIP IL 60803
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.199.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $533.65                 $533.65
         ANDERSEN, STEPHANIE L
         3842 E 127TH LN                          ¨ Contingent
         THORNTON CO 80241
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.200.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $121.91                 $121.91
         ANDERSON, ALECIA
         1455 WASHINGTON BLVD                     ¨ Contingent
         405
         STAMFORD CT 06902                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 67 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 177 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.201.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $387.84                 $387.84
         ANDERSON, ASHLEY M
         54 9TH AVENUE                            ¨ Contingent
         D
         HUDSON FALLS NY 12839                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.202.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $35.18                  $35.18
         ANDERSON, CHARITY V
         2491 ELIZABETH PIKE                      ¨ Contingent
         MINERAL WELLS WV 26150
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.203.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $94.07                  $94.07
         ANDERSON, DARA A
         1147 SOUTHVIEW DR APT 201                ¨ Contingent
         201
         OXON HILL MD 20745                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 68 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 178 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.204.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $298.39                 $298.39
         ANDERSON, DEANNA G
         4948 AVENUE A                            ¨ Contingent
         RAPID CITY SD 57701
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.205.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $76.86                  $76.86
         ANDERSON, DENISE
         541 BRIDLE RIDGE                         ¨ Contingent
         204
         RALEIGH NC 27609                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.206.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $219.99                 $219.99
         ANDERSON, DESTINY U
         521 ROWDY DR                             ¨ Contingent
         ROYCE CITY TX 75189
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 69 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 179 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.207.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $124.70                 $124.70
         ANDERSON, JADA
         302 CORDELIA WAY                         ¨ Contingent
         FLORENCE AL 35633
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.208.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $51.84                  $51.84
         ANDERSON, JAYME L
         5584 HARDY AVE                           ¨ Contingent
         107
         SAN DIEGO CA 92115                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.209.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $265.29                 $265.29
         ANDERSON, JORDAN A
         17350 MAX RD                             ¨ Contingent
         PEYTON CO 80831
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 70 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 180 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.210.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $575.86                 $575.86
         ANDERSON, LAUREN
         810 N ANDALUSIA WAY                      ¨ Contingent
         MOUNTAIN HOUSE CA 95391
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.211.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $754.85                 $754.85
         ANDERSON, LISA L
         2007 BLOSSOM VALLEY CT                   ¨ Contingent
         MT JULIET TN 37122
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.212.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $399.33                 $399.33
         ANDERSON, MADISON L
         11302 MERCEDES                           ¨ Contingent
         REDFORD MI 48239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 71 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 181 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.213.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $8,045.05               $8,045.05
         ANDERSON, MEGHAN L
         100 VIA ROYALE APT 109                   ¨ Contingent
         JUPITER FL 33458
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.214.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $37.60                  $37.60
         ANDERSON, MORGAN
         255 HONEYSUCKLE CIRCLE                   ¨ Contingent
         APT 1007
         LAWRENCEVILLE GA 30046                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.215.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $31.35                  $31.35
         ANDERSON, SHAYLA
         717 EAST MARIETTA AVE                    ¨ Contingent
         PEORIA HEIGHTS IL 61616
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 72 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 182 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.216.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $54.24                  $54.24
         ANDRADE, DEJA S
         20 WESTMINSTER STREET                    ¨ Contingent
         L1
         BOSTON MA 02136                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.217.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $453.92                 $453.92
         ANDRADE, IMELDA M
         1867 HACIENDA AVE                        ¨ Contingent
         LAS VEGAS NV 89119
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.218.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $85.40                  $85.40
         ANDRADE, ISABELLA M
         12701 N PENNSYLVANIA AVE.                ¨ Contingent
         268 N
         OKLAHOMA CITY OK 73120                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 73 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 183 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.219.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,164.98               $1,164.98
         ANDRADE, REYNA
         5447 29TH PL SW                          ¨ Contingent
         NAPLES FL 34116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.220.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $195.60                 $195.60
         ANDRADE, TERESA P
         106 SUMNER STREET                        ¨ Contingent
         QUINCY MA 02169
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.221.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $36.61                  $36.61
         ANDRADES, ANYARIS
         CALLE 39                                 ¨ Contingent
         JARDINES DE CO
         CAROLINA PR 00983                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 74 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 184 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.222.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $432.04                 $432.04
         ANDREWS, BRIANA
         667 LAKE FOREST LANE P12                 ¨ Contingent
         NORTON SHORES MI 49441
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.223.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $62.55                  $62.55
         ANDREWS, DIAMOND D
         668 RUTLAND ROAD                         ¨ Contingent
         3B
         BROOKLYN NY 11203                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.224.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,606.96               $2,606.96
         ANDREWS, NATOSHA L
         104 GREENGABLE WAY                       ¨ Contingent
         CHESAPEAKE VA 23322
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 75 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 185 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.225.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $41.11                  $41.11
         ANDRUS, BRIANNA S
         615 BURLINGTON CT                        ¨ Contingent
         EDGEWOOD MD 21040
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.226.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $181.99                 $181.99
         ANDUJAR, RIOS KARLA M
         15234 HARRINGTON COVE DR                 ¨ Contingent
         ORLANDO FL 32824
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.227.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $338.04                 $338.04
         ANGEL, JESSICA L
         4195 SYCAMORE DR                         ¨ Contingent
         SAN DIEGO CA 92105
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 76 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 186 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.228.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $88.80                  $88.80
         ANGELES, JASMINE C
         6319 BETSY ROSS CT                       ¨ Contingent
         CENTERVILLE VA 20121
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.229.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,706.39               $2,706.39
         ANGUIANO, ANGELICA C
         1500 SW PLASS AVE.                       ¨ Contingent
         TOPEKA KS 66604
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.230.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $166.44                 $166.44
         ANGUIANO, JASMINE A
         240 E. TRIDENT DR.                       ¨ Contingent
         PITTSBURG CA 94565
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 77 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 187 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.231.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,724.60               $3,724.60
         ANGUIANO, KARINA
         1100 HUNTER DR                           ¨ Contingent
         ELGIN IL 60120
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.232.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $48.62                  $48.62
         ANGULO, LEXEE RAE
         13403 WEST CITRUS COURT                  ¨ Contingent
         LITCHFIELD PARK AZ 85340
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.233.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $13,510.04              $13,510.04
         ANN HARRIS BENNETT
         TAX ASSESSOR-COLLECTOR                   ¨ Contingent
         PO BOX 4622
         HOUSTON TX 77210-4622                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 78 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 188 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.234.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $59.59                  $59.59
         ANTANTIS, ALYSSA M
         921 2ND STREET 15136                     ¨ Contingent
         MCKEES ROCKS PA 15136
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.235.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $170.04                 $170.04
         ANTENOR, ASHLEY
         408 KELLER AVENUE                        ¨ Contingent
         ELMONT NY 11003
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.236.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $371.74                 $371.74
         ANTHONY, COURTNEY
         2932 HUNTER RIDGE DRIVE                  ¨ Contingent
         APT 108
         BIRMINGHAM AL 35235                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 79 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 189 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.237.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $190.54                 $190.54
         ANTONIO, ALEAH V
         11011 PALMS BLVD.                        ¨ Contingent
         201
         LOS ANGELES CA 90034                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.238.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $180.63                 $180.63
         ANTONIO, MARISELA
         1723 CORINTH AVE                         ¨ Contingent
         APT 4
         LOS ANGELES CA 90025-6745                ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.239.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $510.25                 $510.25
         ANTONUCCI, KELLY
         241 KNICKERBOCKER DR                     ¨ Contingent
         PITTSBURGH PA 15235-4726
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 80 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 190 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.240.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $97.92                  $97.92
         ANTUNEZ, TORRES JANETH
         1711 GESSNER RD APT 92                   ¨ Contingent
         HOUSTON TX 77080
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.241.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $66.30                  $66.30
         ANTWI, SARAH B
         12866 MCCARTHY CIRCLE                    ¨ Contingent
         PHILADELPHIA PA 19154
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.242.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $121.05                 $121.05
         APAIRCIO, ALESSANDRA
         88 GEORGE STREET                         ¨ Contingent
         3R
         BROOKLYN NY 11206                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 81 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 191 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.243.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.01                 $138.01
         APARICIO, MITZY J
         19902 APPLE RIDGE PL                     ¨ Contingent
         MONTGOMERY VILLAGE MD 20886
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.244.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $54.00                  $54.00
         APEL, SABRINA I
         50A MORRIS ST.                           ¨ Contingent
         REVERE MA 02151
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.245.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $572.62                 $572.62
         APONTE, MELENY D
         39 WILSON ST                             ¨ Contingent
         BRENTWOOD NY 11717
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 82 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 192 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.246.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $144.24                 $144.24
         APPLE-VONJAROSCHKAPOHL, TAELOR
         A                                        ¨ Contingent
         1701 E COTATI AVE
         #99                                      ¨ Unliquidated                                                       Nonpriority amount
         ROHNERT PARK CA 94928                    ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.247.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $319.77                 $319.77
         APUNA-BOYD, KUUIPO
         450 KAAO CIRCLE                          ¨ Contingent
         KAHULUI HI 96732
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.248.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $620.14                 $620.14
         AQUINO, ALICIA M
         2103 HARTNELL ST.                        ¨ Contingent
         2
         UNION CITY CA 94587                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 83 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 193 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.249.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $823.55                 $823.55
         AQUINO, BRYANNA
         21CLAREMONT ST                           ¨ Contingent
         MALDEN MA 02148
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.250.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $257.55                 $257.55
         AQUINO, MONICA M
         16995 MALAGA DR                          ¨ Contingent
         MORGAN HILL CA 95037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.251.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,865.39               $2,865.39
         ARACIL, CHELSEA C
         801 DUTTON ST                            ¨ Contingent
         WINTERS CA 95694-1737
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 84 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 194 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.252.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $600.82                 $600.82
         ARAGON, CASTELLANOS MAYRANI
         127 E 59TH ST                            ¨ Contingent
         304
         MINNEAPOLIS MN 55419                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.253.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $39.40                  $39.40
         ARAGON, DEBORAH L
         505 AMANDA AVE                           ¨ Contingent
         FOLEY AL 36535
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.254.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $5,757.28               $5,757.28
         ARAMKUL, DIVINA
         8219 LAUFFER WAY                         ¨ Contingent
         SACRAMENTO CA 95758
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 85 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 195 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.255.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $89.40                  $89.40
         ARANDA, ARLENE A
         928 FUCHSIA LANE                         ¨ Contingent
         SAN DIEGO CA 92154
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.256.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,127.01               $2,127.01
         ARANDA, MELISSA
         11724 AQUIFER CT                         ¨ Contingent
         EL PASO TX 79936-1074
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.257.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $304.03                 $304.03
         ARANDA, STEPHANIE
         15411 SUNSET RIDGE DRIVE                 ¨ Contingent
         ORLAND PARK IL 60462
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 86 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 196 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.258.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $889.36                 $889.36
         ARAUJO, MERCADO BLANCA L
         1750 E 51 ST                             ¨ Contingent
         BROOKLYN NY 11234
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.259.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $547.55                 $547.55
         ARCE, ARELI
         2102 9TH AVE E                           ¨ Contingent
         BRADENTON FL 34208
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.260.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $206.25                 $206.25
         ARCE, NATALIA
         TIMOTEO 8                                ¨ Contingent
         33
         TOA BAJA PR 00949                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 87 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 197 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.261.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,118.41               $1,118.41
         ARCE-LISBOA, DOMINIQUE N
         9607 COPPER HARBOR                       ¨ Contingent
         HOUSTON TX 77095
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.262.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $186.24                 $186.24
         ARCELUS, MORALES PAOLA B
         7951 ETIWANDA AVE                        ¨ Contingent
         14106
         RANCHO CUCAMONGA CA 91739                ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.263.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,090.40               $2,090.40
         ARCHER, BETHANY E
         180 HIMANGO RD                           ¨ Contingent
         ESKO MN 55733
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 88 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 198 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.264.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $854.36                 $854.36
         ARCHER, BRINA J
         8708 HURLBUT ST                          ¨ Contingent
         SAN DIEGO CA 92123
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.265.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $91.02                  $91.02
         ARCHER, ELISE
         4222 MCWHINNEY BOULEVARD                 ¨ Contingent
         #311
         LOVELAND CO 80538                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.266.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $145.44                 $145.44
         ARCHER, HAYLI N
         25534 HEMINGWAY AVE                      ¨ Contingent
         UNIT B
         STEVENSON RANCH CA 91381                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 89 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 199 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.267.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $111.32                 $111.32
         ARCHUAL, SARAH E
         9600 TABERNA LANE                        ¨ Contingent
         OLMSTED TOWNSHIP OH 44138
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.268.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $94.13                  $94.13
         ARCHULETA, LUCIA D
         7089 WAGON RIDGE DR                      ¨ Contingent
         COLORADO SPRINGS CO 80923
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.269.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $147.00                 $147.00
         ARECHIGA, STEVEN L
         41670 ROAD 125                           ¨ Contingent
         OROSI CA 93647
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 90 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 200 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.270.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $325.44                 $325.44
         AREL, ZOE R
         132 CHACE ROAD                           ¨ Contingent
         EAST FREETOWN MA 02717
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.271.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $133.56                 $133.56
         ARELLANO, CYNTHIA
         457 S MANZANITA CT                       ¨ Contingent
         CANBY OR 97013
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.272.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $110.05                 $110.05
         ARELLANO, JASMINE N
         7648 E 121ST AVE                         ¨ Contingent
         CROWN POINT IN 46307
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 91 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 201 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.273.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $739.20                 $739.20
         ARELLANO, YVETTE M
         10467 MOLETTE ST.                        ¨ Contingent
         BELLFLOWER CA 90706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.274.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $310.81                 $310.81
         ARENAS, CINDY
         811 19TH AVE W                           ¨ Contingent
         BRADENTON FL 34205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.275.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $512.30                 $512.30
         ARENDT, BRITTANY
         13096 MESSINA CIRCLE                     ¨ Contingent
         FISHERS IN 46038
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 92 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 202 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.276.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $176.16                 $176.16
         AREVALO, LEILANI M
         10768 SANTA CRUZ RD                      ¨ Contingent
         DESERT HOT SPRINGS CA 92240
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.277.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $63.28                  $63.28
         ARHANGELSKY, SYDNEY E
         602 SW CAPRINGTON ST                     ¨ Contingent
         #2
         BENTONVILLE AR 72712                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.278.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $292.32                 $292.32
         ARIAS, AMBER G
         13344 CLOSE ST                           ¨ Contingent
         WHITTIER CA 90605
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 93 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 203 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.279.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $95.40                  $95.40
         ARIAS, ANETH M
         4 ARMSTRONG ST                           ¨ Contingent
         BRENTWOOD NY 11717
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.280.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $164.52                 $164.52
         ARIAS, ARIANNA A
         275 CHERYL PL                            ¨ Contingent
         CHULA VISTA CA 91911
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.281.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $146.26                 $146.26
         ARIZPE, ALECIA M
         3121 SE ADAMS ST                         ¨ Contingent
         TOPEKA KS 66605
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 94 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 204 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.282.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,778.98               $3,778.98
         ARMER, MEGGAN M
         18777 MIDWAY RD                          ¨ Contingent
         703B
         DALLAS TX 75287-2793                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.283.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $380.70                 $380.70
         ARMSTRONG, CYANNA V
         21160 EASTWOOD BLVD                      ¨ Contingent
         WARREN MI 48089
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.284.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $913.64                 $913.64
         ARMSTRONG, KENNIESHA
         P.O BOX 713                              ¨ Contingent
         WESTMONT IL 60559
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 95 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 205 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.285.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $245.36                 $245.36
         ARMSTRONG, KYLE'-SIMONE M
         740 WILLOW BROOK RD                      ¨ Contingent
         CHEASPEAKE VA 23320
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.286.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $77.77                  $77.77
         ARMSTRONG, NICOLA
         35 NEWTON ST                             ¨ Contingent
         MERIDEN CT 06450
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.287.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $314.66                 $314.66
         ARMSTRONG, SHAKIKKA
         218 E WYANDOTTE ST                       ¨ Contingent
         SHREVEPORT LA 71101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 96 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 206 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.288.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,277.00               $4,277.00
         ARNOLD, ALLISON M
         7940 HARVEST DRIVE                       ¨ Contingent
         FRANKFORT IL 60423
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.289.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,850.82               $1,850.82
         ARNOLD, ARAFEL S
         8420 W LAUREL LN                         ¨ Contingent
         PEORIA AZ 85345
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.290.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,391.28               $1,391.28
         ARNOLD, DALIS
         4432 CUARZO AVE                          ¨ Contingent
         ALBUQUERQUE NM 87114
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 97 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 207 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.291.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $12,529.48              $12,529.48
         ARNOLD, DEBORAH
         1538 MISTY SKY DRIVE                     ¨ Contingent
         HENDERSON NV 89052
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.292.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $515.35                 $515.35
         AROCHO, RILEY N
         215 EAST COLLIERS MILLS RD               ¨ Contingent
         NEW EGYPT NJ 08533
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.293.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,172.33               $1,172.33
         ARREDONDO, YESENIA
         4795 BLACKHAWK WAY                       ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 98 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 208 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.294.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $164.18                 $164.18
         ARREOLA, GONZALEZ LINDA
         2235 MANNINGTON AVE                      ¨ Contingent
         RENO NV 89512
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.295.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $546.63                 $546.63
         ARREOLA, JULISSA
         2219 DALY ST                             ¨ Contingent
         LOS ANGELES CA 90031
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.296.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $580.59                 $580.59
         ARRIAGA, COURTNEY
         325 RIDGEWAY LANE                        ¨ Contingent
         LEXINGTON NC 27295
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 99 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 209 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.297.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $136.68                 $136.68
         ARROYO, CATHELINE
         157 PERRY AVE #3                         ¨ Contingent
         WORCESTER MA 01610
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.298.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $103.05                 $103.05
         ARROYO, JANICE
         RB1 CALLE 11                             ¨ Contingent
         CALLE 11 RB1
         TRUJILLO ALTO PR 00976-6440              ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.299.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $776.82                 $776.82
         ARROYO, MARIA D
         14 WEST MAIN STREET                      ¨ Contingent
         APT 12
         EPHRATA PA 17522                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 100 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 210 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.300.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $88.56                  $88.56
         ARROYO, STEPHANIE
         9311 MIRROR CIR.                         ¨ Contingent
         WESTMINSTER CA 92683
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.301.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $61.92                  $61.92
         ARSENAULT, BRITTNY C
         129 REYNOLDS ST                          ¨ Contingent
         3
         NEW BEDFORD MA 02746                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.302.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $354.25                 $354.25
         ARSENIC, SOFIJA
         610 ADAM LN                              ¨ Contingent
         CAROL STREAM IL 60188
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 101 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 211 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.303.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $108.36                 $108.36
         ARTACHE, LATASHA
         3144 WHITE CT                            ¨ Contingent
         SAN JOSE CA 95127-3269
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.304.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,661.41               $1,661.41
         ARTEAGA, LILIANA
         1932 S 61ST AVE                          ¨ Contingent
         CICERO IL 60804-1648
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.305.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $89.95                  $89.95
         ARTER, BRITTANY
         325 N OAK ST                             ¨ Contingent
         BREESE IL 62230-1775
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 102 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 212 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.306.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,721.77               $4,721.77
         ARTHUR, JAMIE A
         132 OLDE PLANTATION DR                   ¨ Contingent
         MT. HOLLY NC 28120
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.307.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $37.02                  $37.02
         ARTIS-WELCH, ARIANA S
         361 DENNIS CT                            ¨ Contingent
         361
         TOLEDO OH 43604                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.308.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,789.00               $3,789.00
         ARTUSO, PRISCILLA M
         31700 CONCORD DRIVE                      ¨ Contingent
         APARTMENT B
         MADISON HEIGHTS MI 48071                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 103 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 213 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.309.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $87.06                  $87.06
         ARVILA, SAMANTHA J
         21 CAMPUSVIEW RD                         ¨ Contingent
         APT 5
         MANKATO MN 56001                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.310.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.30                 $138.30
         ARZU, MARIAH I
         508 E 163RD ST                           ¨ Contingent
         2C
         BRONX NY 10451                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.311.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $299.25                 $299.25
         ASENCIO, RUIZ ANGELIQUE L
         533 HILLBRIGHT PL #2                     ¨ Contingent
         SAN JOSE CA 95123
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 104 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 214 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.312.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $256.20                 $256.20
         ASHCRAFT, TIFFANY B
         6111 HIGHVIEW ROAD                       ¨ Contingent
         MATTHEWS NC 28104
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.313.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $64.09                  $64.09
         ASHE, APRIL V
         1832 STATE STREET                        ¨ Contingent
         HARRISBURG PA 17103
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.314.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $88.25                  $88.25
         ASHLEY, DEJA
         327 IRVINE PLACE                         ¨ Contingent
         ELMIRA NY 14901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 105 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 215 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.315.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $171.99                 $171.99
         ASHLEY, MEGHAN E
         1548 CHESTNUT STREET                     ¨ Contingent
         BOWLING GREEN KY 42101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.316.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $500.55                 $500.55
         ASHLEY, RASHIDA
         64-80 KISSENA BLVD                       ¨ Contingent
         FLUSHING NY 11367
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.317.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $14,624.96              $12,850.00
         ASHMORE. DANIELLE
         4601 N 75TH STREET                       ¨ Contingent
         SCOTTSDALE AZ 85251
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $1,774.96

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 106 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 216 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.318.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $203.69                 $203.69
         ASHRAF, MISHAL
         4616A OLD COURT RD                       ¨ Contingent
         BALTIMORE MD 21208
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.319.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $202.56                 $202.56
         ASIAMAH, EMOND A
         27 RAYMOND ST                            ¨ Contingent
         WORCESTER MA 01607
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.320.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $46.84                  $46.84
         ASMUSSEN, MAGGIE A
         2845 WEST KANDICE CT.                    ¨ Contingent
         MERIDIAN ID 83646
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 107 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 217 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.321.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $159.21                 $159.21
         ASPER, TAYLOR M
         6056 ALBERT AVE                          ¨ Contingent
         NORTH RIDGEVILLE OH 44039
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.322.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $73.44                  $73.44
         ASTACIO, ALINA M
         1500 N CONGRESS AVE                      ¨ Contingent
         WEST PALM BEACH FL 33401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.323.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $425.23                 $425.23
         ASTORGA, BRISEIDA
         3631 W 85TH PL                           ¨ Contingent
         CHICAGO IL 60652
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 108 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 218 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.324.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $216.60                 $216.60
         ATCHISON, OCEANNA
         12001 CALLE NARANJA                      ¨ Contingent
         EL CAJON CA 92019
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.325.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $474.92                 $474.92
         ATCHLEY, ERICA
         601 JUDY LANE                            ¨ Contingent
         COPPERAS COVE TX 76522
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.326.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $82.83                  $82.83
         ATCITTY, CHRISTINA V
         1915 N. 26TH PL APT#8                    ¨ Contingent
         PHOENIX AZ 85008
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 109 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 219 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.327.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $590.00                 $590.00
         ATHENS-CLARKE COUNTY
         BUSINESS TAX OFFICE P.O. BOX 1748        ¨ Contingent
         ATHENS GA 30603
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.328.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $153.64                 $153.64
         ATILANO, AILIN
         7720 PURPLE CONE RD SW                   ¨ Contingent
         ALBUQUERQUE NM 87121
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.329.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $21.75                  $21.75
         ATKINS, JADA J
         127 SOUTH PITTSBURGH STREET              ¨ Contingent
         ZELIENOPLE PA 16063
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 110 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 220 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.330.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $178.71                 $178.71
         ATKINS, TIFFANY M
         18 WEST ST                               ¨ Contingent
         4
         TUNKHANNOCK PA 18657                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.331.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $34.77                  $34.77
         ATKINSON, JAZMINE
         9201 UNIVERSITY CITY DRIVE               ¨ Contingent
         BELK HALL 331
         CHARLOTTE NC 28223                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.332.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $641.87                 $641.87
         ATROUNI, ISABELLE C
         504 CROSBY LANE                          ¨ Contingent
         ROCHESTER NY 14612
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 111 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 221 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.333.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $81.48                  $81.48
         ATTERHOLT, MEKENNA
         114 TRESSEL STREET                       ¨ Contingent
         BEREA OH 44017
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.334.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,057.95               $1,057.95
         AUBUCHON, KAITLYN D
         901 TRUDY LANE                           ¨ Contingent
         O'FALLON MO 63366
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.335.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $5,532.39               $5,532.39
         AUCOIN, CRYSTAL MARIE
         12 MAGNA VISTA DR                        ¨ Contingent
         AUBURN MA 01501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 112 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 222 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.336.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $69.71                  $69.71
         AUSTIN, CARLIE A
         11630 IRIS SPRING CT                     ¨ Contingent
         RIVERVIEW FL 33579
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.337.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $133.11                 $133.11
         AUSTIN, CHAUNDRA M
         3509 MARIPOSA RD SW                      ¨ Contingent
         HUNTSVILLE AL 35805
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.338.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,249.05               $1,249.05
         AUSTIN, CORINEA L
         3385 PEACHTREE CORNERS CIRCLE            ¨ Contingent
         APT. N
         NORCROSS GA 30092                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 113 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 223 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.339.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $34.17                  $34.17
         AUSTIN, KAYLA
         5240 EL TRIO WAY                         ¨ Contingent
         3
         ORLANDO FL 32818                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.340.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,355.90               $2,355.90
         AUSTIN, VIRGINIA C
         1015 MYRICK STREET                       ¨ Contingent
         FREDERICKSBURG VA 22401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.341.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $25.00                  $25.00
         AUSTRIA, JESSALYN
         7169 HOOD RIVER AVE                      ¨ Contingent
         LAS VEGAS NV 89179
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 114 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 224 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.342.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,055.13               $4,055.13
         AVALOS, MICHELLE M
         1032 S FLEETWELL AVE                     ¨ Contingent
         WEST COVINA CA 91791-3516
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.343.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,530.66               $1,530.66
         AVILA, BRIANDA P
         3005 W. CONCORD AVE                      ¨ Contingent
         ALHAMBRA CA 91803
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.344.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $643.50                 $643.50
         AVILA, CASTILLO YANAHI
         8129 ZION TRAIL                          ¨ Contingent
         FORT WORTH TX 76137
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 115 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 225 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.345.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $318.84                 $318.84
         AVILA, DALIA A
         3136 S PULASKI RD                        ¨ Contingent
         B
         CHICAGO IL 60623                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.346.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $264.96                 $264.96
         AVILA, JASMIN
         4685 W 102ND PL                          ¨ Contingent
         WESTMINSTER CO 80031
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.347.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $527.73                 $527.73
         AVILA, MARISOL
         406 HOLLYBROOK DR                        ¨ Contingent
         INEZ TX 77968
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 116 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 226 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.348.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $175.45                 $175.45
         AVILA, SELENA J
         9028 W. GRANADA RD.                      ¨ Contingent
         PHOENIX AZ 85037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.349.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $603.46                 $603.46
         AVILA, VASQUEZ KATIA
         2333 CANVASBACK DR                       ¨ Contingent
         INDIANAPOLIS IN 46234
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.350.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $177.84                 $177.84
         AVILA-MARTINEZ, LAKSHMI B
         8003 KELOK WAY                           ¨ Contingent
         CLAYTON CA 94517
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 117 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 227 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.351.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $164.23                 $164.23
         AVILES, CAROLINA
         5516 KALAHARI LANE                       ¨ Contingent
         LAS CRUCES NM 88011
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.352.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $72.96                  $72.96
         AVILES, ERIKA
         800 N HAYES AVE.                         ¨ Contingent
         DINUBA CA 93618
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.353.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $75.08                  $75.08
         AVILES, MARIA C
         1516 16TH ST W                           ¨ Contingent
         BRADENTON FL 34205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 118 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 228 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.354.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $345.03                 $345.03
         AVINA, MELISSA V
         701 W. 57TH ST.                          ¨ Contingent
         LOS ANGELES CA 90037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.355.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $227.62                 $227.62
         AWAD, SARA
         3000 HARVEST PLACE                       ¨ Contingent
         DARIEN IL 60561
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.356.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,565.24               $3,565.24
         AXTELL, AMANDA L
         6533 SE PINE CREEK WAY                   ¨ Contingent
         PORTLAND OR 97267-1928
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 119 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 229 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.357.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $80.22                  $80.22
         AYALA, AMANDA Y
         2018 QUAIL VALLEY EAST DR.               ¨ Contingent
         MISSOURI CITY TX 77459
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.358.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $40.60                  $40.60
         AYALA, ANGELICA
         1028 PROSPECT AVE                        ¨ Contingent
         #3
         SCRANTON PA 18505                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.359.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,484.71               $1,484.71
         AYALA, ANNABEL
         1021 HUNTSWOOD WAY                       ¨ Contingent
         OXNARD CA 93030
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 120 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 230 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.360.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $160.45                 $160.45
         AYALA, DESIAH R
         508 SW 51ST ST                           ¨ Contingent
         OKLAHOMA CITY OK 73109
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.361.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $278.60                 $278.60
         AYALA, JENNIFER Y
         21 WATCHUNG AVE                          ¨ Contingent
         2
         BELLEVILLE NJ 07109                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.362.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,153.85               $1,153.85
         AYALA, K'NYEL
         5902 MEMORIAL HWY                        ¨ Contingent
         APT. 115
         TAMPA FL 33615                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 121 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 231 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.363.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $49.76                  $49.76
         AYALA, LESLY M
         628 BURTONWOOD DR                        ¨ Contingent
         GASTONIA NC 28054
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.364.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $25.33                  $25.33
         AYALA, NAILA G
         2908 MILLIE AVE                          ¨ Contingent
         LAS VEGAS NV 89101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.365.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $5,375.99               $5,375.99
         AYALA-TORO, LOURDES A
         161 DEERTREE DR                          ¨ Contingent
         ATHENS GA 30605
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 122 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 232 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.366.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $500.85                 $500.85
         AYERS, AKAYLA
         9 IVY HALL                               ¨ Contingent
         DOVER DE 19904
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.367.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $463.50                 $463.50
         AYERS, NATALIE L
         5028 BONNY KAYE CT.                      ¨ Contingent
         ANTELOPE CA 95843
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.368.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $83.79                  $83.79
         AYITEY, PEARL
         1350 EISENHOWER CIRCLE                   ¨ Contingent
         APARTMENT 401
         WOODBRIDGE VA 22191                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 123 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 233 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.369.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $337.20                 $337.20
         AYO, EDNA
         1899 CRINAN DR                           ¨ Contingent
         SAN JOSE CA 95122
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.370.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $42.02                  $42.02
         AYRES, OLIVIA J
         10321 GERMANTOWN RD                      ¨ Contingent
         BERLIN MD 21811-2854
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.371.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $71.04                  $71.04
         AZOR, ANASTACIA
         1429 LOVAT CT                            ¨ Contingent
         RIVERSIDE CA 92507
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 124 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 234 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.372.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $194.14                 $194.14
         BACA, JANESSA J
         2525 CHELTON LN                          ¨ Contingent
         PUEBLO CO 81001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.373.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $58.85                  $58.85
         BACA, VICTORIA C
         1323 W MICHIGAN AVE                      ¨ Contingent
         PHOENIX AZ 85023
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.374.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $33.92                  $33.92
         BACKER, IVY S
         230 ACADEMY AVENUE                       ¨ Contingent
         PROVIDENCE RI 02908
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 125 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 235 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.375.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $96.90                  $96.90
         BAEZ, NAYSHA N
         101 NORTON STREET                        ¨ Contingent
         2
         WATERBURY CT 06708                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.376.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $237.98                 $237.98
         BAGGS, JASLYN S
         4600 MIRA LOMA DR                        ¨ Contingent
         10-G
         RENO NV 89052                            ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.377.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $495.66                 $495.66
         BAGLEY, RACQUEL D
         1821 CLIFFBROOK LANE APT#E               ¨ Contingent
         APT E
         RICHMOND VA 23227                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 126 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 236 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.378.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $156.18                 $156.18
         BAGLEY, TIARRA
         505 HIGHLANDS DR                         ¨ Contingent
         DESOTO TX 75115
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.379.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $24.00                  $24.00
         BAILEN-, SAUCEDA CHRISTINA
         3044 SAN MATEO WAY                       ¨ Contingent
         UNION CITY CA 94587
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.380.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $515.48                 $515.48
         BAILEY, CYNTHIA
         405 E PILOT ST                           ¨ Contingent
         APT C5
         DURHAM NC 27707                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 127 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 237 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.381.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $39.01                  $39.01
         BAILEY, DENICE B
         110 DEERFIELD PLACE                      ¨ Contingent
         FLORENCE AL 35630
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.382.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $167.28                 $167.28
         BAILEY, INDIA
         81 ELAINE RD                             ¨ Contingent
         MILFORD CT 06460
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.383.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $84.23                  $84.23
         BAILEY, KAITLYNN E
         102 BOYDTON PLANK DRIVE                  ¨ Contingent
         STEPHENS CITY VA 22655
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 128 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 238 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.384.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $181.92                 $181.92
         BAILEY, LINESHA N
         1734 BENNETT DRIVE                       ¨ Contingent
         APT 1307
         WEST DES MOINES IA 50265                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.385.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $125.65                 $125.65
         BAILEY, PERKELISH R
         935 SPRING CREEK WAY                     ¨ Contingent
         DOUGALSVILLE GA 30134
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.386.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $32.68                  $32.68
         BAILEY, SHANEKIA N
         102 CIRCLE DRIVE                         ¨ Contingent
         APT 1
         SHANNON MS 38868                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 129 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 239 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.387.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $33.00                  $33.00
         BAILEY-ROBINSON, MEKIYAH N
         1821 OATES DRIVE                         ¨ Contingent
         425
         MESQUITE TX 75150                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.388.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,033.25               $3,033.25
         BAILOR, CHARLOTTE A
         1134 MAGNOLIA ST                         ¨ Contingent
         COLORADO SPRING CO 80907
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.389.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $238.68                 $238.68
         BAJINKA, AWA
         139 CHESTNUT ST APT 3                    ¨ Contingent
         CHELSEA MA 01250
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 130 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 240 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.390.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $697.15                 $697.15
         BAJOR, HALEY A
         84 NASHUA RD                             ¨ Contingent
         WINDHAM NH 03087
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.391.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $120.55                 $120.55
         BAK, NICOLE
         4424 N. NAGLE                            ¨ Contingent
         HARWOOD HEIGHTS IL 60706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.392.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $606.07                 $606.07
         BAKER, GINA
         800 FONT STREET                          ¨ Contingent
         SAN FRANSICO CA 94123
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 131 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 241 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.393.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,348.24               $1,348.24
         BAKER, KAYLLEIGH M
         7941 N HICKORY ST                        ¨ Contingent
         APT 6
         KANSAS CITY MO 64118                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.394.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $264.28                 $264.28
         BAKER, NIKIA J
         4011 PAYNE DR                            ¨ Contingent
         FORT WASHINGTON MD 20744
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.395.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,620.54               $3,620.54
         BALADEZ, AMANDA M
         1209 NEPTUNE DRIVE                       ¨ Contingent
         CHULA VISTA CA 91911
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 132 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 242 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.396.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $136.34                 $136.34
         BALAGURU, KISHAALEE
         9900 BOYSENBERRY WAY                     ¨ Contingent
         APT 267
         GAITHERSBURG MD 20879                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.397.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $635.18                 $635.18
         BALBUENA, YILEIRI E
         7852 CALZADA WAY                         ¨ Contingent
         ELK GROVE CA 95758
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.398.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,280.36               $2,280.36
         BALDWIN, ALYSSA R
         705 GREGORY DRIVE                        ¨ Contingent
         NEWARK DE 19702
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 133 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 243 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.399.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,960.25               $4,960.25
         BALDWIN, BRIDGET M
         4156 STUBBINGTON LN                      ¨ Contingent
         INDIANAPOLIS IN 46239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.400.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $112.96                 $112.96
         BALDWIN, HAYLEE A
         5408 BUCKLEY FOREST TRL.                 ¨ Contingent
         WALKERTOWN NC 27051
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.401.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $57.48                  $57.48
         BALDWIN, MANESHA M
         3026 DOBBS CIRCLE                        ¨ Contingent
         MONTGOMERY AL 36116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 134 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 244 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.402.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $265.18                 $265.18
         BALENTINE, TENIESHA
         548 TIMBER RIDGE ROAD                    ¨ Contingent
         SUNRISE BEACH MO 65079
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.403.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $711.15                 $711.15
         BALES, JORDAN E
         773 N SEARLS RD                          ¨ Contingent
         WEBBERVILLE MI 48892
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.404.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $130.39                 $130.39
         BALL, HILLARY D
         120 CANAL ST.                            ¨ Contingent
         LEBANON OH 45036
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 135 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 245 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.405.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $145.90                 $145.90
         BALL, LESLIE R
         25 ISAIAH DRIVE                          ¨ Contingent
         JEFFERSON GA 30549
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.406.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $169.95                 $169.95
         BALLARD, KATHERINE
         1050 W. FAYETTE AVE                      ¨ Contingent
         SPRINGFIELD IL 62704
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.407.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $477.20                 $477.20
         BALLENTINE, MIRANDA J
         506 E 10TH AVE                           ¨ Contingent
         TARENTUM PA 15084
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 136 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 246 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.408.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $89.54                  $89.54
         BALLESTEROS, MINERVA
         950 W 4TH AVE                            ¨ Contingent
         APACHE JUNCTION AZ 85120-6607
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.409.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $127.14                 $127.14
         BALLINGER, TENESSA M
         11 OVERLOOK DRIVE                        ¨ Contingent
         FRANKLIN OH 45005
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.410.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $83.25                  $83.25
         BALLIU, MEGI
         13836 77TH AVENUE FLUSHING NY            ¨ Contingent
         66A
         NEW YORK NY 11367                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 137 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 247 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.411.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $108.39                 $108.39
         BALLOUT, ZAINAB
         2538 NORTH SHEFFORD COURT                ¨ Contingent
         WICHITA KS 67205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.412.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,680.37               $1,680.37
         BALOCH, SARA M
         5019 ROYAL AMBER LN.                     ¨ Contingent
         KATY TX 77493
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.413.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $353.84                 $353.84
         BALSAMO-MIKELS, DESTINY
         378 E LAWSON AVE.                        ¨ Contingent
         378
         FOLEY AL 36535                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 138 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 248 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.414.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $171.59                 $171.59
         BALTIMORE, MELISSA
         4919 DUNMAN AVE                          ¨ Contingent
         WOODLAND HILLS CA 91364
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.415.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $851.59                 $851.59
         BALTZELL, BRIAUNA N
         304 15TH AVENUE SE                       ¨ Contingent
         MINNEAPOLIS MN 55414
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.416.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $335.78                 $335.78
         BANAGA, MONIQUE
         6 BITTERSWEET DR                         ¨ Contingent
         EAST HARTFORD CT 06108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 139 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 249 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.417.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $90.45                  $90.45
         BANDA, ASHLEY N
         3900 SCR 1200 #14                        ¨ Contingent
         MIDLAND TX 79706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.418.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $198.84                 $198.84
         BANDA, ELIANNA M
         1509 K ST                                ¨ Contingent
         #185
         MODESTO CA 95354                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.419.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $264.24                 $264.24
         BANDISON, ASHLEY A
         146-36 176ST                             ¨ Contingent
         JAMAICA NY 11434
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 140 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 250 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.420.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $45.15                  $45.15
         BANKS, CELINA
         59 HARRAL AVE                            ¨ Contingent
         BRIDGEPORT CT 06604
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.421.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $137.08                 $137.08
         BANKS, DEANDRAE
         3603 BARED WIRE                          ¨ Contingent
         KILLEEN TX 76549
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.422.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $153.55                 $153.55
         BANKS, ISJA'MONEE M
         5 LA COSTA DR                            ¨ Contingent
         EGG HARBOR TOWNSHI NJ 08234
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 141 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 251 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.423.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $125.98                 $125.98
         BANKS, JAZMINE R
         3305 EAST ROME BLVD                      ¨ Contingent
         APT. 1002
         NORTH LAS VEGAS NV 89086                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.424.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $254.91                 $254.91
         BANKS, NASYA D
         7629 JOHNNYCAKE ROAD                     ¨ Contingent
         WINDSOR MILL MD 21244
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.425.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $58.65                  $58.65
         BANKS, TONI
         418 OGLE AVENUE                          ¨ Contingent
         FRUITLAND MD 21826
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 142 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 252 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.426.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $77.64                  $77.64
         BANUELOS, SANDRA
         625 8TH ST                               ¨ Contingent
         BAKERSFIELD CA 93304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.427.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $91.40                  $91.40
         BANZUELO, MARIANNE V
         9405 WROUGHT IRON CT                     ¨ Contingent
         FAIRFAX VA 22032
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.428.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $320.16                 $320.16
         BARAHONA, JAQUELINE F
         10225 HILLHAVEN AVENUE                   ¨ Contingent
         203
         TUJUNGA CA 91042                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 143 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 253 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.429.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $38.72                  $38.72
         BARAHONA, MICHELLE S
         2906 EAGLE NEST LN                       ¨ Contingent
         HUMBLE TX 77396
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.430.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $34.56                  $34.56
         BARAJAS, JOAIDA
         1111 AVALON AVE                          ¨ Contingent
         2234
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.431.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $149.40                 $149.40
         BARAJAS, KASSANDRA M
         25860 THUNDERCLOUD CT.                   ¨ Contingent
         MORENO VALLEY CA 92553
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 144 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 254 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.432.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,606.84               $4,606.84
         BARAJAS, MELISSA
         1650 PREUSS RD.                          ¨ Contingent
         LOS ANGELES CA 90036
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.433.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $284.82                 $284.82
         BARAJAS, SANDRA
         28TH AVE. W.                             ¨ Contingent
         515
         BRADENTON FL 34205                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.434.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $48.43                  $48.43
         BARAJAS, VERONICA
         807 PARK ST SW                           ¨ Contingent
         GRAND RAPIDS MI 49504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 145 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 255 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.435.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $206.83                 $206.83
         BARBEE, TIFFANI M
         110 WOODLET LN                           ¨ Contingent
         BOLINGBROOK IL 60490
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.436.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $57.36                  $57.36
         BARBER, KOLBY M
         1350 N LBJ DRIVE                         ¨ Contingent
         APT. 332
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.437.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $574.12                 $574.12
         BARBER, XIARA
         442 WEST CLINTON ST                      ¨ Contingent
         ELMIRA NY 14901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 146 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 256 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.438.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $619.08                 $619.08
         BARBONTIN, KRYSTAL S
         1917 HARRISON AVE                        ¨ Contingent
         B
         SAN DIEGO CA 92113                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.439.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $44.33                  $44.33
         BARBUZON, JENNIFER C
         1338 W. CALLE RIO LOBO                   ¨ Contingent
         TUCSON AZ 85714
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.440.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $32.84                  $32.84
         BARCH, SKYLAR M
         32 TRAIL RIDGE DRIVE                     ¨ Contingent
         MELISSA TX 75454
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 147 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 257 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.441.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $504.24                 $504.24
         BARCLAY, DESTINY
         12727 SANDBUR VALLEY WAY                 ¨ Contingent
         HOUSTON TX 77045
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.442.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $204.79                 $204.79
         BARCUS, TA-MERAH
         27 GOVERNOR STREET                       ¨ Contingent
         NEWARK NJ 07102
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.443.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $241.80                 $241.80
         BARDELL, SHIANN T
         PO BOX 2201                              ¨ Contingent
         405 SW 1ST STR
         BATTLE GROUND WA 98604                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 148 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 258 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.444.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $498.06                 $498.06
         BARDWELL, BRITTANY
         1200 WEST TIDWELL                        ¨ Contingent
         1803
         HOUSTON TX 77091                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.445.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $441.96                 $441.96
         BARELA, TERESA C
         314 WILDWOOD DRIVE                       ¨ Contingent
         SOUTH SAN FRANCISC CA 94080
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.446.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $357.65                 $357.65
         BARIS, SENAY E
         36 DELEMERE BLVD                         ¨ Contingent
         FAIRPORT NY 14450
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 149 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 259 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.447.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $9,156.83               $9,156.83
         BARNELLO, CATHERINE I
         7562 YORK DRIVE APT 1E                   ¨ Contingent
         CLAYTON MO 63105
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.448.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $71.64                  $71.64
         BARNES, GAYLE N
         2993 HOLLY ROAD                          ¨ Contingent
         ALPINE CA 91901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.449.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $717.63                 $717.63
         BARNES, KAITLYN
         210 MILL LANE APT #106                   ¨ Contingent
         ST AUGUSTINE FL 32084
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 150 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 260 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.450.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $135.24                 $135.24
         BARNETT, ADISON L
         129 CARONDOLET COURT NORTH               ¨ Contingent
         MOBILE AL 36608
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.451.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $105.49                 $105.49
         BARNETT, CATRINA
         3504 WOODLAWN FARMS                      ¨ Contingent
         SCHERTZ TX 78154
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.452.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,671.43               $2,671.43
         BARNETT, SHENEE
         1596 ANDOVER LN                          ¨ Contingent
         FREDERICK MD 21702
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 151 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 261 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.453.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,423.54               $3,423.54
         BARNHART, JESSICA L
         2304 N. BUSINESS RT. 5                   ¨ Contingent
         CAMDENTON MO 65020
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.454.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $177.31                 $177.31
         BARONE, ASHLEY M
         1051 LANE CREEK WAY                      ¨ Contingent
         BISHOP GA 30621-1183
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.455.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $221.52                 $221.52
         BARRAGAN, ALEXIS C
         1115 SOUTH CLELA                         ¨ Contingent
         LOS ANGELES CA 90022
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 152 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 262 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.456.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $253.56                 $253.56
         BARRAZA, ALONDRA T
         4006 W. PARADISE AVE.                    ¨ Contingent
         VISALIA CA 93277
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.457.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $69.09                  $69.09
         BARRAZA, ANGELIQUE V
         7460 KITTY HAWK ROAD                     ¨ Contingent
         LOT #27
         CONVERSE TX 78109                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.458.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $653.52                 $653.52
         BARRERA, ADILENE R
         1427 RAMONA LANE                         ¨ Contingent
         SAINT CHARLES MO 63304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 153 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 263 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.459.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,910.36               $1,910.36
         BARRETO, JUANA
         2800 WILLOW AVE APT.177                  ¨ Contingent
         CLOVIS CA 93612
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.460.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $473.35                 $473.35
         BARRETT, RENA D
         6474 RIDGE RD. UPER                      ¨ Contingent
         PARMA OH 44129
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.461.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,642.73               $1,642.73
         BARRETT-FRANCIS, ALLISON
         47 WADE ST                               ¨ Contingent
         1
         WEST HAVEN CT 06516-1932                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 154 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 264 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.462.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $269.70                 $269.70
         BARRIENTOS, SERENA N
         942 SAPPHIRE COURT                       ¨ Contingent
         SAN JOSE CA 95136
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.463.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $463.44                 $463.44
         BARRON, AMY A
         904 39TH AVE W                           ¨ Contingent
         BRADENTON FL 34205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.464.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $624.62                 $624.62
         BARRON, ANALYSSA C
         63 N SIERRA MADRE ST                     ¨ Contingent
         MOUNTAIN HOUSE CA 95391
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 155 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 265 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.465.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $88.27                  $88.27
         BARRON, LATRICE
         2545 NE 50TH PLACE                       ¨ Contingent
         OCALA FL 34479
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.466.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $231.67                 $231.67
         BARRON, MIREYA B
         1019 OLSON PL                            ¨ Contingent
         DUNCANVILLE TX 75137
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.467.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $672.27                 $672.27
         BARRON, VIVIANA J
         437 S CENTER ST                          ¨ Contingent
         ORANGE CA 92866
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 156 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 266 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.468.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $662.29                 $662.29
         BARRUS, DESTINEE H
         580 N 2ND AVE                            ¨ Contingent
         COAL CITY IL 60416
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.469.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $536.87                 $536.87
         BARRUTIA, VANESSA A
         9260 CROSSMEADOW DR                      ¨ Contingent
         BEAUMONT TX 77706-3824
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.470.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $8,673.88               $8,673.88
         BARSUASKAS. TERESA
         700 S HARBOUR ISLAND BLVD #206           ¨ Contingent
         TAMPA FL 33602
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 157 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 267 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.471.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $150.40                 $150.40
         BARTLEY, ARIA M
         1 UNIVERSITY PARK DR.                    ¨ Contingent
         LU BOX 1091
         NASHVILLE TN 37204                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.472.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $86.88                  $86.88
         BARTOLO, ALEYDA
         10000 CLUB CREEK                         ¨ Contingent
         APT.1003
         HOUSTON TX 77036                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.473.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $277.06                 $277.06
         BARTON, CHELSEA S
         2828 SW 130TH TER                        ¨ Contingent
         MIRAMAR FL 33027
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 158 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 268 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.474.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,501.60               $2,501.60
         BARTZ, KOURTNEY J
         301 CROWN                                ¨ Contingent
         WYOMING MI 49548
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.475.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $252.36                 $252.36
         BARZEY, KYANNA N
         307 KINGFISH DRIVE                       ¨ Contingent
         KISSIMMEE FL 34759
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.476.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $50.00                  $50.00
         BASGALL, KYRA M
         7701 WCR 116                             ¨ Contingent
         #24B
         MIDLAND TX 79706                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 159 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 269 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.477.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $175.44                 $175.44
         BASH, KAMRYN
         15 CANTON ST                             ¨ Contingent
         WEST HAVEN CT 06516
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.478.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $186.85                 $186.85
         BASHARAT, AYSHA M
         2751 TYBURN OAKS CT                      ¨ Contingent
         WALDORF MD 20601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.479.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $171.25                 $171.25
         BASKERVILLE, NAJAH
         320 NORTH PENNSYLVANIA AVENUE            ¨ Contingent
         ATLANTIC CITY NJ 08401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 160 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 270 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.480.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,044.04               $2,044.04
         BASS, AHLIYAH N
         4703 MARTHAS WAY                         ¨ Contingent
         GROVETOWN GA 30813
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.481.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $211.13                 $211.13
         BASS, ALYSSA
         228 N 5TH AVE                            ¨ Contingent
         BEECH GROVE IN 46107
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.482.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $156.96                 $156.96
         BASSLER, JORDYN M
         216 E MOUNTAIN VIEW DR                   ¨ Contingent
         FLAGSTAFF AZ 86001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 161 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 271 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.483.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $65.76                  $65.76
         BATCHELOR, LAURA E
         3 LANTERN LANE                           ¨ Contingent
         LONDONDERRY NH 03053
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.484.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $111.51                 $111.51
         BATES, BRYTTANY N
         4025 WEBB COURT                          ¨ Contingent
         COLUMBIA SC 29204
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.485.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $178.61                 $178.61
         BATES, DANIELLE M
         4901 NW LINDEN RD                        ¨ Contingent
         KANSAS CITY MO 64151
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 162 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 272 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.486.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $475.75                 $475.75
         BATES, MARKAYLA
         7942 CALVARY COURT                       ¨ Contingent
         MANASSAS VA 20109
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.487.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $480.00                 $480.00
         BATLLE, SHERYL
         1095 WEST 37 STREET                      ¨ Contingent
         HIALEAH FL 33012
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.488.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $84.60                  $84.60
         BATRES, YESENIA
         18410 SANDY DR.                          ¨ Contingent
         APT. #103
         CANYON COUNTRY CA 91387                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 163 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 273 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.489.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $94.07                  $94.07
         BATSON, NYROBI N
         12 SHADY LAKE CIRCLE                     ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.490.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,087.48               $1,087.48
         BATTERSHAW, TRENTON
         1601 S 20TH ST                           ¨ Contingent
         UNIT 3
         LINCOLN NE 68502                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.491.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $151.41                 $151.41
         BATTLE, KYLAH R
         13202 MATTIE CIRCLE                      ¨ Contingent
         APT 13
         NEWPORT NEWS VA 23608                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 164 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 274 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.492.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $37.80                  $37.80
         BAUER, EVE L
         5025 COLLWOOD BLVD APT 1202              ¨ Contingent
         SAN DIEGO CA 92115
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.493.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $571.55                 $571.55
         BAUMBERGER, LOREN R
         10415 BERNADETTE DR                      ¨ Contingent
         EVANSVILLE IN 47725
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.494.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $164.45                 $164.45
         BAUTISTA, AURORA
         6115 S KILDARE AVE.                      ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 165 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 275 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.495.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $35.80                  $35.80
         BAUTISTA, DOMINGUEZ KAREN J
         152 N ALBERT AVENUE                      ¨ Contingent
         SOUTH BEND IN 46619
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.496.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $598.11                 $598.11
         BAUTISTA, MIRIAM
         1655 S 43RD ST                           ¨ Contingent
         APT 5
         SAN DIEGO CA 92113                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.497.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.03                 $138.03
         BAVADI, HANNAH C
         7336 CHESAPEAKE COVE ST                  ¨ Contingent
         LAS VEGAS NV 89166
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 166 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 276 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.498.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $162.66                 $162.66
         BAXTER, KEANA S
         54 RIDGEWOOD AVENUE                      ¨ Contingent
         APT. 2
         NEWARK NJ 07108                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.499.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $117.64                 $117.64
         BAYAN, SADE I
         4059 LOCERBIE CIR.                       ¨ Contingent
         SPRING HILL TN 37174
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.500.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $105.75                 $105.75
         BAYAWA, SHECAINA R
         1830 LANAKILA AVENUE                     ¨ Contingent
         HONOLULU HI 96817
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 167 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 277 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.501.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $225.15                 $225.15
         BAYER, AUTUMN R
         14805 MCVAY AVE                          ¨ Contingent
         SAN JOSE CA 95127
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.502.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $73.35                  $73.35
         BAYERSDORFER, MEGHAN
         4535 LAKE FORREST DRIVE                  ¨ Contingent
         ATLANTA GA 30342
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.503.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $724.38                 $724.38
         BAYLARK, CARLY M
         1907 EAGLE CT.                           ¨ Contingent
         POTTERVILLE MI 48876
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 168 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 278 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.504.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $435.34                 $435.34
         BEACH, ASHLEY
         88 LEORY STREET                          ¨ Contingent
         BINGHAMTON NY 13905
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.505.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $237.63                 $237.63
         BEAHM, BRITTANY E
         153 EDWARDS AVE                          ¨ Contingent
         SWANNANOA NC 28778
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.506.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $538.56                 $538.56
         BEAL, SARENA
         1065 ROSE DR                             ¨ Contingent
         BENICIA CA 94510
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 169 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 279 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.507.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $218.97                 $218.97
         BEARD, EGYPT A
         1416 ABBEYHILL DR COLUMBUS OH            ¨ Contingent
         WORTHINGTON OH 43085
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.508.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $489.49                 $489.49
         BEARD, MAKENZIE
         4611 BIRCH HOLLOW DR.                    ¨ Contingent
         LINCOLN NE 68516
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.509.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $184.48                 $184.48
         BEARDEN, ELIZABETH R
         1792 FEATHER REED LANE                   ¨ Contingent
         GREENWOOD IN 46143
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 170 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 280 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.510.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,003.64               $2,003.64
         BEARDSLEY, DESIREE D
         709 TROY COVE                            ¨ Contingent
         JONESBORO AR 72401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.511.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $118.50                 $118.50
         BEATTY, JASMINE N
         178 LOCKMAN AVE.                         ¨ Contingent
         5B
         STATEN ISLAND NY 10303                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.512.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $168.95                 $168.95
         BEAUDION, EMILEE
         146 LONGDALE DR                          ¨ Contingent
         LIVERPOOL NY 13090
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 171 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 281 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.513.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $521.00                 $521.00
         BEAULIEU, ANNELIESE
         9 NICHOLS AVE.                           ¨ Contingent
         BROOKLINE NH 03033
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.514.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $33.24                  $33.24
         BEAVER, LARRISHA J
         720 MORRISON AVENUE                      ¨ Contingent
         SACRAMENTO CA 95838
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.515.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $440.40                 $440.40
         BEAVER, SAVANNAH M
         6247 WARDS GAP ROAD                      ¨ Contingent
         CASAR NC 28020
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 172 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 282 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.516.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $71.64                  $71.64
         BECERRA, BRIANA
         17113 ARDMORE AVE.                       ¨ Contingent
         BELLFLOWER CA 90706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.517.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $68.76                  $68.76
         BECK, MIKYLA S
         2121 WEST MAIN STREET                    ¨ Contingent
         2094
         MESA AZ 85201                            ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.518.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.18                 $138.18
         BECKER, BREANNA
         811 LINK DR.                             ¨ Contingent
         APT 37
         DUNCANVILLE TX 75116                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 173 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 283 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.519.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $524.34                 $524.34
         BECKER, BRITTANY M
         8CHESTNUT ST.                            ¨ Contingent
         MIDLEBORO MA 02346
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.520.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $39.19                  $39.19
         BECKER, JULIANNA M
         105 WOODBRIDGE DR                        ¨ Contingent
         SLIPPERY ROCK PA 16057
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.521.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $195.76                 $195.76
         BECKETT, KATHRYN J
         811 BOWERS AVENUE                        ¨ Contingent
         RUNNEMEDE NJ 08078
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 174 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 284 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.522.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,454.22               $4,454.22
         BECKFORD, MELISSA O
         2943 NW 68TH AVE                         ¨ Contingent
         MARGATE FL 33063-2064
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.523.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,150.10               $1,150.10
         BECKFORD, TRANIQUE A
         8104 WEBB ROAD                           ¨ Contingent
         APT 2208
         RIVERDALE GA 30274                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.524.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $185.88                 $185.88
         BECK-JOHNSON, COURTNEY E
         2410 MADERA CIRCLE                       ¨ Contingent
         APT 147
         PORT HUENEME CA 93041                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 175 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 285 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.525.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $289.80                 $289.80
         BEDOLLA-MAGO, JENNIFER
         12208 ALEXANDER ROAD                     ¨ Contingent
         EVERETT WA 98204
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.526.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $475.00                 $475.00
         BEELER, GRETCHEN E
         1594 VISTA LN                            ¨ Contingent
         APT 3
         CLARKSVILLE TN 37043                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.527.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $626.33                 $626.33
         BEEMON, ACACIA Y
         542 WOODY DRIVE                          ¨ Contingent
         JACKSON MS 39212
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 176 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 286 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.528.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $69.38                  $69.38
         BEEMSTERBOER, JENNIFER A
         1109 W MAIN ST                           ¨ Contingent
         523
         PEORIA IL 61606                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.529.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $112.86                 $112.86
         BEGLEY, ASHLEY N
         8530 W WINDROSE DR                       ¨ Contingent
         PEORIA AZ 85381
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.530.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,756.82               $3,756.82
         BEHLER, CORY B
         316 AMY COURT                            ¨ Contingent
         #1
         SHILLINGTON PA 19607                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 177 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 287 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.531.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $114.21                 $114.21
         BEHLES, KERI N
         1644 PORTSMOUTH LAKE DR.                 ¨ Contingent
         BRANDON FL 33511
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.532.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $525.00                 $525.00
         BEHRENS, DOMINIQUE M
         15 HARVEST WAY                           ¨ Contingent
         LITTLE EGG HARBOR NJ 08087
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.533.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $156.09                 $156.09
         BEHRENS, SHEALEE
         4338 SPRINGFIELD ST                      ¨ Contingent
         SIOUX CITY IA 51108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 178 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 288 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.534.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,125.91               $1,125.91
         BEISWENGER, KENDRA L
         1022 VALLEY GROVE ROAD                   ¨ Contingent
         VALLEY GROVE WV 26060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.535.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $62.80                  $62.80
         BEJARANO, YASDI
         23461 HWY 59                             ¨ Contingent
         PORTER TX 77365
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.536.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $64.53                  $64.53
         BELCHER, DAIZHANNA A
         4320 BOSTIC DR                           ¨ Contingent
         101
         GREENVILLE NC 27834                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 179 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 289 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.537.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,832.71               $3,832.71
         BELL COUNTY
         TAX APPRASIAL DISTRICT OF BELL           ¨ Contingent
         COUNTY
         PO BOX 390                               ¨ Unliquidated                                                       Nonpriority amount
         BELTON TX 76513                          ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.538.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $45.43                  $45.43
         BELL, ALEXIS K
         240 ONLEY ROAD                           ¨ Contingent
         102
         SALISBURY MD 21804                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.539.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $106.06                 $106.06
         BELL, ASHLEIGH M
         28 HICKORY HILL LN                       ¨ Contingent
         FREDERICKSBURG VA 22405
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 180 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 290 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.540.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,447.21               $1,447.21
         BELLE, ALIX M
         1413 4TH STREET SE                       ¨ Contingent
         ROCHESTER MN 55904
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.541.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $32.03                  $32.03
         BELLIARD, MARLENNY
         771 ATWELLS AVE.                         ¨ Contingent
         PROVIDENCE RI 02909
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.542.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,268.26               $2,268.26
         BELLIZZIA, NAYELI F
         129 FAIRFAX CIR                          ¨ Contingent
         BRANDON MS 39047
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 181 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 291 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.543.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $44.88                  $44.88
         BELL-MAYHORN, JASMINE B
         10320 S. VERNON AVE APT.2                ¨ Contingent
         2
         CHICAGO IL 60628                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.544.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $6,044.14               $6,044.14
         BELLO, TAMI L
         283 BAY 17TH STREET                      ¨ Contingent
         APT. #3A
         BROOKLYN NY 11214                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.545.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $45.38                  $45.38
         BELMAREZ, GUADALUPE I
         6122 OLD LA BLANCA RD.                   ¨ Contingent
         DONNA TX 78537
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 182 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 292 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.546.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $291.12                 $291.12
         BELTRAN, KATHIA
         3848W 164TH ST                           ¨ Contingent
         215
         TORRANCE CA 90505                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.547.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $132.29                 $132.29
         BELTRAN, SAMANTHA A
         94-980 AWAIKI ST.                        ¨ Contingent
         WAIPAHU HI 96797
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.548.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,085.23               $4,085.23
         BEN, AMARA CELESTE
         15150 MACADAM ROAD S                     ¨ Contingent
         APT B202
         TUKWILA WA 98188                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 183 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 293 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.549.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $81.81                  $81.81
         BEN, MALENA
         7022 WALMSLEY BLVD.                      ¨ Contingent
         RICHMOND VA 23236
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.550.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $410.26                 $410.26
         BENACQUISTA, ALANNA
         604 23RD STREET                          ¨ Contingent
         2
         WATERVLIET NY 12189                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.551.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $72.84                  $72.84
         BENAVIDES, AUBREE L
         3505 BOSWELLIA DR.                       ¨ Contingent
         BAKERSFIELD CA 93311
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 184 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 294 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.552.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $578.27                 $578.27
         BENAVIDEZ, CYNTHIA Y
         5770 BACKLICK RD                         ¨ Contingent
         201
         SPRINGFIELD VA 22150                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.553.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,848.57               $1,848.57
         BENAVIDEZ, HERLINDA
         8763 PINE CREST PL                       ¨ Contingent
         RANCHO CUCAMONGA CA 91730
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.554.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $74.46                  $74.46
         BENDAHOU, YASMINA
         1265 SHOEBRIDGE DRIVE                    ¨ Contingent
         MYRTLE BEACH SC 29579
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 185 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 295 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.555.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $179.37                 $179.37
         BENDALL, KATIE L
         256 OSCAR WEBSTER RD                     ¨ Contingent
         HUNTSVILLE AL 35803
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.556.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $28.50                  $28.50
         BENITES, YANICET M
         541 NORTHRIDGE RD APT E                  ¨ Contingent
         ATLANTA GA 30350
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.557.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $139.71                 $139.71
         BENITEZ, VIRYDIANA B
         1825 TERRY LN                            ¨ Contingent
         KNIGHTDALE NC 27545
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 186 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 296 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.558.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,830.60               $1,830.60
         BENITEZ-RAMIREZ, YOHANA
         4520 ORCHARD AVE                         ¨ Contingent
         LOS ANGELES CA 90037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.559.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $0.00                   $0.00
         BENJAMIN, STAJIA W
         2087 ALLSTON CT                          ¨ Contingent
         FAIRFIELD CA 94533
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.560.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $146.60                 $146.60
         BENNETT, ARAZHANE T
         3064 STANTON RD SE                       ¨ Contingent
         APT 2A
         WASHINGTON DC 20020                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 187 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 297 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.561.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $668.86                 $668.86
         BENNETT, TAYLOR
         35457 HWY 433                            ¨ Contingent
         SLIDELL LA 70460
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.562.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $166.92                 $166.92
         BENNETT, WENTER M
         401CEDAR GLEN CIR                        ¨ Contingent
         CHATTANOOGA TN 37412
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.563.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $68.66                  $68.66
         BENSON, KHYLA
         1400 BRUSH ROW ROAD                      ¨ Contingent
         WILBERFORCE OH 45385
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 188 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 298 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.564.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $574.64                 $574.64
         BENSON, NATALIE M
         2364 WHARREY DRIVE                       ¨ Contingent
         SEWICKLEY PA 15143
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.565.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $226.97                 $226.97
         BENTLEY, MADISON H
         1815 SABRINA LANE                        ¨ Contingent
         HEDGESVILLE WV 25427
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.566.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $453.08                 $453.08
         BENTON, DENEANE C
         901 MCNEIL ST.                           ¨ Contingent
         SHREVEPORT LA 71101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 189 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 299 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.567.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,981.62               $2,981.62
         BENTON, GWENDOLYN D
         1308 N 45TH STREET                       ¨ Contingent
         FT. SMITH AR 72904
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.568.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $943.32                 $943.32
         BENTON, MADISON L
         600 YARMOUTH LANE                        ¨ Contingent
         BEL AIR MD 21014
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.569.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $105.48                 $105.48
         BERARD, CHERYL A
         211 PHILLIPS ST.                         ¨ Contingent
         METHUEN MA 01844
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 190 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 300 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.570.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,877.40               $1,877.40
         BERKA, ROBBI D
         22491 ORCHARD GRASS TERRACE              ¨ Contingent
         APPARTMENT 402
         ASHBURN VA 20148                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.571.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,229.48               $1,229.48
         BERMUDEZ, JANET E
         401 LUNA AZUL                            ¨ Contingent
         CHAPARRAL NM 88081
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.572.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $175.46                 $175.46
         BERMUDEZ, ZULMA L
         1649 CRYSTALVIEW TRL                     ¨ Contingent
         LAKELAND FL 33801
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 191 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 301 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.573.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $8,973.82               $8,973.82
         BERNACHE-MORENO, LARESA M
         1905 BLUE CLOUD ST.                      ¨ Contingent
         HENDERSON NV 89002
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.574.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $93.49                  $93.49
         BERNAL, THANIA
         3625 ELM FARM RD #40                     ¨ Contingent
         WOODBRIDGE VA 22192
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.575.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $212.04                 $212.04
         BERNARD, OZIEANNA G
         21720 SE ALDER DR                        ¨ Contingent
         GRESHAM OR 97030
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 192 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 302 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.576.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $123.10                 $123.10
         BERNARD, YMANEE C
         2525 CENTERGATE DR                       ¨ Contingent
         APT201
         MIRAMAR FL 33025                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.577.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $37.84                  $37.84
         BERRIOS, GIANA M
         1023 VALLEY COURT                        ¨ Contingent
         PENNSBURG PA 18073
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.578.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.96                 $138.96
         BERROA, WENDY A
         11 PROSPECTS APT 21                      ¨ Contingent
         21
         WORCESTER MA 01608                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 193 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 303 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.579.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $28.89                  $28.89
         BERRY, AMBER
         203 WILKERSON STREET                     ¨ Contingent
         1110
         SCOTTSVILLE KY 42164                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.580.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $665.26                 $665.26
         BERRY, ANABELLE
         2054 W 2ND PL                            ¨ Contingent
         MESA AZ 85201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.581.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $265.80                 $265.80
         BERRY, CAITLYN A
         12551 LORNA ST                           ¨ Contingent
         GARDEN GROVE CA 92841
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 194 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 304 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.582.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,366.62               $1,366.62
         BERRY, ICYPHINE
         1203 HIGH HAMMOCK DRIVE APT 10           ¨ Contingent
         TAMPA FL 33619
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.583.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $32.19                  $32.19
         BERRY, SHELBY
         203 LANDMARK DRIVE                       ¨ Contingent
         SCOTTSVILLE KY 42164
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.584.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $506.04                 $506.04
         BERRY, STEPHANY K
         200 MAGNOLIA BOULEVARD                   ¨ Contingent
         PORT WENTWORTH GA 31407
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 195 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 305 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.585.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $183.66                 $183.66
         BERTKE, ANNDREA J
         2636 PRELUDE PATH                        ¨ Contingent
         WEST CARROLLTON OH 45449
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.586.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $708.96                 $708.96
         BERTRAND, MIKAYLA M
         19 MOUNT PLEASANT STREET                 ¨ Contingent
         DERRY NH 03038
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.587.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $264.13                 $264.13
         BETANZOS, JESSICA
         14916 61ST CT N                          ¨ Contingent
         LOXAHATCHEE FL 33470
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 196 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 306 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.588.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $162.60                 $162.60
         BETHEA, QUABENA H
         31920 124TH AVE SE                       ¨ Contingent
         #K103
         AUBURN WA 98092                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.589.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $54.17                  $54.17
         BETHEA, RASHEEDAH
         1162 SOUTH ORANGE AVE                    ¨ Contingent
         APT. 1
         SOUTH ORANGE NJ 07079                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.590.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $173.64                 $173.64
         BETTS, AMANDA R
         99 SHANDON ROAD                          ¨ Contingent
         #302
         DORCHESTER CENTER MA 02124               ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 197 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 307 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.591.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $99.00                  $99.00
         BETTS, MYAH M
         943 HARLAN CIRCLE                        ¨ Contingent
         SAN DIEGO CA 92114
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.592.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $226.77                 $226.77
         BEU, JULIANA E
         23 GATEWAY ROAD                          ¨ Contingent
         FAIRPORT NY 14450
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.593.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,113.88               $3,113.88
         BEVAN, HEATHER L
         3 DANIEL ST                              ¨ Contingent
         GREENSBURG PA 15601-6303
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 198 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 308 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.594.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $193.72                 $193.72
         BEVERLY, DONIQUA J
         3 BOULDERCREST COURT                     ¨ Contingent
         H
         ROSEDALE MD 21237                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.595.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $63.36                  $63.36
         BEVILACQUA, MARIA ANTONIETT
         1301 POST AVENUE                         ¨ Contingent
         ELMONT NY 11003
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.596.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,527.40               $3,527.40
         BEZILLA, PAMELA
         1341 PARKSIDE AVE                        ¨ Contingent
         EWING NJ 08638
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 199 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 309 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.597.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $30.98                  $30.98
         BHOOMBLA, HARLEEN
         514 HARTFORD RD                          ¨ Contingent
         MOORESTOWN NJ 08057
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.598.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,971.96               $1,971.96
         BHOOSHAN, DEANNA
         5900 36TH ST W                           ¨ Contingent
         APT L201
         BRADENTON FL 34210                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.599.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $320.43                 $320.43
         BIAS, MAKELAH
         18520 N 83RD DR                          ¨ Contingent
         PEORIA AZ 85382
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 200 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 310 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.600.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $611.77                 $611.77
         BIBINS-NORD, NYCHOLE
         3226 VICKSBURG ST                        ¨ Contingent
         DETROIT MI 48206
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.601.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $145.75                 $145.75
         BICE, JESSIE D
         4248 E FOX STREET                        ¨ Contingent
         MESA AZ 85205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.602.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $205.20                 $205.20
         BICHA, JENNIFER E
         7932 CARMENCITA AVE                      ¨ Contingent
         SACRAMENTO CA 95829
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 201 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 311 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.603.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $112.46                 $112.46
         BIGELOW, RICCI N
         1640 GRAND AVENUE                        ¨ Contingent
         1301
         KNOXVILLE TN 37916                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.604.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $115.25                 $115.25
         BIGGERS, ALEXIS
         504 SOUTH MULLER PARKWAY                 ¨ Contingent
         APT #404-C
         BLOOMINGTON IN 47406                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.605.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $30.65                  $30.65
         BILLINGSLEY, STAR
         9310 E BARRON CIRCLE                     ¨ Contingent
         WICHITA KS 67207
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 202 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 312 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.606.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $37.37                  $37.37
         BILLINSLEY, MARQUISE A
         9310 E BARRON CIR                        ¨ Contingent
         WICHITA KS 67207-3708
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.607.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $989.85                 $989.85
         BILLOCK, ALICIA M
         216 N 2ND AVE E                          ¨ Contingent
         DULUTH MN 55803
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.608.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $103.08                 $103.08
         BINKLY, ANNABELLE
         11129 NE 43RD CIRCLE                     ¨ Contingent
         VANCOUVER WA 98682
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 203 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 313 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.609.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $150.08                 $150.08
         BIRCHFIELD, LAURA O
         107 HASTY BLVD                           ¨ Contingent
         ERWIN TN 37650
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.610.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,206.32               $3,206.32
         BIRD, SAMANTHA E
         6809 MILWAUKEE ST                        ¨ Contingent
         106
         MADISON WI 53718-3468                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.611.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $89.44                  $89.44
         BISCAN, MEGAN
         651 DANA DR.                             ¨ Contingent
         COLUMBIA IL 62236
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 204 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 314 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.612.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $39.74                  $39.74
         BISHOP, MEGAN R
         6252 THORNAPPLE VALLEY DR                ¨ Contingent
         HASTINGS MI 49058
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.613.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $871.02                 $871.02
         BITTERMAN, MAKENZIE M
         207 N BALL ST                            ¨ Contingent
         1
         OWOSSO MI 48867                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.614.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $32.80                  $32.80
         BIVENS, DANNISHA K
         14602 BELLA MEADOW CT                    ¨ Contingent
         CYPRESS TX 77433
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 205 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 315 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.615.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $310.72                 $310.72
         BLACK, ANGELA
         3903 BUTTONWOOD DRIVE                    ¨ Contingent
         APT 101
         COLUMBIA MO 65201                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.616.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $125.01                 $125.01
         BLACK, JASMINE C
         2225 MARTIN LN                           ¨ Contingent
         TYLER TX 75701
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.617.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,788.08               $1,788.08
         BLACK, NATOSHA L
         203 HALL AVE                             ¨ Contingent
         SOLVAY NY 13209
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 206 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 316 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.618.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $293.00                 $293.00
         BLACKBURN, EMMA
         3295 SHELBY STREET                       ¨ Contingent
         THE VILLAGES FL 32162
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.619.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $109.77                 $109.77
         BLAIR, RAYONNA X
         511 SHELLY RIDGE LN                      ¨ Contingent
         308
         RALEIGH NC 27609                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.620.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $137.16                 $137.16
         BLAIR, SYDNEY Y
         202 MEADOW RUN EXTENSION                 ¨ Contingent
         ASHEVILLE NC 28806
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 207 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 317 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.621.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $194.04                 $194.04
         BLAISDELL, KASSANDRA M
         500 SALISBURY ST                         ¨ Contingent
         WORCESTER MA 01609
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.622.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $223.00                 $223.00
         BLAISE, ALLYSON
         804 TYLER TERRACE                        ¨ Contingent
         UTICA NY 13501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.623.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $113.93                 $113.93
         BLAKE, DERRIERE M
         1812 CALADIUM DR.                        ¨ Contingent
         CORINTH TX 76210
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 208 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 318 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.624.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $141.42                 $141.42
         BLAKELY, CHYNNA S
         565 E ELM ST                             ¨ Contingent
         APT 3
         LINDEN NJ 07036                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.625.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $644.60                 $644.60
         BLAKEMORE, SADIE N
         340 SUNRISE DRIVE                        ¨ Contingent
         KEVIL KY 42053
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.626.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,432.34               $1,432.34
         BLANCHARD, ELIZABETH A
         420 GILMOR RD                            ¨ Contingent
         JOPPA MD 21085-4219
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 209 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 319 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.627.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $44.18                  $44.18
         BLANCHARD, RILEY
         5366 DESCANSO CIR E                      ¨ Contingent
         COLORADO SPRINGS CO 80918
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.628.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $557.25                 $557.25
         BLANCO, CLARISSA
         609 MIDDLE NECK RD                       ¨ Contingent
         3
         GREAT NECK NY 11023                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.629.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $65.30                  $65.30
         BLAND, PAMELA M
         137 HUNTLEIGH FOREST DR                  ¨ Contingent
         KIRKWOOD MO 63122-1201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 210 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 320 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.630.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $426.54                 $426.54
         BLECHMAN, EVE S
         195 RIVER ROAD                           ¨ Contingent
         DEERFIELD IL 60015
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.631.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $310.44                 $310.44
         BLEDSOE, KRISTEN M
         161-22 119TH AVENUE                      ¨ Contingent
         2ND FLOOR
         JAMAICA NY 11434                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.632.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $681.95                 $681.95
         BLEVINS, CHRISTINA J
         11296 122ND AVE                          ¨ Contingent
         LARGO FL 33778
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 211 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 321 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.633.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $100.24                 $100.24
         BLISH, STEPHANIE C
         4750 W 29TH ST                           ¨ Contingent
         706
         GREELEY CO 80634                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.634.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $170.98                 $170.98
         BLOOMER, ANTHONY J
         2819 FAIRMOUNT AVE                       ¨ Contingent
         ATLANTIC CITY NJ 08401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.635.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $148.61                 $148.61
         BLUCAS, ALEXANDRIA
         208 ROCKSVILLE ROAD                      ¨ Contingent
         SOUTHAMPTON PA 18966
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 212 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 322 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.636.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $100.55                 $100.55
         BLUE, SHANTA L
         8411 SOMERTON CIRCLE                     ¨ Contingent
         DOUGLASVILLE GA 30134
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.637.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $125.28                 $125.28
         BOATENG, CHANELLE
         3932 STRETTON AVE                        ¨ Contingent
         FAYETTEVILLE NC 28306
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.638.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $7,008.95               $7,008.95
         BOBSEIN, MARIA A
         108 HAWTHORNE DRIVE N                    ¨ Contingent
         APT 5F
         NEW LONDON CT 06320                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 213 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 323 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.639.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $79.20                  $79.20
         BOCANEGRA, FABIOLA
         3516 OLGA AVE                            ¨ Contingent
         MCALLEN TX 78503
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.640.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $96.60                  $96.60
         BODDY, CHEROKEE
         1367 SOUTHVIEW DRIVE                     ¨ Contingent
         102
         OXON HILL MD 20745                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.641.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $36.36                  $36.36
         BODLEY, MAKAILA J
         10881 HULME AVE                          ¨ Contingent
         LYNWOOD CA 90262
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 214 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 324 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.642.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,044.17               $4,044.17
         BODY, SHARON K
         9225 E TANQUE VERDE RD                   ¨ Contingent
         46-104
         TUCSON NV 85749                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.643.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $157.95                 $157.95
         BOGAR, BRANDI S
         2502 CHANNING DR.                        ¨ Contingent
         GRAND PRAIRIE TX 75052
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.644.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $99.79                  $99.79
         BOGGESS, CHELSIE A
         3785 QUITMAN ST                          ¨ Contingent
         BEAUMONT TX 77708-4118
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 215 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 325 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.645.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $65.07                  $65.07
         BOGUE, JADYN T
         5450 WEST BRIXTON DRIVE                  ¨ Contingent
         LINCOLN NE 68521
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.646.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $509.63                 $509.63
         BOHLAND, BRIANNA C
         454 HOPKINS CEMETERY RD                  ¨ Contingent
         C 502
         HARRINGTON DE 19952                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.647.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $523.71                 $523.71
         BOHLIN, HAILEY O
         339 E BROWNSTONE DRIVE                   ¨ Contingent
         BLOOMINGTON IN 47408
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 216 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 326 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.648.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $444.96                 $444.96
         BOISCLAIR, SASHA L
         194 FAYETTE STREET                       ¨ Contingent
         LYNN MA 01902
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.649.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $400.56                 $400.56
         BOITNOTT, ALEXANDRA E
         4009 APACHE RD.                          ¨ Contingent
         SALEM VA 24153
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.650.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,361.02               $1,361.02
         BOLAND, KERI L
         1538 YARMOUTH AVE                        ¨ Contingent
         WELLINGTON FL 33414
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 217 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 327 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.651.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $457.52                 $457.52
         BOLANDER, GABRIELLE C
         7616 FOXGLOVE LANE                       ¨ Contingent
         NOBLESVILLE IN 46062
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.652.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $80.85                  $80.85
         BOLDEN, JASMINE A
         5348 JORDAN DRIVE                        ¨ Contingent
         MEMPHIS TN 38116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.653.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $60.54                  $60.54
         BOLLING, KAMESIA C
         5724 PALOMINO DRIVE                      ¨ Contingent
         RALEIGH NC 27606
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 218 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 328 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.654.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $6,118.57               $6,118.57
         BOLTON, TASHA N
         292 REVERE AVE                           ¨ Contingent
         2
         UNION NJ 07083                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.655.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $375.10                 $375.10
         BOLTON, TORI R
         1811 HOYT AVE                            ¨ Contingent
         INDIANAPOLIS IN 46203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.656.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $257.22                 $257.22
         BONANNO, AUDRY K
         630 RALPH HUGHES COURT                   ¨ Contingent
         PANAMA CITY FL 32404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 219 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 329 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.657.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $107.84                 $107.84
         BOND, JADYN R
         5503 E. FARM RD. 170                     ¨ Contingent
         ROGERSVILLE MO 65742
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.658.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,427.17               $2,427.17
         BONET, ELIZABETH
         816 MARION OAKS MANOR                    ¨ Contingent
         OCALA FL 34473
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.659.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $63.98                  $63.98
         BONGARD, COURTNEY
         3841 DAYSTAR RD                          ¨ Contingent
         D
         MADISON WI 53704                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 220 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 330 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.660.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $542.59                 $542.59
         BONIFACIO, MEGAN N
         5900 HIDDEN PINE LANE                    ¨ Contingent
         MCKINNEY TX 75070
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.661.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $124.43                 $124.43
         BONILLA, BRIANNA
         508 NEWYORK AVE                          ¨ Contingent
         ELIZABETH NJ 07202
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.662.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $226.74                 $226.74
         BONNEAU, LINDSEY A
         74 PACIFIC OCEAN DR                      ¨ Contingent
         BRICK NJ 08723
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 221 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 331 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.663.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $94.44                  $94.44
         BONNER, VANESSA
         915 SANDRA DRIVE                         ¨ Contingent
         BAKERSFIELD CA 93304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.664.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,834.36               $1,834.36
         BONNEVILLE, RACHELLE A
         124 S FREDERICKSBURG WAY                 ¨ Contingent
         VANCOUVER WA 98664
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.665.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $62.77                  $62.77
         BOOKER, IYAUNA N
         4613 MILLVALE CT                         ¨ Contingent
         NORTH CHESTERFIELD VA 23832
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 222 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 332 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.666.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $621.29                 $621.29
         BOOKER, LATONIA
         5464 POLLARD DR                          ¨ Contingent
         SOUTHAVEN MS 38671-6981
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.667.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $116.43                 $116.43
         BOOKER, LILLIAN D
         1000 CHASTAIN ROAD                       ¨ Contingent
         857826
         KENNESAW GA 30144                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.668.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $541.49                 $541.49
         BOOKER, TIFFANY B
         1416 SW 27TH CT                          ¨ Contingent
         FT LAUDERDALE FL 33315
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 223 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 333 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.669.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,470.17               $1,470.17
         BOONE, ERIN M
         7627 PIMMIT HILLS DR                     ¨ Contingent
         JACKSONVILLE FL 32244-6535
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.670.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,767.86               $1,767.86
         BOONE, THEOTIS
         72 GUERNSEY DR                           ¨ Contingent
         COLUMBIA SC 29203-6736
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.671.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $370.85                 $370.85
         BOONE, TIA
         205 LOCHNESS CT APT 201                  ¨ Contingent
         VIRGINIA BEACH VA 23452
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 224 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 334 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.672.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $344.16                 $344.16
         BOOTH, INFYNITY R
         14949 SE STARK ST                        ¨ Contingent
         2
         PORTLAND OR 97233                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.673.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $842.56                 $842.56
         BOOTH, LEIGHANN
         3320 KOSSUTH AVE                         ¨ Contingent
         6B
         BRONX NY 10467                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.674.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $92.38                  $92.38
         BOOTH, NATHANIEL
         750 WILDBRIAR RD                         ¨ Contingent
         APT 104
         PALM BAY FL 32905                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 225 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 335 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.675.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $359.15                 $359.15
         BOOTHE, LORNETTE S
         9116 KILPATRICK AVE APT 1A               ¨ Contingent
         APT 1A
         SKOKIE IL 60076                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.676.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $42.41                  $42.41
         BOOZER, BRYANNA M
         70 SOUTHWATERFORD ROAD                   ¨ Contingent
         DALTON PA 18414
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.677.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $498.27                 $498.27
         BORDEN, BREANNA P
         319 CARLEIGH LANE                        ¨ Contingent
         BOONEVILLE MS 38829
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 226 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 336 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.678.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $272.70                 $272.70
         BORDEN, DESTANI
         113 CHANTICLEER VILLAGE DR.              ¨ Contingent
         B
         MYRTLE BEACH SC 29579                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.679.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,476.00               $1,476.00
         BORDERS, HAILEY N
         30 MIDLAND LANE                          ¨ Contingent
         WHEATLEY HEIGHTS NY 11798
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.680.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $142.83                 $142.83
         BORDONARO, MOLLY A
         513 JACK STREET                          ¨ Contingent
         GREENSBURG PA 15601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 227 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 337 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.681.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $111.72                 $111.72
         BORGES, ERICKA T
         3252 CABRILLO MESA DR                    ¨ Contingent
         SAN DIEGO CA 92123
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.682.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,374.58               $1,374.58
         BORIA, FUENTES RAIZA S
         CARR 187 #23                             ¨ Contingent
         BO MEDIANIA BA
         LOIZA PR 00772                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.683.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $173.57                 $173.57
         BORJA, BRENDA
         2207 BELVEDERE BLVD                      ¨ Contingent
         TYLER TX 75702-3923
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 228 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 338 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.684.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $75.36                  $75.36
         BORJA, CELESTE J
         500 BUENA VISTA BLVD.                    ¨ Contingent
         BAKERSFIELD CA 93307
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.685.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $244.32                 $244.32
         BOR-MARQUEZ, JAQUELINE M
         478 BEDFORD AVE                          ¨ Contingent
         UNIONDALE NY 11553
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.686.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $208.77                 $208.77
         BORNIOS, BRYANNA C
         91-458 MAKALEA ST                        ¨ Contingent
         EWA BEACH HI 96706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 229 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 339 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.687.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $552.26                 $552.26
         BORNIOS, KRISTEN-MARIE
         1809 LANAKILA AVE                        ¨ Contingent
         HONOLULU HI 96817
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.688.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $238.03                 $238.03
         BORUNDA, ARIANA
         4410 N. 49TH DR.                         ¨ Contingent
         PHOENIX AZ 85031
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.689.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $747.88                 $747.88
         BOSTEDER, BRIANNA L
         10400 SE COOK CT                         ¨ Contingent
         132
         MILWAUKIE OR 97222                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 230 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 340 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.690.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $134.79                 $134.79
         BOSTEDT, BROOKLYN
         1384 EAST ADAM DRIVE                     ¨ Contingent
         DE PERE WI 54115
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.691.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $340.32                 $340.32
         BOSTIC, TRISHA A
         447 NEW DORWART ST                       ¨ Contingent
         LANCASTER PA 17603
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.692.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $62.40                  $62.40
         BOSTON, ESSENCE
         812A W 43RD ST.                          ¨ Contingent
         NORFOLK VA 23508
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 231 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 341 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.693.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $163.10                 $163.10
         BOSWELL, DE'ANDRE L
         6363 WEST CAMP WISDOM RD                 ¨ Contingent
         713
         DALLAS TX 75236                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.694.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $305.40                 $305.40
         BOTELLO, ASHLEE N
         1014 DORADO WAY                          ¨ Contingent
         CHULA VISTA CA 91910
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.695.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $184.44                 $184.44
         BOTELLO, BRINA M
         650 NORTH IMPERIAL AVENUE #18            ¨ Contingent
         18
         BRAWLEY CA 92227                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 232 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 342 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.696.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $46.96                  $46.96
         BOUDREAUX, DARRELYN
         300 VENUS DR                             ¨ Contingent
         LAFAYETTE LA 70501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.697.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $518.38                 $518.38
         BOUFFORD, DANIELLE
         6 SEQUOIA AVENUE                         ¨ Contingent
         LONDONDERRY NH 03053
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.698.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $42.98                  $42.98
         BOUNDS, BRIANNA
         13713 ARTESA BELL DRIVE                  ¨ Contingent
         RIVERVIEW FL 33579
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 233 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 343 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.699.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $38.40                  $38.40
         BOUPHAVONG, STEPHANIE S
         1021 E. SARAZEN AVE                      ¨ Contingent
         FRESNO CA 93730
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.700.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $699.46                 $699.46
         BOUROUS, ALEXA
         164 ANCHORAGE DRIVE                      ¨ Contingent
         WEST ISLIP NY 11795
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.701.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $151.04                 $151.04
         BOWDRE, KIRA R
         2401 UTOPIA COURT                        ¨ Contingent
         AUGUSTA GA 30909
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 234 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 344 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.702.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $476.27                 $476.27
         BOWEN, ELANA Y
         7532 S 138TH ST                          ¨ Contingent
         OMAHA NE 68138-5411
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.703.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,423.64               $4,423.64
         BOWEN, KATELYN
         227 SUMMEY BARKER DR                     ¨ Contingent
         DALLAS NC 28034-7780
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.704.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $68.48                  $68.48
         BOWEN, MIKAELA
         5300 FOX COVE LANE                       ¨ Contingent
         A
         GREENSBORO NC 27407                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 235 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 345 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.705.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $533.64                 $533.64
         BOWER, JANICE S
         15608 N. 71ST STREET                     ¨ Contingent
         APT. 146
         SCOTTSDALE AZ 85254                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.706.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,212.15               $1,212.15
         BOWERS, CHRISTIAN
         5009 WINFIELD DR                         ¨ Contingent
         RINCON GA 31326
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.707.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $574.06                 $574.06
         BOWERS, YAMILET
         8 CHURCH ST                              ¨ Contingent
         APT K
         CARMEL NY 10512                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 236 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 346 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.708.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $187.50                 $187.50
         BOWES, BRITTNEY D
         7069 RAPID RIVER DR W                    ¨ Contingent
         JACKSONVILLE FL 32219
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.709.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $59.81                  $59.81
         BOWMAN, SARAH E
         6051 ROMA DR. APT 301                    ¨ Contingent
         SHREVEPORT LA 71105
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.710.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $172.13                 $172.13
         BOWMAN, TIINAMARIE
         154 STRIBLING CIRCLE                     ¨ Contingent
         SPARTANBURG SC 29301
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 237 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 347 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.711.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $798.55                 $798.55
         BOWSER, LEINISHA
         10402 19TH AVE CT S APT N302             ¨ Contingent
         TACOMA WA 98444
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.712.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $425.70                 $425.70
         BOYAZIS, DEMETRIA C
         3660 ROBERTS RIDGE                       ¨ Contingent
         AKRON OH 44333
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.713.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $559.32                 $559.32
         BOYCE, DESERAE
         135 1ST ST                               ¨ Contingent
         EATONTOWN NJ 07724
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 238 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 348 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.714.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $328.79                 $328.79
         BOYCE, JAMIE
         2904 POWELL AVE                          ¨ Contingent
         PENNSAUKEN NJ 08110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.715.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $100.33                 $100.33
         BOYD, ALEXXIA R
         300 BELLAMY AVE 325-101                  ¨ Contingent
         CONWAY SC 29526
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.716.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,755.08               $1,755.08
         BOYD, HOPE E
         2013 W CAMPBELL RD APT. 238              ¨ Contingent
         GARLAND TX 75044
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 239 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 349 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.717.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $180.67                 $180.67
         BOYD, KIERRA
         1200 ROBLEY DR. APT.                     ¨ Contingent
         7302
         LAFAYETTE LA 70503                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.718.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $67.40                  $67.40
         BOYD, SKYLAR R
         1459 E 138TH ST                          ¨ Contingent
         GLENPOOL OK 74033
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.719.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $31.39                  $31.39
         BOYD, TEOSHA
         1247 N GRAHAM AVENUE                     ¨ Contingent
         152B
         FLORENCE AL 35630                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 240 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 350 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.720.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $109.96                 $109.96
         BOYKIN, LABREA G
         891 SUGARCANE                            ¨ Contingent
         CLARKSVILLE TN 37040
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.721.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $150.26                 $150.26
         BOYKINS, DIAMOND L
         7387 WOODROW WILSON                      ¨ Contingent
         DETROIT MI 48206
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.722.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $85.15                  $85.15
         BOYLAN, ELAYSZYA A
         1112 EVERT DRIVE                         ¨ Contingent
         VIRGINIA BEACH VA 23464
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 241 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 351 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.723.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,381.50               $1,381.50
         BOYLE, LAURA A
         3730 INGLESIDE BLVD.                     ¨ Contingent
         APT 3306
         LADSON SC 29456                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.724.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,345.93               $3,345.93
         BOZEMAN, REMONA
         3840 JILES RD                            ¨ Contingent
         22
         KENNESAW GA 30144                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.725.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $203.63                 $203.63
         BRADE, ZOE B
         1831 SAN DOLLAR CIR                      ¨ Contingent
         PENSACOLA FL 32504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 242 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 352 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.726.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $123.62                 $123.62
         BRADEN, NAUTIKA
         2108 COWAN ST                            ¨ Contingent
         FAYETTEVILLE NC 28306
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.727.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $75.46                  $75.46
         BRADEN, SAVANAH R
         1347 BOARDWALK AVE                       ¨ Contingent
         MOLALLA OR 97038
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.728.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $146.71                 $146.71
         BRADFIELD, TAYLOR
         4003 WINTERSWEET DR                      ¨ Contingent
         DECATUR GA 30034
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 243 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 353 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.729.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $546.62                 $546.62
         BRADFORD, LENA R
         1507 MINGLE AVE.                         ¨ Contingent
         KNOXVILLE TN 37921
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.730.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $288.67                 $288.67
         BRADLEY, BRITNEY S
         4753 WALDEN CIRCLE                       ¨ Contingent
         APT J
         ORLANDO FL 32811                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.731.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $208.15                 $208.15
         BRADLEY, CELSIE A
         1139 SILVER LAKE COURT                   ¨ Contingent
         PINGREE GROVE IL 60140
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 244 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 354 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.732.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,480.10               $4,480.10
         BRADLEY, JESSICA
         550 GRAVES AVE #6                        ¨ Contingent
         EL CAJON CA 92020
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.733.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $5,712.94               $5,712.94
         BRADSHAW, LUCILA
         1805 CALHOUN AVENUE                      ¨ Contingent
         PANAMA CITY FL 32405-2623
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.734.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $242.08                 $242.08
         BRADSHAW, TRINITEE M
         1752 SOUTHAMPTON DR SE                   ¨ Contingent
         GRAND RAPIDS MI 49508
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 245 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 355 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.735.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $247.51                 $247.51
         BRAMBILA, HEFZIBA
         659 MANOR DR                             ¨ Contingent
         C
         PACIFICA CA 94044                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.736.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $538.57                 $538.57
         BRANCATO, VIDALIA R
         20620 WEST GOLDEN ELM DR.                ¨ Contingent
         ESTERO FL 33928
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.737.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $189.24                 $189.24
         BRANCH, JASMINE M
         6128 PENNSWOOD AVE.                      ¨ Contingent
         LAKEWOOD CA 90712
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 246 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 356 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.738.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,957.85               $2,957.85
         BRANDON, EKIMA R
         64 BIDWELL AVE                           ¨ Contingent
         1ST FLOOR
         JERSEY CITY NJ 07305                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.739.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $35.89                  $35.89
         BRANDT, KATELYNN R
         15367 FLOWERFIELD RD                     ¨ Contingent
         THREERIVERS MI 49093
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.740.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,406.24               $1,406.24
         BRANDT, TAYLOR R
         232 GRACE STREET                         ¨ Contingent
         GROVE CITY PA 16127
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 247 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 357 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.741.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $154.79                 $154.79
         BRANTLEY, KAYLA A
         1080 ADAHI TRAIL                         ¨ Contingent
         MACON GA 31220
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.742.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $34.64                  $34.64
         BRASHER, SARAH A
         1400 MALL OF GEORGIA BLVD                ¨ Contingent
         APT 311
         BUFORD GA 30519                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.743.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $574.86                 $574.86
         BRASSEAS-ALVIZAR, LIZETH
         83201 LOS CABOS AVE                      ¨ Contingent
         COACHELLA CA 92236
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 248 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 358 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.744.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $77.70                  $77.70
         BRASTAD, SUMMER
         3935 VALLEY VIEW DR. N.                  ¨ Contingent
         APT105
         EAGAN MN 55122                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.745.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $54.69                  $54.69
         BRAVO, ITZEL
         16739 WESTGREEN SQ                       ¨ Contingent
         HOCKLEY TX 77447-9166
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.746.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $86.40                  $86.40
         BRAVO, LUNA SHEILA C
         628 W 42ND PL                            ¨ Contingent
         LOS ANGELES CA 90037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 249 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 359 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.747.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $10,298.75              $10,298.75
         BRAVO, RUDY
         16414 POCONO ST                          ¨ Contingent
         LA PUENTE CA 91744
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.748.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $31.90                  $31.90
         BRAVO, SAMANTHA E
         5236 W PEORIA                            ¨ Contingent
         #204
         GLENDALE AZ 85302                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.749.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,188.10               $2,188.10
         BRAY, TRISHA
         4222 E ANDREA DR                         ¨ Contingent
         CAVE CREEK AZ 85331
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 250 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 360 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.750.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,119.74               $2,119.74
         BRAZIL, NICOLE C
         1472 NORTH STREET                        ¨ Contingent
         #A
         SANTA ROSA CA 95404                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.751.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $98.06                  $98.06
         BREDICE, CARLI R
         4756 STADIUM DRIVE                       ¨ Contingent
         BRIDGMAN MI 49106
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.752.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $36.07                  $36.07
         BREITFELDER, ANNA
         11 PERRY ROAD                            ¨ Contingent
         BRANCHVILLE NJ 07826
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 251 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 361 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.753.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $140.09                 $140.09
         BREMER, MORGAN H
         3 ADAMS COURT                            ¨ Contingent
         HOPEWELL JUNCTION NY 12533
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.754.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $958.02                 $958.02
         BRENNAN, KRISTIN L
         2825 BERKLEY RD.                         ¨ Contingent
         ERIE PA 16506
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.755.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $41.25                  $41.25
         BRENNAN, SARAH E
         145 HARMONY RD                           ¨ Contingent
         APT 522
         SLIPPERY ROCK PA 16057                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 252 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 362 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.756.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,637.61               $2,637.61
         BRESS, HEATHER R
         24910 JENNINGS ROAD                      ¨ Contingent
         MYAKKA CITY FL 34251
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.757.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $129.50                 $129.50
         BREWER, ADDISON M
         1125 FRANKLIN SE                         ¨ Contingent
         GRAND RAPIDS MI 49507
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.758.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $169.54                 $169.54
         BREWER, EMILY M
         372 E. 13TH AVE                          ¨ Contingent
         COLUMBUS OH 43201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 253 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 363 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.759.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,084.70               $2,084.70
         BREWER, MARIA E
         3607 SALT FORK DR                        ¨ Contingent
         KILLEEN TX 76549-5631
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.760.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $72.60                  $72.60
         BREWER, SHONTA E
         3749 N ABBY ST                           ¨ Contingent
         FRESNO CA 93726-5406
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.761.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $175.80                 $175.80
         BRICKFIELD, ERIN D
         1349 NORTHGATE CIRCLE                    ¨ Contingent
         I-103
         OVIEDO FL 32765                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 254 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 364 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.762.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $496.13                 $496.13
         BRIDGES, ALAYAH
         398 MORNING CREEK CIR                    ¨ Contingent
         APOPKA FL 32712
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.763.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $437.50                 $437.50
         BRIDGES, ELANDRA
         212 CEDAR VILLAGE DR                     ¨ Contingent
         YORK PA 17406
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.764.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,785.38               $4,785.38
         BRIDGES, HEATHER L
         721 NE 23RD ST                           ¨ Contingent
         MOORE OK 73160
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 255 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 365 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.765.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $741.96                 $741.96
         BRIGHT, DAKOTA C
         639 NANTUCKET PL                         ¨ Contingent
         NORWALK IA 50211
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.766.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $656.05                 $656.05
         BRINKLEY, HAROLD A
         5427 MORRIS AVE                          ¨ Contingent
         SUITLAND MD 20746
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.767.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $372.43                 $372.43
         BRINKMAN, KELSEY E
         10424 CAENEN DRIVE                       ¨ Contingent
         OVERLAND PARK KS 66215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 256 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 366 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.768.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $40.06                  $40.06
         BRISCOE-CURTIS, SYDNEY
         800 WEST MARIETTA ST.NW                  ¨ Contingent
         ATLANTA GA 30318
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.769.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $114.60                 $114.60
         BRISENO, STEPHANY
         1208 5TH AVE. APT. E                     ¨ Contingent
         CHULA VISTA CA 91911
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.770.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $134.17                 $134.17
         BRITT, ANGELA
         138 CENTER ST                            ¨ Contingent
         FREEHOLD NJ 07728
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 257 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 367 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.771.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $103.54                 $103.54
         BRITT, JAMES
         1377 ARLINE AVE                          ¨ Contingent
         ABINGTON PA 19001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.772.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $599.29                 $599.29
         BRITTON, JORDAN
         1440 EMPRESS DR                          ¨ Contingent
         2502
         MCDONOUGH GA 30253                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.773.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $276.62                 $276.62
         BROADBELT, JANNELLE K
         4 JOHN ST                                ¨ Contingent
         SPRING VALLEY NY 10977
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 258 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 368 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.774.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $399.53                 $399.53
         BROADEN, JAVONNI R
         6916 MEGAN AVE.                          ¨ Contingent
         LAS VEGAS NV 89108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.775.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,225.96               $3,225.96
         BROCK, WHITNEY
         704 IAA DR. APT. B6                      ¨ Contingent
         BLOOMINGTON IL 61701
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.776.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $239.28                 $239.28
         BRONAUGH, HOPE
         225 DISCOVERY DR                         ¨ Contingent
         COLLEGE STATION TX 77845
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 259 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 369 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.777.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $63.84                  $63.84
         BRONCO, RYAN K
         6259 LAKE ALTURAS AVE                    ¨ Contingent
         SAN DIEGO CA 92119
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.778.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $334.20                 $334.20
         BRONSTORPH, ANGELLE-LIS
         8 WILLIAMS COURT                         ¨ Contingent
         MAHOPAC NY 10541
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.779.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $85.20                  $85.20
         BROOKS, ADRIANNA B
         1265 EAST 222ND STREET                   ¨ Contingent
         BRONX NY 10469
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 260 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 370 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.780.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,637.28               $1,637.28
         BROOKS, AMANDA K
         1517 HAVENWOOD DR                        ¨ Contingent
         OCEANSIDE CA 92056
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.781.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $119.14                 $119.14
         BROOKS, AUDRIANNA
         1472 CITY VIEW ST.                       ¨ Contingent
         EUGENE OR 97402
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.782.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $71.01                  $71.01
         BROOKS, BATESHA
         279 GOLDSMITH AVE APT D1                 ¨ Contingent
         NEWARK NJ 07112
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 261 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 371 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.783.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $738.49                 $738.49
         BROOKS, BRIONNA L
         1210 MORGANS LANDING DR.                 ¨ Contingent
         SANDY SPRINGS GA 30350
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.784.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $166.03                 $166.03
         BROOKS, DESTINY J
         10217 DOVER DR                           ¨ Contingent
         YUKON OK 73099
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.785.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $314.35                 $314.35
         BROOKS, INEZ
         118 TACOMA AVE.                          ¨ Contingent
         BUFFALO NY 14216
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 262 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 372 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.786.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $83.81                  $83.81
         BROOKS, MADISON
         5318 STONES RIVER AVE                    ¨ Contingent
         BATON ROUGE LA 70817
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.787.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $163.54                 $163.54
         BROOKS, SYDNEY N
         104 DALEWOOD MANOR LANE APT F            ¨ Contingent
         APT F
         BIRMINGHAM AL 35214                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.788.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $220.98                 $220.98
         BROOKS, TAYLOR B
         935 MCFARLAN AVE                         ¨ Contingent
         FORT WALTON BEACH FL 32547
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 263 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 373 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.789.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $345.94                 $345.94
         BROOKS, TYESHIA S
         1435 OAKES ROAD                          ¨ Contingent
         3
         RACINE WI 53406                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.790.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $5,600.14               $5,600.14
         BROOM, JENNIFER L
         1509 BLAINE AVE                          ¨ Contingent
         RACINE WI 53405
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.791.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $4,707.39               $4,707.39
         BROOME, ASHLEY
         1030 SILVER OAK PLACE                    ¨ Contingent
         CHULA VISTA CA 91914
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 264 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 374 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.792.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $121.44                 $121.44
         BROSIOUS, SELENA L
         18 ALBEE LANE                            ¨ Contingent
         PASCOAG RI 02859
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.793.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $114.84                 $114.84
         BROWN, ALLISON
         511 TORWOOD DRIVE                        ¨ Contingent
         COLUMBIA SC 29203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.794.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $207.11                 $207.11
         BROWN, AMARI N
         8468 WOODCREST                           ¨ Contingent
         APT 5
         WESTLAND MI 48185                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 265 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 375 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.795.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $536.71                 $536.71
         BROWN, ANNIKA
         241 RAMPART WAY APT 203                  ¨ Contingent
         EAST LANSING MI 48823
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.796.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $90.70                  $90.70
         BROWN, A'QUOIA
         3044 HIDDEN FOREST CT.                   ¨ Contingent
         5231 B
         MARIETTA GA 30066                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.797.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $129.05                 $129.05
         BROWN, ASHLEY A
         113 NORTH PARKRIDGE STREET               ¨ Contingent
         WICHITA KS 67212
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 266 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 376 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.798.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $216.15                 $216.15
         BROWN, ASHLEY N
         4454 N 89TH                              ¨ Contingent
         MILWAUKEE WI 53225
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.799.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $77.07                  $77.07
         BROWN, ASIA N
         18200 ROSELAND BLVD                      ¨ Contingent
         LATHRUP VILLAGE MI 48076
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.800.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $465.74                 $465.74
         BROWN, AUBREY G
         2409 ALPINE DRIVE                        ¨ Contingent
         JACKSON MO 63755
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 267 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 377 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.801.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,881.78               $2,881.78
         BROWN, AURORA I
         1061 11TH STREET                         ¨ Contingent
         IMPERIAL BEACH CA 91932
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.802.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $178.65                 $178.65
         BROWN, AUTUMN A
         669 THORNHILL DR                         ¨ Contingent
         COLUMBIA SC 29229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.803.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $181.54                 $181.54
         BROWN, BLAIR D
         1640 GRAND AVE                           ¨ Contingent
         1301
         KNOXVILLE TN 37916                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 268 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 378 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.804.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $58.64                  $58.64
         BROWN, BRIANNA M
         10435 PALMERA DRIVE                      ¨ Contingent
         HELOTES TX 78023
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.805.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $496.50                 $496.50
         BROWN, CASSANDRA
         9 MELBA DR                               ¨ Contingent
         HUDSON NH 03051
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.806.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $177.00                 $177.00
         BROWN, DANNIQUA R
         141-21 249 STREET                        ¨ Contingent
         2
         ROSEDALE NY 11422                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 269 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 379 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.807.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $12.35                  $12.35
         BROWN, DESIREE
         1416 JOHNSON                             ¨ Contingent
         SOUTH BEND IN 46628
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.808.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $16.89                  $16.89
         BROWN, DIXIE
         2000 OAK GROVE ROAD                      ¨ Contingent
         APT 1106
         HATTIESBURG MS 39402                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.809.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $126.01                 $126.01
         BROWN, GABRIELLE S
         7130 HUMMINGBIRD PLACE                   ¨ Contingent
         PHILADELPHIA PA 19153
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 270 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 380 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.810.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $121.29                 $121.29
         BROWN, HANNAH K
         1125 16TH AVENUE                         ¨ Contingent
         ALTOONA PA 16601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.811.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $164.72                 $164.72
         BROWN, INDIA T
         12315 LAWSON CREEK DR.                   ¨ Contingent
         JACKSONVILLE FL 32218
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.812.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $580.00                 $580.00
         BROWN, JACQUELYN F
         6939 NETHERLAND DRIVE                    ¨ Contingent
         LIBERTY TOWNSHIP OH 45044
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 271 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 381 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.813.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $74.52                  $74.52
         BROWN, JADA A
         188 DWIGHT STREET                        ¨ Contingent
         APT.B
         JERSEY CITY NJ 07305                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.814.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $0.00                   $0.00
         BROWN, JAQUAN
         550 NORTHRIDGE PARKWAY                   ¨ Contingent
         2411
         SANDY SPRINGS GA 30350                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.815.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $147.23                 $147.23
         BROWN, JOE
         1809 S WILLIAMS LN                       ¨ Contingent
         HARLINGEN TX 78550
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 272 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 382 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.816.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $514.29                 $514.29
         BROWN, KATARA
         3173 NW 39 ST                            ¨ Contingent
         LAUDERDALE LAKES FL 33309
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.817.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $99.33                  $99.33
         BROWN, KEIRRA
         4204 BEALE STREET                        ¨ Contingent
         MONROE LA 71203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.818.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $198.30                 $198.30
         BROWN, KELLY A
         658 TIMBER CREEK SOUTH                   ¨ Contingent
         HERNANDO MS 38632
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 273 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 383 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.819.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $37.71                  $37.71
         BROWN, LASHAUNTA
         1438 HANDBALL LN                         ¨ Contingent
         D
         INDIANAPOLIS IN 46260                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.820.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $242.93                 $242.93
         BROWN, MAKAYLA
         244 FISHER AVE                           ¨ Contingent
         NEPTUNE NJ 07753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.821.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $149.21                 $149.21
         BROWN, MAKIYAH N
         3405 WEST MAIN ST                        ¨ Contingent
         JACKSONVILLE AR 72076
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 274 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 384 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.822.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $164.51                 $164.51
         BROWN, MONIQUEA A
         9920 FOREST LANE                         ¨ Contingent
         305
         DALLAS TX 75243                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.823.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $34.32                  $34.32
         BROWN, NAKIA N
         4320 GLENDALE STREET                     ¨ Contingent
         PHILADELPHIA PA 19124
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.824.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $61.20                  $61.20
         BROWN, NIA A
         222 C BUTTRICK AVE                       ¨ Contingent
         BRONX NY 10465
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 275 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 385 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.825.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,460.55               $2,460.55
         BROWN, SAMARA
         3225 MARSHLANE WAY                       ¨ Contingent
         RALEIGH NC 27610-4080
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.826.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $103.52                 $103.52
         BROWN, SARAH
         11814 SILVERWOOD BEND LANE               ¨ Contingent
         CYPRESS TX 77433
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.827.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $76.77                  $76.77
         BROWN, SARAH A
         14808 ERSKINE ST                         ¨ Contingent
         OMAHA NE 68116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 276 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 386 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.828.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,736.26               $3,736.26
         BROWN, SHEELA M
         11425 DURAND AVE                         ¨ Contingent
         MT PLEASENT WI 53406
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.829.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $159.04                 $159.04
         BROWN, SHIRLANDREA
         1624 HOUGHTON ROAD                       ¨ Contingent
         DALLAS TX 75217
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.830.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $878.36                 $878.36
         BROWN, SIMONE R
         1220 EAST WEST HIGHWAY                   ¨ Contingent
         APT 1618
         SILVER SPRING MD 20910                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 277 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 387 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.831.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $120.10                 $120.10
         BROWN, TAELOR R
         5075 TITAN CT.                           ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.832.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $503.16                 $503.16
         BROWN, TIARA
         79 LANOUETTE ST EXT                      ¨ Contingent
         MERIDEN CT 06451
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.833.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $26.46                  $26.46
         BROWN, VANITRA
         143 TRAILING VINE LANE                   ¨ Contingent
         HARVEST AL 35749
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 278 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 388 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.834.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $74.36                  $74.36
         BROWN-BLACK, NADIA M
         5112 SOUTH PINES DRIVE                   ¨ Contingent
         JACKSONVILLE FL 32207
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.835.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $83.57                  $83.57
         BRUCE, KATHERINE A
         5930 FAIRWAY CT                          ¨ Contingent
         WEST DES MOINES IA 50266
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.836.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $533.72                 $533.72
         BRUCE, MEGAN
         31800 CONCORD DR                         ¨ Contingent
         F
         MADISON HEIGHTS MI 48071                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 279 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 389 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.837.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $17.89                  $17.89
         BRUNI, SAMANTHA
         11 CAMELLIA DR.                          ¨ Contingent
         CAPE GIRARDEAU MO 63703
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.838.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $81.34                  $81.34
         BRUNO, GARCIA NAYDIL T
         1232 CAVERN RIDGE CT.                    ¨ Contingent
         NORTH LAS VEGAS NV 89031
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.839.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $145.44                 $145.44
         BRUNO, TAYLOR-ROSE
         1471 STRAIGHT PATH                       ¨ Contingent
         APT B2
         WYANDANCH NY 11798-3917                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 280 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 390 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.840.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $265.20                 $265.20
         BRUTON, TASIA L L
         216 R ST NE                              ¨ Contingent
         AUBURN WA 98002
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.841.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,315.37               $2,315.37
         BRUTUS, RACHELLE
         150 LIBERTY PKWY                         ¨ Contingent
         APT G4
         SPRING VALLEY NY 10977                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.842.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $172.75                 $172.75
         BRYAN, DANIELLE A
         7432 NW 34TH ST                          ¨ Contingent
         LAUDERHILL FL 33319
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 281 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 391 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.843.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $174.00                 $174.00
         BRYAN, KARLEE J
         632 JOEY AVENUE                          ¨ Contingent
         EL CAJON CA 92020
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.844.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $140.95                 $140.95
         BRYANT, ANAYAH J
         3205 NW 83 ST GAINESVILLE                ¨ Contingent
         1221
         GAINESVILLE FL 32606                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.845.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $35.89                  $35.89
         BRYANT, ANDREA
         4939 SILVERBELL DR                       ¨ Contingent
         KENTWOOD MI 49548
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 282 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 392 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.846.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,334.56               $1,334.56
         BRYANT, BRITTANY
         12802 W WILLOW AVE                       ¨ Contingent
         EL MIRAGE AZ 85335-5357
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.847.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $42.55                  $42.55
         BRYANT, EMILY
         1699 OAKLAND ROAD                        ¨ Contingent
         NORTH PORT FL 34286
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.848.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $116.84                 $116.84
         BRYANT, SHAMEKA
         1787 WEST LEE ST.                        ¨ Contingent
         LOUISVILLE KY 40210
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 283 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 393 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.849.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $66.37                  $66.37
         BRYANT, TEKEDRA J
         3461 JOSLYN ST                           ¨ Contingent
         MEMPHIS TN 38128
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.850.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $63.58                  $63.58
         BRYANT, TIARA
         8927 AVERY MEADOWS DR                    ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.851.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,973.07               $1,973.07
         BRYANT, TRACY M
         1600 ASTER DRIVE APT #32                 ¨ Contingent
         ANTIOCH CA 94509
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 284 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 394 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.852.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $409.23                 $409.23
         BRZOZA, IZABELLA M
         2150 SMETHWICK LN                        ¨ Contingent
         HOFFMAN ESTATES IL 60169
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.853.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $86.95                  $86.95
         BUCHANAN, KATLYN L
         2261 GEORGIAN CIRCLE                     ¨ Contingent
         FRANKLIN TN 37067
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.854.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $240.65                 $240.65
         BUCHLER, LAILA A
         110 BARBARA ST                           ¨ Contingent
         LOUISVILLE CO 80027
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 285 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 395 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.855.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $28.49                  $28.49
         BUCK, JASMINE O
         310 RETHKE AVE                           ¨ Contingent
         MADISON WI 53714
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.856.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $267.43                 $267.43
         BUCK, TIARA G
         204 POPLAR DRIVE                         ¨ Contingent
         GREER SC 29651
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.857.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $89.63                  $89.63
         BUCKALEW, AMBER
         343 6TH AVENUE SOUTH                     ¨ Contingent
         922 SAUK RIDGE
         MADISON WI 53717                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 286 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 396 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.858.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $109.71                 $109.71
         BUCKINGHAM, LEELEE W
         299 NORTH SALTAIR AVENUE                 ¨ Contingent
         LOS ANGELES CA 90049
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.859.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $98.38                  $98.38
         BUCKMASTER, ALEXIS N
         6927 E 10TH AVE                          ¨ Contingent
         LAKE STATION IN 46405
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.860.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $170.89                 $170.89
         BUCKNER, TIARIA
         112 KENTUCKY OAKS                        ¨ Contingent
         MONTGOMERY AL 36117
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 287 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 397 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.861.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $295.92                 $295.92
         BUDD, SHATISE T
         117-09 202 STREET                        ¨ Contingent
         SAINT ALBANS NY 11412
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.862.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $145.80                 $145.80
         BUDRAJ, HANNA
         2016 MCGRAW AVE                          ¨ Contingent
         BRONX NY 10462
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.863.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $518.60                 $518.60
         BUEHLER, MIKALA A
         311 SUNRISE LANE                         ¨ Contingent
         APT B
         CHATTANOOGA TN 37411                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 288 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 398 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.864.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,246.27               $1,246.27
         BUENAVENTURA, ANGELICA M
         5955 NW 105TH COURT APT 322              ¨ Contingent
         DORAL FL 33178
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.865.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $0.00                   $0.00
         BUENDIA, NATHAN A
         28 KAMAKOA LOOP                          ¨ Contingent
         WAILUKU HI 96793
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.866.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $247.80                 $247.80
         BUENROSTRO, ALANA E
         5810 LOBELIA WAY                         ¨ Contingent
         LIVERMORE CA 94551
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 289 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 399 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.867.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $315.26                 $315.26
         BUENROSTRO-RIVEROS, VERONICA
         3249 MADISON ST                          ¨ Contingent
         OMAHA NE 68107
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.868.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $197.63                 $197.63
         BUI-NGUYEN, JOANNA L
         6521 HANNAH STABLES DRIVE                ¨ Contingent
         JACKSONVILLE FL 32244
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.869.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $96.87                  $96.87
         BUJAK, LILYANA R
         225 BEECHURST AVE                        ¨ Contingent
         APT A
         MORGANTOWN WV 26505                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 290 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 400 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.870.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $174.27                 $174.27
         BULLINGTON, MAYRA L
         B5 CALLE 6                               ¨ Contingent
         B-5 CALLE 6
         CAROLINA PR 00985-6107                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.871.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $27.09                  $27.09
         BULLOCK, ALLANA
         504 WILKES                               ¨ Contingent
         COLUMBIA MO 65201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.872.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $42.09                  $42.09
         BULLOCK, ANNA L
         3415 S 66TH ST #316                      ¨ Contingent
         FORT SMITH AR 72903
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 291 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 401 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.873.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $167.70                 $167.70
         BULLOCK, MARIAHANNA O
         102 RED GATE DRIVE                       ¨ Contingent
         MONROEVILLE PA 15146
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.874.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,621.24               $3,621.24
         BUMGARNER, JESSICA M
         8414 O'CONNOR CT                         ¨ Contingent
         UNIT 810
         HENRICO VA 23228                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.875.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $3,850.82               $3,850.82
         BUMGARNER, MEGAN L
         2519 S 18TH ST                           ¨ Contingent
         MOUNT VERNON WA 98274
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 292 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 402 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.876.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $383.14                 $383.14
         BUMPHIS, KEISHA
         3200 PARKWOOD BLVD                       ¨ Contingent
         APT 613
         PLANO TX 75093                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.877.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,687.03               $1,687.03
         BUMPHIS, TAMIKA
         571 HWY 370 W                            ¨ Contingent
         BALDWYN MS 38824-7532
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.878.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $205.03                 $205.03
         BUNKLEY, KELLY K
         5832 BARRIER REEF DR                     ¨ Contingent
         FORT WORTH TX 76179
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 293 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 403 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.879.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $978.77                 $978.77
         BUNTING, BRITTANI L
         5979 DEER CREEK DRIVE                    ¨ Contingent
         PITTSVILLE MD 21850
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.880.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $229.61                 $229.61
         BURCHETT, FELICIA J
         5923 EVERGREEN MANOR APT C               ¨ Contingent
         C
         ALTOONA PA 16602                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.881.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,249.22               $1,249.22
         BURDA, JESSICA D
         1112 S 20TH ST                           ¨ Contingent
         APT 224
         SOUTH BEND IN 46615                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 294 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 404 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.882.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $78.59                  $78.59
         BURDGE, MELANIE M
         2136 DOROTHY RD                          ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.883.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $524.47                 $524.47
         BURDICK, EMILY M
         3652 WILLOW WISP DR. NORTH               ¨ Contingent
         LAKELAND FL 33810
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.884.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $138.66                 $138.66
         BURGAN, STARDACIA
         6520 GARDEN SPRING CT                    ¨ Contingent
         ORLANDO FL 32818
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 295 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 405 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.885.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $29.03                  $29.03
         BURGESS, JURNI H
         14848 DORIAN DR                          ¨ Contingent
         WOODBRIDGE VA 22193
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.886.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $370.08                 $370.08
         BURGESS, MERCEDEZ T
         2518 TIMBERS DR                          ¨ Contingent
         HENDERSON KY 42420
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.887.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $586.52                 $586.52
         BURGESS, TITO M
         1352 WEST 6TH ST                         ¨ Contingent
         RIVIERA BEACH FL 33404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 296 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 406 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.888.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $473.68                 $473.68
         BURGOS, JESSIBELLE
         298 HENSHAW ST.                          ¨ Contingent
         LEICESTER MA 01524
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.889.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $81.60                  $81.60
         BURKE, BRIANNA
         24 STATE STREET                          ¨ Contingent
         WELLESLEY MA 02482
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.890.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $147.74                 $147.74
         BURKE, MARLAYNA L
         1400 23RD ST                             ¨ Contingent
         441 HARISON HA
         GREELEY CO 80631                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 297 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 407 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.891.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $108.58                 $108.58
         BURKOFF, ANNA
         29611 S SPRAGUE RD                       ¨ Contingent
         MOLALLA OR 97038
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.892.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $95.55                  $95.55
         BURLESON, ALEXIS J
         4155 COLEMAN HILL RD                     ¨ Contingent
         ROCKVALE TN 37153
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.893.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $41.31                  $41.31
         BURNETT, KAYLA N
         9335 COLONIAL MILL DR                    ¨ Contingent
         DELMAR MD 21875
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 298 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 408 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.894.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $198.31                 $198.31
         BURNETT, STEPHANIE
         1003 WEST 11TH STREET                    ¨ Contingent
         LAKELAND FL 33805
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.895.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $198.91                 $198.91
         BURNHAM, BRITTANY J
         3415 63RD AVE EAST                       ¨ Contingent
         BRADENTON FL 34203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.896.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $545.10                 $545.10
         BURNINE, TAYLOR J
         345 CHRIS DR. #17                        ¨ Contingent
         MAYFIELD KY 42066
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 299 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 409 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.897.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,194.75               $1,194.75
         BURNS, DA'SHUN A
         1233 BEATTY DR.                          ¨ Contingent
         CEDAR HILL TX 75104
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.898.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $42.49                  $42.49
         BURNS, ELIZABETH M
         1202 SCARBOROUGH LN                      ¨ Contingent
         GREENWOOD IN 46142
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.899.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $348.25                 $348.25
         BURNS, REGINA
         8224 GEORGIA CT N                        ¨ Contingent
         BROOKLYN PARK MN 55445
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 300 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 410 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.900.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,601.57               $2,601.57
         BURNS, SHANNON L
         10039 BRUNSWICK LN                       ¨ Contingent
         PORT RICHEY FL 34668-7750
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.901.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $171.25                 $171.25
         BURNS, TALIYA A
         2019 CASPIAN AVE.                        ¨ Contingent
         ATLANTIC CITY NJ 08401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.902.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $69.40                  $69.40
         BURNS, TYIONNA
         1022 W. LINDBERG ST                      ¨ Contingent
         SPRINGFIELD MO 65807
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 301 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 411 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.903.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $272.44                 $272.44
         BUROW, TANYA
         3609 PETERS AVE                          ¨ Contingent
         PMB 336
         SIOUX CITY IA 51106                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.904.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $94.64                  $94.64
         BURR, KODI R
         50 VEVAU STREET APARTMENT B 20           ¨ Contingent
         KAHULUI HI 96732
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.905.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,774.23               $2,774.23
         BURRESS, ALISON
         14232 DALLAS PKWY                        ¨ Contingent
         APT 904
         DALLAS TX 75254-2931                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 302 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 412 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.906.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,877.40               $2,877.40
         BURRIS, BRANDY
         2599 61ST STREET                         ¨ Contingent
         PORT ARTHUR TX 77640
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.907.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $415.61                 $415.61
         BURRIS, DONNA
         1348 CHIGNAHUAPAN WAY                    ¨ Contingent
         ROSEVILLE CA 95747
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.908.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $275.00                 $275.00
         BURROUGHS, JARICA N
         3211 DESERT CIRCLE                       ¨ Contingent
         9
         EAST POINT GA 30344                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 303 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 413 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.909.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $32.38                  $32.38
         BURROWS, TAYLOR M
         9001 BRYN MAWR CIRCLE                    ¨ Contingent
         9001 BRYN MAWR
         FORT SMITH AR 72908                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.910.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $212.40                 $212.40
         BURRUS, SABRINA A
         35 HICKORY STREET                        ¨ Contingent
         PORT JEFFERSON STA NY 11776
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.911.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $182.49                 $182.49
         BURTON, ALAHNA J
         1945 CANOPY DR                           ¨ Contingent
         MELBOURNE FL 32935
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 304 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 414 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.912.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $44.33                  $44.33
         BURTON, BRIANNA
         3147 W. OLNEY AVE                        ¨ Contingent
         LAVEEN AZ 85339
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.913.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $308.98                 $308.98
         BURTON, TAYLOR
         6822 LYNDHURST DR.                       ¨ Contingent
         HOUSTON TX 77087
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.914.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $245.44                 $245.44
         BURTON, YASMINE N
         4830 WATERFORD CLUB XING                 ¨ Contingent
         #1621
         RALEIGH NC 27612                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 305 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 415 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.915.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $395.70                 $395.70
         BURUS, DANIELLE R
         503 EAST 16TH STREET                     ¨ Contingent
         MISHAWAKA IN 46544
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.916.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $183.80                 $183.80
         BURWELL, BRITTNEY
         9421 GARDEN CT.                          ¨ Contingent
         POTOMAC MD 20854
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.917.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,046.68               $2,046.68
         BURWELL, VENITA E
         3046 NE HOLLADAY ST                      ¨ Contingent
         206
         PORTLAND OR 97232                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 306 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 416 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.918.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $552.61                 $552.61
         BURZAWA, JESSICA C
         3814 NORTH PACIFIC AVE                   ¨ Contingent
         CHICAGO IL 60634
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.919.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $65.84                  $65.84
         BUSH, KELLI M
         5447 MIDDLETOWN OXFORD ROAD              ¨ Contingent
         MIDDLETOWN OH 45042
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.920.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $191.32                 $191.32
         BUSH, RYAN
         9202 MAPLEWAY RD                         ¨ Contingent
         RICHMOND VA 23229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 307 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 417 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.921.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,202.06               $2,202.06
         BUSTAMANTE, DEBBIE R
         7533 N FIRST STREET APT 104              ¨ Contingent
         FRESNO CA 93720
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.922.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $220.80                 $220.80
         BUSTAMANTE, JASMINNE
         1246 N FRIES AVE                         ¨ Contingent
         WILMINGTON CA 90744
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.923.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,387.71               $1,387.71
         BUSTAMANTE, JUANA L
         7814 BARBERTON DR                        ¨ Contingent
         HOUSTON TX 77036-6424
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 308 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 418 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.924.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $319.06                 $319.06
         BUSTILLOS, JOCELYN
         2000 CREEKMONT DRIVE                     ¨ Contingent
         MIDDLEBURG FL 32068
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.925.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,680.74               $1,680.74
         BUSTILLO-SILVA, BRITTANEY S
         4225 LARCHMONT ROAD                      ¨ Contingent
         332
         DURHAM NC 27707                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.926.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $94.28                  $94.28
         BUSTOS, CERVANTES GLORIA E
         1475 ALDER DR NE                         ¨ Contingent
         KEIZER OR 97303
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 309 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 419 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.927.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $199.92                 $199.92
         BUSTOS, LESLIE
         15731 STATE HIGHWAY 64 E                 ¨ Contingent
         TYLER TX 75707-5941
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.928.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $337.74                 $337.74
         BUTLER, AKILAH T
         142 HATTERAS LN                          ¨ Contingent
         SIMPSONVILLE SC 29680
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.929.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $336.02                 $336.02
         BUTLER, ASIA M
         9939 SHALE AVE                           ¨ Contingent
         CLEVELAND OH 44104
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 310 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 420 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.930.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $102.36                 $102.36
         BUTLER, DIAMOND L
         898 DAWN DR.                             ¨ Contingent
         MEMPHIS TN 38127
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.931.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $75.77                  $75.77
         BUTLER, KHADIJAH L
         1033 NORTH 7TH STREET                    ¨ Contingent
         4
         TERRE HAUTE IN 47807                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.932.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $144.06                 $144.06
         BUTLER, ROSHECIA
         11398 SPELLMAN RD                        ¨ Contingent
         GEISMAR LA 70734
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 311 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 421 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.933.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $268.52                 $268.52
         BUTLER, SHARONDA
         44 EASON DRIVE                           ¨ Contingent
         PHENIX AL 36869
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.934.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $141.13                 $141.13
         BUTLER, TAMIKA N
         191 HUTCHINGS FARM DR S                  ¨ Contingent
         O'FALLON MO 63368
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.935.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $194.11                 $194.11
         BYKOFSKY, SARIAH N
         151 FRONTENAC STREET                     ¨ Contingent
         HOWELL MI 48843
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 312 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 422 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.936.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $233.31                 $233.31
         BYNUM, ALLIE G
         4808 S WESTHAVEN DR.                     ¨ Contingent
         JACKSON MS 39209
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.937.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $147.54                 $147.54
         BYNUM, AMANDA R
         136 CEDAR STREET                         ¨ Contingent
         FLORENCE MS 39073
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.938.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $482.80                 $482.80
         BYRD, AISHA
         2342 W TOUHY AVE                         ¨ Contingent
         APT 2A
         CHICAGO IL 60645-5004                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 313 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 423 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.939.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $131.40                 $131.40
         BYRD, ALLYSON S
         118 WEMBLEY COURT                        ¨ Contingent
         FOLSOM CA 95630
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.940.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $60.71                  $60.71
         BYRD, DENA N
         9208 ALLISTAIR COURT                     ¨ Contingent
         HENRICO VA 23228
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.941.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $148.96                 $148.96
         BYRD, KANDY S
         1896 CLIFTON BRIDGE DR                   ¨ Contingent
         VIRGINIA BEACH VA 23456-7819
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 314 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 424 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.942.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $195.30                 $195.30
         BYRD, KELSEY L
         80 MICHELSON                             ¨ Contingent
         ROCHESTER HILLS MI 48307
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.943.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $206.76                 $206.76
         BYRD, KRISTIN R
         5532 FLORAL AVE                          ¨ Contingent
         JACKSONVILLE FL 32211
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.944.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $121.20                 $121.20
         BYRNE, CAITLYN M
         83 NEARWATER AVENUE                      ¨ Contingent
         MASSAPEQUA NY 11758
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 315 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 425 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.945.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,987.29               $1,987.29
         BYRNES, KAYLI
         6419 LONGDALE DRIVE                      ¨ Contingent
         NORTH HIGHLANDS CA 95660
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.946.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,912.22               $1,912.22
         BYRON, JASVELINE
         150-36 87TH ROAD                         ¨ Contingent
         BASEMENT
         JAMAICA NY 11432                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.947.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $9,177.06               $9,177.06
         CABALLERO. DENISE M.
         10347 CARIOCA COURT                      ¨ Contingent
         SAN DIEGO CA 92124
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 316 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 426 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.948.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,257.63               $1,257.63
         CABANAS, GISELLE
         5132 SAN GABRIEL PL                      ¨ Contingent
         4B
         PICO RIVERA CA 90660                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.949.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $192.30                 $192.30
         CABASSA, SHANICE
         4930 N WESTERN AVE                       ¨ Contingent
         CHICAGO IL 60625
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.950.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,486.49               $1,486.49
         CABRAL, MARIE
         1685 EL NIDO AVE                         ¨ Contingent
         PERRIS CA 92571-3700
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 317 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 427 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.951.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $116.28                 $116.28
         CABRAL, VIRGELICA
         39 LUPINE STREET                         ¨ Contingent
         PAWTUCKET RI 02860
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.952.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $590.04                 $590.04
         CABRERA, KENIA
         6651 S. WASHTENAW AVE.                   ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.953.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $225.36                 $225.36
         CABRERA, REYNA
         504 N GERTRUDE AVE                       ¨ Contingent
         STOCKTON CA 95215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 318 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 428 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.954.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $721.51                 $721.51
         CACERES, ALICIA M
         2034 NORTHLAND AVE                       ¨ Contingent
         NORTH PORT FL 34288
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.955.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $395.60                 $395.60
         CAHOUN, LAKENYAH
         266 OSBORNE TERRACE                      ¨ Contingent
         NEWARK NJ 07112
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.956.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,742.21               $2,742.21
         CAIN, DANIELLE
         2010 TILTON ROAD                         ¨ Contingent
         PORT ST LUCIE FL 34952
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 319 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 429 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.957.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $129.14                 $129.14
         CAIN, DOUQUONA
         3508 EDGEWOOD AVE.                       ¨ Contingent
         RICHMOND VA 23222
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.958.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $73.72                  $73.72
         CAIN, VICTORIA
         5476 BURNT KNOB ROAD                     ¨ Contingent
         MURFREESBORO TN 37129
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.959.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $630.72                 $630.72
         CAJTHAML, ZITA
         10631 NW 14TH ST                         ¨ Contingent
         APT 226
         PLANTATION FL 33322                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 320 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 430 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.960.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $62.32                  $62.32
         CALAMASA, MARIE BETH
         215 OLIVE AVE                            ¨ Contingent
         WAHIAWA HI 96786
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.961.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $5,587.61               $5,587.61
         CALDARELLI-MIMAS, DOREEN
         248 MALVERNE DR                          ¨ Contingent
         SYRACUSE NY 13208
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.962.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $218.88                 $218.88
         CALDERA, CLAUDIA M
         21123 ALBURTIS AVE                       ¨ Contingent
         LAKEWOOD CA 90715
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 321 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 431 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.963.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $224.99                 $224.99
         CALDERA, NOEMI
         520 DOWLEN RD.                           ¨ Contingent
         APT. #64
         BEAUMONT TX 77706                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.964.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $86.58                  $86.58
         CALDERA, SUZETTE V
         118 EAST 19TH ST                         ¨ Contingent
         SOUTH SIOUX CITY NE 67776
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.965.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $913.78                 $913.78
         CALDERO, DESTINY I
         479 FRONT STREET                         ¨ Contingent
         APT 4E
         HEMPSTEAD NY 11550                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 322 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 432 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.966.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $78.00                  $78.00
         CALDERON, BRIANNA A
         1839 APPLE TREE WAY                      ¨ Contingent
         SAN BERNARDINO CA 92408
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.967.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $66.60                  $66.60
         CALDERON, ISABEL
         8332 S. NEW ENGLAND                      ¨ Contingent
         BURBANK IL 60459
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.968.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $332.52                 $332.52
         CALDERON, KELLY
         76 WALTON AVE                            ¨ Contingent
         UNIONDALE NY 11553
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 323 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 433 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.969.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $667.77                 $667.77
         CALDERON, LUZAIDY
         997 MAIN AVENUE                          ¨ Contingent
         CLIFTON NJ 07011
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.970.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $156.77                 $156.77
         CALDERON, MELANIE V
         19730 CR 38                              ¨ Contingent
         GOSHEN IN 46526
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.971.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $295.32                 $295.32
         CALDERON, MELINA K
         5459 CYPRESS ROAD                        ¨ Contingent
         103
         OXNARD CA 93033                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 324 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 434 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.972.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $122.22                 $122.22
         CALDERON, MYA
         310 MONMOUTH AVE                         ¨ Contingent
         WEST DEPTFORD NJ 08086
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.973.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $47.22                  $47.22
         CALDERON-RODAS, SANDY J
         1826 UNION AVE SE                        ¨ Contingent
         GRAND RAPIDS MI 49507
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.974.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $109.95                 $109.95
         CALDWELL, KIERA D
         1400 N. LINCOLN ST.                      ¨ Contingent
         BLOOMINGTON IN 47408
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 325 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 435 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.975.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $439.50                 $439.50
         CALHOUN, DERRICKA T
         128 ASCOT WAY                            ¨ Contingent
         DAWSON GA 39842
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.976.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $94.67                  $94.67
         CALHOUN, JALISHIA N
         4320 SUNBEAM RD                          ¨ Contingent
         1220
         JACKSONVILLE FL 32257                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.977.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $557.27                 $557.27
         CALHOUN, KATHRYN
         245 SWISS DR                             ¨ Contingent
         CROWLEY TX 76036
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 326 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 436 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.978.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $55.08                  $55.08
         CALLAHAN, AMANDA S
         2 10 3RD ST WEST                         ¨ Contingent
         4212
         BRADENTON FL 34205                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.979.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $278.00                 $278.00
         CALLAHAN, COURTNEY L
         3001 HORIZON CT                          ¨ Contingent
         PLAINFIELD IL 60586-1709
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.980.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $5,248.62               $5,248.62
         CALLIGAN, STEPHANIE A
         1740 SE LA GRANT PKWY                    ¨ Contingent
         UNIT 31
         WAUKEE IA 50263                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 327 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 437 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.981.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,710.12               $2,710.12
         CALLIS, DANIELLE N
         51714 LESHAN DR                          ¨ Contingent
         CHESTERFIELD MI 48047
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.982.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $182.90                 $182.90
         CALO, MONICA
         KM0.9 CARR 848                           ¨ Contingent
         COND. PARQUE S
         TRUJILLO ALTO PR 00976-3010              ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.983.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $150.86                 $150.86
         CALUAG, NICAH R
         8025 VILLAGE DRIVE                       ¨ Contingent
         BEAUMONT TX 77713
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 328 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 438 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.984.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,645.19               $2,645.19
         CALVO, MARIBEL
         1403 HEMPSTEAD AVE                       ¨ Contingent
         PASADENA TX 77506-4119
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.985.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $130.05                 $130.05
         CAMACHO, CLAUDIA E
         9801 MEADOWGLEN LANE                     ¨ Contingent
         153
         HOUSTON TX 77042                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.986.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $723.67                 $723.67
         CAMACHO, MALDONADO CECILIA
         30 OAK PARK DR SW                        ¨ Contingent
         LAKEWOOD WA 98499
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 329 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 439 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.987.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $342.30                 $342.30
         CAMACHO, NICOLETTE K
         12008 97TH AVE                           ¨ Contingent
         APT 4A
         SOUTH RICHMOND HIL NY 11419              ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.988.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $208.23                 $208.23
         CAMACHO, VALERIA N
         251 W. 3RD ST                            ¨ Contingent
         ERIE PA 16507
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.989.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $669.94                 $669.94
         CAMACHO, VANESSA M
         1106 COLUMBIA PLACE                      ¨ Contingent
         LINDEN NJ 07036
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 330 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 440 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.990.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $96.77                  $96.77
         CAMARENA, SABRINA J
         2307 PEACOCK ST.                         ¨ Contingent
         DONNA TX 78537
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.991.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $38.06                  $38.06
         CAMARGO, OJEDA JOCELYN P
         664 JEFFERSON AVENUE                     ¨ Contingent
         ELIZABETH NJ 07201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.992.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $101.72                 $101.72
         CAMARILLO, NATALIE G
         3838 EAST 1ST                            ¨ Contingent
         FORT WORTH TX 76111
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 331 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 441 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.993.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $1,099.53               $1,099.53
         CAMARILLO-VENTURA, ERICA
         2401 4TH ST E                            ¨ Contingent
         BRADENTON FL 34208-3619
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.994.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $50.16                  $50.16
         CAMBRIA, JENNA R
         12 MILLGATE RD                           ¨ Contingent
         KINGSTON MA 02364
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.995.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $53.18                  $53.18
         CAMBRIDGE, DANIELLE M
         1500 S. ALEX RD.                         ¨ Contingent
         WEST CARROLLTON OH 45449
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 332 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 442 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.996.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $190.98                 $190.98
         CAMERON, ALYSSA R
         1211 S HORSEBACK CIRCLE                  ¨ Contingent
         WICHITA KS 67230
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.997.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $99.55                  $99.55
         CAMERON, KELSIE M
         86 HAVERHILL RD                          ¨ Contingent
         SALEM NH 03079-1206
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.998.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $182.37                 $182.37
         CAMP, MELISSA A
         1820 BARNES ROAD                         ¨ Contingent
         WALWORTH NY 14568
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 333 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 443 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.999.   Priority creditor’s name and mailing     As of the petition filing date, the claim    Total claim             Priority amount
         address                                  is:
                                                  Check all that apply.                        $2,375.66               $2,375.66
         CAMPANELLI, MEGAN E
         7 MANOR DRIVE                            ¨ Contingent
         ELMIRA NY 14903
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1000. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.76                 $143.76
         CAMPBELL, ALYSSA R
         812 SOUTH JOHNSON AVENUE                 ¨ Contingent
         EL CAJON CA 92020
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1001. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $60.00                  $60.00
         CAMPBELL, BRITTANY
         1645 MEADOW LARK LN                      ¨ Contingent
         TRACY CA 95376
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 334 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 444 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1002. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,468.80               $1,468.80
         CAMPBELL, JAVEN E
         170 BELMONT AVENUE                       ¨ Contingent
         BRIDGETON NJ 08302
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1003. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $113.25                 $113.25
         CAMPBELL, LARKEN O
         201 SOUTH STONEGATE DR                   ¨ Contingent
         MUNCIE IN 47304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1004. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $70.71                  $70.71
         CAMPBELL, SPENCER J
         1675 SOUTH QUINTERO WAY                  ¨ Contingent
         AURORA CO 80017
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 335 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 445 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1005. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $60.39                  $60.39
         CAMPHOR, JAYLA
         1133 EAGLESTRAIL                         ¨ Contingent
         1133
         HATTIESBURG MS 39406                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1006. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $92.40                  $92.40
         CAMPO, DENISE
         77 LOCKWOOD ROAD                         ¨ Contingent
         CORTLANDT MANOR NY 10567
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1007. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,954.57               $1,954.57
         CAMPO, RENEE
         1068 FIRETHORNE PASS                     ¨ Contingent
         CUMMING GA 30040
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 336 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 446 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1008. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $274.06                 $274.06
         CAMPOS, ABBEY L
         5446 KESTREL CT                          ¨ Contingent
         PUEBLO CO 81005
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1009. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,708.48               $1,708.48
         CAMPOS, ALEXANDRA M
         3215 SAYLERS CREEK                       ¨ Contingent
         SAN ANTONIO TX 78245
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1010. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $264.80                 $264.80
         CAMPOS, BRENDA M
         13935 BAY GARDENS DR.                    ¨ Contingent
         SUGAR LAND TX 77498
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 337 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 447 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1011. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.08                  $89.08
         CAMPOS, DIANA E
         5431 CAIRNLEIGH DR                       ¨ Contingent
         HOUSTON TX 77084
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1012. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $23.20                  $23.20
         CAMPOS, MARIE
         800 N LBJ DR                             ¨ Contingent
         APT#1031
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1013. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $137.04                 $137.04
         CAMPOS, NATALIA A
         389 ASHWOOD DRIVE                        ¨ Contingent
         SANTA ROSA CA 95407
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 338 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 448 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1014. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,035.10               $3,035.10
         CAMPSEN, JANELL A
         27384 CHARLOTTE ST                       ¨ Contingent
         LACOMBE LA 70445
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1015. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,444.69               $1,444.69
         CANAAN, KIARA M
         4186 SHILOH RIDGE TR                     ¨ Contingent
         KENNESAW GA 30144
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1016. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $115.54                 $115.54
         CANCINO, CLAUDIA
         1605 SAM HOUSTON DR                      ¨ Contingent
         602
         HARLINGEN TX 78550                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 339 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 449 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1017. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $376.08                 $376.08
         CANDEL, BRITTNEY C
         4886 SUMMER GROVE DR                     ¨ Contingent
         FAIRFIELD CA 94534
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1018. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $249.67                 $249.67
         CANINO, TATYANA A
         11 BELL COURT                            ¨ Contingent
         B-1
         EAST HARTFORD CT 06108                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1019. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $87.37                  $87.37
         CANLAS, NADINE J
         44 NORTH STAMFORD ROAD                   ¨ Contingent
         STAMFORD CT 06903
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 340 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 450 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1020. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $54.52                  $54.52
         CANNON, ALYSSA M
         4330 ELM GROVE LN.                       ¨ Contingent
         HOUSE SPRINGS MO 63051
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1021. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $167.80                 $167.80
         CANNON, JOHNISE
         5622 DUCKCREEK DR                        ¨ Contingent
         E
         GARLAND TX 75043                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1022. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $75.60                  $75.60
         CANO, CHRISTINA J
         106 STONE GATE                           ¨ Contingent
         JACKSONVILLE NC 28546
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 341 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 451 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1023. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $411.02                 $411.02
         CANO, ZAYDA A
         1653 RANCHO GRANDE EAST                  ¨ Contingent
         SAN BENITO TX 78586
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1024. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $251.51                 $251.51
         CANTE, ERICKA
         257 E 27 TH ST                           ¨ Contingent
         PATERSON NJ 07514
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1025. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $175.36                 $175.36
         CANTILLER, DEBBIE R
         1048 KAMEHAMEHA IV ROAD                  ¨ Contingent
         HONOLULU HI 96819
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 342 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 452 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1026. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $532.70                 $532.70
         CANTOS, MARIA
         21 HIGH STREET                           ¨ Contingent
         1
         NORWALK CT 06851                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1027. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $198.88                 $198.88
         CANTU, GUADALUPE
         9820 S KEELER AVE                        ¨ Contingent
         OAK LAWN IL 60453
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1028. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.99                  $81.99
         CANTWELL, KAILEY M
         5803 1ST AVE DR NW                       ¨ Contingent
         BRADENTON FL 34209
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 343 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 453 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1029. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $66.92                  $66.92
         CANTY, KIARA
         2031 VILLAGE VIEW CIRCLE                 ¨ Contingent
         204
         BELMONT NC 28012                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1030. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $128.77                 $128.77
         CAO, LINDA T
         13481 ZARTHAN AVE S                      ¨ Contingent
         SAVAGE MN 55378
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1031. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $852.45                 $852.45
         CAPEL, PATRICIA E
         89 PIMLICO DR.                           ¨ Contingent
         103
         CHARLES TOWN WV 25414                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 344 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 454 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1032. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $618.53                 $618.53
         CAPETILLO, GABRIELLA
         8115 RUSHING STREAM COURT                ¨ Contingent
         TOMBALL TX 77375
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1033. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.13                  $62.13
         CAPLINGER, HAILEY E
         936 MARRTOWN ROAD                        ¨ Contingent
         PARKERSBURG WV 26101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1034. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $77.58                  $77.58
         CAPPELLO, JAMERRI
         2507 NW 4TH CT                           ¨ Contingent
         BOYNTON BEACH FL 33426
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 345 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 455 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1035. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $227.18                 $227.18
         CARAVANO, DARA
         296 REGENTS CIRCLE                       ¨ Contingent
         MAYS LANDING NJ 08330
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1036. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $514.80                 $514.80
         CARAVEO, ALEXANDRA C
         2800 CARVER RD.                          ¨ Contingent
         MODESTO CA 95350
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1037. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,934.85               $4,934.85
         CARBALLO, JESSE
         512 AVALON LAKE RD                       ¨ Contingent
         DANBURY CT 06810-7363
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 346 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 456 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1038. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $253.46                 $253.46
         CARDELLIA, ANGELA R
         102 ELAINE AVE                           ¨ Contingent
         BLACKWOOD NJ 08012
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1039. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $523.61                 $523.61
         CARDENAS, ALEXIA G
         553 S LARCH AVE                          ¨ Contingent
         RIALTO CA 92376
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1040. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $124.99                 $124.99
         CARDENAS, AMERICA
         3128 ARISTOTLE AVE                       ¨ Contingent
         NORTH LAS VEGAS NV 89031
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 347 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 457 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1041. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $471.70                 $471.70
         CARDENAS, DAVINA M
         27 GAYWOOD DR                            ¨ Contingent
         OSSEO MN 55369
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1042. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,567.31               $3,567.31
         CARDENAS, JAKAIRA L
         17719 PLUMMER ST                         ¨ Contingent
         NORTHRIDGE CA 91325-2038
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1043. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $35.61                  $35.61
         CARDENAS, JEESICA A
         6655 JACKSON ROAD UNIT 256               ¨ Contingent
         ANN ARBOR MI 48103
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 348 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 458 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1044. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $172.68                 $172.68
         CARDENAS, SUSANA
         472 HOLDEN ST                            ¨ Contingent
         ARVIN CA 93203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1045. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $170.69                 $170.69
         CARDONA, ALEJANDRA P
         12328 ABBERTON CT.                       ¨ Contingent
         ORLANDO FL 32837
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1046. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $216.72                 $216.72
         CARDONICK, SARAH
         432 LAKEVIEW COURT                       ¨ Contingent
         FEASTERVILLE PA 19053
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 349 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 459 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1047. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $256.44                 $256.44
         CARDOSO, DARSHALLE
         9082 CLENDENEN WAY                       ¨ Contingent
         SACRAMENTO CA 95826
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1048. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,532.04               $1,532.04
         CAREY, ASHLEY P
         4360 EVANS ST                            ¨ Contingent
         WAYNE MI 48184
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1049. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $360.40                 $360.40
         CAREY, MADISON E
         1198 SADDLE CREEK DRIVE                  ¨ Contingent
         FORT WALTON BEACH FL 32547
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 350 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 460 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1050. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $491.28                 $491.28
         CARLIN, ISABELLA A
         76 WELTON DR                             ¨ Contingent
         PLYMOUTH MA 02360
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1051. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $498.52                 $498.52
         CARLSON, CASSANDRA M
         5402 WILBER AVENUE                       ¨ Contingent
         PARMA OH 44129
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1052. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $610.92                 $610.92
         CARLSON, ELIZABETH E
         1650 7TH STREET                          ¨ Contingent
         APARTMENT #209
         SAINT CLOUD MN 56304                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 351 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 461 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1053. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $300.36                 $300.36
         CARLSON, JASMINE S
         3525 18TH AVENUE SOUTH                   ¨ Contingent
         MINNEAPOLIS MN 55407
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1054. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $35.61                  $35.61
         CARLSON, JENNIFER A
         217 N WASHINGTON ST                      ¨ Contingent
         #4
         YPSILANTI MI 48197                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1055. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $242.80                 $242.80
         CARLSON, JORDAN
         207 NW 17TH ST APT 502                   ¨ Contingent
         GAINESVILLE FL 32603
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 352 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 462 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1056. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $108.96                 $108.96
         CARMENATTY, DORIS E
         9211 HILLCROFT DR                        ¨ Contingent
         RIVERVIEW FL 33578
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1057. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $602.51                 $602.51
         CARMENATTY, IVIS J
         2269 S CONWAY RD 901                     ¨ Contingent
         APT 3203
         ORLANDO FL 32812                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1058. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $93.80                  $93.80
         CARMODY, KENDALL
         402 WILLIAMSBURG RD                      ¨ Contingent
         UTICA NY 13502
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 353 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 463 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1059. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $502.48                 $502.48
         CARMON, ARIEL B
         101 SKYLINE DR                           ¨ Contingent
         MARTINDALE TX 78655
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1060. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.92                 $199.92
         CARMON, LARISSA
         6026 TULANE RD                           ¨ Contingent
         HORN LAKE MS 38637
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1061. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.20                 $104.20
         CARMONA, JULIETA
         827 MAPLE ST                             ¨ Contingent
         ROCKFORD IL 61101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 354 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 464 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1062. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $91.91                  $91.91
         CARMONA, LIMNI
         1931 GREENFIELD RD                       ¨ Contingent
         ADAMSTOWN MD 21710
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1063. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $168.84                 $168.84
         CARON, EMILY G
         137 HENRY ST                             ¨ Contingent
         UXBRIDGE MA 01569
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1064. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $35.70                  $35.70
         CARPENTER, AUSTIN T
         607 PUTNAM ST                            ¨ Contingent
         PARKERSBURG WV 26101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 355 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 465 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1065. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $158.10                 $158.10
         CARPENTER, KAYLEE P
         8116 ROSE PETAL DRIVE                    ¨ Contingent
         FLORENCE KY 41042
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1066. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $316.74                 $316.74
         CARR, ASHLEY M
         16 WINDING STAIR WAY                     ¨ Contingent
         O'FALLON MO 63368
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1067. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $218.29                 $218.29
         CARR, BRAYDESTINY K
         609 BRANSFORD RD.                        ¨ Contingent
         AUGUSTA GA 30909
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 356 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 466 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1068. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $42.50                  $42.50
         CARR, MAKAYLA A
         4941 TULIP GROVE LN                      ¨ Contingent
         NASHVILLE TN 37076
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1069. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $30.29                  $30.29
         CARR, MARISA J
         3709 SAN PABLO ROAD S                    ¨ Contingent
         1707
         JACKSONVILLE FL 32224                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1070. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $173.83                 $173.83
         CARRADINE, CORNESHA M
         363 W DISON                              ¨ Contingent
         MEMPHIS TN 38109
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 357 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 467 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1071. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.54                 $153.54
         CARRASCO, ALEJANDRA
         30 CEDAR AVE                             ¨ Contingent
         LAKE VILLA IL 60046
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1072. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $80.10                  $80.10
         CARRASQUILLO, ORTIZ JERRILLYS
         822 MAIN STREET                          ¨ Contingent
         UNIT 1
         MANCHESTER CT 06040                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1073. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $653.40                 $653.40
         CARRENO, MARIA C
         12063 ROYAL PALM BLVD                    ¨ Contingent
         CORAL SPRINGS FL 33065
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 358 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 468 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1074. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.74                  $32.74
         CARRERA, LAURA
         2566 TENNESSEE ST.                       ¨ Contingent
         APT 8111
         TALLAHASSEE FL 32304                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1075. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $706.02                 $706.02
         CARRICK, AMBER M
         8171 ROCKCREEK PLACE APT 3               ¨ Contingent
         CORDOVA TN 38016
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1076. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,341.80               $2,341.80
         CARRICO, MEGAN R
         2022 KEENE CIRCLE                        ¨ Contingent
         SPRING HILL TN 37174
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 359 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 469 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1077. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,494.67               $3,494.67
         CARRILLO, ANDREAN S
         8694 JAMESTOWN DR                        ¨ Contingent
         WINTER HAVEN FL 33884-4837
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1078. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.48                  $76.48
         CARRILLO, NICOLE M
         722 NORTH FRANKLIN ST                    ¨ Contingent
         LANCASTER PA 17602
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1079. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $214.92                 $214.92
         CARRILLO, ROSA A
         6027 BEAR AVE                            ¨ Contingent
         APT A
         HUNTINGTON PARK CA 90255                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 360 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 470 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1080. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $579.73                 $579.73
         CARRILLO, VERENICE Y
         4817 CREEKRIDGE PL.                      ¨ Contingent
         GARLAND TX 75043
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1081. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $38.24                  $38.24
         CARRION, JESSICA M
         133 PRATTS BRANCH RD                     ¨ Contingent
         FELTON DE 19943
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1082. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $194.40                 $194.40
         CARROLL, AMBER N
         108 LAURIE LN.                           ¨ Contingent
         RUSSELLVILLE KY 42276
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 361 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 471 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1083. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $606.84                 $606.84
         CARROW, TONI
         8239 GARBOR AVE                          ¨ Contingent
         WARREN MI 48093
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1084. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.63                  $32.63
         CARSON, INDYA
         618 MALTESE DRIVE                        ¨ Contingent
         ATLANTA GA 30349
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1085. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $356.96                 $356.96
         CARTAGENA, EMELY
         505 RUSSELL STREET                       ¨ Contingent
         NEW HAVEN CT 06513
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 362 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 472 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1086. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $192.81                 $192.81
         CARTAGENA, MARIELYS
         340 WEST CENTER ST                       ¨ Contingent
         ELMIRA NY 14901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1087. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,320.60               $1,320.60
         CARTER, CANDICE
         6010 WINSTON TRACE                       ¨ Contingent
         MCDONOUGH GA 30252
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1088. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $22.20                  $22.20
         CARTER, CARLENA
         1828 RUSHING WOOD DR. NW                 ¨ Contingent
         MADISON AL 35757
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 363 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 473 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1089. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $187.48                 $187.48
         CARTER, KAHLA
         3403 ADAMS ST.                           ¨ Contingent
         BELLWOOD IL 60104
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1090. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,216.81               $1,216.81
         CARTER, KATHRYN S
         250 BEARTOWN ROAD                        ¨ Contingent
         PAINTED POST NY 14870
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1091. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,165.28               $1,165.28
         CARTER, KIRSTEN
         608 INSPIRATION DRIVE                    ¨ Contingent
         LIBERTY HILL TX 78642
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 364 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 474 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1092. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $139.60                 $139.60
         CARTER, KOLA S
         15303 WESTLAND GATE DRIVE                ¨ Contingent
         CONROE TX 77384
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1093. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $315.84                 $315.84
         CARTER, STEPHANIE J
         99 CHERRY STREET                         ¨ Contingent
         MALDEN MA 02148
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1094. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $70.56                  $70.56
         CARTER, TIKIA S
         34 SPRINGVALE RD                         ¨ Contingent
         BISHOPVILLE SC 29010
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 365 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 475 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1095. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $212.04                 $212.04
         CARTER, TONIMARIE A
         836 TANGLEWOOD RD                        ¨ Contingent
         WEST ISLIP NY 11795
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1096. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,784.74               $3,784.74
         CARVER, SAVANNAH R
         239 CRESTWOOD DR                         ¨ Contingent
         NEW WHITELAND IN 46184
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1097. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $452.30                 $452.30
         CARY, KYEAIRRE C
         144 NORMAN ROAD                          ¨ Contingent
         1L
         NEWARK NJ 07106                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 366 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 476 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1098. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $392.23                 $392.23
         CASADY, TARA L
         7913 E 60TH ST                           ¨ Contingent
         92-005
         TULSA OK 74145                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1099. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $145.38                 $145.38
         CASAGRANDE, GABRIELLE
         618 PROSPECT AVENUE                      ¨ Contingent
         BROOKLYN NY 11215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1100. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $55.10                  $55.10
         CASANOVA, ANGELA M
         2137HIDDEN VALLEY DRIVE                  ¨ Contingent
         CROW POINT IN 46307
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 367 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 477 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1101. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $95.10                  $95.10
         CASAREZ, LESLY
         5943 SAIL LOFT CIR.                      ¨ Contingent
         SAN ANTONIO TX 78242
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1102. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $55.00                  $55.00
         CASARIN, EMILY
         932 MITCHELL RD.                         ¨ Contingent
         HOUSTON TX 77037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1103. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $77.52                  $77.52
         CASAS, KIARA
         561 WILSON ST.                           ¨ Contingent
         WATERBURY CT 06708
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 368 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 478 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1104. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $843.06                 $843.06
         CASAS-SALAS, STEPHANIE
         3006 WEBER ST.                           ¨ Contingent
         FORT WORTH TX 76106
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1105. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $288.16                 $288.16
         CASE, KAYLIN N
         406 WOOD DUCK DR                         ¨ Contingent
         GRAND JUNCTION CO 81504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1106. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,168.04               $1,168.04
         CASEY, HALEY
         291 POPLAR POINT LN                      ¨ Contingent
         RICKMAN TN 38580
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 369 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 479 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1107. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $46.45                  $46.45
         CASEY, RENAE E
         3221 ILLINOIS                            ¨ Contingent
         MIDDLETOWN OH 45042
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1108. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.88                 $122.88
         CASIANO, MARTINEZ GABRIELA
         499 W NIAGARA CIRCLE                     ¨ Contingent
         GRAND JUNCTION CO 81501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1109. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $136.17                 $136.17
         CASILLA, ASHLEY
         222 BRADLEY AVENUE                       ¨ Contingent
         8-5A
         WATERBURY CT 06708                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 370 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 480 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1110. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $30.07                  $30.07
         CASONI, ALYSSA
         4885 EFFINGHAM PLACE                     ¨ Contingent
         DAYTON OH 45431
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1111. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.66                 $199.66
         CASS, LEXIE J
         2114 LAKE VIEW RIDGE DRIVE NE            ¨ Contingent
         SOLON IA 52333
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1112. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $596.95                 $596.95
         CASSIDY, CHELSEA S
         300 STONY POINT RD.                      ¨ Contingent
         #198
         SANTA ROSA CA 95401                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 371 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 481 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1113. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $39.41                  $39.41
         CASSIDY, MACKENZIE
         12760 IRONSTONE WAY #103                 ¨ Contingent
         PARKER CO 80134
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1114. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.32                  $32.32
         CASTANEDA, ALYSSA
         9817 CRISTINA DR                         ¨ Contingent
         RIVERVIEW FL 33569
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1115. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $175.24                 $175.24
         CASTANEDA, ELIZER C
         2608 RICHARDS AVE                        ¨ Contingent
         HAMMONTON NJ 08037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 372 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 482 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1116. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $74.76                  $74.76
         CASTANEDA, GIOMAR
         13442 REINDEER ST                        ¨ Contingent
         MORENO VALLEY CA 92553
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1117. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $83.04                  $83.04
         CASTANEDA, KARLA J
         1604 KENT PL                             ¨ Contingent
         25
         ROSEVILLE CA 95661                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1118. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $486.18                 $486.18
         CASTANEDA, MITZY Y
         2809 E. CHIPMAN RD                       ¨ Contingent
         PHOENIX AZ 85040
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 373 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 483 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1119. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,708.02               $2,708.02
         CASTANEDA, MYRA E
         3937 SPENCER ST                          ¨ Contingent
         APT 112
         LAS VEGAS NV 89119                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1120. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,665.32               $1,665.32
         CASTANEDA, XIMENA
         3949 PALM AVE                            ¨ Contingent
         SAN DIEGO CA 92154-1737
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1121. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $311.28                 $311.28
         CASTANON, LIZETTE
         772 ANDERSON STREET                      ¨ Contingent
         SAN FRANCISCO CA 94110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 374 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 484 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1122. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $263.12                 $263.12
         CASTEEL, COURTNEY P
         14340 S LAGRANGE RD                      ¨ Contingent
         2
         ORLAND PARK IL 60462                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1123. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $187.22                 $187.22
         CASTEEL, LIBERTY J
         1010 WORTHINGTON SPRING DR               ¨ Contingent
         MELBOURNE FL 32940
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1124. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $110.11                 $110.11
         CASTELAN, NUBIA J
         5535 W EDDY                              ¨ Contingent
         CHICAGO IL 60641
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 375 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 485 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1125. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $209.63                 $209.63
         CASTELLANOS, GISSELLE
         6507 VASQUEZ. ST                         ¨ Contingent
         PHARR TX 78577
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1126. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $938.70                 $938.70
         CASTELLON, RUTH E
         7311 LAVA ROCK CIR                       ¨ Contingent
         APT 101
         MANASSAS VA 20111                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1127. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $461.10                 $461.10
         CASTILLO, ALEJANDRA L
         7590 S CARLISLE AVE                      ¨ Contingent
         TUCSON AZ 85746
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 376 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 486 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1128. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,860.29               $1,860.29
         CASTILLO, ERICA
         123 EAST 92ND STREET                     ¨ Contingent
         B20
         BROOKLYN NY 11212                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1129. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.26                  $89.26
         CASTILLO, ERIKA
         555 AVENUE C                             ¨ Contingent
         MERCEDES TX 78570
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1130. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,365.49               $1,365.49
         CASTILLO, LIZBETH
         36 HOXEY ST                              ¨ Contingent
         2
         PATERSON NJ 07501                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 377 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 487 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1131. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $431.98                 $431.98
         CASTILLO, NATALIE
         13263 SW 258 TERRACE                     ¨ Contingent
         HOMESTEAD FL 33032
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1132. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $318.12                 $318.12
         CASTILLO, SARAI R
         29021 BOUQUET CANYON ROAD                ¨ Contingent
         #230
         SANTA CLARITA CA 91390                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1133. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $254.82                 $254.82
         CASTILLO, YESENIA L
         1316 N. CONRAD AVE                       ¨ Contingent
         SARASOTA FL 34237
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 378 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 488 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1134. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $245.48                 $245.48
         CASTLE, MARIAH J
         1725 SOUTHWIND DRIVE                     ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1135. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $152.82                 $152.82
         CASTORENA, MAGALI L
         3509 ELLER AVE                           ¨ Contingent
         FORT SMITH AR 72904-2519
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1136. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $616.04                 $616.04
         CASTORENA, MARLINA H
         992 GRANT AVE.                           ¨ Contingent
         COLTON CA 92324
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 379 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 489 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1137. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $60.18                  $60.18
         CASTREJON, JULISSA
         98-450 KOAUKA LOOP APT 1907              ¨ Contingent
         1907
         AIEA HI 96701                            ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1138. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.55                 $104.55
         CASTRILLON, LAURY A
         5161 SASSARI AVENUE                      ¨ Contingent
         SAINT CLOUD FL 34771
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1139. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,610.30               $3,610.30
         CASTRO, ALINA Y
         5215 BELMONT AVE                         ¨ Contingent
         #2201
         DALLAS TX 75206                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 380 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 490 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1140. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $83.04                  $83.04
         CASTRO, DAPHNEY
         4065 CORNELIA WAY                        ¨ Contingent
         NORTH HIGHLANDS CA 95660
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1141. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $658.36                 $658.36
         CASTRO, GERALDINE S
         130 E 25 STREET                          ¨ Contingent
         APT 5
         PATERSON NJ 07514                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1142. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.00                 $121.00
         CASTRO, YAZMIN
         3758 W 64 TH ST                          ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 381 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 491 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1143. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $858.37                 $858.37
         CASWELL, JESSICA
         936 80TH STREET                          ¨ Contingent
         NIAGARA FALLS NY 14304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1144. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,733.78               $1,733.78
         CATLETT, LISA
         1967 CAMINO LANE                         ¨ Contingent
         HILLIARD OH 43026
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1145. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,028.61               $2,028.61
         CATO, LAUREN
         115 HARTWICK ST                          ¨ Contingent
         SPRINGFIELD MA 01108-3549
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 382 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 492 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1146. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $78.98                  $78.98
         CATRETT, GABRIELLA
         6166 LEESBURG PIKE                       ¨ Contingent
         APT. C304
         FALLS CHURCH VA 22044                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1147. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $115.86                 $115.86
         CAUDILL, CASSIDY K
         401 E STATE ST.                          ¨ Contingent
         PENDLETON IN 46064
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1148. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,760.56               $2,760.56
         CAUDILL, HEATHER M
         45 CENTRAL AVE                           ¨ Contingent
         SPRING CITY PA 19475
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 383 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 493 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1149. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.98                 $153.98
         CAWALING, BEA TRIZIA P
         5408 ANGUS DRIVE                         ¨ Contingent
         VIRGINIA BEACH VA 23464
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1150. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $189.27                 $189.27
         CAZARES, GABRIELLE R
         3600 CRB 2170                            ¨ Contingent
         STANTON TX 79782
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1151. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,443.48               $1,443.48
         CAZIMERO, DARCEY T
         98-080 UAO PLACE                         ¨ Contingent
         C3
         AIEA HI 96701                            ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 384 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 494 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1152. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.35                  $89.35
         CEASOR, ANDREA S
         193 FAIRFIELD AVE                        ¨ Contingent
         TONAWANDA NY 14223-2847
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1153. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $141.57                 $141.57
         CECIL, SOPHIA L
         6820 BUICK DR                            ¨ Contingent
         INDIANAPOLIS IN 46214
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1154. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,516.48               $3,516.48
         CEDANO, NATHALY
         12320 DEL RIO CT                         ¨ Contingent
         NORWALK CA 90650
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 385 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 495 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1155. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $181.91                 $181.91
         CEDANO, NICHOLE M
         431 CAPERS DR.                           ¨ Contingent
         LADSON SC 29456
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1156. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $100.78                 $100.78
         CEDILLO, ALEXIS
         9806 VILLA DR                            ¨ Contingent
         MERCEDES TX 78570
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1157. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $131.58                 $131.58
         CENICACELAYA, EMMA V
         402 DAVID COURT                          ¨ Contingent
         BEL AIR MD 21015
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 386 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 496 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1158. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $341.39                 $341.39
         CENORD, QUEENY
         18 FLETCHER ROAD APT E                   ¨ Contingent
         MONSEY NY 10952
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1159. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,232.90               $3,232.90
         CENTENO, JESMARIE
         744 CLIMATE DR.                          ¨ Contingent
         BRANDON FL 335511
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1160. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.26                  $89.26
         CERNEJ-GARCIA, KIMBERLY T
         2347 SHADOWOOD DR.                       ¨ Contingent
         ANN ARBOR MI 48108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 387 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 497 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1161. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $287.54                 $287.54
         CERRILLO, TAPIA JANAHI
         8725 19TH STREET RD.                     ¨ Contingent
         GREELEY CO 80634
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1162. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,097.35               $2,097.35
         CERRITOS, GLORIA S
         24686 MERIT CT                           ¨ Contingent
         MORENO VALLEY CA 92553-5107
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1163. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $125.32                 $125.32
         CERVANTES, ELIZABETH
         1629 SANDGLASS AVE                       ¨ Contingent
         LAS VEGAS NV 89032
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 388 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 498 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1164. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $120.23                 $120.23
         CERVANTES, JENNIFER
         418 BISHOP ST                            ¨ Contingent
         HOUSTON TX 77009
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1165. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $341.70                 $341.70
         CERVANTES, LABRADA KARINA
         597 9TH STREET                           ¨ Contingent
         APT 9
         RICHMOND CA 94801                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1166. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $129.21                 $129.21
         CERVANTES, LOPEZ LILIANA S
         123 DETCHON CT                           ¨ Contingent
         LAFAYETTE IN 47909
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 389 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 499 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1167. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $645.97                 $645.97
         CERVANTES, SUSANA
         349 BRONSON WAY NE                       ¨ Contingent
         RENTON WA 98056
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1168. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $356.40                 $356.40
         CERVANTES, VALDIVIA DIANA
         600 FOURTH AVE                           ¨ Contingent
         SAN BRUNO CA 94066
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1169. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $547.30                 $547.30
         CERVANTES, YESENIA
         10215 HEDRICK AVE                        ¨ Contingent
         RIVERSIDE CA 92503
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 390 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 500 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1170. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $431.64                 $431.64
         CESPEDES, CRUZ EMELY R
         501 SOUTH 8TH ST                         ¨ Contingent
         LINDENHURST NY 11757
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1171. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,433.61               $1,433.61
         CHACON, CRYSTAL S
         1100 BRONCO LANE                         ¨ Contingent
         SPRINGDALE AR 72762
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1172. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $160.49                 $160.49
         CHACON, ELIDA D
         962 REMINGTON DRIVE                      ¨ Contingent
         A
         SPRINGDALE AR 72764                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 391 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 501 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1173. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $147.12                 $147.12
         CHACON, PATRICIA
         9345 RAMON BLVD                          ¨ Contingent
         H
         ROSEMEAD CA 91770                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1174. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $732.87                 $732.87
         CHAET, BRITTANY R
         1243 SOUTH OLIVE STREET                  ¨ Contingent
         624
         LOS ANGELES AR 90015                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1175. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $34.63                  $34.63
         CHAFFINS, REBECCA
         715 WEST MARKET ST                       ¨ Contingent
         APT 301
         AKRON OH 44303                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 392 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 502 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1176. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $37.26                  $37.26
         CHAHA-GUERRERO, RUTH A
         252 E MENOMONEE ST.                      ¨ Contingent
         519
         MILWAUKEE WI 53202                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1177. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $229.80                 $229.80
         CHAMALBIDE, MARIAH
         3525 WEST CHERRY AVE                     ¨ Contingent
         VISALIA CA 93277
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1178. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $117.75                 $117.75
         CHAMBERS, LIRHON L
         PO BOX 54                                ¨ Contingent
         OLIVER GA 30449
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 393 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 503 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1179. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.20                  $32.20
         CHAMBERS, RAVEN Z
         742 SEA WILLOW DRIVE                     ¨ Contingent
         MARION TX 78124
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1180. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,238.51               $1,238.51
         CHAN, CERA
         1324 N 36TH ST                           ¨ Contingent
         APT. 3
         SEATTLE WA 98103                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1181. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $117.90                 $117.90
         CHANDLER, AUNDREYA
         3759 WHEELER AVE                         ¨ Contingent
         LOUISVILLE KY 40215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 394 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 504 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1182. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,851.08               $2,851.08
         CHANDLER, ROSITA
         1325 COMFREY LEAF DR                     ¨ Contingent
         BEAUMONT CA 92223
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1183. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $227.78                 $227.78
         CHANEY, APRIL L
         1210 ELMIRA ST.                          ¨ Contingent
         MOBLE AL 36604
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1184. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $73.37                  $73.37
         CHANEY, MARILYNN A
         3329 GRAYDON DR                          ¨ Contingent
         CATTLETSBURG KY 41129
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 395 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 505 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1185. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $144.48                 $144.48
         CHANG, CAILYN J
         15062 RICE CIRCLE                        ¨ Contingent
         HUNTINGTON BEACH CA 92647
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1186. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $108.24                 $108.24
         CHANG, LESLEY
         1365 HAZELWOOD ST                        ¨ Contingent
         ST PAUL MN 55106
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1187. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $78.16                  $78.16
         CHAPA, GINA G
         5092 HONEYSUCKLE AVENUE                  ¨ Contingent
         PORTAGE IN 46368
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 396 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 506 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1188. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $34.98                  $34.98
         CHAPARRO, GISELLE C
         3607 W. LUPINE AVE                       ¨ Contingent
         PHOENIX AZ 85029
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1189. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $456.90                 $456.90
         CHAPIN, ALEXA L
         1120 NEELY AVE                           ¨ Contingent
         MUNCIE IN 47303
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1190. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $579.98                 $579.98
         CHAPMAN, ASHLEE A
         1972 GOLDFINCH WAY                       ¨ Contingent
         MANTECA CA 95337
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 397 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 507 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1191. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $248.97                 $248.97
         CHAPMAN, DAMONYE'
         3019 BRANTLEY RD                         ¨ Contingent
         BUENA VISTA GA 31803
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1192. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.73                 $143.73
         CHAPMAN, DANIELLE
         3205 NW 83 ST                            ¨ Contingent
         423
         GAINESVILLE FL 32606                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1193. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $182.04                 $182.04
         CHAPPELL, EMONNI M
         28 MILLICENT AVE                         ¨ Contingent
         BUFFALO NY 14215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 398 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 508 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1194. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.84                 $104.84
         CHARLES, TYQUANNA
         2674 HOLLYBROOK DRIVE                    ¨ Contingent
         MOBILE AL 36605
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1195. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $106.06                 $106.06
         CHARMANT, NIOMI M
         1505 LINDSEY DRIVE                       ¨ Contingent
         COPPERAS COVE TX 76522
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1196. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $264.41                 $264.41
         CHARQUENO, LISA M
         9712 N.E. 2ND PL                         ¨ Contingent
         OKLAHOMA CITY OK 73127
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 399 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 509 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1197. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $108.53                 $108.53
         CHARRIEZ, KEISHLA
         CALLE 9 263 URB. JARDINES DE T           ¨ Contingent
         TOA ALTA PR 00953
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1198. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $156.60                 $156.60
         CHARTIER, SAMANTHA M
         30 WALES RD                              ¨ Contingent
         MONSON MA 01057
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1199. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $311.14                 $311.14
         CHASE, CHEYANNE N
         19461 JENA DRIVE                         ¨ Contingent
         NOBLESVILLE IN 46062
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 400 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 510 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1200. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $579.15                 $579.15
         CHASE, TORIE
         1319 GLENWOOD COURT                      ¨ Contingent
         FREMONT NE 68025
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1201. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $267.26                 $267.26
         CHATMAN, ABBY M
         11 CONESTOGA CT                          ¨ Contingent
         OFALLON MO 63368
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1202. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,760.96               $1,760.96
         CHATMAN, CIERRA A
         532 A PORT GIBSON ST                     ¨ Contingent
         RAYMOND MS 39154
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 401 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 511 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1203. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,174.24               $1,174.24
         CHATMAN, SHANTERIA T
         1905 PALOMINO CT                         ¨ Contingent
         MACON GA 31220
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1204. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $115.64                 $115.64
         CHATMON, LAURA E
         464 ROCKY CREEK RD                       ¨ Contingent
         HAMPTON GA 30228
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1205. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $340.16                 $340.16
         CHATTANOOGA CITY TREASURER
         PO BOX 191                               ¨ Contingent
         CHATTANOOGA TN 37401-0191
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 402 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 512 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1206. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $534.60                 $534.60
         CHAUDHRY, MARIUM H
         5453 EAST 71ST ST                        ¨ Contingent
         144
         TULSA OK 74136                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1207. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $77.18                  $77.18
         CHAVARRIA, VERONICA P
         711 FM 1959 RD                           ¨ Contingent
         505
         HOUSTON TX 77034                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1208. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $331.65                 $331.65
         CHAVEZ, ANA C
         730 ALWIN DR.                            ¨ Contingent
         DIXON CA 95620
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 403 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 513 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1209. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $162.45                 $162.45
         CHAVEZ, ANDREA G
         7761 LOS GATOS DRIVE                     ¨ Contingent
         DALLAS TX 75232
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1210. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $649.46                 $649.46
         CHAVEZ, BRENDA J
         17413 HORST AVE                          ¨ Contingent
         ARTESIA CA 90701
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1211. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.19                 $143.19
         CHAVEZ, BRIANNA N
         167 MORSE PL 1ST FLOOR                   ¨ Contingent
         A
         ENGLEWOOD NJ 07631                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 404 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 514 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1212. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $127.80                 $127.80
         CHAVEZ, DAISY D
         4300 SNAPDRAGON LN                       ¨ Contingent
         BAKERSFIELD CA 93304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1213. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $285.55                 $285.55
         CHAVEZ, ELISA A
         2708 ANDREA LANE                         ¨ Contingent
         DALLAS TX 75228
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1214. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $102.79                 $102.79
         CHAVEZ, ISAMARY
         1334 PROGRESO DR                         ¨ Contingent
         HOUSTON TX 77038
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 405 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 515 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1215. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.68                 $199.68
         CHAVEZ, JR JORGE
         373 NORTH 13TH STREET                    ¨ Contingent
         APT. #23
         BRAWLEY CA 92227                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1216. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $142.07                 $142.07
         CHAVEZ, LINA
         10636 HANSELMAN RD                       ¨ Contingent
         MANVEL TX 77578-5537
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1217. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $34.80                  $34.80
         CHAVEZ, MELINA D
         12200 SE MCLOUGHLIN BLVD APT 7           ¨ Contingent
         APT 7102
         MILWAUKIE OR 97222                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 406 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 516 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1218. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $40.43                  $40.43
         CHAVEZ, PERLA C
         726 N HAYES                              ¨ Contingent
         AMARILLO TX 79107
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1219. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $627.52                 $627.52
         CHAVEZ, VELIA A
         329 CALLE MARIPOSA                       ¨ Contingent
         OCEANSIDE CA 92057
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1220. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $232.40                 $232.40
         CHAVEZ, YERALI S
         10810 TELEPHONE RD #302                  ¨ Contingent
         HOUSTON TX 77075
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 407 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 517 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1221. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.58                 $121.58
         CHEJIN, ANNA M
         162 SEASIDE AVE                          ¨ Contingent
         STAMFORD CT 06902
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1222. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $86.80                  $86.80
         CHERBONNEAU, KAYLEE A
         34 WILLOW ST APT 2                       ¨ Contingent
         NASHUA NH 03060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1223. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $491.87                 $491.87
         CHERNOSKE, NICOLE
         17882 W VALENTINE ST                     ¨ Contingent
         SURPRISE AZ 85388-5015
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 408 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 518 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1224. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $447.30                 $447.30
         CHEUNG, SHAINA J
         89-11 GOLD ROAD                          ¨ Contingent
         OZONE PARK NY 11417
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1225. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $74.01                  $74.01
         CHEVEZ, VANESSA M
         2440 ROCKY BROOK ST                      ¨ Contingent
         NORTH LAS VEGAS NV 89030
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1226. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $212.76                 $212.76
         CHIA, VALERIE L
         1701 E COTATI AVE #502                   ¨ Contingent
         ROHNER PARK CA 94928
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 409 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 519 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1227. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $135.19                 $135.19
         CHICO, ELIZABETH
         1031 S STEWART ST.                       ¨ Contingent
         E1217
         MESA AZ 85202                            ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1228. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $499.43                 $499.43
         CHIMAL, EMMA R
         352 N LEXINGTON AVE                      ¨ Contingent
         LE CENTER MN 56057
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1229. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $119.64                 $119.64
         CHIMENTI, SOPHIA
         15 GARDEN LANE                           ¨ Contingent
         YAPHANK NY 11980
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 410 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 520 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1230. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $111.60                 $111.60
         CHING, MARINA
         84 CARPENTER ST                          ¨ Contingent
         ATTLEBORO MA 02703
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1231. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.76                  $76.76
         CHINO, MELISSA
         25 ELIZABETH ROAD                        ¨ Contingent
         MERIDEN CT 06450
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1232. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $47.64                  $47.64
         CHISHOLM, ALEXIA
         18 OLIVIA STREET                         ¨ Contingent
         WYANDANCH NY 11798
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 411 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 521 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1233. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $197.87                 $197.87
         CHISHOLM, BEVERLY Y
         111 EAST MELL STREET                     ¨ Contingent
         APT 15
         POOLER GA 31322                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1234. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $127.80                 $127.80
         CHISHOLM, TAMARI M
         7600 SHOREFRONT PARKWAY                  ¨ Contingent
         5O
         ARVERNE NY NY 11692                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1235. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $172.48                 $172.48
         CHITMAN, CHANTAL S
         8100 PINES RD APT 26D                    ¨ Contingent
         SHREVEPORT LA 71129
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 412 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 522 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1236. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,389.02               $3,389.02
         CHITTAPHONG, PENNY
         41 SUFFOLK DRIVE                         ¨ Contingent
         EAST HARTFORD CT 06118
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1237. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,008.23               $4,008.23
         CHO, JESSICA
         1037 HOWELL PL APT 303                   ¨ Contingent
         AURORA IL 60505
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1238. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $112.23                 $112.23
         CHOI, WONSEOK
         201 PINEY POINT RD                       ¨ Contingent
         YORKTOWN VA 23692
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 413 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 523 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1239. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,248.50               $4,248.50
         CHONG, SHARON C
         111 BIGLER DRIVE                         ¨ Contingent
         WILLIAMSBURG VA 23185
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1240. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $191.47                 $191.47
         CHOPPY, ALEXANDRIA M
         276 OLD LOUDON RD                        ¨ Contingent
         APT 12A
         LATHAM NY 12110                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1241. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $226.68                 $226.68
         CHOUM, MALA
         2108 SW 5TH ST                           ¨ Contingent
         BATTLEGROUND WA 98604
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 414 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 524 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1242. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $636.33                 $636.33
         CHOY, PORSHA
         1721 E. 42ND ST.                         ¨ Contingent
         TACOMA WA 98404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1243. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,602.05               $2,602.05
         CHRIS, JASMIN J
         4423 DEEBOYAR AVE                        ¨ Contingent
         LAKEWOOD CA 90712
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1244. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $758.45                 $758.45
         CHRISTEN, LILLIAN P
         507 SMILEY AVENUE                        ¨ Contingent
         SPRINGDALE OH 45246
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 415 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 525 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1245. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $206.42                 $206.42
         CHRISTENSEN, LOGAN G
         2040 BRYN MAWR DR.                       ¨ Contingent
         AURORA IL 60506
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1246. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $87.75                  $87.75
         CHRISTIAN, ELEANORE R
         2906 WASHBURN AVE N                      ¨ Contingent
         MINNEAPOLIS MN 55411
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1247. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,129.53               $3,129.53
         CHRISTIAN, TEMEKIA W
         6229 THOMASTON RD APT 1308               ¨ Contingent
         MACON GA 31220
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 416 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 526 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1248. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $103.49                 $103.49
         CHUM, SAMNOUN
         110 FORD ST                              ¨ Contingent
         APT1
         PROVIDENCE RI 02909                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1249. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $160.45                 $160.45
         CHUN, TIERI V
         2125 ALA MAHAMOE ST.                     ¨ Contingent
         HONOLULU HI 96819
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1250. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $236.76                 $236.76
         CHUQUITAYPE, JANICE
         1 NEW YORK AVENUE                        ¨ Contingent
         WHITE PLAINS NY 10606
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 417 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 527 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1251. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $408.18                 $408.18
         CHURCH, GABRIELLA L
         85 OEHMAN BLVD                           ¨ Contingent
         CHEEKTOWAGA NY 14225-2117
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1252. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,594.56               $2,594.56
         CIGNA, ALEXIS N
         25 WARWICK DR                            ¨ Contingent
         MANALAPAN NJ 07726-3638
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1253. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $129.30                 $129.30
         CILIBERTI, DESTINY M
         440 BROOKLYN AVENUE                      ¨ Contingent
         APT 4F
         BROOKLYN NY 11225                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 418 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 528 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1254. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.51                 $122.51
         CIMMINO, NAOMI
         8582 BELLER COURT                        ¨ Contingent
         DARIEN IL 60561
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1255. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $562.32                 $562.32
         CISNEROS, ADILENE
         567 S K ST                               ¨ Contingent
         SAN BERNARDINO CA 92410
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1256. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $41.25                  $41.25
         CISNEROS, JENNIFER
         1407 N. 37TH AVE.                        ¨ Contingent
         PHOENIX AZ 85009
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 419 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 529 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1257. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $279.84                 $279.84
         CISNEROS, TANAIRI M
         6952 S. FAIRFIELD                        ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1258. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,919.44               $4,919.44
         CITY & COUNTY OF BROOMFIELD
         KIM PFEIFER                              ¨ Contingent
         P.O. BOX 407
         BROOMFIELD CO 80038-0407                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1259. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,800.00               $1,800.00
         CITY OF BATON ROUGE
         DEPT OF FINANCE-REVENUE DIV              ¨ Contingent
         P.O. BOX 2590
         BATON ROUGE LA 70821-2590                ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 420 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 530 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1260. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $472.40                 $472.40
         CITY OF BELLINGHAM
         210 LOTTIE STREET                        ¨ Contingent
         BELLINGHAM WA 98225
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1261. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $191.45                 $191.45
         CITY OF BURBANK
         LICENSE AND CODE SERVICES                ¨ Contingent
         P.O. BOX 6459
         BURBANK CA 91510-6459                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1262. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $920.17                 $920.17
         CITY OF DEARBORN
         DEPT 3102 PO BOX 30516                   ¨ Contingent
         LANSING MI 48909-8016
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 421 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 531 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1263. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $791.34                 $791.34
         CITY OF GARLAND
         CAROL CLARK, RTA                         ¨ Contingent
         P.O. BOX 462010
         GARLAND TX 75046-2010                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1264. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $573.15                 $573.15
         CITY OF KENTWOOD
         PO BOX 8848                              ¨ Contingent
         KENTWOOD MI 49518-8848
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1265. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $689.25                 $689.25
         CITY OF KNOXVILLE
         PROPERTY TAX OFFICE                      ¨ Contingent
         P.O. BOX 15001
         KNOXVILLE TN 37901-5001                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 422 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 532 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1266. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,000.97               $1,000.97
         CITY OF MCALLEN TAX OFFICE
         REBECCA M. GRINES, RTA/RTC               ¨ Contingent
         PO BOX 220-311 NORTH 15TH
         MCALLEN TX 78505-0220                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1267. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.00                 $107.00
         CITY OF MURFREESBORO
         P.O. BOX 1139                            ¨ Contingent
         MURFREESBORO TN 37133-1139
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1268. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $771.73                 $771.73
         CITY OF NOVI
         DRAWER 67                                ¨ Contingent
         P.O. BOX 33321
         DETROIT MI 48232-5321                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 423 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 533 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1269. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $75.00                  $75.00
         CITY OF OCALA BUSINESS TAX
         201 SE 3RD STREET 2ND FLOOR              ¨ Contingent
         OCALA FL 34471
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1270. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $9,290.00               $9,290.00
         CITY OF PHILADELPHIA - DEPARTMENT
         OF REVENUE                               ¨ Contingent
         PO BOX 1393
         PHILADELPHIA PA 19105-1393               ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         01/29/17-02/03/18                        TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number: 6584
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1271. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,680.00               $5,680.00
         CITY OF PHILADELPHIA - DEPARTMENT
         OF REVENUE                               ¨ Contingent
         PO BOX 1393
         PHILADELPHIA PA 19105-1393               ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         02/04/18-02/02/19                        TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number: 6584
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 424 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 534 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1272. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $320.00                 $320.00
         CITY OF POOLER
         100 SOUTHWEST HIGHWAY 80                 ¨ Contingent
         POOLER GA 31322
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1273. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $283.08                 $283.08
         CITY OF PORTAGE
         TREASURY OFFICE                          ¨ Contingent
         7900 S WESTNEDGE AVE
         PORTAGE MI 49002-5117                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1274. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $357.61                 $357.61
         CITY OF SANTA ROSA
         C/O MUNISERVICES LLC                     ¨ Contingent
         P.O. BOX 1556
         SANTA ROSA CA 95402                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 425 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 535 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1275. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,011.00               $1,011.00
         CITY OF SAVANNAH REVENUE DEPT
         132 E. BROUGHTON STREET                  ¨ Contingent
         P.O. BOX 1228
         SAVANNAH GA 31402-1228                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1276. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,450.00               $1,450.00
         CITY OF SHREVEPORT REVENUE DIV
         CITY OF SHREVEPORT REVENUE DIV           ¨ Contingent
         P.O.BOX 30040
         SHREVEPORT LA 71130-0040                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1277. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $173.49                 $173.49
         CITY OF TAUNTON
         PO BOX 4160                              ¨ Contingent
         WOBURN MA 01888
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 426 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 536 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1278. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $433.13                 $433.13
         CITY OF TAYLOR
         PO BOX 335                               ¨ Contingent
         TAYLOR MI 48180-0335
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1279. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $550.93                 $550.93
         CITY OF WESTLAND
         P.O. BOX 554887                          ¨ Contingent
         DETROIT MI 48255-4881
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1280. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $989.42                 $989.42
         CITY OF WESTOVER
         500 DUPONT RD                            ¨ Contingent
         WESTOVER WV 26501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 427 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 537 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1281. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $545.22                 $545.22
         CITY TREASURER TAX &
         CITY OF TACOMA TAX & LICENSE             ¨ Contingent
         P.O. BOX 11640
         TACOMA WA 98411-6640                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1282. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $87.56                  $87.56
         CLAPHAM, MALEYA Y
         20019 NOB OAK AVE                        ¨ Contingent
         TAMPA FL 33647
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1283. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $9.79                   $9.79
         CLARK, ALEIA J
         4955 CENTURY ST NW                       ¨ Contingent
         614
         HUNTSVILLE AL 35816                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 428 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 538 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1284. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $201.33                 $201.33
         CLARK, CHYLIE
         204 NW END BLVD                          ¨ Contingent
         CAPE GIRARDEAU MO 63701
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1285. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $264.82                 $264.82
         CLARK, DANIELLE J
         9922 PAXTON RUN ROAD                     ¨ Contingent
         CHARLOTTE NC 28277
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1286. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $362.16                 $362.16
         CLARK, ELISABETH
         3691 REGENT LANE                         ¨ Contingent
         WANTAGH NY 11793
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 429 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 539 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1287. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $30.14                  $30.14
         CLARK, KAYLA M
         5640 HENDERSON OAKS DR.                  ¨ Contingent
         CHARLOTTE NC 28269
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1288. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $116.83                 $116.83
         CLARK, KAYLAH P
         5375 SEYMOUR RD                          ¨ Contingent
         SWARTZ CREEK MI 48473
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1289. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $68.40                  $68.40
         CLARK, KEITH E
         1325 IRIS AVE                            ¨ Contingent
         IMPERIAL BEACH CA 91932
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 430 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 540 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1290. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,781.31               $2,781.31
         CLARK, LATASHA
         P.O.BOX 2734                             ¨ Contingent
         SILVER SPRING MD 20915
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1291. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $97.75                  $97.75
         CLARK, MESSIAH
         9051 APT.H AVEBURY DRIVE                 ¨ Contingent
         CHARLOTTE NC 28213
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1292. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $127.67                 $127.67
         CLARK, NIA A
         8 BRANDLE LN                             ¨ Contingent
         SAVANNAH GA 31405
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 431 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 541 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1293. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $849.14                 $849.14
         CLARK, REAGAN R
         27224 WOODGLEN LANE                      ¨ Contingent
         MORENO VALLEY CA 92555
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1294. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $220.80                 $220.80
         CLARK, SABRINA I
         150 RIPLEY ST                            ¨ Contingent
         CAMARILLO CA 93010
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1295. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,580.80               $1,580.80
         CLARK, SERENA
         20 MULBERRY ST.                          ¨ Contingent
         APT D
         CLEAR SPRING MD 21722-1972               ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 432 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 542 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1296. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $455.82                 $455.82
         CLARK, TASHAWNDA
         21 MONTICELLO CV                         ¨ Contingent
         JACKSON TN 38305
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1297. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $19.21                  $19.21
         CLARKE, BROOKE A
         4377 BROOKGLEN ST.                       ¨ Contingent
         MOORPARK CA 93021
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1298. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,574.70               $4,574.70
         CLARKE, EMILY F
         130 RAVINE DR APT 16B                    ¨ Contingent
         MATAWAN NJ 07747
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 433 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 543 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1299. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $323.50                 $323.50
         CLARKE, KENDALL R
         13028 VEON DRIVE                         ¨ Contingent
         FISHERS IN 46038
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1300. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $142.65                 $142.65
         CLARKE, KIMBERLY J
         905 E 226TH STREET                       ¨ Contingent
         APT. 2
         BRONX NY 10466                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1301. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,897.65               $2,897.65
         CLARKE, NATASHA M
         23 HAZELTON STREET                       ¨ Contingent
         APT 2
         BOSTON MA 02126                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 434 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 544 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1302. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $375.00                 $375.00
         CLARKSVILLE CITY
         PO BOX 928                               ¨ Contingent
         CLARKSVILLE TN 37041-0928
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1303. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $73.44                  $73.44
         CLAUNCH, KRISTEN M
         5995 DANDRIDGE LANE                      ¨ Contingent
         160
         SAN DIEGO CA 92115                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1304. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $53.07                  $53.07
         CLAVIER, CLAUDIA L
         114 KENDRICK DR                          ¨ Contingent
         SLIDELL LA 70461
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 435 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 545 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1305. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $136.73                 $136.73
         CLAYTON, AMY M
         1183 COTTONWOOD DR                       ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1306. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.38                 $122.38
         CLEAVES, SYMONE C
         6927 BISHOPS KNOLL COVE                  ¨ Contingent
         BARTLETT TN 38135
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1307. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $227.76                 $227.76
         CLECKNER, ELIZABETH A
         20918 NANTICOKE RD                       ¨ Contingent
         BIVALVE MD 21814
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 436 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 546 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1308. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $235.91                 $235.91
         CLEGG, SIERRA
         1414 S SMITH RD                          ¨ Contingent
         URBANA IL 61802-4750
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1309. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $386.00                 $386.00
         CLEMENT, JORDAN J
         1036 W 39TH ST                           ¨ Contingent
         310
         NORFOLK VA 23508                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1310. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.36                 $164.36
         CLEVELAND, JHAZZLIN J
         249 ABERDEEN CT.                         ¨ Contingent
         FLUSHING MI 48433
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 437 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 547 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1311. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $237.78                 $237.78
         CLINE, ALAURA D
         250 POSSUM VALLEY RD                     ¨ Contingent
         MAYNARDVILLE TN 37807
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1312. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $663.22                 $663.22
         CLINGER, TEA K
         126 CLIFF MITCHELL RD                    ¨ Contingent
         PICAYUNE MS 39466
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1313. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,222.34               $3,222.34
         CLOUD, BRANDI M
         738 ATLANTIS RD                          ¨ Contingent
         PALM BAY FL 32909
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 438 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 548 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1314. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $536.98                 $536.98
         COATES, NYKIA
         12765 VIA POSADA WAY                     ¨ Contingent
         VICTORVILLE CA 92392
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1315. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $176.52                 $176.52
         COBARRUBIO, SABRINA E
         6469 VIA DEL PRADO                       ¨ Contingent
         CHINO HILLS CA 91709
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1316. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $130.21                 $130.21
         COBBS, JADA L
         944 D OAK CREEK CR                       ¨ Contingent
         DOUGLASVILLE GA 30134
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 439 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 549 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1317. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $101.73                 $101.73
         COBURN, EMILY M
         80 STOCK OPTION ST.                      ¨ Contingent
         UNIT 3
         HENDERSON NV 89074                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1318. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.81                  $89.81
         COEFIELD, MONET
         69 BIRCH DR.                             ¨ Contingent
         LEVITTOWN PA 19054
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1319. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $80.71                  $80.71
         COFER, COURTNEY R
         3140 SHELLHART RD.                       ¨ Contingent
         NORTON OH 44203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 440 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 550 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1320. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $92.94                  $92.94
         COFFEE, KAITLYN M
         2380 SPRINGWOOD LANE LAUREL HA           ¨ Contingent
         109A
         FAIRBORN OH 45324                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1321. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.45                 $122.45
         COFFEY, MORGAN T
         95 SAUNOOKE LANE                         ¨ Contingent
         SUITE B9 447
         MARBLE NC 28905                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1322. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,259.63               $1,259.63
         COFFIEL, MAYKALA D
         10271 BROWNE ST                          ¨ Contingent
         OMAHA NE 68134-2519
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 441 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 551 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1323. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $592.44                 $592.44
         COHEN, ALYSSA R
         4317 JUDSON AVE.                         ¨ Contingent
         5
         ROYAL OAK MI 48073                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1324. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.10                 $143.10
         COHEN, KELLY A
         539 OVINGTON AVE                         ¨ Contingent
         APT A6
         BROOKLYN NY 11209                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1325. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,777.60               $2,777.60
         COKELEY, KASEY
         2790 STRATFORD LN SW #3134               ¨ Contingent
         TUMWATER WA 98512
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 442 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 552 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1326. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $277.32                 $277.32
         COLANTUONO, ANNA J
         2815 PALM AVE                            ¨ Contingent
         A
         SAN DIEGO CA 92154                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1327. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $21.53                  $21.53
         COLATO, BLANCA L
         18 CALLA STREET                          ¨ Contingent
         1
         PROVIDENCE RI 02905                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1328. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $187.50                 $187.50
         COLBERT, DONNA
         16315 RAPIDCREEK DR.                     ¨ Contingent
         HOUSTON TX 77053
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 443 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 553 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1329. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $125.40                 $125.40
         COLBERT, FRANITA M
         2430 W PRAIRIE ST                        ¨ Contingent
         UNIT 3
         DENTON TX 76201                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1330. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $144.93                 $144.93
         COLE, ALEYSHA L
         2452 KNIGHTWAY DRIVE                     ¨ Contingent
         GRETNA LA 70056
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1331. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,910.90               $2,910.90
         COLE, CHAVONA B
         103 TORI CT                              ¨ Contingent
         CARENCRO LA 70520-6427
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 444 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 554 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1332. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $381.70                 $381.70
         COLE, DOMINICK L
         9445 E 39TH PL                           ¨ Contingent
         TULSA OK 74145
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1333. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,180.95               $1,180.95
         COLE, MEGAN
         5897 S KINGS HWY LOT 103                 ¨ Contingent
         MYRTLE BEACH SC 29575
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1334. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $18.23                  $18.23
         COLE, OLIVIA
         44301 W BUCKHORN TRAIL                   ¨ Contingent
         MARICOPA AZ 85138
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 445 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 555 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1335. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,703.05               $2,703.05
         COLE, SARAH E
         3601 NW HILL RD                          ¨ Contingent
         MCMINNVILLE OR 97128
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1336. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $10.09                  $10.09
         COLE, TAYLER J
         4005 CLOVER RIDGE COURT                  ¨ Contingent
         TOLEDO OH 43623
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1337. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $78.36                  $78.36
         COLEMAN, ALEXIS E
         36211 JACKSON ST                         ¨ Contingent
         36211 JACKSON
         NEW BALTIMORE MI 48047                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 446 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 556 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1338. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $159.95                 $159.95
         COLEMAN, AMANDA P
         255 COUNTY ROUTE 68                      ¨ Contingent
         SARATOGA SPRINGS NY 12866
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1339. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $126.40                 $126.40
         COLEMAN, ANGELIQUE J
         1712 BROOKFIELD ST                       ¨ Contingent
         RICHMOND VA 23222
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1340. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $166.70                 $166.70
         COLEMAN, CASEY A
         1303 WOODCREST DR.                       ¨ Contingent
         HAMPTON VA 23669
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 447 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 557 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1341. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $63.36                  $63.36
         COLEMAN, CHELSIE J
         1054 EAST BROADWATER ROAD                ¨ Contingent
         BYRAM MS 39272
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1342. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,159.52               $3,159.52
         COLEMAN, GAYLEN D
         6321 N. KLAMM RD APT 345                 ¨ Contingent
         KANSAS CITY MO 64151
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1343. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,297.12               $1,297.12
         COLEMAN, HANA M
         104 CEDARCREST AVE                       ¨ Contingent
         PLEASANTVILLE NJ 08232
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 448 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 558 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1344. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.99                 $199.99
         COLEMAN, KALIE M
         321 S HIGHLANDER WAY APT 14              ¨ Contingent
         HOWELL MI 48843
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1345. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $615.78                 $615.78
         COLEMAN, KELLI M
         6210 DESERT ROSE                         ¨ Contingent
         NEW BRAUNFELS TX 78132
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1346. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.65                  $32.65
         COLEMAN, KENNEDI B
         3500 S 74TH ST                           ¨ Contingent
         4I
         FORT SMITH AR 72903                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 449 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 559 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1347. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $270.33                 $270.33
         COLEMAN, KIRA L
         510 SOUTH SMYLIE STREET                  ¨ Contingent
         BROOKHAVEN MS 39601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1348. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,008.32               $4,008.32
         COLEMAN, MARIEANNETTE
         24103 AYSCOUGH LN                        ¨ Contingent
         KATY TX 77493-3452
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1349. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $256.21                 $256.21
         COLEMAN, PAULA J
         109 WINDMERE COVE                        ¨ Contingent
         PADUCAH KY 42001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 450 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 560 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1350. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $186.96                 $186.96
         COLES, CHLOE
         46379 CABIN CT.                          ¨ Contingent
         TEMECULA CA 92592
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1351. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.08                 $121.08
         COLLAZO, CRISTIAN O
         BO. TALANTE                              ¨ Contingent
         SECTOR GARCIA
         MAUNABO PR 00707                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1352. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $224.67                 $224.67
         COLLAZO, LILA M
         257 RAMO DRIVE                           ¨ Contingent
         ROCHESTER NY 14606
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 451 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 561 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1353. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $45.53                  $45.53
         COLLEY, OLIVIA R
         20316 COUNTRY SIDE DRIVE                 ¨ Contingent
         MACOMB MI 48044
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1354. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $516.71                 $516.71
         COLLIER, ALEXANDRA T
         408 PINECREST CIRCLE                     ¨ Contingent
         LONG BEACH MS 39560
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1355. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $46.11                  $46.11
         COLLIER, LANITTA
         2400 EAST NIFONG BLVD                    ¨ Contingent
         1007
         COLUMBIA MO 65201                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 452 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 562 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1356. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $28.89                  $28.89
         COLLINGTON, TAIYANNA
         12 C GRANADA ST                          ¨ Contingent
         ASHEVILLE NC 28806
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1357. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $190.51                 $190.51
         COLLINS, ALEXIS C
         59 CARSON                                ¨ Contingent
         IRVINE CA 92620
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1358. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $416.78                 $416.78
         COLLINS, HALEY
         711 SE FOREST GLEN RD.                   ¨ Contingent
         ESTACADA OR 97023
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 453 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 563 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1359. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $66.17                  $66.17
         COLLINS, KATHERINE K
         1670 KAYLA LN                            ¨ Contingent
         #1D
         WAUKEGAN IL 60087                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1360. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $598.40                 $598.40
         COLLINS, KIANTE K
         408 ABNER RD APT C8                      ¨ Contingent
         APT C8
         SPARTANBURG SC 29301                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1361. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $196.56                 $196.56
         COLLINS, LATOIA S
         840 W. ALMA AVE                          ¨ Contingent
         FLINT MI 48505
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 454 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 564 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1362. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $286.96                 $286.96
         COLLINS, RYAN L
         305 SIMPSON ST                           ¨ Contingent
         205
         ASHEVILLE NC 28803-2709                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1363. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $154.13                 $154.13
         COLLINS, TIFFANY D
         2839 MAPLETON AVE                        ¨ Contingent
         NORFOLK VA 23504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1364. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $75.24                  $75.24
         COLLINS. SHAKIRA
         411 110TH ST CT E                        ¨ Contingent
         D 101
         TACOMA WA 98445                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 455 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 565 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1365. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $300.74                 $300.74
         COLLYMORE-BEY, SHAQUEYA M
         1 FERRUZZA DRIVE                         ¨ Contingent
         CHESTNUT RIDGE NY 10977
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1366. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $768.00                 $768.00
         COLMAR, CHRISTY
         11000 GULF BLVD.                         ¨ Contingent
         #1503
         TREASURE ISLAND FL 33706                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1367. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $149.55                 $149.55
         COLON, ELIJAH
         91 WELDON ST                             ¨ Contingent
         APT 2
         BROOKLYN NY 11208-2824                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 456 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 566 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1368. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $44.40                  $44.40
         COLON, GABRIELLE
         603 EAST 23RD STREET                     ¨ Contingent
         GREELEY CO 80631
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1369. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.64                  $62.64
         COLON, MARIA T
         26 HEALEY ST                             ¨ Contingent
         SPRINGFIELD MA 01151
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1370. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $99.96                  $99.96
         COLON, NAJABI L
         39 KEENE STREET                          ¨ Contingent
         NEW BEDFORD MA 02740
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 457 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 567 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1371. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $136.65                 $136.65
         COLQUIT, RAEVYN O
         571 WILSON ST                            ¨ Contingent
         WATERBURY CT 06708
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1372. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $146.85                 $146.85
         COLSTON, TEANA L
         411 PARKWAY BLVD                         ¨ Contingent
         ELIZABETHTON TN 37643
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1373. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,760.97               $5,760.97
         COMAL COUNTY TAX OFFICE
         P.O.BOX 659480                           ¨ Contingent
         SAN ANTONIO TX 78265-9480
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 458 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 568 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1374. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $179.04                 $179.04
         CONCEPCION, CALLIA D
         1255 SUMNER AVE                          ¨ Contingent
         EL CAJON CA 92021
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1375. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $323.40                 $323.40
         CONCEPCION, SHANIA S
         3562 WEST ST                             ¨ Contingent
         LEMON GROVE CA 91945
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1376. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $94.05                  $94.05
         CONDE, COLBY
         1050 S. TERRACE RD                       ¨ Contingent
         TEMPE AZ 85281
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 459 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 569 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1377. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $359.04                 $359.04
         CONE, SOPHIA L
         105 STONECREEK COURT                     ¨ Contingent
         EAST PEORIA IL 61611
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1378. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $760.00                 $760.00
         CONERLY, ARIEL L
         POBOX 118                                ¨ Contingent
         KOKOMO MS 39643
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1379. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,760.97               $2,760.97
         CONLON, ABBEY R
         18 MARGARET AVENUE                       ¨ Contingent
         ARCHBALD PA 18403
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 460 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 570 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1380. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $133.55                 $133.55
         CONLY, TAURA C
         1020 GARDEN WOODS DR.                    ¨ Contingent
         HOOVER AL 35244
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1381. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $33.08                  $33.08
         CONNER, BRITTANY M
         13225 AQUEDUCT DR.                       ¨ Contingent
         APT 2
         NEWPORT NEWS VA 23602                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1382. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $38.93                  $38.93
         CONNER, HALEY M
         146 HORSESHOE DRIVE                      ¨ Contingent
         FREEPORT PA 16229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 461 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 571 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1383. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $42.72                  $42.72
         CONNER, TERI A
         7910 CITRUS GARDEN                       ¨ Contingent
         TAMPA FL 33625
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1384. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.99                  $32.99
         CONNOR, OLIVIA J
         3726 COLD CREEK DR                       ¨ Contingent
         VALRICO FL 33596
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1385. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $99.10                  $99.10
         CONNOR, TRACI M
         7428 CUMBERLAND CIRCLE                   ¨ Contingent
         FLORENCE KY 41042
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 462 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 572 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1386. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $152.30                 $152.30
         CONRAD-FULLER, MAIA L
         3113 SOUTHWOOD DR                        ¨ Contingent
         HIGHLAND VILLAGE TX 75077
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1387. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $392.88                 $392.88
         CONTI, HALEY B
         3016 HOME STREET                         ¨ Contingent
         WANTAGH NY 11793
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1388. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $150.31                 $150.31
         CONTRERAS, ABIGAIL
         917 WILSON CT                            ¨ Contingent
         ZION IL 60099
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 463 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 573 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1389. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $126.88                 $126.88
         CONTRERAS, ALEXANDRIA
         1006 LEE AVENUE                          ¨ Contingent
         BRYAN TX 77803
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1390. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.41                  $32.41
         CONTRERAS, CHAVEZ ROSVELIA
         883 COLLIER STREET                       ¨ Contingent
         INDIANAPOLIS IN 46241
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1391. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $28.89                  $28.89
         CONTRERAS, LEXUS M
         923 W AIRY ST                            ¨ Contingent
         NORRISTOWN PA 19401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 464 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 574 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1392. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,490.80               $1,490.80
         CONTRERAS, VALERIA
         7803 VILLA CLIFF DR                      ¨ Contingent
         # 3-107
         DALLAS TX 75228-6316                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1393. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $151.20                 $151.20
         CONTRERAS-ACOSTA, PAULINA
         2571 DOLE STREET                         ¨ Contingent
         LEHUA 1007
         HONOLULU HI 96822                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1394. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $657.75                 $657.75
         CONWAY, CAITLIN J
         1919 HISTORIC DECATUR ROAD               ¨ Contingent
         SAN DIEGO CA 92106
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 465 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 575 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1395. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,187.68               $1,187.68
         CONWAY, SAMANTHA J
         310 E MAIN CROSS ST                      ¨ Contingent
         EDINBURGH IN 46124
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1396. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $73.35                  $73.35
         COOK, CARLISSA S
         9831 LAWING SCHOOL ROAD                  ¨ Contingent
         CHARLOTTE NC 28214
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1397. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $726.18                 $726.18
         COOK, LADONNA M
         3795 JAG LANE                            ¨ Contingent
         OSAGE BEACH MO 65065
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 466 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 576 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1398. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $101.57                 $101.57
         COOKE, HAHN F
         5248 KELLOGG CREEK TRAIL                 ¨ Contingent
         APT 202
         OOLTEWAH TN 37363                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1399. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $211.54                 $211.54
         COOKS, SHERTORA J
         5621 AMHERST ST                          ¨ Contingent
         LUBBOCK TX 79416
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1400. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $538.13                 $538.13
         COONCE, BROOKLYN R
         302 GOLFVIEW DRIVE                       ¨ Contingent
         PLEASANT HILL MO 64080
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 467 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 577 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1401. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.14                 $104.14
         COOPER, ALISHA
         2130 WHISPERING PINES BLVD               ¨ Contingent
         UNIT 5
         NAVARRE FL 32566                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1402. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,557.48               $2,557.48
         COOPER, ANISSA M
         226 COLETON DR                           ¨ Contingent
         COPPERAS COVE TX 76522
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1403. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $83.08                  $83.08
         COOPER, BRIANNA M
         5238 MAYMONT DRIVE                       ¨ Contingent
         LOS ANGELES CA 90043
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 468 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 578 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1404. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $230.10                 $230.10
         COOPER, DIARA
         352 ELM AVE                              ¨ Contingent
         MAPLE SHADE NJ 08052
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1405. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $102.52                 $102.52
         COOPER, GINA M
         216 CARL PERKINS DR.                     ¨ Contingent
         APT. 6D
         ASHLAND KY 41101                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1406. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,237.69               $1,237.69
         COOPER, ISIS L
         7101 WILSON BLVD                         ¨ Contingent
         APT 2306
         JACKSONVILLE FL 32210                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 469 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 579 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1407. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $700.94                 $700.94
         COOPER, STEPHANIE T
         1387 OLD ALABAMA RD                      ¨ Contingent
         MABLETA GA 30126
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1408. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $157.60                 $157.60
         COPE, KESIA L
         89 BELLEVUE ST.                          ¨ Contingent
         APT A
         WINOOSKI VT 05404                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1409. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,004.06               $4,004.06
         COPELAND, JERIKA N
         137 WESTVIEW BLVD                        ¨ Contingent
         SPARTANBURG SC 29306
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 470 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 580 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1410. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $228.59                 $228.59
         COPELAND, RACHEL M
         8061 NORA LN                             ¨ Contingent
         SHERWOOD AR 72120
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1411. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $7,498.40               $7,498.40
         COPPOLA, ASHLEY
         167 PINEBROOK RD                         ¨ Contingent
         MANALAPAN NJ 07726
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1412. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $124.34                 $124.34
         CORBETT, GABRIELE
         2826 BALLENTINE BLVD                     ¨ Contingent
         NORFOLK VA 23509
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 471 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 581 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1413. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $428.93                 $428.93
         CORBIN, DIAMOND-JE'SHAW J
         10075 GATE PARKWAY                       ¨ Contingent
         UNIT 2012
         JACKSONVILLE FL 32246                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1414. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $374.64                 $374.64
         CORDERO, EDWINA
         5252 BRIGHTSIDE VIEW DRIVE               ¨ Contingent
         UNIT 1
         BATON ROUGE LA 70820                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1415. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $135.24                 $135.24
         CORDERO, LARITZA
         3721 MAHOGANY ST                         ¨ Contingent
         SACRAMENTO CA 95838
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 472 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 582 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1416. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,057.63               $5,057.63
         CORDERO, ROCHELLE
         URB. DOS PINOS                           ¨ Contingent
         779 CALLE DIAN
         SAN JUAN PR 00923                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1417. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $494.91                 $494.91
         CORDOBA, ZUMAYA MONSERRAT
         4413 128TH ST E                          ¨ Contingent
         TACOMA WA 98446
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1418. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $288.48                 $288.48
         CORDOVA, ANAHI
         2851 W SUMMERDALE                        ¨ Contingent
         2E
         CHICAGO IL 60625                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 473 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 583 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1419. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,403.35               $3,403.35
         CORDOVA, ELLEN F
         2902 W WOODLAWN AVE                      ¨ Contingent
         BOISE ID 83702
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1420. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $213.84                 $213.84
         CORDOVA, INGRID Y
         58 2ND PL                                ¨ Contingent
         CENTRAL ISLIP NY 11722
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1421. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $350.36                 $350.36
         CORDOVA, LILIA R
         949 CLOPPER ROAD                         ¨ Contingent
         APT. T4
         GAITHERSBURG MD 20878                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 474 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 584 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1422. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $566.42                 $566.42
         CORDREY-SHORT, KAILEY S
         205 VALLEY MEADOWS DR                    ¨ Contingent
         CHEHALIS WA 98532
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1423. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $44.32                  $44.32
         CORIA, CONSTANZA
         6457 BRICE DALE DR                       ¨ Contingent
         CANAL WINCHESTER OH 43110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1424. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $126.12                 $126.12
         CORIO, ARIANA
         6107 MEADOWVIEW AVE APT 1L               ¨ Contingent
         NORTH BERGEN NJ 07047
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 475 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 585 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1425. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,452.48               $1,452.48
         CORLEY, ROBIN K
         7392 W TIERRA BUENA LN                   ¨ Contingent
         PEORIA AZ 85382
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1426. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $441.22                 $441.22
         CORNETT, LAURA M
         1123 MORRISETT AVENUE                    ¨ Contingent
         JEFFERSON CITY TN 37760
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1427. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,144.77               $2,144.77
         CORON, SONYA L
         211 GRAND AVE                            ¨ Contingent
         GRAND JUNCTION CO 81501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 476 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 586 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1428. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $682.75                 $682.75
         CORONADO, FATIMA
         4205 SE 17TH. AVE                        ¨ Contingent
         AMARILLO TX 79104
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1429. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $329.40                 $329.40
         CORONADO, VIVIAN L
         14 STARLING COURT                        ¨ Contingent
         HENRICO VA 23229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1430. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $325.80                 $325.80
         CORONADO, WINTER L
         342 DALE STREET                          ¨ Contingent
         APT 12
         PERRIS CA 92571                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 477 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 587 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1431. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $210.90                 $210.90
         CORONEL, TATIANA K
         4111 52ND ST W                           ¨ Contingent
         BRADENTON FL 34209-6735
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1432. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $140.44                 $140.44
         CORPENING, SHELBY
         9000 ARCADIA ROAD                        ¨ Contingent
         PENSACOLA FL 32534
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1433. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $72.37                  $72.37
         CORREA, ANDREA D
         723 N. MACDONALD ST.                     ¨ Contingent
         MESA AZ 85201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 478 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 588 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1434. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $180.72                 $180.72
         CORREA, ASHLY N
         39 PERRY AVENUE APT 2R                   ¨ Contingent
         39 PERRY AVENU
         WORCESTER MA 01610                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1435. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $0.00                   $0.00
         CORREA, KARINA A
         13 HILLOCK AVE                           ¨ Contingent
         HAWTHORNE NJ 07506
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1436. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $171.43                 $171.43
         CORREA, KARINA A
         13 HILLOCK AVE                           ¨ Contingent
         HAWTHORNE NJ 07506
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 479 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 589 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1437. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $97.50                  $97.50
         CORREA, NATASHA
         2410 S KIRKWOOD RD                       ¨ Contingent
         APT 182
         HOUSTON TX 77077                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1438. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $211.20                 $211.20
         CORREA, SOLIS KITZIA P
         204 W SAN YSIDRO BLVD                    ¨ Contingent
         46
         SAN YSIDRO CA 92173                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1439. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $243.24                 $243.24
         CORREA-BALTAZAR, ALYSSA K
         2017 SHERMAN DRIVE                       ¨ Contingent
         UNION CITY CA 94587
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 480 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 590 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1440. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $210.04                 $210.04
         CORSINO, LIZBETH M
         2029 RAPER DAIRY RD                      ¨ Contingent
         2029
         ORLANDO FL 32822                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1441. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $269.88                 $269.88
         CORTEL, MICHELLE A
         3246 MEADOW CREEK LANE                   ¨ Contingent
         ESCONDIDO CA 92027
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1442. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $59.02                  $59.02
         CORTES, CHARNELLIS E
         CALLE ARECIBO APT12                      ¨ Contingent
         HATO REY PR 00917
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 481 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 591 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1443. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.76                 $122.76
         CORTES, ELIZABETH
         6305 W. GROSS AVE                        ¨ Contingent
         PHOENIX AZ 85043
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1444. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $57.00                  $57.00
         CORTES, LISSET
         13973 SNOWBIRD LN                        ¨ Contingent
         VICTORVILLE CA 92394
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1445. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $72.33                  $72.33
         CORTES, MIRIAM
         2837 MOUNT MARY CIRCLE                   ¨ Contingent
         GREEN BAY WI 54311
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 482 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 592 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1446. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $103.79                 $103.79
         CORTES, PALOMA ISABEL A
         405 PARK AVE                             ¨ Contingent
         CARY IL 60013
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1447. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,147.20               $1,147.20
         CORTEZ, CHRISTINA P
         1875 ERIN DR                             ¨ Contingent
         VIDOR TX 77662
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1448. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $297.30                 $297.30
         CORTEZ, GITTSEL
         4137 HOUNDSBROOK WAY                     ¨ Contingent
         SAN JOSE CA 95111
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 483 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 593 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1449. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $168.60                 $168.60
         CORTEZ, JASMINE D
         11913 ROYAL ROAD                         ¨ Contingent
         UNIT G
         EL CAJON CA 92021                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1450. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,357.88               $1,357.88
         CORTEZ, KAROLINA
         733 W. NINTH ST.                         ¨ Contingent
         TRACY CA 95376
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1451. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $226.80                 $226.80
         CORTEZ, KATHERYN E
         3516 CORNELL DRIVE                       ¨ Contingent
         ARLINGTON TX 76015
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 484 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 594 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1452. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $603.24                 $603.24
         CORTEZ, NICHOLAS A
         4919 SHADOW STONE STREET                 ¨ Contingent
         BAKERSFIELD CA 93313
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1453. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $225.07                 $225.07
         CORTILET, ERIN M
         610 PARK DRIVE                           ¨ Contingent
         MARENGO IL 60152
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1454. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $291.84                 $291.84
         CORZO, SIC MAYA J
         26094 DRACAEA AVE                        ¨ Contingent
         MORENO VALLEY CA 92555
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 485 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 595 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1455. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $724.80                 $724.80
         COSS, TAINA
         3344 FISH AVE                            ¨ Contingent
         BRONX NY 10469
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1456. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,130.97               $2,130.97
         COSTA, ASHLEY R
         600 18TH AVE                             ¨ Contingent
         642-406A
         CONWAY SC 29526                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1457. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $470.77                 $470.77
         COSTELLO, TAYLOR
         17729 AKRON-CANFIELD RD                  ¨ Contingent
         BERLIN CENTER OH 44401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 486 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 596 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1458. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $75.42                  $75.42
         COTA, LILY G
         8424 N WINTER AVE                        ¨ Contingent
         KANSAS CITY MO 64153
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1459. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $363.58                 $363.58
         COTTON, ALYSSA J
         3116 FIELDALE RD                         ¨ Contingent
         GREENSBORO NC 27406
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1460. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $537.24                 $537.24
         COTTRELL, KARA A
         116 FALSTAFF ROAD                        ¨ Contingent
         ROCHESTER NY 14609
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 487 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 597 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1461. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $108.94                 $108.94
         COULDRON, AMANDA R
         3444 BERGEN AVE                          ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1462. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $253.80                 $253.80
         COUNTY, ANNISSA N
         4910 S J ST                              ¨ Contingent
         OXNARD CA 93033
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1463. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $113.37                 $113.37
         COURTNEY, CLARISSA B
         316 N. CUMBERLAND ST.                    ¨ Contingent
         ARLINGTON OH 45814
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 488 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 598 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1464. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,855.56               $2,855.56
         COURTNEY, LAUREN
         17743 STARFISH CT                        ¨ Contingent
         APT H
         LUTZ FL 33558                            ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1465. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.00                  $36.00
         COVA, MELISSA J
         1615 N                                   ¨ Contingent
         PASS AVENUE
         BURBANK CA 91505                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1466. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $448.89                 $448.89
         COVINGTON, KENDRA N
         2014 SMITTY ROAD                         ¨ Contingent
         DILLON SC 29536
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 489 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 599 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1467. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $259.20                 $259.20
         COVINGTON, KYLIE M
         1164 NIMROD CIRCLE                       ¨ Contingent
         CORONA CA 92880
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1468. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $72.00                  $72.00
         COWARD, NICKESHA
         4823 AVENUE J                            ¨ Contingent
         BROOKLYN NY 11234
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1469. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $259.45                 $259.45
         COX, BRITTANY M
         4945 NORTH WHITE RIVER DRIVE             ¨ Contingent
         BLOOMINGTON IN 47404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 490 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 600 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1470. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.40                  $76.40
         COX, JOURNEI E
         18 FERN AVE.                             ¨ Contingent
         WILLOW GROVE PA 19090
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1471. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $261.45                 $261.45
         COXSON, MAYAH R
         877 SOUTH CAPITOL AVE                    ¨ Contingent
         SAN JOSE CA 95127
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1472. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,926.27               $1,926.27
         COYLE, BROOKE A
         4445 ATWOOD DR                           ¨ Contingent
         ORLANDO FL 32828
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 491 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 601 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1473. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $80.48                  $80.48
         COZART, JAZMINE N
         1493 DORELLEN AVE.                       ¨ Contingent
         FLINT MI 48532
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1474. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $67.50                  $67.50
         COZZO, JULIA A
         40 FIELD ST                              ¨ Contingent
         STATEN ISLAND NY 10314
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1475. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,617.38               $3,617.38
         CRAFT, ALEXANDRA R
         4415 HAVERHILL LN                        ¨ Contingent
         SACHSE TX 75048-4653
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 492 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 602 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1476. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $6,226.81               $6,226.81
         CRAIGHEAD, CURTIS
         29 FLORENCE AVE                          ¨ Contingent
         IRVINGTON NJ 07111
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1477. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.96                 $153.96
         CRAMER, SAVANNAH T
         3035 GRAND ISLAND BLVD                   ¨ Contingent
         5
         GRAND ISLAND NY 14072                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1478. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $220.04                 $220.04
         CRANFILL, BRAELYN I
         502 COLLIER AVE                          ¨ Contingent
         FLORENCE AL 35630
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 493 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 603 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1479. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $292.72                 $292.72
         CRAWFORD, ARIEL M
         3547 RICHBORO DRIVE                      ¨ Contingent
         HOLIDAY FL 34691
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1480. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,412.96               $1,412.96
         CRAWFORD, ARTISHA R
         11333 E WILSHIRE BLVD                    ¨ Contingent
         SPENCER OK 73084-6607
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1481. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $31.46                  $31.46
         CRAWFORD, DEASIA
         5713 CHANDLER ST                         ¨ Contingent
         CINCINNATI OH 45227
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 494 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 604 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1482. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $33.08                  $33.08
         CRAWFORD, JANEIL A
         151 E LITTLE CREEK RD                    ¨ Contingent
         B5
         CEDAR HILL TX 75104                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1483. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,286.17               $5,286.17
         CRAWFORD, JESSICA L
         3120 SW 139TH                            ¨ Contingent
         OKLAHOMA CITY OK 73170
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1484. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $21.90                  $21.90
         CRAWFORD, KEYONNA
         3402 17 TH ST                            ¨ Contingent
         RACINE WI 53405
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 495 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 605 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1485. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $839.25                 $839.25
         CRAWFORD, TANYA L
         167 WILDER ROAD                          ¨ Contingent
         BOLTON MA 01740
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1486. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,477.60               $1,477.60
         CREEK, CATHERINE
         435 S. CURSON AVE.                       ¨ Contingent
         5C
         LOS ANGELES CA 90036                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1487. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $69.88                  $69.88
         CRESPO, ELVIN A
         5565 TRANQUILITY OAKS DR.                ¨ Contingent
         APT.# 106
         TAMPA FL 33624                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 496 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 606 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1488. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $638.81                 $638.81
         CRESPO, SAMANTHA
         75 COLUMBIA ST                           ¨ Contingent
         NEWARK NJ 07102
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1489. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $598.48                 $598.48
         CRESSER, KIMBERLY J
         89 GULL DIP ROAD                         ¨ Contingent
         RIDGE NY 11961
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1490. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $93.00                  $93.00
         CREWE, JAZMINE A
         4 DYBECK STREET                          ¨ Contingent
         #3
         WORCESTER MA 01607                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 497 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 607 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1491. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.46                  $89.46
         CRISOSTOMO, RAMIREZ MARISOL
         9669 FOREST LN                           ¨ Contingent
         APT 1503
         DALLAS TX 75243-5891                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1492. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,248.75               $1,248.75
         CRISSY, KIMBERLEIGH A
         13821 CALICO LN.                         ¨ Contingent
         MANASSAS VA 20112
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1493. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $128.30                 $128.30
         CROCKER, LYRIC R
         15063 WINTHROP                           ¨ Contingent
         DETROIT MI 48227
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 498 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 608 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1494. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $559.68                 $559.68
         CROCKETT, CLAIRE J
         4055 FLOWSTONE LANE                      ¨ Contingent
         ROUND ROCK TX 78681
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1495. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,058.26               $2,058.26
         CROCKETT, TAUGHTYAN
         12075 GOLDOAK CT                         ¨ Contingent
         VICTORVILLE CA 92392
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1496. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $154.32                 $154.32
         CRON, MEILANI R
         432 CHELSEA WAY                          ¨ Contingent
         FAIRFIELD CA 94533
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 499 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 609 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1497. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $471.80                 $471.80
         CROPP, KOURTNEY
         1302 E 15TH ST                           ¨ Contingent
         DES MOINES IA 50316
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1498. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $481.20                 $481.20
         CROSBY, SHAKIYYA I
         1903 BLACKBURN RD                        ¨ Contingent
         APT A
         GLEN ALLEN VA 23060                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1499. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $74.46                  $74.46
         CROSWELL, DOMINIC
         305 RICHMOND FARM CIRCLE                 ¨ Contingent
         LEXINGTON SC 29072
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 500 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 610 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1500. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $210.74                 $210.74
         CROUCH, KIARRA D
         4161 NW 34TH AVE                         ¨ Contingent
         FORT LAUDERDALE FL 33309
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1501. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.48                 $153.48
         CROUCH, MARY G
         1159 S 525 E                             ¨ Contingent
         RENSSELAER IN 47978
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1502. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $222.48                 $222.48
         CROWE, ANGELA L
         388 BARDIN RD                            ¨ Contingent
         PALATKA FL 32177
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 501 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 611 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1503. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $158.20                 $158.20
         CROWE-GORDON, CHEYENNE J
         P.O BOX 154                              ¨ Contingent
         SPRING LAKE NC 28390
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1504. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $124.20                 $124.20
         CROWLEY, JAZMINE C
         9800 MESA LINDA ST                       ¨ Contingent
         APT 221
         HESPERIA CA 92345                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1505. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $370.00                 $370.00
         CROWLEY, MADISON K
         3641 MORRELL CIRCLE                      ¨ Contingent
         PHILADELPHIA PA 19114
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 502 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 612 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1506. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,620.44               $4,620.44
         CROY, SHANNA M
         5964 W SHORT DR.                         ¨ Contingent
         FRANKTON IN 46044
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1507. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $92.16                  $92.16
         CRUM, ZOE K
         5937 W. U.S. HWY 40                      ¨ Contingent
         STILESVILLE IN 46180
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1508. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $451.00                 $451.00
         CRUTCHLEO, ABIGAIL
         94 MARTHA AVENUE                         ¨ Contingent
         CENTERVILLE OH 45458
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 503 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 613 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1509. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $407.16                 $407.16
         CRUZ, ANDREA N
         408 BOARDWALK DRIVE                      ¨ Contingent
         #18
         SAN BRUNO CA 94066                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1510. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $38.64                  $38.64
         CRUZ, ANDREA P
         CALLE PEDRO ARZUAGA 110                  ¨ Contingent
         COND. VILLAS D
         CAROLINA PR 00985                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1511. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $52.15                  $52.15
         CRUZ, ELIZABETH
         1859 QUAIL CT                            ¨ Contingent
         WOODSTOCK IL 60098
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 504 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 614 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1512. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $287.39                 $287.39
         CRUZ, ESVEIDY
         4622 TRAFALGAR RD                        ¨ Contingent
         WILMINGTON NC 28405
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1513. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $161.42                 $161.42
         CRUZ, FLORENZ
         603 DICKSON ST.                          ¨ Contingent
         LOWELL AR 72745
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1514. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $305.06                 $305.06
         CRUZ, GENESIS
         8232 ABBEYFIELD DR.                      ¨ Contingent
         JACKSONVILLE FL 32277
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 505 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 615 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1515. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $194.52                 $194.52
         CRUZ, GISELLE M
         1635 E NANETTE AVE                       ¨ Contingent
         4
         WEST COVINA CA 91792                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1516. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $526.80                 $526.80
         CRUZ, JENNA
         9124 88TH STREET                         ¨ Contingent
         WOODHAVEN NY 11421
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1517. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.57                 $143.57
         CRUZ, KARINA
         2425 PRESIDENTIAL WAY                    ¨ Contingent
         202
         WEST PALM BEACH FL 33409                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 506 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 616 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1518. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $318.78                 $318.78
         CRUZ, KARLA L
         833 DOBSON STREET                        ¨ Contingent
         EVANSTON IL 60202
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1519. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,155.23               $1,155.23
         CRUZ, KAYLA A
         110 BREEZY TREE CT                       ¨ Contingent
         APT A
         NEWPORT NEWS VA 23608                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1520. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $177.72                 $177.72
         CRUZ, KENYA A
         14342 CHESTNUT ST                        ¨ Contingent
         WESTIMINSTER CA 92683
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 507 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 617 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1521. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $636.76                 $636.76
         CRUZ, MARIA C
         4318 AUGUSTINE AVE                       ¨ Contingent
         SARASOTA FL 34231
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1522. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $151.25                 $151.25
         CRUZ, MARISOL
         424 WEST LARKDALE LANE                   ¨ Contingent
         MOUNT PROSPECT IL 60056
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1523. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $69.28                  $69.28
         CRUZ, MELIA D
         49 CONE COURT                            ¨ Contingent
         GREENFIELD IN 46140
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 508 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 618 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1524. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $123.84                 $123.84
         CRUZ, SAMANTHA
         8600 STARBOARD DR                        ¨ Contingent
         #1012
         LAS VEGAS NV 89117                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1525. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $126.60                 $126.60
         CRUZ, STEPHANIE G
         8531 BLANCHE AVE                         ¨ Contingent
         GARDEN GROVE CA 92841
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1526. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $542.57                 $542.57
         CRUZ, TAYLOR V
         6346 SOUTHGATE BLVD                      ¨ Contingent
         MARGATE FL 33068
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 509 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 619 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1527. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $24.17                  $24.17
         CUARISMA, CLARISE
         87340 KULAHANAI STREET                   ¨ Contingent
         WAIANAE HI 96792
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1528. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $198.99                 $198.99
         CUENCA, JANELLE
         14332 DURHAM DRIVE                       ¨ Contingent
         RENO NV 89506
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1529. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $194.51                 $194.51
         CUETO, ELIZABETH
         5432 MAHOGANY LN                         ¨ Contingent
         HONOLULU HI 96818
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 510 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 620 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1530. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $435.45                 $435.45
         CUETO, YASSIL
         2854 KINGSBRIDGE TERRACE                 ¨ Contingent
         2
         NY NY 10463                              ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1531. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,129.26               $3,129.26
         CUEVA, MARIA E
         8254 QUATERFIELD RD                      ¨ Contingent
         SEVERN MD 21144
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1532. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,425.25               $1,425.25
         CUEVAS, BYANCA
         5751 GREENHOUSE RD                       ¨ Contingent
         APT 1025
         KATY TX 774429                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 511 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 621 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1533. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $49.44                  $49.44
         CUEVAS, EMILY
         3778 SOUTH ARCHER                        ¨ Contingent
         CHICAGO IL 60632
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1534. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $140.28                 $140.28
         CUEVAS, THALIANA
         3251 MATLOCK RD. APT. 20202              ¨ Contingent
         MANSFIELD TX 76063
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1535. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $291.50                 $291.50
         CUEVAS, XINA
         235 W 47TH ST                            ¨ Contingent
         4
         LOS ANGELES CA 90037                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 512 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 622 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1536. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,679.92               $4,679.92
         CUJAK, DANIELLE
         6604 CONESTOGA LANE                      ¨ Contingent
         DUBLIN CA 94568
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1537. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $178.97                 $178.97
         CULBERT, RACHEL L
         15722 BRANDYWINE RD.                     ¨ Contingent
         MONTCLAIR VA 22025
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1538. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $747.26                 $747.26
         CULLER, PAIGE V
         1170 KENLY AVE                           ¨ Contingent
         APT.12
         HAGERSTOWN MD 21740                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 513 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 623 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1539. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $116.64                 $116.64
         CULLIPHER, HANNAH E
         4516 NORSEMAN ST.                        ¨ Contingent
         BAKERSFIELD CA 93309
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1540. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $155.15                 $155.15
         CUMMING, MELAYNA M
         190 RIVER WALK TRAIL                     ¨ Contingent
         NEW MARKET AL 35761
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1541. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $552.30                 $552.30
         CUMMINGS, JALEEL I
         7500 WOODKNOLL DR.                       ¨ Contingent
         CHARLOTTE NC 28217
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 514 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 624 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1542. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.25                 $153.25
         CUMMINGS, KANDICE A
         1710 BIRKSHIRE RIDGE                     ¨ Contingent
         MCDONOUGH GA 30252
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1543. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $77.14                  $77.14
         CUMMINGS, MIRANDA R
         14501 MONTFORT DRIVE                     ¨ Contingent
         APT 1010
         DALLAS TX 75254                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1544. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $607.66                 $607.66
         CUNNINGHAM, NICOLE M
         13924 OCOTILLO RD.                       ¨ Contingent
         DESERT HOT SPRINGS CA 92240
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 515 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 625 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1545. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $232.98                 $232.98
         CUNNINGHAM, SARAI K
         1339 FITZWATERTOWN RD                    ¨ Contingent
         ABINGTON PA 19001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1546. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,168.99               $2,168.99
         CUPP, HALEY
         448 FERNWAY DR                           ¨ Contingent
         HAMILTON OH 45011
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1547. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $545.60                 $545.60
         CURETON, BLAYKE L
         1157 BLACK DIAMOND DR                    ¨ Contingent
         DALLAS NC 28034
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 516 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 626 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1548. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $265.04                 $265.04
         CURRY, ALYSSA A
         5742 THUNDER OAKS                        ¨ Contingent
         SAN ANTONIO TX 78261
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1549. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,909.52               $2,909.52
         CURRY, TAMEKA L
         124 POPLAR LANE                          ¨ Contingent
         JACKSON TN 38305
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1550. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $569.29                 $569.29
         CURRY, ZORI A
         101 SW 69TH TERRACE                      ¨ Contingent
         1001 ROGERS ST
         OKLAHOMA CITY OK 73139                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 517 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 627 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1551. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $202.81                 $202.81
         CURTIS, TARAE'
         490 NORTH PATUXENT                       ¨ Contingent
         ODENTON MD 21113
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1552. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,250.27               $2,250.27
         CURTIS-CUMMINGS, BRITTINEY T
         466 SUMNER ST                            ¨ Contingent
         STOUGHTON MA 02072
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1553. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,509.01               $1,509.01
         CURTISS, NICOLE
         701 LEGACY DR                            ¨ Contingent
         3314
         PLANO TX 75023-7508                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 518 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 628 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1554. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $51.36                  $51.36
         CUSTER, BRYANNA N
         4105 N PIONEER CANYON DR                 ¨ Contingent
         RIDGEFIELD WA 98642
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1555. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $378.04                 $378.04
         CUTLIFFE, GABRIELLE
         APT 713                                  ¨ Contingent
         2800 SW WILLIS
         GAINESVILLE FL 32608                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1556. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $278.52                 $278.52
         CUTTING, JORDAN D
         1 HOWARD LANE                            ¨ Contingent
         LAKEVILLE MA 02347
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 519 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 629 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1557. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $629.20                 $629.20
         DABLA, MAITTA
         217 CHESTNUT STREET                      ¨ Contingent
         MOUNT HOLLY NJ 08060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1558. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,622.27               $1,622.27
         DACAYANAN, JAZRIEL
         280 BELLA MATESE AVE                     ¨ Contingent
         LAS VEGAS NV 89183-4645
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1559. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $276.08                 $276.08
         DADE, JETONNICA
         906 SOUTH MAPLE ST. LOT 12               ¨ Contingent
         FOLEY AL 36535
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 520 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 630 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1560. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $332.40                 $332.40
         DAGGS, CONNISHA E
         PO BOX 452                               ¨ Contingent
         BELLE ROSE LA 70341
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1561. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $676.11                 $676.11
         DAHL, ASHLEE A
         20 JOHN J BRADY DR                       ¨ Contingent
         APARTMENT A
         FRAMINGHAM MA 01702                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1562. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,220.94               $1,220.94
         DAHM, NICOLE M
         1122 CLAYCREST CIRCLE                    ¨ Contingent
         SAINT CHARLES MO 63304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 521 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 631 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1563. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $167.88                 $167.88
         DALCO, AISLING
         206 LINCOLN STREET                       ¨ Contingent
         NORWELL MA 02061
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1564. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $186.18                 $186.18
         DALE, TAYLOR N
         15 HOSPITAL ST.                          ¨ Contingent
         PROVIDENCE RI 02903
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1565. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $56.39                  $56.39
         DALIA, ALICIA A
         633 W WATER ST. APT. 3                   ¨ Contingent
         3
         ELMIRA NY 14901                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 522 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 632 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1566. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,380.72               $1,380.72
         DALLAS, CASSANDRA
         332 E BROAD ST                           ¨ Contingent
         BURLINGTON NJ 08016-2635
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1567. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,174.60               $1,174.60
         DALTON, BRADY A
         1625 WINONA DRIVE                        ¨ Contingent
         MIDDLETOWN OH 45044
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1568. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $125.43                 $125.43
         DAMRON, CHAVALA D
         6863 GREEN CREEK RD                      ¨ Contingent
         FAYETTEVILLE NC 28314
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 523 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 633 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1569. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $380.28                 $380.28
         DANIEL, JURESIA
         16626 BONHAM AVE                         ¨ Contingent
         BATON ROUGE LA 70816
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1570. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $97.38                  $97.38
         DANIEL, MORGAN-ELAINE T
         PO BOX 22883                             ¨ Contingent
         BEACHWOOD OH 44122
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1571. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $456.02                 $456.02
         DANIELS, BATERRIA C
         430 ROYAL PALM COURT                     ¨ Contingent
         PAHOKEE FL 33476
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 524 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 634 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1572. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $453.99                 $453.99
         DANIELS, KAREN C
         100 DEPEW AVE APT 135                    ¨ Contingent
         NYACK NY 10960
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1573. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $240.90                 $240.90
         DANIELS, LUCILA
         1017 E PIMA AVE                          ¨ Contingent
         APACHE JUNCTION AZ 85119-7257
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1574. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $464.24                 $464.24
         DAOS, ALEXA-RAE D
         4280 MCKENNA CT                          ¨ Contingent
         FAIRFIELD CA 94534-7433
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 525 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 635 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1575. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $111.64                 $111.64
         DAPP, LINDSAY M
         115 PINEBROOK DRIVE                      ¨ Contingent
         PADUCAH KY 42001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1576. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,230.41               $2,230.41
         DARLING, JACKIE L
         187 BARTLETT RD                          ¨ Contingent
         PLYMOUTH MA 02360
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1577. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $310.88                 $310.88
         DARLING, MELISSA A
         8410 PINE BLUFF RD.                      ¨ Contingent
         FREDERICK MD 21704
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 526 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 636 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1578. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $43.01                  $43.01
         DARLING, RACOLE
         4871 RIVES JUNCTION RD                   ¨ Contingent
         JACKSON MI 49201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1579. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $6,144.57               $6,144.57
         DARLING, RAYMOND E
         6 EDGEWOOD RD                            ¨ Contingent
         BINGHAMTON NY 13903
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1580. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,922.37               $1,922.37
         DARNA, KARI
         63 SALEM ROAD                            ¨ Contingent
         LYME CT 06371
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 527 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 637 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1581. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $132.76                 $132.76
         DARRIS, TATIANA D
         2168 S ATLANTIC BLVD 542                 ¨ Contingent
         MONTEREY PARK CA 91754
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1582. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,226.64               $2,226.64
         DART, LINDSEY B
         4729 FELTON STREET APT. B                ¨ Contingent
         SAN DIEGO CA 92116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1583. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $71.14                  $71.14
         DAS, DIVYA A
         4790 VISTA RIDGE DR.                     ¨ Contingent
         DUBLIN OH 43017
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 528 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 638 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1584. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $272.07                 $272.07
         DATLENKO, KELLI J
         38719 BIGGS RD                           ¨ Contingent
         GRAFTON OH 44044
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1585. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $73.26                  $73.26
         DAUGHHETEE, ASHTON T
         3717 MOONSHINE FALLS AVE.                ¨ Contingent
         NORTH LAS VEGAS NV 89085
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1586. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,000.00               $5,000.00
         DAUGHTRY, TIANA
         17500 ELEANOR LN                         ¨ Contingent
         UPPER MARLBORO MD 20774-8926
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 529 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 639 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1587. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $117.36                 $117.36
         DAVANZO, DANIELLE M
         12 STONY BROOK ROAD                      ¨ Contingent
         BROOKFIELD CT 06801
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1588. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $388.32                 $388.32
         DAVEIGA, MICHELLE
         24 JAMES ST.                             ¨ Contingent
         TAUNTON MA 02780
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1589. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $105.04                 $105.04
         DAVENPORT, DESTINY
         743 PETERMAN PL                          ¨ Contingent
         GREER SC 29650
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 530 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 640 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1590. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $72.93                  $72.93
         DAVENPORT, OLIVIA K
         6 DOGWOOD COURT                          ¨ Contingent
         CROMWELL CT 06416
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1591. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,418.13               $2,418.13
         DAVID LAROSA TAX COLLECTOR
         PO BOX 1270                              ¨ Contingent
         GULFPORT MS 39502
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1592. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,857.66               $3,857.66
         DAVID PIWONKA
         CYPRESS-FAIRBANK ISD TAX ASR.            ¨ Contingent
         10494 JONES ROAD , STE 106
         HOUSTON TX 77065                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 531 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 641 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1593. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $97.20                  $97.20
         DAVIDSON, NICOLE C
         27 OAKRIDGE AVENUE                       ¨ Contingent
         NORTH ATTLEBORO MA 02760
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1594. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $539.01                 $539.01
         DAVIDSON-GAY, PAIGE T
         6625 AMBASSADOR AVE                      ¨ Contingent
         511
         GRAND LEDGE MI 48837                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1595. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $85.86                  $85.86
         DAVIES, DAMYA D
         102 WOODBROOK CT                         ¨ Contingent
         102
         LOUISVILLE KY 40229                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 532 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 642 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1596. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.42                 $153.42
         DAVIS, ALEXIA T
         83 MORGAN LANE                           ¨ Contingent
         HAMDEN CT 06514
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1597. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $315.50                 $315.50
         DAVIS, ALIYAH T
         713 E PRESTON ST                         ¨ Contingent
         BALTIMORE MD 21202-4230
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1598. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $174.84                 $174.84
         DAVIS, ANGEL K
         3104 PUFFIN CIRCLE                       ¨ Contingent
         FAIRFIELD CA 94533
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 533 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 643 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1599. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $179.52                 $179.52
         DAVIS, CANDACE
         8275 WARLIN DRIVE NORTH                  ¨ Contingent
         JACKSONVILLE FL 32216
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1600. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $60.77                  $60.77
         DAVIS, CHEYANNE D
         5356 OAK HILLS DR                        ¨ Contingent
         EATON RAPIDS MI 48827
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1601. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $64.02                  $64.02
         DAVIS, CHEYENNE A
         7959 LONG DRIVE                          ¨ Contingent
         CHATTANOOGA TN 37421
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 534 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 644 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1602. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $377.80                 $377.80
         DAVIS, CRYSTAL S
         4318 KNOX AVE N                          ¨ Contingent
         MINNEAPOLIS MN 55412
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1603. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $34.55                  $34.55
         DAVIS, CYNTHIA
         5621 MINNIE COURT                        ¨ Contingent
         WOODBRIDGE VA 22193
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1604. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $8,531.75               $8,531.75
         DAVIS, ELIZABETH B
         11404 LINDENSHIRE LN                     ¨ Contingent
         RICHMOND VA 23238
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 535 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 645 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1605. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $156.79                 $156.79
         DAVIS, KAYLAH
         201 WILKINS AVE                          ¨ Contingent
         JONESBORO AR 72401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1606. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $31.27                  $31.27
         DAVIS, KEYANNA M
         101 ROBIN DR                             ¨ Contingent
         CLARKSVILLE TN 37042-5623
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1607. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $39.44                  $39.44
         DAVIS, KIERRA N
         403 PARK MEADOWS DR                      ¨ Contingent
         APT 202
         WAITE PARK MN 56387                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 536 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 646 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1608. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $375.86                 $375.86
         DAVIS, MEGHAN C
         10 PALM COURT                            ¨ Contingent
         PARAMUS NJ 07652
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1609. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $364.50                 $364.50
         DAVIS, SHAY S
         2151 WESTGATE PKWY                       ¨ Contingent
         E49
         DOTHAN AL 36303                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1610. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $667.59                 $667.59
         DAVIS, SHELBY E
         2614 CR 5700                             ¨ Contingent
         LUBBOCK TX 79415
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 537 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 647 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1611. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.56                  $76.56
         DAVIS, SKYLAR B
         305 HIALEAH DRIVE                        ¨ Contingent
         CHERRY HILL NJ 08002
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1612. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $48.36                  $48.36
         DAVIS, STACEY L
         72 LEAH ST                               ¨ Contingent
         PROVIDENCE RI 02908
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1613. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $131.88                 $131.88
         DAVIS, STEPHANIE M
         160 FAITH LANE                           ¨ Contingent
         TRACY CA 95377
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 538 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 648 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1614. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $66.66                  $66.66
         DAVIS, TASHAWNA
         10306 E 27TH ST                          ¨ Contingent
         TULSA OK 74129
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1615. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $653.84                 $653.84
         DAVIS, WYCHOVIA
         1800 GROVE POINT RD                      ¨ Contingent
         APT 509
         SAVANNAH GA 31419                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1616. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,170.41               $1,170.41
         DAVIS, XENNA K
         7407 WACO                                ¨ Contingent
         APT B
         LUBBOCK TX 79423                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 539 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 649 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1617. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $115.52                 $115.52
         DAVIS, ZHANE'
         2001 RICHARDS DRIVE                      ¨ Contingent
         PHENIX CITY AL 36867
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1618. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $421.35                 $421.35
         DAVIS-WALLACE, SHAYDRIKA S
         301 PARKWEST DR                          ¨ Contingent
         U05
         LANSING MI 48917                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1619. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $68.50                  $68.50
         DAWES, NICOLE
         6138 SPRUCE STREET                       ¨ Contingent
         PHILADELPHIA PA 19138
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 540 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 650 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1620. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $271.68                 $271.68
         DAWKINS, KIARRA D
         4855 BOURNE HOLLOW LN                    ¨ Contingent
         ARLINGTON TN 38002
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1621. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $185.36                 $185.36
         DAWKINS, O'RIAN M
         21307 HAMPTON PARK                       ¨ Contingent
         GARDEN RIDGE TX 78266
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1622. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $83.25                  $83.25
         DAWKINS, TASHARRA
         3610 MARYLAND AVE #1511                  ¨ Contingent
         SHERWOOD AR 72120
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 541 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 651 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1623. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $108.48                 $108.48
         DAWSON, ROMEISHA K
         23398 HEMLOCK AVE. 302                   ¨ Contingent
         MORENO VALLEY CA 92557
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1624. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,590.22               $1,590.22
         DAY, AMBER C
         37 NOTTINGHAM WAY                        ¨ Contingent
         PENSACOLA FL 32506
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1625. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $210.25                 $210.25
         DAY, KAITLAND A
         309 FULTON DRIVE                         ¨ Contingent
         KINGS MOUNTAIN NC 28086
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 542 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 652 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1626. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $315.22                 $315.22
         DAY, RYLEIGH C
         306 SACAJAWEA CT.                        ¨ Contingent
         BOX ELDER SD 57719
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1627. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $148.33                 $148.33
         DAYOAN, ANGELICA JOY
         8225 KILLIAN LANE                        ¨ Contingent
         BEAUMONT TX 77706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1628. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $148.84                 $148.84
         DAYOAN, JOAN MARICE P
         8225 KILLIAN LANE                        ¨ Contingent
         BEAUMONT TX 77706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 543 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 653 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1629. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $311.03                 $311.03
         DAZA, EVELIN
         200 HAMPDON CT                           ¨ Contingent
         BOLINGBROOK IL 60440
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1630. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.10                 $143.10
         D'COSTA, KYRA A
         1377 CROWN POINT ROAD                    ¨ Contingent
         WEST DEPTFORD NJ 08093
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1631. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,343.22               $2,343.22
         DE, JESUS CARLOS
         1478 SUNSHADOW DR APT108                 ¨ Contingent
         CASSALBERRY FL 32707
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 544 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 654 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1632. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $193.84                 $193.84
         DE, JESUS JESSENYA
         100 KIMBALL ST                           ¨ Contingent
         PROVIDENCE RI 02908
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1633. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $645.28                 $645.28
         DE, JESUS NERSEDALIA
         3224 CHAPMAN ST.                         ¨ Contingent
         #18
         LOS ANGELES CA 90065                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1634. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $63.55                  $63.55
         DE, LA MOTHE DALIS J
         1127 HAROLD DRIVE                        ¨ Contingent
         NASHVILLE TN 37217
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 545 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 655 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1635. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $627.75                 $627.75
         DE, LA ROSA KARINA G
         2858 22ND STREET                         ¨ Contingent
         SAN FRANCISCO CA 94110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1636. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $128.37                 $128.37
         DE, LOS RIOS SALMA A
         5048 N. RIVER CROSSING LN.               ¨ Contingent
         TUCSON AZ 85704
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1637. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $141.72                 $141.72
         DE, SANTIAGO ARIELLE R
         1304 E. LAFAYETTE ST.                    ¨ Contingent
         STOCKTON CA 95205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 546 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 656 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1638. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $227.40                 $227.40
         DEALBA, JACQUELINE
         15794 AVENUE 327                         ¨ Contingent
         IVANHOE CA 93235
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1639. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $66.38                  $66.38
         DEAN, QUA JANAH N
         973 S HANNIBAL WAY APT D                 ¨ Contingent
         973 D
         AURORA CO 80017                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1640. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $29.82                  $29.82
         DEAN, SHABRELLE M
         809 SE 35TH TERRACE                      ¨ Contingent
         TOPEKA KS 66605
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 547 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 657 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1641. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $231.78                 $231.78
         DEAS, CHARISMA R
         8 RICHMOND PARK DR                       ¨ Contingent
         PHENIX CITY AL 36869
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1642. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $108.07                 $108.07
         DECANTO, SHAYNALYN L
         275 ANAPALAU ST.                         ¨ Contingent
         275 ANAPALAU S
         HONOLULU HI 96825                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1643. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $23.63                  $23.63
         DECHAMPS, YAZMIN M
         15 NORWOOD LANE                          ¨ Contingent
         WILLINGBORO NJ 08046
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 548 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 658 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1644. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $87.84                  $87.84
         DEDIOS, JANILE
         2950 MAKAHA WAY                          ¨ Contingent
         SAN DIEGO CA 92154
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1645. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $94.86                  $94.86
         DEEMING, OLIVIA
         3 PENDLETON COURT                        ¨ Contingent
         ANNANDALE NJ 08801
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1646. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $496.87                 $496.87
         DEES, TARA L
         136 HAMILTON AVENUE                      ¨ Contingent
         VANDERGRIFT PA 15690
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 549 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 659 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1647. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.84                  $81.84
         DEFFENDERFER, TIANA K
         9828 ARAPAHO STREET                      ¨ Contingent
         SPRING VALLEY CA 91977
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1648. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,504.31               $1,504.31
         DEFRANCE, ASHLEY L
         13800 CHESTNUT DR                        ¨ Contingent
         222
         EDEN PRAIRIE MN 55344                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1649. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $135.79                 $135.79
         DEGRAW, AMBER V
         4264 CADDO AVE SW                        ¨ Contingent
         GRANDVILLE MI 49418
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 550 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 660 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1650. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $85.60                  $85.60
         DEJESUS, KRISTINA A
         6760 SW 64TH TERRACE                     ¨ Contingent
         OCALA FL 34476
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1651. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $205.48                 $205.48
         DEL, ANGEL VALERYE A
         2437 HAINSWORTH AVE                      ¨ Contingent
         NORTH RIVERSIDE IL 60546
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1652. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $474.18                 $474.18
         DEL, RIO SANCHEZ YARELIS
         5350 AUDOBON AVE.                        ¨ Contingent
         APT 301
         INVER GROVE HEIGHT MN 55077              ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 551 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 661 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1653. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $503.25                 $503.25
         DELA, CRUZ CHRISTINE M
         2235 37TH AVE                            ¨ Contingent
         SAN FRANCISCO CA 94116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1654. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $656.79                 $656.79
         DELA, CRUZ KATIE
         1110 HUI STREET                          ¨ Contingent
         KAILUA HI 96734
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1655. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $180.45                 $180.45
         DELA, PAZ CHRISTINE JILL
         6820 SUNNYSIDE LANE                      ¨ Contingent
         FORT WASHINGTON MD 20744
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 552 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 662 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1656. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $96.80                  $96.80
         DELACRUZ, ALAZEY L
         3602-2 MONA STREET                       ¨ Contingent
         PEARLAND TX 77584
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1657. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $101.23                 $101.23
         DELACRUZ, ALONDRA M
         3508 ORR AVENUE                          ¨ Contingent
         NORTH LAS VEGAS NV 89030
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1658. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $744.98                 $744.98
         DELACRUZ, ARIEL
         22 CONFEDERATION PLACE                   ¨ Contingent
         STATEN ISLAND NY 10303
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 553 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 663 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1659. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $270.95                 $270.95
         DELAMOTHE, DANIELLE C
         26 LAMBERT RIDGE                         ¨ Contingent
         CROSS RIVER NY 10518
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1660. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $188.40                 $188.40
         DELAO, CLARISSA
         5003 MANOR STONE LN                      ¨ Contingent
         ROSENBERG TX 77469
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1661. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $135.52                 $135.52
         DELAPAZ, SILENA M
         1620 N F                                 ¨ Contingent
         FORT SMITH AR 72901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 554 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 664 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1662. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $106.68                 $106.68
         DELATOBA, ALEXIS
         667 FST                                  ¨ Contingent
         APT H-16
         CHULA VISTA CA 91910                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1663. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $242.64                 $242.64
         DELELLO, HERMINIA
         300 MALVERNE DR                          ¨ Contingent
         SYRACUSE NY 13208
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1664. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $229.07                 $229.07
         DELGADILLO, AMAIRANI
         1408 ADELA DR                            ¨ Contingent
         SAN JUAN TX 78589
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 555 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 665 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1665. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $582.96                 $582.96
         DELGADO, ACALEES M
         5944 W 26 AVE                            ¨ Contingent
         5944
         HIALEAH FL 33016                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1666. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.76                 $143.76
         DELGADO, CYNTHIA N
         10907 VISTA DEL RANCHO DR.               ¨ Contingent
         BAKERSFIELD CA 93311
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1667. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $282.00                 $282.00
         DELGADO, DEMMI S
         735 ANDERSON HILL ROAD                   ¨ Contingent
         HARRISON NY 10577
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 556 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 666 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1668. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $63.60                  $63.60
         DELGADO, JONANTHONY R
         292 VOYAGER COVE                         ¨ Contingent
         KYLE TX 78640
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1669. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $248.68                 $248.68
         DELGADO, LIZETH
         2215 ONTARIO ST.                         ¨ Contingent
         FORT WAYNE IN 46802
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1670. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $44.55                  $44.55
         DELGADO, MADELINE L
         325 HIGH ST                              ¨ Contingent
         LAWRENCE MA 01841
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 557 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 667 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1671. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.90                  $81.90
         DELGADO, SELENA
         29 PALISADE AVE APT 417                  ¨ Contingent
         417
         JERSEY CITY NJ 07306                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1672. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $154.22                 $154.22
         DELGADO, VANESSA
         3263 S 58TH COURT                        ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1673. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $299.72                 $299.72
         DELGAUDIO, ALYSSA M
         425 CUSTER AVE                           ¨ Contingent
         GLENOLDEN PA 19036
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 558 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 668 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1674. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $590.84                 $590.84
         DELLACCA, SABRINA N
         2536 MACBETH AVE.                        ¨ Contingent
         CORONA CA 92882
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1675. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.10                 $199.10
         DELLER, RACHEL C
         8437 BRANDAU CT                          ¨ Contingent
         518
         TINLEY PARK IL 60487                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1676. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $139.93                 $139.93
         DELOATCH, SHAKENYA Q
         7108 BELLEAU WOODS DR                    ¨ Contingent
         RALEIGH NC 27610
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 559 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 669 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1677. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,940.73               $1,940.73
         DELONG, LEIGHA M
         419 ALLISON WAY                          ¨ Contingent
         GRAND JUNCTION CO 81504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1678. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $124.66                 $124.66
         DELORME, MADISON T
         687 BROCHARDT BLVD                       ¨ Contingent
         KNOXVILLE TN 37934
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1679. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $479.10                 $479.10
         DELOSA, NANESHKA V
         1800 GROVE POINT ROAD                    ¨ Contingent
         1019
         SAVANNAH GA 31419                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 560 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 670 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1680. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,173.37               $2,173.37
         DELPERDANG, KAYLINA
         2923 SUNSET CIRCLE                       ¨ Contingent
         SIOUX CITY IA 51104
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1681. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $171.72                 $171.72
         DELUCA, ALESSONDRA
         2897 GREENLAND DR                        ¨ Contingent
         UNIT 207
         LOVELAND CO 80538                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1682. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $185.70                 $185.70
         DELVALLE, JAMILEX A
         8807 AUBURN WAY                          ¨ Contingent
         TAMPA FL 33615
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 561 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 671 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1683. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $45.75                  $45.75
         DEMARIA, CALLIE
         21 KETCH CT                              ¨ Contingent
         114 VICTORIA S
         LITTLE EGG HARBOR NJ 08087               ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1684. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,275.92               $1,275.92
         DEMEDEIROS, HEATHER M
         51 VINE ST                               ¨ Contingent
         APT 1
         NEW BEDFORD MA 02740                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1685. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.60                  $81.60
         DEMIAN, CINDY H
         1040 NORTH AVE. 3RD FL                   ¨ Contingent
         ELIZABETH NJ 07201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 562 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 672 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1686. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $51.20                  $51.20
         DENBY, CYANA T
         9567 WATTS RD                            ¨ Contingent
         OWINGS MILLS MD 21117
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1687. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $125.65                 $125.65
         DENNER, HALEY
         942 GOTHAM ST.                           ¨ Contingent
         WATERTOWN NY 13601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1688. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $83.49                  $83.49
         DENNIE, ADRIENNE-RENEE
         14435 CREEKVIEW DR                       ¨ Contingent
         ORLAND PARK IL 60467
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 563 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 673 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1689. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.12                  $36.12
         DENNIS, DIAMOND A
         9415 WEEPING WILLOW LN                   ¨ Contingent
         PORT RICHEY FL 34668-4645
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1690. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $500.28                 $500.28
         DENNIS, JOSLYN
         3013 VIRGINIA ST.                        ¨ Contingent
         SIOUX CITY IA 51105-1611
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1691. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $210.99                 $210.99
         DENO, ALEXA
         219 CHARLES STREET                       ¨ Contingent
         MERIDEN CT 06451
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 564 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 674 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1692. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $162.80                 $162.80
         DENOGEAN, KARISSMA J
         1235 N EUCLID AVE                        ¨ Contingent
         TUCSON AZ 85719
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1693. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $194.70                 $194.70
         DENSLEY, MAYA I
         863 PARKVIEW DR                          ¨ Contingent
         MACON GA 31211
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1694. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $22.93                  $22.93
         DENSON, SIERRA S
         7710 E 111TH TERR                        ¨ Contingent
         KANSAS CITY MO 64134
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 565 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 675 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1695. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $9,343.61               $9,343.61
         DENTON COUNTY TAX OFFICE
         P.O. BOX 90223                           ¨ Contingent
         DENTON TX 76202
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1696. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,212.93               $5,212.93
         DEPARTMENT OF TREASURY
         P.O. BOX 50066                           ¨ Contingent
         SAN JUAN PR 00902
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1697. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,513.64               $1,513.64
         DEPAZ, DAISY A
         1478 S CHRISTY LN                        ¨ Contingent
         LAS VEGAS NV 89142
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 566 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 676 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1698. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $251.56                 $251.56
         DEPEE, KEELY A
         12026 GEORGE FARM DR                     ¨ Contingent
         LOVETTSVILLE VA 20180
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1699. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $478.60                 $478.60
         DEPENA, JAKIRA L
         5 KELLY STREET                           ¨ Contingent
         NASHUA NH 03062
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1700. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $299.70                 $299.70
         DEPUGH, REBEKAH A
         6 SHAMROCK CIRCLE                        ¨ Contingent
         LATHAM NY 12110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 567 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 677 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1701. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $148.54                 $148.54
         DERBY, QUINCEY
         502 N MALLARD PL                         ¨ Contingent
         306
         SIOUX FALLS SD 57107                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1702. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $99.00                  $99.00
         DERISO, HANA R
         535 POPLAR LEAF ST.                      ¨ Contingent
         LAS VEGAS NV 89144
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1703. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $221.10                 $221.10
         DERRELL, MELISSA
         2326 LODOVICK AVE                        ¨ Contingent
         BRONX NY 10469
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 568 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 678 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1704. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $7,072.42               $7,072.42
         DERYKE, MELISSA A
         30 DELAWARE RD                           ¨ Contingent
         LAMBERTVILLE NJ 08530
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1705. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $455.51                 $455.51
         DESHAZER, TAYLOR
         202 N ROCKROAD                           ¨ Contingent
         811
         WICHITA KS 67206                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1706. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $273.98                 $273.98
         DESKIN, CARLEY M
         700 WALNUT RIDGE DR                      ¨ Contingent
         3029
         IRVING TX 75039                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 569 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 679 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1707. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,559.94               $4,559.94
         DESOTO COUNTY- TAX COLLECTOR
         365 LOSHER ST., #110                     ¨ Contingent
         HERNANDO MS 38632-2144
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.1708. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $219.90                 $219.90
         DESROSIERS, KERRY
         11 BRIAN RD                              ¨ Contingent
         MIDDLEBORO MA 02346
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1709. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $13,583.51              $12,850.00
         DESS. KRISTIN M.
         123 SAINT ANDREW DRIVE                   ¨ Contingent
         PITTSBURGH PA 15205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $733.51

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 570 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 680 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1710. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $527.10                 $527.10
         DESTIFANES, DANIELLE M
         1625 S MARION AVE                        ¨ Contingent
         APT A309
         SPRINGFIELD MO 65807                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1711. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $132.57                 $132.57
         DESTIRON, DARINE
         703 NW UNIVERSE ST                       ¨ Contingent
         PALM BAY FL 32907
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1712. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,054.10               $2,054.10
         DETTMER, JENNIFER N
         5319 WILLOWHURST DR                      ¨ Contingent
         FORT WAYNE IN 46835
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 571 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 681 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1713. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $154.46                 $154.46
         DEVEREAUX, SARA M
         4800 FEHN RD                             ¨ Contingent
         HEMLOCK MI 48626
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1714. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $385.24                 $385.24
         DEVERTEUIL, DARCAS M
         7029 MORAN RD                            ¨ Contingent
         GONZALES LA 70737
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1715. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $180.36                 $180.36
         DEVORE, ALEXIS C
         3927 243RD PL. SE                        ¨ Contingent
         UNIT I304
         BOTHELL WA 98021                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 572 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 682 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1716. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,820.95               $3,820.95
         DEWAR, ADINA
         225 HIGHLAND COURT                       ¨ Contingent
         TERRE HAUTE IN 47802
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1717. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $161.94                 $161.94
         DEWAR, KAILEY
         26638 LOCUST DR.                         ¨ Contingent
         OLMSTED FALLS OH 44138
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1718. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $113.54                 $113.54
         DEWAR, KELSEY
         26638 LOCUST DR                          ¨ Contingent
         OLMSTED FALLS OH 44138
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 573 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 683 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1719. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $204.60                 $204.60
         DEWITT, KESS
         26258 N HACKBERRY RD                     ¨ Contingent
         MUNDELEIN IL 60060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1720. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $113.13                 $113.13
         DEWITT, SELESTE
         12 CARROLL CIRCLE                        ¨ Contingent
         MABELVALE AR 72103
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1721. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $166.11                 $166.11
         DIAWARA, MARIAM
         5509 34TH ST LOOP NE                     ¨ Contingent
         TACOMA WA 98422
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 574 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 684 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1722. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,413.60               $1,413.60
         DIAZ, ALEXIS J
         175 MOXON DRIVE                          ¨ Contingent
         ROCHESTER NY 14621
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1723. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $208.56                 $208.56
         DIAZ, ALEXIS L
         1144 E CHELTENHAM AVENUE                 ¨ Contingent
         PHILADELPHIA PA 19124
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1724. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $7,616.65               $7,616.65
         DIAZ, ARMANDO
         161 E PALOMAR                            ¨ Contingent
         CHULA VISTA CA 91911
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 575 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 685 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1725. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $123.48                 $123.48
         DIAZ, ASHLEY
         13632 REXWOOD AVE                        ¨ Contingent
         BALDWIN PARK CA 91706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1726. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $30.14                  $30.14
         DIAZ, BRIANNA A
         60479 DRESDEN DR.                        ¨ Contingent
         LACOMBE LA 70445
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1727. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $552.23                 $552.23
         DIAZ, CLAUDIA E
         452 HAZELHURST AVE                       ¨ Contingent
         APT. 14
         SYRACUSE NY 13206                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 576 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 686 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1728. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,389.88               $2,389.88
         DIAZ, DANNE G
         1081 MEADOWS DR.                         ¨ Contingent
         703
         CALEXICO CA 92231                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1729. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $171.10                 $171.10
         DIAZ, DEISY
         461 MILES AVE                            ¨ Contingent
         JOLIET IL 60433
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1730. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $171.05                 $171.05
         DIAZ, DESTANIE
         5025 SUFFIELD COURT                      ¨ Contingent
         UNIT B
         SKOKIE IL 60077                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 577 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 687 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1731. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $246.44                 $246.44
         DIAZ, EMILY L
         3632 SALT LAKE BLVD                      ¨ Contingent
         APT 6
         HONOLULU HI 96818                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1732. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $351.19                 $351.19
         DIAZ, HAILEY
         9 COURT STREET                           ¨ Contingent
         WATERBURY CT 06705
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1733. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,477.84               $2,477.84
         DIAZ, HEIDY
         540 E BETHANY DR                         ¨ Contingent
         107
         ALLEN TX 75002-4068                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 578 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 688 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1734. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $248.98                 $248.98
         DIAZ, HERNANDEZ XOCHILT SELENA S
         8124 SHERMAN ST                          ¨ Contingent
         DENVER CO 80221
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1735. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $38.63                  $38.63
         DIAZ, JENNY R
         12849 W WELDON AVE                       ¨ Contingent
         AVONDALE AZ 85392-6695
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1736. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $175.27                 $175.27
         DIAZ, JONATHAN M
         13048 SAWGRASS PINE CIRCLE               ¨ Contingent
         ORLANDO FL 32824
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 579 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 689 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1737. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $68.17                  $68.17
         DIAZ, JULIEANN Y
         2554 W LITTLE YORK RD                    ¨ Contingent
         HOUSTON TX 77091
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1738. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $203.88                 $203.88
         DIAZ, KELSEY M
         4151 PYXIS LANE                          ¨ Contingent
         ORLANDO FL 32816
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1739. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $284.16                 $284.16
         DIAZ, MADELYN S
         10640 COLIMA ROAD                        ¨ Contingent
         310
         WHITTIER CA 90604                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 580 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 690 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1740. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $147.00                 $147.00
         DIAZ, MELANIE
         892 SUMMIT PARK TRAIL                    ¨ Contingent
         MCDONOUGH GA 30253
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1741. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $182.54                 $182.54
         DIAZ, MELISSA N
         3068 SOUTH 16TH STREET                   ¨ Contingent
         OMAHA NE 68108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1742. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $27.93                  $27.93
         DIAZ, VANESSA
         430 W WILLIAMS ST                        ¨ Contingent
         FORT WAYNE IN 46802
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 581 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 691 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1743. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $255.00                 $255.00
         DIAZ-SARABIA, KARINA V
         4672 PLUMOSA DR                          ¨ Contingent
         46
         YORBA LINDA CA 92886                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1744. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.71                  $32.71
         DICKERSON, KATLYN M
         2610 BELGRADE SWANSBORO RD               ¨ Contingent
         7
         MAYSVILLE NC 28555                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1745. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $144.38                 $144.38
         DICKSON, DANYEA B
         540 NE CHESTER AVE                       ¨ Contingent
         TOPEKA KS 66616
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 582 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 692 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1746. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $7,048.81               $7,048.81
         DICKSON, NANCY L
         7111 NAVAJO ROAD                         ¨ Contingent
         APT #3308
         SAN DIEGO CA 92119                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1747. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $13,426.50              $12,850.00
         DIEDUARDO. JENNIFER M.
         1367 SKYRIDGE CT                         ¨ Contingent
         SAN MARCOS CA 92078
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $576.50

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1748. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $155.14                 $155.14
         DIEGO, ANGIE C
         24 S WINDSOR AVENUE 1ST FLOOR            ¨ Contingent
         1ST FLOOR
         ATLANTIC CITY NJ 08401                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 583 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 693 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1749. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $77.26                  $77.26
         DIEKHAUS, BRIANNA
         470 LINCOLN AVE                          ¨ Contingent
         CLIFFSIDE PARK NJ 07010
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1750. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $173.09                 $173.09
         DIETZ, AMY K
         6 CASPER COURT                           ¨ Contingent
         NAUGATUCK CT 06770
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1751. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $100.60                 $100.60
         DIGGINS, RACHEL S
         157 FERRIS AVE                           ¨ Contingent
         RUMFORD RI 02916
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 584 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 694 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1752. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $220.18                 $220.18
         DIGGS, NIAJA
         244 CROLL DRIVE                          ¨ Contingent
         ANNAPOLIS MD 21401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1753. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $230.53                 $230.53
         DIGIACOMO, KRISTA M
         8325 BIG ACORN CIRCLE                    ¨ Contingent
         801
         NAPLES FL 34119                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1754. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $44.40                  $44.40
         DIGNAN, KAYLA
         126 DAKOTA STREET                        ¨ Contingent
         RONKONKOMA NY 11779
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 585 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 695 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1755. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $94.32                  $94.32
         DIJULIO, MARA S
         2112 FLOYD AVE. APT#47                   ¨ Contingent
         MODESTO CA 95355
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1756. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $123.90                 $123.90
         DILAURO, OLIVIA R
         8 STUART DRIVE                           ¨ Contingent
         EAST BRUNSWICK NJ 08816
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1757. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.84                 $164.84
         DILES, PASSION
         304 COLLEGE PARK DR                      ¨ Contingent
         APT 2S
         NORMAL IL 61761                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 586 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 696 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1758. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $272.66                 $272.66
         DILLARD, JORDAN L
         9324 MANGROVE CT.                        ¨ Contingent
         TAMPA FL 33647
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1759. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.91                  $81.91
         DILLON, DINA
         316 E CALLA RD                           ¨ Contingent
         POLAND OH 44514
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1760. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $92.17                  $92.17
         DILWORTH, MADISON J
         601 COLLEGE ST                           ¨ Contingent
         CLARKSVILLE TN 37040
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 587 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 697 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1761. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $118.39                 $118.39
         DILWORTH, ROBERT CHRISTOP
         4313 CALIBRE CREEK PRKWY                 ¨ Contingent
         ROSWELL GA 30076
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1762. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $97.46                  $97.46
         DIMAGGIO, SIMONA T
         118 WILLIAMSBURG DRIVE                   ¨ Contingent
         118
         EVANSVILLE IN 47715                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1763. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $193.27                 $193.27
         DIMANGONDAYAO, OLIVIA
         5552 MARY ANN CT                         ¨ Contingent
         OAK FOREST IL 60452
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 588 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 698 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1764. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $267.24                 $267.24
         DIMAPILIS, JILLIAN IZZYL V
         31620 VIA DEL PASO                       ¨ Contingent
         WINCHESTER CA 92596
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1765. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $137.40                 $137.40
         DIMAS, STEPHANIE
         4181 41ST STREET                         ¨ Contingent
         8
         SAN DIEGO CA 92105                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1766. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,194.93               $1,194.93
         DINGMAN, RACHEL L
         18533 FAIRLAWN AVE                       ¨ Contingent
         PRIOR LAKE MN 55372
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 589 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 699 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1767. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,636.18               $1,636.18
         DIOGENE, DIONA
         1263 HAZELWOOD ST                        ¨ Contingent
         APT 304
         SAINT PAUL MN 55106-2325                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1768. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $757.02                 $757.02
         DIPASQUALE, GEENA M
         17 SUNSET WAY                            ¨ Contingent
         BINGHAMTON NY 13901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1769. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,187.34               $3,187.34
         DIPIETRANTONIO, JENNIFER J
         61 WINCHESTER COURT                      ¨ Contingent
         READING PA 19606
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 590 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 700 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1770. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $520.96                 $520.96
         DIRK, CONSTANCE
         61 SAND CREEK LANE                       ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1771. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $137.45                 $137.45
         DIRUBBO, ELISHA
         100 THIRD ST                             ¨ Contingent
         COLCHESTER VT 05446-6892
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1772. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $47.73                  $47.73
         DISPENZA, TAYLOR
         6430 MAIN ROAD                           ¨ Contingent
         LOCKPORT NY 14094
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 591 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 701 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1773. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $117.99                 $117.99
         DISTEFANO, JANEL B
         1419 IMPERIAL RD                         ¨ Contingent
         APT A
         COLORADO SPRINGS CO 80918                ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1774. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $31.04                  $31.04
         DITTA, ALIYAH F
         3055 HOLLEMAN DR                         ¨ Contingent
         MONTGOMERY TX 77845
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1775. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $188.16                 $188.16
         DIXON, KERRI J
         3130 W. MITCHELL ST.                     ¨ Contingent
         MILWAUKEE WI 53215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 592 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 702 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1776. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $95.45                  $95.45
         DIXON, MCKENNA M
         308 ERNEST ST                            ¨ Contingent
         WASHINGTON IL 61571
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1777. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $179.35                 $179.35
         DIXON, ZYKIRA T
         990 NEWTON CIRCLE                        ¨ Contingent
         ROCKLEDGE FL 32955
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1778. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $303.34                 $303.34
         DJORDJEVIC, SANJA
         6739 W. 130TH AVENUE                     ¨ Contingent
         CEDAR LAKE IN 46303
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 593 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 703 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1779. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,410.24               $1,410.24
         DLUGOPOLSKI, DEXIRE
         2617 COLE AVENUE                         ¨ Contingent
         22
         WACO TX 76707                            ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1780. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $9,263.00               $9,263.00
         DMITRUK, AMANDA W
         23 BEACON POINT DR                       ¨ Contingent
         SANTA ROSA BEACH FL 32459
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1781. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $996.48                 $996.48
         DO, TRACY T
         14202 FLOWER ST                          ¨ Contingent
         APT U
         GARDEN GROVE CA 92843                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 594 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 704 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1782. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $219.65                 $219.65
         DOBBS, ROBINSON SHATEYA J
         249 NORTH 16TH STREET                    ¨ Contingent
         BLOOMFIELD NJ 07003
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1783. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,579.93               $2,579.93
         DOBLESKI, JAMIE A
         4543 HEMMINGWAY DRIVE                    ¨ Contingent
         KALAMAZOO MI 49009
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1784. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $152.70                 $152.70
         DODAK, JOY
         6748 WINONA CIRCLE                       ¨ Contingent
         MIDDLEBURG HEIGHTS OH 44130
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 595 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 705 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1785. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $50.49                  $50.49
         DODD, KATIA
         631 PEPPER TREE                          ¨ Contingent
         HENDERSON NV 89014
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1786. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $510.18                 $510.18
         DODSON, ALEXIS L
         12 SHIRLWIN DRIVE                        ¨ Contingent
         GRANITE CITY IL 62040
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1787. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $82.72                  $82.72
         DOE, MAGDALENA E
         1106 W. HURON ST                         ¨ Contingent
         TUCSON AZ 85745
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 596 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 706 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1788. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.62                 $153.62
         DOEPPE, ESTHER
         180 CARNEGIE DR                          ¨ Contingent
         NEWPORT NEWS VA 23606
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1789. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $152.50                 $152.50
         DOHM, ALEXIS M
         19530 W NORWOOD DR                       ¨ Contingent
         NEW BERLIN WI 53146
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1790. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $377.29                 $377.29
         DOLAN, MARGO-ANN A
         47-225 HUI AKIKIKI PLACE UNIT            ¨ Contingent
         KANEOHE HI 96744
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 597 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 707 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1791. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $222.41                 $222.41
         DOMINGO, LEANNE D
         473 HILINAI STREET                       ¨ Contingent
         WAILUKU HI 96793
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1792. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $257.07                 $257.07
         DOMINGUEZ, ALONDRA
         145 OLIVER CT APT E                      ¨ Contingent
         SCHAUMBURG IL 60193
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1793. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $237.03                 $237.03
         DOMINGUEZ, CRYSTAL
         1017 SW 16TH ST                          ¨ Contingent
         MOORE OK 73160
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 598 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 708 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1794. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $313.16                 $313.16
         DOMINGUEZ, DESIRAE M
         629 E CANTEBRIA DR                       ¨ Contingent
         GILBERT AZ 85296
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1795. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,996.85               $3,996.85
         DOMINGUEZ, JAMIE
         7476 E ARKANSAS AVE                      ¨ Contingent
         #3204
         DENVER CO 80231                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1796. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $433.47                 $433.47
         DOMINGUEZ, LILIANA
         1515 GLYNN OAKS DR                       ¨ Contingent
         ARLINGTON TX 76010-5912
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 599 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 709 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1797. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.78                 $121.78
         DOMINGUEZ, VALERIE E
         461 VICTOR ST                            ¨ Contingent
         SADDLE BROOK NJ 07663
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1798. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $626.18                 $626.18
         DONAWAY, BRITTANEY L
         5541 BEN DAVIS RD                        ¨ Contingent
         PITTSVILLE MD 21850
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1799. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $193.38                 $193.38
         DONES, DANIELLA
         675 RAINBOW CIRCLE                       ¨ Contingent
         KISSIMMEE FL 34741
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 600 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 710 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1800. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $252.00                 $252.00
         DONES, MANUELA
         7746 BONNER AVE                          ¨ Contingent
         SUN VALLEY CA 91352-4433
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1801. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,186.18               $3,186.18
         DONICH, JOCELYN R
         2823 GILA BEND                           ¨ Contingent
         COPPERAS COVE TX 76522
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1802. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $630.75                 $630.75
         DONLIN, KAITLIN
         7595 N GLENEAGLE DR                      ¨ Contingent
         KALAMAZOO MI 49048-8615
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 601 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 711 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1803. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,623.70               $3,623.70
         DONNELLY, MELISSA L
         566 BAXTER ST                            ¨ Contingent
         BRICK NJ 08723-6457
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1804. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,175.32               $3,175.32
         DONNER, BRITTANY
         2585 N CRAMER STREET APT #203            ¨ Contingent
         MILWAUKEE WI 53211
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1805. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,530.73               $1,530.73
         DONNER, JESSICA
         1860 BRETT ST                            ¨ Contingent
         215
         PITTSBURGH PA 15205                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 602 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 712 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1806. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $86.95                  $86.95
         DONOFRIO, STEPHANY L
         5631 S PARK BLVD                         ¨ Contingent
         Y61
         PARMA OH 44134                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1807. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,186.48               $2,186.48
         DORAN, RACHAEL M
         5204 MILLER ST                           ¨ Contingent
         INDIANAPOLIS IN 46241-3939
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1808. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $547.25                 $547.25
         DOREUS, DANIELLA
         4814 TAHITI LN                           ¨ Contingent
         NAPLES FL 34112
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 603 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 713 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1809. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $119.88                 $119.88
         DOREY, NICOLE
         269 JEWELL ROAD                          ¨ Contingent
         GANSEVOORT NY 12831
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1810. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $152.00                 $152.00
         DORNER, SAMANTHA L
         110 WESTWOOD DRIVE                       ¨ Contingent
         DINGMANS FERRY PA 18328
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1811. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,134.40               $4,134.40
         DOROTEO, JUANITA
         3985 LANCOME ST                          ¨ Contingent
         LAS VEGAS NV 89115-2431
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 604 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 714 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1812. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,343.56               $2,343.56
         DOROZ, ANETA J
         7 ESTHER CIRCLE                          ¨ Contingent
         OXFORD MA 01540
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1813. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $211.07                 $211.07
         DORSEY, SHAQUEVIA
         261 NE 38TH STREET APT D209              ¨ Contingent
         D209
         OAKLAND PARK FL 33334                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1814. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $157.36                 $157.36
         DORTA, KHADIJAH N
         3000 MONROE ST                           ¨ Contingent
         APT 12
         MELBOURNE FL 32901                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 605 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 715 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1815. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,932.56               $2,932.56
         DORUNDA, REBECCA
         50 BARBARA ST.                           ¨ Contingent
         WESTFIELD MA 01085
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1816. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $65.56                  $65.56
         DOSUNMU, PRINCESS N
         1008 15TH ST.                            ¨ Contingent
         SIOUX CITY IA 51105
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1817. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $115.26                 $115.26
         DOTSON, CHELBY J
         945 SANTA VERA DRIVE                     ¨ Contingent
         CHANHASSEN MN 55317
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 606 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 716 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1818. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,399.28               $3,399.28
         DOTSON, SHANNON R
         5801 PARK DRIVE                          ¨ Contingent
         BOWIE MD 20715-2931
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1819. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $183.60                 $183.60
         DOUGHERTY, GRACE E
         1237 ROWLAND DRIVE                       ¨ Contingent
         HERNDON VA 20170
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1820. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.98                  $36.98
         DOUGLAS, CHYNA M
         3051 S SOUTH VALLEY LANE APT.D           ¨ Contingent
         D5
         SPRINGFIELD MO 65807                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 607 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 717 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1821. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $752.92                 $752.92
         DOUGLAS, DESHAUN
         10810 WESTCHERSTER STREET                ¨ Contingent
         WALDORF MD 20602
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1822. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $94.16                  $94.16
         DOUMBIA, AICHATTA
         2450 RHODE ISLAND AVE N                  ¨ Contingent
         2450
         GOLDEN VALLEY MN 55427                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1823. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $132.81                 $132.81
         DOUMBIA, AMINATA
         2450 RHODE ISLAND AVE N                  ¨ Contingent
         GOLDEN VALLEY MN 55427
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 608 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 718 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1824. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $41.09                  $41.09
         DOUPHINETTE, KAITLIN
         170 ROUTE 27                             ¨ Contingent
         RAYMOND NH 03077
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1825. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.00                  $81.00
         DOVEL, CHEYENNE
         811 N ST.                                ¨ Contingent
         317
         LINCOLN NE 68508                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1826. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $109.68                 $109.68
         DOWDLE, SKYLAR
         18 JACKSON VIEW RD                       ¨ Contingent
         ASHEVILLE NC 28806
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 609 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 719 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1827. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $245.49                 $245.49
         DOWELL, NIAA
         1425 29TH STREET                         ¨ Contingent
         DES MOINES IA 50311
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1828. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $140.42                 $140.42
         DOWNS, SKYLAR R
         233 MEADOW DR                            ¨ Contingent
         HORSEHEADS NY 14845
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1829. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.87                 $122.87
         DOWSE, BONITA M
         2781 WEST DESERT SHADOWS PLACE           ¨ Contingent
         TUCSON AZ 85745
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 610 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 720 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1830. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,149.40               $2,149.40
         DOYLE, LAZARUS L
         210 E OLDFIELD LANE                      ¨ Contingent
         APT D
         MUNCIE IN 47303                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1831. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $105.60                 $105.60
         DOZIER, STEPHANIE
         4268 37TH ST                             ¨ Contingent
         SAN DIEGO CA 92105
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1832. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $270.77                 $270.77
         DRAKE, JASMINE A
         433 TAYLOR                               ¨ Contingent
         KENNER LA 70062
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 611 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 721 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1833. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $174.02                 $174.02
         DRAKE, KYLIE M
         11405 THAMES FARE WAY                    ¨ Contingent
         LITHIA FL 33547
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1834. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $502.94                 $502.94
         DRENNEN, CASSANDRA M
         3273 LINDAHL RD.                         ¨ Contingent
         PROCTOR MN 55810
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1835. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $553.09                 $553.09
         DRESSLER, SHANNON L
         710 NEPTUNE AVENUE                       ¨ Contingent
         BEACHWOOD NJ 08722
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 612 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 722 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1836. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $373.56                 $373.56
         DROZE, ESSLITH J
         10616 TOWNER AVE NE                      ¨ Contingent
         APT B
         ALBUQUERQUE NM 87112                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1837. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $473.14                 $473.14
         DRUMMOND, MARY K
         2621 SOUTH XANADU WAY                    ¨ Contingent
         D
         AURORA CO 80014                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1838. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $329.40                 $329.40
         DRURY, JULIA
         15 FLETCHER STREET                       ¨ Contingent
         DUNSTABLE MA 01827
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 613 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 723 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1839. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $6,926.24               $6,926.24
         DRURY, LINDSEY R
         22 BRIAR LANE                            ¨ Contingent
         SOUTHINGTON CT 06489
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1840. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $102.60                 $102.60
         DUARTE, BRANDY
         753 OAK LEE LANE                         ¨ Contingent
         ALPINE CA 91901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1841. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $74.04                  $74.04
         DUARTE, SARAHY
         419 EAST HILLS RD                        ¨ Contingent
         COLORADO SPRINGS CO 80909
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 614 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 724 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1842. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $145.44                 $145.44
         DUARTE, VALERIE
         901 W GONZALES RD                        ¨ Contingent
         APT 215
         OXNARD CA 93036                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1843. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.73                  $81.73
         DUARTE-ESPINOZA, CRYSTA L
         2919 E EASTLAND                          ¨ Contingent
         TUCSON AZ 85716
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1844. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $216.64                 $216.64
         DUBEY, KAITLYN
         215 FOX RIDGE CIR                        ¨ Contingent
         JOHNS CREEK GA 30022
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 615 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 725 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1845. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $509.82                 $509.82
         DUBOSE, DIAMOND M
         614 HIGHGATE AVE                         ¨ Contingent
         BUFFALO NY 14215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1846. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,164.66               $2,164.66
         DUBUC, NICOLETTE J
         4511 HUNT CLUB DRIVE                     ¨ Contingent
         1D
         YPSILANTI MI 48197                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1847. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $84.09                  $84.09
         DUDLEY, ALYSSA K
         12601 HARRIS ST.                         ¨ Contingent
         CARLETON MI 48117
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 616 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 726 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1848. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $426.56                 $426.56
         DUEN, MELANIE J
         7635 TIMBERLIN PARK BLVD.                ¨ Contingent
         128
         JACKSONVILLE FL 32256                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1849. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $160.34                 $160.34
         DUFF, AMANDA K
         607 PLANTATION DRIVE                     ¨ Contingent
         RINCON GA 31326
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1850. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,001.34               $2,001.34
         DUFFY, ALLISON L
         1769 E HAYES                             ¨ Contingent
         HAZEL PARK MI 48030-2624
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 617 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 727 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1851. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $340.20                 $340.20
         DUHART, DEJA R
         27718 MOONRIDGE DR.                      ¨ Contingent
         MENIFEE CA 92585
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1852. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $462.77                 $462.77
         DUHR, LAYNA M
         9756 GREENRIDGE HEIGHTS RD               ¨ Contingent
         FAIRVIEW HEIGHTS IL 62208
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1853. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,826.81               $2,826.81
         DUK, SYVIER P
         3370 CATHEDRAL CIRCLE                    ¨ Contingent
         STOCKTON CA 95212
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 618 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 728 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1854. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $38.15                  $38.15
         DUKE, AMANI
         144 BROOKMEADOW CT. SW                   ¨ Contingent
         APT. 6
         GRANDVILLE MI 49418                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1855. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $193.79                 $193.79
         DULAN, PARISA A
         5306 SW 10TH AVE                         ¨ Contingent
         APT B
         TOPEKA KS 66604-2030                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1856. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,073.80               $1,073.80
         DUMAS, ODYSSEY C
         2201 9TH AVE SOUTH                       ¨ Contingent
         COLUMBUS MS 39701
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 619 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 729 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1857. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $622.38                 $622.38
         DUNLAP, JESSICA
         4537 W 174TH ST                          ¨ Contingent
         CLEVELAND OH 44135
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1858. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $182.07                 $182.07
         DUNMYER, VICTORIA J
         427 S CAMDEN AVE                         ¨ Contingent
         FRUITLAND MD 21826
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1859. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $377.40                 $377.40
         DUNN, ALEXANDRIA T
         31560 FLORENCE                           ¨ Contingent
         GARDEN CITY MI 48135
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 620 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 730 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1860. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $171.50                 $171.50
         DUNN, ALEXSIS D
         1395 HANNIBAL STREET                     ¨ Contingent
         NOBLESVILLE IN 46060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1861. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $25.73                  $25.73
         DUNN, KAMERON M
         6112 NORTH WOOD LAKE DR E                ¨ Contingent
         NORTHPORT AL 35473
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1862. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.80                 $164.80
         DUNNING, CATHLEEN E
         3310 S. WALNUT CREEK PKWY                ¨ Contingent
         APT. H
         RALEIGH NC 27606                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 621 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 731 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1863. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $101.76                 $101.76
         DUPLANTIS, BONILLA HILAIZA
         8 PLYMOUTH ST                            ¨ Contingent
         EVERETT MA 02149
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1864. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $522.59                 $522.59
         DUPLECHAIN, JENNA N
         101 E ROMANA ST                          ¨ Contingent
         UNIT 360
         PENSACOLA FL 32502                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1865. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $42.08                  $42.08
         DURAN, BRIANNA
         1032 FRISCO HILLS BLVD                   ¨ Contingent
         LITTLE ELM TX 75068
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 622 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 732 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1866. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $174.05                 $174.05
         DURAN, EMILI
         30399 SW THOMAS ST                       ¨ Contingent
         UNIT 2507
         WILSONVILLE OR 97070                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1867. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,857.30               $1,857.30
         DURAN, KIMBERLY S
         116 FORBES LN                            ¨ Contingent
         VENTURA CA 93001-1317
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1868. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,233.06               $4,233.06
         DURAND-JONES, JENNIFER
         3252 CLEARING CIR                        ¨ Contingent
         CORONA CA 92882-8362
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 623 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 733 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1869. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $206.12                 $206.12
         DURANT, DAISHA
         6560 SNOWBIRD LN                         ¨ Contingent
         DOUGLASVILLE GA 30135
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1870. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $461.83                 $461.83
         DURAWA, SYDNEY
         1023 SPENCERPORT RD                      ¨ Contingent
         APARTMENT 4
         ROCHESTER NY 14606                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1871. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $140.48                 $140.48
         DURDEN, SALEXCIA
         517 SLATER AVE                           ¨ Contingent
         HAMPTON VA 23664
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 624 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 734 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1872. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $327.69                 $327.69
         DURHAM, ALISSA
         1317 HOSMER CT                           ¨ Contingent
         WAKE FOREST NC 27587
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1873. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,179.34               $1,179.34
         DURHAM, DARNEISHIA D
         6181 VILLAGE PARK RD                     ¨ Contingent
         MEMPHIS TN 38141
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1874. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $112.88                 $112.88
         DURRANT, ANIJA R
         837 W GORDON STREET                      ¨ Contingent
         APT C
         ALLENTOWN PA 18102                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 625 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 735 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1875. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $137.75                 $137.75
         DURRETT, DONNA M
         520 ROSEDALE ST                          ¨ Contingent
         PITTSBURGH PA 15221
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1876. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,430.62               $2,430.62
         DUSTIN, JANET
         433 WINTERBERRY CT                       ¨ Contingent
         HOWELL NJ 07731
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1877. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $342.72                 $342.72
         DUVALL, ERIKA M
         2612 WENTWORTH RD                        ¨ Contingent
         PARKVILLE MD 21234
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 626 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 736 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1878. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $540.10                 $540.10
         DWYER, KHARSYN J
         8657 GREEN BRANCH LOOP                   ¨ Contingent
         BRYAN TX 77808
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1879. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $154.35                 $154.35
         DWYER, PATRIZIA
         5080 GAUTIER-VANCLEAVE RD. #C9           ¨ Contingent
         GAUTIER MS 39553
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1880. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $179.19                 $179.19
         D'ZURILLA, AMANDA N
         1230 BRIGHTON LANE                       ¨ Contingent
         BOGART GA 30622
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 627 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 737 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1881. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.77                  $36.77
         EAKINS, KEANA L
         8177 AUTUMN LANE                         ¨ Contingent
         WEST CHESTER OH 45069
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1882. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $207.80                 $207.80
         EASON, THALIYYAH
         3819 CAVEROW AVE                         ¨ Contingent
         PENNSAUKEN NJ 08110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1883. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $229.80                 $229.80
         EASTER, EBONY E
         11052 BRATTLEBORO CIRCLE                 ¨ Contingent
         MATHER CA 95655
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 628 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 738 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1884. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,949.82               $2,949.82
         EASTMAN, ANDREA M
         3270 UNION RD                            ¨ Contingent
         CHEEKTOWAGA NY 14227
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1885. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $119.71                 $119.71
         EATON, KARISSA D
         179 SCAREY LANE                          ¨ Contingent
         CAMDENTON MO 65020
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1886. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $139.20                 $139.20
         EBERSOLE, CARLY E
         2802 MAPLE AVE                           ¨ Contingent
         ALTOONA PA 16601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 629 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 739 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1887. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $146.91                 $146.91
         EBERT, MELANIE
         5016 CHURCH RD                           ¨ Contingent
         MOUNT LAUREL NJ 08054-9601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1888. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $174.00                 $174.00
         ECHEVARRIA, ZAYMARA
         CALLE PANORAMA                           ¨ Contingent
         APT 12
         TRUJILLO ALTO PR 00976                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1889. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $232.81                 $232.81
         ECKARD, SAIGE M
         10390 KNOB RD                            ¨ Contingent
         MERCERSBURG PA 17236
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 630 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 740 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1890. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $125.16                 $125.16
         EDMUNDS, LINDSEY
         18402 NE 83RD ST                         ¨ Contingent
         VANCOUVER WA 98682
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1891. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $60.03                  $60.03
         EDWARDS, DAJHA L
         12646 W. LA BELLE                        ¨ Contingent
         28B 1224
         BATON ROUGE LA 70815                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1892. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $346.20                 $346.20
         EDWARDS, DEANNA N
         19539 E COVINA BLVD APT 211              ¨ Contingent
         211
         COVINA CA 91724                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 631 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 741 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1893. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $227.40                 $227.40
         EDWARDS, DEBORA
         137 EAST MAIN ST APT2                    ¨ Contingent
         PAHOHEE FL 33476
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1894. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.69                 $121.69
         EDWARDS, JANELLE
         4946 RIDGE HARBOR                        ¨ Contingent
         HOUSTON TX 77053
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1895. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $96.80                  $96.80
         EDWARDS, SIMONE L
         11 FALL AVE LOT B                        ¨ Contingent
         SAVANNAH GA 31405
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 632 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 742 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1896. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $185.62                 $185.62
         EDWARDS, STACY-ANN C
         4E COLONIAL CREST DR                     ¨ Contingent
         LANCASTER PA 17601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1897. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $102.75                 $102.75
         EGAN, CATHERINE
         6103 TOBEY COURT                         ¨ Contingent
         SPRINGFIELD VA 22150
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1898. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $178.55                 $178.55
         EGGEBRECHT, KAILER C
         5015 HAINES AVE                          ¨ Contingent
         RAPID CITY SD 57701
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 633 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 743 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1899. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,812.03               $5,812.03
         EISIMINGER, LAURA
         1540 N MAIN ST.                          ¨ Contingent
         WILLIAMSTOWN NJ 08094
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1900. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $44.69                  $44.69
         EL, HASSAN LEAH
         800 N BROAD ST.                          ¨ Contingent
         APT. 60
         ELIZABETH NJ 07208                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1901. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $94.81                  $94.81
         ELBELTAGI, TATIANNA O
         447 N ARMISTEAD ST.                      ¨ Contingent
         2
         ALEXANDRIA VA 22312                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 634 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 744 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1902. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $191.70                 $191.70
         ELCIK, JESSICA L
         88-42 79TH AVENUE                        ¨ Contingent
         GLENDALE NY 11385
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1903. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.21                 $121.21
         ELDER, ISABELLA R
         9302 ST GEORGE RD                        ¨ Contingent
         9302 ST GEORGE
         PEYTON CO 80831                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1904. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $157.21                 $157.21
         ELDRIDGE, SOPHIA
         3878 LEWIS LN                            ¨ Contingent
         OWENSBORO KY 42301
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 635 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 745 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1905. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $185.28                 $185.28
         ELIAS, BRIANA S
         113 OLEANDER AVE                         ¨ Contingent
         SAVANNAH GA 31404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1906. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,797.69               $1,797.69
         ELIE, DJENNY
         227-15 113TH AVENUE                      ¨ Contingent
         QUEENS VILLAGE NY 11429
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1907. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $187.52                 $187.52
         ELIZALDE, OSCAR D
         1011 WONDER WORLD                        ¨ Contingent
         APT 1816
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 636 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 746 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1908. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $67.93                  $67.93
         ELKETTANI, MONA
         3614 JUNEBERRY DRIVE                     ¨ Contingent
         WESLEY CHAPEL FL 33543
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1909. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.06                  $62.06
         ELLEDGE, EMILY C
         158 MYRICK ROAD                          ¨ Contingent
         LUMBERTON MS 39455
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1910. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $105.83                 $105.83
         ELLINGTON, JASMINE M
         4021 BILLINGSGATE ROAD                   ¨ Contingent
         ORLANDO FL 32839
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 637 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 747 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1911. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.99                  $36.99
         ELLIOTT, FELICIA R
         400 CATTELL AVE                          ¨ Contingent
         OAKLYN NJ 08107
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1912. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $248.37                 $248.37
         ELLIOTT, JADA E
         21 SUNSET DRIVE                          ¨ Contingent
         21
         LAUREL DE 19956                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1913. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $218.37                 $218.37
         ELLIOTT, JAYLA
         433 HILLANDALE DR                        ¨ Contingent
         JACKSON MS 39212
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 638 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 748 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1914. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,759.36               $2,759.36
         ELLIOTT, MICHELLE M
         3465 ROSETTA STREET                      ¨ Contingent
         MUNHALL PA 15120
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1915. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $88.15                  $88.15
         ELLIS, CIARA R
         102 BELAIR LOOP                          ¨ Contingent
         JACKSONVILLE AR 72076
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1916. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $194.04                 $194.04
         ELLIS, MORRIGAN L
         3431 NORTH FLOWING WELLS RD              ¨ Contingent
         UNIT 57
         TUCSON AZ 85707                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 639 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 749 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1917. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $35.48                  $35.48
         ELLIS, PATIENCE N
         1228 NIMITZ WAY                          ¨ Contingent
         1228 NIMITZ WA
         MESQUITE TX 75181                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1918. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $173.94                 $173.94
         ELLIS, SHUNDA N
         1302 RIVAGE CIR                          ¨ Contingent
         BRANDON FL 33511
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1919. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $18.74                  $18.74
         ELMORE, TENIKA L
         2021 EAST 51STREET                       ¨ Contingent
         SAVANNAH GA 31404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 640 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 750 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1920. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,330.80               $1,330.80
         ELMORE, ZSAISHMA T
         11 BRANSFIELD RD.                        ¨ Contingent
         GREENVILLE SC 29615
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1921. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $493.02                 $493.02
         ELY, ERIN
         180 WALNUT ST                            ¨ Contingent
         WILLIMANTIC CT 06226
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1922. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $275.22                 $275.22
         EMERY, NICOLE B
         15919 GOLD CIRCLE                        ¨ Contingent
         OMAHA NE 68130
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 641 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 751 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1923. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $52.95                  $52.95
         EMI, AYANNA N
         83 CENTRAL AVE                           ¨ Contingent
         3
         ALBANY NY 12206                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1924. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $521.25                 $521.25
         ENCALADA, PAOLA L
         80-35 88TH RD                            ¨ Contingent
         1
         WOODHAVEN NY 11421                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1925. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $643.89                 $643.89
         ENGERON, TAYLOR R
         120 YELLOWSTONE ST                       ¨ Contingent
         KENNER LA 70065-1037
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 642 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 752 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1926. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $208.80                 $208.80
         ENIX, GENIECE K
         66/ BELMONT AVENUE                       ¨ Contingent
         JERSEY CITY NJ 07304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1927. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $31.68                  $31.68
         ENNIS, SHYANN M
         9310 E MAIN ST LOT 131                   ¨ Contingent
         MESA AZ 85207
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1928. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $136.61                 $136.61
         ENRIQUEZ, VICTORIA A
         3361 MARTIN COUNTY ROAD 2050             ¨ Contingent
         STANTON TX 79782
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 643 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 753 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1929. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $59.94                  $59.94
         ENRIQUEZ, YOLANDA C
         12201 E ALASKA AVE                       ¨ Contingent
         AURORA CO 80012
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1930. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $174.95                 $174.95
         ENSBRENNER, TAYLOR L
         1176 E ARLINGTON RD                      ¨ Contingent
         ERIE PA 16504-2706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1931. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $274.53                 $274.53
         ENWRIGHT, BROOKE K
         1566 DORCHESTER ST                       ¨ Contingent
         PORT CHARLOTTE FL 33952
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 644 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 754 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1932. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,191.84               $2,191.84
         ERAKAT, SHERIN
         8040 MARION                              ¨ Contingent
         #3E
         JUSTICE IL 60458                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1933. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $435.05                 $435.05
         ERB, JENNA M
         1029 LATROBE ST                          ¨ Contingent
         PARKERSBURG WV 26101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1934. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $109.28                 $109.28
         ERB, SAMANTHA M
         24 4TH STREETH                           ¨ Contingent
         DOUGLASVILLE PA 19518
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 645 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 755 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1935. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $116.01                 $116.01
         ERICKSON, BROOKE E
         6885 EL TERRA RD                         ¨ Contingent
         OSAGE BEACH MO 65065
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1936. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $301.90                 $301.90
         ERICKSON, CYDNEY L
         081 W 200 S                              ¨ Contingent
         PORTLAND IN 47371
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1937. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,688.44               $1,688.44
         ERIVES, PAOLA
         1820 MCDANIEL ST                         ¨ Contingent
         NORTH LAS VEGAS NV 89030
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 646 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 756 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1938. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.52                 $122.52
         ERRAR, TIARA
         8554 BRAYLEN MANOR DRIVE                 ¨ Contingent
         DOUGLASVILLE GA 30134
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1939. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $211.16                 $211.16
         ERTLE, RACHEL
         7304 ATLANTIC AVE                        ¨ Contingent
         WILDWOOD CREST NJ 08260
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1940. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $383.27                 $383.27
         ERVIN, KELLEY M
         23527 BLUE FOX RD                        ¨ Contingent
         FOUNTAIN FL 32438
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 647 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 757 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1941. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $123.00                 $123.00
         ESAMAR, PEREZ VIRGINIA
         2308 DAYTON AVE                          ¨ Contingent
         BAKERSFIELD CA 93304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1942. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $424.74                 $424.74
         ESCALANTE, MARIBEL I
         5482 TUCSON ST                           ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1943. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $198.27                 $198.27
         ESCALERA, JENNIFER J
         211 HILLCREST AVE                        ¨ Contingent
         BROOKLYN MD 21225
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 648 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 758 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1944. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $286.71                 $286.71
         ESCAMILLA, DALLAS A
         1940 EAST PARKWAY                        ¨ Contingent
         DELAND FL 32724
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1945. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.64                 $143.64
         ESCOBAR, ALYSSA D
         2551 TILLER AVE                          ¨ Contingent
         PORT HUENEME CA 93041
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1946. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $0.00                   $0.00
         ESCOBAR, JENNIFER
         2135 MEANDERING DR                       ¨ Contingent
         IRVING TX 75060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 649 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 759 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1947. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $664.30                 $664.30
         ESCOBAR, JENNIFER
         2135 MEANDERING DR                       ¨ Contingent
         IRVING TX 75060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1948. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $313.45                 $313.45
         ESCOBEDO, ANGELICA A
         11467 DENNIS RD                          ¨ Contingent
         1055
         DALLAS TX 75229                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1949. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $742.65                 $742.65
         ESCOBEDO, GRETHEL
         775 TREAT AVE                            ¨ Contingent
         #3
         SAN FRANCISCO CA 94110                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 650 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 760 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1950. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $73.12                  $73.12
         ESCOBEDO, JESSICA N
         4002 SOUTHERLAND RD                      ¨ Contingent
         11
         HOUSTON TX 77092-4431                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1951. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $40.89                  $40.89
         ESCUTIA, ANGELIQUE P
         1821 SWALLOW CT                          ¨ Contingent
         EAST LANSING MI 48823
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1952. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $228.36                 $228.36
         ESHO, LYDYA N
         2751 W GLENLAKE                          ¨ Contingent
         CHICAGO IL 60659
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 651 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 761 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1953. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $127.71                 $127.71
         ESPERICUETA, FONSECA ODALIS
         812 N 28TH ST                            ¨ Contingent
         PHOENIX AZ 85008
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1954. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.60                 $153.60
         ESPINAL, YASMEEN N
         5040 COMANCHE DR                         ¨ Contingent
         117
         LA MESA CA 91942                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1955. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $10.31                  $10.31
         ESPINOSA, FATIMA
         377 JAY ST                               ¨ Contingent
         ELGIN IL 60120
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 652 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 762 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1956. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $57.55                  $57.55
         ESPINOSA, JENNIFER B
         1997 MAYFLOWER DR                        ¨ Contingent
         WOODBRIDGE VA 22192
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1957. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $481.28                 $481.28
         ESPINOZA, BIANKA R
         2135 SIERRA WAY                          ¨ Contingent
         OXNARD CA 93033-5715
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1958. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,373.18               $1,373.18
         ESPINOZA, DAISY
         1143 HICKORY TRL                         ¨ Contingent
         GARLAND TX 75040-7446
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 653 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 763 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1959. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.00                 $104.00
         ESPINOZA, DAISY
         1719 AVENUE C                            ¨ Contingent
         FRESNO TX 77545
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1960. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.23                 $107.23
         ESPINOZA, YULISA
         8735 STATE ROAD 38 EAST                  ¨ Contingent
         LAFAYETTE IN 47905
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1961. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $222.84                 $222.84
         ESPOSITO, LYDIA C
         360 E. BRADLEY AVE.                      ¨ Contingent
         28
         EL CAJON CA 92021                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 654 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 764 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1962. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $8,268.72               $8,268.72
         ESQUEJO, RONALD C
         20857 GRAPEVINE DRIVE                    ¨ Contingent
         DIABLO GRANDE CA 95363
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1963. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $434.71                 $434.71
         ESQUILIN, ANNE
         746 S CARLDON ST REAR                    ¨ Contingent
         ALLENTOWN PA 18103
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1964. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $353.43                 $353.43
         ESTASSIN, FATCHENSKY
         11625 JEFFERSON COMMONS CIRC             ¨ Contingent
         UNIT 411A
         ORLANDO FL 32826                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 655 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 765 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1965. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $25.49                  $25.49
         ESTEVEZ, GISSELLE
         1103 HIGHLANDS DR APT 1                  ¨ Contingent
         NAPLES FL 34103
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1966. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $100.40                 $100.40
         ESTRADA, ABRIL A
         1095 QUINTO SOL                          ¨ Contingent
         VADO NM 88072
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1967. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $77.40                  $77.40
         ESTRADA, ANA
         25427 EDGEMONT DR                        ¨ Contingent
         SAN BERNARDINO CA 92404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 656 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 766 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1968. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $181.20                 $181.20
         ESTRADA, ANTONIO
         1545 EAST MADISON AVE                    ¨ Contingent
         EL CAJON CA 92019
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1969. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $46.07                  $46.07
         ESTRADA, ASHLEY
         9474 DAMON DR.                           ¨ Contingent
         THORNTON CO 80260
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1970. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,815.28               $1,815.28
         ESTRADA, CASSANDRA
         4809 E TWINFLOWER PL                     ¨ Contingent
         TUCSON AZ 85756-5106
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 657 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 767 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1971. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $7,307.23               $7,307.23
         ESTRADA, JENNIFER M
         3018 FITZGERALD RD.                      ¨ Contingent
         SIMI VALLEY CA 93065
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1972. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $195.96                 $195.96
         ESTRADA, KARLA L
         814 MAGMOLIA AVE #4                      ¨ Contingent
         PASADENA CA 91106
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1973. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $123.96                 $123.96
         ESTRADA, RIVERA ARACELI
         9032 MONTOYA ST APT 3                    ¨ Contingent
         SACRAMENTO CA 95826
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 658 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 768 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1974. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.67                  $76.67
         ESTRADA, RYANNE S
         22232 E VIA DEL RANCHO                   ¨ Contingent
         1009
         QUEEN CREEK AZ 85142                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1975. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $150.40                 $150.40
         ESTRADA, SOFIA G
         307 W COLUMBIA AVE                       ¨ Contingent
         APT 1
         CHAMPAIGN IL 61820                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1976. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $555.27                 $555.27
         ESTRADA, STEPHANIE
         1901 FAITH AVE.                          ¨ Contingent
         BAKERSFIELD CA 93304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 659 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 769 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1977. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,076.32               $2,076.32
         EUBANKS-WILLIAMS, APRIL L
         740 COUNTRY PLACE DR                     ¨ Contingent
         TOBYHANNA PA 18466
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1978. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $79.20                  $79.20
         EUREK, MAKAYLA M
         117 W 5TH ST                             ¨ Contingent
         BELVIDERE IL 61008
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1979. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $284.88                 $284.88
         EUSTAQUIO, KAREN V
         12025 S FIGUEROA ST                      ¨ Contingent
         LOS ANGLES CA 90061
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 660 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 770 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1980. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $548.16                 $548.16
         EVANS, ASHANTI E
         2070 SOUTH JOHN RUSSELL CIRCLE           ¨ Contingent
         A
         ELKINS PARK PA 19027                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1981. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $42.95                  $42.95
         EVANS, ASHLEY D
         1201 ALBERT AVE                          ¨ Contingent
         505
         MIDLAND TX 79701                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1982. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,670.65               $3,670.65
         EVANS, ASHLEY F
         1004 OAK TERRACE DRIVE                   ¨ Contingent
         NORTH MANKATO MN 56003
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 661 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 771 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1983. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,899.46               $1,899.46
         EVANS, BRIANNA
         5301 ALPH RD                             ¨ Contingent
         APT 237
         DALLAS TX 75240                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1984. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $564.31                 $564.31
         EVANS, KELSEY M
         700 LOWER STATE RD                       ¨ Contingent
         APT 9 B-1
         NORTH WALES PA 19454                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1985. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $133.73                 $133.73
         EVANS, KENIESE R
         90 E JEFFERSON ST.                       ¨ Contingent
         APT 8
         NORTH LIBERTY IA 52317                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 662 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 772 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1986. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $120.32                 $120.32
         EVANS, MADISON J
         1206 MANHATTAN ST.                       ¨ Contingent
         APT. A
         MICHIGAN CITY IN 46360                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1987. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,208.10               $1,208.10
         EVANS, MEGAN E
         9080 LAKE CHASE ISLAND WAY               ¨ Contingent
         TAMPA FL 33626
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1988. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $37.62                  $37.62
         EVANS, SAVANNAH D
         12100 CHRISTMAN DRIVE                    ¨ Contingent
         LOUISVILLE KY 40229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 663 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 773 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1989. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $95.58                  $95.58
         EVANS, TATUM L
         60 CRESCENT COURT                        ¨ Contingent
         MORGANVILLE NJ 07751
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1990. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $198.62                 $198.62
         EVANS, TERINA L
         1288 W GALBRAITH RD                      ¨ Contingent
         CINCINNATI OH 45231
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1991. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $176.40                 $176.40
         EVERETT, MACKENZIE P
         606 ASHBY CT.                            ¨ Contingent
         ALLEN TX 75002
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 664 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 774 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1992. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $465.48                 $465.48
         EVERETT, TYLER T
         2140 NW 50TH STREET                      ¨ Contingent
         MIAMI FL 33142
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1993. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $49.96                  $49.96
         EVERETTE, MICHAELA
         22404 KOEHLER DRIVE                      ¨ Contingent
         MORGANTOWN WV 26508
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1994. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,130.61               $2,130.61
         EVERSLEY, CIRITA
         4613 BAYMAR DR                           ¨ Contingent
         103
         RALEIGH NC 27612                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 665 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 775 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1995. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $37.04                  $37.04
         EVERSOLE, MADISON B
         206 HAMPTON PLACE CT                     ¨ Contingent
         FAIRDALE KY 40118
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1996. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $189.77                 $189.77
         EWING, KANIYA
         P.O. BOX 503                             ¨ Contingent
         WOODSTOCK GA 30188
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1997. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $91.13                  $91.13
         EYERMAN, JAZMINE T
         22 COLES ROW                             ¨ Contingent
         MCKESS ROCKS PA 15136
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 666 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 776 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.1998. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $970.65                 $970.65
         EZZO, BRIANNA
         24 MIDDLE ISLAND RD                      ¨ Contingent
         MIDDLE ISLAND NY 11953-1205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.1999. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,352.96               $1,352.96
         EZZO, BROOKE
         24 MIDDLE ISLAND DR                      ¨ Contingent
         MIDDLE ISLAND NY 11953
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2000. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $68.50                  $68.50
         FABRICATORE, KATELYN M
         11144 APT E SUNBURST LANE                ¨ Contingent
         FREDERICKSBURG VA 22407
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 667 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 777 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2001. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.85                  $62.85
         FAGAN, CHEYANNE
         2282 COUNTY STREET 2956                  ¨ Contingent
         BLANCHARD OK 73010
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2002. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $236.56                 $236.56
         FAHEY, QUINN N
         755 HERON DR.                            ¨ Contingent
         MANKATO MN 56001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2003. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.00                  $32.00
         FAIRCLOTH, TIFFIANY R
         420 A HENRY STREER                       ¨ Contingent
         SUFFOLK VA 23434
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 668 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 778 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2004. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.42                 $107.42
         FAIRWEATHER, HARLEY N
         4809 PRAIRIE ASTER DR                    ¨ Contingent
         GARLAND TX TX 75043
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2005. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,274.62               $2,274.62
         FAJEMIROKUN, KEANNA
         216 SOUTH BENEDICT AVE                   ¨ Contingent
         OAK RIDGE TN 37830-7313
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2006. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $42.75                  $42.75
         FALCO, ALLISON R
         85 RIVERDALE AVE                         ¨ Contingent
         NEPTUNE CITY NJ 07753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 669 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 779 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2007. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $430.55                 $430.55
         FANNIN, MADISON H
         605 POWELL LANE                          ¨ Contingent
         404
         FLATWOODS KY 41139                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2008. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $398.00                 $398.00
         FARABAUGH, SUZANNE
         20060 VALHALLA SQUARE                    ¨ Contingent
         ASHBURN VA 20147
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2009. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,488.79               $1,488.79
         FARABEE, CHELSEA L
         3154 WALDEN RAVINES COLUMBUS             ¨ Contingent
         COLUMBUS OH 43221
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 670 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 780 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2010. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $70.09                  $70.09
         FARIA, BRIANNA
         26 CHARTER DRIVE                         ¨ Contingent
         SOUTH RIVER NJ 08882
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2011. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $203.78                 $203.78
         FARIHA, FARZANA Z
         2244 ANTONIA LN.                         ¨ Contingent
         WARREN MI 48091
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2012. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $124.11                 $124.11
         FARLEY, CIERA N
         5161 RICE ROAD                           ¨ Contingent
         24
         ANTIOCH TN 37013                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 671 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 781 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2013. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.63                 $143.63
         FARR, CHASIDY R
         1145 PARADISE VISTA DRIVE                ¨ Contingent
         HENDERSON NV 89002
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2014. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $59.32                  $59.32
         FARRALL, ALLISON V
         1904 CRACK WILLOW CT                     ¨ Contingent
         UPPER MARLBORO MD 20774
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2015. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $131.58                 $131.58
         FARRARE, KALAZIA A
         12470 CHESTNUT CIRCLE                    ¨ Contingent
         PRINCESS ANNE MD 21853
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 672 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 782 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2016. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $177.48                 $177.48
         FARRISH, REGIN I
         5500 SAMPSON STREET                      ¨ Contingent
         HOUSTON TX 77004
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2017. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $596.93                 $596.93
         FARROW, CARLEY J
         828 LEWISBERRY RD                        ¨ Contingent
         LEWISBERRY PA 17339
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2018. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,078.03               $1,078.03
         FATOVIC, ALEXYS
         32 DREXEL DRIVE                          ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 673 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 783 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2019. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $119.44                 $119.44
         FAWLING, BREYONNA
         120 DEER RIDGE DRIVE                     ¨ Contingent
         LIZELLA GA 31052
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2020. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.69                  $89.69
         FEARS, DIAMOND
         1121 UPTON AVE                           ¨ Contingent
         TOLEDO OH 43607
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2021. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $229.46                 $229.46
         FEIRER, OLIVIA M
         3036 EAST WATERFORD AVENUE               ¨ Contingent
         SAINT FRANCIS WI 53235
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 674 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 784 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2022. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $108.39                 $108.39
         FELCH, KATELYN D
         14140 BROADWAY EXT.                      ¨ Contingent
         533
         EDMOND OK 73013                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2023. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $163.99                 $163.99
         FELDMAN-RATNER, TANYA
         6151 CENTER ST                           ¨ Contingent
         207
         MENTOR OH 44060                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2024. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $552.26                 $552.26
         FELICIANO, ISAAC
         18 DUNCAN AVE                            ¨ Contingent
         PROVIDENCE RI 02906
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 675 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 785 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2025. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $64.24                  $64.24
         FELIX, KATE A
         2420 FULLERTON AVE.                      ¨ Contingent
         MCALLEN TX 78504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2026. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $117.71                 $117.71
         FELIX, MAYRA A
         42 HELMETTA RD                           ¨ Contingent
         JAMESBURG NJ 08831
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2027. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $226.50                 $226.50
         FELIZ, PATRIA M
         31A MARBLE ST                            ¨ Contingent
         WORCESTER MA 01603
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 676 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 786 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2028. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $91.58                  $91.58
         FELLER, MADISON
         14668 BEAR CREEK RD                      ¨ Contingent
         REDFIELD IA 50233
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2029. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.11                 $104.11
         FELTNER-WILLIAMS, DESTINY A
         1505 HANCOCK DRIVE APT D                 ¨ Contingent
         NORMAL IL 61761
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2030. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $241.44                 $241.44
         FERDINAND, ALIYAH
         4612 SHAY TERRACE                        ¨ Contingent
         BUFORD GA 30519
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 677 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 787 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2031. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $226.20                 $226.20
         FERGUSON, LAURYN
         3303 WICKHAM AVE                         ¨ Contingent
         BRONX NY 10469
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2032. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,787.08               $2,787.08
         FERGUSON, SABLE A
         13428 SILVER HILL ROAD                   ¨ Contingent
         SUMERDUCK VA 22742
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2033. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $41.21                  $41.21
         FERGUSON, TEHYANA
         95 VANTAGE RD                            ¨ Contingent
         HAMDEN CT 06514
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 678 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 788 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2034. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $403.34                 $403.34
         FERHATBEGOVIC, AJLA
         4301 SUNRIDGE DR APT E                   ¨ Contingent
         SAINT LOUIS MO 63125
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2035. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $284.52                 $284.52
         FERNANDES, ISA Y
         89 PLEASANT ST                           ¨ Contingent
         NEW BEDFORD MA 02740
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2036. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $50.90                  $50.90
         FERNANDEZ, ALYSSA C
         2120 RAMROD AVENUE                       ¨ Contingent
         APT. 2327
         HENDERSON NV 89014                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 679 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 789 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2037. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $96.36                  $96.36
         FERNANDEZ, CEEKAY
         1829 65TH STREET SOUTHEAST               ¨ Contingent
         AUBURN WA 98092
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2038. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $465.45                 $465.45
         FERNANDEZ, EMELY
         61-55 JUNCTION BLVD APT 9M               ¨ Contingent
         QUEENS NY 11374
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2039. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $662.64                 $662.64
         FERNANDEZ, GLORIA L
         740 S LYON ST                            ¨ Contingent
         552
         SANTA ANA CA 92705                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 680 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 790 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2040. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $999.74                 $999.74
         FERNANDEZ, GRACIA M
         4715 SW 18 PL                            ¨ Contingent
         GAINESVILLE FL 32607
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2041. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $95.03                  $95.03
         FERNANDEZ, HOPE G
         56 ARMINGTON AVE                         ¨ Contingent
         PROVIDENCE RI 02908
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2042. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $94.08                  $94.08
         FERNANDEZ, JANEL C
         5428 CHILDRESS DR                        ¨ Contingent
         GRAND PRAIRIE TX 75052
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 681 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 791 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2043. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $618.22                 $618.22
         FERNANDEZ, KATHIRIA M
         2104 ONETA CT                            ¨ Contingent
         2104 ONETA CT
         ORLANDO FL 32818                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2044. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $154.13                 $154.13
         FERNANDEZ, SIERRA M
         1601 JOHNSTOCKBAUER DR                   ¨ Contingent
         3207
         VICTORIA TX 77901                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2045. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $311.04                 $311.04
         FERNANDEZ, SOLIDAD
         450 PARK AVE                             ¨ Contingent
         UNIT 708
         FOLEY AL 36535                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 682 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 792 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2046. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $167.04                 $167.04
         FERNANDEZ, SUSANA
         926 CHESTNUT AVE                         ¨ Contingent
         E
         LONG BEACH CA 90813                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2047. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $61.30                  $61.30
         FERNANDEZ, TIFFINY A
         1000 CHASTAIN ROAD                       ¨ Contingent
         KENNESAW GA 30144
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2048. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $31.62                  $31.62
         FERREIRA, KAYLN
         92-605 WELO STREET                       ¨ Contingent
         KAPOLEI HI 96707-3746
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 683 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 793 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2049. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $885.22                 $885.22
         FERREIRA, MADILYN
         3046 LOCKPORT ROAD                       ¨ Contingent
         NIAGARA FALLS NY 14305
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2050. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $126.90                 $126.90
         FERREIRA, MICHELLE D
         79 MIDDLEBORO AVE                        ¨ Contingent
         TAUNTON MA 02780
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2051. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.55                  $36.55
         FERREIRO, YESENIA
         540 ASPEN RD                             ¨ Contingent
         WEST PALM BEACH FL 33409
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 684 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 794 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2052. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $578.71                 $578.71
         FERRELL, VERONICA E
         5901 SAMANTHA STREET APT B               ¨ Contingent
         FAYETTEVILLE AR 72704
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2053. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $216.70                 $216.70
         FETCHO, AUDREY A
         9329 S ST. LOUIS AVE.                    ¨ Contingent
         EVERGREEN PARK IL 60805
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2054. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $396.52                 $396.52
         FIASCHE, VALENTINA A
         2324 NORTH 76TH COURT                    ¨ Contingent
         ELMWOOD PARK IL 60707
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 685 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 795 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2055. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $192.37                 $192.37
         FICHERA, DANA
         40 CAPRI DRIVE                           ¨ Contingent
         ROCHESTER NY 14624
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2056. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $593.73                 $593.73
         FIELDER, CATHERINE R
         613 W MADISON ST                         ¨ Contingent
         PURCELL OK 73080
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2057. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $132.57                 $132.57
         FIGALLO, FRANCA
         2948 MYRTLE OAK CIR                      ¨ Contingent
         DAVIE FL 33328
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 686 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 796 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2058. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $237.60                 $237.60
         FIGUEROA, ALEXIS R
         11313 W. WILLOW LN                       ¨ Contingent
         AVONDALE AZ 85392
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2059. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $258.75                 $258.75
         FIGUEROA, ANGELICA N
         3637 SNELL AVENUE                        ¨ Contingent
         #349
         SAN JOSE CA 95136                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2060. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $358.01                 $358.01
         FIGUEROA, BREYLIS K
         CALLE 20 N-35                            ¨ Contingent
         RIO GRANDE EST
         RIO GRANDE PR 00745                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 687 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 797 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2061. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.52                 $122.52
         FIGUEROA, CHAVEZ SOFIA T
         712 WOODFIELD ROAD                       ¨ Contingent
         WEST HEMPSTEAD NY 11552
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2062. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.86                 $164.86
         FIGUEROA, COURTNEY I
         5433 EDEN LANE #39                       ¨ Contingent
         CONOVER NC 28613
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2063. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $116.82                 $116.82
         FIGUEROA, DIANA C
         709 CATHERINE ST                         ¨ Contingent
         PERTH AMBOY NJ 08861
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 688 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 798 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2064. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $231.36                 $231.36
         FIGUEROA, JOHNELLE
         1127 N VELIE CT                          ¨ Contingent
         VISALIA CA 93292
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2065. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $106.42                 $106.42
         FILES, ARIANNA M
         7035 MAYFIELD DRIVE                      ¨ Contingent
         PORT RICHEY FL 34668
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2066. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.16                 $107.16
         FILIPE, ALEXA M
         268 NORTH HICKORY ST                     ¨ Contingent
         NORTH MASSAPEQUA NY 11758
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 689 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 799 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2067. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,470.78               $1,470.78
         FILLMORE, QUANESHA M
         1700 N. DUPONT HWY APT B204              ¨ Contingent
         DOVER DE 19901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2068. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $85.83                  $85.83
         FINLEY, AZARIA
         40893 HIGHPOINTE DR.                     ¨ Contingent
         CLINTON TOWWNSHIP MI 48038
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2069. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $282.84                 $282.84
         FINLEY, INDONEIZHANE L
         802 E JACKSON DR APT.411                 ¨ Contingent
         411
         FLAGSTAFF AZ 86001                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 690 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 800 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2070. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $628.72                 $628.72
         FINLEY, KATHRYN A
         2172 LAKE DRIVE                          ¨ Contingent
         ARNOLD MO 63010
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2071. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $96.66                  $96.66
         FINLEY, LACEY E
         150 SOULES CIRCLE                        ¨ Contingent
         EDDY TX 76524
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2072. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $184.00                 $184.00
         FINNEY, SHERESA
         1712 JANUARY DR. APT 203                 ¨ Contingent
         SILVER SPRING MD 20904
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 691 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 801 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2073. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $139.87                 $139.87
         FISHER, CAPRICE
         424 HOLTEN DR                            ¨ Contingent
         BLOOMINGTON IL 61701
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2074. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $65.84                  $65.84
         FISHER, DESTINY C
         1308 WATERS EDGE DR                      ¨ Contingent
         NEWARK DE 19702
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2075. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $73.60                  $73.60
         FISHER, KAYLYN
         548 CENTRAL CT NORTH                     ¨ Contingent
         INDIANAPOLIS IN 46205
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 692 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 802 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2076. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $27.03                  $27.03
         FITCH, KAYLA R
         1216 ALBERT ST                           ¨ Contingent
         RACINE WI 53404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2077. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $606.61                 $606.61
         FITTS, MARTHA N
         1327 3RD ST                              ¨ Contingent
         GULFPORT MS 39501-2234
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2078. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $135.97                 $135.97
         FITZGERALD, SHANTEL L
         2218 B WAYNE AVE                         ¨ Contingent
         CHARLOTTESVILLE VA 22901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 693 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 803 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2079. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $73.26                  $73.26
         FITZPATRICK, MERCEDES C
         12751 RUTLAND ST                         ¨ Contingent
         DETROIT MI 48227
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2080. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,760.56               $2,760.56
         FLAIG, CYNTHIA
         1408 SOUTHCROSS DR W                     ¨ Contingent
         BURNSVILLE MN 55306-6188
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2081. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $624.36                 $624.36
         FLANAGAN, THOMAS
         1 RACE PL                                ¨ Contingent
         OAKDALE NY 11769-1705
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 694 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 804 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2082. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $48.51                  $48.51
         FLANIGAN, SOPHIA V
         151 S FERN                               ¨ Contingent
         WICHITA KS 67213
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2083. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $255.64                 $255.64
         FLEEGER, AMY
         1356 STEPHENS ROAD                       ¨ Contingent
         VIRGINIA BEACH VA 23454
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2084. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $34.22                  $34.22
         FLETCHER, DAIJA C
         SPINDLE TOP WAY                          ¨ Contingent
         326
         STOCKBRIDGE GA 30281                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 695 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 805 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2085. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $100.28                 $100.28
         FLETCHER, KEENA P
         214 MAPLE AVE                            ¨ Contingent
         UNCASVILLE CT 06382
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2086. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $223.94                 $223.94
         FLETCHER, SHAKEIRRA A
         8900 HALL N BARNES LN                    ¨ Contingent
         TALLAHASSEE FL 32317
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2087. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $501.93                 $501.93
         FLETES-FREGOSO, VANESSA
         3116 W MITCHELL ST                       ¨ Contingent
         MILWAUKEE WI 53215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 696 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 806 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2088. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $196.53                 $196.53
         FLEURY, DEJA
         23-304D KOEHLER DR.                      ¨ Contingent
         MORGANTOWN WV 26508
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2089. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $88.80                  $88.80
         FLIEGEL, DELANEY
         4 ASHBERRY ST                            ¨ Contingent
         PLYMOUTH MA 02360
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2090. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $69.85                  $69.85
         FLIGHT, PATRICE S
         2 DEERHILL LN.                           ¨ Contingent
         GREENHILLS OH 45218
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 697 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 807 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2091. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $224.78                 $224.78
         FLINT, BRIAUNNA S
         9620 SALEM                               ¨ Contingent
         REDFORD MI 48239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2092. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,640.40               $1,640.40
         FLOLO, KENNA M
         434 NORTH 6TH STREET                     ¨ Contingent
         MANKATO MN 56001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2093. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $30.60                  $30.60
         FLORENCIO, MARTINEZ DIANA
         3126 OLD GATE ROAD                       ¨ Contingent
         MADISON WI 53704
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 698 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 808 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2094. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $190.56                 $190.56
         FLORES, ALYSSA N
         5702 E. CHRISTINE AVENUE                 ¨ Contingent
         FRESNO CA 93727
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2095. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $106.61                 $106.61
         FLORES, ANA K
         24423 SPENCER BLVD                       ¨ Contingent
         #2
         MAGNOLIA TX 77355-2327                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2096. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $172.80                 $172.80
         FLORES, ANA M
         227 CYPRESS DRIVE APT B                  ¨ Contingent
         SAN YSIDRO CA 92173
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 699 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 809 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2097. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,479.05               $1,479.05
         FLORES, EMIRITH A
         2323 MONROE ST                           ¨ Contingent
         BEAUMONT TX 77703-1511
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2098. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $595.37                 $595.37
         FLORES, GABRIELA N
         1362 EAST 70TH STREET                    ¨ Contingent
         LOS ANGELES CA 90001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2099. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $297.66                 $297.66
         FLORES, ISABEL
         609 JAMES AVE                            ¨ Contingent
         SPRINGDALE AR 72764
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 700 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 810 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2100. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $66.00                  $66.00
         FLORES, MARIAH G
         15165 N. 66TH LANE                       ¨ Contingent
         GLENDALE AZ 85306
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2101. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $155.07                 $155.07
         FLORES, MARTA
         3516 W 65TH ST                           ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2102. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $636.02                 $636.02
         FLORES, NINA T
         335 ANTIOCH CIRCLE WEST                  ¨ Contingent
         APARTMENT 5
         TERRE HAUTE IN 47803                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 701 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 811 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2103. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $133.40                 $133.40
         FLORES, SABRINA N
         8300 DELLA RD NE                         ¨ Contingent
         ALBUQUERQUE NM 87109
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2104. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $865.01                 $865.01
         FLORES, STEPHANIE
         12721 MATTESON AVE                       ¨ Contingent
         APT 5
         LOS ANGELES CA 90066-4217                ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2105. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $99.95                  $99.95
         FLORES, TANIA
         402 MCCLURE AV                           ¨ Contingent
         ELGIN IL 60123
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 702 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 812 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2106. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $42.02                  $42.02
         FLORES, YANES
         4444 E BENSON HWY #248                   ¨ Contingent
         TUCSON AZ 85706
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2107. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $431.87                 $431.87
         FLORES, YESENIA J
         2073 JOHNSON ST                          ¨ Contingent
         BROWNSVILLE TX 78521
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2108. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $167.64                 $167.64
         FLORES, YULIANA L
         36 PARADISE VLY N                        ¨ Contingent
         CARSON CA 90745
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 703 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 813 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2109. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $115.84                 $115.84
         FLOWE, SYDNEY R
         4020 GAELIC LAANE                        ¨ Contingent
         P
         GLEN ALLEN VA 23060                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2110. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $116.16                 $116.16
         FLOWERS, DASIA T
         7104 PASO ROBLES BLVD                    ¨ Contingent
         FORT PIERCE FL 34951
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2111. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $519.77                 $519.77
         FLOWERS, ZARI
         108 DREW LANE APT.9                      ¨ Contingent
         WAUKEGAN IL 60085
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 704 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 814 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2112. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $67.40                  $67.40
         FLUCAS, ATTALLAH
         2000 BRIGHTSIDE DRIVE                    ¨ Contingent
         APT 922
         BATON ROUGE LA 70820                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2113. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $347.42                 $347.42
         FLUCAS, BRITTNEY
         134 CHAPELTOWNE CIRCLE                   ¨ Contingent
         NOTTINGHAM MD 21236
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2114. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.46                 $107.46
         FLYE, AYANNA
         3110 CANDLEWOOD DR                       ¨ Contingent
         APT.D
         ATLANTA GA 30344                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 705 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 815 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2115. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $77.71                  $77.71
         FLYNN, EMMA M
         5205 HAHNS PEAK DRIVE                    ¨ Contingent
         101
         LOVELAND CO 80538                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2116. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $120.45                 $120.45
         FLYNN, SYMONE V
         7227 SOUTH EBERHART                      ¨ Contingent
         2
         CHICAGO IL 60619                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2117. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $9.07                   $9.07
         FODOR. KAREN I.
         939 TEATRO CIR                           ¨ Contingent
         EL CAJON CA 92021-5183
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 706 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 816 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2118. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $69.82                  $69.82
         FOGGLE, MICHE S
         5409 OLD HANDLEY RD                      ¨ Contingent
         FORT WORTH TX 76112
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2119. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,011.93               $3,011.93
         FOLKES, VANESSA
         1856 WARTON AVE SE                       ¨ Contingent
         PALM BAY FL 32909
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2120. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $47.03                  $47.03
         FONG, SHALONA S
         4949 OAKDALE ROAD                        ¨ Contingent
         APT. 532
         SMYRNA GA 30080                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 707 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 817 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2121. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $165.94                 $165.94
         FONKENG, SEMIRA T
         4306 BARTON ROAD                         ¨ Contingent
         LANSING MI 48917
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2122. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $256.55                 $256.55
         FONMEDIG, TRACY N
         8106 KYLEMORE WAY                        ¨ Contingent
         ELLICOTT CITY MD 21043
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2123. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $167.64                 $167.64
         FONTANILLA, JOCELYN
         1442 GAROLD LANE                         ¨ Contingent
         MANTECA CA 95337
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 708 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 818 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2124. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $931.19                 $931.19
         FONTES, JADE A
         17 ALPHA ROAD                            ¨ Contingent
         DORCHESTER MA 02124
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2125. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $171.00                 $171.00
         FONTILUS, NED-WENDY
         8915 214 STREET                          ¨ Contingent
         QUEENS VILLAGE NY 11427
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2126. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,624.70               $4,624.70
         FONVILLE, A'NGELIA
         4775 APARTMENT BLVD APT. K-1             ¨ Contingent
         NORTH CHARLESTON SC 29418
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 709 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 819 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2127. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $235.81                 $235.81
         FORBES, KARLI M
         4954 NW FOXWORTH AVE.                    ¨ Contingent
         PORT SAINT LUCIE FL 34983
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2128. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $282.00                 $282.00
         FORD, CAROLINE S
         2900 PURCHASE STREET                     ¨ Contingent
         PURCHASE NY 10577
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2129. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,441.12               $1,441.12
         FORD, CHAMPAIGNE
         6001 OLD HICKORY BLVD                    ¨ Contingent
         370
         HERMITAGE TN 37076                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 710 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 820 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2130. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $53.20                  $53.20
         FORD, DORYANN D
         2074 BRITTANY ROAD                       ¨ Contingent
         COLUMBUS OH 43229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2131. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,038.02               $1,038.02
         FORD, JADA
         820 THIERIOT AVENUE                      ¨ Contingent
         5K
         BRONX NY 10473                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2132. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $214.67                 $214.67
         FORD, JOURNEY A
         1736 E SARATOGA ST                       ¨ Contingent
         GILBERT AZ 85296
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 711 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 821 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2133. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.72                 $122.72
         FORD, KORIN M
         10438 SUGARBERRY STREET                  ¨ Contingent
         WALDORF MD 20603
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2134. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $55.10                  $55.10
         FOREHAND, TIFFANY N
         1131 35TH ST                             ¨ Contingent
         COLUMBUS GA 31904
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2135. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $191.25                 $191.25
         FORREST, SERENA A
         141 GARFIELD AVE                         ¨ Contingent
         LONG BRANCH NJ 07740
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 712 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 822 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2136. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $603.48                 $603.48
         FORSELL, CORRY S
         18 WRIGHT PARKWAY NW                     ¨ Contingent
         D
         FORT WALTON BEACH FL 32548               ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2137. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.64                 $164.64
         FORTE, MICHAELA
         113 VILLAGE PL                           ¨ Contingent
         MOUNT HOLLY NC 28120
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2138. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $222.08                 $222.08
         FOSKEY, TRACY L
         4048 45TH AVE N                          ¨ Contingent
         ST PETERSBURG FL 33714
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 713 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 823 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2139. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $45.75                  $45.75
         FOSS, SAVANNA
         676 S 9TH ST                             ¨ Contingent
         APARTMENT 4
         SAN JOSE CA 95112                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2140. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $255.30                 $255.30
         FOSTER, CHLOE K
         18 PRIMROSE LANE                         ¨ Contingent
         MARSHFIELD MA 02050
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2141. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,255.33               $1,255.33
         FOSTER, CHRISTA C
         3328 W WOODHILL LN APT B                 ¨ Contingent
         PEORIA IL 61604
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 714 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 824 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2142. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $265.36                 $265.36
         FOSTER, KAYLA D
         3 LOST COVE                              ¨ Contingent
         NEWPORT NEWS VA 23606
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2143. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $40.98                  $40.98
         FOSTER, LESHA
         4 WILLOW CREEK LANE APT 4209             ¨ Contingent
         JONESBORO AR 72404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2144. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $53.24                  $53.24
         FOSTER, RACHEL M
         158 POWHATAN STREET                      ¨ Contingent
         HAVRE DE GRACE MD 21078
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 715 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 825 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2145. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $80.19                  $80.19
         FOSTER, STACI M
         2959 ARENOSO                             ¨ Contingent
         GRAND PRAIRIE TX 75054
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2146. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $275.70                 $275.70
         FOWLER, ALANA L
         250 GEORGIA QUEEN DR.                    ¨ Contingent
         WOODRUFF SC 29388
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2147. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $21.20                  $21.20
         FOWLER-, CULBERSON SHATYRA D
         3030 SUMTER AVE N APT 211                ¨ Contingent
         211
         CRYSTAL MN 55427                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 716 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 826 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2148. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $51.23                  $51.23
         FOWLER, NAZALENA V
         5880 SAKHALIN AVE.                       ¨ Contingent
         LAS VEGAS NV 89139
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2149. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $106.26                 $106.26
         FOX, AMBER J
         355 E PRIMM BLVD                         ¨ Contingent
         5359
         PRIMM NV 89019                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2150. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $257.28                 $257.28
         FOX, CAROL M
         1611 S ORANGE PL                         ¨ Contingent
         7
         ESCONDIDO CA 92025                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 717 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 827 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2151. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $257.04                 $257.04
         FOX, CRYSTAL A
         1417 WINCHESTER TRAIL SE                 ¨ Contingent
         SMYRNA GA 30339
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2152. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $83.65                  $83.65
         FOX, KATHERINE M
         8261 YORKRIDGE RD.                       ¨ Contingent
         GUILFORD IN 47022
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2153. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $935.35                 $935.35
         FOX, LAUREN D
         2060 FERRIS RD                           ¨ Contingent
         COLUMBUS OH 43224
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 718 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 828 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2154. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $45.05                  $45.05
         FOXX, JAHKAYA
         2641 OLD BUENA VISTA PIKE                ¨ Contingent
         NASHVILLE TN 37218
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2155. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $357.21                 $357.21
         FOY, HANNAH R
         5901 OFFSHORE COURT                      ¨ Contingent
         WILMINGTON NC 28409
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2156. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.20                 $121.20
         FRAIELLI, JODYANN
         140 URBAN AVE                            ¨ Contingent
         1ST FLOOR
         NORTH PROVIDENCE RI 02904                ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 719 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 829 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2157. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.99                  $62.99
         FRANCE, JOESPHINA
         116 MAGNOLIA DRIVE                       ¨ Contingent
         POOLER GA 31322
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2158. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $430.40                 $430.40
         FRANCE, LISA M
         1004 HILLCREST DR.                       ¨ Contingent
         GREENWOOD AR 72936
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2159. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $179.88                 $179.88
         FRANCIS, FATIMA
         5656 STEVENS FOREST APT 153              ¨ Contingent
         COLUMBIA MD 21045
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 720 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 830 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2160. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $420.47                 $420.47
         FRANCIS, HANNAH R
         441 AUDRY DRIVE                          ¨ Contingent
         DUPO IL 62239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2161. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $186.83                 $186.83
         FRANCIS, NICOLE A
         1836 LAUREL ST                           ¨ Contingent
         NEW ORLEANS LA 70130
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2162. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $254.04                 $254.04
         FRANCO, ADRIANA L
         75 LEXINGTON AVE                         ¨ Contingent
         WESTBURY NY 11590
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 721 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 831 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2163. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $142.45                 $142.45
         FRANCO, GIOVANNA A
         3208 W SUNNYSIDE AVE                     ¨ Contingent
         APT 2
         CHICAGO IL 60625                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2164. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $158.52                 $158.52
         FRANCO, MERNA D
         1605 E CYPRESS ST                        ¨ Contingent
         APT C
         COVINA CA 91724                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2165. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $141.39                 $141.39
         FRANKLIN, TIANA T
         1380 EAST WASHINGTON AVENUE              ¨ Contingent
         UNIT 33W
         EL CAJON CA 92019                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 722 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 832 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2166. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $159.87                 $159.87
         FRASCH, CAITLIN M
         1460 UNIVERSITY DR                       ¨ Contingent
         WINCHESTER VA 22601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2167. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $99.66                  $99.66
         FRASCH, KATELYN T
         15 N 630 RED LEAF RD                     ¨ Contingent
         HAMPSHIRE IL 60140
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2168. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $131.05                 $131.05
         FRASIER, KAMRYN A
         6006 STILLWOOD CIR                       ¨ Contingent
         KILLEEN TX 76543
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 723 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 833 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2169. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $221.40                 $221.40
         FRAZIER, BRIANNA S
         17 GROVE ST                              ¨ Contingent
         APT.2
         MALDEN MA 02148                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2170. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,257.56               $1,257.56
         FRAZIER, SHANTAVIA
         413 SE 4TH STREET                        ¨ Contingent
         202
         BOYNTON BEACH FL 33435                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2171. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $201.38                 $201.38
         FRAZIER, SOMMER M
         1602 DILLON ST.                          ¨ Contingent
         SAGINAW MI 48601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 724 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 834 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2172. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $6,040.58               $6,040.58
         FREDERICK, LAUREN
         5366 W 143RD ST.                         ¨ Contingent
         SAVAGE MN 55378
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2173. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $277.64                 $277.64
         FREEMAN, ASHLIE M
         6110 OZARK MOUNTAIN DR.                  ¨ Contingent
         2625 E CACTUS
         BAKERSFIELD CA 93314                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2174. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $196.20                 $196.20
         FREITAS, CHRISTINE
         62 LINCOLN ST                            ¨ Contingent
         3
         HUDSON MA 01749                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 725 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 835 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2175. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,737.88               $1,737.88
         FREYCINET, SARA
         421 NE 21ST TER                          ¨ Contingent
         HOMESTEAD FL 33033-6031
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2176. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,923.64               $1,923.64
         FRIAS, NICOLE E E
         104 BENEFIT ST APT 2                     ¨ Contingent
         5
         PAWTUCKET RI 02861                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2177. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.11                 $107.11
         FRICKE, JESSICA P
         1364 MESA AVENUE                         ¨ Contingent
         GRAND JUNCTION CO 81501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 726 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 836 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2178. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $249.08                 $249.08
         FRICKS, LAZARIAH
         2159 BUSH AVE                            ¨ Contingent
         SAINT PAUL MN 55119
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2179. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.52                 $122.52
         FRIDOLFSON, ALLISON
         604 E 8TH AVE                            ¨ Contingent
         GASTONIA NC 28054
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2180. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.45                  $76.45
         FRIEDMAN, HEATHER
         9013 AMIGO AVE                           ¨ Contingent
         NORTHRIDGE CA 91324
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 727 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 837 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2181. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,236.41               $5,236.41
         FRIEND, JENNIFER L
         827 OAK AVENUE                           ¨ Contingent
         VALLEY PARK MO 63088
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2182. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $608.48                 $608.48
         FRISINA, BRALYN
         1849 HASTINGS RD                         ¨ Contingent
         SPRINGFIELD IL 62702
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2183. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $449.25                 $449.25
         FRITH, SHYHEIMA
         3213 CRUGER AVE                          ¨ Contingent
         APT 3
         BRONX NY 10467-6443                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 728 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 838 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2184. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,918.10               $2,918.10
         FRITZ, CARRIE
         1909 E HARRISON ST                       ¨ Contingent
         GILBERT AZ 85295
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2185. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $80.47                  $80.47
         FRITZ, JORDAN A
         3629 STATE ROUTE 5                       ¨ Contingent
         ASHLAND KY 41102
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2186. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $6,472.24               $6,472.24
         FRY, CASEY M
         2012 HOLLIDAY                            ¨ Contingent
         WYOMING MI 49519
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 729 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 839 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2187. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $212.65                 $212.65
         FRYAR, NAYA
         4 CAMBRIDGE COURT                        ¨ Contingent
         HIGHLAND NY 12528
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2188. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $148.90                 $148.90
         FRYAR, NY'ASIA J
         14049 BETSY ROSS LN                      ¨ Contingent
         CENTREVILLE VA 20121
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2189. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $134.73                 $134.73
         FRYE, JAZMINE A
         3530 WINTERFIELD RD.                     ¨ Contingent
         MIDLOTHIAN VA 23113
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 730 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 840 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2190. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $211.19                 $211.19
         FRYMAN, CALLIE N
         138 SANTA CLARA AVENUE                   ¨ Contingent
         DAYTON OH 45405
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2191. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $428.28                 $428.28
         FU, SHANNON C
         1153 ROSEMARY CIR                        ¨ Contingent
         CORONA CA 92879
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2192. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $30.30                  $30.30
         FUAMATU-TOMLIN, EZRI K
         302 KAMA STREET                          ¨ Contingent
         WAILUKU HI 96793
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 731 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 841 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2193. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $88.26                  $88.26
         FUDGE, COURTNEY
         101 ROYAL DRIVE                          ¨ Contingent
         1006
         MADISON AL 35758                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2194. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $706.20                 $706.20
         FUENTES, ARAIZA M
         895 DARRELL ST.                          ¨ Contingent
         COSTA MESA CA 92627
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2195. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,428.21               $1,428.21
         FUENTES, ASHLEY M
         6 TIERRAS NUEVAS                         ¨ Contingent
         MANATI PR 00674
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 732 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 842 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2196. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $85.38                  $85.38
         FUENTES, LESLEY D
         14850 KEPPEN                             ¨ Contingent
         ALLEN PARK MI 48101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2197. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $424.63                 $424.63
         FUENTES, XIOMARA
         3240 SW 34TH ST APT 515                  ¨ Contingent
         OCALA FL 34474
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2198. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $144.96                 $144.96
         FUERTES, NYSHALIE L
         53 UPSALA STREET APT 2                   ¨ Contingent
         WORCESTER MA 01610
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 733 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 843 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2199. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $71.63                  $71.63
         FUESTING, ADELINE E
         221 CHINKAPIN DR                         ¨ Contingent
         PITTSBURGH PA 15065
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2200. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $691.12                 $691.12
         FULLER, ALEXIA
         5831 SW 26TH ST                          ¨ Contingent
         2
         WEST PARK FL 33023                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2201. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $711.71                 $711.71
         FULLER, DANIELLE L
         2309 REBECCA AVE                         ¨ Contingent
         APT B
         CHARLOTTE NC 28208                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 734 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 844 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2202. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $646.03                 $646.03
         FULLER, LEAH
         2489 ROCKLAND ROAD                       ¨ Contingent
         FRONT ROYAL VA 22630
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2203. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.24                 $199.24
         FULLER, SHYANNE
         4995 HARVEY AVENUE                       ¨ Contingent
         ELKTON FL 32033
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2204. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $98.18                  $98.18
         FULLER, TAIYLOR S
         16 LEWIS T. BRANTLEY DRIVE               ¨ Contingent
         JACKSON TN 38301
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 735 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 845 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2205. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $400.14                 $400.14
         FULMORE, OSHA S
         2017 FRANCIS ST.                         ¨ Contingent
         SCRANTON SC 29591
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2206. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $41.02                  $41.02
         FUMAROLA, CARISSA
         9604 DEER TRACK RD                       ¨ Contingent
         WEST CHESTER OH 45069
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2207. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.76                  $76.76
         FURIONI, ATHENA T
         35 UNIVERSITY LANE                       ¨ Contingent
         APT 120 BOX 8
         COLCHESTER VT 05446                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 736 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 846 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2208. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $188.26                 $188.26
         FURPHY, RAYANNA
         23 MONARCH DRIVE                         ¨ Contingent
         HOPEWELL JUNCTION NY 12533
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2209. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $530.63                 $530.63
         GABALDON, BRYANNA
         2846 MATT DR.                            ¨ Contingent
         EUGENE OR 97408
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2210. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $88.49                  $88.49
         GABLE, JORJA N
         3609 PETERS AVE PMB 501                  ¨ Contingent
         SIOUX CITY IA 51106
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 737 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 847 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2211. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,022.61               $2,022.61
         GABRIEL, CRISTEN
         402 BROCONE DR.                          ¨ Contingent
         VANDALIA OH 45377
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2212. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $7,629.20               $7,629.20
         GACUSAN, MICHELLE P
         94-1049 ELEU ST.                         ¨ Contingent
         WAIPAHU HI 96797
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2213. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.49                  $32.49
         GADBERRY, TAYLOR
         1125 ACADEMY PLACE                       ¨ Contingent
         SOUTH BEND IN 46616
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 738 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 848 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2214. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,952.00               $3,952.00
         GADDY, LASHUNDA D
         1001 RIM RD                              ¨ Contingent
         FAYETTEVILLE NC 28314-5259
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2215. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $139.53                 $139.53
         GADISON, UNIQUE J
         3416 S OURAY WAY                         ¨ Contingent
         AURORA CO 80013
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2216. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $253.27                 $253.27
         GAGNON, BRIEONNA M
         57 OLD CANTERBURY TPKE                   ¨ Contingent
         NORWICH CT 06360
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 739 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 849 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2217. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $310.32                 $310.32
         GAGNON-BAILEY, JUSTINE
         1221 A ST NE                             ¨ Contingent
         C113
         AUBURN WA 98002                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2218. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.40                  $89.40
         GAINES, JASMINE B
         1216 PENNYWOOD DR.                       ¨ Contingent
         HIGH POINT NC 27265
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2219. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $463.81                 $463.81
         GAINES, SHATARA
         407 17TH STREET                          ¨ Contingent
         ALTOONA PA 16602
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 740 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 850 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2220. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $376.56                 $376.56
         GAITAN, DANIELLA N
         539 PALO VERDE                           ¨ Contingent
         HOLTVILLE CA 92250
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2221. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $215.52                 $215.52
         GAITAN, KATHYUSKA A
         125 MEADOWBROOK LANE                     ¨ Contingent
         FITCHBURG MA 01420
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2222. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $35.67                  $35.67
         GAJRA, JASMINE
         308 NORTH FARVIEW AVENUE                 ¨ Contingent
         PARAMUS NJ 07652
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 741 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 851 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2223. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,531.70               $1,531.70
         GALATI, SAMANTHA
         7821 YORK ROAD                           ¨ Contingent
         PARMA OH 44130
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2224. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $63.62                  $63.62
         GALE, ESSENCE L
         1600 OLD BAINBRIDGE ROAD APT 4           ¨ Contingent
         TALLAHASSEE FL 32303
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2225. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $123.84                 $123.84
         GALEANA, DENISE
         1237 ERIC AVE                            ¨ Contingent
         PARLIER CA 93648
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 742 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 852 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2226. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $31.47                  $31.47
         GALEGO, PATRICIA
         2750 NW 44TH STREET                      ¨ Contingent
         606
         OAKLAND PARK FL 33309                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2227. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $349.08                 $349.08
         GALENTE, CATHERINE
         50 IVY HILL ROAD                         ¨ Contingent
         MAHOPAC NY 10541
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2228. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $115.11                 $115.11
         GALINDO, ITZEL
         4495 CRYSTAL ST                          ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 743 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 853 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2229. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,836.50               $1,836.50
         GALINDO, LYDIA
         1912 SW 325TH PL                         ¨ Contingent
         FEDERAL WAY WA 98023
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2230. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $439.05                 $439.05
         GALINDO, VICTORIA
         85 56 106ST                              ¨ Contingent
         RICHMOND HILL NY 11418
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2231. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $119.82                 $119.82
         GALL, BRYANNA A
         10539 SADDLESTONE DRIVE                  ¨ Contingent
         FISHERS IN 46040
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 744 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 854 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2232. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $34.64                  $34.64
         GALLANT, NIKKI
         303 WARD COURT                           ¨ Contingent
         HOLLAND PA 18966
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2233. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $172.13                 $172.13
         GALLANT, RACHEL
         8007 JORDAN CT.                          ¨ Contingent
         MOON PA 15108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2234. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,179.30               $4,179.30
         GALLARDO, ALANNA M
         20857 GRAPEVINE DR.                      ¨ Contingent
         DIABLO GRANDE CA 95363
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 745 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 855 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2235. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $126.64                 $126.64
         GALLARDO, ALYSSA M
         2600 W MAIN STREET                       ¨ Contingent
         BELLEVILLE IL 62226
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2236. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,442.34               $1,442.34
         GALLARDO-GARCIA, ERICA
         1012 S HARLAN WAY                        ¨ Contingent
         LAKEWOOD CO 80226
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2237. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $273.84                 $273.84
         GALLEGOS, MARIAH
         34 CLEMSON DR                            ¨ Contingent
         PUEBLO CO 81005
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 746 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 856 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2238. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $129.44                 $129.44
         GALLEGOS-, MARTINEZ ANGELICA E
         1029 N WEBSTER STREET                    ¨ Contingent
         NAPERVILLE IL 60563
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2239. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $177.24                 $177.24
         GALLIMORE, LESLIE-ANN
         5532 HAMPTON WOODS WAY                   ¨ Contingent
         TALLAHASSEE FL 32311
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2240. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,530.53               $3,530.53
         GALLO, ZURIMA
         1499 W 42ND PL                           ¨ Contingent
         HIALEAH FL 33012-7653
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 747 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 857 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2241. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.12                 $107.12
         GALLOWAY, ALEXIA I
         1515 W TURNER ST                         ¨ Contingent
         ALLENTOWN PA 18102
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2242. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $230.04                 $230.04
         GALLOWAY, ALEXIS M
         3830 UTE WAY                             ¨ Contingent
         ANTELOPE CA 95843
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2243. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $140.39                 $140.39
         GALOZO, ANGELICA B
         1006 BRYCE LANE                          ¨ Contingent
         VIRGINIA BEACH VA 23464
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 748 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 858 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2244. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $185.16                 $185.16
         GALSIM, MARY ROSE
         4401 EDENHURST AVENUE                    ¨ Contingent
         LOS ANGELES CA 90039
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2245. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $157.80                 $157.80
         GALVAN, BRIANA
         1935 CABRILLO MESA COURT                 ¨ Contingent
         CAMARILLO CA 93010
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2246. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $90.84                  $90.84
         GALVAN, FRANCO STACY G
         16003 LLANO LN.                          ¨ Contingent
         VICTORVILLE CA 92394
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 749 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 859 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2247. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,345.91               $3,345.91
         GALVEZ, DAPHNE M
         1613 STONYBROOK DRIVE                    ¨ Contingent
         DEPTFORD NJ 08096
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2248. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $85.08                  $85.08
         GALVEZ, ZENA E
         2521 BISHOP DRIVE                        ¨ Contingent
         APT K
         BAKERSFIELD CA 93306                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2249. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,561.03               $1,561.03
         GAMBOA, CRYSTAL V
         10800 PEPPER ST                          ¨ Contingent
         ADELANTO CA 92301
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 750 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 860 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2250. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $473.13                 $473.13
         GAMBREL, RHIANNA N
         1152 N 500 E                             ¨ Contingent
         COLUMBUS IN 47203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2251. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $80.01                  $80.01
         GAMEZ, LORELEI F
         3015 DELTA ST                            ¨ Contingent
         LANSING MI 48912
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2252. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $122.40                 $122.40
         GAMINO, ALEXANDRA
         11968 LEWISIA AVE.                       ¨ Contingent
         MORENO VALLEY CA 92557
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 751 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 861 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2253. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $751.11                 $751.11
         GAMINO, BOJORQUEZ ELOISA
         999 MARSHALL ROAD                        ¨ Contingent
         VACAVILLE CA 95687
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2254. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $88.57                  $88.57
         GAMMERLER, MARINA T
         1309 WINDMILL DRIVE                      ¨ Contingent
         LAFAYETTE IN 47909
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2255. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $98.28                  $98.28
         GANNOTTI, JULIA R
         40 BEECHHURST AVE                        ¨ Contingent
         FLORAL PARK NY 11001
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 752 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 862 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2256. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $141.81                 $141.81
         GANTNER, ALEXIS
         128 WOODLAWN DRIVE                       ¨ Contingent
         SAINT CHARLES MI 48655
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2257. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $387.61                 $387.61
         GANTT, EMILY
         9003 GRAYLAND DR APT C                   ¨ Contingent
         KNOXVILLE TN 37923
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2258. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $543.39                 $543.39
         GANUN, TIFFANIE L
         15 ELM DR                                ¨ Contingent
         NEPTUNE NJ 07753-3311
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 753 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 863 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2259. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $192.96                 $192.96
         GARAVITO, LESLIE
         1706 SOUTH LANG AVE                      ¨ Contingent
         WEST COVINA CA 91790
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2260. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $71.41                  $71.41
         GARCIA, ADALENA J
         1240 MCCULLOUGH ST                       ¨ Contingent
         LANSING MI 48912
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2261. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $620.91                 $620.91
         GARCIA, ADRIANNA N
         307 KING ST.                             ¨ Contingent
         GRUVER TX 79040
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 754 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 864 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2262. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $29.16                  $29.16
         GARCIA, AILEEN M
         23092 EAST COMMUNITY DRIVE               ¨ Contingent
         NEW CANEY TX 77357
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2263. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $58.95                  $58.95
         GARCIA, ALEXIS M
         2225 PEARL AVE                           ¨ Contingent
         FORT WORTH TX 76164
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2264. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,504.29               $1,504.29
         GARCIA, ALEXIS N
         2132 GRACE AVE                           ¨ Contingent
         FT WORTH TX 76111-2816
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 755 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 865 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2265. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $214.56                 $214.56
         GARCIA, ALEXIS Y
         918 PICCARD AVENUE                       ¨ Contingent
         SAN DIEGO CA 92154
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2266. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $90.97                  $90.97
         GARCIA, ALIZE
         10130 S 84TH TERRACE                     ¨ Contingent
         307
         PALOS HILLS IL 60465                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2267. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $550.95                 $550.95
         GARCIA, AMARIAH S
         1515 BAY PARKWAY                         ¨ Contingent
         4L
         BROOKLYN NY 11204                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 756 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 866 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2268. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $288.42                 $288.42
         GARCIA, AMY D
         1313 NORTHGATE DR.                       ¨ Contingent
         BARTLETT IL 60103
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2269. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $168.18                 $168.18
         GARCIA, ANGEL N
         1832 HAMMOCK MOSS DRIVE                  ¨ Contingent
         ORLANDO FL 32820
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2270. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $102.44                 $102.44
         GARCIA, ANGELICA
         1212 TAOS DR                             ¨ Contingent
         VICTORIA TX 77904
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 757 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 867 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2271. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $51.50                  $51.50
         GARCIA, ANGELICA
         3678 BAYTREE ST                          ¨ Contingent
         PITTSBURGH PA 15216
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2272. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.24                  $36.24
         GARCIA, APRIL
         8007 SHEEHAN WAY                         ¨ Contingent
         ANTELOPE CA 95843
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2273. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $211.46                 $211.46
         GARCIA, ARELY
         7505 W 62ND ST.                          ¨ Contingent
         APT 4
         MISSION KANSAS KS 66202                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 758 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 868 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2274. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $132.08                 $132.08
         GARCIA, ASHLEY
         9915 BARTEE AVE.                         ¨ Contingent
         ARLETA CA 91331
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2275. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $280.93                 $280.93
         GARCIA, ASHLEY ALEXANDR
         708 NW 111TH PL                          ¨ Contingent
         MIAMI FL 33172
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2276. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $377.22                 $377.22
         GARCIA, ASHLEY N
         1842 48TH ST SW                          ¨ Contingent
         NAPLES FL 34116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 759 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 869 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2277. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $599.28                 $599.28
         GARCIA, BRENDA
         286 W CALLE PRIMERA                      ¨ Contingent
         SAN YSIDRO CA 92173
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2278. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $225.72                 $225.72
         GARCIA, BRENDA
         534 52ND AVE                             ¨ Contingent
         BELLWOOD IL 60104
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2279. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $608.19                 $608.19
         GARCIA, BRITTANIE
         9410 MILWAUKEE AVE                       ¨ Contingent
         3306
         LUBBOCK TX 79424                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 760 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 870 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2280. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $119.12                 $119.12
         GARCIA, BRITTANY N
         6042 ROEBUD RD                           ¨ Contingent
         STEDMAN NC 28391
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2281. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.45                 $104.45
         GARCIA, CARMEN
         1125 S 10TH ST                           ¨ Contingent
         TERRE HAUTE IN 47802
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2282. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $270.24                 $270.24
         GARCIA, CINDY
         14316 45TH AVE CT NW                     ¨ Contingent
         GIG HARBOR WA 98332
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 761 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 871 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2283. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $117.09                 $117.09
         GARCIA, CORY A
         100 MIST GREEN CT.                       ¨ Contingent
         ALPHARETTA GA 30022
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2284. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $435.91                 $435.91
         GARCIA, DE LA ROSA JENNIFER
         27044 SECO CANYON RD                     ¨ Contingent
         SANTA CLARITA CA 91350
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2285. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,660.39               $5,660.39
         GARCIA, ELIZABETH
         398 W WILSON ST                          ¨ Contingent
         D110
         COSTA MESA CA 92627                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 762 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 872 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2286. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $333.98                 $333.98
         GARCIA, EMRYS D
         1801 LOVA DR APT#101                     ¨ Contingent
         APT #101
         VICTORIA TX 77901                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2287. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $257.04                 $257.04
         GARCIA, GABRIELLA M
         716 N NIAGARA ST                         ¨ Contingent
         BURBANK CA 91505
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2288. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,648.11               $2,648.11
         GARCIA, HEATHER M
         6903 PIONEER BLVD                        ¨ Contingent
         WHITTIER CA 90606
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 763 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 873 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2289. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $223.28                 $223.28
         GARCIA, HOPE M
         1015 OAK ST UNIT 22                      ¨ Contingent
         SILVERTON OR 97381
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2290. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $501.60                 $501.60
         GARCIA, ILIANA
         12452 FLAGSTONE CT.                      ¨ Contingent
         VICTORVILLE CA 92932
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2291. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $180.93                 $180.93
         GARCIA, ISABELLA R
         50 DEAN AVE                              ¨ Contingent
         EUGENE OR 97404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 764 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 874 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2292. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,581.03               $1,581.03
         GARCIA, JACQUELINE
         2025 VIOLET LANE                         ¨ Contingent
         106
         VIRGINIA BEACH VA 23464                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2293. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $163.95                 $163.95
         GARCIA, JASLYN
         546 N 3RD ST                             ¨ Contingent
         7
         SAN JOSE CA 95112                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2294. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,763.50               $2,763.50
         GARCIA, JAYCEE K
         1001 PORTOLA DRIVE                       ¨ Contingent
         SAN FRANCISCO CA 94127
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 765 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 875 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2295. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,867.68               $3,867.68
         GARCIA, JEZEBEL M
         5935 QUANTRELL AVE                       ¨ Contingent
         T2
         ALEXANDRIA VA 22312                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2296. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $117.96                 $117.96
         GARCIA, JUNE
         P.O BOX 793                              ¨ Contingent
         LOS INDIOS TX 78567
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2297. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $144.57                 $144.57
         GARCIA, KAREN A
         416 14TH ST.                             ¨ Contingent
         LOGANSPORT IN 46947
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 766 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 876 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2298. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,338.75               $1,338.75
         GARCIA, LISETTE
         3126 BUCKLEY AVE                         ¨ Contingent
         LAKE WORTH FL 33461
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2299. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $13.43                  $13.43
         GARCIA, LIZBETH
         1115 W DUGDALE RD                        ¨ Contingent
         WAUKEGAN IL 60085
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2300. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $282.00                 $282.00
         GARCIA, LUZ
         212 N. LANGSTAFF ST. #7                  ¨ Contingent
         LAKE ELSINORE CA 92530
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 767 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 877 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2301. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.92                  $62.92
         GARCIA, MADISON
         4726 W. EVERGREEN CT.                    ¨ Contingent
         VISALIA CA 93277
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2302. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $74.47                  $74.47
         GARCIA, MARCO FERNANDA
         3700 N 1ST AVE                           ¨ Contingent
         APT 1023
         TUCSON AZ 85719                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2303. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $128.15                 $128.15
         GARCIA, MARIA C
         7017 S PRIEST DRIVE                      ¨ Contingent
         3128
         TEMPE AZ 85283                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 768 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 878 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2304. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $34.80                  $34.80
         GARCIA, MARIELA C
         665 WEST CALIFORNIA AVE APT 8            ¨ Contingent
         VISTA CA 92081
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2305. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $64.98                  $64.98
         GARCIA, MARTINEZ IVONNE
         1100 ANACUITAS ST                        ¨ Contingent
         APT 34
         MERCEDES TX 78570                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2306. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $42.68                  $42.68
         GARCIA, REYNA
         7125 N 19AVE                             ¨ Contingent
         APT 43
         PHOENIX AZ 85021                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 769 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 879 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2307. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $137.56                 $137.56
         GARCIA, ROCIO
         125 CHESHIRE CT                          ¨ Contingent
         WINCHESTER VA 22602
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2308. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $221.28                 $221.28
         GARCIA, ROSEMARY
         7518 BECK AVE                            ¨ Contingent
         NORTH HOLLYWOOD CA 91605
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2309. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $139.80                 $139.80
         GARCIA, RUBY
         12024 SECOND AVENUE                      ¨ Contingent
         LYNWOOD CA 90262
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 770 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 880 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2310. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,472.32               $1,472.32
         GARCIA, SARAH
         32 RUTHELLEN RD                          ¨ Contingent
         CHELMSFORD MA 01824
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2311. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.48                 $121.48
         GARCIA, SHARIK
         1480 W 46TH ST                           ¨ Contingent
         APT. 201
         HIALEAH FL 33012                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2312. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $48.80                  $48.80
         GARCIA, SOCORRO
         5244 SOUTH 550 WEST                      ¨ Contingent
         COLUMBUS IN 47201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 771 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 881 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2313. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $501.62                 $501.62
         GARCIA, SOL M
         445 SULLIVAN LN                          ¨ Contingent
         APT 3
         SPARKS NV 89431                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2314. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $226.56                 $226.56
         GARCIA, SONYA DOMINIQUE
         14676 OLIVE ST.                          ¨ Contingent
         HESPERIA CA 92345
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2315. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $975.74                 $975.74
         GARCIA, TANYA J
         38 EMERSON CT                            ¨ Contingent
         WESTBURY NY 11590
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 772 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 882 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2316. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $6,501.59               $6,501.59
         GARCIA, TIFFANY C
         13 SQUIRE RIDGE RD                       ¨ Contingent
         HAMPSTEAD NH 03841
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2317. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,088.72               $2,088.72
         GARCIA, VICTORIA R
         2830 OAK MILL                            ¨ Contingent
         SAN ANTONIO TX 78251
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2318. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,724.25               $1,724.25
         GARCIA, YESENIA B
         546 N SAN PEDRO                          ¨ Contingent
         LAS CRUCES NM 88001-7427
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 773 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 883 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2319. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $451.36                 $451.36
         GARCIA, ZARAHI
         2244 N CAMINO CASTILE                    ¨ Contingent
         APT 923
         TUCSON AZ 85715                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2320. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $194.70                 $194.70
         GARCIA-GONZALEZ, SOLINA T
         2510 N. BERNARD ST                       ¨ Contingent
         CHICAGO IL 60647
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2321. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $132.42                 $132.42
         GARCIA-MYERS, PATRICIA A
         4051 W VIKING RD APT 27                  ¨ Contingent
         LAS VEGAS NV 89103
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 774 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 884 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2322. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $66.48                  $66.48
         GARDNER, CATHERINE D
         1302 LOWE. STREET                        ¨ Contingent
         COLUMBIA MO 65203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2323. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $247.69                 $247.69
         GARDNER, SKYLAR B
         2130 WESTWOOD RD.                        ¨ Contingent
         SMYRNA GA 30080
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2324. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $217.03                 $217.03
         GARDNER, VERONICA
         1218 PIEL GROCERY LANE                   ¨ Contingent
         BELVIDERE IL 61008
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 775 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 885 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2325. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $754.38                 $754.38
         GARIBAY, LAURA C
         14091 VERNAL SPRING CT                   ¨ Contingent
         CORONA CA 92880
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2326. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $234.24                 $234.24
         GARILLO, BERNIE ANN S
         6125 DRACAENA CT                         ¨ Contingent
         SAN DIEGO CA 92114
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2327. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,639.73               $1,639.73
         GARLAND INDEPENDENT SCHOOL
         DISTRICT                                 ¨ Contingent
         DISTRICT P.O. BOX 461407
         GARLAND TX 75046-1407                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 776 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 886 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2328. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $518.99                 $518.99
         GARLOCK, ALLYSSA M
         2209 S GREENWOOD DR                      ¨ Contingent
         APT 16
         JOHNSON CITY TN 37604                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2329. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $580.95                 $580.95
         GARNER, DIAMOND R
         387 WARWICK AVE.                         ¨ Contingent
         203 BRUNSWICK
         BUFFALO NY 14215                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2330. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.34                 $104.34
         GARNER, MONIQUE
         8148 TATE ROAD                           ¨ Contingent
         RUTHER GLEN VA 22546
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 777 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 887 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2331. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $147.08                 $147.08
         GARNETT, JAVEANA R
         640 LASALLE AVE                          ¨ Contingent
         BUFFALO NY 14215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2332. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.00                  $32.00
         GARRETSON, TRACEY A
         755 BRAVES AVE                           ¨ Contingent
         1236
         LAWRENCEVILLE GA 30043                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2333. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.85                 $143.85
         GARRETT, AMANDA
         30 GARDEN VILLAGE DR                     ¨ Contingent
         APT 1
         CHEEKTOWAGA NY 14227                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 778 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 888 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2334. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $184.04                 $184.04
         GARRETT, BAYLEE
         4555 SUNSWEPT CT                         ¨ Contingent
         FORT WORTH TX 76137
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2335. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $105.49                 $105.49
         GARRETT, TAYLOR J
         1530 HARDEN ST                           ¨ Contingent
         COLUMBIA SC 29204
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2336. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $145.60                 $145.60
         GARRETT-WHITEHEAD, KEIONIA J
         5147 CARIBBEAN BOULEVARD                 ¨ Contingent
         1117
         WEST PALM BEACH FL 33407                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 779 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 889 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2337. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $64.54                  $64.54
         GARRIDO, NATHALIA N
         CONDOMINIO PLAZA SUCHVILLE               ¨ Contingent
         APT 126
         BAYAMON PR 00959                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2338. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $855.61                 $855.61
         GARROD, MARISSA A
         88 BROOKMEADOW N CT SW                   ¨ Contingent
         APT 6
         GRANDVILLE MI 49418                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2339. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $189.60                 $189.60
         GARTH, TIANA
         14648 APPIAN WAY                         ¨ Contingent
         FONTANA CA 92337
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 780 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 890 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2340. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.04                 $153.04
         GARY, ZANNIQUA Z
         670 HUGH ST                              ¨ Contingent
         ATLANTA GA 30310
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2341. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $196.01                 $196.01
         GARZA, AMANDA
         15420 LIVINGSTON AVE #2904               ¨ Contingent
         LUTZ FL 33559
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2342. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $69.11                  $69.11
         GARZA, GUADALUPE
         1615 SYCAMORE AVE                        ¨ Contingent
         248
         HUNTSVILLE TX 77340                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 781 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 891 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2343. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $540.36                 $540.36
         GARZA, SELENA
         418 MCCANN ROAD                          ¨ Contingent
         ROGERS AR 72758
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2344. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $185.65                 $185.65
         GARZA. PATRICIA
         14350 HWY 132 SOUTH                      ¨ Contingent
         LYTLE TX 78052
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2345. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $426.30                 $426.30
         GASCA, PAIGE M
         2401 HIGHWAY 6 E                         ¨ Contingent
         18-112
         IOWA CITY IA 52240                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 782 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 892 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2346. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,163.80               $3,163.80
         GASKA, HEATHER
         6 NEUBRECH COURT                         ¨ Contingent
         JERICHO NY 11753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2347. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $462.28                 $462.28
         GASPAR, YESSENIA
         1409 EMPIRE ST                           ¨ Contingent
         FAIRFIELD CA 94533-4721
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2348. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $85.41                  $85.41
         GASPARINATOS, ALEXANDRIA
         4462 BURWOOD AVE                         ¨ Contingent
         PENNSAUKEN NJ 08109
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 783 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 893 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2349. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,184.79               $2,184.79
         GASTELUM, JULIETTA
         2624 W CARTER DR..                       ¨ Contingent
         TEMPE AZ 85282
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2350. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.82                 $107.82
         GATES, CHANDRISS Z
         20007 LUKER LANE                         ¨ Contingent
         ABERDEEN MS 39730
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2351. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $202.13                 $202.13
         GATES, LAUREN K
         108 CITY PARK CIRCLE                     ¨ Contingent
         HATTIESBURG MS 39401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 784 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 894 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2352. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $217.80                 $217.80
         GATES, MANDY N
         9612 ARMLEY AVE                          ¨ Contingent
         WHITTIER CA 90604
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2353. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $634.92                 $634.92
         GATTENBY, CLARA J
         13791 MILAN STREET                       ¨ Contingent
         WESTMINSTER CA 92683
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2354. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $424.96                 $424.96
         GAUCK, TAPANGA
         5028 W MARKWOOD AVE                      ¨ Contingent
         INDIANAPOLIS IN 46221
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 785 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 895 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2355. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $256.62                 $256.62
         GAUDETTE, VICTORIA
         9 FIFTH AVE                              ¨ Contingent
         2
         WEBSTER MA 01570                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2356. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $107.75                 $107.75
         GAUSIN, BLANCA Y
         940 SW 50TH ST                           ¨ Contingent
         OKLAHOMA CITY OK 73109
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2357. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $40.16                  $40.16
         GAVIN, KENYA
         31 BRAMBLEWOOD LANE W                    ¨ Contingent
         ROCHESTER NY 23504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 786 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 896 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2358. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $485.63                 $485.63
         GAY, ARIEL C
         4164 N 81ST STREET                       ¨ Contingent
         MILWAUKEE WI 53222
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2359. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $147.90                 $147.90
         GAY, MKAYLA D
         49 VERNON PLACE                          ¨ Contingent
         3
         STAMFORD CT 06902                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2360. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,408.23               $3,408.23
         GAY, SHALEE C
         312 TOWNES DRIVE                         ¨ Contingent
         NASHVILLE TN 37211
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 787 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 897 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2361. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $72.28                  $72.28
         GAZDA, BRIANNA
         1064 GREEN HOLLY RD                      ¨ Contingent
         CLARKS SUMMIT PA 18411
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2362. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $330.36                 $330.36
         GEANGAN, LEIANNE M
         1245 BURNSIDE PL                         ¨ Contingent
         DUPONT WA 98327
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2363. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.62                  $62.62
         GEBAUER, LIBBY
         635 SKYWAY DRIVE                         ¨ Contingent
         INDEPENDENCE KY 41051
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 788 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 898 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2364. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $79.27                  $79.27
         GEBELEIN, BETHANY E
         1506 ALHAMBRA CREST DRIVE                ¨ Contingent
         RUSKIN FL 33570
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2365. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $63.72                  $63.72
         GEDNEY, LAUREN E
         15026 SKYPARK DRIVE                      ¨ Contingent
         HUNTERSVILLE NC 28078
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2366. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $582.78                 $582.78
         GEE, ROBYN
         4022 NORTHWEST AVE APT 201               ¨ Contingent
         BELLINGHAM WA 98226
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 789 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 899 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2367. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $55.27                  $55.27
         GEE, SAMANTHA L
         717 N GRANT ST                           ¨ Contingent
         SOUTH
         BLOOMINGTON IN 47408                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2368. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $423.87                 $423.87
         GEIGER, MADDISON P
         4720 OAK TREE COURT                      ¨ Contingent
         BRIGHTON MI 48116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2369. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $211.56                 $211.56
         GELADINO-MOORE, RICCI A
         1888 PELORUS AVE                         ¨ Contingent
         SEAL BEACH CA 90740
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 790 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 900 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2370. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $196.84                 $196.84
         GELETKO, ALEXIE A
         1100 BROADWAY AVE.                       ¨ Contingent
         2
         MCKEES ROCKS PA 15136                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2371. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,487.09               $2,487.09
         GENDRON, LINDSAY M
         9825 BAYWINDS DR. APT. 1101              ¨ Contingent
         WEST PALM BEACH FL 33411
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2372. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $499.41                 $499.41
         GENITO, PEYTON J
         5918 MILHOUSE CT                         ¨ Contingent
         INDIANAPOLIS IN 46221
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 791 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 901 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2373. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $153.30                 $153.30
         GENTALA, MAYA
         735 E. 17TH AVE.                         ¨ Contingent
         APT. 30
         EUGENE OR 97401                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2374. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $51.68                  $51.68
         GENTRY, IMANI L
         4001 MERIWETHER DR                       ¨ Contingent
         APT M7
         DURHAM NC 27704                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2375. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $183.19                 $183.19
         GEORGE, ABBY
         6530 INDEPENDENCE AVE                    ¨ Contingent
         APT #277
         CANOGA PARK CA 91303                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 792 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 902 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2376. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $87.94                  $87.94
         GEORGE, ERICA A
         240 TEST ROAD                            ¨ Contingent
         YORK PA 17404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2377. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.52                 $164.52
         GEORGE, ERYAH
         148 VAUGHN ST                            ¨ Contingent
         OCEANSIDE CA 92058
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2378. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $113.01                 $113.01
         GEORGES, JOVANA
         749 SCOTLAND APT 7M                      ¨ Contingent
         ORANGE NJ 07050
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 793 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 903 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2379. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $25.14                  $25.14
         GERALD, LAUREN M
         28779 HIGHWAY 1070                       ¨ Contingent
         FRANKLINTON LA 70438
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2380. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $116.55                 $116.55
         GERBAZ, ASHLYN E
         2307 ORCHARD AVENUE                      ¨ Contingent
         GRAND JUNCTION CO 81501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2381. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,035.16               $1,035.16
         GERBE, OCTAVIEA
         1106 SCOUT DRIVE                         ¨ Contingent
         B
         DURHAM NC 27707                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 794 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 904 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2382. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $251.37                 $251.37
         GERENA, LILLY K
         2210 BLUE HAMPTON LANE                   ¨ Contingent
         CHARLOTTE NC 28213
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2383. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.16                 $104.16
         GERHARTZ, JENNA C
         16 CARTER ROAD                           ¨ Contingent
         EAST BRUNSWICK NJ 08816
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2384. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $97.49                  $97.49
         GERLOCK, HANNAH M
         565 WOODSDALE DRIVE                      ¨ Contingent
         MONROE OH 45050
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 795 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 905 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2385. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $92.18                  $92.18
         GERMANN, HANNAH E
         8732 S BECK PL                           ¨ Contingent
         HOMETOWN IL 60456
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2386. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $243.00                 $243.00
         GHERGOROVICH, ERICA M
         1688 LA MADERIA DRIVE                    ¨ Contingent
         PALM BAY FL 32908
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2387. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $97.24                  $97.24
         GHOSH, OLLIE
         16 WHISPERWOOD CT                        ¨ Contingent
         BROWNSBURG IN 46112
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 796 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 906 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2388. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $298.21                 $298.21
         GHOUSE, FARHANA
         9820 S. PULASKI RD                       ¨ Contingent
         APT 109
         OAK LAWN IL 60453                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2389. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $532.36                 $532.36
         GIBBS, TRINITI A
         4833 LAKE PARK LANE                      ¨ Contingent
         ACWORTH GA 30101
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2390. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $29.36                  $29.36
         GIBSON, JA'LEESA
         229 HOLLIS RD                            ¨ Contingent
         YATESVILLE GA 31097
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 797 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 907 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2391. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,155.83               $1,155.83
         GIBSON, KARLEY N
         2608 W TOLEDO STREET                     ¨ Contingent
         BROKEN ARROW OK 74012
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2392. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $444.60                 $444.60
         GIBSON, SHANIA
         105 PAUL MCLENDON ST                     ¨ Contingent
         GREENVILLE NC 27858
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2393. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $181.56                 $181.56
         GIDDENS-MERRITT, ANASTASIA
         13 SIXTH STREET                          ¨ Contingent
         WESTBURY NY 11590
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 798 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 908 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2394. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $114.34                 $114.34
         GIGLIO, TONI ANN
         27 SEATTLE SLEW DR                       ¨ Contingent
         HOWELL NJ 07731
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2395. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,439.03               $1,439.03
         GIL, JENNIFER E
         18024 DORAL DR                           ¨ Contingent
         GL 455
         FORT MYERS FL 33967                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2396. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $33.21                  $33.21
         GILBERT, HALLEY D
         5189 COVENTRY LN                         ¨ Contingent
         BARBOURSVILLE VA 22923-1618
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 799 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 909 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2397. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,053.46               $1,053.46
         GILBERT, MARISSA
         3206 CITY LIGHTS DRIVE                   ¨ Contingent
         ALISO VIEJO CA 92656
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2398. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $714.00                 $714.00
         GILES, SIERRA D
         2950 TOMAHAWK LN                         ¨ Contingent
         EUGENE OR 97401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2399. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $160.01                 $160.01
         GILLEN, SAMANTHA L
         6001 UNIVERSITY BLVD                     ¨ Contingent
         MOON PA 15108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 800 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 910 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2400. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,611.47               $1,611.47
         GILLIM, BRIANA C
         3984 KATHERINE                           ¨ Contingent
         DEARBORN HEIGHTS MI 48125
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2401. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.16                 $164.16
         GILLIS, ZIAREY B
         3002 NUTMEG LANE                         ¨ Contingent
         GARLAND TX 75044
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2402. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $58.65                  $58.65
         GILLUM, JADA F
         195 WEST CHERRYWOOD LANE                 ¨ Contingent
         PEARL RIVER LA 70452
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 801 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 911 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2403. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $59.39                  $59.39
         GILMORE, CHARITY R
         208 CARSWELL ST                          ¨ Contingent
         WACO TX 76705
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2404. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $63.44                  $63.44
         GILMORE, ROSLYN M
         609 EASTERY COURT                        ¨ Contingent
         TOLEDO OH 43605
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2405. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $216.61                 $216.61
         GILNER, KHADIJAH J
         7285 WOOLMARKET RD.                      ¨ Contingent
         H153
         BILOXI MS 39532                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 802 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 912 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2406. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,307.80               $1,307.80
         GILPIN, CANDACE C
         404 ROLAND HILLS DRIVE                   ¨ Contingent
         MOGADORE OH 44260
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2407. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $216.48                 $216.48
         GILPIN, KYLEA J
         1900 WHEATVILLE ST                       ¨ Contingent
         CHULA VISTA CA 91913
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2408. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,992.57               $2,992.57
         GILSDORF, ERIN
         15717 JACKSON DR                         ¨ Contingent
         OMAHA NE 68118-2105
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 803 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 913 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2409. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $43.98                  $43.98
         GIORDANO, ASHLEY L
         110 MADISON AVE                          ¨ Contingent
         ROCHELLE PARK NJ 07662
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2410. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $24.34                  $24.34
         GIPSON, JAYLYNN A
         277 BRISTOL WAY                          ¨ Contingent
         BOLINGBROOK IL 60440
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2411. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.33                  $62.33
         GIPSON, MERCEDES
         309 GOVERNMENT ST.                       ¨ Contingent
         TUPELO MS 38801
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 804 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 914 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2412. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $216.74                 $216.74
         GIRON, BIANCA M
         2805 COTTAGE GROVE AVE                   ¨ Contingent
         3
         DES MOINES IA 50311                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2413. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $179.64                 $179.64
         GIRON, KIANA TRINIMAE G
         267 EDWIN WAY                            ¨ Contingent
         HAYWARD CA 94544
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2414. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $127.32                 $127.32
         GISSENTANNA, LAUREN
         161 MAXSON AVE.                          ¨ Contingent
         FREEPORT NY 11520
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 805 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 915 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2415. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $158.14                 $158.14
         GIST, ANDREA M
         100 JANET DRIVE                          ¨ Contingent
         WARWICK RI 02886
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2416. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $521.35                 $521.35
         GIVAN, SHAWN C
         1920 NE 30TH ST                          ¨ Contingent
         OKLAHOMA CITY OK 73111-4202
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2417. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $37.73                  $37.73
         GIVENS, TATIERRA M
         83 SWEET GUM LANE                        ¨ Contingent
         118 COLLEGE DR
         COLUMBUS MS 39705                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 806 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 916 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2418. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $148.16                 $148.16
         GLADDEN, NYTAGEIA
         100 TURTLE CREEK DRIVE                   ¨ Contingent
         A9
         GREENVILLE SC 29615                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2419. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $233.75                 $233.75
         GLASGOW, EMILY E
         3810 ALABAMA AV NORTHEAST                ¨ Contingent
         ST PETERSBURG FL 33703
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2420. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $351.75                 $351.75
         GLEASON, JESSICA M
         1 ALFREDSON LANE                         ¨ Contingent
         SHERMAN CT 06784
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 807 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 917 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2421. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,846.86               $2,846.86
         GLENN, CRYSTAL D
         2821 GLENNCREST LANE                     ¨ Contingent
         TALLAHASSEE FL 32308
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2422. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $35.86                  $35.86
         GLENN, RUTH
         6570 RIVER RUN                           ¨ Contingent
         COLUMBIA MD 21044
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2423. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $71.66                  $71.66
         GLOVER, ANGELA
         1025 ROSY BILLED DRIVE                   ¨ Contingent
         APT 101
         CHARLOTTE NC 28262                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 808 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 918 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2424. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $506.31                 $506.31
         GLOVER, JANEISHA A
         1963 CORNERS CIRCLE                      ¨ Contingent
         LITHONIA GA 30058
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2425. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,949.46               $1,949.46
         GLOVER, KAILA M
         143 S PURCELL AVE                        ¨ Contingent
         WINCHESTER VA 22601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2426. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,984.06               $2,984.06
         GLOVER, NATREANA
         2420 APPLE WAY                           ¨ Contingent
         MIDWEST CITY OK 73130-7146
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 809 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 919 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2427. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $138.82                 $138.82
         GLOVER, NICHOLE A
         7908 PALO DURO AVE NE                    ¨ Contingent
         ALBUQUERQUE NM 87110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2428. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $101.21                 $101.21
         GLOVER, NIKIAH A
         4300 ROMAINE STREET                      ¨ Contingent
         GREENSBORO NC 27407
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2429. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $74.11                  $74.11
         GOFF, ALICIA
         213 DOMAIN DR                            ¨ Contingent
         MORGANTOWN WV 26501
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 810 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 920 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2430. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $437.28                 $437.28
         GOFORTH, JADA T
         80 WEST DEDHAM                           ¨ Contingent
         1009
         BOSTON MA 02118                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2431. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $530.16                 $530.16
         GOLDEN, CHASITY J
         3845 N VERONICA AVE                      ¨ Contingent
         RIALTO CA 92377
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2432. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $33.30                  $33.30
         GOLDSTEIN, EBONY S
         5608 ROSSLYN AVE                         ¨ Contingent
         INDIANAPOLIS IN 46220
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 811 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 921 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2433. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $201.14                 $201.14
         GOLDSTEIN, JORDANA M
         3541 ORIOLE DR                           ¨ Contingent
         HUNTINGDON VALLEY PA 19006
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2434. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.00                  $36.00
         GOLEMME, TALIA R
         83 COLCHESTER DRIVE                      ¨ Contingent
         PLYMOUTH MA 02360
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2435. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $261.94                 $261.94
         GOLOMB, MAKENZY J
         26 MYERS ST                              ¨ Contingent
         FORTY FORT PA 18704
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 812 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 922 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2436. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $297.12                 $297.12
         GOMEZ, ALYSSA
         3466 WILLOW PASS ROAD                    ¨ Contingent
         SPACE 35
         CONCORD CA 94519                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2437. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $56.06                  $56.06
         GOMEZ, DAISY
         4727 N CENTRAL PARK AVE                  ¨ Contingent
         CHICAGO IL 60625-5811
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2438. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $663.04                 $663.04
         GOMEZ, DESTINY
         335 E PACIFIC AVE                        ¨ Contingent
         LA HABRA CA 90631
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 813 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 923 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2439. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $464.20                 $464.20
         GOMEZ, EVELYN
         7438 N WOLCOTT AVE                       ¨ Contingent
         CHICAGO IL 60626
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2440. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $136.20                 $136.20
         GOMEZ, GRACE C
         320 STEWART DR.                          ¨ Contingent
         EL PASO TX 79915
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2441. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,405.79               $1,405.79
         GOMEZ, JAMIE
         2915 N MARSHALL ST.                      ¨ Contingent
         PHILA PA 19133-2406
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 814 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 924 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2442. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $624.10                 $624.10
         GOMEZ, JAZMIN A
         2061 PINERCREST DRIVE                    ¨ Contingent
         SANTA ROSA CA 95403
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2443. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $268.44                 $268.44
         GOMEZ, JOSE MARIA
         1990 NW 2ND CT                           ¨ Contingent
         BOYNTON BEACH FL 33435
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2444. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $360.24                 $360.24
         GOMEZ, KARINA
         5831 NEWCOMB ST                          ¨ Contingent
         SAN BERNARDINO CA 92404
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 815 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 925 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2445. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $461.04                 $461.04
         GOMEZ, KAZANDRA
         86 ROBERTS STREET                        ¨ Contingent
         SHELTON CT 06484
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2446. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $152.48                 $152.48
         GOMEZ, KIMBERLY I
         8334 CADDO RD                            ¨ Contingent
         HOUSTON TX 77078
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2447. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $25.21                  $25.21
         GOMEZ, LESLIE J
         935 NE 42ND TER                          ¨ Contingent
         HOMESTEAD FL 33033
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 816 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 926 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2448. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,815.58               $3,815.58
         GOMEZ, LISA M
         27 GLOSSUP ST                            ¨ Contingent
         NORTH PROVIDENCE RI 02911
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2449. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $429.00                 $429.00
         GOMEZ, LISA M
         21-12 MENAHAN STREET                     ¨ Contingent
         3
         RIDGEWOOD NY 11385                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2450. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $492.14                 $492.14
         GOMEZ, MANCILLA BRENDA
         1695 MARY JANE DR. APT. #112             ¨ Contingent
         LAS VEGAS NV 89030
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 817 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 927 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2451. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $62.74                  $62.74
         GOMEZ, MELISSA
         12630 MINT FLD                           ¨ Contingent
         HOUSTON TX 77066
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2452. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.20                  $89.20
         GOMEZ, NICOLE A
         6800 BURR OAK DR                         ¨ Contingent
         PLANO TX 75023
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2453. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $232.83                 $232.83
         GOMEZ, ROJAS AMALFY A
         1980 SW 33 AVENUE                        ¨ Contingent
         MIAMI FL 33145
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 818 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 928 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2454. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $130.80                 $130.80
         GOMEZ, TATIANA S
         15135 KIMBERLY DR.                       ¨ Contingent
         U102
         VICTORVILLE CA 92394                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2455. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $44.76                  $44.76
         GONCALVES, MELISSA
         11 AMANDA LN                             ¨ Contingent
         ACUSHNET MA 02743-5113
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2456. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $143.40                 $143.40
         GONDER, DESTINY A
         694 N. 3RD STREET APT B12                ¨ Contingent
         BRAWLEY CA 92227
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 819 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 929 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2457. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $125.83                 $125.83
         GONGAWARE, RACHEL E
         566 RELIANCE RD                          ¨ Contingent
         MIDDLETOWN VA 22645
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2458. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $126.00                 $126.00
         GONZALES, ANNIE M
         15435 SCHAFER AVE                        ¨ Contingent
         BATON ROUGE LA 70816
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2459. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $166.70                 $166.70
         GONZALES, BEATRICE A
         255 MORAIMA                              ¨ Contingent
         SAN ANTONIO TX 78237
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 820 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 930 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2460. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $168.81                 $168.81
         GONZALES, NICOLE
         1138NW 125TH PATH                        ¨ Contingent
         MIAMI FL 33182
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2461. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $100.35                 $100.35
         GONZALES, PAULINA
         2501 WEBB CHAPEL EXT.                    ¨ Contingent
         APT. #8208
         DALLAS TX 75220                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2462. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $6,203.01               $6,203.01
         GONZALES, ROBERT
         81 DAISY SPRINGS CT                      ¨ Contingent
         LAS VEGAS NV 89148
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 821 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 931 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2463. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $259.38                 $259.38
         GONZALES, SELENA N
         3435 3RD AVE N                           ¨ Contingent
         113
         SAINT PETERSBURG FL 33713                ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2464. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.37                  $76.37
         GONZALEZ, AILEEN
         6356 WEST GOWAN ROAD                     ¨ Contingent
         LAS VEGAS NV 89108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2465. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $312.72                 $312.72
         GONZALEZ, ALEXIS
         146 DARTMOUTH ST                         ¨ Contingent
         HEMPSTEAD NY 11550-2715
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 822 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 932 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2466. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $328.57                 $328.57
         GONZALEZ, BRITO ELIANDRA
         1166 CALL E 4 SE, URB. CAPARRA           ¨ Contingent
         SAN JUAN PR 00921
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2467. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $69.72                  $69.72
         GONZALEZ, CARLA
         3911 31ST AVE                            ¨ Contingent
         KENOSHA WI 53144
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2468. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $427.08                 $427.08
         GONZALEZ, CAROLINA
         143 EUCLID AVE                           ¨ Contingent
         SPRINGFIELD MA 01108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 823 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 933 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2469. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $181.21                 $181.21
         GONZALEZ, DANIELLE V
         5402 SUNSEEKER BLVD                      ¨ Contingent
         GREENACRES FL 33463
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2470. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $104.90                 $104.90
         GONZALEZ, DARLENE C
         56 ARMINGTON AVE                         ¨ Contingent
         PROVIDENCE RI 03908
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2471. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $244.79                 $244.79
         GONZALEZ, DAYSE F
         12338 KENTON CT.                         ¨ Contingent
         ORLANDO FL 32837-6500
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 824 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 934 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2472. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,269.26               $1,269.26
         GONZALEZ, DEISY
         6552 S KEDVALE AVENUE                    ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2473. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.80                  $36.80
         GONZALEZ, DESIRETH M
         511 MARTINGALE DR                        ¨ Contingent
         STROUDSBURG PA 18360
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2474. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $260.76                 $260.76
         GONZALEZ, DIANA
         21817 LANARK ST.                         ¨ Contingent
         29
         CANOGA PARK CA 91304                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 825 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 935 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2475. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $100.30                 $100.30
         GONZALEZ, DULCE
         9430 CONCOURSE DR                        ¨ Contingent
         HOUSTON TX 77036
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2476. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,825.62               $4,825.62
         GONZALEZ, ELIZABETH
         1515 SOUTH PROSPECT STREET               ¨ Contingent
         APT 36
         WHEATON IL 60189                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2477. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $297.93                 $297.93
         GONZALEZ, ELMER G
         20703 CRYSTAL HILL CIR                   ¨ Contingent
         APT D
         GERMANTOWN MD 20874                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 826 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 936 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2478. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $579.03                 $579.03
         GONZALEZ, FLORYS M
         10581 SW 155TH PL                        ¨ Contingent
         1610
         MIAMI FL 33196                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2479. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $563.38                 $563.38
         GONZALEZ, GABRIELA
         6044 KAUFFMAN AVE                        ¨ Contingent
         TEMPLE CITY CA 91780-1741
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2480. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $321.50                 $321.50
         GONZALEZ, GONZALEZ MARIA TERESA
         216 OCCOQUAN TER SW                      ¨ Contingent
         LEESBURG VA 20175
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 827 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 937 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2481. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $516.89                 $516.89
         GONZALEZ, IVANA R
         1208 FERNDALE CT                         ¨ Contingent
         VIRGINIA BEACH VA 23464
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2482. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $663.87                 $663.87
         GONZALEZ, JASMINE A
         1407 KILDEER DR                          ¨ Contingent
         ROUND LAKE BEACH IL 60073
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2483. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $525.46                 $525.46
         GONZALEZ, JENNIFER
         421 SWEEZY AVE                           ¨ Contingent
         RIVERHEAD NY 11901
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 828 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 938 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2484. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $23.38                  $23.38
         GONZALEZ, JENNIFER
         13526 BONWAY DR                          ¨ Contingent
         HOUSTON TX 77045
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2485. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $504.10                 $504.10
         GONZALEZ, JENNIFER W
         14243 PERHAM CT                          ¨ Contingent
         MORENO VALLEY CA 92553
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2486. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $59.76                  $59.76
         GONZALEZ, JENNY
         156 POND PL                              ¨ Contingent
         APT.14
         VISTA CA 92083                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 829 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 939 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2487. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $232.20                 $232.20
         GONZALEZ, JOCELYN
         15515 CALIFORNIA AVE                     ¨ Contingent
         PARAMOUNT CA 90723
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2488. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $264.61                 $264.61
         GONZALEZ, JOSE
         8111 REMMET AVE                          ¨ Contingent
         1
         CANOGA PARK CA 91304                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2489. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $227.05                 $227.05
         GONZALEZ, JULIA R
         611 REEVES LN                            ¨ Contingent
         KENNEDALE TX 76060
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 830 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 940 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2490. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $250.80                 $250.80
         GONZALEZ, KARLA
         14374 AMAR RD APT K                      ¨ Contingent
         LA PUENTE CA 91744
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2491. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $75.40                  $75.40
         GONZALEZ, LIZBETH A
         177 SHERMAN ST.                          ¨ Contingent
         PERTH AMBOY NJ 08861
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2492. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $40.86                  $40.86
         GONZALEZ, MARIA A
         17848 DEERFIELD DR                       ¨ Contingent
         LUTZ FL 33558
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 831 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 941 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2493. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $63.06                  $63.06
         GONZALEZ, MARIA F
         12631 OAKWOOD DR                         ¨ Contingent
         WOODBRIDGE VA 22912
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2494. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $396.32                 $396.32
         GONZALEZ, MARIBEL
         4017 STERLING CT                         ¨ Contingent
         MODESTO CA 95357
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2495. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $284.65                 $284.65
         GONZALEZ, MARLEN J
         13385 270TH ST                           ¨ Contingent
         ADRIAN MN 56110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 832 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 942 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2496. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $282.06                 $282.06
         GONZALEZ, MARTELL JENNIFER
         6613 NE 17TH AVE 97211                   ¨ Contingent
         PORTLAND OR 97211
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2497. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $35.95                  $35.95
         GONZALEZ, MELINA
         5053 N US 31                             ¨ Contingent
         COLUMBUS IN 47201
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2498. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $64.44                  $64.44
         GONZALEZ, NATALIE
         2101 TANGERINE ST                        ¨ Contingent
         BAKERSFIELD CA 93306
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 833 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 943 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2499. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $60.89                  $60.89
         GONZALEZ, NATALIE A
         12 WESTMINSTER DR                        ¨ Contingent
         JACKSON NJ 08527-2623
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2500. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $163.40                 $163.40
         GONZALEZ, NUVIA Y
         515 E 88TH AVE                           ¨ Contingent
         408
         THORNTON CO 80229                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2501. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $185.40                 $185.40
         GONZALEZ, OLADIS I
         1117 EUBANKS AVE                         ¨ Contingent
         BAKERSFIELD CA 93307
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 834 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 944 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2502. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $132.60                 $132.60
         GONZALEZ, ROLANDO
         1921 KING AVE                            ¨ Contingent
         HARLINGEN TX 78552-7528
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2503. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $230.04                 $230.04
         GONZALEZ, SANDRA
         525 GLENBRIAR CIRCLE                     ¨ Contingent
         TRACY CA 95377
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2504. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $704.09                 $704.09
         GONZALEZ, SONIELYZ
         495 LAUREL HILL RD                       ¨ Contingent
         APT 11P
         NORWICH CT 06360-7212                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 835 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 945 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2505. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $40.25                  $40.25
         GONZALEZ, SOTO GISELLE
         CALLE 4 D-18                             ¨ Contingent
         URB LOMA ALTA
         CAROLINA PR 00987                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2506. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,593.16               $1,593.16
         GONZALEZ, STEPHANIE
         6070 LARCHMONT DR                        ¨ Contingent
         SAN JOSE CA 95123-4419
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2507. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $128.94                 $128.94
         GONZALEZ, TATYANA L
         1930 N FRANKLIN                          ¨ Contingent
         PHILADELPHIA PA 19122
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 836 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 946 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2508. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $111.00                 $111.00
         GONZALEZ, TERESA
         4313 CLAYTON ST                          ¨ Contingent
         DENVER CO 80216
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2509. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $75.90                  $75.90
         GONZALEZ, VANESSA
         1371 BLACKBURN CIR.                      ¨ Contingent
         DALLAS TX 75217
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2510. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,315.21               $1,315.21
         GONZALEZ, VERONICA
         25 SOUTH LADOW AVE APT 9G                ¨ Contingent
         MILLVILLE NJ 08332
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 837 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 947 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2511. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $132.08                 $132.08
         GONZALEZ, WENDY I
         12 AURORA WAY                            ¨ Contingent
         ATHENS GA 30601
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2512. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,740.64               $2,740.64
         GONZALEZ-CASTRO, ERIKA
         5252 ORANGE AVE                          ¨ Contingent
         233
         SAN DIEGO CA 92115                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2513. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $217.80                 $217.80
         GONZALEZ-GARCIA, ASHLEY M
         46-350 TOWNE ST                          ¨ Contingent
         9
         INDIO CA 92201                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 838 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 948 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2514. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $202.01                 $202.01
         GONZALEZ-GUZMAN, MICHELLE
         276 MICHELE CIRCLE                       ¨ Contingent
         MILLERSVILLE MD 21108
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2515. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $65.15                  $65.15
         GONZALEZ-MEDINA, ANA R
         3103 MURRAY FARMS RD                     ¨ Contingent
         PLANT CITY FL 33566
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2516. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $286.75                 $286.75
         GOODMAN, ALLISEN M
         11005 56TH AVE                           ¨ Contingent
         ALLENDALE MI 49401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 839 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 949 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2517. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $50.29                  $50.29
         GOODMAN, KENICIA E
         507 SOURGHUM CT                          ¨ Contingent
         JOPPA MD 21085
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2518. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.21                 $164.21
         GOODMAN, TAYLOR TEA C
         2006 PRINCETON AVE                       ¨ Contingent
         CAMP HILL PA 17011
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2519. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $177.66                 $177.66
         GOODRICH, STEPHANIE
         601 BILL FRANCE BOULEVARD                ¨ Contingent
         APT 1707
         DAYTONA BEACH FL 32114                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 840 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 950 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2520. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $177.42                 $177.42
         GOODSPEED, DAPHNIE B
         890 E OLD 56 HWY                         ¨ Contingent
         222
         OLATHE KS 66061                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2521. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $116.88                 $116.88
         GOODWIN, RICKIESHA F
         100 FOREST AVE                           ¨ Contingent
         1-1201-D
         BUFFALO NY 14213                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2522. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $44.40                  $44.40
         GORDON, CHANTEL A
         245-33 147 ROAD                          ¨ Contingent
         ROSEDALE NY 11422
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 841 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 951 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2523. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $249.91                 $249.91
         GORDON, LILIANA M
         1754 GRANGE AVE                          ¨ Contingent
         204
         RACINE WI 53403                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2524. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $184.20                 $184.20
         GORDON, SAMANTHA M
         55 PARKWAY AVE                           ¨ Contingent
         AMITYVILLE NY 11701-1308
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2525. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.55                  $81.55
         GORDON, SARA C
         515 CAMINO REAL COURT                    ¨ Contingent
         F
         BRANDON FL 33510                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 842 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 952 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2526. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $105.17                 $105.17
         GORDON, SOMMER J
         105 RODEO CIRCLE                         ¨ Contingent
         LOUISVILLE OH 44641
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2527. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,481.20               $2,481.20
         GORHAM, ANGELA
         1214 SAVIN LANDING                       ¨ Contingent
         KNIGHDALE NC 27545
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2528. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $60.83                  $60.83
         GOROSPE, MARIA LOURDES I
         1045 NW 90TH WAY                         ¨ Contingent
         PLANTATION FL 33322
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 843 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 953 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2529. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $84.84                  $84.84
         GOSE, SYDNEY L
         4777 LA MESA COURT                       ¨ Contingent
         FREMONT CA 94536
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2530. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $212.40                 $212.40
         GOSSELIN, KASEY O
         479 CILLEY ROAD                          ¨ Contingent
         1
         MANCHESTER NH 03103                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2531. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $221.08                 $221.08
         GOTHRO, AMANDA L
         1896 S. GREGORY RD                       ¨ Contingent
         FOWLERVILLE MI 48836
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 844 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 954 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2532. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $52.10                  $52.10
         GOUGH, CHERYL K
         4421 S. KAILER DR.                       ¨ Contingent
         WICHITA KS 67217
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2533. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $370.97                 $370.97
         GOULBOURNE, BRIANNA M
         177 WAYPOINT DR                          ¨ Contingent
         STOCKBRIDGE GA 30281
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2534. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,284.65               $1,284.65
         GOULD, NAJJA O
         4902 SHUMARD DR                          ¨ Contingent
         KILLEEN TX 76542
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 845 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 955 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2535. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,493.21               $1,493.21
         GOULD, TERESA R
         13632 BELLEROSE DRIVE                    ¨ Contingent
         CHANTILLY VA 20151
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2536. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.44                 $121.44
         GOURDINE, DESTINY M
         828 ESTURARY DR                          ¨ Contingent
         828
         ALPHARETTA GA 30005                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2537. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $97.20                  $97.20
         GOZARI, MAKIYAL
         627 BROOKHURST BLVD.                     ¨ Contingent
         LATHROP CA 95330
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 846 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 956 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2538. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $551.78                 $551.78
         GRABINA, STACI R
         2 ETNA PLACE                             ¨ Contingent
         NANUET NY 10954
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2539. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $519.30                 $519.30
         GRACIA, CRYSTAL A
         590 COHANNET ST                          ¨ Contingent
         TAUNTON MA 02780
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2540. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $182.40                 $182.40
         GRACIANO, DENISSE
         638 GARRETT ST                           ¨ Contingent
         BRAWLEY CA 92227
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 847 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 957 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2541. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $416.52                 $416.52
         GRADO, CLAUDIA D
         9820 SAINT GEORGE ST.                    ¨ Contingent
         SPRING VALLEY CA 91977
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2542. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $164.22                 $164.22
         GRADO, SAVANNAH L
         320 E. UNION                             ¨ Contingent
         1332
         LAS CRUCES NM 88001                      ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2543. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $459.14                 $459.14
         GRAEFF, ABIGAIL S
         306 LAKEVIEW DRIVE                       ¨ Contingent
         RIDLEY PARK PA 19078
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 848 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 958 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2544. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $561.44                 $561.44
         GRAHAM, ASIA
         5211 CROSSWOOD WAY                       ¨ Contingent
         303
         RALEIGH NC 27616                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2545. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $500.17                 $500.17
         GRAHAM, SUNDIATA
         3031 HARRELL DR                          ¨ Contingent
         APT 118
         GRAND PRAIRIE TX 75052                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2546. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $432.84                 $432.84
         GRAHAM, TARA R
         7538 AUTUMN PARK                         ¨ Contingent
         SAN ANTONIO TX 78249-4235
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 849 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 959 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2547. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $371.45                 $371.45
         GRAIG, ELEXIS D
         570 MALABAR RD SW                        ¨ Contingent
         APT 206
         PALM BAY FL 32907                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2548. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $37.44                  $37.44
         GRAJEDA, KEILA G
         1008 ROSEMONT AVE.                       ¨ Contingent
         102
         LOS ANGELES CA 90026                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2549. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $693.26                 $693.26
         GRANDON, GABRIELA G
         6054 FARMDALE AVE                        ¨ Contingent
         4
         NORTH HOLLYWOOD CA 91606                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 850 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 960 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2550. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $512.68                 $512.68
         GRANILLO, JOSELYNE
         11317 E. MARGUERITE AVE.                 ¨ Contingent
         MESA AZ 85208
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2551. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $166.82                 $166.82
         GRANITZSKI, MEGAN E
         305 HOPE GREAT MEADOWS ROAD              ¨ Contingent
         GREAT MEADOWS NJ 07838
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2552. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $428.30                 $428.30
         GRANT, DANIELLE N
         255 JEAN WELLS DR                        ¨ Contingent
         GOOSE CREEK SC 29445
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 851 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 961 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2553. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $369.00                 $369.00
         GRANT-WILLIAMS, KARIA T
         2614 W TENNESSEE ST APT 8106C            ¨ Contingent
         TALLAHASSEE FL 32304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2554. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,561.70               $1,561.70
         GRANVILLE, KEREEN
         8521 MONTICELLO AVE                      ¨ Contingent
         SKOKIE IL 60076
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2555. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,465.88               $3,465.88
         GRAPEVINE/COLLEYVILLE I.S.D.
         3072 MUSTANG DRIVE                       ¨ Contingent
         GRAPEVINE TX 76051
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 852 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 962 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2556. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $513.83                 $513.83
         GRAUL, COURTNEY
         14777 WUNDERLICH DR                      ¨ Contingent
         APT 2604
         HOUSTON TX 77069                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2557. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $836.60                 $836.60
         GRAVELIN, LYNDSEY
         1642 CHARLOTTE CIRCLE                    ¨ Contingent
         MARTINSVILLE IN 46151
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2558. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $245.86                 $245.86
         GRAVES, KAITLIN
         3648 COUNTY ROAD 61                      ¨ Contingent
         COLUMBIA AL 36319
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 853 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 963 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2559. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $289.80                 $289.80
         GRAVES, PATRICIA
         9113 SIERRA ALTA WAY                     ¨ Contingent
         EL CAJON CA 92021
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2560. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $258.75                 $258.75
         GRAY, ALEEA G
         902 34TH STREET                          ¨ Contingent
         VIENNA WV 26105
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2561. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $348.96                 $348.96
         GRAY, EMILEE J
         9618 LITTLE HARBOR COURT                 ¨ Contingent
         ELK GROVE CA 95624
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 854 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 964 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2562. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $178.25                 $178.25
         GRAY, JADE C
         8671 PINE CT                             ¨ Contingent
         YPSILANTI MI 48198
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2563. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $373.67                 $373.67
         GRAY, JENNA E
         1652 OTOE ST.                            ¨ Contingent
         LINCOLN NE 68502
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2564. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $215.84                 $215.84
         GRAY, JILLIAN D
         2928 PRAIRIE OAK BLVD                    ¨ Contingent
         GRAND PRAIRIE TX 75052
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 855 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 965 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2565. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $61.28                  $61.28
         GRAY, MALLORY J
         4362 MCWHINNEY BLVD.                     ¨ Contingent
         #718
         LOVELAND CO 80538                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2566. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $32.67                  $32.67
         GRAY, SHYRENE M
         6512 W DESERT COVE AVE                   ¨ Contingent
         GLENDALE AZ 85304
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2567. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $4,102.22               $4,102.22
         GRAYBILL, HEIDI J
         6291 LEAR AVENUE                         ¨ Contingent
         TWENTYNINE PALMS CA 92277
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 856 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 966 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2568. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $157.97                 $157.97
         GREAGER, ALEXA R
         90 SOUTH GARDEN BLVD                     ¨ Contingent
         EDGEWATER PARK NJ 08010
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2569. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $170.89                 $170.89
         GREASER, SHELBY
         238 WINEBERRY DR                         ¨ Contingent
         CHESWICK PA 15024
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2570. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.09                 $199.09
         GREBER, MEGAN N
         18 DARLA DRIVE                           ¨ Contingent
         WINFIELD MO 63389
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 857 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 967 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2571. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $653.89                 $653.89
         GREELY, JULIA A
         786 OAK BEND RD                          ¨ Contingent
         KAISER MO 65047
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2572. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $678.30                 $678.30
         GREEN, ASHLEY J
         6356 FOREST AVE                          ¨ Contingent
         3R
         RIDGEWOOD NY 11385                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2573. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $190.81                 $190.81
         GREEN, BIANCA A
         717 JOHN TERRACE                         ¨ Contingent
         NEPTUNE NJ 07753
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 858 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 968 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2574. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $545.30                 $545.30
         GREEN, CAMARY
         704 MYRTLE STREET                        ¨ Contingent
         HATTIESBURG MS 39401
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2575. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,004.54               $2,004.54
         GREEN, CHRYSETTE M
         3417 CEDARGLEN RD.                       ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2576. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $89.59                  $89.59
         GREEN, JADE A
         3030 RESIDENCE DR                        ¨ Contingent
         3105 A
         TOLEDO OH 43606                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 859 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 969 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2577. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.69                 $121.69
         GREEN, JAMILLAH R
         601 OCEAN AVE                            ¨ Contingent
         APT #2
         JERSEY CITY NJ 07305                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2578. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $154.31                 $154.31
         GREEN, JAYDA
         2215 DUPONT AVE. N                       ¨ Contingent
         MINNEAPOLIS MN 55411
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2579. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $5,445.43               $5,445.43
         GREEN, JULIEANN
         4120 W MAULE AVE                         ¨ Contingent
         LAS VEGAS NV 89118-4410
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 860 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 970 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2580. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,173.16               $1,173.16
         GREEN, MAKAYLA A
         2028 N MITCHELL DR                       ¨ Contingent
         MIDWEST CITY OK 73110
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2581. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $152.16                 $152.16
         GREEN, MEGAN
         14330 SUMMER PLACE DR.                   ¨ Contingent
         GONZALES LA 70737
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2582. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $133.85                 $133.85
         GREEN, MORGAN Y
         830 PEACHERS MILL RD                     ¨ Contingent
         L140
         CLARKSVILLE TN 37042                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 861 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 971 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2583. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $37.34                  $37.34
         GREEN, NAYTONIYAN T
         8100 GARNERS FERRY ROAD APT 14           ¨ Contingent
         COLUMBIA SC 29209
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2584. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $166.66                 $166.66
         GREEN, TAYLOR A
         2825 EGRET WAY                           ¨ Contingent
         COOPER CITY FL 33026
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2585. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $6.00                   $6.00
         GREEN, VICTORIA
         3436 FREDERICK DR                        ¨ Contingent
         TOANO VA 23168
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 862 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 972 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2586. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $614.28                 $614.28
         GREENAWALT, KAYLEIGH B
         1750 WORTHINGTON COURT                   ¨ Contingent
         FREDERICK MD 21702
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2587. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $35.67                  $35.67
         GREENBERG, CATHERINE A
         26 IDAHO LN                              ¨ Contingent
         ABERDEEN NJ 07747-1504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2588. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $234.00                 $234.00
         GREENE, AMALIA I
         2895 S CONWAY RD                         ¨ Contingent
         ORLANDO FL 32812-5900
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 863 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 973 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2589. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $103.46                 $103.46
         GREENE, ELISABETH
         404 MIDNIGHT DR                          ¨ Contingent
         RICHLANDS NC 28574
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2590. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $223.73                 $223.73
         GREENE, JASMINE
         2153 CLIFFVALE DRIVE                     ¨ Contingent
         HIGH POINT NC 27262
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2591. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $151.96                 $151.96
         GREENE, SUNDAI K
         7503 GRAND LAKE DR.                      ¨ Contingent
         SEVEN VALLEYS PA 17360
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 864 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 974 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2592. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $225.67                 $225.67
         GREENFIELD, JESSICA L
         34 WOLFINGER WAY                         ¨ Contingent
         BINGHAMTON NY 13904
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2593. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $8,759.44               $8,759.44
         GREENFIELD-ESARCO, LAURIE A
         281A POTTERSTOWN ROAD                    ¨ Contingent
         LEBANON NJ 08833
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2594. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $291.92                 $291.92
         GREER, CASSIE
         45111 WAIKAPOKI RD                       ¨ Contingent
         E
         KANEOHE HI 96744                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 865 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 975 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2595. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $93.47                  $93.47
         GREER, CONSTANCE
         5780 GRANDVIEW DR                        ¨ Contingent
         INDIANAPOLIS IN 46228
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2596. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $190.31                 $190.31
         GREER, KIARA K
         124 REDMOND LN                           ¨ Contingent
         CAMDEN DE 19934
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2597. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $521.94                 $521.94
         GREGORIO, STEPHANIE M
         47 NORTH AVE                             ¨ Contingent
         REVERE MA 02151-2328
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 866 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 976 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2598. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $33.58                  $33.58
         GREGORY, JETTIE
         217 RIVERSIDE DR                         ¨ Contingent
         FREEPORT PA 16229
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2599. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $138.70                 $138.70
         GREIF, MACY M
         4021 WEST STATE ST.                      ¨ Contingent
         APT# 103
         BOISE ID 83703                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2600. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,679.06               $1,679.06
         GRIDER, DEBORAH R
         1011 VIZCAYA LAKES RD                    ¨ Contingent
         APT 108
         OCOEE FL 34761                           ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 867 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 977 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2601. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,462.18               $2,462.18
         GRIFFIN, CANADA A
         4761 COUNTRY LANE                        ¨ Contingent
         E48
         ORANGE OH 44126                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2602. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $242.97                 $242.97
         GRIFFIN, DARLA R
         2073 S IDALIA STREET                     ¨ Contingent
         AURORA CO 80013
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2603. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $577.28                 $577.28
         GRIFFIN, HEAVEN A
         5443 RIVERBREEZE COURT                   ¨ Contingent
         JACKSONVILLE FL 32277
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 868 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 978 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2604. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $268.13                 $268.13
         GRIFFIN, PAZAZZ
         1055 CHICAGO AVE                         ¨ Contingent
         CINCINNATI OH 45215
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2605. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $93.57                  $93.57
         GRIFFIN, TANISHA
         76 GRETNA WOODS RD                       ¨ Contingent
         PLEASANT VALLEY NY 12569
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2606. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $160.40                 $160.40
         GRIFFITH, ELAINA C
         9226D GENERAL BROWN LOOP                 ¨ Contingent
         FORT DRUM NY 13603
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 869 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 979 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2607. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $595.15                 $595.15
         GRIFFITH, JARI A
         2105 STELLA ST.                          ¨ Contingent
         105
         DENTON TX 76201                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2608. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $36.96                  $36.96
         GRIGGS, KELLY T
         145 HARMONY ROAD                         ¨ Contingent
         APARTMENT 1624
         SLIPPERY ROCK PA 16057                   ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2609. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $71.15                  $71.15
         GRIGSBY, EMILY R
         232 MARBLE CLIFF                         ¨ Contingent
         FORT MICHELL KY 41017
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 870 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 980 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2610. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $121.00                 $121.00
         GRIJALVA, YAJAIRA
         4333 E BELLEVUE ST                       ¨ Contingent
         UNIT 3
         TUCSON AZ 85712                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2611. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,599.07               $2,599.07
         GRIMALDI, CRYSTAL M
         16 SCOUT TRAIL                           ¨ Contingent
         RIDGE NY 11961
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2612. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $760.26                 $760.26
         GRINBERG, ROCHELLE P
         11800 SUNSET HILLS RD                    ¨ Contingent
         UNIT 620
         RESTON VA 20190                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 871 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 981 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2613. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $1,466.10               $1,466.10
         GROAH, JAZMIN
         7906 POINSETTIA DR                       ¨ Contingent
         LOUISVILLE KY 40258-2452
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2614. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.96                 $199.96
         GROHN, RACHEL J
         E13750 STELTER RD                        ¨ Contingent
         FALL CREEK WI 54742
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2615. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $24.65                  $24.65
         GROSS, DENAYA B
         7350 ALPINE DR NW                        ¨ Contingent
         RAMSEY MN 55303
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 872 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 982 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2616. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $81.55                  $81.55
         GROSS, SHARRON R
         2515 ALABAMA AVENUE SE APT 401           ¨ Contingent
         WASHINGTON DC 20020
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2617. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $215.64                 $215.64
         GROSVENTRE, JASMINE
         6960 HYDE PARK DR                        ¨ Contingent
         SAN DIEGO CA 92119
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2618. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $8,322.53               $8,322.53
         GROTBERG, BEATRIZ
         7 RABBIT RUN PLACE                       ¨ Contingent
         THE WOODLANDS TX 77382
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 873 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 983 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2619. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $870.65                 $870.65
         GRUBB, DEVANIQUE D
         3432 MICHAEL CT                          ¨ Contingent
         COLUMBUS OH 43204
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2620. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $175.11                 $175.11
         GRZYMSKI, JAYCIE M
         105 SPITBROOK ROAD                       ¨ Contingent
         13C
         NASHUA NH 03062                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2621. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $372.17                 $372.17
         GUADAGNO, MARIA A
         1113 CHARLES VIEW WAY                    ¨ Contingent
         TOWSON MD 21204
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 874 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 984 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2622. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $193.80                 $193.80
         GUBALLA, AMALIA E
         4224 WINDSONG ST.                        ¨ Contingent
         SACRAMENTO CA 95834
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2623. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $338.13                 $338.13
         GUEL, SADY
         5327 4TH ST CT E                         ¨ Contingent
         BRADENTON FL 34203
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2624. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $772.07                 $772.07
         GUERECA, NORMA P
         740 CALLA AVE                            ¨ Contingent
         B
         IMPERIAL BEACH CA 91932                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 875 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 985 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2625. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $165.04                 $165.04
         GUERRA, FAVIOLA
         1109 SW 53ST                             ¨ Contingent
         OKLAHOMA CITY OK 73109
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2626. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $179.91                 $179.91
         GUERRA, FRANCIS E
         3808 SE 36TH AVE                         ¨ Contingent
         AMARILLO TX 79103
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2627. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $90.14                  $90.14
         GUERRERO, ARLYN A
         27 ALEXANDER AVE                         ¨ Contingent
         SPRING VALLEY NY 10977
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 876 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 986 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2628. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $213.01                 $213.01
         GUERRERO, BRENDA
         2439 DES PLAINES AVE                     ¨ Contingent
         #1S
         NORTH RIVERSIDE IL 60546                 ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2629. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $781.61                 $781.61
         GUERRERO, JESSICA N
         839 FARM DR                              ¨ Contingent
         3
         SAN JOSE CA 95136                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2630. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $580.81                 $580.81
         GUERRERO, MARIAH N
         4627 N 100TH AVE                         ¨ Contingent
         PHOENIX AZ 85037-5263
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 877 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 987 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2631. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $176.03                 $176.03
         GUERRERO, SAMANTHA
         550 RIVERSTONE PKWY APT A109             ¨ Contingent
         CANTON GA 30114
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2632. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $531.98                 $531.98
         GUERRERO, SARAH I
         40979 BELLERAY AVE.                      ¨ Contingent
         MURRIETA CA 92562
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2633. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $407.55                 $407.55
         GUEST, KALEI A
         9851 HWY 172                             ¨ Contingent
         COMER GA 30629
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 878 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 988 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2634. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $761.81                 $761.81
         GUEVARA, DELMY N
         3824 S HOBART BLVD.                      ¨ Contingent
         LOS ANGELES CA 90062
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2635. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $169.00                 $169.00
         GUEVARA, RAQUEL S
         4450 TRUMAN RD                           ¨ Contingent
         RAVENNA MI 49451
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2636. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $185.29                 $185.29
         GUEVARA, SILVIA
         718 RUBY DR                              ¨ Contingent
         MIDLAND TX 79703
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 879 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 989 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2637. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $172.20                 $172.20
         GUEVARRA, QUEENIE
         1385 CYPRESS WOODS DR                    ¨ Contingent
         NAPLES FL 34103-3869
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2638. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $140.67                 $140.67
         GUIDRY, TONYA A
         1442 BROOKESTONE ROAD                    ¨ Contingent
         HEPHZIBAH GA 30815
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2639. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $88.02                  $88.02
         GUILLOT, LAUREN A
         2145 MEADOW LANE                         ¨ Contingent
         HARVEY LA 70058
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 880 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 990 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2640. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $201.72                 $201.72
         GUIMBALENA, GLENYZEL
         300 CRESCENT DR                          ¨ Contingent
         100
         VACAVILLE CA 95688                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2641. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $225.44                 $225.44
         GUIMMAYEN, JONA T
         1140 KAMEHAMEHA IV ROAD                  ¨ Contingent
         HONOLULU HI 96819
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2642. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $42.04                  $42.04
         GULATI, AYUSHI
         164 PHILLIPS RD.                         ¨ Contingent
         APT.174A
         SOMERSET NJ 08873                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 881 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 991 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2643. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $199.74                 $199.74
         GULIFORD, TEA M
         6000 E MAINSGATE                         ¨ Contingent
         APT 202
         WICHITA KS 67220                         ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2644. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $140.29                 $140.29
         GUNDLACH, MAKAYLA M
         1303 S ALBEMARLE ST                      ¨ Contingent
         YORK PA 17403
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2645. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $55.28                  $55.28
         GUNN, LEANNA
         59 DEMAREST AVENUE                       ¨ Contingent
         WEST NYACK NY 10994
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 882 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 992 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2646. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $256.80                 $256.80
         GUNNING, MARIA A
         5263 PERRY POLK DR.                      ¨ Contingent
         FAIRFIELD CA 94533
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2647. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $702.36                 $702.36
         GUNTER, FAITH L
         921 MARKS ROAD                           ¨ Contingent
         APARTMENT F
         BRUNSWICK OH 44212                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2648. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $618.74                 $618.74
         GURNEY, TAYLOR A
         1776 S RTE 116                           ¨ Contingent
         BRISTOL VT 05443
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 883 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 993 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2649. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $219.24                 $219.24
         GURON, MILAN K
         2615 GILL AVE                            ¨ Contingent
         BAKERSFIELD CA 93306
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2650. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $557.59                 $557.59
         GURROLA, JACQUELIN
         14333 BABCOCK ROAD                       ¨ Contingent
         4113 B
         SAN ANTONIO TX 78249                     ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2651. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $334.67                 $334.67
         GURROLA, VERONICA
         1150 COUNTRYSIDE DR.                     ¨ Contingent
         HANOVER PARK IL 60133
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 884 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 994 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2652. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $623.08                 $623.08
         GURULE, JENNIFER A
         319 TERNWING DR                          ¨ Contingent
         ARNOLD MD 21012
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2653. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $259.26                 $259.26
         GUTIERREZ, ANGELA J
         3810 NE 10TH AVE                         ¨ Contingent
         AMARILLO TX 79107
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2654. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $98.01                  $98.01
         GUTIERREZ, CINTHIA
         3625 N LUNA AVE                          ¨ Contingent
         CHICAGO IL 60641
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 885 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 995 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2655. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $3,588.13               $3,588.13
         GUTIERREZ, COURTNEY D
         6040 SELLERS AVE                         ¨ Contingent
         OAKLEY CA 94561
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2656. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $167.04                 $167.04
         GUTIERREZ, GABRIELLA M
         200 ALAVARDO ST                          ¨ Contingent
         CHULA VISTA CA 91910
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2657. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $175.81                 $175.81
         GUTIERREZ, IANINA
         3185 WINCHESTER COURT EAST               ¨ Contingent
         AURORA IL 60504
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 886 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 996 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2658. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $150.36                 $150.36
         GUTIERREZ, JAZMINE V
         1316 AZALEA STREET                       ¨ Contingent
         A
         OXNARD CA 93036                          ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2659. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $252.60                 $252.60
         GUTIERREZ, KASSANDRA
         135 JESSIE AVE                           ¨ Contingent
         MANTECA CA 95337
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2660. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $568.36                 $568.36
         GUTIERREZ, KATHERINE
         324 SPRINGMEADOW DR                      ¨ Contingent
         POPLAR GROVE IL 61065
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 887 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 997 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2661. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $94.55                  $94.55
         GUTIERREZ, LESLEY C
         22138 HART ST                            ¨ Contingent
         CANOGA PARK CA 91303
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2662. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $71.98                  $71.98
         GUTIERREZ, MARIAH D
         2574 BOLKER DR                           ¨ Contingent
         2574
         PORT HUENEME CA 93041                    ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2663. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $278.64                 $278.64
         GUTIERREZ, MARIELA L
         129 ABBOTT ST                            ¨ Contingent
         APT 1
         LAWRENCE MA 01843                        ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 888 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 998 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2664. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $84.46                  $84.46
         GUTIERREZ, MELISSA D
         432 W 67TH LN                            ¨ Contingent
         MERRILLVILLE IN 46410
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2665. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $206.55                 $206.55
         GUTIERREZ, PEREZ LUZ M
         57 BELLEVUE AVE                          ¨ Contingent
         APT 2
         HAVERHILL MA 01832                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2666. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $2,470.70               $2,470.70
         GUTIERREZ, WHITNEY R
         1733 N RENSSELAER                        ¨ Contingent
         GRIFFITH IN 46319
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 889 of 2657
                       Case 19-10210-LSS            Doc 456         Filed 04/03/19            Page 999 of 2900

Debtor   Charlotte Russe, Inc.                                                                               Case number (if known) 19-10214




2.2667. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $66.30                  $66.30
         GUTIERREZ-AVILA, MILLY H
         7611 SPRINGFIELD HILLS DR                ¨ Contingent
         SPRINGFIELD VA 22153
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2668. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $752.83                 $752.83
         GUYTON, THEARA
         1472 PATTON AVE                          ¨ Contingent
         B
         ASHEVILLE NC 28806                       ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2669. Priority creditor’s name and mailing      As of the petition filing date, the claim    Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                        $76.95                  $76.95
         GUZMAN, ABRIL Y
         2207 DOBERN AVENUE                       ¨ Contingent
         SAN JOSE CA 95116
                                                  ¨ Unliquidated                                                       Nonpriority amount

                                                  ¨ Disputed                                                           $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 890 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1000 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2670. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,513.92               $1,513.92
         GUZMAN, AMARISSA M
         2322 LATONA DR. NE                       ¨ Contingent
         KEIZER OR 97303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2671. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $279.36                 $279.36
         GUZMAN, ANISSA
         2957 W. 14TH ST                          ¨ Contingent
         LOS ANGELES CA 90006
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2672. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $194.62                 $194.62
         GUZMAN, CECILIA
         6512 LEE VALLEY DR                       ¨ Contingent
         SPRINGFIELD VA 22150-4224
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 891 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1001 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2673. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.01                 $160.01
         GUZMAN, LESLIE
         622 WEST 11TH ST                         ¨ Contingent
         WICHITA KS 67203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2674. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $609.31                 $609.31
         GUZMAN, RAEDA
         308 SALEM ST                             ¨ Contingent
         BRIDGEPORT CT 06606-4621
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2675. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.16                 $560.16
         GUZMAN, SHAYLA S
         4138 NW 88TH AVE                         ¨ Contingent
         205
         CORAL SPRINGS FL 33065                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 892 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1002 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2676. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.61                 $148.61
         GUZMAN, VANESSA
         10533 DECKER AVE                         ¨ Contingent
         SAINT LOUIS MO 63114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2677. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,434.72               $1,434.72
         GUZMAN, VANESSA M
         3402 PRESTON AVE                         ¨ Contingent
         #813
         PASADENA TX 77505                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2678. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.04                 $164.04
         GUZMAN, YESENIA
         224A CHOSIN CIRCLE                       ¨ Contingent
         OCEANSIDE CA 92058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 893 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1003 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2679. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,008.57               $1,008.57
         GWINNET COUNTY GEORGIA
         REVENUE LICENCE ADMINISTRATION           ¨ Contingent
         PO BOX 1045
         LAWRENCEVILLE GA 30046                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.2680. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.56                 $127.56
         GWYNN, KAREN
         1868 BOSTON AVE                          ¨ Contingent
         BRIDGEPORT CT 06610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2681. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.70                  $37.70
         HA, JENNY T
         9630 CLEAR SKY ROAD                      ¨ Contingent
         LINCOLN NE 68505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 894 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1004 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2682. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.21                  $84.21
         HAACK, LEAH N
         11914 SUMMERSET LANE                     ¨ Contingent
         BURNSVILLE MN 55337
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2683. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $450.80                 $450.80
         HAACK, TAYLER A
         4082 STONEWOOD CT.                       ¨ Contingent
         NEWPORT MI 48166
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2684. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.68                  $82.68
         HACHEM, NARJES H
         5724 HARVEST LN                          ¨ Contingent
         TOLEDO OH 43623
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 895 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1005 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2685. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $237.48                 $237.48
         HACKETT, AUDREY
         149 S CHAPPELL RD                        ¨ Contingent
         HOLLISTER CA 95023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2686. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.48                  $62.48
         HACKETT, RONEISHA
         112 E I ST                               ¨ Contingent
         NEWTON NC 28658-3517
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2687. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $9,145.99               $9,145.99
         HADDAD, DIANNA
         4943 S. FIELD CT                         ¨ Contingent
         DENVER CO 80123
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 896 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1006 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2688. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $521.69                 $521.69
         HADEED, TONYIA N
         425 CAROLINA AVE                         ¨ Contingent
         WHITEHALL PA 18052-7701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2689. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $609.40                 $609.40
         HAFFEY, MEGAN N
         835 ACADEMY CT.                          ¨ Contingent
         PAINESVILLE OH 44077
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2690. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.20                  $68.20
         HAGEMAN, KATHERINE A
         2238 HIGHLAND HILL DRIVE                 ¨ Contingent
         SAINT PETERS MO 63376
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 897 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1007 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2691. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,134.33               $4,134.33
         HAGEMANN, SUZANNE N
         6255 W ARBY AVE UNIT 297                 ¨ Contingent
         LAS VEGAS NV 89118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2692. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.64                  $41.64
         HAHN, LINDSEY
         160 SHERBROOKE RD                        ¨ Contingent
         LINDENHURST NY 11757
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2693. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.63                 $147.63
         HAIRSTON, BROOKLYNN
         319 BLESSINGER DR                        ¨ Contingent
         FT WALTON BEACH FL 32547
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 898 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1008 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2694. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $395.60                 $395.60
         HAK, SARA C
         2108 SW 5TH STREET                       ¨ Contingent
         BATTLE GROUND WA 98604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2695. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.15                  $88.15
         HAKEEM, MAYA
         2254 CHICAGO RD                          ¨ Contingent
         WARREN MI 48092
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2696. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $476.88                 $476.88
         HALE, CAPRIS A
         100 VILLAGE PARKWAY                      ¨ Contingent
         UNIT#906
         SAVOY IL 61874                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 899 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1009 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2697. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,443.18               $2,443.18
         HALE, LAKISHA D
         154 JEWETT STREET                        ¨ Contingent
         SPRINGFIELD MA 01129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2698. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.40                 $134.40
         HALEY, ISABELLE C
         11452 GEIST WOODS DR                     ¨ Contingent
         INDIANAPOLIS IN 46236
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2699. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,291.97               $3,291.97
         HALL, ANNA
         1140 LODGEWOOD WAY                       ¨ Contingent
         OXNARD CA 93030-3429
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 900 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1010 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2700. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $236.40                 $236.40
         HALL, CHRISTY L
         601 MILAN CT                             ¨ Contingent
         MONTGOMERY AL 36109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2701. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,023.70               $4,023.70
         HALL, GAYLA D
         27897 MAPLE ST                           ¨ Contingent
         SELIGMAN MO 65745-6129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2702. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $53.87                  $53.87
         HALL, KENDALL
         7801 SCENIC HWY                          ¨ Contingent
         APT 732B
         BATON ROUGE LA 71202                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 901 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1011 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2703. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,543.42               $1,543.42
         HALL, LATRICE N
         4200 CYPRESS CREEK PKWY                  ¨ Contingent
         337
         HOUSTON TX 77068                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2704. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $393.24                 $393.24
         HALL, MARIAH J
         1024 34TH STREET                         ¨ Contingent
         BELLINGHAM WA 98229
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2705. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $233.07                 $233.07
         HALL, SAVANNAH J
         14117 NIGHTHAWK TERR                     ¨ Contingent
         BRADENTON FL 34202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 902 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1012 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2706. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,423.68               $1,423.68
         HALL, TABITHA B
         760 SW 135 TER                           ¨ Contingent
         DAVIE FL 33325
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2707. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.12                 $203.12
         HALL, TASHARA
         2833 SOUTH ADAM STREET                   ¨ Contingent
         701
         TALLAHASSEE FL 32301                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2708. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.21                 $130.21
         HALLAGAN, EILY G
         3 GREEN HILL LANE                        ¨ Contingent
         PITTSFORD NY 14534
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 903 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1013 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2709. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $479.56                 $479.56
         HALLETT, ASHTON J
         6805 ALPINE CURRANT VIEW                 ¨ Contingent
         APT. 204
         COLORADO SPRINGS CO 80918                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2710. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.29                 $180.29
         HALLIBURTON, OLIVIA B
         1105 BRIDGE AVENUE                       ¨ Contingent
         309
         KNOXVILLE TN 37916                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2711. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.65                  $40.65
         HALLMARK, ASHLEY V
         10015 LAKE CREEK PARKWAY                 ¨ Contingent
         APT 112
         AUSTIN TX 78729                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 904 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1014 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2712. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $437.40                 $437.40
         HALPIN, VICTORIA R
         537 POTTER BLVD                          ¨ Contingent
         BRIGHTWATERS NY 11718
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2713. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $13,061.12              $12,850.00
         HALVERSON, CHRISTINA M
         703 ALLEGHENY AVE                        ¨ Contingent
         APT 40
         BEAUMONT CA 92223                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $211.12

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2714. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.64                  $35.64
         HAM, RACHANA
         2739 BURLINGTON PLACE                    ¨ Contingent
         STOCKTON CA 95209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 905 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1015 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2715. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.48                  $80.48
         HAMERSKY, COLLETTE C
         930 ELDON DR.                            ¨ Contingent
         LINCOLN NE 68510
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2716. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $314.16                 $314.16
         HAMILTON, DADREANNA M
         12611 NE 99TH ST                         ¨ Contingent
         JJ254
         VANCOUVER WA 98682                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2717. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $562.58                 $562.58
         HAMILTON, JANE T
         8082 VETERANS PKWY                       ¨ Contingent
         1401
         COLUMBUS GA 31909                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 906 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1016 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2718. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.35                 $104.35
         HAMILTON, TURIYA
         512 14TH STREET                          ¨ Contingent
         RACINE WI 53403
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2719. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,274.63               $1,274.63
         HAMMON, JALEESA S
         71 BUTLER STREET                         ¨ Contingent
         APT 2
         ELIZABETH NJ 07206-2053                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2720. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $517.65                 $517.65
         HAMMONDS, MIRANDA L
         6018 PARK AVENUE                         ¨ Contingent
         WILMINGTON NC 28403
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 907 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1017 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2721. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,583.47               $1,583.47
         HANANIA, ENHAM
         2232 AUTUMN OAK PLACE                    ¨ Contingent
         STOCKTON CA 95209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2722. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.89                  $72.89
         HANCOCK, KAUTHER NAKKIYAH
         48 FOXWOOD DR                            ¨ Contingent
         SMYRNA DE 19977
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2723. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.40                  $41.40
         HANCOCK, SARA K
         733 N 17TH ST                            ¨ Contingent
         332B
         LINCOLN NE 68508                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 908 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1018 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2724. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.64                 $185.64
         HANDUGAN, ELISABETH
         1565 ROADRUNNER DRIVE                    ¨ Contingent
         ROSEVILLE CA 95747
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2725. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $658.85                 $658.85
         HANDY, ADRIANA
         1504 NANDINA DR                          ¨ Contingent
         711
         ARLINGTON TX 76014                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2726. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $591.32                 $591.32
         HANKINS, SHYLYNN
         6374 LAMAR ST.                           ¨ Contingent
         ARVADA CO 80003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 909 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1019 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2727. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $319.73                 $319.73
         HANNA, LILLYANA
         9917 COZY GLEN CIRCLE                    ¨ Contingent
         LAS VEGAS NV 89117
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2728. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.98                 $246.98
         HANNAH, TAISHA
         16912 GLEN OAKS COURT                    ¨ Contingent
         COUNTRY CLUB HILLS IL 60478
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2729. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.70                 $114.70
         HANNAH, TAJAHRAE
         26125 POWERS                             ¨ Contingent
         DEARBORN HEIGHTS MI 48125
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 910 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1020 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2730. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,758.55               $3,758.55
         HANNON, ERIN K
         8618 SAXON CIRCLE                        ¨ Contingent
         BALTIMORE MD 21236
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2731. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.33                  $25.33
         HANSELMAN, ALEXIS S
         1635 ELMCREST DR.                        ¨ Contingent
         RENO NV 89503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2732. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.20                 $193.20
         HANSEN, CLEMENTINA L
         74672 LESLIE AVE                         ¨ Contingent
         PALM DESERT CA 92260
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 911 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1021 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2733. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.17                 $170.17
         HANSON, PRAIRIE M
         4409 W VALHALLA BLVD.                    ¨ Contingent
         APT. 26
         SIOUX FALLS SD 57106                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2734. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $725.09                 $725.09
         HANSON, SAMANTHA-SUE C
         76 LITCHFIELD ST                         ¨ Contingent
         THOMASTON CT 06787
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2735. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $490.78                 $490.78
         HARALAMBIDES, KAYLAN
         388 PUDDING ST.                          ¨ Contingent
         CARMEL NY 10512
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 912 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1022 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2736. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.80                 $158.80
         HARBIN, BREYANNA L
         1512 HOLLOWHILL DR                       ¨ Contingent
         701
         BRYAN TX 77082                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2737. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.40                  $29.40
         HARBISON, ELIZABETH R
         1410 BUFFAOL SHOALS RD                   ¨ Contingent
         LINCOLNTON NC 28092
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2738. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $286.20                 $286.20
         HARDGE, JASMINE K
         9851 UNIVERSITY PKWY                     ¨ Contingent
         APT W-243
         PENSACOLA FL 32514                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 913 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1023 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2739. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.81                  $60.81
         HARDIMON, DAYSHONA T
         2900 W AUGSTANA                          ¨ Contingent
         PEORIA IL 61605
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2740. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.85                 $146.85
         HARDIN, SHAZEEMA
         3710 10TH STREET DR NE                   ¨ Contingent
         HICKORY NC 28601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2741. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $380.37                 $380.37
         HARDNETT, RACHEL T
         1464 ROXANNA ROAD NW                     ¨ Contingent
         WASHINGTON DC 20012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 914 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1024 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2742. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $347.50                 $347.50
         HARDY, AKYIAH
         6118 WOLF PARK DRIVE APT 201 A           ¨ Contingent
         RALEIGH NC 27606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2743. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $10,469.99              $10,469.99
         HARGRAVE, SUTINYA R
         4816 LASSO LANE                          ¨ Contingent
         MCKINNEY TX 75070
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2744. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.08                 $139.08
         HARGROVE, MEGHAN M
         1160 DESMOND ST                          ¨ Contingent
         PORT CHARLOTTE FL 33952
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 915 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1025 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2745. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $269.18                 $269.18
         HARJU, BRYANNA F
         535 BOULDER DRIVE                        ¨ Contingent
         303
         DULUTH MN 55811                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2746. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,935.45               $1,935.45
         HARLINGEN TAX OFFICE
         609 N. SUNSHINE STRIP P.O. BOX 2643      ¨ Contingent
         HARLINGEN TX 78551-2643
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.2747. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.67                 $136.67
         HARMON, MARIAH
         2545 PILLORY POINT                       ¨ Contingent
         CIBOLO TX 78108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 916 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1026 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2748. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.65                  $45.65
         HARMON, TAMIKA L
         4417 W DUNBAR DR                         ¨ Contingent
         LAVEEN AZ 85339
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2749. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $637.20                 $637.20
         HARNESS, JENNIFER L
         474 PARKWAY DRIVE                        ¨ Contingent
         C
         SHERMAN IL 62684                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2750. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.40                 $100.40
         HARPER, BRIA N
         701 N FELL                               ¨ Contingent
         3
         NORMAL IL 61761                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 917 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1027 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2751. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $989.92                 $989.92
         HARRAWAY, ANGELA L
         1813 SOUTH 23RD ST                       ¨ Contingent
         LOUISVILLE KY 40210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2752. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.13                 $185.13
         HARRIGAN, LISA M
         240 CHARLES ST                           ¨ Contingent
         2ND FL
         WATERBURY CT 06708                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2753. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $506.99                 $506.99
         HARRION, KAMMI
         3571 E SANTA FE LN                       ¨ Contingent
         GILBERT AZ 85297
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 918 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1028 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2754. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $293.43                 $293.43
         HARRIS, ALEXANDRIA S
         8730 THOMAS DRIVE APT                    ¨ Contingent
         1201 A
         PANAMA CITY BEACH FL 32408               ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2755. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,466.10               $1,466.10
         HARRIS, ANDREA C
         3526 W 5585 S                            ¨ Contingent
         TAYLORSVILLE UT 84129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2756. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.09                  $42.09
         HARRIS, AVELON S
         527 E TURNER RD                          ¨ Contingent
         PRICHARD AL 36610-2455
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 919 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1029 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2757. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,459.25               $2,459.25
         HARRIS, BREANNA
         2608 CRESCENT LANE                       ¨ Contingent
         APT D
         GASTONIA NC 28052                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2758. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.33                 $150.33
         HARRIS, CHE'ZIK
         1102 LONG HUNTER LANE                    ¨ Contingent
         NASHVILLE TN 37217
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2759. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.86                  $33.86
         HARRIS, CORDESIA L
         3608 WINDERMERE DR                       ¨ Contingent
         MEMPHIS TN 38128
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 920 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1030 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2760. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.91                  $66.91
         HARRIS, COURTNEY L
         1233 MARSHALL DRIVE                      ¨ Contingent
         MARRERO LA 70072
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2761. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.72                 $159.72
         HARRIS, DANIELLE P
         835 DANA DRIVE                           ¨ Contingent
         COATESVILLE PA 19320
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2762. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.56                 $206.56
         HARRIS, DAYJA M
         2124 BRIANS LANE                         ¨ Contingent
         SUFFOLK VA 23434
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 921 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1031 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2763. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.10                 $158.10
         HARRIS, KATHRYN G
         3696 S 400 E                             ¨ Contingent
         BRINGHURST IN 46913
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2764. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.55                  $25.55
         HARRIS, LADAYSHA M
         6430 SILK LEAF LANE                      ¨ Contingent
         JACKSONVILLE FL 32244
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2765. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,310.26               $1,310.26
         HARRIS, LISA R
         9194 CONIFER LANE                        ¨ Contingent
         B
         RANCHO CUCAMONGA CA 91730                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 922 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1032 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2766. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $277.86                 $277.86
         HARRIS, MADISON
         4752 YORKTON AVENUE SW                   ¨ Contingent
         WYOMING MI 49519
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2767. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.02                 $214.02
         HARRIS, MADISON
         9401 WILSON BLVD                         ¨ Contingent
         LOT206
         COLUMBIA SC 29203                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2768. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $588.72                 $588.72
         HARRIS, MEGAN R
         3119 W. SHANNON DR.                      ¨ Contingent
         FLAGSTAFF AZ 86001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 923 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1033 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2769. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $657.69                 $657.69
         HARRIS, MILLICENT J
         5942 KRISTEN DRIVE                       ¨ Contingent
         JACKSON MS 39211
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2770. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,480.32               $1,480.32
         HARRIS, SAMANTHA L
         199 EASTERN AVE                          ¨ Contingent
         APT 21
         MANCHESTER NH 03104                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2771. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.43                 $101.43
         HARRIS, SAYURI T
         1824 HAVILAND DR                         ¨ Contingent
         VIRGINIA BEACH VA 23454
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 924 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1034 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2772. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.97                  $25.97
         HARRIS, TAIA B
         1745 WELLS ROAD                          ¨ Contingent
         #1201
         ORANGE PARK FL 32073                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2773. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.96                 $141.96
         HARRIS, TIANNA E
         10114 DORSET STREET                      ¨ Contingent
         RANCHO CUCAMONGA CA 91730
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2774. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $318.58                 $318.58
         HARRIS, TRAVAHNNI E
         100 NYACK PLAZA                          ¨ Contingent
         177
         NYACK NY 10960                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 925 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1035 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2775. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $372.28                 $372.28
         HARRIS, TYANNA E
         12815 MEADOW CREEK LN APT 302            ¨ Contingent
         PINEVILLE NC 28134
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2776. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.83                 $174.83
         HARROUD, MANAL
         15 RHOBELLA DRIVE                        ¨ Contingent
         APT A
         POUGHKEEPSIE NY 12603                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2777. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.00                  $93.00
         HARSTAD, KATELYN
         3406 NW 108TH ST                         ¨ Contingent
         VANCOUVER WA 98685
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 926 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1036 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2778. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.44                  $58.44
         HART, ASHLI L
         200 S. BONNIE BRAE ST.                   ¨ Contingent
         10206
         DENTON TX 76201                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2779. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $607.01                 $607.01
         HARTEY, MEGAN
         10829 PELLE CIRCLE                       ¨ Contingent
         PHILADELPHIA PA 19154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2780. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.34                  $32.34
         HARTIGAN, ALEX G
         14963 STATE ROUTE 45 SOUTH               ¨ Contingent
         WATER VALLEY KY 42085
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 927 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1037 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2781. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $327.24                 $327.24
         HARTMEYER, PRESTON R
         12747 OLD BRIDGE RD                      ¨ Contingent
         OCEAN CITY MD 21842
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2782. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $263.35                 $263.35
         HARVEY, HANNAH
         802 BRYCE COURT                          ¨ Contingent
         I
         WILMINGTON NC 28405                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2783. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $297.00                 $297.00
         HARVEY, MARIAH L
         2210 NEWCASLTE DR                        ¨ Contingent
         1217
         VACAVILLE CA 95687                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 928 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1038 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2784. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.58                  $34.58
         HARVEY, TASHAYNA
         11342 HIGHWAY 73                         ¨ Contingent
         GEISMAR LA 70734
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2785. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.23                 $190.23
         HARVISCHAK, SYDNEY N
         141 GERTRUDE AVENUE                      ¨ Contingent
         CAMPBELL OH 44405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2786. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,507.93               $1,507.93
         HASKELL, MCKENNA
         69 MAIN ST                               ¨ Contingent
         SCHAGHITCOKE NY 12154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 929 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1039 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2787. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $574.67                 $574.67
         HASTINGS, MARISA
         331 MACKENZIE DR                         ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2788. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $253.56                 $253.56
         HATCH, JENNA D
         4014 LOCH LOMAND WAY                     ¨ Contingent
         LIVERMORE CA 94551
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2789. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.95                  $95.95
         HATCHETT, BRISHIRI
         4220 LANYARD DRIVE                       ¨ Contingent
         APT 1107
         FORT WORTH TX 76106                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 930 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1040 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2790. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.46                  $74.46
         HATMAKER, SYDNEY H
         330 SETTLERS LANE                        ¨ Contingent
         CHARLOTTE NC 28202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2791. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.64                 $142.64
         HATTEN, DESTINY C
         789 HAMMOND DR                           ¨ Contingent
         608
         SANDY SPRINGS GA 30328                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2792. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.60                 $111.60
         HATTER, ANDREEA L
         19800 KENSWICK DR 1122                   ¨ Contingent
         19800 KENSWICK
         HUMBLE TX 77338                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 931 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1041 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2793. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.85                 $169.85
         HATTON, KINDRA M
         1140 VERONICA LN                         ¨ Contingent
         EUGENE OR 97404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2794. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $46.53                  $46.53
         HAUBE, SERENA J
         1701 MALL ROAD                           ¨ Contingent
         APT 20
         MONROE MI 48162                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2795. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.91                 $170.91
         HAULK, MADISON M
         8964 S PR 435 W                          ¨ Contingent
         EDINBURGH IN 46124
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 932 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1042 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2796. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.62                  $82.62
         HAULOTTE, GRACE M
         7 RADLER RD                              ¨ Contingent
         PRESTON CT 06365
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2797. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $435.63                 $435.63
         HAUPTLY, TAHLIA S
         301 HAWK RIDGE RD                        ¨ Contingent
         #3205A
         IOWA CITY IA 52242                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2798. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.60                  $31.60
         HAUPTMAN, SARAH
         115 UPPER GREEN HILL RD                  ¨ Contingent
         KUNKLETOWN PA 18058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 933 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1043 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2799. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $630.34                 $630.34
         HAUSRATH, SABRINA P
         1121 BUGSCUFFLE RD                       ¨ Contingent
         WARTRACE TN 37183
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2800. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.15                 $173.15
         HAUSTERMAN, JENNIFER L
         8638 SANDBERRY BLVD                      ¨ Contingent
         ORLANDO FL 32819
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2801. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $299.16                 $299.16
         HAWKINS, ALIYAH L
         11751 DELLWOOD RD                        ¨ Contingent
         VICTORVILLE CA 92392
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 934 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1044 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2802. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,829.87               $4,829.87
         HAWKINS, KAI
         90 S. LANSDOWNE AVENUE                   ¨ Contingent
         103
         LANSDOWNE PA 19050                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2803. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.12                 $107.12
         HAWKINS, KESHAWN
         10714 WINDING GREEN DR                   ¨ Contingent
         HUMBLE TX 77338
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2804. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.79                  $35.79
         HAWKINS, MAECI
         2901 MARY BOAZ ST                        ¨ Contingent
         RICHLAND HILLS TX 76118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 935 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1045 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2805. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $249.96                 $249.96
         HAWKINS, VAQUANA V
         5415 N. PARAMOUNT BLVD                   ¨ Contingent
         206
         LONG BEACH CA 90805                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2806. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.14                 $115.14
         HAYES, ASHLIE
         6241 AMERICAS CUP AVE. BLDG. 1           ¨ Contingent
         TAMPA FL 33625
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2807. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,516.16               $4,516.16
         HAYES, ELISHA
         2837 OXFORD LANE                         ¨ Contingent
         FLOWER MOUND TX 75028
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 936 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1046 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2808. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.59                  $31.59
         HAYES, PRECIOUS B
         543 GREEN STREET                         ¨ Contingent
         543 GREEN STRE
         ELIZABETH NJ 07202                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2809. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.25                 $158.25
         HAYES, TYESE
         826 MAYFIELD DR                          ¨ Contingent
         CEDAR HILL TX 75104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2810. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.59                  $85.59
         HAYNES, ASHLI M
         835 VISTA DR                             ¨ Contingent
         GAHANNA OH 43230
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 937 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1047 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2811. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $558.37                 $558.37
         HAYNES, DANIELLE
         408 LASALLE PLACE                        ¨ Contingent
         COLUMBIA MO 65203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2812. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $544.50                 $544.50
         HAYNES, EMILY
         2480 REFLECTIONS DR.                     ¨ Contingent
         AURORA IL 60502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2813. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $260.64                 $260.64
         HAYS, ALLEXIS D
         5 MINEOLA ST                             ¨ Contingent
         HOLTSVILLE NY 11742
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 938 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1048 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2814. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $831.50                 $831.50
         HEATER, MELLISSA A
         49 WEST PARK ROAD                        ¨ Contingent
         GRAND ISLAND NY 14072
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2815. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,987.40               $1,987.40
         HEATH, ARECIA
         66 FOREST TRAIL COURT                    ¨ Contingent
         COLUMBIA SC 29212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2816. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,154.81               $1,154.81
         HEATH, SAMANTHA M
         54 NORTH STREET APT 2                    ¨ Contingent
         MERIDEN CT 06451
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 939 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1049 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2817. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,372.80               $1,372.80
         HEATON, SHANNON
         727 FREEDOM DR                           ¨ Contingent
         MARTIN GA 30557
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2818. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.56                 $154.56
         HECK, TARA A
         632 MULFORD COURT                        ¨ Contingent
         INDIANAPOLIS IN 46234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2819. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,998.57               $7,998.57
         HEGLUND, AMANDA R
         53 PLYMOUTH AVENUE                       ¨ Contingent
         MOUNT SINAI NY 11766
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 940 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1050 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2820. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.44                 $148.44
         HEICHELBECH, ANGELICA M
         24 BEVERLY STREET                        ¨ Contingent
         CHICOPEE MA 01013
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2821. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.69                  $69.69
         HEINECKE, MEGAN E
         5157 RALPH AVE                           ¨ Contingent
         CINCINNATI OH 45238
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2822. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,409.75               $5,409.75
         HEINIG. BALBINA
         9 PARK CENTRAL                           ¨ Contingent
         ROCKWALL TX 75087
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 941 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1051 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2823. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.47                  $49.47
         HELEM-LEE, ZORA V
         2208 W. LEHIGH AVE                       ¨ Contingent
         PHILADELPHIA PA 19132
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2824. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $569.16                 $569.16
         HELLEIN, SUZANNE
         155 ROYAL STATE ST                       ¨ Contingent
         MOUNT PLEASANT PA 15666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2825. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.31                 $193.31
         HELM, LINDSEY M
         825 IVY ANN                              ¨ Contingent
         WOODWAY TX 76712
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 942 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1052 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2826. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.50                  $87.50
         HENDERSON, JALISA C
         216 BAY TREE RD                          ¨ Contingent
         H301
         DOVER DE 19901                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2827. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.02                  $76.02
         HENDERSON, MARANDA
         4601 LYNN LN                             ¨ Contingent
         NORTH LITTLE ROCK AR 72118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2828. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $23.01                  $23.01
         HENDERSON, NAKIYA N
         3308 AUGUSTINE DRIVE                     ¨ Contingent
         KILLEEN TX 76549
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 943 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1053 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2829. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.83                  $31.83
         HENDERSON, SHANNON
         505 STUMPBRIDGE ROAD                     ¨ Contingent
         CANTON MS 39046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2830. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.74                  $64.74
         HENDERSON, TANYIAH
         1908 CANTERBURY RD                       ¨ Contingent
         MACON GA 31206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2831. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $647.78                 $647.78
         HENDERSON, TRISTEN L
         245 B LANIER DRIVE                       ¨ Contingent
         MADISON TN 37115
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 944 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1054 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2832. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $260.56                 $260.56
         HENDRICKS, ALEXANDRA K
         34 PLAYSTEAD ROAD                        ¨ Contingent
         1
         NEWTON MA 02458                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2833. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $361.00                 $361.00
         HENDRIX, ANGEL P
         36 BUXTON AVE                            ¨ Contingent
         NEWPORT NEWS VA 23607
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2834. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.89                 $122.89
         HENDRIX, CARSON N
         101 MADISON DR                           ¨ Contingent
         MOUNT HOLLY NC 28012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 945 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1055 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2835. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $303.99                 $303.99
         HENDRIX, MIA R
         1214 31ST STREET                         ¨ Contingent
         DES MOINES IA 50311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2836. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $316.72                 $316.72
         HENGY, ALEXANDRA J
         3829 MACKINAW STREET                     ¨ Contingent
         SAGINAW MI 48602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2837. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $433.66                 $433.66
         HENRICHS, SOPHIE M
         S61 W24405 RED WING DR.                  ¨ Contingent
         WAUKESHA WI 53189
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 946 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1056 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2838. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $394.09                 $394.09
         HENRIGUEZ, JOANNA M
         9489 CHADBURN PLACE                      ¨ Contingent
         MONTGOMERY VILLAGE MD 20886
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2839. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.92                 $185.92
         HENRIQUEZ, DESTANNIE R
         5035 SUNSET RIDGE DR                     ¨ Contingent
         COLORADO SPRINGS CO 80917
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2840. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.89                 $114.89
         HENRY, AZIAH A
         4302 CHAPELSTONE AVE                     ¨ Contingent
         #1
         BENTONVILLE AR 72712                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 947 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1057 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2841. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.00                  $36.00
         HENRY, CHARISSE A
         2019 GORDEN RIDGE DRIVE                  ¨ Contingent
         EAST STROUDSBURG PA 18302
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2842. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.43                 $124.43
         HENRY, JAMIYAH A
         6109 N 95TH                              ¨ Contingent
         MILWAUKEE WI 53225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2843. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.04                  $90.04
         HENRY, MEGAN J
         20201 WATKINS MILL ROAD                  ¨ Contingent
         GAITHERSBURG MD 20886
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 948 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1058 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2844. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.37                 $177.37
         HENRY, REBEKAH A
         61 KENSINGTON STREET                     ¨ Contingent
         2
         UNIONTOWN PA 15401                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2845. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.30                 $150.30
         HENRY, SANISE
         601 N JACKSON AVE                        ¨ Contingent
         APT 1
         TACOMA WA 98406                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2846. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.14                 $140.14
         HENRY, TATUM S
         5919 HAYDEN DRIVE                        ¨ Contingent
         MIDDLETOWN OH 45042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 949 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1059 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2847. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.16                  $86.16
         HER, DARLINE N
         6612 E. LOWE AVE                         ¨ Contingent
         FRESNO CA 93727
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2848. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.47                  $67.47
         HER, MAI XEE
         708 JONES ST.                            ¨ Contingent
         EAU CLAIRE WI 54703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2849. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.63                 $190.63
         HERBERT, MAKAYLA C
         15315 MOUNT NEBO ROAD                    ¨ Contingent
         POOLESVILLE MD 20837
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 950 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1060 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2850. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.98                 $166.98
         HEREDERO, HEIDI M
         16003 MEADOWSIDE ST.                     ¨ Contingent
         LA PUENTE CA 91744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2851. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $600.88                 $600.88
         HEREDIA, VERONICA
         414 W PIEDMONT RD                        ¨ Contingent
         PHOENIX AZ 85041-8851
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2852. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $286.88                 $286.88
         HEREDIA, VERONICA L
         279 W. 11TH ST                           ¨ Contingent
         OVIEDO FL 32766
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 951 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1061 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2853. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $373.64                 $373.64
         HERLIHY, EMILY A
         1846 DARBY DR                            ¨ Contingent
         APT B-8
         FLORENCE AL 35630                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2854. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.58                 $150.58
         HERMAN, KATIE L
         16261 NE 17TH AVE                        ¨ Contingent
         STARKE FL 32091
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2855. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.95                  $36.95
         HERMOSURA, MICHAEL G
         118 DOGWOOD DR                           ¨ Contingent
         NEWPORT NEWS VA 23606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 952 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1062 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2856. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $256.07                 $256.07
         HERNANDEZ, ABRIL
         4517 WYNDTREE DR                         ¨ Contingent
         191
         WEST CHESTER OH 45069                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2857. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.64                  $91.64
         HERNANDEZ, ALANNA M
         300 FRASER PURCHASE ROAD                 ¨ Contingent
         LATROBE PA 15650
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2858. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.05                 $116.05
         HERNANDEZ, ALMA G
         2557 DOROTHY DR                          ¨ Contingent
         MARIETTA GA 30008
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 953 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1063 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2859. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $372.75                 $372.75
         HERNANDEZ, ANA
         24-54 96TH STREET                        ¨ Contingent
         EAST ELMHURST NY 11369
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2860. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $412.68                 $412.68
         HERNANDEZ, ANA C
         1338 OLIVE ST                            ¨ Contingent
         SANTA ROSA CA 95407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2861. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $233.73                 $233.73
         HERNANDEZ, ANGELA
         2315 61ST                                ¨ Contingent
         LUBBOCK TX 79412
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 954 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1064 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2862. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.96                  $60.96
         HERNANDEZ, ANNA L
         1402 SOUTH CHESTNUT                      ¨ Contingent
         MCKINNEY TX 75069
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2863. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.44                 $184.44
         HERNANDEZ, ARLY E
         1457 PETERS BLVD                         ¨ Contingent
         BAY SHORE NY 11706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2864. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $284.81                 $284.81
         HERNANDEZ, BAUTISTA ALIN V
         3706 CAROLINA BCH RD                     ¨ Contingent
         #1
         WILMINGTON NC 28412                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 955 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1065 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2865. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.24                 $177.24
         HERNANDEZ, BRENDA
         1127 W PRIMROSE DR                       ¨ Contingent
         ORANGE CA 92868
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2866. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $787.54                 $787.54
         HERNANDEZ, BRENDA N
         1919 CYPRESS AVE                         ¨ Contingent
         SANTA ANA CA 92707
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2867. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.35                 $190.35
         HERNANDEZ, CARMEN Y
         236 GRAVES STREET                        ¨ Contingent
         236 GRAVES STR
         STATEN ISLAND NY 10314                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 956 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1066 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2868. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.08                 $184.08
         HERNANDEZ, CLARISSA M
         5611 GABLES STREET                       ¨ Contingent
         SAN DIEGO CA 92139
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2869. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.11                  $67.11
         HERNANDEZ, COLATO JACQUELINE
         1301 COLLEGE AVE                         ¨ Contingent
         FREDERICKSBURG VA 22401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2870. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $384.04                 $384.04
         HERNANDEZ, CORTES YOVANA K
         9604 172ND ST W                          ¨ Contingent
         LAKEVILLE MN 55044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 957 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1067 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2871. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $715.70                 $715.70
         HERNANDEZ, DAISY L
         9215 DATE ST                             ¨ Contingent
         APT # B
         FONTANA CA 92335-8726                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2872. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.36                 $102.36
         HERNANDEZ, DARLENE L
         33231 AGUA DULCE CYN RD                  ¨ Contingent
         SANTA CLARITA CA 91390
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2873. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.92                  $79.92
         HERNANDEZ, DEYALIS
         3374 33RD AVE.                           ¨ Contingent
         COLUMBUS NE 68601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 958 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1068 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2874. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $571.68                 $571.68
         HERNANDEZ, DIANA M
         8220 TOPANGA CANYON BLVD                 ¨ Contingent
         121
         CANOGA PARK CA 91304                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2875. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $439.29                 $439.29
         HERNANDEZ, EDWIN
         7221 SOUTH ALASKA STREET                 ¨ Contingent
         TACOMA WA 98408
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2876. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $583.69                 $583.69
         HERNANDEZ, ESMERALDA
         1913 AZALEA ST                           ¨ Contingent
         MISSION TX 78573
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 959 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1069 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2877. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $323.52                 $323.52
         HERNANDEZ, EVELYN
         327 E PEARSON AVE.                       ¨ Contingent
         5
         ANAHEIM CA 92802                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2878. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,264.40               $1,264.40
         HERNANDEZ, FELICIA
         10990 HIGHLAND MEADOW VILLAGE            ¨ Contingent
         HOUSTON TX 77089
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2879. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $372.90                 $372.90
         HERNANDEZ, FRANCHESKA M
         19603 CRYSTAL ROCK DRIVE                 ¨ Contingent
         #22
         GERMANTOWN MD 20874                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 960 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1070 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2880. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.82                 $137.82
         HERNANDEZ, GABRIELLA S
         209 17TH STREET                          ¨ Contingent
         ARNOLD PA 15068
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2881. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.00                 $240.00
         HERNANDEZ, GESELLE
         875 S RIVERSIDE AVE                      ¨ Contingent
         RIALTO CA 92376
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2882. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $617.36                 $617.36
         HERNANDEZ, JACQUALINE O
         1601 E. IMHOFF ROAD                      ¨ Contingent
         3011
         NORMAN OK 73071                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 961 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1071 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2883. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $343.04                 $343.04
         HERNANDEZ, JASMINE G
         1200 W 87 ST                             ¨ Contingent
         LOS ANGELES CA 90044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2884. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.01                 $116.01
         HERNANDEZ, KAREN G
         161 JAY STREET                           ¨ Contingent
         SAN BENITO TX 78586
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2885. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $241.51                 $241.51
         HERNANDEZ, KRISTAL M
         CALLE CLAVEL K-2                         ¨ Contingent
         URB. LAS VEGAS
         CATAÃ‘O PR 00962                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 962 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1072 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2886. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.93                 $113.93
         HERNANDEZ, LESLIE D
         1552 PLYMOUTH CIRCLE                     ¨ Contingent
         CARPENTERSVILLE IL 60110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2887. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $410.85                 $410.85
         HERNANDEZ, LIZETTE S
         4434 SCHULTE DR                          ¨ Contingent
         CINCINNATI OH 45205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2888. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.89                 $220.89
         HERNANDEZ, MARIA A
         4970 WEST 6TH AVENUE                     ¨ Contingent
         DENVER CO 80204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 963 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1073 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2889. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $517.88                 $517.88
         HERNANDEZ, MARIA D
         302 E FRANKLIN AVE                       ¨ Contingent
         MESA AZ 85210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2890. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,812.19               $3,812.19
         HERNANDEZ, MARIA N
         10029 MULBERRY AVE                       ¨ Contingent
         OAK LAWN IL 60453
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2891. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,147.52               $4,147.52
         HERNANDEZ, MAYRA G
         1446 S VAUGHN CIR                        ¨ Contingent
         AURORA CO 80012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 964 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1074 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2892. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,795.36               $3,795.36
         HERNANDEZ, PERLA K
         1913 AZALEA STREET                       ¨ Contingent
         MISSION TX 78573
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2893. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.52                 $158.52
         HERNANDEZ, RAMIREZ ROXANA
         15132 SOUTH CULVER RD                    ¨ Contingent
         VICTORVILLE CA 92394
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2894. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.00                 $165.00
         HERNANDEZ, SOPHIA A
         858 W PANORAMA DR                        ¨ Contingent
         212
         PALATINE IL 60067                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 965 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1075 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2895. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.38                  $90.38
         HERNANDEZ, SOPHIA K
         2714 STAR PEAK DR                        ¨ Contingent
         HOUSTON TX 77088
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2896. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $296.55                 $296.55
         HERNANDEZ, STEFANI
         52 HOWARD ST                             ¨ Contingent
         LAWRENCE MA 01841
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2897. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $183.97                 $183.97
         HERNANDEZ, SURI S
         632 WASHINGTON AVE                       ¨ Contingent
         75
         BOWLING GREEN KY 42104                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 966 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1076 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2898. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.80                 $145.80
         HERNANDEZ, TALIA
         8616 SE GRAY ST                          ¨ Contingent
         HAPPY VALLEY OR 97086
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2899. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,011.17               $2,011.17
         HERNANDEZ, VENTURA A
         2312 14TH STREET                         ¨ Contingent
         UNIT C
         LUBBOCK TX 79401                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2900. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $997.92                 $997.92
         HERNANDEZ, YAMILE
         6240 SW 19 STREET                        ¨ Contingent
         MIAMI FL 33155
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 967 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1077 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2901. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.44                 $106.44
         HERNANDEZ, YURITZY M
         411 NE GOING ST                          ¨ Contingent
         APT 5
         PORTLAND OR 97211                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2902. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $641.63                 $641.63
         HERNANDEZ, ZULEIKA
         105 NAOMI DR                             ¨ Contingent
         EAST HARTFORD CT 06118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2903. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.82                 $122.82
         HERNDON, PEYTON J
         103 BUCKSKIN DR.                         ¨ Contingent
         GASTONIA NC 28052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 968 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1078 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2904. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,868.71               $1,868.71
         HERNLY, EMILEE B
         619 W. UNIVERSITY AVE.                   ¨ Contingent
         MUNCIE IN 47303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2905. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,053.25               $5,053.25
         HERRERA, ASHLEY T
         2129 CLARION AVE SW                      ¨ Contingent
         WYOMING MI 49519
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2906. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.94                 $205.94
         HERRERA, BIANCA C
         6744 DESERT BLOSSOM ROAD                 ¨ Contingent
         E2
         LAS CRUCES NM 88007                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 969 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1079 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2907. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $54.39                  $54.39
         HERRERA, CASSANDRA J
         14912 E 116TH PLACE                      ¨ Contingent
         BRIGHTON CO 80603
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2908. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $541.17                 $541.17
         HERRERA, IVONNE
         674 SUPIMA DR                            ¨ Contingent
         EL PASO TX 79927-4447
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2909. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.20                 $232.20
         HERRERA, JESSICA C
         13914 S VERMONT AVE                      ¨ Contingent
         GARDENA CA 90247
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 970 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1080 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2910. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,369.02               $2,369.02
         HERRERA, KARINA
         8790 SUNSET BREEZE DR                    ¨ Contingent
         RENO NV 89506
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2911. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.16                  $68.16
         HERRERA, KATHERYN R
         14619 ANNARBOR HEIGHTS CT                ¨ Contingent
         CYPRESS TX 77433
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2912. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.40                 $143.40
         HERRERA, NATALIE I
         10067 BORDELON ST                        ¨ Contingent
         SAN DIEGO CA 92124
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 971 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1081 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2913. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $488.77                 $488.77
         HERRERA, SAMANTHA R
         6951 DONNA AVENUE                        ¨ Contingent
         RESEDA CA 91335
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2914. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.56                 $109.56
         HERRERA, SHADAE
         318 N B ST                               ¨ Contingent
         EXETER CA 93221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2915. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.35                 $111.35
         HERRIGES, ANICKA T
         4353 N MORRIS BLVD                       ¨ Contingent
         SHOREWOOD WI 53211
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 972 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1082 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2916. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $199.17                 $199.17
         HESTER, LELONIE L
         550 3RD AVE UNIT 243                     ¨ Contingent
         SAINT CLOUD MN 56301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2917. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,070.78               $3,070.78
         HEWETT, RACHEL K
         5203 COOPER CHAPEL RD                    ¨ Contingent
         LOUISVILLE KY 40229
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2918. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $590.90                 $590.90
         HEWITT, ASHLEY H
         87 HANCOCK AVE.                          ¨ Contingent
         1
         JERSEY CITY NJ 07307                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 973 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1083 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2919. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.15                 $162.15
         HEWITT, AYANA C
         122 GARDEN ST                            ¨ Contingent
         2
         POUGHKEEPSIE NY 12601                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2920. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,546.14               $2,546.14
         HEWITT, JESSICA
         2563 FOXFIRE CT                          ¨ Contingent
         MURFREESBORO TN 37129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2921. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $508.40                 $508.40
         HEWLETT, JAYLA S
         2312 CARLETON DRIVE                      ¨ Contingent
         DECATUR AL 35603
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 974 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1084 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2922. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.98                 $109.98
         HICKEY, CATHERINE M
         7956 LEOTA LANE                          ¨ Contingent
         NEW PORT RICHEY FL 34653
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2923. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.58                  $86.58
         HICKEY, EMILY R
         120 OLD SCHUYLERVILLE ROAD               ¨ Contingent
         SARATOGA SPRINGS NY 12866
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2924. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,230.88               $1,230.88
         HICKMAN, SHAWNAE J
         852 SOUTH PARKER DRIVE                   ¨ Contingent
         APT B
         FLORENCE SC 29501                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 975 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1085 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2925. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $530.17                 $530.17
         HICKS, ANDRESE
         6562 KEMPTON STREET                      ¨ Contingent
         NAVARRE FL 32566
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2926. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.57                 $191.57
         HICKS, ANGELA M
         3118 W FRANKLIN BLVD                     ¨ Contingent
         3B
         CHICAGO IL 60612                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2927. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.39                  $92.39
         HICKS, MIRANDA R
         1908 PRINCE GEORGE DRIVE                 ¨ Contingent
         GAUTIER MS 39553
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 976 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1086 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2928. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.83                 $188.83
         HICKS, SHAREKA
         2434 HAMLET CIRCLE                       ¨ Contingent
         LAKELAND FL 33810
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2929. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.56                 $175.56
         HIGBIE, NAKOTA B
         40 GRAND STREET                          ¨ Contingent
         1
         WORCESTER MA 01610                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2930. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.71                 $111.71
         HIGGINS, SARAH N
         402 KERBY ST                             ¨ Contingent
         212
         ARLINGTON TX 76013                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 977 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1087 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2931. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $772.80                 $772.80
         HIGGS, TATYANA R
         7603 LAYTONIA DRIVE                      ¨ Contingent
         GAITHERSBURG MD 20877
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2932. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $265.71                 $265.71
         HIGHTOWER, PORSHA
         2090 ZINK RD.                            ¨ Contingent
         3B
         BEAVERCREEK OH 45324                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2933. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.64                  $85.64
         HIGUERA, STEPHANIE
         4829 COLES MANOR PL                      ¨ Contingent
         #12102
         DALLAS TX 75204                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 978 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1088 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2934. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $352.89                 $352.89
         HIKALEA, HEALANI K
         45-1127 KAMEHAMEHA HWY                   ¨ Contingent
         #7
         KANEOHE HI 96744                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2935. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.32                 $214.32
         HIKMET, LYDIA L
         368 ORLANDO ST.                          ¨ Contingent
         10
         EL CAJON CA 92021                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2936. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $374.64                 $374.64
         HILAIRE, DIEUNIPHER L
         142 ROQUETTE AVENUE                      ¨ Contingent
         ELMONT NY 11003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 979 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1089 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2937. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.80                 $232.80
         HILL, ANIYA S
         1210 CROES AVE                           ¨ Contingent
         APT. 16G
         BRONX NY 10472                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2938. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.04                  $59.04
         HILL, AVERY M
         1059 HIDDEN CREEK LN                     ¨ Contingent
         KOKOMO IN 46902
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2939. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,824.80               $1,824.80
         HILL, BLAYKE
         2723 SOUTH AVENUE                        ¨ Contingent
         NIAGARA FALLS NY 14305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 980 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1090 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2940. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $54.40                  $54.40
         HILL, CHAYLA
         1200 FLORAL SPRINGS BLVD                 ¨ Contingent
         PORT ORANGE FL 32129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2941. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $414.27                 $414.27
         HILL, CORRIE E
         11816 FORBIDDEN FOREST CIRCLE            ¨ Contingent
         APT 102
         FREDERICKSBURG VA 22407                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2942. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $8.09                   $8.09
         HILL, CRYSTAL
         4812 CONESTOGA RD                        ¨ Contingent
         VIRGINIA BEACH VA 23462
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 981 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1091 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2943. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.42                  $93.42
         HILL, ERICKA D
         41 STRATFORD LANE                        ¨ Contingent
         JACKSON TN 38305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2944. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.50                 $122.50
         HILL, HALLIE A
         120 PAUL REVERE CT                       ¨ Contingent
         UNIT 103
         WAHIAWA HI 96786-7224                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2945. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.75                 $122.75
         HILL, JAKINI A
         302 PAULINE AVE                          ¨ Contingent
         HATTIESBURG MS 39401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 982 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1092 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2946. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.90                  $92.90
         HILL, JILLIAN N
         6208 BIG SANDY DR                        ¨ Contingent
         RALEIGH NC 27616
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2947. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $317.50                 $317.50
         HILL, KYLA C
         3118 S ADAMS ST                          ¨ Contingent
         TAMPA FL 33611
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2948. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.58                 $147.58
         HILL, LAUREN E
         14300 NW 66TH CT                         ¨ Contingent
         PARKVILLE MO 64152
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 983 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1093 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2949. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.22                 $103.22
         HILL, MACIE
         18001 SAILFISH DRIVE                     ¨ Contingent
         B
         LUTZ FL 33558                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2950. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.47                 $142.47
         HILL, QYARAH R
         35400 EUCLID AVENUE                      ¨ Contingent
         APT. D204
         WILLOUGHBY OH 44094                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2951. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,721.51               $2,721.51
         HILL, REGINA L
         156 BIG CREEK TRAIL                      ¨ Contingent
         MAYNARD AR 72444
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 984 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1094 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2952. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $683.80                 $683.80
         HILL, SHAKEL L
         6402 S JUNETT ST                         ¨ Contingent
         TACOMA WA 98409
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2953. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $712.06                 $712.06
         HILL, TORI D
         1311 STONE MANOR DR                      ¨ Contingent
         RALEIGH NC 27610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2954. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $754.23                 $754.23
         HILLEGASS, JENNIFER
         6393 CHEROKEE TRAIL                      ¨ Contingent
         TOBYHANNA PA 18466
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 985 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1095 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2955. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $194.05                 $194.05
         HILLIARD, SHAWNTAVIA M
         1220 W MCWILLIAMS AVE                    ¨ Contingent
         LAS VEGAS NV 89106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2956. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.40                  $36.40
         HILLIARD, TAMMIE
         150 RIVER AVE                            ¨ Contingent
         NATRONA HEIGHTS PA 15065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2957. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.67                  $33.67
         HILLMAN, KAELA L
         11632 CAPE HORN AVENUE                   ¨ Contingent
         JACKSONVILLE FL 32246
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 986 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1096 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2958. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $518.19                 $518.19
         HILLMAN, SAMANTHA
         893 JACOBS WAY                           ¨ Contingent
         CANTONMENT FL 32533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2959. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $554.63                 $554.63
         HILLMAN, TYLER T
         12013 GEORGIA WOODS CT                   ¨ Contingent
         ORLANDO FL 32824
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2960. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $305.66                 $305.66
         HILLMAN, VINNY A
         2901 SW 41ST ST                          ¨ Contingent
         APT 2802
         OCALA FL 34474                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 987 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1097 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2961. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.72                  $42.72
         HILLS, JASMINE
         18 DNABURY RD                            ¨ Contingent
         HYDE PARK MA 02136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2962. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.99                  $69.99
         HILLYER, LYNETTE
         321 N 44TH STREET                        ¨ Contingent
         806
         LINCOLN NE 68503                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2963. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,008.60               $1,008.60
         HILTON, LATOYA A
         300 ERICH ROAD                           ¨ Contingent
         RICHMOND VA 23225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 988 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1098 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2964. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $163.53                 $163.53
         HINES, CHERISH L
         3328 PECK STREET                         ¨ Contingent
         MUSKEGON HEIGHTS MI 49444
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2965. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.87                  $75.87
         HINES, TINERA
         1909 WALNUT CREEK DR.                    ¨ Contingent
         PAPILLION NE 68046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2966. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.32                  $87.32
         HINOJOSA, KARINA G
         1808 S. 31 ST.                           ¨ Contingent
         MILWAUKEE WI 53215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 989 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1099 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2967. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $254.97                 $254.97
         HINSON, KIMBERLY E
         6000 DOMINION PL                         ¨ Contingent
         CHARLOTTE NC 28277
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2968. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.07                 $125.07
         HINTON, DESTINY A
         3070 S NELLIS BLVD                       ¨ Contingent
         1061
         LAS VEGAS NV 89121                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2969. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.01                  $79.01
         HINTON-DOZIER, KIERY N
         1813 ROCHELLE CT                         ¨ Contingent
         WOODBRIDGE VA 22192
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 990 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1100 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2970. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.84                 $192.84
         HIRALES, KAZANDRA
         452 WEST A ST                            ¨ Contingent
         BRAWLEY CA 92227
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2971. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.16                 $215.16
         HIROMOTO, KAYLEN M
         3734 POTOMAC AVE.                        ¨ Contingent
         LOS ANGELES CA 90016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2972. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $339.43                 $339.43
         HISER, ALLISON R
         1617 RINGFIELD DR.                       ¨ Contingent
         GALLOWAY OH 43119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 991 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1101 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2973. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.75                  $73.75
         HJELTE, SARAH K
         1321 EAGLE WING LN                       ¨ Contingent
         DENTON TX 76210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2974. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $117.88                 $117.88
         HOBBS, DANIYA S
         11 BIRCHFIELD DRIVE                      ¨ Contingent
         MOUNT LAUREL NJ 08054
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2975. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.31                 $134.31
         HOBBS, KAITLIN P
         1911 ODYSSEY DRIVE                       ¨ Contingent
         BRIGHTON MI 48114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 992 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1102 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2976. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.31                 $140.31
         HOBSON, DANIELLE R
         1002 E. TAYLOR ST.                       ¨ Contingent
         KOKOMO IN 46901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2977. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $270.54                 $270.54
         HOBSON, TELEASHIA H
         545 LANE AVE                             ¨ Contingent
         HAMLETT HALL
         JACKSON TN 38301                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2978. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,496.83               $2,496.83
         HOCH, ALEXANDRIA
         300 W. MONTGOMERY AVE                    ¨ Contingent
         NORTH WALES PA 19454
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 993 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1103 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2979. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $409.70                 $409.70
         HOCKING. SYDNEY
         6230 MOATS DR                            ¨ Contingent
         KANSAS CITY MO 64133
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2980. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,011.74               $2,011.74
         HODDE, SARAH E
         13861 RACEWAY DR.                        ¨ Contingent
         APT. 834
         NORTHLAKE TX 76262                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2981. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,261.55               $1,261.55
         HODGE, ARAYAH T
         817 NORTH 2ND ST APT. 1                  ¨ Contingent
         HARRISBURG PA 17102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 994 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1104 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2982. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.00                  $70.00
         HODGE-BROWN, DYNASTI
         1509 SUNBURST RD                         ¨ Contingent
         EVINGTON VA 24550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2983. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.95                  $63.95
         HODGES, KEANA L
         803 SINBAD STREET                        ¨ Contingent
         BAKER LA 70714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2984. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $940.50                 $940.50
         HODSON, KAYLA M
         6505 BUCKEYE LN                          ¨ Contingent
         GRANITE BAY CA 95746-8861
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 995 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1105 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2985. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.05                  $38.05
         HOFFMAN, SYDNEY
         4286 RYAN CT                             ¨ Contingent
         HAMILTON OH 45011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2986. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $455.40                 $455.40
         HOFFMANN, LACEY M
         1506 S INTERSTATE 35                     ¨ Contingent
         APT 4911
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2987. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $242.87                 $242.87
         HOFFMANN, RIVER T
         191 GREENS ST                            ¨ Contingent
         VERGENNES VT 05491
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 996 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1106 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2988. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.66                  $78.66
         HOFFNER, MORGAN
         3806 TREYBURN AVE NW                     ¨ Contingent
         MASSILLON OH 44646
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2989. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $394.96                 $394.96
         HOGAN, AUBREE
         1 WINDSOR DR                             ¨ Contingent
         ORMOND BEACH FL 32174
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2990. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,706.52               $1,706.52
         HOGGARD, MONIQUE R
         5453 WHITFIELD CHAPEL RD                 ¨ Contingent
         LANHAM MD 20706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 997 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1107 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2991. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,660.32               $5,660.32
         HOLGUIN, VIVIANA
         1840 CROMPOND RD                         ¨ Contingent
         APT. 7C5
         PEEKSKILL NY 10566-7405                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2992. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,333.80               $1,333.80
         HOLLAND, JASMINE T
         700 TRANSMITTER RD                       ¨ Contingent
         LOT 34
         PANAMA CITY FL 32401-5393                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2993. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.48                 $132.48
         HOLLAND, MAKAYLA I
         1700 MANATUCK BLVD                       ¨ Contingent
         BAYSHORE NY 11706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 998 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1108 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2994. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.36                  $65.36
         HOLLINS, KYLAH S
         7722 WYCKFORD CT                         ¨ Contingent
         INDIANAPOLIS IN 46214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2995. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.87                  $58.87
         HOLLOWAY, DESHONA D
         3541 PORTSMOUH CIR                       ¨ Contingent
         LITHONIA GA 30038
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2996. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.29                 $205.29
         HOLLOWELL, ADRIANNA
         5105 HILL TERRACE                        ¨ Contingent
         PADUCAH KY 42001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 999 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1109 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.2997. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,641.01               $1,641.01
         HOLMES, CANDICE D
         51 MATTHEWS AVE                          ¨ Contingent
         WEST BABYLON NY 11704-2307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2998. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.44                 $112.44
         HOLMES, DESTINE T
         931 PARAISO AVE                          ¨ Contingent
         SPRING VALLEY CA 91977
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.2999. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.87                  $68.87
         HOLMES, DIAJANAE
         5719 SUMMER SHINE DR                     ¨ Contingent
         MADISON WI 53718
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1000 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1110 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3000. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $253.67                 $253.67
         HOLMES, ELISIA M
         1462 MERIDEN RD                          ¨ Contingent
         UNIT 14
         WATERBURY CT 06705                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3001. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $550.38                 $550.38
         HOLMES, EMMA A
         228 N MASSACHUSETTS AVE                  ¨ Contingent
         ATLANTIC CITY NJ 08401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3002. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.08                  $34.08
         HOLMES, MARYLEW Q
         1305 FLORIDA LN                          ¨ Contingent
         NAMPA ID 83686
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1001 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1111 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3003. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.04                 $203.04
         HOLMES, MONIQUE J
         119 20 226TH ST                          ¨ Contingent
         CAMBRIA HEIGHTS NY 11411
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3004. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $379.89                 $379.89
         HOLMES, RACHAEL
         15350 BLACKSMITH TERRACE                 ¨ Contingent
         WOODBRIDGE VA 22191
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3005. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,251.82               $7,251.82
         HOLMES, ROXANNA R
         1064 CAMINO DEL SOL                      ¨ Contingent
         CHULA VISTA CA 91910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1002 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1112 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3006. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $543.17                 $543.17
         HOLSTICK, SIERRA
         1124 RIVER HAVEN CIRCLE                  ¨ Contingent
         HOOVER AL 35244
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3007. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $320.00                 $320.00
         HOLT, DARIA B
         21450 E 48PL                             ¨ Contingent
         DENVER CO 80249
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3008. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $329.88                 $329.88
         HONDOLERO, CAMERON M
         33505 39TH AVE S                         ¨ Contingent
         FEDERAL WAY WA 98001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1003 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1113 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3009. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.13                 $105.13
         HOOD, DEJA N
         6692 KALINOWSKI ST                       ¨ Contingent
         TARAWA TERRACE NC 28543
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3010. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.81                 $166.81
         HOOD, KATLIN H
         1113 ABRAMS RD. APT 259                  ¨ Contingent
         RICHARDSON TX 75081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3011. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.12                 $157.12
         HOOD, KAYLEE E
         12174 HIGHWAY V                          ¨ Contingent
         MOUNT VERNON MO 65712
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1004 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1114 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3012. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,312.35               $1,312.35
         HOOD, KELSEY M
         235 ISLAND AVE                           ¨ Contingent
         RACINE WI 53405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3013. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.68                 $103.68
         HOOD, SHANIA N
         2910 N 5 STREET                          ¨ Contingent
         TERRE HAUTE IN 47804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3014. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.84                  $57.84
         HOOGLAND, COURTNEY J
         4416 NICOLLET WAY                        ¨ Contingent
         SIOUX CITY IA 51106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1005 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1115 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3015. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.84                  $32.84
         HOOKER, ABBY R
         200 W WILLOW                             ¨ Contingent
         UNIT 93
         NORMAL IL 61761                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3016. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.81                  $61.81
         HOOKER, COURTNEY P
         2221 NW 194TH TER                        ¨ Contingent
         EDMOND OK 73012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3017. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.50                  $96.50
         HOOKER, PRISCILLA I
         41 JAMES ST                              ¨ Contingent
         ANSONIA CT 06401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1006 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1116 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3018. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,348.84               $4,348.84
         HOOPERT, JENNIFER M
         121 HENLEY LN                            ¨ Contingent
         MOUNTVILLE PA 17554
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3019. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $689.65                 $689.65
         HOOVER, ALICEN
         2767 BUCHANAN TRAIL WEST                 ¨ Contingent
         GREENCASTLE PA 17225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3020. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.32                  $78.32
         HOOVER, AVERY R
         24 WINDSONG TRAIL                        ¨ Contingent
         MERCER PA 16137
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1007 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1117 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3021. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,065.83               $1,065.83
         HOPKINS, ANA
         773 REAS FORD ROAD                       ¨ Contingent
         EARLYSVILLE VA 22936
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3022. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $630.11                 $630.11
         HOPKINS, CASSANDRA N
         602 E 8TH AVE                            ¨ Contingent
         APT 9
         EUGENE OR 97401                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3023. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.91                 $115.91
         HOPKINS, HANNAH
         3706 URIAH ST                            ¨ Contingent
         NORTH PORT FL 34288
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1008 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1118 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3024. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,501.97               $3,501.97
         HOPKINS, JESSICA
         8160 VETERANS PARKWAY                    ¨ Contingent
         APT 924
         COLUMBUS GA 31909                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3025. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.96                  $81.96
         HOPKINS, MKAYAH
         2930 MADEIRA CT                          ¨ Contingent
         WOODBRIDGE VA 22192
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3026. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.59                  $65.59
         HOPKINS, NIA A
         3212 CLEARVIEW DR.                       ¨ Contingent
         MARIATTA GA 30060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1009 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1119 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3027. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.96                  $99.96
         HOPKINS, NICOLE M
         85 ONISKA ST                             ¨ Contingent
         WARWICK RI 02889
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3028. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.31                 $153.31
         HOPKINS, SARENA L
         85 ONISKA STREET                         ¨ Contingent
         WARWICK RI 02889
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3029. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $54.40                  $54.40
         HOPP, TIARA
         903 N 1ST ST                             ¨ Contingent
         NORFOLK NE 68701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1010 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1120 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3030. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $665.80                 $665.80
         HOPPER, KALEIGH G
         477 CHAREST RD.                          ¨ Contingent
         SOMERVILLE AL 35670
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3031. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $228.24                 $228.24
         HOPSON, GLORIA
         403 HOLLYWOOD AVE                        ¨ Contingent
         HAMPTON VA 23661
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3032. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.96                  $34.96
         HORACE, CIERA S
         2049 BARNSBORO ROAD                      ¨ Contingent
         ELDORADO 5
         BLACKWOOD NJ 08012                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1011 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1121 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3033. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.92                 $181.92
         HORN, CAITLYNN V
         17116 CRANSTON DRIVE                     ¨ Contingent
         ROUND ROCK TX 78664
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3034. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,393.00               $2,393.00
         HORN, JODIE L
         14174 CHICARITA CREEK ROAD               ¨ Contingent
         SAN DIEGO CA 92128
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3035. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.93                 $125.93
         HORN, MORGAN R
         6090 SPIRES DR.                          ¨ Contingent
         ERIE PA 16509
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1012 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1122 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3036. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.22                  $44.22
         HORNE, DENZELL
         1700 RICHWOOD RD 2                       ¨ Contingent
         MONROE LA 71202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3037. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $319.02                 $319.02
         HORNE, NYESHA
         78 GLENDALE AVE                          ¨ Contingent
         ALBANY NY 12208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3038. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.83                 $239.83
         HORROCKS, MAKAYLA M
         30 N CHARDONNAY STREET                   ¨ Contingent
         RENO NV 89512
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1013 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1123 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3039. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1.23                   $1.23
         HORROX, ALLYSON M
         110 FAIRHILL RD                          ¨ Contingent
         SPRINGFIELD PA 19070
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3040. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.35                  $99.35
         HORSFORD, AMELIA
         1586 WOOD SAGE TERRACE                   ¨ Contingent
         WALWORTH NY 14568
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3041. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,415.41               $2,415.41
         HORTON, LAKEISHA
         4821-204 CLARK LANE                      ¨ Contingent
         COLUMBIA MO 65202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1014 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1124 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3042. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.62                  $62.62
         HOSCH, BAILEY
         103 CELESTE CIRCLE                       ¨ Contingent
         SLIDELL LA 70458
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3043. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $194.56                 $194.56
         HOUCHIN, ELIZABETH
         3006 LINCOLNDALE AVENUE                  ¨ Contingent
         FORT WAYNE IN 46808
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3044. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.80                 $193.80
         HOULIHAN, JORDAN
         4552 LON COURT                           ¨ Contingent
         DIAMOND SPRINGS CA 95619
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1015 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1125 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3045. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.13                  $93.13
         HOUSER, KAYLEN E
         6063 SPANIEL COURT                       ¨ Contingent
         SALISBURY MD 21801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3046. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $225.54                 $225.54
         HOUSSEAL, BRITNEY N
         915 EAST PRINCESS STREET                 ¨ Contingent
         YORK PA 17403
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3047. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,922.87               $1,922.87
         HOUSTON, CHAVAUGHN A
         3647 OLEANDER                            ¨ Contingent
         CHICAGO IL 60634
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1016 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1126 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3048. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $227.40                 $227.40
         HOUSTON, DAJANIA H
         8324 BAUMGARTEN DR.                      ¨ Contingent
         DALLAS TX 75228
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3049. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.60                 $175.60
         HOUSTON, JASMINE
         3105 VARCROFT RD                         ¨ Contingent
         KNIGHTDALE NC 27545
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3050. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,031.97               $1,031.97
         HOVDE, RACHEL
         423 S LINN                               ¨ Contingent
         SIOUX CITY IA 51106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1017 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1127 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3051. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,751.19               $6,751.19
         HOVSEPIAN, MARY R
         7101 MATILIJA AVE                        ¨ Contingent
         VAN NUYS CA 91405-3334
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3052. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.84                  $27.84
         HOWARD, EMILY
         2840 DANDELION CIRCLE                    ¨ Contingent
         ANTIOCH CA 94531
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3053. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $603.20                 $603.20
         HOWARD, GEORGIA L
         8758 EDGERIDGE DR                        ¨ Contingent
         WEST CHESTER OH 45069
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1018 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1128 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3054. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.52                 $141.52
         HOWARD, HEAVEN
         4515 TALLMEADOW LN                       ¨ Contingent
         FORT WORTH TX 76133
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3055. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.95                 $124.95
         HOWARD, MYCHEL J
         4808 ASPEN DR                            ¨ Contingent
         KILLEEN TX 76542
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3056. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $635.72                 $635.72
         HOWARD, SABRINA M
         11354 VIA RANCHO SAN DIEGO UNI           ¨ Contingent
         EL CAJON CA 92019
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1019 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1129 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3057. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $619.51                 $619.51
         HOWARD, STORY L
         7101 S. ORANGE BLOSSOM TRAIL             ¨ Contingent
         ORLANDO FL 32809
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3058. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.80                  $58.80
         HOWE, KARMA
         5829 GREENWAY VISTA LANE                 ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3059. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $225.12                 $225.12
         HOWE, ZIARRE
         90 CONKLIN AVE                           ¨ Contingent
         BINGHAMTON NY 13903
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1020 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1130 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3060. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $318.47                 $318.47
         HOWELL TOWNSHIP
         3525 BYRON ROAD                          ¨ Contingent
         HOWELL MI 48855
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3061. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.67                 $127.67
         HOWELL, KENDALL
         500 INMAN ST                             ¨ Contingent
         UNIT 31
         DENTON TX 76205                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3062. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.94                  $29.94
         HOWELL, REBECCA L
         399 SHADY LANE                           ¨ Contingent
         HAZELGREEN AL 35750
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1021 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1131 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3063. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $339.87                 $339.87
         HOWES, ABIGAIL C
         9321 AMSDEN WAY                          ¨ Contingent
         EDEN PRAIRIE MN 55347
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3064. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.19                 $212.19
         HOYER, MEGHAN L
         2638 FOXWOOD RD S                        ¨ Contingent
         ORANGE PARK FL 32073
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3065. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $16.89                  $16.89
         HOYT, HAILEY B
         4238 TAYLOR HARBOR WEST                  ¨ Contingent
         6
         RACINE WI 53403                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1022 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1132 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3066. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $607.90                 $607.90
         HUBBARD, KIYOMI
         2224 GRADISON DR.                        ¨ Contingent
         INDIANAPOLIS IN 46214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3067. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.00                 $162.00
         HUBBARD, RAQUEL
         8575 APPLEHORN LANE                      ¨ Contingent
         INDIANAPOLIS IN 46256
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3068. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $222.12                 $222.12
         HUBER, KATLYN N
         337 S BLUFF RD                           ¨ Contingent
         MONTEBELLO CA 90640
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1023 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1133 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3069. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.49                 $105.49
         HUBNER, ASHLEY
         6731 CHERRY ROAD                         ¨ Contingent
         OCALA FL 34472
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3070. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,091.00               $3,091.00
         HUDSON, ASHLEY M
         17187 N 51ST DRIVE                       ¨ Contingent
         GLENDALE AZ 85308
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3071. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.46                 $112.46
         HUDSON, CAYLAH L
         1100 HARGROVE RD E                       ¨ Contingent
         1728
         TUSCALOOSA AL 35405                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1024 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1134 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3072. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $447.96                 $447.96
         HUDSON, JUSTICE X
         735 GREEN VALLEY DRIVE                   ¨ Contingent
         SAINT ALBANS WV 25177
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3073. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.00                  $48.00
         HUECA, SHARIE L
         38 BELLA VISTA AVENUE                    ¨ Contingent
         53 SECOND AVE
         GLEN COVE NY 11542                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3074. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $289.80                 $289.80
         HUERTA, DAYANA
         1903 S 61 CT                             ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1025 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1135 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3075. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,672.98               $7,672.98
         HUERTA, JOSE G
         10990 SARDINIA SANDS DR                  ¨ Contingent
         LAS VEGAS NV 89141
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3076. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.60                 $126.60
         HUERTA, JULIA
         1321 LAUREL TREE LN                      ¨ Contingent
         140
         CARLSBAD CA 92011                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3077. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,081.51               $3,081.51
         HUERTA, PARRA DENISSE
         24521 W NORELIUS AVE                     ¨ Contingent
         ROUND LAKE IL 60073-1455
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1026 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1136 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3078. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $168.53                 $168.53
         HUERTA, ROCIO
         20615 CANTLAY ST                         ¨ Contingent
         WINNETKA CA 91306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3079. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $463.00                 $463.00
         HUERTA, YARILED G
         6701 EAST COUNTY ROAD 96                 ¨ Contingent
         MIDLAND TX 79706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3080. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $303.48                 $303.48
         HUETT, ZOE A
         5939 NINA COURT                          ¨ Contingent
         RIVERSIDE CA 92509
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1027 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1137 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3081. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.71                  $27.71
         HUEY, ALEXANDRA M
         3724 GROOMETOWN ROAD APT H               ¨ Contingent
         GREENSBORO NC 27407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3082. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,332.90               $4,332.90
         HUFF, MARGIE K
         6522 CEDAR CHASE WAY                     ¨ Contingent
         TALLAHASSEE FL 32311-3508
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3083. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.30                  $94.30
         HUFFMAN, JORDAN B
         617 SHOWALTER ROAD                       ¨ Contingent
         YORKTOWN VA 23692
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1028 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1138 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3084. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.15                 $136.15
         HUFFORD, AMBER M
         707 3RD AVENUE                           ¨ Contingent
         ALTOONA PA 16602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3085. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.89                 $138.89
         HUFNAGEL, MEGAN E
         2070 N SPRIGG ST                         ¨ Contingent
         APT 5216
         CAPE GIRARDEAU MO 63701                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3086. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,358.72               $1,358.72
         HUGGINS, ANGELEAH M
         6401 NORTH SAINT NICHOLAS CIRC           ¨ Contingent
         #13
         FLAGSTAFF AZ 86004                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1029 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1139 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3087. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $569.36                 $569.36
         HUGGINS, SARAH L
         9123 EMMAUS TRAIL                        ¨ Contingent
         SAN ANTONIO TX 78252
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3088. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.48                  $62.48
         HUGHES, BRIANNA E
         323 CLOVER BROOK DR                      ¨ Contingent
         LOCUST GROVE GA 30248
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3089. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.10                  $30.10
         HUGHES, DEMTRIA N
         3125 ILGER                               ¨ Contingent
         201
         TOLEDO OH 43606                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1030 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1140 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3090. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.76                 $196.76
         HUGHES, DIASHA T
         911 W VIRGINIA AVE                       ¨ Contingent
         BESSEMER NC 28016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3091. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $339.80                 $339.80
         HUGHES, MAKAYLA S
         113 GRANGE STREET                        ¨ Contingent
         ROCKY MOUNT NC 27804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3092. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.49                 $215.49
         HUGHES, NI'KIMA N
         1609 FOSTER DRIVE                        ¨ Contingent
         BELLEVILLE IL 62226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1031 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1141 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3093. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $400.50                 $400.50
         HUGHLEY, KIARA J
         168 CEDAR AVE                            ¨ Contingent
         ORANGE CITY FL 32763
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3094. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.63                  $34.63
         HUJAR, MONTGOMERY
         87 N PORTAGE PATH                        ¨ Contingent
         AKRON OH 44303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3095. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.94                  $64.94
         HULTIN, ANNIKA K
         3925 CAMPERDOWN DR                       ¨ Contingent
         LANSING MI 48911
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1032 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1142 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3096. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $234.68                 $234.68
         HULTZMAN, CRISTINA M
         165 ROBIN HOLLOW RD                      ¨ Contingent
         WEST GREENWICH RI 02817-2139
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3097. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.09                 $132.09
         HUMPHREY, AJAYLAH
         318 SANDERS RD                           ¨ Contingent
         BUFFALO NY 14216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3098. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,084.17               $1,084.17
         HUMPHREY, ERICA D
         5718 COPPER CREEK CT.                    ¨ Contingent
         APARTMENT 01
         CHARLOTTE NC 28227                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1033 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1143 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3099. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $645.75                 $645.75
         HUMPHREY, JENNIFER L
         510 E. ATHERTON RD.                      ¨ Contingent
         FLINT MI 48507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3100. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $295.59                 $295.59
         HUMPHREY, MARLENE D
         9801 MADELINE CIRCLE                     ¨ Contingent
         BETHANY LA 71007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3101. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.98                 $191.98
         HUMPHRIES, RACHAEL N
         6628 BROOKHAVEN TRAIL                    ¨ Contingent
         FORT WORTH TX 76133
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1034 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1144 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3102. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.40                  $40.40
         HUNT, AURELIA T
         29 WILSHIRE RD                           ¨ Contingent
         VERNON ROCKVILLE CT 06066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3103. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,898.10               $1,898.10
         HUNT, JYMELLA
         83 BEARING CIRCLE                        ¨ Contingent
         PORT WENTWORTH GA 31407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3104. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.36                  $87.36
         HUNT, MADELYN A
         1955SW 5TH AVE                           ¨ Contingent
         918
         PORTLAND OR 97201                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1035 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1145 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3105. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $347.34                 $347.34
         HUNT, NAVEANNA
         1665 WESLEYAN DR                         ¨ Contingent
         APT 1106
         MACON GA 31210                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3106. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,284.64               $1,284.64
         HUNT, PRISCILLA
         122 ROMIE DR                             ¨ Contingent
         JACKSON TN 38305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3107. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,247.10               $1,247.10
         HUNT, SEQUINA S
         406 RIVERVIEW DR.                        ¨ Contingent
         SAVANNAH GA 31404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1036 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1146 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3108. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.73                 $188.73
         HUNT, TAYLOR
         8856 ODEAN AVE NE                        ¨ Contingent
         OTSEGO MN 55330
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3109. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,211.37               $2,211.37
         HUNTER, DESIRAE M
         1129 NORTH SHORE RD.                     ¨ Contingent
         APT. 2C
         REVERE MA 02151                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3110. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.91                  $91.91
         HUNTER, LAKIYA M
         1070 DICKNSON                            ¨ Contingent
         GRAND RAPIDS MI 49507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1037 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1147 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3111. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $638.14                 $638.14
         HUNTRESS, JASMINE
         55 RIDGE RD                              ¨ Contingent
         HALIFAX MA 02338
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3112. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $568.78                 $568.78
         HUOT, THUY N
         616 10TH AVENUE SE                       ¨ Contingent
         APT # 203
         MINNEAPOLIS MN 55414                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3113. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $390.00                 $390.00
         HUQUE, FAIZA
         237 PARKVILLE AVENUE                     ¨ Contingent
         BROOKLYN NY 11230
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1038 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1148 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3114. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.23                 $188.23
         HURLBURT, EMMA
         12428 COTTRELL STREET                    ¨ Contingent
         TAMPA FL 33612
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3115. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $489.79                 $489.79
         HURLESS, JOANNA
         1013 RUTLEDGE DR.                        ¨ Contingent
         BELLEVILLE IL 62221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3116. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.78                  $60.78
         HURT, MAKIYHA
         4517 BARRETTS TRACE BLVD                 ¨ Contingent
         TUSCALOOSA AL 35405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1039 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1149 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3117. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.79                 $192.79
         HURTADO, ABIGAIL N
         125 LIKENS WAY                           ¨ Contingent
         WINCHESTER VA 22602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3118. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $274.80                 $274.80
         HURTADO, CHRISTINA
         1901 TUFFREE BLVD.                       ¨ Contingent
         PLACENTIA CA 92870
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3119. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $513.15                 $513.15
         HURTADO, LEIDI R
         1220 MAY ST                              ¨ Contingent
         DENTON TX 76209-4689
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1040 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1150 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3120. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.00                 $142.00
         HUSBANDS, CHRISTINA A
         220 ROBAT ST                             ¨ Contingent
         PHILADELPHIA PA 19120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3121. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.65                 $133.65
         HUSSAIN, ANEELA A
         712 BONNIE RIDGE DR NE                   ¨ Contingent
         LEESBURG VA 20176-3616
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3122. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $900.43                 $900.43
         HUSSEIN, REINA
         6265 RUSTIC HILLS                        ¨ Contingent
         ROCKLIN CA 95677
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1041 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1151 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3123. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.74                 $214.74
         HUTCHINS, EMILY B
         100 SPRING RUN DRIVE                     ¨ Contingent
         C2
         WINSTON SALEM NC 27106                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3124. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.12                 $219.12
         HUTCHINSON, JULIA R
         536 ISLIP AVE                            ¨ Contingent
         ISLIP NY 11751
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3125. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $505.84                 $505.84
         HUTCHINSON, KAITLYN
         2521 RIDGEWOOD AVE                       ¨ Contingent
         RACINE WI 53403-3749
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1042 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1152 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3126. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.32                 $142.32
         HUTCHINSON, KELSEY
         1060 CRIMSON LANE                        ¨ Contingent
         POTTSTOWN PA 19464
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3127. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.76                 $155.76
         HUTCHISON, ALYSSA T
         53 GEORGETOWN BLVD                       ¨ Contingent
         BARNEGAT NJ 08005
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3128. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.65                 $126.65
         HUTSON, DEBRA
         15161 AUKLET STREET                      ¨ Contingent
         PARKER CO 80134
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1043 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1153 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3129. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,385.62               $2,385.62
         HUTSON, LASHAUNDA
         79 BOONTON ST                            ¨ Contingent
         DOVER NJ 07801-4646
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3130. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.04                 $203.04
         HUTTER, AMBER
         15675 AVENIDA ALCACHOFA                  ¨ Contingent
         APT A
         SAN DIEGO CA 92128                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3131. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $385.36                 $385.36
         HUTTON, AKIRA C
         5 IRON STREET                            ¨ Contingent
         LEDYARD CT 06339
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1044 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1154 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3132. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.46                  $73.46
         HUYNH, CINDY
         217 MCKINLEY RD                          ¨ Contingent
         CHERRY HILL NJ 08002
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3133. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.75                 $178.75
         HUZJAK, PATRICIA J
         15202 N. 40TH STREET                     ¨ Contingent
         APT 230
         PHOENIX AZ 85032                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3134. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $402.37                 $402.37
         HYLTON, LEMARA
         23621 SW 108TH AVE                       ¨ Contingent
         HOMESTEAD FL 33032
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1045 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1155 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3135. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.75                 $129.75
         IBARRA, ANDREA G
         4019 ROSS AVE                            ¨ Contingent
         SAN JOSE CA 95124
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3136. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $709.81                 $709.81
         IBARRA, JAILENE
         201 INMAN ST.                            ¨ Contingent
         APT # 8102
         DENTON TX 76205                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3137. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $487.11                 $487.11
         IBARRA, KARLA G
         10700 E DARTMOUTH AVE                    ¨ Contingent
         S312
         DENVER CO 80014                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1046 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1156 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3138. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.06                 $252.06
         IBARRA, MARYSOL J
         1001 N MALLARD ST                        ¨ Contingent
         LAS VEGAS NV 89108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3139. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $221.52                 $221.52
         IBARRA, MELANIE R
         2065 BLEAKWOOD AVENUE                    ¨ Contingent
         MONTEREY PARK CA 91754
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3140. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.21                 $136.21
         IBARRA, STEPHANIE
         1917 DOROTHY DR.                         ¨ Contingent
         GRAND PRAIRIE TX 75051
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1047 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1157 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3141. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $213.75                 $213.75
         IGNACIO, ARCELI SANGIE J
         2922 MCLAUGHLIN AVENUE                   ¨ Contingent
         SAN JOSE CA 95121
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3142. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $161.17                 $161.17
         IHTIJAREVIC, ALINA
         349 FARRELL STREET                       ¨ Contingent
         207
         SOUTH BURLINGTON VT 05403                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3143. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $194.26                 $194.26
         ILARRAZA, ARIANA X
         9409 CANTLEDR                            ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1048 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1158 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3144. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,271.10               $2,271.10
         ILES, MARY J
         409 CENTER ST                            ¨ Contingent
         ERLANGER KY 41018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3145. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $21.60                  $21.60
         ILODIGWE, NEESHA O
         650 RIVER RD                             ¨ Contingent
         3204
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3146. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $264.90                 $264.90
         ILUND, KAYLA L
         33 LUKE COURT                            ¨ Contingent
         STATEN ISLAND NY 10306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1049 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1159 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3147. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.35                 $152.35
         IMES, LE'TYYA
         446 BEACON HILL CIR.                     ¨ Contingent
         NORFOLK VA 23502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3148. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.50                  $35.50
         IMMORDINO, KATELYN M
         542 CLYMER AVE                           ¨ Contingent
         MORRISVILLE PA 19067
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3149. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,028.60               $3,028.60
         INABINET, ANITA M
         749 ARCTIC ST APT. #5                    ¨ Contingent
         BRIDGEPORT CT 06608
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1050 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1160 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3150. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $709.65                 $709.65
         INFANTE, MARIA
         209 A. ST                                ¨ Contingent
         SHELBYVILLE KY 40065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3151. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.38                  $31.38
         INGRAM, ASHLEIGH S
         15020 THELMA ST                          ¨ Contingent
         BILOXI MS 39532
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3152. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,039.37               $1,039.37
         INGRAM, BRITTANY N
         3109 MAGNOLIA DR                         ¨ Contingent
         RAYVILLE LA 71269
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1051 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1161 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3153. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.63                 $154.63
         INGRAM, DOROTHY G
         904 NE 109TH TER                         ¨ Contingent
         KANSAS CITY MO 64155
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3154. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $574.20                 $574.20
         INIGUEZ, VALERIA
         44800 MILESTONE SQ                       ¨ Contingent
         300
         ASHBURN VA 20147                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3155. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.40                 $130.40
         INMAN, JAELYN
         580 21ST STREET                          ¨ Contingent
         SPRINGFIELD OR 97477
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1052 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1162 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3156. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $267.65                 $267.65
         INOUYE, HAUNANI T
         3282 KAIMUKI AVE.                        ¨ Contingent
         HONOLULU HI 96816
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3157. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.20                  $79.20
         INTRAVIA, JADE T
         381 MAJESTIC DR                          ¨ Contingent
         HOLLISTER CA 95023-7032
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3158. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,183.20               $1,183.20
         IRVING, NANCY
         10617 FLAMEWOOD DR.                      ¨ Contingent
         FORT WORTH TX 76140
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1053 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1163 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3159. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.78                 $100.78
         ISAAC, IREON M
         2308 WILTON ST.                          ¨ Contingent
         MARREOR LA 70072
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3160. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,099.45               $2,099.45
         ISAAC, ROSA
         BB172 CALLE 41                           ¨ Contingent
         RIO GRANDE PR 00745-2619
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3161. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,916.20               $1,916.20
         ISALY, DANA
         356 COLLEGE PARK COURT                   ¨ Contingent
         HUNTSVILLE AL 35805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1054 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1164 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3162. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.07                  $76.07
         ISBRANDT, GRACE D
         275 WEST CHURCH RD.                      ¨ Contingent
         EPHRATA PA 17522
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3163. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.90                 $157.90
         ISHMELL, AVA J
         817 MAURY AVE                            ¨ Contingent
         OXON HILL MD 20745
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3164. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.30                 $120.30
         ISLAM, ADRIA
         78-04 32ND AVENUE                        ¨ Contingent
         2ND FLOOR
         EAST ELMHURST NY 11370                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1055 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1165 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3165. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.72                 $193.72
         ISLAS, ISABEL E
         8943 LINDLEY AVENUE                      ¨ Contingent
         NORTHRIDGE CA 91325
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3166. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.43                  $85.43
         ISOM, TYMERIA
         1950 ELDRIDGE PARKWAY                    ¨ Contingent
         4307
         HOUSTON TX 77077                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3167. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $825.53                 $825.53
         IVANOWSKI, CARLY
         7 PENINSULA PLACE                        ¨ Contingent
         603
         DORCHESTER MA 02125                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1056 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1166 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3168. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $504.00                 $504.00
         IWANOWSKI, LAURA A
         196 TEXAS AVE                            ¨ Contingent
         BAY SHORE NY 11706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3169. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.86                 $240.86
         IXCOY-MARTINEZ, MAKATIE A
         236 HILLCREST RIDGE                      ¨ Contingent
         CANTON GA 30115
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3170. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $565.45                 $565.45
         JABAR, HELEN
         82 MAPLEVIEW RD                          ¨ Contingent
         UPPER
         CHEEKTOWAGA NY 14225                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1057 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1167 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3171. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.23                 $182.23
         JABEROO, LAUREN
         28222 WEXFORD                            ¨ Contingent
         WARREN MI 48092
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3172. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,520.65               $3,520.65
         JACK SMITH
         LAMAR COUNTY TAX                         ¨ Contingent
         P.O. BOX 309
         PURVIS MS 39475                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3173. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.14                 $177.14
         JACK, ANGELIQUE
         620 MCKINLEY STREET P.O. BOX 4           ¨ Contingent
         LAFAYETTE LA 70503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1058 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1168 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3174. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.40                 $140.40
         JACKOWSKI, KRISTEN M
         93 GREEN MEADOW LN                       ¨ Contingent
         WEST SPRINGFIELD MA 01089-4419
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3175. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $640.42                 $640.42
         JACKSON, AMANDA J
         6212 GREEN MANOR DR                      ¨ Contingent
         LOUISVILLE KY 40228
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3176. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,397.54               $2,397.54
         JACKSON, ANDREA
         8214 SW 29TH STREET                      ¨ Contingent
         MIRAMAR FL 33025
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1059 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1169 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3177. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.48                  $96.48
         JACKSON, ASHLEY C
         15443 WILLOWWISP TRAIL                   ¨ Contingent
         CONROE TX 77302
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3178. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $496.33                 $496.33
         JACKSON, BRIANNA L
         12263 KNIGHTS KROSSING CIRCLE            ¨ Contingent
         UNIT# 9-107
         ORLANDO FL 32817                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3179. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.48                  $78.48
         JACKSON, BRITTANIE
         PO BOX 561594                            ¨ Contingent
         MIAMI FL 33256
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1060 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1170 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3180. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.30                 $120.30
         JACKSON, DAYTRA T
         445 SUNRISE WAY                          ¨ Contingent
         SAN FRANCISCO CA 94134
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3181. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $340.20                 $340.20
         JACKSON, DOMINICK A
         86 CAMDEN ST                             ¨ Contingent
         1
         BOSTON MA 02118                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3182. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.80                 $148.80
         JACKSON, ELANNA N
         1022 NE 181ST AVE APT E5                 ¨ Contingent
         1022 NE 181ST
         PORTLAND OR 97230                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1061 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1171 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3183. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $411.39                 $411.39
         JACKSON, GIOANNA
         711 TRUMAN ST                            ¨ Contingent
         3
         LAKE WORTH FL 33460                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3184. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.04                  $76.04
         JACKSON, JAIYLN A
         4752 DURHAM COURT                        ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3185. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.75                  $71.75
         JACKSON, JALIYAH M
         4 BENNINGTON ST                          ¨ Contingent
         DOVER DE 19904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1062 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1172 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3186. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $198.10                 $198.10
         JACKSON, JAMILAH L
         2974 ELSPETH CT                          ¨ Contingent
         COLUMBUS OH 43231
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3187. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,599.82               $3,599.82
         JACKSON, JASMINE G
         425 AFTON POND APT 123                   ¨ Contingent
         CHARLOTTESVILLE VA 22902
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3188. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,477.17               $1,477.17
         JACKSON, JAYNA R
         6201 GARDEN RD A2                        ¨ Contingent
         MAUMEE OH 43537
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1063 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1173 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3189. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $597.41                 $597.41
         JACKSON, KATELYN M
         123 W DAYTON YELLOW SPRINGS RD           ¨ Contingent
         21
         FAIRBORN OH 45324                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3190. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.37                  $95.37
         JACKSON, KATHERINE
         1804 PICADILLY CIRCLE                    ¨ Contingent
         CULPEPER VA 22701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3191. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $945.52                 $945.52
         JACKSON, KEYANA J
         76 LAWRENCE AVE                          ¨ Contingent
         3
         DORCHESTER MA 02121                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1064 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1174 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3192. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.58                  $87.58
         JACKSON, KIAH
         3750 STONESBORO RD                       ¨ Contingent
         FORT WASHINGTON MD 20744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3193. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,660.62               $1,660.62
         JACKSON, KIM
         6203 ADDISON PLACE                       ¨ Contingent
         POOLER GA 31322
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3194. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $18.75                  $18.75
         JACKSON, LAUREN R
         1382 FOUNTAINHEAD DRIVE                  ¨ Contingent
         SAINT LOUIS MO 63138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1065 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1175 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3195. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $466.63                 $466.63
         JACKSON, LEIGH C
         1905 HAWTHORNE CIR                       ¨ Contingent
         OAKDALE PA 15071
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3196. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.35                 $137.35
         JACKSON, LONDON Z
         17405 GETTYSBURG WAY                     ¨ Contingent
         LAKEVILLE MN 55044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3197. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.21                  $76.21
         JACKSON, LYRIC B
         1123 NOBLE ST SE                         ¨ Contingent
         GRAND RAPIDS MI 49507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1066 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1176 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3198. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.18                 $170.18
         JACKSON, MACKENZIE B
         1320 PRINCESS DR                         ¨ Contingent
         WINDER GA 30680
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3199. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,158.00               $1,158.00
         JACKSON, MALANEY
         81 LAKESHORE DRIVE APT.7                 ¨ Contingent
         ASHEVILLE NC 28804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3200. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.04                 $169.04
         JACKSON, MARIAH A
         3037 CHICKAHOMINY RD                     ¨ Contingent
         TOANO VA 23168
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1067 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1177 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3201. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $17.26                  $17.26
         JACKSON, MICHAELA A
         POBOX 22934                              ¨ Contingent
         BEAUMONT TX 77720
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3202. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $249.13                 $249.13
         JACKSON, NIA J
         1311 VIOLET LANE                         ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3203. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.08                  $74.08
         JACKSON, SARAH
         835 DONALDSON ST                         ¨ Contingent
         C
         HIGHLAND PARK NJ 08904                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1068 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1178 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3204. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $262.56                 $262.56
         JACKSON, SASHA
         24633 WIND FLOWER DR                     ¨ Contingent
         MORENO VALLEY CA 92557
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3205. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $595.35                 $595.35
         JACKSON, SHANICE L
         6501 YALE ST.                            ¨ Contingent
         APT 812
         WESTLAND MI 48185                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3206. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,391.21               $4,391.21
         JACKSON, SHONTA D
         2802 BECKON DRIVE                        ¨ Contingent
         EDGEWOOD MD 21040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1069 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1179 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3207. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.80                  $50.80
         JACKSON, TATIYANA
         3009 CHESTERFIELD AVE                    ¨ Contingent
         BALTIMORE MD 21213
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3208. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.02                 $136.02
         JACKSON, TEZHANAE I
         1000 MORRIS AVE                          ¨ Contingent
         BURCH HALL 606
         UNION NJ 07083                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3209. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $424.18                 $424.18
         JACKSON, TIA
         975 VIRGO DR                             ¨ Contingent
         FRANKLIN IN 46131
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1070 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1180 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3210. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $268.44                 $268.44
         JACKSON, TIONA M
         135 CASTLE DR                            ¨ Contingent
         PITTSBURGH PA 15235
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3211. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.83                  $69.83
         JACKSON, TOREANNA
         4679 N 39TH ST                           ¨ Contingent
         MILWAUKEE WI 53209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3212. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.00                 $146.00
         JACKSON-DAVID, DEMETRICUS
         10320 LAUNCH CIRCLE APT201               ¨ Contingent
         MANASSAS VA 20109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1071 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1181 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3213. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $365.81                 $365.81
         JACOBS, COURTNEY
         30 PINE ST                               ¨ Contingent
         STATEN ISLAND NY 10301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3214. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.76                 $156.76
         JACOBS, JAID
         2428 DOGWOOD DR                          ¨ Contingent
         LITTLE ELM TX 75068
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3215. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.58                  $33.58
         JACOBS, KENDRA F
         1216 SILVER OAK CIRCLE                   ¨ Contingent
         NORMAL IL 61761
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1072 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1182 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3216. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $557.70                 $557.70
         JACOBS, TYME A
         3218 VETERANS MEMORIAL PKWY              ¨ Contingent
         APT 514
         TUSCALOOSA AL 35404                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3217. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,922.60               $1,922.60
         JACOBSMEYER, NICOLE M
         60 ALEXANDER RD.                         ¨ Contingent
         LONDONDERRY NH 03053
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3218. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $318.60                 $318.60
         JACQUES, SOPHIE A
         1 FORD DRIVE SOUTH                       ¨ Contingent
         MASSAPEQUA NY 11758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1073 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1183 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3219. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.02                  $35.02
         JAIME, DAISHEA L
         2601 N. KENTUCKY AVE.                    ¨ Contingent
         APT. 422
         OKLAHOMA CITY OK 73106                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3220. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.18                 $148.18
         JALONACK, JULIET K
         1613 HARRISON AVE                        ¨ Contingent
         UTICA NY 13501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3221. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.99                 $232.99
         JAMERSON, LETITIA M
         1722 KINGS RD                            ¨ Contingent
         SHELBY NC 28150
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1074 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1184 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3222. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.79                 $181.79
         JAMES, ALEXANDRA
         8431 RUDNICK AVE.                        ¨ Contingent
         WEST HILLS CA 91304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3223. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.83                 $193.83
         JAMES, ANJELIKA T
         3748 HUNTING CREEK RD                    ¨ Contingent
         MONTGOMERY AL 36116-5413
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3224. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $244.28                 $244.28
         JAMES, CHRISTINA N
         3333 DALE ROAD                           ¨ Contingent
         BENSALEM PA 19020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1075 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1185 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3225. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.66                 $141.66
         JAMES, DESIREE A
         2101 BALLARD RD                          ¨ Contingent
         WILLIAMSTON NC 27892
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3226. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.43                 $149.43
         JAMES, JASMINE A
         7010 MASON RUN DRIVE                     ¨ Contingent
         RICHMOND VA 23234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3227. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.31                 $193.31
         JAMES, MAKENA S
         2856 CARNEGIE WAY SW                     ¨ Contingent
         MARIETTA GA 30064
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1076 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1186 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3228. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.76                  $36.76
         JAMES, MELISSA A
         214 IVY GLEN COURT                       ¨ Contingent
         WINSTON SALEM NC 27127
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3229. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,703.22               $3,703.22
         JAMES, SHANOWYA S
         8207 TUPELO TRAIL                        ¨ Contingent
         JONESBORO GA 30236
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3230. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,111.61               $3,111.61
         JAMES, TALICIA
         2727 S 117TH E AVE                       ¨ Contingent
         TULSA OK 74129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1077 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1187 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3231. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.30                 $252.30
         JAMIESON, NICOLE
         24 RIVER RD                              ¨ Contingent
         SUFFERN NY 10901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3232. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $403.00                 $403.00
         JAMISON, DIONA R
         3107 MARCUS DRIVE                        ¨ Contingent
         HARTSVILLE SC 29550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3233. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.99                  $85.99
         JAMISON, FAITH
         2116 COTTONTAIL DRIVE                    ¨ Contingent
         LEANDER TX 78641
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1078 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1188 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3234. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.26                  $36.26
         JANCZYS, CAITLIN
         8781 HAVEN DR                            ¨ Contingent
         ROGERS AR 72756
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3235. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.21                 $152.21
         JANES, KATIA M
         503 NORTH RAYMOND DRIVE                  ¨ Contingent
         MAHOMET IL 61853
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3236. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $527.13                 $527.13
         JANIS, COURTNEY A
         33 SOUTHERN DRIVE                        ¨ Contingent
         STORMVILLE NY 12582
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1079 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1189 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3237. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.87                  $40.87
         JANISSE, XAVIA V
         3533 W SCRIBNER LANE                     ¨ Contingent
         INGLEWOOD CA 90305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3238. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $587.14                 $587.14
         JANOBILOVA, NOZANIN F
         7709 TOWER WOODS DR                      ¨ Contingent
         SPRINGFIELD VA 22153
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3239. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $440.11                 $440.11
         JAQUEZ, CARLY D
         8348 RANCHO VISTA LOOP                   ¨ Contingent
         LA MESA NM 88044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1080 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1190 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3240. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $711.60                 $711.60
         JARA, DESTINY
         302 26TH AVE W APT                       ¨ Contingent
         1507
         BRADENTON FL 34205                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3241. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.47                  $85.47
         JARAMILLO, ANGELA C
         2859 MAMMOTH CT                          ¨ Contingent
         LAS VEGAS NV 89142
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3242. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $243.12                 $243.12
         JARAMILLO, AUSTIN T
         15074 AMOROSE ST                         ¨ Contingent
         LAKE ELSINORE CA 92530
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1081 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1191 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3243. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.55                 $129.55
         JARAMILLO, DANIELA I
         4830 WENDY LN.                           ¨ Contingent
         PEARLAND TX 77584
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3244. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.80                 $121.80
         JARAMILLO, NICOLE M
         18552 E DUELL ST                         ¨ Contingent
         AZUSA CA 91702
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3245. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.84                  $31.84
         JARED, BAYLEE
         1101 RIVER RIDGE PKWY                    ¨ Contingent
         1131A
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1082 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1192 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3246. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.02                 $153.02
         JARMON, DYNEASHA K
         515 MONTGOMERY AVE.                      ¨ Contingent
         NORTH WALES PA 19454
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3247. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.31                 $122.31
         JARRETT, TALIYAH B
         909 N. LINDEN ST. APT. #208              ¨ Contingent
         MUNCIE IN 47303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3248. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $234.76                 $234.76
         JASIEWICZ, DANIELLE M
         P.O. BOX 1681                            ¨ Contingent
         BRADENTON FL 34206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1083 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1193 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3249. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $270.72                 $270.72
         JASINSKI, MICHELLE A
         62 GILBERT ROAD                          ¨ Contingent
         SOUTHAMPTON MA 01073
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3250. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.70                 $164.70
         JASWAL, ANMOL K
         43 LARCH STREET                          ¨ Contingent
         CARTERET NJ 07008
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3251. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $442.34                 $442.34
         JAUREGUI, VANESSA Q
         697 N ADAMS ST                           ¨ Contingent
         BRAWLEY CA 92227-1773
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1084 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1194 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3252. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.28                  $49.28
         JAURIGUE, SASHA
         3331 N OSCEOLA                           ¨ Contingent
         CHICAGO IL 60634
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3253. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $400.62                 $400.62
         JAVIER, ALYSSA J
         2600 CHANDLER DRIVE                      ¨ Contingent
         APT 421
         BOWLING GREEN KY 42104                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3254. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $10,269.25              $10,269.25
         JAWORSKI, STEFANIE M
         17615 CANDLEWOOD TEER                    ¨ Contingent
         BOCA RATON FL 33487
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1085 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1195 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3255. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.64                 $146.64
         JEAN-LOUIS, AMANDA L
         263 PAMLICO AVE.                         ¨ Contingent
         UNIONDALE NY 11553
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3256. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $488.70                 $488.70
         JEFFERIES, JODY
         1355 SPORTS LAKE RD                      ¨ Contingent
         COLUMBIA VA 23038
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3257. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,966.64               $3,966.64
         JEFFERSON COUNTY
         TAX ASSESESOR COLLECTOR                  ¨ Contingent
         PO BOX 2112
         BEAUMONT TX 77704-2112                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1086 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1196 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3258. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,700.00               $1,700.00
         JEFFERSON PARISH SHERIFF'S OFF
         BUREAU OF REVENUE & TAXATION             ¨ Contingent
         P.O.BOX 248
         GRETNA LA 70054-0020                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3259. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $272.40                 $272.40
         JEFFERSON, CHARMAYNE A
         15432 GENERAL LAFAYETTE BLVD             ¨ Contingent
         BRANDYWINE MD 20613
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3260. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.72                 $178.72
         JEFFREY, TALANNA
         12 THIELLS RD                            ¨ Contingent
         STONY POINT NY 10980
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1087 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1197 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3261. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.54                 $104.54
         JEFFREYS, KORTNEY
         979 STAFFORD FOREST DR                   ¨ Contingent
         APT 201
         WINSTON SALEM NC 27127                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3262. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.90                 $120.90
         JEFFRIES, MARY V
         1153 CHARLES STREET                      ¨ Contingent
         TAYLORVILLE IN 47280
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3263. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $607.13                 $607.13
         JELLEMA-BAERG, ALEXIS R
         32833 530TH AVE                          ¨ Contingent
         MOUNTAIN LAKE MN 56159
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1088 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1198 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3264. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,922.62               $1,922.62
         JENKINS, DANIKA T
         GENERAL DELIVERY                         ¨ Contingent
         SACRAMENTO CA 95812
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3265. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.80                 $121.80
         JENKINS, DEAMBERLEE E
         230 SWEET HOME CHURCH RD.                ¨ Contingent
         PEARL MS 39288
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3266. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,344.60               $1,344.60
         JENKINS, JALEASA J
         4455 ELAN CT                             ¨ Contingent
         ANNANDALE VA 22003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1089 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1199 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3267. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,272.87               $1,272.87
         JENKINS, JAYLENE A
         5802 32ND ST. E.                         ¨ Contingent
         ELLENTON FL 34222
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3268. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.64                  $62.64
         JENKINS, JENNIFER C
         21495 DOGWOOD DRIVE                      ¨ Contingent
         NEW CANEY TX 77357
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3269. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.71                 $103.71
         JENKINS, KAITLYN I
         3431 VINTON ROAD                         ¨ Contingent
         PHILADELPHIA PA 19154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1090 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1200 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3270. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.54                 $158.54
         JENKINS, KEONDA Z
         5055 HARBOUR LAKE DR                     ¨ Contingent
         A5
         GOOSE CREEK SC 29445                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3271. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.34                  $93.34
         JENKINS, LYRIC
         2703 MACBY AVE                           ¨ Contingent
         MARIETTA GA 30066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3272. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,551.53               $3,551.53
         JENKINS, SARA E
         7655 PIPESTONE DR.                       ¨ Contingent
         INDIANAPOLIS IN 46227
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1091 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1201 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3273. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $341.78                 $341.78
         JENNINGS, NINA S
         24846 SW 127TH PATH                      ¨ Contingent
         PRINCETON FL 33032
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3274. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $512.71                 $512.71
         JENNINGS, TENAJA B
         9209 WINTERSET COURT                     ¨ Contingent
         CLINTON MD 20735
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3275. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.30                  $90.30
         JEREZ, CASTILLO DARIANA
         3121 CASHMERE DR                         ¨ Contingent
         ORLANDO FL 32827
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1092 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1202 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3276. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.70                 $134.70
         JERNIGAN, ANNA M
         1777 PATTERSON ST. APT 4                 ¨ Contingent
         4
         EUGENE OR 97401                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3277. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.45                 $139.45
         JERNIGAN, MADISON R
         5322 WHITETAIL DRIVE                     ¨ Contingent
         2
         SPRINGFIELD IL 62703                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3278. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $325.24                 $325.24
         JERNIGHAN, MAKYLA J
         67 LANDMARK LOOP                         ¨ Contingent
         JACKSON TN 38305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1093 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1203 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3279. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,461.16               $3,461.16
         JESKE, HANNAH G
         10300 DEVONSHIRE CIRCLE APT 32           ¨ Contingent
         BLOOMINGTON MN 55431
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3280. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $261.16                 $261.16
         JEVERON, PALYCE
         1400 VILLAGE BLVD                        ¨ Contingent
         APT 403
         WEST PALM BEACH FL 33409                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3281. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $235.44                 $235.44
         JIMENES, DANIA G
         955 N WATERMAN CT                        ¨ Contingent
         7
         EL CENTRO CA 92243                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1094 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1204 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3282. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $268.60                 $268.60
         JIMENEZ, ABIGAIL A
         130 PLUM TREE DRIVE                      ¨ Contingent
         LANTANA FL 33462
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3283. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.60                  $39.60
         JIMENEZ, BRIANNA
         511 FLETCHER AVE                         ¨ Contingent
         APT 4
         LINCOLN NE 68521                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3284. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.37                 $136.37
         JIMENEZ, GABRIELLE M
         14059 WELLINGTON TRACE                   ¨ Contingent
         WELLINGTON FL 33414
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1095 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1205 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3285. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.89                 $259.89
         JIMENEZ, JACQUELINE
         1503 FLORA AVE                           ¨ Contingent
         HIDALGO TX 78557
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3286. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $265.08                 $265.08
         JIMENEZ, JOSLYN
         105 NEW AVE                              ¨ Contingent
         WYANDANCH NY 11798
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3287. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,106.91               $2,106.91
         JIMENEZ, JULIANA
         2665 EARLY VISTA ST                      ¨ Contingent
         LAS VEGAS NV 89142-2873
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1096 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1206 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3288. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.22                  $35.22
         JIMENEZ, LUZ M
         2015 S WHITE HIRSE PIKE                  ¨ Contingent
         32
         LINDENWOLD NJ 08021                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3289. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.07                  $44.07
         JIMENEZ, MANCILLA ANDREA
         8 WENLISS TERRACE                        ¨ Contingent
         8
         WAPPINGERS FALLS NY 12590                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3290. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.08                 $220.08
         JIMENEZ, NAYELI
         6869 HOMER ST.                           ¨ Contingent
         APT. 63
         WESTMINSTER CA 92683                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1097 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1207 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3291. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.39                 $140.39
         JIMENEZ, SONYA
         6039 NW 10TH ST APT163                   ¨ Contingent
         OKLAHOMA CITY OK 73127
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3292. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.80                 $103.80
         JIMENEZ, VERONICA S
         125 FOOTHILL CT                          ¨ Contingent
         MORGAN HILL CA 95037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3293. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.16                 $203.16
         JIMENEZ, VICTORIA
         11299 SKY COUNTRY DR.                    ¨ Contingent
         MIRA LOMA CA 91752
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1098 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1208 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3294. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $261.36                 $261.36
         JIMENEZ, YESENIA
         19972 STANTON AVE                        ¨ Contingent
         APT 55
         CASTRO VALLEY CA 94546                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3295. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.75                 $132.75
         JIMENEZ-MEZA, VICTORIA K
         5350 MONTEREY HWY.                       ¨ Contingent
         APT. 5
         SAN JOSE CA 95111                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3296. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $466.38                 $466.38
         JOANMARY, GARBER F
         11709 STEVENS RD                         ¨ Contingent
         PHILADELPHIA PA 19116-2503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1099 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1209 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3297. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $614.88                 $614.88
         JOAQUIN, ALEXI JILLIAN
         651 KAIMANA STREET                       ¨ Contingent
         KAHULUI HI 96732
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3298. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,973.44               $2,973.44
         JOAQUIN, MAYRA P
         715 NATHAN CT                            ¨ Contingent
         WEST LAFAYETTE IN 47906
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3299. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $566.02                 $566.02
         JOBE, CHEYENNE
         4545 17TH AVE NE                         ¨ Contingent
         SEATTLE WA 98105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1100 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1210 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3300. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $46.99                  $46.99
         JOHANEK, ALIVIA L
         5050 PIERCE ST. HOUSE H                  ¨ Contingent
         ALLENDALE MI 49401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3301. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,915.21               $3,915.21
         JOHANSONAS, ALDONA
         5693 OVERLOOK WAY                        ¨ Contingent
         NORTH RIDGEVILLE OH 44039-5161
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3302. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $677.00                 $677.00
         JOHN NEWMAN TRUSTEE MADISON
         100 E MAIN ST # 107                      ¨ Contingent
         JACKSON TN 38301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1101 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1211 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3303. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $22,173.56              $22,173.56
         JOHN R. AMES, CTA
         PO BOX 139066                            ¨ Contingent
         DALLAS TX 75313-9066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3304. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.42                  $32.42
         JOHNSON, ALONA
         807 S. MAIN ST                           ¨ Contingent
         NORMAL IL 61761
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3305. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,171.55               $3,171.55
         JOHNSON, APRIL M
         241 BEAU BASSIN RD                       ¨ Contingent
         LOT 5
         CARENCRO LA 70520                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1102 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1212 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3306. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.01                 $203.01
         JOHNSON, BRAIA J
         3243 OLD POND RD                         ¨ Contingent
         CHARLESTON SC 29455
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3307. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,242.25               $1,242.25
         JOHNSON, BRI
         4160 CAMARGO DR                          ¨ Contingent
         APT B
         DAYTON OH 45415                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3308. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $284.94                 $284.94
         JOHNSON, BRIANNE
         5540 TUGHILL DR.                         ¨ Contingent
         TAMPA FL 33624
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1103 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1213 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3309. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.42                 $139.42
         JOHNSON, BRIONY
         12838 SW 213TH TER                       ¨ Contingent
         MIAMI FL 33177
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3310. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.02                  $59.02
         JOHNSON, BRITTANY J
         1150 ST. PHILLIPS CT                     ¨ Contingent
         LOCUST GROVE GA 30248
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3311. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $565.89                 $565.89
         JOHNSON, BRITTNEY A
         339 6TH AVE S APT #103                   ¨ Contingent
         SAINT CLOUD MN 56301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1104 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1214 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3312. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $171.16                 $171.16
         JOHNSON, BROOKE L
         152 ONTARIO ST                           ¨ Contingent
         CANANDAIGUA NY 14424
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3313. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.95                  $58.95
         JOHNSON, CHA'QUOYA
         336 KENCHESTER WAY                       ¨ Contingent
         APT 912
         CROWLEY TX 76036                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3314. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,903.36               $3,903.36
         JOHNSON, CHRISTINE M
         2000 JUANITA CT                          ¨ Contingent
         VIRGINIA BEACH VA 23456-4937
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1105 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1215 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3315. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,264.56               $2,264.56
         JOHNSON, CYDNE M
         19 PALERMO ST                            ¨ Contingent
         LAGUNA NIGUEL CA 92677
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3316. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $292.08                 $292.08
         JOHNSON, DAWNIELLE S
         12709 DUNTON DR                          ¨ Contingent
         WHITTIER CA 90606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3317. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,232.72               $1,232.72
         JOHNSON, DEMETRIA
         2000 AUDREY LN.                          ¨ Contingent
         COLUMBIA SC 29223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1106 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1216 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3318. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.73                 $157.73
         JOHNSON, DESTINEE L
         2749 DAVIS MILL ROAD                     ¨ Contingent
         HEPHZIBAH GA 30815
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3319. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.54                 $120.54
         JOHNSON, DIAMONIQUE
         100 IVEY PARK LANE                       ¨ Contingent
         1208
         PEACHTREE CORNERS GA 30092               ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3320. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $577.91                 $577.91
         JOHNSON, ERIN
         67 WOODSTONE DR                          ¨ Contingent
         VOORHEES NJ 08043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1107 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1217 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3321. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.74                 $206.74
         JOHNSON, JADA
         517 ADAMS AVE                            ¨ Contingent
         MUSKEGON MI 49442
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3322. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.89                  $44.89
         JOHNSON, JAELYN N
         4901 AZTEC BOULEVARD                     ¨ Contingent
         67
         COLUMBIA MO 65202                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3323. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.41                 $150.41
         JOHNSON, JAVONIQUE K
         15 FRANKLIN STREET                       ¨ Contingent
         2
         POUGHKEEPSIE NY 12601                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1108 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1218 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3324. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.34                  $32.34
         JOHNSON, JAYLA D
         5017 GARDEN LANE                         ¨ Contingent
         FORT WORTH TX 76119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3325. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $519.70                 $519.70
         JOHNSON, JURNEI J
         6845 FALLTIME PL                         ¨ Contingent
         INDIANAPOLIS IN 46226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3326. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $313.20                 $313.20
         JOHNSON, KAILA C
         13046 RED CORRAL DR                      ¨ Contingent
         CORONA CA 92883-6312
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1109 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1219 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3327. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.20                 $124.20
         JOHNSON, KALILA Z
         1860 WOODLAND CIRCLE                     ¨ Contingent
         VERO BEACH FL 32960
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3328. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $543.40                 $543.40
         JOHNSON, KATELYNN
         11746 ACADEMY PLACE                      ¨ Contingent
         PHILADELPHIA PA 19154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3329. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $222.53                 $222.53
         JOHNSON, KEYSHA
         1836 E 19TH PL                           ¨ Contingent
         GARY IN 46407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1110 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1220 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3330. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $23.96                  $23.96
         JOHNSON, KRISTEN M
         18874 EARL ROAD                          ¨ Contingent
         BIG LAKE MN 55309
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3331. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,374.81               $5,374.81
         JOHNSON, LA TANYA P
         2904 EAST STERLING CT                    ¨ Contingent
         FAYETTEVILLE AR 72703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3332. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $21.51                  $21.51
         JOHNSON, LACRESHA J
         6498 ABBEY DOOR CT                       ¨ Contingent
         LAS VEGAS NV 89122-0848
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1111 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1221 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3333. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.88                  $38.88
         JOHNSON, LAKEISHA J
         11609 LONE PINE CIRCLE                   ¨ Contingent
         INDIANAPOLIS IN 46235
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3334. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.20                  $90.20
         JOHNSON, LASHAYLA
         1932 LAKE FOUNTAIN DRIVE                 ¨ Contingent
         APT 636
         ORLANDO FL 32839                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3335. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.96                 $100.96
         JOHNSON, LAYLA T
         3400 CRAIG DR.                           ¨ Contingent
         ELAGO APTS. AP
         MCKINNEY TX 75070                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1112 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1222 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3336. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,239.21               $1,239.21
         JOHNSON, MAGALENE L
         1512 CHATHAM COURT                       ¨ Contingent
         SCHAUMBURG IL 60193
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3337. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $368.94                 $368.94
         JOHNSON, MARIYA
         1361 BARCLAY AVE                         ¨ Contingent
         A
         SAINT PAUL MN 55106                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3338. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.15                 $104.15
         JOHNSON, MARQUITA
         1230 W 42ND ST SOUTH                     ¨ Contingent
         1
         WICHITA KS 67217                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1113 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1223 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3339. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $519.20                 $519.20
         JOHNSON, MAYA I
         4517 TWILIGHT DR.                        ¨ Contingent
         RAPID CITY SD 57703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3340. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,324.81               $1,324.81
         JOHNSON, MICHAELENE S
         916 VALDEZ DR                            ¨ Contingent
         DALLAS TX 75253
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3341. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,638.84               $2,638.84
         JOHNSON, MICHEALA E
         1176 ROSEMARIE LN                        ¨ Contingent
         APT 11
         STOCKTON CA 95207                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1114 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1224 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3342. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.98                  $49.98
         JOHNSON, MORGAN R
         12 FIFTH ST                              ¨ Contingent
         ANSONIA CT 06401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3343. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.58                  $70.58
         JOHNSON, MYKIYA
         33459 SHELLEY LYNNE DR.                  ¨ Contingent
         STERLING HEIGHTS MI 48312
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3344. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.89                 $132.89
         JOHNSON, OLIVIA C
         3421 VICTORIA AVENUE                     ¨ Contingent
         LAFAYETTE IN 47909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1115 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1225 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3345. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.03                  $36.03
         JOHNSON, PARISH L
         903 320                                  ¨ Contingent
         MADISON WI 53715
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3346. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,923.28               $5,923.28
         JOHNSON, POOR DEBORAH
         313 F STREET                             ¨ Contingent
         ST AUGUSTINE FL 32080
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3347. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,948.60               $1,948.60
         JOHNSON, QUADIRAH D
         1162 SOUTH ORANGE AVE                    ¨ Contingent
         SOUTH ORANGE NJ 07079
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1116 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1226 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3348. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.68                 $132.68
         JOHNSON, RACHEL M
         1899 HYDE ROAD                           ¨ Contingent
         SENATOBIA MS 38668
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3349. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.45                 $193.45
         JOHNSON, SARAH
         3709 NORTH AVE                           ¨ Contingent
         RICHMOND VA 23222
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3350. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,582.45               $2,582.45
         JOHNSON, SASHA L
         7101 NE 109TH ST                         ¨ Contingent
         H59
         VANCOUVER WA 98686                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1117 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1227 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3351. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $562.36                 $562.36
         JOHNSON, TATIANA
         1212 N PARKDALE DR                       ¨ Contingent
         TYLER TX 75702-3936
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3352. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.64                 $128.64
         JOHNSON, TATIYAUNA
         306 PLOVER DRIVE                         ¨ Contingent
         PORTSMONTH VA 23704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3353. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.50                 $200.50
         JOHNSON, TATYANA M
         9906 46TH COURT EAST                     ¨ Contingent
         PARRISH FL 34219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1118 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1228 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3354. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $371.21                 $371.21
         JOHNSON, TAYLOR
         5863 WINDINGWOOD DR                      ¨ Contingent
         KALAMAZOO MI 49009-8093
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3355. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.20                  $59.20
         JOHNSON, TAYLORR C
         248 MCCARLEY PLACE                       ¨ Contingent
         MCKINNEY TX 75071
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3356. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.88                 $215.88
         JOHNSON, TIARA M
         398 CARROLL ST.                          ¨ Contingent
         MOUNTAIN HOUSE CA 95391
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1119 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1229 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3357. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.20                 $124.20
         JOHNSON, TI'ERRAH
         432 1ST NORTH ST.                        ¨ Contingent
         MADISONVILLE KY 42431
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3358. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.69                 $151.69
         JOHNSON, VICTORIA
         1311 NE 12TH AVE                         ¨ Contingent
         OCALA FL 34470
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3359. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $0.00                   $0.00
         JOHNSON. SEAN L.
         1125 LUCAS STREET                        ¨ Contingent
         CALUMET CITY IL 60409
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1120 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1230 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3360. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $309.96                 $309.96
         JOHNSON-MARTINEZ, ALIA M
         38763 QUINCE PL                          ¨ Contingent
         NEWARK CA 94560
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3361. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $534.07                 $534.07
         JOHNSTON, AMANDA C
         176 RESERVOIR ROAD                       ¨ Contingent
         FORT EDWARD NY 12828
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3362. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.20                  $63.20
         JOHNSTON, BRITTANY P
         2808 INDEPENDENCE DR                     ¨ Contingent
         MESQUITE TX 75150
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1121 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1231 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3363. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,407.77               $2,407.77
         JOHNSTON, EVELYN
         13600 N BLACKWELDER AVE.                 ¨ Contingent
         #367
         OKLAHOMA CITY OK 73134                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3364. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $612.81                 $612.81
         JOHNSTON, KARAH N
         744 RED OAK LANE                         ¨ Contingent
         GENEVA OH 44041
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3365. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,056.15               $1,056.15
         JOHNSTON, ROMERO SABRINA L
         21585 ZUKNICK TERRACE                    ¨ Contingent
         ASHBURN VA 20147
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1122 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1232 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3366. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $481.76                 $481.76
         JOHNSTON, TRISHA L
         3140 SUNLAND CIR                         ¨ Contingent
         GREEN BAY WI 54313
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3367. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $183.44                 $183.44
         JOINER, ANGEL C
         3021 RUE PARC FONTAINE APT. 20           ¨ Contingent
         2415 LAFITTE S
         NEW ORLEANS IA 70131                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3368. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.44                  $83.44
         JONES, ABRIL
         1118 RAMBLEWOOD ROAD                     ¨ Contingent
         APT. A
         BALTIMORE MD 21239                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1123 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1233 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3369. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,874.35               $1,874.35
         JONES, ANETRA
         501 SEVETH ST.                           ¨ Contingent
         ABBEVILLE LA 70510
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3370. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $55.83                  $55.83
         JONES, ANGELA M
         723 BRIAR HAVEN DR                       ¨ Contingent
         CASTLE PINES CO 80108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3371. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $26.47                  $26.47
         JONES, ANNA M
         2240 E. ADAMS                            ¨ Contingent
         SPRINGFIELD IL 62703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1124 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1234 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3372. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $117.29                 $117.29
         JONES, ANTOINETTE
         2052 JONATHAN CIRCLE                     ¨ Contingent
         SHELBY TOWNSHIP MI 48317
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3373. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.58                 $145.58
         JONES, APRIL D
         123 OAKWOOD DR                           ¨ Contingent
         COMMERCE GA 30529
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3374. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.88                 $108.88
         JONES, ARIANA J
         6124 MODELLI DRIVE                       ¨ Contingent
         GRAND PRAIRIE TX 75052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1125 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1235 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3375. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.26                 $174.26
         JONES, ARLEAN V
         2950 N GREEN VALLEY PARKWAY              ¨ Contingent
         APT 814
         HENDERSON NV 89014                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3376. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.06                 $127.06
         JONES, ARRABIA M
         450 VENTICELLO                           ¨ Contingent
         LAS VEGAS NV 89138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3377. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $529.01                 $529.01
         JONES, ASIA L
         7280 SOUTH BARRENS ROAD                  ¨ Contingent
         301
         ROANOKE VA 24019                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1126 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1236 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3378. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.98                 $155.98
         JONES, CARMEN N
         3623 CLEARBROOK ST                       ¨ Contingent
         MEMPHIS TN 38118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3379. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.91                  $29.91
         JONES, CHARMANEY E
         1175 IDLEWOOD AVE                        ¨ Contingent
         APT 205
         KENNEWSAW GA 30144                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3380. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,525.16               $3,525.16
         JONES, DEVIN N
         124 GRAYSON ST                           ¨ Contingent
         WEST MONROE LA 71292
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1127 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1237 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3381. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $680.86                 $680.86
         JONES, HEATHER C
         310 TRUNKS BAY                           ¨ Contingent
         OCEANSIDE CA 92057-4221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3382. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.70                  $91.70
         JONES, JADA L
         4007 SWEENEY LAKE LN.                    ¨ Contingent
         RICHMOND TX 77406
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3383. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.65                  $63.65
         JONES, JASMIN D
         3416 W 22ND AVE                          ¨ Contingent
         GARY IN 46404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1128 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1238 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3384. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.32                  $87.32
         JONES, JASMINE R
         1743 S MAIN ST                           ¨ Contingent
         4
         HOPKINSVILLE KY 42240                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3385. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.28                  $60.28
         JONES, KAYLIN M
         1309 JACKSON LANDING RD                  ¨ Contingent
         PICAYUNE MS 39466
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3386. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.65                  $67.65
         JONES, KIMBERLY
         1576 N GALLOWAY AVE.                     ¨ Contingent
         APT. 1018
         MESQUITE TX 75149                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1129 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1239 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3387. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.80                 $166.80
         JONES, KIMBERLY L
         3701 TRIESTE DR                          ¨ Contingent
         CARLSBAD CA 92010-2844
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3388. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.00                  $32.00
         JONES, KRISTEN
         15123 BY THE LAKE WAY                    ¨ Contingent
         CYPRESS TX 77429
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3389. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $411.45                 $411.45
         JONES, KRISTEN N
         101 LEAF LAKE BLVD                       ¨ Contingent
         BIRMINGHAM AL 35211
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1130 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1240 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3390. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $22.27                  $22.27
         JONES, LA TOYA
         1531 HUDSON GRAHAM LANE                  ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3391. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.69                  $65.69
         JONES, LOGAN A
         2844 GALLIA PIKE                         ¨ Contingent
         FRANKLIN FURNACE OH 45629
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3392. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $248.95                 $248.95
         JONES, LYRIC D
         11 GLOBE LANE                            ¨ Contingent
         WILLINGBORO NJ 08046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1131 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1241 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3393. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $532.80                 $532.80
         JONES, MADISON D
         2377 MARSH HILL DR.                      ¨ Contingent
         ASHLAND KY 41102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3394. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,539.03               $2,539.03
         JONES, MAEGAN M
         11738 CAPISTRANO DR                      ¨ Contingent
         INDIANAPOLIS IN 46236
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3395. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.24                 $151.24
         JONES, MAGGIE L
         1207 TONY DR                             ¨ Contingent
         JONESBORO AR 72401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1132 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1242 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3396. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,764.15               $2,764.15
         JONES, MARISA
         5234 71ST                                ¨ Contingent
         LUBBOCK TX 79424
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3397. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.93                  $37.93
         JONES, MCKENZIE E
         737 CR 109                               ¨ Contingent
         JONESBORO AR 72404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3398. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.28                 $174.28
         JONES, NATALIE N
         9823 UTOPIA DRIVE                        ¨ Contingent
         2205
         PENSACOLA FL 32514                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1133 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1243 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3399. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.49                 $149.49
         JONES, NYASIA A
         2112 BROAD STREET                        ¨ Contingent
         APT. E-45
         DURHAM NC 27705                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3400. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,538.40               $2,538.40
         JONES, PAMELA L
         142 SOUTHAMPTON DR                       ¨ Contingent
         KISSIMMEE FL 34744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3401. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $89.69                  $89.69
         JONES, PAYTON M
         604 ROMA AVENUR                          ¨ Contingent
         JEFFERSONVILLE IN 47130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1134 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1244 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3402. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.14                 $180.14
         JONES, RAYMEL L
         224 E RUARK DR                           ¨ Contingent
         SALISBURY MD 21804-2156
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3403. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.60                  $61.60
         JONES, SHAYON
         427 HERITAGE HILLS DR                    ¨ Contingent
         COMMERCE GA 30529
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3404. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $167.87                 $167.87
         JONES, SYDNEY G
         5511 INDERMUHLE LN                       ¨ Contingent
         PLAINFIELD IN 46168
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1135 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1245 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3405. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.47                 $170.47
         JONES, TALISHA T
         2644 COMMONWEALTH AVE                    ¨ Contingent
         JACKSONVILLE FL 32254
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3406. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.02                  $49.02
         JONES, TATYAYNA S
         8473 BUCKTHORN DRIVE                     ¨ Contingent
         SAINT LOUIS MO 63134
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3407. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,752.80               $1,752.80
         JONES, TAYJAH
         4219 NADINE DR                           ¨ Contingent
         BALTIMORE MD 21215-2251
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1136 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1246 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3408. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $172.20                 $172.20
         JONTE, SOPHIA
         27539 BUCKEYE RD                         ¨ Contingent
         WINTERS CA 95694
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3409. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $237.50                 $237.50
         JORDAN, ALEXANDRIA K
         2815 SUMMER WIND DR                      ¨ Contingent
         WINTER PARK FL 32792
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3410. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $272.50                 $272.50
         JORDAN, ANGELIQUE
         1219 OAKDALE                             ¨ Contingent
         SPRINGFIELD IL 62703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1137 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1247 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3411. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $723.22                 $723.22
         JORDAN, KAITLIN
         3408 GATEWAY DR                          ¨ Contingent
         APT #8
         EAU CLAIRE WI 54701                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3412. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $268.84                 $268.84
         JORDAN, MACKENZIE A
         501 N INGRAM                             ¨ Contingent
         SIKESTON MO 63801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3413. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.00                 $240.00
         JORDAN, NICHOLE
         2765 FIELD SPRING DRIVE                  ¨ Contingent
         LITHONIA GA 30058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1138 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1248 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3414. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.50                 $124.50
         JORDAN, STACIA J
         3913 JOUSTING ARCH                       ¨ Contingent
         VIRGINIA BEACH VA 23456
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3415. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $314.83                 $314.83
         JORDAN, YESSICA D
         8810 NW 77TH CT                          ¨ Contingent
         157
         TAMARAC FL 33321                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3416. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.33                 $103.33
         JORGENSON, VERONICA L
         3460 LIVINGSTON AVENUE                   ¨ Contingent
         NAVARRE MN 55391
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1139 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1249 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3417. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $226.80                 $226.80
         JOSEPH-, CROMARTIE CHEYANNE M
         14901 SE 179TH ST APT 16C                ¨ Contingent
         16C
         RENTON WA 98058                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3418. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.68                 $136.68
         JOSEPH, DOMINIQUE C
         8813 STARFISH DRIVE                      ¨ Contingent
         BAKERSFIELD CA 93312
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3419. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.48                  $41.48
         JOSEPH, MAEGAN E
         601 COTULLA DR                           ¨ Contingent
         KISSIMMEE FL 34758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1140 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1250 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3420. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,946.50               $3,946.50
         JOSEPH, MONIQUE
         8001 NW 68TH TER                         ¨ Contingent
         TAMARAC FL 33321
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3421. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.20                  $41.20
         JOSEPH, NEHEMIE
         2148 ESPLANADE PL                        ¨ Contingent
         TERRYTOWN LA 70056-2974
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3422. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.86                 $154.86
         JOY, KENNEDI
         10724 PETERFIELD LANE                    ¨ Contingent
         GLEN ALLEN VA 23059
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1141 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1251 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3423. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.75                  $24.75
         JUAREZ, CYNTHIA D
         2235 N HAWTHORNE AVE                     ¨ Contingent
         MELROSE PARK IL 60164
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3424. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $258.00                 $258.00
         JUAREZ, ELIANA A
         2112 E. VISTA WAY                        ¨ Contingent
         #33
         VISTA CA 92084                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3425. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.04                 $218.04
         JUAREZ, JASMIN Z
         4938 FIDLER AVE                          ¨ Contingent
         LAKEWOOD CA 90712
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1142 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1252 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3426. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $445.50                 $445.50
         JUAREZ, VIVIAN JASMINE S
         7352 WINDSOR LAKES PL.                   ¨ Contingent
         10
         INDIANAPOLIS IN 46237                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3427. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,021.61               $1,021.61
         JUAREZ, YERENY C
         14485 MONTEREY HWY                       ¨ Contingent
         SAN MARTIN CA 95046-9548
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3428. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $257.01                 $257.01
         JUDGE, TENIA
         712B LIBERTY ST                          ¨ Contingent
         TALLAHASSEE FL 32310
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1143 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1253 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3429. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,014.08               $3,014.08
         JUDY FORTENBERRY, RANKIN
         COUNTY TAX COLLECTOR                     ¨ Contingent
         211 E GOVERNMENT ST SUITE B
         BRANDON MS 39042-3268                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3430. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.90                  $59.90
         JUDY, ALAYNA
         6207 PRESTWICK RUN                       ¨ Contingent
         FORT WAYNE IN 46835
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3431. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.15                  $62.15
         JUDY, MAKAELA R
         5920 SOUTH HEATHER DR.                   ¨ Contingent
         TEMPE AZ 85283
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1144 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1254 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3432. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $199.58                 $199.58
         JULES-SERRIES, SHAWNY N
         770 MAPLE ROAD WILLIAMSVILLE             ¨ Contingent
         11B
         WILLIAMSVILLE NY 14221                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3433. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.40                 $206.40
         JULIAN, RYAN A
         74 POINT GROVE ROAD                      ¨ Contingent
         SOUTHWICK MA 01077
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3434. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $550.56                 $550.56
         JURGENS, SYLVIA N
         1410 237TH PL SW                         ¨ Contingent
         BOTHELL WA 98021
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1145 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1255 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3435. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $583.16                 $583.16
         JURKIEWICZ, KAYLA S
         3573 S. 76TH ST. APT #4                  ¨ Contingent
         MILWAUKEE WI 53220
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3436. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $484.63                 $484.63
         KAAHU-LUA, LIANAH-MARIE K
         583 MALIO PL.                            ¨ Contingent
         WAILUKU HI 96793
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3437. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $333.89                 $333.89
         KACHEL, LANIE
         20 KAYMAR DRIVE                          ¨ Contingent
         ROCHESTER NY 14616
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1146 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1256 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3438. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.62                 $219.62
         KACHERSKY, REBAMARIE
         700 4TH STREET                           ¨ Contingent
         EDDY TX 76524
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3439. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.54                 $119.54
         KAEFER, LUCIA H
         823 NW 28TH STREET                       ¨ Contingent
         FOR LAUDERDALE FL 33315
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3440. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $323.16                 $323.16
         KAESSINGER, KATIE X
         23522 LEYTE DR                           ¨ Contingent
         TORRANCE CA 90505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1147 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1257 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3441. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $242.92                 $242.92
         KAISER, BRANDON E
         9032 E 29TH PL                           ¨ Contingent
         1726
         TULSA OK 74129                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3442. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,682.95               $3,682.95
         KAJOSEVIC, ALMA
         167 BELMONT LN                           ¨ Contingent
         WHITMORE LAKE MI 48189
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3443. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.75                 $165.75
         KALAHIKI-PETERSON, KEANI P
         47-561 AHILAMA RD.                       ¨ Contingent
         KANEOHE HI 96744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1148 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1258 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3444. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $508.77                 $508.77
         KALLA, SAMANTHA P
         40 ZEPHYR LILY TRAIL                     ¨ Contingent
         PALM COAST FL 32164
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3445. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,316.55               $1,316.55
         KALUA, KEALII K
         11035 OTSEGO STREET APT #204             ¨ Contingent
         NORTH HOLLYWOOD CA 91601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3446. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $438.27                 $438.27
         KAMINSKI, ALEXIS E
         2700 FEATHER RUN TRAIL                   ¨ Contingent
         E20
         WEST COLUMBIA SC 29169                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1149 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1259 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3447. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.20                 $148.20
         KANER, REBECCA A
         2606 AVENUE N                            ¨ Contingent
         BROOKLYN NY 11210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3448. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.85                  $27.85
         KANO, AALIYAH T
         45-507 PUONI PLACE                       ¨ Contingent
         KANEOHE HI 96744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3449. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $301.20                 $301.20
         KANTOR, LAUREN E
         4332 VIREO AVENUE                        ¨ Contingent
         BRONX NY 10470
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1150 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1260 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3450. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.38                 $103.38
         KAPLAN, KALENTHIA M
         723 ALFONSO STREET                       ¨ Contingent
         PENSACOLA FL 32505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3451. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.30                  $91.30
         KAPUSTA, KATARZYNA
         22 BOBWHITE DR.                          ¨ Contingent
         NORWALK CT 06851
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3452. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.53                  $50.53
         KARMEL, HELLEN
         1067 SHENANDOAH DR. SE                   ¨ Contingent
         SALEM OR 97305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1151 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1261 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3453. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $462.80                 $462.80
         KARUZA, COURTNEY
         285 18TH STREET                          ¨ Contingent
         UNIT C
         LYNDEN WA 98264                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3454. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.60                 $135.60
         KASOZI, MARY KASOZI
         2051 ASPEN DR                            ¨ Contingent
         INDIANPOLIS IN 46123
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3455. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $222.65                 $222.65
         KASSEES, YAZMINE S
         65 SPRING GROVE DR.                      ¨ Contingent
         SHERWOOD AR 72120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1152 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1262 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3456. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $468.38                 $468.38
         KATAVICH, CORRINE
         1420 OUSLEY DRIVE                        ¨ Contingent
         GILROY CA 95020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3457. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.20                  $61.20
         KATZ, BRIANNA
         1851 WISTERIA CIRCLE                     ¨ Contingent
         BELLPORT NY 11713
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3458. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.79                  $40.79
         KAUFFMAN, EMMA A
         2211 TECHNOLOGY BLVD                     ¨ Contingent
         106
         CONWAY SC 29526                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1153 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1263 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3459. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.48                 $153.48
         KAUR, JASDEEP
         1717 VERNA TEST CT                       ¨ Contingent
         STOCKTON CA 95206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3460. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $465.30                 $465.30
         KAUR, MANPREET
         107-0 SUTTER AVE                         ¨ Contingent
         OZONE PARK NY 11417
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3461. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $369.90                 $369.90
         KAWAKAMI, CIERRA M
         4821 S.ROXBURY ST.                       ¨ Contingent
         SEATTLE WA 98118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1154 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1264 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3462. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,524.62               $3,524.62
         KAWKA, JULIA P
         1114 OAKLEY ST.                          ¨ Contingent
         BELVIDERE IL 61008
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3463. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,460.16               $2,460.16
         KAY PACE, TAX COLLECTOR
         MADISON COUNTY P.O. BOX 113              ¨ Contingent
         CANTON MS 39046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3464. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,152.50               $2,152.50
         KAY, KAREN
         POB 1262                                 ¨ Contingent
         MCKENNA WA 98558
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1155 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1265 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3465. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.24                 $100.24
         KAZIC, AMIRA
         444 WOODMERE DR                          ¨ Contingent
         GARLAND TX 75043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3466. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $530.09                 $530.09
         KEARNEY, ALEXIS S
         1531 ALASKA DRIVE                        ¨ Contingent
         RICHMOND VA 23224
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3467. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1.89                   $1.89
         KEE, ASHLEY N
         904 S COLLEGE AVENUE                     ¨ Contingent
         COLUMBIA MO 65201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1156 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1266 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3468. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.37                 $139.37
         KEE, OLIVIA
         1281 E FRANCES LN                        ¨ Contingent
         GILBERT AZ 85295
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3469. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $332.43                 $332.43
         KEELY, LISA S
         150 HARVEST MOON DR                      ¨ Contingent
         RICHLANDS NC 28574
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3470. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $293.00                 $293.00
         KEEN, ALEXANDRIA K
         13124 D PLAZA                            ¨ Contingent
         OMAHA NE 68144
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1157 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1267 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3471. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,621.53               $2,621.53
         KEEN, AMANDA G
         211 S CEDARBROOK                         ¨ Contingent
         SPRINGFIELD MO 65802
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3472. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,004.75               $2,004.75
         KEENER-VANDITTI, PAMELA J
         223 OMAR ST                              ¨ Contingent
         STRUTHERS OH 44471
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3473. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,116.44               $5,116.44
         KEETON, HEATHER D
         572 S BRADFORD                           ¨ Contingent
         NIXA MO 65714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1158 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1268 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3474. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,939.70               $1,939.70
         KEITCH, KELLY
         15919 STILLWOOD                          ¨ Contingent
         #2088
         DALLAS TX 75248                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3475. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.91                 $191.91
         KELLER, ALEXIS E
         9939 DOWNSVILLE PIKE                     ¨ Contingent
         HAGERSTOWN MD 21740
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3476. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.72                  $87.72
         KELLER, BRENDA
         120 NENTEGO DRIVE                        ¨ Contingent
         FRUITLAND MD 21826
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1159 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1269 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3477. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.18                  $38.18
         KELLER, CASSANDRA
         5 NABBY RD                               ¨ Contingent
         60
         BROOKFIELD CT 06804                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3478. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.96                  $90.96
         KELLER, JENNIFER M
         518 TANGERINE COVE DR                    ¨ Contingent
         VISTA CA 92083
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3479. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,560.88               $1,560.88
         KELLY, APRIL
         3422 BUTTS RD                            ¨ Contingent
         RAYMOND MS 39154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1160 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1270 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3480. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $97.90                  $97.90
         KELLY, BROOKE K
         11112 S 84TH AVE`                        ¨ Contingent
         APT 3B
         PALOS HILLS IL 60465                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3481. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.90                 $229.90
         KELLY, ENFINITI B
         1310 W. WEATHERSFIELD WAY                ¨ Contingent
         SCHAUMBURG IL 60193
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3482. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.75                  $24.75
         KELLY, KAITLIN
         249 HAYES                                ¨ Contingent
         NORTHLAKE IL 60164
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1161 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1271 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3483. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.56                 $102.56
         KELLY, LEAH M
         4913 HEATHER GLEN TRL                    ¨ Contingent
         MCKINNEY TX 75070
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3484. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.49                  $74.49
         KELLY, SALENA T
         1506 AVENUE D                            ¨ Contingent
         GRAND PRAIRIE TX 75051
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3485. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.84                  $60.84
         KELLY, TAYLOR J
         27 PARKDALE DRIVE                        ¨ Contingent
         FARMINGDALE NY 11735
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1162 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1272 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3486. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $210.24                 $210.24
         KELSO, TACI F
         1914 69TH AVE                            ¨ Contingent
         OLYMPIA WA 98501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3487. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.15                  $42.15
         KENDRICK, DEIONA
         893 EAST 209TH STREET                    ¨ Contingent
         EUCLID OH 44119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3488. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $370.80                 $370.80
         KENEFIC, GABRIELLE L
         903 GENE CRES                            ¨ Contingent
         CHESAPEAKE VA 23320
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1163 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1273 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3489. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $287.65                 $287.65
         KENNEDY, AYLA C
         2810 KENTUCKY AVE                        ¨ Contingent
         BALTIMORE MD 21213
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3490. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.16                  $25.16
         KENNEDY, KATELYNN R
         68 S WELLS AVE                           ¨ Contingent
         #1
         RENO NV 89502                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3491. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $8,620.87               $8,620.87
         KENNETH L. MAUN TAX ASSESSOR
         COLLIN COUNTY 2300 BLOOMDALE             ¨ Contingent
         ROAD, STE 2324
         PO BOX 8046                              ¨ Unliquidated                                                        Nonpriority amount
         MCKINNEY TX 75070-8046                   ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1164 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1274 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3492. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.03                 $105.03
         KENT, ANALIESE M
         1445 BOONE STREET                        ¨ Contingent
         TUPELO MS 38804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3493. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $577.17                 $577.17
         KENT, ANNETTE
         315 W GRAND AVE                          ¨ Contingent
         APT 1
         EAU CLAIRE WI 54703                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3494. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $857.45                 $857.45
         KEOHAN, CHRISTA B
         108 DUDLEY ST                            ¨ Contingent
         MEDFORD MA 02155-4010
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1165 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1275 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3495. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.04                 $153.04
         KERBY, JOLENE J
         151 TALL PINES RD                        ¨ Contingent
         FOUNTAIN INN SC 29644
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3496. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.94                 $162.94
         KERG, SARAH M
         27155 PHOENIX WAY                        ¨ Contingent
         OLMSTED TOWNSHIP OH 44138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3497. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $590.62                 $590.62
         KERR, ELEANOR J
         2559 WOODS DR                            ¨ Contingent
         VICTORIA MN 55318
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1166 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1276 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3498. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.37                  $69.37
         KERR, NICOLE
         51 OCEAN DRIVE                           ¨ Contingent
         PUNTA GORDA FL 33950
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3499. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $700.35                 $700.35
         KERR, TABITHA P
         7507 STARGAZER DRIVE                     ¨ Contingent
         HANAHAN SC 29410
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3500. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.60                  $75.60
         KESCOLI, BRANDY S
         3223 N KYLE LOOP                         ¨ Contingent
         FLAGSTAFF AZ 86004
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1167 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1277 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3501. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.54                 $107.54
         KEYS, TREMELL I
         2804 GLENN HILLS CIR                     ¨ Contingent
         AUGUSTA GA 30906
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3502. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.03                  $72.03
         KEYSTONE COLLECTIONS GROUP
         P.O.BOX 489                              ¨ Contingent
         IRWIN PA 15642
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3503. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $97.20                  $97.20
         KHAIRZADAH, FARHAT F
         17402 MILL STONE WAY                     ¨ Contingent
         LATHROP CA 95330
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1168 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1278 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3504. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.15                 $116.15
         KHALID, RUBAB
         27781 POINTERS LANE                      ¨ Contingent
         SALISBURY MD 21801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3505. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $371.40                 $371.40
         KHALIQ, MARYAM
         2605 24TH AVE                            ¨ Contingent
         ASTORIA NY 11102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3506. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $12,846.94              $12,846.94
         KHAN, HAMID M
         4153 PRAIRIE VIEW TRAIL                  ¨ Contingent
         MEDINA MN 55340
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1169 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1279 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3507. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.80                  $99.80
         KHAN, SANAM A
         7449 LINDA LN                            ¨ Contingent
         FALLS CHURCH VA 20101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3508. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $167.12                 $167.12
         KHOUNBORINE, BRITTNEY S
         12400 EDISON DR.                         ¨ Contingent
         OKLAHOMA CITY OK 73120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3509. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $144.03                 $144.03
         KIEFT, BRITNEY M
         1209 KIMBARK AVE                         ¨ Contingent
         KALAMAZOO MI 49006
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1170 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1280 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3510. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.46                  $84.46
         KILLEN, JAHNESTA S
         4609 COMANCHE RD. NE                     ¨ Contingent
         ALBUQUERQUE NM 87110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3511. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $221.32                 $221.32
         KILPATRICK, DANIELLE
         5290 BIG ISLAND DRIVE                    ¨ Contingent
         4312
         JACKSONVILLE FL 32246                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3512. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $527.40                 $527.40
         KIM, MONICA T
         1042 DARBY DR                            ¨ Contingent
         TRACY CA 95377
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1171 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1281 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3513. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $302.64                 $302.64
         KIMBLE-BADGETT, CHELSEY C
         17 PINEBROOK DRIVE                       ¨ Contingent
         EASTHAMPTON MA 01027
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3514. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $760.56                 $760.56
         KIMBREL, ANNASTASIA E
         1015 HALL AVE                            ¨ Contingent
         19
         KILLEEN TX 76541                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3515. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.09                  $59.09
         KIMBREW, AUDE
         1212 METZE ROAD                          ¨ Contingent
         16C
         COLUMBIA SC 29210                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1172 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1282 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3516. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.45                  $36.45
         KIMBULU, MELISSA L
         110 COLLEGE PARK CIRCLE 124              ¨ Contingent
         LINCOLN NE 68505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3517. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.42                  $79.42
         KIMMEY, SAMANTHA P
         500 N HIGHLAND AVE                       ¨ Contingent
         TUCSON AZ 85719
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3518. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.67                  $94.67
         KING, BRENDA
         251 EISENHOWER DRIVE APT                 ¨ Contingent
         332
         BILOXI MS 39531                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1173 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1283 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3519. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,071.42               $2,071.42
         KING, BRENDA C
         5136 RAVENWOOD DR                        ¨ Contingent
         GREEN CV SPGS FL 32043-8184
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3520. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $553.08                 $553.08
         KING, BRITTANY N
         1577 NORTH PERRY HIGHWAY                 ¨ Contingent
         FREDONIA PA 16124
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3521. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.66                  $33.66
         KING, CARRIE D
         4800 UNIVERSITY DR.                      ¨ Contingent
         APT 2G
         DURHAM NC 27707                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1174 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1284 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3522. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.14                  $66.14
         KING, CHERIYAH
         423 MEADOW DRIVE #3                      ¨ Contingent
         TROY IL 62294
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3523. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.95                 $134.95
         KING, EMILY M
         406 CLYDE AVENUE                         ¨ Contingent
         FRUITLAND MD 21826
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3524. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.10                 $196.10
         KING, ISABEL R
         3001 W. WEDINGTON DR.                    ¨ Contingent
         57
         FAYETTEVILLE AR 72701                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1175 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1285 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3525. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.44                  $71.44
         KING, JUSTYCE
         16710 BLACKJACK OAK LN                   ¨ Contingent
         303
         WOODBRIDGE VA 22191                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3526. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $226.00                 $226.00
         KING, KAYLAH
         2018 LOUETTA MIST DR                     ¨ Contingent
         SPRING TX 77388
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3527. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $670.41                 $670.41
         KING, LAASIA M
         1940 ORCHARD HOLLOW LN                   ¨ Contingent
         UNIT108
         RALEIGH NC 27603                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1176 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1286 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3528. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.06                 $193.06
         KING, LIBERTY
         700 WHIPPLE AVE. NW                      ¨ Contingent
         CANTON OH 44708
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3529. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.21                  $86.21
         KING, SAMANTHA
         19 SHERMAN ST                            ¨ Contingent
         PITTSBURGH PA 15209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3530. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.59                  $76.59
         KING, SERAFIN N
         315 SOUTH WATER LANE                     ¨ Contingent
         NEW BRAUNFELS TX 78130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1177 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1287 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3531. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $449.07                 $449.07
         KINGERY, DARIUS D
         9445 E 39TH PL                           ¨ Contingent
         TULSA OK 74145
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3532. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.16                 $185.16
         KINKEAD, ALYSSA L
         2850 SE COOKE RD                         ¨ Contingent
         MILWAUKIE OR 97267
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3533. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.98                  $92.98
         KINNEY, HAILEY
         PO BOX 84                                ¨ Contingent
         GEORGETOWN PA 15043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1178 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1288 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3534. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $602.54                 $602.54
         KINNEY, KRISTINA
         3046 SECANE PLACE                        ¨ Contingent
         PHILADELPHIA PA 19154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3535. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,525.96               $2,525.96
         KINSEY, KRISTA R
         605 SOUTH NORTHLAKE BLVD                 ¨ Contingent
         APT 84
         ALTAMONTE SPRINGS FL 32701               ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3536. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.32                 $124.32
         KIRKPATRICK, ALLYSSA A
         9681C FITZSIMMONS LOOP                   ¨ Contingent
         FORT DRUM NY 13603
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1179 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1289 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3537. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,033.40               $2,033.40
         KIRSCHNER, KAYLA M
         2223 HARRISON AVE                        ¨ Contingent
         MUSKEGON MI 49441
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3538. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,204.65               $1,204.65
         KISER, KARALYN M
         4353 HUNSBERGER DRIVE                    ¨ Contingent
         UNIT C
         WARRENTON VA 20187                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3539. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.50                 $203.50
         KISER, MADISYN L
         908 WISCONSIN AVENUE                     ¨ Contingent
         SAINT JOSEPH MI 49085
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1180 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1290 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3540. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.32                  $57.32
         KISSOON, MILEENA C
         49 PLAZA AVE                             ¨ Contingent
         WATERBURY CT 06710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3541. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $244.08                 $244.08
         KITSMILLER, LISA R
         7500 SO ULSTER PLACE                     ¨ Contingent
         CENTENNIAL CO 80112
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3542. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.08                 $142.08
         KITSMILLER, MARY E
         7500 S. ULSTER PL.                       ¨ Contingent
         CENTENNIAL CO 80112
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1181 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1291 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3543. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,443.71               $6,443.71
         KIWAKYOU, RAMONA
         5572 CEDAR GARDEN CT                     ¨ Contingent
         SAN JOSE CA 95123-1520
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3544. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.15                 $130.15
         KLEIN, MACKENZIE A
         1026 GRANDVILLE AVENUE SW                ¨ Contingent
         1
         GRAND RAPIDS MI 49503                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3545. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,434.00               $1,434.00
         KLEMENT, JESSICA A
         1337 SE ROANOKE ST.                      ¨ Contingent
         PORT SAINT LUCIE FL 34952
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1182 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1292 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3546. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.08                  $94.08
         KLINGMAN, ANNA K
         6275 QUAIL RIDGE EAST                    ¨ Contingent
         PLAINFIELD IN 46168
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3547. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.52                  $33.52
         KLOBERDANZ, JADEN M
         300 HEIDIE LANE                          ¨ Contingent
         MILLIKEN CO 80543
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3548. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $54.43                  $54.43
         KLONCZ, ALLISEN
         12420 278TH AVE NW                       ¨ Contingent
         ZIMMERMAN MN 55398
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1183 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1293 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3549. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $444.15                 $444.15
         KLOSOWSKI, KORI L
         2929 DARMOUTH DRIVE                      ¨ Contingent
         JANESVILLE WI 53548
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3550. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.25                 $110.25
         KLOTH, ALANA
         16642 MILLRIDGE LANE                     ¨ Contingent
         HOUSTON TX 77095
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3551. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.75                  $50.75
         KLUTTS, BRENNA SAGE
         4716 N HARVARD AVE                       ¨ Contingent
         WARR ACRES OK 73122
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1184 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1294 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3552. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $394.84                 $394.84
         KNIGHT, ELEANOR G
         15 SOLDIERS RTE                          ¨ Contingent
         SPANISH FORT AL 36527-3009
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3553. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.88                 $137.88
         KNIGHT, FAUNA N
         19 DURHAM TERRACE                        ¨ Contingent
         EASTAMPTON NJ 08060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3554. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.30                 $156.30
         KNIGHT, JERYCE
         5445 NETHERLANDS AVE                     ¨ Contingent
         BRONX NY 10471
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1185 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1295 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3555. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,473.32               $3,473.32
         KNIGHT, JOCELYN R
         1202 FOREST VIEW DR                      ¨ Contingent
         AVENEL NJ 07001-2182
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3556. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $375.38                 $375.38
         KNISELY, TAYLOR M
         283 BEDFORD STREET                       ¨ Contingent
         CLAYSBURG PA 16625
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3557. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $474.76                 $474.76
         KNOTT, ALEXANDRA
         2140 ETHAN WAY                           ¨ Contingent
         SACRAMENTO CA 95825
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1186 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1296 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3558. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.40                  $59.40
         KNOWLES, VONDREA R
         8753 W. RUNION DR                        ¨ Contingent
         PEORIA AZ 85382
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3559. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $826.73                 $826.73
         KO, CHRISTINA
         11390 LAMPSON AVE                        ¨ Contingent
         14
         GARDEN GROVE CA 92840                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3560. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.86                 $116.86
         KO, HANA
         1251 HEULU ST.                           ¨ Contingent
         906
         HONOLULU HI 96822                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1187 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1297 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3561. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,906.39               $1,906.39
         KOCH, KELCIE
         2450 PEACH TREE DRIVE                    ¨ Contingent
         APT. 7
         FAIRFIELD CA 94533-4710                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3562. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.37                  $77.37
         KOERICK, MEGHAN
         35600 PULPIT ROCK RD                     ¨ Contingent
         ANTWERP NY 13608
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3563. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.99                  $95.99
         KOLAREVIC, MARINA
         3900 NORMANDIE DR.                       ¨ Contingent
         BOISE ID 83705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1188 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1298 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3564. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,308.80               $1,308.80
         KOLESAR, CHEYENNE
         502 WEST RIVER RD                        ¨ Contingent
         #56
         HOOKSETT NH 03106                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3565. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,739.07               $2,739.07
         KOLESZAR, AMANDA L
         6513 S VIEW LN                           ¨ Contingent
         GILBERT AZ 85298-4887
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3566. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,180.20               $1,180.20
         KOLISCHAK, ZOE M
         133 QUEENSBURY RD                        ¨ Contingent
         WINSTON SALEM NC 27104-3537
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1189 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1299 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3567. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,265.56               $3,265.56
         KOLLER, LINDSEY M
         418 NORTH ROTARY DRIVE                   ¨ Contingent
         HIGH POINT NC 27262
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3568. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.25                  $81.25
         KOLTAY, SIERRA J
         569 CULVER PKWY                          ¨ Contingent
         ROCHESTER NY 14609
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3569. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $757.42                 $757.42
         KOM, SOPHIA T
         720 BEDLOW DR                            ¨ Contingent
         STOCKTON CA 95210-2704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1190 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1300 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3570. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,681.40               $5,681.40
         KOMOROWSKI, MICHELE R
         54 PELLEGRINO RD                         ¨ Contingent
         STONINGTON CT 06378-2128
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3571. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $216.36                 $216.36
         KONDRATYUK, NATASHA A
         12408 NE 20TH ST                         ¨ Contingent
         VANCOUVER WA 98684
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3572. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.46                  $31.46
         KONGVONGSAY, KYLA E
         4550 S JADE AVE                          ¨ Contingent
         WICHITA KS 67216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1191 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1301 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3573. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $529.32                 $529.32
         KOON, AIYANA L
         434 S 19TH STREET                        ¨ Contingent
         TERRE HAUTE IN 47807
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3574. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,821.10               $1,821.10
         KOONS, KATI
         113 GROVE RUN ROAD                       ¨ Contingent
         COMMERCIAL POINT OH 43116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3575. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.80                 $166.80
         KOOS, CARLYNNA M
         2958 BRIDLEWOOD DR.                      ¨ Contingent
         EL DORADO HILLS CA 95762
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1192 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1302 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3576. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $596.71                 $596.71
         KORDIC, KATELYN N
         930 SOUTH BOULEVARD                      ¨ Contingent
         EDMOND OK 73034
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3577. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,164.30               $1,164.30
         KORNEYCHUK, BREANNA M
         1220 BELLE MEADE WAY                     ¨ Contingent
         BURLESON TX 76028
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3578. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $634.46                 $634.46
         KORSON, MICHAELA N
         911 LYDIA STREET                         ¨ Contingent
         LOUISVILLE KY 40217
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1193 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1303 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3579. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $337.70                 $337.70
         KOVALESKI, PAIGE A
         62 SKYLINE CIRCLE                        ¨ Contingent
         SEWELL NJ 08080
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3580. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.48                  $43.48
         KOWALESKI, MEGAN E
         513 OAKLAWN AVE                          ¨ Contingent
         GREEN BAY WI 54304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3581. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,649.39               $1,649.39
         KRACHKOWSKI, ERIKA M
         3000 S RANDOLPH ST                       ¨ Contingent
         269
         ARLINGTON VA 22206                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1194 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1304 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3582. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.69                  $44.69
         KRAMER, JESSICA L
         1643 BURRSVILLE ROAD                     ¨ Contingent
         BRICK NJ 08724
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3583. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.22                  $70.22
         KRAMER, KAREN M
         1221 ARBOR COMMONS PL                    ¨ Contingent
         104
         BRANDON FL 33511                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3584. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.65                 $196.65
         KRAMER, OLIVIA N
         5241 GARFIELD AVE                        ¨ Contingent
         PENNSAUKEN NJ 08109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1195 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1305 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3585. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,079.18               $4,079.18
         KRAUSE, KRISTIN M
         1599 VAN ECK RD NE                       ¨ Contingent
         PALM BAY FL 32907-2356
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3586. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.92                 $128.92
         KRAUSERT, STEPHANIE L
         3951 N FARWELL                           ¨ Contingent
         4
         MILWAUKEE WI 53211                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3587. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.40                  $42.40
         KRAWCZYK, CHRISTY M
         216 COUNTRYSIDE LN                       ¨ Contingent
         WILLIAMSVILLE NY 14221-1521
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1196 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1306 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3588. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $250.09                 $250.09
         KRAYNAK, PAIGE M
         519 NEWPORT DR.                          ¨ Contingent
         GREENSBURG PA 15601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3589. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.95                  $60.95
         KREJCI, HEATHER A
         2000 WESTOWN PKWY                        ¨ Contingent
         BUILDING 1 APT
         WEST DES MOINES IA 50265                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3590. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.27                 $146.27
         KREJCI, SKYLAR N
         4786 SW 165TH AVENUE RD                  ¨ Contingent
         OCALA FL 34481
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1197 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1307 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3591. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.43                  $75.43
         KREMER, ALYSSA
         1220 VILLAGE LANE                        ¨ Contingent
         DULUTH MN 55812
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3592. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $265.78                 $265.78
         KREMINSKI, DIANA M
         2818 ANDOVER WAY                         ¨ Contingent
         WOODSTOCK GA 30189
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3593. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $731.38                 $731.38
         KRESS, ANNA N
         34 PENNY LANE                            ¨ Contingent
         BINGHAMTON NY 13905
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1198 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1308 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3594. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $440.31                 $440.31
         KRETSU, KRINA V
         10334 SE 230TH PL                        ¨ Contingent
         KENT WA 98031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3595. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.36                 $200.36
         KREUGER, SARA B
         1040 ACADEMY DR                          ¨ Contingent
         CONWAY SC 29526
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3596. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,821.47               $2,821.47
         KRISTEEN ROE, TAX A/C
         4151 COUNTY PARK CT.                     ¨ Contingent
         BRYAN TX 77802
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1199 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1309 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3597. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.98                 $135.98
         KROETSCH, ABBYLYNNE J
         11535 BLUERIDGE STREET.                  ¨ Contingent
         SCHOOLCRAFT MI 49087
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3598. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.09                 $153.09
         KROHN, WILLIAM
         3104 PONTALUNA RD                        ¨ Contingent
         FRUITPORT MI 49415
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3599. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $470.14                 $470.14
         KROLL, MIKAYLA
         477 OVERLOOK RD                          ¨ Contingent
         VALLEY MILLS TX 76689
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1200 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1310 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3600. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.30                 $149.30
         KRUL, LEANNA B
         948 STAMLER DRIVE                        ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3601. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.85                 $100.85
         KRUPSKI, KATHERINE H
         204 S SALISBURY ST                       ¨ Contingent
         APT 1
         WEST LAFAYETTE IN 47906                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3602. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,208.66               $2,208.66
         KRUSENSTJERNA, LORI A
         20913 54TH AVE W                         ¨ Contingent
         LYNNWOOD WA 98036
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1201 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1311 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3603. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.83                  $81.83
         KRZYS, JANIE E
         110 JAIME LANE                           ¨ Contingent
         FOLLANSBEE WV 26037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3604. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $650.86                 $650.86
         KSIAZEK, ANGELIKA
         85 CAMP AVE.                             ¨ Contingent
         APT. 2B
         STAMFORD CT 06907                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3605. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $360.84                 $360.84
         KUBAY, JANNETA
         3512 NE 17TH PL                          ¨ Contingent
         RENTON WA 98056
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1202 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1312 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3606. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $568.37                 $568.37
         KUE, ISABELLA
         7858 HIGHWAY 124 W                       ¨ Contingent
         HOSCHTON GA 30548
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3607. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.01                 $218.01
         KUE, VANESSA
         9438 NORTH AMORET AVENUE                 ¨ Contingent
         KANSAS CITY MO 64154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3608. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $739.71                 $739.71
         KUKUCZKA, SARAH L
         7873 MELVIN AVE                          ¨ Contingent
         RESEDA CA 91335-1608
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1203 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1313 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3609. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.43                 $169.43
         KULAKOWSKI, NOELLE M
         9977 SOUTH CANTERBURY ROAD               ¨ Contingent
         PHILADELPHIA PA 19114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3610. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.09                 $173.09
         KUNDU, SNEHAN
         8609 LANCOME DR                          ¨ Contingent
         PLANO TX 75025
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3611. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.22                 $173.22
         KUROSAWA, JOAQUINA
         729 HAIKU ROAD                           ¨ Contingent
         HAIKU HI 96708
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1204 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1314 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3612. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $782.39                 $782.39
         KURTH, ALYSON A
         243 S PINE STREET                        ¨ Contingent
         FALL CREEK WI 54742
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3613. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.10                 $150.10
         KUTSUFLAKIS, AGUSTINA A
         21 EAST 17TH ST                          ¨ Contingent
         LINDEN NJ 07036
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3614. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,702.76               $4,702.76
         LA, RUE IAN C
         17618 OSPREY RD                          ¨ Contingent
         ARLINGTON WA 98223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1205 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1315 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3615. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,549.36               $1,549.36
         LABARAN, ANGELA
         18330 N 79TH AVE AP T2127                ¨ Contingent
         GLENDALE AZ 85308
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3616. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.44                  $33.44
         LABARCA, TABATHA R
         23 APACHE TERRACE                        ¨ Contingent
         FREDERICKSBURG VA 22401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3617. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $46.26                  $46.26
         LABBE, MORGAN A
         8 PLATT AVENUE                           ¨ Contingent
         2
         MERIDEN CT 06451                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1206 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1316 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3618. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $118.80                 $118.80
         LABRIE, CAPBRIELLA A
         84 COLONIAL RD                           ¨ Contingent
         HARRISVILLE RI 02830
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3619. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $531.52                 $531.52
         LACEY, MONIQUE
         347 S. GLADSTONE AVE                     ¨ Contingent
         AURORA IL 60506
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3620. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $187.80                 $187.80
         LACHAPELLE, CARMELLE
         91-35 195TH ST                           ¨ Contingent
         APT A8
         HOLLIS NY 11423                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1207 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1317 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3621. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.72                 $149.72
         LACOE, HALEY A
         3907 BRIACREST DR                        ¨ Contingent
         NORMAN OK 73072
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3622. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.91                  $40.91
         LACOVARA, MEGAN
         8 FIRESIDE COURT                         ¨ Contingent
         NORWALK CT 06850
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3623. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.40                  $38.40
         LACSON, ANGELICA
         13922 STAR RUBY AVENUE                   ¨ Contingent
         EASTVALE CA 92880
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1208 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1318 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3624. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.84                 $186.84
         LACY, SARAHI C
         1110 ST. APT 75                          ¨ Contingent
         75
         EL CAJON CA 92020                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3625. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.47                  $62.47
         LADD, LINDSAY P
         567 BRIDGETTE DRIVE                      ¨ Contingent
         CLARKSVILLE TN 37042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3626. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,780.95               $6,780.95
         LADD, MICHELLE L
         20 RUSTIC ACRES DRIVE                    ¨ Contingent
         WOLCOTT CT 06716-1736
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1209 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1319 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3627. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $550.00                 $550.00
         LAFAYETTE CONSOLIDATED
         GOVERNMENT P.O. BOX 4024                 ¨ Contingent
         LAFAYETTE LA 70502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3628. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $221.49                 $221.49
         LAFFERTY, CARLY P
         490 OLD STAGE ROAD                       ¨ Contingent
         LEWISBERRY PA 17339
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3629. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.16                 $156.16
         LAFLEUR, LAKESHIA
         1320 N HOUSTON AVE                       ¨ Contingent
         400A
         HUMBLE TX 77338                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1210 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1320 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3630. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.88                 $119.88
         LAGLIVA, ANJELICA G
         8000 WEST RIDGE DRIY                     ¨ Contingent
         BROADVIEW HEIGHTS OH 44147
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3631. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.24                  $56.24
         LAGUNAS, DIANA
         8158 LOG HOLLOW DR.                      ¨ Contingent
         HOUSTON TX 77040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3632. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.08                 $127.08
         LAGUNAS, MARIA L
         668 S COMANCHE DR                        ¨ Contingent
         5202
         ARVIN CA 93203                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1211 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1321 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3633. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $839.18                 $839.18
         LAGUNERA, KATRINA ANN P
         7555 MISSION ST.                         ¨ Contingent
         DALY CITY CA 94014
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3634. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.63                  $79.63
         LAHART, AMANDA C
         6017 62ND COURT EAST                     ¨ Contingent
         PALMETTO FL 34221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3635. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $260.40                 $260.40
         LAHN, MADISON
         7248 MAHAFFEY DRIVE                      ¨ Contingent
         NEW PORT RICHEY FL 34653
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1212 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1322 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3636. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.64                  $64.64
         LAINEZ, JENNIFER
         2918 STEELHEAD DR.                       ¨ Contingent
         HOUSTON TX 77045
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3637. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.00                 $214.00
         LAINEZ, JERLIN E
         1166 CRENSHAW BLVD APT # 5               ¨ Contingent
         LOS ANGELES CA 90019
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3638. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $788.41                 $788.41
         LAL, SUSANNA U
         261 IRIS COURT APT. C                    ¨ Contingent
         STOCKTON CA 95210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1213 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1323 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3639. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.78                  $27.78
         LAM, MELISSA
         105 ENCLAVE CIR                          ¨ Contingent
         APT 4
         CAPE GIRARDEAU MO 63701                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3640. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.81                  $86.81
         LAMANTIA, KIMBERLY K
         6123 W 81ST PL                           ¨ Contingent
         BURBANK IL 60459
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3641. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.87                 $259.87
         LAMAR, DE'BRIASHA D
         836 DAWNING LANE                         ¨ Contingent
         JOHNS ISLAND SC 29455
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1214 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1324 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3642. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.41                  $88.41
         LAMAR, KHIRSTEN J
         1347 LAVIN LANE DRIVE                    ¨ Contingent
         NORTH FORT MYERS FL 33917
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3643. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.88                 $158.88
         LAMAR, SHARMAE
         2494 EMERALD RIDGE LOOP                  ¨ Contingent
         TALLAHASSEE FL 32303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3644. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,996.20               $2,996.20
         LAMB, JENNIFER A
         5521 ROSEHILL ROAD                       ¨ Contingent
         104
         SARASOTA FL 34233                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1215 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1325 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3645. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.04                 $128.04
         LAMB, SAVANNAH S
         203 CRESTLEIGH DRIVE                     ¨ Contingent
         WINCHESTER VA 22602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3646. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.04                  $80.04
         LAMBERT, PEYTON
         12413 238TH ST                           ¨ Contingent
         GREENWOOD NE 68366-2162
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3647. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,912.37               $1,912.37
         LAMBERT, SOPHIA
         192 BEACH ST                             ¨ Contingent
         BRIDGEPORT CT 06608-1903
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1216 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1326 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3648. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $444.65                 $444.65
         LAMBERTSEN, HAYLEY M
         6340 CARVER OAKS DR.                     ¨ Contingent
         APT. 1521
         FAYETTEVILLE NC 28311                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3649. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.50                  $29.50
         LAMBUS, LAUREN A
         13099 WESTHEIMER ROAD                    ¨ Contingent
         APT # 2506
         HOUSTON TX 77077                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3650. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $8,709.58               $8,709.58
         LAMPHERE, BRIDGET
         133 BAYBERRY DR                          ¨ Contingent
         ROYERSFORD PA 19468
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1217 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1327 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3651. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.07                  $30.07
         LANDIS, CHELSEA A
         2351 ROBIN LANE                          ¨ Contingent
         MOUND MN 55364
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3652. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.02                 $178.02
         LANDON, HALEY S
         15937 W. DODGE RD                        ¨ Contingent
         2C
         OMAHA NE 68118                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3653. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.21                 $101.21
         LANDON-SCOTT, COURTNEY
         8136 N EDGE O WOODS DR                   ¨ Contingent
         BROWN DEER WI 53223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1218 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1328 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3654. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $286.56                 $286.56
         LANDRUM, ALLYSA
         1681 E FLINT ST                          ¨ Contingent
         CHANDLER AZ 85225-5235
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3655. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $221.06                 $221.06
         LANE, JAUNIECE N
         640 DR MARY MCLEOD BETHUNE BLV           ¨ Contingent
         DAYTONA BEACH FL 32114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3656. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.03                  $84.03
         LANE, NIKIAH
         90 EAST MARSHALL ROAD                    ¨ Contingent
         LANSDOWNE PA 19050
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1219 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1329 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3657. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.38                 $135.38
         LANE, ROSA V
         11 BALDWIN DRIVE                         ¨ Contingent
         FREDRICKSBURG VA 22406
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3658. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.34                 $104.34
         LANG, CASSIE J
         3106 PALOMINO WAY                        ¨ Contingent
         GRAND JUNCTION CO 81504
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3659. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.96                  $39.96
         LANG, TRENADY G
         708 HOYT HALL                            ¨ Contingent
         YPSILANTI MI 48197
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1220 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1330 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3660. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $241.87                 $241.87
         LANGE, SARA K
         1539 WATER OAK CT                        ¨ Contingent
         CASTLE ROCK CO 80108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3661. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,514.68               $2,514.68
         LANGEWISCH, AMY M
         440 HILLCREST BLVD.                      ¨ Contingent
         BALLWIN MO 63021
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3662. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.68                  $74.68
         LAPID, JEANETTE C
         9306 COUGAR COURT                        ¨ Contingent
         MANASSAS PARK VA 20111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1221 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1331 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3663. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,097.10               $1,097.10
         LAPORTE, ELIZABETH
         1098 DURANGO ST SE                       ¨ Contingent
         PALM BAY FL 32909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3664. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $238.68                 $238.68
         LARA, REYES M
         413 S EASTLAND AVE                       ¨ Contingent
         PEORIA IL 61604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3665. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,254.55               $2,254.55
         LARK, SHERRI
         64 LINDSEY MARIE LN                      ¨ Contingent
         MUNFORD TN 38058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1222 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1332 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3666. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,319.63               $2,319.63
         LAROSE, KIMBERLY A
         368 CHANNING DRIVE                       ¨ Contingent
         CHAMBERSBURG PA 17201-3209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3667. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.08                 $174.08
         LARSEN, JESSICA N
         214 TOMS RIVER RD                        ¨ Contingent
         JACKSON NJ 08527-3715
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3668. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $473.55                 $473.55
         LARSON, KIRSTEN S
         120 OAK TRAIL                            ¨ Contingent
         CHICKAMAUGA GA 30707
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1223 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1333 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3669. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $572.36                 $572.36
         LARSON, NICOLE
         2510 WHITLEY ROAD                        ¨ Contingent
         FORT MILL SC 29708
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3670. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,725.95               $6,725.95
         LARSON, ROSANNE
         6120 N MCKINLEY RD                       ¨ Contingent
         FLUSHING MI 48433-1169
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3671. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $372.41                 $372.41
         LASALLE, DESIREE G
         7561 N WAUKEGAN RD                       ¨ Contingent
         NILES IL 60714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1224 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1334 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3672. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,814.80               $1,814.80
         LASSIG, ALYSSA M
         8222 KINGSBROOK RD APT 328               ¨ Contingent
         HOUSTON TX 77024
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3673. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.20                 $148.20
         LATCHMAN, KERRI
         203 WESTWOOD DR                          ¨ Contingent
         BRENTWOOD NY 11717
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3674. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.01                  $92.01
         LATIMER, JASMINE J
         800 SWADLEY RD # 400                     ¨ Contingent
         400
         JOHNSON CITY TN 37601                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1225 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1335 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3675. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,009.74               $5,009.74
         LATTA, MICHAEL P
         211 PARABLE COVE                         ¨ Contingent
         PFLUGERVILLE TX 78660
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3676. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.56                 $181.56
         LAU, ANNAI
         417 NORTH F STEET                        ¨ Contingent
         IMPERIAL CA 92251
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3677. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $476.52                 $476.52
         LAUBER, MADISON E
         400 NORTH E ST                           ¨ Contingent
         MILFORD NE 68405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1226 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1336 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3678. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $924.14                 $924.14
         LAUZON, ALANNA L
         2331 TWIN LAKES DR                       ¨ Contingent
         APT 2B
         YPSILANTI MI 48197                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3679. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $967.90                 $967.90
         LAVELLE, ANNMARIE
         78-09 64TH LANE                          ¨ Contingent
         GLENDALE NY 11385
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3680. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $489.45                 $489.45
         LAVOTA, ALEX M
         N53 W35741 HILLVIEW CT                   ¨ Contingent
         OCONOMOWOC WI 53066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1227 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1337 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3681. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $230.71                 $230.71
         LAW, SAMANTHA D
         5027 N TEE PEE LN                        ¨ Contingent
         LAS VEGAS NV 89149
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3682. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.80                  $25.80
         LAWLER, KELSEY N
         4562 TURNEY RD                           ¨ Contingent
         MADISON OH 44057
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3683. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.06                  $91.06
         LAWLER, PATIENCE R
         11423 LUCKY DAN DR                       ¨ Contingent
         NOBLESVILLE IN 46060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1228 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1338 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3684. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.83                 $147.83
         LAWRENCE, ALANA J
         9190 CASCADE FALLS DRIVE                 ¨ Contingent
         BRISTOW VA 20136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3685. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.46                  $62.46
         LAWRENCE, BRIELLE N
         700 GREGORY ST                           ¨ Contingent
         303
         NORMAL IL 61761                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3686. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.78                  $91.78
         LAWRENCE-IVEY, QUIANA
         218 EIGHTEENTH AVE                       ¨ Contingent
         NEWARK NJ 07108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1229 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1339 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3687. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.95                  $43.95
         LAWSON, JANESHA
         115 LIZ ROAD                             ¨ Contingent
         LAPINE AL 36046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3688. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.40                  $44.40
         LAWSON, KENIESHA
         416 ROCKAWAY PARKWAY                     ¨ Contingent
         APT 17B
         BROOKLYN NY 11212                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3689. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.96                 $192.96
         LAX, ALEXIS
         355 CASWELL AVE                          ¨ Contingent
         OAKLAND CA 94603
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1230 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1340 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3690. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.39                 $107.39
         LAYNE, DANIELLE
         5109 GOLDSBORO DR APT 20J                ¨ Contingent
         HAMPTON VA 23605
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3691. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.00                 $133.00
         LAZ, JASMINE E
         24315 SANDHILL TRAILS CT                 ¨ Contingent
         HOCKLEY TX 77447-7678
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3692. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.21                  $65.21
         LAZZARI-MORGAN, DESTINY A
         2678 WOODMEADOW DR SE APT H              ¨ Contingent
         GRAND RAPIDS MI 49546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1231 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1341 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3693. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.83                 $206.83
         LEANOS, SABRINDA
         4208 MARIA ST                            ¨ Contingent
         MISSION TX 78573
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3694. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.54                 $108.54
         LEAP, EMILY F
         1311 3RD AVE                             ¨ Contingent
         1ST FLOOR
         ALTOONA PA 16602                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3695. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.92                 $138.92
         LEATHERMAN, AMANDA
         208 IRONMASTER DR                        ¨ Contingent
         THURMONT MD 21788
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1232 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1342 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3696. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.24                  $59.24
         LEATHERS, SHALIET C
         1501 W CLUB BLVD APT A                   ¨ Contingent
         DURHAM NC 27705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3697. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,770.74               $2,770.74
         LECLAIRE, CYNTHIA
         2036 LANEY DR                            ¨ Contingent
         SANGER TX 76266
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3698. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $171.27                 $171.27
         LECOINTE, KEYRA-NICOLE
         10 COLD SPRING LN                        ¨ Contingent
         NEWBURGH NY 12550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1233 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1343 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3699. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $347.76                 $347.76
         LEDESMA, JENNIFER
         5498 BABB AVE                            ¨ Contingent
         RIVERSIDE CA 92503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3700. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,597.29               $2,597.29
         LEE COUNTY TAX COLLECTOR
         P.O. BOX 271                             ¨ Contingent
         TUPELO MS 38802
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3701. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,315.94               $2,315.94
         LEE, AMANDA
         5285 PONDVIEW LN                         ¨ Contingent
         BIG LAKE MN 55309-8268
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1234 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1344 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3702. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.64                  $96.64
         LEE, BLOSSUM
         1126 HARMON CIRCLE                       ¨ Contingent
         SUN PRAIRIE WI 53590
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3703. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,445.12               $1,445.12
         LEE, BRITTANY N
         538 E 10TH ST                            ¨ Contingent
         LOVELAND CO 80537
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3704. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.26                  $49.26
         LEE, DANIELLE
         8610 S MARYLAND PKWY                     ¨ Contingent
         3109
         LAS VEGAS NV 89123                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1235 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1345 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3705. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.20                 $130.20
         LEE, DESTINY
         2927 E VIA TERRANO                       ¨ Contingent
         ONTARIO CA 91764
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3706. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.80                 $129.80
         LEE, EBONY F
         2903 BAINBRIDGE DRIVE                    ¨ Contingent
         APT L
         DURHAM NC 27713                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3707. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.55                  $76.55
         LEE, ELISSA J
         4 MIDWOOD AVENUE                         ¨ Contingent
         EDISON NJ 08820
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1236 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1346 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3708. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $655.05                 $655.05
         LEE, EMANI S
         4250 HOULDSWORTH DR                      ¨ Contingent
         CHARLOTTE NC 28213
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3709. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,263.91               $2,263.91
         LEE, GIA
         540 N LOCUST ST                          ¨ Contingent
         APPLETON WI 54914-2716
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3710. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.87                 $130.87
         LEE, HANNAH O
         510 N. 38TH AVE                          ¨ Contingent
         APT #13
         HATTIESBURG MS 39401                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1237 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1347 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3711. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.40                 $158.40
         LEE, JODIE
         3313 HIDDEN HILLS CT.                    ¨ Contingent
         ANTIOCH CA 94531
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3712. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $211.20                 $211.20
         LEE, KACEY-ROSE L
         1854 MIDFIELD AVE APT. #6                ¨ Contingent
         SAN JOSE CA 95122
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3713. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.19                  $36.19
         LEE, KATIE
         2147 ARCADE STREET                       ¨ Contingent
         MAPLEWOOD MN 55109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1238 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1348 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3714. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $646.80                 $646.80
         LEE, LISA
         1625 HAZEL ST. N.                        ¨ Contingent
         SAINT PAUL MN 55119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3715. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $630.27                 $630.27
         LEE, MARGARET M
         2515 HAWTHORN RD                         ¨ Contingent
         MARENGO IL 60152
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3716. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.88                  $77.88
         LEE, MARKELL J
         4545 N. 15TH ST.                         ¨ Contingent
         APT 222
         PHOENIX AZ 85014                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1239 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1349 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3717. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.64                 $137.64
         LEE, NICOLE
         845 SE 142ND AVE                         ¨ Contingent
         PORTLAND OR 97233
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3718. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.34                  $84.34
         LEE, NICOLE S
         46 MILLBROOK DRIVE                       ¨ Contingent
         1
         MIDDLETOWN NJ 07748                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3719. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,535.09               $1,535.09
         LEE, SHANNA
         91 PROSPECT STREET                       ¨ Contingent
         APT 19
         EAST ORANGE NJ 07017                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1240 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1350 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3720. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,665.27               $2,665.27
         LEE, TAMARA M
         2442 CHESTNUT RIDGE PLACE                ¨ Contingent
         HOOVER AL 35216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3721. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $298.92                 $298.92
         LEE, TAVIN B
         502 WYANDOT WOODS BLVD.                  ¨ Contingent
         20 HOLLYTREE D
         MONROE OH 45050                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3722. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.15                 $130.15
         LEEN, KYA E
         13001 IRVING AVE                         ¨ Contingent
         BURNSVILLE MN 55337
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1241 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1351 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3723. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.56                  $48.56
         LEFLORE, YVETTE D
         8715 PLUM CREEK COURT                    ¨ Contingent
         4756 COUNTRY L
         FRANKLIN OH 45005                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3724. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $223.41                 $223.41
         LEFTHAND, ELIZABETH R
         708 S. EUCLID AVE. APT. #1               ¨ Contingent
         SIOUX FALLS SD 57104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3725. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.73                 $188.73
         LEGEL, AUDREY A
         292 TWINBROOK DR                         ¨ Contingent
         SHEPHERDSVILLE KY 40165
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1242 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1352 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3726. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.63                  $78.63
         LEGGETT, ISIS J
         7400 BAY RD                              ¨ Contingent
         UNIVERSITY CENTER MI 48710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3727. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.08                 $252.08
         LEHOSKY, AISLYNN B
         608 TORRANCE ROAD                        ¨ Contingent
         TORRANCE PA 15779
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3728. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.00                 $108.00
         LEI, MEG
         2079 LAKERIDGE CIRCLE #101               ¨ Contingent
         CHULA VISTA CA 91913
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1243 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1353 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3729. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.80                  $90.80
         LEIB, KELSEY
         317 N CEDAR ST                           ¨ Contingent
         O'FALLON IL 62269
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3730. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.54                  $78.54
         LEISTRA, TIFFANY G
         207 N 2ND                                ¨ Contingent
         AUSTIN AR 72007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3731. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.62                 $132.62
         LEMAY, NICOLE M
         1910 3RD ST. N                           ¨ Contingent
         SAINT CLOUD MN 56303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1244 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1354 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3732. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $785.18                 $785.18
         LEMIS, KRISTEN K
         206 MIDLASS DR                           ¨ Contingent
         1D
         BALTIMORE MD 21220                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3733. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.89                 $122.89
         LEMKE, AVIV F
         1189 NORFOLK DR NW                       ¨ Contingent
         ACWORTH GA 30102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3734. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $20.47                  $20.47
         LEMON, JUSTINE A
         1242 VANDERBILT DRIVE                    ¨ Contingent
         ORMOND BEACH FL 32174
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1245 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1355 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3735. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,277.28               $1,277.28
         LEMUS, JESSICA
         2828 NW 27TH ST                          ¨ Contingent
         OKLAHOMA CITY OK 73107-2107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3736. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.56                 $154.56
         LEMUS, LAURA M
         101 ANDREA DRIVE                         ¨ Contingent
         VACAVILLE CA 95687
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3737. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.67                 $151.67
         LENARD, MACEY D
         479 DR. DAVIS RD                         ¨ Contingent
         CALHOUN LA 71225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1246 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1356 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3738. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,953.51               $3,953.51
         LENGUA, JOCELYN
         12033 BLACKHEATH CIRCLE                  ¨ Contingent
         ORLANDO FL 32837
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3739. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.12                 $205.12
         LENHART, CASSIDY R
         2936 EAST LAKE DRIVE                     ¨ Contingent
         NORMAN OK 73071
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3740. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.76                 $200.76
         LENNON, BRIANNA L
         1102 JOSELSON AVE.                       ¨ Contingent
         BAY SHORE NY 11706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1247 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1357 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3741. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,218.56               $1,218.56
         LENNON, LUNDI
         3182 DARLINGTON OAK DR                   ¨ Contingent
         DORAVILLE GA 30340
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3742. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.68                  $72.68
         LENOIR, MAIYA
         12041 CEEDARCREEK DR.                    ¨ Contingent
         CINCINNATI OH 45240
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3743. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.03                 $120.03
         LENTZ, VIRGINIA F
         5510 NEW YORK AVE                        ¨ Contingent
         NASHVILLE TN 37209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1248 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1358 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3744. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $510.54                 $510.54
         LEON, ANA L
         11 N MCLEAN BLVD                         ¨ Contingent
         ELGIN IL 60123
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3745. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,071.85               $1,071.85
         LEON, CAROLINA
         PARQUE DEL RIO                           ¨ Contingent
         PA 9 PLAZA TIN
         TRUJILLO ALTO PR 00976                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3746. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.26                 $155.26
         LEON, CAROLINA
         614 SOUTH STREET                         ¨ Contingent
         ELGIN IL 60123
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1249 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1359 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3747. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.51                 $147.51
         LEON, ESMERALDA
         10350 WEST MCDOWELL ROAD                 ¨ Contingent
         3225
         AVONDALE AZ 85392                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3748. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.40                 $107.40
         LEON, JAQUELINE
         142 4TH AVE SW                           ¨ Contingent
         APARTMENT 5
         PACIFIC WA 98047                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3749. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.29                  $96.29
         LEON, JESSICA K
         657 LEON SAPP RD                         ¨ Contingent
         DOUGLAS GA 31533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1250 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1360 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3750. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $263.22                 $263.22
         LEON, SARA
         1706 W. SUNSET BLVD                      ¨ Contingent
         222
         LOS ANGELES CA 90026                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3751. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.00                 $156.00
         LEON, SHADAY B
         3400 WICKHAM AVENUE                      ¨ Contingent
         4
         BRONX NY 10469                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3752. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.47                 $103.47
         LEON, YULYDIA
         407 SPARKAMAN RD                         ¨ Contingent
         PLANT CITY FL 33566
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1251 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1361 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3753. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $270.70                 $270.70
         LEONE, LUCIANA
         126 N CURTIS PL                          ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3754. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.97                  $45.97
         LEON-SOTO, MARIA G
         4743 LOEW RD SW                          ¨ Contingent
         BYRON CENTER MI 49315
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3755. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.91                 $106.91
         LEPRE, ALEXANDRA V
         2133 HOLLY HILL RD                       ¨ Contingent
         MANCHESTER NJ 08759
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1252 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1362 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3756. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $695.84                 $695.84
         LESSARD, BETHANY E
         6624 HEREFORD DR                         ¨ Contingent
         LOS ANGELES CA 90022-4714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3757. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.11                 $184.11
         LESSMANN, MADISON D
         45-535 LULUKU RD #A93                    ¨ Contingent
         KANEOHE HI 96744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3758. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.86                  $91.86
         LESTER, ASHLEY A
         16239 BILL CAMPBELL RD.                  ¨ Contingent
         PRAIRIE GROVE AR 72753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1253 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1363 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3759. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.80                 $160.80
         LESTER, BREANNA
         112 PINEWOOD DR                          ¨ Contingent
         GOLDSBORO NC 27534
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3760. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $271.56                 $271.56
         LESTER, PATRICIA A
         P.O. BOX 1382                            ¨ Contingent
         WINSLOW AZ 86047
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3761. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.30                 $160.30
         LETT, NARDYA
         3930 LAWNWOOD DR                         ¨ Contingent
         RICHMOND VA 23234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1254 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1364 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3762. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.76                 $206.76
         LEUTHARDT, JESSE A
         60 CHICHESTER AVE                        ¨ Contingent
         CENTER MORICHES NY 11934
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3763. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,349.12               $1,349.12
         LEVAN, ASHLEY
         60 MORTON ST                             ¨ Contingent
         BRENTWOOD NY 11717
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3764. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.93                 $164.93
         LEVER, ZARIA C
         15033 POND VILLAGE DR                    ¨ Contingent
         TAYLOR MI 48180
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1255 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1365 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3765. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.22                 $104.22
         LEVERETT, KAYLA
         7875 WATERWAY DR NW                      ¨ Contingent
         302
         CONCORD NC 28027                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3766. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,692.59               $1,692.59
         LEWANDOWSKI, MARLENA
         733 GARLAND STREET                       ¨ Contingent
         PHILADELPHIA PA 19124
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3767. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.40                  $32.40
         LEWIS, ADORIA
         14300 TANDEM BLVD APT 126                ¨ Contingent
         AUSTIN TX 78728
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1256 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1366 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3768. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.52                 $200.52
         LEWIS, ADWOA J
         1053 JACKSON STREET                      ¨ Contingent
         BALDWIN NY 11510
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3769. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.74                 $123.74
         LEWIS, AMANDA
         948 NORTHERN WAY                         ¨ Contingent
         UNIT 8
         GRAND JUNCTION CO 81506                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3770. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.40                 $560.40
         LEWIS, ASHLEY
         17 ELMWOOD CT                            ¨ Contingent
         WILLINGBORO NJ 08046-2273
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1257 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1367 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3771. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,109.56               $1,109.56
         LEWIS, ASHLEY T
         7531 BARN STONE DR                       ¨ Contingent
         CHARLOTTE NC 28227-8724
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3772. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.61                  $29.61
         LEWIS, DAVIDA A
         4729 SADDLEHORN TRAIL                    ¨ Contingent
         MIDDLEBURG FL 32068
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3773. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,240.59               $2,240.59
         LEWIS, DERIC L
         801 S MAIN ST APT 33                     ¨ Contingent
         MT HOLLY NC 28120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1258 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1368 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3774. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.22                  $70.22
         LEWIS, EBONY J
         1000 SW 62ND BLVD                        ¨ Contingent
         2516
         GAINESVILLE FL 32607                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3775. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.90                  $72.90
         LEWIS, HAILEY M
         599 266 RD                               ¨ Contingent
         MILFORD NE 68405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3776. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.97                 $155.97
         LEWIS, HANNAH M
         1050 RUE LIMOGES                         ¨ Contingent
         SLIDELL LA 70458
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1259 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1369 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3777. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.46                  $75.46
         LEWIS, I'JONIE N
         1909 16TH AVE EAST                       ¨ Contingent
         BRADENTON FL 34208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3778. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $247.86                 $247.86
         LEWIS, JASMINE N
         12855 SAND DOLLAR WAY                    ¨ Contingent
         BALTIMORE MD 21220
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3779. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $261.44                 $261.44
         LEWIS, JAYANA M
         1702 EDGEFIELD DRIVE                     ¨ Contingent
         GARLAND TX 75040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1260 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1370 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3780. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.89                  $64.89
         LEWIS, KARISSA P
         786 NANCE ROAD                           ¨ Contingent
         MADISON AL 35757
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3781. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $497.59                 $497.59
         LEWIS, LYEISHA R
         19940 GLASTONBURY RD                     ¨ Contingent
         DETROIT MI 48219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3782. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.76                 $180.76
         LEWIS, MICHELLE
         34 MEADOW ST                             ¨ Contingent
         ANSONIA CT 06401-2521
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1261 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1371 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3783. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.76                  $59.76
         LEWIS, RAVEN R
         11800 CITY PARK CENTRAL LANE             ¨ Contingent
         624
         HOUSTON TX 77047                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3784. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.62                 $176.62
         LEWIS, SHELBY N
         304 SHYRE LAKE LANE                      ¨ Contingent
         MCDONOUGH GA 30253
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3785. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.03                  $74.03
         LEWIS, STEPHANIE
         9252 SANTA MONICA WAY                    ¨ Contingent
         NEW PORT RICHEY FL 34655
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1262 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1372 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3786. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.84                  $95.84
         LEWIS, TAYLOR
         744 CHURCH RD                            ¨ Contingent
         HATFIELD PA 19440
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3787. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $204.26                 $204.26
         LEWIS, TIMBER T
         379 HARCO DR.                            ¨ Contingent
         COLUMBUS GA 31906
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3788. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $266.31                 $266.31
         LEWIS, UNIQEK L
         1013 GAEL DR. UNIT D                     ¨ Contingent
         JOLIET IL 60435
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1263 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1373 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3789. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.48                  $86.48
         LEYBA, ANGELINA R
         229 ALCAZAR ST NE                        ¨ Contingent
         ALBUQUERQUE NM 87108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3790. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.80                 $232.80
         LEYENDECKER, JAMIE R
         90 LIBERTYVILLE ROAD                     ¨ Contingent
         WANTAGE NJ 07461
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3791. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.04                 $149.04
         LIAROMATIS, ASHLEY F
         710 N SPRUCE ST                          ¨ Contingent
         NIXA MO 65714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1264 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1374 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3792. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.80                  $72.80
         LIAS, SABRINA R
         130 SUNRISE DR.                          ¨ Contingent
         POTTSTOWN PA 19464
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3793. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,545.28               $1,545.28
         LIBASSI, SAVANNAH
         2682 ALLOUEZ AVENUE                      ¨ Contingent
         GREEN BAY WI 54311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3794. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.27                  $56.27
         LIBO, MARIA ABIGAIL
         7686 FLOUNDER BAY AVE.                   ¨ Contingent
         LAS VEGAS NV 89179
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1265 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1375 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3795. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.55                 $119.55
         LICKENFELT, BROOKE M
         138 GLENN AVENUE                         ¨ Contingent
         JEANNETTE PA 15644
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3796. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $330.75                 $330.75
         LIDSTER, JAMIE L
         1017 S 4TH AVE                           ¨ Contingent
         SIOUX FALLS SD 57105-0818
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3797. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.42                  $77.42
         LIGHT, COURTNEY L
         150 INDIANA ST.                          ¨ Contingent
         ALICIA AR 72410
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1266 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1376 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3798. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $286.34                 $286.34
         LIGHT, HANALEI N
         471 LILIHUA PLACE                        ¨ Contingent
         WAILUKU HI 96793
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3799. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $461.69                 $461.69
         LIGHT, KAILEY M
         206 SCOTLAND ROAD P.O. BOX 143           ¨ Contingent
         WINDHAM CT 06280
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3800. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $237.11                 $237.11
         LIGHTNER, JORDAN A
         5600 CARMICHAEL ROAD                     ¨ Contingent
         APT 2208
         MONTGOMERY AL 36117                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1267 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1377 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3801. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.10                  $73.10
         LIGON, GIANNA
         2247 UNIVERSITY HILLS BLVD               ¨ Contingent
         APT. 202-B
         TOLEDO OH 43606                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3802. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.08                 $110.08
         LILE, STACIA W
         520 YALE BLVD.                           ¨ Contingent
         SAINT CHARLES MO 63301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3803. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.44                 $169.44
         LILLY, MALAYSIA J
         229 SILVER EAGLE RD                      ¨ Contingent
         SACRAMENTO CA 95838
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1268 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1378 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3804. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.04                  $74.04
         LIM, JUNINA
         2619 E. PLAZA BLVD                       ¨ Contingent
         208
         NATIONAL CITY CA 91950                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3805. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,269.29               $1,269.29
         LIMA, MELISA I
         7624 CRESSWELL DRIVE                     ¨ Contingent
         ARLINGTON TX 76001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3806. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,212.66               $5,212.66
         LIMASA, TAMARA J
         654 KAIEMI ST                            ¨ Contingent
         KAILUA HI 96734-2015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1269 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1379 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3807. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.84                  $72.84
         LIMBACK, JESSICA L
         3023 E LEWIS DR                          ¨ Contingent
         FLAGSTAFF AZ 86004
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3808. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $199.50                 $199.50
         LINARES, ODALIS A
         6819 PERRY PENNEY DR                     ¨ Contingent
         ANNANDALE VA 22003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3809. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $183.37                 $183.37
         LINARES, VALERIE L
         16219 CROOKED ARROW DR.                  ¨ Contingent
         SUGAR LAND TX 77498
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1270 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1380 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3810. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.73                 $158.73
         LINCOURT, MALLORY
         1400 WASHINGTON AVE                      ¨ Contingent
         ALBANY NY 12222
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3811. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $55.11                  $55.11
         LINDEN, DANIELLE
         323 LANDER DRIVE                         ¨ Contingent
         HENDERSON NV 89074
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3812. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.36                  $48.36
         LINDER, MELANIE
         3192 LEXINGTON AVE.                      ¨ Contingent
         MOHEGAN LAKE NY 10547
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1271 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1381 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3813. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.94                  $80.94
         LINDLEY, KATELYNN B
         1002 PINE STREET                         ¨ Contingent
         VAN BUREN AR 72956
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3814. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.89                 $159.89
         LINDNER, SARA R
         4035 DONATELLO AVE                       ¨ Contingent
         NORTH PORT FL 34286
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3815. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $189.30                 $189.30
         LINDO, ASHLEY
         24 HILLCREST AVE                         ¨ Contingent
         APT. 1A
         STATEN ISLAND NY 10308                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1272 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1382 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3816. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.55                  $57.55
         LINDSAY, LAKETHA R
         359 ALLEN STREET                         ¨ Contingent
         359 ALLEN STRE
         SPARTANBURG SC 29303                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3817. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.90                  $59.90
         LINDSAY, TYASIA L
         845 FIELDHAVEN DR.                       ¨ Contingent
         CHARLOTTESVILLE VA 22903
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3818. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.37                  $61.37
         LINDSEY, AMBER N
         1204 TELLURIDE CT                        ¨ Contingent
         BARTLETT IL 60103
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1273 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1383 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3819. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,773.98               $6,773.98
         LINEBERRY, KATHY
         1203 HERITAGE LINKS DRIVE                ¨ Contingent
         WAKE FOREST NC 27587
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3820. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $233.41                 $233.41
         LIPTROT, KAYLA M
         2250 JEFFERSON DR. SE                    ¨ Contingent
         GRAND RAPIDS MI 49507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3821. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.69                 $113.69
         LISSETT, JENIFER
         8400 SOUTH MARYLAND PARKWAY              ¨ Contingent
         2054
         LAS VEGAS NV 89123                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1274 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1384 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3822. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.99                 $157.99
         LITTLE, COURTNEY A
         8720 DWIGHT BOYER RD                     ¨ Contingent
         WATERVLIET MI 49098
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3823. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $512.38                 $512.38
         LITTLE, DREW N
         480 W BUSH STREET                        ¨ Contingent
         SAGINAW MI 48604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3824. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.58                  $33.58
         LITTLE, WILLA L
         2707B WELLINGTON DR.                     ¨ Contingent
         B
         CHAMPAIGN IL 61821                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1275 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1385 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3825. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $731.28                 $731.28
         LITTLEJOHN, JANASIA D
         12 SHENANDOAH BLVD                       ¨ Contingent
         CORAM NY 11727
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3826. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.62                  $65.62
         LITTLETON, LOANA
         11333 E WILSHIRE BLVD                    ¨ Contingent
         SPENCER OK 73084
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3827. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,207.75               $6,207.75
         LIVAI, CRYSTAL M
         3 HEIGHTS COURT                          ¨ Contingent
         ABBOTTSTOWN PA 17301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1276 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1386 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3828. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $506.00                 $506.00
         LIVINGSTON, CORYNE
         3120 B CHURCHILL AVE                     ¨ Contingent
         ERLANGER KY 41018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3829. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $261.30                 $261.30
         LIVINGSTON, DEVON K
         133 ACTON ROAD                           ¨ Contingent
         CHELMSFORD MA 01824
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3830. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.40                  $35.40
         LIZASO, NICOLE A
         28 FORGE CT                              ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1277 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1387 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3831. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,969.64               $2,969.64
         LLANOS, MARIA
         30 03 92ND ST                            ¨ Contingent
         EAST ELMHURST NY 11369
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3832. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $404.13                 $404.13
         LLERENAS, GUADALUPE V
         8750 ORION AVE 219                       ¨ Contingent
         219
         NORTH HILLS CA 91343                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3833. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $671.90                 $671.90
         LLOYD, SHONDA
         4162 CHICKASAW TRAIL                     ¨ Contingent
         DOUGLASVILLE GA 30135
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1278 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1388 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3834. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.75                  $74.75
         LOADER, CHRISTINA
         603 PITTSBURGH AVENUE                    ¨ Contingent
         ERIE PA 16505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3835. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $457.93                 $457.93
         LODES, KIERSEN B
         1474 LOUMILEN DR.                        ¨ Contingent
         MUSKEGON MI 49445
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3836. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,309.35               $1,309.35
         LOFTIS, SAVANNAH M
         2169 CICOTTE AVE                         ¨ Contingent
         LINCOLN PARK MI 48146
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1279 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1389 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3837. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.97                  $32.97
         LOFTY, AMBER
         1024 MIDDLEBELT ROAD                     ¨ Contingent
         GARDEN CITY MI 48135
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3838. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $415.20                 $415.20
         LOGAN, ASHLEY N
         3136 12TH AVE N                          ¨ Contingent
         ST PETERSBURG FL 33713
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3839. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.42                 $126.42
         LOGAN, NICOLE
         3805 THOMPSON ST                         ¨ Contingent
         RICHMOND VA 23222
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1280 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1390 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3840. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.61                  $94.61
         LOISEAU, AMONI
         2312 WILLIAM MAXWELL LANE APT.           ¨ Contingent
         SPRINGFIELD IL 62703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3841. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.45                 $156.45
         LOMAX, BRITTNEY
         4134ELBRIDGE ST                          ¨ Contingent
         PHILADELPHIA PA 19135
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3842. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.36                  $30.36
         LOMBARDO, SYDNEY L
         3701 MARBLE RIDGE LANE                   ¨ Contingent
         MASON OH 45040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1281 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1391 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3843. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.40                 $108.40
         LOMELINO, KAILEY N
         416 COUGAR LAKE ROAD                     ¨ Contingent
         1D
         EDWARDSVILLE IL 62025                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3844. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $376.11                 $376.11
         LONG, AURIANNA
         26 CAYUGA ROAD                           ¨ Contingent
         SEA RANCH LAKES FL 33308
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3845. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,209.26               $6,209.26
         LONG, CHENELLE S
         9 EDGAR ST.                              ¨ Contingent
         EAST ORANGE NJ 07018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1282 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1392 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3846. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $670.64                 $670.64
         LONG, EMELIA K
         827 EAST GRANDVIEW BLVD                  ¨ Contingent
         APT. 302
         ERIE PA 16504                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3847. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.86                 $164.86
         LONG, KELLY
         6332 SHIRLEY POND RD.                    ¨ Contingent
         HARRISON TN 37341
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3848. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.52                 $153.52
         LONG, KELSEA
         1140 WALNUT AVE                          ¨ Contingent
         APT 14
         GRAND JUNCTION CO 81501                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1283 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1393 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3849. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.89                  $38.89
         LONG, KIANNA L
         485 MCDOWELL AVENUE                      ¨ Contingent
         HAGERSTOWN MD 21740
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3850. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,403.77               $2,403.77
         LONG, PAIGE N
         6177 STATE HIGHWAY 22                    ¨ Contingent
         HILLSBORO TX 76645
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3851. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,855.32               $2,855.32
         LONG, TARA L
         3271 SYLVAN HEIGHTS DR                   ¨ Contingent
         HOLLIDAYSBURG PA 16648-2817
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1284 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1394 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3852. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.54                 $184.54
         LONGUEMIRE, TIARRA L
         6300 WEST MICHIGAN AVENUE                ¨ Contingent
         APT G1
         LANSING MI 48917                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3853. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.71                 $136.71
         LOPEZ, ALEXANDRIA R
         2530 SKYVIEW AVE                         ¨ Contingent
         FEASTERVILLE PA 19053
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3854. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.20                 $165.20
         LOPEZ, ALMA
         1520 ATOKAD DR TRLR 37                   ¨ Contingent
         SOUTH SIOUX CITY NE 68776
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1285 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1395 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3855. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $269.62                 $269.62
         LOPEZ, ANTERA I
         250 GERBER DAIRY RD.                     ¨ Contingent
         WINTER HAVEN FL 33880
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3856. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.00                  $72.00
         LOPEZ, APRIL
         5033 TRABUCO CANYON DR                   ¨ Contingent
         BAKERSFIELD CA 93307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3857. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.24                 $135.24
         LOPEZ, ASHLY
         2852 MARSH STREET                        ¨ Contingent
         LOS ANGELES CA 90039
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1286 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1396 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3858. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $339.96                 $339.96
         LOPEZ, ATZIRI M
         4161 PERLITA AVE                         ¨ Contingent
         APT B
         LOS ANGELES CA 90039-1337                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3859. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.76                  $71.76
         LOPEZ, BIANCA M
         25769 BASIL CT                           ¨ Contingent
         MORENO VALLEY CA 92553
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3860. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $26.30                  $26.30
         LOPEZ, BRIANA M
         7605 E WINTERBERRY ST                    ¨ Contingent
         WICHITA KS 67226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1287 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1397 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3861. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $261.36                 $261.36
         LOPEZ, CIARA N
         1213 TEMPLE DR                           ¨ Contingent
         PACHECO CA 94553
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3862. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $144.84                 $144.84
         LOPEZ, CRYSTAL A
         2854 E. FRONTERA ST.                     ¨ Contingent
         C
         ANAHEIM CA 92806                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3863. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.95                 $179.95
         LOPEZ, DALENA A
         7504 WINDCREST DR.                       ¨ Contingent
         EL PASO TX 79912
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1288 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1398 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3864. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $581.15                 $581.15
         LOPEZ, DALIA
         305 FIELDSIDE DR.                        ¨ Contingent
         GARLAND TX 75043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3865. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.13                  $50.13
         LOPEZ, DENISSE F
         7501 WOODSIDE LN                         ¨ Contingent
         22
         LORTON VA 22079                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3866. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.96                 $146.96
         LOPEZ, DESIREE M
         PARQUE VICTORIA                          ¨ Contingent
         207
         SAN JUAN PR 00915                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1289 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1399 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3867. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $326.38                 $326.38
         LOPEZ, DOROTHY
         560 PROSPECT ST                          ¨ Contingent
         212
         PAWTUCKET RI 02860                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3868. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.99                  $45.99
         LOPEZ, FABIOLA A
         3998 NESTOR LN NE                        ¨ Contingent
         SALEM OR 97305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3869. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.94                  $62.94
         LOPEZ, GABRIELA M
         1516 W 30TH ST                           ¨ Contingent
         LOS ANGELES CA 90007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1290 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1400 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3870. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.47                 $191.47
         LOPEZ, ITZEL
         5539 HARVESTHILL RD APT2121              ¨ Contingent
         DALLAS TX 75230
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3871. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $577.08                 $577.08
         LOPEZ, JACKELYN E
         134 6TH STREET                           ¨ Contingent
         2
         PELHAM NY 10803                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3872. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,405.05               $4,405.05
         LOPEZ, JASMIR
         202 W ROOSEVELT AVE                      ¨ Contingent
         UNIT 116C
         PHOENIX AZ 85003                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1291 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1401 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3873. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.65                 $122.65
         LOPEZ, JENNIFER
         8110 E SPEEDWAY BLVD                     ¨ Contingent
         APT 9112
         TUCSON AZ 85710                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3874. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $172.20                 $172.20
         LOPEZ, JESSICA H
         109 EASTWOOD COURT                       ¨ Contingent
         SAN JOSE CA 95116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3875. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $677.97                 $677.97
         LOPEZ, KAREN E
         126 BRUNO AVENUE                         ¨ Contingent
         PITTSBURG CA 94565
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1292 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1402 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3876. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $197.63                 $197.63
         LOPEZ, KRYSTAL N
         4311 SANTA ANITA LN                      ¨ Contingent
         PASADENA TX 77503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3877. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $554.72                 $554.72
         LOPEZ, LETICIA E
         186 JAMES DRIVE                          ¨ Contingent
         MERCEDES TX 78570
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3878. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $163.68                 $163.68
         LOPEZ, LOPEZ EDITH Y
         157 FALLBROOK AVE SPC 18                 ¨ Contingent
         ARVIN CA 93203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1293 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1403 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3879. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $799.92                 $799.92
         LOPEZ, LUIS
         13 0.5 HANCOCK STREET                    ¨ Contingent
         2
         WORCESTER MA 01610                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3880. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.57                 $112.57
         LOPEZ, MAIRA C
         528 RYE ST                               ¨ Contingent
         WOODBURN OR 97071-5566
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3881. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.21                 $131.21
         LOPEZ, MARICRUZ A
         24336 FM 508                             ¨ Contingent
         HARLINGEN TX 78550-1660
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1294 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1404 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3882. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.60                  $96.60
         LOPEZ, MARILYN
         152 SOUTH AVENUE 58                      ¨ Contingent
         APT #10
         LOS ANGELES CA 90042                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3883. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $52.03                  $52.03
         LOPEZ, NATALIA V
         25616 S. 194TH ST.                       ¨ Contingent
         QUEEN CREEK AZ 85142
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3884. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.74                 $149.74
         LOPEZ, NATALIE
         11581 BUSH LN.                           ¨ Contingent
         FORNEY TX 75126
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1295 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1405 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3885. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.45                  $86.45
         LOPEZ, RAMIREZ NAIDH F
         30 CEDAR DR                              ¨ Contingent
         STERLING VA 20164
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3886. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.64                 $188.64
         LOPEZ, SAMANTHA J
         740 N. BROADMOOR AVE                     ¨ Contingent
         WEST COVINA CA 91790
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3887. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $355.08                 $355.08
         LOPEZ, TATIANA
         430 E 68TH ST                            ¨ Contingent
         LOS ANGELES CA 90003-1909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1296 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1406 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3888. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.00                  $57.00
         LOPEZ, TATIANA M
         1501 CALCUTTA DR UNIT 56                 ¨ Contingent
         BAKERSFIELD CA 93307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3889. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.00                  $38.00
         LOPEZ, TELXY M
         5 LINLEW DRIVE                           ¨ Contingent
         9
         DERRY NH 03038                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3890. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.36                 $192.36
         LOPEZ, TIARA A
         72 TRAVER CIRCLE                         ¨ Contingent
         ROCHESTER NY 14609
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1297 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1407 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3891. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,055.06               $6,055.06
         LOPEZ, VICTORIA
         1244 DENNERY RD                          ¨ Contingent
         107
         SAN DIEGO CA 92154-6441                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3892. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,235.26               $3,235.26
         LOPEZ, YVETTE
         1019 BAYSIDE DR.                         ¨ Contingent
         PALATINE IL 60074
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3893. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.64                 $176.64
         LOPEZ-GONZALEZ, BRENDA I
         1712 KENNETH ST                          ¨ Contingent
         MODESTO CA 95351
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1298 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1408 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3894. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $373.75                 $373.75
         LOPEZ-SILVAR, KRISTINE
         7424 E 146TH ST                          ¨ Contingent
         LOT #19
         NOBLESVILLE IN 46062                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3895. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.37                 $121.37
         LOQUET, NICOLE M
         975. S SPORTS FAN DRIVE                  ¨ Contingent
         APARTMENT 202
         FAYETTEVILLE AR 72701                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3896. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,597.22               $2,597.22
         LORENZ, KIM E
         75 SOUTH MAIN STREET                     ¨ Contingent
         413
         ATTLEBORO MA 02703                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1299 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1409 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3897. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $289.29                 $289.29
         LORENZANA, OLIVIA V
         1285 EAST 7TH ST.                        ¨ Contingent
         RENO NV 89512
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3898. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.60                 $177.60
         LORRIUS, SYDEJHA E
         115 WOODLAND AVE                         ¨ Contingent
         YONKERS NY 10703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3899. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.80                  $94.80
         LOSOYA, CRISTAL P
         4422 RUSSELL AVE                         ¨ Contingent
         LOS ANGELES CA 90027
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1300 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1410 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3900. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $266.99                 $266.99
         LOTOZYNSKI, MEREJILDA M
         3505 QUAST LN.                           ¨ Contingent
         TOLEDO OH 43623
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3901. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.06                 $232.06
         LOUIMA, KERSIE
         3239 CORAL RIDGE DR.                     ¨ Contingent
         CORAL SPRINGS FL 33065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3902. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.91                  $93.91
         LOUIS, FABRIANA
         2428 ALISTER CT                          ¨ Contingent
         ORLANDO FL 32837
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1301 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1411 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3903. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.47                 $181.47
         LOUISSAINT, ENNIE
         615 SEA PINE WAY UNIT B                  ¨ Contingent
         GREENACRES FL 33415
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3904. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,479.40               $1,479.40
         LOUISSAINT, SOPHIA
         1555 NW 65TH TERR                        ¨ Contingent
         MARGATE FL 33063
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3905. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.19                 $123.19
         LOUVIERE, ERIN M
         3514 DEAN RD                             ¨ Contingent
         NESBIT MS 38651
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1302 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1412 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3906. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.33                 $110.33
         LOVATO, RACHAEL
         11774 EAST 7TH AVENUE                    ¨ Contingent
         AURORA CO 80010
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3907. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $693.50                 $693.50
         LOVE, ALICIA L
         122 WASHINGTON ST                        ¨ Contingent
         GRAMBLING LA 71245-2217
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3908. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.07                 $232.07
         LOVE, ASHLEY M
         2319 LAFAYETTE AVE SE                    ¨ Contingent
         GRAND RAPIDS MI 49507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1303 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1413 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3909. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.86                  $44.86
         LOVE, JAKARA B
         3504 ROBIN AVE                           ¨ Contingent
         WYOMING MI 49509
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3910. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.00                  $81.00
         LOVE, JANEL L
         14119 MARY BOWIE PKWY                    ¨ Contingent
         UPPER MARBORO MD 20774
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3911. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.56                  $76.56
         LOVE, SALENA E
         3040 E CHARLESTON BLVD                   ¨ Contingent
         APT 3117
         LAS VEGAS NV 89104                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1304 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1414 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3912. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $641.97                 $641.97
         LOVE, TALORE L
         2200 N. EL SERENO AVE.                   ¨ Contingent
         ALTADENA CA 91001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3913. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.95                  $34.95
         LOVETT, BASHEBA S
         46 N WEST ST                             ¨ Contingent
         YORK PA 17401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3914. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $224.32                 $224.32
         LOWERY, KAITLYN B
         851 FEILDS DR                            ¨ Contingent
         424
         BOWLING GREEN KY 42104                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1305 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1415 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3915. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $274.19                 $274.19
         LOYA, TANYA J
         1403 N ADAMS ST                          ¨ Contingent
         AMARILLO TX 79107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3916. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.40                 $152.40
         LOYD, JASMINE
         1910 STERLING HILL DRIVE                 ¨ Contingent
         FUQUAY VARINA NC 27526
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3917. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.11                 $240.11
         LOZANO, ALEXIS K
         1213 MELROSE DR                          ¨ Contingent
         WACO TX 76710-4138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1306 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1416 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3918. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $800.33                 $800.33
         LOZANO, BIBIANA
         115 E LIGUSTRUM DR                       ¨ Contingent
         SAN ANTONIO TX 78228
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3919. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $211.50                 $211.50
         LOZANO, CARLA L
         1425 LITTLE ORCHARD STREET               ¨ Contingent
         SAN JOSE CA 95110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3920. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $217.80                 $217.80
         LOZANO, LAURA E
         7701 HARDESON RD                         ¨ Contingent
         22
         EVERETT WA 98203                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1307 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1417 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3921. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.20                  $39.20
         LOZANO-CASTILLO, CECILIA
         3128 S 10TH ST                           ¨ Contingent
         MILWAUKEE WI 53215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3922. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.56                 $126.56
         LU, CINTHIA
         5110 S MANHATTAN AVE                     ¨ Contingent
         5210
         TAMPA FL 33611                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3923. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.06                 $140.06
         LUANGRATH, VIVIENNE S
         99-503 HOKEA ST.                         ¨ Contingent
         AIEA HI 96701-2754
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1308 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1418 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3924. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,975.92               $4,975.92
         LUANNE CARAWAY
         HAYS COUNTY TAX ASSESSOR                 ¨ Contingent
         712 S STAGECOACH TRAIL SUITE 1120
         SAN MARCOS TX 78666-5071                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3925. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.69                 $154.69
         LUARCA, CARMENESTELL K
         532 SPRUCE RD                            ¨ Contingent
         BOLINGBROOK IL 60440
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3926. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,221.94               $6,221.94
         LUBBERT, CHRISTINA E
         415 BELVEDERE WEST                       ¨ Contingent
         COLGATE WI 53017
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1309 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1419 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3927. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,169.52               $3,169.52
         LUBBOCK CENTRAL APPRAISAL
         P.O. BOX 10568-2109 AVENUE Q             ¨ Contingent
         LUBBOCK TX 79408-3568
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.3928. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $576.96                 $576.96
         LUCAS, ANGEL L
         1573 ETHEL                               ¨ Contingent
         LINCOLN PARK MI 48146
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3929. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.56                 $232.56
         LUCAS, ELIZABETH M
         55 ROBINWOOD DRIVE                       ¨ Contingent
         MASTIC BEACH NY 11951
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1310 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1420 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3930. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $291.24                 $291.24
         LUCAS, NAOMI M
         34 BONNIE DRIVE                          ¨ Contingent
         WESTBURY NY 11590
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3931. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.13                  $34.13
         LUCAS, RENEE L
         2693 TWYMANS MILL RD                     ¨ Contingent
         MADISON VA 22727
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3932. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $353.82                 $353.82
         LUCAS, SAMANTHA A
         2000 COUNTRY CLUB DRIVE                  ¨ Contingent
         WOODRIDGE IL 60517
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1311 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1421 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3933. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $746.06                 $746.06
         LUCERO, AGUSTINA
         114 CEDAR RD                             ¨ Contingent
         EAST NORTHPORT NY 11731
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3934. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $562.27                 $562.27
         LUCERO, ILEANA
         2222 N GRAND ST                          ¨ Contingent
         PUEBLO CO 81003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3935. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $261.37                 $261.37
         LUCIANO, ALLISON J
         901S O'LEARY ST                          ¨ Contingent
         151
         FLAGSTAFF AZ 86001                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1312 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1422 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3936. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $467.30                 $467.30
         LUCKETT, ANTONIESHA R
         1103 CLEVELAND STREET                    ¨ Contingent
         TUPELO MS 38801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3937. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.39                 $203.39
         LUGO, ISABELLA M
         2457 WALGROVE AVE                        ¨ Contingent
         LOS ANGELES CA 90066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3938. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.30                 $153.30
         LUGO, LINDSAY B
         4109 HANGING MOSS CT.                    ¨ Contingent
         JACKSONVILLE FL 32257
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1313 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1423 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3939. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.88                 $162.88
         LUGO, NATASHA E
         280 CLOVER LANE                          ¨ Contingent
         G
         BEAVERCREEK OH 45440                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3940. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $234.61                 $234.61
         LUGO, YAINELYS
         6118 WESTGATE DRIVE                      ¨ Contingent
         APT. 203
         ORLANDO FL 32835                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3941. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $258.84                 $258.84
         LUIS, EMILY A
         5526 SW 162 PL                           ¨ Contingent
         MIAMI FL 33185
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1314 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1424 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3942. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $576.45                 $576.45
         LUKE, ABIGAIL C
         85 KINGSTON AVE                          ¨ Contingent
         1R
         BROOKLYN NY 11213                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3943. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.03                 $111.03
         LUMLEY, MACY L
         110 NEW MELVILLE ROAD                    ¨ Contingent
         WILLARD MO 65781
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3944. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $501.83                 $501.83
         LUMPKINS, MONIQUE L
         6029 S INDIANA AVE                       ¨ Contingent
         102
         CHICAGO IL 60637                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1315 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1425 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3945. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $395.52                 $395.52
         LUNA, JESSICA
         152 W 15TH AVE                           ¨ Contingent
         ESCONDIDO CA 92025
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3946. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $277.44                 $277.44
         LUNA, LYZET A
         31475 SIERRA DEL SOL                     ¨ Contingent
         THOUSAND PALMS CA 92276
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3947. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.40                  $56.40
         LUNA, ROSAS MARIA D
         750 WATERTHROUGH RD #746                 ¨ Contingent
         SEBASTOPOL CA 95472
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1316 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1426 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3948. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $194.33                 $194.33
         LUNDELL, KYLIE A
         218 OLD ROUTE 40                         ¨ Contingent
         HANCOCK MD 21750
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3949. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $308.20                 $308.20
         LUNDGREN, JESSICA C
         8575 ANTCLIFF RD.                        ¨ Contingent
         HOWELL MI 48855
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3950. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $197.03                 $197.03
         LUPTOWSKI, CARLY L
         1735 N. HURON RD.                        ¨ Contingent
         PINCONNING MI 48650
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1317 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1427 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3951. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.60                 $137.60
         LUPU, ADELINA A
         2121 PLANTATION COURT                    ¨ Contingent
         LAWRENCEVILLE GA 30044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3952. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.84                 $147.84
         LUQUE, DANA
         1063 CAREY AVE                           ¨ Contingent
         CLOVIS CA 93611
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3953. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.61                  $79.61
         LUSSO, GRETCHEN L
         1208 MURRAY PT                           ¨ Contingent
         PLATTSMOUTH NE 68048
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1318 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1428 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3954. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.67                 $108.67
         LUTHER, SARAH E
         2622 EMMICK DR                           ¨ Contingent
         TOLEDO OH 43606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3955. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.84                  $69.84
         LUTTERODT, PHILLIPINA A
         2637 RIDGEMOOR DR SE KENTWOOD            ¨ Contingent
         KENTWOOD MI 49512
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3956. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.39                 $121.39
         LUWOYE, OLAJUMOKE
         2852 BRASS CT                            ¨ Contingent
         AUSTELL GA 30106-1059
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1319 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1429 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3957. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,158.98               $2,158.98
         LY, SUNSHINE
         1776 MAC LN                              ¨ Contingent
         GREEN BAY WI 54311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3958. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $673.60                 $673.60
         LYNCH, SIERRA
         4728 PARK LANE                           ¨ Contingent
         ALPINE CA 91901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3959. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $585.79                 $585.79
         LYON, KIANA N
         1091 BARBADOS WAY                        ¨ Contingent
         CHARLESTON SC 29412
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1320 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1430 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3960. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.55                  $63.55
         LYONS, CARITNEY L
         2389 RENA VALLEY CIR                     ¨ Contingent
         APT 6
         VAN BUREN AR 72956                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3961. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.90                 $108.90
         LYTLE, AERYN M
         3331 CASEY DR.                           ¨ Contingent
         101
         LAS VEGAS NV 89120                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3962. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $263.58                 $263.58
         LYTLE, AMANDA K
         1541 EDGEMORE AVE                        ¨ Contingent
         SACRAMENTO CA 95835
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1321 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1431 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3963. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.86                 $131.86
         MABIE, EMMA L
         323 3RD AVE                              ¨ Contingent
         EAU CLAIRE WI 54703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3964. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.23                  $30.23
         MACADAM, JESSICA E
         106 RYAN CIRCLE                          ¨ Contingent
         SPRING LAKE NC 28390
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3965. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $376.98                 $376.98
         MACARENO, CINDY
         65 SAMMIS AVE                            ¨ Contingent
         DOVER NJ 07801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1322 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1432 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3966. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $217.20                 $217.20
         MACBLANE, MADISON J
         18405 SHALLOWFORD LANE                   ¨ Contingent
         LOUISVILLE KY 40245
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3967. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,265.36               $3,265.36
         MACIAS, BRITTANY L
         1350 GINA DR                             ¨ Contingent
         OXNARD CA 93030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3968. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.96                  $66.96
         MACIAS, CLARISSA A
         1055 B ST                                ¨ Contingent
         BRAWLEY CA 92227-2007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1323 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1433 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3969. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.13                 $220.13
         MACIAS, EVELYN A
         3013 CHINOOK LANE                        ¨ Contingent
         LAFAYETTE IN 47909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3970. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,921.48               $1,921.48
         MACIAS, JANET
         3504 BROADWAY AVE                        ¨ Contingent
         NORTH LAS VEGAS NV 89030-5901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3971. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $254.88                 $254.88
         MACIAS, KEANA C
         3211 EAST MAYACAMA WAY                   ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1324 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1434 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3972. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $421.34                 $421.34
         MACIEL, STEPHANIE A
         17075 LACEBARK ST                        ¨ Contingent
         FONTANA CA 92337-6859
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3973. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $459.80                 $459.80
         MACK, DEANDRIA L
         513 AARON PLACE                          ¨ Contingent
         MCDONOUGH GA 30253
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3974. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.74                  $40.74
         MACK, NANCY J
         5630 STONEFIELD RD                       ¨ Contingent
         SLINGER WI 53086-9636
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1325 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1435 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3975. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.21                 $108.21
         MACK, STEPHANIE
         1834 SAN REMO DR                         ¨ Contingent
         COLUMBUS OH 43204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3976. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.58                 $135.58
         MACUCH, STACY K
         106 WEST MURROW LANE                     ¨ Contingent
         JACKSONVILLE NC 28546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3977. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.59                  $78.59
         MADDALENA, FRANCEY
         7 BASH RD                                ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1326 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1436 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3978. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.30                 $159.30
         MADDOX, EMILY L
         4013 CHRISTOPHER WAY                     ¨ Contingent
         SMC 11849
         PLANO TX 75024                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3979. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $626.36                 $626.36
         MADDOX, RA'SHON
         301 E COLLEGE AVENUE                     ¨ Contingent
         SALISBURY MD 21804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3980. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $255.60                 $255.60
         MADISON, JAYLIE M
         1418 THIRD ST. SE                        ¨ Contingent
         AUBURN WA 98002
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1327 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1437 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3981. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,115.27               $2,115.27
         MADRIAGA, JANINE
         91-1219 KANEANA ST 15B                   ¨ Contingent
         EWA BEACH HI 96706-3785
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3982. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,128.48               $5,128.48
         MADRID, CHELCYANN M
         10705 PEARL RIVER AVE                    ¨ Contingent
         LAS VEGAS NV 89166
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3983. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.37                 $112.37
         MADRIGAL, MEILYN
         110 MANNERS AVE                          ¨ Contingent
         NAUGATUCK CT 06770
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1328 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1438 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3984. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.85                 $179.85
         MADRIL, CHRISTINA
         5225 EAST 27TH STREET                    ¨ Contingent
         TUCSON AZ 85711
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3985. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $305.15                 $305.15
         MADU, ASHLEY C
         8002 SW 157 CT                           ¨ Contingent
         MIAMI FL 33193
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3986. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.74                 $138.74
         MAESTAS, MIKAYLA D
         2812 WILLIAM ST SE                       ¨ Contingent
         ALBUQUERQUE NM 87102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1329 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1439 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3987. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,609.73               $1,609.73
         MAGAAN, CHRISTINA N
         11 HOYT STREET APT 2A                    ¨ Contingent
         DANBURY CT 06810
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3988. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.50                 $130.50
         MAGALLON, HILLARY S
         605 LIBERTY ST                           ¨ Contingent
         SOUTH BEND IN 46619
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3989. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $248.04                 $248.04
         MAGANA, AMELIA
         1811 E. GRAND AVE                        ¨ Contingent
         101
         ESCONDIDO CA 92027                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1330 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1440 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3990. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $372.00                 $372.00
         MAGANA, ARIANA
         2525 MARQUETTE CT                        ¨ Contingent
         FAIRFIELD CA 94533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3991. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.28                 $116.28
         MAGANA, CARINA
         224 WEST HARVARD BLVD.                   ¨ Contingent
         SANTA PAULA CA 93060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3992. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,537.85               $2,537.85
         MAGANA, CLAUDIA J
         23524 KINGS VALLEY RD                    ¨ Contingent
         GERMANTOWN MD 20876
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1331 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1441 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3993. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.96                  $72.96
         MAGANA, ESMERALDA
         639 HOWELL RD                            ¨ Contingent
         OXNARD CA 93033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3994. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $582.12                 $582.12
         MAGANA, GUADALUPE M
         6300 SW 188TH CT APT 49                  ¨ Contingent
         BEAVERTON OR 97078
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3995. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,957.95               $2,957.95
         MAGANA, JACQUELINE Y
         98 LAWRENCE AVENUE                       ¨ Contingent
         LYNBROOK NY 11563
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1332 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1442 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3996. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.08                 $560.08
         MAGBANUA, JESSIKA ANNE G
         94-669 KEHELA ST                         ¨ Contingent
         WAIPAHU HI 96797-1229
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3997. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $118.70                 $118.70
         MAGEE, KAYLA A
         125 MARIETTA DRIVE NW                    ¨ Contingent
         724
         KENNESAW GA 30144                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.3998. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $306.24                 $306.24
         MAGLALANG, CECILY Z
         1395 SHELBY DR                           ¨ Contingent
         FAIRFIELD CA 94534
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1333 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1443 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.3999. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,197.89               $5,197.89
         MAGNOTTA, THOMAS
         18 NEW HAVEN AVE                         ¨ Contingent
         NANUET NY 10954-2228
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4000. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $624.62                 $624.62
         MAGUIRE, DARLA
         108 FAY RD                               ¨ Contingent
         A
         FRAMINGHAM MA 01702-6867                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4001. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $26.31                  $26.31
         MAHAN, SARAH L
         7875 WATERWAY DR. NW                     ¨ Contingent
         302
         CONCORD NC 28027                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1334 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1444 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4002. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.20                 $157.20
         MAHARAJ, ANJILI
         2901 SPANISH BAY DRIVE                   ¨ Contingent
         BRENTWOOD CA 94513
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4003. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $262.60                 $262.60
         MAHLER, VERONICA
         20 HEVELEYN ROAD                         ¨ Contingent
         ELMSFORD NY 10523
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4004. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.07                  $38.07
         MAI, JENNIFER
         4472 BLYTHE RD                           ¨ Contingent
         COLUMBUS OH 43224
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1335 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1445 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4005. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $183.32                 $183.32
         MAIDEN, ATIYA
         1911 AUDUBON DRIVE                       ¨ Contingent
         DRESHER PA 19025
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4006. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $364.80                 $364.80
         MAIELLO, MARY F
         224 N. CHESTNUT STREET                   ¨ Contingent
         MASSAPEQUA NY 11758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4007. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,819.12               $2,819.12
         MAITIN, LILLIAN
         798 BRYANT ST.                           ¨ Contingent
         STROUDSBURG PA 18360
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1336 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1446 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4008. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.44                  $82.44
         MAJOK, AMOU
         6608 UNIVERSITY DRIVE SOUTH              ¨ Contingent
         OMAHA NE 68182
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4009. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $525.20                 $525.20
         MAKAY, ALEXANDRIA M
         401 NORTHERN DRIVE                       ¨ Contingent
         SALEM VA 24153
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4010. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.90                  $83.90
         MAKINSON, ASHLEY A
         2364 GUNN ROAD                           ¨ Contingent
         KISSIMMEE FL 34746
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1337 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1447 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4011. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.44                 $214.44
         MALANI, KAELYNN E
         865 7TH AVENUE                           ¨ Contingent
         SAN BRUNO CA 94066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4012. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $633.42                 $633.42
         MALAVET, KAILA J
         440 KEAWE ST                             ¨ Contingent
         UNIT 515
         HONOLULU HI 96813                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4013. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $311.46                 $311.46
         MALCHAN, MAREENA
         1610 RUTGERS STREET                      ¨ Contingent
         SCHENECTADY NY 12303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1338 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1448 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4014. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $250.29                 $250.29
         MALCOLM, RACQUEL
         30 PINE ROCK RD                          ¨ Contingent
         NEW HAVEN CT 06511-1665
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4015. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $21.75                  $21.75
         MALDONADO, ALEYSHA A
         4230 SCHAPER AVE                         ¨ Contingent
         ERIE PA 16503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4016. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.22                  $78.22
         MALDONADO, CHERELYN
         HACIENDAS DEL CARRIBE                    ¨ Contingent
         SOLAR 6 STREET
         TOA ALTA PR 00953                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1339 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1449 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4017. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $684.16                 $684.16
         MALDONADO, DESTINY K
         2185 MONARCH RIDGE CIR                   ¨ Contingent
         EL CAJON CA 92019-3875
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4018. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.60                 $147.60
         MALDONADO, DIAMOND D
         424 NORTH 2ND STREET                     ¨ Contingent
         ALLENTOWN PA 18102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4019. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.30                 $165.30
         MALDONADO, SASHA
         66 AUSTIN STREET                         ¨ Contingent
         3
         WORCESTER MA 01609                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1340 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1450 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4020. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.37                 $203.37
         MALDONADO, SHEILA
         101 S. SHERRY AVE                        ¨ Contingent
         NORMAN OK 73069
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4021. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $517.83                 $517.83
         MALDONADO, TATJANA M
         520 COPPERFIELD RD                       ¨ Contingent
         SPRING HILL FL 34606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4022. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,635.12               $3,635.12
         MALINOWSKI, LAURA M
         2715 BOARDWALK                           ¨ Contingent
         APT 616
         ATLANTIC CITY NJ 08401-6424              ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1341 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1451 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4023. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.41                  $50.41
         MALLEY, GABRIELLA S
         1907 CANVAS EDGE DRIVE                   ¨ Contingent
         HENDERSON NV 89044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4024. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.06                 $121.06
         MALLORY, RASHONDRA A
         3496 LEE COURT                           ¨ Contingent
         KENNESAW GA 30144
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4025. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.45                 $154.45
         MALLOY, JYNISE J
         3212 KINGSWAY ROAD                       ¨ Contingent
         FORT WASHINGTON MD 20744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1342 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1452 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4026. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,346.75               $6,346.75
         MALONE, EARNESTINE M
         665 GEARY STREET                         ¨ Contingent
         APT 10
         SAN FRANCISCO CA 94102                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4027. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.44                 $121.44
         MALONE, IRMA J
         3651 CATTLE DR                           ¨ Contingent
         SACRAMENTO CA 95834
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4028. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.17                 $154.17
         MALONE, JANELL M
         1612 CLARICE WAY                         ¨ Contingent
         LOUISVILLE KY 40216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1343 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1453 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4029. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $360.36                 $360.36
         MALONEY, MEGAN
         213 SPRUCE LAKE DRIVE                    ¨ Contingent
         MILFORD PA 18337
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4030. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.27                 $169.27
         MALOY, DAVID S
         67 MOUNTAIN VIEW DR.                     ¨ Contingent
         BROOKFIELD CT 06804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4031. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $790.00                 $790.00
         MAND, MAHALIA
         4815 IRON HORSE TRAIL                    ¨ Contingent
         COLORADO SPRINGS CO 80917
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1344 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1454 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4032. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,819.42               $2,819.42
         MANDELT, ASHLEY N
         1280 E. FOX PLACE                        ¨ Contingent
         MUNDS PARK AZ 86017
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4033. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $570.01                 $570.01
         MANDICH, AMY
         428 MAIN ST N                            ¨ Contingent
         SAINT MICHAEL MN 55376
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4034. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $264.74                 $264.74
         MANGIOLA, KARA
         164 N AUTUMN DR                          ¨ Contingent
         ROCHESTER NY 14626-1338
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1345 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1455 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4035. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $266.81                 $266.81
         MANGUAL, JASMINE
         513 CAPE COD CIR                         ¨ Contingent
         VALRICO FL 33594-4378
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4036. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.62                  $81.62
         MANIAGO, JILLIAN
         325 WEBSTER DRIVE                        ¨ Contingent
         NEW MILFORD NJ 07646
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4037. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $493.32                 $493.32
         MANISCALCO, SAMANTHA L
         40 JEFFERSON STREET                      ¨ Contingent
         EAST ISLIP NY 11730
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1346 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1456 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4038. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,291.19               $3,291.19
         MANJARREZ, STEPHANIE
         5211 S. ST LOUIS AVE                     ¨ Contingent
         CHICAGO IL 60632-1512
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4039. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.57                 $215.57
         MANLEY, GABRIEL R
         1294 COUNTY ROUTE 61                     ¨ Contingent
         SHUSHAN NY 12873
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4040. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,297.41               $1,297.41
         MANN, AMBER
         14 SCHOFIELD STREET                      ¨ Contingent
         WEST WARWICK RI 02893
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1347 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1457 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4041. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $346.97                 $346.97
         MANN, JASMIN C
         24105 LEXINGTON FARMS DRIVE              ¨ Contingent
         24105
         ALPHARETTA GA 30004                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4042. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.75                  $74.75
         MANN, JOHNSON THAIZHANE K
         1114 STRAWN CT                           ¨ Contingent
         FLOWER MOUND TX 75028
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4043. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.29                 $164.29
         MANNING, ALEXIS L
         452 BOSTWICK CIRCLE                      ¨ Contingent
         SAINT AUGUSTINE FL 32092
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1348 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1458 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4044. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $459.36                 $459.36
         MANNING, MEGAN M
         2909 N OLIVER APT 5-528B                 ¨ Contingent
         WICHITA KS 67220
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4045. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,596.06               $2,596.06
         MANNING, SYDNEY
         4909 NW 80TH TER                         ¨ Contingent
         KANSAS CITY MO 64151-1127
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4046. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.61                 $130.61
         MANNON, TRANIER
         2405 ROCHDALE ST                         ¨ Contingent
         GARLAND TX 75040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1349 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1459 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4047. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.41                  $66.41
         MANUEL, KAYLA J
         87-185 MAMOALII PL                       ¨ Contingent
         WAIANAE HI 96792
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4048. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $216.91                 $216.91
         MANZANO, SIMMONS IMANI M
         3092 SINGLE TREE COURT                   ¨ Contingent
         LAKEWALES FL 33898
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4049. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.97                 $239.97
         MANZANO-MEXICANO, DEYSI G
         821 NC HWY 210 W                         ¨ Contingent
         LOT 5
         HAMPSTEAD NC 28443                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1350 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1460 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4050. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $469.07                 $469.07
         MAPP, STEPHANIE S
         730 FRANKLIN GATEWAY                     ¨ Contingent
         V9
         MARIETTA GA 30067                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4051. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $558.84                 $558.84
         MAQUEDA-MARTINEZ, DIANA
         6240 DON ZAREMBO AVE                     ¨ Contingent
         LAS VEGAS NV 89108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4052. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $282.92                 $282.92
         MARBURY-FRIEND, MARIAH
         9125 LAWLER AVE                          ¨ Contingent
         APT 1
         SKOKIE IL 60077                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1351 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1461 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4053. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $686.18                 $686.18
         MARCH, HARRISON D
         139 B CR 37 TYLER TX                     ¨ Contingent
         TYLER TX 75670
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4054. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $442.49                 $442.49
         MARCIANO, ESTEFANI
         1022B JULIA LANE                         ¨ Contingent
         LAFAYETTE IN 47905
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4055. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.64                  $38.64
         MARCOS, STEPHANIE
         886 FRIENDLY CIR                         ¨ Contingent
         EL CAJON CA 92021
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1352 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1462 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4056. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.64                 $173.64
         MARES, PAULINE C
         1868 WHITNEY WAY                         ¨ Contingent
         EL CENTRO CA 92243
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4057. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $378.60                 $378.60
         MARES, PRISCILLA
         7036 CHATUM LIGHT RUN                    ¨ Contingent
         BRADENTON FL 34212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4058. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $251.37                 $251.37
         MARGRAF, ERIN M
         721 MEADOWS DR                           ¨ Contingent
         ARGYLE TX 76226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1353 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1463 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4059. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.98                 $148.98
         MARICICH, PAIGE M
         629 FLORIDA PL                           ¨ Contingent
         GAMBRILLS MD 21054
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4060. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $277.88                 $277.88
         MARIN, ANA M
         3916 SHASTA DR.                          ¨ Contingent
         BLOOMINGTON IL 61705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4061. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,068.05               $2,068.05
         MARIN, JR. VICTOR
         1523 PRAIRIE ROCK                        ¨ Contingent
         NEW BRAUNFELS TX 78130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1354 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1464 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4062. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.54                 $120.54
         MARINES, KENNYA A
         921 COLORADO ST.                         ¨ Contingent
         HARLINGEN TX 78550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4063. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $319.21                 $319.21
         MARINO, AMANDA E
         15G ADELAIDE RD                          ¨ Contingent
         NORWICH CT 06360
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4064. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.80                 $136.80
         MARK, SEKEYAH
         260 STONYFORD DR                         ¨ Contingent
         VACAVILLE CA 95687
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1355 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1465 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4065. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.99                 $138.99
         MARKHAM, KAITLIN R
         9657 SW CHAMBERS RD                      ¨ Contingent
         AUGUSTA KS 67010
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4066. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.88                 $125.88
         MARKS, KAITLIN A
         6126 AVILA STREET                        ¨ Contingent
         ENGLEWOOD FL 34224
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4067. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $10,374.31              $10,374.31
         MARKWELL, SHANNON M
         11949 ROCOSO RD                          ¨ Contingent
         LAKESIDE CA 92040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1356 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1466 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4068. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,178.63               $1,178.63
         MARMOLEJOS, KENNIBETH M
         250 RYANS RIDGE AVENUE                   ¨ Contingent
         APT 911A
         EUSTIS FL 32726                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4069. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.08                 $229.08
         MARQUEZ, CHELSEA
         117 MARKET STREET                        ¨ Contingent
         3
         BROCKTON STREET MA 02301                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4070. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.00                 $102.00
         MARQUEZ, GABRIELA B
         844 CROSS GATES BLVD                     ¨ Contingent
         SLIDELL LA 70461
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1357 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1467 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4071. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,675.99               $1,675.99
         MARQUEZ, GLADIS
         9800-8 OAK GROVE DRIVE                   ¨ Contingent
         DESCANSO CA 91916
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4072. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $231.54                 $231.54
         MARQUEZ, JULIA E
         10124 RANGE RD SW                        ¨ Contingent
         ALBUQUERQUE NM 87121
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4073. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.22                 $170.22
         MARQUEZ, NATALIE C
         4989 CR 4604                             ¨ Contingent
         COMMERCE TX 75428
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1358 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1468 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4074. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,853.80               $7,853.80
         MARQUEZ, SONIA
         10685 MULHALL ST                         ¨ Contingent
         EL MONTE CA 91731-1230
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4075. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.92                 $139.92
         MARQUEZ, VANESSA A
         39915 TINDERBOX WAY                      ¨ Contingent
         MURRIETA CA 92562
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4076. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,663.40               $1,663.40
         MARQUIS, JENNIFER
         5018 BARBARA LANE                        ¨ Contingent
         MILTON FL 32570
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1359 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1469 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4077. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $609.63                 $609.63
         MARRERO, CIERA I
         205 MILL LANE                            ¨ Contingent
         UNIT 303
         SAINT AUGUSTINE FL 32084                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4078. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,352.05               $1,352.05
         MARRERO, KATHERINE
         724 COUNTRY WOODS CIR                    ¨ Contingent
         KISSIMMEE FL 34744-4625
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4079. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,857.79               $2,857.79
         MARRUJO, RANDI L
         1007 N. ONONDAGA AVE.                    ¨ Contingent
         ANAHEIM CA 92801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1360 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1470 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4080. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $663.67                 $663.67
         MARSHALL, BREYANNA S
         2414 WINCH ST                            ¨ Contingent
         FORT WAYNE IN 46803
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4081. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $285.86                 $285.86
         MARSHALL, DIAMOND
         5402 LIVINGSTON OAKS CIRCLE              ¨ Contingent
         APT. 230
         BIRMINGHAM AL 35215                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4082. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,007.58               $3,007.58
         MARSHALL, DIANNE E
         1044 S. LEXAN CRES                       ¨ Contingent
         NORFOLK VA 23508
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1361 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1471 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4083. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.28                  $79.28
         MARSHALL, JASMINE D
         3 EVERETT ST                             ¨ Contingent
         DERRY NH 03038
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4084. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $274.32                 $274.32
         MARSHALL, MAYA L
         3301 MELROSE CLUB BLVD                   ¨ Contingent
         APT 512
         RALEIGH NC 27603                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4085. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $183.05                 $183.05
         MARSHALL, OCTAVIA
         3464 LANDSTOWN COURT                     ¨ Contingent
         VIRGINIA BEACH VA 23453
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1362 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1472 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4086. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $231.28                 $231.28
         MARSHALL, SARENA M
         1454A NORTH MT VERNON AVE                ¨ Contingent
         WILLIAMSBURG VA 23185
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4087. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $26.65                  $26.65
         MARSHALL, SHARONTE A
         2110 W SAN MIGUEL AVE                    ¨ Contingent
         N LAS VEGAS NV 89032
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4088. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.73                  $43.73
         MARSHALL, SYDNEY
         114 SONGBIRD TRAIL                       ¨ Contingent
         YORKTOWN VA 23692
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1363 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1473 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4089. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.26                 $109.26
         MARSHALL, TAKAYLA J
         5932 MARGERY DR                          ¨ Contingent
         #103
         RACINE WI 53406                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4090. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.31                 $259.31
         MARSHALL, TY'SHAE
         1217 S. OCTAGON RD                       ¨ Contingent
         CAMDEN NJ 08104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4091. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.70                 $164.70
         MARTE, SESSALEE M
         119 SOUTH AVENUE                         ¨ Contingent
         STATEN ISLAND NY 10303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1364 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1474 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4092. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.28                 $170.28
         MARTEL, ISOBEL CASSANDR
         739A COOKE ST                            ¨ Contingent
         WESTHAMPTON BEACH NY 11978
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4093. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.03                 $240.03
         MARTI, YESENIA L
         11431SW 35TH LANE                        ¨ Contingent
         MIAMI FL 33165
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4094. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,532.01               $1,532.01
         MARTIN, ALEXXIS J
         14468 RUNYON DR.                         ¨ Contingent
         CORONA CA 92880
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1365 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1475 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4095. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.22                  $33.22
         MARTIN, ASHLEY
         10100 N 89TH AVE UNIT 40                 ¨ Contingent
         PEORIA AZ 85345
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4096. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.80                  $58.80
         MARTIN, CHEYENNE R
         104 WEDGEWOOD TERRACE RD.                ¨ Contingent
         MADISON AL 35757
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4097. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $118.56                 $118.56
         MARTIN, JASMINE J
         317 PERKINS CT                           ¨ Contingent
         SUISUN CITY CA 94585-4138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1366 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1476 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4098. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $209.89                 $209.89
         MARTIN, JONES KAYLA N
         6038 CIRCUS LOOP                         ¨ Contingent
         MILLINGTON TN 38053
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4099. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.46                 $127.46
         MARTIN, NYA
         3712 WARNER AVE                          ¨ Contingent
         LANDOVER HILLS MD 20784
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4100. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $144.96                 $144.96
         MARTIN, SARA
         1549 E LAURA AVE                         ¨ Contingent
         VISALIA CA 93292
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1367 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1477 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4101. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.53                  $71.53
         MARTIN, TYRA M
         3208 CRESCENT RUN CT                     ¨ Contingent
         LAS VEGAS NV 89117
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4102. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $302.62                 $302.62
         MARTIN, TYREANNA
         3516 W 157TH ST                          ¨ Contingent
         MARKHAM IL 60428
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4103. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,056.76               $1,056.76
         MARTINEZ, ALEJANDRA
         2580 SENTER RD SPC 521                   ¨ Contingent
         SAN JOSE CA 95111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1368 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1478 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4104. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.20                 $185.20
         MARTINEZ, AMANDA
         84477 VOLARE AVE                         ¨ Contingent
         INDIO CA 92203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4105. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $966.25                 $966.25
         MARTINEZ, ANNETTE M
         1621 CARLTONIA STREET                    ¨ Contingent
         PUEBLO CO 81006
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4106. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $47.64                  $47.64
         MARTINEZ, AVILA KELSEY
         2621 HOWE AVE                            ¨ Contingent
         APT. 217
         SACRAMENTO CA 95821                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1369 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1479 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4107. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $279.27                 $279.27
         MARTINEZ, BIANCA
         576 CLAY AVE                             ¨ Contingent
         ROCHESTER NY 14613-1045
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4108. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $360.60                 $360.60
         MARTINEZ, BRIANA
         10630 PUEBLO PL NW                       ¨ Contingent
         ALBUQUERQUE NM 87114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4109. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.22                  $38.22
         MARTINEZ, CAMILE
         718 VERMONT AVE                          ¨ Contingent
         PORTSMOUTH VA 23707
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1370 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1480 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4110. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $567.94                 $567.94
         MARTINEZ, CARINA L
         1109 SAPPHIRE DR                         ¨ Contingent
         WESLACO TX 78599
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4111. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,000.43               $7,000.43
         MARTINEZ, CASSIDY S
         1001 S. MEADOWS PKWY                     ¨ Contingent
         612
         RENO NV 89521                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4112. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $566.53                 $566.53
         MARTINEZ, CHRISTINA M
         501 OLA LANE                             ¨ Contingent
         ALLEN TX 75013
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1371 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1481 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4113. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $298.04                 $298.04
         MARTINEZ, CLARIZA G
         1302 N MARYLAND ST                       ¨ Contingent
         CARROLLTON TX 75006
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4114. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.07                 $159.07
         MARTINEZ, CRISTINA M
         3600 S CENTRAL AVE                       ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4115. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $397.98                 $397.98
         MARTINEZ, CYNTHIA A
         877 LAVOIE AVENUE                        ¨ Contingent
         ELGIN IL 60120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1372 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1482 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4116. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.36                  $24.36
         MARTINEZ, DESTINY A
         1400 ISLETON PL                          ¨ Contingent
         #1
         OXNARD CA 93030                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4117. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $576.30                 $576.30
         MARTINEZ, ELIZABETH
         5167 ROEDER RD                           ¨ Contingent
         SAN JOSE CA 95111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4118. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.00                  $48.00
         MARTINEZ, ESTEFANI
         6309 ELGIN ST                            ¨ Contingent
         LOS ANGELES CA 90042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1373 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1483 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4119. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,281.63               $1,281.63
         MARTINEZ, FELISA
         6851 TAMARUS STREET UNIT 104             ¨ Contingent
         LAS VEGAS NV 89119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4120. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,621.05               $1,621.05
         MARTINEZ, GISSELLE
         33647 5TH ST                             ¨ Contingent
         UNION CITY CA 94587-2420
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4121. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.63                 $239.63
         MARTINEZ, GRACE L
         15321 RINGNECK ST                        ¨ Contingent
         ROANOKE TX 76262
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1374 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1484 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4122. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,438.50               $2,438.50
         MARTINEZ, ISEL D
         662 TUMBLEWEED                           ¨ Contingent
         CHAPARRAL NM 88081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4123. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.41                  $25.41
         MARTINEZ, JAZMIN I
         3784 KIT FOX ST                          ¨ Contingent
         LAS VEGAS NV 89122
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4124. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.97                 $112.97
         MARTINEZ, JENNIFER
         3201 LOYOLA DR                           ¨ Contingent
         KENNER LA 70065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1375 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1485 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4125. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $474.15                 $474.15
         MARTINEZ, JORDANIA
         94-07 82ND PL                            ¨ Contingent
         OZONE PARK NY 11416
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4126. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.25                  $86.25
         MARTINEZ, JOSELYN
         7770 LAYDEN LN                           ¨ Contingent
         COMMERCE CITY CO 80022
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4127. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.02                 $173.02
         MARTINEZ, JUANITA M
         4200 MAYBROOK DRIVE LOT #34              ¨ Contingent
         GREENSBORO NC 27405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1376 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1486 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4128. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.76                 $155.76
         MARTINEZ, JULIET E
         7546 STEWART AND GRAY RD                 ¨ Contingent
         101
         DOWNEY CA 90241                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4129. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.20                  $67.20
         MARTINEZ, KAREN J
         6568 N RAISINA                           ¨ Contingent
         FRESNO CA 93710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4130. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $419.82                 $419.82
         MARTINEZ, KATHERINE Z
         6130 W 21 CT                             ¨ Contingent
         104
         HIALEAH FL 33016                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1377 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1487 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4131. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $635.25                 $635.25
         MARTINEZ, KIMBERLY
         3 BERNIUS CT                             ¨ Contingent
         JERSEY CITY NJ 07304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4132. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.68                  $64.68
         MARTINEZ, LEXY V
         311 NORTH GEORGIA                        ¨ Contingent
         MERCEDES TX 78570
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4133. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.12                 $240.12
         MARTINEZ, LIZBETH
         6835 SIMI PL.                            ¨ Contingent
         SAN DIEGO CA 92139
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1378 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1488 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4134. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.35                  $92.35
         MARTINEZ, LYNN M
         9551 BARLOW SPRINGS LN                   ¨ Contingent
         HUMBLE TX 77396
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4135. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,500.80               $3,500.80
         MARTINEZ, MARIA D
         1292 SE 9TH STREET                       ¨ Contingent
         HOMESTEAD FL 33035
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4136. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,726.16               $1,726.16
         MARTINEZ, MARIA D
         1292 SE 9TH STREET                       ¨ Contingent
         HOMESTEAD FL 33035
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1379 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1489 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4137. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.24                 $112.24
         MARTINEZ, MARIA YASMIN
         2535 EDGEWOOD AVE NE                     ¨ Contingent
         SALEM OR 97301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4138. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.52                 $146.52
         MARTINEZ, MARLENY
         53551 HARRISON ST.                       ¨ Contingent
         124
         COACHELLA CA 92236                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4139. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.55                  $83.55
         MARTINEZ, MEAGAN
         2602 DUNCAN DR                           ¨ Contingent
         AMARILLO TX 79109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1380 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1490 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4140. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,184.04               $2,184.04
         MARTINEZ, MEGHAN M
         2505 SUNBURST LN                         ¨ Contingent
         PEARLAND TX 77584-3176
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4141. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $422.43                 $422.43
         MARTINEZ, MELISSA M
         5318 KADENA GARDEN CT                    ¨ Contingent
         NORTH LAS VEGAS NV 89031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4142. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,401.54               $2,401.54
         MARTINEZ, MONICA
         3648 W 71ST ST                           ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1381 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1491 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4143. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.13                  $31.13
         MARTINEZ, NADYIA A
         3315 MESA VERDE                          ¨ Contingent
         GRAND PRAIRIE TX 75052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4144. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,272.90               $4,272.90
         MARTINEZ, NANCY B
         819 PARK AVE                             ¨ Contingent
         APT 1
         HOBOKEN NJ 07030                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4145. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.30                 $149.30
         MARTINEZ, NAOMI L
         250 MAIN ST                              ¨ Contingent
         18
         SPOTSWOOD NJ 08884                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1382 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1492 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4146. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.65                 $166.65
         MARTINEZ, NICOLE A
         4916 N. HARLEM AVE                       ¨ Contingent
         APT 2E
         HARWOOD HEIGHTS IL 60706                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4147. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.64                  $68.64
         MARTINEZ, PATRICIA E
         340 WARTHAN ST                           ¨ Contingent
         COALINGA CA 93210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4148. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,479.97               $1,479.97
         MARTINEZ, REBECCA G
         19451 E. RYAN RD                         ¨ Contingent
         QUEEN CREEK AZ 85142
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1383 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1493 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4149. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $559.22                 $559.22
         MARTINEZ, SAMANTHA
         19790 NW 52ND PLACE                      ¨ Contingent
         MIAMI FL 33055
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4150. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.87                  $34.87
         MARTINEZ, SAMERA R
         5720 FRISCO SQUARE BLVD                  ¨ Contingent
         2012
         FRISCO TX 75033                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4151. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $585.42                 $585.42
         MARTINEZ, SIANI
         4428 COMLY ST                            ¨ Contingent
         PHILADELPHIA PA 19135
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1384 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1494 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4152. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,316.04               $3,316.04
         MARTINEZ, STEVEN M
         1375 MARCY ST                            ¨ Contingent
         AKRON OH 44301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4153. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.35                 $129.35
         MARTINEZ, VERONICA
         12413 RUSH STREET                        ¨ Contingent
         EL MONTE CA 91733
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4154. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $644.01                 $644.01
         MARTINEZ, VICTORIA
         4514 24TH STREET                         ¨ Contingent
         DICKINSON TX 77539
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1385 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1495 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4155. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,746.86               $2,746.86
         MARTINEZ, VICTORIA M
         3102 EAST 65TH STREET                    ¨ Contingent
         APT 204
         INVER GROVE MN 55076                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4156. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $779.26                 $779.26
         MARTINEZ, YADIRA
         1761 BOATSWAIN LN                        ¨ Contingent
         PERRIS CA 92571
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4157. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $376.80                 $376.80
         MARTINEZ, YESENIA
         2823 W20TH STREET                        ¨ Contingent
         1R
         BROOKLYN NY 11224                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1386 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1496 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4158. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,018.67               $1,018.67
         MARTINEZ-COLLAZO, DESIREE
         11024 W OKLAHOMA AVE                     ¨ Contingent
         APT 509
         WEST ALLIS WI 53227-4069                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4159. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $441.53                 $441.53
         MARTINEZ-RAYA, JULISSA N
         214 BARRINGTON DR.                       ¨ Contingent
         HAINES CITY FL 33845
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4160. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.68                  $82.68
         MARTINS, FRANCISCA V
         73 MOSHER ST                             ¨ Contingent
         1
         NEW BEDFORD MA 02744                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1387 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1497 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4161. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,841.53               $3,841.53
         MARTIRE, CYNTHIA M
         9930 HARLINGTON STREET                   ¨ Contingent
         CANTONMENT FL 32533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4162. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.35                  $73.35
         MARTY, GISSELLE M
         7106 SUMMIT DR                           ¨ Contingent
         WINTER HAVEN FL 33884
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4163. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $408.10                 $408.10
         MARX, ASHLEY T
         856 ASHBURN WAY                          ¨ Contingent
         WOOLWICH TOWNSHIP NJ 08085
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1388 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1498 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4164. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.07                 $140.07
         MARX, SAVANNAH
         251 CORDELL CIRCLE                       ¨ Contingent
         JACKSONVILLE NC 28540
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4165. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.44                 $102.44
         MARZIOTTO, DOMINIQUE
         2811 TORI OAK TRAIL                      ¨ Contingent
         CORINTH TX 76210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4166. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $733.34                 $733.34
         MASCORRO, LORENA R
         110 LEGION WAY SE                        ¨ Contingent
         207
         OLYMPIA WA 98501                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1389 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1499 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4167. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.41                 $113.41
         MASLANKA, MADALINE M
         2231 TECHNOLOGY DRIVE                    ¨ Contingent
         105
         CONWAY SC 29526                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4168. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.14                 $219.14
         MASON, ANTOINETTE
         10203 GLEN WAY                           ¨ Contingent
         FORT WASHINGTON MD 20744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4169. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $223.52                 $223.52
         MASON, LINNEA B
         891 WHITE PINE DRIVE                     ¨ Contingent
         APT C
         DECATUR GA 30032                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1390 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1500 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4170. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,419.82               $3,419.82
         MASSENAT, OREL
         9 CANOE BIRCH CT                         ¨ Contingent
         BERLIN CT 06037-4088
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4171. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $244.80                 $244.80
         MASSENGALE, TAYLOR R
         865 VIKING CIRCLE                        ¨ Contingent
         UNIT 406
         BELLINGHAM WA 98229                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4172. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.75                  $74.75
         MASSEY, ANIKA K
         1512 PICHARD ST                          ¨ Contingent
         GREENSBORO NC 27401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1391 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1501 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4173. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,795.21               $1,795.21
         MASSIE, TIFFANY J
         174 NORTHWOOD AVENUE                     ¨ Contingent
         FRANKLIN FURNACE OH 45629
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4174. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $584.33                 $584.33
         MASTRIANNI, JOELI
         2 ADVOCATE PLACE                         ¨ Contingent
         DANBURY CT 06810
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4175. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,358.55               $1,358.55
         MASULIT, CHAERAI J
         19910 15TH AVE EAST                      ¨ Contingent
         SPANAWAY WA 98387
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1392 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1502 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4176. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $262.44                 $262.44
         MATA, ARIEL L
         32456 BERGAMO CT                         ¨ Contingent
         TEMECULA CA 92592
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4177. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,573.85               $3,573.85
         MATA, WENDY J
         14902 ROSCOE BLVD                        ¨ Contingent
         APT 14
         PANORAMA CITY CA 91402-4675              ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4178. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.85                  $66.85
         MATAMOROS, ADAMARIS L
         28436 RANGERVILLE RD                     ¨ Contingent
         HARLINGEN TX 78552
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1393 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1503 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4179. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $543.34                 $543.34
         MATAU, CASSANDRA S
         1410 NORTH 19TH STREET                   ¨ Contingent
         GRAND JUNCTION CO 81501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4180. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $371.05                 $371.05
         MATHAI, ANN S
         3609 SAGE BRUSH PL.                      ¨ Contingent
         YUKON OK 73099
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4181. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,203.66               $1,203.66
         MATHEUS, JILLIAN M
         165 WINTHROP ST EASTHAM 115              ¨ Contingent
         325 SAGAMORE
         TAUNTON MA 02780                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1394 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1504 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4182. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.27                 $105.27
         MATHEWSON-THOMAS, ALEXA
         2213 S EVERGREEN RD                      ¨ Contingent
         TEMPE AZ 85282
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4183. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $511.24                 $511.24
         MATIAS, ELIZABETH
         2257 HURLEY WAY APT 86                   ¨ Contingent
         SACRAMENTO CA 95825
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4184. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.20                 $175.20
         MATLOCK, BRIANNA L
         8467 MELROSE LN                          ¨ Contingent
         EL CAJON CA 92021
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1395 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1505 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4185. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.17                  $94.17
         MATSON-TERRY, CHASADEE N
         108 BOMBADILL BLVD                       ¨ Contingent
         WRIGHT CITY MO 63390
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4186. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $313.58                 $313.58
         MATSOS, KAELYN K
         13363 LONGTIN ST.                        ¨ Contingent
         SOUTHGATE MI 48195
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4187. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $593.28                 $593.28
         MATTERN, BRIANNE A
         1560 ALABASTER WAY                       ¨ Contingent
         APT C
         FAYTTEVILLE NC 28314                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1396 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1506 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4188. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.02                 $120.02
         MATTHEW, AMANDA
         255 THE PRESERVE DR                      ¨ Contingent
         ATHENS GA 30606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4189. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $370.07                 $370.07
         MATTHEW, ARIELLE A
         2240 NW 1ST STREET                       ¨ Contingent
         BOYNTON BEACH FL 33435
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4190. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $223.21                 $223.21
         MATTHEWS, ANIAH
         9419 MERRYREST RD                        ¨ Contingent
         COLUMBIA MD 21045
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1397 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1507 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4191. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.24                  $76.24
         MATTHEWS, JESSICA R
         711 THOMPSON DRIVE                       ¨ Contingent
         APT 106A
         PRAIRE VIEW TX 77445                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4192. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,196.48               $1,196.48
         MATTHEWS, NICKIE
         1667 WESTGATE DR                         ¨ Contingent
         APT 201
         YORK PA 17408-6342                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4193. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $228.00                 $228.00
         MATUS, HERMIE JULIETTE J
         986 ADIRONDACK PLACE                     ¨ Contingent
         CHULA VISTA CA 91914
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1398 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1508 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4194. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.71                 $131.71
         MATUSHESKI, ROSE A
         216 FARVIEW ROAD                         ¨ Contingent
         EAST NORRITON PA 19401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4195. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.30                 $232.30
         MATYUSHINA, LYUBOV A
         17 BELLINGER CT                          ¨ Contingent
         REISTERSTOWN MD 21136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4196. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.03                 $146.03
         MAURICIO, MA CRISTINA A
         25650 INTERSTATE 45                      ¨ Contingent
         1504
         SPRING TX 77386                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1399 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1509 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4197. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $20.21                  $20.21
         MAXISON, ALEXUS A
         2322 NORTH IDAHO STREEET                 ¨ Contingent
         PEORIA IL 61604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4198. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,949.65               $2,949.65
         MAXWELL, ASHLEY N
         233 CHALMER'S COURT APT 1C               ¨ Contingent
         BERRYVILLE VA 22611
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4199. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.16                  $32.16
         MAXWELL, BETH A
         56 FALMOUTH ROAD                         ¨ Contingent
         YARDVILLE NJ 08620
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1400 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1510 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4200. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $479.22                 $479.22
         MAXWELL, CHRISHUNDA B
         377 GRANT AVE                            ¨ Contingent
         MACON GA 31201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4201. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.84                  $90.84
         MAXWELL, MORGAN E
         1700 RANKIN LANE                         ¨ Contingent
         215
         EVANSVILLE IN 47712                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4202. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,405.73               $1,405.73
         MAY, RAYNA K
         5120 N SUGAR HILLS DRIVE                 ¨ Contingent
         GREENFIELD IN 46140
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1401 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1511 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4203. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,508.15               $2,508.15
         MAY, VICTORIA L
         3707 E BARRINGTON DR                     ¨ Contingent
         APT 104
         BLOOMINGTON IN 47408                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4204. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.51                  $31.51
         MAYCROFT, JESSICA N
         2140 FILONOW                             ¨ Contingent
         MUSKEGON MI 49444
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4205. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.10                 $178.10
         MAYES, CHELSEA N
         7950 CROSSROADS DR. APT 913              ¨ Contingent
         NORTH CHARLESTON SC 29486
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1402 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1512 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4206. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,129.50               $1,129.50
         MAYES, KINNITHEA A
         1225 HEATHERS MIST AVE                   ¨ Contingent
         APT. 301
         CHARLOTTE NC 28213                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4207. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.83                  $58.83
         MAYFIELD, JASMINE N
         3533 BRICK CHURCH PIKE                   ¨ Contingent
         NASHVILLE TN 37207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4208. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.86                  $76.86
         MAYKO, NATALIE
         57 QUEEN ST                              ¨ Contingent
         HOLYOKE MA 01040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1403 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1513 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4209. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.29                 $214.29
         MAYNARD, MARLEE
         4019 FONTANA PL                          ¨ Contingent
         VALRICO FL 33596
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4210. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,085.62               $1,085.62
         MAYNOR, KRISTA N
         300 CRESCENT DR.                         ¨ Contingent
         120
         VACAVILLE CA 95688                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4211. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.28                 $219.28
         MAYO, ALLIYAH
         132 BROOKLYN STANHOPE ROAD               ¨ Contingent
         STANHOPE NJ 07874
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1404 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1514 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4212. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.75                  $72.75
         MAZON, MADISON J
         24545 SW 13TH LANE                       ¨ Contingent
         NEWBERRY FL 32669
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4213. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $256.92                 $256.92
         MAZUR, MADISON M
         19245 MARINE VIEW DR. SW                 ¨ Contingent
         NORMANDY PARK WA 98166
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4214. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.58                  $87.58
         MAZZUCCO, AMANDA R
         26 HUNTINGTON PARKWAY                    ¨ Contingent
         HAMLIN NY 14464
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1405 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1515 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4215. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.81                  $33.81
         MAZZULLA, ALYSSA K
         9 VIOLET STREET                          ¨ Contingent
         JOHNSTON RI 02919
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4216. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,834.42               $1,834.42
         MC DOWELL, ERICKA D
         332 N JEFFERSON STREET                   ¨ Contingent
         B3
         ALLENTOWN PA 18102                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4217. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,670.44               $7,670.44
         MC ILVAINE, JAMES
         2250 MARY ST                             ¨ Contingent
         #205
         PITTSBURGH PA 15203                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1406 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1516 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4218. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $448.33                 $448.33
         MCADAMS, ASHLEY M
         503 BRENTWOOD DRIVE                      ¨ Contingent
         MADISON AL 35758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4219. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.80                 $205.80
         MCAFEE, MERCEDES L
         274 EAST PARK AVE                        ¨ Contingent
         BARBERTON OH 44203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4220. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.60                 $107.60
         MCALISTER, KAYLA
         169 NEILLS CREEK ROAD                    ¨ Contingent
         LILLINGTON NC 27546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1407 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1517 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4221. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.59                  $32.59
         MCALL, BRAE'LYNN J
         1730 PUTNAM AVE #8                       ¨ Contingent
         NORMAL IL 61761
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4222. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.53                  $69.53
         MCALLISTER, BRITTNEY N
         13001 PATAMON WAY                        ¨ Contingent
         301
         WOODBRIDGE VA 22192                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4223. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.05                  $66.05
         MCALPINE, KYLIE
         726 EAST MICHIGAN ST                     ¨ Contingent
         UNIT 151
         ORLANDO FL 32806                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1408 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1518 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4224. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,214.47               $2,214.47
         MCARTHUR, SAMUEL J
         12160 SAGEMEADOW LN                      ¨ Contingent
         MARYLAND HEIGHTS MO 63043-2121
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4225. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $224.00                 $224.00
         MCARTHUR, SHAYLA C
         9040 WALTHAM WOODS RD.                   ¨ Contingent
         APT C
         PARKVILLE MD 21234                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4226. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.06                  $57.06
         MCBRIDE, AUTUMN T
         635 PITTSBURGH ST                        ¨ Contingent
         FLOOR 2
         EAST MCKEESPORT PA 15035                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1409 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1519 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4227. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.30                  $61.30
         MCBRIDE, EMONEE
         33640 N. IDLEWILD DR.                    ¨ Contingent
         GRAYSLAKE IL 60030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4228. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $713.44                 $713.44
         MCCABE, REBECCA
         83 SUMMIT ST                             ¨ Contingent
         MALDEN MA 02148
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4229. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.54                 $180.54
         MCCABE, REBECCA K
         206 HWY 1131                             ¨ Contingent
         #3
         VIDOR TX 77662                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1410 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1520 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4230. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.84                 $252.84
         MCCABE, TAYLOR R
         HC 61 BOX 162                            ¨ Contingent
         WINSLOW AZ 86047
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4231. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.91                  $82.91
         MCCAIN, MAKENZIE
         1909 KESSLER BLVD                        ¨ Contingent
         SOUTH BEND IN 46616
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4232. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.24                  $96.24
         MCCALLA, CASSANDRA
         86 DAVIS STREET                          ¨ Contingent
         FALLRIVER MA 02720
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1411 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1521 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4233. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.72                 $170.72
         MCCANTS, AUTUMN
         105 GIBSON ST                            ¨ Contingent
         BUFFALO NY 14212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4234. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $687.33                 $687.33
         MCCLAIN, SADE Q
         1018 GLENWOOD STATION LN.                ¨ Contingent
         CHARLOTTESVILE VA 22901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4235. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $407.60                 $407.60
         MCCLARY, AALIYAH C
         6737 BURBAGE LAKE CIRCLE                 ¨ Contingent
         SUFFOLK VA 23435
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1412 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1522 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4236. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $475.47                 $475.47
         MCCLEAN, LAUREN A
         4925 AUDUBON OAKS DR                     ¨ Contingent
         MARRERO LA 70072-6694
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4237. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,132.86               $3,132.86
         MCCLELLAND, CRYSTAL A
         108 RITA LANE                            ¨ Contingent
         HAMPSTEAD NC 28443
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4238. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.82                 $175.82
         MCCLELLAND, KAYLARENEE C
         5607 HORSESHOE BEND RD                   ¨ Contingent
         LIBERTY TOWNSHIP OH 45011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1413 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1523 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4239. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.19                 $166.19
         MCCLENDON, SHAMARIA
         3219 COLLEGE STREET                      ¨ Contingent
         SAVANNAH GA 31404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4240. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,335.69               $1,335.69
         MCCLESKEY, JOSEPH L
         2234 SUSSEX DR.                          ¨ Contingent
         GARLAND TX 75041
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4241. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.32                 $153.32
         MCCLINTOCK, JACQUELINE A
         3066 BLITZ CT                            ¨ Contingent
         VIRGINIA BEACH VA 23453
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1414 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1524 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4242. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $228.33                 $228.33
         MCCLOUD, BRIANNA M
         90 OTIS STREET                           ¨ Contingent
         ROCHESTER NY 14606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4243. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.92                 $145.92
         MCCOLLUM, SIERRA L
         10325 ANNETTA AVE                        ¨ Contingent
         SOUTH GATE CA 90280
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4244. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.52                 $105.52
         MCCOLLUM, TALISA S
         6709 CHURCH STREET                       ¨ Contingent
         SELLERS SC 29592
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1415 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1525 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4245. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.62                 $116.62
         MCCORD, ELIZABETH A
         3950 TARAVUE LANE APT A                  ¨ Contingent
         MEHLVILLE MO 63125
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4246. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.36                 $122.36
         MCCOY, ESSENCE
         1380 WILLOW BEND DR                      ¨ Contingent
         SNELLVILLE GA 30078
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4247. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.48                  $67.48
         MCCOY, NIA C
         308 HANCOCK DR.                          ¨ Contingent
         TUPELO MS 38801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1416 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1526 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4248. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $311.00                 $311.00
         MCCRACKEN COUNTY TAX
         ADMINISTRATOR                            ¨ Contingent
         PO BOX 2658
         PADUCAH KY 42002                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         02/04/18-02/02/19                        TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number: 7335
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4249. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,412.24               $5,412.24
         MCCRACKEN, TYLOR N
         717 CONNECTICUT                          ¨ Contingent
         LAWRENCE KS 66044-2870
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4250. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.66                 $157.66
         MCCRAY, DERISHIA J
         150 CLUBHOUSE DR                         ¨ Contingent
         APT 9
         ROANOKE VA 24019                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1417 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1527 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4251. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.29                 $162.29
         MCCREE, SHERELL M
         19560 ROAD STREET                        ¨ Contingent
         19560 ROAD STR
         CITRONELLE AL 36522                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4252. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.28                 $129.28
         MCCRIMMON, JAKIRA T
         4517 JUDSON ROAD                         ¨ Contingent
         DILLON SC 29536
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4253. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.25                 $157.25
         MCCULLEN, DANAISHA T
         2228 BELLAMY CIRCLE                      ¨ Contingent
         123
         GREENVILLE NC 27858                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1418 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1528 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4254. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.44                  $67.44
         MCCULLOUGH, BRIANNA A
         67 COLMBUS AVE                           ¨ Contingent
         CENTRAL ISLIP NY 11722
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4255. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $772.16                 $772.16
         MCDANIEL, CATHERINE
         29 HOMER AVE                             ¨ Contingent
         BUFFALO NY 14216-2301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4256. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.97                  $36.97
         MCDANIEL, JOY A
         8020 ORWIN MANOR LANE                    ¨ Contingent
         201
         CHARLOTTE NC 28216                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1419 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1529 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4257. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $804.00                 $804.00
         MCDERMOTT, ERIN C
         91 POTTER DR.                            ¨ Contingent
         3
         BELLEVILLE MI 48111                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4258. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,024.12               $3,024.12
         MCDONAGH, COLLEEN
         203 WEST ORCHARD PL                      ¨ Contingent
         MOUNT PROSPECT IL 60056
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4259. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $637.14                 $637.14
         MCDONALD, CHEYENNE M
         2840 WOODLAND HILLS DRIVE APT            ¨ Contingent
         COLORADO SPRINGS CO 80918
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1420 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1530 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4260. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.66                  $78.66
         MCDONALD, JESS R
         5684 MAYBERRY SQ N APT 4                 ¨ Contingent
         SYLVANIA OH 43560
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4261. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.53                 $108.53
         MCDONALD, KAYLA S
         4305 SILVER VALLEY DRIVE                 ¨ Contingent
         COLUMBIA MO 65203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4262. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.58                  $88.58
         MCDONALD, MONICA S
         8840 SUNSET STRIP                        ¨ Contingent
         SUNRISE FL 33322
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1421 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1531 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4263. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.58                  $42.58
         MCDOWELL, SAMANTHA R
         263 GOLF COURSE ROAD                     ¨ Contingent
         SOUTH BURLINGTON VT 05403
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4264. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $662.35                 $662.35
         MCELVY, JENNIFER L
         160 SPRING VALLEY AVE                    ¨ Contingent
         SEBASTIAN FL 32958
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4265. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.81                 $102.81
         MCELWEE, JULIA R
         116 PINE ST REAR                         ¨ Contingent
         WEIRTON WV 26062
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1422 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1532 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4266. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,013.62               $3,013.62
         MCEWEN, NANCY D
         4305 HEYWARD STREET                      ¨ Contingent
         NORTH PORT FL 34291
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4267. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $458.43                 $458.43
         MCFARLANE, ASHLEY E
         2615 DELRIDGE DR SW                      ¨ Contingent
         LILBURN GA 30047
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4268. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.08                 $149.08
         MCGAW, MIRANDA
         927 WASHINGTON STREET                    ¨ Contingent
         13603 US ROUTE
         OGDENSBURG NY 13669                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1423 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1533 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4269. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.00                 $174.00
         MCGEE, BRANDY
         21836 GRANDY ST.                         ¨ Contingent
         CLINTON TOWNSHIP MI 48035
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4270. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $305.07                 $305.07
         MCGEE, CHEYANN L
         577 REDBUD LANE                          ¨ Contingent
         MALONE UNIVERS
         XENIA OH 45385                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4271. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.06                 $162.06
         MCGILL, HUNTER B
         16198 ESKES STREET                       ¨ Contingent
         LANSING MI 48906
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1424 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1534 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4272. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $611.63                 $611.63
         MCGILL, KORIANE L
         710 PUMEHANA STREET                      ¨ Contingent
         6
         HONOLULU HI 96826                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4273. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,013.76               $1,013.76
         MCGILL, SHANTEKIA A
         2615 LEJUENE DR                          ¨ Contingent
         APT 4304
         BILOXI MS 39531                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4274. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $533.76                 $533.76
         MCGLOCKLIN, ALLISON A
         34948 FOREST ESTATES RD                  ¨ Contingent
         EVERGREEN CO 80439
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1425 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1535 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4275. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $222.60                 $222.60
         MCGLUEN, LATERRIA
         3583 BAYLISS AVE                         ¨ Contingent
         MEMPHIS TN 38122-1202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4276. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.19                 $127.19
         MCGREW, SIAH
         5751 S. MLK BLVD.                        ¨ Contingent
         LANSING MI 48911
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4277. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $308.04                 $308.04
         MCGUIRE, KAYLEAH
         22 CYPRESS LANE                          ¨ Contingent
         YORKTOWN HEIGHTS NY 10598
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1426 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1536 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4278. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $347.39                 $347.39
         MCGUIRE. JERRI R.
         2139 SLOW STREAM DRIVE                   ¨ Contingent
         ROYSE CITY TX 75189
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4279. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $11,323.67              $11,323.67
         MCHANEY. JERRIET J.
         10374 MOJESKA SUMMIT ROAD                ¨ Contingent
         CORONA CA 92883
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4280. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.82                 $116.82
         MCKAY, YAKIRA B
         862 HANNEMAN DRIVE                       ¨ Contingent
         APT 208
         LINCOLN NE 68522                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1427 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1537 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4281. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.59                  $72.59
         MCKELVEY, SUMER
         1198 PARKVIEW DR                         ¨ Contingent
         TWIN FALLS ID 83301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4282. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.48                 $111.48
         MCKENNA, HANNAH G
         1663 RICHMOND DRIVE                      ¨ Contingent
         LOUISVILLE KY 40205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4283. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $557.97                 $557.97
         MCKENZIE, BRITTANY K
         1691 OAK AVE.                            ¨ Contingent
         MUSKEGON MI 49442
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1428 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1538 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4284. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.24                  $42.24
         MCKENZIE, JENNIFER
         1426 WRIGHTWOOD                          ¨ Contingent
         SAN BERNARDINO CA 92407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4285. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $334.81                 $334.81
         MCKINLEY, LIEZEL M
         300 EUPHORIA CIR                         ¨ Contingent
         CARY NC 27519
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4286. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.97                  $25.97
         MCKINNEY, ALLISON K
         5644 FLAGLER ST                          ¨ Contingent
         HOLLYWOOD FL 33023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1429 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1539 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4287. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $539.70                 $539.70
         MCKINNEY, BRIANNA J
         1512 ARTHUR BLVD                         ¨ Contingent
         LAKELAND FL 33801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4288. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $226.10                 $226.10
         MCKISSACK, ALEXANDRIA A
         5608 HICKORY PARK DRIVE                  ¨ Contingent
         ANTIOCH TN 37013
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4289. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.98                 $219.98
         MCLAIN, JORDAN F
         7708 MCKAIG ROAD                         ¨ Contingent
         FREDERICK MD 21701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1430 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1540 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4290. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.85                  $90.85
         MCLAUGHLIN, BAILEY R
         248 OLIVER EDWARDS ROAD                  ¨ Contingent
         JONESBOROUGH TN 37659
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4291. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.30                 $212.30
         MCLAUGHLIN, HAYLEY
         1327 S OWL DR                            ¨ Contingent
         GILBERT AZ 85296
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4292. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.76                 $129.76
         MCLAUGHLIN, JALYNN
         4110 NEVADA AVE N                        ¨ Contingent
         8
         NEW HOPE MN 55427                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1431 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1541 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4293. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $14.70                  $14.70
         MCLAURIN, SHANIKA A
         706 LOUISE DR W                          ¨ Contingent
         MOBILE AL AL 36606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4294. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.36                  $86.36
         MCLAY, SONYA L
         54 BERLIN ST                             ¨ Contingent
         SOUTHINGTON CT 06489
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4295. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $187.56                 $187.56
         MCLEAN, XIALEA
         6600 TELEPHONE RD                        ¨ Contingent
         1004
         VENTURA CA 93003                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1432 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1542 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4296. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,208.98               $4,208.98
         MCLENNAN COUNTY
         TAX STATEMENT                            ¨ Contingent
         P.O. BOX 406
         WACO TX 76703                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4297. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.72                 $215.72
         MCLEOD, DEANNA A
         1108 JULIP LANE                          ¨ Contingent
         FLORENCE SC 29505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4298. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,333.21               $2,333.21
         MCMAHON, NATASAREA
         3497 WILLOW TREE TRACE                   ¨ Contingent
         DECATUR GA 30034
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1433 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1543 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4299. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $533.59                 $533.59
         MCMAHON, SHANNON
         3 COMMODORE HULL DRIVE                   ¨ Contingent
         DERBY CT 06418
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4300. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,178.16               $5,178.16
         MCMAHON, THOMAS M
         4326 GARSTVIEW CIRCLE                    ¨ Contingent
         ROANOKE VA 24018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4301. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.84                 $123.84
         MCMENIMEN, ANGIE
         21 FELTON ST                             ¨ Contingent
         SAUGUS MA 01906
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1434 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1544 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4302. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $433.40                 $433.40
         MCMILLAN, ASHTON
         1007 1/2 8TH AVE WEST                    ¨ Contingent
         BIRMINGHAM AL 35204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4303. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $307.88                 $307.88
         MCMILLAN, ERNESHA C
         7501 WEAVER AVE                          ¨ Contingent
         NEW ORLEANS LA 70127
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4304. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,732.84               $1,732.84
         MCMILLION, ASISHA
         1125 NORTH PATRICIA AVENUE               ¨ Contingent
         GONZALES LA 70737
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1435 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1545 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4305. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $659.59                 $659.59
         MCMORRIS, KORI
         125 DENBY CIRCLE                         ¨ Contingent
         COLUMBIA SC 29229
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4306. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $438.90                 $438.90
         MCNAIR, AMEERAH A
         5111 PARTRIDGE STREET                    ¨ Contingent
         DURHAM NC 27704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4307. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.57                  $64.57
         MCNAMARA, EMILY E
         2583 MASON LANE                          ¨ Contingent
         HOLT MI 48842
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1436 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1546 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4308. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $202.28                 $202.28
         MCNEAL, JAMYA
         17 BURTON DR                             ¨ Contingent
         MONROE LA 71202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4309. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.00                  $68.00
         MCNEAL, LAURYN R
         6207 LANCE COURT                         ¨ Contingent
         SUFFOLK VA 23435
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4310. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,098.96               $1,098.96
         MCNEELY, CARISSA L
         3750 LAURA COURT                         ¨ Contingent
         BYRNES MILL MO 63051
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1437 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1547 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4311. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $466.22                 $466.22
         MCNEIL, JORDAN E
         17 HOLLY DRIVE                           ¨ Contingent
         DARTMOUTH MA 02747
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4312. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.49                  $34.49
         MCNEILL, TAQUIA L
         141 AYLESBURY RD                         ¨ Contingent
         GOOSE CREEK SC 29445
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4313. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,727.58               $5,727.58
         MCPHERSON, HAILEY K
         3650 IDLEWOOD PARKWAY                    ¨ Contingent
         APT 1807
         INDIANAPOLIS IN 46214                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1438 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1548 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4314. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $337.70                 $337.70
         MCQUEEN, KENYA D
         201 SAMARA STREET APR 14-C               ¨ Contingent
         SPARTANBURG SC 29303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4315. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.66                  $75.66
         MCSORLEY, SHANNON N
         72 WASHINGTON STREET                     ¨ Contingent
         LONG BRANCH NJ 07740
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4316. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $600.19                 $600.19
         MCVAY, JORDAN
         724 DUGAN REED STREET                    ¨ Contingent
         EL DORADO AR 71730
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1439 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1549 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4317. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $248.92                 $248.92
         MEADOWS, KAYLA
         2602 MONROE STREET                       ¨ Contingent
         PADUCAH KY 42001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4318. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $390.73                 $390.73
         MEADOWS, NYDIA K
         1013 CARRIN DR                           ¨ Contingent
         TALLAHASSEE FL 32311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4319. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.16                  $39.16
         MEADOWS, SHELBY
         860 WATKINS GLEN BLVD                    ¨ Contingent
         MARYSVILLE OH 43040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1440 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1550 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4320. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.86                  $98.86
         MEANS, CHELSEA M
         8230 MOSSBERG DRIVE NORTH                ¨ Contingent
         THEODORE AL 36582
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4321. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.42                  $78.42
         MEDEIROS, SUSANA
         111 INSLEE PLACE                         ¨ Contingent
         ELIZABETH NJ 07206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4322. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.88                 $134.88
         MEDINA, AMELIA
         W1236 HATTIE LN                          ¨ Contingent
         DEPERE WI 54115
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1441 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1551 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4323. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.42                 $143.42
         MEDINA, ANESSA N
         1708 QUINTERO ST                         ¨ Contingent
         370
         AURORA CO 80011                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4324. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,586.83               $6,586.83
         MEDINA, ANNE C
         L15B PINE TREE BLVD                      ¨ Contingent
         OLD BRIDGE NJ 08857
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4325. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.14                 $110.14
         MEDINA, BLANCA I
         1329 WOODHILL DR.                        ¨ Contingent
         LEWISVILLE TX 75067
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1442 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1552 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4326. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.40                  $44.40
         MEDINA, DASHA N
         17 PAQUIN LN                             ¨ Contingent
         SPRING VALLEY NY 10977
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4327. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.83                  $58.83
         MEDINA, DIANA
         1639 VILLA AVENUE                        ¨ Contingent
         SIOUX CITY IA 51103
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4328. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,417.77               $1,417.77
         MEDINA, EDGAR A
         2638 WALNUT ST APT B                     ¨ Contingent
         HUNTINGTON PARK CA 90255
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1443 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1553 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4329. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,873.73               $1,873.73
         MEDINA, ESTEBAN
         1416 KIM PLACE                           ¨ Contingent
         CHULA VISTA CA 91911
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4330. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $338.52                 $338.52
         MEDINA, ISABEL
         2553 BALFOUR AVE                         ¨ Contingent
         FULLERTON CA 92831
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4331. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $386.87                 $386.87
         MEDINA, JULIA
         451 N ANNA LN                            ¨ Contingent
         ROMEOVILLE IL 60446
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1444 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1554 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4332. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.00                  $48.00
         MEDINA, LESLIE
         44 HAWES ST                              ¨ Contingent
         CENTRAL FALLS RI 02863
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4333. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $383.11                 $383.11
         MEDINA, MICAELA
         5374 BILLINGS ST                         ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4334. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.19                  $64.19
         MEDINA-CONCHI, ALEJANDRA
         1623 MACARTHUR DR                        ¨ Contingent
         ROCKFORD IL 61108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1445 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1555 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4335. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.83                  $77.83
         MEDLEY, PARIS M
         2924 KENDALE DR. APT 101                 ¨ Contingent
         5583 WOODS AVE
         TOLEDO OH 43606                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4336. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $406.12                 $406.12
         MEDRANO, ANA D
         12634 GOLDEN BROOK DR                    ¨ Contingent
         HOUSTON TX 77085-1413
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4337. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.84                  $81.84
         MEDRANO, LAYZA L
         4752 A STREET                            ¨ Contingent
         SAN DIEGO CA 92102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1446 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1556 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4338. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $172.37                 $172.37
         MEDREK, EDYTA P
         447 GROVE ST                             ¨ Contingent
         WOOD DALE IL 60191
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4339. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.25                 $152.25
         MEDSKER, MADISON E
         4253 S. MARIETTA RD                      ¨ Contingent
         SHELBYVILLE IN 46176
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4340. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $269.53                 $269.53
         MEFFORD, MAKAYLA R
         370 GARLANDS TRAIL                       ¨ Contingent
         BUCKINGHAM VA 23921
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1447 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1557 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4341. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,360.00               $1,360.00
         MEHDI, SHAHED
         4497 WALDEN WAY                          ¨ Contingent
         DENVER CO 80249
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4342. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,103.46               $1,103.46
         MEIGGS, JULLIAN S
         4655 COVERT AVE                          ¨ Contingent
         EVANSVILLE IN 47714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4343. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,959.05               $1,959.05
         MEINHARDT, KAITLYN T
         109 BIG HORN ROAD                        ¨ Contingent
         PITTSBURGH PA 15239
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1448 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1558 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4344. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,241.38               $2,241.38
         MEITZENHEIMER, RENEE
         1587 W 46TH ST                           ¨ Contingent
         LOS ANGELES CA 90062-2014
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4345. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.40                 $190.40
         MEJIA, ANGELES M
         4102 ANTOINETTE ST                       ¨ Contingent
         HOUSTON TX 77087
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4346. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $676.15                 $676.15
         MEJIA, BRENDA P
         8915 N WASHINGTON ST                     ¨ Contingent
         APT A
         NILES IL 60714                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1449 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1559 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4347. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.63                 $140.63
         MEJIA, HEIDI A
         5318 BOYCE SPRINGS DR                    ¨ Contingent
         HOUSTON TX 77066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4348. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.46                 $146.46
         MEJIAS, ERNESTO
         P.O. BOX 1777                            ¨ Contingent
         COROZAL PR 00783
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4349. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.60                  $74.60
         MEJIA-TAVAR, KATIE
         3260 JOHN ROBINSON LANE                  ¨ Contingent
         APT 21
         DUMFRIES VA 22026                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1450 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1560 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4350. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.03                 $169.03
         MELARA, ASHLEY
         17845 IBIS LANDING WAY                   ¨ Contingent
         ORLANDO FL 32820
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4351. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $301.20                 $301.20
         MELCHOR, JASMINE
         8518 25TH AVE                            ¨ Contingent
         2F
         BROOKLYN NY 11214                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4352. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.62                 $218.62
         MELGOZA, LESLIE
         3910 STONEBRIDGE DR                      ¨ Contingent
         ZION IL 60099
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1451 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1561 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4353. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,387.43               $3,387.43
         MELIN, GRETHE E
         617 MEAD ST                              ¨ Contingent
         EAU CLAIRE WI 54703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4354. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $187.98                 $187.98
         MELO-ROCHA, SHEINA D
         1000 FGCU CAMPUS HOUSING HN06            ¨ Contingent
         FT MYERS FL 33965
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4355. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.91                 $206.91
         MELTON, AIREONNA N
         1812 N. WESTWOOD AVE.                    ¨ Contingent
         1812 I
         TOLEDO OH 43607                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1452 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1562 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4356. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,926.11               $1,926.11
         MELVIN, MIRANDA R
         216 BRENTWOOD AVE                        ¨ Contingent
         PIQUA OH 45356
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4357. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.20                 $116.20
         MELVO, BREANNA
         7773 TRAM RD.                            ¨ Contingent
         BEAUMONT TX 77713
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4358. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $288.82                 $288.82
         MENA, ESMERALDA
         5637 W 23RD ST                           ¨ Contingent
         1ST FLOOR
         CICERO IL 60804                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1453 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1563 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4359. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $324.96                 $324.96
         MENDEZ, ANNETTE
         6639 EL CORTEZ AVE                       ¨ Contingent
         BELL GARDENS CA 90201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4360. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $291.77                 $291.77
         MENDEZ, APRIL
         8000 ZELZAH AVE                          ¨ Contingent
         RESEDA CA 91335
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4361. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $264.36                 $264.36
         MENDEZ, CHACON VALERIA
         737 REEF DR                              ¨ Contingent
         SAN DIEGO CA 92154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1454 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1564 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4362. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $207.68                 $207.68
         MENDEZ, CLAUDIA G
         1816 S 50TH AVE                          ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4363. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $419.52                 $419.52
         MENDEZ, IRIS V
         4510 22ND AVE NE                         ¨ Contingent
         SEATTLE WA 98105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4364. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $279.49                 $279.49
         MENDEZ, JACQUELINE R
         2621 POLI ST                             ¨ Contingent
         VENTURA CA 93003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1455 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1565 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4365. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $513.88                 $513.88
         MENDEZ, JESSICA C
         1937 E HIGHLAND CT                       ¨ Contingent
         ONTARIO CA 91764
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4366. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.06                 $102.06
         MENDEZ, JOSELIN
         49 WILSON STREET APT.2                   ¨ Contingent
         PROVIDENCE RI 09207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4367. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $228.84                 $228.84
         MENDEZ, KAREN J
         1111 S WESTMORELAND AVE                  ¨ Contingent
         APT.307
         LOS ANGELES CA 90006                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1456 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1566 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4368. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.28                 $116.28
         MENDEZ, MARIA JESSICA
         J_MENDE3 AT UNCG                         ¨ Contingent
         GREENSBORO NC 27413
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4369. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.81                  $71.81
         MENDEZ, PATRICK A
         956 MARCUS DR                            ¨ Contingent
         # 10
         NEWPORT NEWS VA 23602                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4370. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $575.09                 $575.09
         MENDEZ, POLANCO BIANCA C
         114 ELM HILL AVE.                        ¨ Contingent
         #1
         DORCHESTER MA 02121                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1457 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1567 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4371. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.71                  $36.71
         MENDIOLA, MEGAN
         1780 CHRISTOPHER CT. W                   ¨ Contingent
         ROMEOVILLE IL 60446
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4372. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.12                  $78.12
         MENDIZABAL, SUNSHINE C
         891 W 2ND ST                             ¨ Contingent
         SANPEDRO CA 90731
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4373. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.80                  $73.80
         MENDOZA, AIVY
         5442 GILBERT DR                          ¨ Contingent
         APT 1204
         SAN DIEGO CA 92115                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1458 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1568 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4374. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.15                 $164.15
         MENDOZA, ALLISON C
         1501 6TH STREET                          ¨ Contingent
         1501 6TH STREE
         VIENNA WV 26105                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4375. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.99                 $107.99
         MENDOZA, ANA I
         8602 EDEN VALLEY LN.                     ¨ Contingent
         DALLAS TX 75217
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4376. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.22                  $58.22
         MENDOZA, BELEN A
         6012 DEER AVE                            ¨ Contingent
         EL PASO TX 79924
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1459 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1569 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4377. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $89.57                  $89.57
         MENDOZA, CLAUDIA
         1788 WESTWIND WAY                        ¨ Contingent
         MCLEAN VA 22102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4378. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $304.50                 $304.50
         MENDOZA, GALILEA D
         89 E 116ST                               ¨ Contingent
         APT 12
         NEW YORK CITY NY 10029                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4379. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.00                  $44.00
         MENDOZA, KAYLA M
         919 W TULANE DR                          ¨ Contingent
         TEMPE AZ 85283
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1460 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1570 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4380. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.80                 $115.80
         MENDOZA, VANESSA
         2732 MONTE DIABLO AVE                    ¨ Contingent
         STOCKTON CA 95203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4381. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.60                 $132.60
         MENDOZA, VANESSA A
         1019 CLINTONIA AVE                       ¨ Contingent
         SAN JOSE CA 95125
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4382. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $346.25                 $346.25
         MENDOZA, VICTORIA R
         354 FORREST HILL LN                      ¨ Contingent
         GRAND PRAIRIE TX 75052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1461 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1571 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4383. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $605.77                 $605.77
         MENG, TRINITI L
         614 LONGFELLOW ST                        ¨ Contingent
         WICHITA KS 67207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4384. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $268.07                 $268.07
         MERAZ, DAYAM J
         5107 W 29TH PL                           ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4385. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $372.60                 $372.60
         MERAZ, NEREYDA
         5303 1/2 CLARA ST                        ¨ Contingent
         CUDAHY CA 90201-4539
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1462 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1572 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4386. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $418.24                 $418.24
         MERCADO, ANNE D
         5281 S OPAL CREEK WAY                    ¨ Contingent
         LAS VEGAS NV 89122
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4387. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.43                  $88.43
         MERCADO, ARAUJO YESICA
         206 AMESWOOD DR.                         ¨ Contingent
         ROUND ROCK TX 78664
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4388. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $243.29                 $243.29
         MERCADO, CINDY
         1315 XAVERIA DR                          ¨ Contingent
         SILVER SPRING MD 20903
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1463 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1573 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4389. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $217.31                 $217.31
         MERCER, DEVYN A
         5730 RUSACK DR.                          ¨ Contingent
         MELBOURNE FL 32940
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4390. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.57                 $126.57
         MERCK, MARISSA
         1211 VINE ST.                            ¨ Contingent
         1110
         WEST DES MOINES IA 50265                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4391. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,563.35               $1,563.35
         MEREDITH, BRITTANY
         51 HUBER ROAD                            ¨ Contingent
         NEWPORT NEWS VA 23601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1464 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1574 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4392. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,875.57               $2,875.57
         MERGIL, LISA D
         17019 HOLTON ST                          ¨ Contingent
         WEST COVINA CA 91791
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4393. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,680.50               $1,680.50
         MERIDIAN CHARTER TOWNSHIP
         5151 MARSH ROAD                          ¨ Contingent
         OKEMOS MI 48864-1198
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4394. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.01                 $205.01
         MERINO, VICTORIA ROXANA D
         8033 MCCORMICK ST                        ¨ Contingent
         WOODBURN OR 97071
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1465 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1575 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4395. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $477.63                 $477.63
         MERRIFIELD, AMANDA
         8301 W FLAMINGO RD                       ¨ Contingent
         2068
         LAS VEGAS NV 89147                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4396. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.80                 $101.80
         MERRITT, JAQUAYLON- AALI
         5301 SHERWOOD DR                         ¨ Contingent
         MIDLAND TX 79707
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4397. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.01                  $38.01
         MERRITT, MORGAN E
         1641 SW HIGHLAND DR                      ¨ Contingent
         LEES SUMMIT MO 64081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1466 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1576 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4398. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,081.54               $3,081.54
         MESHELL, SARAH A
         1711 SW 30TH                             ¨ Contingent
         LINCOLN NE 68522
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4399. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $385.20                 $385.20
         MESIAS, EVELYN
         321 OXFORD STREET                        ¨ Contingent
         SAN FRANCISCO CA 94134
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4400. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.44                 $121.44
         MESQUITA, BRENDA S
         73 LAUDER AVE.                           ¨ Contingent
         PAWTUCKET RI 02860
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1467 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1577 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4401. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,061.24               $1,061.24
         MESSINK, PAIGE K
         6369 GREYSTONE                           ¨ Contingent
         ROSCOE IL 61073
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4402. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.12                  $44.12
         METCALF, CORRIN N
         1251 FLAMINGO DR.                        ¨ Contingent
         MOUNT MORRIS MI 48458
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4403. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $432.61                 $432.61
         MEYER, BAILEY
         2311 SOUTH 151ST STREET                  ¨ Contingent
         OMAHA NE 68144
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1468 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1578 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4404. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $171.27                 $171.27
         MEYER, JESSICA F
         141 CAMPUS VIEW ROAD                     ¨ Contingent
         4
         MANKATO MN 56001                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4405. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.68                 $219.68
         MEYER, NICOLE E
         18087 218TH AVE NW                       ¨ Contingent
         BIG LAKE MN 55309
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4406. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.70                  $65.70
         MEYERS, ALEXIA M
         171 BRECKINRIDGE                         ¨ Contingent
         171
         LOUISVILLE KY 40220                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1469 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1579 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4407. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.20                 $123.20
         MEYERS, SHYNERIA
         5995 LIVERPOOL LANE                      ¨ Contingent
         INDIANAPOLIS IN 46236
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4408. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $313.95                 $313.95
         MEZA, ADRIANA E
         350 ARBALLO DRIVE 11M                    ¨ Contingent
         SAN FRANCISCO CA 94132
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4409. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,142.70               $1,142.70
         MICHAELS, CRYSTAL B
         2114 S 23RD ST                           ¨ Contingent
         MILWAUKEE WI 53215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1470 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1580 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4410. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.21                 $121.21
         MICKELS, TRISTAN S
         178 GLENHAVEN STREET                     ¨ Contingent
         FRUITA CO 81521
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4411. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.89                  $90.89
         MIDDLETON, ALICIA D
         10403 WILLOW RUN RD                      ¨ Contingent
         APT 1F
         CHARLOTTE NC 28210                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4412. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.30                 $218.30
         MIDDLETON, KAYLEE S
         3241 DONLIN DR.                          ¨ Contingent
         WAKE FOREST NC 27587
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1471 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1581 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4413. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,413.80               $2,413.80
         MIDLAND CENTRAL APPRAISAL DIST
         MIDLAND CENTRAL APPRAISAL DIST           ¨ Contingent
         4631 ANDREWS HWY PO BOX 908002
         MIDLAND TX 79708-0002                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4414. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.03                 $239.03
         MIELCUSNY, DANIELLE
         1701 JACKSON AVE                         ¨ Contingent
         NEW CASTLE PA 16101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4415. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $26.42                  $26.42
         MIERA, SHAYLEE E
         1535 17TH AVE SE                         ¨ Contingent
         RIO RANCHO NM 87124
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1472 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1582 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4416. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $605.04                 $605.04
         MIERZWA, AMANDA M
         1570 BALDWIN BLVD                        ¨ Contingent
         BAY SHORE NY 11706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4417. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,319.32               $3,319.32
         MIJA, KATE T
         16 PARKWOOD AVE                          ¨ Contingent
         HUDSON FALLS NY 12839-2336
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4418. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.84                 $126.84
         MIJANGOS, ADRIANA
         777 LIANA DR                             ¨ Contingent
         SANTA ROSA CA 95407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1473 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1583 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4419. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,612.63               $1,612.63
         MIKOLAJCZYK, MELISSA
         1249 PARK STREET                         ¨ Contingent
         APT A
         BOWLING GREEN KY 42101                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4420. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $526.80                 $526.80
         MILBOURNE, QWANIESHA
         201 CYPRESS LANE                         ¨ Contingent
         SNOW HILL MD 21863
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4421. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.06                 $157.06
         MILES, EMILY
         284 HIGH PATH ROAD                       ¨ Contingent
         WINDSOR CT 06095
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1474 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1584 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4422. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $549.07                 $549.07
         MILLER, ALLISON E
         2409 HILL AVENUE                         ¨ Contingent
         MIDDLETOWN OH 45044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4423. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.72                  $72.72
         MILLER, AMANDA
         3357 BOW MAR CT                          ¨ Contingent
         CAMERON PARK CA 95682
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4424. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.59                 $560.59
         MILLER, AMY K
         8285 HICKORY AVE.                        ¨ Contingent
         GALENA OH 43021
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1475 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1585 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4425. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.56                  $34.56
         MILLER, ANTORIA O
         502 GOLDEN PINE COURT                    ¨ Contingent
         502 GOLDEN PIN
         GREENVILLE SC 29673                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4426. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,562.26               $1,562.26
         MILLER, BRITNEY
         837 SEVEN GABLES CIR SE                  ¨ Contingent
         PALM BAY FL 32909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4427. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.91                  $86.91
         MILLER, CHANTELLE L
         5405 SHADY AVE APT 2                     ¨ Contingent
         APT 2
         LOWVILLE NY 13367                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1476 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1586 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4428. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $327.32                 $327.32
         MILLER, DEJORIA J
         29 PONY CV                               ¨ Contingent
         JACKSON TN 38305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4429. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,871.04               $3,871.04
         MILLER, DELECIA T
         3657 VARIAN AVENUE                       ¨ Contingent
         APT 2
         BRONX NY 10466                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4430. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.50                 $164.50
         MILLER, ELLIA E
         1163 TOWNSVIEW PL                        ¨ Contingent
         WOOSTER OH 44691
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1477 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1587 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4431. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,103.02               $3,103.02
         MILLER, FRANCES J
         32-50 93RD ST                            ¨ Contingent
         APT B4
         EAST ELMHURST NY 11369                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4432. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.25                 $128.25
         MILLER, JESSICA S
         2135 LIMEKILN ROAD                       ¨ Contingent
         DOUGLASSVILLE PA 19518
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4433. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $217.68                 $217.68
         MILLER, KIRA
         630 DRAKE BAY TERRACE                    ¨ Contingent
         ST AUGUSTINE FL 32084
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1478 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1588 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4434. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.99                 $160.99
         MILLER, KRISTINA
         5541 NEWCASTLE AVE.                      ¨ Contingent
         22
         ENCINO CA 91316                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4435. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.81                 $134.81
         MILLER, LAERICA N
         2216 FONTAINEBLEAU DR                    ¨ Contingent
         ORLANDO FL 32808
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4436. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.43                 $119.43
         MILLER, LAURYN
         950 COLGATE DR.                          ¨ Contingent
         #3507
         COLLEGE STATION TX 77840                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1479 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1589 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4437. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $163.50                 $163.50
         MILLER, MARY-MARGARET
         2111 HARRIS RD                           ¨ Contingent
         PENFIELD NY 14526-1825
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4438. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.06                  $87.06
         MILLER, MEGAN J
         18061 KNOLL DR                           ¨ Contingent
         FAIRPLAY MD 21733
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4439. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.96                 $146.96
         MILLER, PEYTON M
         18 RAINDREAM PLACE                       ¨ Contingent
         THE WOODLANDS TX 77381
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1480 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1590 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4440. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.45                 $155.45
         MILLER, STACIE
         3208 ELENA WAY                           ¨ Contingent
         WOODSTOCK GA 30188
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4441. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.61                 $259.61
         MILLER, TAJANAE
         1709 CARPENTER AVE                       ¨ Contingent
         DES MOINES IA 50314
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4442. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,917.97               $1,917.97
         MILLER, TRUDY M
         5 ALBERT CT                              ¨ Contingent
         METAIRIE LA 70003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1481 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1591 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4443. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.13                  $41.13
         MILLER, ZACHARY H
         1637 EUCLID AVENUE                       ¨ Contingent
         1
         LINCOLN NE 68502                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4444. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.67                 $140.67
         MILLER-SMITH, MARIAH
         315 S FELL AVE                           ¨ Contingent
         PICKERING 514
         NORMAL IL 61761                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4445. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.15                 $109.15
         MILLS, JEKQUANZA K
         1071 ST BARNABAS CHURCH ROAD             ¨ Contingent
         JENKINSVILLE SC 29065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1482 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1592 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4446. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $195.25                 $195.25
         MILLS, JESSICA R
         804 3RD AVENUE                           ¨ Contingent
         REAR
         DUNCANSVILLE PA 16635                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4447. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $470.47                 $470.47
         MILLS, TALYSHA M
         3001 VIEWPOINT ST                        ¨ Contingent
         DELTONA FL 32725
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4448. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.56                  $91.56
         MILNE, JAZMINE
         1548 ROADRUNNER DRIVE                    ¨ Contingent
         ROSEVILLE CA 95747
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1483 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1593 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4449. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $552.18                 $552.18
         MILSOP, STORM
         21494 SELPH LN                           ¨ Contingent
         BOWLING GREEN VA 22427-2655
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4450. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.88                 $112.88
         MILTON, DIAMOND M
         12261 FONDREN RD                         ¨ Contingent
         HOUSTON TX 77035
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4451. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $269.79                 $269.79
         MINA, MELANI
         8460 RAYMOND DR                          ¨ Contingent
         BOYNTON BEACH FL 33472
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1484 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1594 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4452. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,275.03               $1,275.03
         MINDLER, HEATHER
         1325 HIGHLAND HILLS DR.                  ¨ Contingent
         KALAMAZOO MI 49007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4453. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $672.11                 $672.11
         MINEH, JAWA
         336 MEADOW CT                            ¨ Contingent
         VERNON HILLS IL 60061
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4454. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.60                 $143.60
         MINES, DEVYN E
         8910 CHIANTI TERR                        ¨ Contingent
         BRISTOW VA 20136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1485 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1595 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4455. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.07                 $154.07
         MINES, JKEL P
         315 BATY ST                              ¨ Contingent
         ELMIRA NY 14904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4456. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $618.08                 $618.08
         MINGO, MARY C
         3225 W 4TH STREET                        ¨ Contingent
         APARTMENT B3
         HATTIESBURG MS 39401                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4457. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.48                 $130.48
         MINNIS, HENDIA R
         6303 WESTGATE DRIVE                      ¨ Contingent
         2004
         ORLANDO FL 32835                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1486 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1596 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4458. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.09                 $127.09
         MINNIS, SHARELL L
         1045 AUGUSTA WOODS DR                    ¨ Contingent
         DOUGLASVILLE GA 30134
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4459. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.48                  $38.48
         MINNOW, DEBORAH
         5427 HARBOUR LANDINGS DRIVE              ¨ Contingent
         LIBERTY TOWNSHIP OH 45011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4460. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $795.85                 $795.85
         MINOR, ASHLEIGH N
         50 W MAIN ST                             ¨ Contingent
         1005
         UNIONTOWN PA 15401                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1487 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1597 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4461. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $494.00                 $494.00
         MINOR, ERIA D
         2412 2ND AVE N                           ¨ Contingent
         16
         BIRMINGHAM AL 35203                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4462. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.00                 $126.00
         MIRANDA, BRENDA E
         907 MEADOW RIDGE DR.                     ¨ Contingent
         907
         SIMPSONVILLE KY 40067                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4463. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.04                 $186.04
         MIRANDA, ELIZABETH
         1161 LATIGO LN.                          ¨ Contingent
         LAS CRUCES NM 88007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1488 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1598 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4464. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,443.13               $1,443.13
         MIRANDA, GABRIELLE
         2168 GRAHAM DRIVE                        ¨ Contingent
         GRETNA LA 70056
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4465. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,097.26               $1,097.26
         MIRANDA, PAOLA N
         CALLE 6 AF 2                             ¨ Contingent
         RIO GRANDE STA
         RIO GRANDE PR 00745                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4466. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $714.94                 $714.94
         MIRANDA, PERLA
         2075 OSPREY COVE                         ¨ Contingent
         SHELBYVILLE KY 40065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1489 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1599 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4467. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $287.76                 $287.76
         MIRANDI, ELIZABETH R
         4 SUPERIOR STREET                        ¨ Contingent
         MILLER PLACE NY 11764
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4468. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,781.62               $3,781.62
         MISKIN, SHERSTIN
         3019 162ND PL SE                         ¨ Contingent
         BELLEVUE WA 98008
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4469. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.40                  $71.40
         MITCH, YVETTE L
         2143 OKUHE LANE                          ¨ Contingent
         KAILUA HI 96735
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1490 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1600 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4470. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.97                 $205.97
         MITCHELL, CARMELA I
         2611 SCARBOROUGH DRIVE                   ¨ Contingent
         FORT WASHINGTON MD 20744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4471. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,713.90               $1,713.90
         MITCHELL, CLAIRE I
         5909 SOUTH STEELE STREET                 ¨ Contingent
         CENTENNIAL CO 80121
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4472. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.88                 $145.88
         MITCHELL, EMONIE' A
         1016 W EDGEWOOD BLVD                     ¨ Contingent
         UNIT 6
         LANSING MI 48911                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1491 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1601 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4473. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $281.05                 $281.05
         MITCHELL, JOI-ARIELLE T
         5009 RIDGEMONT WALK SE                   ¨ Contingent
         ATLANTA GA 30339
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4474. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.77                 $156.77
         MITCHELL, KAILAN
         3300 LAKE BROOK BLVD                     ¨ Contingent
         3300
         KNOXVILLE TN 37909                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4475. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.90                  $83.90
         MITCHELL, KELLIE N
         19427 HARNED                             ¨ Contingent
         DETROIT MI 48234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1492 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1602 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4476. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.24                  $40.24
         MITCHELL, KENDREA
         9332 HARMONY DRIVE                       ¨ Contingent
         SHERWOOD AR 72120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4477. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,414.60               $1,414.60
         MITCHELL, NATASHA
         7 MITCHELL AVE                           ¨ Contingent
         APT B
         MORTON PA 19070                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4478. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.32                 $205.32
         MITCHELL, N'KQUASHIA M
         4664 PINE LANE                           ¨ Contingent
         PACE FL 32571
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1493 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1603 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4479. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $18.49                  $18.49
         MITCHELL, SHELBY T
         214 EAGLES TRAIL                         ¨ Contingent
         HATTIESBURG MS 39402
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4480. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.39                 $153.39
         MITCHELL, TIMYA M
         3163 CLUBHOUSE DRIVE                     ¨ Contingent
         APT 4
         BEAVERCREEK OH 45431                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4481. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.71                 $116.71
         MITCHELTREE, KATELYN
         345 NORTH BAYSHORE DRIVE                 ¨ Contingent
         COLUMBIANA OH 44408
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1494 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1604 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4482. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.89                  $87.89
         MIXSON, KEMYAH A
         2744 WEST SUNLAND AVE                    ¨ Contingent
         PHOENIX AZ 85041
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4483. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.00                  $44.00
         MIZE, ABIGAIL F
         3225 EAST BASELINE RD.                   ¨ Contingent
         #1102
         GILBERT AZ 85234                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4484. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,312.11               $1,312.11
         MOERI, KATIE M
         4189 HEARTHSIDE DRIVE                    ¨ Contingent
         APT 202
         WILMINGTON NC 28412                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1495 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1605 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4485. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $497.39                 $497.39
         MOESLY, MADISON B
         335 CINNAMON DRIVE                       ¨ Contingent
         SATELLITE BEACH FL 32937
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4486. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,956.47               $2,956.47
         MOFFETT, MARISA R
         6938 S CRANDON                           ¨ Contingent
         APT. 2E
         CHICAGO IL 60649                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4487. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $709.90                 $709.90
         MOGLER, ASHLEY L
         7808 VICTORIA CIRCLE                     ¨ Contingent
         SAINT LOUIS PARK MN 55426
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1496 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1606 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4488. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $429.00                 $429.00
         MOHAMED, LIANA
         378 E 2ND ST                             ¨ Contingent
         BROOKLYN NY 11218
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4489. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.12                 $192.12
         MOHAMED, NAJMO A
         5554 THUMBLWEED DR.                      ¨ Contingent
         GALLOWAY OH 43119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4490. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.00                  $72.00
         MOHAMMAD, ALI ELNAZ
         39505 TRINITY WAY                        ¨ Contingent
         19
         FREMONT CA 94538                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1497 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1607 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4491. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,970.16               $1,970.16
         MOI, MOI IONE
         10031 FRAGILE FIELDS ST                  ¨ Contingent
         LAS VEGAS NV 89183-7136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4492. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $375.90                 $375.90
         MOISE, ASHLEY
         1821 SW 11TH ST                          ¨ Contingent
         FORT LAUDERDALE FL 33312
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4493. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,104.04               $2,104.04
         MOISE, JULIA T
         9365 FOUNTAINEBLEAU BLVD #239            ¨ Contingent
         MIAMI FL 33172
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1498 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1608 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4494. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $211.93                 $211.93
         MOJICA, CANDENCE
         9010 MARKVILLE DR.                       ¨ Contingent
         APT.810
         DALLAS TX 75243                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4495. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.80                 $132.80
         MOLINA, LAUREN A
         11013 WIZARD WAY APT 204                 ¨ Contingent
         ORLANDO FL 32836
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4496. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,981.28               $1,981.28
         MOLINAR, MERCEDES R
         1213 MABLE AVE                           ¨ Contingent
         BAKERSFIELD CA 93307-5666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1499 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1609 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4497. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.56                  $67.56
         MOLINE, ARIEL F
         1774 STERLING CT.                        ¨ Contingent
         LIVERMORE CA 94550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4498. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,955.04               $1,955.04
         MONAHAN, VICTORIA C
         3109 PONDEROSA DR                        ¨ Contingent
         ALLISON PARK PA 15101-3949
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4499. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $689.09                 $689.09
         MONISHA, SHAYAN
         11819 KEWALO BASIN                       ¨ Contingent
         HOUSTON TX 77034
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1500 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1610 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4500. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $634.17                 $634.17
         MONK, CANDICE
         2700 FEATHER RUN TRAIL                   ¨ Contingent
         APT E20
         WEST COLUMBIA SC 29169                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4501. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.61                  $77.61
         MONREAL, GABRIELA L
         520 S JOHNSON ST                         ¨ Contingent
         2
         IOWA CITY IA 52240                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4502. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $353.42                 $353.42
         MONROY, JACQUELINE S
         12923 TWINBROOK PKWY                     ¨ Contingent
         ROCKVILLE MD 20851
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1501 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1611 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4503. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.40                 $122.40
         MONTAGUE, ANIYA L
         1011 N 192ND COURT                       ¨ Contingent
         APT 224
         ELKHORN NE 68022                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4504. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.63                  $81.63
         MONTALVO, ANTONIA
         1212 FAWN PARKWAY PLAZA #255             ¨ Contingent
         OMAHA NE 68144
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4505. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $567.81                 $567.81
         MONTANEZ, ADDISON
         5637 CYPRESS POINT DR                    ¨ Contingent
         CITRUS HEIGHTS CA 95610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1502 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1612 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4506. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.74                 $112.74
         MONTANEZ, ANGELICA S
         411 S. GEORGE ST.                        ¨ Contingent
         1
         YORK PA 17401                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4507. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.50                 $214.50
         MONTANO, JULISSA E
         6118 S MORRIS BLVD                       ¨ Contingent
         TUCSON AZ 85706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4508. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.91                 $173.91
         MONTAQUE, ANECIA
         430 NORTH WARE DRIVE                     ¨ Contingent
         WEST PALM W FL 33409
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1503 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1613 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4509. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.35                 $159.35
         MONTAQUILA, DARIA
         797 CHARLES STREET                       ¨ Contingent
         PROVIDENCE RI 02904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4510. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.94                 $165.94
         MONTER, COURTNEY M
         193 SOUTH SPAULDING AVENUE               ¨ Contingent
         PUEBLO WEST CO 81007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4511. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.94                 $240.94
         MONTES, ASHLEY
         305 TEMPLE ST.                           ¨ Contingent
         SUDAN TX 79371
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1504 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1614 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4512. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $782.76                 $782.76
         MONTES, CHRISTINA
         344 E 209TH ST                           ¨ Contingent
         BRONX NY 10467-3509
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4513. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $163.27                 $163.27
         MONTES, LESLIE
         14624 SW 280TH ST                        ¨ Contingent
         204
         HOMESTEAD FL 33032                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4514. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $448.85                 $448.85
         MONTES, MARISSA L
         701 SW 62ND BLVD                         ¨ Contingent
         APT 25
         GAINESVILLE FL 32607-6012                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1505 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1615 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4515. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $171.67                 $171.67
         MONTGOMERY, LAKIA C
         8340 LINDA CT.                           ¨ Contingent
         APT. 1A
         JESSUP MD 20794                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4516. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.05                  $82.05
         MONTIEL, YSEL
         415 E 137TH STREET                       ¨ Contingent
         LOS ANGELES CA 90061
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4517. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.80                 $124.80
         MONTOYA, DARINA
         27837 AUDREY COURT                       ¨ Contingent
         CANYON COUNTRY CA 91351
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1506 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1616 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4518. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.56                 $100.56
         MONTOYA, MADISON K
         99 HIGH ST                               ¨ Contingent
         WEYMOUTH MA 02189
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4519. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $194.28                 $194.28
         MONTOYA, MARISA L
         1783 VASSAR DR                           ¨ Contingent
         RIVERSIDE CA 92507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4520. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $341.43                 $341.43
         MOODY, ARIELLE A
         PO BOX 1895                              ¨ Contingent
         PEMBROKE GA 31321
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1507 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1617 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4521. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,994.82               $2,994.82
         MOON, JENNIFER E
         7411 WARNER DR                           ¨ Contingent
         JACKSONVILLE FL 32244-4737
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4522. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.52                  $35.52
         MOONEY, PAIGE R
         1032 PALMER LN                           ¨ Contingent
         IMPERIAL MO 63052-2634
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4523. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.80                  $85.80
         MOORE, ALEXIS S
         21310 PARKLAWN                           ¨ Contingent
         OAK PARK MI 48237
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1508 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1618 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4524. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,220.02               $1,220.02
         MOORE, ANANSA
         359 MERIN HEIGHT RD                      ¨ Contingent
         JACKSONVILLE NC 28546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4525. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.37                  $61.37
         MOORE, CAMERA A
         111 CRESCENT HILL                        ¨ Contingent
         SELMA AL 36701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4526. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $398.19                 $398.19
         MOORE, HAYLEY S
         525 CENTRAL AVENUE                       ¨ Contingent
         LAPEL IN 46051
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1509 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1619 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4527. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $481.93                 $481.93
         MOORE, JADE H
         1438 CUTLER BAY                          ¨ Contingent
         NEW BRAUNFELS TX 78130-3985
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4528. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $438.27                 $438.27
         MOORE, LASHUNDRA C
         1239 MISTY LANE                          ¨ Contingent
         TUSCALOOSA AL 35405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4529. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,705.23               $2,705.23
         MOORE, LATEISHA
         229 CLAREMONT AVE                        ¨ Contingent
         MOUNT VERNON NY 10552-3305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1510 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1620 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4530. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,333.20               $1,333.20
         MOORE, LEONA L
         1425 RIDENOUR BLVD                       ¨ Contingent
         7108
         KENNESAW GA 30152                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4531. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.43                 $130.43
         MOORE, LILLIAN E
         944 MALACHITE DRIVE                      ¨ Contingent
         FRUITA CO 81521
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4532. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.18                  $70.18
         MOORE, RACHEL E
         414 LEXINGTON DRIVE                      ¨ Contingent
         GREENSBURG PA 15601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1511 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1621 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4533. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.68                 $129.68
         MOORE, TAYLOR A
         6004 WEST 53RD STREET                    ¨ Contingent
         SIOUX FALLS SD 57106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4534. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.08                  $72.08
         MOORER, VERDIS K
         1926 S CONWAY RD APT 9                   ¨ Contingent
         ORLANDO FL 32812
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4535. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,731.07               $2,731.07
         MORALES, ALEJANDRA
         7855 CHASTAIN AVE                        ¨ Contingent
         RESEDA CA 91335-2102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1512 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1622 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4536. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.22                  $33.22
         MORALES, ALICIA
         2534 N. 86TH AVE                         ¨ Contingent
         PHOENIX AZ 85037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4537. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.40                  $99.40
         MORALES, ALONDRA
         PO. BOX # 3464                           ¨ Contingent
         BAYAMON PR 00958
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4538. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $772.16                 $772.16
         MORALES, CHANTAY
         218 SABINE STREET                        ¨ Contingent
         SYRACUSE NY 13204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1513 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1623 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4539. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.16                  $77.16
         MORALES, CINDY V
         11416 SUCCESS AVE.                       ¨ Contingent
         APT. 732
         LOS ANGELES CA 90059                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4540. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.30                 $164.30
         MORALES, DANIELA P
         240 COMMODORE DR.                        ¨ Contingent
         APT. 1114
         PLANTATION FL 33325                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4541. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.89                  $63.89
         MORALES, DENISE
         20727 VANOWEN ST. APT.A27                ¨ Contingent
         WINNETKA CA 91306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1514 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1624 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4542. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $411.73                 $411.73
         MORALES, ELYSE N
         190 BREWER PARK CIRCLE                   ¨ Contingent
         GRAND RAPIDS MI 49548
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4543. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.40                 $229.40
         MORALES, GABRIELA J
         1317 WEST PRICE LN                       ¨ Contingent
         ROGERS AR 72758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4544. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $358.55                 $358.55
         MORALES, KATE
         871 SUZANNE LN                           ¨ Contingent
         ELGIN IL 60120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1515 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1625 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4545. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $708.06                 $708.06
         MORALES, KIARA Z
         6301 S WEST SHORE BLVD APT 103           ¨ Contingent
         1702
         TAMPA FL 33616                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4546. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $198.12                 $198.12
         MORALES, LESLIE J
         518 E PINE ST.                           ¨ Contingent
         216
         SANTA ANA CA 92701                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4547. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.13                  $93.13
         MORALES, LIZBETH
         396 CHESNUT ST                           ¨ Contingent
         APT 1
         NEW BRITAIN CT 06051                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1516 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1626 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4548. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $659.48                 $659.48
         MORALES, MONICA Y
         16028 44TH AVE W                         ¨ Contingent
         APT 25
         LYNNWOOD WA 98087                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4549. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $422.60                 $422.60
         MORALES, NANCY E
         12647 CASTILE COURT                      ¨ Contingent
         12647 CASTILE
         WOODBRIDGE VA 22192                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4550. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.94                 $125.94
         MORALES, SHAMERA
         76 WELSH TRACT RD.                       ¨ Contingent
         APT. 312
         NEWARK DE 19713                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1517 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1627 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4551. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $631.18                 $631.18
         MORALES, YESENIA
         3103 MARIANA AVE.                        ¨ Contingent
         MIDLAND TX 79701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4552. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $654.91                 $654.91
         MORALES, YESSICA A
         125 FARRELL AVE                          ¨ Contingent
         GILROY CA 95020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4553. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,310.22               $1,310.22
         MORAN, DANYEL
         719 PAINTBRUSH CT                        ¨ Contingent
         CEDAR HILL TX 75104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1518 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1628 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4554. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.37                 $129.37
         MORAN, DEBBIE Y
         3903 TRISTAN ST                          ¨ Contingent
         HOUSTON TX 77021
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4555. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.80                  $91.80
         MORAN, MADISON R
         900 SOUTHERLY ROAD                       ¨ Contingent
         TOWSON MD 21204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4556. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.25                  $63.25
         MORAN, NORALICE
         19240 SW 119TH PL                        ¨ Contingent
         MIAMI FL 33177-4368
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1519 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1629 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4557. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.76                  $74.76
         MORAN, TIFFANY L
         13133 BAGATELLE ST                       ¨ Contingent
         MORENO VALLEY CA 92553
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4558. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $900.12                 $900.12
         MORBY, KIERLYN L
         11050 N BILTMORE DR                      ¨ Contingent
         PHX AZ 85029
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4559. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,022.38               $2,022.38
         MORELAND, AMBER D
         225 BLUEBONNET CT                        ¨ Contingent
         COLLEGE PARK GA 30349-3764
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1520 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1630 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4560. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.79                  $93.79
         MORELAND, MARY J
         1303 E MAIN ST.                          ¨ Contingent
         MURFREESBORO TN 37130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4561. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $664.46                 $664.46
         MORENO, ALMA T
         EIDER                                    ¨ Contingent
         APT #805 CONDO
         SAN JUAN PR 00924                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4562. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $544.00                 $544.00
         MORENO, ARIANA I
         505 GELLERT BLVD                         ¨ Contingent
         DALY CITY CA 94015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1521 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1631 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4563. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,490.16               $1,490.16
         MORENO, AURELIA G
         9307 W. RAYMOND ST.                      ¨ Contingent
         TOLLESON AZ 85353
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4564. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $195.20                 $195.20
         MORENO, CHANTEA
         3009 GODDARD PL                          ¨ Contingent
         MIDLAND TX 79705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4565. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.38                 $127.38
         MORENO, LORENA M
         1605 GUNTER AT                           ¨ Contingent
         B
         DURHAM NC 27707                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1522 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1632 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4566. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $209.52                 $209.52
         MORENO, LUZ D
         111 S ST. LOUIS                          ¨ Contingent
         #8
         LOS ANGELES CA 90033                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4567. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $283.44                 $283.44
         MORET, SABRINA A
         183 SUBURBAN AVE                         ¨ Contingent
         DEER PARK NY 11729
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4568. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $251.00                 $251.00
         MORGAN, AMARI
         4238 4TH ST SE                           ¨ Contingent
         202
         WASHINGTON DC 20032                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1523 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1633 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4569. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.17                 $137.17
         MORGAN, EMILY D
         50 N UNIVERSITY DR                       ¨ Contingent
         EDMOND OK 73034
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4570. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $408.79                 $408.79
         MORGAN, JAYMIE I
         408 SPRINGDALE STREET                    ¨ Contingent
         ATHENS GA 30606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4571. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.62                  $72.62
         MORGAN, JESSICA L
         7445 MONTICELLO RD.                      ¨ Contingent
         APT 524B
         COLUMBIA SC 29203                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1524 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1634 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4572. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $167.48                 $167.48
         MORGAN, ROMINA
         7811 CATALPA AVE.                        ¨ Contingent
         WOODRIDGE IL 60517
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4573. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.11                 $111.11
         MORGAN, SAISHA H
         2217 ADDIE DR                            ¨ Contingent
         PLEASANT HILL MO 64080
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4574. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.08                 $108.08
         MORGAN, SHRNELL J
         3315 MESA VERDE                          ¨ Contingent
         GRAND PRAIRIE TX 75052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1525 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1635 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4575. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.69                 $121.69
         MORGAN, TAYLOR E
         6909 CINNABAR DR.                        ¨ Contingent
         FRISCO TX 75035
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4576. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.78                  $85.78
         MORGAN, TYNESHA
         8570 MAGNOLIA TRAIL                      ¨ Contingent
         EDEN PRAIRIE MN 55344
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4577. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.24                  $66.24
         MORIN, CLARISSA J
         175 SW MAIN ST                           ¨ Contingent
         DOUGLAS MA 01516
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1526 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1636 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4578. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $404.16                 $404.16
         MORITZ, ANNA
         35 LAURIE BLVD                           ¨ Contingent
         BETHPAGE NY 11714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4579. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $475.88                 $475.88
         MORO, TERESA M
         1092 WOODFIELD RD                        ¨ Contingent
         GREENACRES FL 33415
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4580. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $22.93                  $22.93
         MORRELL, SEQUORIA
         10425 RUNNING CEDAR LN                   ¨ Contingent
         503
         FREDERICKSBURG VA 22407                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1527 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1637 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4581. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.41                  $66.41
         MORRIS, BENITA D
         904 NE 25TH TERRACE                      ¨ Contingent
         GAINESVILLE FL 32641
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4582. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $431.55                 $431.55
         MORRIS, BREANA
         356 BLOSSOM AVE                          ¨ Contingent
         MACON GA 31204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4583. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.67                 $107.67
         MORRIS, CIERRA R
         4414 WALDEN ST.                          ¨ Contingent
         DENVER CO 80249
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1528 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1638 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4584. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.14                  $66.14
         MORRIS, DESTINY
         418 WEST ELDRIDGE                        ¨ Contingent
         FLINT MI 48505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4585. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $513.48                 $513.48
         MORRIS, GABBY D
         3447 CENTRAL AVE                         ¨ Contingent
         ASHLAND KY 41101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4586. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.08                 $141.08
         MORRIS, GAILYNN A
         5401 CULVER STREET                       ¨ Contingent
         INDIANAPOLIS IN 46226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1529 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1639 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4587. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.77                 $100.77
         MORRIS, SALENA
         1334 MACDONALD ROAD                      ¨ Contingent
         C
         CHESAPEAKE VA 23325                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4588. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.72                 $123.72
         MORRIS, TAYLOR M
         175 SCHUYLER AVENUE                      ¨ Contingent
         1ST FLOOR
         NEWARK NJ 07112                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4589. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $628.23                 $628.23
         MORRISON, ALYSSA
         1828 RADNOR DR                           ¨ Contingent
         MELBOURNE FL 32901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1530 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1640 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4590. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $413.35                 $413.35
         MORRISON, HALEY B
         104 BECKWITH CT.                         ¨ Contingent
         HUNTSVILLE AL 35811
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4591. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $611.51                 $611.51
         MORRISON, KALI
         25 ROXBURY STREET                        ¨ Contingent
         FARMINGDALE NY 11735
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4592. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,235.78               $1,235.78
         MORRISON, KIANA A
         9709 HOLLYBURGH TERRACE                  ¨ Contingent
         CHARLOTTE NC 28215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1531 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1641 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4593. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $204.75                 $204.75
         MORRISON, RAYANNE A
         363 SOUTH 1ST AVE                        ¨ Contingent
         MOUNT VERNON NY 10550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4594. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.36                 $120.36
         MORROW, MARIAH A
         7614 VERA AVE                            ¨ Contingent
         BAKERSFIELD CA 93307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4595. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $557.30                 $557.30
         MOSELEY, CLAIR
         19703 ANNALEE AVE                        ¨ Contingent
         CARSON CA 90746
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1532 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1642 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4596. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.80                 $203.80
         MOSER, JAELYN T
         14035 NOBLE PARK DRIVE                   ¨ Contingent
         N/A
         ODESSA FL 33556                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4597. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,390.87               $3,390.87
         MOSES, DESIRAE N
         150 BOONE LN                             ¨ Contingent
         MOCKSVILLE NC 27028-5184
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4598. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $204.45                 $204.45
         MOSES, KATRINA
         2541 WASSER TERRACE                      ¨ Contingent
         APT 161
         HERNDON VA 20171                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1533 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1643 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4599. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $270.41                 $270.41
         MOSES, ORIAUNA N
         37303 CORNERVIEW RD                      ¨ Contingent
         GEISMAR LA 70734
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4600. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $51.51                  $51.51
         MOSES-FRAZIER, CHEYENNE A
         4905 COLUMBIA ARD                        ¨ Contingent
         APT G
         COLUMBIA MD 21044                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4601. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $144.54                 $144.54
         MOSIER, HAILEE
         6070 GLEBE DRIVE                         ¨ Contingent
         INDIANAPOLIS IN 46237
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1534 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1644 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4602. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.30                 $119.30
         MOSLEY, JAZMYN K
         21 DAKA COURT                            ¨ Contingent
         BLOOMFIELD NJ 07003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4603. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $53.76                  $53.76
         MOSQUEDA, DEJA M
         419 CEDAR STREET                         ¨ Contingent
         APT 5
         ALLENTOWN PA 18102                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4604. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $519.69                 $519.69
         MOSQUEDAS, CRYSTAL
         11 CONCORD                               ¨ Contingent
         OLD BRIDGE NJ 08857
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1535 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1645 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4605. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $463.42                 $463.42
         MOSSMAN, KRISTIN N
         545 3RD ST N                             ¨ Contingent
         WINTHROP IA 50682
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4606. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.58                 $101.58
         MOSSON, JAKIYA
         802 PERSEUS                              ¨ Contingent
         KILLEEN TX 76542
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4607. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.58                 $186.58
         MOTSINGER, LAUREN C
         5656 WALLINGWOOD DRIVE                   ¨ Contingent
         LAWRENCE IN 46226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1536 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1646 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4608. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $183.69                 $183.69
         MOUA, NTXIAVYIA C
         2775 HILLTOP CT                          ¨ Contingent
         NORTH ST PAUL MN 55109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4609. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $558.84                 $558.84
         MOUA, PHOUA
         245 SWANTON ROAD APT. 8                  ¨ Contingent
         MADISON WI 53714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4610. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.04                  $76.04
         MOUCHERON, MADELEINE L
         9334 MERLOT CIRCLE                       ¨ Contingent
         BREINIGSVILLE PA 18031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1537 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1647 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4611. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.99                 $121.99
         MOULTON, MACKENZIE S
         1622 E AMBER LANE                        ¨ Contingent
         GILBERT AZ 85296
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4612. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.28                 $128.28
         MOUMAND, KAINATH
         4218 JUPITER CT                          ¨ Contingent
         UNION CITY CA 94587
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4613. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.66                 $138.66
         MOUNTS, EMMA E
         206 LANYARD PLACE                        ¨ Contingent
         206 LANYARD PL
         LEHIGH ACRES FL 33936                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1538 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1648 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4614. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.36                  $81.36
         MOXON-JOHNSON, JUNE M
         10200 PARK MEADOWS DR                    ¨ Contingent
         2012
         LONE TREE CO 80124                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4615. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $381.84                 $381.84
         MOYA, MARCY B
         469 CONNETQUOT AVE                       ¨ Contingent
         ISLIP TERRACE NY 11752
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4616. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.68                  $78.68
         MUELLER, JOSIE
         509 NIAGARA COURT                        ¨ Contingent
         R513 GRIGGS HA
         DULUTH MN 55812                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1539 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1649 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4617. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.64                 $158.64
         MUELLER, LILLIA K
         24979 CONSTITUTION AVE                   ¨ Contingent
         1032
         VALENCIA CA 91381                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4618. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $469.88                 $469.88
         MUHAMMAD, HANEEFAH A
         57 ROSE TERRACE                          ¨ Contingent
         NEWARK NJ 07108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4619. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.24                 $137.24
         MUHAMMAD, LATIFAH R
         397 BUCKS HILL RD                        ¨ Contingent
         WATERBURY CT 06704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1540 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1650 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4620. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.90                  $88.90
         MUIR, AUGUST M
         1820 FRIZZELL DR                         ¨ Contingent
         VIRGINIA BEACH VA 23455
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4621. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.94                 $125.94
         MULDER, TONI M
         14532 BLAIR ST.                          ¨ Contingent
         HOLLAND MI 49424
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4622. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,794.51               $4,794.51
         MULL, JOANNE
         2341 ST JOSEPH                           ¨ Contingent
         WEST BLOOMFIELD MI 48324
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1541 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1651 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4623. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.12                 $107.12
         MULLEN, KASSANDRA C
         1 FAIRVIEW AVE                           ¨ Contingent
         6
         YORKVILLE NY 13495                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4624. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.90                 $153.90
         MULLEN, TINA A
         1005 SCHENECTADY AVENUE                  ¨ Contingent
         BROOKLYN NY 11203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4625. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.04                  $63.04
         MULLER, ORYEIN E
         95-024 WAIHAU STREET                     ¨ Contingent
         APT 10B
         MILILANI HI 96789                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1542 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1652 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4626. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.44                  $44.44
         MUMFORD, MARAJAH I
         202 GREENBRIER DR                        ¨ Contingent
         SNOW HILL MD 21863
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4627. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,392.90               $1,392.90
         MUNFORD, JEWEL G
         1841 WALTON STREET                       ¨ Contingent
         PETERSBURG VA 23805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4628. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,294.08               $1,294.08
         MUNGCAL, ALYSSA L
         217 8TH AVE                              ¨ Contingent
         BETHLEHEM PA 18018-5104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1543 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1653 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4629. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $489.25                 $489.25
         MUNNERLYN, SHEKEYVIA S
         1518 NE 31ST                             ¨ Contingent
         OCALA FL 34479
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4630. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.73                  $32.73
         MUNOZ, ANNA M
         4275 BALDWIN ST                          ¨ Contingent
         HUDSONVILLE MI 49426
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4631. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $396.59                 $396.59
         MUNOZ, GRACIELA
         4618 KATARINA AVE                        ¨ Contingent
         BROWNSVILLE TX 78526
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1544 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1654 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4632. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $579.16                 $579.16
         MUNOZ, KAREN A
         610 SOUTH CLAY                           ¨ Contingent
         MIDLAND TX 79701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4633. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,320.61               $1,320.61
         MUNOZ, LIRIS M
         18 PINE CREEK CT.                        ¨ Contingent
         PITTSBURG CA 94565
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4634. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.64                 $136.64
         MUNOZ, LOPEZ MAHARAI
         9101 E MISSOURI AVE                      ¨ Contingent
         DENVER CO 80247
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1545 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1655 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4635. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,660.52               $3,660.52
         MUNOZ, LORENA
         1504 HIGHLAND AVE                        ¨ Contingent
         BERWYN IL 60402-1317
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4636. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,261.79               $1,261.79
         MUNOZ, MICHELLE
         29 4TH AVEBUE                            ¨ Contingent
         LONG BRANCH NJ 07740-6533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4637. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.75                  $24.75
         MUNOZ, PERLA
         856 HART AVE                             ¨ Contingent
         LAS VEGAS NV 89106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1546 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1656 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4638. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,723.81               $1,723.81
         MUNOZ, RICHARD H
         233 SEYMOUR RD                           ¨ Contingent
         PORT CHESTER NY 10573
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4639. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.97                  $75.97
         MUNOZ, STEPHANIE M
         5219 VERNICE ST                          ¨ Contingent
         WIMAUMA FL 33598
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4640. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.13                 $111.13
         MURDOCK, ASHLEY S
         2867 OXFORD WAY APT 301                  ¨ Contingent
         CLAREMONT NC 28610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1547 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1657 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4641. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $408.26                 $408.26
         MURDOCK, KAITLYN B
         6313 EMERALD TRAIL                       ¨ Contingent
         ACWORTH GA 30101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4642. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.74                 $156.74
         MURDOCK, KIRA
         4230 DROSERA AVENUE                      ¨ Contingent
         MAYS LANDING NJ 08330
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4643. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.78                  $80.78
         MURIEL, VALERIA
         38 BAYVIEW AVE FL 1                      ¨ Contingent
         NORWALK CT 06854
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1548 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1658 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4644. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.95                 $160.95
         MURILLO, ADRIANA M
         431 OLMSTEAD AVE                         ¨ Contingent
         BRONX NY 10473
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4645. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $216.46                 $216.46
         MURILLO, VANESSA
         2906 HARRISON AVENUE                     ¨ Contingent
         EL PASO TX 79930
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4646. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,803.74               $1,803.74
         MURILLO, VERONICA C
         6010 DAVIS RD                            ¨ Contingent
         FT WORTH TX 76140
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1549 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1659 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4647. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $434.35                 $434.35
         MURPHY, KAYLEE
         215 BRENT RD                             ¨ Contingent
         WALDORF MD 20602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4648. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $605.33                 $605.33
         MURPHY, KELSEY S
         5011 CELADON AVE                         ¨ Contingent
         FAIRFIELD OH OH 45014
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4649. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.20                 $193.20
         MURPHY, MCKAYLA A
         11225 EMILY LANE SW                      ¨ Contingent
         OLYMPIA WA 98512
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1550 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1660 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4650. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.49                  $70.49
         MURRAY, AALIYAH N
         20751 WAKEDON                            ¨ Contingent
         SOUTHFIELD MI 48033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4651. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.67                  $66.67
         MURRAY, AUTUMN M
         4684 SOUTH BEECHWOOD DR.                 ¨ Contingent
         MACON GA 31210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4652. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $848.01                 $848.01
         MURRAY, DAVITA
         31 ANGERER AVE                           ¨ Contingent
         BROCKTON MA 02302
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1551 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1661 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4653. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $572.39                 $572.39
         MURRAY, MICAH D
         383 LAS COLINAS BLVD.                    ¨ Contingent
         APT 3020
         IRVING TX 75039                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4654. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.33                  $25.33
         MURRELL, ARNELL
         764 CREST VALLEY PL                      ¨ Contingent
         HENDERSON NV 89011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4655. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,488.00               $4,488.00
         MURRILL, JAFFAR
         3219 FLOWERS RD SOUTH                    ¨ Contingent
         APT. R
         ATLANTA GA 30341                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1552 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1662 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4656. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $822.43                 $822.43
         MURTAGH, HENRIETTA R
         521 HILL STREET                          ¨ Contingent
         WHITINSVILLE MA 01588
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4657. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $634.46                 $634.46
         MUSAWI, MUSTAFA
         2310 DOLAN FALLS LANE                    ¨ Contingent
         HOUSTON TX 77089
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4658. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,263.13               $2,263.13
         MUSCARI, JORDAN
         7408 W 140TH AVE                         ¨ Contingent
         CEDAR LAKE IN 46303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1553 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1663 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4659. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.05                 $127.05
         MUSGROVE, MADISON M
         8912 SHERMAN ROAD                        ¨ Contingent
         FOLEY AL 36535
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4660. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.08                 $150.08
         MUSICH, CASSIDY M
         14457 CLAUDE CT                          ¨ Contingent
         THORNTON CO 80602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4661. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.63                 $103.63
         MUSICK, BRITTNAY
         202 CHARLES STREET APT. 202              ¨ Contingent
         FREDERICKSBURG VA 22401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1554 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1664 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4662. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $242.85                 $242.85
         MUSO, CINDY
         61 MELROSE AVE                           ¨ Contingent
         STATEN ISLAND NY 10301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4663. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.84                  $65.84
         MUSSLEWHITE, KYLIE E
         9502 CARY-ALGONQUIN ROAD                 ¨ Contingent
         CARY IL 60013
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4664. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.92                 $109.92
         MUTH, MEGAN H
         29259 SNAPDRAGON PLACE                   ¨ Contingent
         SANTA CLARITA CA 91387
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1555 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1665 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4665. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $674.98                 $674.98
         MUTHERSBAUGH, SAMANTHA
         2520 SAINT THOMAS DR                     ¨ Contingent
         LINCOLN NE 68502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4666. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $493.61                 $493.61
         MYERS, CHRISTINE R
         11211 SPRING PINE ST.                    ¨ Contingent
         SAN ANTONIO TX 78249
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4667. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $483.45                 $483.45
         MYERS, ISABEL G
         7161C NABORS DR TINKER AFB OKL           ¨ Contingent
         OKLAHOMA CITY OK 73145
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1556 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1666 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4668. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.19                 $120.19
         MYERS, MCKENZIE E
         306 E WILSON BLVD                        ¨ Contingent
         HAGERSTOWN MD 21740
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4669. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.56                  $88.56
         MYERS, SYDNEY D
         815 PASEO CAMARILLO                      ¨ Contingent
         488
         CAMARILLO CA 93010                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4670. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $928.50                 $928.50
         NABIYEVA, NIGINA
         4220 HUNT CLUB CIRCLE APT 804            ¨ Contingent
         FAIRFAX VA 22033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1557 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1667 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4671. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.28                 $116.28
         NAEOLE, HEUAHEANAHENAHE
         POBOX 11                                 ¨ Contingent
         KAAAWA HI 96730
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4672. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,657.21               $2,657.21
         NAGLE, LORI J
         5928 TULIP ST                            ¨ Contingent
         2ND FLOOR
         PHILADELPHIA PA 19135-3304               ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4673. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $303.45                 $303.45
         NAGUE, JOHN E
         338 HIGATE DRIVE                         ¨ Contingent
         DALY CITY CA 94015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1558 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1668 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4674. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.76                 $203.76
         NAJAR, - RAMIREZ APRIL
         535 WOODLAWN AVE                         ¨ Contingent
         CHULA VISTA CA 91910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4675. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $356.42                 $356.42
         NAJERA, CHRIS A
         7876 W MEXICO PL                         ¨ Contingent
         LAKEWOOD MA 80232
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4676. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $583.22                 $583.22
         NAKAZIBWE, SOPHIA
         2850 S LAKELINE BLVD                     ¨ Contingent
         APT 1638
         CEDARPARK TX 78613                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1559 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1669 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4677. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.68                 $128.68
         NAMA, MOUYEGHE LIZ JOYCE
         2475 GRAY FALLS DR                       ¨ Contingent
         APT 721
         HOUSTON TX 77077                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4678. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.85                 $108.85
         NAN, MONICA
         5445 GARFIELD AVE                        ¨ Contingent
         PENNSAUKEN NJ 08109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4679. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.35                  $85.35
         NANAN, HOLLY J
         10121 CAPE ANN DRIVE                     ¨ Contingent
         COLUMBIA MD 21046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1560 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1670 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4680. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.21                 $177.21
         NAPIER, EMILY P
         10459 WALNUT RIDGE RD                    ¨ Contingent
         WALTON KY 41094
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4681. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.81                  $83.81
         NAPOLEON, DORCA
         2142 ALDDRIN RD                          ¨ Contingent
         4A
         OCEAN NJ 07712                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4682. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.54                  $40.54
         NAQVI, ZARYAAB
         91 ISABELLE STREET                       ¨ Contingent
         METUCHEN NJ 08840
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1561 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1671 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4683. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.84                 $180.84
         NARANJO, ANGELA
         1102 N IVY ST.                           ¨ Contingent
         ESCONDIDO CA 92026
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4684. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.94                 $215.94
         NARAYANAN, RUTHIKA
         10 MITCHELL AVE                          ¨ Contingent
         EAST BRUNSWICK NJ 08816
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4685. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.42                 $192.42
         NARCISSE, SO'LACE
         3722 WALTON WAY EXT                      ¨ Contingent
         129
         AUGUSTA GA 30907                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1562 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1672 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4686. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.00                 $120.00
         NARINE, ASHLEY
         118-02 107TH AVE                         ¨ Contingent
         RICHMOND HILL NY 11419
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4687. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $433.50                 $433.50
         NASH, MYCHAYLA M
         1600 WOLFE AVE                           ¨ Contingent
         NORTH BRADDOCK PA 15104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4688. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.99                 $133.99
         NATHANIEL, LETHADDUS C
         5900 TRACY RD                            ¨ Contingent
         ATOKA TN 38004
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1563 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1673 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4689. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.35                 $155.35
         NAUER, AMBER K
         490 THORME STREET                        ¨ Contingent
         BRIDGEPORT CT 06606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4690. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.76                 $179.76
         NAVA, LIZBETH
         1400 13TH ST                             ¨ Contingent
         219
         IMPERIAL BEACH CA 91932                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4691. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.52                 $191.52
         NAVA, VANESSA
         3422 COLLIER AVE                         ¨ Contingent
         SAN DIEGO CA 92116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1564 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1674 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4692. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $260.92                 $260.92
         NAVARRETE, ALVAREZ DAYELSY F
         8347 SWEET MAIDEN                        ¨ Contingent
         SAN ANTONIO TX 78242
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4693. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.28                 $185.28
         NAVARRETE, AMANDA
         15251 SENECA RD                          ¨ Contingent
         APT 95
         VICTORVILLE CA 92392                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4694. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.55                 $119.55
         NAVARRETE, CIELO N
         127 RETIRO                               ¨ Contingent
         MOSS BEACH CA 94038
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1565 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1675 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4695. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $791.37                 $791.37
         NAVARRETE, GRABIELA
         3442 CLOVERDALE LN                       ¨ Contingent
         DALLAS TX 75234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4696. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,492.50               $1,492.50
         NAVARRO, ARIANNA
         6424 E VICTORY RD                        ¨ Contingent
         NAMPA ID 83687
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4697. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,049.05               $2,049.05
         NAVARRO, DANIELLE J
         24231 SCHIVENER HOUSE LANE               ¨ Contingent
         KATY TX 77493
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1566 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1676 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4698. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.60                 $192.60
         NAVARRO, STEPHANIE
         2560 HENRY AVE                           ¨ Contingent
         PINOLE CA 94564
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4699. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.64                  $71.64
         NAVEDO, KIARALEE E
         290 BROADWAY ST. SUITE 287               ¨ Contingent
         METHUEN MA 01844
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4700. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $476.43                 $476.43
         NAW, MIMI
         223 CEDAR ST                             ¨ Contingent
         HIGH POINT NC 27260
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1567 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1677 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4701. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.32                 $127.32
         NDAGIRE, DAPHINE M
         710 N 7TH ST                             ¨ Contingent
         APT 3
         TERRE HAUTE IN 47807                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4702. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $311.15                 $311.15
         NDOMO, JANE MEGANE
         1428 HAMPSHIRE WEST COURT                ¨ Contingent
         #12
         SILVER SPRING MD 20903                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4703. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.51                  $31.51
         NEAL, DIAMOND N
         11526 SULPHUR HILLS PLACE                ¨ Contingent
         WALDORF MD 20695
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1568 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1678 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4704. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $280.72                 $280.72
         NEAL, STARKISHA B
         1215 2ND AVE N                           ¨ Contingent
         #14
         SAUK-RAPIDS MN 56379                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4705. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.55                 $135.55
         NEARY, DEVON M
         7308 ARAGON STREET                       ¨ Contingent
         LAS VEGAS NV 89145
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4706. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.89                 $112.89
         NEARY, ROBIN
         761 E RIVER RD                           ¨ Contingent
         GRAND ISLAND NY 14072-2940
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1569 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1679 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4707. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.76                 $137.76
         NEAVES, TAYLOR M
         9331 AUTUMN SUN                          ¨ Contingent
         SAN ANTONIO TX 78254
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4708. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $861.52                 $861.52
         NEDZA, ELIZABETH
         10808 S NASHVILLE AVE                    ¨ Contingent
         WORTH IL 60482-1619
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4709. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,877.17               $1,877.17
         NEEDHAM, JENNIFER L
         15 CARDINAL DR.                          ¨ Contingent
         FLORENCE KY 41042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1570 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1680 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4710. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.78                 $135.78
         NEEL, ABBIE N
         5538 WESLEY DRIVE                        ¨ Contingent
         MILTON FL 32570
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4711. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.38                  $77.38
         NEELEY, CAITLIN M
         3652 BUENA VISTA DRIVE                   ¨ Contingent
         HUBBARD OH 44425
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4712. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $925.98                 $925.98
         NEESON, BRITTANY N
         118 BOWER CT                             ¨ Contingent
         STATEN ISLAND NY 10309-1634
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1571 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1681 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4713. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $716.50                 $716.50
         NEGRETE, GABRIELLA
         11406 CITRUS DR.                         ¨ Contingent
         101
         VENTURA CA 93004                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4714. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.19                 $160.19
         NEGRETE, JOCELYN
         6515 DENSMORE AVE                        ¨ Contingent
         LAKE BALBOA CA 91406
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4715. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,460.78               $2,460.78
         NEGRI, KELLY A
         162 WEST 14TH ST                         ¨ Contingent
         DEER PARK NY 11729
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1572 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1682 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4716. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,316.32               $2,316.32
         NELLE, CHRIS A
         16277 CAMERON AVE                        ¨ Contingent
         PETERSBURG IL 62675
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4717. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.44                 $145.44
         NELSON, ADDISYN L
         1003 NORTH 9TH AVENUE EAST               ¨ Contingent
         DULUTH MN 55805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4718. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.72                 $101.72
         NELSON, ALEYAH S
         1213 HERITAGE DR                         ¨ Contingent
         WENDELL NC 27591
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1573 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1683 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4719. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $589.38                 $589.38
         NELSON, CARLETHA
         1537 GRACE AVE                           ¨ Contingent
         PANAMA CITY FL 32405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4720. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $561.60                 $561.60
         NELSON, DEIDRA
         19140 PIERSON                            ¨ Contingent
         DETROIT MI 48219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4721. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.05                  $90.05
         NELSON, EMMA R
         117 N GREENGATE DR                       ¨ Contingent
         YUKON OK 73099
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1574 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1684 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4722. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.98                  $69.98
         NELSON, JADE K
         3721 ORLEANS AVE                         ¨ Contingent
         LOWER
         SIOUX CITY IA 51106                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4723. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.82                 $149.82
         NELSON, JOSLYN A
         223 TOLLVIEW CT                          ¨ Contingent
         GILBERTS IL 60136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4724. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.38                 $106.38
         NELSON, MACKENZIE E
         2070 N SPRIGG ST.                        ¨ Contingent
         4-4106 C
         CAPE GIRARDEAU MO 63367                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1575 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1685 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4725. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.45                  $63.45
         NELSON, MICHELLE
         6670 WEST 24TH CT                        ¨ Contingent
         12
         HIALEAH FL 33016                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4726. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $318.20                 $318.20
         NELSON, NICOLE D
         5478 TIPPLE RD                           ¨ Contingent
         ROCKFORD IL 61102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4727. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.30                  $59.30
         NELSON, RICHELLA A
         155 TALL PINES CT                        ¨ Contingent
         WINSTON-SALEM NC 27107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1576 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1686 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4728. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.44                 $115.44
         NELSON, SAMANTHA M
         8704 NE 59TH STREET                      ¨ Contingent
         VANCOUVER WA 98662
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4729. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $213.41                 $213.41
         NEPOMUCENO, SYDNEY
         28419 MAYFAIR DR                         ¨ Contingent
         VALENCIA CA 91354-1521
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4730. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $531.47                 $531.47
         NEUBAUER, SAMANTHA E
         1003 MICHELLE DRIVE                      ¨ Contingent
         GULFPORT MS 39503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1577 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1687 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4731. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $53,762.73              $53,762.73
         NEVADA DEPARTMENT OF TAXATION
         SALES TAX                                ¨ Contingent
         STATE OF NEVADA-SALES/USE
         PO BOX 7165                              ¨ Unliquidated                                                        Nonpriority amount
         SAN FRANCISCO CA 94120                   ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         JANUARY '19                              TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4732. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,517.27               $5,517.27
         NEVADA DEPT. OF TAXATION
         P.O. BOX 7165                            ¨ Contingent
         SAN FRANCISCO CA 94120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4733. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.14                 $157.14
         NEVILLE, PAYTON L
         3605 STARTOWN RD.                        ¨ Contingent
         NEWTON NC 28658
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1578 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1688 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4734. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,907.93               $6,907.93
         NEVINGER, KIMBERLY D
         4130 CESAR CHAVEZ ST.                    ¨ Contingent
         APT. 21
         SAN FRANCISCO CA 94131                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4735. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,076.58               $3,076.58
         NEWCOMER, TAMRA H
         18105 AMBERLY LN                         ¨ Contingent
         SOUTH BEND IN 46637
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4736. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,132.05               $1,132.05
         NEWE, ZYANYA A
         6 SAPPHIRE RD                            ¨ Contingent
         OCALA FL 34472
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1579 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1689 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4737. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.09                  $70.09
         NEWSHOLME, MYA L
         504 LIGHTHOUSE DRIVE                     ¨ Contingent
         MANAHAWKIN NJ 08050
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4738. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.92                 $151.92
         NEWSOM, JALONI J
         3701 W. BENJAMIN HOLT DR.                ¨ Contingent
         149
         STOCKTON CA 95219                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4739. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.75                  $36.75
         NEWSOM, ZARIA M
         1105 PALMER RD                           ¨ Contingent
         MEMPHIS TN 38116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1580 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1690 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4740. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $588.49                 $588.49
         NEWTON, JANEA L
         280 GRANGER VIEW CIRCLE                  ¨ Contingent
         FRANKLIN TN 37064
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4741. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $55.46                  $55.46
         NEWTON, JASMINE
         10680 WARD RD                            ¨ Contingent
         WHITAKERS NC 27891
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4742. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $768.16                 $768.16
         NEWTON, RACHEL M
         441 LONE OAKS LOOP                       ¨ Contingent
         SILVERTON OR 97381
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1581 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1691 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4743. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.76                  $79.76
         NEWTON, RAVEN M
         4607 PINE BLVD                           ¨ Contingent
         ORANGE BEACH AL 36561
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4744. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,359.30               $4,359.30
         NGIGE, TIAISHIA A
         2650 N. FIZTHUGH AVE                     ¨ Contingent
         APT 1512
         DALLAS TX 75204                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4745. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.88                  $41.88
         NGUYEN, ELISA
         12977 N 50TH STREET                      ¨ Contingent
         212A
         TAMPA FL 33617                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1582 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1692 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4746. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $522.06                 $522.06
         NGUYEN, HONG
         3212 TEN ACRE RD                         ¨ Contingent
         PANAMA CITY FL 32405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4747. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.45                 $146.45
         NGUYEN, IVON
         11912 CASTLEFORD WAY                     ¨ Contingent
         CROWLEY TX 76036
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4748. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.96                 $178.96
         NGUYEN, JENNA P
         115 NORTH BIRCHER STREET                 ¨ Contingent
         ANAHEIM CA 92801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1583 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1693 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4749. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.12                 $212.12
         NGUYEN, JENNIFER
         55 BONCOUER RD                           ¨ Contingent
         CHELTENHAM PA 19012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4750. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.28                  $56.28
         NGUYEN, KAYCEE L
         6813 VANCE ST                            ¨ Contingent
         ARVADA CO 80003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4751. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $291.28                 $291.28
         NGUYEN, KENNY N
         355 E. PRIMM BLVD PMB 5457               ¨ Contingent
         5457
         PRIMM NV 89019                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1584 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1694 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4752. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.96                 $114.96
         NGUYEN, LILIAN S
         18 ROCKEFELLER ST.                       ¨ Contingent
         RANDOLPH MA 02368
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4753. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $355.71                 $355.71
         NGUYEN, SUSAN
         3656 DUNBAR AVE SW APT.A1                ¨ Contingent
         APT.A1
         WYOMING MI 49509                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4754. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.28                 $191.28
         NHAN, TIFFANY J
         20 WASHBURN STREET                       ¨ Contingent
         WORCESTER MA 01610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1585 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1695 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4755. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.02                 $151.02
         NICASIO, CHAVEZ CECILIA
         800 HILL AVE LOT 201                     ¨ Contingent
         AURORA IL 60505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4756. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.74                 $141.74
         NICHOLAS, MONIQUE
         2035 CAPSTONE CT                         ¨ Contingent
         ROCK HILL SC 29732
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4757. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.40                 $149.40
         NICKS, BROOKE A
         3915 UPMANN DRIVE                        ¨ Contingent
         ROCKLEDGE FL 32955
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1586 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1696 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4758. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $238.32                 $238.32
         NICOLAS, JENNIFAR L
         1029 NW 12TH ST                          ¨ Contingent
         FORT LAUDERDALE FL 33311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4759. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.11                 $169.11
         NICOLAS, KELLEE Y
         1003 TOWER BLVD                          ¨ Contingent
         LAKE WALES FL 33853
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4760. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,433.85               $3,433.85
         NICOLAS, LAKISHA A
         2760 NW 164TH ST                         ¨ Contingent
         MIAMI GARDENS FL 33054
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1587 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1697 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4761. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $0.00                   $0.00
         NIEDERHAUS. CORY A.
         53 PLYMOUTH AVE                          ¨ Contingent
         MT. SINAI NY 11766
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4762. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,998.08               $3,998.08
         NIEDERSCHUH, DAYNA J
         10208 PLYMOUTH                           ¨ Contingent
         OKLAHOMA CITY OK 73159
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4763. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $613.91                 $613.91
         NIES, AIMEE L
         905 COMMONWEALTH BLVD                    ¨ Contingent
         MANCHESTER NJ 08759
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1588 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1698 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4764. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,181.25               $2,181.25
         NIETO, LETICIA
         3130 CRESTDALE DR                        ¨ Contingent
         APT 1136
         HOUSTON TX 77080-3935                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4765. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.07                 $136.07
         NIEVES, DAYANA
         CALLE FENIX G-7 URB. LAS GAVIO           ¨ Contingent
         TOA BAJA PR 00949
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4766. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.72                 $190.72
         NIEVES, JARIMAR
         2731 GARFIELD AVENUE                     ¨ Contingent
         CAMDEN NJ 08105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1589 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1699 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4767. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.98                  $36.98
         NIEVES, KAMILA
         CARR 167                                 ¨ Contingent
         BO. CUCHILLAS
         MOCA PR 00676                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4768. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.24                 $176.24
         NIEVES, SHALIYAH P
         22 WADSWORTH STREET                      ¨ Contingent
         MANCHESTER CT 06040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4769. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $268.70                 $268.70
         NIEVES, VANESSA M
         12 OAKLAND AVE                           ¨ Contingent
         3
         CRANSTON RI 02910                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1590 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1700 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4770. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $0.00                   $0.00
         NIKIEMA-OUEDRAOGO. WENDENDA MA
         2206 BRIGHTSEAT RD                       ¨ Contingent
         APT. 201
         LANDOVER MD 20785                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4771. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.92                 $184.92
         NISHIDA, BREEANN S
         28581 AUTHURIUM WAY                      ¨ Contingent
         MURRIETA CA 92563
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4772. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $417.45                 $417.45
         NITTOLO, AMANDA
         703 KENSINGTON CT.                       ¨ Contingent
         BREWSTER NY 10509
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1591 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1701 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4773. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.97                  $31.97
         NIX, DELLA
         22 4TH COURT WEST                        ¨ Contingent
         BIRMINGHAM AL 35204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4774. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.73                  $44.73
         NIXON, SYDNEY L
         2324 NW 112TH STREET                     ¨ Contingent
         OKC OK 73120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4775. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $313.50                 $313.50
         NOCELOTL, DIANA V
         311 SIMMS ST                             ¨ Contingent
         AURORA IL 60505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1592 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1702 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4776. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.00                 $111.00
         NOEL, RAELYNN A
         11870 MEADOW WOOD WAY                    ¨ Contingent
         MORENO VALLEY CA 92557-6216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4777. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $656.70                 $656.70
         NOGALES, BRIANNA N
         17100 31ST DR SE                         ¨ Contingent
         BOTHELL WA 98012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4778. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.00                 $252.00
         NOGOY, ISABELLE
         4545 17TH AVE NE                         ¨ Contingent
         SEATTLE WA 98105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1593 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1703 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4779. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $883.50                 $883.50
         NOLASCO, JENNIFER
         1472 W. 47TH ST                          ¨ Contingent
         LOS ANGELES CA 90062
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4780. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.40                 $110.40
         NOLL, TANNER R
         1902 SE ESTERBROOK STREET                ¨ Contingent
         PORT ST LUCIE FL 34983
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4781. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.65                 $106.65
         NOLTING, KAITLYN
         6443 NESBIT ST                           ¨ Contingent
         COALMONT IN 47845
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1594 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1704 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4782. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.60                  $30.60
         NOMURA, KIANNA
         94-304 KEAOOPUA STREET                   ¨ Contingent
         MILILANI HI 96789
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4783. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.67                  $87.67
         NORBERT, TATIANA L
         10704 GUNGROVE DR                        ¨ Contingent
         UNIT B
         AUSTIN TX 78750                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4784. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,131.32               $2,131.32
         NORDMAN, LAUREN T
         19800 SASSAFRASS DRIVE                   ¨ Contingent
         LITTLE ROCK AR 72206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1595 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1705 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4785. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,067.81               $4,067.81
         NORDQUIST, AMBER
         393 9TH AVE                              ¨ Contingent
         WALCOTT ND 58077
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4786. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.60                 $219.60
         NORIA, JENNIFER
         4009 LANFORD RD                          ¨ Contingent
         MISSION TX 78574
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4787. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $709.31                 $709.31
         NORIEGA, KIANNA R
         2030 PHILLIPS RD                         ¨ Contingent
         NEW BEDFORD MA 02745
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1596 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1706 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4788. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,091.20               $1,091.20
         NORIEGA, RICARDO
         1A4-4 SAN RAFAEL                         ¨ Contingent
         CAGUAS PR 00725
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4789. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $232.80                 $232.80
         NORIEGA, RUIZ MARGARET J
         155 E SUNSET ST                          ¨ Contingent
         LONG BEACH CA 90805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4790. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.57                 $212.57
         NORMAN, KEELASHAY
         2936 SIXTH ST.                           ¨ Contingent
         MUSKEGON HEIGHTS MI 49444
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1597 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1707 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4791. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.94                  $56.94
         NORRINGTON, SANDRA C
         8356 104TH AVE                           ¨ Contingent
         VERO BEACH FL 32967
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4792. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,631.22               $3,631.22
         NORRIS, ASHLEY
         1134 CROSS VALLEY COVE                   ¨ Contingent
         CORDOVA TN 38018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4793. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.73                 $121.73
         NORRIS, AUBREY
         411 MARYLAND STREET                      ¨ Contingent
         PARKER CITY IN 47368
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1598 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1708 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4794. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $189.01                 $189.01
         NORRIS, BRIANNA
         83 PEARLHARBOR PL                        ¨ Contingent
         BRIDGEPORT CT 06610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4795. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.33                  $30.33
         NORRIS, CHRISTAL L
         4060 BISCAYNE RD                         ¨ Contingent
         INDIANAPOLIS IN 46226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4796. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $208.38                 $208.38
         NORRIS, HALEY M
         102 BROWNLEA DRIVE                       ¨ Contingent
         14
         GREENVILLE NC 27858                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1599 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1709 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4797. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.33                 $196.33
         NORSWORTHY, SAMANTHA G
         205 WILLOW COVE                          ¨ Contingent
         PADUCAH KY 42003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4798. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $414.68                 $414.68
         NORTH DAKOTA OFFICE OF STATE
         TAX COMMISSIONER                         ¨ Contingent
         SALES TAX
         PO BOX 5623                              ¨ Unliquidated                                                        Nonpriority amount
         BISMARCK ND 58506-5623                   ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         JANUARY 19                               TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4799. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $639.31                 $639.31
         NORTH HILLS SCHOOL DISTRICT
         135 SIXTH AVENUE                         ¨ Contingent
         PITTSBURGH PA 15229-1291
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1600 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1710 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4800. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $254.16                 $254.16
         NORTH, AIYANA F
         6502 182ND PL SW                         ¨ Contingent
         LYNNWOOD WA 98037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4801. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,255.92               $2,255.92
         NORTH-BECERRA, HEATHER S
         6155 FLORIDA ST                          ¨ Contingent
         DETROIT MI 48210-1973
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4802. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.10                 $128.10
         NORTHERN, RYNIAH A
         327 SHERBORNE LANE                       ¨ Contingent
         KISSIMMEE FL 34758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1601 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1711 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4803. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.60                 $190.60
         NORTON, BREANNE M
         2800 S HIGHLAND MESA ROAD                ¨ Contingent
         #6-204
         FLAGSTAFF AZ 86001                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4804. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,532.50               $3,532.50
         NORTON, LINDSEY N
         1506 LINCOLNSHIRE DR.                    ¨ Contingent
         6
         CHAMPAIGN IL 61821                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4805. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $421.36                 $421.36
         NORWOOD, TARA C
         7757 67TH ST N                           ¨ Contingent
         PINELLAS PARK FL 33781
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1602 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1712 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4806. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,349.22               $2,349.22
         NOSEDA, RENEE M
         13334 WESTMINISTER                       ¨ Contingent
         STERLING HEIGHTS MI 48313
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4807. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.92                  $40.92
         NOYES, NIA P
         1208 10TH AVE S                          ¨ Contingent
         ST CLOUD MN 56301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4808. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $594.32                 $594.32
         NULL, STEPHANIE A
         1042 8TH AVE                             ¨ Contingent
         BRACKENRIDGE PA 15014
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1603 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1713 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4809. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.70                  $35.70
         NULTER, LAUREN L
         2608 AVERY STREET                        ¨ Contingent
         22
         PARKERSBURG WV 26104                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4810. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $615.04                 $615.04
         NUNCIO, MARIA I
         2300 18TH STREET                         ¨ Contingent
         PLANO TX 75074-5732
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4811. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.00                 $121.00
         NUNEZ, ANGELICA C
         4 STEVEN ST                              ¨ Contingent
         APT 2
         DANBURY CT 06810                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1604 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1714 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4812. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,068.90               $1,068.90
         NUNEZ, BRENDA
         PO BOX 1105                              ¨ Contingent
         FRAZIER PARK CA 93225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4813. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.75                 $145.75
         NUNEZ, CELYNA
         11284 IVY PLACE                          ¨ Contingent
         LOS ANGELES CA 90064
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4814. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $293.21                 $293.21
         NUNEZ, LINDA O
         1915 GREENFIELD AVE.                     ¨ Contingent
         NORTH CHICAGO IL 60064
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1605 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1715 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4815. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $724.82                 $724.82
         NUNNALLEE, AILISE E
         5006 MADISON HEIGHTS CT SE               ¨ Contingent
         OLYMPIA WA 98501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4816. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $884.57                 $884.57
         NUON, NATHALIE S
         1781 KYRA CIRCLE                         ¨ Contingent
         SAN JOSE CA 95122
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4817. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $528.63                 $528.63
         NUTAUT, ALLY J
         2945 S 5TH ST                            ¨ Contingent
         SPRINGFIELD IL 62703-4015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1606 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1716 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4818. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $878.33                 $878.33
         NUTTER, JESSICA
         818 E LANGSFORD RD                       ¨ Contingent
         APT 204
         LEES SUMMIT MO 64063                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4819. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $10,238.00              $10,238.00
         NY CITY DEPT OF FINANCE
         PO BOX 3931                              ¨ Contingent
         NEW YORK NY 10008-3931
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         DEC '18-JAN '19                          TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number: 0505
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4820. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.07                  $91.07
         OBEID, AISHA I
         8857 HAPPINESS RD                        ¨ Contingent
         HARRISBURG NC 28075
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1607 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1717 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4821. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $543.35                 $543.35
         OBERHEUSER, BLAKE M
         637 CAMINO DEL CONTENTO                  ¨ Contingent
         PUEBLO WEST CO 81007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4822. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.15                 $174.15
         OBIE, LAUREN N
         10100 NW 86 STREET                       ¨ Contingent
         KANSAS CITY MO 64153
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4823. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.80                 $130.80
         OBILLO, TRISHA ALLISON M
         42112 AUTUMN RAIN CIRCLE                 ¨ Contingent
         ASHBURN VA 20148
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1608 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1718 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4824. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $453.72                 $453.72
         OBLEPIAS, BIANCA
         669 ROOSEVELT AVE                        ¨ Contingent
         CARTERET NJ 07008
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4825. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.05                  $39.05
         O'BRIEN, COURTNEY S
         9128 S. AVERS                            ¨ Contingent
         EVERGREEN PARK IL 60805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4826. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $569.03                 $569.03
         O'BRIEN, KEARA
         505 PACHECO DR                           ¨ Contingent
         TRACY CA 95376-1426
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1609 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1719 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4827. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $520.30                 $520.30
         OCAMPO, ABIGAIL C
         4126 W. BARRY AVE.                       ¨ Contingent
         2
         CHICAGO IL 60641                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4828. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $254.02                 $254.02
         OCASIO, - RODRIGUEZ NATASHA
         129 HAWTHORNE DRIVE                      ¨ Contingent
         GUYTON GA 31312
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4829. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,374.85               $3,374.85
         OCCHIONERO, HEATHER N
         1801 DUNWOODY RD                         ¨ Contingent
         BALTIMORE MD 21234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1610 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1720 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4830. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.24                 $191.24
         OCHOA, BRIANA D
         9200 PERRY AVENUE                        ¨ Contingent
         AMARILLO TX 79119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4831. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.24                 $180.24
         OCHOA, CRUZ JENIFER C
         1404 N FRENCH ST #K                      ¨ Contingent
         K
         SANT ANA CA 92701                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4832. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $335.40                 $335.40
         OCHOA-CARDENAS, BEATRIZ
         1325 ROBERTS ST                          ¨ Contingent
         RENO NV 89502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1611 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1721 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4833. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,414.07               $1,414.07
         O'CONNOR, CHARLENE R
         700 W LA JOLLA ST #63                    ¨ Contingent
         PLACENTIA CA 92870
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4834. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $117.74                 $117.74
         OCONNOR, SHANNON K
         1526 S. CHARLES BLVD                     ¨ Contingent
         APT. 94A
         GREENVILLE NC 27858                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4835. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $16,056.25              $12,850.00
         O'CONNOR. MARY KAY
         758 NORTH POINT                          ¨ Contingent
         #2
         SAN FRANCISCO CA 94109                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $3,206.25

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1612 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1722 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4836. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.71                 $240.71
         ODEN, CARMILLA M
         117 BROWNLEA DR. APT. 10                 ¨ Contingent
         GREENVILLE NC 27858
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4837. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.52                  $34.52
         ODOM, HALEY
         7 DEAL AVE NW                            ¨ Contingent
         FORT WALTON BEACH FL 32548
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4838. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.35                  $73.35
         ODOM, LAURYN E
         848 TARA COURT                           ¨ Contingent
         COLUMBIA SC 29210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1613 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1723 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4839. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $570.46                 $570.46
         O'DONNELL, BRILLIANNA C
         1622 NORWOOD AVENUE                      ¨ Contingent
         PROSPECT PARK PA 19076
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4840. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.88                 $107.88
         OFFOR, JAANAI
         4815 BOYLAN STREET                       ¨ Contingent
         FAYETTEVILLE NC 28306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4841. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $243.30                 $243.30
         OGBEVIRE, SHEILA
         4089 ASHWINTON WAY                       ¨ Contingent
         ROCKFORD IL 61109-3274
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1614 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1724 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4842. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.34                 $184.34
         OGLESBY, FAITH A
         1416 ASIA COURT                          ¨ Contingent
         LATTA SC 29565
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4843. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.13                  $32.13
         OGLESBY, KNEISHA P
         26.5 SOUTH GEORGIA AVE                   ¨ Contingent
         ATLANTIC CITY NJ 08401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4844. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.62                 $259.62
         OHANIAN, TAMARA
         1396 CATNAP LANE                         ¨ Contingent
         MONUMENT CO 80132
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1615 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1725 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4845. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,360.54               $4,360.54
         OHIO DEPARTMENT OF TAXATION
         OH CAT                                   ¨ Contingent
         PO BOX 182101
         COLUMBUS OH 43218-2101                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         JANUARY 19                               TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.4846. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.97                 $129.97
         OJHA, HANNAH G
         305 FERRARA CT                           ¨ Contingent
         KISSIMMEE FL 34758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4847. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.69                  $95.69
         OKE-DIRAN, SARAH
         5461 N. EAST RIVER ROAD                  ¨ Contingent
         1601
         CHICAGO IL 60656                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1616 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1726 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4848. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,538.18               $2,538.18
         O'KEEFE, LUCIANNA J
         71 HUDSON STREET                         ¨ Contingent
         SOUTH GLENS FALLS NY 12803
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4849. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.35                 $240.35
         OKELLY, HILLARY H
         5376 NEIL DR.                            ¨ Contingent
         SAINT PETERSBURG FL 33714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4850. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $552.28                 $552.28
         OKEY, CYNTHIA L
         2616 22ND ST NW                          ¨ Contingent
         CANTON OH 44708
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1617 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1727 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4851. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.68                 $220.68
         OKRAKEL, MARCIA E
         3927 49TH AVE SW                         ¨ Contingent
         OLYMPIA WA 98512
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4852. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.75                  $45.75
         OLADITAN, OLAPEJU V
         18 GIORDAN COURT                         ¨ Contingent
         STATEN ISLAND NY 10303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4853. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,296.93               $1,296.93
         OLDHAM, PETER G
         1125 S. EBENEZER AVE.                    ¨ Contingent
         APT. 221
         SIOUX FALLS SD 57106                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1618 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1728 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4854. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $582.23                 $582.23
         OLEA, GARCIA CINTHIA
         1965 BLUEBIRD CT                         ¨ Contingent
         MIDDLETOWN OH 45044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4855. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.05                  $39.05
         OLEA, MARCELENA A
         3200 S LITZLER DR                        ¨ Contingent
         APT 5-220
         FLAGSTAFF AZ 85392                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4856. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $544.51                 $544.51
         OLIPHANT, JENNIFER L
         1361 CYPRESS POINT LN                    ¨ Contingent
         APT 104
         VENTURA CA 93003                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1619 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1729 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4857. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.56                  $40.56
         OLIVARES, ESTEFANIE
         3075 REDDING AVE APART. 915              ¨ Contingent
         SACRAMENTO CA 95820
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4858. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $221.04                 $221.04
         OLIVAREZ, NATALIE
         4422 LOMINA AVE.                         ¨ Contingent
         LAKEWOOD CA 90713
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4859. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.98                  $80.98
         OLIVAS, AMANDA
         2123 SOUTH KANSAS                        ¨ Contingent
         2123
         WICHITA KS 67211                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1620 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1730 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4860. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.96                  $41.96
         OLIVAS, KAILEE
         8220 E 24TH DR                           ¨ Contingent
         DENVER CO 80238
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4861. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.04                 $158.04
         OLIVAS, LEANDRA G
         8710 MESA OAK DR.                        ¨ Contingent
         RIVERSIDE CA 92508
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4862. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $297.96                 $297.96
         OLIVE, KRISTY D
         5300 PASEO RANCHO CATILLA                ¨ Contingent
         LOS ANGELES CA 90032
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1621 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1731 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4863. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $739.59                 $739.59
         OLIVEIRA, CAROLINE M
         106 RAYMOND STREET                       ¨ Contingent
         FALL RIVER MA 02723
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4864. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.72                 $192.72
         OLIVER, MAISYN
         1965 E 15TH AVENUE                       ¨ Contingent
         405
         EUGENE OR 97403                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4865. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.69                 $135.69
         OLIVER, SKYLER M
         2036 WESTON AVENUE                       ¨ Contingent
         YOUNGSTOWN OH 44514
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1622 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1732 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4866. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.40                  $32.40
         OLIVER, TRINITY M
         500 WELLBORN RD. N.                      ¨ Contingent
         APPT. 2322
         COLLEGE STATION TX 77840                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4867. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.32                 $169.32
         OLIVERAS, ZHANIAH E
         53 WARNER PLACE                          ¨ Contingent
         UNIT F
         WATERBURY CT 06704                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4868. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.04                 $107.04
         OLIVEROS, CLAUDIA
         519 BRIGGS AVE                           ¨ Contingent
         MODESTO CA 95351
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1623 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1733 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4869. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.97                 $166.97
         OLIVO, CAMILLE
         CALLE VIEJA 7143 20C                     ¨ Contingent
         SABANA SECA PR 00952
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4870. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.22                  $33.22
         OLMO, NATHALIA
         3300 LORNE DR                            ¨ Contingent
         KILLEEN TX 76542
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4871. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,750.24               $1,750.24
         OLMOS, CRYSTAL
         4200 KAYTLAIN AVE                        ¨ Contingent
         BAKERSFIELD CA 93313-3983
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1624 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1734 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4872. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.01                 $136.01
         OLMOS, DEYSI E
         619 E GORHAM ST                          ¨ Contingent
         APT.1
         MADISON WI 535703                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4873. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $269.16                 $269.16
         OLSEN, KALEY N
         1945 VALANCE ST.                         ¨ Contingent
         SAN DIEGO CA 92154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4874. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.27                  $66.27
         OLSON, HALLE
         5150 THISTLE COURT                       ¨ Contingent
         COLORADO SPRINGS CO 80917
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1625 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1735 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4875. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $581.72                 $581.72
         OLSON, NATALIE B
         2713 W MAPLEWOOD AVE #210                ¨ Contingent
         BELLINGHAM WA 98225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4876. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $207.00                 $207.00
         O'MALLEY, ERIN E
         69 CHERYL DRIVE                          ¨ Contingent
         RONKONKOMA NY 11779
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4877. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.92                 $111.92
         O'MALLEY, MADISON A
         4609 DEER CREEK CT                       ¨ Contingent
         APT 1
         YOUNGSTOWN OH 44515                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1626 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1736 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4878. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,275.00               $1,275.00
         O'MEALLY, DANIELLE E
         12L SUNMIST SQUARE                       ¨ Contingent
         AMHERST NY 14228
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4879. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.59                 $174.59
         O'NEAL, JAYLA M
         1000 17TH AVE                            ¨ Contingent
         169
         NASHVILLE TN 37208                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4880. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,825.77               $3,825.77
         O'NEIL, SCARLETT R
         929 5TH STREET SOUTH                     ¨ Contingent
         SAUK RAPIDS MN 56379
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1627 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1737 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4881. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $288.00                 $288.00
         OPPENHEIMER, ARIANA
         482 ALLEN PARK RD.                       ¨ Contingent
         SPRINGFIELD MA 01118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4882. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,670.37               $5,670.37
         OQUENDO, JACKELINE A
         34 N. SWEZEYTOWN RD.                     ¨ Contingent
         MIDDLE ISLAND NY 11953-1443
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4883. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.56                  $73.56
         ORANGE, LETIA
         2390 NUT TREE RD                         ¨ Contingent
         12
         VACAVILLE CA 95687                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1628 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1738 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4884. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $213.00                 $213.00
         ORDONEZ, DAISY
         24929 ALDERBROOK DR                      ¨ Contingent
         APT.5
         NEWHALL CA 91321                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4885. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,587.40               $4,587.40
         ORDONEZ, ELIZABETH A
         4001 FAUDREE RD APT L205                 ¨ Contingent
         ODESSA TX 79765
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4886. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $228.60                 $228.60
         OREGEL, STEPHANIE
         1329 NOCHE DR                            ¨ Contingent
         OXNARD CA 93030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1629 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1739 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4887. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,914.59               $1,914.59
         ORELLANA, CARLA
         205 BENTON DR                            ¨ Contingent
         APT. 1203
         ALLEN TX 75002-5359                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4888. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.96                  $45.96
         ORELLANA, KEITHY ARABELLA
         10600 MONTARA AVENUE                     ¨ Contingent
         SOUTH GATE CA 90280
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4889. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.20                 $169.20
         ORELLANA, VALERIE
         30560 APPALACHIAN DRIVE                  ¨ Contingent
         CASTAIC CA 91384
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1630 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1740 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4890. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,940.32               $1,940.32
         ORELLANA, YOSELIN
         1705 RIVER OAKS DR                       ¨ Contingent
         ALLEN TX 75002-5359
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4891. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,255.52               $1,255.52
         ORLANDO, KRISTIN N
         74 MADISON AVENUE                        ¨ Contingent
         WESTBURY NY 11590
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4892. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $492.76                 $492.76
         ORNELAS, ARIANA D
         240 GURRIES DR                           ¨ Contingent
         B
         GILROY CA 95020                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1631 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1741 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4893. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.89                 $109.89
         ORNELAS, MARY G
         852 EAST 20TH ST LN                      ¨ Contingent
         GREELEY CO 80631
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4894. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.52                 $182.52
         OROZCO, ASTRID M
         5135 N POST RD                           ¨ Contingent
         TRLR 235
         INDIANAPOLIS IN 46226                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4895. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.60                 $219.60
         OROZCO, MARISOL M
         8839 GRAHAM                              ¨ Contingent
         DEARBORN MI 48126
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1632 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1742 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4896. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.60                  $24.60
         OROZCO, VALERIE
         42774 AMAZON ST                          ¨ Contingent
         HEMET CA 92544
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4897. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.14                 $151.14
         OROZCO, VILLASENOR KARINA
         3877 LIGHT YEAR DR                       ¨ Contingent
         LAS VEGAS NV 89115
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4898. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $755.04                 $755.04
         ORR, KYRA
         605 NE EMERSON ST                        ¨ Contingent
         PORTLAND OR 97211
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1633 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1743 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4899. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.88                  $62.88
         ORTA, ERIS M
         325 CLARENDON                            ¨ Contingent
         COLUMBUS OH 43223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4900. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $333.60                 $333.60
         ORTEGA, ANA D
         88 MANHATTAN AVE                         ¨ Contingent
         3L
         BROOKLYN NY 11206                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4901. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $256.76                 $256.76
         ORTEGA, BEATRIZ A
         2100 STALCUP RD                          ¨ Contingent
         FORT WORTH TX 76112
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1634 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1744 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4902. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.12                 $184.12
         ORTEGA, BETZABET S
         8225 COMMUNITY DR                        ¨ Contingent
         MANASSAS VA 20109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4903. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $281.52                 $281.52
         ORTEGA, GIZELLE
         5461 DEHESA ROAD                         ¨ Contingent
         EL CAJON CA 92019
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4904. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,536.38               $2,536.38
         ORTEGA, GUADALUPE O
         3076 OAK CREST CIR                       ¨ Contingent
         EL PASO TX 79936-0664
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1635 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1745 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4905. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.99                 $178.99
         ORTEGA, MARTINEZ AMERICA G
         1906 JEROME AV SW                        ¨ Contingent
         GRAND RAPIDS MI 49507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4906. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $981.36                 $981.36
         ORTEGA, VERONICA F
         15873 YARNELL STREET                     ¨ Contingent
         SYLMAR CA 91342
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4907. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.17                  $43.17
         ORTEGA, VILLALOBOS ERIKA J
         2816 FM 1978                             ¨ Contingent
         SAN MARCOS TX 78666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1636 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1746 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4908. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.84                  $31.84
         ORTEGON, GABRIELA
         1701 MILL ST                             ¨ Contingent
         SAN MARCOS TX 78666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4909. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $713.17                 $713.17
         ORTEZ, ELVIA M
         57 NEW ST                                ¨ Contingent
         SOUTH RIVER NJ 08882
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4910. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $374.55                 $374.55
         ORTIZ, ERANDI
         6927 WRIGHT PLAZA APT O2                 ¨ Contingent
         OMAHA NE 68106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1637 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1747 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4911. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.42                  $33.42
         ORTIZ, FRANCISCA
         6910 W WATERS AVE                        ¨ Contingent
         APT 600
         TAMPA FL 33634-2215                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4912. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.68                 $239.68
         ORTIZ, GYSSELLE
         2502 FLINT COURT                         ¨ Contingent
         SOUTH BEND IN 46628
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4913. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.95                  $71.95
         ORTIZ, INGRID
         969 GROVE STREET                         ¨ Contingent
         1ST FLOOR
         ELIZABETH NJ 07202                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1638 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1748 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4914. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,069.85               $2,069.85
         ORTIZ, JANYZE O
         4416 ELIZABETH ST APT 5                  ¨ Contingent
         CUDAHY CA 90201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4915. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $748.55                 $748.55
         ORTIZ, JESSICA
         2687 E. BERETTA PLACE                    ¨ Contingent
         CHANDLER AZ 85286-5704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4916. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.55                 $103.55
         ORTIZ, KATELYNN E
         127 B HILLCREST AVE                      ¨ Contingent
         APT B
         COLLINGSWOOD NJ 08108                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1639 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1749 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4917. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $511.51                 $511.51
         ORTIZ, MARGARITA
         5709 BROSAM DR                           ¨ Contingent
         PLAINFIELD IL 60586
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4918. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,495.98               $1,495.98
         ORTIZ, MARIA G
         9108 MAPLE ST                            ¨ Contingent
         BELLFLOWER CA 90706-5619
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4919. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $436.19                 $436.19
         ORTIZ, MILAGROS E
         9534 BRIAR GLENN WAY                     ¨ Contingent
         GAITHERSBURG MD 20886
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1640 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1750 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4920. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.42                 $100.42
         ORTIZ, MIRIAM
         720 BAYSHORE DR CONDO 303                ¨ Contingent
         FT LAUDERDALE FL 33304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4921. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.15                  $29.15
         ORTIZ, YESENIA
         1500 SEMINOLE DR                         ¨ Contingent
         22
         JOHNSON CITY TN 37604                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4922. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.22                 $115.22
         ORTIZ, ZOIE I
         2241 VINE ST                             ¨ Contingent
         DENVER CO 80205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1641 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1751 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4923. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $237.66                 $237.66
         ORTOLANI, ANDREA M
         113 AQUEDUCT COURT                       ¨ Contingent
         FOREST HILL MD 21050
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4924. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $117.53                 $117.53
         OSBURN, EMALEE N
         1008 PEPPERTREE PLACE                    ¨ Contingent
         NORMAN OK 73071
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4925. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.48                 $196.48
         OSCAR-LYNN, DEANNA K
         10870 PINE STREET                        ¨ Contingent
         TAYLOR MI 48180
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1642 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1752 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4926. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $400.49                 $400.49
         OSIER, JESSICA C
         3060 SEDGWICK CIRCLE                     ¨ Contingent
         LOVELAND CO 80538
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4927. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $52.13                  $52.13
         OSORIO, MARTINEZ ESTEFANIA
         1775 LINNERUD DR.                        ¨ Contingent
         APT 201
         SUN PRAIRIE WI 53590                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4928. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $208.96                 $208.96
         OSORTO, LISETTE M
         2208 RICHWOOD PIKE DR                    ¨ Contingent
         RUSKIN FL 33570
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1643 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1753 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4929. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,886.99               $1,886.99
         OSSUN, BERNADETTE
         5669 N FRESNO ST                         ¨ Contingent
         142
         FRESNO CA 93710                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4930. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.24                 $135.24
         OSUNA, AGUERO MARTHA L
         2004 E. WHITE AVE.                       ¨ Contingent
         APT.101
         FRESNO CA 93701                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4931. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.43                 $145.43
         OSUNA, HEAVEN M
         208 LAURA LN                             ¨ Contingent
         GRAND PRAIRIE TX 75052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1644 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1754 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4932. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $363.64                 $363.64
         OSWALD, ALEXANDREA J
         319 CHESTNUT HEIGHTS DRIVE               ¨ Contingent
         LIVERPOOL NY 13088
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4933. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,270.78               $1,270.78
         OSWALD, ANNA
         4144 W 90TH ST                           ¨ Contingent
         HOMETOWN IL 60456-1214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4934. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $585.42                 $585.42
         OSWALD, CLARA
         530 WARRICK DR                           ¨ Contingent
         WASHINGTON PA 15301-9514
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1645 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1755 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4935. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,321.27               $2,321.27
         OTERO, APRIL
         1529 SAN PEDRO RD NE                     ¨ Contingent
         RIO RANCHO NM 87144
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4936. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $887.04                 $887.04
         OTERO, MARIANN C
         1804 OXFORD SQ                           ¨ Contingent
         BEL AIR MD 21015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4937. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.39                  $69.39
         OTTAH, JESSICA
         2861 INGRAM CIRCLE                       ¨ Contingent
         MESQUITE TX 75181
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1646 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1756 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4938. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.65                 $121.65
         OTWAY, AVA
         919 MYRTLE AVE                           ¨ Contingent
         APT 12L
         BROOKLYN NY 11206                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4939. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.58                  $74.58
         OTZENBERGER, PAYTON L
         12029 LA PALMERA AVE                     ¨ Contingent
         LAS VEGAS NV 89138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4940. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.48                  $80.48
         OUBAID, HEDAYA
         4515 SE DUPONT RD                        ¨ Contingent
         BERRYTON KS 66409
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1647 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1757 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4941. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.10                  $67.10
         OVALLE, BELEN
         742 W WHEATRIDGE DR                      ¨ Contingent
         TUCSON AZ 85704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4942. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,255.66               $1,255.66
         OVERTON, SELINA R
         2712 BEACHMONT AVENUE                    ¨ Contingent
         NORFOLK VA 23504
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4943. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $547.50                 $547.50
         OVIEDO, ANGELIKA R
         566 CENTRAL AVENUE                       ¨ Contingent
         BROOKLYN NY 11207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1648 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1758 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4944. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.20                 $129.20
         OVIEDO, YANET E
         COUNTRY CLUB C/259 #GY21                 ¨ Contingent
         CAROLINA PR 00982
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4945. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,223.17               $2,223.17
         OWEN, MANDIE
         18081 MIDWAY RD.                         ¨ Contingent
         APT.1912
         DALLAS TX 75287                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4946. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $593.75                 $593.75
         OWEN, SARAH G
         94-214 NOHOLOA CT                        ¨ Contingent
         APT 29
         MILILANI HI 96789-2431                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1649 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1759 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4947. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,903.74               $1,903.74
         OWENS, JAMI M
         5311 FAIRBANKS                           ¨ Contingent
         LANSING MI 48917
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4948. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.48                  $70.48
         OWENS, SHELBY D
         100 BYRAM DR APT 19H                     ¨ Contingent
         BYRAM MS 39272
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4949. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.83                  $93.83
         OWES, JAYNAH L
         1712 EAST CLEAR LAKE DR.                 ¨ Contingent
         SALISBURY MD 21804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1650 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1760 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4950. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.80                 $220.80
         OWUSU, CLAUDIA E
         7426 OLIVER AVE S. APT 3                 ¨ Contingent
         3
         RICHFIELD MN 55423                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4951. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $476.06                 $476.06
         OXLEY, EMILY R
         47 FLINT STREET                          ¨ Contingent
         SPRINGFIELD MA 01129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4952. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.31                  $99.31
         OXLEY, KAYLEIGH C
         1032 LAIRD AVENUE                        ¨ Contingent
         PARKERSBURG WV 26101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1651 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1761 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4953. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,537.75               $2,537.75
         OXLEY. TAMI
         426 GARDEN STREET                        ¨ Contingent
         WEST SACRAMENTO CA 95691
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4954. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,679.81               $1,679.81
         OXNER, MARIE A
         668 CHINQUAPIN WAY                       ¨ Contingent
         STONE MOUNTAIN GA 30083
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4955. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,937.79               $7,937.79
         PABLO VILLAREAL JR
         TAX ASSESSOR-COLLECTOR                   ¨ Contingent
         P.O.BOX 3337
         EDINBURG TX 78540-3337                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1652 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1762 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4956. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $210.90                 $210.90
         PABON, MARTINEZ MICHELLE M
         2745 SAMPSON AVE                         ¨ Contingent
         3C
         BRONX NY 10465                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4957. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.60                  $75.60
         PACHECO, ARACELI N
         3327 E KERCKHOFF AVE                     ¨ Contingent
         FRESNO CA 93702
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4958. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.51                 $121.51
         PACKER, JOZETTE
         16 W 38TH ST                             ¨ Contingent
         BAYONNE NJ 07002
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1653 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1763 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4959. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,797.90               $3,797.90
         PACLEB, MAYLANI
         94-342 HANAWAI CIRCLE                    ¨ Contingent
         WAIPAHU HI 96797
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4960. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.77                 $132.77
         PADELSKI, KRISTY M
         3417 WINDY WOOD DRIVE                    ¨ Contingent
         ORLANDO FL 32812
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4961. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $233.09                 $233.09
         PADIA, ALLYSSA S
         3395 S TATUM COURT                       ¨ Contingent
         GILBERT AZ 85297
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1654 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1764 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4962. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $454.83                 $454.83
         PADILLA, ARIANA
         10727 O STREET PLZ                       ¨ Contingent
         APT 17
         OMAHA NE 68127                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4963. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $412.02                 $412.02
         PADILLA, GABRIELA
         1529 E PRINCETON AVE                     ¨ Contingent
         FRESNO CA 93704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4964. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.28                 $119.28
         PADILLA, JASMINE T
         3311 EAST MILLER DRIVE                   ¨ Contingent
         FLAGSTAFF AZ 86004
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1655 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1765 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4965. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $201.93                 $201.93
         PADILLA, JESSICA
         20951 ROSCOE BLVD                        ¨ Contingent
         21
         CANOGA PARK CA 91304                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4966. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $273.84                 $273.84
         PADILLA, LESLIE P
         1787 HARMONY WAY                         ¨ Contingent
         PITTSBURG CA 94565
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4967. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.56                 $259.56
         PADILLA, LEXI J
         40258 MIMULUS WAY                        ¨ Contingent
         TEMECULA CA 92591
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1656 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1766 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4968. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.00                 $186.00
         PADILLA, TAIRY M
         2124 ALEXANDER STREET                    ¨ Contingent
         OXNARD CA 93033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4969. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $161.16                 $161.16
         PAGAN, IDALYS M
         1815 RICHMOND AVE.N                      ¨ Contingent
         LEHIGH ACRES FL 33972
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4970. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,426.12               $2,426.12
         PAGAN, VICTORIA
         68 ASTI AVE                              ¨ Contingent
         REVERE MA 02151
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1657 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1767 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4971. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $523.30                 $523.30
         PAGE, ANIYAH L
         2728 WOODCUTTER AVE                      ¨ Contingent
         COLUMBUS OH 43224
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4972. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.20                 $127.20
         PAGE, T'YANNA
         9617 LANNEAU CT.                         ¨ Contingent
         BAKERSFIELD CA 93311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4973. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $235.64                 $235.64
         PAIGE, JOINER ALISHA A
         6524 MORRISON RD                         ¨ Contingent
         UTICA MS 39175
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1658 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1768 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4974. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.84                  $93.84
         PAIO, DAISJAH L
         99-105 OHEKANI LOOP.                     ¨ Contingent
         AIEA HI 96701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4975. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $207.38                 $207.38
         PAIZ, CAROLINA
         333 PLAINFIELD ST                        ¨ Contingent
         2ND
         PROVIDENCE RI 02909                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4976. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,574.89               $2,574.89
         PALACIO, MARIA A
         2538 LAKE DEBRA APT 23109                ¨ Contingent
         ORLANDO FL 32835
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1659 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1769 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4977. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.94                  $85.94
         PALACIO, MICHELLE D
         1838 WAKE FOREST RD NW                   ¨ Contingent
         PALM BAY FL 32907
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4978. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $118.06                 $118.06
         PALACIOS, FLORES DANIELA
         657 SALOON CT                            ¨ Contingent
         HENDERSON NV 89011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4979. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.79                  $98.79
         PALHAN, KIRAN
         832 93RD STREET                          ¨ Contingent
         NIAGARA FALLS NY 14304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1660 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1770 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4980. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $10,074.70              $10,074.70
         PALLADINO, AUDREY D
         3582 WELLER DR                           ¨ Contingent
         GARNET VALLEY PA 19060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4981. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,631.35               $1,631.35
         PALLANTE, KARA
         4 KENT CT                                ¨ Contingent
         EASTAMPTON NJ 08060-3271
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4982. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $317.52                 $317.52
         PALMA, AMY D
         118 WALLACE AVE                          ¨ Contingent
         AUBURN MA 01501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1661 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1771 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4983. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.64                 $140.64
         PALMA, MARIANNE G
         409 N. KODIAK ST.                        ¨ Contingent
         A
         ANAHEIM CA 92807                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4984. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $524.88                 $524.88
         PALMER, ABIGAIL J
         100 49TH AVE CT                          ¨ Contingent
         GREELEY CO 80634
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4985. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $361.75                 $361.75
         PALMER, KALIMAH Q
         1617 DIAMOND RIDGE CIR                   ¨ Contingent
         CASTLE ROCK CO 80108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1662 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1772 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4986. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.96                  $39.96
         PALMERIN, LAURA
         14964 E. 54TH AVE                        ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4987. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $532.95                 $532.95
         PALMITER, KIRA
         3721 BOSK LANE                           ¨ Contingent
         COLLEGE GROVE TN 37046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4988. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.76                 $125.76
         PAN, YI-LING L
         108 CALIFORNIA AVENUE                    ¨ Contingent
         WATERTOWN NY 13601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1663 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1773 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4989. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $46.20                  $46.20
         PANELLA, KACEY R
         120 AZALEA CIR                           ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4990. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.90                  $94.90
         PANGELINAN, ANNALYSIA Y
         1906 GREY FOX TRL                        ¨ Contingent
         KILLEEN TX 76543
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4991. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.78                 $106.78
         PANN, SARIENDA K
         5635 WEST 176TH STREET                   ¨ Contingent
         FARMINGTON MN 55024
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1664 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1774 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4992. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.36                 $165.36
         PANTALEON, MARIELA J
         46 HEYWARD ST                            ¨ Contingent
         BRENTWOOD NY 11718
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4993. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $418.14                 $418.14
         PAPIRI, ALEXIS B
         32749 BLACKWATER RD                      ¨ Contingent
         FRANKFORD DE 19945
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4994. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $258.40                 $258.40
         PARGEON, EMMA L
         12 E 3RD ST                              ¨ Contingent
         POTTSTOWN PA 19464
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1665 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1775 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4995. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.84                 $120.84
         PARHAM, RAVEN D
         11401 DUNBROOK ROAD                      ¨ Contingent
         APT. 102
         NORTH CHESTERFIELD VA 23235              ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4996. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.26                  $72.26
         PARISELLA, PAIGE
         117 WASHINGTON AVE                       ¨ Contingent
         APT 414
         SCHENECTADY NY 12305                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4997. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.47                  $62.47
         PARKER, AYLIA
         2107 HORIZON TRL APT 3910                ¨ Contingent
         ARLINGTON TX 76011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1666 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1776 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.4998. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,554.44               $1,554.44
         PARKER, ERIN M
         3913 NORTH I-10 SERVICE ROAD             ¨ Contingent
         APT 119
         METAIRIE LA 70002                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.4999. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,681.82               $2,681.82
         PARKER, HALEY
         1030 MUNSEN SPRING DRIVE                 ¨ Contingent
         COLUMBIA SC 29209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5000. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.08                  $59.08
         PARKER, JAYLAAN
         3500 JOHN A MERRITT BLVD                 ¨ Contingent
         BOX #5063
         NASHVILLE TN 37209                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1667 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1777 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5001. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.94                 $218.94
         PARKER, KATHERINE J
         27 GOSS STREET                           ¨ Contingent
         CLINTON MA 01510
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5002. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.78                 $182.78
         PARKER, MALLORY
         3051 JUNIPER ST SW                       ¨ Contingent
         B
         JBLM WA 98439                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5003. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,737.90               $1,737.90
         PARKER, MORGAN W
         3725 LOEHORMOORE AVE NE                  ¨ Contingent
         CANTON OH 44705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1668 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1778 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5004. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.00                  $75.00
         PARKINSON, AURORA G
         1829 EAST 14TH STREET                    ¨ Contingent
         BROOKLYN NY 11229
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5005. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.41                 $175.41
         PARKS, ALLIAH
         274 REGENTS CIRCLE                       ¨ Contingent
         MAYS LANDING NJ 08330
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5006. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.65                  $34.65
         PARLIER, ALEXANDRIA A
         433 SOUTH VAN BUREN ST.                  ¨ Contingent
         12
         IOWA CITY IA 52240                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1669 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1779 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5007. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $590.63                 $590.63
         PARMELE, AMANDA
         11 HOMER DRIVE                           ¨ Contingent
         MONSON MA 01057
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5008. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,961.44               $3,961.44
         PARRA, CARMELLA A
         1313 EL SERENO DR.                       ¨ Contingent
         BAKERSFIELD CA 93304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5009. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $369.45                 $369.45
         PARRA, YASIEL
         9 THAYER STREET                          ¨ Contingent
         APT. C14
         NEW YORK NY 10040                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1670 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1780 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5010. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.61                  $87.61
         PARRA-VEIRA, MARIA A
         105 LOUISIANA AVE                        ¨ Contingent
         BRIDGEPORT CT 06610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5011. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.54                  $37.54
         PARSONS, HANNAH
         784 CALICO CT APT F                      ¨ Contingent
         TERRE HAUTE IN 47803
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5012. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $351.98                 $351.98
         PARSONS, SHAYLEE
         16 STAFFORD WAY                          ¨ Contingent
         ROCHESTER NY 14626
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1671 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1781 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5013. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.12                 $139.12
         PARSONS, XORIA
         114 PENN FOREST DR.                      ¨ Contingent
         ALBRIGHTSVILLE PA 18210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5014. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $390.72                 $390.72
         PARTRIDGE, JADE K
         17894 COUNTY ROUTE 3                     ¨ Contingent
         CLAYTON NY 13624
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5015. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $471.84                 $471.84
         PASCALE, JESSICA
         9 HAYES ST                               ¨ Contingent
         NESCONSET NY 11767
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1672 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1782 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5016. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,156.57               $3,156.57
         PASCO, CASSANDRA R
         221 GRACE STREET                         ¨ Contingent
         GROVE CITY PA 16127
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5017. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.70                  $90.70
         PASCUAL, ADRIANNA V
         94-1832 KULEWA LOOP                      ¨ Contingent
         APT. 44R
         WAIPAHU HI 96797                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5018. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.60                 $196.60
         PASDERTZ, TORI A
         800 BAILEY DR.                           ¨ Contingent
         JOLIET IL 60404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1673 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1783 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5019. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.51                  $67.51
         PASSLEY, CHYANNA
         4347 52ND AVE S                          ¨ Contingent
         SAINT PETERSBURG FL 33711
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5020. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $718.38                 $718.38
         PASTRANA, ANAHI
         2903 W. BELMONT                          ¨ Contingent
         CHICAGO IL 60618
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5021. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $796.64                 $796.64
         PATAO-SANTOS, JANESSA A
         408 KEA STREET                           ¨ Contingent
         WAIHEE
         KAHULUI HI 96732                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1674 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1784 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5022. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $52.33                  $52.33
         PATE, JEAVINE S
         2224 JONATHAN DR                         ¨ Contingent
         APT A
         HUNTSVILLE AL 35810                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5023. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.85                  $79.85
         PATE, SARAH J
         5100 O'BANNON DR                         ¨ Contingent
         APT 71
         LAS VEGAS NV 89146                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5024. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,772.93               $1,772.93
         PATEL, AMI
         7364 HIDDEN CV                           ¨ Contingent
         `
         COLUMBIA MD 21046-2025                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1675 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1785 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5025. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.09                 $130.09
         PATEL, ANMOLBEN
         285 N RUTHERFORD BLVD                    ¨ Contingent
         MURFREESBORO TN 37130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5026. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $618.31                 $618.31
         PATEL, FANNY
         182 CAYUGA AVE                           ¨ Contingent
         SAN FRANCISCO CA 94112
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5027. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $168.75                 $168.75
         PATEL, VISHWA
         487 LOWELL STREET                        ¨ Contingent
         METHUEN MA 01844
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1676 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1786 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5028. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.23                 $137.23
         PATEL, YAMINI
         548 PICADILLY DR                         ¨ Contingent
         MURFREESBORO TN 37128
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5029. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.24                  $62.24
         PATEY, KAYLA M
         772 ROCKPORT COURT                       ¨ Contingent
         UNIT 5
         FT WALTON BEACH FL 32548                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5030. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,586.56               $3,586.56
         PATINO, LAURA G
         263 TIMBERLINE DR BOX B                  ¨ Contingent
         VICTORIA TX 77905
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1677 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1787 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5031. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,776.02               $2,776.02
         PATRICK, PARSONS TURQUOISE S
         14325 LUNA ROAD                          ¨ Contingent
         VICTORVILLE CA 92392
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5032. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.34                 $100.34
         PATRICK-WILLIAMS, SIERRA D
         7101 GAVILAN AVE.                        ¨ Contingent
         COLUMBIA SC 29203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5033. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $251.61                 $251.61
         PATTERSON, CLARISSA J
         155 WALTER SE                            ¨ Contingent
         WYOMING MI 49508
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1678 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1788 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5034. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.35                  $36.35
         PATTERSON, DA'ONJRA K
         1675 LAUREL                              ¨ Contingent
         YPSILANTI MI 48198
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5035. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $201.36                 $201.36
         PATTERSON, EMMA G
         2435 WALNUT AVE                          ¨ Contingent
         BUENA VISTA VA 24416
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5036. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $208.20                 $208.20
         PATTERSON, EMMA J
         49 BROOK STREET                          ¨ Contingent
         WEST SAYVILLE NY 11796
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1679 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1789 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5037. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.38                 $186.38
         PATTERSON, JADE A
         4716 NW 22ND ST.                         ¨ Contingent
         COCONUT CREEK FL 33063
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5038. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,195.30               $1,195.30
         PATTERSON, LAKENDRA T
         1075 POTATO HOUSE ROAD                   ¨ Contingent
         HICKORY GROVE SC 29717
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5039. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $324.48                 $324.48
         PATTERSON, LINDSEY J
         505 APPLE TREE LANE                      ¨ Contingent
         FAIRFIELD CA 94533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1680 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1790 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5040. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.41                  $34.41
         PATTERSON, MADELINE M
         2499 SOUTH JOSEPHINE STREET              ¨ Contingent
         DENVER CO 80210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5041. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $314.47                 $314.47
         PATTERSON, PAYTON
         400 E MAIN ST                            ¨ Contingent
         F6
         ENDICOTT NY 13760                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5042. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.59                  $33.59
         PATTERSON, ROSA M
         223 CARLEIGH CT                          ¨ Contingent
         APT B
         RICHMOND VA 23227                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1681 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1791 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5043. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $388.50                 $388.50
         PATTERSON, SANAYA A
         2475 LINWOOD AVE                         ¨ Contingent
         NIAGARA FALLS NY 14305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5044. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $426.36                 $426.36
         PATTOCK, ABBIE S
         3325 RIVERVIEW STREET                    ¨ Contingent
         LOWER BURRELL PA 15068
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5045. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $471.90                 $471.90
         PATTON, BRIANA E
         5429 SHERMAN OAKS COURT                  ¨ Contingent
         HAYMARKET VA 20169
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1682 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1792 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5046. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,854.57               $2,854.57
         PATTON, KRISTEN L
         3909 COPPERHEAD HILLS ST                 ¨ Contingent
         LAS VEGAS NV 89129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5047. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.08                  $99.08
         PATUBO, EMILY R
         501 W. BACON ST.                         ¨ Contingent
         APT. 5301
         RICHMOND VA 23222                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5048. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $513.45                 $513.45
         PAUL, JULLIETTE
         91-60 193RD ST                           ¨ Contingent
         APT. 2B
         HOLLIS NY 11423                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1683 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1793 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5049. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $483.23                 $483.23
         PAUL, OLIVIA
         327 WALKER AVENUE                        ¨ Contingent
         LANGHORNE PA 19047
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5050. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $253.80                 $253.80
         PAVAO, LEXIE M
         146 ARMOUR STREET                        ¨ Contingent
         NEW BEDFORD MA 02740
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5051. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $233.64                 $233.64
         PAYAN, YARITZIA
         480 N WALNUT ST                          ¨ Contingent
         M
         LA HABRA CA 90631                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1684 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1794 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5052. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.58                  $72.58
         PAYE, BINTA M
         58 KINFIELD STREET                       ¨ Contingent
         PROVIDENCE RI 02909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5053. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,339.73               $1,339.73
         PAYNE, CHELSEA R
         3304 NORDLAND DRIVE                      ¨ Contingent
         URBANA IL 61802
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5054. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.01                 $122.01
         PAYNE, JOHNE
         181 PONDEROSA DR                         ¨ Contingent
         LADSON SC 29456
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1685 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1795 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5055. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,707.66               $1,707.66
         PAYNE, SAMANTHA M
         3094 LAKE DR                             ¨ Contingent
         APT C7
         MARINA CA 93933                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5056. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $224.24                 $224.24
         PAYNE, TREMON
         10829 GAMBRIL DR                         ¨ Contingent
         21
         MANASSAS VA 20109                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5057. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $297.96                 $297.96
         PAYO, ASHLEY E
         725 N FIG ST #44                         ¨ Contingent
         ESCONDIDO CA 92025
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1686 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1796 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5058. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,834.14               $3,834.14
         PAZ, ANGIE M
         4158 MIRADA LN                           ¨ Contingent
         OXNARD CA 93033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5059. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.90                  $96.90
         PAZ, VICTORIA
         2007 VIA BRAVO                           ¨ Contingent
         CARROLLTON TX 75006
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5060. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.82                  $76.82
         PAZMINO, MELANIE
         43 1/2 ERIE ST.                          ¨ Contingent
         ELIZABETH NJ 07206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1687 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1797 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5061. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.40                 $123.40
         PEARSON, BRITNEE A
         7952 CASTELARDO PL                       ¨ Contingent
         ROUND ROCK TX 78665
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5062. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $556.05                 $556.05
         PEARSON, DEMI
         11001 OLD SAINT AUGUSTINE RD             ¨ Contingent
         APT 2209
         JACKSONVILLE FL 32257                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5063. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $243.24                 $243.24
         PEARSON, PATRICIA K
         4412 HARDWICK WAY                        ¨ Contingent
         NORTH HIGHLANDS CA 95660
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1688 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1798 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5064. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $204.72                 $204.72
         PEARSON, TOLICIA
         4412 HARDWICK WAY                        ¨ Contingent
         NORTH HIGHLANDS CA 95660
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5065. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $279.78                 $279.78
         PEASLEY, OLIVIA A
         185 PICKETT RD                           ¨ Contingent
         PLAINFIELD CT 06374
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5066. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.53                 $162.53
         PECK, RACHEL
         71 HICKORY HOLLOW PL                     ¨ Contingent
         ANTIOCH TN 37013
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1689 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1799 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5067. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.43                 $149.43
         PEDRAZA, STHEFANY
         3851 VALLEY CREEK DR                     ¨ Contingent
         FLOWERY BRANCH GA 30542
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5068. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $221.64                 $221.64
         PEDRAZA, YVETTE A
         2557 PALM PL                             ¨ Contingent
         HUNTINGTON PARK CA 90255
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5069. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $864.00                 $864.00
         PEDRO, JOHNNA-LYNN
         2214 ST PAUL DR                          ¨ Contingent
         COLORADO SPRINGS CO 80910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1690 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1800 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5070. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.80                 $125.80
         PEEPLES, CHLOE D
         13 BEECHWOOD STREET                      ¨ Contingent
         CABOT AR 72023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5071. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.20                  $73.20
         PEL, JASMINE
         18431 47TH PL W                          ¨ Contingent
         LYNNWOOD WA 98037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5072. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.80                 $100.80
         PELCHAT, DANIELLE
         30 FRONT ST                              ¨ Contingent
         415
         NASHUA NH 03064                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1691 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1801 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5073. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.69                 $125.69
         PELKEY, SIERRA R
         425 RIVERBEND PKWY                       ¨ Contingent
         29
         ATHENS GA 30605                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5074. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5.40                   $5.40
         PELLEGRINI, OLIVIA
         320 GOODALE ST                           ¨ Contingent
         WEST BOYLSTON MA 01583
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5075. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $542.00                 $542.00
         PELLEGRINO, RYLEE
         1934 HILLTOWN PIKE                       ¨ Contingent
         PO BOX 303
         HILLTOWN PA 18927                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1692 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1802 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5076. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,087.88               $1,087.88
         PELLHAM, TAMMY L
         485 N. CITRUS AVE.#75                    ¨ Contingent
         75
         ESCONDIDO CA 92027                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5077. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.77                 $115.77
         PELLICCIOTTI, KATY
         5 ORANGE CT                              ¨ Contingent
         WAPPINGERS FALLS NY 12590
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5078. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $417.69                 $417.69
         PELOT, KAITLYNN M
         1510 S AVE REGULO                        ¨ Contingent
         TUCSON AZ 85710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1693 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1803 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5079. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $403.26                 $403.26
         PENA, CARRENO EMILY
         12905 MAPLEVIEW ST                       ¨ Contingent
         133
         LAKESIDE CA 92040                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5080. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.18                 $191.18
         PENA, DAISY M
         1415 E APACHE BLVD                       ¨ Contingent
         APT 317
         TEMPE AZ 85281                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5081. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.20                 $259.20
         PENA, JACQUELINE
         5805 S TALMAN AVE                        ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1694 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1804 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5082. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,368.85               $1,368.85
         PENA, LOPEZ KATIA Y
         420 IOOF AVE                             ¨ Contingent
         GILROY CA 95020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5083. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $350.98                 $350.98
         PENA, RUBI M
         775 CASCADE ST                           ¨ Contingent
         809
         OREGON CITY OR 97045                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5084. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.13                  $30.13
         PENA, SOLIARYS
         1919 W 10TH ST                           ¨ Contingent
         66
         LAKELAND FL 33805                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1695 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1805 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5085. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $263.16                 $263.16
         PENA-GASTELUM, CITLALLY
         51875 EISENHOWER DRIVE                   ¨ Contingent
         LA QUINTA CA 92253
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5086. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.46                  $36.46
         PENAGOS, GABRIELA A
         274 BOLTON ROAD                          ¨ Contingent
         EAST WINDSOR NJ 08520
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5087. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.84                 $560.84
         PENALOZA, JESSICA
         14311 CR 45                              ¨ Contingent
         TYLER TX 75704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1696 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1806 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5088. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,031.66               $1,031.66
         PENALVER, JANINE
         1810 GUM ST                              ¨ Contingent
         GASTONIA NC 28054
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5089. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $263.61                 $263.61
         PENN, OLIVIA
         13 HAMPTON WOODS LANE                    ¨ Contingent
         DARDENNE PRAIRIE MO 63368
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5090. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,149.25               $1,149.25
         PENNINGTON, KIRSTEN S
         1902 JUNIPER CIRCLE                      ¨ Contingent
         COLUMBIA MO 65201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1697 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1807 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5091. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $144.20                 $144.20
         PENNY, BRANDI J
         10857 SHARONDALE RD                      ¨ Contingent
         APT 70
         CINCINNATI OH 45241                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5092. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $462.18                 $462.18
         PENROD, KATIE M
         5119 VICTORIA COVE                       ¨ Contingent
         BRENTWOOD TN 37027
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5093. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.80                 $239.80
         PENUNURI, CATHERINE D
         1753 E PLEASANT LN.                      ¨ Contingent
         PHOENIX AZ 85042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1698 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1808 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5094. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $309.60                 $309.60
         PEOPLES, ELBONEY
         2812 CRAIGIE AVE                         ¨ Contingent
         A
         DECATUR GA 30030                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5095. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.55                 $138.55
         PEOPLES, JASMINE
         1355 MARSHSIDE CT.                       ¨ Contingent
         INDIANAPOLIS IN 46239
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5096. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $340.08                 $340.08
         PEPI, DANIELLE M
         35 ALISON COURT                          ¨ Contingent
         MAHOPAC NY 10541
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1699 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1809 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5097. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.20                 $141.20
         PERDOMO, CAROLINA
         14548 ANDREWS DR.                        ¨ Contingent
         DENVER CO 80239
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5098. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,493.74               $2,493.74
         PEREGRINO, KRYSTLE A
         1166 FASSLER AVENUE                      ¨ Contingent
         PACIFICA CA 94044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5099. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $873.44                 $873.44
         PEREIRA, NICOLE C
         253 SAN FELIPE AVE                       ¨ Contingent
         SOUTH SAN FRANCISC CA 94080
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1700 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1810 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5100. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.60                  $90.60
         PERENA, JEARA
         6730 4TH AVE                             ¨ Contingent
         SACRAMENTO CA 95817
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5101. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.28                 $146.28
         PEREZ, ABIGAIL
         14527 PACIFIC AVE                        ¨ Contingent
         BALDWIN PARK CA 91706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5102. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.88                 $127.88
         PEREZ, ABRYANNA A
         4817 BRIDE ST                            ¨ Contingent
         LAS VEGAS NV 89081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1701 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1811 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5103. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.61                  $92.61
         PEREZ, ADRIANA
         159 DANIEL                               ¨ Contingent
         PROVIDENCE RI 02909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5104. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $303.68                 $303.68
         PEREZ, ALEXA M
         6146 TWILIGHT VIEW WAY                   ¨ Contingent
         EL PASO TX 79932
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5105. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.40                 $155.40
         PEREZ, ALONDRA
         1395 YOST ST.                            ¨ Contingent
         APT. #2
         AURORA CO 80011                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1702 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1812 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5106. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.00                 $132.00
         PEREZ, AMNERIS
         525 MAIN ST                              ¨ Contingent
         GOULDSBORO PA 18424
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5107. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $582.50                 $582.50
         PEREZ, ANNYA G
         6020 E 68TH WAY                          ¨ Contingent
         COMMERCE CITY CO 80022
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5108. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,353.33               $1,353.33
         PEREZ, BIANCA
         2901 VINE CIR                            ¨ Contingent
         ROCKLIN CA 95765-4721
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1703 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1813 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5109. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,021.90               $2,021.90
         PEREZ, BRANDIN L
         211 S 61ST ST                            ¨ Contingent
         TACOMA WA 98408
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5110. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $734.25                 $734.25
         PEREZ, DANIELA
         5403 HAYTER AVE.                         ¨ Contingent
         LAKEWOOD CA 90712
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5111. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.67                 $165.67
         PEREZ, EMILY J
         296 FORREST STREET                       ¨ Contingent
         1B
         JERSEY CITY NJ 07304                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1704 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1814 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5112. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $643.35                 $643.35
         PEREZ, EMILY M
         60-16 70TH AVE                           ¨ Contingent
         RIDGEWOOD NY 11385
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5113. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,699.40               $1,699.40
         PEREZ, EMILY R
         3421 QUINTANA TRAIL                      ¨ Contingent
         SEGUIN TX 78155
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5114. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.40                 $158.40
         PEREZ, ERIS T
         6014 N SACRAMENTO AVE                    ¨ Contingent
         CHICAGO IL 60659
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1705 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1815 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5115. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.39                 $158.39
         PEREZ, ICXIA J
         COLONIAL VILLAGE DR                      ¨ Contingent
         366
         LINCOLNTON NC 28092                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5116. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.25                 $239.25
         PEREZ, INDIA
         3020                                     ¨ Contingent
         CONCORD NC 28025
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5117. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $614.20                 $614.20
         PEREZ, JACQUELINE
         12304 27TH PL W                          ¨ Contingent
         EVERETT WA 98204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1706 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1816 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5118. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,000.80               $2,000.80
         PEREZ, JAZMIN S
         25508 SAN LUPE AVE                       ¨ Contingent
         MORENO VALLEY CA 92551-7038
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5119. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.14                  $92.14
         PEREZ, JENNIE
         5117 BROOKDALE DRIVE                     ¨ Contingent
         OKLAHOMA CITY OK 73135
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5120. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $458.33                 $458.33
         PEREZ, JENNIFER
         625 CRANBROOK PARK                       ¨ Contingent
         GARLAND TX 75043-5413
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1707 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1817 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5121. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $674.63                 $674.63
         PEREZ, JENNIFER M
         2323 BAYLEAF DR                          ¨ Contingent
         ORLANDO FL 32837
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5122. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.74                 $151.74
         PEREZ, JORDAN R
         4880 W 88TH PL                           ¨ Contingent
         WESTMINSTER CO 80031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5123. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.00                 $139.00
         PEREZ, JULISA M
         716 FERNANDINA STREET NW                 ¨ Contingent
         PALM BAY FL 32907
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1708 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1818 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5124. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $565.52                 $565.52
         PEREZ, LUZMARIA
         124 WYCKOFF ROAD                         ¨ Contingent
         31
         EATONTOWN NJ 07724                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5125. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.16                 $102.16
         PEREZ, MADELYNN A
         101 BLUEBONNET ST.                       ¨ Contingent
         WESLACO TX 78596
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5126. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,517.96               $1,517.96
         PEREZ, MARIA J
         9805 AUDEILA RD APT 2010                 ¨ Contingent
         DALLAS TX 75238
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1709 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1819 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5127. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.75                 $148.75
         PEREZ, MELEENA
         1471 LARKSPUR CT                         ¨ Contingent
         ROMEOVILLE IL 60446
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5128. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.99                 $158.99
         PEREZ, NIDIA Y
         13902 VILLA CAMINO                       ¨ Contingent
         SAN ANTONIO TX 78233
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5129. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.86                 $218.86
         PEREZ, NYLA L
         362 BISCAYNE LANE                        ¨ Contingent
         SEBASTIAN FL 32958
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1710 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1820 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5130. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.36                  $24.36
         PEREZ, SALINA M
         2291 GORMAN ST                           ¨ Contingent
         CAMARILLO CA 93010
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5131. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.60                 $120.60
         PEREZ, SAMANTHA K
         1008 LOWELL RD.                          ¨ Contingent
         LAS CRUCES NM 88001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5132. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,267.20               $1,267.20
         PEREZ, SANDRA L
         2123 GROSS AVENUE                        ¨ Contingent
         PENNSAUKEN NJ 08110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1711 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1821 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5133. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $300.84                 $300.84
         PEREZ, SANDRY A
         221 MARINA CT                            ¨ Contingent
         SPARTANBURG SC 29303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5134. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.51                 $101.51
         PEREZ, SARAHI
         1704 S CYPRESS AVE                       ¨ Contingent
         BROKEN ARROW OK 74012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5135. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.39                  $64.39
         PEREZ, STEPHEN A
         2913 HUNTER ROAD APT 314                 ¨ Contingent
         SAN MARCOS TX 78666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1712 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1822 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5136. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $392.48                 $392.48
         PEREZ, TREYSY N
         867 FLAGSTONE WAY                        ¨ Contingent
         LAS VEGAS NV 89110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5137. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,401.48               $1,401.48
         PEREZ-ACEVEDO, KARLA
         30 W SAGE CREEK PL                       ¨ Contingent
         THE WOODLANDS TX 77382-1470
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5138. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $659.28                 $659.28
         PEREZ-LEMUS, KIMBERLY A
         3404 FULLERTON ST.                       ¨ Contingent
         CALVERTON MD 20705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1713 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1823 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5139. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.91                  $73.91
         PEREZ-MONTEZ, ERICA M
         3432 LONDON ROAD                         ¨ Contingent
         EAU CLAIRE WI 54701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5140. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.04                 $212.04
         PEREZ-REYES, ARIANA
         452 TWIN OAKS VALLEY RD                  ¨ Contingent
         APT C
         SAN MARCOS CA 92069                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5141. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.59                 $185.59
         PERKINS, AMY
         238 GRUENE HAVEN                         ¨ Contingent
         NEW BRAUNFELS TX 78132
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1714 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1824 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5142. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.76                 $133.76
         PERKINS, ANNAH M
         80004B GENERAL PATTON ST                 ¨ Contingent
         FORT DRUM NY 13603
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5143. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.20                 $112.20
         PERKINS, TONI M
         131 DEVON STREET                         ¨ Contingent
         APT 2
         DORCHESTER MA 02121                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5144. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $864.74                 $864.74
         PERREIRA, REBECCA
         425 CIRBY WAY                            ¨ Contingent
         56
         ROSEVILLE CA 95678                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1715 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1825 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5145. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,769.91               $2,769.91
         PERRETT, COURTNEY L
         6427 SEMINOLE LN                         ¨ Contingent
         RAPID CITY SD 57702
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5146. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $363.00                 $363.00
         PERRI, SAMANTHA
         740 STAFFORD AVE                         ¨ Contingent
         STATEN ISLAND NY 10309
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5147. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $0.00                   $0.00
         PERRICONE. ANGELA M.
         21 FOX AVE                               ¨ Contingent
         KEANSBURG NJ 07734
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1716 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1826 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5148. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.18                 $178.18
         PERRY, JANAE
         2310 CARTWRIGHT ST                       ¨ Contingent
         TYLER TX 75701-2635
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5149. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,218.15               $1,218.15
         PERRY, JOHNELL
         218 HAWKINS STREET                       ¨ Contingent
         FRANKLINTON NC 27525
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5150. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $322.20                 $322.20
         PERRY, JORDAN
         3752 E FARGO ST                          ¨ Contingent
         MESA AZ 85205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1717 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1827 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5151. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,323.14               $1,323.14
         PERRY, REBECCA
         10705 TIDEWATER TRAIL                    ¨ Contingent
         FREDERICKSBURG VA 22408
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5152. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $171.18                 $171.18
         PERRY, TIA M
         800 COLUMBIA DRIVE LOT 33                ¨ Contingent
         MYRTLE BEACH SC 29577
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5153. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.28                 $157.28
         PERRYMAN, ANNA-MARIA
         1215 SENECA ST                           ¨ Contingent
         APT 417
         SEATTLE WA 98101                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1718 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1828 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5154. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $314.38                 $314.38
         PERSAUD, ALICIA A
         13613 WELLINGTON CRESCENT                ¨ Contingent
         BURNSVILLE MN 55337
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5155. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $987.53                 $987.53
         PERSAUD, HANESHA
         19 CYPRESS COURT                         ¨ Contingent
         BROOKLYN NY 11208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5156. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $199.86                 $199.86
         PERTUZ, ANGELLY
         46 BUTLER AVE                            ¨ Contingent
         CENTRAL FALLS RI 02863
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1719 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1829 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5157. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,125.30               $1,125.30
         PESAVENTO, GINA N
         26523 W STONEBRIAR WAY                   ¨ Contingent
         CHANNAHON IL 60410-8744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5158. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.75                  $42.75
         PESUT, JULIA K
         9845 CHILLICOTHE RD                      ¨ Contingent
         KIRTLAND OH 44094
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5159. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.29                  $63.29
         PETATAN, PRISCILLA
         3602 YALE AVE                            ¨ Contingent
         WINSTON SALEM NC 27107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1720 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1830 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5160. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.94                 $190.94
         PETE, AUBREY R
         10416 COUNTRY GROVE CIRCLE               ¨ Contingent
         DELMAR DE 19941
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5161. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,649.78               $2,649.78
         PETE, KATY L
         10416 COUNTRY GROVE CIRCLE               ¨ Contingent
         DELMAR DE 19940
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5162. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.46                 $151.46
         PETERKIN, KENNA C
         3720 BOSTIC DRIVE                        ¨ Contingent
         203B
         GREENVILLE NC 27834                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1721 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1831 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5163. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.88                  $35.88
         PETERS, SARAH J
         42 PAW PAW AVE                           ¨ Contingent
         RIVESVILLE WV 26588
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5164. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $521.80                 $521.80
         PETERS, SARAH K
         3558 CITRUS ST                           ¨ Contingent
         LEMON GROVE CA 91945
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5165. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.15                 $179.15
         PETERSEN, BRITTANY L
         330 S.TYLER APT 608                      ¨ Contingent
         WICHITA KS 67209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1722 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1832 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5166. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.38                 $156.38
         PETERSON, BONNIE L
         1003 ETON WAY                            ¨ Contingent
         NEPTUNE NJ 07753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5167. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.96                  $99.96
         PETERSON, JULIA R
         1712 VAN BUREN AVE                       ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5168. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.76                  $45.76
         PETERSON, NICOLE
         2106 SW WOODLAND DR                      ¨ Contingent
         ANKENY IA 50023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1723 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1833 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5169. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.04                 $120.04
         PETRALBA, NINA
         2403 RUSSELL LONG BLV.                   ¨ Contingent
         CANYON TX 79016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5170. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,643.20               $3,643.20
         PEYTON, CORY M
         2435 S 25TH ST                           ¨ Contingent
         APT 1
         PADUCAH KY 42003-3327                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5171. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.76                 $119.76
         PEZZELATO, CHIARA
         110 AUDREY AVENUE                        ¨ Contingent
         100
         OYSTER BAY NY 11771                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1724 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1834 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5172. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $362.12                 $362.12
         PFEIL, JACKIE
         713 KLEMONT AVENUE                       ¨ Contingent
         PITTSBURGH PA 15202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5173. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $676.26                 $676.26
         PHAM, ALYSIA N
         3165 SORREL STREET                       ¨ Contingent
         YORK PA 17404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5174. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $671.91                 $671.91
         PHAN, KIM-YEN T
         5136 SPRINGWOOD DR.                      ¨ Contingent
         TAMPA FL 33624
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1725 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1835 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5175. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $204.43                 $204.43
         PHAN, NATALIE U
         3414 N 52ND ST                           ¨ Contingent
         FORT SMITH AR 72904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5176. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.27                  $39.27
         PHAN, SIENNA
         269 NORTH SLATE STREET                   ¨ Contingent
         GILBERT AZ 85234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5177. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.51                 $102.51
         PHARR, ASIA U
         65 JUDY LANE                             ¨ Contingent
         STAMFORD CT 06906
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1726 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1836 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5178. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.90                 $134.90
         PHELPS, GABBRIELLE M
         119 N. 54TH STREET                       ¨ Contingent
         PHILADELPHIA PA 19139
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5179. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $525.25                 $525.25
         PHELPS, MADISON
         923 DEGEEST DR                           ¨ Contingent
         RAPID CITY SD 57703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5180. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $224.22                 $224.22
         PHELPS, OLIVIA
         1920 BENNETT RD                          ¨ Contingent
         ABERDEEN MD 21001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1727 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1837 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5181. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.76                  $32.76
         PHENGPHONG, TERADA L
         31 N SHELLY AVE                          ¨ Contingent
         FRESNO CA 93727
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5182. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.20                  $88.20
         PHENGPHONGSAVANH, GRACE
         140 SALISBURY ST                         ¨ Contingent
         DRACUT MA 01824
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5183. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.71                  $92.71
         PHILLIPS, ALEXIS N
         1918 WESTWOOD DRIVE                      ¨ Contingent
         CAPE GIRARDEAU MO 63701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1728 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1838 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5184. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.61                  $84.61
         PHILLIPS, AMBER L
         2855 REESE RD                            ¨ Contingent
         COLUMBUS GA 31907
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5185. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.94                 $151.94
         PHILLIPS, CARLY
         141 CAMPUS VIEW RD                       ¨ Contingent
         APT 4
         MANKATO MN 56001                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5186. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,993.43               $1,993.43
         PHILLIPS, COREY S
         5127 VANNOY AVENUE                       ¨ Contingent
         CASTRO VALLEY CA 94546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1729 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1839 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5187. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.36                 $103.36
         PHILLIPS, DYMIN
         23104 RICHARDS RD                        ¨ Contingent
         27202
         PRAIRIE TX 77446                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5188. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.04                  $77.04
         PHILLIPS, KATHERINE
         25420 SENATOR AVE #9                     ¨ Contingent
         HARBOR CITY CA 90710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5189. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,423.20               $2,423.20
         PHILLIPS, MACKENZIE C
         2608 NOLAN CREEK ST                      ¨ Contingent
         TEMPLE TX 76504
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1730 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1840 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5190. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $816.77                 $816.77
         PHILLIPS, SASHE L
         174 PITTSTON CIRCLE                      ¨ Contingent
         OWINGS MILLS MD 21117
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5191. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $258.72                 $258.72
         PHILLIPS, TORRIE
         518 PRAIRIE RD                           ¨ Contingent
         BOX ELDER SD 57719
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5192. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.30                 $127.30
         PHILLIPS, TYSHELLE
         3000 FORD RD                             ¨ Contingent
         APT F23
         BRISTOL PA 19007                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1731 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1841 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5193. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $315.68                 $315.68
         PHOMMARATH, ARIANA A
         780 CLARK ST                             ¨ Contingent
         BRIDGEPORT CT 06606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5194. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.85                 $176.85
         PHONGSAVTH, MEW
         1510 MCDONALD ST                         ¨ Contingent
         SIOUX CITY IA 51103
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5195. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.66                 $101.66
         PICASION, VICTORIA D
         7430 PAINTED MURAL AVE.                  ¨ Contingent
         LAS VEGAS NV 89179
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1732 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1842 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5196. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.40                  $81.40
         PICAZO, VERONICA
         1154 WHEELER ST. SW.                     ¨ Contingent
         WYOMING MI 49509
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5197. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,490.31               $2,490.31
         PICHOFF, MARK
         317 PLANTERS CANAL RD.                   ¨ Contingent
         BELLE CHASSE LA 70037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5198. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.22                  $29.22
         PICHON, JAWAYNE
         2420 TATTERSALL DR                       ¨ Contingent
         HARVEY LA 70058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1733 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1843 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5199. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.38                 $220.38
         PICINICH, TIONNA A
         2267 ATTILBURGH BLVD                     ¨ Contingent
         WEST MELBOURNE FL 32904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5200. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $555.35                 $555.35
         PICKETT, ANJERRICA
         7199 NIXON ST                            ¨ Contingent
         GREENWOOD LA 71033-1909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5201. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $233.22                 $233.22
         PICOU, KINSEY R
         327 ROBERT ST.                           ¨ Contingent
         B
         SLIDELL LA 70458                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1734 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1844 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5202. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.63                 $150.63
         PIERCE, JULIA M
         221 JEFFERSON STREET                     ¨ Contingent
         STRATFORD CT 06615
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5203. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.94                  $56.94
         PIERCE, NICOLE L
         150 BELAIRE AVE.                         ¨ Contingent
         #004
         DAYTON OH 45420                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5204. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $714.23                 $714.23
         PIERRE, MAHALIA
         5212 CULPEPPER PL                        ¨ Contingent
         WESLEY CHAPEL FL 33544
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1735 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1845 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5205. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.21                 $149.21
         PIERRE, SAMUEL
         5113 PIPES O THE GLEN WAY                ¨ Contingent
         ORLANDO FL 32808
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5206. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.64                 $179.64
         PIERSON, CLARUIZ M
         210 E. CAMERON AVE APT. H                ¨ Contingent
         VISALIA CA 93277
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5207. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,770.60               $2,770.60
         PIERSON, JADE L
         242 S. WINOOSKI AVE                      ¨ Contingent
         APT 7
         BURLINGTON VT 05401                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1736 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1846 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5208. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.51                  $84.51
         PIETZSCH, GRACE E
         3103 COOPER AVENUE                       ¨ Contingent
         PENNSAUKEN NJ 08109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5209. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $716.25                 $716.25
         PIGATTI, MARIA H
         591 LAKEWAY DRIVE                        ¨ Contingent
         WEST BABYLON NY 11704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5210. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,870.78               $5,870.78
         PIKE, SHELLY
         1757 26TH AVE #106                       ¨ Contingent
         OAKLAND CA 94601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1737 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1847 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5211. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.78                 $164.78
         PILAC, ALYSSA M
         8754 N. OLEANDER AVE.                    ¨ Contingent
         NILES IL 60714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5212. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.66                 $109.66
         PILIER, LINOSHKA M
         722 MYRTLE COVE CT.                      ¨ Contingent
         202
         ORLANDO FL 32825                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5213. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.40                  $98.40
         PIMENTEL, ALEXANDRA A
         43 ABNER POTTER'S WAY                    ¨ Contingent
         DARTMOUTH MA 02748
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1738 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1848 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5214. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $97.44                  $97.44
         PIMENTEL, MORGAN
         43 ABNER POTTER'S WAY                    ¨ Contingent
         DARTMOUTH MA 02748
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5215. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $312.96                 $312.96
         PINEDA, AMANDA B
         495 BLUE HILL AVE                        ¨ Contingent
         104
         DORCHESTER MA 02121                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5216. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $611.11                 $611.11
         PINEDA, LEANNA M
         4102 SHERWOOD LN                         ¨ Contingent
         3
         HOUSTON TX 77092                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1739 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1849 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5217. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.36                 $186.36
         PINEDO, DAISY G
         6734 CURTIS AVE                          ¨ Contingent
         LONG BEACH CA 90805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5218. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $268.21                 $268.21
         PINKNEY, AUTUMN N
         2321 CENTENNIAL RIDGE WAY                ¨ Contingent
         103
         RALEIGH NC 27603                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5219. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.18                 $186.18
         PINKNEY, MORIAH G
         2047 ROBINSON ROAD                       ¨ Contingent
         NEWTON NC 28658
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1740 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1850 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5220. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $266.74                 $266.74
         PINTO, LAURA
         408 MILGATE ST                           ¨ Contingent
         UTICA NY 13501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5221. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,901.50               $2,901.50
         PINTOR, FERREYRA LUIS A
         2206 IOWA ST                             ¨ Contingent
         MELROSE PARK IL 60160
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5222. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $224.40                 $224.40
         PIPKORN, QUIERRA
         8501 W GRANTOSA DR APT 3                 ¨ Contingent
         MILWAUKEE WI 53225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1741 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1851 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5223. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.76                 $142.76
         PIRANDO, MELISSA E
         343 SYLVAN KNOLL ROAD                    ¨ Contingent
         STAMFORD CT 06902
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5224. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.44                  $88.44
         PISCANIO, ALEXA N
         6400 FOLSOM BLVD                         ¨ Contingent
         432
         SACRAMENTO CA 95819                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5225. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,456.55               $1,456.55
         PITCHFORD, KATIE D
         302 S. 14TH STREET                       ¨ Contingent
         FORT SMITH AR 72901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1742 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1852 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5226. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.05                 $191.05
         PITTMAN, MEAGAN E
         575 SANDSTONE DR                         ¨ Contingent
         DOTHAN AL 36303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5227. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $230.79                 $230.79
         PITTMAN, SHAMARA L
         1321 KITCHEN ST                          ¨ Contingent
         UNIT 1
         JONESBORO AR 72401                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5228. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $269.40                 $269.40
         PITTS, SAVANAH A
         1650 HAGER ST                            ¨ Contingent
         2
         UTICA NY 13502                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1743 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1853 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5229. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $293.45                 $293.45
         PIZZATI, ESKARLET Y
         216 BAYLOR PL                            ¨ Contingent
         KENNER LA 70065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5230. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $478.28                 $478.28
         PLAISIR, BRENDA D
         2132 ALDRIN ROAD                         ¨ Contingent
         APT 1B
         OCEAN NJ 07712                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5231. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $790.05                 $790.05
         PLAZA, CECILIA M
         5626 VIRGINIA LANE                       ¨ Contingent
         OXON HILL MD 20745
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1744 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1854 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5232. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $418.45                 $418.45
         PLECITY, CHEYANN
         111B MCCOLLUM CIRCLE                     ¨ Contingent
         MANSFIELD DEPOT CT 06251
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5233. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $412.06                 $412.06
         PLUMITALLO, KRYSTAL A
         213 OVERLAND RIDGE                       ¨ Contingent
         104
         WALTON KY 41094                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5234. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $55.71                  $55.71
         PLUMMER, MAURICIA R
         1759 LANCING DRIVE                       ¨ Contingent
         APT. #172
         SALEM VA 24153                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1745 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1855 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5235. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.44                  $43.44
         PODESTA, EMILY G
         423 CLINTON AVENUE                       ¨ Contingent
         APT 2
         ROSEVILLE CA 95678                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5236. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.98                 $186.98
         PODOLYAKINA, YEVGENIYA
         2610 RIDGEVIEW COURT                     ¨ Contingent
         PARLIN NJ 08859
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5237. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.77                 $240.77
         PODRAZA, RENEE L
         3345 VORDEN ST                           ¨ Contingent
         NEW PORT RICHEY FL 34655
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1746 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1856 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5238. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.07                  $44.07
         POLANCO, CHARLEENE
         11-13 FAIRHAVEN PL                       ¨ Contingent
         FAIR LAWN NJ 07410
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5239. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,710.27               $1,710.27
         POLANCO, CONNIE M
         118 PAINE ST.                            ¨ Contingent
         #2
         WORCESTER MA 01605                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5240. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $754.80                 $754.80
         POLIN, SENDI
         3616 N LARAMIE                           ¨ Contingent
         2
         CHICAGO IL 60641                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1747 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1857 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5241. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $262.76                 $262.76
         POLITE, LISA
         4603 MEADOWS AVE.                        ¨ Contingent
         SAVANNAH GA 31405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5242. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.13                 $252.13
         POLLAK, MAGGIE M
         48180 TILCH RD                           ¨ Contingent
         MACOMB MI 48044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5243. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $558.80                 $558.80
         POLLARD, KALIEAH A
         29 MONTCLAIRE DR                         ¨ Contingent
         PLEASANTVILLE NJ 08232
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1748 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1858 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5244. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $242.88                 $242.88
         POLLARD, KATHERINE E
         821 GLENWICK COURT                       ¨ Contingent
         BURLESON TX 76028
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5245. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.95                  $88.95
         POLLARD, KYLEE A
         1074 STATE ROUTE 981                     ¨ Contingent
         LATROBE PA 15650
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5246. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.37                  $85.37
         POMONTTY, TIARA N
         60 SHANLEY STREET                        ¨ Contingent
         STRATFORD CT 06615
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1749 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1859 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5247. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $513.15                 $513.15
         POMPA, LESLIE P
         46725 CLINTON STREET                     ¨ Contingent
         12
         INDIO CA 92201                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5248. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.86                 $178.86
         POMPUTIS, JORDAN
         3017 FREMONT AVE S                       ¨ Contingent
         5
         MINNEAPOLIS MN 55408                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5249. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.00                  $84.00
         PONCE, ANDREA R
         595 TANGERINE DR                         ¨ Contingent
         EL CENTRO CA 92243
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1750 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1860 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5250. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $871.59                 $871.59
         PONCE, ERNESTO
         12525 WASHINGTON PL                      ¨ Contingent
         APT 201
         LOS ANGELES CA 90066-4840                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5251. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.19                 $105.19
         PONCE, NADALIE
         657 ZIEGLER DR                           ¨ Contingent
         GRAYSLAKE IL 60030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5252. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $380.40                 $380.40
         PONCE, NATHALY
         214 LINDEN AVENUE                        ¨ Contingent
         6
         WESTBURY NY 11590                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1751 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1861 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5253. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.36                  $36.36
         PONCE, VERONICA E
         1145 SHEARWATER DR                       ¨ Contingent
         PATTERSON CA 95363
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5254. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.09                 $112.09
         PONDER, NIJUAH L
         725 SYCAMORE STREET                      ¨ Contingent
         HAMILTON OH 45011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5255. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.33                  $59.33
         PONTE, TARA M
         256 WOODWARD RD                          ¨ Contingent
         PROVIDENCE RI 02904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1752 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1862 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5256. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $273.15                 $273.15
         POOLE, CASSIDY M
         2327 MT EDEN RED                         ¨ Contingent
         SHELBYVILLE KY 40065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5257. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.24                 $174.24
         PORCARO, KYLA
         437 BROAD ST                             ¨ Contingent
         APT 2
         CUMBERLAND RI 02864-7820                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5258. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.69                  $43.69
         PORTER, KAMERON V
         1333 EAST ELM STREET                     ¨ Contingent
         APT 7
         SPRINGFILED MO 65802                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1753 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1863 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5259. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.15                 $142.15
         PORTER, LARITA M
         6643 FAIRWAY AVENUE                      ¨ Contingent
         INDIANAPOLIS IN 46250
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5260. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.94                 $175.94
         PORTILLO-, CERVANTES BRIANNA X
         3945 HOLLYBROOK LANE                     ¨ Contingent
         PUEBLO CO 81005
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5261. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $511.24                 $511.24
         PORTILLO, INGRID
         25 HORTON STREET                         ¨ Contingent
         ATTLEBORO MA 02703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1754 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1864 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5262. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.99                  $29.99
         PORTILLO, JACKY E
         4194 LAKE SHORE DR.                      ¨ Contingent
         APT 4194
         WACO TX 76710                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5263. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $236.16                 $236.16
         PORTILLO, VICKY C
         15705 KERVIN AVE                         ¨ Contingent
         PARAMOUNT CA 90723
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5264. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $379.35                 $379.35
         POSEY, EVELYN
         7310 E SPRINGBROOK COURT                 ¨ Contingent
         MIDDLETOWN MD 21769
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1755 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1865 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5265. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.91                  $58.91
         POSEY, IAN O
         6114 ENSIGN AVENUE                       ¨ Contingent
         NORTH HOLLYWOOD CA 91606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5266. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.89                  $71.89
         POSEY, JAYLA S
         5128 FORESTWOOD.                         ¨ Contingent
         ADAMSVILLE AL 35005
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5267. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,254.01               $4,254.01
         POSEY, SHERRY J
         3452 BRIARCLIFF DR APT E                 ¨ Contingent
         GREENVILLE NC 27834
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1756 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1866 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5268. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.52                 $107.52
         POSEY, TEHYA M
         27502 CORONADO WAY                       ¨ Contingent
         HAYWARD CA 94545
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5269. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.23                 $150.23
         POTTER, MADISON E
         1530 SOUTH CHARLES BLVD                  ¨ Contingent
         APARTMENT 53
         GREENVILLE NC 27858                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5270. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $507.84                 $507.84
         POTTER, OLIVIA R
         8670 RANNEY ROAD                         ¨ Contingent
         TABERG NY 13471
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1757 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1867 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5271. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $198.69                 $198.69
         POTTINGER, SAMANTHA K
         354 PALISADE AVENUE                      ¨ Contingent
         APT 2
         GARFIELD NJ 07026                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5272. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.27                  $40.27
         POUERIET, YAZMIN R
         56 WERNER PL                             ¨ Contingent
         TEANECK NJ 07666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5273. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,838.76               $1,838.76
         POUK, LAUREN R
         8772 EUROPEAN FAN PALM ALLEY             ¨ Contingent
         WINTER GARDEN FL 34787
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1758 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1868 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5274. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.16                 $140.16
         POULSEN, ROXANNE M
         1454 RIVER RD                            ¨ Contingent
         SAN MARCOS TX 78666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5275. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $504.34                 $504.34
         POWELL, AUTUMN A
         1921 BLACKTHORN DR                       ¨ Contingent
         CHAMPAIGN IL 61821
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5276. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $456.48                 $456.48
         POWELL, CHELSEA J
         1121 MCREE HEIGHTS CIRCLE                ¨ Contingent
         NEWTON NC 28658
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1759 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1869 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5277. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.75                 $148.75
         POWELL, MESA T
         1216 CRISPUS DRIVE                       ¨ Contingent
         CHAMPAIGN IL 61820
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5278. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $164.87                 $164.87
         POWELL, MICHAEL-DAVID
         1105 CHARTER OAK COURT                   ¨ Contingent
         VILLA RICA GA 30180
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5279. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $509.05                 $509.05
         POWELL, SEAIRA
         3000 EVANGLINE ST                        ¨ Contingent
         APT 88
         MONROE LA 71201                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1760 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1870 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5280. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.30                  $84.30
         POWELL, SEAN N
         5621 HIGHWAY 69 S                        ¨ Contingent
         APT. 625
         TUSCALOOOSA AL 35405                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5281. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.07                  $86.07
         POWELL, SYDNEY
         14900 NACOGDOCHES RD                     ¨ Contingent
         2404
         SAN ANTONIO TX 78247                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5282. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.62                  $33.62
         POWELL, TAYLOR-ANN M
         92812 SOVERN PLACE                       ¨ Contingent
         JUNCTION CITY OR 97448
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1761 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1871 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5283. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.66                  $74.66
         POWERS, EMILY F
         408 IVAN DRIVE                           ¨ Contingent
         LEWISVILLE TX 75067
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5284. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $960.54                 $960.54
         PRADO, ACE FRANCIS R
         44 BRUNSWICK STREET                      ¨ Contingent
         SAN FRANCISCO CA 94112
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5285. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $208.56                 $208.56
         PRASTOS, ATHENA N
         206 E FARMINGDALE ST.                    ¨ Contingent
         ISLIP TERRACE NY 11752
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1762 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1872 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5286. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.56                  $39.56
         PRATHER, JADA J
         71 FOX HILL DR                           ¨ Contingent
         APT B
         DOVER NJ 07801                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5287. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $559.20                 $559.20
         PRATT, BRIANNA L
         308 SE FLAGSTONE DR.                     ¨ Contingent
         LEE'S SUMMIT MO 64063
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5288. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.93                  $83.93
         PRATT, JADA M
         1411 GROVE AVE                           ¨ Contingent
         APT. 14
         RICHMOND VA 23220                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1763 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1873 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5289. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.53                 $150.53
         PREDIERI, RYAN
         513 24TH AVE NW                          ¨ Contingent
         B
         NORMAN OK 73069                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5290. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $599.28                 $599.28
         PREHODA, ELISE S
         9737 COLUMBIA ROAD                       ¨ Contingent
         OLMSTED FALLS OH 44138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5291. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.72                 $101.72
         PRESTON, EMELINE N
         330 E VERNON AVE                         ¨ Contingent
         2
         NORMAL IL 61761                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1764 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1874 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5292. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $451.55                 $451.55
         PRESTON, STEPHANIE R
         448 ANN AVENUE                           ¨ Contingent
         448 ANN AVENUE
         BRICK NJ 08724                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5293. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.98                 $109.98
         PRESTON, TANISHA
         1801 SPRUCE AVE                          ¨ Contingent
         3
         WEST PALM BEACH FL 33407                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5294. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.11                 $112.11
         PRICE, JESSAH
         22215 GUIDOT                             ¨ Contingent
         TAYLOR MI 48180
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1765 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1875 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5295. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $663.22                 $663.22
         PRICE, MERCEDES D
         611 WEST BACON ST                        ¨ Contingent
         APT 1115B
         RICHMOND VA 23222                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5296. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.02                 $140.02
         PRICE, MIA D
         3565 MYDERS                              ¨ Contingent
         310
         MEMPHIS TN 38111                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5297. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.18                  $29.18
         PRICE, VICTORIA
         413 DUNBAR ST                            ¨ Contingent
         KINGSPORT TN 37660
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1766 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1876 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5298. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.50                  $49.50
         PRIDE, SHAKIYA
         11430 FARMVILLE RD                       ¨ Contingent
         FARMVILLE VA 23901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5299. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.00                 $157.00
         PRIETO, MARIA D
         13354 EMILY RD                           ¨ Contingent
         APT 111
         DALLAS TX 75240                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5300. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.44                  $73.44
         PRISBY, ALAYNA
         8185 HAWTHORNE DR.                       ¨ Contingent
         SAINT JOHN IN 46373
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1767 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1877 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5301. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.64                 $123.64
         PRITTS, KAITLIN M
         16624 LOARTOWN ROAD                      ¨ Contingent
         FROSTBURG MD 21532
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5302. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.73                  $29.73
         PROCTOR, BRITTANY J
         2900 WINTERBERRY WAY                     ¨ Contingent
         HUNTSVILLE AL 35763
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5303. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $786.50                 $786.50
         PROVO, KATELYN R
         2211 BRONCO LN                           ¨ Contingent
         BUFFALO MN 55313
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1768 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1878 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5304. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.45                  $45.45
         PROVOST, ARIEL E
         603 LANCASTER CT                         ¨ Contingent
         SALISBURY MD 21804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5305. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,048.20               $2,048.20
         PROVOST, DANIEL J
         10800 WOODSIDE AVE                       ¨ Contingent
         SPC 131
         SANTEE CA 92071-3188                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5306. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.43                  $68.43
         PRUDE, NEOSHA L
         125 VERONA AVE.                          ¨ Contingent
         NETTLETON MS 38858
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1769 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1879 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5307. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,068.36               $1,068.36
         PRUITT, ERIN M
         10224 PLUM CREEK LANE                    ¨ Contingent
         APT J
         CHARLOTTE NC 28210                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5308. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,755.23               $1,755.23
         PRUITT, JAMIE A
         1310 FRANK ST.                           ¨ Contingent
         KINGSPORT TN 37665
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5309. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.48                 $152.48
         PRYER, CASANDRA
         5201 N 16TH ST                           ¨ Contingent
         PHILADELPHIA PA 19141
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1770 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1880 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5310. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.37                  $80.37
         PTASCHEK, MEGAN
         209 43RD AVE                             ¨ Contingent
         GREELEY CO 80634
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5311. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.84                 $192.84
         PUGA, CHAVEZ CHRISTINE A
         1260 STAGECOACH TRAIL LOOP               ¨ Contingent
         CHULA VISTA CA 91915
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5312. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.72                 $259.72
         PUGH, JETERRICA
         5635 LUNKER LANE                         ¨ Contingent
         TALLAHASSEE FL 32303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1771 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1881 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5313. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.96                  $69.96
         PUGH, KARINA
         13353 EMILY RD                           ¨ Contingent
         DALLAS TX 75240
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5314. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.22                  $33.22
         PUGH, OLIVIA S
         6201 OLD SHELL RD                        ¨ Contingent
         APT. 222B
         MOBILE AL 36608                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5315. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $301.61                 $301.61
         PUGLIESE, DAPHNE
         2822 MONTCLAIR DRIVE                     ¨ Contingent
         ELLICOTT CITY MD 21043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1772 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1882 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5316. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $657.39                 $657.39
         PULIAFICO, SUSAN
         52 WEST ST                               ¨ Contingent
         WEST NYACK NY 10994
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5317. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.26                  $73.26
         PULIDO, ADRIANA
         8901 GRANT ST                            ¨ Contingent
         APT 714
         THORNTON CO 80229                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5318. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $391.88                 $391.88
         PULIDO, NICOLAS A
         2284 POIPU WAY                           ¨ Contingent
         2284 POIPU WAY
         SAN DIEGO CA 92154-1562                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1773 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1883 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5319. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.75                  $79.75
         PULLIAM, CORTENAY
         642 AUTUMN FIELDS LANE                   ¨ Contingent
         RANTOUL IL 61866
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5320. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.32                 $166.32
         PURIFOY, ALEXIS
         6910 CONNECTICUT DRIVE                   ¨ Contingent
         APT 4
         LOUISVILLE KY 40219                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5321. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $195.48                 $195.48
         PURIFOYE, BRIYANNA
         225 SPRINGHILL DR                        ¨ Contingent
         APT 306
         ROSELLE IL 60172                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1774 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1884 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5322. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $208.20                 $208.20
         PURSCH, JESSICA P
         1188 MICHAEL DRIVE                       ¨ Contingent
         TRACY CA 95377
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5323. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.32                 $133.32
         PURVIS, NAJE R
         8388 S GUPTA DR                          ¨ Contingent
         TUCSON AZ 85747
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5324. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.13                  $62.13
         QUACKENBUSH, ANGELICA
         120 BROOKS AVE                           ¨ Contingent
         BAYVILLE NJ 08721
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1775 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1885 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5325. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $52.39                  $52.39
         QUARANTELLO, MARIAH
         299 LACKAWANNA AVE                       ¨ Contingent
         BUFFALO NY 14212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5326. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.34                  $57.34
         QUARLES, IMANI B
         3400 N KNOXVILLE AVE                     ¨ Contingent
         APT D1
         PEORIA IL 61603                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5327. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.86                 $127.86
         QUEEN, CHRISTIAN F
         674 QUAIL DRIVE                          ¨ Contingent
         GLEN BURNIE MD 21061
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1776 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1886 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5328. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.70                 $141.70
         QUENTAL, AMANDA L
         109 BAKER STREET                         ¨ Contingent
         MANASSAS PARK VA 20111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5329. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $28.50                  $28.50
         QUEZADA, CRYSTAL
         2746 STAR PEAK DR                        ¨ Contingent
         HOUSTON TX 77088
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5330. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.12                 $240.12
         QUEZADA, KARINA G
         1263 DAVID AVE                           ¨ Contingent
         CONCORD CA 94518
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1777 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1887 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5331. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.40                 $179.40
         QUI, GONZALEZ SHARON J
         257 WILLOW ROAD APT H SAN YSID           ¨ Contingent
         257
         SAN YSIDRO CA 92173                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5332. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $0.00                   $0.00
         QUICK, BEAR DARIEN P
         P.O. BOX 1055                            ¨ Contingent
         ROSEBUD SD 57570
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5333. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $764.18                 $764.18
         QUICK, HALEY M
         1110 PARKHILL DRIVE                      ¨ Contingent
         NORWALK IA 50211
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1778 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1888 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5334. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.86                  $41.86
         QUIJANO, CHRYSTAL M
         4416 LAUREL AVE                          ¨ Contingent
         PENNSAUKEN NJ 08109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5335. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,792.73               $1,792.73
         QUILES, MARILINDA
         95 SPRUCE ST                             ¨ Contingent
         APT 2
         PATERSON NJ 07501-1793                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5336. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,426.61               $1,426.61
         QUILES, NICOLE
         62 COMSTOCK AVENUE                       ¨ Contingent
         STATEN ISLAND NY 10314
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1779 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1889 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5337. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $568.68                 $568.68
         QUINN, ERIN C
         223 BLOUGH COURT                         ¨ Contingent
         FAIRLESS HILLS PA 19030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5338. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.58                  $29.58
         QUINONES, JESSICA A
         PO BOX. 50922                            ¨ Contingent
         TOA BAJA PR 00950
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5339. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $655.56                 $655.56
         QUINONES, LAUREN C
         319 NORTHGATE CT.                        ¨ Contingent
         WESTERVILLE OH 43081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1780 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1890 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5340. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,405.14               $1,405.14
         QUINONES, TONASIA
         11 13TH STREET FLOOR #2                  ¨ Contingent
         TROY NY 12180
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5341. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.94                 $165.94
         QUINSAAT-TOBOSA, DESTINY-JOYCE
         1388 KAKAE PL                            ¨ Contingent
         WAILUKU HI 96793
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5342. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.27                  $45.27
         QUINTANA, JESENIA I
         6625 S 140TH ST                          ¨ Contingent
         OMAHA NE 68137
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1781 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1891 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5343. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $600.08                 $600.08
         QUINTANILLA, SAVANNAH
         2222 DUDLEY STREET                       ¨ Contingent
         BURTON MI 48529
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5344. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $342.77                 $342.77
         QUINTANILLA, TATIANA G
         11719 ALLIN ST                           ¨ Contingent
         486
         CULVER CITY CA 90230                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5345. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $204.19                 $204.19
         QUINTERO, GARCIA DANAY
         1819 DEANNA DR                           ¨ Contingent
         APOPKA FL 32703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1782 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1892 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5346. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.40                 $143.40
         QUIROGA, CINDY E
         3061 NW 184TH ST                         ¨ Contingent
         MIAMI FL 33056
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5347. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.63                  $98.63
         QUIROS, IMANI
         81 SUGAR BERRY PL                        ¨ Contingent
         DALLAS GA 30157
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5348. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.14                 $175.14
         QUIROZ, MELODY
         729 S. INGLEWOOD AVE                     ¨ Contingent
         INGLEWOOD CA 90301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1783 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1893 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5349. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.17                 $162.17
         QURESHI, ANUM
         114 TRAILS CROSSING                      ¨ Contingent
         WHITESBORO NY 13492
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5350. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.57                 $128.57
         RAAHAUGE, CAREN A
         4315 ROUTE 353                           ¨ Contingent
         SALAMANCA NY 14779
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5351. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,522.87               $1,522.87
         RABENA, JOHANNA M
         9115 HIRASAKI AVE                        ¨ Contingent
         GILROY CA 95020-3264
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1784 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1894 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5352. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.32                 $156.32
         RABER, EMILY P
         814 VINEYARD CIRLCE                      ¨ Contingent
         814
         SLIPPERY ROCK PA 16057                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5353. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.26                  $90.26
         RADECKER, JENNIFER N
         4146 DAUPHINE ST                         ¨ Contingent
         SLIDELL LA 70458
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5354. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,205.82               $3,205.82
         RADER, CHANTEL M
         1318 19TH ST.                            ¨ Contingent
         VIENNA WV 26105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1785 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1895 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5355. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.19                 $130.19
         RADOMES, RAEANNA ISABELL
         5795 W FLAMINGO RD APT 158               ¨ Contingent
         LAS VEGAS NV 89103
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5356. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.19                  $74.19
         RAFAIL, GABRIELLE L
         6630 W. HERBISON RD.                     ¨ Contingent
         DEWITT MI 48820
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5357. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.50                 $109.50
         RAGHUBIR, SAMANTHA
         89 11 116 STREET                         ¨ Contingent
         RICHMOND HILL NY 11418
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1786 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1896 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5358. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.25                  $34.25
         RAGSDALE, MONICA Y
         1806 45TH STREET                         ¨ Contingent
         PENNSAUKEN NJ 08109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5359. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.51                 $123.51
         RAIN, ASHLEY P
         6710 36TH AVENUE EAST LOT 42             ¨ Contingent
         PALMETTO FL 34221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5360. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $21.05                  $21.05
         RAINEY, KURISTIAN G
         842 SPRINGDALE LN                        ¨ Contingent
         GASTONAI NC 28052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1787 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1897 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5361. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.09                 $139.09
         RAINEY, NASAIYA
         21A JORDAN GARDENS                       ¨ Contingent
         NIAGARA FALLS NY 14305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5362. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,133.20               $4,133.20
         RAINS, BRANDON W
         185 EAST CAPE ROCK DRIVE                 ¨ Contingent
         CAPE GIRARDEAU MO 63701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5363. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.88                  $30.88
         RAIS, MAHASEN
         216 MICHAELS COURT                       ¨ Contingent
         WOODBRIDGE NJ 07095
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1788 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1898 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5364. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $258.90                 $258.90
         RAKIBULLAH, SHAKIRA
         3329 LOUIS PAUL WAY                      ¨ Contingent
         SAN JOSE CA 95148
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5365. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.31                  $34.31
         RAKOTZ, JORDYN L
         121 GRACE COURT                          ¨ Contingent
         MANKATO MN 55434
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5366. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $636.24                 $636.24
         RAMBOSK, KAITLIN
         926 RADCLIFF AVENUE                      ¨ Contingent
         LYNN HAVEN FL 32444
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1789 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1899 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5367. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.26                  $95.26
         RAMIREZ, ALEXANDRA J
         1716 HOWARD ST                           ¨ Contingent
         WACO TX 76711
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5368. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,363.09               $2,363.09
         RAMIREZ, AMBERLY C
         3244 FIRTH WAY                           ¨ Contingent
         SAN JOSE CA 95121-1519
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5369. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.96                 $165.96
         RAMIREZ, ANGELICA
         19906 RED FEATHER RD                     ¨ Contingent
         APPLE VALLEY CA 92307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1790 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1900 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5370. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $553.09                 $553.09
         RAMIREZ, ANTONIO E
         5722 E CALLE IGLESIA                     ¨ Contingent
         TEMPE AZ 85283
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5371. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.76                 $128.76
         RAMIREZ, ASHLEY K
         1221 A ST NE                             ¨ Contingent
         A314
         AUBURN WA 98002                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5372. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,397.73               $5,397.73
         RAMIREZ, ASHLEY R
         17356 CAVALCADE DR                       ¨ Contingent
         MORENO VALLEY CA 92555
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1791 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1901 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5373. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,292.98               $3,292.98
         RAMIREZ, CARMELINA
         1144 HALLMARK AVE                        ¨ Contingent
         LEHIGH ACRES FL 33974
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5374. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $234.60                 $234.60
         RAMIREZ, DANIELA
         302 23RD AVE WEST                        ¨ Contingent
         BRADENTON FL 34205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5375. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $603.52                 $603.52
         RAMIREZ, DE LA CRUZ NANCY E
         10800 CLAY RD #9105                      ¨ Contingent
         HOUSTON TX 77041
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1792 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1902 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5376. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,659.28               $1,659.28
         RAMIREZ, DESTINY
         10525 DOLECETTO DR                       ¨ Contingent
         RANCHO CORDOVA CA 95670
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5377. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.23                  $78.23
         RAMIREZ, EILEEN G
         33 SCOTLAND ROAD                         ¨ Contingent
         ELIZABETH NJ 07208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5378. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $15.96                  $15.96
         RAMIREZ, ESMERALDA
         33 TANFORAN                              ¨ Contingent
         SAN BRUNO CA 94066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1793 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1903 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5379. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $728.65                 $728.65
         RAMIREZ, HERNANDEZ EMILY K
         2586 63RD AVE                            ¨ Contingent
         OAKLAND CA 94605
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5380. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.44                 $153.44
         RAMIREZ, JOSEFINA
         2514 CR 60                               ¨ Contingent
         ROSHARON TX 77583
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5381. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.37                 $185.37
         RAMIREZ, KELLY
         15965 78TH AVE                           ¨ Contingent
         TINLEY PARK IL 60477
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1794 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1904 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5382. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.76                  $71.76
         RAMIREZ, LIZBETH
         153 S 4TH ST.                            ¨ Contingent
         RICHMOND CA 94804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5383. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.84                 $108.84
         RAMIREZ, MANUELITA
         241 SHADY LANE                           ¨ Contingent
         VALLEJO CA 94591
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5384. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $590.89                 $590.89
         RAMIREZ, MARIA
         3209 JAMES DR                            ¨ Contingent
         DALLAS TX 75227
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1795 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1905 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5385. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,529.18               $1,529.18
         RAMIREZ, MARIA H
         723 N GRANT ST                           ¨ Contingent
         AMARILLO TX 79107-5361
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5386. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $937.37                 $937.37
         RAMIREZ, MONICA
         911E LA PALMA DR APT D                   ¨ Contingent
         INGLEWOOD CA 90301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5387. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.03                 $103.03
         RAMIREZ, NALLELY
         1401 SOUTH ST                            ¨ Contingent
         PASADENA TX 77503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1796 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1906 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5388. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $593.60                 $593.60
         RAMIREZ, NANCY V
         8788 KLEIN ROAD                          ¨ Contingent
         STOCKTON CA 95206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5389. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.14                 $178.14
         RAMIREZ, SAMARIA V
         8400 WEEPING CHERRY LN                   ¨ Contingent
         EVERMAN TX 76140
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5390. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $669.24                 $669.24
         RAMIREZ, SANCHEZ ASHLEY A
         128 HOBBS CIR                            ¨ Contingent
         SANTA PAULA CA 93060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1797 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1907 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5391. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $760.79                 $760.79
         RAMIREZ, SAVANA A
         533 EASTON AVE                           ¨ Contingent
         SAN BRUNO CA 94066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5392. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $280.37                 $280.37
         RAMIREZ, SIENNA-ROSE A
         4115 BELLA SIERRA CT                     ¨ Contingent
         LAS CRUCES NM 88011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5393. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.25                 $100.25
         RAMIREZ, STEPHANIE E
         67 BISMARK DRIVE                         ¨ Contingent
         STAFFORD VA 22554
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1798 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1908 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5394. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,268.80               $1,268.80
         RAMIREZ, VANESSA N
         6500 NEWTON ST                           ¨ Contingent
         ARVADA CO 80003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5395. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.04                 $181.04
         RAMIREZ, VELASCO DALLELY
         1511 OAKCREST AVE                        ¨ Contingent
         NORMAN OK 73071
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5396. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.04                 $119.04
         RAMIREZ, YEZICA
         4006 MIDLAND ST                          ¨ Contingent
         LOS ANGELES CA 90031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1799 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1909 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5397. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $503.64                 $503.64
         RAMIREZ-CONTRERAS, MARIA A
         6451 OXFORD AVE APT A211                 ¨ Contingent
         PHILADELPHIA PA 19111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5398. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $725.28                 $725.28
         RAMIREZ-JOSE, LIZBETH
         267 COWDEN ST                            ¨ Contingent
         2
         CENTRAL FALLS RI 02863                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5399. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.28                  $73.28
         RAMJIT, SHIVANI
         354 BURGESS PLACE                        ¨ Contingent
         CLIFTON NJ 07050
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1800 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1910 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5400. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $217.05                 $217.05
         RAMKEESOON, BRITNEY
         2444 38TH STREET                         ¨ Contingent
         ASTORIA NY 11103
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5401. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $497.38                 $497.38
         RAMNATH, DARSHANIE
         27718 ONEALS RD.                         ¨ Contingent
         SEAFORD DE 19973
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5402. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.01                  $76.01
         RAMON, ALISA
         3898 E ESPLANADE AVE                     ¨ Contingent
         GILBERT AZ 85297
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1801 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1911 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5403. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $222.84                 $222.84
         RAMOS, AILEEN A
         3076 REDWOOD AVE.                        ¨ Contingent
         LYNWOOD CA 90262
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5404. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.94                 $154.94
         RAMOS, ALICIA
         6008 100TH                               ¨ Contingent
         LUBBOCK TX 79424
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5405. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.96                 $142.96
         RAMOS, ALONDRA V
         830 PEACHTREE RD                         ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1802 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1912 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5406. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $254.00                 $254.00
         RAMOS, ANGELES A
         3318 OLD CHOCOLATE BAYOU RD TR           ¨ Contingent
         PEARLAND TX 77584
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5407. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.08                 $175.08
         RAMOS, BRENDA M
         1860 OAKMEAD DR                          ¨ Contingent
         17
         CONCORD CA 94520                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5408. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,037.97               $3,037.97
         RAMOS, BRITTNEY L
         4641 ANSON ST.                           ¨ Contingent
         NEW ORLEANS LA 70131
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1803 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1913 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5409. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.12                 $104.12
         RAMOS, CHEYENNE
         2798 OXFORD AVE                          ¨ Contingent
         GRAND JUNCTION CO 81503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5410. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.81                 $170.81
         RAMOS, DE JESUS RAUL E
         CARR. 184 KM30.1 BO MALUA GUAV           ¨ Contingent
         CAYEY PR 00736
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5411. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,239.55               $3,239.55
         RAMOS, ELSA
         2412 COWAN BLVD APT F                    ¨ Contingent
         FREDERICKSBURG VA 22401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1804 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1914 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5412. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $341.36                 $341.36
         RAMOS, JAZMIN
         15042 DEVONSHIRE ST.                     ¨ Contingent
         MISSION HILLS CA 91345
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5413. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $432.96                 $432.96
         RAMOS, LEILY Y
         921 WAVERLY PLACE                        ¨ Contingent
         BALDWIN NY 11510
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5414. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $528.48                 $528.48
         RAMOS, MARIAH L
         2204 17TH ST                             ¨ Contingent
         WYANDOTTE MI 48192
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1805 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1915 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5415. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.20                 $109.20
         RAMOS, MARISSA I
         367 VECINO CT.                           ¨ Contingent
         SPRING VALLEY CA 91977
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5416. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.88                  $86.88
         RAMOS, ROSA I
         1002 N MARIPOSA AVE                      ¨ Contingent
         15
         LOS ANGELES CA 90029                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5417. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,077.57               $2,077.57
         RAMOS, YINAMAR
         HC 74 BOX 5196                           ¨ Contingent
         NARANJITO PR 00719
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1806 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1916 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5418. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,645.13               $2,645.13
         RAND, KIMBERLY A
         4404 ADOLPH AVE                          ¨ Contingent
         NORTH PORT FL 34288
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5419. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,329.21               $1,329.21
         RANDEL, SAMANTHA
         22525 QUIVIRA RD                         ¨ Contingent
         BUCYRUS KS 66013
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5420. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.40                  $67.40
         RANDLE, DEJEA J
         119 GEORGE ST                            ¨ Contingent
         BREAUX BRIDGE LA 70517
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1807 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1917 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5421. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $264.25                 $264.25
         RANDLEMAN, MORGAN P
         104 KENDRICK FARM DRIVE                  ¨ Contingent
         MOUNT HOLLY NC 28642
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5422. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.93                  $37.93
         RANDOLPH, LA'SHUNTI L
         4228 WEST MICHIGAN AVE                   ¨ Contingent
         KALAMAZOO MI 49008
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5423. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $566.08                 $566.08
         RANGEL, GINA E
         467 E SCOTT AVENUE                       ¨ Contingent
         FRESNO CA 93710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1808 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1918 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5424. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $470.01                 $470.01
         RANGEL-JUAREZ, ELENA
         6602 HONEY BEAR CT                       ¨ Contingent
         TAMPA FL 33625
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5425. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.82                  $35.82
         RANKIN, ANDREA M
         5440 WESTERN AVENUE                      ¨ Contingent
         OMAHA NE 68132
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5426. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.99                  $39.99
         RANKIN, CLAIRE E
         542 S. SPRING STREET APT. B              ¨ Contingent
         CAPE GIRARDEAU MO 63703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1809 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1919 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5427. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.46                  $94.46
         RANSOM, NIYAH
         5900 GRANDEL BLVD                        ¨ Contingent
         LOUISVILLE KY 40258
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5428. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $577.17                 $577.17
         RAPOFF, EVA
         1536 BARCLAY PLACE                       ¨ Contingent
         NISKAYUNA NY 12309
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5429. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.84                  $42.84
         RAPOSO, BRITNEY M
         37 JOHNSON ST                            ¨ Contingent
         1
         FALL RIVER MA 02723                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1810 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1920 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5430. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $163.04                 $163.04
         RASHDI, BIBI KANWAL
         1110 BALLPARK LANE APT 2005              ¨ Contingent
         LAWRENCEVILLE GA 30043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5431. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.75                  $40.75
         RAYMOND, EMANI T
         2273 FRIENDSHIP STREET                   ¨ Contingent
         PHILADELPHIA PA 19149
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5432. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.11                 $186.11
         RAYMOND, LYDIE
         15 BAMFORD PLACE                         ¨ Contingent
         FLOOR #2
         IRVINGTON NJ 07111                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1811 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1921 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5433. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.85                  $96.85
         RAYOS, MONICA I
         500 S CHURCH ST.                         ¨ Contingent
         AUGUSTA MI 49012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5434. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.00                  $72.00
         RAYSER, HAILEY C
         3013 ESTEPA DRIVE                        ¨ Contingent
         UNIT F
         CAMERON PARK CA 95682                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5435. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.91                  $86.91
         READIE, KIERA N
         3 TERRY LANE                             ¨ Contingent
         CLARK NJ 07066
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1812 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1922 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5436. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.02                 $135.02
         READUS, LADYMON S
         416 W OLD PLANK RD                       ¨ Contingent
         UNIT 105
         COLUMBIA MO 65203                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5437. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,555.41               $3,555.41
         REAGAN, KELLY
         1625 BLACKBERRY ROAD                     ¨ Contingent
         DEATSVILLE AL 36022
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5438. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $451.22                 $451.22
         REAGAN, MAKAYLA M
         3225 S STONEGATE CR DRIVE                ¨ Contingent
         208
         NEW BERLIN WI 53151                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1813 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1923 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5439. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,915.40               $1,915.40
         REAVES, SAMANTHA M
         7327 NORTHBROOK COVE                     ¨ Contingent
         HORN LAKE MS 38637
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5440. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.27                 $103.27
         RECHEL, NASYA
         9815 PARK SPRINGS CT                     ¨ Contingent
         CHARLOTTE NC 28210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5441. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.68                 $148.68
         REDD, ANNIE
         1104 OAKWOOD AVE                         ¨ Contingent
         TOLEDO OH 43607
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1814 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1924 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5442. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.32                 $166.32
         REDDIC, ASHLEY
         11108 MORGAN RIVER CT                    ¨ Contingent
         RANCHO CORDOVA CA 95670
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5443. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $91.41                  $91.41
         REDDICE, RIGHCHE D
         166 PALISADE AVENUE                      ¨ Contingent
         BRIDGEPORT CT 06610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5444. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $227.58                 $227.58
         REDDISH, DESTINY D
         3905 KIAH DR                             ¨ Contingent
         WESELY CHAPEL FL 33543
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1815 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1925 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5445. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.24                  $84.24
         REDDY, NATASHA P
         107 VIA DEL SOL                          ¨ Contingent
         VACAVILLE CA 95687
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5446. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.41                  $95.41
         REDFERN, IMANI R
         1600 CRAWFORD DR                         ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5447. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.77                  $45.77
         REDLIN, JACQUELINE E
         1200 S KEVA AVE                          ¨ Contingent
         SIOUX FALLS SD 57106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1816 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1926 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5448. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,533.18               $2,533.18
         REDMAN, SARAH M
         3550 VILLA LN                            ¨ Contingent
         124
         NAPA CA 94558-6454                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5449. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $345.94                 $345.94
         REDMOND-MARTINEZ, ESPERANZA M
         1332 HUDSON RD                           ¨ Contingent
         SAINT PAUL MN 55106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5450. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,042.35               $1,042.35
         REED, BRITTANY A
         2605 6TH ST NE                           ¨ Contingent
         BIRMINGHAM AL 35215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1817 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1927 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5451. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.41                 $112.41
         REED, DIERRA
         193 EAST GRAND AVE.                      ¨ Contingent
         FOX LAKE IL 60020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5452. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.36                  $77.36
         REED, JANICE L
         8686COY AVE.                             ¨ Contingent
         APT.84
         BATON ROUGE LA 70810                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5453. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.49                  $65.49
         REED, JESSIE C
         117 KATHLEEN ST.                         ¨ Contingent
         TUPELO MS 38801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1818 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1928 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5454. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $601.80                 $601.80
         REED, KALLIE L
         3508 LIBERTY STREET                      ¨ Contingent
         PARKERSBURG WV 26104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5455. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,474.02               $2,474.02
         REED, KELSEY M
         3397 ELWOOD AVE SW                       ¨ Contingent
         GRANDVILLE MI 49418-1805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5456. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.99                  $82.99
         REED, NICOLE S
         104 SW OXFORD PL                         ¨ Contingent
         LEE'S SUMMIT MO 64063
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1819 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1929 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5457. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.44                 $112.44
         REESE, KIMBRIA C
         2064 GORDON VERNER CIRCLE                ¨ Contingent
         STOCKTON CA 95206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5458. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.75                 $138.75
         REESE, MORGAN L
         526 MILDRED                              ¨ Contingent
         TRUMANN AR 72472
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5459. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $26.88                  $26.88
         REESE, SAMATHA L
         68 WEST MORTON ST.                       ¨ Contingent
         SAINT PAUL MN 55107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1820 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1930 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5460. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.20                  $37.20
         REESE, SHARON B
         2507 E MILL PLAIN BLVD                   ¨ Contingent
         #5
         VANCOUVER WA 98661                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5461. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $288.84                 $288.84
         REEVES, AMARA K
         725 SHAWMUT AVENUE                       ¨ Contingent
         703
         BOSTON MA 02119                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5462. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $955.20                 $955.20
         REEVES, ARIANA
         1447 HAYNESCREST COURT                   ¨ Contingent
         GRAYSON GA 30017
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1821 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1931 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5463. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.63                 $184.63
         REEVES, CANDACE M
         905 BERNADETTE DRIVE                     ¨ Contingent
         FOREST HILL MD 21050
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5464. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,187.97               $2,187.97
         REEVES, LATESHA A
         142 E. 34 ST                             ¨ Contingent
         SAN BERNARDINO CA 92404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5465. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $667.46                 $667.46
         REFAI, ARSHIA I
         6063C JOAQUIN MURIETA AVE                ¨ Contingent
         NEWARK CA 94560
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1822 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1932 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5466. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.92                 $148.92
         REGINA-TORRES, ILIANA P
         17142 SILVER CREST DR.                   ¨ Contingent
         SAN DIEGO CA 92127
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5467. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.25                  $74.25
         REGIS, GUERECA MARIA B
         4349 W KEIM DR                           ¨ Contingent
         APT #2
         GLENDALE AZ 85301                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5468. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $499.83                 $499.83
         REGNET, RACHELLE K
         27 16TH AVE                              ¨ Contingent
         NORTH TONAWANDA NY 14120
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1823 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1933 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5469. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,213.80               $1,213.80
         REHM, ALLYSON S
         2806 EDWARDS ST                          ¨ Contingent
         GREENVILLE NC 27858-4005
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5470. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.00                 $170.00
         REID, ALEXIS S
         1455 SAINT GEORGE PLACE                  ¨ Contingent
         CONYERS GA 30012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5471. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $585.59                 $585.59
         REID, ALIZA
         313 RAMSEUR ROAD                         ¨ Contingent
         MAIDEN NC 28650
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1824 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1934 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5472. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $265.56                 $265.56
         REID, ANARI
         14700 SE PERTOVITSKY RD                  ¨ Contingent
         E-301
         RENTON WA 98058                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5473. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.16                 $141.16
         REID, CORELYN J
         4 JENNIFER WAY                           ¨ Contingent
         FAIRFIELD NJ 07004
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5474. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,281.84               $3,281.84
         REID-DAWKINS, KIMBERLY
         5219 CORTEZ DRIVE                        ¨ Contingent
         ORLANDO FL 32808
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1825 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1935 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5475. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.60                  $48.60
         REIL, KAITLYN N
         26 RABIDEAU DRIVE                        ¨ Contingent
         EASTHAMPTON MA 01027
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5476. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.29                 $101.29
         REILLO, JANERYS
         DOS BOCAS                                ¨ Contingent
         COROZAL PR 00783
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5477. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.37                  $79.37
         REILLY, HEATHER L
         525 SCOTT BLVD                           ¨ Contingent
         AP 201
         CASTLE ROCK CO 80104                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1826 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1936 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5478. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.80                 $126.80
         REINOEHL, KAILYNNE A
         401 SOUTH BROAD STREET                   ¨ Contingent
         LITITZ PA 17543
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5479. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.88                  $56.88
         REINSTATLER, GABRYEL
         1663 RICHMOND DR                         ¨ Contingent
         LOUISVILLE KY 40205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5480. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,044.27               $4,044.27
         RENA SCHERER TAX ASSESSOR
         205 N BRIDGE ST SUITE 101 P.O. BOX       ¨ Contingent
         2569
         VICTORIA TX 77902                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1827 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1937 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5481. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,352.18               $1,352.18
         RENDON, SYLVIA S
         33174 FM 2893                            ¨ Contingent
         LOS FRESNOS TX 78566
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5482. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.68                 $151.68
         RENDON, YAJAIRA M
         13317 SE MEADOWPARK DR                   ¨ Contingent
         HAPPY VALLEY OR 97086
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5483. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.19                  $65.19
         RESENDIZ, MAGDALENA
         745 E PECAN ST                           ¨ Contingent
         143
         HURST TX 76053                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1828 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1938 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5484. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $14.70                  $14.70
         RESTER, SABRINA A
         101 FOREMAN ROAD                         ¨ Contingent
         APT A50
         MOBILE AL 36608                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5485. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $767.64                 $767.64
         REVELS, KERRI
         84 WESTVIEW ST                           ¨ Contingent
         BLDG O APT 84
         YPSILANTI MI 48197                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5486. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,252.13               $1,252.13
         REVELS, LAMONNA
         6846 DICKS AVE                           ¨ Contingent
         PHILADELPHIA PA 19142
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1829 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1939 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5487. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $420.67                 $420.67
         REYES, ALEXA F
         37 ROOSEVELT AVENUE                      ¨ Contingent
         EAST BRUNSWICK NJ 08816
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5488. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.82                 $116.82
         REYES, ALEXANDRA
         5025 NORTH 1ST AVENUE                    ¨ Contingent
         1309
         TUCSON AZ 85718                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5489. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $567.60                 $567.60
         REYES, ALLISON
         8414 BRIDGE CT                           ¨ Contingent
         INDIANAPOLIS IN 46231
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1830 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1940 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5490. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.50                 $147.50
         REYES, ANDRADES NASHALIZ
         CALLE 523                                ¨ Contingent
         Q E-2 COUNTRY
         CAROLINA PR 00982                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5491. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $211.80                 $211.80
         REYES, AURORA
         706 KINGSHIGHWAY                         ¨ Contingent
         2R
         BROOKLYN NY 11223                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5492. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $392.64                 $392.64
         REYES, BERENICE
         2805 N 15TH ST                           ¨ Contingent
         ROGERS AR 72756
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1831 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1941 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5493. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $453.84                 $453.84
         REYES, CHRISTINA
         2522 SWEET RAIN WAY                      ¨ Contingent
         CORONA CA 92881
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5494. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $798.12                 $798.12
         REYES, CHRISTINE M
         3116 SUMMER HOUSE DR                     ¨ Contingent
         VALRICO FL 33594
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5495. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,801.87               $2,801.87
         REYES, EMMA D
         1906 W 41 1/2 ST                         ¨ Contingent
         MISSION TX 78573-5001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1832 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1942 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5496. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.40                 $149.40
         REYES, GARCIA INGRID N
         267 53RD ST                              ¨ Contingent
         SAN DIEGO CA 92114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5497. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $574.28                 $574.28
         REYES, IRENE C
         16751 SE 82ND DR                         ¨ Contingent
         APT1514
         CLACKAMAS OR 97015                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5498. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.08                  $34.08
         REYES, JAYLINE I
         306 NORTH MAIN STREET                    ¨ Contingent
         RED LION PA 17356
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1833 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1943 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5499. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $730.08                 $730.08
         REYES, JULIANNA F
         20818 ENADIA WAY                         ¨ Contingent
         CANOGA PARK CA 91306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5500. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.44                  $69.44
         REYES, KARLA C
         7910 LA ROCHE LN                         ¨ Contingent
         HOUSTON TX 77036
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5501. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.06                  $48.06
         REYES, KATHERYN H
         710 COLUMBIA AVE                         ¨ Contingent
         2
         NORTH BERGEN NJ 07047                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1834 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1944 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5502. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.20                 $109.20
         REYES, MARIA C
         3610 BANBURY DR                          ¨ Contingent
         12-I
         RIVERSIDE CA 92505                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5503. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $231.00                 $231.00
         REYES, MERYSSA
         1378 CORTE LIRA                          ¨ Contingent
         SAN MARCOS CA 92069
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5504. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $772.55                 $772.55
         REYES, MONDRAGON KARLA S
         456 CLEVELAND AVE                        ¨ Contingent
         PETALUMA CA 94952
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1835 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1945 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5505. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.29                 $156.29
         REYES, XIOMARA A
         14224 W DESERT COVE RD                   ¨ Contingent
         SURPRISE AZ 85379-4338
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5506. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $287.04                 $287.04
         REYES, YESENIA G
         2055 ARNOLD WAY                          ¨ Contingent
         101
         ALPINE CA 91901                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5507. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $201.14                 $201.14
         REYES-ADAMS, BOBBI C
         6118 WALLOWING WAY                       ¨ Contingent
         COLORADO SPRINGS CO 80925
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1836 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1946 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5508. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.50                 $160.50
         REYES-MARTINEZ, DEVANY
         P.O BOX 474                              ¨ Contingent
         ERIE CO 80516
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5509. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.19                 $119.19
         REYNA, NIXIE A
         24810 NORTH BASS BLVD                    ¨ Contingent
         HARLINGEN TX 78552
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5510. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.03                 $159.03
         REYNA, VIVIAN
         6707 UTSA BOULEVARD APT. 4107            ¨ Contingent
         4107
         SAN ANTONIO TX 78249                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1837 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1947 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5511. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.17                 $115.17
         REYNA-HERNANDEZ, ELIZABETH
         125 S GROVE ST                           ¨ Contingent
         F6
         YPSILANTI MI 48198                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5512. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $424.91                 $424.91
         REYNOLDS, CHELSEA S
         43C ALLEN DRIVE                          ¨ Contingent
         SARATOGA SPRINGS NY 12866
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5513. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $514.63                 $514.63
         REYNOLDS, DANA A
         65 MARGIN ST                             ¨ Contingent
         UNIT 1A
         WESTERLY RI 02891-7107                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1838 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1948 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5514. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $443.81                 $443.81
         REYNOLDS, STEPHANIE N
         404 BREEZE WAY                           ¨ Contingent
         WINDER GA 30680
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5515. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $245.80                 $245.80
         RHEAMS, AVA
         6935 REDSTART LN                         ¨ Contingent
         DALLAS TX 75214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5516. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.85                 $124.85
         RHOADES, CASSIDY R
         371 E CALDERWOOD RD                      ¨ Contingent
         TUCSON AZ 85704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1839 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1949 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5517. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $724.13                 $724.13
         RICALDAY, EMILY A
         28316 S. KANSAS CITY RD                  ¨ Contingent
         LA FERIA TX 78559
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5518. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.27                  $39.27
         RICARD, GENESIS
         4715 SHALIMAR DR.                        ¨ Contingent
         NEW ORLEANS LA 70126
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5519. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $319.37                 $319.37
         RICAURTE, VALERIE
         76 NICOLE CT                             ¨ Contingent
         OLD BRIDGE NJ 08857-2675
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1840 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1950 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5520. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.63                 $123.63
         RICE, MALIA C
         4543 WEST SHENANDOAH CIRCLE              ¨ Contingent
         FORT WAYNE IN 46835
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5521. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $373.18                 $373.18
         RICE, MEAGAN E
         106 EAST 11TH STREET                     ¨ Contingent
         ELMIRA HEIGHTS NY 14903
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5522. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.04                  $75.04
         RICE, NITAYA
         2366 CHESTNUT LOG DRIVE                  ¨ Contingent
         LITHIA SPRINGS GA 30122
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1841 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1951 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5523. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $395.76                 $395.76
         RICE, SHAWNKEYDRA P
         912 LENOX AVE.                           ¨ Contingent
         WAUKEGAN IL 60085
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5524. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.91                 $125.91
         RICH, CHAWNEE M
         268 DOMINICAN AVENUE                     ¨ Contingent
         HENDERSON NV 89002
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5525. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,242.33               $1,242.33
         RICH, GABRIELLA
         7400 POWERS AVE APT. 252                 ¨ Contingent
         JAKCSONVILLE FL 32217
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1842 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1952 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5526. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.27                  $90.27
         RICHARDS, ABBEY S
         11514 HANBURY MANOR BLVD                 ¨ Contingent
         NOBLESVILLE IN 46060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5527. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,291.23               $7,291.23
         RICHARDS, JAN A
         9005 S ROBERTS RD                        ¨ Contingent
         APT 3B
         HICKORY HILLS IL 60457-2093              ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5528. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $944.69                 $944.69
         RICHARDS, KATHERINE S
         19230 SYLVAN ST                          ¨ Contingent
         TARZANA CA 91335
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1843 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1953 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5529. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $324.90                 $324.90
         RICHARDSON, ERIKA D
         18 YORK DRIVE                            ¨ Contingent
         LITTLE ROCK AR 72209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5530. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,679.60               $1,679.60
         RICHARDSON, HOLLY M
         5045 CRENSHAW RD.                        ¨ Contingent
         APT. 312
         PASADENA TX 77505                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5531. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $428.57                 $428.57
         RICHARDSON, KEOSHA R
         3 MALLARD PATH                           ¨ Contingent
         LIVERPOOL NY 13090
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1844 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1954 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5532. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $372.89                 $372.89
         RICHARDSON, PATRICIA D
         9123 E MISSISSIPPI AVE APT 10-           ¨ Contingent
         10-102
         DENVER CO 80247                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5533. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.79                 $103.79
         RICHARDSON, TYLER M
         33 ELIZABETH STREET                      ¨ Contingent
         STATEN ISLAND NY 10310
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5534. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $459.70                 $459.70
         RICHERSON, TELISA N
         3052 FORREST HILL DR.                    ¨ Contingent
         COLUMBUS GA 31907
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1845 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1955 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5535. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $539.94                 $539.94
         RICHERT, CAITLIN D
         164 SW PEACOCK BLVD UNIT 104             ¨ Contingent
         PORT SAINT LUCIE FL 34986
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5536. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.60                 $105.60
         RICHMOND, CIARA J
         571 HILLSWICK CIRCLE                     ¨ Contingent
         FOLSOM CA 95630
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5537. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.24                  $36.24
         RICHMOND, DANIELLE
         11606 CHAMBERLAINE WAY                   ¨ Contingent
         13
         ADELANTO CA 92301                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1846 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1956 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5538. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,916.78               $3,916.78
         RICHMOND, STACEY
         3260 MARINE RD                           ¨ Contingent
         CUMMING GA 30041
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5539. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $267.19                 $267.19
         RICKARDS, BRITTANY N
         7297 GUILFORD RD                         ¨ Contingent
         APT C
         UPPER DARBY PA 19082                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5540. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $576.93                 $576.93
         RICO, SAMANTHA R
         PO BOX 675                               ¨ Contingent
         AVONDALE AZ 85323
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1847 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1957 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5541. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.73                  $31.73
         RIDDER, VALERIE M
         3000 SE SKYLARK DR                       ¨ Contingent
         TOPEKA KS 66605-2156
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5542. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.22                  $74.22
         RIDDLE, JANAE D
         2309 SUMMIT TRAIL                        ¨ Contingent
         KEARNEY MO 64060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5543. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $587.62                 $587.62
         RIDDLE, TOSHIA A
         6625 FAIRFIELD AVE                       ¨ Contingent
         FORT WAYNE IN 46807
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1848 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1958 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5544. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.86                 $180.86
         RIDGWAY, JD D
         3408 CENTRAL AVENUE                      ¨ Contingent
         PARKERSBURG WV 26104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5545. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.48                 $160.48
         RIELAND, CALSEY J
         2202 RICE LAKE ROAD                      ¨ Contingent
         303-B
         DULUTH MN 55811                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5546. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.00                 $129.00
         RIELLY, MACKENZIE E
         27860 HWY 32                             ¨ Contingent
         LEBANON MO 65536
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1849 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1959 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5547. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.44                 $181.44
         RIENG, LILIAN
         715 BEDLOW DRIVE                         ¨ Contingent
         STOCKTON CA 95210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5548. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,661.00               $3,661.00
         RIGGIO, REBECCA S
         12 FEDERAL HILL ROAD                     ¨ Contingent
         OCEAN PINES MD 21811-9428
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5549. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $391.91                 $391.91
         RIHA, BRITTANY R
         64A WEST RIVER STYX ROAD                 ¨ Contingent
         HOPATCONG NJ 07843
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1850 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1960 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5550. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.02                  $68.02
         RILEY, ALEXIS
         5110 OLIVIA RD                           ¨ Contingent
         VENICE FL 34293
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5551. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.16                 $176.16
         RILEY, ASHLEY N
         8 TIMBERLINE COURT                       ¨ Contingent
         PUTNAM VALLEY NY 10579
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5552. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $399.36                 $399.36
         RILEY, KOURTNEY M
         1135 EAGLE LANE                          ¨ Contingent
         MANTECA CA 95337
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1851 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1961 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5553. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,128.69               $1,128.69
         RILEY, LEAH M
         600 2ND AVE                              ¨ Contingent
         ALTOONA PA 16602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5554. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.02                 $218.02
         RILEY, TYRA R
         270 FLEMING RD                           ¨ Contingent
         CINCINNATI OH 45215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5555. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $496.32                 $496.32
         RINCON, KIMBERLY A
         2665 SW ACCO ROAD                        ¨ Contingent
         PORT ST LUCIE FL 34953
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1852 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1962 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5556. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.44                 $137.44
         RING, SIERRA A
         809 TIMBERIDGE CT.                       ¨ Contingent
         RIVERDALE GA 30274
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5557. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.14                  $58.14
         RIOJAS, MERCEDES M
         4600 OTTAWA STREET                       ¨ Contingent
         KANSAS CITY KS 66106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5558. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.09                  $69.09
         RIOS, ALICIA M
         1026 DECLARATION DR                      ¨ Contingent
         COPPERAS COVE TX 76522
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1853 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1963 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5559. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,723.16               $1,723.16
         RIOS, CYNTHIA
         11729 KEITH DR                           ¨ Contingent
         WHITTIER CA 90606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5560. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.71                  $75.71
         RIOS, JAZMIN A
         9943 EAST ALABAMA CIR APT1414            ¨ Contingent
         APT1414
         AURORA CO 80247                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5561. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,704.81               $2,704.81
         RIOS, KARINA M
         14220 SW 120TH CT                        ¨ Contingent
         MIAMI FL 33186
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1854 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1964 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5562. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.93                 $105.93
         RIOS, KENIA
         14140 BROADWAY EXTENSION APT 3           ¨ Contingent
         EDMOND OK 73013
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5563. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.30                 $127.30
         RIOS, SHAWNA J
         19839 CLAYTON STREET UNIT 504            ¨ Contingent
         SOMERSET TX 78069
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5564. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.80                 $145.80
         RIOS, VANESSA
         2925 BIDWELL COURT                       ¨ Contingent
         FAIRFIELD CA 94534
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1855 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1965 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5565. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $321.12                 $321.12
         RIOS-MARTINEZ, VERONICA
         440 N E ST.                              ¨ Contingent
         TULARE CA 93274
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5566. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,000.96               $3,000.96
         RISACHER, DANIELLE T
         3713 PRESCOTT DR                         ¨ Contingent
         HOWELL MI 48843-6981
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5567. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.16                 $145.16
         RISSANEN, RACHAEL L
         2775 OLD IVY CT                          ¨ Contingent
         BUFORD GA 30519
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1856 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1966 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5568. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $396.62                 $396.62
         RITCHEY, KELLY
         615 INVERNESS CT SE                      ¨ Contingent
         SALEM OR 97306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5569. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,208.34               $1,208.34
         RITCHEY, MARIAH E
         3311 DOVER COURT                         ¨ Contingent
         LAFAYETTE IN 47909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5570. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.40                 $148.40
         RITZI, KEILANI A
         4490 W. ELDORADO PKWY                    ¨ Contingent
         2328
         MCKINNEY TX 75070                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1857 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1967 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5571. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.88                 $102.88
         RIVAS, ABIGAIL E
         2541 FALLBROOK DRIVE                     ¨ Contingent
         HAMPSHIRE IL 60140
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5572. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $315.59                 $315.59
         RIVAS, CARINA
         3 OAK SHADE RD                           ¨ Contingent
         STERLING VA 20164
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5573. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $258.47                 $258.47
         RIVAS, DIANA
         2215 TALLOW COURT                        ¨ Contingent
         AUSTIN TX 78744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1858 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1968 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5574. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,683.17               $1,683.17
         RIVAS, GEORGINA I
         414 SHERIDAN ST.                         ¨ Contingent
         MODESTO CT 95351
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5575. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.32                  $63.32
         RIVAS, LAUREN
         256 DAVIDSON ROAD                        ¨ Contingent
         SWANNANOA NC 28778
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5576. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.35                 $127.35
         RIVAS, SAMANTHA L
         279 WEST END AVENUE                      ¨ Contingent
         LONG BRANCH NJ 07740
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1859 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1969 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5577. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $452.24                 $452.24
         RIVAS, SILVIA
         1782 MISSION BAY CIRCLE                  ¨ Contingent
         101
         VIERA FL 32955                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5578. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.60                 $103.60
         RIVAS, SOSA MIRIAM J J
         1613 W COLLEGE BLVD                      ¨ Contingent
         JONESBORO AR 72401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5579. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $227.56                 $227.56
         RIVAS, STELLA C
         6504 GEYSER AVE.                         ¨ Contingent
         RESEDA CA 91335
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1860 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1970 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5580. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.47                 $191.47
         RIVAS, VERENECE
         43 DELBROOK WAY                          ¨ Contingent
         HAMPTON VA 23666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5581. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $172.81                 $172.81
         RIVERA, ALANIS J
         3024 SANTA LUCIA DR                      ¨ Contingent
         ORLANDO FL 32822
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5582. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $611.52                 $611.52
         RIVERA, ALICIA M
         1788 GUN CLUB RD                         ¨ Contingent
         CHARLESTON SC 29414
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1861 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1971 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5583. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.02                 $100.02
         RIVERA, ALICIA M
         1788 GUN CLUB RD                         ¨ Contingent
         CHARLESTON SC 29414
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5584. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.00                 $104.00
         RIVERA, ANGELICA G
         2094 BUCKLEY LANE                        ¨ Contingent
         ROUND ROCK TX 78664
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5585. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,236.26               $2,236.26
         RIVERA, ARIANNA
         8 BROOK LN                               ¨ Contingent
         HOPEWELL JUNCTION NY 12533-7304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1862 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1972 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5586. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.44                  $34.44
         RIVERA, BRITNEY R
         200 PINEGROVE CT.                        ¨ Contingent
         JACKSONVILLE NC 28546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5587. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $292.72                 $292.72
         RIVERA, CAROLINA
         10346 BROCKTON DR                        ¨ Contingent
         DALLAS TX 75217
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5588. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $265.21                 $265.21
         RIVERA, CHICAS CATERIN
         9830 ROSE MIST #B LN                     ¨ Contingent
         HOUSTON TX 77038
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1863 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1973 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5589. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $28.25                  $28.25
         RIVERA, CHRISTINA E
         69 MANCHESTER AVENUE                     ¨ Contingent
         WATERBURY CT 06705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5590. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,234.10               $1,234.10
         RIVERA, CHRISTINE L
         346 HANOVER ST #5                        ¨ Contingent
         MERIDEN CT 06451
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5591. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.28                 $182.28
         RIVERA, DESTINY C
         14000 EL EVADO RD.                       ¨ Contingent
         SPACE 49
         VICTORVILLE CA 92392                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1864 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1974 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5592. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $335.16                 $335.16
         RIVERA, EDITH
         404 EVANS RIDGE TER NE                   ¨ Contingent
         APT D
         LEESBURG VA 20176-4484                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5593. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $442.78                 $442.78
         RIVERA, GIOVANNI
         524 CASTLE CREEK RD                      ¨ Contingent
         APT 45
         BINGHAMTON NY 13901-5142                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5594. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $616.88                 $616.88
         RIVERA, GRACE O
         5274 CONRAD CT.                          ¨ Contingent
         GRANDVILLE MI 49418
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1865 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1975 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5595. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $231.79                 $231.79
         RIVERA, ILEANA
         3719 WEST 42ND STREET                    ¨ Contingent
         CLEVLAND OH 44109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5596. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.75                 $137.75
         RIVERA, INES
         1105 COND PARQUE SAN ANTON               ¨ Contingent
         CAROLINA PR 00987
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5597. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $945.12                 $945.12
         RIVERA, JAQUELINE
         P.O BOX 1137                             ¨ Contingent
         VISTA CA 92085
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1866 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1976 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5598. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $670.16                 $670.16
         RIVERA, JENISHA
         7011 TOLMIE CT NE                        ¨ Contingent
         LACEY WA 98516
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5599. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.84                  $33.84
         RIVERA, KATHLEEN
         100 DALE AVE                             ¨ Contingent
         MELBOURNE FL 32935
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5600. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.34                  $64.34
         RIVERA, KEARA
         1411 E 5TH ST                            ¨ Contingent
         233 N FRANKLIN
         SIOUX FALLS SD 57103                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1867 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1977 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5601. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $397.95                 $397.95
         RIVERA, MATTHEW
         307 WEST 143RD STREET APT 4B             ¨ Contingent
         NEW YORK NY 10030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5602. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,803.20               $1,803.20
         RIVERA, MICHELE
         198 LONGWOOD DR                          ¨ Contingent
         MANALAPAN NJ 07726-3847
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5603. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $52.73                  $52.73
         RIVERA, NISA A
         135 NORTHERN AVE                         ¨ Contingent
         ALEXANDRIA BAY NY 13607
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1868 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1978 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5604. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $585.24                 $585.24
         RIVERA, SOPHY
         100 MORGAN ST                            ¨ Contingent
         308A
         STAMFORD CT 06905                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5605. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.80                 $151.80
         RIVERA, VANESSA
         8225 E SPEEDWAY BLVD                     ¨ Contingent
         516
         TUCSON AZ 85710                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5606. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,078.88               $1,078.88
         RIVERA, YANZELMALEE
         15 ELTING CIRCLE                         ¨ Contingent
         HOLYOKE MA 01040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1869 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1979 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5607. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $236.58                 $236.58
         RIVERA, YARIE M
         19 GREAT BROOK VALLEY AVE                ¨ Contingent
         2
         WORCESTER MA 01605                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5608. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.45                  $41.45
         RIVERA, YESENIA Y
         375 S 9TH STREET                         ¨ Contingent
         SAN JOSE CA 95112
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5609. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $237.24                 $237.24
         RIVERA-LLANES, JUDITH A
         1748 SUNNY CREST LN                      ¨ Contingent
         BONITA CA 91902
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1870 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1980 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5610. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.35                  $93.35
         RO, SYDNEY
         94-508 KEALOHI WAY                       ¨ Contingent
         MILILANI HI 96789
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5611. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.35                 $246.35
         ROACH, ALEC L
         6252 BUNCOMBE RD                         ¨ Contingent
         APARTMENT C
         SHREVEPORT LA 71129                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5612. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.22                 $157.22
         ROACH, PASION L
         7504 PARKVIEW DR                         ¨ Contingent
         COLUMBIA SC 29223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1871 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1981 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5613. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.90                  $33.90
         ROBERSON, KAITLYN N
         9 ASTER DR                               ¨ Contingent
         SICKLERVILLE NJ 08081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5614. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $171.68                 $171.68
         ROBERTO, MELISSA A
         2403 BELMONT LANE                        ¨ Contingent
         APT 374
         NORTH LAUDERDALE FL 33068                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5615. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.75                  $74.75
         ROBERTS, DAKOTA R
         5667 TULIP TREE DR                       ¨ Contingent
         MEMPHIS TN 38115
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1872 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1982 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5616. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.31                  $76.31
         ROBERTS, DARSHIKA N
         951 LEORA LN                             ¨ Contingent
         APT 5115
         THE COLONY TX 75056                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5617. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.84                  $96.84
         ROBERTS, TAMERA
         150-29-113TH                             ¨ Contingent
         NEW YORK NY 11433
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5618. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $567.96                 $567.96
         ROBERTSON, CAITIE
         4208 WEST PITTSBURG STREET               ¨ Contingent
         BROKEN ARROW OK 74012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1873 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1983 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5619. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $611.81                 $611.81
         ROBERTSON, HALEIGH A
         5600 NW 81ST TERRACE                     ¨ Contingent
         KANSAS CITY MO 64151
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5620. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,258.14               $1,258.14
         ROBERTSON, JOSHUA J
         2057 W HEBRON PARKWAY 3326               ¨ Contingent
         CARROLTON TX 75010
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5621. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.33                 $182.33
         ROBERTSON, NATESHIA L
         400 EAST NOCTURNE DRIVE                  ¨ Contingent
         J86
         NASHVILLE TN 37207                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1874 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1984 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5622. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $407.75                 $407.75
         ROBERTSON, PRIYA E
         GENERAL DELIVERY                         ¨ Contingent
         SAINT PAUL MN 55101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5623. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $533.65                 $533.65
         ROBERTSON, STESHA G
         9167 RAMBLEWOOD DRIVE                    ¨ Contingent
         436
         CORAL SPRINGS FL 33067                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5624. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,240.83               $2,240.83
         ROBIN, ANDRINA
         393 CARMEN RD                            ¨ Contingent
         APT 2
         AMHERST NY 14226                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1875 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1985 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5625. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,042.07               $1,042.07
         ROBINSON, AMBER
         4259 LYND AVE                            ¨ Contingent
         ARCADIA CA 91006-5836
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5626. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $455.25                 $455.25
         ROBINSON, ANGELA L
         206 OAK MANOR CT.                        ¨ Contingent
         SUFFOLK VA 23434
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5627. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.41                 $212.41
         ROBINSON, ANIYAH D
         216 EAST HORNER STREET                   ¨ Contingent
         ATMORE AL 36502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1876 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1986 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5628. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.44                  $44.44
         ROBINSON, ASIA
         123 THOMAS ST                            ¨ Contingent
         BLOOMFIELD NJ 07003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5629. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $673.63                 $673.63
         ROBINSON, DALISA
         5224 ST. ANTHONY AVE.                    ¨ Contingent
         APT. A
         NEW ORLEANS LA 70122                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5630. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.75                  $27.75
         ROBINSON, DANIEL L
         4379 LEMON GRASS DR                      ¨ Contingent
         JOHNSTOWN CO 80534
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1877 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1987 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5631. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.67                 $212.67
         ROBINSON, KYRA J
         21 NOLL PL                               ¨ Contingent
         NEWARK NJ 07106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5632. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $314.36                 $314.36
         ROBINSON, MOORE DASHRUNIA S
         56 ALBERT                                ¨ Contingent
         BUFFALO NY 14207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5633. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,441.21               $1,441.21
         ROBINSON, RENITA G
         8418 LONE QUAIL DRIVE                    ¨ Contingent
         MISSOURI CITY TX 77489
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1878 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1988 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5634. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.95                 $141.95
         ROBINSON, SHAUNQUELLA A
         6001 GLENMERE DRIVE                      ¨ Contingent
         COLUMBUS GA 31907
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5635. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.51                 $147.51
         ROBINSON, SUMMER
         405 BRIDGE LANE                          ¨ Contingent
         SMYRNA GA 30082
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5636. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.04                  $31.04
         ROBINSON, TARIYAH C
         1218 ROWLAND AVENUE                      ¨ Contingent
         CANTON OH 44705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1879 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1989 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5637. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.98                 $240.98
         ROBINSON, TIARA E
         3461 SW RONALD ST                        ¨ Contingent
         PORT ST LUCIE FL 34953
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5638. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.86                 $141.86
         ROBINSON, VICTORIA
         110 RUSSELL RD                           ¨ Contingent
         103
         CAYCE SC 29033                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5639. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.48                  $84.48
         ROBLEDO, XENIA A
         3409 S 61ST AVE                          ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1880 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1990 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5640. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $635.18                 $635.18
         ROBLES, BROOKE Y
         351 RANCHERO WAY                         ¨ Contingent
         TRACY CA 95376
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5641. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.59                 $102.59
         ROBLES, CORALIZ
         RR03 BOX9925                             ¨ Contingent
         TOA ALTA PR 00953
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5642. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $302.76                 $302.76
         ROBLES, EMELI M
         323 N 7TH STREET                         ¨ Contingent
         SANTA PAULA CA 93060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1881 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1991 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5643. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.40                 $203.40
         ROCHA, IDA BELLE E
         581 MOCKING BIRD LANE                    ¨ Contingent
         OAKLEY CA 94561
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5644. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.00                  $79.00
         ROCHA, KAREN A
         475 CHIP DR                              ¨ Contingent
         BETHEL HEIGHTS AR 72764
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5645. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.92                  $95.92
         ROCHELLE, BRIANNA J
         617 PEBBLESTONE DR                       ¨ Contingent
         DURHAM NC 27703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1882 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1992 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5646. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,169.35               $3,169.35
         ROCHESTER, TILLMAN J
         17107 TERRACE PARK DR                    ¨ Contingent
         HOUSTON TX 77095-1293
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5647. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $453.24                 $453.24
         ROCK, CASSIDY D
         94-1121 KA UKA BLVD                      ¨ Contingent
         APT A102
         WAIPAHU HI 96797                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5648. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.20                  $43.20
         RODAS-SANDOVAL, JAILENE
         2338 29TH ST SW                          ¨ Contingent
         WYOMING MI 49519
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1883 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1993 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5649. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.23                  $68.23
         RODELA, SHARLYN L
         365 WREXHAM                              ¨ Contingent
         101
         MAUMEE OH 43537                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5650. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $419.84                 $419.84
         RODENKIRCH, SKYLAR O
         41084 FAIRMONT AVE.                      ¨ Contingent
         PAIRIEVILLE LA 70769
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5651. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $545.48                 $545.48
         RODGERS, JARVIS T
         2043 WESTERN PECAN                       ¨ Contingent
         NEW BRAUNFELS TX 78130-2762
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1884 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1994 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5652. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,046.90               $1,046.90
         RODRIGUES, MERSADYSE
         92 ROGERS ST                             ¨ Contingent
         QUINCY MA 02169
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5653. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,485.59               $3,485.59
         RODRIGUES, TAYLOR J
         42 J DR                                  ¨ Contingent
         1E
         WESTPORT MA 02790-3900                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5654. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.67                 $115.67
         RODRIGUES, VANESSA
         9111 BURNET AVENUE                       ¨ Contingent
         34
         NORTH HILLS CA 91343                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1885 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1995 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5655. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.02                  $35.02
         RODRIGUEZ, ALEJANDRA I
         6119 BIRDWOOD RD                         ¨ Contingent
         HOUSTON TX 77074
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5656. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.14                 $149.14
         RODRIGUEZ, ALEXANDRA
         1380 NORTH AVE                           ¨ Contingent
         315
         ELIZABETH NJ 07208-2627                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5657. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.56                 $133.56
         RODRIGUEZ, ALEXIS J
         676 LAS LOMAS ST                         ¨ Contingent
         IMPERIAL CA 92251
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1886 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1996 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5658. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $573.62                 $573.62
         RODRIGUEZ, ALYSSA J
         4107 HATHAWAY DR                         ¨ Contingent
         GRAND PRIAIRIE TX 75052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5659. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.10                 $200.10
         RODRIGUEZ, ANDRY J
         925 N. NORTH CAROLINA AVE.               ¨ Contingent
         C
         ATLANTIC CITY NJ 08401                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5660. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.84                 $156.84
         RODRIGUEZ, ANGELENA I
         156 CYPRESS ST.                          ¨ Contingent
         CHULA VISTA CA 91910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1887 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1997 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5661. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.20                 $121.20
         RODRIGUEZ, ANGELICA
         155 LAS FLORES DR SPC 14                 ¨ Contingent
         SAN MARCOS CA 92069
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5662. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,496.61               $4,496.61
         RODRIGUEZ, ANNA
         6153 PALMETTO ST                         ¨ Contingent
         2
         RIDGEWOOD NY 11385-3324                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5663. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.52                 $152.52
         RODRIGUEZ, ARELY M
         1519 GONDOLA CT                          ¨ Contingent
         STOCKTON CA 95207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1888 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1998 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5664. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.75                  $36.75
         RODRIGUEZ, ARICELA M
         328 CAROLINA FOREST BLVD                 ¨ Contingent
         3B
         JACKSONVILLE NC 28546                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5665. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.54                  $57.54
         RODRIGUEZ, ARYAM
         URB. ALTAGRACIA                          ¨ Contingent
         STREET H7
         TOA BAJA PR 00949                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5666. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $442.80                 $442.80
         RODRIGUEZ, ASTRID M
         2252 S 26TH ST                           ¨ Contingent
         MILWAUKEE WI 53215-2515
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1889 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 1999 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5667. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $207.24                 $207.24
         RODRIGUEZ, AYLLEN
         5819 GUNDRY AVE.                         ¨ Contingent
         LONG BEACH CA 90805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5668. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.93                 $178.93
         RODRIGUEZ, BELEN M
         430 NW 32ND AVE                          ¨ Contingent
         MIAMI FL 33125
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5669. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $378.75                 $378.75
         RODRIGUEZ, BRANDON
         443 BEACH 138 STREET                     ¨ Contingent
         ROCKAWAY PARK NY 11694
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1890 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2000 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5670. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $345.18                 $345.18
         RODRIGUEZ, BRIANNA A
         1101 SOUTH DILWORTH ROAD                 ¨ Contingent
         HARLINGEN TX 78552
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5671. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $97.08                  $97.08
         RODRIGUEZ, BRIANNA M
         2305 WESTHOLME BLVD                      ¨ Contingent
         A
         BAKERSFIELD CA 93309                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5672. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.91                 $162.91
         RODRIGUEZ, CELESTE
         2208 MORNING MIST                        ¨ Contingent
         EL PASO TX 79938
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1891 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2001 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5673. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,470.22               $3,470.22
         RODRIGUEZ, CHERYL
         6620 SILVERY AVE                         ¨ Contingent
         LAS VEGAS NV 89108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5674. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.20                 $136.20
         RODRIGUEZ, CYNTHIA G
         2255 W GILL PL                           ¨ Contingent
         DENVER CO 80223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5675. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,136.96               $4,136.96
         RODRIGUEZ, DAMARIS
         1002 CROWN ST.                           ¨ Contingent
         MT. AIRY MD 21771
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1892 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2002 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5676. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.10                 $240.10
         RODRIGUEZ, DESTINY
         1954 WINSLOW COURT                       ¨ Contingent
         WOODBRIDGE VA 22191
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5677. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.77                  $39.77
         RODRIGUEZ, DESTINY M
         1904 N MARRS                             ¨ Contingent
         AMARILLO TX 79107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5678. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $281.16                 $281.16
         RODRIGUEZ, DOMINIQUE L
         1402 LONGVIEW ST                         ¨ Contingent
         MESQUITE TX 75149
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1893 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2003 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5679. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.94                 $134.94
         RODRIGUEZ, DONNA J
         1535 PONDHAVEN DR                        ¨ Contingent
         HIGH POINT NC 27265
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5680. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.20                  $31.20
         RODRIGUEZ, ELIZABETH R
         1725 HARVEY MITCHELL PARKWAY S           ¨ Contingent
         APT. 5022
         COLLEGE STATION TX 77840                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5681. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,175.47               $1,175.47
         RODRIGUEZ, GABRIELLA
         7439 MASON FALLS DRIVE                   ¨ Contingent
         WINSTON GA 30187
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1894 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2004 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5682. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $495.88                 $495.88
         RODRIGUEZ, HANNAH C
         2909 N OLIVER APT. 5-531B                ¨ Contingent
         WICHITA KS 67208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5683. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.74                 $182.74
         RODRIGUEZ, IDTZEL B
         314C WOODCREEK DR                        ¨ Contingent
         212
         BOLINGBROOK IL 60440                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5684. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,371.65               $2,371.65
         RODRIGUEZ, IVELISSE
         87 WESLEY ST                             ¨ Contingent
         LAWRENCE MA 01841
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1895 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2005 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5685. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.84                  $72.84
         RODRIGUEZ, JACKLISSA
         374 VAN HORNE STREET                     ¨ Contingent
         APT. #3
         JERSEY CITY NJ 07304                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5686. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $639.14                 $639.14
         RODRIGUEZ, JACQUELINE M
         558 WEST 2ND STREET                      ¨ Contingent
         SAN PEDRO CA 90731
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5687. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $873.86                 $873.86
         RODRIGUEZ, JERYLIN
         3231 S RIDGEWAY                          ¨ Contingent
         CHICAGO IL 60623
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1896 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2006 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5688. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.54                 $229.54
         RODRIGUEZ, JULIA
         1332 SW 24TH ST                          ¨ Contingent
         OKLAHOMA CITY OK 73108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5689. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,328.86               $4,328.86
         RODRIGUEZ, JULIANA
         68 CALLE IGNACIO MORALES                 ¨ Contingent
         #68
         NARANJITO PR 00719-3009                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5690. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $921.62                 $921.62
         RODRIGUEZ, JULYSSA
         44 UDALL DRIVE                           ¨ Contingent
         GREAT NECK NY 11020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1897 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2007 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5691. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.40                 $560.40
         RODRIGUEZ, KATIA S
         2774 PAVERO WAY                          ¨ Contingent
         LAS VEGAS NV 89142
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5692. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.56                 $136.56
         RODRIGUEZ, KAYLA J
         138 FOUNDRY ST                           ¨ Contingent
         HOUSE
         CENTRAL FALLS RI 02863                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5693. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.56                  $40.56
         RODRIGUEZ, KIMBERLY M
         1230 N.LBJ DRIVE                         ¨ Contingent
         528
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1898 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2008 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5694. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.32                 $148.32
         RODRIGUEZ, KRISTEN
         1109 DRAKE COVE                          ¨ Contingent
         LEANDER TX 78641
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5695. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $226.26                 $226.26
         RODRIGUEZ, KRISTINE E
         4580 70TH ST W APT116                    ¨ Contingent
         BRADENTON FL 34210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5696. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.37                 $146.37
         RODRIGUEZ, LESLIT A
         10815 CHIMNEY ROCK RD                    ¨ Contingent
         HOUSTON TX 77096
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1899 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2009 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5697. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $47.64                  $47.64
         RODRIGUEZ, LILLY R
         2331 NEPTUNE AVE                         ¨ Contingent
         SEAFORD NY 11783
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5698. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,101.57               $1,101.57
         RODRIGUEZ, MARGARITA
         3212 STEPPING STONE LN                   ¨ Contingent
         FORT WAYNE IN 46835
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5699. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $653.74                 $653.74
         RODRIGUEZ, MARIA P
         3448 S CRENSHAW ST APT B                 ¨ Contingent
         3448 B
         VISALIA CA 93277                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1900 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2010 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5700. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.16                  $71.16
         RODRIGUEZ, MARILY
         801 NORMANDY DR                          ¨ Contingent
         BAKERSFIELD CA 93306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5701. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $277.92                 $277.92
         RODRIGUEZ, MARISA
         15231 MONTE STREET                       ¨ Contingent
         SYLMAR CA 91342
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5702. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.26                 $181.26
         RODRIGUEZ, MARTHA E
         155 ROSWELL FARMS DR.                    ¨ Contingent
         ROSWELL GA 30075
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1901 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2011 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5703. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.70                 $140.70
         RODRIGUEZ, MARTINEZ LAURA C
         3718 JERMANTOWN RD                       ¨ Contingent
         FAIRFAX VA 22030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5704. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.96                  $41.96
         RODRIGUEZ, MENDEZ STEPHANY
         10667 TELFAIR AVE                        ¨ Contingent
         PACOIMA CA 91331
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5705. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,052.04               $2,052.04
         RODRIGUEZ, NAARA
         15523 MONTILLA LOOP                      ¨ Contingent
         TAMPA FL 33625-2471
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1902 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2012 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5706. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,497.28               $1,497.28
         RODRIGUEZ, NALEIZKA
         1701 MABETTE ST                          ¨ Contingent
         BUILDING 14 AP
         KISSIMMEE FL 34741                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5707. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.00                 $162.00
         RODRIGUEZ, NATALIE M
         10260 PLAINVIEW AVE. APT 26              ¨ Contingent
         TUJUNGA CA 91042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5708. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $8.91                   $8.91
         RODRIGUEZ, ODALYS
         840 EL CORTEZ WAY                        ¨ Contingent
         SPARKS NV 89434
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1903 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2013 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5709. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $28.89                  $28.89
         RODRIGUEZ, ORTIZ ANGELIZ
         URB. LOS ANGELES CALLE ASTROS            ¨ Contingent
         84
         CAROLINA PR 00979                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5710. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,394.19               $1,394.19
         RODRIGUEZ, PERLA E
         417 RED ANT DR                           ¨ Contingent
         WESLACO TX 78596-4860
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5711. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.42                 $101.42
         RODRIGUEZ, RAIJENE A
         1155 WEST GROVE PARKWAY UNIT 1           ¨ Contingent
         190
         TEMPE AZ 85283                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1904 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2014 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5712. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.00                  $63.00
         RODRIGUEZ, RENEE D
         215 S. COMMERCIAL ST.                    ¨ Contingent
         EDCOUCH TX 78538
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5713. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,296.48               $3,296.48
         RODRIGUEZ, SANDRA
         20962 REBECCA LN                         ¨ Contingent
         SAN BENITO TX 78586
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5714. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.81                  $68.81
         RODRIGUEZ, STEPHANIE R
         206 CEDAR ST                             ¨ Contingent
         STORM LAKE IA 50588
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1905 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2015 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5715. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.66                 $173.66
         RODRIGUEZ, VANESA
         17 ASPEN LN                              ¨ Contingent
         CARPENTERSVILLE IL 60110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5716. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,528.56               $1,528.56
         RODRIGUEZ, VICKY M
         2234 EUCLID AVE                          ¨ Contingent
         EAST PALO ALTO CA 94303-1705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5717. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $658.07                 $658.07
         RODRIGUEZ, YANARIS
         200 POND STREET                          ¨ Contingent
         BRIDGEPORT CT 06606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1906 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2016 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5718. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.06                 $182.06
         RODRIGUEZ, YANET A
         7415 SEQUOIA WAY                         ¨ Contingent
         EL PASO TX 79915
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5719. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $447.72                 $447.72
         RODRIGUEZ, YASMINE
         29 HITCHCOCK LANE                        ¨ Contingent
         FARMINGDALE NY 11735
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5720. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.40                 $239.40
         RODRIGUEZ-LITTLE, DAYSI
         9859 DALE AVE                            ¨ Contingent
         16
         SPRING VALLEY CA 91977                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1907 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2017 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5721. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.72                 $131.72
         RODRIGUEZ-MAYA, GLORIA L
         788 DANA DR                              ¨ Contingent
         GRAND RAPIDS MI 49548
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5722. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $337.56                 $337.56
         ROEEN, ELAHA S
         217 W CENTRAL AVE                        ¨ Contingent
         TRACY CA 95376
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5723. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.70                  $61.70
         ROGERS, ALANA J
         113 W STRATFORD AVE                      ¨ Contingent
         LANSDOWNE PA 19050
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1908 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2018 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5724. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.17                  $82.17
         ROGERS, BARRON
         12 HILL DRIVE                            ¨ Contingent
         JACKSON TN 38301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5725. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.33                  $27.33
         ROGERS, CHARVEY D
         210 CROSSING LN APT I66                  ¨ Contingent
         I66
         DOTHAN AL 36303                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5726. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,280.81               $2,280.81
         ROGERS, INDIA L
         5923 14TH ST                             ¨ Contingent
         ZEPHYRHILLS FL 33542-3637
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1909 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2019 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5727. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.75                  $72.75
         ROGERS, KEONNA D
         209 W CONGRESS                           ¨ Contingent
         GREENVILLE MI 48838
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5728. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.91                  $92.91
         ROGERS, SERITA S
         159 FAIRMONT AVE                         ¨ Contingent
         JACKSON TN 38301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5729. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.90                  $41.90
         ROGERS-TYE, MARKIA Z
         412 C BALSAM ST                          ¨ Contingent
         MYRTLE BEACH SC 29577
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1910 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2020 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5730. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $197.34                 $197.34
         ROHAN, AILEEN P
         6925 W 109TH PLACE                       ¨ Contingent
         WORTH IL 60482
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5731. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $425.06                 $425.06
         ROHANI, MAHBOBEH R
         1327 S KANSAS AVE                        ¨ Contingent
         APT 10
         SPRINGFILED MO 65807                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5732. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $213.30                 $213.30
         ROHIM, NASRIN
         3114 HAGA DRIVE                          ¨ Contingent
         SAN JOSE CA 95111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1911 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2021 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5733. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.58                  $86.58
         ROJAS, EVELYN M
         3902 W. ROCHELLE AVE.                    ¨ Contingent
         MILWAUKEE WI 53209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5734. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $749.46                 $749.46
         ROJAS, JACQUELYN
         16607 HIBISCUS LN.                       ¨ Contingent
         FRIENDSWOOD TX 77546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5735. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,363.21               $3,363.21
         ROJAS, JADE R
         7514 DERBY LANE                          ¨ Contingent
         SHAKOPEE MN 55379
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1912 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2022 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5736. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.76                 $146.76
         ROJAS, LILIANA N
         2359 DIGERUD DR                          ¨ Contingent
         FAIRFIELD CA 94533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5737. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,246.56               $1,246.56
         ROJAS, MARIA I
         906 S. VICTORIA RD                       ¨ Contingent
         DONNA TX 78527
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5738. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $168.56                 $168.56
         ROJEK, MAKAYLA
         15083 NIGHT HERON DR                     ¨ Contingent
         WINTER GARDEN FL 34787
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1913 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2023 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5739. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.46                 $185.46
         ROJO, EMILY G
         1773 SWEETWATER RANCH                    ¨ Contingent
         SPRINGDALE AR 72764
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5740. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.73                  $70.73
         ROLLIN, CAMERON D
         1949 E UNIVERSITY DR                     ¨ Contingent
         APT #2035A
         TEMPE AZ 85281                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5741. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.76                  $87.76
         ROLLINS, DIAMOND J
         7614 BONDALE AVE                         ¨ Contingent
         APT 89
         NORFOLK VA 23505                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1914 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2024 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5742. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.46                 $113.46
         ROLLINS, JAILA A
         5662 TROY VILLA BLVD                     ¨ Contingent
         HUBER HEIGHTS OH 45424
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5743. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $479.52                 $479.52
         ROLLINS, JSHONTELLE E
         452 ALBERT ST                            ¨ Contingent
         ELMIRA NY 14904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5744. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,652.30               $4,652.30
         ROMAIN, BRAE G
         27 CEDAR AVE                             ¨ Contingent
         ROCKVILLE CENTRE NY 11570
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1915 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2025 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5745. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.70                 $188.70
         ROMAN, DAISY
         4306 RUBY ST                             ¨ Contingent
         SCHILLER PARK IL 60176
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5746. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.25                  $36.25
         ROMAN, GEORGE G
         RESIDENCIAL LUIS LLORENS TORRE           ¨ Contingent
         EDIFICIO 117 A
         SAN JUAN PR 00913                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5747. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.53                  $56.53
         ROMAN, IRIS
         435 #5 VILLA CAROL                       ¨ Contingent
         CAROLINA PR 00985
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1916 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2026 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5748. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.96                  $84.96
         ROMAN. ELLEN
         818 LUCIA AVE                            ¨ Contingent
         REDONDO BEACH CA 90277
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5749. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.25                 $196.25
         ROMAN-MUNOZ, YESENIA
         994 S PATTON CT                          ¨ Contingent
         DENVER CO 80219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5750. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.60                  $81.60
         ROMANO, LIZBETH
         6614 LIMESTONE ST                        ¨ Contingent
         HOUSTON TX 77092
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1917 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2027 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5751. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,017.80               $2,017.80
         ROMANSIK, KATIE L
         7955 KINGSWOOD DRIVE                     ¨ Contingent
         #107
         CITRUS HEIGHTS CA 95610                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5752. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.44                 $143.44
         ROMERO, ABIGAIL C
         P.O. BOX 28231                           ¨ Contingent
         TEMPE AZ 85285
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5753. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,512.26               $5,512.26
         ROMERO, ALAIN E
         3146 BERNIS CT                           ¨ Contingent
         SPRING VALLEY CA 91977-2501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1918 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2028 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5754. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $282.24                 $282.24
         ROMERO, AMBER N
         6943 S ARTESIAN AVE                      ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5755. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.54                 $129.54
         ROMERO, ASHLEY
         3175 W MEXICO AVE                        ¨ Contingent
         DENVER CO 80219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5756. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.77                 $176.77
         ROMERO, ASHLEY M
         864 CR 331                               ¨ Contingent
         CLEVELAND TX 77327
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1919 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2029 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5757. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.60                 $133.60
         ROMERO, BRIANA
         1391 FORTNER DR.                         ¨ Contingent
         INDIANAPOLIS IN 46231
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5758. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.00                  $96.00
         ROMERO, BRIANNA
         175 RAMONA CT                            ¨ Contingent
         YORKTOWN HGTS NY 10598
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5759. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $635.72                 $635.72
         ROMERO, FAITH
         1917 CLEARBROOK DRIVE                    ¨ Contingent
         CHULA VISTA CA 91913
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1920 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2030 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5760. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $320.25                 $320.25
         ROMERO, MADELEINE I
         70-16 68TH PLACE GLENDALE NY             ¨ Contingent
         1ST
         GLENDALE NY 11385                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5761. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $326.16                 $326.16
         ROMERO, MARIA
         18 AVENNIDA DESCANSO                     ¨ Contingent
         OCEANSIDE CA 92057
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5762. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.35                  $40.35
         ROMO, VALERIE M
         7321 LAURA LN                            ¨ Contingent
         RESEDA CA 91335-2487
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1921 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2031 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5763. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.96                  $42.96
         ROMOS-GONZALEZ, ZULEIKA
         730 WEST UNION ST                        ¨ Contingent
         4
         ALLENTOWN PA 18101                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5764. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.85                 $186.85
         RONDAEL, COLEEN
         4 FIR DR                                 ¨ Contingent
         DANBURY CT 06811
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5765. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.90                  $65.90
         RONDON, BARRETO ANGELICA M
         CARR 1926 LOS ROMEROS SIERRA             ¨ Contingent
         SAN JUAN PR 00926
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1922 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2032 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5766. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $620.69                 $620.69
         RONQUILLO, MYA J
         1039 ROEDEER DR.                         ¨ Contingent
         CLARKSVILLE TN 37042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5767. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.96                  $60.96
         ROOKS, MACKENZIE L
         208 S 250 E                              ¨ Contingent
         COLUMBUS IN 47201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5768. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,893.34               $2,893.34
         ROOS, ASHLEY N
         105 B JAY MAX WAY                        ¨ Contingent
         GLASGOW KY 42141
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1923 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2033 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5769. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $197.40                 $197.40
         ROQUE, KALIE
         12618 ENSIGN AVE                         ¨ Contingent
         SAVAGE MN 55378
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5770. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.65                 $166.65
         ROSA, BARBARA
         100 MITCHELL CT.                         ¨ Contingent
         ANGIER NC 27501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5771. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $345.62                 $345.62
         ROSA, NAOMI L
         196 STRAWBERRY HILL AVE                  ¨ Contingent
         WOODBRIDGE NJ 07095
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1924 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2034 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5772. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.65                 $206.65
         ROSADO, ANDREA
         993 OLD BRIDGE TPKE                      ¨ Contingent
         EAST BRUNSWICK NJ 08816
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5773. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $290.32                 $290.32
         ROSADO, CARYLIN M
         2600 SW 10TH ST.                         ¨ Contingent
         1202
         OCALA FL 34471                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5774. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $569.20                 $569.20
         ROSADO, SHAIANN D
         83 WINDHAM ST                            ¨ Contingent
         WILLIMANTIC CT 06226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1925 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2035 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5775. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $412.83                 $412.83
         ROSALES, JOSEPH R
         2008 STEPPING STONE                      ¨ Contingent
         NEW BRAUNFELS TX 78130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5776. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $257.76                 $257.76
         ROSALES, VALERIA
         11 BAYBERRY LN                           ¨ Contingent
         LEVITTOWN NY 11756-4001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5777. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.66                 $124.66
         ROSALES, VENTURA KARLA B
         521 MOONLIGHT DR                         ¨ Contingent
         GARLAND TX 75040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1926 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2036 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5778. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.41                 $128.41
         ROSALEZ, NOELIA
         5507 CLEARWATER DRIVE                    ¨ Contingent
         OKC OK 73179
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5779. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.26                  $37.26
         ROSARIO, DARISBETH
         CALLE 1                                  ¨ Contingent
         RIO LAJAS PARC
         DORADO PR 00646                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5780. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $508.21                 $508.21
         ROSAS, ALEJANDRA
         5623 W MYRTLE AVE                        ¨ Contingent
         APT 7
         GLENDALE AZ 85301                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1927 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2037 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5781. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $379.44                 $379.44
         ROSAS, CLAUDETT
         10074 MEADOWS CT                         ¨ Contingent
         FELLSMERE FL 32948
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5782. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $235.08                 $235.08
         ROSAS, HEIDI
         139 S AVE 52                             ¨ Contingent
         2
         LOS ANGELES CA 90042                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5783. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,835.55               $2,835.55
         ROSAS, MARIA L
         2650 N ORACLE RD                         ¨ Contingent
         APT 1017
         TUCSON AZ 85705-4392                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1928 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2038 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5784. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $225.00                 $225.00
         ROSAS, REAL CRYSTAL
         1130 BUSH AVE.                           ¨ Contingent
         SAINT PAUL MN 55106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5785. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.72                 $123.72
         ROSBACK, ALYSIA I
         161 E FROG ACRES                         ¨ Contingent
         SHELTON WA 98584
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5786. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.47                 $192.47
         ROSCOE, COURTNEY
         648 CHERRY ST                            ¨ Contingent
         DAYTONA BEACH FL 32114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1929 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2039 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5787. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,291.97               $3,291.97
         ROSE, KIMBERLY
         1442 ELIZABETH BLVD                      ¨ Contingent
         PITTSBURGH PA 15221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5788. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $400.56                 $400.56
         ROSE, LAUREN A
         700 LOWER STATE RD                       ¨ Contingent
         11-C04
         NORTH WALES PA 19454                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5789. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $256.15                 $256.15
         ROSENBAUM, KALEY R
         108 GRAY ROAD                            ¨ Contingent
         BRISTOL TN 37620
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1930 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2040 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5790. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.99                  $32.99
         ROSENTHAL, ASHLEY J
         3026 GARLAND STREET                      ¨ Contingent
         ERIE PA 16506
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5791. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.22                 $133.22
         ROSS, ALEXYS
         76 SOUTH WATER ST                        ¨ Contingent
         EAST WINDSOR CT 06088
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5792. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.29                 $252.29
         ROSS, AMY L
         3196 BRACKENWOOD PLACE                   ¨ Contingent
         EL DORADO HILLS CA 96762
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1931 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2041 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5793. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $211.60                 $211.60
         ROSS, ANNAIS
         615 STONEWHEEL CT E                      ¨ Contingent
         MILLERSVILLE MD 21108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5794. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.69                 $123.69
         ROSS, CHELSEY N
         11001 OLD ST AUGUSTINE RD                ¨ Contingent
         1101
         JACKSONVILLE FL 32257                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5795. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.03                  $72.03
         ROSS, CHRISTAL
         1014 KAISER WAY                          ¨ Contingent
         FORT MILL SC 29715
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1932 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2042 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5796. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.80                  $27.80
         ROSS, HENNESSEY N
         3370 SAINT ROSE PARKWAY                  ¨ Contingent
         APT 2435
         HENDERSON NV 89052                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5797. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $452.41                 $452.41
         ROSS, KATELYN S
         1001 GRAY FOX COURT                      ¨ Contingent
         HOWELL MI 48843
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5798. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $485.97                 $485.97
         ROSS, MARY C
         619 MARY JO DRIVE                        ¨ Contingent
         JESSUP PA 18434
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1933 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2043 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5799. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.57                  $75.57
         ROSS, SAVANNAH R
         1621 BUTLER RD                           ¨ Contingent
         BEAVERDAM VA 23015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5800. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $580.56                 $580.56
         ROSS, WAKEENA
         152 MEADE AVE                            ¨ Contingent
         PASSAIC NJ 07055
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5801. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $161.47                 $161.47
         ROSSER, BRIANNA M
         1091 FABRY RD SE                         ¨ Contingent
         SALEM OR 97306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1934 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2044 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5802. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $383.10                 $383.10
         ROSS-LOPES, COTASHA D
         65 PRINCE STREET                         ¨ Contingent
         BROCKTON MA 02302
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5803. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $47.64                  $47.64
         ROSS-MCCOY, DESTINEE M
         29653 SHACKETT AVENUE                    ¨ Contingent
         MADISON HEIGHTS MI 48071
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5804. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $631.76                 $631.76
         ROSZAK, JADE A
         112 LINDEN ST.                           ¨ Contingent
         DAWSON MN 56232
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1935 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2045 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5805. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,505.44               $2,505.44
         ROTHERMEL, CHANDLER M
         161 EAST ARMUCHEE RD                     ¨ Contingent
         LAFAYETTE GA 30728
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5806. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.67                  $49.67
         ROTZINGER, AMANDA
         10189 BARREL RIDGE STREET                ¨ Contingent
         LAS VEGAS NV 89183
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5807. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.00                 $132.00
         ROUNDTREE, KILEY C
         1849 S. POWER. RD.                       ¨ Contingent
         #1297
         MESA AZ 85206                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1936 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2046 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5808. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $439.41                 $439.41
         ROUSE, CITRENBAUM AMANDA J
         755 DARIEN WAY                           ¨ Contingent
         SAN FRANCISCO CA 94127
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5809. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.28                 $158.28
         ROUZER, CATHERINE
         808 WALNUT STREET                        ¨ Contingent
         FRANKLIN IN 46131
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5810. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.96                  $30.96
         ROWE, CHANTE S
         1760 WINDWARD OAKS COURT                 ¨ Contingent
         KISSIMMEE FL 34746
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1937 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2047 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5811. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.46                  $30.46
         ROWELL, TIARA
         2306 123RD PL E                          ¨ Contingent
         PARRISH FL 34219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5812. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.34                 $184.34
         ROWLEY, BRECKYN
         1801 SW WASHBURN AVE                     ¨ Contingent
         118-B
         TOPEKA KS 66621                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5813. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $257.46                 $257.46
         ROXAS, JULIA M
         1122 N. DUBUQUE ST.                      ¨ Contingent
         8
         IOWA CITY IA 52245                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1938 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2048 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5814. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.60                 $186.60
         ROY, TAYLOR J
         23 BLOOMFIELD ST                         ¨ Contingent
         SEEKONK MA 02771
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5815. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $632.67                 $632.67
         ROYAL, SHAWNA L
         153 BAY STATE RD                         ¨ Contingent
         WORCESTER MA 01606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5816. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $15.58                  $15.58
         RUANE, REBECCA
         12328 MEDFORD RD                         ¨ Contingent
         PHILADELPHIA PA 19154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1939 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2049 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5817. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.88                  $74.88
         RUBALCABA, ALYSA A
         8131 NORTHPARK DRIVE                     ¨ Contingent
         RIVERSIDE CA 92508
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5818. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $226.44                 $226.44
         RUBALCABA, EVELYN
         277 BLOOMINGTON AVE                      ¨ Contingent
         124
         RIALTO CA 92376                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5819. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $118.56                 $118.56
         RUBIO, ALMA I
         1416 LA LILA AVE                         ¨ Contingent
         ARVIN CA 93203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1940 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2050 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5820. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,443.89               $1,443.89
         RUBIO, ESMERALDA
         1311 CENTER ST.                          ¨ Contingent
         RACINE WI 53403
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5821. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.43                  $63.43
         RUCKER, DAVID A
         5852 PRESCOTT CT                         ¨ Contingent
         CHARLOTTE NC 28269
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5822. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.00                  $98.00
         RUCKER, MYELLE A
         4612 NOLAND BLVD                         ¨ Contingent
         WILLIAMSBURG VA 23188
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1941 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2051 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5823. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.61                 $137.61
         RUDD, BRIANNA
         2615 JEFFERSON DR                        ¨ Contingent
         GREENVILLE NC 27858
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5824. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.99                 $119.99
         RUDY, LEAH A
         5 LIAM LANE                              ¨ Contingent
         CARLISLE PA 17015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5825. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.41                  $25.41
         RUEDA, ISABEL
         1611 RUNNING CREEK DR                    ¨ Contingent
         NORTH LAS VEGAS NV 89031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1942 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2052 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5826. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $298.90                 $298.90
         RUFFIN, KENEISHA M
         4104 CLIO STREET                         ¨ Contingent
         NEWORLEANS LA 70125
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5827. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.38                  $35.38
         RUFFIN, TONJANIQUE D
         583 DELMAR ST                            ¨ Contingent
         TERRYTOWN LA 70056
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5828. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $341.89                 $341.89
         RUFFINI, CHELSEA C
         212 FERNLEDGE DRIVE                      ¨ Contingent
         NEW KENSINGTON PA 15068
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1943 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2053 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5829. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,248.92               $7,248.92
         RUGE, ANDREA C
         42 WHARTON AVE                           ¨ Contingent
         MINE HILL NJ 07803
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5830. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,544.83               $1,544.83
         RUGGIERE, AARON T
         3335 E. SIMPSON AVE                      ¨ Contingent
         FRESNO CA 93703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5831. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,906.68               $1,906.68
         RUIZ, ALEJANDRA
         882 N. DRIFTWOOD AVE                     ¨ Contingent
         RIALTO CA 92676
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1944 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2054 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5832. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.59                  $65.59
         RUIZ, ANABEL M
         410 SPRING ST                            ¨ Contingent
         AURORA IL 60505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5833. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $287.57                 $287.57
         RUIZ, BANESSA C
         2718 ANDREA LN                           ¨ Contingent
         DALLAS TX 75228
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5834. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.61                  $74.61
         RUIZ, BRIANNA M
         43 FENNEC CT                             ¨ Contingent
         TINTON FALLS NJ 07753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1945 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2055 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5835. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.76                 $188.76
         RUIZ, CLARISSA
         1200 SAN PABLO ST NE                     ¨ Contingent
         1016
         ALBUQUERQUE NM 87110                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5836. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $390.48                 $390.48
         RUIZ, CRISTINA
         8326 E PORTOBELLO AVE                    ¨ Contingent
         MESA AZ 85212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5837. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $471.24                 $471.24
         RUIZ, DESTINEE J
         2012 N 40TH A ST                         ¨ Contingent
         WACO TX 76707
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1946 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2056 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5838. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.27                  $29.27
         RUIZ, ESMERALDA
         525 ELLIOTT ST SE                        ¨ Contingent
         GRAND RAPIDS MI 49507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5839. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.69                  $61.69
         RUIZ, ESTRADA ARLENE
         K21 ASTROMELIA                           ¨ Contingent
         TOA ALTA PR 00953
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5840. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.84                 $239.84
         RUIZ, MARI C
         1374 SW ADCOCK AVE                       ¨ Contingent
         PORT ST LUCIE FL 34953
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1947 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2057 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5841. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $172.44                 $172.44
         RUIZ, MIGUEL A
         1008 SUNSET STREET                       ¨ Contingent
         CALEXICO CA 92231
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5842. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.96                  $36.96
         RUIZ-SANCHEZ, JOANNA B
         13693 S. MARKS                           ¨ Contingent
         CARUTHERS CA 93609
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5843. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,471.34               $1,471.34
         RUMICK, JESSICA A
         1740 OSPREY LN                           ¨ Contingent
         LUTZ FL 33549-4117
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1948 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2058 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5844. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $237.86                 $237.86
         RUMPH, PATIENCE
         5 DUNHAVEN PLACE                         ¨ Contingent
         APT. 2A
         NOTTINGHAM MD 21236                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5845. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.32                  $79.32
         RUNNER, STEPHANIE N
         1300 VIRGINIA STREET                     ¨ Contingent
         205
         MCKEESPORT PA 15135                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5846. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.51                  $87.51
         RUSHING, AUTUMN
         332 CALHOUN BARN RD                      ¨ Contingent
         CALHOUN LA 71225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1949 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2059 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5847. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.91                  $68.91
         RUSSELL, AYOMI
         540 NW 4TH AVE                           ¨ Contingent
         APT. 3004
         FORT LAUDERDALE FL 33311                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5848. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,304.58               $1,304.58
         RUSSELL, CAYLA J
         8502 CONSTITUTION DRIVE                  ¨ Contingent
         CINCINNATI OH 45215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5849. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.52                 $132.52
         RUSSELL, JAUANA
         1345 WENLON DR                           ¨ Contingent
         3213 APT A
         MUFREESBORO TN 37130                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1950 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2060 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5850. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,261.81               $3,261.81
         RUSSELL, SAMANTHA J
         810 JONATHON LANE                        ¨ Contingent
         MUSKEGON MI 49442
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5851. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,349.63               $2,349.63
         RUSSELL, SHARI A
         56 BROOKSIDE AVE                         ¨ Contingent
         BRIDGEPORT CT 06606-1501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5852. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $512.11                 $512.11
         RUSSELL. COTRINA
         4211 YANCEYVILLE RD                      ¨ Contingent
         J
         BROWNS SUMMIT NC 27214                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1951 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2061 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5853. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $963.58                 $963.58
         RUTH, TAMEKIA
         1025 PROGRESS RD                         ¨ Contingent
         BATON ROUGE LA 70807
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5854. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,809.09               $2,809.09
         RUTLEDGE, CHRISTINE M
         421 BUFORD RD                            ¨ Contingent
         NORTH CHESTERFIELD VA 23235
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5855. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.20                  $88.20
         RUTLEDGE, MORGAN
         8916 WILLOW SPRINGS DRIVE                ¨ Contingent
         LOUISVILLE KY 40242
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1952 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2062 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5856. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.59                  $33.59
         RYAN, ERIN I
         1602 HUGHES DR                           ¨ Contingent
         CEDAR PARK TX 78613
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5857. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $254.62                 $254.62
         RYAN, KESS
         337 N PARK LANE                          ¨ Contingent
         SEYMOUR WI 54165
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5858. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.53                  $67.53
         RYCZEK, DENVER R
         2185 PANDORA DR                          ¨ Contingent
         STERLING HEIGHTS MI 48310
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1953 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2063 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5859. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.83                 $103.83
         RYKHUS, CAMIELLE G
         1335 POHL ROAD APT 8                     ¨ Contingent
         MANKATO MN 56001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5860. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.48                  $98.48
         SAAB, MADELYN J
         30 PARK LANE                             ¨ Contingent
         HOOKSETT NH 03106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5861. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,410.13               $2,410.13
         SAARI, SARAH M
         533 W CENTRAL AVE                        ¨ Contingent
         DAVIDSONVILLE MD 21035-1942
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1954 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2064 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5862. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,887.88               $2,887.88
         SAAVEDRA, ADRIANA M
         118 BRIGHT ST                            ¨ Contingent
         APT 1
         JERSEY CITY NJ 07302-4209                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5863. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.44                 $169.44
         SABALA, JUSTEEN
         1144 TRENTON PLACE                       ¨ Contingent
         MANTECA CA 95336
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5864. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.57                  $87.57
         SABALL, BREAUNNA L
         45 FREDONIAN ST                          ¨ Contingent
         SHIRLEY MA 01464
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1955 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2065 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5865. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $255.21                 $255.21
         SADDLER, ASIA
         118 COLLEGE DR                           ¨ Contingent
         9128
         HATTIESBURG MS 39406                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5866. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.92                  $69.92
         SADIKOT, SANA
         30 THOMAS ROAD                           ¨ Contingent
         EAST BRUNSWICK NJ 08816
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5867. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,066.80               $1,066.80
         SAECHAO, MELANIE K
         1128 S 299TH PL                          ¨ Contingent
         FEDERAL WAY WA 98003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1956 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2066 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5868. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.01                 $175.01
         SAENZ, GENESIS
         STR 155                                  ¨ Contingent
         PERCHAS
         MOROVIS PR 00687                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5869. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $756.95                 $756.95
         SAEZ, MILDRED A
         45 UNIVERSITY DR                         ¨ Contingent
         LONG BRANCH NJ 07740
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5870. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $781.70                 $781.70
         SAFOSCHNIK, ANTONIA
         86 REDWOOD LANE                          ¨ Contingent
         MASSAPEQUA PARK NY 11762
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1957 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2067 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5871. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $893.98                 $893.98
         SAGINAW CHARTER TOWNSHIP
         P.O. BOX 6400                            ¨ Contingent
         SAGINAW MI 48608
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.5872. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $303.02                 $303.02
         SAID, CHRISTINA
         24 HARRISON AVENUE                       ¨ Contingent
         EAST BRUNSWICK NJ 08816
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5873. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $340.10                 $340.10
         SAINT, JULIS NALTA
         4473 17TH PLACE SW                       ¨ Contingent
         NAPLES FL 34116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1958 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2068 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5874. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.53                 $219.53
         SAINTVIL, KAHINA
         142 NW 106 AVE                           ¨ Contingent
         PLANTATION FL 33324
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5875. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.53                 $192.53
         SAINVAL, SOCAENA
         3200 N ALAFAYA TRAIL                     ¨ Contingent
         APT 1120-C
         ORLANDO FL 32826                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5876. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,139.08               $2,139.08
         SAJDAK, ELIZABETH K
         701 MERRYTURN RD                         ¨ Contingent
         MADISON WI 53714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1959 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2069 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5877. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $329.89                 $329.89
         SAKO, NADIANY
         12219 MAJESTIC MAPLE DR                  ¨ Contingent
         CLARKSBURG MD 20871
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5878. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $801.23                 $801.23
         SALADO-RUBIO, ESLENDY
         8209 GEORGIA CT N                        ¨ Contingent
         BROOKLYN PARK MN 55445
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5879. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,970.16               $2,970.16
         SALAH, YASMIEN
         6628 WEST LLYOD DR                       ¨ Contingent
         WORTH IL 60482
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1960 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2070 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5880. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $264.34                 $264.34
         SALAHSHOUR, JASMIN P
         24319 BURBANK BLVD.                      ¨ Contingent
         WOODLAND HILLS CA 91367
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5881. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $293.63                 $293.63
         SALAMA, DANA
         8154 FOREST PARK DR N                    ¨ Contingent
         APT 12
         CORDOVA TN 38018                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5882. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,693.02               $2,693.02
         SALAMEH, SIMON M
         3507 PECAN PLACE                         ¨ Contingent
         FAIRFAX VA 22033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1961 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2071 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5883. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.40                 $146.40
         SALAN, ALEXANDRA M
         757 CARDINAL ST                          ¨ Contingent
         BEAUMONT CA 92223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5884. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $501.93                 $501.93
         SALAS, BRISSA E
         22427 HIGHFIELD RIDGE LN                 ¨ Contingent
         SPRING TX 77373
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5885. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.08                 $160.08
         SALAS, CYNTHIA
         2960 HANNA AVE                           ¨ Contingent
         FORT WORTH TX 76106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1962 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2072 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5886. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $586.73                 $586.73
         SALAS, ELIZABETH
         5309 E ESCONDIDO CIR                     ¨ Contingent
         MESA AZ 85206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5887. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $741.64                 $741.64
         SALAS, KATARI M
         43C VIEJAS GRADE ROAD                    ¨ Contingent
         ALPINE CA 91903
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5888. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.74                 $113.74
         SALAS, KATRINA A
         204 CATALINA AVE                         ¨ Contingent
         PACIFICA CA 94044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1963 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2073 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5889. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $482.59                 $482.59
         SALAS, KIMBERLY
         110533 FIELDSTONE CIR F33                ¨ Contingent
         CHASKA MN 55318
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5890. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.40                 $239.40
         SALAS, MAHALYN T
         286 TALUS ST.                            ¨ Contingent
         CHULA VISTA CA 91911
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5891. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,300.78               $1,300.78
         SALAZAR, JESSICA
         325 WEST MAPLE AVE                       ¨ Contingent
         BOUND BROOK NJ 08805
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1964 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2074 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5892. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,593.08               $3,593.08
         SALAZAR, MARLENE K
         2466 KEVIN CT                            ¨ Contingent
         ALPINE CA 91901
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5893. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.40                 $246.40
         SALAZAR, ROSARIO
         5510 W 35TH ST.                          ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5894. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.18                 $176.18
         SALAZAR, VERONICA
         425 N.W. 95TH                            ¨ Contingent
         OKLAHOMA CITY OK 73114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1965 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2075 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5895. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.24                  $36.24
         SALAZAR, VICTOR A
         10636 10TH AVE                           ¨ Contingent
         HESPERIA CA 92345
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5896. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,190.83               $1,190.83
         SALAZAR, XIOMARA
         11723 BROAK OAK CT                       ¨ Contingent
         ORLANDO FL 32837
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5897. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.91                  $31.91
         SALCEDO, EVELYN
         2309 SW CHOCTAW ST                       ¨ Contingent
         BENTONVILLE AR 72712-7049
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1966 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2076 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5898. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.64                 $159.64
         SALDANA, ALEJANDRA
         5301 E. MCKINNEY ST                      ¨ Contingent
         TRLR 443
         DENTON TX 76208                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5899. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $305.73                 $305.73
         SALDANA, LYDIA E
         5260 SW 111TH AVE                        ¨ Contingent
         MIAMI FL 33165
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5900. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $475.15                 $475.15
         SALDANA, PRISCILLA L
         370 CASA NORTE DR.                       ¨ Contingent
         1025
         NORTH LAS VEGAS NV 89031                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1967 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2077 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5901. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.80                 $103.80
         SALDANA, REYNA A
         16977 CHOLLA AVE                         ¨ Contingent
         HESPERIA CA 92345
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5902. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.20                  $94.20
         SALDANA, RIKKI M
         1971 GLARNER ST                          ¨ Contingent
         HOLLISTER CA 95023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5903. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.66                 $110.66
         SALDANA, STEPHANIE
         9308 W. MILKWEED LOOP RD                 ¨ Contingent
         PHOENIX AZ 85037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1968 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2078 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5904. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,294.52               $1,294.52
         SALDIVAR, EVELYN
         653 OLD NICHOLS RD                       ¨ Contingent
         RONKONKOMA NY 11779
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5905. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $172.51                 $172.51
         SALDIVAR, MICHELLE
         1717 SUNSET AVE                          ¨ Contingent
         8
         WAUKEGAN IL 60087                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5906. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.71                 $127.71
         SALGADO, BRENDA
         1524 SEVEN PINES ROAD                    ¨ Contingent
         SPRINGFIELD IL 62704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1969 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2079 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5907. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $168.84                 $168.84
         SALGADO, DAPHNE N
         515 W HARVARD ST                         ¨ Contingent
         21
         GLENDALE CA 91204                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5908. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,326.79               $1,326.79
         SALGADO, ISABEL A
         3016 VALWOOD PKWY                        ¨ Contingent
         FARMERS BRANCH TX 75234-3604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5909. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,781.26               $2,781.26
         SALINAS, KRISTIE Y
         6320 NANCY ELLEN ST                      ¨ Contingent
         AMARILLO TX 79119-6650
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1970 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2080 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5910. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $684.42                 $684.42
         SALINAS, LYSETT G
         709 RUTH COURT                           ¨ Contingent
         APT B
         NAVASOTA TX 77868                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5911. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.08                  $42.08
         SALINAS, TAINA S
         107 E. SPRINGFIELD                       ¨ Contingent
         2713 N. MENARD
         CHAMPAIGN IL 61820                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5912. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $649.97                 $649.97
         SALINAS, TORRES YARITZA
         413 OJAI ROAD                            ¨ Contingent
         SANTA PAULA CA 93060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1971 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2081 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5913. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.65                 $132.65
         SALLIOTTE, SABRINA L
         512 SUNNYGLADE                           ¨ Contingent
         CLIFTON CO 81520
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5914. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.33                 $192.33
         SALMO, MONICA C
         7396 WOODBAIR LANE WEST BLOOMF           ¨ Contingent
         WEST BLOOMFLIED MI 48322
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5915. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.64                 $146.64
         SALSEDO, ERIKA A
         331 W VINE ST                            ¨ Contingent
         STOCKTON CA 95203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1972 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2082 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5916. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $482.47                 $482.47
         SALTERS, MIRANDA D
         4013 LIFESTYLE ROAD                      ¨ Contingent
         FAYETTEVILLE NC 28312
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5917. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.40                  $71.40
         SALVADOR, ALIA E
         1688 HUME DR                             ¨ Contingent
         SANGER CA 93657
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5918. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $222.53                 $222.53
         SALVATO, BELLA I
         1866 JACKSONVILLE RD                     ¨ Contingent
         BAGDAD KY 40003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1973 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2083 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5919. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $303.60                 $303.60
         SAMANIEGO, JESSICA
         8550 BOYSON ST                           ¨ Contingent
         DOWNEY CA 90242-3638
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5920. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,438.20               $1,438.20
         SAMAYOA, GLENDY J
         5411 W 24TH PLACE                        ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5921. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,988.22               $1,988.22
         SAMEK, BRITTANY A
         458 CONGRESS STREET                      ¨ Contingent
         NORTH VERSAILLES PA 15137
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1974 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2084 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5922. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $298.95                 $298.95
         SAMES, ADRIENNE J
         13508 HOLLOW COVE                        ¨ Contingent
         TAMPA FL 33613
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5923. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $198.00                 $198.00
         SAMHAN, ZEINA
         9208 S 53RD CT                           ¨ Contingent
         OAK LAWN IL 60453
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5924. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $445.85                 $445.85
         SAMMAN, SAMANTHA E
         1488 CASEY LANE                          ¨ Contingent
         PORT ORANGE FL 32129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1975 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2085 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5925. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.44                 $111.44
         SAMMY, GILLIAN V
         3209 DUNDEE ST                           ¨ Contingent
         EL PASO TX 79925
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5926. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $668.20                 $668.20
         SAMPUOR, RONZA
         556 BRIGHTON AVE.                        ¨ Contingent
         6
         MODESTO CA 95355                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5927. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.31                 $109.31
         SAMS, ASHLEIGH L
         5465 N. SCARSDALE CIRCLE                 ¨ Contingent
         RENO NV 89502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1976 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2086 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5928. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.93                 $200.93
         SAMUELS, LOGAN T
         7518 JAMESON RD                          ¨ Contingent
         PARMA OH 44129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5929. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $12.00                  $12.00
         SAN DIEGO COUNTY RECORDER
         1600 PACIFIC HIGHWAY ROOM 162            ¨ Contingent
         SAN DIEGO CA 92101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.5930. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $292.80                 $292.80
         SAN, GABRIEL CHRISTINE
         237 CALDWELL LOOP                        ¨ Contingent
         JACKSONVILLE NC 28546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1977 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2087 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5931. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.42                 $131.42
         SAN, JULE MACKENZI M
         3434 CASTLEROCK LN                       ¨ Contingent
         GARLAND TX 75044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5932. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.86                 $141.86
         SANBORN, AMBER
         1549 TEXAS AVE                           ¨ Contingent
         GRAND JUNCTION CO 81501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5933. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.20                 $181.20
         SANCHEZ, ALIDA L
         5074 JONES AVE                           ¨ Contingent
         RIVERSIDE CA 92505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1978 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2088 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5934. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $553.41                 $553.41
         SANCHEZ, ALONDRA
         11219 EVESBOROUGH DR                     ¨ Contingent
         HOUSTON TX 77099
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5935. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,274.57               $2,274.57
         SANCHEZ, AMEYALI
         918 DESOTO STREET                        ¨ Contingent
         2
         SAINT PAUL MN 55130                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5936. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.48                 $240.48
         SANCHEZ, ANDREINA
         1002 EL CENTRO AVE                       ¨ Contingent
         APT 1
         EL CENTRO CA 92243-2051                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1979 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2089 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5937. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.69                 $215.69
         SANCHEZ, ANGELA M
         5720 DAVIS RD                            ¨ Contingent
         WALKERTOWN NC 27051
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5938. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.77                  $95.77
         SANCHEZ, ARLENY Y
         7379 STERLING SPRINGS WAY                ¨ Contingent
         BURLINGTON KY 41005
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5939. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $474.21                 $474.21
         SANCHEZ, BELLA
         288 RICHNECK ROAD                        ¨ Contingent
         NEWPORT NEWS VA 23608
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1980 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2090 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5940. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $576.22                 $576.22
         SANCHEZ, BRITTANY A
         4527 SHADBERRY DR                        ¨ Contingent
         TAMPA FL 33624
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5941. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,381.44               $1,381.44
         SANCHEZ, BRITTNY
         7808 BAYSHORE CT.                        ¨ Contingent
         FT WORTH TX 76179
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5942. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,121.03               $1,121.03
         SANCHEZ, CECILIA D
         2567 FOLSOM                              ¨ Contingent
         2
         SAN FRANCISCO CA 94110                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1981 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2091 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5943. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.88                  $33.88
         SANCHEZ, CHRYSTIN
         4223 N 83RD DR                           ¨ Contingent
         PHOENIX AZ 85037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5944. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $183.01                 $183.01
         SANCHEZ, GISELLE
         4100 ULINE AVE                           ¨ Contingent
         ALEXANDRIA VA 22304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5945. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.24                  $90.24
         SANCHEZ, GUERRERO REBECCA
         485 N CITRUS AVE                         ¨ Contingent
         5
         ESCONDIDO CA 92027                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1982 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2092 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5946. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $352.80                 $352.80
         SANCHEZ, JACQUALYN A
         206 PUEBLO ROAD                          ¨ Contingent
         CORONA CA 92882
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5947. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.64                 $104.64
         SANCHEZ, JIMENEZ STEPHANEE
         509 N BERENDO ST                         ¨ Contingent
         109
         LOS ANGELES CA 90004                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5948. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $723.42                 $723.42
         SANCHEZ, KELSEY E
         62 CABOT STREET #6                       ¨ Contingent
         BEVERLY MA 01915
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1983 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2093 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5949. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.33                  $44.33
         SANCHEZ, MARCELLA M
         22459 WEST LOWER BUCKEYE                 ¨ Contingent
         BUCKEYE AZ 85336
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5950. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.82                  $37.82
         SANCHEZ, MARGARITA
         3924 LOGAN AVENUE                        ¨ Contingent
         SAN DIEGO CA 92113
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5951. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.14                  $77.14
         SANCHEZ, MARICELA
         3610 HIGH MESA DR.                       ¨ Contingent
         DALLAS TX 75234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1984 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2094 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5952. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.23                  $71.23
         SANCHEZ, MARITZA J
         485 ESTES ST                             ¨ Contingent
         GURNEE IL 60031-2884
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5953. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $642.57                 $642.57
         SANCHEZ, NEREIDA
         573 W SAN YSIDRO BLVD #114               ¨ Contingent
         APT 12
         SAN YSIDRO CA 92173                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5954. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.00                 $132.00
         SANCHEZ, OLIVIA A
         230 MANSFIELD RD                         ¨ Contingent
         HOLLISTER CA 95023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1985 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2095 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5955. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.44                  $73.44
         SANCHEZ, PATRICIA
         5508 DESERT WILLOW LN                    ¨ Contingent
         KNIGHTDALE NC 27545
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5956. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.40                  $58.40
         SANCHEZ, SAMANTHA A
         4727 HOLLYBROOK LN.                      ¨ Contingent
         HOUSTON TX 77039
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5957. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $253.28                 $253.28
         SANCHEZ, SANDRA J
         1204 10TH ST.                            ¨ Contingent
         PLANO TX 75074
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1986 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2096 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5958. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $531.18                 $531.18
         SANCHEZ, SANDY J
         14236 ROSCOE BLVD                        ¨ Contingent
         APT 1
         PANORAMA CITY CA 91402                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5959. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $545.10                 $545.10
         SANCHEZ, SELENA M
         1317 EAST POLK                           ¨ Contingent
         HARLINGEN TX 78550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5960. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,842.97               $1,842.97
         SANCHEZ, SHAWNKIRA
         7530 ORCHARD ST                          ¨ Contingent
         APT 40
         RIVERSIDE CA 92504                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1987 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2097 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5961. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.46                 $184.46
         SANCHEZ, SIERRA
         2717 JEFFERSON ST                        ¨ Contingent
         ALBUQUERQUE NM 87110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5962. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,931.17               $1,931.17
         SANCHEZ, VANESSA M
         22491 DE BERRY APT N173                  ¨ Contingent
         GRAND TERRACE CA 92313
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5963. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $393.17                 $393.17
         SANCHEZ, VANESSA S
         4267 KLEIN MEADOWS                       ¨ Contingent
         NEW BRAUNFELS TX 78130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1988 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2098 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5964. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $245.16                 $245.16
         SANCHEZ, VICTORIA
         2170 RAIN DROP CIR                       ¨ Contingent
         PITTSBURG CA 94565
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5965. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $336.12                 $336.12
         SANCHEZ, VIVIAN
         3516 W 65TH PL                           ¨ Contingent
         CHICAGO IL 60629
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5966. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.29                  $95.29
         SANCHEZ, YADIRA R
         3902 LANCOME ST                          ¨ Contingent
         LAS VEGAS NV 89115
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1989 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2099 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5967. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $586.48                 $586.48
         SANCHEZ, YESSENIA
         3676 DEL SOL BLVD                        ¨ Contingent
         B
         SAN DIEGO CA 92154                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5968. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,345.14               $1,345.14
         SANCHEZ, YOLANDA L
         5076 SAVANNAH RIVER WAY                  ¨ Contingent
         107
         ORLANDO FL 32839                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5969. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,568.16               $1,568.16
         SANCHEZ-PREIADO, DAYSY
         14230 MILITARY RD S                      ¨ Contingent
         TUKWILA WA 98168
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1990 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2100 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5970. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,437.81               $1,437.81
         SANDELL, KAYLA M
         3814 YORKLAND DR NW APT. 1               ¨ Contingent
         COMSTOCK PARK MI 49321
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5971. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.70                  $66.70
         SANDER, JACI L
         705 HEAVENS DR.                          ¨ Contingent
         APT. 3
         MANDEVILLE LA 70471                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5972. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $189.24                 $189.24
         SANDERS, COURTNEY L
         4649 TEMESCAL CANYON RD                  ¨ Contingent
         APT 102
         CORONA CA 92883                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1991 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2101 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5973. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.81                 $114.81
         SANDERS, CULLEN A
         397 N RANGE RD                           ¨ Contingent
         COCOA FL 32926
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5974. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.13                  $73.13
         SANDERS, DANYELLE S
         2301 KENSINGTON PLACE APT H              ¨ Contingent
         ASHEVILLE NC 28803
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5975. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.76                 $125.76
         SANDERS, HALEY D
         4616 CAROL LANE                          ¨ Contingent
         SHINGLE SPRINGS CA 95682
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1992 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2102 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5976. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.57                  $69.57
         SANDERS, IJANAE
         301 PARKWEST                             ¨ Contingent
         U5
         LANSING MI 48917                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5977. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.00                  $36.00
         SANDERS, KAYLA R
         3820 PENDIENTE CT                        ¨ Contingent
         N208
         SAN DIEGO CA 92124                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5978. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $248.75                 $248.75
         SANDERS, TASHA N
         1915 ROOF STREET                         ¨ Contingent
         COLUMBIA SC 29223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1993 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2103 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5979. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $22.64                  $22.64
         SANDERS, WHITNEY N
         3229 CLEARVIEW DR. SW                    ¨ Contingent
         MARIETTA GA 30060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5980. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $244.40                 $244.40
         SANDERSON, ERYKA
         35 W GREENWICH ST                        ¨ Contingent
         BETHLEHEM PA 18018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5981. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.76                 $122.76
         SANDOVAL, ALMA D
         23347 AVE 11                             ¨ Contingent
         MADERA CA 93637
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1994 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2104 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5982. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $265.86                 $265.86
         SANDOVAL, ALMA R
         844 GOLF COURSE RD                       ¨ Contingent
         ANTHONY NM 88021
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5983. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,369.29               $2,369.29
         SANDOVAL, LAURA
         407 W BUCKTHORN ST                       ¨ Contingent
         INGLEWOOD CA 90301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5984. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.71                 $176.71
         SANDOVAL, MARTHA I
         8944 LANDER ST.                          ¨ Contingent
         WESTMINSTER CO 80031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1995 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2105 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5985. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.32                 $229.32
         SANDOVAL, NANCY C
         18725 RUNNYMEDE STREET                   ¨ Contingent
         RESEDA CA 91335
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5986. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.36                  $29.36
         SANDOVAL, RAVEN D
         3669 PIN OAK AVE                         ¨ Contingent
         NEW ORLEANS LA 70131
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5987. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.53                  $98.53
         SANDOVAL, YOSELIN
         9281 BAYBERRY AVE                        ¨ Contingent
         MANASSAS VA 20110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1996 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2106 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5988. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.08                  $72.08
         SANGARE, RACKY
         205 SW 75TH ST                           ¨ Contingent
         GAINESVILLE FL 32607
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5989. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.50                 $133.50
         SANGHAVI, JASH
         12781 SW 45TH DR                         ¨ Contingent
         MIRAMAR FL 33027
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5990. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.49                 $147.49
         SANKS, ALLAZIA M
         922 HOLDERNESS LANE                      ¨ Contingent
         CINCINNATI OH 45240
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1997 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2107 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5991. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.84                  $75.84
         SANTAELLA, BRIANNA
         133 4TH PLACE                            ¨ Contingent
         MCFARLAND CA 93250
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5992. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,167.02               $1,167.02
         SANTANA, ALEXANDRA
         CALLE TOPACIO                            ¨ Contingent
         D-8 URB. COUNT
         CANOVANAS PR 00729                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5993. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $556.34                 $556.34
         SANTANA, ALONDRA
         13 PLEASANT CIRCLE                       ¨ Contingent
         METHUEN MA 01844
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1998 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2108 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5994. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.10                 $122.10
         SANTANA, ALYSSA M
         5706 W GEORGE                            ¨ Contingent
         2
         CHICAGO IL 60634                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5995. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $247.37                 $247.37
         SANTANA, LLEREMI
         14101 SW 272ND ST                        ¨ Contingent
         HOMESTEAD FL 33032
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5996. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.84                  $27.84
         SANTANA, LUCERO J
         914 S CHESTNUT                           ¨ Contingent
         MCKINNEY TX 75069
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 1999 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2109 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.5997. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $234.33                 $234.33
         SANTANA, TANYA M
         85 ARCH ST                               ¨ Contingent
         202
         NEW BRITAIN CT 06052                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5998. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.35                  $39.35
         SANTIAGO, ALEXEA L
         1821 WISDOM DRIVE                        ¨ Contingent
         AMARILLO TX 79106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.5999. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.31                 $149.31
         SANTIAGO, ASHLEY M
         2809 LYNDSCAPE ST                        ¨ Contingent
         ORLANDO FL 32833
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2000 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2110 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6000. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.32                 $116.32
         SANTIAGO, GABRIELA
         EL FARO                                  ¨ Contingent
         #10
         VEGA BAJA PR 00693                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6001. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $12.98                  $12.98
         SANTIAGO, IVELISSE
         129 LOCUST STREET                        ¨ Contingent
         3W
         WATERBURY CT 06704                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6002. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.89                 $106.89
         SANTIAGO, JAHZLYN M
         22 BROOKS STREET                         ¨ Contingent
         CRANSTON RI 02920
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2001 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2111 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6003. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.21                  $62.21
         SANTIAGO, JONATHAN
         AVE FRAGOSO                              ¨ Contingent
         CAROLINA PR 00985
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6004. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.72                 $176.72
         SANTIAGO, KATIRIA
         60 HOWARD AVE                            ¨ Contingent
         LANCASTER PA 17602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6005. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.20                  $40.20
         SANTIAGO, KELSIE
         852 HOWARD AVE                           ¨ Contingent
         2
         BRIDGEPORT CT 06605                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2002 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2112 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6006. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,690.49               $1,690.49
         SANTIAGO, RACHEL
         731 STONE RD                             ¨ Contingent
         ROCHESTER NY 14616-4428
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6007. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.01                 $170.01
         SANTIBANEZ, EMILY N
         13102 S WAYSIDE DR                       ¨ Contingent
         HOUSTON TX 77048
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6008. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.40                  $62.40
         SANTOS, ANDREA E
         7783 GLADE CT.                           ¨ Contingent
         MANASSAS VA 20112
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2003 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2113 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6009. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $342.78                 $342.78
         SANTOS, HAYDEE L
         CALLE 1D                                 ¨ Contingent
         COND JARDINES
         SAN JUAN PR 00918                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6010. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.84                 $177.84
         SANTOS, KAYLA S
         816 CELESTINE CIR                        ¨ Contingent
         VACAVILLE CA 95687
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6011. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,453.89               $2,453.89
         SANTOS, MARIA DE LOS A
         CALLE 16 BUZON 624                       ¨ Contingent
         PARC. 201
         LA CENTRAL PR 00729                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2004 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2114 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6012. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.46                 $180.46
         SANTOS, SULEIMY R
         401 TERAVISTA PARKWAY                    ¨ Contingent
         928
         ROUND ROCK TX 78665                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6013. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.07                  $99.07
         SANTOS, TAYLOR L
         341 CANTERBURY CIRCLE NW                 ¨ Contingent
         FORT WALTON BEACH FL 32548
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6014. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.02                  $93.02
         SANTOS-BERMUDES, PALOMA
         94-1081 NALII ST                         ¨ Contingent
         WAIPAHU HI 96797
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2005 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2115 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6015. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $588.31                 $588.31
         SAPUTO, MELISSA K
         813 NORTHAMPTON DRIVE                    ¨ Contingent
         CRYSTAL LAKE IL 60014
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6016. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.68                 $130.68
         SARACENO, JACQUELINE
         5304 GROSSETO WAY                        ¨ Contingent
         MYRTLE BEACH SC 29579
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6017. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.06                 $127.06
         SARAGENA, MARVI GAIL M
         91-069 FORT WEAVER ROAD                  ¨ Contingent
         1
         EWA BEACH HI 96706                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2006 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2116 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6018. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $449.90                 $449.90
         SARGENT, JAYDEN A
         5713 N. TERRACE CT. 3                    ¨ Contingent
         PEORIA HEIGHTS IL 61616
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6019. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $621.30                 $621.30
         SARMIENTO, CATHERINE A
         246 SUYDAM ST.                           ¨ Contingent
         1L
         BROOKLYN NY 11237                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6020. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,526.77               $1,526.77
         SARMIENTO, JASMINE M
         3439 MARION STREET                       ¨ Contingent
         DENVER CO 80205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2007 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2117 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6021. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.76                 $127.76
         SATCHELL, ASHLEY
         623 CHATHAM RD                           ¨ Contingent
         FAIRLESS HILLS PA 19030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6022. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,563.87               $2,563.87
         SAUCEDO, BRIANA I
         6022 CAPROCK CT.                         ¨ Contingent
         APT. 1301
         EL PASO TX 79912                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6023. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $360.24                 $360.24
         SAUCEDO, JANNELLE
         1277 MIRAMAR WALK                        ¨ Contingent
         OXNARD CA 93035
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2008 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2118 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6024. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.76                 $200.76
         SAUCEDO, ROSEMARY N
         1715 TARGET AVENUE                       ¨ Contingent
         TULARE CA 93274
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6025. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.43                 $149.43
         SAUER, ALEXIS N
         1831 CLEARWOOD RD                        ¨ Contingent
         BALTIMORE MD 21234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6026. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.94                  $96.94
         SAUNDERS, CALEY
         745 TRACY LN UNIT 146                    ¨ Contingent
         CLARKSVILLE TN 37040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2009 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2119 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6027. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.00                 $110.00
         SAVAGE, KAITLYN M
         99 MAGNOLIA DRIVE                        ¨ Contingent
         GOFFSTOWN NH 03045
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6028. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.97                 $129.97
         SAVAGE, WHITNEY R
         27447 ELSWORTH ST                        ¨ Contingent
         FARMINGTON HILLS MI 48336
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6029. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.77                  $59.77
         SAVINDA, JOANNE M
         321 POE DR                               ¨ Contingent
         PENN HILLS PA 15235-4647
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2010 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2120 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6030. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $250.78                 $250.78
         SAVOT, DEJA A
         310 CAROLINE DR                          ¨ Contingent
         A12
         LAPLATA MD 20646                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6031. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.00                  $65.00
         SAWAKED, LANA
         7211 OTIS COURT                          ¨ Contingent
         ARVADA CO 80003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6032. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.54                 $131.54
         SAYAVONG, BOUALAY L
         2016 NORTH 34TH                          ¨ Contingent
         FORT SMITH AR 72904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2011 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2121 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6033. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.05                 $140.05
         SAYLES, HANNAH J
         7452 ERIE AVE SW                         ¨ Contingent
         NAVARRE OH 44662
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6034. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $118.15                 $118.15
         SBARRA, DOMINIQUE J
         225 S LIBERTY ST                         ¨ Contingent
         HAMMONTON NJ 08037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6035. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $52.50                  $52.50
         SCACCIA, JOSLYNN
         130 BUSH ST                              ¨ Contingent
         BUFFALO NY 14207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2012 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2122 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6036. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $279.13                 $279.13
         SCAGLIONE, ALLYAH N
         387 TOMS RIVER ROAD                      ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6037. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,076.46               $2,076.46
         SCALES, REBA
         3306 TRAVIS AVE                          ¨ Contingent
         MIDLAND TX 79703-7128
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6038. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.65                 $162.65
         SCALLION, KIRA M
         2541 CHAUCER COURT                       ¨ Contingent
         EUGENE OR 97405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2013 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2123 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6039. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $248.64                 $248.64
         SCARABINO, MERISSA A
         7 PORLAMAR CT                            ¨ Contingent
         TOMS RIVER NJ 08757
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6040. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $235.78                 $235.78
         SCARBOROUGH, SARAH F
         2931 BIRCHCREEK DR.                      ¨ Contingent
         WESLEY CHAPEL FL 33544
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6041. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.53                  $35.53
         SCARBROUGH, ASHLEY N
         209 NORTH CONGRESS ST                    ¨ Contingent
         MENDENHALL MS 39114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2014 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2124 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6042. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,845.80               $1,845.80
         SCHAAR, LAUREN
         953 DEERFIELD ST                         ¨ Contingent
         ONTARIO CA 91761
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6043. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.59                  $76.59
         SCHACK, WHITNEY N
         379 WEST MEYERS AVE                      ¨ Contingent
         HAZEL PARK MI 48030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6044. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.20                 $184.20
         SCHAEFFER, TARA
         4 THAYER POND DRIVE UNIT 24              ¨ Contingent
         NORTH OXFORD MA 01537
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2015 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2125 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6045. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $779.90                 $779.90
         SCHEERSCHMIDT, LEXI R
         2200 WILLOW OAK CIR.                     ¨ Contingent
         212
         VA BEACH VA 23451                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6046. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $222.56                 $222.56
         SCHENK, SARAH N
         1325 ANITA STREET                        ¨ Contingent
         PUEBLO CO 81001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6047. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $97.90                  $97.90
         SCHERBERGER, MEGAN L
         5925 W MARY JANE LANE                    ¨ Contingent
         GLENDALE AZ 85306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2016 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2126 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6048. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.80                 $106.80
         SCHETROMA, REGINA
         1480 N BAILEY RD                         ¨ Contingent
         DOWNINGTOWN PA 19335
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6049. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,648.61               $3,648.61
         SCHICK, CARRIE L
         725 ST.CLAIR AVE                         ¨ Contingent
         ERIE PA 16505-3230
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6050. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.96                 $102.96
         SCHITA, TIFFANY A
         2627 NW 33RD ST                          ¨ Contingent
         APT 2212
         OAKLAND PARK FL 33309                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2017 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2127 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6051. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $531.85                 $531.85
         SCHLEGEL, ANNE M
         302 JACQUELINE LANE                      ¨ Contingent
         JACKSON MO 63755
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6052. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,195.28               $4,195.28
         SCHLEGEL, AUBREANNA
         221 N VINE ST.                           ¨ Contingent
         WICHITA KS 67203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6053. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $10,751.09              $10,751.09
         SCHLUMP, CORY D
         317 GROVELAND AVE                        ¨ Contingent
         APT 109
         MINNEAPOLIS MN 55403                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2018 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2128 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6054. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,062.31               $3,062.31
         SCHLURENSAUER, TIFFANY K
         15 COTTAGE STREET                        ¨ Contingent
         SALT POINT NY 12578
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6055. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $396.41                 $396.41
         SCHMIDT, EMILY A
         3819 EAST AVE.                           ¨ Contingent
         #36
         LIVERMORE CA 94550                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6056. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.52                 $126.52
         SCHMIDT, SYDNEY
         14632 WHISPERING BREEZE DR.              ¨ Contingent
         FISHERS IN 46037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2019 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2129 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6057. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.20                 $131.20
         SCHMOLDT, SAMANTHA
         943 HOLLYBROOK DR                        ¨ Contingent
         INEZ TX 77968
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6058. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $348.89                 $348.89
         SCHNEBERGER, ALYSIA M
         7800 WOODMAN AVE                         ¨ Contingent
         APT 123
         PANORAMA CITY CA 91402                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6059. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $571.73                 $571.73
         SCHOENEMAN, STEPHANIE R
         1806 NE 41ST CIRCLE                      ¨ Contingent
         VANCOUVER WA 98663
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2020 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2130 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6060. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.51                 $158.51
         SCHOONMAKER, THERESIA A
         12 BEL AIR FARM RD                       ¨ Contingent
         MILLBROOK NY 12545
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6061. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.74                 $159.74
         SCHREINER, NICOLE M
         323 WELLINGTON CT                        ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6062. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $410.87                 $410.87
         SCHROEDER, SAMANTHA
         2096 WINDBROOK DR SE                     ¨ Contingent
         PALM BAY FL 32909
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2021 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2131 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6063. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.48                 $169.48
         SCHROTH, JAMIE L
         222 CEDAR GROVE ROAD                     ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6064. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,028.78               $1,028.78
         SCHULD, MIA R
         26159 HAWTHORNE COURT                    ¨ Contingent
         OLMSTED FALLS OH 44138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6065. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,891.00               $1,891.00
         SCHULTZ, SAMANTHA A
         1524 ROYAL GATE DR                       ¨ Contingent
         NEW BRAUNFELS TX 78132-2423
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2022 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2132 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6066. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $321.06                 $321.06
         SCHUSTER, JULIE L
         308 SAN GABRIEL STREET                   ¨ Contingent
         WINTER SPRINGS FL 32708
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6067. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,037.65               $5,037.65
         SCHWENDEMAN, AMY K
         1046 BAYRIDGE DRIVE                      ¨ Contingent
         LEWIS CENTER OH 43035
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6068. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $209.81                 $209.81
         SCIANNA, NATALIE E
         2113 SOUTH SORRENTO HILLS ROAD           ¨ Contingent
         SAINT AUGUSTINE FL 32092
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2023 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2133 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6069. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $616.67                 $616.67
         SCIMECA, ROSETTA M
         125 S ZURICH AVE                         ¨ Contingent
         EGG HARBOR CITY NJ 08215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6070. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.16                  $36.16
         SCIOLI, ANTHONY J
         611 ELM STREET                           ¨ Contingent
         BIRSDBORO PA 19508
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6071. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $89.91                  $89.91
         SCOTT, ARENITA
         2420 LYNCREST DR                         ¨ Contingent
         COLORADO SPRINGS CO 80918
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2024 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2134 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6072. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.74                  $66.74
         SCOTT, ASHLYN B
         3033 PORTULACA DRIVE                     ¨ Contingent
         ROUND ROCK TX 78681
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6073. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $224.63                 $224.63
         SCOTT, BREONA M
         72 FOXWELL BEND RD                       ¨ Contingent
         GLEN BURNIE MD 21061
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6074. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $0.00                   $0.00
         SCOTT, BRITTNEY
         31623 WALLER TOMBALL ROAD                ¨ Contingent
         WALLER TX 77484
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2025 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2135 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6075. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $403.71                 $403.71
         SCOTT, CORINNE
         10 NORLAND COURT                         ¨ Contingent
         SARATOGA SPRINGS NY 12866
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6076. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $338.00                 $338.00
         SCOTT, DARONDA A
         273 PULLMAN AVE                          ¨ Contingent
         ROCHESTER NY 14626
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6077. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.36                 $116.36
         SCOTT, HAILEY C
         700 BEVERLY HILLS RD APT #836            ¨ Contingent
         836
         HATTIESBURG MS 39401                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2026 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2136 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6078. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $201.26                 $201.26
         SCOTT, HALEY A
         1869 WATSON AVE                          ¨ Contingent
         APT. 2
         BRONX NY 10472                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6079. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.16                  $62.16
         SCOTT, KRISTIONA K
         3753 FAIRWAY DRIVE                       ¨ Contingent
         APT 22B
         LA MESA CA 91941                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6080. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.82                  $82.82
         SCOTT, TAEJAHA N
         288 WHEELER AVE                          ¨ Contingent
         BRIDGEPORT CT 06606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2027 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2137 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6081. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $336.72                 $336.72
         SCRUGGS, ANA J
         32571 ROTHENBERG DR                      ¨ Contingent
         TEMECULA CA 92592
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6082. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $606.92                 $606.92
         SCUDERI, JESSICA
         525 NW PINESAP PL                        ¨ Contingent
         JENSEN BEACH FL 34957
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6083. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,995.97               $1,995.97
         SCURRY, SAMANTHA
         191 CARLTON DR EAST                      ¨ Contingent
         SHIRLEY NY 11967
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2028 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2138 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6084. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $117.45                 $117.45
         SCUTT, HALEIGH
         21581 WEST 215TH ST                      ¨ Contingent
         SPRING HILL KS 66083
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6085. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $344.52                 $344.52
         SCYOC, KAYLA M
         435 ERIE COURT                           ¨ Contingent
         SHELBYVILLE KY 40065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6086. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.20                  $70.20
         SEAGO, KATHRYN
         325 OSTEMO PL.                           ¨ Contingent
         SOUTH BEND IN 46617
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2029 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2139 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6087. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.60                 $147.60
         SEALEY, DIAMOND L
         130-17 225TH ST                          ¨ Contingent
         NEW YORK NY 11413
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6088. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.46                 $200.46
         SEALS, COURTNEY B
         7440 NEW VISTA DR                        ¨ Contingent
         ASHLAND KY 41102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6089. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.20                  $70.20
         SEALS, KYLIE M
         4143 YOSEMITE BLVD                       ¨ Contingent
         SPC D2
         MODESTO CA 95357                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2030 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2140 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6090. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,090.58               $3,090.58
         SEARCY, KRISTEN L
         36811 THINBARK                           ¨ Contingent
         WAYNE MI 48184-2424
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6091. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $690.96                 $690.96
         SEBASTIAN, HENNESSY M
         487 DEBORAH DRIVE                        ¨ Contingent
         UTICA NY 13502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6092. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $234.34                 $234.34
         SECLETER, JULIA B
         1950 42ND WAY NORTH                      ¨ Contingent
         ST PETERSBURG FL 33713
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2031 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2141 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6093. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $54.96                  $54.96
         SEDA, CARMEN I
         53 KNIGHT ST                             ¨ Contingent
         53
         CENTRAL FALLS RI 02863                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6094. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.56                 $112.56
         SEDIVY, KELLEY D
         5 VILLA GARDENS COURT                    ¨ Contingent
         ROSEVILLE CA 95678
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6095. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.14                  $96.14
         SEEL, ANNIE M
         4249 SE WISCONSIN                        ¨ Contingent
         TOPEKA KS 66609
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2032 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2142 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6096. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $311.43                 $311.43
         SEELEY, HANNAH P
         1425 W ARROWHEAD ROAD                    ¨ Contingent
         DULUTH MN 55811
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6097. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.24                  $74.24
         SEGOBIA, ANNALYSE L
         1935 WYOMING AVE.                        ¨ Contingent
         LAS CRUCES NM 88001
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6098. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.40                 $124.40
         SEGUNDO, JATZIRI M
         2762 SCOTLAND DR                         ¨ Contingent
         COLUMBUS IN 47203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2033 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2143 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6099. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,498.16               $1,498.16
         SEGURA, BIANCA V
         2307 OAK BEACH BLVD                      ¨ Contingent
         SEBRING FL 33875
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6100. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $637.89                 $637.89
         SEIBEL, SAMANTHA
         2533 ALDRINGHAM ROAD                     ¨ Contingent
         TOLEDO OH 43606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6101. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,254.07               $6,254.07
         SEIBOLD, CHRISTINE S
         2759 RANCH ROAD 32                       ¨ Contingent
         BLANCO TX 78606-4704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2034 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2144 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6102. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,594.52               $2,594.52
         SEILER, DANIELLE A
         210 BOLIVAR DR                           ¨ Contingent
         YORKTOWN VA 23692-4917
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6103. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $8.91                   $8.91
         SEIVWRIGHT, AFRICA
         1685 WEDEKIND ROAD APT F                 ¨ Contingent
         APT F
         RENO NV 89512                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6104. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.64                  $29.64
         SEKANDER, DUNIA
         397 TYRONE STREET                        ¨ Contingent
         EL CAJON CA 92020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2035 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2145 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6105. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.56                 $184.56
         SELA, - BUDI JULIE A
         10581 GREENWOOD ROAD                     ¨ Contingent
         GLEN ALLEN VA 23059
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6106. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $494.90                 $494.90
         SELLERS, ASPEN N
         1824 W DONALD CIR                        ¨ Contingent
         BOISE ID 83706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6107. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.29                 $111.29
         SELVEY, KAYLYNN N
         415 4TH STREET                           ¨ Contingent
         NEW CUMBERLAND PA 17070
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2036 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2146 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6108. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $659.40                 $659.40
         SEMAS, JOCELYN M
         795 AUBURN ST                            ¨ Contingent
         BRIDGEWATER MA 02324
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6109. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,680.60               $3,680.60
         SEMIDEY, JESSICA
         12 EDDY ST                               ¨ Contingent
         CUMBERLAND RI 02864-7809
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6110. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.09                 $193.09
         SEMUHUNGU, AMADORE
         51142 BRIDLEWOOD CIRCLE                  ¨ Contingent
         GRANGER IN 46530
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2037 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2147 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6111. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $181.53                 $181.53
         SENAKIT, KAMPAN
         103 FIVE ISLAND BLVD                     ¨ Contingent
         #103
         PANAMA CITY BEACH FL 32407               ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6112. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.34                 $135.34
         SENEWIRATNE, YASARA
         4214 BRITTANY DRIVE                      ¨ Contingent
         ELLICOTT CITY MD 21043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6113. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.71                 $102.71
         SERBIAN, BAYLEE C
         3314 VINA COURT                          ¨ Contingent
         NORTH LAS VEGAS NV 89032
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2038 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2148 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6114. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.81                 $102.81
         SERGIO, CHRISTIAN E
         CN28 CALLE 153                           ¨ Contingent
         CALLE 153 CN28
         CAROLINA PR 00983-2043                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6115. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.52                 $141.52
         SERINO, MARIA J
         2800 TURNER RD #40                       ¨ Contingent
         SAN BENITO TX 78586
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6116. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.74                 $192.74
         SERNA, ISABELLA L
         2735 23RD STREET WEST                    ¨ Contingent
         BRADENTON FL 34205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2039 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2149 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6117. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $663.44                 $663.44
         SERNA, VICTORIA A
         1223 W CAMILE ST                         ¨ Contingent
         SANTA ANA CA 92703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6118. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $561.66                 $561.66
         SERRANO, ANGELICA M
         2329 W 66TH PLACE                        ¨ Contingent
         HIALEAH FL 33016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6119. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.48                 $108.48
         SERRANO, GUADALUPE
         220 LONE TREE RD                         ¨ Contingent
         HOLLISTER CA 95023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2040 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2150 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6120. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.81                  $94.81
         SERRAON, IDA LOUISSE
         200 DEERPATH RD.                         ¨ Contingent
         HICKORY CREEK TX 75065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6121. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,030.72               $3,030.72
         SERRATO, KARLA
         726 CYPRESS AVE                          ¨ Contingent
         FRESNO TX 77545-8474
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6122. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.42                  $57.42
         SERRATOS, TERESA J
         3929 REED ST. #1                         ¨ Contingent
         BOISE ID 83705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2041 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2151 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6123. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,610.40               $1,610.40
         SERRITOS, ELIZABETH A
         10320 CENTRAL AVE UNIT 307               ¨ Contingent
         OAK LAWN IL 60453
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6124. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,811.73               $2,811.73
         SERVELLON, KATYA Y
         3101 DULWICH DR                          ¨ Contingent
         NORTH CHESTERFIELD VA 23234-3809
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6125. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $436.39                 $436.39
         SETLAK-ANASTOS, LESLIE S
         4204 E. CHAPAROSA WAY                    ¨ Contingent
         CAVE CREEK AZ 85331
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2042 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2152 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6126. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.38                 $166.38
         SEVERINO, SOHEILA C
         2921 BERKLEY ST                          ¨ Contingent
         CAMDEN NJ 08105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6127. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $89.31                  $89.31
         SEYMORE, JASMINE A
         2772 N. 60TH ST.                         ¨ Contingent
         MILWAUKEE WI 53210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6128. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.85                 $176.85
         SHABAN, ONSHOUDA S
         112 TUMBLEBROOK ROAD                     ¨ Contingent
         MERIDEN CT 06450
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2043 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2153 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6129. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.94                 $106.94
         SHAFFER, CAMERON B
         128 WINDING WAY                          ¨ Contingent
         COLUMBIA SC 29212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6130. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.61                 $114.61
         SHAHID, JAVERIA
         55 BURNET ST                             ¨ Contingent
         AVENEL NJ 07001-1724
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6131. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $243.44                 $243.44
         SHANAHAN, HALAYNEA R
         2650 HORSESHOE TRAIL                     ¨ Contingent
         HASTINGS MI 49058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2044 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2154 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6132. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.76                  $95.76
         SHANKS, MEAGHAN
         1119 NEW BOSTON RD                       ¨ Contingent
         FALL RIVER MA 02720
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6133. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,135.06               $3,135.06
         SHANNON, LEISA M
         525 WEST 7TH STREET                      ¨ Contingent
         EDMOND OK 73003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6134. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.40                 $134.40
         SHARKEY, DEJA R
         58 ANTHONY ST                            ¨ Contingent
         1
         EAST PROVIDENCE RI 02914                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2045 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2155 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6135. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $658.55                 $658.55
         SHARKEY, MARTINA
         10831 REXDALE AVE                        ¨ Contingent
         PORT RICHEY FL 34668-2550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6136. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $407.13                 $407.13
         SHARP, JORDAN L
         334 DRAKE ST APT B                       ¨ Contingent
         JONESBORO AR 72401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6137. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.24                 $114.24
         SHARP, LAUREN N
         1103 BILLY COVE                          ¨ Contingent
         POCAHONTAS AR 72455
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2046 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2156 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6138. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.73                 $126.73
         SHARP, TEZSANAEE
         28715 BAYBERRY CT W                      ¨ Contingent
         LIVONIA MI 48154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6139. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.33                  $57.33
         SHARRAI, ALISSANDRA
         100 SW KNOX AVE                          ¨ Contingent
         TOPEKA KS 66606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6140. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $656.88                 $656.88
         SHAW, CENCIA K
         125 AOLOA LOOP                           ¨ Contingent
         KAHULUI HI 96732
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2047 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2157 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6141. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.18                  $90.18
         SHEA, MARY C
         2301 SAINT BRIDES RD W                   ¨ Contingent
         CHESAPEAKE VA 23322
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6142. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.65                  $35.65
         SHEARON, JESSICA J
         342 HARPER DR                            ¨ Contingent
         CLARKSVILLE TN 37043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6143. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,613.97               $2,613.97
         SHEFFIELD, ALICIA S
         150 WESTPARK DRIVE                       ¨ Contingent
         APT 607
         ATHENS GA 30606                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2048 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2158 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6144. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.74                 $113.74
         SHEFFIELD, MIRIAM A
         7214 W SANDRA TERRACE                    ¨ Contingent
         PEORIA AZ 85382
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6145. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $210.41                 $210.41
         SHEIKH, MARYAN Y
         124 PATRICK ST SE                        ¨ Contingent
         266
         VIENNA VA 22180                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6146. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.59                 $104.59
         SHELL-YOUNG, JAIZAE L
         343 AMHERST DRIVE                        ¨ Contingent
         SPARTANBURG SC 29306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2049 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2159 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6147. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $649.04                 $649.04
         SHELTMAN, CHELSEA
         3255 GATEWAY STREET                      ¨ Contingent
         APT 237
         SPRINGFIELD OR 97477                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6148. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $351.09                 $351.09
         SHELTON, CAITLIN
         6451 BLUE LEAF LN                        ¨ Contingent
         JACKSONVILLE FL 32244
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6149. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.04                 $143.04
         SHEPARD, BROOKE
         11755 NORBOURNE DR                       ¨ Contingent
         1008
         CINCINNATI OH 45240                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2050 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2160 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6150. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,024.96               $3,024.96
         SHEPHERD, STEPHANIE
         3431 VICTORY PALM DRIVE                  ¨ Contingent
         EDGEWATER FL 32141
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6151. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $325.16                 $325.16
         SHEPPARD, BERNICE C
         607 GORDON ST.                           ¨ Contingent
         JEFFERSON GA 30549
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6152. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $245.06                 $245.06
         SHEPPARD, GABRIELLA A
         313 MEADOWS DRIVE                        ¨ Contingent
         GALLOWAY NJ 08205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2051 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2161 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6153. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $9,298.03               $9,298.03
         SHERMAN, GLENN
         262 EASTGATE DRIVE                       ¨ Contingent
         PMB #252
         AIKEN SC 29803                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6154. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.66                 $212.66
         SHERMAN, QUANDRA L
         7374 S. WILKESON STREET                  ¨ Contingent
         APT D
         TACOMA WA 98408                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6155. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.59                 $145.59
         SHERMAN, SOPHIA M
         41 GREEN VILLAGE RD                      ¨ Contingent
         MADISON NJ 07940
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2052 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2162 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6156. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.90                 $141.90
         SHERMAN, ZOIE R
         914 N TUCANA LANE                        ¨ Contingent
         GILBERT AZ 85234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6157. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.50                 $148.50
         SHIELDS, CHAZNEY
         2105 MESA VALLEY WAY                     ¨ Contingent
         1310
         AUSTELL GA 30106                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6158. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $259.62                 $259.62
         SHIELDS, JUSTYN D
         8536 MAURER ROAD                         ¨ Contingent
         115
         LENEXA KS 66219                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2053 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2163 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6159. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,743.71               $3,743.71
         SHIER, MEGAN S
         63 ADAMS LAKE DR                         ¨ Contingent
         APT 5
         WATERFORD MI 48328                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6160. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,408.22               $2,408.22
         SHIMABUKU, SHANTEL
         94-824 LUMIAUAU ST                       ¨ Contingent
         APT V102
         WAIPAHU HI 96797-4851                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6161. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,148.60               $2,148.60
         SHIRTLIFF, JAMI R
         3915 ROBIN AVE                           ¨ Contingent
         EUGENE OR 97402-6303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2054 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2164 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6162. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.53                 $192.53
         SHIVELY, CARLISHIA
         234 STATE ST APT 607                     ¨ Contingent
         DETROIT MI 48226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6163. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.96                 $170.96
         SHOE, RAEGAN
         2306 BROOKHOLLOW TERRACE                 ¨ Contingent
         GEORGETOWN TX 78626
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6164. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $406.35                 $406.35
         SHOEMAKER, SARAH M
         1663 MORNINGSIDE DR. SE                  ¨ Contingent
         GRAND RAPIDS MI 49506
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2055 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2165 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6165. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,384.65               $1,384.65
         SHOFROTH, TRINA R
         6866 VAN BUREN PL.                       ¨ Contingent
         MERRILLVILLE IN 46410
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6166. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.69                 $152.69
         SHOOP, HANNAH E
         10 NW MARKET STREET                      ¨ Contingent
         APT B
         LEE'S SUMMIT MO 64063                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6167. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,145.95               $1,145.95
         SHORT, JASMINE A
         23812 SPRINGS COURT                      ¨ Contingent
         BUILDING 4 AP
         PLAINFIELD IL 60585                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2056 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2166 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6168. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,753.60               $3,753.60
         SHORT, MARY-MARGARET L
         2017 JESSICA WAY                         ¨ Contingent
         NAVARRE FL 32566-2947
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6169. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.24                  $83.24
         SHORT, SYDNEY
         106 CHELSEY ST                           ¨ Contingent
         SCOTT CITY MO 63780-1564
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6170. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,970.73               $1,970.73
         SHORTAL, ASHLEY L
         12589 AGATITE RD                         ¨ Contingent
         JACKSONVILLE FL 32258
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2057 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2167 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6171. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $137.59                 $137.59
         SHORTS, ALEXANDRIA C
         7145 FOUNDERS CLUB CT                    ¨ Contingent
         CHARLOTTE NC 28269
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6172. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.68                 $246.68
         SHOSHOO, SKYLAR A
         1128 S WHIPPOORWILL LN                   ¨ Contingent
         MADISON 211
         PALATINE IL 60067                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6173. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $777.27                 $777.27
         SHOTWELL, KAREN
         9889 CYPRESSWOOD DR                      ¨ Contingent
         #9210
         HOUSOTN TX 77070                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2058 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2168 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6174. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $407.88                 $407.88
         SHOWALTER, APRIL R
         640 FRANK GRIFFIN AVE                    ¨ Contingent
         PLANT CITY FL 33565
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6175. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.75                  $50.75
         SHUFORD, DAJANA L
         1205 STEPHEN DRIVE                       ¨ Contingent
         2
         PANAMA CITY FL 32405                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6176. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.26                 $103.26
         SHUMPERT, GABRIELLE
         2751 BEASLEY DRIVE                       ¨ Contingent
         TUPELO MS 38801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2059 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2169 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6177. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.25                  $95.25
         SHUMWAY, AUBREY
         1150 S. CLARIZZ BLVD.                    ¨ Contingent
         #339
         BLOOMINGTON IN 47401                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6178. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.67                  $75.67
         SIBBY, QUINCI
         1760 W ROCKET DR                         ¨ Contingent
         TOLEDO OH 43606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6179. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.51                 $128.51
         SIBRIAN, DIANA C
         18621 MUSTARD SEED CT                    ¨ Contingent
         GERMANTOWN MD 20874
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2060 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2170 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6180. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $276.48                 $276.48
         SICILIANO, NICOLE M
         813 NORTH LAKE CLAIRE CIRCLE             ¨ Contingent
         OVIEDO FL 32765
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6181. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $383.78                 $383.78
         SIDDEEQ, TATYANA D
         1686 BALDWIN PARK DRIVE                  ¨ Contingent
         TALLAHASSEE FL 32304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6182. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.80                 $133.80
         SIDHU, JASLEEN K
         16491 UPPER PASTURE                      ¨ Contingent
         LATHROP CA 95330
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2061 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2171 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6183. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.02                 $173.02
         SIEBENALER, JESSICA L
         1901 28TH RD.                            ¨ Contingent
         WAVERLY KS 66871
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6184. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $299.67                 $299.67
         SIEFKEN, AMY L
         2327 S 142 CT BLDG 16                    ¨ Contingent
         18
         OMAHA NE 68144                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6185. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $198.68                 $198.68
         SIEGEL, CARLI J
         1177 BERGMANN DR                         ¨ Contingent
         STILLWATER MN 55082
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2062 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2172 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6186. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,934.16               $6,934.16
         SIEMENS, ERICA S
         P.O. BOX 6207                            ¨ Contingent
         GOODYEAR AZ 85338
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6187. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $450.51                 $450.51
         SIERRA, EILEEMARYS
         31 CALLE ROSA                            ¨ Contingent
         31 CALLE ROSA
         CAROLINA PR 00979-7501                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6188. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $762.30                 $762.30
         SIFUENTES, TANYA M
         6936 MARGUERITA AVE                      ¨ Contingent
         RIVERSIDE CA 92506
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2063 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2173 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6189. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $157.14                 $157.14
         SIGETY, RACHEL M
         2779 GLORIETTA DRIVE                     ¨ Contingent
         HOWELL MI 48843
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6190. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.19                  $49.19
         SIGMUND, MORGAN N
         P.O. BOX 175                             ¨ Contingent
         TROY MO 63379
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6191. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $278.16                 $278.16
         SIGUENZA, TIFFANY L
         5 ELWELL PL                              ¨ Contingent
         DANBURY CT 06810
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2064 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2174 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6192. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,128.96               $4,128.96
         SILENCIEUX, ASHIA
         951 BEACON PKWY E.                       ¨ Contingent
         BIRMINGHAM AL 35209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6193. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.84                 $179.84
         SILERIO, JENNIFER
         4701 CRIMSON LEAF DR.                    ¨ Contingent
         LAS VEGAS NV 89130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6194. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,277.03               $6,277.03
         SILVA, DEBBIE
         7614 HARBOR BEND CIR                     ¨ Contingent
         ORLANDO FL 32822
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2065 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2175 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6195. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.00                 $114.00
         SILVA, KIMBERLY
         24115 COTTONWOOD AVE                     ¨ Contingent
         #159
         MORENO VALLEY CA 92553                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6196. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.78                  $76.78
         SILVA, SELENA M
         2241 E. CALLE ARROYO LINDO               ¨ Contingent
         TUCSON AZ 85706-3101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6197. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $592.06                 $592.06
         SILVA, VANEZA E
         1254 E FOX CHASE DR                      ¨ Contingent
         ROUND LAKE BEACH IL 60073
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2066 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2176 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6198. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $568.80                 $568.80
         SILVA, XOCHILT G
         796 MERCEDES PLACE                       ¨ Contingent
         TERRYTOWN LA 70056
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6199. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.30                 $114.30
         SIMISTER, BRITANIA P
         103 OLD FORT RD                          ¨ Contingent
         ATHENS GA 30606-1435
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6200. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.95                  $29.95
         SIMMONS, DANIELLE D
         264 MATTOX RD                            ¨ Contingent
         TUPELO MS 38801-9189
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2067 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2177 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6201. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.24                 $122.24
         SIMMONS, DANIELLE R
         590 GOVERNOR TREUTLEN CIRCLE             ¨ Contingent
         POOLER GA 31322
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6202. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.38                  $36.38
         SIMMONS, KA'RIAH P
         2900 N. MENOMONEE RIVER PKWY             ¨ Contingent
         MILWAUKEE WI 53222
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6203. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.28                 $129.28
         SIMMONS, KARINNA
         1550 W PLANO PKWY APT # 2272             ¨ Contingent
         PLANO TX 75075
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2068 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2178 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6204. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.15                  $32.15
         SIMMONS, YAZMIN L
         4775 38TH CIR                            ¨ Contingent
         VERO BEACH FL 32967
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6205. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $320.03                 $320.03
         SIMMS, ANESIA B
         2946 WASHINGTON BLVD                     ¨ Contingent
         INDIANAPOLIS IN 46208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6206. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.55                 $152.55
         SIMON, NICOLE D
         1314 CHINOOK TRAIL                       ¨ Contingent
         12
         FRANKFORT KY 40601                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2069 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2179 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6207. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $522.60                 $522.60
         SIMONS, TRICINA
         92 38 175TH STREET                       ¨ Contingent
         2A
         JAMAICA NY 11433                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6208. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $550.43                 $550.43
         SIMPSON, ARIEL
         2013 CASTLE DR. APT A                    ¨ Contingent
         GARLAND TX 75040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6209. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $534.33                 $534.33
         SIMPSON, BRIA
         1436 E LAKEVIEW DR APT 301               ¨ Contingent
         JOHNSON CITY TN 37601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2070 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2180 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6210. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $443.11                 $443.11
         SIMPSON, BRIANA
         1415 FOX SEDGE TRAIL                     ¨ Contingent
         WOODSTOCK IL 60098
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6211. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.31                  $76.31
         SIMS, ALLISON R
         2213 CAMPUS VILLAGE AVE.                 ¨ Contingent
         SAGINAW MI 48604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6212. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $331.38                 $331.38
         SIMS, JAYLA
         8144 MEADOW VALE DR                      ¨ Contingent
         MEMPHIS TN 38125-3209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2071 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2181 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6213. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.09                 $188.09
         SIMS, RUTH
         3202 S MASON AVENUE                      ¨ Contingent
         J105
         TACOMA WA 98409                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6214. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.45                  $69.45
         SIMS, SAQUOIA M
         PO BOX 92                                ¨ Contingent
         LOCUST GROVE GA 30248
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6215. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.92                  $24.92
         SINAMBAN, TRISHA
         6040 LAMBERT BRIDGE AVE.                 ¨ Contingent
         LAS VEGAS NV 89139
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2072 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2182 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6216. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.95                 $114.95
         SING, JONTE P
         46-271 KAHUHIPA STREET                   ¨ Contingent
         E106
         KANEOHE HI 96744                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6217. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.02                 $173.02
         SINGAL, SONALI
         9 HICKORY LANE                           ¨ Contingent
         NORTH BRUNSWICK NJ 08902
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6218. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $627.66                 $627.66
         SINGH, JASMINE
         1635 SHERBOURNE RD                       ¨ Contingent
         VALLEY STREAM NY 11580
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2073 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2183 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6219. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.27                 $119.27
         SINGLETARY, MALIK T
         32 LATTIMORE RD                          ¨ Contingent
         CAMERON NC 28326
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6220. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $168.05                 $168.05
         SINIO, AIKO K
         3358 LEGACY DRIVE                        ¨ Contingent
         LOCKPORT IL 60441
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6221. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,497.15               $1,497.15
         SINKER, ALYSSA A
         1 FAIRVIEW AVE APT. 6                    ¨ Contingent
         YORKVILLE NY 13495-1744
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2074 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2184 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6222. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.60                  $69.60
         SINOHUE, ALLIE R
         15251 SENECA RD                          ¨ Contingent
         7
         VICTORVILLE CA 92392                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6223. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.97                 $150.97
         SINOTO, ITZEL A
         7221 WESTBROOK AVE                       ¨ Contingent
         LAS VEGAS NV 89147
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6224. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $340.14                 $340.14
         SIRAKIS, TARA
         1868 COVER DRIVE                         ¨ Contingent
         POLAND OH 44514
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2075 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2185 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6225. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.26                 $184.26
         SISON, JORDAN A
         611 PETERSON FARM COURT                  ¨ Contingent
         RIVER VALE NJ 07675
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6226. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.69                  $66.69
         SITTON, KRYSTAL
         24108 NEW MOUNTAIN RD                    ¨ Contingent
         ALDIE VA 20105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6227. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,544.06               $2,544.06
         SIVAR, SUSAN
         10053 BENGAL FOX DR                      ¨ Contingent
         JACKSONVILLE FL 32222
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2076 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2186 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6228. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.99                 $143.99
         SIXTOS, JOCELYN
         4451 S RICHMOND                          ¨ Contingent
         CHICAGO IL 60632
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6229. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.64                  $30.64
         SKAGGS, KYNDALL
         9722 CEDARDALE DRIVE                     ¨ Contingent
         HOUSTON TX 77055
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6230. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.12                  $87.12
         SKANE, PAIGE T
         13 PRESCOTT ST                           ¨ Contingent
         EVERETT MA 02149
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2077 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2187 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6231. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.38                  $71.38
         SKARIE, JORDYN M
         2106 ORMOND DRIVE                        ¨ Contingent
         SHAKOPEE MN 55379
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6232. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $527.94                 $527.94
         SKELTON, BETHANY
         305 PORTSIDE CIRCLE WEST                 ¨ Contingent
         MOBILE AL 36695
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6233. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.84                  $49.84
         SKENE, ALYSSA R
         10897 48TH AVE                           ¨ Contingent
         G9
         ALLENDALE MI 49401                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2078 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2188 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6234. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,239.85               $4,239.85
         SKIDMORE, MEGAN
         323 S WITT ST                            ¨ Contingent
         WEST COLUMBIA SC 29169
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6235. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.06                 $170.06
         SKIERESZ, TAYLOR A
         6 BENTLEY CIRCLE                         ¨ Contingent
         LANCASTER NY 14086
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6236. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $236.56                 $236.56
         SKINNER, AYANNA L
         1955 UNION PLACE APT. B25                ¨ Contingent
         COLUMBIA TN 38401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2079 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2189 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6237. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.04                 $143.04
         SKRINE, JAMAYA T
         6041 AMBASSADOR DRIVE                    ¨ Contingent
         MCDONOUGH GA 30253
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6238. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.56                 $158.56
         SLABONIK, NICOLE K
         97 ROSE OF SHARON DRIVE                  ¨ Contingent
         ETTERS PA 17319
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6239. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.08                 $175.08
         SLAGHT, EMILEE M
         123 4TH AVE W                            ¨ Contingent
         327
         OLYMPIA WA 98501                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2080 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2190 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6240. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $844.82                 $844.82
         SLATER, BRIANCA D
         1165 JACKSON STREET                      ¨ Contingent
         SAINT CHARLES MO 63301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6241. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $608.79                 $608.79
         SLEBODNIK, MADELEINE E
         32117 DOVER AVE                          ¨ Contingent
         GARDEN CITY MI 48135
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6242. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,409.77               $2,409.77
         SLOAN, TAMIKA A
         1533 WEST BUTLER ST                      ¨ Contingent
         PHILADELPHIA PA 19140
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2081 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2191 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6243. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.04                  $75.04
         SLOAN, TAYLOR
         1100 PHILADELPHIA AVE.                   ¨ Contingent
         UPSTAIRS
         OCEAN CITY MD 21842                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6244. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $586.08                 $586.08
         SLOAN, TIANA L
         6255 PANTHER PEAK                        ¨ Contingent
         SAN ANTONIO TX 78247
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6245. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $683.65                 $683.65
         SLOANS, KADIJA D
         5903 NORTH 74TH STREET                   ¨ Contingent
         MILWAUKEE WI 53218
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2082 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2192 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6246. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.76                  $98.76
         SLOWTALKER, BIONTE A
         820 1/2 S. FLOWER ST.                    ¨ Contingent
         INGLEWOOD CA 90301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6247. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.25                  $57.25
         SMALL, SAPRINA L
         106 VINEWOOD CIRCLE                      ¨ Contingent
         TUPELO MS 38801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6248. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.17                  $94.17
         SMALLEY, MADISON N
         3455 S. KINGS AVENUE                     ¨ Contingent
         SPRINGFIELD MO 65807
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2083 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2193 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6249. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.40                  $37.40
         SMALLIE, YAMINAH
         5905 AIRWAYS BLVD APT 401                ¨ Contingent
         SOUTHAVEN MS 38671
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6250. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $426.73                 $426.73
         SMALLMAN, STACY N
         77 BOXWOOD DRIVE                         ¨ Contingent
         TRUMANN AR 72472
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6251. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.27                  $90.27
         SMALLS, VANESSA
         504 BALLY BUNION LANE                    ¨ Contingent
         COLUMBIA SC 29229
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2084 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2194 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6252. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.20                  $92.20
         SMALLWOOD, NAILAH
         80 E BEL AIR AVE                         ¨ Contingent
         APT A6
         ABERDEEN MD 21001                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6253. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,814.92               $3,814.92
         SMITH COUNTY TAX OFFICE
         PO BOX 2011                              ¨ Contingent
         TYLER TX 75710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.6254. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $637.36                 $637.36
         SMITH, ADIA D
         2119 LAUREL SPRINGS LN                   ¨ Contingent
         KINGWOOD TX 77339
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2085 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2195 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6255. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,171.70               $2,171.70
         SMITH, ADRIENNE E
         205 TOWNVIEW DRIVE                       ¨ Contingent
         WAPPINGERS FALLS NY 12590
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6256. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.85                 $100.85
         SMITH, ALEXIS
         1409 SOUTHWOOD PLANTATION RD A           ¨ Contingent
         TALLAHASSEE FL 32311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6257. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.36                 $142.36
         SMITH, ALEXIS J
         17 ISLAND DR                             ¨ Contingent
         POLAND OH 44514
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2086 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2196 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6258. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.40                 $103.40
         SMITH, ALEYA M
         8256 N SUNSET RANCH LOOP                 ¨ Contingent
         TUCSON AZ 85743
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6259. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $54.46                  $54.46
         SMITH, ALLISON M
         319 E MARKET ST.                         ¨ Contingent
         3RD FLR REAR
         YORK PA 17403                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6260. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.13                 $177.13
         SMITH, ANGEL M
         2815 W GLEN FLORA AVE                    ¨ Contingent
         APT 201
         WAUKEGAN IL 60085                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2087 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2197 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6261. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $255.50                 $255.50
         SMITH, ASHLEY M
         219 FRANKFORD AVE                        ¨ Contingent
         BLACKWOOD NJ 08012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6262. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,870.84               $3,870.84
         SMITH, ASHLEY N
         810 E. PEACH                             ¨ Contingent
         HAYSVILLE KS 67060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6263. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.99                  $29.99
         SMITH, BREANNA N
         1714 E KENSINGTON BLVD                   ¨ Contingent
         APT F
         SHOREWOOD WI 53211                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2088 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2198 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6264. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $47.78                  $47.78
         SMITH, BREAUNNA L
         908 LINWOOD ST                           ¨ Contingent
         HYATTSVILLE MD 20783
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6265. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,255.52               $1,255.52
         SMITH, BRITTANY S
         300 S 8TH ST.                            ¨ Contingent
         MEBANE NC 27302
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6266. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,977.95               $1,977.95
         SMITH, BROOKE D
         506 NW FALK DRIVE                        ¨ Contingent
         LEES SUMMIT MO 64063
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2089 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2199 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6267. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $490.90                 $490.90
         SMITH, COURTNEY
         MTSU BOX 9705 1301 EAST MAIN S           ¨ Contingent
         MURFREESBORO TN 37132
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6268. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $55.04                  $55.04
         SMITH, DEONDREYA
         3905 LOST CREEK DRIVE                    ¨ Contingent
         PLANO TX 75074
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6269. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.83                 $110.83
         SMITH, DHANIELLE S
         147 CORY COURT                           ¨ Contingent
         AUBURNDALE FL 33823
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2090 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2200 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6270. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,100.29               $2,100.29
         SMITH, ERICA N
         2929 FIRE MOUNTAIN DR                    ¨ Contingent
         APT 46
         OCEANSIDE CA 92054                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6271. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.10                  $70.10
         SMITH, JAHMARA C
         202 STATE STREET                         ¨ Contingent
         CAMDEN NJ 08102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6272. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $558.67                 $558.67
         SMITH, JAMILA E
         1182 BROOKRIDGE TRCE                     ¨ Contingent
         FORT WALTON BEACH FL 32547
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2091 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2201 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6273. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.12                  $86.12
         SMITH, JANAYE R
         5404 LOCKLEAR PL                         ¨ Contingent
         RIVERVIEW FL 33578
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6274. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.86                  $86.86
         SMITH, JANOAH A
         201 SUDBROOK LANE                        ¨ Contingent
         PIKESVILLE MD 21208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6275. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.67                 $123.67
         SMITH, JANYA Z
         481 CREEK HOLLOW WAY                     ¨ Contingent
         ATHENS GA 30601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2092 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2202 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6276. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $394.58                 $394.58
         SMITH, JENNA M
         4 BEALL DR                               ¨ Contingent
         PAINESVILLE OH 44077
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6277. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,255.99               $3,255.99
         SMITH, JESSICA D
         2519 DOUBLETREE RD                       ¨ Contingent
         SPRING VALLEY CA 91978-1914
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6278. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.20                 $229.20
         SMITH, KADIJAH
         7601 FOX DEN CRT                         ¨ Contingent
         CLINTON MD 20735
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2093 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2203 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6279. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.20                  $77.20
         SMITH, KALANI A
         1406 GRANEX DR                           ¨ Contingent
         DR.
         KILLEEN TX 76542                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6280. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $219.69                 $219.69
         SMITH, KARDISHA R
         4651 N 76TH STREET                       ¨ Contingent
         MILWAUKEE WI 53218
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6281. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.47                  $39.47
         SMITH, KATHLEEN E
         207 CEDARHURST DRIVE                     ¨ Contingent
         CANTON GA 30115
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2094 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2204 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6282. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $21.54                  $21.54
         SMITH, KIAH N
         2121 WINDY HILL RD                       ¨ Contingent
         APT 915
         MARIETTA GA 30060                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6283. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.80                  $33.80
         SMITH, KINLIE S
         P.O. BOX 538                             ¨ Contingent
         PECULIAR MO 64078
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6284. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $432.90                 $432.90
         SMITH, LAUREN
         1211 S LEXINGTON STREET                  ¨ Contingent
         HOLDEN MO 64040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2095 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2205 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6285. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.80                  $50.80
         SMITH, LORIANNA N
         8260 CRAIN HWY                           ¨ Contingent
         LA PLATA MD 20646
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6286. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $286.80                 $286.80
         SMITH, LYNDY M
         326 ASUELO WAY                           ¨ Contingent
         SANTA ROSA CA 95401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6287. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $916.13                 $916.13
         SMITH, LYNETTE M
         1615 S 56TH ST                           ¨ Contingent
         PHILADELPHIA PA 19143
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2096 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2206 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6288. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $264.12                 $264.12
         SMITH, MADISON M
         530 DARBY DRIVE                          ¨ Contingent
         BELLINGHAM WA 98226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6289. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $168.02                 $168.02
         SMITH, MAHARRI C
         5478 NORTH 56 STREET                     ¨ Contingent
         MILWAUKEE WI 53218
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6290. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6.00                   $6.00
         SMITH, MCKENZIE
         4216 REGENCY DR                          ¨ Contingent
         SALUDA VA 23149
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2097 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2207 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6291. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.24                  $96.24
         SMITH, MEGAN S
         103 FONTAINE ST                          ¨ Contingent
         MARLBOROUGH MA 01752
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6292. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $495.83                 $495.83
         SMITH, MICHELLE D
         P.O. BOX 291                             ¨ Contingent
         MOORESVILLE IN IN 46158
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6293. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $283.20                 $283.20
         SMITH, NICOLE L
         114 DE NORMANDIE WAY                     ¨ Contingent
         MARTINEZ CA 94553
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2098 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2208 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6294. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $691.15                 $691.15
         SMITH, PEYTON
         7004 GLENDOWER RD                        ¨ Contingent
         RALEIGH NC 27613
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6295. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.43                 $139.43
         SMITH, RACHEL A
         6003 OSPREY LAKE CIRCLE                  ¨ Contingent
         RIVERVIEW FL 33578
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6296. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.30                 $141.30
         SMITH, REBECCAH D
         16672 JACKDAW PATH                       ¨ Contingent
         LAKEVILLE MN 55044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2099 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2209 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6297. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.99                  $41.99
         SMITH, REILLY E
         1315 FANNIN ST                           ¨ Contingent
         NEDERLAND TX 77627
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6298. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.02                 $145.02
         SMITH, SAMANTHA G
         85 WINTHROP AVE                          ¨ Contingent
         BRAINTREE MA 02184
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6299. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.52                 $155.52
         SMITH, SARA C
         10002 ANITA BLVD                         ¨ Contingent
         LOUISVILLE KY 40272
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2100 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2210 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6300. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.57                  $69.57
         SMITH, SHAILEY J
         550 S ASH STREET                         ¨ Contingent
         PO BOX 6
         GREENWOOD NE 68366                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6301. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.97                 $108.97
         SMITH, SHAMONE L
         8011 FRONT BEACH ROAD                    ¨ Contingent
         1603
         PANAMA CITY BEACH FL 32407               ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6302. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.00                  $77.00
         SMITH, SHANNON
         11 CASTLE AVE                            ¨ Contingent
         JACKSON NJ 08527-2424
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2101 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2211 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6303. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.94                  $32.94
         SMITH, SHARON N
         3677 MORNING MEADOW LN                   ¨ Contingent
         ORANGE PARK FL 32073-7602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6304. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,310.13               $3,310.13
         SMITH, SHELBY
         601 CREST STREET                         ¨ Contingent
         FLORENCE AL 35630-2493
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6305. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.69                 $100.69
         SMITH, SHONICE L
         910 ST ANDREWS DRIVE                     ¨ Contingent
         MURFREESBORO TN 37128
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2102 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2212 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6306. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $55.10                  $55.10
         SMITH, SONAE
         3569 PIONEER DRIVE                       ¨ Contingent
         HOPE MILLS NC 28348
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6307. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.18                 $560.18
         SMITH, SUMER N
         801 WHEELER CEMETERY RD                  ¨ Contingent
         MAYSVILLE GA 30558
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6308. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.24                  $38.24
         SMITH, SYDNEY N
         13908 COUNTRY COURT DR                   ¨ Contingent
         TAMPA FL 33625
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2103 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2213 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6309. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.00                 $128.00
         SMITH, SYLVIA K
         8343 PRINCETON SQUARE BLVD E             ¨ Contingent
         613
         JACKSONVILLE FL 32256                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6310. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.87                 $127.87
         SMITH, TALORE T
         585 FALLEN TIMBERS DR.                   ¨ Contingent
         ORANGE PARK FL 32073-5277
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6311. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $482.28                 $482.28
         SMITH, THALIA
         147 W FUNDERBURG RD                      ¨ Contingent
         APT A8
         FAIRBORN OH 45324                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2104 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2214 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6312. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.28                 $182.28
         SMITH, TRACEY M
         126 WEST 7TH STREET                      ¨ Contingent
         LANSDALE PA 19446
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6313. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $717.99                 $717.99
         SMITH, ZENOBIA
         11651 ROYAL LYTHAM LN                    ¨ Contingent
         WALDORF MD 20602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6314. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.90                 $120.90
         SMITHBERGER, CHANTEL
         7950 MENTOR AVE                          ¨ Contingent
         D301
         MENTOR OH 44060                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2105 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2215 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6315. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.61                  $81.61
         SMITHERS, BRITNEE
         1558 W 62ND ST                           ¨ Contingent
         LOS ANGELES CA 90047-1531
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6316. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.13                  $90.13
         SNEED, ALYSHA M
         521 W. 2ND ST.                           ¨ Contingent
         PINCONNING MI 48650
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6317. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.22                  $70.22
         SNEED, KYRA M
         17852 LAKE CARLTON DR                    ¨ Contingent
         APT D
         LUTZ FL 33558                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2106 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2216 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6318. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $253.08                 $253.08
         SNIDER, SHIAN
         22 CONIFER WAY                           ¨ Contingent
         SICKLERVILLE NJ 08081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6319. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,473.68               $1,473.68
         SNIFFIN, KATLYN
         1223 MAPLE AVENUE                        ¨ Contingent
         SOUTH HEMPTEAD NY 11550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6320. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $539.55                 $539.55
         SNIPES, TA'KEYAH C
         601 THUNDERBIRD DR                       ¨ Contingent
         BOX ELDER SD 57719
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2107 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2217 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6321. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $287.31                 $287.31
         SNODGRASS, AMY J
         3323 HARTEL AVE                          ¨ Contingent
         PHILADELPHIA PA 19136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6322. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.85                 $151.85
         SNOOK, TAYLOR R
         12150 WASHINGTON CENTER PKWY             ¨ Contingent
         UNIT 3-108
         THORNTON CO 80241                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6323. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.78                 $186.78
         SNOWDEN, AOLANI S
         12136 S EMERALD                          ¨ Contingent
         CHICAGO IL 60628
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2108 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2218 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6324. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $494.14                 $494.14
         SNYDER, ALYSSA A
         232 6TH ST                               ¨ Contingent
         WHITEHALL PA 18052-7106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6325. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,091.58               $3,091.58
         SNYDER, CHRISTINA M
         138 VICTORSON ST                         ¨ Contingent
         RINEYVILLE KY 40162-9614
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6326. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $14.24                  $14.24
         SOARES, SOFIA
         625 CATSKILL DR                          ¨ Contingent
         EFFORT PA 18330
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2109 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2219 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6327. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $671.61                 $671.61
         SOCKOL, CATHERINE
         1746 14TH AVE                            ¨ Contingent
         VERO BEACH FL 32960
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6328. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.29                  $95.29
         SOE, AGAPEITOF F
         11628 KINDSLAND ST                       ¨ Contingent
         LAS VEGAS NV 89183
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6329. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $266.40                 $266.40
         SOHAL, PAWAN K
         29301 STONEBROOK LANE                    ¨ Contingent
         HAYWARD CA 94544
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2110 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2220 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6330. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,045.36               $4,045.36
         SOKOL, GILLIAN H
         7005 BRINT ROAD                          ¨ Contingent
         APARTMENT 11
         SYLVANIA OH 43560                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6331. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $286.80                 $286.80
         SOLER, ISABELLA
         3806 LACONIA AVE                         ¨ Contingent
         BRONX NY 10469
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6332. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $337.25                 $337.25
         SOLIS, CYNTHIA M
         8075 105TH AVE                           ¨ Contingent
         VERO BEACH FL 32967
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2111 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2221 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6333. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.77                  $36.77
         SOLIS, EVELYN A
         3468 BURRWOOD DRIVE                      ¨ Contingent
         RICHFIELD OH 44286
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6334. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $248.52                 $248.52
         SOLORZANO, KAREN S
         1949 WEST DR                             ¨ Contingent
         APT 19
         VISTA CA 92083                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6335. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.08                  $94.08
         SOMMER, EMELY G
         1848 KESSLER BLVD                        ¨ Contingent
         SOUTH BEND IN 46616
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2112 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2222 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6336. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,542.60               $3,542.60
         SOMOZA, JESSICA E
         12300 POND RUN DR.                       ¨ Contingent
         APT #103
         WOODBRIDGE VA 22192                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6337. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $384.83                 $384.83
         SONG, MINSU
         1930 WINTER PARK PL                      ¨ Contingent
         CORALVILLE IA 52241
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6338. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.38                 $218.38
         SOOFI, AMTUL Z
         11133 GATEVIEW LANE                      ¨ Contingent
         LAS VEGAS NV 89144
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2113 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2223 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6339. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $279.60                 $279.60
         SOPENA, KAREN
         538 BIG BEND WAY APT A                   ¨ Contingent
         OCEANSIDE CA 92057
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6340. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $631.98                 $631.98
         SORIA, VANESSA X
         3529 CUYLER AVE                          ¨ Contingent
         BERWYN IL 60402
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6341. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.79                 $131.79
         SORIANO, MELISA
         6099 VIA DE LOS ARBOLES                  ¨ Contingent
         EL PASO TX 79932
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2114 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2224 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6342. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.10                 $188.10
         SORIANO, MYRKA
         4545 PENNWOOD AVE                        ¨ Contingent
         APT# 124
         LAS VEGAS NV 89102                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6343. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $98.64                  $98.64
         SORTO, ISABEL A
         1711 HARVEY MITCHELL PWKY S              ¨ Contingent
         4-304
         COLLEGE STATION TX 77840                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6344. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $386.72                 $386.72
         SOSA, DUVALY
         4227 W EVA ST                            ¨ Contingent
         PHOENIX AZ 85051
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2115 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2225 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6345. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.26                 $123.26
         SOSA, RODRIGUEZ YEZMARIE
         716 MUIRFIELD CIR                        ¨ Contingent
         APOPKA FL 32712
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6346. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $340.44                 $340.44
         SOSA, SIERRA STACY K
         1700 257TH                               ¨ Contingent
         1
         LOMITA CA 90717                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6347. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $470.95                 $470.95
         SOTELO, CYNTHIA
         807 W. 41ST STREET                       ¨ Contingent
         LOS ANGELES CA 90037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2116 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2226 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6348. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.85                  $80.85
         SOTELO, DESIREE M
         2103 OLD WEST PL                         ¨ Contingent
         A
         ROUND ROCK TX 78681                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6349. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $963.60                 $963.60
         SOTELO, RAMOS ESMERALDA
         91-42118TH STREET                        ¨ Contingent
         RICHMOND HILL NY 11418
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6350. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $178.44                 $178.44
         SOTELO, SAVANNAH N
         164 GILDED ROCK CIR                      ¨ Contingent
         164 GILDED ROC
         FOLSOM CA 95630                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2117 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2227 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6351. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $655.41                 $655.41
         SOTO, ALEXANDRA M
         339 COCOA COURT                          ¨ Contingent
         KISSIMMEE FL 34758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6352. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,413.13               $2,413.13
         SOTO, ANAHI
         9203 DRAGONWOOD TRL                      ¨ Contingent
         HOUSTON TX 77083
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6353. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $262.39                 $262.39
         SOTO, KARLA A
         16707 DAVID GLEN DR                      ¨ Contingent
         FRIENDSWOOD TX 77546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2118 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2228 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6354. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $791.25                 $791.25
         SOTO, MACKENZIE
         4120 S. MILL AVE. APARTMENT E-           ¨ Contingent
         TEMPE AZ 85282
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6355. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.72                  $45.72
         SOTO, MONICA
         3112 SOUTH 138TH STREET                  ¨ Contingent
         OMAHA NE 68144
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6356. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $207.20                 $207.20
         SOTO, NATALY
         2902 N. GREGG AVE APT.4                  ¨ Contingent
         APT. 4
         FAYETTEVILLE AR 72703                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2119 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2229 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6357. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $604.80                 $604.80
         SOTOMAYOR, SAMANTHA M
         385 CONCORD DRIVE                        ¨ Contingent
         FREEHOLD NJ 07728
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6358. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.04                 $143.04
         SOTTOSANTI, MARCELLA G
         3527 COUNTY ROAD 21                      ¨ Contingent
         IRONTON OH 45638
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6359. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $116.46                 $116.46
         SOUMAHORO, MAMA P
         900 WASHINGTON BLVD                      ¨ Contingent
         APT 606B
         STAMFORD CT 06901                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2120 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2230 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6360. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $144.94                 $144.94
         SOUSA, BRIANNE E
         146 CHERRY STREET                        ¨ Contingent
         NAUGATUCK CT 06770
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6361. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $15.76                  $15.76
         SOUTHERLAND, MARJORIE D
         196 SOUTH HUNT CLUB RUN                  ¨ Contingent
         NEWPORT NEWS VA 23608
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6362. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $52.60                  $52.60
         SOWDAGAR, HONIEH
         9608 EAGLE HILL DR.                      ¨ Contingent
         OKLAHOMA CITY OK 73162
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2121 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2231 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6363. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.00                 $190.00
         SPALDING, SOPHIA C
         710 SOUTH GREGORY RD                     ¨ Contingent
         P.O. BOX 286
         FOWLERVILLE MI 48836                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6364. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.30                 $103.30
         SPARKS, ALAINNA M
         1198 SADDLE CREEK DRIVE                  ¨ Contingent
         FORT WALTON BEACH FL 32547
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6365. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $8,650.41               $8,650.41
         SPARKS, EMILY Y
         2411 GOVERNOR NICHOLLS STREET            ¨ Contingent
         NEW ORLEANS LA 70119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2122 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2232 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6366. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.80                  $30.80
         SPARKS, KAYANNA L
         15875 JOY RD                             ¨ Contingent
         APT 205
         DETROIT MICHIGAN MI 48228                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6367. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.96                 $174.96
         SPARKS, MADELINE
         1460 SE 58TH AVE                         ¨ Contingent
         PORTLAND OR 97215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6368. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.80                 $174.80
         SPENCE, MCKENZIE
         2811 TORI OAK TRAIL                      ¨ Contingent
         CORINTH TX 76210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2123 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2233 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6369. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,292.40               $1,292.40
         SPENCER, JEFREA L
         652 CARRIAGE HILL RD                     ¨ Contingent
         VIRGINIA BEACH VA 23452-6519
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6370. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.79                 $214.79
         SPILLER, QUAMEISHEON
         1369 W STANLEY RD                        ¨ Contingent
         MOUNT MORRIS MI 48458
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6371. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $10,748.33              $10,748.33
         SPIVACKE, SHERRY L
         23735 TATIA CT                           ¨ Contingent
         MURRIETA CA 92562
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2124 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2234 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6372. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $320.30                 $320.30
         SPIVEY, REBECCA L
         PO BOX 632                               ¨ Contingent
         LAKE VIEW SC 29563
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6373. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.85                 $129.85
         SPOON, CHARLOTTE E
         6667 ENFIELD AVE.                        ¨ Contingent
         RESEDA CA 91335
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6374. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.49                  $32.49
         SPRADLING, KAYLEN F
         216 YORKTOWN BLVD                        ¨ Contingent
         LOCUST GROVE VA 22508
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2125 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2235 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6375. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,153.34               $1,153.34
         SPRAGG, GABRIEL S
         206 BRIAR CLIFF DR.                      ¨ Contingent
         LONGWOOD FL 32779
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6376. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,266.01               $2,266.01
         SPRING BRANCH I.S.D.
         TAX ASSESSOR-COLLECTOR                   ¨ Contingent
         P.O. BOX 19037-8880 WESTVIEW
         HOUSTON TX 77224-9037                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.6377. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.32                  $44.32
         SPRINKLES, SAVANNAH
         2008 BROOK HOLLOW                        ¨ Contingent
         CEDAR PARK TX 78613
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2126 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2236 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6378. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.40                 $120.40
         SPROUSE, TIFFANI
         78 MAIN ST                               ¨ Contingent
         NEWPORTNEWS VA 23601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6379. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,129.11               $4,129.11
         SPROUSE, VICTORIA
         1549 HOLCOMB BRIDGE RD.                  ¨ Contingent
         A
         NORCROSS GA 30092                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6380. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.72                  $72.72
         SQUICCIARINI, DEBRA
         24 LINDRON AVENUE                        ¨ Contingent
         SMITHTOWN NY 11787
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2127 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2237 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6381. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $665.87                 $665.87
         SQUIER, LEILA M
         399 SOUTH DANBY ROAD                     ¨ Contingent
         SPENCER NY 14883
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6382. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.10                 $127.10
         SQUILLANTE, MAGGIE K
         2204 ADAMS AVE                           ¨ Contingent
         2
         SCRANTON PA 18509                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6383. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.80                  $67.80
         SRUN, PAULINA S
         3012 CORSICA DRIVE                       ¨ Contingent
         EL DORADO HILLS CA 95762
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2128 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2238 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6384. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $738.35                 $738.35
         ST, HILAIRE STACY
         298 PIERMONT AVENUE                      ¨ Contingent
         2A
         NYACK NY 10960                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6385. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $73.50                  $73.50
         STABER, CORA G
         128 EAST POLK AVENUE                     ¨ Contingent
         EAU CLAIRE WI 54701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6386. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $848.47                 $848.47
         STAFFO, GABRIELLE
         1072 WILLOW BROOK BEND                   ¨ Contingent
         FARMINGTON NY 14425
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2129 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2239 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6387. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.57                 $132.57
         STAFFORD, SYDNI R
         51 SANTANGELO CIRCLE                     ¨ Contingent
         MIDDLETOWN CT 06457
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6388. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.04                  $79.04
         STAFFORD, ZOIE N
         333 S GILBERT ST 2126                    ¨ Contingent
         IOWA CITY IA 52242
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6389. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $557.09                 $557.09
         STAGGS, DELANIE A
         1107 NORTH ALBERT PIKE                   ¨ Contingent
         FORT SMITH AR 72904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2130 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2240 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6390. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $216.98                 $216.98
         STALEY, JENINE W
         212 GRANDVIEW AVE                        ¨ Contingent
         BRIDGEPORT CT 06606-2511
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6391. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $686.21                 $686.21
         STALLION, KATHRYN P
         105 SIBLEY DR.                           ¨ Contingent
         MINOOKA IL 60447
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6392. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.80                 $128.80
         STALLWORTH, KATHRYN M
         16324 COUNTY ROAD 52                     ¨ Contingent
         SILVERHILL AL 36576
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2131 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2241 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6393. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $191.88                 $191.88
         STANDOFF, NICOLE L
         1280 HACIENDA DR                         ¨ Contingent
         APT. C24
         VISTA CA 92081                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6394. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $353.76                 $353.76
         STANFILL, ALYSSA M
         2118 WEST FLOWER AVE                     ¨ Contingent
         FULLERTON CA 92833
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6395. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.52                  $30.52
         STANFORD, AUTUMN B
         4111 BAYMAR DRIVE                        ¨ Contingent
         YOUNGSTOWN OH 44511
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2132 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2242 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6396. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $225.75                 $225.75
         STANLEY, BRANDI E
         2022 16TH STREET                         ¨ Contingent
         PARKERSBURG WV 26101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6397. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.68                  $34.68
         STANLEY, KALIAH
         2807 N GLEBE RD                          ¨ Contingent
         ARLINGTON VA 22207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6398. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.10                  $66.10
         STANTON, CHANTEL
         350 GALE BLVD                            ¨ Contingent
         APT 4
         MELVINDALE MI 48122                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2133 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2243 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6399. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $273.62                 $273.62
         STANTON, MEAGAN
         1203 KELLOGG AVE.                        ¨ Contingent
         UTICA NY 13502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6400. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $605.14                 $605.14
         STARK, MADISYN O
         1000 CASCADEWAY DRIVE                    ¨ Contingent
         MURFREESBORO TN 37129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6401. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $798.80                 $798.80
         STARKE, MADELINE M
         1252 E ST. GERMAIN ST                    ¨ Contingent
         APT 106
         SAINT CLOUD MN 56304                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2134 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2244 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6402. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $236.43                 $236.43
         STARKS, JASMINE
         10535 S FOREST AVE                       ¨ Contingent
         CHICAGO IL 60628
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6403. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $52.33                  $52.33
         STATE OF DELAWARE
         GROSS RECEIPTS TAX                       ¨ Contingent
         PO BOX 2340
         WILMINGTON DE 18999-2340                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         JANUARY '19                              TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.6404. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,836.67               $3,836.67
         STAUDT, ALLISON
         118 LOWER ROCKY POINT ROAD               ¨ Contingent
         SOUND BEACH NY 11789
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2135 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2245 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6405. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $589.80                 $589.80
         STEARS, KACI J
         11422 CREAGERSTOWN RD                    ¨ Contingent
         WOODSBORO MD 21798
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6406. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.55                  $29.55
         STEED, CHATORIA
         5348 CONTENDER LANE                      ¨ Contingent
         #1423
         FORT WORTH TX 76132                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6407. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $522.76                 $522.76
         STEEL, ASHLIE A
         4504 W JUNIPER DRIVE APT. B              ¨ Contingent
         USAF ACADEMY CO 80840
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2136 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2246 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6408. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $579.19                 $579.19
         STEELE, SHANICE
         1311 E WALDBURG ST                       ¨ Contingent
         SAVANNAH GA 31404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6409. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $558.85                 $558.85
         STEELE, TIANA R
         140 N MEADOW ST                          ¨ Contingent
         APT 3
         WATERTOWN NY 13601                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6410. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.95                  $33.95
         STEFANOW, MEGAN M
         28574 REVERE                             ¨ Contingent
         WARREN MI 48092
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2137 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2247 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6411. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $315.90                 $315.90
         STEFFENSON, CAITLIN J
         971 KENNEDY PL                           ¨ Contingent
         TRACY CA 95377
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6412. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $199.06                 $199.06
         STELTNER, KALIN A
         8720 DWIGHT BOYER RD.                    ¨ Contingent
         WATERVLIET MI 49098
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6413. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.88                 $103.88
         STEPANEK, SARAH
         13062 BLACKHAWK AVENUE                   ¨ Contingent
         GRAND HAVEN MI 49417
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2138 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2248 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6414. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $383.75                 $383.75
         STEPTOE, CINE
         540 JASMINE LANE                         ¨ Contingent
         COLUMBIA SC 29203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6415. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.32                  $67.32
         STERN, JESSICA M
         18330 N. 79TH AVE.                       ¨ Contingent
         3155
         GLENDALE AZ 85308                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6416. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $97.25                  $97.25
         STESLICKE, JOCELYN F
         23393 NC HWY 902                         ¨ Contingent
         BENNETT NC 27208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2139 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2249 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6417. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $328.76                 $328.76
         STEVENS, JAYDEN A
         5921 WATERFORD BLUFF LANE                ¨ Contingent
         1414
         RALEIGH NC 27612                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6418. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,724.58               $3,724.58
         STEVENS, LAUREN A
         3724 HOMESTEAD DR                        ¨ Contingent
         MEAD CO 80542
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6419. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.20                 $139.20
         STEVENS, MYA A
         31200 FM 2920 RD                         ¨ Contingent
         912
         WALLER TX 77484                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2140 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2250 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6420. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.54                  $70.54
         STEVENS, SERENITY S
         7156 ANDREWS AVENUE                      ¨ Contingent
         PHILADELPHIA PA 19138
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6421. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $161.04                 $161.04
         STEVENSON, CURTSHA T
         2775 N STATE HWY 360 APARTMENT           ¨ Contingent
         GRAND PRAIRIE TX 75050
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6422. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.56                 $153.56
         STEVENSON, JA'LEESA S
         1515 S FANNIN ST                         ¨ Contingent
         SOUR LAKE TX 77659-7243
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2141 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2251 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6423. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.66                 $155.66
         STEWARD, WENDY R
         1647 CITADEL DR                          ¨ Contingent
         COLUMBIA MO 65202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6424. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $228.58                 $228.58
         STEWART, ANDREA L
         237 LAKESIDE DRIVE                       ¨ Contingent
         STEPHENS CITY VA 22655
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6425. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.09                 $196.09
         STEWART, ASHLEY N
         12 MEADOW DRIVE                          ¨ Contingent
         LONDONDERRY NH 03053
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2142 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2252 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6426. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $652.88                 $652.88
         STEWART, CAREY
         4851 PENNY CV                            ¨ Contingent
         SOUTHAVEN MS 38672-6647
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6427. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $9,465.70               $9,465.70
         STEWART, DARRA L
         4358 COOPER OAKS DR SE                   ¨ Contingent
         SMYRNA GA 30082
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6428. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.35                  $81.35
         STEWART, DREW A
         104 VALLEY HIGH ROAD                     ¨ Contingent
         BURNSVILLE MN 55337
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2143 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2253 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6429. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.91                  $77.91
         STEWART, SOYAN R
         2304 SOUTH HELEN'S WAY AVENUE            ¨ Contingent
         GONZALES LA 70737
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6430. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,486.97               $3,486.97
         STEWART, TINA C
         22835 COUNTY ROAD 38                     ¨ Contingent
         SUMMERDALE AL 36580
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6431. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.45                  $76.45
         STICH, SAMANTHA L
         621 1/2 UNION STREET                     ¨ Contingent
         EAU CLAIRE WI 54703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2144 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2254 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6432. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.30                 $148.30
         STIMPERT, KEELEY
         1380 CHAPARRAL LANE                      ¨ Contingent
         WINTER SPRINGS FL 32708
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6433. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $162.62                 $162.62
         STINYARD, CHANEL P
         3964 CELESTE DR.                         ¨ Contingent
         205
         SPRINGDALE AR 72762                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6434. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.19                 $154.19
         STIRRUP, ALYSSA K
         8734 LEPERE SCHOOL ROAD                  ¨ Contingent
         MILLSTADT IL 62260
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2145 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2255 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6435. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.00                 $246.00
         STITH, RICKYA S
         73 CHARITON DR                           ¨ Contingent
         EAST STROUDSBURG PA 18301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6436. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $654.06                 $654.06
         STITH, SAMARA
         859 PAULDING STREET                      ¨ Contingent
         2
         PEEKSKILL NY 10566                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6437. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.47                 $136.47
         STOFKOVA, ADRIANA
         504 WILLOW GROVE ST                      ¨ Contingent
         HACKETTSTOWN NJ 07840
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2146 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2256 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6438. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $835.83                 $835.83
         STOJANOVICH, NESSA S
         13685 W. PLEASANTVIEW DR.                ¨ Contingent
         NEW BERLIN WI 53151
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6439. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $405.63                 $405.63
         STOKES, KEANNA
         2117 W NEWMAN PARKWAY                    ¨ Contingent
         PEORIA IL 61604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6440. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.48                 $166.48
         STOKES, TAYLER A
         3341 MYRTLE AVE                          ¨ Contingent
         EDMOND OK 73034
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2147 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2257 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6441. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $467.00                 $467.00
         STOLFE, PAIGE
         3748 AUTUMN RIDGE RD                     ¨ Contingent
         TERRE HAUTE IN 47802-9232
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6442. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $267.96                 $267.96
         STONE, ALEXIS L
         2610 ALVERADO DR                         ¨ Contingent
         BELLINGHAM WA 98229
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6443. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,065.02               $4,065.02
         STONE, MARGARET M
         2254 10TH STREET                         ¨ Contingent
         APT. 5
         CORALVILLE IA 52241                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2148 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2258 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6444. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.26                 $218.26
         STONEHOUSE, SEAN R
         65 MIDDLEBORO ROAD                       ¨ Contingent
         EAST FREETOWN MA 02717
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6445. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.60                 $150.60
         STONEY, JENISE M
         1100 HOWE AVE                            ¨ Contingent
         540
         SACRAMENTO CA 95825                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6446. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $292.61                 $292.61
         STORRS, SIERRA R
         2003 KIMBALL AVE                         ¨ Contingent
         ARNOLD PA 15068
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2149 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2259 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6447. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.19                 $113.19
         STRADER, HANNA J
         12318 246TH RD                           ¨ Contingent
         HOLTON KS 66436
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6448. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.64                 $146.64
         STRANGE, BRIANA L
         23 KIRBY STREET                          ¨ Contingent
         #2
         MARLBOROUGH MA 01752                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6449. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,596.46               $3,596.46
         STRAUGHN, DENISE M
         1809 BAY OAKS CIR.                       ¨ Contingent
         MILTON FL 32583
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2150 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2260 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6450. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.43                  $34.43
         STRAUGHN, NATALIE
         5481 NW 15TH PLACE                       ¨ Contingent
         GAINESVILLE FL 32605
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6451. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,309.39               $3,309.39
         STRAUGHTER, TIFFANY
         5788 GRAMERCY DR                         ¨ Contingent
         WEST PALM BEACH FL 33407-1624
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6452. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.76                  $72.76
         STRAUN, KALEEMA J
         1635 PALM LEAF DR                        ¨ Contingent
         BRANDON FL 33510
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2151 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2261 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6453. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.10                 $246.10
         STRAW, LYNNE P
         8339 CHERRY CORNER RD                    ¨ Contingent
         CURWENSVILLE PA 16833
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6454. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.50                 $205.50
         STREATER, KENDRA A
         1640 OCEAN PARKWAY                       ¨ Contingent
         D65
         BROOKLYN NY 11223                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6455. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.98                  $64.98
         STREETER, TAYA S
         66 ROBINSON AVE                          ¨ Contingent
         ASHEVILLE NC 28803
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2152 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2262 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6456. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $251.60                 $251.60
         STREMEL, ANA F
         3925 SHERATON CIRCLE                     ¨ Contingent
         BOYNTON BEACH FL 33436
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6457. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $483.40                 $483.40
         STRICKLAND, JORDYN M
         3772 WALWORTH ONTARIO RD                 ¨ Contingent
         WALWORTH NY 14568
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6458. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $363.66                 $363.66
         STRINGER, STEPHANIE
         1021 CENTRAL AVE                         ¨ Contingent
         WILMETTE IL 60091
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2153 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2263 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6459. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,955.45               $2,955.45
         STRONG, BRITTANY
         6887 CROSSWOODS CIR.                     ¨ Contingent
         APT 196
         CITRUS HEIGHTS CA 95621                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6460. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,966.76               $4,966.76
         STRONG, HALEY E
         3100 DOCKSIDE CIRCLE                     ¨ Contingent
         APT 17
         RALEIGH NC 27613                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6461. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.23                  $56.23
         STRONG, HILLARY D
         912 HILLWOOD DRIVE SW                    ¨ Contingent
         DECATUR AL 35601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2154 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2264 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6462. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $402.93                 $402.93
         STRONG, KATELYN R
         2 CAMBRIDGE MNR #26                      ¨ Contingent
         CLINTON NY 13323
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6463. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.60                  $30.60
         STRONG, TE'A K
         91-1089 PUAMAEOLE ST APT U               ¨ Contingent
         EWA BEACH HI 96706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6464. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $827.88                 $827.88
         STROPE, MIKAELA R
         601 BILL FRANCE BOULEVARD                ¨ Contingent
         APARTMENT 1707
         DAYTONA BEACH FL 32114                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2155 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2265 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6465. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $293.48                 $293.48
         STROUT, SARAH N
         1831 E APACHE BLVD                       ¨ Contingent
         1136
         TEMPE AZ 85281                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6466. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.32                 $138.32
         STROWD, JACQUELINE
         1144 DOGWOOD ST.                         ¨ Contingent
         TURBEVILLE SC 29162
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6467. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $538.30                 $538.30
         STUARD, REAGAN-RUBY D
         3808 FM 715                              ¨ Contingent
         MIDLAND TX 79706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2156 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2266 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6468. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.17                 $129.17
         STUBY, ALEXA C
         15216 GRAND SUMMIT EXTENSION             ¨ Contingent
         GRANDVIEW MO 64030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6469. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.01                  $39.01
         STUDER, MARISSA
         407 CALDWELL AVE                         ¨ Contingent
         WILMERDING PA 15148
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6470. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.65                  $75.65
         STULTS, ASHLEIGH J
         108 TAYLOR LAKE DRIVE                    ¨ Contingent
         TROY IL 62294
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2157 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2267 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6471. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $761.08                 $761.08
         STUTTE, KELSEY C
         119 CONCORD DRIVE NE                     ¨ Contingent
         PORT CHARLOTTE FL 33952
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6472. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $615.24                 $615.24
         STUTZ, JENNA P
         22 FURNACE LANE                          ¨ Contingent
         PEMBROKE MA 02359
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6473. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.53                 $239.53
         STUTZ, JILIAN S
         252 LILAC PLACE                          ¨ Contingent
         PALMYRA VA 22963
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2158 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2268 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6474. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.96                 $196.96
         SUAREZ, EMELYN
         385 MAIN ST.                             ¨ Contingent
         C4
         DANBURY CT 06810                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6475. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.60                  $50.60
         SUAREZ, JOANNA A
         6759 E CALLE MERCURIO                    ¨ Contingent
         TUCSON AZ 85710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6476. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.50                 $136.50
         SUAREZ, KATIE S
         709 DEKALB AV                            ¨ Contingent
         6
         BROOKLYN NY 11216                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2159 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2269 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6477. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $304.08                 $304.08
         SUBIA, MONTSERRAT
         6001 AMARILLO AVE                        ¨ Contingent
         LA MESA CA 91942
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6478. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.36                  $30.36
         SUDDUTH, FAITH
         4242 SPRING ST.                          ¨ Contingent
         APT 35
         LA MESA CA 91941                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6479. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $0.00                   $0.00
         SUDDUTH, KARLA
         7953 PEACEFUL WAY                        ¨ Contingent
         LIBERTY TOWNSHIP OH 45044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2160 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2270 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6480. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.14                  $30.14
         SULLIVAN, CYANE M
         9226 S 73RD E AVE                        ¨ Contingent
         TULSA OK 74133
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6481. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $273.17                 $273.17
         SULLIVAN, KARA L
         8939 FRANKLIN TRENTON RD                 ¨ Contingent
         CARLISLE OH 45005
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6482. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $236.82                 $236.82
         SULLIVAN, LISA
         1810 E GEER ST                           ¨ Contingent
         DURHAM NC 27704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2161 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2271 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6483. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $482.67                 $482.67
         SUMMERFIELD, LEE A
         12705 MARINERS CT                        ¨ Contingent
         26
         NEWPORT NEWS VA 23606                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6484. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $510.73                 $510.73
         SUMMERS, JENNIFER
         1520 AVALON                              ¨ Contingent
         BEAUMONT TX 77707
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6485. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $489.47                 $489.47
         SUMRALL, CHRISTY L
         13349 SARTORIS COURT                     ¨ Contingent
         FOLEY AL 36535
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2162 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2272 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6486. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.16                 $146.16
         SUMTER, ZANAJA
         13 UNDERWOOD AVE                         ¨ Contingent
         GREENVILLE SC 29607
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6487. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.58                  $33.58
         SUN, JESSICA
         203 S JUDD ST                            ¨ Contingent
         SIOUX CITY IA 51103
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6488. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,429.28               $1,429.28
         SUNDERLAND, LYDIA
         1732 HAZELWOOD ROAD                      ¨ Contingent
         CLARKSVILLE TN 37042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2163 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2273 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6489. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,693.11               $3,693.11
         SUNN, MARY
         9814 WEST BELOIT RD.                     ¨ Contingent
         MILWAUKEE WI 53227
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6490. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.71                  $88.71
         SURECHIEF, HAYLEY
         1372 HAWTHORNE AVE. S.E                  ¨ Contingent
         SMYRNA GA 30080
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6491. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.57                  $60.57
         SURLES, SHAWANA L
         3031 NORTHINGTON DR                      ¨ Contingent
         APT 401
         MONTGOMERY AL 36108                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2164 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2274 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6492. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $702.03                 $702.03
         SURRATT, ARIELLE D
         36091 SPRUCE STREET                      ¨ Contingent
         NEWARK CA 94560
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6493. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $476.19                 $476.19
         SURRELL, MONICA O
         3440 DUNDEE LANE                         ¨ Contingent
         JACKSON MS 39212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6494. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $603.75                 $603.75
         SURUJDEO, CRYSTAL D
         142-14 123 AVENUE                        ¨ Contingent
         JAMAICA NY 11436
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2165 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2275 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6495. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.40                  $95.40
         SUTHERLAND, RHYANNA
         253-20 CRAFT AVENUE                      ¨ Contingent
         ROSEDALE NY 11422
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6496. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,100.85               $1,100.85
         SUTTON, DALAZHANEI
         361 N. NELLIS BLVD                       ¨ Contingent
         #104
         LAS VEGAS NV 89110                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6497. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $347.99                 $347.99
         SUTTON, HANNAH G
         2001 RED BANK RD LOT 427                 ¨ Contingent
         DOVER PA 17315
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2166 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2276 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6498. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $706.86                 $706.86
         SUTTON, SARAH
         624 YALE BLVD                            ¨ Contingent
         SAINT CHARLES MO 63301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6499. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.30                 $149.30
         SWAKED, NANSEE
         5731 W 92ND AVE                          ¨ Contingent
         APT #105
         WESTMINSTER CO 80031                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6500. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $307.91                 $307.91
         SWANK, KATRINA
         2777 CARNEGIE RD                         ¨ Contingent
         APT 204
         YORK PA 17402                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2167 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2277 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6501. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.40                 $246.40
         SWANSON, GRACE E
         1616 NE 50TH ST                          ¨ Contingent
         SEATTLE WA 98105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6502. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.25                  $65.25
         SWANSON, KARLI A
         6960 WEST 86TH PLACE                     ¨ Contingent
         CROWN POINT IN 46307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6503. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $369.08                 $369.08
         SWART, LINDSEY G
         1245 KINGSTON WAY                        ¨ Contingent
         GARDNERVILLE NV 89460
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2168 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2278 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6504. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $207.08                 $207.08
         SWARTZ, SHAWN R
         1650 PERRY HIGHWAY                       ¨ Contingent
         MERCER PA 16137
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6505. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,199.25               $1,199.25
         SWEENEY, MORGAN C
         7700 GLEASON DRIVE                       ¨ Contingent
         APT 34I
         KNOXVILLE TN 37919                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6506. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $663.39                 $663.39
         SWEETAPPLE, BROOKE M
         101 NORTH GORDON ROAD                    ¨ Contingent
         FORT LAUDERDALE FL 33301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2169 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2279 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6507. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,110.93               $7,110.93
         SWEIGERT, ROBERT C
         259 SHETLAND DRIVE                       ¨ Contingent
         ST. JOHN'S FL 32259
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6508. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.76                 $170.76
         SWETLAND, MELISSA
         49 SUNSET LANE                           ¨ Contingent
         VACAVILLE CA 95687
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6509. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $333.48                 $333.48
         SWIDZINSKI, KIRA F
         22 HILARY DRIVE                          ¨ Contingent
         BAYVILLE NY 11709
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2170 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2280 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6510. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,430.04               $1,430.04
         SWINTON, AMIESHA
         8710 CAMERON ST UNIT 926                 ¨ Contingent
         SILVER SPRING MD 20910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6511. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.26                 $148.26
         SWITALSKI, LUCIE V
         5348 W FOREST TRAIL                      ¨ Contingent
         OAK FOREST IL 60452
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6512. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.50                 $120.50
         SWOOPES, MELEAH
         509 WEST LAKESIDE DRIVE                  ¨ Contingent
         FLORENCE AL 35630
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2171 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2281 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6513. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.42                 $107.42
         SYLVAIN, MARKITA L
         4040 W TWAIN AVE                         ¨ Contingent
         #137
         LAS VEGAS NV 89103                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6514. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $295.48                 $295.48
         SYME, ELISABETH G
         4000 39TH BLVD                           ¨ Contingent
         212
         GAINESVILLE FL 32608                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6515. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $468.96                 $468.96
         SYMONDS, KERI L
         29 VICTORY ST                            ¨ Contingent
         CRANSTON RI 02910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2172 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2282 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6516. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $553.36                 $553.36
         SYMONDS, KIRA L
         29 VICTORY STREET                        ¨ Contingent
         CRANSTON RI 02910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6517. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $222.09                 $222.09
         SZAJEWSKI, KATARZYNA J
         3440 N OKETO AVE                         ¨ Contingent
         CHICAGO IL 60634
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6518. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.19                  $65.19
         SZCZESNY, ISAIAH
         317 CASPER DR                            ¨ Contingent
         SPARTANBURG SC 29307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2173 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2283 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6519. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $261.63                 $261.63
         SZESNAT, MEGAN J
         22 ALBRIGHT AVE                          ¨ Contingent
         ALBANY NY 12203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6520. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.40                 $143.40
         TABLAS, ARACELY
         303 47TH ST                              ¨ Contingent
         G-3
         SAN DIEGO CA 92102                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6521. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $579.26                 $579.26
         TABOR, SAGE N
         1315 N. MERDIAN                          ¨ Contingent
         WICHITA KS 67203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2174 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2284 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6522. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.73                  $44.73
         TAFT, ABBY M
         8 HEIGHTS COURT                          ¨ Contingent
         BINGHAMTON NY 13905
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6523. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.85                  $66.85
         TAFT, ZOEY A
         328 MATTHEWS RD                          ¨ Contingent
         SPRINGBROOK TWP PA 18444
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6524. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,091.27               $3,091.27
         TAGUE, JOED V
         7707 MARY CAROLYN STREET                 ¨ Contingent
         SAN ANTONIO TX 78240
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2175 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2285 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6525. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,363.86               $1,363.86
         TAHA, SANNA
         3914 ASHWORTH PL                         ¨ Contingent
         LAKELAND FL 33810-3802
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6526. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $282.96                 $282.96
         TAIT, ELIZABETH
         4288 CHRISTOPER MICHAEL COURT            ¨ Contingent
         TRACY CA 95377
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6527. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $0.00                   $0.00
         TAKAHASHI-ROSALES, PAOLA
         140 E BERKELEY ST.                       ¨ Contingent
         GLADSTONE OR 97027
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2176 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2286 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6528. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.00                  $84.00
         TAKAHASHI-ROSALES, PAOLA
         140 E BERKELEY ST.                       ¨ Contingent
         GLADSTONE OR 97027
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6529. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $192.00                 $192.00
         TALAVERA-MONTIEL, JOCELYN
         9214 MALLISON AVE                        ¨ Contingent
         SOUTH GATE CA 90280
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6530. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,503.05               $2,503.05
         TALBERT, KRISTINA S
         7904 DUNHILL VILLAGE APT 201             ¨ Contingent
         201
         BALTIMORE MD 21244                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2177 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2287 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6531. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.12                 $108.12
         TALFORD, MARAVIA
         6801 LEISURE TOWN ROAD                   ¨ Contingent
         APT 63
         VACAVILLE CA 95688                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6532. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.51                  $58.51
         TALMAGE, MONTANA L
         2119 W 41ST ST                           ¨ Contingent
         TULSA OK 74107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6533. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $282.72                 $282.72
         TALON, KATRYNA
         2304 TAYLOR AVENUE                       ¨ Contingent
         BELLINGHAM WA 98225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2178 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2288 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6534. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $231.24                 $231.24
         TAN, DANIELLE S
         5912 CASTANA AVENUE                      ¨ Contingent
         LAKEWOOD CA 90712
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6535. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $523.18                 $523.18
         TANEKEU, LYNDA
         19125 CHERRY BEND DR                     ¨ Contingent
         GERMANTOWN MD 20874
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6536. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $510.09                 $510.09
         TANELUS, CYNTHIA
         5413 21 ST PL SW                         ¨ Contingent
         NAPLES FL 34116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2179 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2289 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6537. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $316.44                 $316.44
         TANFORAN, KAIYAH
         1488 RED RIBBONS LANE                    ¨ Contingent
         MANTECA CA 95337
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6538. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $523.50                 $523.50
         TANGLAO, DENNICKA GAIL C
         29 PERITA DRIVE                          ¨ Contingent
         DALY CITY CA 94015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6539. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.44                  $37.44
         TANIGUCHI, HARVEST L
         3100 JANE PL NE                          ¨ Contingent
         B201
         ALBUQUERQUE NM 87111                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2180 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2290 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6540. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,259.10               $4,259.10
         TANNER, LEALA E
         888 O'FARRELL STREET #311                ¨ Contingent
         SAN FRANCISCO CA 94109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6541. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $216.15                 $216.15
         TANNER, RACHEL D
         808 ASHWOOD COURT                        ¨ Contingent
         808 ASHWOOD CO
         ORANGE PARK FL 32065                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6542. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.64                 $126.64
         TAORMINA, IRIS K
         2636 GALACTIC HALO AVE                   ¨ Contingent
         HENDERSON NV 89044
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2181 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2291 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6543. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $455.73                 $455.73
         TAPIA, JANNIFER A
         1713 EL CENTRO AVE                       ¨ Contingent
         SEELEY CA 92273
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6544. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,439.06               $1,439.06
         TAPIA, JOYCELYN
         3977 HAHN AVE                            ¨ Contingent
         BETHPAGE NY 11714
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6545. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.37                  $64.37
         TAPIA, ROSALES HEMIMA
         5345 E 106TH ST                          ¨ Contingent
         INDIANAPOLIS IN 46280
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2182 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2292 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6546. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $28.64                  $28.64
         TAPIA, VIZCARRONDO DALISHA L
         STREET 3 BB17 URB EL CORTIJO             ¨ Contingent
         BAYAMON PR 00956
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6547. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.92                 $115.92
         TAPIA-MONTOYA, SHAYLEE J
         5405 VIERRA AVE. SW                      ¨ Contingent
         ALBUQUERQUE NM 87105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6548. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.76                 $101.76
         TARANGO, GISELLE M
         1345 E ORANGE GROVE AVE.                 ¨ Contingent
         GLENDALE CA 91205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2183 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2293 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6549. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $637.47                 $637.47
         TARASYUK, JULIANNA V
         10215 NE 5TH STREET                      ¨ Contingent
         VANCOUVER WA 98664
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6550. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.71                 $151.71
         TARBERT, KARA N
         3780 DAVIS CORNER ROAD                   ¨ Contingent
         STREET MD 21154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6551. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $240.84                 $240.84
         TARIN, AISHA
         1805 KAGEHIRO DRIVE                      ¨ Contingent
         TRACY CA 95376
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2184 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2294 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6552. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $117.60                 $117.60
         TARIN, MARIA
         12400 CYPRESS AVE #45                    ¨ Contingent
         CHINO CA 91710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6553. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.31                  $39.31
         TARIN, VALERIA
         3428 W. MAIN ST                          ¨ Contingent
         APT 8
         KALAMAZOO MI 49006                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6554. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.50                 $153.50
         TATE, EMARI V
         20703 CRYSTAL HILL CIRCLE                ¨ Contingent
         APT O
         GERMANTOWN MD 20874                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2185 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2295 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6555. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $508.73                 $508.73
         TAUB, DANIKA C
         2912 HUNTER ST                           ¨ Contingent
         SHARPSVILLE PA 16150
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6556. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,714.85               $1,714.85
         TAVARES, KAREN L
         58 THURBER AVE                           ¨ Contingent
         SOMERSET MA 02725
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6557. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $458.30                 $458.30
         TAVERAS, JESSIE
         56 HAMPSTEAD ST                          ¨ Contingent
         METHUEN MA 01844
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2186 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2296 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6558. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.29                  $31.29
         TAVITA, SCHAE-MARIE H
         99830 NAHIOLEA STREET                    ¨ Contingent
         HALAWA HEIGHTS HI 96701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6559. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $341.04                 $341.04
         TAWADROS, KALEY N
         3706 E NORTH ST APT                      ¨ Contingent
         D6
         GREENVILLE SC 29615                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6560. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.27                 $120.27
         TAWADROS, NARDINE
         4180 MCCLOSKEY CT                        ¨ Contingent
         CHANTILLY VA 20151
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2187 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2297 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6561. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $17,012.86              $17,012.86
         TAX ASSESSOR - COLLECTOR
         PO BOX 961018                            ¨ Contingent
         FORT WORTH TX 76161-0018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.6562. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,445.57               $7,445.57
         TAX ASSESSOR/COLLECTOR
         PO BOX 2992                              ¨ Contingent
         EL PASO TX 79999-2992
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.6563. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.57                 $159.57
         TAYLOR, ASHLYE
         4908 18TH ST E                           ¨ Contingent
         BRADENTON FL 34203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2188 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2298 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6564. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.45                 $150.45
         TAYLOR, ASYEN N
         1805 ANNALEE DRIVE                       ¨ Contingent
         ANTIOCH TN 37013
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6565. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $448.83                 $448.83
         TAYLOR, CATIE M
         2409 FOXFIELD DRIVE                      ¨ Contingent
         GLENSHAW PA 15116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6566. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.78                  $65.78
         TAYLOR, DEZIREE
         1717 CANDEE ST                           ¨ Contingent
         GEORGETOWN TX 78626
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2189 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2299 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6567. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $46.16                  $46.16
         TAYLOR, ELLEASA
         5139 VANHOY LN                           ¨ Contingent
         CHARLOTTE NC 28269
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6568. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $416.87                 $416.87
         TAYLOR, JASMINE R
         702 CAPRI ST                             ¨ Contingent
         MONTGOMERY AL 36105-1512
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6569. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.53                 $112.53
         TAYLOR, JEVONNE J
         7701 W. SAINT JOHN RD                    ¨ Contingent
         1025
         GLENDALE AZ 85308                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2190 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2300 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6570. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.76                 $104.76
         TAYLOR, MADESTINI Q
         2636 HOWARD ST.                          ¨ Contingent
         LAKE STATION IN 46405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6571. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.43                 $149.43
         TAYLOR, MESHARRA J
         882 MILES LANE                           ¨ Contingent
         DOTHAN AL 36303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6572. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $189.96                 $189.96
         TAYLOR, NAJIRE
         270 W STEUBEN ST.                        ¨ Contingent
         PITTSBURGH PA 15205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2191 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2301 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6573. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.95                  $44.95
         TAYLOR, RAVEEN
         3495 PROMENADE PLACE                     ¨ Contingent
         APT 123
         WALDORF MD 20603                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6574. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,070.89               $6,070.89
         TAYLOR, SHEILA F
         2517 43RD AVE                            ¨ Contingent
         TUSCALOOSA AL 35401-6258
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6575. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $243.36                 $243.36
         TAYLOR, TAT'YANA L
         1000 MCDONALD WAY                        ¨ Contingent
         #4
         BAKERSFIELD CA 93309                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2192 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2302 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6576. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.16                 $110.16
         TAYLOR, TIANNA J
         3967 N. WEST AVE                         ¨ Contingent
         FRESNO CA 93705
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6577. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,823.05               $3,823.05
         TAYLOR, YVONNE L
         2129 CRESTMONT ST                        ¨ Contingent
         NORMAN OK 73069
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6578. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $50.70                  $50.70
         TAYLOR-JONES, JASMINE C
         3 SCOTT STREET                           ¨ Contingent
         NORWALK CT 06851
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2193 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2303 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6579. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $303.53                 $303.53
         TEAGER, SABRINA
         2516 S. SYCAMORE AVE                     ¨ Contingent
         LOS ANGELES CA 90016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6580. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $17.81                  $17.81
         TEAGER, SABRINA
         2516 S. SYCAMORE AVE                     ¨ Contingent
         LOS ANGELES CA 90016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6581. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.11                  $85.11
         TEAGUE, SYMPHANY
         4045 GEORGE BUSBEE PKWY NW               ¨ Contingent
         13202
         KENNESAW GA 30144                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2194 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2304 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6582. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,591.88               $3,591.88
         TEAL, DEMETRIAS C
         4901 KINSEY DR                           ¨ Contingent
         APT 2322
         TYLER TX 75703-3040                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6583. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.92                 $123.92
         TEASLEY, MIYANA K
         6530 W DENNY CT                          ¨ Contingent
         CHESTERFIELD VA 23832
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6584. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $436.20                 $436.20
         TEIXEIRA, MILLENA V
         15 JULIAN LANE                           ¨ Contingent
         MILFORD MA 01757
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2195 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2305 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6585. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,459.78               $1,459.78
         TEJADA, ALBELIS D
         33 CROYLAND RD                           ¨ Contingent
         2
         PROVIDENCE RI 02905-2101                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6586. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.43                  $93.43
         TEJADA, BRITNEY B
         4309 URBANA DRIVE                        ¨ Contingent
         FORT SMITH AR 72904
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6587. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.40                  $67.40
         TEJADA, CRYSTAL
         3633 CLIFTON ROAD                        ¨ Contingent
         UNIT B
         GREENSBORO NC 27407                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2196 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2306 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6588. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $237.24                 $237.24
         TELLEZ, VERA JENNIFER S
         406 OAKLAWN AVE                          ¨ Contingent
         APT H
         CHULA VISTA CA 91910                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6589. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.84                  $75.84
         TELLY, BRIANNA
         145 ROBERT AVE APT 116                   ¨ Contingent
         RIPON CA 95366
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6590. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.00                 $120.00
         TENBUSH, KAMRYN L
         788 NE EDGEHILL DRIVE                    ¨ Contingent
         ESTACADA OR 97023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2197 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2307 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6591. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $184.17                 $184.17
         TENSON, DONYELL I
         117 CHERRY STREET                        ¨ Contingent
         TINTON FALLS NJ 07724
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6592. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $729.94                 $729.94
         TEO-SALVADOR, ANA M
         3627 BARCROFT VIEW TERRACE APT           ¨ Contingent
         FALLS CHURCH VA 22041
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6593. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $567.34                 $567.34
         TERCEIRA, KAITLIN M
         48 DELMAGE RD                            ¨ Contingent
         SWANSEA MA 02777
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2198 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2308 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6594. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $226.69                 $226.69
         TERMEH, SUBHIYAH
         310 VICTORIA STATION BLVD.               ¨ Contingent
         LAWRENCEVILLE GA 30043
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6595. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $500.20                 $500.20
         TERRANOVA, AMANDA K
         3612 S HOCKER AVE                        ¨ Contingent
         INDEPENDENCE MO 64055
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6596. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $445.41                 $445.41
         TERRELL, ASIA A
         7623 CARLTON ARMS BLVD                   ¨ Contingent
         WINTER HAVEN FL 33884
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2199 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2309 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6597. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.49                 $159.49
         TERRELL, KAYLEN
         728 15TH ST. N                           ¨ Contingent
         BESSEMER AL 35020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6598. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $88.09                  $88.09
         TERRELL, KIANNA S
         2710 OAK ST                              ¨ Contingent
         APT. 603
         ALTOONA PA 16601                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6599. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $238.86                 $238.86
         TERRENCE, TKEYAH T
         840 B NORTH VIRGINIA                     ¨ Contingent
         ATLANTIC CITY NJ 08401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2200 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2310 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6600. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $202.07                 $202.07
         TERRILE, SOFIA
         5800 OWENSMOUTH AVE                      ¨ Contingent
         UNIT 9
         WOODLAND HILLS CA 91367                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6601. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,871.44               $2,871.44
         TERRY, CAROLYN
         4551 KIPLING STREET APT 46               ¨ Contingent
         WHEAT RIDGE CO 80033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6602. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $361.62                 $361.62
         TERRY, SAMANTHA N
         287 ALEXANDRIA DR.                       ¨ Contingent
         HACKETTSTOWN NJ 07840
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2201 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2311 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6603. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.48                  $72.48
         TERRY, SHALANTA M
         558 BARLOW DRIVE                         ¨ Contingent
         PORTSMOUTH VA 23707
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6604. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,918.93               $4,918.93
         TESORIERO, AMBER N
         56 BEECH DR                              ¨ Contingent
         OSWEGO NY 13126
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6605. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76,674.99              $76,674.99
         TEXAS COMPTROLLER OF PUBLIC
         ACCOUNTS                                 ¨ Contingent
         PO BOX 149348
         AUSTIN TX 78714-9348                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         01/29/17-02/03/18                        TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number: 5057
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2202 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2312 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6606. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76,674.99              $76,674.99
         TEXAS COMPTROLLER OF PUBLIC
         ACCOUNTS                                 ¨ Contingent
         PO BOX 149348
         AUSTIN TX 78714-9348                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         02/04/18-02/02/19                        TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number: 5057
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.6607. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,681.93               $1,681.93
         THACH, DIEN
         1606 7TH ST SE                           ¨ Contingent
         ROANOKE VA 24013-2704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6608. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,595.56               $2,595.56
         THAMMAVONGSA, ZAY A
         9445 E. 39TH PL                          ¨ Contingent
         TULSA OK 74145
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2203 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2313 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6609. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.09                 $130.09
         THAO, PENELOPE E
         1048 ROCKDALE STREET                     ¨ Contingent
         GREEN BAY WI 54304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6610. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.53                 $239.53
         THAO, SALAH
         8142 W EGGERT PLACE                      ¨ Contingent
         MILWAUKEE WI 53218
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6611. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.13                 $153.13
         THAO, SHANNON
         412 MONTANA AVE E                        ¨ Contingent
         SAINT PAUL MN 55130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2204 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2314 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6612. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.28                  $37.28
         THAYER, SYDNEY G
         6797 MAPLEWOOD RD                        ¨ Contingent
         INDIAN RIVER MI 49749
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6613. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.68                 $145.68
         THAYRAVANH, ALYSA M
         14641 POLO RD                            ¨ Contingent
         VICTORVILLE CA 92394
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6614. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $448.06                 $448.06
         THE CITY OF LOCUST GROVE
         ATTN: BUSINESS LICENSE                   ¨ Contingent
         P.O. BOX 900
         LOCUST GROVE GA 30248                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2205 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2315 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6615. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.52                 $196.52
         THEIL, MARLEE
         145 HARMONY ROAD                         ¨ Contingent
         423
         SLIPPERY ROCK PA 16057                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6616. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.03                  $80.03
         THEISEN, JENSEN N
         1307 APPLEJACK COURT                     ¨ Contingent
         HENDERSON NV 89002
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6617. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,777.89               $2,777.89
         THEKAN, JENNIFER L
         7161 TOWNSEND DRIVE                      ¨ Contingent
         HIGHLANDS RANCH CO 80130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2206 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2316 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6618. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $291.73                 $291.73
         THIEDE, NIKKOLE L
         2311 WESTFIELD LANE                      ¨ Contingent
         BELVIDERE IL 61008
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6619. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $540.54                 $540.54
         THIGPEN, SHA'TERRA M
         14376 MCART RD                           ¨ Contingent
         30
         VICTORVILLE CA 92392                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6620. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $618.72                 $618.72
         THOMAS, ALLISON
         1015 LAKE LANE                           ¨ Contingent
         PENNSBURG PA 18073
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2207 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2317 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6621. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $274.18                 $274.18
         THOMAS, ALYSIA
         38 BEAM AVE                              ¨ Contingent
         JACKSON NJ 08527
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6622. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $331.80                 $331.80
         THOMAS, BRIANNA M
         20405 NW 11 CT                           ¨ Contingent
         MIAMI FL 33169
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6623. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.24                  $99.24
         THOMAS, CRYSTOL V
         253-17 147TH ROAD                        ¨ Contingent
         ROSEDALE NY 11422
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2208 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2318 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6624. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.05                 $160.05
         THOMAS, ESPERANZA S
         5443 W. CALLE SAN ANGELO                 ¨ Contingent
         GUADALUPE AZ 85283
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6625. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.48                  $61.48
         THOMAS, JORDAN C
         238 CARRIAGE BLVD                        ¨ Contingent
         PITTSBURGH PA 15239
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6626. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $849.75                 $849.75
         THOMAS, KAYLA J
         150 CROWN STREET                         ¨ Contingent
         B2
         BROOKLYN NY 11225                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2209 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2319 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6627. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.68                 $113.68
         THOMAS, KYLIE V
         25 OAKBROOKE                             ¨ Contingent
         TROY IL 62294
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6628. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,295.03               $1,295.03
         THOMAS, MIKALA R
         745 N 119TH AT WEST                      ¨ Contingent
         WICHITA KS 67235
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6629. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.85                 $122.85
         THOMAS, SAVANNAH M
         5000 STATION STREET                      ¨ Contingent
         APT. 112
         MORGANTOWN WV 26501                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2210 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2320 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6630. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.11                 $174.11
         THOMAS, TRANCE
         1210 PALM BEACH LAKES BLVD               ¨ Contingent
         APT#C11
         WEST PALM BEACH FL 33401                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6631. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $717.03                 $717.03
         THOMAS, TYRA A
         3420 ANDREW COURT                        ¨ Contingent
         APT 302
         LAUREL MD 20724                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6632. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.96                 $180.96
         THOMASON, NICOLE M
         512 NORTH DR. PO BOX 1514                ¨ Contingent
         LEBEC CA 93243
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2211 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2321 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6633. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.42                  $83.42
         THOMPSON, ALEXIS B
         10618 E 66TH ST S 160                    ¨ Contingent
         TULSA OK 74133
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6634. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.16                 $175.16
         THOMPSON, ANISSIYA
         18 SHAW STREET                           ¨ Contingent
         UTICA NY 13502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6635. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.80                 $220.80
         THOMPSON, AUBREYANNA
         2042 ROHDEA WAY                          ¨ Contingent
         OXNARD CA 93030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2212 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2322 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6636. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $251.52                 $251.52
         THOMPSON, BRIQUETTE
         14117 SNAFFLE BIT TRAIL                  ¨ Contingent
         HASLET TX 76052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6637. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $538.51                 $538.51
         THOMPSON, BRITTNEY B
         770 1/2 MILLER STREET                    ¨ Contingent
         LUZERNE PA 18709
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6638. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $436.62                 $436.62
         THOMPSON, DESTIN D
         3301 W ESPLANADE AVE N APT 508           ¨ Contingent
         5084B
         METAIRIE LA 70002                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2213 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2323 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6639. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.24                  $79.24
         THOMPSON, GABRIELLE B
         6467 GRAWOOD DR                          ¨ Contingent
         KEITHVILLE LA 71047
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6640. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.30                  $33.30
         THOMPSON, II DAVID W
         12335 ALEXANDRIA                         ¨ Contingent
         SAN ANTONIO TX 78233
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6641. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $380.60                 $380.60
         THOMPSON, JANET O
         3117 W ARTHUR AVENUE                     ¨ Contingent
         CHICAGO IL 60645
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2214 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2324 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6642. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,030.55               $2,030.55
         THOMPSON, JASMYN M
         6606 N 89TH CT APT D                     ¨ Contingent
         D
         OMAHA NE 68122                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6643. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $490.98                 $490.98
         THOMPSON, JAYLA
         15 BABCOCK LANE                          ¨ Contingent
         WILLINGBORO NJ 08046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6644. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,655.98               $3,655.98
         THOMPSON, NATALIE L
         740 NE 199TH ST                          ¨ Contingent
         105G
         MIAMI FL 33179                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2215 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2325 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6645. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.47                 $153.47
         THOMPSON, REBECCA D
         110 SCHOOL STREET                        ¨ Contingent
         MORGANTOWN WV 26505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6646. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.91                  $68.91
         THOMPSON, SABRINA R
         2317 PARK LANE                           ¨ Contingent
         W6
         HOLT MI 48842                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6647. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,304.72               $2,304.72
         THOMPSON, SHANEE M
         10342 98TH ST                            ¨ Contingent
         OZONE PARK NY 11417-1643
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2216 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2326 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6648. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $303.45                 $303.45
         THOMPSON, SHAVONNE S
         90 EASTGAY DRIVE                         ¨ Contingent
         A
         AKRON OH 44313                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6649. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.77                 $102.77
         THOMPSON, TAMIKA S
         1648 INDIAN WAY                          ¨ Contingent
         OKEMOS MI 48864
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6650. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $414.12                 $414.12
         THORNTON, DENISHA L
         2592 COLUMBUS WAY SOUTH                  ¨ Contingent
         SAINT PETERSBURG FL 33712
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2217 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2327 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6651. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.08                 $165.08
         THORNTON, GABRIELLE E
         7919 CAPISTRANO DRIVE                    ¨ Contingent
         RICHMOND VA 23227
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6652. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $923.54                 $923.54
         THORNTON, JASMINE
         1001 E 77TH ST                           ¨ Contingent
         APT 207
         RICHFIELD MN 55423                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6653. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.48                 $104.48
         THREETS, AISLING A
         13125 GREY WOLF LANE                     ¨ Contingent
         COVINGTON GA 30014
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2218 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2328 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6654. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $118.96                 $118.96
         THRELKELD, IYANA S
         911 BEARD ST                             ¨ Contingent
         APT 1
         FLINT MI 48503                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6655. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.52                 $179.52
         THROWER, DARYN N
         4 BRIGADE COURT                          ¨ Contingent
         OWINGS MILLS MD 21117
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6656. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.65                 $134.65
         THUETT, DANESSA L
         1002 E EVANS AVE                         ¨ Contingent
         PUEBLO CO 81004
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2219 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2329 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6657. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.97                  $69.97
         TIFFANY, KAITLYN N
         8850 MOAT CROSSING PL.                   ¨ Contingent
         BRISTOW VA 20136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6658. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,471.24               $4,471.24
         TIFFANY, STEPHANIE
         175 S SHERMAN ST                         ¨ Contingent
         APT 202
         DENVER CO 80209                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6659. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.29                 $140.29
         TIGHE, KAILEY S
         1925 WEST MEMORIAL DR                    ¨ Contingent
         MUNCIE IN 47302
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2220 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2330 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6660. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.13                 $134.13
         TIMBER, KELLIE
         1928 CAGLE DRIVE                         ¨ Contingent
         MONROE LA 71202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6661. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $627.05                 $627.05
         TIMMONS, PHEAYSIA L
         4019 DUPONT AVE N FL2                    ¨ Contingent
         MINNEAPOLIS MN 55412
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6662. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $489.32                 $489.32
         TINAJERO, ALEENA M
         1027 W CAMERON AVE                       ¨ Contingent
         WEST COVINA CA 91790-3622
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2221 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2331 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6663. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $163.06                 $163.06
         TINOCO, DANIELA A
         106 S WOODWORTH AVE.                     ¨ Contingent
         18S
         FRANKTON IN 46044                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6664. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $96.01                  $96.01
         TINSLEY, BRANDON E
         2206 EMPORIA ST                          ¨ Contingent
         WOODBRIDGE VA 22191
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6665. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $165.96                 $165.96
         TINSLEY, MADISON K
         321 SW FILLMORE ST                       ¨ Contingent
         TOPEKA KS 66606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2222 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2332 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6666. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $54.15                  $54.15
         TIRADO, RODRIGUEZ YOHAIRA I
         4421 SOUTH KIRKMAN RD                    ¨ Contingent
         K-204
         ORLANDO FL 32811                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6667. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $719.22                 $719.22
         TO, SKYLAR
         21 SPRING STREET                         ¨ Contingent
         EVERETT MA 02149
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6668. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.08                  $33.08
         TODD, CHEYENNE D
         5171 COVENTRY PKWY                       ¨ Contingent
         5171
         FORT WAYNE IN 46804                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2223 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2333 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6669. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,219.04               $2,219.04
         TODD, ELIZABETH
         1327 SIMMONS AVENUE                      ¨ Contingent
         SAINT LOUIS MO 63122
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6670. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $41.25                  $41.25
         TODD, JASMINE L
         4703 PALADIUM DR                         ¨ Contingent
         MANSFIELD TX 76063
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6671. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $13,258.03              $12,850.00
         TOERIEN. LANCE A.
         10590 OAKBEND DR                         ¨ Contingent
         SAN DIEGO CA 92131-2369
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $408.03

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2224 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2334 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6672. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $515.03                 $515.03
         TOLAND, SARAH
         100 HILLDALE RD                          ¨ Contingent
         ETTERS PA 17319
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6673. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $155.08                 $155.08
         TOLBERT, MADALYN M
         238 HUNTINGTON TRAIL                     ¨ Contingent
         HOSCHTON GA 30548
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6674. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.60                 $177.60
         TOLBERT, TIANA N
         12475 MT BELFORD WAY                     ¨ Contingent
         COLORADO SPRINGS CO 80831
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2225 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2335 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6675. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $120.17                 $120.17
         TOLLIVER, AHKEEA
         841 SADDLEBRED DR                        ¨ Contingent
         RICHMOND VA 23223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6676. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $9,170.24               $9,170.24
         TOMAINO, PAMELA A
         9432 CARRIAGE HILL STREET                ¨ Contingent
         FREDERICK MD 21704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6677. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.85                  $32.85
         TOMAS, LOPEZ SHEILA M
         409 W. MANNING STREET                    ¨ Contingent
         CHATTANOOGA TN 37405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2226 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2336 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6678. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $257.40                 $257.40
         TOMASETTI, ALYSA G
         2054 SANTA LUCIA AVENUE                  ¨ Contingent
         OXNARD CA 93030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6679. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,170.42               $2,170.42
         TOMASSION, LINDA L
         4327 3RD ST                              ¨ Contingent
         WAYNE MI 48184
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6680. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,103.13               $6,103.13
         TOMLINSON, MICHAEL G
         3418 MORNING DOVE CIRCLE                 ¨ Contingent
         LAWRENCE KS 66049
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2227 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2337 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6681. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $143.29                 $143.29
         TOMLINSON, PRESLEY K
         3001 W. WEDINGTON                        ¨ Contingent
         53
         FAYETTEVILLE AR 72701                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6682. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.71                 $218.71
         TONG, DANIELLE M
         1536 POLK DR                             ¨ Contingent
         BRUNSWICK OH 44212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6683. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,524.10               $5,524.10
         TONY YZAGUIRRE, JR.
         TAX ASSESSOR-COLLECTOR                   ¨ Contingent
         PO BOX 952
         BROWNSVILLE TX 78522-0952                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2228 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2338 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6684. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.91                 $104.91
         TOONE, CYERA
         1670 KARON DR                            ¨ Contingent
         COLUMBUS OH 43219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6685. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $9,549.19               $9,549.19
         TOPAL, GAIL S
         100-72 BAKER COURT                       ¨ Contingent
         ISLAND PARK NY 11558
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6686. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.19                  $90.19
         TORANIA, MISHKAT
         685 RED TAIL CT                          ¨ Contingent
         BROOKFIELD WI 53045
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2229 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2339 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6687. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.69                 $205.69
         TOREBKA, SAVANNAH R
         8 BUCHANAN DRIVE                         ¨ Contingent
         GANSEVOORT NY 12831
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6688. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $376.48                 $376.48
         TORO, STEVEN
         5022 17TH AVE NE                         ¨ Contingent
         SEATTLE WA 98105
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6689. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.03                 $560.03
         TORRES, ADRIANA
         310 GOLDEN ROD DRIVE                     ¨ Contingent
         APT 24
         MINOOKA IL 60447                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2230 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2340 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6690. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $319.66                 $319.66
         TORRES, AMY L
         150 W NATALIE LN                         ¨ Contingent
         ADDISON IL 60101
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6691. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,772.41               $2,772.41
         TORRES, ANA M
         9111 LEAWOOD BLVD                        ¨ Contingent
         HOUSTON TX 77099-2031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6692. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.64                 $122.64
         TORRES, CASSANDRA N
         11146 JERSEY AVE                         ¨ Contingent
         NORWALK CA 90650
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2231 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2341 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6693. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $394.68                 $394.68
         TORRES, CITLALI B
         5216 S HAMLIN AVE                        ¨ Contingent
         CHICAGO IL 60632
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6694. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.24                  $36.24
         TORRES, DIANA
         427 N LINNELL AVE                        ¨ Contingent
         FARMERSVILLE CA 93223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6695. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $293.29                 $293.29
         TORRES, DIANA
         821 SUNSET AVENUE                        ¨ Contingent
         DALLAS TX 75208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2232 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2342 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6696. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.39                  $84.39
         TORRES, DIAZIA E
         952 STAMLER DR.                          ¨ Contingent
         TOMS RIVER NJ 08753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6697. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.56                 $114.56
         TORRES, FLORES BRISEIDA E
         4815 VALOR WAY                           ¨ Contingent
         MADISON WI 53718
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6698. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $342.28                 $342.28
         TORRES, JESSICA
         1440 NE 223RD AVE #106                   ¨ Contingent
         WOOD VILLAGE OR 97060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2233 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2343 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6699. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.27                 $229.27
         TORRES, JOSMAIRIM
         4102 DINNER LAKE WAY                     ¨ Contingent
         LAKE WALES FL 33859
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6700. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.62                 $170.62
         TORRES, JUDITH
         5946 HUDSON WOODS CT                     ¨ Contingent
         LAS VEGAS NV 89156
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6701. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.07                  $78.07
         TORRES, KATIA M
         72 FIELDSTREAM DR APT C                  ¨ Contingent
         WATERBURY CT 06704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2234 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2344 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6702. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,294.60               $2,294.60
         TORRES, KATY
         1706 15TH ST                             ¨ Contingent
         #207
         KENOSHA WI 53140                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6703. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $691.68                 $691.68
         TORRES, LISSETTE A
         784 JULIAN ST                            ¨ Contingent
         TURLOCK CA 95380-3812
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6704. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,053.66               $4,053.66
         TORRES, MICHELLE P
         549 LINDSAY ANNE CT                      ¨ Contingent
         PLANT CITY FL 33563
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2235 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2345 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6705. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,980.14               $1,980.14
         TORRES, RAMON E
         CALLE BOHIO F 46                         ¨ Contingent
         URB CAGUAX
         CAGUAS PR 00725                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6706. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $316.20                 $316.20
         TORRES, REBECCA A
         1333 FELICIA CT.                         ¨ Contingent
         OXNARD CA 93030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6707. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.09                  $67.09
         TORRES, ROBLEDO CARLA C
         PO BOX 36                                ¨ Contingent
         ORANGE PARK FL 32067
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2236 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2346 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6708. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.20                 $106.20
         TORRES, TATIANA
         7913 6TH STREET                          ¨ Contingent
         DOWNEY CA 90241
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6709. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $338.66                 $338.66
         TORRES, VALERIA
         1504 GRANDCLUB BLVD                      ¨ Contingent
         1504
         FORT PIERCE FL 34982                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6710. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $353.23                 $353.23
         TORRES, VANESSA
         1041 DESIERTO LUNA ST                    ¨ Contingent
         EL PASO TX 79912-1140
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2237 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2347 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6711. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,059.69               $3,059.69
         TORRES, YOLANDA
         C-SARTUNIA L-4 PARQUE ECUESTRE           ¨ Contingent
         CAROLINA PR 00985
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6712. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,844.60               $4,844.60
         TORRES-FIGUEROA, ALBA E
         11554 W FOXBERRY DR                      ¨ Contingent
         MARANA AZ 85653
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6713. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $313.20                 $313.20
         TORRES-ROMO, LAURA G
         2896 GRIFFIN AVE                         ¨ Contingent
         8
         LOS ANGELES CA 90031                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2238 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2348 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6714. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $235.20                 $235.20
         TORREZ, BROOKE M
         3711 EMERALD STREET                      ¨ Contingent
         7
         TORRANCE CA 90503                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6715. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,906.36               $2,906.36
         TORUNO, CLAUDIA
         13477 SW 284TH ST                        ¨ Contingent
         HOMESTEAD FL 33033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6716. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.00                 $147.00
         TOSCANO, MAYRA V
         1412 W WASHINGTON AVE.                   ¨ Contingent
         SANTA ANA CA 92706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2239 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2349 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6717. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.25                 $173.25
         TOSTON, CHONTIARERA
         8224 OAKSHIRE ST                         ¨ Contingent
         LAS VEGAS NV 89131
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6718. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.00                  $24.00
         TOSTON-MONROE, JESSICA
         24323 JACKSON AVENUE #1212               ¨ Contingent
         MURRIETA CA 92562
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6719. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,626.90               $7,626.90
         TOTH, TRACY E
         104 COBBLESTONE TRL                      ¨ Contingent
         DANBURY CT 06810-8449
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2240 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2350 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6720. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $54.85                  $54.85
         TOWN OF KINGSTON
         PO BOX 900                               ¨ Contingent
         KINGSTON MA 02364-0900
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.6721. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $808.26                 $808.26
         TOWNS, NYESHA N
         2614 BON AIR DR.                         ¨ Contingent
         ORLANDO FL 32818
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6722. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,781.25               $3,781.25
         TOWNSEND, ANGELENA E
         1416 SKYRIDE DRIVE APT D                 ¨ Contingent
         CRYSTAL LAKE IL 60014
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2241 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2351 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6723. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.84                 $252.84
         TOWNSEND, ASHLEIGH
         5700 DORCHESTER WAY                      ¨ Contingent
         IRONDALE AL 35210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6724. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $233.32                 $233.32
         TRACE-BAYLOR, CHELSEA C
         11735 VILLAGE HEIGHTS DRIVE              ¨ Contingent
         WAYNESBORO PA 17268
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6725. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $536.38                 $536.38
         TRACY, ANNABELLE
         7110 W VIRGINIA AVE                      ¨ Contingent
         APT A201
         LAKEWOOD CO 80226                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2242 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2352 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6726. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $548.42                 $548.42
         TRAN, ANDY T
         111 ANDREA RD                            ¨ Contingent
         CHELTENHAM PA 19012-1311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6727. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.60                 $135.60
         TRAN, JACKLYN
         119 NORTH GLENWOOD                       ¨ Contingent
         MIDLAND TX 79703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6728. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,259.17               $2,259.17
         TRAN, JANICE M
         233 LINDSEY CIRCLE                       ¨ Contingent
         CARENCRO LA 70520
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2243 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2353 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6729. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $131.59                 $131.59
         TRAN, MIA N
         850 S PARKSIDE                           ¨ Contingent
         ELMHURST IL 60126
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6730. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $46.50                  $46.50
         TRAN, SILVIE
         760 RIVER VIEW DR                        ¨ Contingent
         SAN JOSE CA 95111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6731. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $543.67                 $543.67
         TRAUD, LAURA B
         204 GRINDSTONE DR                        ¨ Contingent
         APEX NC 27502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2244 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2354 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6732. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,014.59               $4,014.59
         TRAYLOR, TALORIA I
         201 BLUE GABLE RD. APT. 505              ¨ Contingent
         HATTIESBURG MS 39401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6733. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $383.22                 $383.22
         TREAMER, CORAL G
         1600 CAROLINE ST                         ¨ Contingent
         FREDERICKSBURG VA 22401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6734. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $392.20                 $392.20
         TREJO-SIMON, SAMUEL
         220 N TORREY PINES DR                    ¨ Contingent
         LAS VEGAS NV 89107-1307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2245 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2355 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6735. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $526.37                 $526.37
         TREMINIO, ANA I
         7603 AIMUA CT                            ¨ Contingent
         HOUSTON TX 77083
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6736. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.44                 $110.44
         TREVINO, LYRISSA D
         1414 N 31ST PL                           ¨ Contingent
         PHX AZ 85008
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6737. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $632.32                 $632.32
         TREVINO, MALYDIA A
         2105 GREEN TREE COVE                     ¨ Contingent
         ROUND ROCK TX 78665
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2246 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2356 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6738. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $271.01                 $271.01
         TREVINO, MARIA I
         837COLUMBIA AVE                          ¨ Contingent
         LANCASTER PA 17603
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6739. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $633.59                 $633.59
         TRINIDAD, NANCY
         4121 E. HOLLAND AVE.                     ¨ Contingent
         FRESNO CA 93726
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6740. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.37                  $64.37
         TRINIDAD, SANTIAGO DAGNES M
         108 FILLMORE ST.                         ¨ Contingent
         M
         PROVIDENCE RI 02908                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2247 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2357 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6741. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $436.05                 $436.05
         TROCHE, LEILANI A
         56 NORTH FIRST ST                        ¨ Contingent
         2ND FL
         MERIDEN CT 06451                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6742. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.47                 $101.47
         TROOST, AMANDA B
         105 YORKSHIRE DR                         ¨ Contingent
         YORKTOWN VA 23693
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6743. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $776.83                 $776.83
         TROSCLAIR, ANGELEE A
         3104 KENTA DR                            ¨ Contingent
         MARRERO LA 70072
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2248 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2358 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6744. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $589.82                 $589.82
         TROTMAN, DANIELLE
         705 COMMONS COURT                        ¨ Contingent
         EAST STROUDSBURG PA 18301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6745. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $334.05                 $334.05
         TROTMAN, MICHELLE S
         240 CROWN STREET                         ¨ Contingent
         APT# 4F
         BROOKLYN NY 11225                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6746. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $505.77                 $505.77
         TROWBRIDGE, JANE L
         1806 NE 85TH TERRACE                     ¨ Contingent
         KANSAS CITY MO 64155
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2249 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2359 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6747. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $202.24                 $202.24
         TRUEHEART, ERIELLE A
         11 HIGHGATE AVE                          ¨ Contingent
         BUFFALO NY 14214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6748. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $768.95                 $768.95
         TRUITT, DANIEL
         2505 TONI AVE                            ¨ Contingent
         SPRINGDALE AR 72762
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6749. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.64                 $179.64
         TRUJILLO, BRIANNE S
         3680 ROLLE STREET                        ¨ Contingent
         LOS ANGELES CA 90031
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2250 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2360 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6750. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,118.13               $3,118.13
         TRULL, TIFFANY C
         23 LINLEW DR APT 17                      ¨ Contingent
         DERRY NH 03038
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6751. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.19                  $65.19
         TRULOVE, MORGAN J
         1231 E OMAHA ST                          ¨ Contingent
         APT B2
         BROKEN ARROW OK 74012                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6752. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,678.38               $6,678.38
         TSANGARIS, JENNIFER
         507 GENEVA AVE.                          ¨ Contingent
         STRUTHERS OH 44471
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2251 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2361 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6753. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $45.75                  $45.75
         TUAPANTE, TATIANA M
         55 WILLIAM ST                            ¨ Contingent
         APT 2
         SOUTH RIVER NJ 08882                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6754. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.02                 $188.02
         TUBBS, SHALONZIA
         1002 4TH AVENUE                          ¨ Contingent
         SELMA AL 36701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6755. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.81                 $133.81
         TUBMAN, MARICA
         242 AMELIA DR W                          ¨ Contingent
         MARTINEZ GA 30907
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2252 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2362 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6756. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $312.99                 $312.99
         TUCKER, AMBER M
         3906 GRAMMONT ST                         ¨ Contingent
         MONROE LA 71203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6757. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.65                 $177.65
         TUCKER, KENDRA M
         506 HUGER ST                             ¨ Contingent
         COLUMBIA SC 29201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6758. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $51.92                  $51.92
         TUCKER, MYA R
         5244 LANSDOWNE WAY                       ¨ Contingent
         PALMETTO FL 34221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2253 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2363 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6759. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $203.74                 $203.74
         TUDA, LILIANA
         663 GOLDEN EAGLE                         ¨ Contingent
         CHAPARRAL NM 88081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6760. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $132.11                 $132.11
         TUDOR, REBECCA
         110 N MAIN ST                            ¨ Contingent
         4
         BERLIN MD 21811                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6761. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.03                 $169.03
         TUFFOUR, SABRINA A
         912 SOMERSET ST                          ¨ Contingent
         APT 5
         NEW BRUNSWICK NJ 08901                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2254 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2364 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6762. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.94                  $93.94
         TUGGLE, KIARA S
         8619 CHESTERFIELD DR                     ¨ Contingent
         SOUTHAVEN MS 38671
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6763. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.55                  $86.55
         TULLOCH, ARIN
         10014 PALERMO CIRCLE                     ¨ Contingent
         302
         BRANDON FL 33619                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6764. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $578.26                 $578.26
         TURBEK-HEAL, SYDNEY
         6075 PIERCE STREET                       ¨ Contingent
         ARVADA CO 80003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2255 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2365 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6765. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $221.92                 $221.92
         TURLA, ALINA
         1345 10TH AVE EAST                       ¨ Contingent
         APT 1406
         TUSCALOSSA AL 35404                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6766. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.36                 $129.36
         TURNBOW, TAYLOR M
         4317 MINERAL AVE SW                      ¨ Contingent
         BIRMINGHAM AL 35221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6767. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.71                 $103.71
         TURNER, DYMOND
         2236 SHERMAN AVE                         ¨ Contingent
         PANAMA CITY FL 32405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2256 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2366 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6768. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,012.06               $1,012.06
         TURNER, JALEESA N
         2845 ZELDA RD. APT G5                    ¨ Contingent
         MONTGOMERY AL 36106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6769. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $204.03                 $204.03
         TURNER, TATYANA
         414 EMILY LANE                           ¨ Contingent
         WINCHESTER VA 22602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6770. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.57                 $126.57
         TURNER, WINTER C
         443 E WILBUR AVE                         ¨ Contingent
         MILWAUKEE WI 53207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2257 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2367 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6771. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $717.68                 $717.68
         TURNER-MUSE, TAYANA D
         36221 GRAND RIVER AVENUE APT 2           ¨ Contingent
         204
         FARMINGTON MI 48335                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6772. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.10                 $200.10
         TUTT, ADRIANNA W
         311 WEST SYLVANIA AVE APT 239B           ¨ Contingent
         NEPTUNE NJ 07753
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6773. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $302.50                 $302.50
         TUTT, LAPREA N
         2835 ASHLAND AVE                         ¨ Contingent
         BALTIMORE MD 21205
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2258 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2368 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6774. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.75                 $176.75
         TWARDOWSKA, MAGDA
         89 CANAAN CT                             ¨ Contingent
         UNIT 27 BUILDI
         STRATFORD CT 06614                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6775. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $177.06                 $177.06
         TWILLIE, ERIN
         35305 CORNER DR                          ¨ Contingent
         SLIDELL LA 70460
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6776. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.26                  $78.26
         TYLER, ASHLEIGH
         321 FIREWEED LANE                        ¨ Contingent
         FORT COLLINS CO 80524
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2259 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2369 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6777. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.04                  $87.04
         TYLER, BRIANNA J
         1651 POST RD 208                         ¨ Contingent
         SAN MARCOS TX 78666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6778. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.25                  $83.25
         TYLER, JAIYDA E
         5001 WAINWRIGHT AVE                      ¨ Contingent
         LANSING MI 48911
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6779. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $679.74                 $679.74
         TYLER, KREMIA A
         1416 RALEIGH DR                          ¨ Contingent
         COLUMBIA MO 65202
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2260 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2370 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6780. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,223.82               $1,223.82
         TYLER, LOREN A
         403 GENOVA DR                            ¨ Contingent
         APT 37A
         FAYETTEVILLE NC 28303                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6781. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $56.01                  $56.01
         TYLER, MORGHAN D
         510 SPARTA LN                            ¨ Contingent
         412
         SPARTANBURG SC 29303                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6782. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $644.64                 $644.64
         TYLER, WHITNEY
         9905 ALEXIA DR                           ¨ Contingent
         INDIANAPOLIS IN 46236
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2261 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2371 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6783. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $111.57                 $111.57
         TYREE, TYRA M
         2402 TREELODGE PARKWAY                   ¨ Contingent
         ATLANTA GA 30350
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6784. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.36                 $150.36
         TYSON, GABRIELLE
         415 REBECCA AVE                          ¨ Contingent
         DOTHAN AL 36303
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6785. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,341.82               $1,341.82
         TZIC, MARIELA S
         4908 S BROADWAY                          ¨ Contingent
         LOS ANGELES CA 90037
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2262 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2372 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6786. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,570.00               $3,570.00
         TZINTZUN, ANDREA M
         1068 ONDINE CT                           ¨ Contingent
         SAN JOSE CA 95132-3136
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6787. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.79                  $78.79
         UGARTE, RETOLAZA ANDREA
         208 ESTELLA AVE                          ¨ Contingent
         LAS VEGAS NV 89107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6788. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.65                 $135.65
         UGARTE, ZENAIDA
         5959 CASA DEL REY CIR                    ¨ Contingent
         ORLANDO FL 32809-5302
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2263 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2373 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6789. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $255.49                 $255.49
         ULATE, ARIANNA N
         13 BAHIA PASS LOOP                       ¨ Contingent
         OCALA FL 34472
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6790. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $745.80                 $745.80
         ULLOA, JENNIFER J
         4211 W COUNTRY AVE                       ¨ Contingent
         VISALIA CA 93291
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6791. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.96                 $150.96
         UMANA, EMERALD A
         13 FIESTA DR                             ¨ Contingent
         CENTEREACH NY 11720
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2264 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2374 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6792. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.63                 $100.63
         UNANUE, IMANOL B
         CALLE AMBAR #55                          ¨ Contingent
         GURABO PR 00778
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6793. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.96                 $113.96
         UNDERWOOD, MYONNA L
         32236 ELLEN PLACE                        ¨ Contingent
         WAYNE MI 48184
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6794. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $275.50                 $275.50
         UQUILLAS, SIDNEY
         45 MURRAY ST                             ¨ Contingent
         1ST FL
         BINGHAMTON NY 13905                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2265 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2375 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6795. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $228.74                 $228.74
         URBINA, JEYDRI
         1315 OAKWOOD AVE                         ¨ Contingent
         RALEIGH NC 27610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6796. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.63                  $90.63
         URCUYO, MADELINE N
         2809 BARKSDALE DR                        ¨ Contingent
         PLANO TX 75025
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6797. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.43                 $102.43
         URENA, MILLIE J
         8220 MARA VISTA CT                       ¨ Contingent
         ORLANDO FL 32827
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2266 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2376 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6798. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.00                  $72.00
         URENO, ELIZETTE Y
         4105 COLBY ST.                           ¨ Contingent
         FREMONT CA 94538
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6799. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $412.76                 $412.76
         URETA, KAREN F
         565 E. RUE ROYALE ST.                    ¨ Contingent
         APT 34
         COVINA CA 91723                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6800. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.44                 $109.44
         URIBE, ANGELICA M
         2 VILLAGE LANE                           ¨ Contingent
         DALY CITY CA 94015
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2267 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2377 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6801. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.40                 $115.40
         URQUIZU, MELISSA
         4935 AMERICANA DR APT #110               ¨ Contingent
         ANNANDALE VA 22003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6802. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.80                 $109.80
         URRUTIA, NADYA R
         1513 BRETON CT                           ¨ Contingent
         HUGHSON CA 95326
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6803. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $32.34                  $32.34
         UTTERBACK, KENDALL
         2311 SOUTH ROYCE STREET                  ¨ Contingent
         SIOUX CITY IA 51106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2268 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2378 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6804. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,391.74               $3,391.74
         UTZ, EMILY A
         4869 MUIR AVENUE                         ¨ Contingent
         SAN DIEGO CA 92107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6805. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,235.00               $6,235.00
         VACHON. MAURICE
         6430 RENWICK CIRCLE                      ¨ Contingent
         TAMPA FL 33647
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6806. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.31                 $119.31
         VADEN, MARYAL L
         114 RIM ROCK PL                          ¨ Contingent
         C
         NORTH LITTLE ROCK AR 72116               ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2269 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2379 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6807. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,869.04               $2,869.04
         VALADEZ, ANA C
         30034 WHEMBLY CIRCLE                     ¨ Contingent
         MENIFEE CA 92584
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6808. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.12                  $37.12
         VALADEZ, CRISTINA
         1511 SILVER ST                           ¨ Contingent
         SIOUX CITY IA 51103
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6809. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $641.06                 $641.06
         VALDEZ, ALINA C
         4 LOCKBRIDGE ST                          ¨ Contingent
         PAWTUCKET RI 02860
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2270 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2380 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6810. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $502.99                 $502.99
         VALDEZ, FLORES ARACELI
         4324 HUERFANO AVE.                       ¨ Contingent
         SAN DIEGO CA 92117
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6811. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $299.64                 $299.64
         VALDEZ, HERRERA INDIRA
         602 SALAZAR AVE                          ¨ Contingent
         BAKERSFIELD CA 93307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6812. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $367.11                 $367.11
         VALDEZ, JANET
         3636 MINNEHAHA AVE                       ¨ Contingent
         APT 7
         MINNEAPOLIS MN 55406                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2271 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2381 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6813. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.75                 $101.75
         VALDIVIA, MARIA
         4949 W.GRACE.ST                          ¨ Contingent
         CHICAGO IL 60641
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6814. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.58                 $129.58
         VALENCIA, GARCIA PAOLA
         901 E FREEMAN PL #1                      ¨ Contingent
         TUCSON AZ 85719
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6815. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.20                 $193.20
         VALENCIANO, ALEXA A
         301 S. GRANDIN AVE                       ¨ Contingent
         AZUSA CA 91702
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2272 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2382 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6816. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $82.17                  $82.17
         VALENZUELA, ANGELICA
         6639 E BROADWAY BLVD                     ¨ Contingent
         153
         TUCSON AZ 85710                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6817. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.40                 $170.40
         VALENZUELA, ASHLEY
         67200 GARBINO RD                         ¨ Contingent
         CATHEDRAL CITY CA 92234
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6818. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,173.16               $1,173.16
         VALENZUELA, SHIRLEY B
         531 GRANT ST                             ¨ Contingent
         CALEXICO CA 92231
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2273 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2383 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6819. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $224.64                 $224.64
         VALERIO, MARINA C
         753 WEST SANTA PAULA STREET              ¨ Contingent
         SANTA PAULA CA 93060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6820. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $283.03                 $283.03
         VALLEJO, BIANCA
         4546 N. DRAKE AVE                        ¨ Contingent
         CHICAGO IL 60625
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6821. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.95                 $151.95
         VALLEJO, GONZALEZ JULISSA
         6113 ASHBURTON DR.                       ¨ Contingent
         SAN JOSE CA 95123
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2274 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2384 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6822. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $615.52                 $615.52
         VALLEJO, KARELY
         1325 SANTA RITA E                        ¨ Contingent
         APT 257
         CHULA VISTA CA 91913                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6823. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.56                  $79.56
         VALLEJO, REBEKAH R
         7500 HACHITA CT.                         ¨ Contingent
         BAKERSFIELD CA 93309
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6824. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $25.33                  $25.33
         VALLEJO, WENDY Y
         6551 ANNIE OAKLEY DR APT 617             ¨ Contingent
         HENDERSON NV 89014
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2275 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2385 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6825. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $280.20                 $280.20
         VALLES-GUERRERO, ALEXANDRA
         P.O. BOX 1153                            ¨ Contingent
         FRAZIER PARK CA 93225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6826. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $22.83                  $22.83
         VALOSICH, PATRICIA
         132 RISDON RD                            ¨ Contingent
         1
         MOUNT HOLLY NJ 08060                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6827. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,627.99               $1,627.99
         VALYAN-MORRIS, EBONI N
         1708 LAUDERDALE MANOR DR                 ¨ Contingent
         FT LAUDERDALE FL 33311
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2276 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2386 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6828. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $501.17                 $501.17
         VAN, DUSEN KERSTEN
         2838 S 116TH E AVE                       ¨ Contingent
         B
         TULSA OK 74129                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6829. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.64                 $176.64
         VAN, WAGNER MOLLY
         400 N HOLLYWOOD WAY                      ¨ Contingent
         BURBANK CA 91505
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6830. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $364.22                 $364.22
         VANCE, AARYE M
         981 UPPER MEADOWS PL                     ¨ Contingent
         HENDERSON NV 89052
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2277 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2387 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6831. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,641.50               $3,641.50
         VANCE, REAGAN
         4259 KLEIN MEADOWS                       ¨ Contingent
         NEW BRAUNFELS TX 78130
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6832. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.51                 $130.51
         VANDERVELDE, KRISTINA M
         1809 SEVEN PINES RD.                     ¨ Contingent
         APT 5
         SPRINGFIELD IL 62704                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6833. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,993.93               $2,993.93
         VANDRIESSCHE, KIMBERLY A
         5422 GOETZ COURT                         ¨ Contingent
         BAY CITY MI 48706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2278 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2388 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6834. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.56                 $151.56
         VANEGAS, ELISA C
         1707 IDAHO STREET                        ¨ Contingent
         FAIRFIELD CA 94533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6835. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $620.66                 $620.66
         VANG, LEONA
         7420 WHISPERWILLOW DRIVE                 ¨ Contingent
         SACRAMENTO CA 95828
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6836. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $579.70                 $579.70
         VANG, VICTORIA R
         1707 TEAKWOOD DRIVE                      ¨ Contingent
         WYLIE TX 75098
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2279 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2389 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6837. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.01                  $40.01
         VANG, ZOUANG
         3422 STEIN BLVD                          ¨ Contingent
         APT 5
         EAU CLAIRE WI 54701                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6838. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,819.20               $3,819.20
         VANHORN, KYLE
         6 BEVERLY PLACE                          ¨ Contingent
         NORTH BRUNSWICK NJ 08902
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6839. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $33.30                  $33.30
         VANN, SYDNEY D
         5201 CROGANS WAY ROAD                    ¨ Contingent
         COUNCIL BLUFFS IA 51501
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2280 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2390 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6840. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.16                 $188.16
         VANNASIN, PHONETHIDA
         1163 DONNER DR                           ¨ Contingent
         FLORENCE KY 41042
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6841. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $535.30                 $535.30
         VANSCHAICK, KYLI E
         1906 NW 59TH TERR.                       ¨ Contingent
         TOPEKA KS 66618
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6842. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.18                 $166.18
         VANTERPOOL, ANSHERNEA S
         638 SAGO LN                              ¨ Contingent
         ORLANDO FL 32811
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2281 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2391 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6843. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.94                 $169.94
         VARELA, EUNICE
         294 PALACIOS REALES                      ¨ Contingent
         CALLE MINIVE K
         TOA ALTA PR 00953                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6844. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.84                 $186.84
         VARGAS, ALESSANDRA M
         27531 OPEN CREST DRIVE                   ¨ Contingent
         SAUGUS CA 91350
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6845. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $224.07                 $224.07
         VARGAS, ALEXUS
         3534 S. 55TH CT.                         ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2282 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2392 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6846. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.18                 $179.18
         VARGAS, ANGEL
         2158 S. 19TH ST                          ¨ Contingent
         MILWAUKEE WI 53215
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6847. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.56                 $190.56
         VARGAS, ANNISA N
         8272 LONGDEN CIRCLE                      ¨ Contingent
         CITRUS HEIGHTS CA 95610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6848. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.24                  $92.24
         VARGAS, CRYSTAL Y
         1123 N. FRINK ST.                        ¨ Contingent
         PEORIA IL 61606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2283 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2393 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6849. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $195.36                 $195.36
         VARGAS, IVANA
         447 S SCHUTZ                             ¨ Contingent
         134
         EL PASO TX 79907                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6850. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.22                 $150.22
         VARGAS, MARIAH
         8117 HARRISON AVENUE                     ¨ Contingent
         MUNSTER IN 46321
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6851. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $154.80                 $154.80
         VARGAS, ROMERO VERONICA
         3313 HARPERS FERRY DR                    ¨ Contingent
         STOCKTON CA 95219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2284 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2394 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6852. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $127.30                 $127.30
         VARGAS, STEPHANIE M
         4017 CONNECTICUT AVE                     ¨ Contingent
         KENNER LA 70065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6853. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $249.96                 $249.96
         VARGAS, SUAREZ CARLA A
         32 LORRAINE ST                           ¨ Contingent
         PAWTUCKET RI 02860
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6854. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.20                 $106.20
         VARGAS, YESICA Y
         7 JOAN DR                                ¨ Contingent
         AMERICAN CANYON CA 94503
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2285 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2395 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6855. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,930.62               $1,930.62
         VARNER, CHARLI
         177 HOLLY ST UNIT 2                      ¨ Contingent
         WESTON WV 26452
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6856. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $62.85                  $62.85
         VARNER, JASMINE
         7307 MIDFIELD DRIVE                      ¨ Contingent
         CHATTANOOGA TN 37421
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6857. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.21                 $130.21
         VARNER, QUENTIN T
         7730 FALLING NEEDLE VIEW                 ¨ Contingent
         #306
         COLORADO SPRINGS CO 80924                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2286 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2396 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6858. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.65                 $134.65
         VASQUEZ, ADRIANA J
         7742 PIPERS LANE                         ¨ Contingent
         SAN ANTONIO TX 78251
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6859. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.21                  $70.21
         VASQUEZ, APRIL M
         6605 FELDSPAR ST                         ¨ Contingent
         HOUSTON TX 77092
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6860. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $283.54                 $283.54
         VASQUEZ, BERTHA M
         1140 PATRICIA LN                         ¨ Contingent
         OSAGE BEACH MO 65065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2287 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2397 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6861. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $435.76                 $435.76
         VASQUEZ, CRYSTAL I
         855 CLARK AVE APT 21D                    ¨ Contingent
         ANTHONY NM 88021
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6862. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.30                  $69.30
         VASQUEZ, JENIFER
         36 VANDERBILT AVENUE                     ¨ Contingent
         STATEN ISLAND NY 10304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6863. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $168.06                 $168.06
         VASQUEZ, MARTINEZ TRACY
         1320 E CRANBERRY AVE                     ¨ Contingent
         HAZLETON PA 18201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2288 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2398 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6864. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.40                 $152.40
         VASQUEZ, PEREZ BARBARA
         320 S CALLISCH AVE APT 105               ¨ Contingent
         105
         FRESNO CA 93721                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6865. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,275.09               $4,275.09
         VAUGHN, JILL K
         411 KIRBY DR                             ¨ Contingent
         LANTANA TX 76226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6866. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $317.64                 $317.64
         VAUGHN, NAKIA R
         8125 SHELDON ROAD                        ¨ Contingent
         #207
         ELK GROVE CA 95758                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2289 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2399 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6867. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $260.08                 $260.08
         VAZKAELA, ANU BRIGID
         1 ALOHA TOWER DRIVE                      ¨ Contingent
         2408
         HONOLULU HI 96813                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6868. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $554.73                 $554.73
         VAZQUEZ, ALICIA M
         124 GATEWOOD BAY                         ¨ Contingent
         CIBOLO TX 78108
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6869. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $12,198.59              $12,198.59
         VAZQUEZ, ANNY
         59-14 159TH ST                           ¨ Contingent
         FLUSHING NY 11365
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2290 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2400 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6870. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.28                  $71.28
         VAZQUEZ, EVELYN
         9240 DOWNEY AVE                          ¨ Contingent
         DOWNEY CA 90240
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6871. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.80                  $79.80
         VAZQUEZ, FLAVIA E
         4626 E. DWIGHT WAY                       ¨ Contingent
         FRESNO CA 93702
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6872. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,792.44               $1,792.44
         VAZQUEZ, LOUIE A
         4101 N CAMBRAY DR                        ¨ Contingent
         FAYETTEVILLE AR 72703-5063
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2291 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2401 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6873. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $81.39                  $81.39
         VAZQUEZ, MIRALYS
         1700 MINDANAO DR                         ¨ Contingent
         APT 1509
         JACKSONVILLE FL 32246                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6874. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.33                  $80.33
         VAZQUEZ, SONIA J
         7517 SAND LAKE POINTE LOOP               ¨ Contingent
         208
         ORLANDO FL 32809                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6875. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.64                  $76.64
         VAZQUEZ, STEPHANIE
         1028 SW 53RD STREET                      ¨ Contingent
         OKLAHOMA CITY OK 73109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2292 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2402 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6876. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $714.94                 $714.94
         VAZQUEZ, YAJAILIN
         2512 1ST AVE EAST                        ¨ Contingent
         PALMETTO FL 34221
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6877. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $93.53                  $93.53
         VEASLEY, JASMINE L
         94-1007 HANINA STREET                    ¨ Contingent
         WAIPAHU HI 96797
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6878. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $257.95                 $257.95
         VEGA, ALEJANDRA
         1525 S 59 AVE                            ¨ Contingent
         CICERO IL 60804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2293 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2403 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6879. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.00                 $138.00
         VEGA, JOANNA
         3010 CASA LOMA                           ¨ Contingent
         SAN BERNARDINO CA 92404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6880. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $125.48                 $125.48
         VEGA, MARISSA
         1323 PROMONTORY DR.                      ¨ Contingent
         PINGREE GROVE IL 60140
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6881. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $167.15                 $167.15
         VEGA, RUBY
         3404 S 2ND PL                            ¨ Contingent
         ROGERS AR 72758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2294 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2404 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6882. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.68                 $193.68
         VEIGL, KAITLIN
         129 THUNDER RD                           ¨ Contingent
         HOLBROOK NY 11741
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6883. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $445.90                 $445.90
         VELA, JACQUELINE E
         8301 PINEY BRANCH RD                     ¨ Contingent
         SILVER SPRING MD 20910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6884. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $333.00                 $333.00
         VELADOR, DAVIN E
         184 ROSEBUD AVENUE                       ¨ Contingent
         HOLLISTER CA 95023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2295 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2405 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6885. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $332.42                 $332.42
         VELARDE, GLADYSS J
         5759 S AVENIDA SERBA                     ¨ Contingent
         TUCSON AZ 85706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6886. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $672.72                 $672.72
         VELASCO, NATALIE R
         9312 VISTA COLINA DR.                    ¨ Contingent
         BAKERSFIELD CA 93306
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6887. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $657.46                 $657.46
         VELASQUEZ, ELIZABETH
         7220 DOGLEG                              ¨ Contingent
         PORT RICHEY FL 34668
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2296 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2406 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6888. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $439.93                 $439.93
         VELASQUEZ, OLIVIA A
         3401 COYOTE LN                           ¨ Contingent
         PUEBLO CO 81005
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6889. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $608.36                 $608.36
         VELASQUEZ, PACHECO MARIA N
         8933 NW 107TH CT                         ¨ Contingent
         UNIT 201
         DORAL FL 33178                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6890. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.72                 $151.72
         VELASQUEZ, SASHA S
         10214 DEMPSEY AVENUE                     ¨ Contingent
         NORTH HILLS CA 91343
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2297 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2407 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6891. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $406.81                 $406.81
         VELAZQUEZ, NELISSA A
         436 BRIDGEFORD CROSSING DAVENP           ¨ Contingent
         DAVENPORT FL 33837
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6892. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $209.44                 $209.44
         VELAZQUEZ, SHERLINEE G
         1075 MATHIAS LN                          ¨ Contingent
         KYLE TX 78640
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6893. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,071.70               $3,071.70
         VELAZQUEZ, VANESSA
         211 OAK STREET                           ¨ Contingent
         APT 2R
         YONKERS NY 10701                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2298 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2408 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6894. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,961.55               $3,961.55
         VELAZQUEZ-GUERRA, KATHERINE
         CALLE REINA DE LAS FLORES #486           ¨ Contingent
         VISTAS DE RIO
         RIO GRANDE PR 00745                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6895. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $199.54                 $199.54
         VELDE, DOMINIQUE
         2303 N. CHRYSLER DR.                     ¨ Contingent
         TUCSON AZ 85716
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6896. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,411.00               $1,411.00
         VELEZ, BEATRIZ
         45 LAFAYETTE AVE                         ¨ Contingent
         BEACON NY 12508-1421
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2299 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2409 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6897. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.39                 $180.39
         VELEZ, GIOVANNY A
         CALLE 28 AK 9                            ¨ Contingent
         VILLAS DE RIO
         RIO GRANDE PR 00745                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6898. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,328.81               $1,328.81
         VELEZ, LANCE
         79 SMITH HILL ROAD                       ¨ Contingent
         AIRMONT NY 10952
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6899. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $665.28                 $665.28
         VELEZ, THALIA A
         2707 RIEDLING DRIVE                      ¨ Contingent
         A3
         LOUISVILLE KY 40206                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2300 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2410 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6900. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.02                 $135.02
         VELLA, ANNA
         10971 BEECHWOOD RDG                      ¨ Contingent
         HERNANDO MS 38632
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6901. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $327.03                 $327.03
         VENABLE, CASHAUNA
         961 ATLANTIC AVE                         ¨ Contingent
         APT 627
         COLUMBUS OH 43229                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6902. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $354.90                 $354.90
         VENEGAS, NATALIA
         4083 N US HIGHWAY 1 LOT 35               ¨ Contingent
         FORT PIERCE FL 34946
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2301 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2411 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6903. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,881.86               $4,881.86
         VENEZIA, DANIELLE
         140 WILLARD AVE                          ¨ Contingent
         FARMINGDALE NY 11735
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6904. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $163.63                 $163.63
         VENSON, JOURDAN M
         3876 NATHAN KORNMAN DR.                  ¨ Contingent
         HARVEY LA 70058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6905. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $38.73                  $38.73
         VENTURENO, APRIL
         3831 DAISY DR.                           ¨ Contingent
         LAFAYETTE IN 47905
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2302 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2412 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6906. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $622.44                 $622.44
         VERA, JESSICA N
         1692 COPPER PENNY DR                     ¨ Contingent
         CHULA VISTA CA 91915
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6907. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $136.95                 $136.95
         VERA-COMMISSIONG, EBONY M
         506 E NEW YORK AVENUE                    ¨ Contingent
         2
         BROOKLYN NY 11225                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6908. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.99                  $39.99
         VERBLE, GABRIANNA P
         112 MIDAS                                ¨ Contingent
         STEELVILLE MO 65565
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2303 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2413 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6909. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.94                 $196.94
         VERBRIGGHE, MORGAN R
         1202 N 19TH STREET                       ¨ Contingent
         ESCANABA MI 49829
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6910. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $251.01                 $251.01
         VERDUZCO, MARIA
         626 JOSEPHINE ST.                        ¨ Contingent
         EDNA TX 77957
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6911. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $508.16                 $508.16
         VERDUZCO, NINA
         206 OAK ST N                             ¨ Contingent
         CHASKA MN 55318
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2304 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2414 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6912. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $707.40                 $707.40
         VERE, TASHINGA
         1500 COLONIAL AVE                        ¨ Contingent
         BRISTOL PA 19007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6913. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,988.76               $1,988.76
         VERRETT, SHAWNA
         800 BEHRMAN HIGHWAY                      ¨ Contingent
         UNIT B
         TERRYTOWN LA 70056                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6914. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.75                 $135.75
         VERWULST, MARY C
         1871 CLARKSON PARMA TL RD                ¨ Contingent
         HILTON NY 14468
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2305 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2415 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6915. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $280.70                 $280.70
         VESTINOS, FOTINI E
         3037 BAYSHORE POINTE DR                  ¨ Contingent
         TAMPA FL 33611
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6916. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $161.17                 $161.17
         VETTER, SERENA L
         1934 BLAINE AVE                          ¨ Contingent
         RACINE WI 53405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6917. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $8,401.01               $8,401.01
         VIANDS, TERRY L
         6004 TWIN HILLS DRIVE                    ¨ Contingent
         JOSHUA TX 76058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2306 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2416 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6918. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $254.04                 $254.04
         VICTORIO, JESSICA I
         2227 CABO BAHIA                          ¨ Contingent
         CHULA VISTA CA 91914
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6919. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $645.74                 $645.74
         VIDANA-ORTIZ, PATRICIA V
         271 ALPINE AVE                           ¨ Contingent
         CHULA VISTA CA 91910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6920. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.18                  $43.18
         VIDOVA, MILKA
         3547 OAKCREST PL.                        ¨ Contingent
         CROWN POINT IN 46307
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2307 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2417 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6921. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.36                  $66.36
         VIEIRA, INDIRA G
         718 WEEDEN ST                            ¨ Contingent
         2R
         PAWTUCKET RI 02860-1678                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6922. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $372.49                 $372.49
         VIELMA, JENNIFER
         3840 PORTLAND AVE S                      ¨ Contingent
         MINNEAPOLIS MN 55407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6923. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $248.40                 $248.40
         VIERA, KAREN S
         134 HOWARD AVENUE                        ¨ Contingent
         ROOSEVELT NY 11575
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2308 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2418 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6924. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,042.28               $2,042.28
         VIGIL, ALYSIA C
         1128 LAWLER RANCH PRKWY                  ¨ Contingent
         SUISUN CITY CA 94585
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6925. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.26                 $180.26
         VIGIL, ASHLEYRAE J
         707 SOUTH MCCOY DRIVE                    ¨ Contingent
         PUEBLO CO 81007
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6926. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $185.59                 $185.59
         VIGIL, LARISSA
         1901 W 12TH ST                           ¨ Contingent
         120
         PUEBLO CO 81003                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2309 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2419 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6927. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,736.82               $1,736.82
         VILCHEZ, XIOMARA M
         103-35 41ST AVE                          ¨ Contingent
         APT 3
         CORONA NY 11368                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6928. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.54                 $130.54
         VILLA, DELIZ A
         1852 BROADWAYPL NE                       ¨ Contingent
         ALBUQUERQUE NM 87102
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6929. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $491.18                 $491.18
         VILLA, TORRES PRISCILLA
         1418 STROZIER AVE                        ¨ Contingent
         SOUTH EL MONTE CA 91733-3230
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2310 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2420 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6930. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,601.58               $1,601.58
         VILLADA, LOPEZ MARIELA
         66833 YUCCA DRIVE                        ¨ Contingent
         DESERT HOT SPRINGS CA 92240
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6931. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.40                 $110.40
         VILLAGOMEZ, JAELYN M
         2106 JOSEPH DRIVE                        ¨ Contingent
         COPPERAS COVE TX 76522
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6932. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.74                  $84.74
         VILLALOBOS, IDALIA P
         601 E 16TH ST                            ¨ Contingent
         FREDERICK MD 21701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2311 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2421 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6933. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $307.80                 $307.80
         VILLALOBOS, LORENA
         15891 BRYANT RD                          ¨ Contingent
         RIVERSIDE CA 92504
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6934. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.25                  $77.25
         VILLALOBOS, NANCY
         4142 ORLEANS ST                          ¨ Contingent
         DENVER CO 80249
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6935. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.16                 $212.16
         VILLALOBOS, NICOLE
         1250 N IMPERIAL AVE.                     ¨ Contingent
         13
         BRAWLEY CA 92227                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2312 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2422 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6936. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.09                 $107.09
         VILLALOBOS, PALOMA M
         1531 PACKARD AVE                         ¨ Contingent
         RACINE WI 53403
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6937. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.56                 $103.56
         VILLANUEVA, MARIAH Y
         10422 18TH AVE SOUTH                     ¨ Contingent
         SEATTLE WA 98168
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6938. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.40                 $140.40
         VILLANUEVA, PRISCILLA
         2830 BALLESTEROS LN                      ¨ Contingent
         TUSTIN CA 92782
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2313 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2423 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6939. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.15                 $126.15
         VILLARREAL, ALEXIS E
         1348 VIRGINIA STREET                     ¨ Contingent
         RACINE WI 53405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6940. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $61.75                  $61.75
         VILLARREAL, PERALES CLAUDIA E
         1550 BLALOCK RD                          ¨ Contingent
         188
         HOUSTON TX 77080                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6941. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.06                  $58.06
         VILLEGAS, NALLELY
         10 EROBI LN                              ¨ Contingent
         IOWA CITY IA 52240
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2314 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2424 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6942. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.70                 $151.70
         VILLIBORD, STACY
         6837 STANDISH DR                         ¨ Contingent
         HYATTSVILLE MD 20784
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6943. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,833.97               $2,833.97
         VINCENT, AMANDA D
         650 CARDINAL HILL RD.                    ¨ Contingent
         WINFIELD MO 63389-3345
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6944. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $92.40                  $92.40
         VINCENT, DIAVIAN I
         2317 BELMONT AVENUE                      ¨ Contingent
         ELMONT NY 11003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2315 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2425 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6945. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,563.04               $1,563.04
         VINCENT, NAOMI
         1731 W THIRD ST                          ¨ Contingent
         SANTA ROSA CA 95401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6946. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $429.50                 $429.50
         VINSON, GENOVIA A
         1300 3RD AVE S                           ¨ Contingent
         408B
         BIRMINGHAM AL 35233                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6947. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.31                 $142.31
         VIVEROS, ANGELA A
         19 WHITE GATE DR APT I                   ¨ Contingent
         WAPPINGERS FALLS NY 12590
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2316 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2426 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6948. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $319.77                 $319.77
         VIVIA, ROMERO DIANA
         351 WASHINGTON ST.                       ¨ Contingent
         HAVERHILL MA 01832
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6949. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $108.62                 $108.62
         VIXAMA, ERMA L
         5401 CROSS CREEK DR.                     ¨ Contingent
         205
         ORLANDO FL 32839                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6950. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.76                 $113.76
         VIZCARRA, TAYLOR J
         22326 PICO ST                            ¨ Contingent
         GRAND TERRACE CA 92313
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2317 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2427 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6951. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $250.69                 $250.69
         VOGT, MEAGAN E
         7224 JAMAICA RD                          ¨ Contingent
         MIAMISBURG OH 45342
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6952. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.37                 $180.37
         VONMARBOD, SHAUNA
         1029 PARK DRIVE                          ¨ Contingent
         APT 21
         INDIAN HARBOUR BEA FL 32937              ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6953. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.03                  $74.03
         VORIS, MADISON N
         3711 E MITCHELL DR                       ¨ Contingent
         PHOENIX AZ 85018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2318 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2428 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6954. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $214.12                 $214.12
         VOS, AMY
         1581 SUNVIEW ST.                         ¨ Contingent
         MUSKEGON MI 49445
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6955. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.20                 $110.20
         VUE, NKAOXEE
         8310 GLOBE DR                            ¨ Contingent
         APT 524
         MADISON WI 53717                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6956. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.46                 $215.46
         VUKOVICH, KAITLYN S
         6482 RED FOX RD                          ¨ Contingent
         REYNOLDSBURG OH 43068
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2319 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2429 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6957. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.30                 $105.30
         WADE, MAYA
         4030 PERRYSVILLE AVE                     ¨ Contingent
         PITTSBURGH PA 15214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6958. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.55                 $193.55
         WADE, TARAH D
         214 GLENWOOD AVE                         ¨ Contingent
         304
         EAST ORANGE NJ 07017                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6959. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $495.54                 $495.54
         WAGNER, MARGARET M
         534 WALKER CIRCLE                        ¨ Contingent
         HARLEYSVILLE PA 19438
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2320 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2430 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6960. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.23                 $105.23
         WAI, ONIKEH H
         202 PARK AVENUE                          ¨ Contingent
         210
         GAITHERSBURG MD 20877                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6961. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $107.81                 $107.81
         WALCOTT, ELIZABETH R
         9800 STATE HWY 246                       ¨ Contingent
         SPENCER IN 47460
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6962. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,801.59               $3,801.59
         WALDEN, RENEE N
         403 SHELWOOD CIRCLE APT K                ¨ Contingent
         ASHEVILLE NC 28804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2321 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2431 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6963. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.55                  $42.55
         WALDEN, THRESSIA R
         7356 W ROLLER RIDGE                      ¨ Contingent
         SELIGMAN MO 65745
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6964. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $183.67                 $183.67
         WALKER, ALLYNN
         811 WEST FAIRVIEW AVE                    ¨ Contingent
         DAYTON OH 45406
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6965. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $635.03                 $635.03
         WALKER, ANNE
         9818 PALOMINO DRIVE                      ¨ Contingent
         ROGERS AR 72758
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2322 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2432 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6966. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,786.17               $2,786.17
         WALKER, CANDYCE M
         15580 GEORGE ONEAL RD                    ¨ Contingent
         APT 414
         BATON ROUGE LA 70817                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6967. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,798.48               $2,798.48
         WALKER, CORENTHIA M
         826 PLAYGROUND RD                        ¨ Contingent
         CHARLESTON SC 29407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6968. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,539.20               $3,539.20
         WALKER, CORENTHIA M
         826 PLAYGROUND RD                        ¨ Contingent
         CHARLESTON SC 29407
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2323 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2433 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6969. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,422.25               $2,422.25
         WALKER, DANIELLE Y
         901 EAST 72ND STREET APT 2D              ¨ Contingent
         TACOMA WA 98404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6970. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $272.40                 $272.40
         WALKER, DEJAZ S
         237 PALMER AE                            ¨ Contingent
         1
         SYRACUSE NY 13207                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6971. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $31.24                  $31.24
         WALKER, JENNIFER M
         3137 KERRYBROOK DR.                      ¨ Contingent
         MURFREESBORO TN 37129
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2324 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2434 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6972. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $241.89                 $241.89
         WALKER, JESSICA
         202 WAYNESBORO WAY                       ¨ Contingent
         DOTHAN AL 36305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6973. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $562.04                 $562.04
         WALKER, JILLIAN
         4505 S HARDY DR                          ¨ Contingent
         APT 1155
         TEMPE AZ 85283                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6974. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $102.08                 $102.08
         WALKER, MADISON
         4883 CIRCLE DRIVE                        ¨ Contingent
         NORTHAMPTON PA 18067
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2325 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2435 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6975. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,979.43               $1,979.43
         WALKER, MARQUITTA T
         816 SUNFLOWER DRIVE                      ¨ Contingent
         LAUREL MS 39440
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6976. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $57.75                  $57.75
         WALKER, MERI G
         16646 PEBBLE CREEK LN.                   ¨ Contingent
         PLAINFIELD IL 60586
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6977. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $524.73                 $524.73
         WALKER, SHAVONNA S
         7240 SIXTY FOOT RD                       ¨ Contingent
         7
         PITTSVILLE MD 21850                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2326 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2436 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6978. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $540.20                 $540.20
         WALKER, STACIA M
         762 E. HUNTERS RUN DR.                   ¨ Contingent
         MARION IN 46953
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6979. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.62                  $29.62
         WALKER, TAKERIAH
         1532 N TERRACE                           ¨ Contingent
         WICHITA KS 67208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6980. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $728.09                 $728.09
         WALKER, TAKIERRA
         3310 NW 208TH ST                         ¨ Contingent
         OPA LOCKA FL 33056-1361
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2327 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2437 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6981. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.43                  $34.43
         WALLACE, JORDAN R
         7410 10TH AVE. N.                        ¨ Contingent
         SAINT PETERSBURG FL 33710
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6982. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $83.62                  $83.62
         WALLACE, MADISON L
         110 WILLIAMSBURG RD                      ¨ Contingent
         LANSING MI 48917
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6983. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $757.35                 $757.35
         WALLACE, TORSICA T
         2840 ROBINSON ST APT 330                 ¨ Contingent
         JACKSON MS 39209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2328 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2438 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6984. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.48                 $114.48
         WALLACE, ZACHALIZE
         7032 EFFINGHAM SQ                        ¨ Contingent
         INDIANAPOLIS IN 46260
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6985. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.37                  $66.37
         WALLACE, ZHERAWNICA S
         6541 SWIFT CREEK RD                      ¨ Contingent
         LITHONIA GA 30058
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6986. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.75                 $138.75
         WALLACK, MADISON E
         7459 SOUTH STATE STREET                  ¨ Contingent
         LOWVILLE NY 13367
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2329 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2439 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6987. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $193.82                 $193.82
         WALLER, RAYSHAIA N
         6413 ROCKSHIRE STREET                    ¨ Contingent
         ALEXANDRIA VA 22315
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6988. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.96                 $119.96
         WALLS, BRITTANY M
         753 7TH ST SE                            ¨ Contingent
         HICKORY NC 28602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6989. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $265.95                 $265.95
         WALSH, ALLISON M
         20 HAWTHORN DRIVE                        ¨ Contingent
         SUCCASUNNA NJ 07876
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2330 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2440 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6990. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.41                  $80.41
         WALSH, CARYN S
         9954 SOUTH CANTERBURY ROAD               ¨ Contingent
         PHILADELPHIA PA 19114
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6991. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $267.40                 $267.40
         WALSTROM, MAGGIE L
         407 2ND STREET SOUTH                     ¨ Contingent
         BUFFALO MN 55313
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6992. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $44.40                  $44.40
         WALTERS, BROOKE D
         605 NORTH FIRST STREET                   ¨ Contingent
         JOHNSTOWN CO 80534
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2331 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2441 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6993. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.64                 $170.64
         WALTERS, JALYN C
         4811 PINTAIL CT NE                       ¨ Contingent
         LACEY WA 98516
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6994. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.35                 $121.35
         WALTERS, KAILEY S
         3073 DAWSON LN SW                        ¨ Contingent
         ATLANTA GA 30331
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6995. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $49.45                  $49.45
         WALTON, LACEY A
         2180 ORR LN                              ¨ Contingent
         EUGENE OR 97405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2332 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2442 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6996. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,703.28               $2,703.28
         WALTON, PORSCHA L
         1218 5TH AVE SW                          ¨ Contingent
         HICKORY NC 28602-2405
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6997. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.99                 $150.99
         WALTON, SHANNON
         3215 KNIGHT ST.                          ¨ Contingent
         243
         SHREVEPORT LA 71105                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.6998. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.63                  $37.63
         WAMBUI, EDEL
         4720 BENT ELM                            ¨ Contingent
         SAN ANTONIO TX 78259
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2333 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2443 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.6999. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $642.52                 $642.52
         WARD, EBONEE C
         1443 BRIGHTSIDE DRIVE                    ¨ Contingent
         APT. 1834A
         BATON ROUGE LA 70820                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7000. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $479.36                 $479.36
         WARD, JENNIFER
         10498 121ST AVENUE                       ¨ Contingent
         LARGO FL 33773
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7001. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $465.85                 $465.85
         WARD, KELSY A
         3503 OLD HOPPER RD                       ¨ Contingent
         CAPE GIRARDEAU MO 63701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2334 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2444 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7002. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $105.40                 $105.40
         WARD, MAYA D
         771 PENINSULA OVERLOOK                   ¨ Contingent
         HAMPTON GA 30228
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7003. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.16                 $215.16
         WARD, MICHAEL A
         4511 WEST KEIM DRIVE                     ¨ Contingent
         GLENDALE AZ 85301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7004. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $589.49                 $589.49
         WARD, PANDORA
         1129 N WHITCOMB AVE                      ¨ Contingent
         A
         INDIANPOLIS IN 46224                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2335 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2445 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7005. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.03                 $128.03
         WARD, SABRINA K
         11423 SAINT LAWRENCE DR.                 ¨ Contingent
         BATON ROUGE LA 70811
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7006. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.61                 $229.61
         WARE, BRANDICE J
         1271 BEDROCK DR                          ¨ Contingent
         ORANGE PARK FL 32065-5236
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7007. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.05                 $112.05
         WARNELL, AMAYA R
         49 WENDOVER CT                           ¨ Contingent
         SHELBYVILLE KY 40065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2336 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2446 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7008. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $367.95                 $367.95
         WARNER, ASIA S
         1990 ERIE LANE                           ¨ Contingent
         HOFFMAN ESTATES IL 60169
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7009. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.36                 $175.36
         WARNER, SHALISA R
         6190 PARKDALE DR                         ¨ Contingent
         COLUMBUS OH 43229
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7010. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.76                 $133.76
         WARNETSKY, TIFFANY R
         209 CHESTNUT ST                          ¨ Contingent
         ARCHBALD PA 18403
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2337 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2447 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7011. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $86.45                  $86.45
         WARRA, MONICA A
         19421 LAUREL DR                          ¨ Contingent
         LIVONIA MI 48154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7012. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $209.40                 $209.40
         WARREN, DARISHA L
         7625 DORSHIRE DR                         ¨ Contingent
         C
         SOUTHAVEN MS 38671                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7013. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.54                 $196.54
         WARREN, JAMIE L
         10627 GREER DRIVE                        ¨ Contingent
         RICHLAND MI 49083
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2338 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2448 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7014. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.94                  $29.94
         WARREN, LANIJA
         5302 MALCOLM ST                          ¨ Contingent
         PHILADELPHIA PA 19143
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7015. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $70.88                  $70.88
         WARREN, SERENITY
         16 TREMONT TERRACE                       ¨ Contingent
         IRVINGTON NJ 07111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7016. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.26                  $78.26
         WASHBURN, ASHLEY
         1643 NEWGATE LANE                        ¨ Contingent
         HOWELL MI 48843
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2339 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2449 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7017. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $574.91                 $574.91
         WASHINGTON COUNTY TRUSTEE
         PO BOX 215                               ¨ Contingent
         JONESBOROUGH TN 37659
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes

2.7018. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.53                  $36.53
         WASHINGTON, DESTINY D
         P.O. BOX 473                             ¨ Contingent
         FORT MILL SC 29716
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7019. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $176.99                 $176.99
         WASHINGTON, MIAH P
         10502 WALLACE AVE                        ¨ Contingent
         KANSAS CITY MO 64134
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2340 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2450 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7020. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $471.14                 $471.14
         WASHINGTON, SADIYAH M
         2188 RIVER PARK CT.                      ¨ Contingent
         AUGUSTA GA 30907
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7021. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $216.05                 $216.05
         WASHINGTON, TRINARRIA P
         1715 BERRYHILL ROAD                      ¨ Contingent
         CORDOVA TN 38016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7022. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $241.91                 $241.91
         WASZAK, ISABELLE G
         501 N CAPITOL AVENUE                     ¨ Contingent
         1119
         INDIANAPOLIS IN 46204                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2341 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2451 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7023. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.92                  $66.92
         WATERS, REAGAN E
         2012 S 5TH                               ¨ Contingent
         SPRINGFIELD IL 62703
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7024. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $180.29                 $180.29
         WATKINS, ADRIANNA M
         12205 WALNUT POINT                       ¨ Contingent
         HAGERSTOWN MD 21740
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7025. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.24                 $135.24
         WATKINS, AJA C
         171 LAKEVIEW CIRCLE                      ¨ Contingent
         BROWNSVILLE TN 38012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2342 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2452 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7026. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.17                 $152.17
         WATKINS, ASHLEY N
         1804 FRANKLIN STREET                     ¨ Contingent
         LITTLE ROCK AR 72204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7027. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $265.47                 $265.47
         WATKINS, ERICA
         50369 OAKVIEW DRIVE                      ¨ Contingent
         NEW BALTIMORE MI 48047
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7028. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.33                  $94.33
         WATKINS, JAIME
         113 DOVER BLUFF DR                       ¨ Contingent
         ORANGE PARK FL 32073
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2343 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2453 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7029. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $200.70                 $200.70
         WATKINS, JAYLA
         1314 CHINOOK TRAIL                       ¨ Contingent
         APT 9
         FRANKFORT KY 40601                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7030. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $252.66                 $252.66
         WATSON, AMORA K
         1734 INDIA HOOK RD                       ¨ Contingent
         203
         ROCK HILL SC 29732                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7031. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.05                 $103.05
         WATSON, KATANA
         512 VICTORIA DRIVE                       ¨ Contingent
         COATESVILLE PA 19320
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2344 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2454 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7032. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,410.95               $2,410.95
         WATSON, MEGAN B
         203 LANDVIEW DR.                         ¨ Contingent
         DOTHAN AL 36301
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7033. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $59.39                  $59.39
         WATTS, KAYLA
         118 E 10TH STREET                        ¨ Contingent
         COVINGTON KY 41011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7034. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.10                  $30.10
         WATTS, SYDNIE A
         1161 STATE HIGHWAY B                     ¨ Contingent
         ROGERSVILLE MO 65742
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2345 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2455 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7035. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,280.71               $1,280.71
         WAY, ANNICE
         6491 HWY 341                             ¨ Contingent
         PONTOTOC MS 38863
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7036. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,754.32               $1,754.32
         WAY, ANNICE
         6491 HWY 341                             ¨ Contingent
         PONTOTOC MS 38863
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7037. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $160.08                 $160.08
         WAYNE. SHARON R.
         9026 E PARAISO DR                        ¨ Contingent
         SCOTTSDALE AZ 85255
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2346 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2456 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7038. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.00                 $170.00
         WEASLER, SHAYQUESSA
         167 PINE ST                              ¨ Contingent
         APT 1
         MANCHESTER NH 03103                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7039. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $171.43                 $171.43
         WEAVER, SHALYNN
         4925 GLENCROSS DRIVE                     ¨ Contingent
         DAYTON OH 45406
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7040. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $28.67                  $28.67
         WEAVER, SHELBY L
         221 EISENHOWER DR                        ¨ Contingent
         APT 146
         BILOXI MS 39531                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2347 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2457 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7041. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $197.45                 $197.45
         WEAVER, VANESSA L
         549 S 99TH PL                            ¨ Contingent
         MESA AZ 85208
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7042. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.93                 $206.93
         WEAVER, YAMILEX K
         11047 NW 8 CT                            ¨ Contingent
         PLANATION FL 33324
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7043. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $217.56                 $217.56
         WEBB, MORRIGAN C
         1440 PARADISE POINT DR #17               ¨ Contingent
         NAVARRE FL 32566
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2348 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2458 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7044. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $42.72                  $42.72
         WEBER, ALYSSA
         5050 3RD AVE W                           ¨ Contingent
         APT A
         BRADENTON FL 34209                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7045. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.28                 $121.28
         WEBSTER, JANZEL
         2201 COBBLESTONE BLVD                    ¨ Contingent
         STOCKBRIDGE GA 30281
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7046. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $135.53                 $135.53
         WEDDERBURN, KARENA M
         2566 W TENNESSEE ST                      ¨ Contingent
         APT. 11321
         TALLAHASSE FL 32304                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2349 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2459 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7047. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,222.39               $1,222.39
         WEGEMER, KAYLEE
         1029 W. 25TH ST                          ¨ Contingent
         ERIE PA 16502
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7048. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $593.17                 $593.17
         WEIESNBACH, ALEXIS J
         55 COUNTRY CLUB DR                       ¨ Contingent
         CAMDENTON MO 65020
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7049. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $228.84                 $228.84
         WEIGHTMAN, SANDY R
         1021 ENGLISH AVE                         ¨ Contingent
         TURLOCK CA 95380
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2350 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2460 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7050. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,981.42               $2,981.42
         WEINER, RANDI R
         675 EAST STREET ROAD                     ¨ Contingent
         APT 1216
         WARMINSTER PA 18974                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7051. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $147.00                 $147.00
         WEINERT, TAMERA L
         19819 10TH PL W                          ¨ Contingent
         LYNNWOOD WA 98036
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7052. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $114.76                 $114.76
         WEISS, KEIRYN E
         1199 MOJAVE TRAIL                        ¨ Contingent
         GREEN BAY WI 54313
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2351 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2461 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7053. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $635.38                 $635.38
         WELCH, DESTANI L
         4217 VILLAGE LN                          ¨ Contingent
         41
         WEST DES MOINES IA 50266                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7054. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $217.20                 $217.20
         WELDON, CAITLYN
         64 GLENEIDA BLVD                         ¨ Contingent
         MAHOPAC NY 10541
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7055. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $230.28                 $230.28
         WELFORD, MADISON P
         3565 MILL GREEN RD                       ¨ Contingent
         STREET MD 21154
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2352 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2462 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7056. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $301.43                 $301.43
         WELLMAN, KAYLA M
         3241 WEST ST BRIDES CIR                  ¨ Contingent
         ORLANDO FL 32812
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7057. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,382.77               $3,382.77
         WELLS, MADISON R
         1450 WILDWOOD LAKES BLVD B202            ¨ Contingent
         NAPLES FL 34104
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7058. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $174.56                 $174.56
         WELLS, MARY
         418 HWY 318                              ¨ Contingent
         FRANKLIN LA 70538
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2353 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2463 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7059. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $789.05                 $789.05
         WENZLOFF, SARAH F
         2700 CANTERFIELD PKWY E                  ¨ Contingent
         110
         WEST DUNDEE IL 60118                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7060. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,146.25               $1,146.25
         WERFT, STACEY J
         11801 YORK STREET #1526                  ¨ Contingent
         NORTHGLENN CO 80233
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7061. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,112.74               $4,112.74
         WERNER, HANNAH M
         21 OAKHILL AVENUE                        ¨ Contingent
         GREENSBURG PA 15601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2354 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2464 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7062. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $665.91                 $665.91
         WERON, HAILEY J
         4797 PATTON PL                           ¨ Contingent
         BOISE ID 83704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7063. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $12.79                  $12.79
         WERTZ, VICTORIA L
         1717 HUNTER RIDGE DR                     ¨ Contingent
         SPRINGFIELD IL 62704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7064. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,829.44               $2,829.44
         WESSON, CATHERINE E
         11269 N RIVER VUE CIR                    ¨ Contingent
         BILOXI MS 39532
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2355 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2465 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7065. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $547.90                 $547.90
         WEST, BRIANNA S
         6221 S HULEN                             ¨ Contingent
         FORT WORTH TX 76133
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7066. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $144.12                 $144.12
         WEST, JASMINE L
         17601 DAYTON ST.                         ¨ Contingent
         VICTORVILLE CA 92395
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7067. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $34.97                  $34.97
         WESTRA, ANNIE M
         1710 DOLORES RIVER DRIVE                 ¨ Contingent
         WINDSOR CO 80550
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2356 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2466 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7068. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $175.04                 $175.04
         WETHERELL, TAYLOR A
         1000 LONGFELLOW BLVD                     ¨ Contingent
         LAKELAND FL 33801
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7069. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $465.87                 $465.87
         WETZEL, DEJA M
         2206 GATEWAY OAKS DR.                    ¨ Contingent
         #173
         SACRAMENTO CA 95833                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7070. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.35                 $149.35
         WEYMOUTH, ROCHELLE
         303 WEST STRAIN STREET                   ¨ Contingent
         FORT BRANCH IN 47648
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2357 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2467 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7071. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $650.29                 $650.29
         WHALEN, JULIA D
         116 MEADOWVIEW CT                        ¨ Contingent
         JACKSONVILLE NC 28546
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7072. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $46.35                  $46.35
         WHALEN, PAMILA L
         4724 S. SIXTH STREET                     ¨ Contingent
         LOUISVILLE KY 40214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7073. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.40                 $129.40
         WHARTON, LANDYN J
         312 BIRCH ST                             ¨ Contingent
         ELLSWORTH AFB MI 57706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2358 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2468 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7074. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,344.68               $3,344.68
         WHEELER, ELIZABETH A
         7620 RAINBOW CREEK DR                    ¨ Contingent
         FORT WORTH TX 76123
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7075. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.72                 $126.72
         WHEELER, HANNAH K
         2502 COOPERS POST LN                     ¨ Contingent
         SUGAR LAND TX 77478
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7076. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.93                  $37.93
         WHEELER, JOLENE R
         1010 SPARROW                             ¨ Contingent
         LANSING MI 48910
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2359 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2469 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7077. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.81                  $76.81
         WHEELER, LA SHONDA L
         231 COLEMAN ST                           ¨ Contingent
         BRIDGEPORT CT 06604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7078. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $71.77                  $71.77
         WHEELER, MADELINE C
         874 E. BLUE HERON ST.                    ¨ Contingent
         MERIDIAN ID 83646
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7079. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $543.75                 $543.75
         WHEELER, TAYLOR A
         2185 7TH AVE APT 4C                      ¨ Contingent
         NEW YORK NY 10027
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2360 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2470 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7080. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,500.52               $1,500.52
         WHELAN, REBECCA M
         207 JUNIPER RIDGE DR                     ¨ Contingent
         WATERBURY CT 06708
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7081. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $179.78                 $179.78
         WHITACRE, ALLYSON M
         3930 NORRISVILLE ROAD                    ¨ Contingent
         JARRETTSVILLE MD 21084
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7082. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,222.59               $2,222.59
         WHITCOMB, CLEO I
         145 W WASHINGTON ST                      ¨ Contingent
         GREENVIEW IL 62642-9524
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2361 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2471 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7083. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,265.85               $1,265.85
         WHITE, ADRIENNE A
         100 MCKEOUGH AVE                         ¨ Contingent
         2004
         SARALAND AL 36571                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7084. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.11                 $128.11
         WHITE, ALISSA
         6104 FRESH GARDEN DR                     ¨ Contingent
         KNOXVILLE TN 37918
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7085. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $223.65                 $223.65
         WHITE, BETHANY F
         274 WOOD VALLEY LANE                     ¨ Contingent
         LOUISVILLE KY 40299
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2362 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2472 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7086. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $195.60                 $195.60
         WHITE, BROOKE-LYNN L
         524 SOUTH APRILIA AVENUE                 ¨ Contingent
         COMPTON CA 90220
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7087. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.05                  $40.05
         WHITE, DANYEL L
         5501 RIDGEWOOD LANE                      ¨ Contingent
         NLR AR 72118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7088. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $272.68                 $272.68
         WHITE, IMARI
         620 MCKINLEY ST                          ¨ Contingent
         RM 158
         LAFAYETTE LA 70504                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2363 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2473 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7089. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $94.61                  $94.61
         WHITE, KHYA M
         445 FREDRICA AVE                         ¨ Contingent
         JACKSON MS 39209
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7090. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.53                 $100.53
         WHITE, MACKENZEE
         213 BENHAM DR.                           ¨ Contingent
         MILLSTADY IL 62260
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7091. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $328.15                 $328.15
         WHITE, MADISON M
         5701 GIDDYUP LN.                         ¨ Contingent
         FORT WORTH TX 76179
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2364 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2474 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7092. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $188.23                 $188.23
         WHITE, MAKENNA
         6619 SUGAR RIDGE DRIVE                   ¨ Contingent
         ROANOKE VA 24018
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7093. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.26                 $109.26
         WHITE, MARI J
         3273 LEMANS LN                           ¨ Contingent
         MEMPHIS TN 38119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7094. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $30.87                  $30.87
         WHITE, MIA
         1414 SW 27TH ST.                         ¨ Contingent
         3
         TOPEKA KS 66611                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2365 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2475 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7095. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.88                  $80.88
         WHITE, MICHELLE R
         1032 SONORA CT.                          ¨ Contingent
         SAME
         SANTA ROSA CA 95401                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7096. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $101.14                 $101.14
         WHITE, NEYANNI
         13161 SYCAMORE STREET                    ¨ Contingent
         VACHERIE LA 70090
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7097. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $75.36                  $75.36
         WHITE, QUANECIA
         5018 E EL MONTE WAY                      ¨ Contingent
         105
         FRESNO CA 93727                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2366 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2476 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7098. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,263.14               $2,263.14
         WHITE, ROXANNE M
         6828 NE JACKSONVILLE RD                  ¨ Contingent
         ANTHONY FL 34479
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7099. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $449.74                 $449.74
         WHITE, SOPHIA
         2011 N KEITH CIR                         ¨ Contingent
         WICHITA KS 67212
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7100. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $350.64                 $350.64
         WHITE, TAYLOR
         11440 WESTMONT CT.                       ¨ Contingent
         WALDORF MD 20602
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2367 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2477 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7101. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,412.12               $2,412.12
         WHITE, TERESA J
         4941 BLACKBIRD TRAIL                     ¨ Contingent
         MIDLOTHIAN TX 76065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7102. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.57                 $212.57
         WHITEHEAD, MIKAELA
         20 WAYNE DRIVE                           ¨ Contingent
         POUGHKEEPSIE NY 12601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7103. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $270.47                 $270.47
         WHITENER, MANDY
         3045 16TH STREET NE                      ¨ Contingent
         HICKORY NC 28601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2368 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2478 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7104. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $416.10                 $416.10
         WHITFIELD, ASHEA' M
         2785 SEVEN OAKS RD                       ¨ Contingent
         WAYNESBORO GA 30830-5198
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7105. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $234.61                 $234.61
         WHITING, HANNAH L
         1706 DUNRAVEN RD                         ¨ Contingent
         BLOOMINGTON IL 61704
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7106. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $533.35                 $533.35
         WHITLEY, TASHI
         2508 CHAMBERS ST                         ¨ Contingent
         N LAS VEGAS NV 89030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2369 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2479 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7107. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $78.28                  $78.28
         WHITLOCK, AMANDA R
         1534 BRIARFIELD RD                       ¨ Contingent
         HAMPTON VA 23666
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7108. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.42                  $76.42
         WHITMORE, JAMETRICE T
         4045 TREADWAY RD                         ¨ Contingent
         APT 2309
         BEAUMONT TX 77706                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7109. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $36.02                  $36.02
         WHITTLE, JALISA F
         28 FEINER PL                             ¨ Contingent
         IRVINGTON NJ 07111-1702
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2370 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2480 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7110. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $167.26                 $167.26
         WHYTE, DEVONSHAE
         6005 DOGWOOD CIR                         ¨ Contingent
         TAMARAC FL 33319
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7111. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $467.40                 $467.40
         WIBLY, KAITLYNNE S
         10 HIGHLAND                              ¨ Contingent
         STRUTHERS OH 44471
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7112. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,676.18               $2,676.18
         WICKS, MARKIE M
         3421 SEVEN SPRINGS BLVD                  ¨ Contingent
         NEW PORT RICHEY FL 34655-3134
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2371 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2481 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7113. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $142.09                 $142.09
         WICKSTROM, JACEY R
         5267 383RD STREET                        ¨ Contingent
         NORTH BRANCH MN 55056
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7114. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $554.13                 $554.13
         WIDENER, CASSANDRA
         111 E MICHIGAN ST                        ¨ Contingent
         FORTVILLE IN 46040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7115. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $271.95                 $271.95
         WIEDER, ASHLEIGH
         54 ANDREWS AVE                           ¨ Contingent
         BUFFALO NY 14225
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2372 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2482 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7116. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $680.76                 $680.76
         WIELANDT, DELILAH R
         743 BEECH ST                             ¨ Contingent
         POTTSTOWN PA 19464-5719
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7117. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,341.60               $1,341.60
         WIGGINS, QUEON J
         521 MASSACHUSETTS AVENUE                 ¨ Contingent
         1
         BOSTON MA 02118                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7118. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $242.16                 $242.16
         WIGHTMAN, MEGAN L
         1416 SUDENE AVE                          ¨ Contingent
         FULLERTON CA 92831
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2373 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2483 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7119. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $560.98                 $560.98
         WIKGREN, BRIANNA
         1 BREWSTER RD.                           ¨ Contingent
         FAIRFAX VT 05454
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7120. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $129.59                 $129.59
         WILCOX, JALYNN D
         3922 CREST DR                            ¨ Contingent
         HEPHZIBAH GA 30815
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7121. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $405.39                 $405.39
         WILCOX, KAITLYN M
         5710 E TROPICANA AVE                     ¨ Contingent
         UNIT 2223
         LAS VEGAS NV 89122                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2374 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2484 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7122. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,573.96               $1,573.96
         WILES, FAITH D
         4737 COURTNEY LN                         ¨ Contingent
         APT C
         RALEIGH NC 27616                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7123. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.21                  $63.21
         WILEY, RANESHA
         7214 CRISP                               ¨ Contingent
         RAYTOWN MO 64133
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7124. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $151.48                 $151.48
         WILEY, TYA R
         3110 N CRANBERRY                         ¨ Contingent
         WICHITA KS 67226
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2375 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2485 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7125. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.43                  $24.43
         WILLCUTT, PEYTON S
         507 GARRETT DR                           ¨ Contingent
         507
         ATHENS AL 35611                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7126. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.38                  $80.38
         WILLETT, ANNA G
         3776 KAWKAWLIN RIVER DRIVE               ¨ Contingent
         BAY CITY MI 48706
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7127. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.79                  $58.79
         WILLIAMS, ANNA J
         1013 FRANELM RD                          ¨ Contingent
         LOUISVILLE KY 40214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2376 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2486 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7128. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,795.11               $5,795.11
         WILLIAMS, ANNMARIE
         4657 32ND ST #5                          ¨ Contingent
         SAN DIEGO CA 92116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7129. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.11                  $76.11
         WILLIAMS, AZZIE R
         227 GATEWOOD DR APT F8                   ¨ Contingent
         F8
         LANSING MI 48917                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7130. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,550.00               $1,550.00
         WILLIAMS, BETHANY S
         1997 HARRISON ST                         ¨ Contingent
         12
         NEENAH WI 54956                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2377 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2487 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7131. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $67.27                  $67.27
         WILLIAMS, BREANN T
         924 E TECUMSEH ST                        ¨ Contingent
         4021 E VIRGIN
         TULSA OK 74106                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7132. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $104.29                 $104.29
         WILLIAMS, BRIANNA N
         9200 SMOKE HOLLOW RD                     ¨ Contingent
         KERNERSVILLE NC 27284
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7133. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $153.24                 $153.24
         WILLIAMS, BRIONNA C
         325 E BRADLEY AVE                        ¨ Contingent
         APT. 126
         EL CAJON CA 92021                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2378 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2488 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7134. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,426.11               $1,426.11
         WILLIAMS, BRITTANY
         3101 SEMINARY COVE                       ¨ Contingent
         MEMPHIS TN 38115
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7135. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.45                 $110.45
         WILLIAMS, CAMILLE
         457 SHORE ACRES RD 2A                    ¨ Contingent
         ARNOLD MD 21012
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7136. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $201.38                 $201.38
         WILLIAMS, CASSIUS T
         4 LIBBY LANE                             ¨ Contingent
         LITTLE ROCK AR 72206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2379 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2489 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7137. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $453.00                 $453.00
         WILLIAMS, CHIYANNA A
         949 WOODALE CIRCLE                       ¨ Contingent
         COLUMBIA SC 29203
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7138. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.83                  $39.83
         WILLIAMS, CORRIN
         6 MANCHESTER COURT                       ¨ Contingent
         WENONAH NJ 08090
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7139. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $85.23                  $85.23
         WILLIAMS, CRYSTAL A
         158 STEGMAN ST                           ¨ Contingent
         JERSEY CITY NJ 07305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2380 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2490 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7140. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $562.72                 $562.72
         WILLIAMS, DANEA A
         7960 EASTRIDGE DR.                       ¨ Contingent
         LA MESA CA 91941
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7141. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $117.67                 $117.67
         WILLIAMS, DAYZONO
         804 B BROOK CT                           ¨ Contingent
         ANNAPOLIS MD 21401
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7142. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.73                  $76.73
         WILLIAMS, DEBORAH
         3106 N 4TH COURT                         ¨ Contingent
         OCALA FL 34479
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2381 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2491 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7143. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $146.16                 $146.16
         WILLIAMS, DEJA A
         134-29 243RD ST                          ¨ Contingent
         ROSEDALE NY 11422
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7144. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $699.26                 $699.26
         WILLIAMS, GLORIA M
         11 BRIAN RD                              ¨ Contingent
         MIDDLEBORO MA 02346
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7145. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $291.00                 $291.00
         WILLIAMS, HAILEY
         12819 MAPLEVIEW ST APT 54                ¨ Contingent
         54
         LAKESIDE CA 92040                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2382 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2492 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7146. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $318.26                 $318.26
         WILLIAMS, HAILEY J
         4236 NORTH CORDOBA AVE                   ¨ Contingent
         SPRING VALLEY CA 91977
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7147. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.70                  $95.70
         WILLIAMS, JAMEILYA S
         1305 FOREST DRIVE                        ¨ Contingent
         GULFPORT MS 39507
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7148. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,046.03               $1,046.03
         WILLIAMS, JAMELA J
         689 DIELLEN LANE                         ¨ Contingent
         ELMONT NY 11003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2383 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2493 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7149. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $215.47                 $215.47
         WILLIAMS, JAYA L
         2021 HIGHRIDGE 11 G                      ¨ Contingent
         HUNTSVILLE AL 35802
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7150. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $666.66                 $666.66
         WILLIAMS, JAYLIN T
         6022 YORKGLEN MANOR LN.                  ¨ Contingent
         HOUSTON TX 77084
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7151. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $112.84                 $112.84
         WILLIAMS, JOHNETA M
         8 MANOR COURT                            ¨ Contingent
         SICKLERVILLE NJ 08081
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2384 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2494 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7152. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.80                  $63.80
         WILLIAMS, KALIYAH S
         795 PROGRESS ST. UNIT 1                  ¨ Contingent
         MACON GA 31201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7153. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $559.50                 $559.50
         WILLIAMS, KAYA
         150 W 174TH ST                           ¨ Contingent
         4E
         BRONX NY 10453                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7154. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $64.69                  $64.69
         WILLIAMS, KE'ARA M
         801 E 8TH ST.                            ¨ Contingent
         #4212C
         CHATTANOOGA TN 37403                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2385 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2495 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7155. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $60.20                  $60.20
         WILLIAMS, KIANA L
         2412 COVERT ST                           ¨ Contingent
         APT 41
         PARKERSBURG WV 26101                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7156. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $205.07                 $205.07
         WILLIAMS, KYIESHA
         36441 JEFFERSON ST                       ¨ Contingent
         APT F27
         SLIDELL LA 70458                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7157. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,354.16               $3,354.16
         WILLIAMS, KYMBERLIE A
         471 CLEGHORNE RD                         ¨ Contingent
         COLBERT GA 30628-2026
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2386 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2496 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7158. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $367.26                 $367.26
         WILLIAMS, LOUIS
         6045 ARMSTRONG RD                        ¨ Contingent
         ELKTON FL 32033
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7159. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $149.06                 $149.06
         WILLIAMS, LYTONIA
         534 PLEASANT SIDE DR                     ¨ Contingent
         MONCKS CORNER SC 29461
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7160. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $195.02                 $195.02
         WILLIAMS, MAKAIYA R
         273 SHADYRIDGE DRIVE                     ¨ Contingent
         MONROEVILLE PA 15146
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2387 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2497 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7161. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $113.34                 $113.34
         WILLIAMS, MARGARET A
         2917 CAMBRIDGE DRIVE                     ¨ Contingent
         WOODBRIDGE VA 22192
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7162. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,168.65               $1,168.65
         WILLIAMS, MEGAN N
         2440 LEGENDARY DR                        ¨ Contingent
         MARTINSVILLE IN 46151
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7163. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $27.55                  $27.55
         WILLIAMS, RENATA H
         1708 14TH ST                             ¨ Contingent
         ALTOONA PA 16601
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2388 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2498 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7164. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $186.38                 $186.38
         WILLIAMS, RENISHA
         300 NW 13ST APT1                         ¨ Contingent
         BELLE GLADE FL 33430
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7165. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.32                  $72.32
         WILLIAMS, SAVANNAH K
         13301 BIRCH ST                           ¨ Contingent
         APT 722
         OVERLAND PARK KS 66209                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7166. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $87.91                  $87.91
         WILLIAMS, SHANIELLE
         26 HEMLOCK DRIVE                         ¨ Contingent
         HOPEWELL JUNCTION NY 12533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2389 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2499 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7167. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $39.31                  $39.31
         WILLIAMS, SHANTA
         5806 ARVIS DRIVE                         ¨ Contingent
         LOUISVILLE KY 40258
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7168. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $352.60                 $352.60
         WILLIAMS, SHELLANDRA C
         7091 HAWKS CROSSING DR. E                ¨ Contingent
         OLIVE BRANCH MS 38654
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7169. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $6,997.57               $6,997.57
         WILLIAMS, SHINITA M
         3010 LAUREN PLACE DR                     ¨ Contingent
         UNIT 106
         WILMINGTON NC 28405                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2390 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2500 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7170. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $254.46                 $254.46
         WILLIAMS, SKYLA L
         10342 SEACLIFF LANE                      ¨ Contingent
         NORTH CHESTERFIELD VA 23236
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7171. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.46                  $69.46
         WILLIAMS, TAIYLER R
         5095 S FIRST ST                          ¨ Contingent
         22
         MURRELLS INLET SC 29576                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7172. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $173.28                 $173.28
         WILLIAMS, TIANA
         11098 N BAYOU VIEW DR                    ¨ Contingent
         GONZALES LA 70737
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2391 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2501 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7173. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,933.47               $2,933.47
         WILLIAMS, TIFFANY
         717 CHIPLEY AVE                          ¨ Contingent
         GREENWOOD SC 29646-2837
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7174. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,329.44               $1,329.44
         WILLIAMS, TIMOTHY E
         456 DONALD BLVD                          ¨ Contingent
         HOLBROOK NY 11741
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7175. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,000.33               $5,000.33
         WILLIAMS, TYLENCIA
         1860 PATERSON STREET                     ¨ Contingent
         RAHWAY NJ 07065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2392 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2502 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7176. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $266.26                 $266.26
         WILLIAMS, WESLEIGH
         3144 URSULA ST                           ¨ Contingent
         AURORA CO 80011
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7177. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $89.18                  $89.18
         WILLIAMS, ZARIA
         226 EAST 80TH STREET                     ¨ Contingent
         SHREVEPORT LA 71106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7178. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,358.78               $5,358.78
         WILLIAMSON COUNTY
         LARRY GADDES PCAC, CTA                   ¨ Contingent
         904 SOUTH MAIN STREET
         GEORGETOWN TX 78626-5829                 ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         VARIOUS                                  TAXES

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2393 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2503 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7179. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $152.32                 $152.32
         WILLIAMSON, HAYLEY M
         8743 ROSWELL RIDGE                       ¨ Contingent
         HELOTES TX 78023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7180. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $561.11                 $561.11
         WILLIAMSON, KYLEE M
         P.O. BOX 574                             ¨ Contingent
         WAVERLY WV 26184
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7181. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $4,991.84               $4,991.84
         WILLIAMSON, MELISSA A
         1694 THE HIDEOUT                         ¨ Contingent
         LAKE ARIEL PA 18436
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2394 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2504 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7182. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $211.47                 $211.47
         WILLIS, AMANDA S
         1606 VILLAGE MARKET BLVD. SE             ¨ Contingent
         APT. 101
         LEESBURG VA 20175                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7183. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $242.30                 $242.30
         WILLIS, ASHLEY C
         2850 ROYALLVALLEY WAY                    ¨ Contingent
         O'FALLON MO 63368
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7184. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $123.24                 $123.24
         WILLIS, AUBREE D
         1950 THIBODO RD                          ¨ Contingent
         205
         VISTA CA 92081                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2395 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2505 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7185. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.75                  $40.75
         WILLIS, KYNDALL
         1110 ASKHAM DRIVE                        ¨ Contingent
         CARY NC 27511
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7186. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,175.00               $5,175.00
         WILLIS, MONICA T
         20034 CRESCENT CREEK DR                  ¨ Contingent
         KATY TX 77449-7494
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7187. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $334.43                 $334.43
         WILLS, BRIANNA N
         1066 PALMA VERDE PL                      ¨ Contingent
         APOPKA FL 32712
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2396 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2506 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7188. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $158.39                 $158.39
         WILSON, ALAYNA M
         6908 COLESHIRE DR                        ¨ Contingent
         DALLAS TX 75232
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7189. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.21                 $148.21
         WILSON, ALICIA D
         5612 REMMELL AVE                         ¨ Contingent
         BALTIMORE MD 21206
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7190. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $541.30                 $541.30
         WILSON, ANGEL
         85 BEAVERDAM LN                          ¨ Contingent
         COVINGTON GA 30016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2397 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2507 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7191. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.90                  $90.90
         WILSON, ANGEL S
         2380 BERWICK BLVD                        ¨ Contingent
         B
         COLUMBUS OH 43209                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7192. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $989.93                 $989.93
         WILSON, ASHLEY N
         28494 N AMETRINE WAY                     ¨ Contingent
         SAN TAN VALLEY AZ 85143
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7193. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.43                 $109.43
         WILSON, DIANE V
         418 THOMASTON AVE                        ¨ Contingent
         SUMMERVILLE SC 29485
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2398 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2508 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7194. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $368.72                 $368.72
         WILSON, FRANNI D
         109 CRADDOCK AVENUE                      ¨ Contingent
         1105
         SAN MARCOS TX 78666                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7195. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.02                 $133.02
         WILSON, JADA R
         2409 PAPAYA ROAD                         ¨ Contingent
         EDGEWOOD MD 21040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7196. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $69.00                  $69.00
         WILSON, JAYLEN
         5318 WERLING DR                          ¨ Contingent
         FORT WAYNE IN 46806
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2399 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2509 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7197. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $589.65                 $589.65
         WILSON, JULIUS L
         8 MADISON AVE                            ¨ Contingent
         ROCHELLE PARK NJ 07662
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7198. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $633.76                 $633.76
         WILSON, KE'AIRA D
         5720 COPPER CREEK COURT                  ¨ Contingent
         APT 13
         CHARLOTTE NC 28227                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7199. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $371.40                 $371.40
         WILSON, LAUREN M
         743 DOYLE AVE                            ¨ Contingent
         REDLANDS CA 92374
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2400 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2510 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7200. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $35.09                  $35.09
         WILSON, MAKENZI R
         415 E BEAR BLVD.                         ¨ Contingent
         B105
         SPRINGFIELD MO 65806                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7201. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,533.61               $3,533.61
         WILSON, PRISCILLA D
         1136 THORNDALE ST                        ¨ Contingent
         GREEN BAY WI 54304
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7202. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $362.45                 $362.45
         WILSON, ZOE S
         5137 FERN                                ¨ Contingent
         TOLEDO OH 43613
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2401 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2511 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7203. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.95                  $48.95
         WINGROVE, SAMANTHA M
         155 WINGROVE DRIVE                       ¨ Contingent
         LITTLE HOCKING OH 45742
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7204. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $233.92                 $233.92
         WINN, INDIA E
         4200 54TH AVE. S.                        ¨ Contingent
         SAINT PETERSBURG FL 33711
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7205. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $103.20                 $103.20
         WINSTON, ALLIYAH
         32320 10TH PL S                          ¨ Contingent
         FEDERAL WAY WA 98003
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2402 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2512 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7206. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $524.67                 $524.67
         WINTER, KATHRYN E
         26 MILLERS CREEK LANE                    ¨ Contingent
         SLIDELL LA 70458
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7207. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $537.50                 $537.50
         WINTER, SERENA
         12659 W. AUDI CT.                        ¨ Contingent
         BOISE ID 83713
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7208. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $80.83                  $80.83
         WINTERS, DOMINIQUE
         1934 W FLORENCE AVE                      ¨ Contingent
         1
         LOS ANGELES CA 90047                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2403 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2513 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7209. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $109.89                 $109.89
         WINTERS, TARAYSHA J
         2918 N STERLING AVE                      ¨ Contingent
         PEORIA IL 61604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7210. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $138.77                 $138.77
         WIRT, KALI S
         9409 EAST MARION STREET                  ¨ Contingent
         WICHITA KS 67210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7211. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $538.61                 $538.61
         WISE, LABRIA M
         402 PARKVIEW CT, UNIT C                  ¨ Contingent
         SALISBURY MD 21804
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2404 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2514 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7212. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,113.30               $3,113.30
         WISE, MARIAH
         7816 CIRCLE FRONT CT                     ¨ Contingent
         EVANSVILLE IN 47715
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7213. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,407.93               $2,407.93
         WISE, STEPHANIE L
         9547 TAPOK DR                            ¨ Contingent
         APT 402
         MANASSAS VA 20110                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7214. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $253.01                 $253.01
         WISEMAN, MOLLY G
         6215 MORGANFORD                          ¨ Contingent
         SAINT LOUIS MO 63116
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2405 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2515 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7215. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $84.84                  $84.84
         WISWELL, HOLLY H
         1511 WELLS AVE                           ¨ Contingent
         BAKERSFIELD CA 93308
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7216. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,935.59               $3,935.59
         WITCHER, EAHGI P
         3231 CARR ST                             ¨ Contingent
         FLINT MI 48506
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7217. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,182.22               $1,182.22
         WITHERELL, ASHLEY A
         1022 ERIE ST                             ¨ Contingent
         WATERTOWN NY 13601-1106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2406 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2516 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7218. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $24.73                  $24.73
         WITHEROW, REBECCA
         5200 WINDHAVEN PKWY                      ¨ Contingent
         4104
         LEWISVILLE TX 75056                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7219. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.03                  $77.03
         WITHERSPOON, TAYLOR
         10502 TABA COVE CT                       ¨ Contingent
         FAIRFAX VA 22030
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7220. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $304.09                 $304.09
         WITT, ALAINA M
         6764 LAKEVIEW BLVD                       ¨ Contingent
         17113
         WESTLAND MI 48185                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2407 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2517 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7221. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $47.03                  $47.03
         WITT, AMAREA
         1389 BEECH STREET                        ¨ Contingent
         SAINT PAUL MN 55106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7222. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.20                 $139.20
         WOEHLER, MAGGIE M
         3123 LODGEPOLE DR.                       ¨ Contingent
         3123 LODGEPOLE
         WHITELAND IN 46184                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7223. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $47.30                  $47.30
         WOELTJE, STEPHANIE M
         318 N SPRIGG ST                          ¨ Contingent
         101
         CAPE GIRARDEAU MO 63701                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2408 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2518 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7224. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $77.96                  $77.96
         WOESTMAN, CHELSEA A
         733 N 17TH ST RM 130D                    ¨ Contingent
         LINCOLN NE 68508
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7225. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.38                 $130.38
         WOJTOWICZ, HEATHER
         1858 HERITAGE DRIVE                      ¨ Contingent
         JAMISON PA 18929
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7226. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $163.00                 $163.00
         WOLDEMARIAM, ANI W
         10422 HEADLY CT                          ¨ Contingent
         FAIRFAX VA 22032
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2409 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2519 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7227. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $274.17                 $274.17
         WOLDEN, TRACEY J
         30 CARTER LANE                           ¨ Contingent
         NEW EGYPT NJ 08533
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7228. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $198.00                 $198.00
         WOLDESEMAYAI, TESFANESHE
         196 MARTINE AVE                          ¨ Contingent
         APT 2A
         WHITE PLAINS NY 10601-3462               ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7229. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $90.13                  $90.13
         WOLF-CASTRO, TATIANA
         4170 S AIRY HILL DR                      ¨ Contingent
         ST. GEORGE UT 84790
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2410 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2520 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7230. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $106.14                 $106.14
         WOLFE, MIRANDA M
         842 COUNTRY CLUB DRIVE                   ¨ Contingent
         11
         MORGANTOWN WV 26505                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7231. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $7,076.83               $7,076.83
         WOLFE-CARTER, KELLI
         231 ELM STREET                           ¨ Contingent
         OXFORD MS 38655
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7232. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $358.53                 $358.53
         WOLFSON, SARA C
         4 CHESTNUT PARK CT.                      ¨ Contingent
         4 CHESTNUT PAR
         NEW CITY NY 10956                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2411 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2521 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7233. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,031.58               $1,031.58
         WOLMART, ELIZABETH
         1240 BURKE AVE                           ¨ Contingent
         5H
         BRONX NY 10469                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7234. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $53.28                  $53.28
         WOLSKE, TAYLOR E
         7J KINGDOM WAY                           ¨ Contingent
         MECHANICVILLE NY 12118
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7235. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $89.69                  $89.69
         WOLSKI, ELISE
         2957 MAIN ST                             ¨ Contingent
         CALEDONIA NY 14423
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2412 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2522 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7236. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $68.89                  $68.89
         WOLVERTON, MELANIE
         7660 CARLYLE DRIVE                       ¨ Contingent
         RENO NV 89506
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7237. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.97                  $74.97
         WONG, CAITLYN B
         1710 CHAPMAN AVE SW                      ¨ Contingent
         ROANOKE VA 24016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7238. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $677.57                 $677.57
         WONG, SANDY
         5934 AUVER BLVD                          ¨ Contingent
         102
         ORLANDO, FL FL 32807                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2413 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2523 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7239. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,329.57               $1,329.57
         WOOD, AMANDA
         9500 NE 9TH STREET                       ¨ Contingent
         VANCOUVER WA 98664
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7240. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.99                  $48.99
         WOOD, ELLEN E
         8432 BRADDOCK WAY                        ¨ Contingent
         COLUMBIA MD 21046
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7241. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.51                  $43.51
         WOOD, KAITLYN
         11550 BROWN SCHOOLHOUSE RD               ¨ Contingent
         FREEDOM NY 14065
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2414 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2524 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7242. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.15                  $66.15
         WOODS, ANGELINA A
         7556 S POPLAR POINT DRIVE                ¨ Contingent
         TRAFALGAR IN 46181
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7243. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $596.30                 $596.30
         WOODS, AYSHA G
         102 CARLSBAD CT                          ¨ Contingent
         LATROBE PA 15650
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7244. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $189.86                 $189.86
         WOODS, IMANI K
         301C KENSINGTON PLACE APARTMEN           ¨ Contingent
         ASHEVILLE NC NC 28803
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2415 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2525 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7245. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $323.16                 $323.16
         WOODS, JALAYNE A
         4330 KELLER RD.                          ¨ Contingent
         103
         HOLT MI 48842                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7246. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.87                 $126.87
         WOODS, MELISSA
         926 S CENTER ST                          ¨ Contingent
         APT 2
         TERRE HAUTE IN 47807                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7247. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $156.71                 $156.71
         WOODS, MONICA
         4462 DAVLIND DR                          ¨ Contingent
         2
         HOLT MI 48842                            ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2416 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2526 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7248. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $592.64                 $592.64
         WOODS, RACHEL M
         1537 E. 85TH PL                          ¨ Contingent
         2F
         CHICAGO IL 60619                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7249. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $21.00                  $21.00
         WOODS, TIFFANY C
         1790 N GREGG                             ¨ Contingent
         APT 2
         FAYETTEVILLE AR 72703                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7250. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $115.85                 $115.85
         WOODWARD, JILIAN A
         299 BELLA VISTA LANE                     ¨ Contingent
         MANCHESTER CT 06040
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2417 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2527 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7251. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $462.11                 $462.11
         WOOTEN, BAILEY L
         3938 GRANITE                             ¨ Contingent
         CAPE GIRARDEAU MO 63701
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7252. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.62                 $133.62
         WORBY, DANIELLE P
         118 W CHESTER PK                         ¨ Contingent
         APT C
         RIDLEY PARK PA 19078                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7253. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $169.27                 $169.27
         WORDS, NAKEJA
         326 O'BRIEN ST                           ¨ Contingent
         SOUTH BEND IN 46628
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2418 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2528 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7254. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $318.26                 $318.26
         WORKS, MICHELLE N
         5600 ENTERPRISE RD APT 4E                ¨ Contingent
         MYRTLE BEACH SC 29588
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7255. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $95.18                  $95.18
         WORRELL, AZANA
         8733 ASPINWALL DRIVE                     ¨ Contingent
         CHARLOTTE NC 28216
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7256. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $29.45                  $29.45
         WREN, HALEY L
         3337 W LISA                              ¨ Contingent
         PEORIA IL 61604
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2419 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2529 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7257. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $862.77                 $862.77
         WRIGHT, ALISA M
         16454 NELSON PARK DRIVE                  ¨ Contingent
         APT. 306
         CLERMONT FL 34714                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7258. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $134.10                 $134.10
         WRIGHT, ALYSSA T
         12136 KNIGHTS KROSSING CIRCLE            ¨ Contingent
         4-201 A
         ORLANDO FL 32817                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7259. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,102.35               $2,102.35
         WRIGHT, CASSANDRA R
         7210 CONSTITUTION SQUARE HEIGH           ¨ Contingent
         202
         COLORADO SPRINGS CO 80915                ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2420 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2530 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7260. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $682.30                 $682.30
         WRIGHT, FELICIA G
         1819 STONEHENGE AVE NW                   ¨ Contingent
         MASSILLON OH 44646
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7261. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,589.02               $2,589.02
         WRIGHT, IVORY N
         32 WILKINSON AVE                         ¨ Contingent
         APT#2
         JERSEY CITY NJ 07305                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7262. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $74.81                  $74.81
         WRIGHT, LAMAR D
         10940 PROUTY RD                          ¨ Contingent
         2
         PAINESVILLE OH 44077                     ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2421 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2531 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7263. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $563.07                 $563.07
         WRIGHT, NAYLA S
         16775 DANE COURT W                       ¨ Contingent
         BROOKFIELD WI 53005
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7264. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,395.40               $2,395.40
         WRIGHT, NICHOLE A
         14401 U.S. RT. 11                        ¨ Contingent
         ADAMS CENTER NY 13606
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7265. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $225.25                 $225.25
         WRIGHT, SERINA
         1512 IDAHO AVE                           ¨ Contingent
         ORLANDO FL 32809
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2422 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2532 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7266. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $145.14                 $145.14
         WRIGHT, SHAKYLA R
         4133 MARSTON AVE                         ¨ Contingent
         SHREVEPORT LA 71109
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7267. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $122.23                 $122.23
         WRIGHT, TYLER E
         712 A WEST MADISON ST                    ¨ Contingent
         HOUSTON MS 38851
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7268. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $2,649.55               $2,649.55
         WYATT, KENNA
         3332 RENWOOD BLVD                        ¨ Contingent
         204
         LOUISVILLE KY 40214                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2423 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2533 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7269. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $79.52                  $79.52
         WYCHE, ALEXIONNA A
         1856 MAHAFFEY CIRCLE                     ¨ Contingent
         LAKELAND FL 33811
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7270. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.30                  $58.30
         WYMAN, RHONDA L
         3370 ST.ROSE PARKWAY                     ¨ Contingent
         1235
         HENDERSON NV 89052                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7271. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.56                  $65.56
         WYNANS, CASSIDY L
         1607 MEADOWVIEW DR                       ¨ Contingent
         CORINTH TX 76210
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2424 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2534 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7272. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $196.44                 $196.44
         WYNN, EMONEI L
         128 GILMORE CR.                          ¨ Contingent
         HASTINGS FL 32145
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7273. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $139.83                 $139.83
         WYSOCKI, REBECCA H
         419 W. MARTIN LN                         ¨ Contingent
         MILWAUKEE WI 53207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7274. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $654.44                 $654.44
         WYSS, JORDYN A
         2800 62ND ST                             ¨ Contingent
         DES MOINES IA 50322
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2425 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2535 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7275. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $313.68                 $313.68
         XIONG, GAONOU
         2241 FREMONT AVE E                       ¨ Contingent
         SAINT PAUL MN 55119
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7276. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $5,306.58               $5,306.58
         XIONG, JULIE
         1601 LEONE AVE                           ¨ Contingent
         SAINT PAUL MN 55106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7277. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.80                  $37.80
         XIONG, SUSAN
         2075 S. HAYSTON AVE.                     ¨ Contingent
         APT.113
         FRESNO CA 93702                          ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2426 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2536 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7278. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $326.07                 $326.07
         XIONG, YANG YOUA
         226 MAPLE ST                             ¨ Contingent
         SAINT PAUL MN 55106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7279. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.74                  $37.74
         YACOUB, SANDRA
         4317 LIN-NAN LANE                        ¨ Contingent
         NORTON SHORES MI 49441
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7280. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $119.10                 $119.10
         YAFFE, ABIGAIL
         4 WESTRIDGE PL                           ¨ Contingent
         SEVEN VALLEYS PA 17360
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2427 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2537 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7281. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,511.74               $1,511.74
         YAGER, AMANDA R
         1122 REYNOLDS AVENUE                     ¨ Contingent
         TAYLOR PA 18517
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7282. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.14                 $150.14
         YAHIRO, BRIANNA K
         9579 OBSERVER ST                         ¨ Contingent
         LAS VEGAS NV 89123-6274
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7283. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $239.16                 $239.16
         YAMADA, LAURA A
         225 CHRISTOPHER MICHAEL LN               ¨ Contingent
         TRACY CA 95377
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2428 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2538 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7284. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $299.70                 $299.70
         YAN, SOPHIA
         14 1-2 BADGER STREET                     ¨ Contingent
         NASHUA NH 03060
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7285. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.44                 $220.44
         YANDELL, FRANCESCA
         1047 COLDWELL AVE                        ¨ Contingent
         2
         MODESTO CA 95350                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7286. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $206.64                 $206.64
         YANEZ, ELIZABETH
         5930 LIVE OAK ST                         ¨ Contingent
         BELL GARDENS CA 90201
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2429 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2539 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7287. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $658.62                 $658.62
         YANG, ALEXANDRIA B
         22040 HIGHWAY 45                         ¨ Contingent
         FAYETTEVILLE AR 72703-9499
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7288. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $89.03                  $89.03
         YANG, ANITA
         40 CAMPUS VIEW RD                        ¨ Contingent
         APT 1
         MANKATO MN 56001                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7289. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $43.68                  $43.68
         YANG, GAOHLINTSA
         17 LINDER CT                             ¨ Contingent
         SAINT PAUL MN 55106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2430 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2540 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7290. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $63.06                  $63.06
         YANG, GAUJOUA
         6472 N 53RD ST                           ¨ Contingent
         MILWAUKEE WI 53223
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7291. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $126.99                 $126.99
         YANG, MAI NENG
         1598 MARYLAND AVE E                      ¨ Contingent
         APT B
         SAINT PAUL MN 55106                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7292. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $148.37                 $148.37
         YANG, PAHOUA K
         151 NORTH VIEW AVE                       ¨ Contingent
         CRANSTON RI 02920
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2431 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2541 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7293. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,336.82               $1,336.82
         YANG, XAI K
         992 MINNEHAHA AVE E                      ¨ Contingent
         SAINT PAUL MN 55106
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7294. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $726.92                 $726.92
         YANG, YER
         3819 OAK TERRACE                         ¨ Contingent
         WHITE BEAR LAKE MN 55110
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7295. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.30                  $48.30
         YANG. GAODEE
         11240 KINGSBOROUGH TRAIL                 ¨ Contingent
         COTTAGE GROVE MN 55016
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2432 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2542 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7296. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $201.08                 $201.08
         YARBROUGH, DEZAREE J
         1600 W LA JOLLA DRIVE                    ¨ Contingent
         APT 1046
         TEMPE AZ 85282                           ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7297. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $355.74                 $355.74
         YBARRA, MICHELLE N
         145 STONY KNOLL RD                       ¨ Contingent
         EL CAJON CA 92019-2024
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7298. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $28.28                  $28.28
         YBARRA, SOLANA G
         119 TOWER RD                             ¨ Contingent
         GREENUP KY 41144
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2433 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2543 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7299. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $99.76                  $99.76
         YEBULA, KABIKA C
         6213 SULLINS RD                          ¨ Contingent
         CHARLOTTE NC 28214
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7300. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $277.32                 $277.32
         YEE, ALYSSA K
         8887 CHANDLER DR                         ¨ Contingent
         UNIT B
         SURFSIDE BEACH SC 29575                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7301. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,322.87               $3,322.87
         YELLOVICH, CHRISTINE
         2 TIMBERLINE RD                          ¨ Contingent
         BAYVILLE NJ 08721
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2434 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2544 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7302. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $72.24                  $72.24
         YEOMAN, ELLA K
         1735 CARLTON AVE                         ¨ Contingent
         MODESTO CA 95350
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7303. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,888.47               $1,888.47
         YOCKEL, SHANNON
         5 NORTH STINSON AVE                      ¨ Contingent
         GLOUCESTER CITY NJ 08030-2510
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7304. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $1,867.24               $1,867.24
         YONGE, CHRISTY B
         28381 LA HWY 16 LOT 14                   ¨ Contingent
         DENHAM SPRINGS LA 70726
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2435 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2545 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7305. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $58.17                  $58.17
         YORK, CHRISHALON D
         2015 STONE WOOD                          ¨ Contingent
         HEARTLAND TX 75126
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7306. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $168.24                 $168.24
         YORLANG, SONIA A
         1515 W CASINO RD                         ¨ Contingent
         C7
         EVERETT WA 98204                         ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7307. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $37.26                  $37.26
         YOUNG, ALEXIS
         971 MILLCREEK PL                         ¨ Contingent
         SOUTHAVEN MS 38671
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2436 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2546 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7308. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $251.28                 $251.28
         YOUNG, BROOKE E
         322 EISENHOWER DR                        ¨ Contingent
         SAINT PETERS MO 63376
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7309. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $141.88                 $141.88
         YOUNG, CARMEN S
         824 MARTIN LUTHER KING JR. BLV           ¨ Contingent
         RIVIERA BEACH FL 33404
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7310. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $159.70                 $159.70
         YOUNG, DANIELLE
         4010 NORENE LANE                         ¨ Contingent
         LOUISVILLE KY 40219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2437 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2547 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7311. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $727.65                 $727.65
         YOUNG, DOMINIQUE L
         706 DUNN CIRCLE                          ¨ Contingent
         KILLEEN TX 76541
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7312. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $130.55                 $130.55
         YOUNG, GABRIYAN A
         850 HOOVER VILLAGE DRIVE                 ¨ Contingent
         A
         INDIANAPOLIS IN 46260                    ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7313. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $170.30                 $170.30
         YOUNG, JAYCIE
         2017 BROOK ROAD                          ¨ Contingent
         RICHMOND VA 23220
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2438 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2548 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7314. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $216.16                 $216.16
         YOUNG, JORDAN T
         10753 KEATHLEY DR                        ¨ Contingent
         FRISCO TX 75035
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7315. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $48.92                  $48.92
         YOUNG, KAITLYN V
         4695 E BENNETT                           ¨ Contingent
         LAS VEGAS NV 98121
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7316. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $370.00                 $370.00
         YOUNG, KEYANDRA
         12512 OXFORD AVE                         ¨ Contingent
         1
         HAWTHORNE CA 90250-4600                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2439 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2549 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7317. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $150.84                 $150.84
         YOUNG, KYANI
         6378 BLUEBELL ST                         ¨ Contingent
         EASTVALE CA 92880
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7318. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $133.96                 $133.96
         YOUNG, LEIDY Y
         632 BLANDFORD ST                         ¨ Contingent
         ROCKVILLE MD 20850
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7319. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $466.20                 $466.20
         YOUNG, MORGAN E
         808 VALERIE LANE                         ¨ Contingent
         KNOXVILLE TN 37938
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2440 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2550 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7320. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $317.21                 $317.21
         YUHAS, BRITTANY M
         3214 CALUMET DR                          ¨ Contingent
         RALEIGH NC 27610
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7321. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $253.20                 $253.20
         ZAIDINSKI, KAILA N
         113 WANTAGH AVE                          ¨ Contingent
         LEVITTOWN NY 11756
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7322. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $3,321.25               $3,321.25
         ZAINO, MARIAH J
         75 HARLEY DRIVE                          ¨ Contingent
         APT 02
         WORCESTER MA 01606                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2441 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2551 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7323. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $121.77                 $121.77
         ZAINULABDIN, SANJA A
         8343 KARLOV AVE                          ¨ Contingent
         SKOKIE IL 60076
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7324. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $76.80                  $76.80
         ZALLEW, TAMARA
         3297 SWEETWATER SPRINGS BLVD.            ¨ Contingent
         APT. 2
         SPRING VALLEY CA 91978                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7325. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $247.31                 $247.31
         ZAMBRANO, STEPHANIE A
         4866 W TENNESSEE AVENUE                  ¨ Contingent
         DENVER CO 80219
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2442 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2552 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7326. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $351.22                 $351.22
         ZAMBRANO, VERONICA
         748 OTTAWA AVENUE                        ¨ Contingent
         SAINT PAUL MN 55107
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7327. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $166.73                 $166.73
         ZAMORA, ALICIA
         19968 E 41ST AVE                         ¨ Contingent
         DENVER CO 80249
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7328. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $172.44                 $172.44
         ZAMORA, ASHLEY
         609 TAYLOR ST                            ¨ Contingent
         BAKERFIELD CA 93309
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2443 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2553 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7329. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.42                 $140.42
         ZAMORA, JUANITA
         1400 BRETHOUR CT.                        ¨ Contingent
         15
         STERLING VA 20164                        ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7330. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $419.78                 $419.78
         ZAMORA, MARIAH N
         2837 15TH AVENUE COURT                   ¨ Contingent
         GREELEY CO 80631
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7331. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $229.80                 $229.80
         ZAPATA, ARIANA
         31117 VIA GILBERTO                       ¨ Contingent
         TEMECULA CA 92592
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2444 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2554 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7332. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $40.44                  $40.44
         ZARAGOZA, CHRISTY
         14622 GRAMERCY PL                        ¨ Contingent
         GARDENA CA 90249
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7333. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $391.08                 $391.08
         ZARAGOZA, TIANNA L
         2028 VIA ALEXANDRA                       ¨ Contingent
         2028 VIA ALEXA
         ESCONDIDO CA 92026                       ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7334. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.96                 $246.96
         ZARAGOZA, VANESSA
         200 ROCKWELL RD                          ¨ Contingent
         JACKSON TN 38305
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2445 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2555 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7335. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $124.56                 $124.56
         ZARAGOZA, VICTORIA M
         11312 OAKWOOD DR                         ¨ Contingent
         FONTANA CA 92337
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7336. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $182.90                 $182.90
         ZAVALA, ANDREA
         11 W CENTRAL AVE                         ¨ Contingent
         LOMBARD IL 60148
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7337. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $66.79                  $66.79
         ZAVALA, GRABIELA C
         46877 BACKWATER DR                       ¨ Contingent
         STERLING VA 20164
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2446 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2556 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7338. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $212.76                 $212.76
         ZAVALA, LOPEZ VIRIDIANA
         1133 E G ST                              ¨ Contingent
         ONTARIO CA 91764-3956
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7339. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $65.01                  $65.01
         ZAVALA, ROCIO
         2707 W RIDGELAND AVE                     ¨ Contingent
         WAUKEGAN IL 60085-2436
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7340. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $140.40                 $140.40
         ZAVALA-SANCHEZ, CHRISTAL R
         8004 LA RIVIERA DR.                      ¨ Contingent
         25
         SACRAMENTO CA 95826                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2447 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2557 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7341. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $23.76                  $23.76
         ZAVERI, INAARA
         5359 GRANITE ST                          ¨ Contingent
         LOVES PARK IL 61111
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7342. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $220.34                 $220.34
         ZAZUETA, MICHELE
         4260 E 70TH AVE                          ¨ Contingent
         COMMERCE CITY CO 80022
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7343. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $590.14                 $590.14
         ZDUNEK, KATIE
         529 CHESTNUT STREET                      ¨ Contingent
         APT 216
         BOWLING GREEN KY 42101                   ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2448 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2558 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7344. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $268.56                 $268.56
         ZELAYA, JAZMIN Y
         2621 GRAND AVE.                          ¨ Contingent
         HUNTINGTON PARK CA 90255
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7345. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $110.20                 $110.20
         ZELAYA, KIMBERLY A
         4618 INDIAN RUN                          ¨ Contingent
         FLATWOODS KY 41139
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7346. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $218.96                 $218.96
         ZELLNER, ALLYSSA
         2045 HILLVIEW DR.                        ¨ Contingent
         GREEN BAY WI 54302
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2449 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2559 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7347. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $190.56                 $190.56
         ZENO, MARJAE K
         738 BRITTANY ANN LANE                    ¨ Contingent
         STOCKTON CA 95207
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7348. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $246.36                 $246.36
         ZEPF, JAIMEY M
         18 EASTVIEW ROAD                         ¨ Contingent
         HOPKINTON MA 01748
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7349. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $128.64                 $128.64
         ZERMENO, ALVARO J
         290 MILLER ROAD                          ¨ Contingent
         HOLLISTER CA 95023
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2450 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2560 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7350. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $661.84                 $661.84
         ZERMENO, JENIFER D
         12121 ADMIRALTY WAY L201                 ¨ Contingent
         EVERETT WA 98204
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7351. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $100.32                 $100.32
         ZHAO, KEVIN
         41 ACORN STREET                          ¨ Contingent
         MALDEN MA 02148
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7352. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $414.15                 $414.15
         ZIMMER, KEELY R
         921 IRONWOOD CIRCL                       ¨ Contingent
         GRAND RAPIDS MI 49534
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2451 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2561 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7353. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $668.40                 $668.40
         ZIMMERMAN, KELSEY M
         524 MONTGOMERY AVE.                      ¨ Contingent
         PENNSBURG PA 18073
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7354. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $384.78                 $384.78
         ZORRILLA, FRANCHESKA I
         66 WESTFIELD STREET                      ¨ Contingent
         APT 12
         PROVIDENCE RI 02907                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes

2.7355. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $301.47                 $301.47
         ZUNIGA, LILLIANA M
         436 OAKWOOD DRIVE                        ¨ Contingent
         ALAMO TX 78516
                                                  ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2452 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19             Page 2562 of 2900

Debtor   Charlotte Russe, Inc.                                                                                Case number (if known) 19-10214




2.7356. Priority creditor’s name and mailing      As of the petition filing date, the claim     Total claim             Priority amount
        address                                   is:
                                                  Check all that apply.                         $194.04                 $194.04
         ZWARTS, ALEXANDRIA C
         3725 CANTERBURY LN                       ¨ Contingent
         APT #48
         BELLINGHAM WA 98225                      ¨ Unliquidated                                                        Nonpriority amount

                                                  ¨ Disputed                                                            $0.00

         Date or dates debt was incurred          Basis for the claim:
         __________________________________       WAGES & PTO

         Last 4 digits of account                 Is the claim subject to offset?
         number:
                                                  ¨ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)   ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2453 of 2657
                       Case 19-10210-LSS             Doc 456         Filed 04/03/19            Page 2563 of 2900

Debtor     Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

3.         List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors
           with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


3.1.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           1420 N PARHAM ROAD LLC                                                                            $10,183.91
           REGENCY SQUARE MALL MALL                          ¨ Contingent
           MANAGEMENT OFFICE
           1420 N PARHAM ROAD                                ¨ Unliquidated
           RICHMOND VA 23229                                 ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           1-800-GOT -JUNK?                                                                                  $1,608.00
           DEPT 3419                                         ¨ Contingent
           PO BOX 123419
           DALLAS TX 75312-3419                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.3.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           4832 SIMON PROPERTY GROUP, INC                                                                    $926.69
           3788 PAYSPHERE CIRCLE                             þ Contingent
           CHICAGO IL 60674
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2454 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2564 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.4.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         A & E PRODUCTS GROUP                                                                              $1,308.00
         MAINETTI USA INC.                                 ¨ Contingent
         DEPT AT 40190
         ATLANTA GA 31192-0190                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.5.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ABIGAIL STEERE                                                                                    $56.16
         1193 JAY ST                                       ¨ Contingent
         EUGENE OR 97402
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.6.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACCO ENGINEERED SYSTEMS INC                                                                       $30,975.19
         6265 SAN FERNANDO RD                              ¨ Contingent
         GLENDALE CA 91201
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2455 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2565 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.7.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACORNS GROW INCORPORATED                                                                          $30,443.80
         5300 CALIFORNIA AVE.                              ¨ Contingent
         IRVINE CA 92617
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.8.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ACXIOM LLC                                                                                        $71,498.00
         301 E. DAVE WARD DRIVE                            ¨ Contingent
         CONWAY AR 72032
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.9.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AD ART SIGN COMPANY                                                                               $16,811.06
         150 EXECUTIVE PARK BLVD SUITE # 2100              ¨ Contingent
         SAN FRANCISCO CA 94134
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2456 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2566 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.10.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADRIENNE MARCH                                                                                    $110.16
         5563 TOURNAMENT DR                                ¨ Contingent
         HAYMARKET VA 90169
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.11.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADVANCED MECHANICAL SERVICES                                                                      $7,766.08
         2475 REGENT AVE                                   ¨ Contingent
         ORLANDO FL 32804
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.12.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALANNA GALLARDO                                                                                   $31.40
         2257 SUDBURY CT                                   ¨ Contingent
         TRACY CA 95376
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2457 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2567 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.13.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALEJANDRA LOPEZ                                                                                   $71.14
         2639 N SPRINGFIELD AVE 1ST                        ¨ Contingent
         CHICAGO IL 60647-1030
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.14.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALESSANDRA BOLLING                                                                                $11.30
         3573 WILES ROAD APT # 206                         ¨ Contingent
         COCONUT CREEK FL 33703
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.15.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALEX M. LAVOTA                                                                                    $26.22
         N53 W35741 HILLVIEW CT                            ¨ Contingent
         OCONOMOWOC WI 53066
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2458 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2568 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.16.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALEXANDRA ARCHETTI                                                                                $29.70
         24 KATIE COURT                                    ¨ Contingent
         EAST HANOVER NJ 07936
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.17.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALEXANDRIA REESE                                                                                  $19.25
         1271 SUMMIT ST. APT M                             ¨ Contingent
         COLUMBUS OH 43202
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.18.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALGONQUIN COMMONS                                                                                 $4,143.47
         MATTHEW MASON AS RECEIVER OF                      þ Contingent
         ALGONQUIN COMMONS
         320 NORTH MAIN STREET SUITE 200                   ¨ Unliquidated
         ANN ARBOR MI 48104                                ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2459 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2569 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.19.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALISON GOLLADAY                                                                                   $67.80
         4715 CUERNO VERDE                                 ¨ Contingent
         COLORADO CITY CO 81019
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.20.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALLIED UNIVERSAL SECURITY                                                                         $70.00
         P.O.BOX 828854                                    ¨ Contingent
         PHILADELPHIA PA 19182-8854
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.21.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALMONT AMBULATORY SURGERY CENTER, LLC                                                             UNDETERMINED
         FRANCIS J. FLYNN JR.                              þ Contingent
         6220 W. 3RD STREET
         #115                                              þ Unliquidated
         LOS ANGELES CA 90036                              þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2460 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2570 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.22.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALPHA DOG ADA SIGN                                                                                $97.80
         4321 ANTHONY CT # 7                               ¨ Contingent
         ROCKLIN CA 95677
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.23.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMANDA G. ACOSTA                                                                                  $52.44
         504 W 1720 N                                      ¨ Contingent
         PROVO UT 84604
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.24.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMANDA NICHOLS                                                                                    $27.45
         4934 ASPEN ST                                     ¨ Contingent
         FIRESTONE CO 80504
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2461 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2571 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.25.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMBERLYN GODOY                                                                                    $2.46
         165 PRINDLE AVE                                   ¨ Contingent
         ANSONIA CT 06401
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.26.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMENDA DUONG                                                                                      $31.83
         10256 12TH AVE. SW                                ¨ Contingent
         SEATTLE WA 98146-1401
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.27.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMKO DISPLAYS, LLC.                                                                               $15,962.85
         7 PURCELL COURT                                   ¨ Contingent
         MOONACHIE NJ 07074
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2462 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2572 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.28.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMY ENRIQUEZ                                                                                      $9.52
         8350 E YALE AVE H102                              ¨ Contingent
         DENVER CO 80231-3837
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.29.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMY HOULE                                                                                         $48.96
         163 MEADOW ST                                     ¨ Contingent
         NAUGATUCK CT 06770
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.30.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMY LANGEWISCH                                                                                    $91.60
         440 HILLCREST BLVD                                ¨ Contingent
         BALLWIN MO 63021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2463 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2573 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.31.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMY SCHWENDEMAN                                                                                   $32.12
         1046 BAYRIDGE DRIVE                               ¨ Contingent
         LEWIS CENTER OH 43035
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.32.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANA VALADEZ                                                                                       $265.96
         30034 WHEMBLY CIRCLE                              ¨ Contingent
         MENIFEE CA 92584
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.33.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANABELL GRAJEDA                                                                                   $61.60
         436 SECOND STREET                                 ¨ Contingent
         MOORPARK CA 93021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2464 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2574 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.34.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANAMARIA CRESPO                                                                                   $33.00
         71 WINDSOR STREET                                 ¨ Contingent
         BRIDGEPORT CT 06606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.35.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANASTACIA DAVIS                                                                                   $91.26
         915 S JACKSON STREET                              ¨ Contingent
         MONTGOMERY AL 36104
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.36.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANMOLBEN PATEL                                                                                    $127.53
         285 N RUTHERFORD BLVD #J104                       ¨ Contingent
         MURFREESBORO TN 37130
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2465 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2575 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.37.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANNA WOODYARD                                                                                     $83.88
         1240 E VICTORY DR                                 ¨ Contingent
         SAVANNAH GA 31404
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.38.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANNE HUDAK                                                                                        $60.98
         367 MADISON GARDENS                               ¨ Contingent
         OLD BRIDGE NJ 08857
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.39.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANNICE WAY                                                                                        $148.14
         6491 HWY 341                                      ¨ Contingent
         PONTOTOC MS 38863
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2466 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2576 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.40.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANTHONY K. AIWOHI                                                                                 $53.50
         728 HARBOUR TOWN DR.                              ¨ Contingent
         LAKE DALLAS TX 75065
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.41.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         APPLE BLOSSOM MALL                                                                                $495.68
         14183 COLLECTIONS CENTER DR.                      þ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.42.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARCVISION, INC.                                                                                   $23,800.00
         1950 CRAIG ROAD SUITE 300                         ¨ Contingent
         ST LOUIS MO 63146
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2467 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2577 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.43.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARIZONA MILLS, LLC                                                                                $2.84
         P.O. BOX 402298                                   þ Contingent
         ATLANTA GA 30384-2298
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.44.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASHLEY CAREY                                                                                      $5.35
         4135 FILBERT ST                                   ¨ Contingent
         WAYNE MI 48184
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.45.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ASHLEY M. SNODGRASS                                                                               $182.51
         418 S. LEBARON                                    ¨ Contingent
         MESA AZ 85210-2402
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2468 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2578 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.46.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AT&T                                                                                              $222.29
         P.O. BOX 105262                                   ¨ Contingent
         ATLANTA GA 30348-5262
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.47.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATLANTIC CITY ASSOCIATES, LLC.                                                                    $8,263.22
         NUMBER THREE, LLC                                 ¨ Contingent
         C/O TANGER MANAGEMENT, LLC
         3200 NORTHLIN AVE, SUITE 360                      ¨ Unliquidated
         GREENSBORO NC 27408                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.48.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AUGUSTA LICENSE AND INSPECTION                                                                    $362.00
         P.O. BOX 9270                                     ¨ Contingent
         AUGUSTA GA 30916-9270
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2469 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2579 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.49.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AVALARA, INC.                                                                                     $7,340.00
         1100 2ND AVE. SUITE 300                           ¨ Contingent
         SEATTLE WA 98101
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.50.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AYLIN RAMIREZ                                                                                     $10.80
         43 COOPER STREET                                  ¨ Contingent
         PAWTUCKET RI 02860
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.51.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAYBROOK MALL LLC                                                                                 $90.00
         P.O. BOX 86                                       ¨ Contingent
         MINNEAPOLIS MN 55486-1851
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2470 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2580 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.52.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAYSHORE SHOPPING CENTER                                                                          $5,923.80
         8343 DOUGLAS AVENUE SUITE 200                     ¨ Contingent
         DALLAS TX 75225
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.53.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAYSHORE TOWN CENTER, LLC                                                                         $26.96
         C/O STEINER PROPERTIES, LLC                       ¨ Contingent
         P.O. BOX 635025
         CINCINNATI OH 45263-5025                          ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.54.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BEAR COMMUNICATIONS, INC.                                                                         $9,138.96
         P.O. BOX 670354                                   ¨ Contingent
         DALLAS TX 75267-0354
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2471 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2581 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.55.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BENSALEM TOWNSHIP                                                                                 $175.00
         FIRE MARSHAL'S OFFICE                             ¨ Contingent
         2400 BYBERRY ROAD
         BENSALEM PA 19020                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.56.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BEST SECURITY INDUSTRIES, INC.                                                                    $2,114.21
         755 NORTHWEST 17TH AVENUE SUITE 101               ¨ Contingent
         DEL RAY BEACH FL 33445
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.57.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLAIR GENERAL MAINTENANCE                                                                         $5,820.18
         9712 SKILLMAN ST                                  ¨ Contingent
         DALLAS TX 75243
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2472 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2582 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.58.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLOOMFIELD HOLDINGS LLC                                                                           $13,504.85
         PO BOX 205150                                     ¨ Contingent
         DALLAS TX 75320-5150
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.59.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLUEGRASS OUTLET SHOPPES CMBS,                                                                    $348.94
         10275 W HIGGINS ROAD SUITE 560                    ¨ Contingent
         ROSEMONT IL 60018
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.60.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BOARD USA                                                                                         $21,875.00
         33 BROAD STREET SUITE 502                         ¨ Contingent
         BOSTON MA 02109
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2473 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2583 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.61.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BOROUGH OF PARAMUS                                                                                $975.00
         BUILDING DEPARTMENT                               ¨ Contingent
         1 JOCKISH SQUARE
         PARAMUS NJ 07652                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.62.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BOROUGH OF TINTON FALLS                                                                           $75.00
         MUNICIPAL CENTER 556 TINTON AVE                   ¨ Contingent
         TINTON FALLS NJ 07724-3298
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.63.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BOSTON BARRICADE COMPANY INC                                                                      $347.75
         1151 19TH STREET                                  ¨ Contingent
         VERO BEACH FL 32960
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2474 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2584 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.64.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRAGEL INTERNATIONAL, INC.                                                                        UNDETERMINED
         WANG IP LAW GROUP PC                              þ Contingent
         TOMMY WANG/JEFF KANG
         18645 E GALE AVE                                  þ Unliquidated
         SUITE 205
         CITY OF INDUSTRY CA 91748
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.65.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRANDED GROUP, INC.                                                                               $26,413.52
         222 SOUTH HARBOR BLVD SUITE 500                   ¨ Contingent
         ANAHEIM CA 92805
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.66.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRANDON RAINS                                                                                     $74.12
         185 EAST CAPE ROCK DRIVE                          ¨ Contingent
         CAPE GIRARDEAU MO 63701
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2475 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2585 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.67.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRASS MILL CENTER MALL LLC                                                                        UNDETERMINED
         P.O. BOX 772851                                   ¨ Contingent
         CHICAGO IL 60677-2851
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.68.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRENDA JULES                                                                                      $40.00
         174 NEW STATE RD.                                 ¨ Contingent
         CENTRAL MANCHESTER CT 06042
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.69.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRIA LINK                                                                                         $0.21
         1350 HARVEY MITCHELL PKWY S APT 1525              ¨ Contingent
         COLLEGE STATION TX 77840-6247
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2476 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2586 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.70.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRISSA BERKOVITS                                                                                  $15.00
         531 OAKVILLE DOLLAR-DES-ORMEAUX,                  ¨ Contingent
         QC H9G 1M3
         CANADA                                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.71.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRITTANY GAHMAN                                                                                   $48.05
         1207 WESTLAKE CIRCLE                              ¨ Contingent
         BELLEVILLE MI 48111
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.72.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRITTNEY TURBERVILLE                                                                              $25.70
         5434 COTTAGE LANE                                 ¨ Contingent
         HOOVER AZ 35226
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2477 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2587 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.73.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BROADSTONE LAND, LLC                                                                              $5,873.43
         340 PADDAIO PARKWAY SUITE 521                     ¨ Contingent
         FOLSOM CA 95630
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.74.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CANARY MARKETING                                                                                  $3,471.37
         2700 CAMINO RAMON SUITE 110                       ¨ Contingent
         SAN RAMON CA 94539
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.75.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAN-DO ELECTRIC, INC.                                                                             $13,212.00
         9409 ABRAHAM WAY                                  ¨ Contingent
         SANTEE CA 92071
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2478 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2588 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.76.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CANTOR COMMERCIAL REAL ESTATE                                                                     $6,948.81
         LENDING LP SDS-12-1532                            ¨ Contingent
         PO BOX 86
         MINNEAPOLIS MN 55486-1532                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.77.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAPITAL MALL LP                                                                                   $5,731.63
         1 EAST WACKER DRIVE SUITE 3600                    ¨ Contingent
         CHICAGO IL 60601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.78.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAPITOL LIGHT                                                                                     $69,211.63
         P.O. BOX 418453                                   ¨ Contingent
         BOSTON MA 02241-8453
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2479 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2589 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.79.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAPREF BROOKWOOD VILLAGE LLC                                                                      $2,334.86
         8343 DOUGLAS AVE., SUITE # 200                    ¨ Contingent
         DALLAS TX 75225
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.80.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAPREF LLOYD II LLC                                                                               UNDETERMINED
         8343 DOUGLAS AVE SUITE 200                        ¨ Contingent
         DALLAS TX 75225
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.81.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARIBBEAN CONSTRUCTION                                                                            $2,254.00
         WASHINGTON AVE F8                                 ¨ Contingent
         GUAYNABO PR 00969
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2480 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2590 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.82.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAROUSEL CENTER COMPANY LP                                                                        $274.36
         MANUFACTURERS & TRADERS TRUST                     þ Contingent
         P.O. BOX 8000 DEPT# 692
         BUFFALO NY 14267                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.83.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASSANDRA PASCO                                                                                   $29.32
         221 GRACE STREET                                  ¨ Contingent
         GROVE CITY PA 16127
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.84.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASTLETON SQUARE/                                                                                 $99.30
         CASTLETON SQUARE LLC                              þ Contingent
         PO BOX 775754
         CHICAGO IL 60677-5754                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2481 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2591 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.85.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CENTER FOR ADVANCED PUBLIC AWARENESS,                                                             UNDETERMINED
         INC.                                              þ Contingent
         GATES JOHNSON LAW
         KIMBERLY GATES                                    þ Unliquidated
         2822 MORAGA STREET
         SAN FRANCISCO CA 94122
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.86.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CESLIE BLASS                                                                                      $46.74
         1771 E MALORY ST                                  ¨ Contingent
         PENSACOLA BEACH FL 32503
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.87.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHANTANAE PRICE                                                                                   $62.72
         14617 LITTLE ANNE DRIVE                           ¨ Contingent
         LITTLE ELM TX 75068-2739
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2482 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2592 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.88.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHAPEL HILL MALL REALTY                                                                           UNDETERMINED
         2000 BRITTAIN RD STE 830                          ¨ Contingent
         AKRON OH 44310-4303
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.89.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLI VARNER                                                                                     $138.57
         177 HOLLY STREET UNIT 2                           ¨ Contingent
         WESTON WV 26452
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.90.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE ADMINISTRATION, INC.                                                              UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2483 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2593 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.91.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE HOLDING, INC.                                                                     UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes

3.92.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE HOLDING, INC.                                                                     UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes

3.93.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE HOLDING, INC.                                                                     UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2484 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2594 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.94.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE HOLDING, INC.                                                                     UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes

3.95.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE MERCHANDISING, INC.                                                               UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes

3.96.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHARLOTTE RUSSE MERCHANDISING, INC.                                                               UNDETERMINED
         5910 PACIFIC CENTER BLVD                          ¨ Contingent
         SAN DIEGO CA 92121
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        AMENDED & RESTATED CREDIT
                                                           AGREEMENT
         Last 4 digits of account number:
                                                           Is the claim subject to offset?

                                                           ¨ No
                                                           þ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2485 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2595 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.97.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHERRELL HILLIARO                                                                                 $6.84
         3121 ABLE PL                                      ¨ Contingent
         CHESTERFIELD VA 23832-8406
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.98.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHESTERFIELD COUNTY, VIRGINIA                                                                     $2,714.51
         P.O.BOX 71111                                     ¨ Contingent
         CHARLOTTE NC 28272-1111
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.99.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHINA LAWSON                                                                                      $196.00
         1943 LAUREL OAK DR.                               ¨ Contingent
         FLINT MI 48507
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2486 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2596 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.100.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHRISTINA PETERSON                                                                                $61.72
         717 OAKDALE AVE APT 215                           ¨ Contingent
         SPRINGFIELD OR 97477-7726
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.101.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CINTAS CORPORATION #150                                                                           $1,402.17
         PO BOX 29059                                      ¨ Contingent
         PHOENIX AZ 85038-9059
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.102.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CINTAS CORPORATION #470                                                                           $576.90
         PO BOX 88005                                      ¨ Contingent
         CHICAGO IL 60680-1005
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2487 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2597 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.103.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY LIGHTING                                                                                     $40,841.89
         204 DOUGLAS ROAD                                  ¨ Contingent
         SEWICKLEY PA 15143-8110
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.104.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF HOLYOKE                                                                                   $2,303.10
         CITY HALL 536 DWIGHT STREET                       ¨ Contingent
         HOLYOKE MA 01040
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.105.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF BOYNTON BEACH                                                                             $175.00
         BUSINESS TAX DIVISION                             ¨ Contingent
         100 E. BOYNTON BEACH BLVD.
         BOYNTON BEACH FL 33435                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2488 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2598 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.106.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF CHESAPEAKE                                                                                $2,425.50
         P.O. BOX 15285                                    ¨ Contingent
         CHESAPEAKE VA 23328
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.107.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF FLORENCE                                                                                  $646.35
         CITY CLERK'S OFFICE                               ¨ Contingent
         PO BOX 98
         FLORENCE AL 35631                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.108.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF GONZALES                                                                                  $1,200.00
         120 SOUTH IRMA BLVD                               ¨ Contingent
         GONZALES LA 70737
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2489 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2599 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.109.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF GREENVILLE                                                                                $2,427.43
         BUSINESS LICENSE DIVISION                         ¨ Contingent
         P.O. BOX 2207
         GREENVILLE SC 29602                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.110.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF HENDERSON                                                                                 $540.00
         FINANCE DEPARTMENT                                ¨ Contingent
         PO BOX 95007
         HENDERSON NV 89009-5007                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.111.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF HOMEWOOD                                                                                  $751.72
         PO BOX 59666                                      ¨ Contingent
         HOMEWOOD AL 35259
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2490 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2600 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.112.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF HOOVER                                                                                    $1,283.22
         PO BOX 11407                                      ¨ Contingent
         HOOVER AL 35246-0144
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.113.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF JONESBORO                                                                                 $402.53
         COLLECTING DEPT CITY HALL                         ¨ Contingent
         P.O. BOX 1845
         JONESBORO AR 72403-1845                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.114.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF LAS VEGAS                                                                                 $500.00
         DEPT.OF FINANCE/BUSINESS SVCS.                    ¨ Contingent
         PO BOX 748018
         LOS ANGELES CA 90074-8018                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2491 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2601 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.115.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF MOBILE                                                                                    $2,472.89
         REVENUE DEPT. #1530                               ¨ Contingent
         P.O. BOX 11407
         BIRMINGHAM AL 35246-1530                          ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.116.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF MODESTO                                                                                   $379.69
         P.O. BOX 3442                                     ¨ Contingent
         MODESTO CA 95353-3442
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.117.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF MONROE                                                                                    $900.00
         TAX & REV DIVISION                                ¨ Contingent
         P.O.BOX 123
         MONROE LA 71210-0123                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2492 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2602 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.118.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF MORENO VALLEY                                                                             $518.55
         P O BOX 88005                                     ¨ Contingent
         MORENO VALLEY CA 92552-0805
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.119.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF NATIONAL CITY                                                                             $518.00
         BUSINESS LICENSE DIVISION                         ¨ Contingent
         1243 NATIONAL CITY BLVD.
         NATIONAL CITY CA 91950-4397                       ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.120.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF NEWPORT NEWS                                                                              $2,463.55
         COMMISSIONER OF THE REVENUE                       ¨ Contingent
         2400 WASHINGTON AVENUE
         NEWPORT NEWS VA 23607                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2493 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2603 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.121.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF NORFOLK                                                                                   $505.00
         DIVISION OF PARKING                               ¨ Contingent
         222 E. MAIN STREET
         NORFOLK VA 23510                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.122.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF NORTH LITTLE ROCK                                                                         $445.37
         BUSINESS LICENSE OFFICE                           ¨ Contingent
         PO BOX 5757
         NORTH LITTLE ROCK AR 72119                        ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.123.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF PEARL                                                                                     $1,781.84
         PO BOX 5948                                       ¨ Contingent
         PEARL MS 39288
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2494 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2604 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.124.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF ROGERS                                                                                    $53.00
         CITY CLERKS OFFICE                                ¨ Contingent
         301 W. CHESTNUT
         ROGERS AR 72756                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.125.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF SAN BUENAVENTURA                                                                          $187.54
         501 POLI STREET ROOM 107                          ¨ Contingent
         VENTURA CA 93001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.126.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF SPARTANBURG                                                                               $1,381.47
         P.O. DRAWER 1749                                  ¨ Contingent
         SPARTANBURG SC 29304
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2495 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2605 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.127.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF SPRINGFIELD                                                                               $396.25
         DEPT. OF FINANCE LICENSE DIV                      ¨ Contingent
         P.O. BOX 8368
         SPRINGFIELD MO 65801-8368                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.128.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF SWEETWATER                                                                                $735.00
         500 SW 109TH AVE                                  ¨ Contingent
         SWEETWATER FL 33174
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.129.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF TORRANCE                                                                                  $1,471.00
         REVENUE DIVISION                                  ¨ Contingent
         3031 TORRANCE BOULEVARD
         TORRANCE CA 90503                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2496 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2606 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.130.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF TUSCALOOSA                                                                                $1,427.03
         REVENUE DEPARTMENT                                ¨ Contingent
         P.O. BOX 2089
         TUSCALOOSA AL 35403                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.131.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF VIRGINIA BEACH                                                                            $3,378.03
         MUNICIPAL CENTER-BUILDING 1 2401                  ¨ Contingent
         COURTHOUSE DR.
         VIRGINIA BEACH VA 23456-9018                      ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.132.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY TREASURER WINCHESTER                                                                         $2,002.06
         PO BOX 263                                        ¨ Contingent
         WINCHESTER VA 22604-0263
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2497 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2607 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.133.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLARK COUNTY BUSINESS LICENCE                                                                     $370.00
         500 S GRAND CENTRAL PARKWAY 3RD F BOX             ¨ Contingent
         551810
         LAS VEGAS NV 89155-1810                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.134.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CNL INTERNATIONAL                                                                                 $6,972.00
         6600 ARTESIA BLVD.                                ¨ Contingent
         BUENA PARK CA 90620
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.135.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CODY CLARK                                                                                        $10.55
         1460 ZENOBIA ST.                                  ¨ Contingent
         DENVER CO 80204
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2498 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2608 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.136.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COLUMBIA PLACE MALL SC LLC                                                                        $1,094.65
         9103 ALTA DRIVE SUITE 204                         ¨ Contingent
         LAS VEGAS NV 89145
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.137.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMMUNICATION RESOURCES, INC.                                                                     $21,100.23
         7550 W YALE AVE SUITE A-120                       ¨ Contingent
         DENVER CO 80227
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.138.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMPLIANCE POSTER COMPANY                                                                         $188.83
         PO BOX 607                                        ¨ Contingent
         MONROVIA CA 91016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2499 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2609 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.139.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CONNYE NUHU                                                                                       $44.10
         215 WILLOUGHBY CT                                 ¨ Contingent
         MACON GA 31216
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.140.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CONSOLIDATED FIRE PROTECTION                                                                      $8,741.36
         153 TECHNOLOGY DR SUITE 200                       ¨ Contingent
         IRVINE CA 92618
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.141.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COOLSPRINGS MALL, LLC                                                                             $29,179.66
         2030 HAMILTON PLACE BLVD. SUITE 500               ¨ Contingent
         CHATTANOOGA TN 37421-6000
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2500 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2610 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.142.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COPPER HARBOR TECHNOLOGIES,INC                                                                    $4,759.71
         884 HONEST PLEASURE DRIVE SUITE #110              ¨ Contingent
         NAPERVILLE IL 60540-7630
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.143.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CORINNE BENNINGER                                                                                 $218.78
         4080 TREE BROOK DRIVE                             ¨ Contingent
         WINSTON-SALEM NC 27106
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.144.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COROC/RIVIERA L.L.C.                                                                              $12,869.13
         PO BOX 414225                                     ¨ Contingent
         BOSTON MA 02241-4225
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2501 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2611 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.145.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CORPORACION DEL FONDO                                                                             $13,599.53
         DEL SEGURO DEL ESTADO P.O. BOX 42006              ¨ Contingent
         SAN JUAN PR 00940-2006
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.146.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CORY RICHARDSON                                                                                   $164.86
         22 GIESKE ROAD                                    ¨ Contingent
         LORETTO TN 38469-2605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.147.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COUNTY OF ALAMEDA                                                                                 $300.00
         OFFICE OF WEIGHTS AND MEASURES                    ¨ Contingent
         224 W WINTON AVE RM 184
         HAYWARD CA 94544                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2502 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2612 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.148.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COUNTY OF BUCKS                                                                                   $159.00
         BUCKS COUNTY WEIGHTS & MEASURE                    ¨ Contingent
         1260 ALMSHOUSE RD 4TH FLOOR
         DOYLESTOWN PA 18901                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.149.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COUNTY OF FAIRFAX                                                                                 $7,426.30
         DEPT. OF TAX ADMINISTRATION                       ¨ Contingent
         P.O. BOX 10203
         FAIRFAX VA 22035-0203                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.150.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COUNTY OF HENRICO, VIRGINIA                                                                       $2,262.89
         DEPARTMENT OF FINANCE                             ¨ Contingent
         LOCK BOX 4732 P.O.BOX 90790
         HENRICO VA 23228-0790                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2503 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2613 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.151.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COUNTY OF SAN MATEO                                                                               $440.00
         P.O. BOX 999 728 HELLER STREET                    ¨ Contingent
         REDWOOD CITY CA 94064-0999
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.152.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COURT ORDERED DEBT COLLECTION                                                                     $17.55
         FRANCHISE TAX BOARD                               ¨ Contingent
         P.O. BOX 1328
         RANCHO CORDOVA CA 95741-1328                      ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.153.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CP VENTURE FIVE-AV LLC                                                                            $9,202.04
         C/0 POAG SHOPPING CENTERS LLC                     ¨ Contingent
         2650 THOUSAND OAKS BLVD SUITE 2200
         MEMPHIS TN 38118                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2504 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2614 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.154.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CREFII SILVER CITY LLC                                                                            $5,933.84
         SILVER CITY GALLERIA 2 GALLERIA MALL DRIVE        ¨ Contingent
         TAUNTON MA 02780
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.155.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CROSSGATES MALL GENERAL                                                                           $31,793.07
         COMPANY NEWCO, LLC.                               ¨ Contingent
         4 CLINTON EXCHANGE
         SYRACUSE NY 13202                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.156.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CRYSTAL A. CUNNINGHAM                                                                             $19.22
         939 WEST DELMARE                                  ¨ Contingent
         GODFREY IL 62035
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2505 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2615 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.157.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CRYSTAL N. HARDIN                                                                                 $110.41
         2760 COY KAYLOR PL APT 11                         ¨ Contingent
         FAYETTEVILLE AR 72703
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.158.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CRYSTAL TATE                                                                                      $119.60
         7800 YOUREE DR APT 2200F                          ¨ Contingent
         SHREVEPORT LA 71105
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.159.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CURTIS CRAIGHEAD                                                                                  $70.20
         29 FLORENCE AVE                                   ¨ Contingent
         IRVINGTON NJ 07111
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2506 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2616 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.160.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CYPRESS FLAGSTAFF MALL LP                                                                         $14,833.13
         P.O.BOX 678553                                    ¨ Contingent
         DALLAS TX 75267-8553
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.161.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         D.D.S.                                                                                            $299,808.72
         7351 BOONE AVE NORTH                              ¨ Contingent
         BROOKLYN PARK MN 55428-1007
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.162.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAFNE V. RODRIGUEZ                                                                                $203.77
         4141 KRUPP                                        ¨ Contingent
         EL PASO TX 79902
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2507 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2617 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.163.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAILY JOURNAL CORPORATION                                                                         $55.00
         915 E FIRST ST                                    ¨ Contingent
         LOS ANGELES CA 90012
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.164.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DALLAS TYE                                                                                        $15.98
         331 BURRANEER BAY ROAD CARINGBAH, 0               ¨ Contingent
         NSW 2229
         AUSTRALIA                                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.165.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DA'NEISHA D SMITH                                                                                 $207.80
         118 MARK TWAIN DR. #15                            ¨ Contingent
         RIVER RIDGE LA 70123
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2508 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2618 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.166.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DANIEL RYAN                                                                                       $198.40
         92 FORT SHANTOK RD                                ¨ Contingent
         UNCASVILLE CT 06382-1302
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.167.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DANIELLE CLEGHORNE                                                                                $58.81
         5700 CARBON CANYON RD # 29                        ¨ Contingent
         BREA CA 92823
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.168.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DANIELLE RISACHER                                                                                 $135.06
         3713 PRESCOTT DR                                  ¨ Contingent
         HOWELL MI 48843
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2509 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2619 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.169.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAVIDA ROCHELLE                                                                                   $168.46
         4240 GANNET CIR # 219                             ¨ Contingent
         LAS VEGAS NV 98103
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.170.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAYTON MALL II, LLC                                                                               $9,234.70
         180 EAST BROAD STREET                             ¨ Contingent
         COLUMBUS OH 43215
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.171.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DC GROUP INC                                                                                      $6,242.40
         1977 W RIVER RD N                                 ¨ Contingent
         MINNEAPOLIS MN 55411
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2510 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2620 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.172.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DCKAP INC                                                                                         $35,500.00
         3728 ATLANTIC AVENUE                              ¨ Contingent
         LONG BEACH CA 90807
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.173.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DDR DEL SOL LLC, S.E.                                                                             $19,109.91
         3300 ENTERPRISE PARKWAY                           ¨ Contingent
         BEACHWOOD OH 44122
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.174.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEB JANSSENS                                                                                      $34.20
         652 HARBOR TER                                    ¨ Contingent
         BARTLETT IL 60103
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2511 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2621 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.175.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         D'EBONY PHIPPS                                                                                    $119.01
         333 AIRTEX DR APT 9304                            ¨ Contingent
         HOUSTON TX 77090-6636
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.176.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEBORAH JOHNSON POOR                                                                              $140.56
         407 SPARROW BRANCH CIRCLE                         ¨ Contingent
         JACKSONVILLE FL 32259
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.177.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DELAWARE DEPT. OF LABOR                                                                           $26.91
         P.O. BOX 41780                                    ¨ Contingent
         PHILADELPHIA PA 19101-1780
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2512 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2622 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.178.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DELUXE BUSINESS FORMS&SUPPLIES                                                                    $30.80
         P.O. BOX 742572                                   ¨ Contingent
         CINCINNATI OH 45274-2572
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.179.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEMETRA BURNWELL                                                                                  $0.14
         2804 ASHMONT TERRACE                              ¨ Contingent
         SILVER SPRING MD 20906-5716
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.180.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DESIREE BEARDSLEY                                                                                 $187.74
         709 TROY COVE                                     ¨ Contingent
         JONESBORO AR 72401
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2513 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2623 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.181.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DESOTO OWNERS, LLC                                                                                UNDETERMINED
         1156 58TH STREET                                  ¨ Contingent
         BROOKLYN NY 11219
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.182.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DESTINEE B TATE                                                                                   $66.00
         1326 MOORES COURT                                 ¨ Contingent
         BRENTWOOD TN 37027
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.183.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEWITT PLASTICS INC                                                                               $2,034.23
         28 AURELIUS AVE                                   ¨ Contingent
         AUBURN NY 13021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2514 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2624 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.184.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DIANA ANDERSON                                                                                    $17.22
         32035 BAYWOOD ST                                  ¨ Contingent
         LAKE ELSINORE CA 92532
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.185.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DIANA SANCHEZ                                                                                     $38.45
         11040 LORNE ST # 230                              ¨ Contingent
         SUN VALLEY CA 91352
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.186.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EATONTOWN MONMOUTH MALL                                                                           $21,218.46
         180 NEW JERSEY 35                                 ¨ Contingent
         EATONTOWN NJ 07724
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2515 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2625 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.187.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EKLECCO NEWCO, LLC                                                                                $43,016.59
         THE CLINTON EXCHANGE, 4 CLINTON SQUARE            ¨ Contingent
         SYRACUSE NY 13202
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.188.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELAINE L. CHAVERS                                                                                 $6.24
         3150 HIDDEN POND DR                               ¨ Contingent
         RALEIGH NC 27613-3951
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.189.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELENI FKIARAS                                                                                     $27.74
         7172 MCKEAN CT.                                   ¨ Contingent
         SAN JOSE CA 95120
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2516 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2626 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.190.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELITE INVESTIGATIONS LTD                                                                          $22,349.59
         538 WEST 29 ST                                    ¨ Contingent
         NEW YORK NY 10001
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.191.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELITE RETAIL SERVICES INC                                                                         $515.35
         PO BOX 618                                        ¨ Contingent
         LAKE JACKSON TX 77566
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.192.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELIZABETH FIRE DEPARTMENT                                                                         $85.00
         411 IRVINGTON AVENUE                              ¨ Contingent
         ELIZABETH NJ 07201
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2517 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2627 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.193.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELIZABETH ORDONEZ                                                                                 $22.13
         4001 FAUDREE RD APT L205                          ¨ Contingent
         ODESSA TX 79765
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.194.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELIZABETH REED                                                                                    $83.14
         6311 35TH AVE WEST                                ¨ Contingent
         BRADENTON FL 34209-6935
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.195.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMCOR FACILITIES SERVICES INC                                                                     $42,072.78
         PO BOX 31001-0919                                 ¨ Contingent
         PASADENA CA 91110-0191
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2518 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2628 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.196.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMILY BURKE                                                                                       $361.42
         3100 SWEETWATER RD APT 609                        ¨ Contingent
         LAWRENCEVILLE GA 30044-2475
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.197.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMILY WORKMAN                                                                                     $151.20
         14926 WILLOW CREEK DRIVE                          ¨ Contingent
         OMAHA NE 68138
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.198.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EMPIRE MALL LLC                                                                                   $416.64
         P.O. BOX 83388                                    þ Contingent
         CHICAGO IL 60691-3388
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2519 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2629 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.199.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ERIKA R JARVIS                                                                                    $27.22
         9223 BENSON WAY                                   ¨ Contingent
         SANDY UT 84070-2621
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.200.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ERIN ANDERSON                                                                                     $31.36
         302 BUMPY TRAIL                                   ¨ Contingent
         DAWSONVILLE GA 30534
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.201.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ERIN L. CAVANAUGH                                                                                 $40.39
         828 BLACK ROCK TURNPIKE                           ¨ Contingent
         FAIRFIELD CT 06824
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2520 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2630 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.202.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ERIN MCDONALD                                                                                     $47.96
         845 S NORMANDIE AVE APT 4                         ¨ Contingent
         LOS ANGELES CA 90005
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.203.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ESPLANADE MALL REALTY HOLDING                                                                     $3,441.81
         1010 NORTHERN BLVD SUITE 212                      ¨ Contingent
         GREAT NECK NY 11021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.204.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EXPEDITER SERVICES INC.                                                                           $260.00
         PO BOX 29624                                      ¨ Contingent
         SAN JUAN PR 00929-0624
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2521 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2631 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.205.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EYEKICK VISUAL LLC                                                                                $803.33
         1159 CHESS DR                                     ¨ Contingent
         FOSTER CITY CA 94404
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.206.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FABIANA CAMPBELL                                                                                  $257.60
         8415 PINEY POINT COURT                            ¨ Contingent
         MANASSAS VA 20110
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.207.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FABRIC SELECTION, INC.                                                                            UNDETERMINED
         RESCH POLSTER & BERGER                            þ Contingent
         MICHAEL BAUM
         1840 CENTURY PARK EAST                            þ Unliquidated
         17TH FLOOR
         LOS ANGELES CA 90067
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2522 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2632 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.208.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FAIR OAKS MALL                                                                                    $9,445.12
         200 E LONG LAKE RD. SUITE 300                     ¨ Contingent
         BLOOMFIELD HILLS MI 48304-2324
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.209.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FALYNNE DIXON                                                                                     $23.00
         7700 S PRAIRIE                                    ¨ Contingent
         CHICAGO IL 60619
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.210.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FAMILY CARPET & DRAPERIES                                                                         $62,227.00
         7111 UNIVERSITY AVENUE                            ¨ Contingent
         LA MESA CA 91942
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2523 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2633 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.211.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FARAH ABDOU                                                                                       $16.75
         10848 GLEN COVE CIR. APT 208                      ¨ Contingent
         ORLANDO FL 32817
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.212.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FASHION SQUARE MALL REALTY LLC                                                                    $714.77
         150 GREAT NECK RD SUITE 304                       ¨ Contingent
         GREAT NECK NY 11021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.213.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRE KING COMMERCIAL                                                                              $2,957.98
         FKI SECURITY GROUP LLC                            ¨ Contingent
         2789 SOLUTION CENTER
         CHICAGO IL 60677-2007                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2524 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2634 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.214.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FLORENCE MALL L.L.C.                                                                              $11,111.63
         P.O.BOX 860080                                    ¨ Contingent
         MINNEAPOLIS MN 55486-0080
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.215.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FORD CITY                                                                                         $99.44
         LOCKBOX #26488                                    ¨ Contingent
         26488 NETWORK PLACE
         CHICAGO IL 60673-1264                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.216.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FORT SMITH MALL LLC                                                                               $5,954.54
         124 JOHNSON FERRY ROAD NE                         ¨ Contingent
         ATLANTA GA 30328
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2525 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2635 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.217.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FOX VALLEY MALL LLC                                                                               $4,150.00
         28769 NETWORK PLACE                               þ Contingent
         CHICAGO IL 60673-1769
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.218.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FRANCIS GUERRA                                                                                    $20.80
         P.O.BOX 60927                                     ¨ Contingent
         CANYON TX 79016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.219.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FREDERICK COUNTY PERMITS &                                                                        $80.00
         INSPECTIONS - ALARM ADMIN.                        ¨ Contingent
         30 N. MARKET ST.
         FREDERICK MD 21701                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2526 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2636 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.220.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         G&I VIII SORRENTO LP                                                                              UNDETERMINED
         C/O DRA ADVISORS LLC                              ¨ Contingent
         220 E 42ND STREET, 27TH FLOOR
         NEW YORK NY 10017                                 þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.221.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GABRIELA CABRERA                                                                                  UNDETERMINED
         DAYTON MAGALLANES, ESQ.                           þ Contingent
         10540 WILSHIRE BLVD.
         SUITE 417                                         þ Unliquidated
         LOS ANGELES CA 90024                              þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.222.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GABRIELA CHAVEZ                                                                                   $68.65
         3401 BAY BREEZOR                                  ¨ Contingent
         SEABROOK TX 77586
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2527 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2637 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.223.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GABRIELLA RAMIREZ                                                                                 $28.41
         423 25TH AVE APT 105                              ¨ Contingent
         SAN FRANCISCO CA 94121
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.224.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GALLERIA MALL INVESTORS, L.P.                                                                     $376.92
         10 STATE HOUSE SQUARE 15TH FLOOR                  ¨ Contingent
         HARTFORD CT 06103
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.225.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GARDA CL WEST, INC.                                                                               $10,553.38
         GARDA WORLD P.O. BOX 233209                       ¨ Contingent
         CHICAGO IL 60689-5332
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2528 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2638 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.226.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GARTNER, INC.                                                                                     $30,500.00
         PO BOX 911319                                     ¨ Contingent
         DALLAS TX 75391-1319
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.227.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GAYLEN COLEMAN                                                                                    $138.44
         6321 N. KLAMM ROAD APT 345                        ¨ Contingent
         KANSAS CITY MO 64151
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.228.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GCCFC 2007-GG9 NIAGARA FALLS                                                                      UNDETERMINED
         1601 WASHINGTON AVENUE, SUITE 800                 ¨ Contingent
         MIAMI BEACH FL 33139
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2529 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2639 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.229.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GCTC HOLDINGS LLC                                                                                 $13,820.07
         520 MADISON AVE 30TH FLOOR                        ¨ Contingent
         NEY YORK NY 10022
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.230.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GENEVIEVE ROBINSON                                                                                $34.28
         152 PLYMOUTH DRIVE APT 2D                         ¨ Contingent
         NORWOOD MA 02062
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.231.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GGP LIMITED PARTNERSHIP                                                                           $1,183.30
         SDS-12-2779 PO BOX 86                             ¨ Contingent
         MINNEAPOLIS MN 55486-2779
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2530 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2640 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.232.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GGP- OTAY RANCH L.P.                                                                              $11,554.23
         110 NORTH WACKER DR                               ¨ Contingent
         CHICAGO IL 60606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.233.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GIFT CARDS                                                                                        $3,142,190.00
         VARIOUS HOLDERS                                   þ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GIFT CARD LIABILITY
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.234.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GILROY PREMIUM OUTLETS, LLC                                                                       $18.68
         TENANT ID GIL-CHARLO                              ¨ Contingent
         P.O. BOX 827762
         PHILADELPHIA PA 19182-7762                        ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 2531 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2641 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.235.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GINA MARIE GRECO                                                                                  $93.70
         6356 RALEIGH ST APT 1514                          ¨ Contingent
         ORLANDO FL 32835
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.236.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOOGLE INC                                                                                        $1,825,033.87
         1600 AMPHITHEATRE PKWY                            ¨ Contingent
         MOUNTAIN VIEW CA 94043
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.237.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GRAND CENTRAL PARKERSBURG LLC                                                                     $4,269.18
         L-2031                                            ¨ Contingent
         COLUMBUS OH 43260
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 2532 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2642 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.238.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GRAPEVINE MILLS                                                                                   $365.00
         PO BOX 198189                                     ¨ Contingent
         ATLANTA GA 30384-8189
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.239.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GRAZINA STODTKO                                                                                   $28.61
         BREDELLE 39                                       ¨ Contingent
         58097 HAGEN
         GERMANY,                                          ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.240.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GULF VIEW SQUARE, LLC                                                                             UNDETERMINED
         P.O. BOX 368                                      ¨ Contingent
         EMERSON NJ 07630
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2533 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2643 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.241.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAIPEI LIANG                                                                                      $195.80
         102 LANSDALE AVE UNIT L                           ¨ Contingent
         MILFORD CT 06460
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.242.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAMILTON MALL, LLC                                                                                $19,271.67
         LOCKBOX 1024805                                   ¨ Contingent
         P.O. BOX 70280
         PHILADELPHIA PA 19176-0280                        ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.243.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAMILTON PLACE CMBS LLC                                                                           UNDETERMINED
         2030 HAMILTON PLACE BLVD SUITE 500                ¨ Contingent
         CHATTANOOGA TN 37421-6000
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2534 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2644 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.244.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HANGSMART, LLC                                                                                    $258,043.50
         3317 S HIGLEY RD STE 114 # 490                    ¨ Contingent
         GILBERT AZ 85297
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.245.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HANNAH JESKE                                                                                      $72.76
         10425 QUEBEC AVENUE SOUTH                         ¨ Contingent
         BLOOMINGTON MN 55438
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.246.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HARFORD MALL BUSINESS TRUST                                                                       UNDETERMINED
         2030 HAMILTON PLACE BLVD SUITE 500                ¨ Contingent
         CHATTANOOGA TN 37421-6000
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2535 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2645 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.247.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HARRY R. MCNESBY JR.                                                                              $435.83
         15948 INNERARITY POINT RD                         ¨ Contingent
         PENSACOLA FL 32507
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.248.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAWAII RETAIL SERVICES DBA                                                                        $9,199.81
         HAWAII UNIFIED                                    ¨ Contingent
         84-1170 FARRINGTON HWY C1
         WAIANAE HI 96792                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.249.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAWTHORN L.P.                                                                                     UNDETERMINED
         8750 N. CENTRAL EXPY SUITE 1740                   ¨ Contingent
         DALLAS TX 75231
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2536 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2646 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.250.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEATHER ROBERTSON                                                                                 $24.07
         11A GUMNUT RISE STRATHDALE BENDIGO                ¨ Contingent
         VICTORIA 3550
         AUSTRALIA                                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.251.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HERA PRINT, INC.                                                                                  UNDETERMINED
         LAW OFFICE OF ALBERT CHANG                        þ Contingent
         HYUNSUK ALBERT CHANG
         1225 W. 190TH STREET                              þ Unliquidated
         SUITE 420
         GARDENA CA 90248
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.252.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HIGHER EDUCATION STUDENT                                                                          $74.96
         ASSISTANCE AUTHORITY                              ¨ Contingent
         P.O. BOX 529
         NEWARK NJ 07101-0529                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2537 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2647 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.253.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOOVER MALL LIMITED, LLC                                                                          $12,452.13
         SDS-12-2446 P.O. BOX 86                           ¨ Contingent
         MINNEAPOLIS MN 55486-2446
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.254.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ILEANA PEREZ                                                                                      $49.63
         CARR. 173 KM 8.5                                  ¨ Contingent
         AGUAS BUUNAS PR 00703
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.255.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IMPERIAL VALLEY MALL II LP                                                                        $23,459.14
         CBL # 0572 P.O. BOX 955607                        ¨ Contingent
         ST LOUIS MO 63195-5607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2538 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2648 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.256.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INDIAN RIVER MALL REALTY                                                                          UNDETERMINED
         HOLDING, LLC                                      ¨ Contingent
         1010 NORTHERN BLVD SUITE 212
         GREAT NECK NY 11021                               þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.257.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INDUSTRIAL SECURITY SOLUTIONS                                                                     $852.00
         5731 MC FADDEN AVE, SUITE A                       ¨ Contingent
         HUNTINGTON BEACH CA 92649
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.258.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INFOR                                                                                             $68,893.75
         NW 7418 PO BOX 1450                               ¨ Contingent
         MINNEAPOLIS MN 55485-7418
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2539 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2649 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.259.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INTERNATIONAL SYSTEMS OF                                                                          $275.00
         P.O. BOX 99529 1812 CARGO COURT                   ¨ Contingent
         LOUISVILLE KY 40269-0529
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.260.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IRVINE COMPANY                                                                                    $22,403.48
         P.O. BOX 840363                                   ¨ Contingent
         LOS ANGELES CA 90084-0363
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.261.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ISLAND PACIFIC                                                                                    $17,811.43
         1940 EAST DEERE AVE SUITE 200                     ¨ Contingent
         SANTA ANA CA 92705
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2540 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2650 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.262.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IVORY WRIGHT                                                                                      $55.00
         32 WILKINSON AVE APT #2                           ¨ Contingent
         JERSEY CITY NJ 07305
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.263.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JACQUELINE SEGARRA                                                                                $44.52
         13 KINROSE COURT                                  ¨ Contingent
         COLUMBIA SC 29229
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.264.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAMIE ARTHUR                                                                                      $21.00
         1040 O'BARR DR                                    ¨ Contingent
         GASTONIA NC 28054
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2541 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2651 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.265.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAMIE EVERSON                                                                                     $21.60
         1046 NOBLE VINES DR APT 8                         ¨ Contingent
         CLARKSTON GA 30021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.266.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAMIE L. RAICEVICH                                                                                $397.09
         4120 PRAIRIE AVE APT 251                          ¨ Contingent
         AMARILLO TX 79109
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.267.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JANESSA V. ARANDA                                                                                 $20.96
         101 W. CALLE ANTONIA                              ¨ Contingent
         TUCSON AZ 85706
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2542 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2652 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.268.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JASMINE GRIFFIN                                                                                   $30.91
         1400 N BERTRAND DRIVE                             ¨ Contingent
         LAFAYETTE LA 70817
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.269.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JENIFER GIL                                                                                       $23.54
         18024 DORAL DRIVE                                 ¨ Contingent
         FORT MYERS FL 33967
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.270.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JENNIFER ALEXANDER                                                                                $96.53
         15835 FOOTHILL LP APT 331                         ¨ Contingent
         PFLUGERVILLE TX 78660-3231
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2543 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2653 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.271.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JENNIFER KNUREK                                                                                   $33.90
         1200 FLORAL SPRING BLVD # 13308                   ¨ Contingent
         PORT ORANGE FL 32129
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.272.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JENNIFER TSANGARIS                                                                                $45.90
         507 GENEVA AVE                                    ¨ Contingent
         STRUTHERS OH 44471
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.273.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JENNIFER WRIGHT                                                                                   $166.13
         552 E WIGEON WAY                                  ¨ Contingent
         SUISUN CITY CA 94585
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2544 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2654 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.274.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JENNY BENTLEY                                                                                     $53.50
         416 N. JUNIPER DRIVE                              ¨ Contingent
         ATWOOD IL 61913
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.275.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JERSEY SHORE PREMIUM OUTLETS                                                                      $1,799.23
         PO BOX 776307                                     þ Contingent
         CHICAGO IL 60677-6307
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.276.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JESSICA CLINE                                                                                     $830.65
         404 PINE ST                                       ¨ Contingent
         MILL VALLEY CA 94941
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2545 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2655 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.277.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JESSICA HOPKINS                                                                                   $47.69
         205 LEES COVE                                     ¨ Contingent
         HELENA AL 30580
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.278.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JESSICA K. LUNBERG                                                                                $4.84
         2613 W. WILLOW AVE                                ¨ Contingent
         SIOUX FALLS SD 57105
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.279.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JESSICA PERRY                                                                                     $51.00
         8132 CHANCEL CT.                                  ¨ Contingent
         NAPLES FL 33917
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2546 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2656 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.280.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOHANNE COSSETTE                                                                                  $19.99
         3134 4TH ST. SW                                   ¨ Contingent
         CHARLOTTESVILLE NC 22903
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.281.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOHNSON CONTROLS, INC.                                                                            $1,516.27
         11301 W. LAKE PARK DR                             ¨ Contingent
         MILWAUKEE WI 53224
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.282.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JORDAN D. ESTERBY                                                                                 $50.31
         550 HARBOR CLOVE LN                               ¨ Contingent
         CHARLESTON SC 29412-3009
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2547 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2657 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.283.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JORDAN SCHLUETER                                                                                  $34.88
         306 KENTABOO AVE                                  ¨ Contingent
         FLORENCE KY 41042
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.284.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOSEPH MEUSE                                                                                      $56.99
         3535 SOUTH BALL STREET APT 625                    ¨ Contingent
         ARLINGTON VA 22202
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.285.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOSHUA WHITE                                                                                      $16.26
         916 COREY DRIVE                                   ¨ Contingent
         JACKSON MS 39212
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2548 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2658 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.286.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOYCE JENNINGS                                                                                    $24.75
         19 LOCKHOUSE RD APT 6-3                           ¨ Contingent
         WESTFIELD MA 01085
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.287.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JPMCC 2006-LDP7 CENTRO                                                                            $5,583.60
         ENFIELD LLC                                       ¨ Contingent
         1601 WASHINGTON AVE SUITE 800
         MIAMI BEACH FL 33139                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.288.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JPMG MANASSAS MALL OWNER LLC                                                                      $18,009.99
         THE CLINTON EXCHANGE 4 CLINTON SQUARE             ¨ Contingent
         SYRACUSE NY 13202
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2549 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2659 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.289.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JULIA KRASS                                                                                       $263.70
         2549 WHARTON ST APT C                             ¨ Contingent
         PITTSBURGH PA 15217
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.290.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JUNGLE DISK                                                                                       $254.00
         110 E HOUSTON ST.                                 ¨ Contingent
         SAN ANTONIO TX 78205
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.291.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JUSTINE HIGGINS                                                                                   $28.75
         323 WESTCHESTER ROAD                              ¨ Contingent
         COLCHESTER CT 06415
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2550 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2660 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.292.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KAMEHAMEHA SCHOOLS                                                                                $11,859.85
         TRUSTEES OF THE ESTATE OF BERNICE                 ¨ Contingent
         PAUAHI BISHOP WINDWARD MALL
         PO BOX 31000, BOX 5497                            ¨ Unliquidated
         HONOLULU HI 96849-5797                            ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.293.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KAREN CIENA                                                                                       $36.00
         5355 SUGARLOAD PKWY APT 901                       ¨ Contingent
         LAWRENCEVILLE GA 30043
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.294.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KARIE ANN TAKASUGI                                                                                $14.08
         99-108 PUAKAIA ST                                 ¨ Contingent
         AIEA HI 96701
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2551 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2661 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.295.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KARLA GARCIA                                                                                      $25.57
         7025 CHARMANT DR APT # 289                        ¨ Contingent
         SAN DIEGO CA 92122-4349
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.296.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KATHERINE MARRERO                                                                                 $6.50
         724 COUNTRY WOODS CIR                             ¨ Contingent
         KISSIMMEE FL 34744-4625
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.297.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KATHLEEN MARIN                                                                                    $66.37
         1805 BERRYHILL CIRCLE                             ¨ Contingent
         PERRY HILL MD 21128
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2552 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2662 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.298.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KATIE IRVINE                                                                                      $88.40
         5224 7TH CT S                                     ¨ Contingent
         BIRMINGHAM AL 35212
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.299.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KAYLYN E. ULMER                                                                                   $31.77
         1603 SANDHILL RD                                  ¨ Contingent
         OREM UT 84058-7531
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.300.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KDI ATHENS MALL LLC                                                                               $3,816.71
         3700 ATLANTA HWY SUITE 212                        ¨ Contingent
         ATHENS GA 30606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2553 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2663 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.301.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KELLY REAGAN                                                                                      $35.98
         462 GOUDE LN                                      ¨ Contingent
         CECIL AL 36013
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.302.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KELSEY SANCHEZ                                                                                    $25.00
         332 GREEN ST                                      ¨ Contingent
         STONEHAM MA 02180
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.303.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KELSEY SMITH                                                                                      $14.27
         18 ORCHARD CIRCLE                                 ¨ Contingent
         HALIFAX MA 02338
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2554 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2664 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.304.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEN NAGAHARA                                                                                      $600.00
         1206 FLORIDA STREET                               ¨ Contingent
         VALLEJO CA 94590
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.305.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KENDALL ZOLNIER                                                                                   $67.50
         7913 SECOND STREET                                ¨ Contingent
         MASURY OH 45813
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.306.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KENTUCKY OAKS MALL                                                                                $2,272.90
         P.O. BOX 714267                                   þ Contingent
         COLUMBUS OH 43271-4267
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2555 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2665 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.307.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KENYONNA C. SAMUELS                                                                               $12.10
         3876 NORTHSIDE DR.                                ¨ Contingent
         MACON GA 31210
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.308.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KIM HASELMAN                                                                                      $84.91
         UNKNOWN STORE# 286 0, 0 0                         ¨ Contingent
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.309.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KLAUBER BROTHERS, INC.                                                                            UNDETERMINED
         DONIGER/BURROUGHS                                 þ Contingent
         STEPHEN DONIGER/SCOTT BURROUGHS
         603 ROSE AVENUE                                   þ Unliquidated
         VENICE CA 90291                                   þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2556 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2666 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.310.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KRISTEN RIVERA-SCULL                                                                              $175.38
         311 E WHATLEY ST                                  ¨ Contingent
         POOLER GA 31322-3229
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.311.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LACY WILLIAMS                                                                                     $172.48
         1102 NORTH SHELLBARK ROAD                         ¨ Contingent
         MUNCIE IN 47304
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.312.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAIGHA SHEWMAKE                                                                                   $160.00
         314230 STAGECOACH RD                              ¨ Contingent
         SPANISH FORT AL 36527
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2557 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2667 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.313.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAKES MALL REALTY LLC                                                                             $6,345.40
         C/O NAMDAR REALTY GROUP LLC                       ¨ Contingent
         150 GREAT NECK RD SUITE 304
         GREAT NECK NY 11021                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.314.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LANSING MALL, LLC                                                                                 $3,724.71
         SDS-12-1396 P.O. BOX 86                           ¨ Contingent
         MINNEAPOLIS MN 55486-1396
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.315.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LATRICIA DEBERRY                                                                                  $105.00
         505 MONTEREY PKWY                                 ¨ Contingent
         ATLANTA GA 30350
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2558 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2668 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.316.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAURA CORD                                                                                        $47.04
         6624 WEST 1100 NORTH                              ¨ Contingent
         FOUNTAIN TOWN IN 46130
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.317.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAURA ROMINA PRADAL                                                                               $13.31
         ESTANISLAO DEL CAMPO 1159 1H, FLORIDA,            ¨ Contingent
         VINCENTE LOPEZ
         BUENOS AIRES 0 CP1602                             ¨ Unliquidated
         ARGENTINA                                         ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.318.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAUREN MCALEER                                                                                    $239.45
         9503 GLEN RIDGE DR                                ¨ Contingent
         LAUREL MD 20723-1358
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2559 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2669 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.319.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAUREN MUTH                                                                                       $292.01
         50 VEVAU ST APT # 419                             ¨ Contingent
         KAHULUI HI 96732
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.320.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAZ PARKING LIMITED LLC                                                                           $169.00
         3 COPLEY PLACE SUITE 3202                         ¨ Contingent
         BOSTON MA 02116
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.321.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEGACY GROUP ENTERPRISES, INC.                                                                    $4,587.62
         10 PINEHURST DR.                                  ¨ Contingent
         BELLPORT NY 11713
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2560 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2670 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.322.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEIDIARA VILLA                                                                                    $31.00
         88-09 5TH AVE                                     ¨ Contingent
         NORTH BERGEN NJ 07047-5229
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.323.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LESLIE APONTE                                                                                     $301.40
         163 ECHO LAKE ROAD                                ¨ Contingent
         WATERTOWN CT 06795
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.324.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEVEL 10 LLC                                                                                      $31,267.42
         PO BOX 88496                                      ¨ Contingent
         CHICAGO IL 60680-1496
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2561 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2671 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.325.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEXMARK INTERNATIONAL, INC.                                                                       $26,437.96
         PO BOX 96612                                      ¨ Contingent
         CHICAGO IL 60693-6612
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.326.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LGE                                                                                               $1,345.54
         P.O. BOX 9001960                                  ¨ Contingent
         LOUISVILLE KY 40290
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.327.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LINCOLN PLAZA CENTER, LP                                                                          $14.30
         PO BOX 829424                                     ¨ Contingent
         PHILADELPHIA PA 19182-9424
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2562 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2672 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.328.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LINDA TOMASSION                                                                                   $15.52
         4327 3RD STREET                                   ¨ Contingent
         WAYNE MI 48184
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.329.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LISA MERGIL                                                                                       $310.82
         17019 HOLTON ST                                   ¨ Contingent
         WEST COVINA CA 91791
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.330.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LISSETTE CAMACHO                                                                                  $36.45
         129 BLACK ROCK AVE APT 24                         ¨ Contingent
         BRIDGEPORT CT 06605
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2563 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2673 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.331.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LONNESHA C. DIXON                                                                                 $42.11
         3521 KAGAN CT                                     ¨ Contingent
         NORTH LAS VEGAS NV 89081
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.332.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOOMIS & FARGO & CO                                                                               $5,398.03
         DEPT. AT 40170                                    ¨ Contingent
         ATLANTA GA 31192-0170
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.333.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOOMIS, FARGO & CO                                                                                $997.82
         P.O. BOX 1300                                     ¨ Contingent
         HONOLULU HI 96807-1300
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2564 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2674 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.334.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOREN MILLER                                                                                      $105.58
         373 HERITAGE DR                                   ¨ Contingent
         DANVILLE IN 46122-1405
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.335.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LORENA MUNOZ                                                                                      $23.52
         1504 HIGHLAND AVE                                 ¨ Contingent
         BERWYN IL 60402-1317
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.336.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOUISE SWANK                                                                                      $862.50
         2154 EAST OAKMONT                                 ¨ Contingent
         FRENSO CA 93730
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2565 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2675 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.337.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LP SOFTWARE, INC.                                                                                 $1,313.55
         PO BOX 639640                                     ¨ Contingent
         CINCINNATI OH 45263
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.338.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LSREF3 SPARTIAN REIT, INC                                                                         $402.40
         3341 S LINDEN ROAD                                ¨ Contingent
         FLINT MI 48507
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.339.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LYNNE CAMPBELL                                                                                    $86.40
         42 W. BALTIMORE ST #14                            ¨ Contingent
         LYNN MA 01902
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2566 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2676 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.340.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MACERICH SCG LIMITED                                                                              $92.00
         FASHION OUTLETS OF NIAGARA FALLS                  þ Contingent
         P.O. BOX 843529
         LOS ANGELES CA 90084-3529                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.341.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MACERICH SOUTH TOWNE LIMITED                                                                      UNDETERMINED
         401 WILSHIRE BLVD., SUITE 700                     ¨ Contingent
         SANTA MONICA CA 90401
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.342.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAHALIA MAND                                                                                      $117.72
         7896 LUMINARY LANE                                ¨ Contingent
         FOUNTAIN CO 80817
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2567 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2677 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.343.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAINTENX INTERNATIONAL SERVICE                                                                    $79,793.35
         MANAGEMENT GROUP INC                              ¨ Contingent
         2202 N HOWARD AVE
         TAMPA FL 33607                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.344.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MALL AT TUTTLE CROSSING LLC                                                                       $148.86
         PO BOX 404561                                     þ Contingent
         ATLANTA GA 30384-4561
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.345.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MALL ST. VINCENT, LLC                                                                             $9,065.76
         110 N WACKER DR                                   ¨ Contingent
         CHICAGO IL 60606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2568 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2678 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.346.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MALL-1 BAY PLAZA LLC                                                                              $1,046.21
         546 FIFTH AVE 15TH FLOOR                          ¨ Contingent
         NEW YORK NY 10036
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.347.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MALLORY RICKMAN                                                                                   $117.72
         1625 SPRUCE AVENUE                                ¨ Contingent
         SOUTH FULTON TN 38257
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.348.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MANDIE OWEN                                                                                       $21.40
         3939 BRIARGROVE LANE APT. 2109                    ¨ Contingent
         DALLAS TX 75287
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2569 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2679 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.349.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MANNINGTON COMMERCIAL                                                                             $1,811.09
         FILE # 96261 PO BOX 96261                         ¨ Contingent
         CHICAGO IL 60693
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.350.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARCI GARAY                                                                                       $58.05
         1916 COCHRAN ST                                   ¨ Contingent
         LAS VEGAS NV 89104
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.351.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARCY OGINGA                                                                                      $35.49
         344 DANUBE AVE. APT 207                           ¨ Contingent
         TAMPA FL 33606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2570 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2680 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.352.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARESA M. ZELAYA                                                                                  $113.78
         8010 SW 10 TERRACE                                ¨ Contingent
         MIAMI FL 33144
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.353.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARIA ALSTON                                                                                      $1.60
         PO BOX 52271                                      ¨ Contingent
         DURHAM NC 27717
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.354.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARIA VAZQUEZ                                                                                     $67.41
         8201 LUNA AVE                                     ¨ Contingent
         BURBANK IL 60459
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2571 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2681 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.355.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARILYN ARROYO                                                                                    $27.00
         1442 SHEANA LANE                                  ¨ Contingent
         KISSIMMEE FL 34744-5004
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.356.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARTHA GIBSON                                                                                     $171.85
         430 OTTIS RAY ST                                  ¨ Contingent
         HOMER GA 30547-2427
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.357.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARY ARNER                                                                                        $10.00
         7113 FIRST AVENUE SOUTH                           ¨ Contingent
         ST. PETERSBURG FL 33707
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2572 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2682 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.358.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARY KHANG                                                                                        $66.34
         3 ALEXANDER DRIVE                                 ¨ Contingent
         WEST WARWICK RI 02893-1969
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.359.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MATS INC.                                                                                         $222.58
         179 CAMPANELLI PKWY                               ¨ Contingent
         STOUGHTON MA 02072
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.360.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAXINE ALMENDRA                                                                                   $25.30
         2820 HIGHGATE LN                                  ¨ Contingent
         TRACY CA 95377-8238
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2573 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2683 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.361.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAYFAIR MALL LLC                                                                                  $16,672.31
         P.O. BOX 772816                                   ¨ Contingent
         CHICAGO IL 60677-2816
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.362.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEGAN ALLEN                                                                                       $57.23
         616 S FAIRVIEW AVENUE                             ¨ Contingent
         LANSING MI 48912
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.363.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEGAN BRASE                                                                                       $27.75
         1338 LEXINGTON WAY                                ¨ Contingent
         LIVERMORE CA 94550-6520
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2574 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2684 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.364.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEGAN BROWN                                                                                       $101.65
         338 DAY ST                                        ¨ Contingent
         HORSEHEADS NY 14845-1902
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.365.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEGAN LEE- WASSON                                                                                 $59.92
         1754 WOODBERRY TER                                ¨ Contingent
         GREEN BAY WI 54313
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.366.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEGHAN L. HARVEY                                                                                  $54.05
         32600 CONCORD DRIVE APT #422                      ¨ Contingent
         MADISON HEIGHTS MI 48071
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2575 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2685 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.367.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MELANIE THOMPSON                                                                                  $13.73
         41633 MAROON TOWN DR                              ¨ Contingent
         BERMUDA DUNES CA 92201
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.368.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MELISSA KOCIALSKI                                                                                 $80.00
         2410 BERNARD STREET                               ¨ Contingent
         DENTON TX 76205
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.369.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MELISSA RECTOR                                                                                    $66.19
         2009 FEATHER LN.                                  ¨ Contingent
         LEWISVILLE TX 75077
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2576 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2686 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.370.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MELISSA S. BARTON                                                                                 $15.66
         401 S LAKEVIEW                                    ¨ Contingent
         DERBY KS 67037-1310
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.371.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MELISSA TURNER                                                                                    $21.84
         3438 S IRISH ROAD                                 ¨ Contingent
         DAVISON MI 48423-2440
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.372.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MERIDIAN GRAPHICS INC.                                                                            $3,105.27
         NW 6333 P.O.BOX 1450                              ¨ Contingent
         MINNEAPOLIS MN 55485-6333
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2577 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2687 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.373.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MERKLE INC                                                                                        $979,583.60
         29432 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673-1432
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.374.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         METRO DOOR ROMET MFG.,INC.                                                                        $29,993.30
         2929 EXPRESSWAY DRIVE NORTH SUITE 300B            ¨ Contingent
         ISLANDIA NY 11749
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.375.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MIAMI-DADE FIRE RESCUE DEPT.                                                                      $52.50
         FINANCE BUREAU                                    ¨ Contingent
         9300 NW 41ST STREET
         DORAL FL 33178-2424                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2578 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2688 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.376.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICHELLE LADD                                                                                     $25.20
         20 RUSTIC ACRES DR                                ¨ Contingent
         WOLCOTT CT 06716
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.377.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICHELLE LEE                                                                                      UNDETERMINED
         THE LEGAL RIGHTS PROJECT                          þ Contingent
         ANDREW R. STILWELL, ESQ.
         8880 RIO SAN DIEGO DRIVE                          þ Unliquidated
         8TH FLOOR
         SAN DIEGO CA 92108
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.378.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICKI KAUWALU-KEY                                                                                 $28.97
         86-289 HOKUAIAINA PL                              ¨ Contingent
         WAIANAE HI 96792
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2579 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2689 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.379.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MILLER HILL MALL                                                                                  $73.00
         867675 RELIABLE PARKWAY                           þ Contingent
         CHICAGO IL 60686-0076
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.380.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MINER FLEET MANAGEMENT GROUP                                                                      $4,602.27
         17319 SAN PEDRO AVE STE 500                       ¨ Contingent
         SAN ANTONIO TX 78232
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.381.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MOBILE MEDIA INC                                                                                  $0.00
         PO BOX 177, 24 CENTER ST                          ¨ Contingent
         PINE BRUSH NY 12566
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2580 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2690 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.382.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MONIQUE WILLOUGHBY                                                                                $531.36
         19 BEAY MEADOW DR                                 ¨ Contingent
         BATAVIA OH 45103-7502
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.383.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MORENO VALLEY MALL HOLDING LLC                                                                    $11,463.90
         110 EAST 9TH STREET SUITE A 509                   ¨ Contingent
         LOS ANGELES CA 90079
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.384.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MORGAN STANLEY CAP, INC CMPTC                                                                     $2,993.28
         SERIES 2007-HQ11 REMIC                            ¨ Contingent
         9602 OLD ANNAPOLIS ROAD
         COLUMBIA MD 21045                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2581 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2691 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.385.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MOTUS, LLC                                                                                        $17,766.00
         TWO FINANCIAL CENTER 60 SOUTH STREET              ¨ Contingent
         SUITE 1200
         BOSTON MA 02111                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.386.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MUZAK LLC                                                                                         $66,018.04
         PO BOX 71070                                      ¨ Contingent
         CHARLOTTE NC 28272-1070
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.387.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NAMDAR REALTY GROUP LLC                                                                           $987.30
         150 GREAT NECK ROAD SUITE 304                     ¨ Contingent
         GREAT NECK NY 11021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2582 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2692 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.388.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NANCY CRUZ                                                                                        $37.95
         5607 HUSE STREET                                  ¨ Contingent
         HOUSTON TX 77039-6209
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.389.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NARVAR, INC                                                                                       $40,000.00
         633 FOLSOM STREET #200                            ¨ Contingent
         SAN FRANCISCO CA 94107
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.390.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATALIE D. PEREZ                                                                                  $24.17
         15614 INDIANA QUEEN DR                            ¨ Contingent
         TAMPA FL 33615
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2583 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2693 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.391.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATALIE HSIAO-FANG-YEN                                                                            $44.99
         3200 CHESTNUT ST APT 5008C                        ¨ Contingent
         PHILADELPHIA PA 19104-3481
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.392.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATALIE MERRIER                                                                                   $134.08
         1021 MORRIS CIRCLE                                ¨ Contingent
         WOODLAND CA 95776
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.393.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATALIE SAMUEL                                                                                    $199.38
         46 TERRA LINDA DRIVE                              ¨ Contingent
         SAN RAFAEL CA 94903
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2584 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2694 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.394.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEMAN BROTHERS & ASSOCIATES                                                                       UNDETERMINED
         DONIGER/BURROUGHS                                 þ Contingent
         STEPHEN DONIGER/SCOTT BURROUGHS
         603 ROSE AVENUE                                   þ Unliquidated
         VENICE CA 90291                                   þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.395.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEREIDA SANCHEZ                                                                                   $3.95
         3775 SUNSET LANE APT 12                           ¨ Contingent
         SAN YSIDRO CA 92173-3325
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.396.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEWMAN & ASSOCIATES                                                                               $420.00
         28 DOUGLAS STREET                                 ¨ Contingent
         WORCESTER MA 01603-2849
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2585 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2695 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.397.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEWPORT CENTER                                                                                    $3,111.71
         867545 RELIABLE PARKWAY                           þ Contingent
         CHICAGO IL 60686-0075
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.398.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEXCESS                                                                                           $1,309.90
         21700 MELROSE AVE                                 ¨ Contingent
         SOUTHFIELD MI 48075
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.399.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NICOLE CORONADO                                                                                   $33.36
         4609 LAKE CALABAY DR.                             ¨ Contingent
         ORLANDO FL 32837-5472
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2586 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2696 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.400.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NICOLE M. PEREZ                                                                                   $122.69
         180 FREMONT ST                                    ¨ Contingent
         WORCESTER MA 01603
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.401.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NICOLE MARTIN                                                                                     $240.90
         2323 N WOODLAWN APT 105                           ¨ Contingent
         WICHITA KS 67220
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.402.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NICOLE SMITH                                                                                      $236.32
         3855 HABITAT DR APT B                             ¨ Contingent
         COLUMBUS OH 43228-9464
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2587 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2697 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.403.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NIDA AHMAD                                                                                        $20.00
         1354 S PLEASANT HILL GATE                         ¨ Contingent
         WAUKEGAN IL 60085
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.404.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NIKKI SAUNDERS                                                                                    $27.73
         49 PINE GROVE TOTTERIDGE                          ¨ Contingent
         LONDON N20 8LA
         UNITED KINGDOM                                    ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.405.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORFOLK CITY TREASURER                                                                            $3,246.69
         COMMISSIONER OF THE REVENUE                       ¨ Contingent
         P.O. BOX 2260
         NORFOLK VA 23501-2260                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2588 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2698 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.406.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTHGATE MALL DURHAM LLC                                                                         $9,994.35
         1058 WEST CLUB BLVD SUITE 200                     ¨ Contingent
         DURHAM NC 27701
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.407.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTHPARK PARTNERS, LP                                                                            $651.90
         8080 N. CENTRAL EXPRESSWAY SUITE 1100             ¨ Contingent
         DALLAS TX 75206
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.408.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTHPARK REALTY LP                                                                               $7,910.74
         NORTHPARK REALTY LP                               ¨ Contingent
         PO BOX 21161
         NEW YORK NY 10087-1161                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2589 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2699 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.409.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NORTHRIDGE GP, LLC                                                                                $292.67
         350 N ORLEANS STREET SUITE 300                    ¨ Contingent
         CHICAGO IL 60654-1607
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.410.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NTH GENERATION                                                                                    $14,022.00
         17055 CAMINO SAN BERNARDO                         ¨ Contingent
         SAN DIEGO CA 92127
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.411.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OAK PARK MALL, LLC                                                                                $4,630.33
         2030 HAMILTON PLACE BLVD SUITE 500                þ Contingent
         CHATTANOOGA TN 37421-6000
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2590 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2700 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.412.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OAKDALE MALL II, LLC                                                                              $12,191.74
         P.O. BOX 416525                                   ¨ Contingent
         BOSTON MA 02241-6525
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.413.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OAKS MALL LLC                                                                                     UNDETERMINED
         110 N WACKER DRIVE                                ¨ Contingent
         CHICAGO IL 60606
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.414.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OCEAN CITY FACTORY OUTLETS                                                                        $7,691.02
         I, LC C/O TANGER PROPERTIES                       ¨ Contingent
         ATTN: LEGAL DEPARTMENT
         3200 NORTHLINE AVE, SUITE 360                     ¨ Unliquidated
         GREENBORO NC 27408                                ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2591 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2701 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.415.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OCEAN COUNTY SPECIAL CIVIL                                                                        $210.58
         PART CN-2191                                      ¨ Contingent
         118 WASHINGTON STREET
         TOMS RIVER NJ 08754                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.416.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OGLETHORPE MALL L.L.C.                                                                            UNDETERMINED
         SDS-12-1640 P.O. BOX 86                           ¨ Contingent
         MINNEAPOLIS MN 55486-1640
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.417.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OLGA SYMAKOVA                                                                                     $1.83
         RTT INC LAISVES AL 51A 317                        ¨ Contingent
         KAUNAS LT 44309
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2592 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2702 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.418.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ORLAND LP                                                                                         UNDETERMINED
         288 ORLAND SQUARE                                 ¨ Contingent
         ORLAND PARK IL 60462
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.419.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ORLANDO VINELAND PO LP                                                                            $874.40
         PO BOX 827733                                     ¨ Contingent
         PHILADELPHIA PA 19182-7733
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.420.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OUTLET MALL OF SAVANNAH, LLC                                                                      $15,218.19
         TANGER PROPERTIES LIMITED                         ¨ Contingent
         PO BOX 414225
         BOSTON MA 02241-4225                              ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2593 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2703 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.421.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OVIEDO MALL HOLDING, LLC.                                                                         UNDETERMINED
         ATTN: MALL OFFICE                                 ¨ Contingent
         1700 OVIEDO MALL BLVD
         OVIEDO FL 32765                                   þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.422.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PADA LO                                                                                           $94.20
         3917 MARCOM ST                                    ¨ Contingent
         RALEIGH NC 27606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.423.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PALM BEACH OUTLETS I LLC                                                                          $7,065.44
         PO BOX 9468                                       þ Contingent
         NEW YORK NY 10087-9468
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2594 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2704 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.424.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PALM BEACH OUTLETS I LLC                                                                          $159.88
         P.O. BOX 9468                                     ¨ Contingent
         NEW YORK NY 10087-9468
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.425.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PANTHEON                                                                                          $158.58
         1536 HUTTON DRIVE SUITE 100                       ¨ Contingent
         CARROLLTON TX 75006
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.426.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PARKDALE MALL CMBS LLC                                                                            $582.96
         2030 HAMILTON PLACE SUITE 500                     þ Contingent
         CHATTANOOGA TN 37421-6000
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2595 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2705 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.427.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PATRICIA DELAYO                                                                                   UNDETERMINED
         LYON LAW PC                                       þ Contingent
         GEOFFREY C. LYON
         10960 WILSHIRE BLVD.                              þ Unliquidated
         SUITE 820
         LOS ANGELES CA 90024
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.428.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PECANLAND MALL, LLC                                                                               $14,402.30
         SDS-12-2424 P.O. BOX 86                           ¨ Contingent
         MINNEAPOLIS MN 55486-2424
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.429.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PERFORCE SOFTWARE INC.                                                                            $2,775.00
         PO BOX 742263                                     ¨ Contingent
         LOS ANGELES CA 90074-2263
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2596 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2706 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.430.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PHASE 3 DIGITAL, LLC                                                                              $7,050.00
         444 N WELLS, SUITE 402                            ¨ Contingent
         CHICAGO IL 60654
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.431.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PHYLICIA M. QUANN                                                                                 $26.45
         477 RARITAN ST                                    ¨ Contingent
         CAMDEN NJ 08105
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.432.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PLANS EXAMINERS INC.                                                                              $75.00
         1000 CHURCH HILL RD. STE # 210                    ¨ Contingent
         PITTSBURGH PA 15205
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2597 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2707 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.433.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PLAZA WEST COVINA LP                                                                              $21,397.80
         1 EAST WACKER DRIVE SUITE 3600                    ¨ Contingent
         CHICAGO IL 60601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.434.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         POLARIS ENERGY SERVICES                                                                           $1,935.09
         L-2413                                            ¨ Contingent
         COLUMBUS OH 43260
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.435.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PORT CHARLOTTE TOWN CENTER                                                                        $6,524.10
         P.O. BOX 406373                                   ¨ Contingent
         ATLANTA GA 30384-6373
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2598 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2708 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.436.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         POST OAK MALL ASSOCIATES L.P.                                                                     UNDETERMINED
         CBL #0043                                         ¨ Contingent
         PO BOX 955607
         ST LOUIS MO 63195-5607                            þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.437.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         POUGHKEEPSIE GALLERIA LLC                                                                         $30,572.28
         M & T BANK                                        ¨ Contingent
         DEPT.# 380
         P.O. BOX 8000                                     ¨ Unliquidated
         BUFFALO NY 14267                                  ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.438.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PR EXTON SQUARE PROPERTY LP                                                                       $13,943.74
         PO BOX 373281                                     ¨ Contingent
         CLEVELAND OH 44193-3281
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2599 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2709 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.439.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PR JACKSONVILLE LP                                                                                $8,401.93
         200 S BROAD ST THIRD FLOOR                        ¨ Contingent
         PHILADELPHIA PA 19102
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.440.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PR SPRINGFIELD/DELCO LTD PART                                                                     $1,415.30
         P.O.BOX 373988                                    ¨ Contingent
         CLEVELAND OH 44193-3988
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.441.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PR WOODLAND LIMITED                                                                               $1,168.57
         PARTNERSHIP                                       ¨ Contingent
         P.O. BOX 73858
         CLEVELAND OH 44193-0002                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2600 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2710 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.442.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRIME RETAIL                                                                                      $12.32
         LVP ST AUGUSTINE OUTLETS, LLC                     þ Contingent
         PO BOX 60785
         CHARLOTE NC 28260-0785                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.443.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRINCE WILLIAM COUNTY                                                                             $4,298.71
         PO BOX 2467                                       ¨ Contingent
         WOODBRIDGE VA 22195-2467
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.444.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRIORITY SIGN, INC                                                                                $20,593.17
         837 RIVERFONT DRIVE                               ¨ Contingent
         SHEBOYGAN WI 53081
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2601 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2711 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.445.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROFESSIONAL RETAIL SERVICES                                                                      $975.52
         3249 ROUTE 112 BUILDING 4 SUITE 2                 ¨ Contingent
         MEDFORD NY 11763
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.446.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROTOS SECURITY                                                                                   $17,204.76
         PO BOX 625                                        ¨ Contingent
         DALEVILLE VA 24083
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.447.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PUEBLO MALL                                                                                       $1,773.60
         8235 DOUGLAS AVE SUITE 655                        ¨ Contingent
         DALLAS TX 75225
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2602 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2712 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.448.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QUALITY SOLUTIONS, INC.                                                                           $5,478.40
         SECURITY SOURCE                                   ¨ Contingent
         128 N FIRST STREET P.O. BOX 589
         COLWICH KS 67030                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.449.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         QUEST                                                                                             $2,463.00
         PO BOX 910                                        ¨ Contingent
         ROSEVILLE CA 95678
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.450.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RACHEL SULAK                                                                                      $24.09
         2520 CASTLE CIRCLE                                ¨ Contingent
         FORT WORTH TX 76108-9704
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2603 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2713 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.451.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RACINE MALL LLC                                                                                   $5,950.42
         1190 INTERSTATE PARKWAY                           ¨ Contingent
         AUGUSTA GA 30909
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.452.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAJEANNE BERNYMAN                                                                                 $15.23
         605F SPRING STREET                                ¨ Contingent
         RICHMOND WA 23220
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.453.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RC STORE MAINTENANCE INC                                                                          $22,247.02
         569 BATEMAN CIRCLE                                ¨ Contingent
         CORONA CA 92880
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2604 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2714 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.454.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RCCM, LLC                                                                                         $14,422.35
         355 JEFFERSON STREET                              ¨ Contingent
         PLYMOUTH MEETING PA 19462
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.455.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REBECCA MILLS                                                                                     $31.00
         2144 LAKESHORE DR APT 30B                         ¨ Contingent
         RIDGELAND MS 39157
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.456.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RED SUMMIT FAIR LLC                                                                               $0.12
         C/O RED PROPERTY MANAGEMENT LL                    þ Contingent
         P.O. BOX 98161
         LAS VEGAS NV 89193-8161                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2605 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2715 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.457.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REGISTER ROOFING & SHEET METAL                                                                    $337.50
         4640 SUB CHASER COURT UNIT 113                    ¨ Contingent
         JACKSONVILLE FL 32244
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.458.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RENETTA CHESTER                                                                                   $27.81
         970 WENDY HILL RD SOUTHEAST                       ¨ Contingent
         SMYRNA GA 30080
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.459.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RETAIL MDS INC                                                                                    $1,095.00
         355 JEFFERSON STREET                              ¨ Contingent
         PLYMOUTH MEETING PA 19462
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2606 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2716 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.460.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RETAILMENOT INC                                                                                   $333,631.00
         301 CONGRESS AVE SUITE 700                        ¨ Contingent
         AUSTIN TX 78701
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.461.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RETRANSFORM                                                                                       $13,100.00
         6330 LBJ FREEWAY SUITE 230                        ¨ Contingent
         DALLAS TX 75240
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.462.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RETURN PATH, INC                                                                                  $66,250.00
         3 PARK AVENUE 41ST FLOOR                          ¨ Contingent
         NEW YORK NY 10016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2607 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2717 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.463.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REVENUE COLLECTIONS                                                                               $1,676.59
         CHARLESTON COUNTY 4045 BRIDGE VIEW                ¨ Contingent
         DRVIE
         N. CHARLESTON SC 29405-7464                       ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.464.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RGIS INVENTORY SPECIALISTS                                                                        $234,900.00
         P O BOX 77631                                     ¨ Contingent
         DETROIT MI 48277
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.465.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RHANDI BAUTISTA                                                                                   $193.20
         1275 CENTRAL BLVD # 2338                          ¨ Contingent
         BRENTWOOD CA 94513
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2608 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2718 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.466.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIALOU DE JESUS                                                                                   $87.89
         12688 CHAPMAN AVE # 3201                          ¨ Contingent
         GARDEN GROVE CA 92840
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.467.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICHARD MUNOZ                                                                                     $25.00
         233 SEYMOUR ROAD                                  ¨ Contingent
         PORT CHESTER NY 10573
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.468.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICHLAND COUNTY BUSINESS                                                                          $771.50
         PO BOX 192                                        ¨ Contingent
         COLUMBIA SC 29202-8028
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2609 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2719 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.469.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIVERTOWN CROSSINGS                                                                               $1,169.43
         C/O GGP - GRANDVILLE LLC SDS-12-1796              ¨ Contingent
         P.O. BOX 86
         MINNEAPOLIS MN 55486-1796                         ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.470.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROBERTO GONZALEZ                                                                                  $17.92
         15532 ALLINGHAM AVE                               ¨ Contingent
         NORWALK CA 90650-6217
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.471.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROBINSON MALL ASSOCIATES LLC                                                                      UNDETERMINED
         600 SUPERIOR AVENUE EAST SUITE 1500               ¨ Contingent
         CLEVELAND OH 44114
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2610 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2720 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.472.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROCHE NORMARY                                                                                     $0.16
         64 ALLEN AVE APT 199                              ¨ Contingent
         MERIDEN CT 06451
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.473.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROCHELLE CORDERO                                                                                  $21.39
         URB. DID PINOS DIANA STREET #779                  ¨ Contingent
         SAN JUAN PR 00923
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.474.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROCKAWAY TOWNSQUARE                                                                               $26.12
         ROCKAWAY CENTER ASSOCIATES                        ¨ Contingent
         P.O. BOX 772829
         CHICAGO IL 60677-2829                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2611 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2721 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.475.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROLLING OAKS MALL                                                                                 $4,533.68
         3342 PAYSHPERE CIRLCE                             ¨ Contingent
         CHICAGO IL 60674
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.476.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROPLAST INDUSTRIES INC                                                                            $398,989.98
         3155 SOUTH 5TH AVE                                ¨ Contingent
         OROVILLE CA 95965
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.477.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROSEMARY RINGHAM                                                                                  $20.32
         854 JOHN AVE APT A                                ¨ Contingent
         BROWNSVILLE TX 78521-5474
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2612 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2722 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.478.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROZELLE KOEN                                                                                      $15.00
         P.O. BOX 20703 CRYSTAL PARK                       ¨ Contingent
         BENONI 1515
         SOUTH AFRICA                                      ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.479.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RPI CARLSBAD LP                                                                                   $23,691.81
         1114 AVENUE OF THE AMERICAS SUITE 2800            ¨ Contingent
         NEW YORK NY 10036
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.480.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RSE INDEPENDENCE LLC                                                                              $23,023.93
         ATTN: ROUSE PROPERTIES LLC                        ¨ Contingent
         200 VESEY STREET 25TH FLOOR
         NEW YORK NY 10281                                 ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2613 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2723 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.481.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RSM MAINTENANCE                                                                                   $243.75
         461 FROM ROAD                                     ¨ Contingent
         PARAMUS NJ 07652
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.482.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RSS COMM2012CCRE4-NV FOLV, LLC                                                                    $5,690.60
         9062 OLD ANNAPOLIS RD                             ¨ Contingent
         COLUMBIA MD 21045
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.483.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RUSHMORE MALL                                                                                     $1,959.80
         C/O KEYBANK NATIONAL ASSOCIATION                  ¨ Contingent
         8115 PRESTON ROAD SUITE 500
         DALLAS TX 75225                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2614 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2724 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.484.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RUTH PICAZO                                                                                       $61.93
         2115 MANTELLI DR                                  ¨ Contingent
         GILROY CA 95020
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.485.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SACRAMENTO COUNTY                                                                                 $100.00
         DEPT OF AGRICULTURE/WEIGHTS & MEASURES            ¨ Contingent
         ATTN: ACCOUNTING
         4137 BRANCH CENTER ROAD                           ¨ Unliquidated
         SACRAMENTO CA 95827-3823                          ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.486.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAF GROUP MANAGEMENT                                                                              $11,460.00
         PO BOX 428                                        ¨ Contingent
         ROCKVILLE CENTRE NY 11571
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2615 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2725 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.487.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAGINAW CHARTER TOWNSHIP                                                                          $10.00
         CLERK'S OFFICE                                    ¨ Contingent
         P.O. BOX 6400
         SAGINAW MI 48608                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.488.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SALESFORCE.COM INC                                                                                $431,374.67
         PO BOX 203141                                     þ Contingent
         DALLAS TX 75320-3141
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.489.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SALMON RUN SHOPPING CENTER LLC                                                                    $215.74
         M&T BANK                                          þ Contingent
         DEPT# 237
         P.O. BOX 8000                                     ¨ Unliquidated
         BUFFALO NY 14267                                  ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2616 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2726 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.490.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SANGERTOWN SQUARE L.L.C.                                                                          $17,086.02
         MANUFACTURES &TRADERS TRUST CO                    ¨ Contingent
         PO BOX 8000 DEPT # 332
         BUFFALO NY 14267                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.491.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SARA BALOCH                                                                                       $132.68
         20707 INDIGO RIVER LN.                            ¨ Contingent
         KATY TX 77449
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.492.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SARAH LOUGH                                                                                       $28.92
         32 NORTH MAIN STREET                              ¨ Contingent
         NORTH HAMPTON OH 45349
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2617 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2727 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.493.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAVANNAH LIBASSI                                                                                  $32.70
         2682 ALLOUEZ AVENUE                               ¨ Contingent
         GREEN BAY WI 54311
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.494.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SEPHORA USA INC.                                                                                  $37,502.50
         525 MARKET STREET 32ND FLOOR                      þ Contingent
         SAN FRANCISCO CA 94105
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.495.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SFI FORD CITY - CHICAGO LLC                                                                       $11,070.68
         1114 AVENUE OF THE AMERICAS 39TH FLOOR            ¨ Contingent
         NEW YORK NY 10036
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2618 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2728 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.496.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHAKYIA SUMNER                                                                                    $28.75
         1498 STUYVESANT AVE.                              ¨ Contingent
         TRENTON NJ 08618
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.497.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHALENE LUTTRELL                                                                                  $10.46
         10302 STONEBANK ST                                ¨ Contingent
         BELLFLOWER CA 90706
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.498.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHARI RUSSELL                                                                                     $64.97
         56 BROOKSIDE AVENUE                               ¨ Contingent
         BRIDGEPORT CT 06606-1501
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2619 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2729 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.499.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHENITA BURDEN                                                                                    $33.00
         1420 STEAM ENGINE WAY                             ¨ Contingent
         CONYERS GA 30013
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.500.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHOKOUFEH BOZORGMANESH                                                                            $15.20
         15 CHAYA SARA GDNS                                ¨ Contingent
         MAPLE ON L6A 0Z6
         CANADA                                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.501.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHOPPERTRAK RCT CORP                                                                              $14,124.08
         233 S. WACKER DR. 41ST FLOOR                      ¨ Contingent
         CHICAGO IL 60606
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2620 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2730 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.502.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SHORT CIRCUIT ELECTRONICS INC                                                                     $8,473.55
         4201 NE PORT DRIVE                                ¨ Contingent
         LEE'S SUMMIT MO 64064
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.503.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIMON PROPERTY GROUP, L.P.                                                                        $1,187.15
         JG ELIZABETH II, LLC P.O.BOX 775273               ¨ Contingent
         CHICAGO IL 60677-5273
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.504.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SITEFOLIO LLC                                                                                     $11,900.00
         1037 NE 65 ST SUITE 229                           ¨ Contingent
         SEATTLE WA 98115
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2621 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2731 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.505.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOF-IX PB OWNER LP                                                                                $6,127.41
         1 EAST WACKER DRIVE #3600                         ¨ Contingent
         CHICAGO IL 60601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.506.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOLID & STRIPE INC.                                                                               UNDETERMINED
         DEBT RECOVERY ATTORNEYS                           þ Contingent
         MICHAEL E. SAYER
         17595 HARVARD                                     þ Unliquidated
         SUITE C-557
         IRVINE CA 92614
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.507.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SONNI CORREA                                                                                      $2.74
         448 EL CAJON APT 1                                ¨ Contingent
         SAN JOSE CA 95111
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2622 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2732 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.508.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTHERN CAL TELECOM                                                                              $11,340.00
         12090 WOODSIDE AVENUE                             ¨ Contingent
         LAKESIDE CA 92040
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.509.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTHLAND MALL PROPERTIES LLC                                                                     $18,413.85
         PO BOX 865061                                     ¨ Contingent
         ORLANDO FL 32886-5061
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.510.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPENCER GILES                                                                                     $70.79
         21167 N. 95TH DRIVE                               ¨ Contingent
         PEORIA AZ 85382-0571
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2623 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2733 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.511.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPG INDEPENDENCE CENTER, LLC                                                                      UNDETERMINED
         P.O. BOX 644182                                   ¨ Contingent
         PITTSBURGH PA 15264-4182
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.512.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SRM-SPE, LLC                                                                                      $7,863.46
         PO BOX 54266                                      ¨ Contingent
         NEW ORLEANS LA 70154
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.513.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SS-BSCMI05-TOP20; LAKEFOREST                                                                      $6,693.84
         9062 OLD ANNAPOLIS ROAD                           ¨ Contingent
         COLUMBIA MD 21045
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2624 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2734 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.514.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ST. CHARLES COUNTY GOVERNMENT                                                                     $20.00
         DEPARTMENT OF FINANCE                             ¨ Contingent
         201 NORTH SECOND ST. SUITE 541 ST.
         CHARLES MO 63301                                  ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.515.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STAR-WEST PARKWAY MALL, LP                                                                        $10,750.44
         1 EAST WACKER DRIVE SUITE 3600                    þ Contingent
         CHICAGO IL 60601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.516.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STATE OF MARYLAND                                                                                 $675.00
         DEPART. OF ASSESS. & TAXATION PERSONAL            ¨ Contingent
         PROPERTY DIVISION
         301 WEST PRESTON ST. RM 801                       ¨ Unliquidated
         BALTIMORE MD 21201-2395                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2625 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2735 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.517.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEINER CONSTRUCTION SERV LLC                                                                     $29,861.25
         6497 CITY WEST PARKWAY                            ¨ Contingent
         EDEN PRAIRIE MN 55344
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.518.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEPHANIE KELLY                                                                                   $130.68
         1111 E DEMOCRACY AVE                              ¨ Contingent
         FRESNO CA 93720
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.519.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEPHANIE M. FILIPPI                                                                              $15.31
         770 N. SILVER SPRINGS BLVD                        ¨ Contingent
         WICHITA KS 67212
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2626 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2736 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.520.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEPHANIE TIFFANY                                                                                 $23.76
         175 S SHERMAN ST. APT 202                         ¨ Contingent
         DENVER CO 80209
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.521.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEVEN MARTINEZ RODIGUEZ                                                                          $11.38
         2601 NW 207TH ST APT # 269                        ¨ Contingent
         MIAMI GARDEN FL 33056
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.522.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STOCKBRIDGE MADISON LLC                                                                           $7,269.33
         27550 HOOVER ROAD                                 ¨ Contingent
         WARREN MI 48093
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2627 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2737 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.523.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STORED VALUE SOLUTIONS, INC.                                                                      $22,604.14
         3802 RELIABLE PKWY LOCKBOX 3802                   ¨ Contingent
         CHICAGO IL 60686-0038
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.524.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STREET RETAIL INC                                                                                 $4,743.67
         1626 EAST JEFFERSON STREET                        þ Contingent
         ROCKVILLE MD 20852
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.525.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SUJEY GONZALEZ                                                                                    $149.13
         1832 PENN MAE AVE                                 ¨ Contingent
         S. EL MONTE CA 91733
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2628 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2738 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.526.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SUMMIT ENERGY                                                                                     $2,895.72
         25716 NETWORK PLACE                               ¨ Contingent
         CHICAGO IL 60673-1257
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.527.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SUSAN KUMARI                                                                                      $99.62
         2802 LEE OAKS PL UNIT 204                         ¨ Contingent
         FALLS CHURCH VA 22046
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.528.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SVAP II STONES RIVER, LLC                                                                         $6,091.69
         340 ROYAL POINCIANA WAY SUITE 316                 ¨ Contingent
         PALM BEACH FL 33480
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2629 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2739 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.529.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SYDNEY MANNING                                                                                    $28.00
         4909 NW 80TH TER                                  ¨ Contingent
         KANSAS CITY MO 64151-1127
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.530.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAEYANNA BROWN                                                                                    $2.83
         6025 AGUSTA ST                                    ¨ Contingent
         PHILADELPHIA PA 19149-3229
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.531.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAMARA LIMASA                                                                                     $235.20
         654 KAIEMI STREET                                 ¨ Contingent
         KAILUA HI 96734-2015
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2630 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2740 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.532.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAMMY L. CASAS                                                                                    $59.00
         501 E 102ND AVE B104                              ¨ Contingent
         THORNTON CO 80229
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.533.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TANGER FORT WORTH, LLC                                                                            $5,349.04
         3200 NORTHLINE AVENUE SUITE 360                   ¨ Contingent
         GREENSBORO NC 27408
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.534.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TANGER PROP. LP - FOXWOODS                                                                        $17,132.44
         FASHION OUTLETS AT FOXWOOD,LLC                    ¨ Contingent
         C/O TANGER MANAGEMENT,LLC
         3200 NORTHLINE AVE, SUITE 360                     ¨ Unliquidated
         GREENSBORO NC 27408                               ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2631 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2741 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.535.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TANGER PROPERTIES LIMITED                                                                         $11,025.48
         3200 NORTHLINE AVE, SUITE 360                     ¨ Contingent
         GREENBORO NC 27408
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.536.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TANGER PROPERTIES LIMITED                                                                         $3,196.59
         3200 NORTHLINE AVE, SUITE 360                     ¨ Contingent
         GREENSBORO NC 27408
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.537.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TANGER PROPERTIES LP                                                                              $25,329.15
         PO BOX 414225                                     ¨ Contingent
         BOSTON MA 02241-4225
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2632 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2742 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.538.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TANGO ANALYTICS LLC                                                                               $15,375.00
         PO BOX 734054                                     ¨ Contingent
         DALLAS TX 75373-4054
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.539.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAREK HASHEM ELFOULY                                                                              $21.30
         102 MASJED ELATTARINE ST ELATTARINE               ¨ Contingent
         DISTRICT
         ALEXANDRIA                                        ¨ Unliquidated
         EGYPT 21517                                       ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.540.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TERMINIX NATIONAL ACCOUNTS                                                                        $3,221.80
         MAIL DROP # A4-1075 PO BOX 17167                  ¨ Contingent
         MEMPHIS TN 38187
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2633 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2743 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.541.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TGA OAK VIEW MALL LLC                                                                             $8,922.87
         730 THIRD AVENUE                                  ¨ Contingent
         NEW YORK NY 10017
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.542.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE AVENUES                                                                                       $2,179.27
         AVENUES MALL LLC                                  þ Contingent
         867550 RELIABLE PKWY
         CHICAGO IL 60686-0075                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.543.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE FOUNTAINS AT FARAH LP                                                                         UNDETERMINED
         123 W MILLS AVE SUITE 600                         ¨ Contingent
         EL PASO TX 79901
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2634 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2744 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.544.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE IRVINE COMPANY, LLC                                                                           UNDETERMINED
         RETAIL CENTER: IRVINE SPECTRUM CENTER             ¨ Contingent
         P.O. BOX 840368-095403
         LOS ANGELES CA 90084-0368                         þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.545.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE MALL AT UNIVERSITY TOWN                                                                       $62.71
         200 E LONG LAKE ROAD, STE 300                     þ Contingent
         BLOOMFIELD HILLS MI 48304-2324
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.546.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE SHOPS AT DOS LAGOS                                                                            $58.48
         ATTN: PROPERTY MANAGER                            ¨ Contingent
         2780 CABOT DRIVE., SUITE 140
         CORONA CA 92883                                   ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2635 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2745 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.547.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIFFANY BOGLE                                                                                     $870.00
         27762 RILEYWOOD DRIVE                             ¨ Contingent
         DAPHNE AL 36526
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.548.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIFFANY CLARK                                                                                     $38.22
         13 SQUIRE RIDGE ROAD                              ¨ Contingent
         HAMPSTEAD NH 03841
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.549.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIM JOHNSON                                                                                       $200.00
         914 NW KNOLL DR                                   ¨ Contingent
         WEST HOLLYWOOD CA 90069
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2636 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2746 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.550.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TM FAIRLANE CENTER LP                                                                             $1,745.86
         75 REMITTANCE DR DEPT 1350                        ¨ Contingent
         CHICAGO IL 60675-1350
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.551.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TM WELLINGTON GREEN MALL LP                                                                       $3.37
         591 WEST PUTNAM AVE                               þ Contingent
         GREENWICH CT 06830
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.552.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TMP SRE 1, LLC                                                                                    $12,062.37
         2070 SAM RITTENBERG BLVD.                         ¨ Contingent
         CHARLESTON SC 29407
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2637 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2747 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.553.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TONI PARSONS                                                                                      $105.50
         6504 SE 8TH ST RD                                 ¨ Contingent
         OCALA FL 34471
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.554.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TONIA R. STAMPS                                                                                   $63.00
         8224 STERLING LN                                  ¨ Contingent
         COVINGTON GA 30014
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.555.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOTAL COMFORT MECHANICAL                                                                          $32,056.13
         246 INDUSTRIAL WAY WEST SUITE Q                   ¨ Contingent
         EATONTOWN NJ 07724
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2638 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2748 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.556.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOWNE WEST SQUARE, LLC                                                                            $3,708.79
         P.O. BOX 402962                                   ¨ Contingent
         ATLANTA GA 30384-2962
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.557.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TOWNSHIP OF FREEHOLD                                                                              $100.00
         ONE MUNICIPAL PLAZA                               ¨ Contingent
         FREEHOLD NJ 07728
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.558.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRACU YU                                                                                          $26.80
         6919 S. KOMENSKY AVE.                             ¨ Contingent
         CHICAGO IL 60629
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2639 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2749 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.559.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRAVELERS                                                                                         $34,449.93
         C/O BANK OF AMERICA                               þ Contingent
         91287 COLLECTIONS CENTER DR.
         CHICAGO IL 60693-1287                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.560.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TREASURER OF JAMES CITY COUNTY                                                                    $2,692.05
         ATTN BUSINESS LICENSE                             ¨ Contingent
         P.O.BOX 8701
         WILLIAMSBURG VA 23187                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.561.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRI COUNTRY MALL LLC                                                                              $4,178.19
         1700 PRINCETON PIKE                               ¨ Contingent
         CINCINNATI OH 45246
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2640 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2750 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.562.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TULSA REALTY 126 LLC                                                                              $3,256.22
         4107 SOUTH YALE AVE                               ¨ Contingent
         TULSA OK 74135
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.563.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         U.S. SECURITY ASSOCIATES, INC.                                                                    $3,695.48
         P.O. BOX 931703                                   ¨ Contingent
         ATLANTA GA 31193
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.564.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNIVERSAL DYEING & PRINTING                                                                       UNDETERMINED
         DONIGER/BURROUGHS                                 þ Contingent
         STEPHEN DONIGER/SCOTT BURROUGHS
         603 ROSE AVENUE                                   þ Unliquidated
         VENICE CA 90291                                   þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2641 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2751 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.565.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNIVERSITY MALL, LLC                                                                              $20,081.51
         P.O. BOX 235021                                   ¨ Contingent
         MONTGOMERY AL 36123-5021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.566.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UPS                                                                                               $751.41
         LOCKBOX 577                                       ¨ Contingent
         CAROL STREAM IL 60132-0577
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.567.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         URBAN EDGE CAGUAS LP                                                                              UNDETERMINED
         210 ROUTE 4 EAST                                  ¨ Contingent
         PARAMUS NJ 07652
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2642 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2752 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.568.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         USABLE LIFE                                                                                       $1,377.12
         P O BOX 31000                                     ¨ Contingent
         HONOLULU HI 96849-5314
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.569.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VALLE VISTA MALL REALTY                                                                           $9,087.53
         1010 NORTHERN BLVD. SUITE #212                    ¨ Contingent
         GREAT NECK NY 11021
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.570.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VAN D. HOLMES                                                                                     $24.20
         1406 CREST RD                                     ¨ Contingent
         RALEIGH NC 27606-2907
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2643 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2753 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.571.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VERIZON                                                                                           $200.61
         P.O. BOX 28000                                    ¨ Contingent
         LEHIGH VALLEY PA 18002-8000
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.572.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VERONICA CHAVEZ                                                                                   $19.79
         1000 BROWARD ROAD #1715                           ¨ Contingent
         JACKSONVILLE FL 32218
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.573.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VESTAR RW TEMPE MARKETPLACE                                                                       $5,483.63
         2425 E CAMELBACK RD. # 750                        ¨ Contingent
         PHOENIX AZ 85016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2644 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2754 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.574.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VETERANS WORLDWIDE MAINTENANCE                                                                    $17,705.10
         105 MAIN ST 3RD FLOOR                             ¨ Contingent
         HACKENSACK NJ 07601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.575.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VICTORIA A. LOMBARDO                                                                              $22.63
         1417 PEARL STREET                                 ¨ Contingent
         NOKOMIS FL 34275-3752
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.576.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VICTORIA PAGAN                                                                                    $25.00
         68 ASTI AVE                                       ¨ Contingent
         REVERE MA 02151
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2645 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2755 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.577.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VICTORIA SALAZAR                                                                                  $7.70
         9431 VALLEY BLVD                                  ¨ Contingent
         SAN ANTONIO TX 78250-3959
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.578.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VIEJAS OUTLET CENTER                                                                              $6,476.71
         5005 WILLOWS ROAD SUITE 229                       ¨ Contingent
         ALPINE CA 91901
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.579.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VIRGINIA CENTER COMMONS                                                                           UNDETERMINED
         REALTY HOLDING, LLC 10101 BROOK ROAD              ¨ Contingent
         GLEN ALLEN VA 23059
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2646 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2756 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.580.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VIVIANA HOLGUIN                                                                                   $21.40
         1840 CROMPOND ROAD APT 7C5                        ¨ Contingent
         PEEKSKILL NY 10566-7405
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.581.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WATERBURY HEALTH DEPARTMENT                                                                       $100.00
         ENVIRONMENTAL HEALTH DIVISION                     ¨ Contingent
         ONE JEFFERSON SQUARE
         WATERBURY CT 06706                                ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.582.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WEIGHTS & MEASURES                                                                                $221.00
         COUNTY OF SONOMA                                  ¨ Contingent
         133 AVIATION BLVD. SUITE 110
         SANTA ROSA CA 95403-8279                          ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2647 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2757 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.583.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WESTFIELD - BRANDON TOWN CENTE                                                                    $2,170.02
         PNC BANK LOCKBOX #532615                          þ Contingent
         P.O. BOX 532615
         ATLANTA GA 30353-2615                             ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.584.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WESTLAND MALL LLC                                                                                 $3,106.57
         1 EAST WACKER DRIVE SUITE 3600                    ¨ Contingent
         CHICAGO IL 60601
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.585.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WG SECURITY PRODUCTS, INC.                                                                        $270.00
         591 W. HAMILTON AVENUE SUITE 260                  ¨ Contingent
         CAMPBELL CA 95008
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2648 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2758 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.586.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WHIIP CREATIVE MARKETING LLC                                                                      $79,280.00
         1632 MORELAND DR                                  ¨ Contingent
         ALAMEDA CA 94501
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.587.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WHITE PLAINS GALLERIA LP                                                                          $6,030.22
         WP GALLERIA REALTY LP                             ¨ Contingent
         P.O. BOX 21160
         NEW YORK NY 10087-1160                            ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.588.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WHITNEY PECK                                                                                      $237.50
         1928 BROOKDATE DR.                                ¨ Contingent
         COLORADO SPRINGS CO 80918
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2649 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2759 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.589.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WIREGRASS REALTY LLC                                                                              $6,543.09
         C/O NAMCO REALTY LLC                              ¨ Contingent
         150 GREAT NECK ROAD SUITE 304
         GREAT NECK NY 11021                               ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.590.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WOODBRIDGE HEALTH DEPARTMENT                                                                      $125.00
         2 GEORGE FREDERICK PLAZA                          ¨ Contingent
         WOODBRIDGE NJ 07095
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.591.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WOODBURN PREMIUM OUTLETS LLC                                                                      $15.36
         7584 SOLUTION CENTER                              ¨ Contingent
         CHICAGO IL 60677-7055
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2650 of 2657
                       Case 19-10210-LSS           Doc 456         Filed 04/03/19            Page 2760 of 2900

Debtor   Charlotte Russe, Inc.                                                                             Case number (if known) 19-10214




3.592.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         YACSIRA PLAZA VALENTIN                                                                            UNDETERMINED
         URB LAS VEGAS                                     þ Contingent
         F-3
         FLORIDA PR 00650                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         __________________________________________        LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           ¨ No
                                                           ¨ Yes

3.593.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         YESENIA RODRIGUEZ                                                                                 $24.10
         2527 W 6TH APT. 111                               ¨ Contingent
         MIAMI FL 33016
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.594.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ZACHARY DRESSMAN                                                                                  $22.40
         6090 HARDWICK DRIVE                               ¨ Contingent
         COLORADO SPRINGS CO 80906-8245
                                                           ¨ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           TRADE PAYABLE - NON-MERCHANDISE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2651 of 2657
                       Case 19-10210-LSS            Doc 456        Filed 04/03/19         Page 2761 of 2900

Debtor     Charlotte Russe, Inc.                                                                            Case number (if known) 19-10214



 Part 3:     List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that
      may be listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional
      pages are needed, copy the next page.
      Name and mailing address                           On which line in Part 1 or Part 2 is the related        Last 4 digits of account
                                                         creditor (if any) listed?                               number, if any

      BALLARD SPAHR LLP                                  Part 2 line 3.340                                       _____________________
      DUSTIN P BRANCH,ESQ
      2029 CENTURY PARK EAST STE 800
      LOS ANGELES CA 90067-2909

      BALLARD SPAHR LLP                                  Part 2 line 3.341                                       _____________________
      DUSTIN P BRANCH,ESQ
      2029 CENTURY PARK EAST STE 800
      LOS ANGELES CA 90067-2909

      BARCLAY DAMON LLP                                  Part 2 line 3.58                                        _____________________
      KEVIN NEWMAN; SCOTT FLEISCHER
      BARCLAY DAMON TOWER
      125 EAST JEFFERSON STREET
      SYRACUSE NY 13202

      BARCLAY DAMON LLP                                  Part 2 line 3.155                                       _____________________
      KEVIN NEWMAN; SCOTT FLEISCHER
      BARCLAY DAMON TOWER
      125 EAST JEFFERSON STREET
      SYRACUSE NY 13202

      BARCLAY DAMON LLP                                  Part 2 line 3.288                                       _____________________
      KEVIN NEWMAN; SCOTT FLEISCHER
      BARCLAY DAMON TOWER
      125 EAST JEFFERSON STREET
      SYRACUSE NY 13202

      BARCLAY DAMON LLP                                  Part 2 line 3.187                                       _____________________
      KEVIN NEWMAN; SCOTT FLEISCHER
      BARCLAY DAMON TOWER
      125 EAST JEFFERSON STREET
      SYRACUSE NY 13202

      BARCLAY DAMON LLP                                  Part 2 line 3.437                                       _____________________
      KEVIN NEWMAN; SCOTT FLEISCHER
      BARCLAY DAMON TOWER
      125 EAST JEFFERSON STREET
      SYRACUSE NY 13202

      BARCLAY DAMON LLP                                  Part 2 line 3.489                                       _____________________
      KEVIN NEWMAN; SCOTT FLEISCHER
      BARCLAY DAMON TOWER
      125 EAST JEFFERSON STREET
      SYRACUSE NY 13202

      BARCLAY DAMON LLP                                  Part 2 line 3.490                                       _____________________
      KEVIN NEWMAN; SCOTT FLEISCHER
      BARCLAY DAMON TOWER
      125 EAST JEFFERSON STREET
      SYRACUSE NY 13202

      BENESCH FRIEDLANDER COPLAN & ARONOFF               Part 2 line 3.80                                        _____________________
      LLP
      JENNIFER R HOOVER;KEVIN M CAPUZZI
      222 DELAWARE AVE STE 801
      WILMINGTON DE 19801




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 2652 of 2657
                       Case 19-10210-LSS    Doc 456       Filed 04/03/19    Page 2762 of 2900

Debtor   Charlotte Russe, Inc.                                                        Case number (if known) 19-10214

      BEWLEY LASSLEBEN & MILLER LLP              Part 2 line 3.544                         _____________________
      ERNIE ZACHARY PARK
      13215 E PENN ST STE 510
      WHITTIER CA 90602

      BEWLEY LASSLEBEN & MILLER LLP              Part 2 line 3.260                         _____________________
      ERNIE ZACHARY PARK
      13215 E PENN ST STE 510
      WHITTIER CA 90602

      CAFARO MANAGEMENT COMPANY                  Part 2 line 3.306                         _____________________
      RICHARD T DAVIS
      5577 YOUNGSTOWN-WARREN RD
      NILES OH 44446

      CLARK HILL PLC                             Part 2 line 3.573                         _____________________
      DAVID M BLAU,ESQ
      151 S OLD WOODWARD AVE STE 200
      BIRMINGHAM MI 48009

      CLARK HILL PLC                             Part 2 line 3.573                         _____________________
      KAREN M GRIVNER,ESQ
      824 N MARKET ST STE 710
      WILMINGTON DE 19801

      KATTEN MUCHIN ROSENMAN LLP                 Part 2 line 3.495                         _____________________
      PETER A. SIDDIQUI
      525 W. MONROE STREET
      CHICAGO IL 60661

      KURTZMAN STEADY LLC                        Part 2 line 3.438                         _____________________
      JEFFREY KURTZMAN,ESQ
      401 S 2ND ST STE 200
      PHILADELPHIA PA 19147

      KURTZMAN STEADY LLC                        Part 2 line 3.440                         _____________________
      JEFFREY KURTZMAN,ESQ
      401 S 2ND ST STE 200
      PHILADELPHIA PA 19147

      KURTZMAN STEADY LLC                        Part 2 line 3.441                         _____________________
      JEFFREY KURTZMAN,ESQ
      401 S 2ND ST STE 200
      PHILADELPHIA PA 19147

      KURTZMAN STEADY LLC                        Part 2 line 3.439                         _____________________
      JEFFREY KURTZMAN,ESQ
      401 S 2ND ST STE 200
      PHILADELPHIA PA 19147

      LAW OFFICE OF SUSAN E KAUFMAN LLC          Part 2 line 3.583                         _____________________
      SUSAN E KAUFMAN,ESQ
      919 N MARKET ST STE 460
      WILMINGTON DE 19801

      LECLAIRRYAN PLLC                           Part 2 line 3.583                         _____________________
      NICLAS A FERLAND;ILAN MARKUS
      545 LONG WHARF DRIVE,9TH FLOOR
      NEW HAVEN CT 06511

      LECLAIRRYAN PLLC                           Part 2 line 3.583                         _____________________
      ANDREW L COLE,ESQ
      800 NORTH KING ST STE 303
      WILMINGTON DE 19801

      LINEBARGER GOGGAN BLAIR & SAMPSON LLP      Part 1 line 2.233                         _____________________
      JOHN P DILMAN
      P O BOX 3064
      HOUSTON TX 77253-3064




Official Form 206E/F              Schedule E/F: Creditors Who Have Unsecured Claims                 Page 2653 of 2657
                       Case 19-10210-LSS       Doc 456      Filed 04/03/19   Page 2763 of 2900

Debtor   Charlotte Russe, Inc.                                                        Case number (if known) 19-10214

      LINEBARGER GOGGAN BLAIR & SAMPSON LLP       Part 1 line 2.3257                       _____________________
      JOHN P DILMAN
      P O BOX 3064
      HOUSTON TX 77253-3064

      LINEBARGER GOGGAN BLAIR & SAMPSON LLP       Part 1 line 2.1592                       _____________________
      JOHN P DILMAN
      P O BOX 3064
      HOUSTON TX 77253-3064

      LINEBARGER GOGGAN BLAIR & SAMPSON LLP       Part 1 line 2.94                         _____________________
      DON STECKER
      711 NAVARRO ST STE 300
      SAN ANTONIO TX 78205

      LINEBARGER GOGGAN BLAIR & SAMPSON, LLP      Part 1 line 2.2746                       _____________________
      DIANE WADE SANDERS
      P.O. BOX 17428
      AUSTIN TX 78760

      LINEBARGER GOGGAN BLAIR & SAMPSON, LLP      Part 1 line 2.1266                       _____________________
      DIANE WADE SANDERS
      P.O. BOX 17428
      AUSTIN TX 78760

      LINEBARGER GOGGAN BLAIR & SAMPSON, LLP      Part 1 line 2.4296                       _____________________
      DIANE WADE SANDERS
      P.O. BOX 17428
      AUSTIN TX 78760

      MCCREARY, VESELKA, BRAGG & ALLEN, P.C.      Part 1 line 2.537                        _____________________
      TARA LEDAY
      P. O. BOX 1269
      ROUND ROCK TX 78680

      MCCREARY, VESELKA, BRAGG & ALLEN, P.C.      Part 1 line 2.1373                       _____________________
      TARA LEDAY
      P. O. BOX 1269
      ROUND ROCK TX 78680

      MCCREARY, VESELKA, BRAGG & ALLEN, P.C.      Part 1 line 2.1695                       _____________________
      TARA LEDAY
      P. O. BOX 1269
      ROUND ROCK TX 78680

      MCCREARY, VESELKA, BRAGG & ALLEN, P.C.      Part 1 line 2.3924                       _____________________
      TARA LEDAY
      P. O. BOX 1269
      ROUND ROCK TX 78680

      MCCREARY, VESELKA, BRAGG & ALLEN, P.C.      Part 1 line 2.7178                       _____________________
      TARA LEDAY
      P. O. BOX 1269
      ROUND ROCK TX 78680

      MEYERS ROMAN FRIEDBERG & LEWIS LPA          Part 2 line 3.203                        _____________________
      DAVID M NEUMANN
      28601 CHAGRIN BLVD STE 600
      CLEVELAND OH 44122

      MEYERS ROMAN FRIEDBERG & LEWIS LPA          Part 2 line 3.256                        _____________________
      DAVID M NEUMANN
      28601 CHAGRIN BLVD STE 600
      CLEVELAND OH 44122

      MEYERS ROMAN FRIEDBERG & LEWIS LPA          Part 2 line 3.579                        _____________________
      DAVID M NEUMANN
      28601 CHAGRIN BLVD STE 600
      CLEVELAND OH 44122




Official Form 206E/F              Schedule E/F: Creditors Who Have Unsecured Claims                 Page 2654 of 2657
                       Case 19-10210-LSS     Doc 456        Filed 04/03/19   Page 2764 of 2900

Debtor   Charlotte Russe, Inc.                                                         Case number (if known) 19-10214

      MITCHELL WILLIAMS SELIG GATES & WOODYARD Part 2 line 3.8                              _____________________
      PLLC
      STAN D SMITH,ESQ
      425 WEST CAPITOL AVE STE 1800
      LITTLE ROCK AK 72201-3525

      MONZACK MERSKY MCLAUGHLIN & BROWDER         Part 2 line 3.306                         _____________________
      PA
      RACHEL B MERSKY
      1201 N ORANGE ST STE 400
      WILMINGTON DE 19801

      PERDUE BRANDON FIELDER COLLINS & MOTT       Part 1 line 2.6376                        _____________________
      LLP
      OWEN M SONIK
      1235 NORTH LOOP STE 600
      HOUSTON TX 77008

      PERDUE BRANDON FIELDER COLLINS & MOTT       Part 1 line 2.3927                        _____________________
      LLP
      LAURA J MONROE
      P O BOX 817
      LUBBOCK TX 79408

      PERDUE BRANDON FIELDER COLLINS & MOTT       Part 1 line 2.4413                        _____________________
      LLP
      LAURA J MONROE
      P O BOX 817
      LUBBOCK TX 79408

      PERDUE BRANDON FIELDER COLLINS & MOTT       Part 1 line 2.2327                        _____________________
      LLP
      EBONEY COBB
      500 E BORDER ST STE 640
      ARLINGTON TX 76010

      PERDUE BRANDON FIELDER COLLINS & MOTT       Part 1 line 2.2555                        _____________________
      LLP
      EBONEY COBB
      500 E BORDER ST STE 640
      ARLINGTON TX 76010

      PERDUE BRANDON FIELDER COLLINS & MOTT       Part 1 line 2.1263                        _____________________
      LLP
      EBONEY COBB
      500 E BORDER ST STE 640
      ARLINGTON TX 76010

      REYNALDO SANTIAGO GONZALEZ                  Part 2 line 3.592                         _____________________
      LYDIA SAMANTHA CARMONA TORRES
      DEPARTAMENTO DEL TRABAJO Y RECURSOS
      HUMANOS
      PO BOX 71592
      SAN JUAN PR 00936-8692

      SAUL EWING ARNSTEIN & LEHR LLP              Part 2 line 3.495                         _____________________
      MARK MINUTI
      1201 N. MARKET STREET, SUITE 2300
      P.O. BOX 1266
      WILMINGTON DE 19899-1266

      SIMON PROPERTY GROUP LP                     Part 2 line 3.503                         _____________________
      RONALD M TUCKER, ESQ
      225 WEST WASHINGTON ST
      INDIANAPOLIS IN 46204

      SIMON PROPERTY GROUP LP                     Part 2 line 3.3                           _____________________
      RONALD M TUCKER, ESQ
      225 WEST WASHINGTON ST
      INDIANAPOLIS IN 46204




Official Form 206E/F               Schedule E/F: Creditors Who Have Unsecured Claims                 Page 2655 of 2657
                       Case 19-10210-LSS     Doc 456       Filed 04/03/19    Page 2765 of 2900

Debtor   Charlotte Russe, Inc.                                                         Case number (if known) 19-10214

      SINGER & LEVICK PC                          Part 2 line 3.456                         _____________________
      MICHELLE E SHRIRO,ESQ
      16200 ADDISON ROAD STE 140
      ADDISON TX 75001

      SITE CENTERS CORP                           Part 2 line 3.173                         _____________________
      ERIC C COTTON,ESQ
      3300 ENTERPRISE PARKWAY
      P O BOX 228042
      BEACHWOOD OH 44122

      SOLOMON WARD SEIDENWURM & SMITH LLP         Part 2 line 3.220                         _____________________
      MICHAEL D BRESLAUER,ESQ
      401 B STREET STE 1200
      SAN DIEGO CA 92101

      TX-COMPTROLLER OF PUBLIC ACCOUNTS           Part 1 line 2.6605                        _____________________
      RACHEL R OBALDO
      ASSISTANT ATTORNEY GENERAL
      BANKRUPTCY & COLLECTIONS DIV MC 008
      P O BOX 12548
      AUSTIN TX 78711-2548

      TX-COMPTROLLER OF PUBLIC ACCOUNTS           Part 1 line 2.6606                        _____________________
      RACHEL R OBALDO
      ASSISTANT ATTORNEY GENERAL
      BANKRUPTCY & COLLECTIONS DIV MC 008
      P O BOX 12548
      AUSTIN TX 78711-2548




Official Form 206E/F               Schedule E/F: Creditors Who Have Unsecured Claims                 Page 2656 of 2657
                       Case 19-10210-LSS         Doc 456      Filed 04/03/19   Page 2766 of 2900

Debtor     Charlotte Russe, Inc.                                                               Case number (if known) 19-10214



 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts


5a.   Total claims from Part 1                                                           5a.        $5,009,160.94


5b.   Total claims from Part 2                                                           5b.   +    $10,602,141.71


      Total of Parts 1 and 2                                                                        $15,611,302.65
5c.                                                                                      5c.
      Lines 5a + 5b = 5c.




Official Form 206E/F                 Schedule E/F: Creditors Who Have Unsecured Claims                       Page 2657 of 2657
                        Case 19-10210-LSS                Doc 456         Filed 04/03/19           Page 2767 of 2900


Fill in this information to identify the case:

Debtor name: Charlotte Russe, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10214

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).
2.       List all contracts and unexpired leases                                                           State the name and mailing address
                                                                                                           for all other parties with whom the
                                                                                                           debtor has an executory contract or
                                                                                                           unexpired lease

2.1.      Title of contract               REAL PROPERTY LEASE                                               1900 BRYANT STREET INVESTORS,
                                                                                                            LLC
          State what the contract or      SAN FRANCISCO OFFICE LEASE - LOCATION # 1265                      BRYANT STREET MANAGEMENT
          lease is for                                                                                      CO INC
                                                                                                            2352 POST ST STE 200
          Nature of debtor's interest     LESSEE                                                            SAN FRANCISCO CA 94115
          State the term remaining        _________________________________________________

          List the contract number of     _________________________________________________
          any government contract


2.2.      Title of contract               SERVICES AGREEMENT                                                State the name and mailing address
                                                                                                            for all other parties with whom the
          State what the contract or      PREVENTIVE MAINTENANCE SERVICE AGREEMENT                          debtor has an executory contract or
          lease is for                    HEATING, VENTILATING, AND AIR CONDITIONING                        unexpired lease
                                          SYSTEM
                                                                                                            ACCO ENGINEERED SYSTEMS INC
          Nature of debtor's interest     CONTRACT PARTY                                                    1133 ALADDIN AVE
                                                                                                            SAN LEANDRO CA 94577
          State the term remaining        _________________________________________________

          List the contract number of     _________________________________________________
          any government contract


2.3.      Title of contract               SERVICES AGREEMENT                                                State the name and mailing address
                                                                                                            for all other parties with whom the
          State what the contract or      ANNUAL CHARGE SMALL BUSINESS PLAN FOR                             debtor has an executory contract or
          lease is for                    BRICKFTP                                                          unexpired lease
          Nature of debtor's interest     CONTRACT PARTY                                                    ACTION VERB LLC
                                                                                                            8605 SANTA MONICA BLVD.
          State the term remaining        _________________________________________________                 #20898
                                                                                                            WEST HOLLYWOOD CA 90069
          List the contract number of     _________________________________________________
          any government contract




Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                                          Page 1 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2768 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.4.     Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DATA HYGIENE AND DATA APPEND SERVICES               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ACXIOM LLC
                                                                                           301 E. DAVE WARD DRIVE
         State the term remaining      _________________________________________________   CONWAY AR 72032
         List the contract number of   _________________________________________________
         any government contract


2.5.     Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CLOUD & INFRA - AEM ASSETS                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ADOBE SYSTEMS INCORPORATED
                                                                                           (AEM ASSETS)
         State the term remaining      _________________________________________________   345 PARK AVENUE
                                                                                           SAN JOSE CA 95110
         List the contract number of   _________________________________________________
         any government contract


2.6.     Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CLOUD & INFRA - MULTI SOLUTION: ARCH & LAUNCH       debtor has an executory contract or
         lease is for                  SVC                                                 unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ADOBE SYSTEMS INCORPORATED
                                                                                           (MULTI SOLUTION: ARCH &
         State the term remaining      _________________________________________________   LAUNCH SVC)
                                                                                           345 PARK AVENUE
         List the contract number of   _________________________________________________   SAN JOSE CA 95110
         any government contract


2.7.     Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WEBSITE ANALYTICS/AEM SERVICES AGREEMENT            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ADOBE SYSTEMS INCORPORATED
                                                                                           (WEBSITE ANALYTICS/AEM)
         State the term remaining      _________________________________________________   345 PARK AVENUE
                                                                                           SAN JOSE CA 95110
         List the contract number of   _________________________________________________
         any government contract


2.8.     Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WEBSITE IMAGE STORAGE                               debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ADOBE SYSTEMS INCORPORATED
                                                                                           (WEBSITE IMAGE STORAGE)
         State the term remaining      _________________________________________________   345 PARK AVENUE
                                                                                           SAN JOSE CA 95110
         List the contract number of   _________________________________________________
         any government contract




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                        Page 2 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2769 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.9.     Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WEBSITE MASTER AGREEMENT (EXTENDED                  debtor has an executory contract or
         lease is for                  REPAYMENT PLAN FEATURE)                             unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      AFTERPAY US, INC
                                                                                           PO BOX 328
         State the term remaining      _________________________________________________   SAN FRANCISCO CA 94104-0328
         List the contract number of   _________________________________________________
         any government contract


2.10.    Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CLOUD & INFRA - DNS SERVICES (DELIVERY OF           debtor has an executory contract or
         lease is for                  CONTENT AND APPLICATIONS OVER THE INTERNET)         unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      AKAMAI TECHNOLOGIES INC
                                                                                           150 BROADWAY
         State the term remaining      _________________________________________________   CAMBRIDGE MA 02142
         List the contract number of   _________________________________________________
         any government contract


2.11.    Title of contract             EXCESS LIABILITY INSURANCE POLICY NO. ECA (20)      State the name and mailing address
                                       54326811                                            for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    INSURANCE                                           unexpired lease
         lease is for
                                                                                           AMERICAN FIRE & CASUALTY INS.
         Nature of debtor's interest   INSURED                                             CO. (LIBERTY)
                                                                                           175 BERKELEY ST
         State the term remaining      1/31/2020                                           BOSTON MA 02116-5066
         List the contract number of   _________________________________________________
         any government contract


2.12.    Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    STATEMENT OF WORK FOR ONGOING LEASE                 debtor has an executory contract or
         lease is for                  ADMINISTRATION SERVICE / ABSTRACTION SERVICES       unexpired lease
                                       ON AS NEEDED BASIS
                                                                                           ANNET TECHNOLOGIES (USA), INC.
         Nature of debtor's interest   CONTRACT PARTY                                      (D/B/A RETRANSFORM)
                                                                                           6330 LBJ FREEWAY
         State the term remaining      _________________________________________________   SUITE 230
                                                                                           DALLAS TX 75240
         List the contract number of   _________________________________________________
         any government contract


2.13.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 442                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              ARONOV
                                                                                           EAST RIDGE MALL LLC
         State the term remaining      01/31/19                                            ARONOV REALTY MANAGEMENT
                                                                                           INC
         List the contract number of   _________________________________________________   PO BOX 235000 (361235000)
         any government contract                                                           3500 EASTERN BLVD (36116-1781)
                                                                                           MONTGOMERY AL 36116




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                        Page 3 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2770 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.14.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 471                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              ARONOV
                                                                                           UNIVERSITY MALL LLC
         State the term remaining      01/31/21                                            ARONOV REALTY MANAGEMENT
                                                                                           INC
         List the contract number of   _________________________________________________   PO BOX 235000 (361235000)
         any government contract                                                           3500 EASTERN BLVD (36116-1781)
                                                                                           MONTGOMERY AL 36123-5000


2.15.    Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PEEK ECOM GATEWAY ACCOUNT AGREEMENT FOR             debtor has an executory contract or
         lease is for                  FRAUD DETECTION                                     unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      AUTHORIZE.NET
                                                                                           PO BOX 8999
         State the term remaining      _________________________________________________   SAN FRANCISCO CA 94128
         List the contract number of   _________________________________________________
         any government contract


2.16.    Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    OMNI ENGINEERING - PLATFORM AND SERVICE             debtor has an executory contract or
         lease is for                  AGREEMENT (PEEK TAX SOFTWARE)                       unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      AVALARA, INC
                                                                                           1100 2ND AVE. SUITE 300
         State the term remaining      _________________________________________________   SEATTLE WA 98101
         List the contract number of   _________________________________________________
         any government contract


2.17.    Title of contract             SERVICES AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE CONTRACT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BOARD AMERICAS, INC.
                                                                                           33 BROAD STREET
         State the term remaining      _________________________________________________   BOSTON MA 02109
         List the contract number of   _________________________________________________
         any government contract


2.18.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 457                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BRENNAN
                                                                                           WARWICK MALL LLC
         State the term remaining      01/31/23                                            BLISS PROPERTIES INC
                                                                                           PO BOX 2513
         List the contract number of   _________________________________________________   PROVIDENCE RI 02906-0513
         any government contract




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                        Page 4 of 131
                     Case 19-10210-LSS             Doc 456        Filed 04/03/19   Page 2771 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.19.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 820                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BRIXMOR PROPERTY GROUP
                                                                                           BRIXMOR HOLDINGS 11 SPE LLC
         State the term remaining      04/30/25                                            BRIXMOR PROPERTY GROUP
                                                                                           GENERAL COUNSEL
         List the contract number of   _________________________________________________   450 LEXINGTON AVE 13TH FL
         any government contract                                                           NEW YORK NY 10170


2.20.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 1                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           RPI CARLSBAD LP
         State the term remaining      12/31/18                                            GENERAL MANAGER
                                                                                           2525 EL CAMINO REAL
         List the contract number of   _________________________________________________   CARLSBAD CA 92008
         any government contract


2.21.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 12                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           CHULA VISTA CENTER LP
         State the term remaining      01/31/21                                            GENERAL MANAGER
                                                                                           555 BROADWAY STE 1019
         List the contract number of   _________________________________________________   CHULA VISTA CA 91910
         any government contract


2.22.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 29                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GGP MEADOWS MALL LLC
         State the term remaining      02/28/21                                            MEADOWS MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.23.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 32                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GGPTUCSON MALL LLC
         State the term remaining      01/31/21                                            TUCSON MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                        Page 5 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2772 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.24.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 33                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GGP NORTHRIDGE FASHION
         State the term remaining      01/31/24                                            CENTER LP
                                                                                           NORTHRIDGE FASHION CENTER
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.25.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 35                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GLENDALE GALLERIA
         State the term remaining      01/31/19                                            GLENDALE MALL ASSOCIATES LLC
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.26.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 40                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           VALLEY PLAZA MALL LP
         State the term remaining      01/31/23                                            VALLEY PLAZA MALL CA
                                                                                           350 N ORLEANS ST STE 300
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           CHICAGO IL 60654-1607


2.27.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 78                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PERIMETER MALL LLC PERIMETER
         State the term remaining      12/31/24                                            MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.28.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 94                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GGPPROVIDENCE PLACE LLC
         State the term remaining      01/31/22                                            PROVIDENCE PLACE
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                        Page 6 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2773 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.29.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 98                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GGPGRANDVILLE LLC
         State the term remaining      01/31/20                                            RIVERTOWN CROSSINGS
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.30.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 102                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PARK MALL LLC
         State the term remaining      01/31/20                                            PARK PLACE
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.31.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 117                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           SPRING HILL MALL LLC
         State the term remaining      01/31/22                                            BROOKFIELD PROPERTIES (R) LLC
                                                                                           GENERAL COUNSEL
         List the contract number of   _________________________________________________   200 VESEY ST 25TH FL
         any government contract                                                           NEW YORK NY 10281


2.32.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 122                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           STONEBRIAR MALL LLC
         State the term remaining      01/31/21                                            STONEBRIAR CENTRE
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.33.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 130                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           TOWN EAST MALL LLC
         State the term remaining      01/31/20                                            TOWN EAST MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                        Page 7 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2774 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.34.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 130                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           TOWN EAST MALL
         State the term remaining      01/31/20                                            GENERAL MANAGER
                                                                                           2063 TOWN EAST MALL
         List the contract number of   _________________________________________________   MESQUITE TX 75150
         any government contract


2.35.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 133                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           NEWPARK MALL LP
         State the term remaining      01/31/24                                            GENERAL MANAGER
                                                                                           2086 NEWPARK MALL
         List the contract number of   _________________________________________________   NEWARK CA 94560
         any government contract


2.36.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 142                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           ALTAMONTE MALL LLC
         State the term remaining      01/31/20                                            ALTAMONTE MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.37.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 153                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           CLACKAMAS TOWN CENTER
         State the term remaining      01/31/24                                            CLACKAMAS TOWN CENTER
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.38.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 159                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GGPGLENBROOK LLC
         State the term remaining      01/31/25                                            GLENBROOK SQUARE
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                        Page 8 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2775 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.39.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 162                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           RSE INDEPENDENCE LLC
         State the term remaining      12/31/18                                            GENERAL MANAGER
                                                                                           3500 OLEANDER DR
         List the contract number of   _________________________________________________   WILMINTON NC 28403
         any government contract


2.40.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 176                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PARKS AT ARLINGTON LLC
         State the term remaining      01/31/21                                            THE PARKS MALL AT ARLINGTON
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.41.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 177                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           LYNNHAVEN MALL
         State the term remaining      01/31/23                                            LYNNHAVEN MALL LLC
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.42.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 179                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           BAYBROOK MALL LLC
         State the term remaining      01/31/22                                            BAYBROOK MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.43.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 185                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           WOODBRIDGE CENTER PROPERTY
         State the term remaining      01/31/21                                            LLC
                                                                                           WOODBRIDGE CENTER
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                        Page 9 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2776 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.44.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 193                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           CORONADO CENTER LLC
         State the term remaining      04/30/22                                            CORONADO CENTER
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.45.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 196                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PARAMUS PARK SHOPPING
         State the term remaining      01/31/21                                            CENTER LIMITED
                                                                                           PARTNERSHIP, PARAMUS PARK
         List the contract number of   _________________________________________________   SHOPPING CENTER
         any government contract                                                           LAW/LEASE ADMINISTRATION
                                                                                           DEPARTMENT
                                                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.46.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 198                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           WESTROADS MALL LLC
         State the term remaining      01/31/23                                            WESTROADS MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.47.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 207                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           DEERBROOK MALL LLC
         State the term remaining      01/31/23                                            DEERBROOK MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.48.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 211                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           NESHAMJNY MALL JOINT VENTURE
         State the term remaining      01/31/20                                            LIMITED
                                                                                           PARTNERSHIP, NESHAMINY MALL
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 10 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2777 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.49.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 219                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           SOONER FASHION MALL LLC
         State the term remaining      01/31/21                                            SOONER MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.50.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 223                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           QUAIL SPRINGS MALL LLC
         State the term remaining      01/31/20                                            QUAIL SPRINGS MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.51.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 248                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           SHOPPES AT BUCKLAND HILLS LLC
         State the term remaining      01/31/21                                            THE SHOPPES AT BUCKLAND
                                                                                           HILLS
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654


2.52.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 254                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           MALL OF LOUISIANA LLC
         State the term remaining      12/31/20                                            MALL OF LOUISIANA
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654


2.53.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 257                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           MALL ST VINCENT LLC
         State the term remaining      04/30/21                                            GENERAL COUNSEL
                                                                                           1 1 14 AVE OF THE AMERICAS STE
         List the contract number of   _________________________________________________   2800
         any government contract                                                           NEW YORK NY 10036




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 11 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2778 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.54.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 264                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           LANSING MALL LLC
         State the term remaining      01/31/20                                            GENERAL MANAGER
                                                                                           5330 W SAGINAW HWY
         List the contract number of   _________________________________________________   LANSING MI 48917
         any government contract


2.55.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 270                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PEMBROKE LAKES MALL LLC
         State the term remaining      07/31/24                                            PEMBROKE LAKES MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654


2.56.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 273                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           MSM PROPERTY LLC
         State the term remaining      01/31/21                                            MALL ST MATTHEWS
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654


2.57.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 307                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           FASHION OUTLET OF LAS VEGAS
         State the term remaining      09/30/19                                            LLC
                                                                                           BROOKFIELD REAL ESTATE
         List the contract number of   _________________________________________________   FINANCIAL PARTNERS LLC
         any government contract                                                           THERESA HOYT
                                                                                           250 VESEY ST 14TH FL
                                                                                           NEW YORK NY 10281


2.58.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 314                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GGP STATEN ISLAND MALL LLC
         State the term remaining      01/31/20                                            STATEN ISLAND MALL - PHASE II
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 12 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2779 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.59.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 331                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PEACHTREE MALL LLC
         State the term remaining      01/31/20                                            PEACHTREE MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST 300
                                                                                           CHICAGO IL 60654-1607


2.60.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 332                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           OGLETHORPE MALL LLC
         State the term remaining      03/31/22                                            OGLETHORPE MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST 300
                                                                                           CHICAGO IL 60654-1607


2.61.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 337                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GOVERNOR'S SQUARE MALL LLC
         State the term remaining      01/31/23                                            GOVERNOR'S SQUARE
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST 300
                                                                                           CHICAGO IL 60654-1607


2.62.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 338                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           CUMBERLAND MALL LLC
         State the term remaining      05/31/25                                            CUMBERLAND MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST 300
                                                                                           CHICAGO IL 60654-1607


2.63.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 343                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PARK CITY CENTER LLC
         State the term remaining      01/31/23                                            PARK CITY CENTER
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 13 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2780 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.64.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 350                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           TRACY MALL PARTNERS L P
         State the term remaining      01/31/20                                            GENERAL MANAGER
                                                                                           3200 NORTH NAGLEE RD
         List the contract number of   _________________________________________________   TRACY CA 95304
         any government contract


2.65.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 354                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           RPI BEL AIR MALL LLC
         State the term remaining      07/31/20                                            GENERAL MANAGER
                                                                                           3299 BEL AIR MALL
         List the contract number of   _________________________________________________   MOBILE AL 36606
         any government contract


2.66.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 363                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           TUP 130 LLC
         State the term remaining      01/31/20                                            GENERAL MANAGER
                                                                                           1001 BAMES CROSSING RD
         List the contract number of   _________________________________________________   TUPELO MS 38804
         any government contract


2.67.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 375                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           RPI TURTLE CREEK MALL LLC
         State the term remaining      03/31/20                                            GENERAL MANAGER
                                                                                           3000 E HIGHLAND DR 200
         List the contract number of   _________________________________________________   JONESBORO AR 72401
         any government contract


2.68.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 378                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           TGA OAK VIEW MALL LLC
         State the term remaining      04/30/19                                            CBRE/MEGA
                                                                                           AMBER BAKKEN
         List the contract number of   _________________________________________________   3001 S 144TH ST STE 2029
         any government contract                                                           OMAHA NE 68144




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 14 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2781 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.69.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 383                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           LAKELAND SQUARE MALL LLC
         State the term remaining      07/31/20                                            GENERAL MANAGER
                                                                                           3800 US HWY 98 N RM 304
         List the contract number of   _________________________________________________   LAKELAND FL 33809
         any government contract


2.70.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 387                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           NORTH POINT MALL LLC
         State the term remaining      01/31/21                                            NORTH POINT MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.71.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 387                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           NORTH POINT MALL
         State the term remaining      01/31/21                                            1000 NORTH PT CIR
                                                                                           ALPHARETTA GA 30022
         List the contract number of   _________________________________________________
         any government contract


2.72.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 398                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           VALLEY HILLS MALL LLC
         State the term remaining      07/31/20                                            GENERAL COUNSEL
                                                                                           200 VESEY ST 25TH FL
         List the contract number of   _________________________________________________   NEW YORK NY 10281
         any government contract


2.73.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 402                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           HULEN MAL
         State the term remaining      01/31/20                                            HULEN MALL LLC
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 15 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2782 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.74.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 404                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PINNACLE HILLS LLC
         State the term remaining      01/31/20                                            PINNACLE HILLS PROMENADE
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.75.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 408                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GGPFOUR SEASONS LP
         State the term remaining      04/30/22                                            FOUR SEASONS TOWN CENTRE
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.76.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 426                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           GREENWOOD MALL LLC
         State the term remaining      05/31/21                                            GREENWOOD MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO, IL 60654-1607


2.77.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 428                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           FIRST COLONY MALL
         State the term remaining      01/31/20                                            LAW/LEASE ADMINISTRATION
                                                                                           DEPT
         List the contract number of   _________________________________________________   SDS 12 3112 PO BOX 86
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.78.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 437                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           EATONTOWN MONMOUTH MALL
         State the term remaining      01/31/19                                            LLC
                                                                                           GENERAL MANAGER
         List the contract number of   _________________________________________________   180 NEW JERSEY 35
         any government contract                                                           EATONTOWN NJ 07724




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 16 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2783 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.79.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 439                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           RIVER HILLS MALL LLC
         State the term remaining      01/31/20                                            RIVER HILLS MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.80.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 445                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           KALAMAZOO MALL LLC
         State the term remaining      01/31/21                                            THE CROSSROADS MI
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.81.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 448                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           COASTLAND CENTER
         State the term remaining      01/31/20                                            COASTLAND CENTER LP
                                                                                           350 N ORLEANS ST STE 300
         List the contract number of   _________________________________________________   CHICAGO IL 60654-1607
         any government contract


2.82.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 449                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           AUGUSTA MALL
         State the term remaining      01/31/21                                            AUGUSTA MALL LLC
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.83.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 453                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PECANLAND MALL LLC
         State the term remaining      01/31/20                                            PECANLAND MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 17 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2784 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.84.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 455                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           RPI CHESTERFIELD LLC
         State the term remaining      01/31/20                                            GENERAL MANAGER
                                                                                           11500 MIDLOTHIAN TURNPIKE
         List the contract number of   _________________________________________________   RICHMOND VA 23235
         any government contract


2.85.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 460                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           RPI SALISBURY MALL LLC
         State the term remaining      01/31/20                                            GENERAL COUNSEL
                                                                                           200 VESEY ST 25TH FL
         List the contract number of   _________________________________________________   NEW YORK NY 10281-1025
         any government contract


2.86.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 466                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           OAKWOOD SHOPPING CENTER
         State the term remaining      01/31/20                                            LLC
                                                                                           OAKWOOD CENTER
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.87.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 475                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           SOUTHLAND CENTER LLC
         State the term remaining      03/31/20                                            GENERAL COUNSEL
                                                                                           200 VESEY ST 25TH FL
         List the contract number of   _________________________________________________   NEW YORK NY 10281
         any government contract


2.88.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 492                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           BRASS MILL CENTER MALL LLC
         State the term remaining      05/31/20                                            BRASS MILL CENTER
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 18 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2785 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.89.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 493                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           BELLIS FAIR MALL LLC
         State the term remaining      01/31/20                                            BELLIS FAIR
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   350 N ORLEANS ST STE 300
         any government contract                                                           CHICAGO IL 60654


2.90.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 497                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           OAKWOOD MALL
         State the term remaining      01/31/20                                            OAKWOOD HILLS MALL PARTNERS
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654


2.91.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 507                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           RPI GREENVILLE MALL LLC
         State the term remaining      01/31/21                                            GENERAL MANAGER
                                                                                           714 SE GREENVILLE BLVD
         List the contract number of   _________________________________________________   GREENVILLE NC 27858
         any government contract


2.92.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 508                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           CHAMPAIGN MARKET PLACE LLC
         State the term remaining      01/31/21                                            MARKET PLACE SHOPPING
                                                                                           CENTER
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           350 N ORLEANS STSUITE 300
                                                                                           CHICAGO IL 60654-1607


2.93.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 512                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           COLUMBIANA CENTRE
         State the term remaining      01/31/24                                            COLUMBIANA CENTRE LLC
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPT
         any government contract                                                           350 N ORLEANS STSUITE 300
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 19 of 131
                     Case 19-10210-LSS             Doc 456     Filed 04/03/19      Page 2786 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.94.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 573                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           LA CANTERA RETAIL LIMITED
         State the term remaining      01/31/20                                            PARTNERSHIP
                                                                                           THE SHOPS AT LA CANTERA
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.95.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 7007                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           PARK MEADOWS MALL LLC
         State the term remaining      _________________________________________________   PARK MEADOWS
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.96.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 7009                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           FASHION PLACE LLC
         State the term remaining      _________________________________________________   BROOKFILED PROPERTIES
                                                                                           RETAILS
         List the contract number of   _________________________________________________   LAW/LEASE ADMINISTRATION
         any government contract                                                           DEPARTMENT
                                                                                           350 N ORLEANS STE 300
                                                                                           CHICAGO IL 60654


2.97.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 7010                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           MERRICK PARK LLC
         State the term remaining      _________________________________________________   VILLAGE OF MERRICK PARK
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.98.    Title of contract             REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAIL LEASE - STORE # 7013                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BROOKFIELD PROPERTIES
                                                                                           NORTH POINT MALL LLC
         State the term remaining      _________________________________________________   NORTH POINT MALL
                                                                                           LAW/LEASE ADMINISTRATION
         List the contract number of   _________________________________________________   DEPARTMENT
         any government contract                                                           350 N ORLEANS STE 300
                                                                                           CHICAGO IL 60654-1607



Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                       Page 20 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2787 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.99.    Title of contract              REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or     RETAIL LEASE - STORE # 772                          debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest    LESSEE                                              BROOKFIELD PROPERTIES
                                                                                            NATICK MALL LLC
         State the term remaining       02/28/25                                            NATICK MALL
                                                                                            LAW/LEASE ADMINISTRATION
         List the contract number of    _________________________________________________   DEPARTMENT
         any government contract                                                            350 N ORLEANS ST
                                                                                            CHICAGO IL 60654-1607


2.100.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 773                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            OAKS MALL LLC
          State the term remaining       03/31/20                                           LAW/LEASE ADMINISTRATION
                                                                                            DEPT
          List the contract number of ________________________________________________      350 N ORLEANS ST
          any government contract                                                           CHICAGO IL 60654-1607


2.101.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 774                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            THE WOODLANDS MALL
          State the term remaining       01/31/25                                           ASSOCIATES LLC
                                                                                            THE WOODLANDS MALL
          List the contract number of ________________________________________________      LAW/LEASE ADMINISTRATION
          any government contract                                                           DEPARTMENT
                                                                                            350 N ORLEANS ST STE 300
                                                                                            CHICAGO IL 60654-1607


2.102.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 775                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            JORDAN CREEK TOWN CENTER
          State the term remaining       01/31/25                                           LLC
                                                                                            JORDAN
          List the contract number of ________________________________________________      CREEK TOWN CTR
          any government contract                                                           350 N ORLEANS ST STE 300
                                                                                            CHICAGO IL 60654-1607


2.103.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 776                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            WHITE MARSH MALL LLC
          State the term remaining       01/31/25                                           WHITE MARSH MALL
                                                                                            LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________      DEPARTMENT
          any government contract                                                           350 N ORLEANS STSUITE 300
                                                                                            CHICAGO IL 60654-1607




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 21 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2788 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.104.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 780                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           TYLER MALL LIMITED
          State the term remaining       04/30/25                                          PARTNERSHIP
                                                                                           GALLERIA AT TYLER
          List the contract number of ________________________________________________     LAW/LEASE ADMINISTRATION
          any government contract                                                          DEPARTMENT
                                                                                           350 N ORLEANS STSUITE 300
                                                                                           CHICAGO IL 60654-1607


2.105.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 781                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           BOISE MALL LLC
          State the term remaining       04/30/25                                          BOISE TOWNE SQUARE
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.106.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 793                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           COLUMBIA MALL LLC
          State the term remaining       06/30/25                                          COLUMBIA MALL (MO)
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.107.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 794                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           THE MALL IN COLUMBIA BUSINESS
          State the term remaining       05/31/25                                          TRUST
                                                                                           THE MALL IN COLUMBIA
          List the contract number of ________________________________________________     LAW/LEASE ADMINISTRATION
          any government contract                                                          DEPARTMENT
                                                                                           350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.108.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 802                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           TOWSON TC LLC
          State the term remaining       07/31/25                                          TOWSON TOWN CENTER
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607



Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 22 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2789 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.109.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 807                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           WILLOWBROOK MALL LLC
          State the term remaining       01/31/26                                          WILLOWBROOK
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.110.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 815                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           GGPOTAY RANCH LP
          State the term remaining       05/31/19                                          OTAY RANCH TOWN CENTER
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.111.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 816                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           ST CLOUD MALL LLC
          State the term remaining       04/30/20                                          CROSSROADS CENTER (MN)
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.112.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 822                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           GGP ALA MOANA LLC
          State the term remaining       08/31/19                                          ALA MOANA CENTER
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST STE 300
                                                                                           CHICAGO IL 60654-1607


2.113.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 823                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           MAYFAIR MALL LLC
          State the term remaining       08/31/22                                          MAYFAIR
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 23 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2790 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.114.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 825                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            HOOVER MALL LIMITED LLC
          State the term remaining       01/31/20                                           RIVERCHASE GALLERIA
                                                                                            LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________      DEPARTMENT
          any government contract                                                           350 N ORLEANS ST STE 300
                                                                                            CHICAGO IL 60654-1607


2.115.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 827                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            FOX RIVER SHOPPING CENTER
          State the term remaining       ________________________________________________   LLC
                                                                                            FOX RIVER MALL
          List the contract number of ________________________________________________      LAW/LEASE ADMINISTRATION
          any government contract                                                           DEPARTMENT
                                                                                            350 N ORLEANS ST
                                                                                            CHICAGO IL 60654-1607


2.116.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 828                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            RIDGEDALE CENTER LLC
          State the term remaining       02/29/20                                           RIDGEDALE CENTER
                                                                                            LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________      DEPARTMENT
          any government contract                                                           350 N ORLEANS ST
                                                                                            CHICAGO IL 60654-1607


2.117.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 830                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            GGPGRANDVILLE LLC
          State the term remaining       02/26/19                                           RIVERTOWN CROSSINGS
                                                                                            LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________      DEPARTMENT
          any government contract                                                           350 N ORLEANS ST STE 300
                                                                                            CHICAGO IL 60654-1607


2.118.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 833                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             BROOKFIELD PROPERTIES
                                                                                            CAROLINA PLACE LLC DO
          State the term remaining       05/31/20                                           CAROLINA PLACE
                                                                                            LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________      DEPARTMENT
          any government contract                                                           350 N ORLEANS ST
                                                                                            CHICAGO IL 60654-1607




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 24 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2791 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.119.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 834                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           CORAL RIDGE MALL LLC
          State the term remaining       05/31/20                                          CORAL RIDGE MALL
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST
                                                                                           CHICAGO IL 60654-1607


2.120.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 835                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           ALDERWOOD MALL LLC
          State the term remaining       07/31/20                                          ALDERWOOD MALL
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST
                                                                                           CHICAGO IL 60654-1607


2.121.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 836                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           WILLOWBROOK MALL TX LLC
          State the term remaining       07/31/20                                          WILLOWBROOK MALL TX
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST
                                                                                           CHICAGO IL 60654-1607


2.122.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 837                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           FLORENCE MALL LLC
          State the term remaining       08/31/20                                          FLORENCE MALL
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST
                                                                                           CHICAGO IL 60654-1607


2.123.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 839                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            BROOKFIELD PROPERTIES
                                                                                           VISALIA MALL LP
          State the term remaining       06/30/20                                          VISALIA MALL
                                                                                           LAW/LEASE ADMINISTRATION
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          350 N ORLEANS ST
                                                                                           CHICAGO IL 60654-1607




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 25 of 131
                      Case 19-10210-LSS              Doc 456     Filed 04/03/19     Page 2792 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.124.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 296                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CAFARO CO
                                                                                           MILLCREEK MALL
          State the term remaining       01/31/22                                          LEGAL DEPT
                                                                                           5577 YOUNGSTOWN-WARREN RD
          List the contract number of ________________________________________________     NILES OH 44446
          any government contract


2.125.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 330                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CAFARO CO
                                                                                           SPOTSYLVANIA MALL CO
          State the term remaining       01/31/20                                          CREDIT AND COLLECTIONS
                                                                                           MANAGER
          List the contract number of ________________________________________________     2445 BELMONT AVE PO BOX 2186
          any government contract                                                          YOUNGSTOWN OH 44504-0186


2.126.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 359                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CAFARO CO
                                                                                           KENTUCKY OAKS MALL CO
          State the term remaining       01/31/20                                          LEGAL DEPT
                                                                                           5577 YOUNGSTOWN-WARREN RD
          List the contract number of ________________________________________________     NILES OH 44446
          any government contract


2.127.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 765                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CAFARO CO
                                                                                           GOVERNOR'S SQUARE CO
          State the term remaining       01/31/25                                          CAFARO CO
                                                                                           2445 BELMONT AVE
          List the contract number of ________________________________________________     YOUNGSTOWN OH 44505
          any government contract


2.128.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     LOS ANGELES OFFICE LEASE - LOCATION 1138          debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CALMART SUB 1 LLC
                                                                                           110 EAST NINTH ST
          State the term remaining       5/31/2019                                         STE A 727
                                                                                           LOS ANGELES CA 90079-2827
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 26 of 131
                      Case 19-10210-LSS             Doc 456         Filed 04/03/19   Page 2793 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.129.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 7                          debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CB RICHARD ELLIS
                                                                                           RAINBOW INVESTMENT CO
          State the term remaining       01/31/20                                          2900 SIXTH AVE
                                                                                           SAN DIEGO CA 92103
          List the contract number of ________________________________________________
          any government contract


2.130.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 101                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/20                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.131.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 116                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.132.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 199                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/25                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.133.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 216                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           MID RIVERS MALL CMBS LLC
          State the term remaining       06/30/20                                          CBL AND ASSOCIATES
                                                                                           MANAGEMENT INC
          List the contract number of ________________________________________________     GENERAL MANAGER
          any government contract                                                          1600 MID RIVERS MALL
                                                                                           ST. PETERS MO 63376




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 27 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2794 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.134.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 217                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           SOUTH COUNTY CENTER LLC
          State the term remaining       01/31/20                                          LEGAL DEPT
                                                                                           11601 WILSHIRE BLVD
          List the contract number of ________________________________________________     12TH FLOOR
          any government contract                                                          LOS ANGELES CA 90025


2.135.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 232                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       07/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.136.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 261                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.137.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 262                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.138.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 265                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/20                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 28 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2795 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.139.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 293                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/25                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.140.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 301                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/22                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.141.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 315                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.142.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 323                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/20                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.143.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 325                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           COOLSPRINGS MALL LLC
          State the term remaining       01/31/20                                          CBL AND ASSOCIATES
                                                                                           MANAGEMENT INC
          List the contract number of ________________________________________________     1800 GALLERIA BLVD
          any government contract                                                          FRANKLIN TN 37067




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 29 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2796 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.144.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 327                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.145.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 334                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CARY VENTURE LIMITED
          State the term remaining       01/31/20                                          PARTNERSHIP
                                                                                           CBL AND ASSOCIATES
          List the contract number of ________________________________________________     MANAGEMENT INC
          any government contract                                                          GENERAL MANAGER
                                                                                           1105 WALNUT ST STE 200
                                                                                           CARY NC 27511


2.146.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 340                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/20                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.147.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 356                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.148.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 360                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           G AND I VIII CBL TTC LLC
          State the term remaining       01/31/23                                          CBL AND ASSOCIATES
                                                                                           MANAGEMENT INC
          List the contract number of ________________________________________________     CBL CTR 2030 HAMILTON PL BLVD
          any government contract                                                          STE 500
                                                                                           CHATTANOOGA TN 37421




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 30 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2797 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.149.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 361                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       03/31/25                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.150.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 362                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.151.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 364                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           JEFFERSON MALL CMBS LLC
          State the term remaining       01/31/21                                          CBL AND ASSOCIATES
                                                                                           MANAGEMENT INC
          List the contract number of ________________________________________________     GENERAL MANAGER
          any government contract                                                          4801/302 OUTER LOOP
                                                                                           LOUISVILLE KY 40219-3299


2.152.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 421                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           PARKWAY PLACE LIMITED
          State the term remaining       01/31/22                                          PARTNERSHIP
                                                                                           CBL AND ASSOCIATES
          List the contract number of ________________________________________________     MANAGEMENT INC
          any government contract                                                          CBL CTR STE 500
                                                                                           2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.153.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 427                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           YORK GALLERIA LIMITED
          State the term remaining       01/31/20                                          PARTNERSHIP
                                                                                           CBL AND ASSOCIATES
          List the contract number of ________________________________________________     MANAGEMENT INC
          any government contract                                                          PROPERTY ACCOUNTS MANAGER
                                                                                           ONE YORK GALLERIA
                                                                                           YORK PA 17402



Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 31 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2798 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.154.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 430                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.155.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 474                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.156.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 487                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/21                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.157.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 495                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.158.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 500                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       05/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 32 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2799 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.159.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 505                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CENTRO WEST PARK LLC
          State the term remaining       01/31/20                                          LEGAL DEPT
                                                                                           TWO TOWER BRIDGE 1 FAYETTE
          List the contract number of ________________________________________________     ST
          any government contract                                                          CONSHOHOCKEN PA 19428


2.160.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 511                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/22                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.161.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 545                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/23                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.162.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 704                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.163.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 705                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 33 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2800 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.164.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 706                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.165.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 709                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       01/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.166.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 761                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       07/31/24                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.167.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 769                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           CBL AND ASSOCIATES
          State the term remaining       07/31/25                                          MANAGEMENT INC
                                                                                           BRANDON BARRY
          List the contract number of ________________________________________________     CBL CTR STE 500
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421-6000


2.168.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 796                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBL
                                                                                           SLIDELL DEVELOPMENT CO LLC
          State the term remaining       01/31/26                                          STIRLING PROPERTIES
                                                                                           G TOWNSEND UNDERHILL IV SR
          List the contract number of ________________________________________________     109 NORTHPARK BIVD STE 300
          any government contract                                                          COVINGTON LA 70433




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 34 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2801 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.169.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 255                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBRE, INC
                                                                                           OAKLAND MALL LLC
          State the term remaining       01/31/22                                          39577 WOODWARD AVE STE 220
                                                                                           BLOOMFIELD HILLS MI 48304
          List the contract number of ________________________________________________
          any government contract


2.170.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 260                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CBRE, INC
                                                                                           VALLE VISTA MALL MANAGEMENT
          State the term remaining       01/31/20                                          OFFICE
                                                                                           2020 S EXPWY 83
          List the contract number of ________________________________________________     HARLINGEN TX 78552
          any government contract


2.171.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 10                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CENTENNIAL
                                                                                           MAINPLACE SHOPPINGTOWN LLC
          State the term remaining       01/31/25                                          CHIEF OPERATING OFFICER
                                                                                           C/O CENTENNIAL REAL ESTATE
          List the contract number of ________________________________________________     MANAGEMENT LLC
          any government contract                                                          8750 NORTH CENTRAL EXPWY STE
                                                                                           1740
                                                                                           DALLAS TX 75231


2.172.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 120                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CENTENNIAL
                                                                                           FOX VALLEY MALL LLC
          State the term remaining       01/31/24                                          CENTENNIAL REAL ESTATE
                                                                                           MANAGEMENT LLC
          List the contract number of ________________________________________________     CHIEF OPERATING OFFICER
          any government contract                                                          8750 NORTH CENTRAL EXPWY STE
                                                                                           1740
                                                                                           DALLAS TX 75231


2.173.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 280                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CENTENNIAL
                                                                                           HAWTHORN LP
          State the term remaining       02/28/19                                          CENTENNIAL REAL ESTATE
                                                                                           MANAGEMENT LLC
          List the contract number of ________________________________________________     CHIEF OPERATING OFFICER
          any government contract                                                          8750 N CENTRAL EXPWY STE 1740
                                                                                           DALLAS TX 75231




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 35 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2802 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.174.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 287                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CENTENNIAL
                                                                                           THE CONNECTICUT POST LIMITED
          State the term remaining       03/31/25                                          PARTNERSHIP
                                                                                           CENTENNIAL REAL ESTATE
          List the contract number of ________________________________________________     MANAGEMENT LLC
          any government contract                                                          CHIEF OPERATING OFFICER
                                                                                           8750 NORTH CENTRAL EXPWY
                                                                                           DALLAS TX 75231


2.175.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 470                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CENTENNIAL
                                                                                           US CENTENNIAL VANCOUVER
          State the term remaining       01/31/20                                          MALL LLC
                                                                                           CENTENNIAL REAL ESTATE
          List the contract number of ________________________________________________     MANAGEMENT LLC
          any government contract                                                          CHIEF OPERATING OFFICER
                                                                                           8750 NORTH CENTRAL EXPWY STE
                                                                                           1740
                                                                                           DALLAS TX 75231


2.176.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 710                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CENTENNIAL
                                                                                           RENAISSANCE PARTNERS I LLC
          State the term remaining       01/31/24                                          CENTENNIAL REAL ESTATE
                                                                                           MANAGEMENT LLC
          List the contract number of ________________________________________________     CHIEF OPERATING OFFICER
          any government contract                                                          8750 NORTH CENTRAL EXPWY STE
                                                                                           1740
                                                                                           DALLAS TX 75231


2.177.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 710                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CENTENNIAL
                                                                                           PUEBLO MALL
          State the term remaining       01/31/24                                          GENERAL MANAGER
                                                                                           3429 DILLON DR
          List the contract number of ________________________________________________     PUEBLO CO 81008
          any government contract


2.178.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 735                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            CENTERGY RETAIL
                                                                                           THE FOUNTAINS AT FARAH LP
          State the term remaining       01/31/24                                          CENTERGY RETAIL LLC
                                                                                           WEST MILLER
          List the contract number of ________________________________________________     8235 DOUGLAS AVE STE 900
          any government contract                                                          DALLAS TX 75225



Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 36 of 131
                      Case 19-10210-LSS             Doc 456       Filed 04/03/19    Page 2803 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.179.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 422                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             CENTRECORP
                                                                                            CENTRECORP MANAGEMENT SVC
          State the term remaining       01/31/20                                           LLLP
                                                                                            VICEPRESIDENT PROPERTY
          List the contract number of ________________________________________________      MANAGEMENT
          any government contract                                                           2851 JOHN ST STE 1
                                                                                            MARKHAM ON L3R 5R7
                                                                                            CANADA


2.180.    Title of contract              AMENDED & RESTATED CREDIT AGREEMENT                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FINANCING AGREEMENT                                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    GUARANTOR                                          CHARLOTTE RUSSE
                                                                                            ADMINISTRATION, INC.
          State the term remaining       ________________________________________________   5910 PACIFIC CENTER BLVD
                                                                                            SAN DIEGO CA 92121
          List the contract number of ________________________________________________
          any government contract


2.181.    Title of contract              MANAGEMENT & ADMINISTRATIVE SERVICES               State the name and mailing address
                                         AGREEMENT                                          for all other parties with whom the
                                                                                            debtor has an executory contract or
          State what the contract or     MANAGEMENT AND SERVICES                            unexpired lease
          lease is for
                                                                                            CHARLOTTE RUSSE
          Nature of debtor's interest    CONTRACT PARTY                                     ADMINISTRATION, INC.
                                                                                            575 FLORIDA STREET
          State the term remaining       DATED JANUARY 28, 2012                             SAN FRANCISCO CA 94110
          List the contract number of ________________________________________________
          any government contract


2.182.    Title of contract              AMENDED & RESTATED CREDIT AGREEMENT                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FINANCING AGREEMENT                                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    GUARANTOR                                          CHARLOTTE RUSSE HOLDING, INC.
                                                                                            5910 PACIFIC CENTER BLVD
          State the term remaining       ________________________________________________   SAN DIEGO CA 92121
          List the contract number of ________________________________________________
          any government contract


2.183.    Title of contract              AMENDED & RESTATED CREDIT AGREEMENT                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FINANCING AGREEMENT                                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    GUARANTOR                                          CHARLOTTE RUSSE HOLDING, INC.
                                                                                            5910 PACIFIC CENTER BLVD
          State the term remaining       ________________________________________________   SAN DIEGO CA 92121
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 37 of 131
                      Case 19-10210-LSS             Doc 456       Filed 04/03/19    Page 2804 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.184.    Title of contract              AMENDED & RESTATED CREDIT AGREEMENT                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FINANCING AGREEMENT                                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    GUARANTOR                                          CHARLOTTE RUSSE HOLDING, INC.
                                                                                            5910 PACIFIC CENTER BLVD
          State the term remaining       ________________________________________________   SAN DIEGO CA 92121
          List the contract number of ________________________________________________
          any government contract


2.185.    Title of contract              AMENDED & RESTATED CREDIT AGREEMENT                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FINANCING AGREEMENT                                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    GUARANTOR                                          CHARLOTTE RUSSE HOLDING, INC.
                                                                                            5910 PACIFIC CENTER BLVD
          State the term remaining       ________________________________________________   SAN DIEGO CA 92121
          List the contract number of ________________________________________________
          any government contract


2.186.    Title of contract              AMENDED & RESTATED CREDIT AGREEMENT                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FINANCING AGREEMENT                                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    GUARANTOR                                          CHARLOTTE RUSSE
                                                                                            MERCHANDISING, INC.
          State the term remaining       ________________________________________________   5910 PACIFIC CENTER BLVD
                                                                                            SAN DIEGO CA 92121
          List the contract number of ________________________________________________
          any government contract


2.187.    Title of contract              AMENDED & RESTATED CREDIT AGREEMENT                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FINANCING AGREEMENT                                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    GUARANTOR                                          CHARLOTTE RUSSE
                                                                                            MERCHANDISING, INC.
          State the term remaining       ________________________________________________   5910 PACIFIC CENTER BLVD
                                                                                            SAN DIEGO CA 92121
          List the contract number of ________________________________________________
          any government contract


2.188.    Title of contract              SALES & DISTRIBUTION AGREEMENT                     State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SALES & DISTRIBUTIONS                              debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     CHARLOTTE RUSSE
                                                                                            MERCHANDISING, INC.
          State the term remaining       DATED JANUARY 28, 2012                             575 FLORIDA STREET
                                                                                            SAN FRANCISCO CA 94110
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 38 of 131
                      Case 19-10210-LSS              Doc 456     Filed 04/03/19     Page 2805 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.189.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 7008                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             CHESTNUT STREET PROPERTIES
                                                                                            MARK BORSUK INC
          State the term remaining       ________________________________________________   1626 VALLEJO ST
                                                                                            SAN FRANCISCO CA 94123
          List the contract number of ________________________________________________
          any government contract


2.190.    Title of contract              INTERNATIONAL PACKAGE INSURANCE POLICY NO. PST State the name and mailing address
                                         62 313 6940                                    for all other parties with whom the
                                                                                        debtor has an executory contract or
          State what the contract or     INSURANCE                                      unexpired lease
          lease is for
                                                                                            CONTINENTAL INS. CO. (CNA)
          Nature of debtor's interest    INSURED                                            1455 FRAZEE RAOD
                                                                                            # 508
          State the term remaining       1/31/2020                                          SAN DIEGO CA 92108
          List the contract number of ________________________________________________
          any government contract


2.191.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     COR-O-VAN AGREEMENT FOR SERVICES (RECORDS          debtor has an executory contract or
          lease is for                   MANAGEMENT)                                        unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     CORODATA RECORDS
                                                                                            MANAGEMENT, INC.
          State the term remaining       ________________________________________________   PO BOX 842638
                                                                                            LOS ANGELES CA 90084-2638
          List the contract number of ________________________________________________
          any government contract


2.192.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CSC SERVICE OF PROCESS (LEGAL NOTICING             debtor has an executory contract or
          lease is for                   SERVICE)                                           unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     CORPORATION SERVICE
                                                                                            COMPANY
          State the term remaining       ________________________________________________   P.O BOX 13397
                                                                                            PHILADELPHIA PA 19101-3397
          List the contract number of ________________________________________________
          any government contract


2.193.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     OMNI ENGINEERING CONTRACT- JIRA CLOUD USERS        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     CPRIME, INC
                                                                                            4100 E 3RD AVE STE 205
          State the term remaining       ________________________________________________   FOSTER CITY CA 94404
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 39 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2806 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.194.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 723                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             CRAIG REALTY
                                                                                            CRAIG REALTY GROUP CASTLE
          State the term remaining       07/31/23                                           ROCK LLC
                                                                                            LEASE ADMINISTRATION AND
          List the contract number of ________________________________________________      GENERAL COUNSEL
          any government contract                                                           4100 MACARTHUR BLVD STE 200
                                                                                            NEWPORT BEACH CA 92660


2.195.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SERVICE AGREEMENT CONTRACT - ANNUAL                debtor has an executory contract or
          lease is for                   SOFTWARE ASSURANCE AND HARDWARE SUPPORT            unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     CROSSPOINT NETWORK
                                                                                            SOLUTIONS, INC
          State the term remaining       ________________________________________________   28355 INDUSTRY DR UNIT 422
                                                                                            VALENCIA CA 91355
          List the contract number of ________________________________________________
          any government contract


2.196.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 399                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             CUSHMAN AND WAKEFIELD
                                                                                            CREFII SILVER CITY LLC
          State the term remaining       01/31/20                                           411 WEST PUTNAM AVE STE 425
                                                                                            GREENWICH CT 06830
          List the contract number of ________________________________________________
          any government contract


2.197.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 399                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             CUSHMAN AND WAKEFIELD
                                                                                            JONES LANG LASALLE AMERICAS
          State the term remaining       01/31/20                                           INC
                                                                                            PRESIDENT AND CEO RETAIL
          List the contract number of ________________________________________________      3344 PEACHTREE RD STE 1100
          any government contract                                                           ATLANTA GA 30326


2.198.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 399                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             CUSHMAN AND WAKEFIELD
                                                                                            SILVER CITY GALLERIA
          State the term remaining       01/31/20                                           GENERAL MANAGER
                                                                                            2 GALLERIA MALL DR
          List the contract number of ________________________________________________      TAUNTON MA 02780
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 40 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2807 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.199.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CYBERSOURCE PAYMENT SOLUTIONS AGREEMENT            debtor has an executory contract or
          lease is for                   FOR PAYMENT PROCESSING & DECISION                  unexpired lease
                                         MANAGEMENT (FRAUD)
                                                                                            CYBERSOURCE CORPORATION
          Nature of debtor's interest    CONTRACT PARTY                                     POST OFFICE BOX 8999
                                                                                            SAN FRANCISCO CA 94128
          State the term remaining       ________________________________________________

          List the contract number of ________________________________________________
          any government contract


2.200.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MARK MAGIC LABELS ANNUAL SUPPORT RENEWAL           debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     CYBRA CORPORATION
                                                                                            28 WELLS AVENUE
          State the term remaining       ________________________________________________   YONKERS NY 10701
          List the contract number of ________________________________________________
          any government contract


2.201.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 214                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             CYPRESS EQUITIES
                                                                                            CAPREF LLOYD II LLC
          State the term remaining       01/31/23                                           LEASE ADMINISTRATION
                                                                                            2201 LLOYD CTR
          List the contract number of ________________________________________________      PORTLAND OR 97232
          any government contract


2.202.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 226                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             CYPRESS EQUITIES
                                                                                            CYPRESS FLAGSTAFF MALL LP
          State the term remaining       12/31/19                                           ASSET MANAGER
                                                                                            8343 DOUGLAS AVE STE 200
          List the contract number of ________________________________________________      DALLAS TX 75225
          any government contract


2.203.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MASTER SERVICES AGREEMENT AND SOW                  debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     DCKAP INC
                                                                                            3728 ATLANTIC AVENUE
          State the term remaining       ________________________________________________   LONG BEACH CA 90807
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 41 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2808 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.204.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 84                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             DDR
                                                                                            DDR DEL SOL LLC SE
          State the term remaining       02/28/19                                           EXECUTIVE VICE PRESIDENT
                                                                                            LEASING
          List the contract number of ________________________________________________      3300 ENTERPRISE PKWY
          any government contract                                                           BEACHWOOD OH 44122


2.205.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CLOUD & INFRA - MOTOROLA - DEPOT SERVICE           debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     DECISIONPOINT SYSTEMS, INC
                                                                                            (DEPOT SERVICE)
          State the term remaining       ________________________________________________   PO BOX 51480
                                                                                            LOS ANGELES CA 90051-6311
          List the contract number of ________________________________________________
          any government contract


2.206.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CLOUD & INFRA - MOTOROLA - ZEBRA EVM, ONECARE      debtor has an executory contract or
          lease is for                   SERVICE                                            unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     DECISIONPOINT SYSTEMS, INC
                                                                                            (ZEBRA EVM, ONECARE SERVICE)
          State the term remaining       ________________________________________________   PO BOX 51480
                                                                                            LOS ANGELES CA 90051-6311
          List the contract number of ________________________________________________
          any government contract


2.207.    Title of contract              DISTRIBUTION AGREEMENT                             State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     DDS STORES SUPPLIES DISTRIBUTION AGREEMENT         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     DIVERSIFIED DISTRIBUTION
                                                                                            SYSTEMS INC. (BUNZL)
          State the term remaining       ________________________________________________   7351 BOONE AVE N
                                                                                            BROOKLYN PARK MN 55428
          List the contract number of ________________________________________________
          any government contract


2.208.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MASTER SERVICES AGREEMENT & ORDER FORM             debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     DOCSIGN, INC
                                                                                            221 MAIN STREET
          State the term remaining       ________________________________________________   SUITE 1000
                                                                                            SAN FRANCISCO CA 94105
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 42 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2809 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.209.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 405                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             DOS LAGOS CRN LLC
                                                                                            PROPERTY MANAGER
          State the term remaining       MONTH TO MONTH                                     THE SHOPS AT DOS LAGOS - 2780
                                                                                            CABOT DR
          List the contract number of ________________________________________________      STE 140
          any government contract                                                           CORONA CA 92883


2.210.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 405                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             DOS LAGOS CRN LLC
                                                                                            EQUIMAX MANAGEMENT
          State the term remaining       MONTH TO MONTH                                     TONY NAMVAR
                                                                                            3415 SSEPULVEDA BLVD STE 400
          List the contract number of ________________________________________________      LOS ANGELES CA 90034
          any government contract


2.211.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 405                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             DOS LAGOS CRN LLC
                                                                                            ELKINS KALT WEINTRAUB REUBEN
          State the term remaining       MONTH TO MONTH                                     GARTSIDE LLP
                                                                                            DAVID A SWARTZ ESQ
          List the contract number of ________________________________________________      2049 CENTURY PK EAST STE 2700
          any government contract                                                           LOS ANGELES CA 90067


2.212.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     UNCLAIMED PROPERTY SOFTWARE                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     EAGLE TECHNOLOGY
                                                                                            MANAGEMENT
          State the term remaining       ________________________________________________   PO BOX 11100
                                                                                            CEDAR RAPIDS IA 52410-1100
          List the contract number of ________________________________________________
          any government contract


2.213.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 516                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             EASTRIDGE MALL ACQUISITION
                                                                                            LLC
          State the term remaining       01/31/19                                           WEA EASTRIDGE LP
                                                                                            LEGAL DEPT
          List the contract number of ________________________________________________      11601 WILSHIRE BLVD 11TH FL
          any government contract                                                           LOS ANGELES CA 90025




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 43 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2810 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.214.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 760                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             EQUITY ONE, INC
                                                                                            DALY CITY SERRAMONTE CENTER
          State the term remaining       01/31/25                                           LLC
                                                                                            REGENCY CENTERS CORP
          List the contract number of ________________________________________________      LEGAL DEPARTMENT
          any government contract                                                           INDEPENDENT DR STE 114
                                                                                            JACKSONVILLE FL 32202-5019


2.215.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     LAWSON REPORTING TOOLKIT ANNUAL MAINTENANCE        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     ERP ACCESSORIES LLC
                                                                                            13570 GROVE DRIVE #363
          State the term remaining       ________________________________________________   MAPLE GROVE MN 55311
          List the contract number of ________________________________________________
          any government contract


2.216.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 322                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             ESPLANADE REALTY, LP
                                                                                            ESPLANADE MALL REALTY
          State the term remaining       01/31/19                                           HOLDING LLC
                                                                                            1010 NORTHERN BLVD STE 212
          List the contract number of ________________________________________________      GREAT NECK NY 11021
          any government contract


2.217.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 768                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             EWB DEVELOPMENT
                                                                                            VP-COMMERCIAL AND INDUSTRIAL
          State the term remaining       01/31/25                                           REAL ESTATE TRCC
                                                                                            ROCK OUTLET CENTER LLC TEJON
          List the contract number of ________________________________________________      INDUSTRIAL CORP
          any government contract                                                           GENERAL COUNSEL VP
                                                                                            4436 LEBEC RD
                                                                                            LEBEC CA 93243


2.218.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 768                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             EWB DEVELOPMENT
                                                                                            ROCKEFELLER GROUP
          State the term remaining       01/31/25                                           DEVELOPMENT CORP
                                                                                            4 PK PLZ STE 840
          List the contract number of ________________________________________________      IRVINE CA 92614
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 44 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2811 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.219.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 725                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             FEDERAL REALTY
                                                                                            STREET RETAIL INC
          State the term remaining       05/31/24                                           FEDERAL REALTY INVESTMENT
                                                                                            TRUST
          List the contract number of ________________________________________________      LEGAL DEPARTMENT
          any government contract                                                           1626 EAST JEFFERSON ST
                                                                                            ROCKVILLE MD 20852-4041


2.220.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FEEDFM CLIENT ORDER FORM                           debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     FEED MEDIA INC.
                                                                                            845 MARKET ST.
          State the term remaining       ________________________________________________   STE 450
                                                                                            SAN FRANCISCO CA 94103
          List the contract number of ________________________________________________
          any government contract


2.221.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 173                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             FEIL
                                                                                            NORTH RIVERSIDE PARK
          State the term remaining       01/31/20                                           ASSOCIATES
                                                                                            GENERAL MANAGER
          List the contract number of ________________________________________________      7501 WEST CERMAK RD
          any government contract                                                           NORTH RIVERSIDE IL 60546


2.222.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 553                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             FFO
                                                                                            LVP ST AUGUSTINE OUTLETS LLC
          State the term remaining       01/31/19                                           LEASE ADMINISTRATION
                                                                                            1985 CEDAR BRIDGE AVE STE 1
          List the contract number of ________________________________________________      LAKEWOOD NJ 08701
          any government contract


2.223.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 731                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             FINARD PROPERTIES
                                                                                            LBCMT 2007C3 DORSET STREET
          State the term remaining       01/31/24                                           LLC
                                                                                            KEYPOINT PARTNERS
          List the contract number of ________________________________________________      PROPERTY MANAGER
          any government contract                                                           155 DORSET ST
                                                                                            SOUTH BURLINGTON VT 05403




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 45 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2812 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.224.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     FIREOWLS MANAGED SERVICES STATEMENT OF             debtor has an executory contract or
          lease is for                   WORK/SILVER PEAK                                   unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     FIREOWLS CORPORATION
                                                                                            16755 VON KARMAN AVENUE
          State the term remaining       ________________________________________________   SUITE 200
                                                                                            IRVINE CA 92606
          List the contract number of ________________________________________________
          any government contract


2.225.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SAN DIEGO OFFICE LEASE - LOCATION 1260             debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             G AND I VIII SORRENTO LP
                                                                                            CYPRESS ASSET MANAGEMENT
          State the term remaining       ________________________________________________   INC
                                                                                            RON LACK
          List the contract number of ________________________________________________      10650 TREENA ST STE 109
          any government contract                                                           SAN DIEGO CA 92131


2.226.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 392                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             GUMBERG
                                                                                            SOUTHLAND MALL PROPERTIES
          State the term remaining       01/31/24                                           LLC
                                                                                            GUMBERG ASSET MANAGEMENT
          List the contract number of ________________________________________________      CORP
          any government contract                                                           LEGAL DEPARTMENT
                                                                                            3200 NORTH FEDERAL HIGHWAY
                                                                                            FT. LAUDERDALE FL 33306


2.227.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 759                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HARLEM IRVING
                                                                                            FOREST HARLEM IRVING LIMITED
          State the term remaining       06/30/24                                           PARTNERSHIP
                                                                                            THE HARLEM IRVING COMPANIES
          List the contract number of ________________________________________________      INC
          any government contract                                                           GENERAL MANAGER
                                                                                            4104 NORTH HARLEM AVE
                                                                                            NORRIDGE IL 60706


2.228.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     AGREEMENT FOR GROUP HEALTH PLAN - HAWAII           debtor has an executory contract or
          lease is for                   MEDICAL BENEFITS                                   unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     HAWAII MEDICAL SERVICE ASSOC.
                                                                                            818 KEEAUMOKU ST.
          State the term remaining       ________________________________________________   PO BOX 860
                                                                                            HONOLULU HI 96808-0860
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 46 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2813 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.229.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CLOUD & INFRA - MESSENGERPLUS                      debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     HELPSYSTEMS LLC
                                                                                            6455 CITY WEST PARKWAY
          State the term remaining       ________________________________________________   EATON PRAIRIE MN 55344
          List the contract number of ________________________________________________
          any government contract


2.230.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 419                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HENDON PROPERTIES
                                                                                            KDI ATHENS MALL LLC
          State the term remaining       04/30/20                                           HENDON PROPERTIES LLC
                                                                                            J CHARLES HENDON JR
          List the contract number of ________________________________________________      3445 PEACHTREE RD STE 465
          any government contract                                                           ATLANTA GA 30326


2.231.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 419                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HENDON PROPERTIES
                                                                                            GEORGIA SQUAREKDI ATHENS
          State the term remaining       04/30/20                                           MALL LLC
                                                                                            GENERAL MANAGER
          List the contract number of ________________________________________________      3700 ATLANTA HIGHWAY STE 212
          any government contract                                                           ATHENS GA 30606


2.232.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 729                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HINES
                                                                                            PINEBILL MARKETS OPERATING
          State the term remaining       01/31/24                                           LLC
                                                                                            GENESIS REAL ESTATE ADVISERS
          List the contract number of ________________________________________________      LLC
          any government contract                                                           R STEPHENS TART JR MANAGING
                                                                                            DIRECTOR
                                                                                            800 MT VERNON HIGHWAY STE 410
                                                                                            SANDY SPRINGS GA 30328


2.233.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 729                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HINES
                                                                                            SUTHERLAND ASBILL AND
          State the term remaining       01/31/24                                           BRENNAN LLP
                                                                                            ENRIQUE ANDERSON ESQ
          List the contract number of ________________________________________________      999 PEACHTREE ST NE STE 2300
          any government contract                                                           ATLANTA GA 30309-3996




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 47 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2814 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.234.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MANAGED SERVICES MASTER AGREEMENT - HITACHI        debtor has an executory contract or
          lease is for                   CONSULTING                                         unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     HITACHI CONSULTING
                                                                                            CORPORATION
          State the term remaining       ________________________________________________   P.O. BOX 972980
                                                                                            DALLAS TX 75397
          List the contract number of ________________________________________________
          any government contract


2.235.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 588                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HORIZON GROUP
                                                                                            EL PASO OUTLET CENTER LLC
          State the term remaining       08/31/22                                           HORIZON GROUP PROPERTIES
                                                                                            INC
          List the contract number of ________________________________________________      5000 HAKES DR STE 500
          any government contract                                                           MUSKEGON MI 49441


2.236.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 599                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HORIZON GROUP
                                                                                            ATLANTA OUTLET SHOPPES LLC
          State the term remaining       07/31/23                                           HORIZON GROUP PROPERTIES LP
                                                                                            5000 HAKES DR STE 500
          List the contract number of ________________________________________________      MUSKEGON MI 49441
          any government contract


2.237.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 728                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HORIZON GROUP
                                                                                            BLUEGRASS OUTLET SHOPPES
          State the term remaining       07/31/24                                           CMBS LLC
                                                                                            HORIZON GROUP PROPERTIES LP
          List the contract number of ________________________________________________      5000 HAKES DR STE 500
          any government contract                                                           MUSKEGON MI 49441


2.238.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 700                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             HOWARD HUGHES
                                                                                            RIVERWALK MARKETPLACE NEW
          State the term remaining       01/31/25                                           ORLEANS LLC
                                                                                            THE HOWARD HUGHES CORP
          List the contract number of ________________________________________________      ONE GALLERIA TOWER
          any government contract                                                           22ND FL 13355 NOEL RD
                                                                                            DALLAS TX 75240




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 48 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2815 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.239.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 792                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            HOWARD HUGHES
                                                                                           THE SHOPS AT SUMMERLIN
          State the term remaining       06/30/25                                          NORTH LP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     ONE GALLERIA TOWER
          any government contract                                                          22ND FL 13355 NOEL RD
                                                                                           DALLAS TX 75240


2.240.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 206                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            HULL PROPERTY GROUP
                                                                                           RACINE MALL LLC
          State the term remaining       01/31/21                                          HULL PROPERTY GROUP LLC
                                                                                           1190 INTERSTATE PKWY
          List the contract number of ________________________________________________     AUGUSTA GA 30909
          any government contract


2.241.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 744                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            HULL PROPERTY GROUP
                                                                                           VICTORIA MALL LP
          State the term remaining       07/31/24                                          HULL STOREY RETAIL GROUP LLC
                                                                                           JAMES M MULL
          List the contract number of ________________________________________________     HULL STOREY GIBSON
          any government contract                                                          COMPANIES LLC
                                                                                           1190 INTERSTATE PKWY
                                                                                           AUGUSTA GA 30909


2.242.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 754                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            HULL PROPERTY GROUP
                                                                                           HS FLORENCE LLC
          State the term remaining       06/30/24                                          HULL STOREY RETAIL GROUP
                                                                                           JAMES M HULL
          List the contract number of ________________________________________________     D/B/A HULL STOREY GIBSON
          any government contract                                                          COMPANIES LLC
                                                                                           1190 INTERSTATE PKWY
                                                                                           AUGUSTA GA 30909


2.243.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 147                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            INDIAN RIVER MALL REALTY
                                                                                           HOLDING, LLC
          State the term remaining       MONTH TO MONTH                                    MIKE KOHAN
                                                                                           INDIAN RIVER MALL REALTY
          List the contract number of ________________________________________________     HOLDING LLC
          any government contract                                                          6200 20TH ST RM 471
                                                                                           VERO BEACH FL 32966




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 49 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2816 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.244.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     ANNUAL SUBSCRIPTION                                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     INFOR (US), INC
                                                                                            13560 MORRIS RD.
          State the term remaining       ________________________________________________   SUITE 4100
                                                                                            ALPHARETTA GA 30004
          List the contract number of ________________________________________________
          any government contract


2.245.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     IBM ORDER MANAGEMENT SERVICE - TRANSACTION         debtor has an executory contract or
          lease is for                   DOCUMENT FOR BACKEND & CSR                         unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     INTERNATIONAL BUSINESS
                                                                                            MACHINES CORPORATION
          State the term remaining       ________________________________________________   ATTN: REGIONAL COUNSEL
                                                                                            425 MARKET STREET 21ST FLOOR
          List the contract number of ________________________________________________      SAN FRANCISCO CA 94105
          any government contract


2.246.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 25                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             INTERNATIONAL GROWTH
                                                                                            PROPERTIES
          State the term remaining       05/31/23                                           MORENO VALLEY MALL
                                                                                            HOLDINGLLC
          List the contract number of ________________________________________________      MALL MANAGEMENT
          any government contract                                                           22500 TOWN CIR STE 1206
                                                                                            MORENO VALLEY CA 92553


2.247.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CUSTOMER AGREEMENT FOR RECORDS                     debtor has an executory contract or
          lease is for                   MANAGEMENT/ STORAGE                                unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     IRON MOUNTAIN INFORMATION
                                                                                            MANAGEMENT, INC.
          State the term remaining       ________________________________________________   6935 FLANDERS DRIVE
                                                                                            SAN DIEGO CA 92121
          List the contract number of ________________________________________________
          any government contract


2.248.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     ISLAND PACIFIC - PEEK MANAGED SERVICES             debtor has an executory contract or
          lease is for                   AGREEMENT                                          unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     ISLAND PACIFIC SYSTEMS, INC
                                                                                            (MONTHLY MAINTENANCE)
          State the term remaining       ________________________________________________   1940 EAST DEERE AVE
                                                                                            SUITE 200
          List the contract number of ________________________________________________      SANTA ANA CA 92705
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 50 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2817 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.249.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     ISLAND PACIFIC - PEEK SOFTWARE LICENSE             debtor has an executory contract or
          lease is for                   AGREEMENT                                          unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     ISLAND PACIFIC SYSTEMS, INC
                                                                                            (SOFTWARE LICENSE)
          State the term remaining       ________________________________________________   1940 EAST DEERE AVE
                                                                                            SUITE 200
          List the contract number of ________________________________________________      SANTA ANA CA 92705
          any government contract


2.250.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 418                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             JIM WILSON AND ASSOC
                                                                                            AMERICANNATIONAL INSURANCE
          State the term remaining       03/31/20                                           CO
                                                                                            JIM WILSON AND ASSOCIATES INC
          List the contract number of ________________________________________________      2660 EASTCHASE LN STE 100
          any government contract                                                           MONTGOMERY AL 36117


2.251.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 112                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             JLL
                                                                                            US BANK NATIONAL ASSOCIATION
          State the term remaining       01/31/20                                           C-III ASSET MANAGEMENT
                                                                                            MICHELE RAY SR VICE PRESIDENT
          List the contract number of ________________________________________________      5221 N OCONNOR BLVD STE 800
          any government contract                                                           IRVING TX 75039


2.252.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 160                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             JLL
                                                                                            CAPREF EDEN PRAIRIE LLC
          State the term remaining       01/31/20                                           EDEN PRAIRIE ASSET
                                                                                            MANAGEMENT
          List the contract number of ________________________________________________      8333 DOUGLAS AVE STE 975
          any government contract                                                           DALLAS TX 75225


2.253.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 184                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             JLL
                                                                                            JONES LANG LASALLE AMERICAS
          State the term remaining       05/31/25                                           INC
                                                                                            PRESIDENT AND CEO RETAIL
          List the contract number of ________________________________________________      3344 PEACHTREE RD NE STE 1200
          any government contract                                                           ATLANTA GA 30326




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 51 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2818 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.254.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 204                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           CIII GECMC05-C1 LAKESIDE MALL
          State the term remaining       01/31/20                                          CLO C-III ASSET MANAGEMENT
                                                                                           LLC
          List the contract number of ________________________________________________     ASSET MANAGER
          any government contract                                                          5221 N 0CONNOR BLVD STE 600
                                                                                           IRVING TX 75039


2.255.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 326                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           SRMSPE LLC DBA SANTA ROSA
          State the term remaining       01/31/19                                          MALL
                                                                                           RADIANT PARTNERS LLC
          List the contract number of ________________________________________________     145 WEST 45TH ST 10TH FL
          any government contract                                                          NEW YORK NY 10036


2.256.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 438                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           AMARILLO MALL LLC
          State the term remaining       01/31/20                                          ASSET MANAGER/WESTGATE
                                                                                           MALL
          List the contract number of ________________________________________________     124 JOHNSON FERRY RD NE
          any government contract                                                          ATLANTA GA 30328


2.257.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 472                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           FORT SMITH MALL PARTNERS LP
          State the term remaining       01/31/19                                          GREGORY GREENFIELD AND
                                                                                           ASSOCIATES
          List the contract number of ________________________________________________     ASSET MANAGER/CENTRAL MALL
          any government contract                                                          (FORT SRNITH)
                                                                                           124 JOHNSON FERRY RD
                                                                                           ATLANTA GA 30328


2.258.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 587                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           TRUSTEES OF THE ESTATE OF
          State the term remaining       01/31/23                                          BERNICE
                                                                                           PAUAHI BISHOP, COMMERCIAL
          List the contract number of ________________________________________________     ASSET MANAGER
          any government contract                                                          KAWAIAHAO PLZ 567 SOUTH KING
                                                                                           ST
                                                                                           STE 200
                                                                                           HONOLULU HI 96813




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 52 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2819 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.259.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 701                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           BROADSTONE LAND LLC
          State the term remaining       01/31/23                                          TRI PROPERTY MANAGEMENT
                                                                                           2209 PLZ DR STE 100
          List the contract number of ________________________________________________     ROCKLIN CA 95765
          any government contract


2.260.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 701                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           BROADSTONE LAND LLC
          State the term remaining       01/31/23                                          340 PALLADIO PKWY STE 521
                                                                                           FOLSOM CA 95630
          List the contract number of ________________________________________________
          any government contract


2.261.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 742                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           QKC MANAGEMENT LLC
          State the term remaining       01/31/25                                          PACIFIC RETAIL CAPITAL
                                                                                           PARTNERS
          List the contract number of ________________________________________________     GARY KARL
          any government contract                                                          100 N SEPULVEDA BLVD STE 1925
                                                                                           EL SEGUNDO CA 90245


2.262.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 743                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            JLL
                                                                                           WELLS FARGO BANK NA AS
          State the term remaining       01/31/25                                          TRUSTEE CSMS 2008CL
                                                                                           C-ILL ASSET MANAGEMENT LLC
          List the contract number of ________________________________________________     LAURA MCWILIIAMS
          any government contract                                                          5221 N OCONNOR BLVD STE 800
                                                                                           IRVING TX 75039


2.263.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 82                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            KRAVCO
                                                                                           HAMILTON MALL LLC
          State the term remaining       01/31/20                                          KRAVCO CO LLC
                                                                                           LEGAL DEPARTMENT
          List the contract number of ________________________________________________     375 E ELM ST STE 100
          any government contract                                                          CONSHOHOCKEN PA 19428-1973




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 53 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2820 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.264.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 144                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             KRE BROADWAY
                                                                                            KRE BROADWAY OWNER LLC
          State the term remaining       03/31/20                                           MANAGING PRINCIPAL
                                                                                            100 NORTH SEPULVEDA BLVD STE
          List the contract number of ________________________________________________      1925
          any government contract                                                           EL SEGUNDO CA 90245


2.265.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     KALEDO SOFTWARE                                    debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     LECTRA USA INC.
                                                                                            889 FRANKLIN ROAD SE
          State the term remaining       ________________________________________________   MARIETTA GA 30067
          List the contract number of ________________________________________________
          any government contract


2.266.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 108                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             LERNER ENTERPRISES
                                                                                            DULLES TOWN CENTER MALL LLC
          State the term remaining       01/31/20                                           LEMER CORP
                                                                                            LEGAL DEPARTMENT
          List the contract number of ________________________________________________      2000 TOWER OAKS BLVD EIGHTH
          any government contract                                                           FL
                                                                                            ROCKVILLE MD 20852


2.267.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     ORDER FORM - PROFESSIONAL SERVICES FEE             debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     LEVER, INC
                                                                                            155 5TH STREET
          State the term remaining       ________________________________________________   6TH FLOOR
                                                                                            SAN FRANCISCO CA 94103
          List the contract number of ________________________________________________
          any government contract


2.268.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     LOCK & HARDWARE MANAGED SERVICES & INSTAKEY        debtor has an executory contract or
          lease is for                   AGREEMENT                                          unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     LP NETWORK, INC DBA
                                                                                            187 BALLARDVALE ST
          State the term remaining       ________________________________________________   WILMINGTON MA 01887
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 54 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2821 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.269.    Title of contract              MAINTENANCE AGREEMENT                              State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MAINTENANCE AGREEMENTS                             debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     LP SOFTWARE, INC (MULTIPLE
                                                                                            MAINTENANCE SUPPORT
          State the term remaining       ________________________________________________   AGREEMENTS)
                                                                                            7000 W. 111TH ST
          List the contract number of ________________________________________________      SUITE 305
          any government contract                                                           WORTH IL 60482


2.270.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 21                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MACERICH
                                                                                            MACERICH PROPERTY
          State the term remaining       01/31/23                                           MANAGEMENT CO LLC
                                                                                            LEGAL DEPT
          List the contract number of ________________________________________________      AGENT FOR MACERICH
          any government contract                                                           LAKEWOOD LP
                                                                                            401 WILSHIRE BLVD STE 700
                                                                                            SANTA MONICA CA 90401


2.271.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 30                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MACERICH
                                                                                            ARROWHEAD TOWNE CENTER LLC
          State the term remaining       04/30/25                                           CENTER MANAGER
                                                                                            7700 W ARROWHEAD TOWNE CTR
          List the contract number of ________________________________________________      GLENDALE AZ 85308
          any government contract


2.272.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 65                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MACERICH
                                                                                            MACERICH FRESNO LIMITED
          State the term remaining       01/31/24                                           PARTNERSHIP
                                                                                            CENTER MANAGER
          List the contract number of ________________________________________________      4841 NORTH FIRST ST
          any government contract                                                           FRESNO CA 93726


2.273.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 123                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MACERICH
                                                                                            FLATIRON PROPERTY HOLDING
          State the term remaining       07/31/24                                           LLC
                                                                                            CENTER MANAGER
          List the contract number of ________________________________________________      MANAGEMENT OFFICE
          any government contract                                                           ONE WEST FLATIRON CIR STE
                                                                                            1083
                                                                                            BROOMFIELD CO 80021




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 55 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2822 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.274.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 157                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           MACERICH DEPTFORD LLC
          State the term remaining       04/30/25                                          CENTER MANAGER
                                                                                           1750 DEPTFORD CTR RD
          List the contract number of ________________________________________________     DEPTFORD NJ 08096
          any government contract


2.275.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 221                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           EAST MESA ASSOCIATES
          State the term remaining       01/31/22                                          6555 EAST SOUTHEM AVE
                                                                                           MESA AR 85206
          List the contract number of ________________________________________________
          any government contract


2.276.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 304                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           MACERICH BUENAVENTURA
          State the term remaining       01/31/22                                          LIMITED PARTNERSHIP
                                                                                           401 WILSHIRE BLVD STE 700
          List the contract number of ________________________________________________     PO BOX 2172
          any government contract                                                          SANTA MONICA CA 90407


2.277.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 310                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           MACERICH STONEWOOD LLC
          State the term remaining       07/31/24                                          CENTER MANAGER
                                                                                           251 STONEWOOD ST
          List the contract number of ________________________________________________     MANAGEMENT OFFICE
          any government contract                                                          DOWNEY CA 90241-3934


2.278.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 347                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           MACERICH VALLEY RIVER CENTER
          State the term remaining       07/31/23                                          LLC
                                                                                           CENTER MANAGER
          List the contract number of ________________________________________________     293 VLY RIVER CTR
          any government contract                                                          EUGENE OR 97401




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 56 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2823 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.279.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 369                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           SDG MACERICH PROPERTIES LP
          State the term remaining       01/31/21                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     NATIONAL CITY CTR 115 W
          any government contract                                                          WASHINGTON
                                                                                           INDIANAPOLIS IN 46204


2.280.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 410                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           QUEENS CENTER SPE LLC
          State the term remaining       05/31/23                                          CENTER MANAGER
                                                                                           MANAGEMENT OFFICE 90-15
          List the contract number of ________________________________________________     QUEENS BLVD
          any government contract                                                          ELMHURST NY 11373


2.281.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 440                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           FREEMALL ASSOCIATES LLC
          State the term remaining       01/31/23                                          CENTER MANAGER
                                                                                           STE 1000 3710 RTE 9
          List the contract number of ________________________________________________     FREEHOLD NJ 07728
          any government contract


2.282.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 444                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           VALLEY STREAM GREEN ACRES
          State the term remaining       01/31/22                                          LLC
                                                                                           MANAGEMENT OFFICE, PROPERTY
          List the contract number of ________________________________________________     MANAGER
          any government contract                                                          2034 GREEN ACRES MALL
                                                                                           VALLEY STREAM NY 11581


2.283.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 467                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           WESTCOR SANTAN VILLAGE LLC
          State the term remaining       01/31/22                                          CENTER MANAGER
                                                                                           11411 NORTH TATUM BLVD
          List the contract number of ________________________________________________     PHOENIX AZ 85028
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 57 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2824 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.284.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 503                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           BROOKLY KINGS PLAZA LLC
          State the term remaining       01/31/23                                          EXECUTIVE VICE PRESIDENT
                                                                                           RETAIL REAL ESTATE
          List the contract number of ________________________________________________     210 RTE 4 EAST
          any government contract                                                          PARAMUS NJ 07652


2.285.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 542                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           TYSONS CORNER HOLDINGS LLC
          State the term remaining       01/31/25                                          CENTER MANAGER
                                                                                           1961 CHAIN BRIDGE RD STE 105
          List the contract number of ________________________________________________     MCLEAN VA 22102-4501
          any government contract


2.286.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 554                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           DANBURY MALL LLC
          State the term remaining       01/31/21                                          CENTER MANAGER
                                                                                           7 BACKUS AVE
          List the contract number of ________________________________________________     DANBURY CT 06810
          any government contract


2.287.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 570                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           FASHIONS OUTLETS OF NIAGARA
          State the term remaining       01/31/21                                          LLC
                                                                                           THE TALISMAN COMPANIES
          List the contract number of ________________________________________________     JAMES SCHLESINGER PRESIDENT
          any government contract                                                          4000 PONCE DE LEON BLVD - STE
                                                                                           420
                                                                                           CORAL GABLES FL 33146


2.288.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 726                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           WMAP LLC
          State the term remaining       06/30/23                                          CENTER MANAGER
                                                                                           7119 80TH ST BLDG 8
          List the contract number of ________________________________________________     GLENDALE NY 11385
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 58 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2825 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.289.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 755                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           WILTON MALL LLC
          State the term remaining       07/31/24                                          CENTER MANAGER
                                                                                           3065 RTE 50
          List the contract number of ________________________________________________     SARATOGA SPRINGS NY 12866
          any government contract


2.290.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 766                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           MACERICH SOUTH PLAINS LP
          State the term remaining       01/31/25                                          CENTER MANAGER
                                                                                           6002 SLIDE RD
          List the contract number of ________________________________________________     LUBBOCK, TX 79414
          any government contract


2.291.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 767                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           MACERICH VICTOR VALLEY LLC
          State the term remaining       01/31/25                                          CENTER MANAGER
                                                                                           14400 BEAR VLY RD STE 735
          List the contract number of ________________________________________________     VLCTORVILLE, TX 92392
          any government contract


2.292.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 783                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           MACERICH WNTAGE FAIRE
          State the term remaining       06/30/25                                          LIMITED PARTNERSHIP
                                                                                           CENTER MANAGER
          List the contract number of ________________________________________________     3401 DALE RD STE 483
          any government contract                                                          MODESTO CA 95356


2.293.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 784                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            MACERICH
                                                                                           ARDEN FAIR ASSOCIATES
          State the term remaining       01/31/26                                          REAL ESTATE
                                                                                           LP 1689 ARDEN WAY STE 1167
          List the contract number of ________________________________________________     SACRAMENTO CA 95815
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 59 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2826 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.294.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 817                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MACERICH
                                                                                            WM INLAND INVESTORS IV LP
          State the term remaining       07/31/21                                           CENTER MANAGER
                                                                                            500 INLAND CTR DR
          List the contract number of ________________________________________________      SAN BERNARDINO CA 92408
          any government contract


2.295.    Title of contract              ASSIGNMENT & ASSUMPTION AGREEMENT                  State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     PEEK PLATFORM - ASSIGNMENT AND ASSUMPTION          debtor has an executory contract or
          lease is for                   AGREEMENT MAGENTO ENTERPRISE EDITION END           unexpired lease
                                         USER LICENSE AGREEMENT
                                                                                            MAGENTO, INC.
          Nature of debtor's interest    CONTRACT PARTY                                     10451 JEFFERSON BLVD.
                                                                                            CULVER CITY CA 90232
          State the term remaining       ________________________________________________

          List the contract number of ________________________________________________
          any government contract


2.296.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 517                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MALL AT SUMMIT LLC
                                                                                            MS MANAGEMENT ASSOCIATES
          State the term remaining       01/31/19                                           INC
                                                                                            225 WEST WASHINGTON ST
          List the contract number of ________________________________________________      INDIANAPOLIS IN 46204-3438
          any government contract


2.297.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 429                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MALL PROPERTIES INC
                                                                                            MONARCHS SUB LLC
          State the term remaining       01/31/25                                           8640 N DIXON AVE
                                                                                            KANSAS CITY MO 64153
          List the contract number of ________________________________________________
          any government contract


2.298.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 490                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MALL PROPERTIES INC
                                                                                            BAYSHORE TOWN CENTER LLC
          State the term remaining       01/31/20                                           STEINER PROPERTIES LLC
                                                                                            LEASE ADMINISTRATION
          List the contract number of ________________________________________________      4200 REGENT ST STE 210
          any government contract                                                           COLUMBUS OH 43219




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 60 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2827 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.299.    Title of contract              SOFTWARE AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     PKMS SOFTWARE LICENSE, SERVICES, SUPPORT AND       debtor has an executory contract or
          lease is for                   ENHANCEMENTS AGREEMENT                             unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     MANHATTAN ASSOCIATES INC
                                                                                            PO BOX 405696
          State the term remaining       ________________________________________________   ATLANTA GA 30384-5696
          List the contract number of ________________________________________________
          any government contract


2.300.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 202                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MASON ASSET MANAGEMENT
                                                                                            DESOTO OWNERS LLC
          State the term remaining       01/31/19                                           MADISON PROPERTIES USA LLC
                                                                                            3611 14TH AVE STE 552
          List the contract number of ________________________________________________      BROOKLYN NY 11218
          any government contract


2.301.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SERVICE CONTRACT NO. 18140                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     MATSON NAVIGATION COMPANY,
                                                                                            INC.
          State the term remaining       ________________________________________________   555 12TH STREET
                                                                                            OAKLAND CA 94607
          List the contract number of ________________________________________________
          any government contract


2.302.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MAINTENANCE & SUPPORT AGREEMENT FOR ODC            debtor has an executory contract or
          lease is for                   OPERATIONS                                         unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     MATTHEWS INTERNATIONAL
                                                                                            CORPORATION (D/B/A LIGHTNING
          State the term remaining       ________________________________________________   PICK)
                                                                                            W229 N2510 DUPLAINVILLE ROAD
          List the contract number of ________________________________________________      WAUKESHA WI 53186
          any government contract


2.303.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 594                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             MCKINLEY
                                                                                            ALGONQUIN COMMONS
          State the term remaining       04/30/24                                           MIDAMERICA ASSET
                                                                                            MANAGEMENT INC
          List the contract number of ________________________________________________      JEAN M ZOERNER
          any government contract                                                           ONE PARKVIEW PLZ 9TH FL
                                                                                            OAKBROOK TERRACE IL 60181




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 61 of 131
                       Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2828 of 2900

Debtor    Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.304.     Title of contract              INSURANCE AGREEMENT                                State the name and mailing address
                                                                                             for all other parties with whom the
           State what the contract or     MCS GLOBAL BENEFITS INSURANCE                      debtor has an executory contract or
           lease is for                                                                      unexpired lease
           Nature of debtor's interest    CONTRACT PARTY                                     MCS LIFE INSURANCE CO
                                                                                             EMPLOYER SERVICE UNIT
           State the term remaining       ________________________________________________   PO BOX 9023547
                                                                                             SAN JUAN PR 00902-3547
           List the contract number of ________________________________________________
           any government contract


2.305.     Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                             for all other parties with whom the
           State what the contract or     RETAIL LEASE - STORE # 284                         debtor has an executory contract or
           lease is for                                                                      unexpired lease
           Nature of debtor's interest    LESSEE                                             METRO NATIONAL
                                                                                             MEMORIAL CITY MALL LP
           State the term remaining       01/31/24                                           METRO NATIONAL CORP
                                                                                             LEGAL DEPARTMENT
           List the contract number of ________________________________________________      PO BOX 19509
           any government contract                                                           HOUSTON TX 77224-9509


2.306.     Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                             for all other parties with whom the
           State what the contract or     RETAIL LEASE - STORE # 738                         debtor has an executory contract or
           lease is for                                                                      unexpired lease
           Nature of debtor's interest    LESSEE                                             MGHERRING GROUP
                                                                                             GTM DEVELOPMENT LTD
           State the term remaining       01/31/24                                           CENCOR REALTY SVC
                                                                                             ASSET MANAGER
           List the contract number of ________________________________________________      3102 MAPLE AVE STE 500
           any government contract                                                           DALLAS TX 75201


2.307.1    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                             for all other parties with whom the
           State what the contract or     RETAIL LEASE - STORE # 146                         debtor has an executory contract or
           lease is for                                                                      unexpired lease
           Nature of debtor's interest    LESSEE                                             MID-AMERICA
                                                                                             SFI FORD CITY - CHICAGO LLC
           State the term remaining       04/30/22                                           ISTAR INC
                                                                                             1114 AVE OF THE AMERICAS 39TH
           List the contract number of ________________________________________________      FL
           any government contract                                                           NEW YORK NY 10036


2.308.     Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                             for all other parties with whom the
           State what the contract or     RETAIL LEASE - STORE # 329                         debtor has an executory contract or
           lease is for                                                                      unexpired lease
           Nature of debtor's interest    LESSEE                                             MOONBEAM CAPITAL
                                                                                             COLUMBIA PLACE MALL SC LLC
           State the term remaining       01/31/19                                           MOONBEAM LEASING AND
                                                                                             MANAGEMENT LLC
           List the contract number of ________________________________________________      UPDATED BASED ON THE
           any government contract                                                           AMENDMENT
                                                                                             9103 ALTA DR STE 204
                                                                                             LAS VEGAS NV 89145




Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                       Page 62 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2829 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.309.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MASTER SERVICE AGREEMENT FOR MILEAGE               debtor has an executory contract or
          lease is for                   REIMBURSEMENT TRACKER                              unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     MOTUS, LLC
                                                                                            60 SOUTH STREET
          State the term remaining       ________________________________________________   BOSTON MA 02111
          List the contract number of ________________________________________________
          any government contract


2.310.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MULESOFT CLOUD SERVICES ORDER FORM                 debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     MULESOFT INC
                                                                                            77 GEARY STREET
          State the term remaining       ________________________________________________   SUITE 400
                                                                                            SAN FRANCISCO CA 94108
          List the contract number of ________________________________________________
          any government contract


2.311.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     IN STORE MUSIC- SERVICE AGREEMENT AMENDMENT        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     MUZAK LLC
                                                                                            2100 S IH-35 FRONTAGE RD
          State the term remaining       ________________________________________________   AUSTIN TX 78704
          List the contract number of ________________________________________________
          any government contract


2.312.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 189                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             NAMDAR REALTY GROUP
                                                                                            LAKES MALL REALTY LLC NAMDAR
          State the term remaining       01/31/20                                           REALTY GROUP
                                                                                            150 GREAT NECK RD STE 304
          List the contract number of ________________________________________________      GREAT NECK NY 11021
          any government contract


2.313.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 209                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             NAMDAR REALTY GROUP
                                                                                            CHAPEL HILLS REALTY LLC
          State the term remaining       05/31/22                                           NAMDAR REALTY GROUP
                                                                                            150 GREAT NECK RD STE 304
          List the contract number of ________________________________________________      GREAT NECK NY 11021
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 63 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2830 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.314.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 282                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NAMDAR REALTY GROUP
                                                                                           FASHION SQUARE MALL REALTY
          State the term remaining       05/31/26                                          LLC
                                                                                           NAMDAR REALTY GROUP LLC
          List the contract number of ________________________________________________     150 GREAT NECK RD STE 304
          any government contract                                                          GREAT NECK NY 11021


2.315.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 316                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NAMDAR REALTY GROUP
                                                                                           LOGAN VALLEY REALTY LLC
          State the term remaining       01/31/26                                          NAMCO REALTY LLC
                                                                                           150 GREAT NECK RD STE 304
          List the contract number of ________________________________________________     GREAT NECK NY 11021
          any government contract


2.316.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 336                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NAMDAR REALTY GROUP
                                                                                           4201 NORTH SHILOH DRIVE
          State the term remaining       05/31/22                                          HOLDINGS LLC
                                                                                           CWCAPITAL ASSET MANAGEMENT
          List the contract number of ________________________________________________     LLC
          any government contract                                                          7501 WISCONSIN AVE STE 500
                                                                                           WEST
                                                                                           BETHESDA MD 20814


2.317.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 346                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NAMDAR REALTY GROUP
                                                                                           PITT REALTY LLC
          State the term remaining       01/31/20                                          NAMDAR REALTY GROUP LLC
                                                                                           150 GREAT NECK RD STE 304
          List the contract number of ________________________________________________     GREAT NECK NY 11021
          any government contract


2.318.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 536                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NAMDAR REALTY GROUP
                                                                                           GULF VIEW REALTY LLC
          State the term remaining       05/31/19                                          NAMDAR REALTY GROUP LLC
                                                                                           150 GREAT NECK RD
          List the contract number of ________________________________________________     GREAT NECK NY 11021
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 64 of 131
                      Case 19-10210-LSS              Doc 456     Filed 04/03/19     Page 2831 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.319.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     NARVAR SERVICE ORDER POST PURCHASE TRACKING        debtor has an executory contract or
          lease is for                   PLATFORM FEES                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     NARVAR, INC
                                                                                            50 BEAL STREET
          State the term remaining       ________________________________________________   7TH FLOOR
                                                                                            SAN FRANCISCO CA 94105
          List the contract number of ________________________________________________
          any government contract


2.320.    Title of contract              SPECIAL RISK INSURANCE POLICY NO. 88‐085‐312       State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     INSURANCE                                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    INSURED                                            NATIONAL UNION FIRE INS. CO. OF
                                                                                            PITTSBURGH, PA
          State the term remaining       2/1/2021                                           175 WATER ST
                                                                                            18TH FL
          List the contract number of ________________________________________________      NEW YORK NY 10038
          any government contract


2.321.    Title of contract              UMBRELLA LIABILITY INSURANCE POLICY NO.            State the name and mailing address
                                         NY19UMR701624IV                                    for all other parties with whom the
                                                                                            debtor has an executory contract or
          State what the contract or     INSURANCE                                          unexpired lease
          lease is for
                                                                                            NAVIGATOR’S INSURANCE CO.
          Nature of debtor's interest    INSURED                                            19200 VON KARMAN AVE
                                                                                            STE 250
          State the term remaining       1/31/2020                                          IRVINE CA 92612
          List the contract number of ________________________________________________
          any government contract


2.322.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 576                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             NEW ENGLAND DEVELOPMENT
                                                                                            CAMBRIDGESIDE GALLERIA
          State the term remaining       01/31/21                                           ASSOCIATES TRUST
                                                                                            UBS REALTY INVESTORS LLC
          List the contract number of ________________________________________________      242 TRUMBULL ST
          any government contract                                                           HARTFORD CT 06103-1212


2.323.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 707                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             NEW ENGLAND DEVELOPMENT
                                                                                            PALM BEACH OUTLETS I LLC
          State the term remaining       01/31/25                                           75 PK PLZ THIRD FL
                                                                                            BOSTON MA 02116
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 65 of 131
                      Case 19-10210-LSS              Doc 456     Filed 04/03/19     Page 2832 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.324.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 821                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NEWQUEST
                                                                                           AL 95 CREEKSIDE TC PHASE 2 LP
          State the term remaining       01/31/26                                          NEWQUEST PROPERTIES
                                                                                           8827 W SAM HOUSTON PKWY N
          List the contract number of ________________________________________________     STE 200
          any government contract                                                          HOUSTON TX 77040


2.325.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 420                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NIAGARA FALLS BOULEVARD, LLC
                                                                                           ZAMIAS SVC INC
          State the term remaining       01/31/19                                          GCCFC2007GG9 NIAGARA FALLS
                                                                                           BLVD
          List the contract number of ________________________________________________     LNR PARTNERS LLC
          any government contract                                                          1601 WASHINGTON AVE STE 700
                                                                                           MIAMI BEACH FL 33139


2.326.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 569                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NORTH PARK
                                                                                           NORTHPARK PARTNERS LP
          State the term remaining       01/31/20                                          8080 NORTH CENTRAL EXPWY STE
                                                                                           1100
          List the contract number of ________________________________________________     DALLAS TX 75206-1807
          any government contract


2.327.    Title of contract              DIC INSURANCE POLICY NO. NSM39117                 State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     INSURANCE                                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    INSURED                                           NORTH SHORE MANAGEMENT
                                                                                           400 SKOKIE BLVD
          State the term remaining       1/31/2020                                         STE 875
                                                                                           NORTHBROOK IL 60062
          List the contract number of ________________________________________________
          any government contract


2.328.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 425                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            NORTHGATE ASSOCIATES
                                                                                           NW NORTHGATE MALL LLC
          State the term remaining       04/30/19                                          MICHAEL O'SHAUGHNESSY
                                                                                           1819 WAZEE STREE
          List the contract number of ________________________________________________     DENVER CO 80202
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 66 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2833 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.329.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 7005                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             NORTHPARK PARTNERS
                                                                                            NORTH PARK PARTNERS LP
          State the term remaining       ________________________________________________   8080 NORTH CENTRAL EXPRESS
                                                                                            WAY STE 1100
          List the contract number of ________________________________________________      DALLAS TX 75206-1807
          any government contract


2.330.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     NUTANIX STATEMENT OF WORK                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     NTH GENERATION COMPUTING,
                                                                                            INC
          State the term remaining       ________________________________________________   17055 CAMINO SAN BERNARDO
                                                                                            SAN DIEGO CA 92127
          List the contract number of ________________________________________________
          any government contract


2.331.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MASTER AGREEMENT FOR ALARM EQUIPMENT &             debtor has an executory contract or
          lease is for                   MONITORING                                         unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     NUTECH FIRE & SECURITY INC
                                                                                            150 CANDACE DRIVE
          State the term remaining       ________________________________________________   MAITLAND FL 32751
          List the contract number of ________________________________________________
          any government contract


2.332.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CARRIER - ONE OCEAN NETWORK EXPRESS                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     OCEAN NETWORK EXPRESS PTE.
                                                                                            LTD.
          State the term remaining       ________________________________________________   OCEAN NETWORK
                                                                                            EXPRESS(NORTH AMERICA)
          List the contract number of ________________________________________________      8730 STONE POINT PARKWY
          any government contract                                                           RICHMOND VA 23235


2.333.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RESPONSYS APPLICATION COUPON CODE SERVICES         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     ORACLE AMERICA, INC. (COUPON
                                                                                            CODE)
          State the term remaining       ________________________________________________   500 ORACLE PKWY
                                                                                            REDWOOD CITY CA 94065
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 67 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2834 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.334.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RESPONSYS EMAIL SERVICES - T&M SERVICES            debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     ORACLE AMERICA, INC.
                                                                                            (RESPONSYS EMAIL SERVICES)
          State the term remaining       ________________________________________________   500 ORACLE PKWY
                                                                                            REDWOOD CITY CA 94065
          List the contract number of ________________________________________________
          any government contract


2.335.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RESPONSYS EMAIL - SUBSCRIPTION                     debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     ORACLE AMERICA, INC.
                                                                                            (RESPONSYS EMAIL
          State the term remaining       ________________________________________________   SUBSCRIPTION)
                                                                                            500 ORACLE PKWY
          List the contract number of ________________________________________________      REDWOOD CITY CA 94065
          any government contract


2.336.    Title of contract              SERVICES AGREEMENT                            State the name and mailing address
                                                                                       for all other parties with whom the
          State what the contract or     ORACLE RESPONSYS SEND TIME OPTIMIZATION CLOUD debtor has an executory contract or
          lease is for                   SERVICE                                       unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     ORACLE AMERICA, INC. (SEND
                                                                                            TIME OPTIMIZATION)
          State the term remaining       ________________________________________________   500 ORACLE PKWY
                                                                                            REDWOOD CITY CA 94065
          List the contract number of ________________________________________________
          any government contract


2.337.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 47                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             OVIEDO MALL HOLDING LLC
                                                                                            MALL MANAGEMENT OFFICE
          State the term remaining       03/31/19                                           1700 OVIEDO MALL BLVD
                                                                                            OVIEDO FL 32765
          List the contract number of ________________________________________________
          any government contract


2.338.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 220                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PACIFIC RETAIL CAPITAL
                                                                                            PARTNERS
          State the term remaining       01/31/22                                           YTC MALL OWNER LLC
                                                                                            MANAGING PRINCIPAL
          List the contract number of ________________________________________________      100 NORTH SEPULVEDA BLVD STE
          any government contract                                                           1925
                                                                                            EL SEGUNDO CA 90245




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 68 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2835 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.339.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 371                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PACIFIC RETAIL CAPITAL
                                                                                            PARTNERS
          State the term remaining       01/31/20                                           GS P PACIFIC ER LLC
                                                                                            MANAGING PRINCIPAL
          List the contract number of ________________________________________________      100 NORTH SEPULVEDA BLVD STE
          any government contract                                                           1925
                                                                                            EL SEGUNDO CA 90245


2.340.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 377                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PACIFIC RETAIL CAPITAL
                                                                                            PARTNERS
          State the term remaining       04/30/20                                           NORTHPARK REALTY LP
                                                                                            MANAGING PRINCIPAL
          List the contract number of ________________________________________________      100 NORTH SEPULVEDA BLVD STE
          any government contract                                                           1925
                                                                                            EL SEGUNDO CA 90245


2.341.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 382                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PACIFIC RETAIL CAPITAL
                                                                                            PARTNERS
          State the term remaining       01/31/19                                           WP GALLERIA REALTY LP
                                                                                            MANAGING PRINCIPAL
          List the contract number of ________________________________________________      100 N PACIFIC COAST HIGHWAY
          any government contract                                                           STE 1925
                                                                                            EL SEGUNDO CA 90245


2.342.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     PAYMENT METHOD - MERCHANT AGREEMENT                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     PAYPAL, INC.
                                                                                            EBAY PARK NORTH
          State the term remaining       ________________________________________________   2211 NORTH FIRST STREET
                                                                                            SAN JOSE CA 95131
          List the contract number of ________________________________________________
          any government contract


2.343.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 115                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PENN ROSS JOINT VENTURE
                                                                                            MS MANAGEMENT ASSOCIATES
          State the term remaining       01/31/19                                           INC
                                                                                            225 WEST WASHINGTON ST
          List the contract number of ________________________________________________      INDIANAPOLIS IN 46204-3438
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 69 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2836 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.344.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RENEWAL FOR STANDARD SUPPORT                       debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     PERFORCE SOFTWARE INC.
                                                                                            PO BOX 742263
          State the term remaining       ________________________________________________   LOS ANGELES
                                                                                            CA 90074-2263
          List the contract number of ________________________________________________
          any government contract


2.345.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 7001                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PESHO MONTANA ASSOCIATES
                                                                                            PESHO MONTANA ASSOCIATES
          State the term remaining       ________________________________________________   LLC
                                                                                            4636 VAN NUYS BLVD
          List the contract number of ________________________________________________      SHERMAN OAKS, CA 91403-2964
          any government contract


2.346.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SOCIAL MEDIA USER GENERATED CONTENT                debtor has an executory contract or
          lease is for                   AGGREGATOR                                         unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     PIXLEE INC
                                                                                            625 MARKET STREET
          State the term remaining       ________________________________________________   9TH FLOOR
                                                                                            SAN FRANCISCO CA 94105
          List the contract number of ________________________________________________
          any government contract


2.347.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 355                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PLAZA ASSOCIATES
                                                                                            CVM HOLDINGS LLC
          State the term remaining       01/31/26                                           4325 GLENWOOD AVE
                                                                                            RALEIGH NC 27612
          List the contract number of ________________________________________________
          any government contract


2.348.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 118                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PLAZA LAS AMERICAS INC
                                                                                            PO BOX 363268
          State the term remaining       06/30/19                                           SAN JUAN PR 00936-3268
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 70 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2837 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.349.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SUBSCRIPTION PLAN                                  debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     PLURALSIGHT, LLC
                                                                                            182 NORTH UNION AVE
          State the term remaining       ________________________________________________   STE 200
                                                                                            FARMINGTON UT 84025
          List the contract number of ________________________________________________
          any government contract


2.350.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 368                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             POAG AND MCEWEN
                                                                                            POAG LIFESTYLE CENTERS LLC
          State the term remaining       01/31/23                                           LEGAL DEPT
                                                                                            2650 THOUSAND OAKS BLVD STE
          List the contract number of ________________________________________________      2200
          any government contract                                                           MEMPHIS TN 38118


2.351.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 391                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             POAG SHOPPING CENTERS
                                                                                            CP VENTURE FIVE - AV LLC
          State the term remaining       01/31/20                                           POAG SHOPPING CENTERS LLC
                                                                                            LEGAL DEPARTMENT
          List the contract number of ________________________________________________      2650 THOUSAND OAKS BLVD STE
          any government contract                                                           2200
                                                                                            MEMPHIS TN 38118


2.352.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 396                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             POAG SHOPPING CENTERS
                                                                                            METROPOLIS LIFESTYLE CENTER
          State the term remaining       01/31/20                                           LLC
                                                                                            LEGAL DEPT
          List the contract number of ________________________________________________      2650 THOUSAND OAKS BLVD STE
          any government contract                                                           2200
                                                                                            MEMPHIS TN 38118


2.353.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     GOOGLE MY BUSINESS PAGE & LOCAL SEARCH             debtor has an executory contract or
          lease is for                   LISTINGS MANAGEMENT (CR & PEEK)                    unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     POSITIONTECHNOLOGIES, INC.
                                                                                            2000 S BATAVIA AVE
          State the term remaining       ________________________________________________   SUITE 350
                                                                                            GENEVA IL 60134
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 71 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2838 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.354.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MOBILE PLATFORM CUSTOMER AGREEMENT                 debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     PREDICTSPRING, INC.
                                                                                            447 RINCONADA COURT
          State the term remaining       ________________________________________________   LOS ALTOS CA 94022
          List the contract number of ________________________________________________
          any government contract


2.355.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 253                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PREIT
                                                                                            PROPERTY ACCOUNTANT
          State the term remaining       01/31/19                                           200 SOUTH BROAD ST
                                                                                            THE BELLEVUE THIRD FL
          List the contract number of ________________________________________________      PHILADELPHIA PA 19102
          any government contract


2.356.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 297                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PREIT
                                                                                            PR MAGNOLIA LLC
          State the term remaining       07/31/21                                           DIRECTOR LEGAL
                                                                                            200 SOUTH BROAD ST
          List the contract number of ________________________________________________      THE BELLEVUE THIRD FL
          any government contract                                                           PHILADELPHIA PA 19102


2.357.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 306                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PREIT
                                                                                            CHERRY HILL CENTER LLC
          State the term remaining       01/31/19                                           GENERAL COUNSEL
                                                                                            200 SOUTH BROAD ST
          List the contract number of ________________________________________________      THE BELLEVUE THIRD FL
          any government contract                                                           PHILADELPHIA PA 19102


2.358.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 312                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PREIT
                                                                                            PR WOODLAND LIMITED
          State the term remaining       05/31/23                                           PARTNERSHIP
                                                                                            PREIT SVC LLC
          List the contract number of ________________________________________________      200 SOUTH BROAD ST
          any government contract                                                           THE BELLEVUE THIRD FL
                                                                                            PHILADELPHIA PA 19102




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 72 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2839 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.359.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 374                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           EXTON SQUARE PROPERTY LLC
          State the term remaining       01/31/20                                          PREIT SVC LLC
                                                                                           200 SOUTH BROAD ST
          List the contract number of ________________________________________________     THE BELLEVUE THIRD FL
          any government contract                                                          PHILADELPHIA PA 19102


2.360.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 431                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           PR FINANCING LIMITED
          State the term remaining       06/30/19                                          PARTNERSHIP
                                                                                           PREIT SVC LLC
          List the contract number of ________________________________________________     200 SOUTH BROAD ST
          any government contract                                                          THE BELLEVUE THIRD FL
                                                                                           PHILADELPHIA PA 19102


2.361.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 435                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           PR PATRICK HENRY LLC
          State the term remaining       06/30/26                                          PREIT SVC LLC
                                                                                           200 SOUTH BROAD ST
          List the contract number of ________________________________________________     THE BELLEVUE THIRD FL
          any government contract                                                          PHILADELPHIA PA 19102


2.362.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 479                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           PR VALLEY LIMITED PARTNERSHIP
          State the term remaining       03/31/20                                          PREIT SVC LLC
                                                                                           200 SOUTH BROAD ST
          List the contract number of ________________________________________________     THE BELLEVUE THIRD FL
          any government contract                                                          PHILADELPHIA PA 19102


2.363.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 483                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           PR FINANCING LIMITED
          State the term remaining       04/30/20                                          PARTNERSHIP
                                                                                           PREIT SVC LLC
          List the contract number of ________________________________________________     200 SOUTH BROAD ST
          any government contract                                                          THE BELLEVUE THIRD FL
                                                                                           PHILADELPHIA PA 19102




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 73 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2840 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.364.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 732                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           PR NORTH DARTMOUTH LLC
          State the term remaining       01/31/24                                          PREIT SVC LLC
                                                                                           200 SOUTH BROAD ST
          List the contract number of ________________________________________________     THE BELLEVUE THIRD FL
          any government contract                                                          PHILADELPHIA PA 19102


2.365.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 733                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           MOORESTOWN MALL LLC
          State the term remaining       01/31/24                                          PREIT SVC LLC
                                                                                           200 SOUTH BROAD ST
          List the contract number of ________________________________________________     THE BELLEVUE THIRD FL
          any government contract                                                          PHILADELPHIA PA 19102


2.366.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 764                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           PR SPRINGFIELD TOWN CENTER
          State the term remaining       01/31/25                                          LLC
                                                                                           PREIT SVC LLC
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          200 SOUTH BROAD ST 3RD FL
                                                                                           PHILADELPHIA PA 19102


2.367.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 790                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           WG PARK LP
          State the term remaining       04/30/25                                          PREIT SVC LLC
                                                                                           200 SOUTH BROAD ST
          List the contract number of ________________________________________________     THE BELLEVUE THIRD FL
          any government contract                                                          PHILADELPHIA PA 19102


2.368.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 841                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PREIT
                                                                                           PR JACKSONVILLE LIMITED
          State the term remaining       06/30/21                                          PARTNERSHIP
                                                                                           PREIT SVC LLC
          List the contract number of ________________________________________________     200 SOUTH BROAD ST
          any government contract                                                          THE BELLEVUE THIRD FL
                                                                                           PHILADELPHIA PA 19102




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 74 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2841 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.369.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 250                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PREIT / KRAVCO
                                                                                            PREIT SVC LLC
          State the term remaining       01/31/22                                           PROPERTY ACCOUNTANT
                                                                                            200 SOUTH BROAD ST
          List the contract number of ________________________________________________      THE BELLEVUE THIRD FL
          any government contract                                                           PHILADELPHIA PA 19102


2.370.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     3PL OPERATIONS - ECOMMERCE FULFILLMENT             debtor has an executory contract or
          lease is for                   SERVICES                                           unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     PRIORITY FULFILLMENT
                                                                                            SERVICES, INC.
          State the term remaining       ________________________________________________   505 MILLENNIUM DRIVE
                                                                                            ALLEN TX 75013
          List the contract number of ________________________________________________
          any government contract


2.371.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 75                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PYRAMID
                                                                                            EKLECCO NEWCO LLC
          State the term remaining       01/31/21                                           MANAGEMENT DIVISION
                                                                                            THE CLINTON EXCHANGE FOUR
          List the contract number of ________________________________________________      CLINTON SQUARE
          any government contract                                                           SYRACUSE NY 13202-1078


2.372.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 80                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PYRAMID
                                                                                            PYRAMID WALDEN CO LP
          State the term remaining       12/31/19                                           MANAGEMENT DIVISION
                                                                                            THE CLINTON EXCHANGE FOUR
          List the contract number of ________________________________________________      CLINTON SQUARE
          any government contract                                                           SYRACUSE NY 13202-1078


2.373.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 103                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PYRAMID
                                                                                            HOLYOKE MALL CO
          State the term remaining       01/31/21                                           GENERAL COUNSEL
                                                                                            THE CLINTON EXCHANGE 4
          List the contract number of ________________________________________________      CLINTON SQUARE
          any government contract                                                           SYRACUSE NY 13202




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 75 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2842 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.374.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 104                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PYRAMID
                                                                                           CROSSGATES MALL CO NEWCO
          State the term remaining       01/31/21                                          LLC
                                                                                           MANAGEMENT DIVISION
          List the contract number of ________________________________________________     THE CLINTON EXCHANGE 4
          any government contract                                                          CLINTON SQUARE
                                                                                           SYRACUSE NY 13202


2.375.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 111                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PYRAMID
                                                                                           CAROUSEL CENTER CO LP
          State the term remaining       01/31/21                                          THE CLINTON EXCHANGE 4
                                                                                           CLINTON SQUARE
          List the contract number of ________________________________________________     SYRACUSE NY 13202
          any government contract


2.376.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 443                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PYRAMID
                                                                                           THE CLINTON EXCHANGE
          State the term remaining       01/31/21                                          MANAGEMENT DIVISION
                                                                                           FOUR CLINTON SQUARE
          List the contract number of ________________________________________________     SYRACUSE NY 13202-1078
          any government contract


2.377.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 447                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PYRAMID
                                                                                           THE CLINTON EXCHANGE
          State the term remaining       01/31/21                                          MANAGEMENT DIVISION
                                                                                           FOUR CLINTON SQUARE
          List the contract number of ________________________________________________     SYRACUSE NY 13202-1078
          any government contract


2.378.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 454                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            PYRAMID
                                                                                           PYRAMID MANAGEMENT GROUP
          State the term remaining       01/31/21                                          INC
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     THE CLINTON EXCHANGE 4
          any government contract                                                          CLINTON SQUARE
                                                                                           SYRACUSE NY 13202-1078




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 76 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2843 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.379.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 498                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PYRAMID
                                                                                            JPMG MANASSAS MALL OWNER
          State the term remaining       01/31/21                                           LLC
                                                                                            MANAGEMENT DIVISION
          List the contract number of ________________________________________________      THE CLINTON EXCHANGE FOUR
          any government contract                                                           CLINTON SQUARE
                                                                                            SYRACUSE NY 13202-1078


2.380.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 513                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             PYRAMID
                                                                                            PYRAMID MANAGEMENT GROUP
          State the term remaining       01/31/20                                           INC
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      THE CLINTON EXCHANGE 4
          any government contract                                                           CLINTON SQUARE
                                                                                            SYRACUSE NY 13202-1078


2.381.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     PYRAMID SERVICE PLAN WAREHOUSE CONTROL             debtor has an executory contract or
          lease is for                   SOFTWARE SYSTEM                                    unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     PYRAMID CONTROLS
                                                                                            5546 FAIR LN
          State the term remaining       ________________________________________________   CINCINNATI OH 45227
          List the contract number of ________________________________________________
          any government contract


2.382.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 37                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             QIC GLOBAL REAL ESTATE
                                                                                            BPC HENDERSON LLC
          State the term remaining       12/31/18                                           ASSOCIATE GENERAL COUNSEL
                                                                                            LEASING
          List the contract number of ________________________________________________      600 SUPERIOR AVE EAST STE 1500
          any government contract                                                           CLEVELAND OH 44114


2.383.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 92                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             QIC GLOBAL REAL ESTATE
                                                                                            TEMECULA TOWNE CENTER
          State the term remaining       01/31/22                                           ASSOCIATES LLC
                                                                                            ASSOCIATE GENERAL COUNSEL
          List the contract number of ________________________________________________      LEASING
          any government contract                                                           600 SUPERIOR AVE EAST STE 1500
                                                                                            CLEVELAND OH 44114




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 77 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2844 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.384.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 169                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             QIC GLOBAL REAL ESTATE
                                                                                            ROBINSON MALL ASSOCIATES LLC
          State the term remaining       02/28/22                                           ASSOCIATE GENERAL COUNSEL
                                                                                            LEASING
          List the contract number of ________________________________________________      600 SUPERIOR AVE EAST STE 1500
          any government contract                                                           CLEVELAND OH 44114


2.385.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 365                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             QIC GLOBAL REAL ESTATE
                                                                                            SHOPS AT TANFORAN
          State the term remaining       03/31/20                                           ASSOCIATES LLC
                                                                                            ASSOCIATE GENERAL COUNSEL
          List the contract number of ________________________________________________      LEASING
          any government contract                                                           600 SUPERIOR AVE EAST STE 1500
                                                                                            CLEVELAND OH 44114


2.386.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 407                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             QIC GLOBAL REAL ESTATE
                                                                                            NORTHFIELD STAPLETON
          State the term remaining       12/31/19                                           ASSOCIATES LLC
                                                                                            ASSOCIATE GENERAL COUNSEL
          List the contract number of ________________________________________________      LEASING
          any government contract                                                           600 SUPERIOR AVE EAST STE 1500
                                                                                            CLEVELAND OH 44114


2.387.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 525                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             QIC GLOBAL REAL ESTATE
                                                                                            FC WIREGRASS SPE LLC
          State the term remaining       12/31/19                                           ASSOCIATE GENERAL COUNSEL
                                                                                            LEASING
          List the contract number of ________________________________________________      600 SUPERIOR AVE EASTSUITE
          any government contract                                                           1500
                                                                                            CLEVELAND OH 44114


2.388.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     KACE MANAGED SERVICES                              debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     QUEST TECHNOLOGY
                                                                                            MANAGEMENT
          State the term remaining       ________________________________________________   PO BOX 910
                                                                                            ROSEVILLE CA 95678
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 78 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2845 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.389.    Title of contract              MAINTENANCE AGREEMENT                              State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     ODC OPERATIONS - SCHEDULED MAINTENANCE             debtor has an executory contract or
          lease is for                   AGREEMENT                                          unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     RAYMOND HANDLING SOLUTIONS
                                                                                            INC
          State the term remaining       ________________________________________________   FILE 1700 PASADENA
                                                                                            1801 W OLYMPIC BLVD
          List the contract number of ________________________________________________      PASADENA CA 91199-1700
          any government contract


2.390.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 753                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             RED DEVELOPMENT
                                                                                            RED SUMMIT FAIR LLC
          State the term remaining       05/31/24                                           AND SAHARA PAVILION SOUTH SC
                                                                                            LLC AS TIC
          List the contract number of ________________________________________________      CO RED DEVELOPMENT LLC
          any government contract                                                           ONE EAST WASHINGTON ST STE
                                                                                            300
                                                                                            PHOENIX AZ 85004-2513


2.391.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     EMAIL DELIVERABILITY AND TIER 10 CERTIFICATION     debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     RETURN PATH, INC.
                                                                                            3 PARK AVENUE
          State the term remaining       ________________________________________________   41ST FLOOR
                                                                                            NEW YORK NY 10016
          List the contract number of ________________________________________________
          any government contract


2.392.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     INVENTORY SERVICES AGREEMENT                       debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     RGIS, LLC
                                                                                            2000 E. TAYLOR ROAD
          State the term remaining       ________________________________________________   AUBURN HILLS MI 48326-1711
          List the contract number of ________________________________________________
          any government contract


2.393.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     COMMERCE CLOUD ORDER FORM                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     SALESFORCE.COM, INC. (ECOMM
                                                                                            PLATFORM)
          State the term remaining       ________________________________________________   SALESFORCE TOWER
                                                                                            415 MISSION STREET
          List the contract number of ________________________________________________      3RD FLOOR
          any government contract                                                           SAN FRANCISCO CA 94105




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 79 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2846 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.394.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     DATA & APPLICATIONS - QUEST                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     SHI INTERNATIONAL CORP.
                                                                                            (VARIOUS SOFTWARE
          State the term remaining       ________________________________________________   SUBSCRIPTIONS, SUPPORT AND
                                                                                            MAINTENANCE AGREEMENTS)
          List the contract number of ________________________________________________      PO BOX 952121
          any government contract                                                           DALLAS TX 75395-2121


2.395.    Title of contract              PURCHASE & SERVICE AGREEMENT                       State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     PURCHASE & SERVICE AGREEMENT                       debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     SHOPPERTRAK RCT
                                                                                            CORPORATION
          State the term remaining       ________________________________________________   ATTN: CONTRACT
                                                                                            ADMINISTRATOR
          List the contract number of ________________________________________________      233 SOUTH WACKER
          any government contract                                                           SUITE 4100
                                                                                            CHICAGO IL 60606


2.396.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 15                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON
                                                                                            THE RETAIL PROPERTY TRUST
          State the term remaining       04/30/24                                           MS MANAGEMENT ASSOCIATES
                                                                                            INC
          List the contract number of ________________________________________________      225 W WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IA 46204-3439


2.397.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 34                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON
                                                                                            MONTEBELLO TOWN CENTER
          State the term remaining       01/31/19                                           INVESTORS LLC
                                                                                            SIMON PROPERTY GROUP INC
          List the contract number of ________________________________________________      225 WEST WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204-3438


2.398.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 61                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON
                                                                                            THE RETAIL PROPERTY TRUST
          State the term remaining       07/31/24                                           MS MANAGEMENT ASSOCIATES
                                                                                            INC
          List the contract number of ________________________________________________      225 W WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IA 46204-3439




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 80 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2847 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.399.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 62                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.400.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 66                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.401.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 69                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.402.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 71                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.403.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 74                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       09/30/24                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 81 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2848 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.404.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 87                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.405.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 91                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           JG ELIZABETH II LLC
          State the term remaining       04/30/23                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IA 46204-3438


2.406.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 97                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.407.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 114                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/24                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.408.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 121                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 82 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2849 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.409.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 125                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.410.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 126                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           WOODFIELD MALL LLC
          State the term remaining       05/31/25                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.411.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 131                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.412.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 132                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       09/30/21                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.413.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 135                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT MONTGOMERY LP
          State the term remaining       08/31/23                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 83 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2850 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.414.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 138                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MAYFLOWER EMERALD SQUARE
          State the term remaining       01/31/19                                          LLC
                                                                                           MS MANAGEMENT ASSOCIATES
          List the contract number of ________________________________________________     INC
          any government contract                                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204-3438


2.415.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 140                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.416.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 141                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT SMITH HAVEN LLC
          State the term remaining       01/31/24                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.417.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 150                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MNH MALL LLC
          State the term remaining       01/31/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.418.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 163                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           JACKSONVILLE AVENUES LIMITED
          State the term remaining       01/31/19                                          PARTNERSHIP
                                                                                           MS MANAGEMENT ASSOCIATES
          List the contract number of ________________________________________________     INC
          any government contract                                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204-3438




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 84 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2851 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.419.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 171                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SOUTHRIDGE LIMITED
          State the term remaining       01/31/19                                          PARTNERSHIP
                                                                                           CPO MS MANAGEMENT
          List the contract number of ________________________________________________     ASSOCIATES INC
          any government contract                                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204-3438


2.420.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 172                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP LP
          State the term remaining       01/31/22                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.421.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 172                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP LP
          State the term remaining       01/31/22                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.422.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 181                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.423.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 191                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           PENN SQUARE MALL LIMITED
          State the term remaining       03/31/19                                          PARTNERSHIP
                                                                                           MS MANAGEMENT ASSOCIATES
          List the contract number of ________________________________________________     INC
          any government contract                                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204-3438




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 85 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2852 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.424.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 192                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT WHITE OAKS LLC
          State the term remaining       01/31/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.425.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 194                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           LIVINGSTON MALL VENTURE DO
          State the term remaining       01/31/21                                          MS
                                                                                           MANAGEMENT ASSOCIATES INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.426.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 200                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT INGRAM PARK LLC
          State the term remaining       01/31/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.427.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 201                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           ROCKAWAY CENTER ASSOCIATES
          State the term remaining       01/31/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC.
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.428.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 213                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           CFUS PROPERTIES INC
          State the term remaining       01/31/19                                          ASSET MANAGER
                                                                                           TWO CONCOURSE PKWY STE 260
          List the contract number of ________________________________________________     ATLANTA GA 30328
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 86 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2853 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.429.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 228                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MAYFLOWER SQUARE ONE LLC
          State the term remaining       01/31/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     NATIONAL CITY CTR 115 W
          any government contract                                                          WASHINGTON
                                                                                           INDIANAPOLIS IN 46204


2.430.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 230                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT AUBURN LLC
          State the term remaining       01/31/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.431.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 231                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT AUBURN LLC
          State the term remaining       01/31/25                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.432.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 235                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           GREENWOOD PARK MALL LLC
          State the term remaining       01/31/20                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.433.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 244                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SA GALLERIA IV LP
          State the term remaining       01/31/21                                          MS MANAGEMENT ASSOCIATION
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 87 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2854 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.434.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 268                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON CAPITAL LIMITED
          State the term remaining       01/31/23                                          PARTNERSHIP
                                                                                           225 WEST WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.435.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 275                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           GALLERIA AT WOLFCHASE LLC
          State the term remaining       01/31/21                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204
          List the contract number of ________________________________________________
          any government contract


2.436.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 276                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP LP
          State the term remaining       01/31/21                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.437.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 279                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/24                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.438.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 288                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MEADOWOOD MALL SPE LLC
          State the term remaining       01/31/20                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 88 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2855 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.439.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 305                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP LP
          State the term remaining       01/31/22                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.440.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 305                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP LP
          State the term remaining       01/31/22                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.441.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 309                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           NEWPORT CENTRE LLC
          State the term remaining       02/28/19                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.442.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 321                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.443.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 335                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 89 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2856 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.444.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 344                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       06/30/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.445.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 345                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.446.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 352                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.447.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 366                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP TEXAS
          State the term remaining       01/31/21                                          LP
                                                                                           MS MANAGEMENT ASSOCIATES
          List the contract number of ________________________________________________     INC
          any government contract                                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204-3438


2.448.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 386                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           LEHIGH VALLEY MALL LLC
          State the term remaining       01/31/19                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 90 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2857 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.449.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 388                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           CIRCLE CENTRE MALL LLC
          State the term remaining       01/31/19                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.450.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 451                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.451.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 473                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       07/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.452.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 480                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MAYFLOWER APPLE BLOSSOM LP
          State the term remaining       04/30/19                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.453.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 534                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MIDLAND PARK MALL LP
          State the term remaining       05/31/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 91 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2858 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.454.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 537                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP LP
          State the term remaining       06/30/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.455.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 537                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP LP
          State the term remaining       06/30/19                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.456.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 544                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT TURTLE CROSSING LLC
          State the term remaining       07/31/19                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.457.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 596                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           WOODBUM PREMIUM OUTLETS
          State the term remaining       12/31/22                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204
          List the contract number of ________________________________________________
          any government contract


2.458.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 597                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SAN FRANCISCO PREMIUM
          State the term remaining       01/31/23                                          OUTLETS LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 92 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2859 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.459.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 7011                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON
                                                                                            CPI-PHIPPS LIMITED LIABILITY CO
          State the term remaining       ________________________________________________   MS MANAGEMENT ASSOCIATES
                                                                                            INC
          List the contract number of ________________________________________________      225 WEST WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204-3438


2.460.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 715                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON
                                                                                            TACOMA MALL PARTNERSHIP
          State the term remaining       08/31/23                                           MS MANAGEMENT ASSOCIATES
                                                                                            INC
          List the contract number of ________________________________________________      225 WEST WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204-3438


2.461.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 716                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON
                                                                                            WEST TOWN MALL LLC
          State the term remaining       06/30/23                                           SIMON PROPERTY GROUP
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      225 W WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204


2.462.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 718                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON
                                                                                            PHEASANT LANE REALTY TRUST
          State the term remaining       05/31/23                                           MS MANAGEMENT ASSOCIATES
                                                                                            INC
          List the contract number of ________________________________________________      225 WEST WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204-3438


2.463.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 740                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON
                                                                                            PIER PARK LLC
          State the term remaining       07/30/19                                           SIMON PROPERTY GROUP
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      225 W WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 93 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2860 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.464.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 751                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           HAMILTON TC LLC
          State the term remaining       05/31/24                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.465.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 752                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT SOLOMON POND LLC
          State the term remaining       03/31/26                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.466.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 758                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           ORLAND LP
          State the term remaining       07/31/24                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.467.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 779                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           CHARLOTTE OUTLETS
          State the term remaining       07/31/24                                          SIMON PROPERTY GROUP
                                                                                           LEASE SERVICES
          List the contract number of ________________________________________________     105 EISENHOWERRKWAY 1ST FL
          any government contract                                                          ROSELAND NJ 07068


2.468.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 795                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       08/31/25                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 94 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2861 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.469.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 801                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       07/31/25                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.470.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 811                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           DEL AMO FASHION CENTER
          State the term remaining       03/31/26                                          OPERATING CO LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.471.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 844                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON
                                                                                           MALL AT BRIARWOOD LLC
          State the term remaining       01/31/22                                          MS MANAGEMENT ASSOCIATES
                                                                                           INC
          List the contract number of ________________________________________________     225 WEST WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204-3438


2.472.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 38                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON/MILLS CORP
                                                                                           ONTARIO MILLS LIMITED
          State the term remaining       07/31/24                                          PARTNERSHIP
                                                                                           MS MANAGEMENT ASSOCIATES
          List the contract number of ________________________________________________     INC
          any government contract                                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204-3438


2.473.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 45                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON/MILLS CORP
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 95 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2862 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.474.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 49                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON/MILLS CORP
                                                                                           ARIZONA MILLS LLC
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.475.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 83                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON/MILLS CORP
                                                                                           FRANKLIN MILLS ASSOCIATES
          State the term remaining       07/31/24                                          LIMITED PARTNERSHIP
                                                                                           MS MANAGEMENT ASSOCIATES
          List the contract number of ________________________________________________     INC
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IA 46204-3438


2.476.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 90                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON/MILLS CORP
                                                                                           CONCORD MILLS LIMITED
          State the term remaining       01/31/19                                          PARTNERSHIP
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.477.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 113                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON/MILLS CORP
                                                                                           OPRY MILLS MALL LIMITED
          State the term remaining       01/31/19                                          PARTNERSHIP
                                                                                           MS MANAGEMENT ASSOCIATES
          List the contract number of ________________________________________________     INC
          any government contract                                                          225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204-3438


2.478.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 139                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SIMON/MILLS CORP
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 96 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2863 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.479.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 412                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON/MILLS CORP
                                                                                            SIMON PROPERTY GROUP
          State the term remaining       03/31/25                                           GENERAL COUNSEL
                                                                                            225 W WASHINGTON ST
          List the contract number of ________________________________________________      INDIANAPOLIS IN 46204
          any government contract


2.480.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 763                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SIMON/MILLS CORP
                                                                                            MALL AT POTOMAC MILLS LLC
          State the term remaining       08/31/24                                           MS MANAGEMENT ASSOCIATES
                                                                                            INC
          List the contract number of ________________________________________________      225 WEST WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204-3438


2.481.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SLACK ANNUAL LICENSE                               debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     SLACK TECHNOLOGIES
                                                                                            155 5TH STREET
          State the term remaining       ________________________________________________   SAN FRANCISCO CA 94103
          List the contract number of ________________________________________________
          any government contract


2.482.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SMARTSHEET (BUSINESS PLAN LICENSED USERS)          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     SMARTSHEET, INC
                                                                                            DEPT 3421
          State the term remaining       ________________________________________________   P.O.BOX 123421
                                                                                            DALLAS TX 75312-3421
          List the contract number of ________________________________________________
          any government contract


2.483.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     PEOPLEMATTER                                       debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     SNAGAJOB.COM INC (APPLICANT
                                                                                            TRACKING)
          State the term remaining       ________________________________________________   32978 COLLECTION CENTER DRIVE
                                                                                            CHICAGO IL 60693-0329
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 97 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2864 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.484.    Title of contract              MAINTENANCE AGREEMENT                              State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SNAGAJOB PEEK MONTHLY MAINTENANCE                  debtor has an executory contract or
          lease is for                   AGREEMENT                                          unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     SNAGAJOB.COM INC (MONTHLY
                                                                                            MAINTENANCE)
          State the term remaining       ________________________________________________   32978 COLLECTION CENTER DRIVE
                                                                                            CHICAGO IL 60693-0329
          List the contract number of ________________________________________________
          any government contract


2.485.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 720                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SPECTRUM CAPITAL
                                                                                            YATES CONSTRUCTION
          State the term remaining       01/31/24                                           BLOOMFIELD HOLDINGS LLC
                                                                                            200 BASS PRO DR STE 125
          List the contract number of ________________________________________________      PEARL MS 39208
          any government contract


2.486.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 127                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SPINOSO REAL ESTATE GROUP
                                                                                            112 NORTHERN CONCOURSE
          State the term remaining       01/31/21                                           NORTH SYRACUSE NY 13212
          List the contract number of ________________________________________________
          any government contract


2.487.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 300                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SPINOSO REAL ESTATE GROUP
                                                                                            LSREF SUMMER REO TRUST 2009
          State the term remaining       01/31/20                                           HUDSON AMERICAS LLC
                                                                                            LEGAL DEPARTMENT
          List the contract number of ________________________________________________      2711 N HASKELL AVE STE 1700
          any government contract                                                           DALLAS TX 75204


2.488.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 494                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             SPINOSO REAL ESTATE GROUP
                                                                                            MESILLA VALLEY SPE 991068834
          State the term remaining       03/15/19                                           LLC
                                                                                            KEYBANK NATIONAL
          List the contract number of ________________________________________________      8115 PRESTON RD STE 800
          any government contract                                                           DALLAS TX 75225




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 98 of 131
                      Case 19-10210-LSS             Doc 456         Filed 04/03/19   Page 2865 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.489.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 328                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            SRS REAL ESTATE
                                                                                           CAPREF BURBANK LLC
          State the term remaining       01/31/20                                          BURBANK ASSET MANAGEMENT
                                                                                           8333 DOUGLAS AVE STE 975
          List the contract number of ________________________________________________     DALLAS TX 75225
          any government contract


2.490.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 4                          debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       01/31/23                                          MANAGEMENT LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.491.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 27                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       01/31/22                                          MANAGEMENT LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.492.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 110                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       01/31/21                                          MANAGEMENT LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.493.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 158                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           SRP PROPERTY MANAGEMENT
          State the term remaining       05/31/24                                          LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 99 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2866 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.494.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 165                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       01/31/21                                          MANAGEMENT LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.495.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 190                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWEST CHICAGO RIDGE LLC
          State the term remaining       01/31/21                                          CBL AND ASSOCIATES
                                                                                           MANAGEMENT INC
          List the contract number of ________________________________________________     STE 500 - CBL CTR
          any government contract                                                          2030 HAMILTON PL BLVD
                                                                                           CHATTANOOGA TN 37421


2.496.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 238                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       06/30/21                                          MANAGEMENT LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.497.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 278                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           SOUTHLAKE INDIANA LLC
          State the term remaining       01/31/21                                          SRP PROPERTY MANAGEMENT
                                                                                           LLC
          List the contract number of ________________________________________________     LEASE COORDINATION
          any government contract                                                          ONE EAST WACKER DR STE 3700
                                                                                           CHICAGO IL 60601


2.498.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 295                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           SRP PROPERTY MANAGEMENT
          State the term remaining       06/24/24                                          LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 100 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2867 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.499.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 308                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       01/31/20                                          MANAGEMENT LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.500.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 333                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWEST FRANKLIN PARK MALL
          State the term remaining       06/30/25                                          LLC
                                                                                           STARTWOOD RETAIL PROPERTY
          List the contract number of ________________________________________________     MANAGEMENT LLC
          any government contract                                                          LEASE COORDINATION
                                                                                           ONE EAST WACKER DR STE 3700
                                                                                           CHICAGO IL 60601


2.501.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 357                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       01/31/23                                          MANAGEMENT LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.502.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 384                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           SRP PROPERTY MANAGEMENT
          State the term remaining       06/30/21                                          LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     1 E WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.503.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 424                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       12/31/20                                          MANAGEMENT LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 101 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2868 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.504.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 459                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       01/31/21                                          MANAGEMENT LLC
                                                                                           LEASE ADMINISTRATION
          List the contract number of ________________________________________________     ONE EAST WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.505.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 585                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           STARWOOD RETAIL PROPERTY
          State the term remaining       01/31/23                                          MANAGEMENT LLC
                                                                                           DIRECTOR OF LEASE
          List the contract number of ________________________________________________     ADMINISTRATION
          any government contract                                                          1 E WACKER DR STE 3700
                                                                                           CHICAGO IL 60601


2.506.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 702                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STARWOOD
                                                                                           SRP PROPERTY MANAGEMENT
          State the term remaining       06/30/23                                          LLC
                                                                                           LEASE COORDINATION
          List the contract number of ________________________________________________     1 E WACKER DR STE 3700
          any government contract                                                          CHICAGO IL 60601


2.507.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 788                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STEINER AND ASSOCIATES
                                                                                           LIBERTY CENTER LLC
          State the term remaining       01/31/26                                          APOLLO COMMERCIAL REAL
                                                                                           ESTATE FINANCE INC
          List the contract number of ________________________________________________     RACHEL HUNTER
          any government contract                                                          9 WEST 57TH ST
                                                                                           NEW YORK NY 10019


2.508.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 302                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            STERLING ORGANIZATION
                                                                                           SVAP II STONES RIVER LLC
          State the term remaining       01/31/19                                          STERLING RETAIL SVC INC
                                                                                           340 ROYAL POINCIANA WAY STE
          List the contract number of ________________________________________________     316
          any government contract                                                          PALM BEACH FL 33480




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 102 of 131
                      Case 19-10210-LSS              Doc 456     Filed 04/03/19     Page 2869 of 2900

Debtor   Charlotte Russe, Inc.                                                                    Case number (if known) 19-10214

2.509.    Title of contract              REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                             for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 433                          debtor has an executory contract or
          lease is for                                                                       unexpired lease
          Nature of debtor's interest    LESSEE                                              STOCKBRIDGE MADISON
                                                                                             STOCKBRIDGE MADISON LLC
          State the term remaining       05/31/20                                            451 EAGLE RIDGE DR
                                                                                             LAKE WALES FL 33859
          List the contract number of ________________________________________________
          any government contract


2.510.    Title of contract              SERVICES AGREEMENT                                  State the name and mailing address
                                                                                             for all other parties with whom the
          State what the contract or     SERVICES AGREEMENT CASH CARD SERVICES               debtor has an executory contract or
          lease is for                                                                       unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                      STORED VALUE SOLUTIONS, INC.
                                                                                             ONE OXMOOR PLACE
          State the term remaining       ________________________________________________    101 BULLITT LANE SUITE 305
                                                                                             LOUISVILLE KY 40222-5465
          List the contract number of ________________________________________________
          any government contract


2.511.    Title of contract              REAL PROPERTY LEASE                                 State the name and mailing address
                                                                                             for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 843                          debtor has an executory contract or
          lease is for                                                                       unexpired lease
          Nature of debtor's interest    LESSEE                                              SUBLEASE FROM SEPHORA
                                                                                             SEPHORA USA INC FIRST MARKET
          State the term remaining       05/31/19                                            TOWER
                                                                                             SENIOR VICE PRESIDENT OF REAL
          List the contract number of ________________________________________________       ESTATE
          any government contract                                                            525 MARKET ST 32ND FL
                                                                                             SAN FRANCISCO CA 94105


2.512.    Title of contract              SERVICES AGREEMENT                                  State the name and mailing address
                                                                                             for all other parties with whom the
          State what the contract or     CLOUD & INFRA - SWITCH (OFF-SITE BACKUP FACILITY)   debtor has an executory contract or
          lease is for                                                                       unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                      SWITCH COMMUNICATIONS
                                                                                             GROUP LLC
          State the term remaining       ________________________________________________    7135 S DECATUR BLVD
                                                                                             LAS VEGAS NV 89118
          List the contract number of ________________________________________________
          any government contract


2.513.    Title of contract              CYBER LIABILITY INSURANCE POLICY NO.                State the name and mailing address
                                         W24A9F180101                                        for all other parties with whom the
                                                                                             debtor has an executory contract or
          State what the contract or     INSURANCE                                           unexpired lease
          lease is for
                                                                                             SYNDICATE 2623/623 AT LLOYDS
          Nature of debtor's interest    INSURED                                             (BEAZLEY)
                                                                                             1270 AVE OF THE AMERICAS
          State the term remaining       9/2019                                              STE 1200
                                                                                             NEW YORK NY 10020
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                       Page 103 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2870 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.514.    Title of contract              SOFTWARE & LICENSE AGREEMENT                       State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     MASTER SOFTWARE LICENSE AGREEMENT                  debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     SYSREPUBLIC INC
                                                                                            PO BOX 6393138
          State the term remaining       ________________________________________________   CINCINNATI OH 45263
          List the contract number of ________________________________________________
          any government contract


2.515.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 281                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TANGER
                                                                                            TANGER SAN MARC LLC
          State the term remaining       01/31/24                                           LEGAL DEPT
                                                                                            3200 NORTHLINE AVE STE 360
          List the contract number of ________________________________________________      GREENSBORO NC 27408
          any government contract


2.516.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 286                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TANGER
                                                                                            TANGER PROPERTIES LIMITED
          State the term remaining       01/31/25                                           PARTNERSHIP
                                                                                            LEGAL DEPT
          List the contract number of ________________________________________________      3200 NORTHLINE AVE STE 360
          any government contract                                                           GREENSBORO NC 27408


2.517.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 461                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TANGER
                                                                                            TANGER PROPERTIES LIMITED
          State the term remaining       01/31/20                                           PARTNERSHIP
                                                                                            LEGAL DEPT
          List the contract number of ________________________________________________      3200 NORTHLINE AVE STE 360
          any government contract                                                           GREENSBORO NC 27408


2.518.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 464                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TANGER
                                                                                            TANGER PROPERTIES LIMITED
          State the term remaining       07/31/20                                           PARTNERSHIP AND
                                                                                            COROCRIVIERA LLC
          List the contract number of ________________________________________________      LEGAL DEPARTMENT
          any government contract                                                           3200 NORTHLINE AVE
                                                                                            GREENSBORO NC 27408




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 104 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2871 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.519.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 509                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           TANGER PROPERTIES LIMITED
          State the term remaining       07/31/20                                          PARTNERSHIP
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     3200 NORTHLINE AVE STE 360
          any government contract                                                          GREENSBORO NC 27408


2.520.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 582                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           ATLANTIC CITY ASSOCIATES
          State the term remaining       04/30/22                                          NUMBER THREE LLC
                                                                                           TANGER MANAGEMENT LLC
          List the contract number of ________________________________________________     LEGAL DEPARTMENT
          any government contract                                                          3200 NORTHLINE AVE STE 360
                                                                                           GREENSBORO NC 27408


2.521.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 590                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           DEER PARK ENTERPRISE LLC
          State the term remaining       05/31/22                                          TANGER OUTLET CENTERS
                                                                                           LEGAL DEPARTMENT
          List the contract number of ________________________________________________     3200 NORTHLINE AVE STE 360
          any government contract                                                          GREENSBORO NC 27408


2.522.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 591                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           OUTLETS AT WESTGATE LLC
          State the term remaining       03/31/23                                          TANGER OUTLET CENTERS
                                                                                           REAL ESTATE LEGAL
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          3200 NORTHLINE AVE STE 360
                                                                                           GREENSBORO NC 27408


2.523.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 598                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           TANGER PROPERTIES LIMITED
          State the term remaining       03/31/23                                          PARTNERSHIP
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     3200 NORTHLINE AVE STE 360
          any government contract                                                          GREENSBORO NC 27408




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 105 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2872 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.524.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 739                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           TANGER NATIONAL HABOUR LLC
          State the term remaining       03/31/24                                          LEGAL DEPT
                                                                                           3200 NORTHLINE AVE STE 360
          List the contract number of ________________________________________________     GREENSBORO NC 27408
          any government contract


2.525.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 745                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           FASHION OUTLETS AT FOXWOODS
          State the term remaining       05/31/25                                          LLC
                                                                                           TANGER PROPERTIES LIMITED
          List the contract number of ________________________________________________     PARTNERSHIP
          any government contract                                                          LEGAL DEPARTMENT
                                                                                           3200 NORTHLINE AVE STE 360
                                                                                           GREENSBORO NC 27408


2.526.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 746                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           OCEAN CITY FACTORY OUTLETS I
          State the term remaining       06/30/24                                          LC
                                                                                           TANGER PROPERTIES LIMITED
          List the contract number of ________________________________________________     PARTNERSHIP
          any government contract                                                          LEGAL DEPARTMENT
                                                                                           3200 NORTHLINE AVE STE 360
                                                                                           GREENSBORO NC 27408


2.527.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 748                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           OUTLET MALL OF SAVANNAH LLC
          State the term remaining       04/30/25                                          TANGER OUTLET CENTERS
                                                                                           REAL ESTATE LEGAL
          List the contract number of ________________________________________________     DEPARTMENT
          any government contract                                                          3200 NORTHLINE AVE STE 360
                                                                                           GREENSBORO NC 27408


2.528.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 777                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TANGER
                                                                                           TANGER PROPERTIES LIMITED
          State the term remaining       03/31/25                                          PARTNERSHIP
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     3200 NORTHLINE AVE STE 360
          any government contract                                                          GREENSBORO NC 27408




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 106 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2873 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.529.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 789                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TANGER
                                                                                            MIDSOUTH OUTLET SHOPS LLC
          State the term remaining       03/31/26                                           TANGER PROPERTIES LIMITED
                                                                                            PARTNERSHIP
          List the contract number of ________________________________________________      LEGAL DEPARTMENT
          any government contract                                                           3200 NORTHLINE AVE STE 360
                                                                                            GREENSBORO NC 27408


2.530.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 840                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TANGER
                                                                                            TANGER FORT WORTH LLC
          State the term remaining       01/31/21                                           TANGER MANAGEMENT LLC
                                                                                            LEGAL DEPARTMENT
          List the contract number of ________________________________________________      3200 NORTHLINE AVE STE 360
          any government contract                                                           GREENSBORO NC 27408


2.531.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     PROFESSIONAL SERVICES AGREEMENT                    debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     TANGO ANALYTICS, LLC
                                                                                            6225 N. STATE HWY 161
          State the term remaining       ________________________________________________   SUITE 300
                                                                                            IRVING TX 75038
          List the contract number of ________________________________________________
          any government contract


2.532.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 109                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TAUBMAN
                                                                                            SUNVALLEY
          State the term remaining       01/31/21                                           200 EAST LONG LAKE RD STE 300
                                                                                            BLOOMFIELD HILLS MI 48304-2324
          List the contract number of ________________________________________________
          any government contract


2.533.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 137                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TAUBMAN
                                                                                            DOLPHIN MALL ASSOCIATES LLC
          State the term remaining       01/31/20                                           LEASE ADMINISTRATION
                                                                                            200 EAST LONG LAKE RD STE 300
          List the contract number of ________________________________________________      BLOOMFIELD HILLS MI 48304-2324
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 107 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2874 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.534.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 342                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TAUBMAN
                                                                                            200 EAST LONG LAKE RD STE 300
          State the term remaining       01/31/21                                           BLOOMFIELD HILLS MI 48304-2324
          List the contract number of ________________________________________________
          any government contract


2.535.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 381                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TAUBMAN
                                                                                            TWELVE OAKS MALL LLC
          State the term remaining       01/31/21                                           LEASE ADMINISTRATION
                                                                                            200 EAST LONG LAKE RD STE 300
          List the contract number of ________________________________________________      BLOOMFIELD HILLS MI 48304-2324
          any government contract


2.536.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 786                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TAUBMAN
                                                                                            TB MALL AT UTC LLC
          State the term remaining       02/28/25                                           LEASE ADMINISTRATION
                                                                                            200 EAST LONG LAKE RD STE 300
          List the contract number of ________________________________________________      BLOOMFIELD HILLS MI 48304-2324
          any government contract


2.537.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 845                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TAUBMAN
                                                                                            200 EAST LONG LAKE RD STE 300
          State the term remaining       01/31/22                                           BLOOMFIELD HILLS MI 48304-2324
          List the contract number of ________________________________________________
          any government contract


2.538.    Title of contract              SOFTWARE & SUPPORT AGREEMENT                       State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     TAX ACCOUNTING SOFTWARE LICENSE AND SUPPORT        debtor has an executory contract or
          lease is for                   AGREEMENT                                          unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     TAX COMPLIANCE INC
                                                                                            10089 WILLOW CREEK ROAD
          State the term remaining       ________________________________________________   SUITE 300
                                                                                            SAN DIEGO CA 92131
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 108 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2875 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.539.    Title of contract              LEASE & SERVICE AGREEMENT                          State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     VEHICLE LEASE AND SERVICE AGREEMENT                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     TCI LEASING
                                                                                            4950 TRIGGS STREET
          State the term remaining       ________________________________________________   COMMERCE CA 90022
          List the contract number of ________________________________________________
          any government contract


2.540.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 400                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             THALHIMER
                                                                                            1420 N PARHAM ROAD LC
          State the term remaining       01/31/20                                           MARK SLUSHER
                                                                                            11100 WEST BROAD ST
          List the contract number of ________________________________________________      GLEN ALLEN VA 23060
          any government contract


2.541.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 557                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             THE CROSSINGS PREMIUM
                                                                                            OUTLETS, LLC
          State the term remaining       01/31/20                                           SIMON PROPERTY GROUP
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      225 W WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204


2.542.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 578                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             THE IRVINE CO
                                                                                            THE IRVINE CO RETAIL
          State the term remaining       12/31/18                                           PROPERTIES
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      100 INNOVATION DR
          any government contract                                                           IRVINE CA 92617


2.543.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 7004                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             THE IRVINE CO
                                                                                            THE IRVINE CO LLC
          State the term remaining       ________________________________________________   GENERAL COUNSEL RETAIL
                                                                                            PROPERTIES
          List the contract number of ________________________________________________      100 INNOVATION
          any government contract                                                           IRVINE CA 92617




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 109 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2876 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.544.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 218                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           LAS VEGAS PREMIUM OUTLETS
          State the term remaining       01/31/19                                          SOUTH LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.545.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 239                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           GILROY PREMIUM OUTLETS LLC
          State the term remaining       01/31/23                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.546.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 292                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           LAS VEGAS PREMIUM OUTLETS
          State the term remaining       12/31/23                                          NORTH LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.547.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 423                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.548.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 458                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 110 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2877 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.549.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 469                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           PHILADELPHIA OUTLETS LLC
          State the term remaining       02/28/19                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.550.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 477                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           HOUSTON PREMIUM OUTLETS LLC
          State the term remaining       03/31/19                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.551.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 481                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           WILLIAMSBURG PREMIUM
          State the term remaining       01/31/19                                          OUTLETS LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.552.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 521                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           ELLENTON PREMIUM OUTLETS
          State the term remaining       01/31/19                                          LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.553.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 527                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       07/31/19                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 111 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2878 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.554.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 533                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           CAMARILLO PREMIUM OUTLETS
          State the term remaining       04/30/19                                          LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.555.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 543                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           GROVE CITY PREMIUM OUTLETS
          State the term remaining       01/31/19                                          LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.556.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 556                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.557.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 558                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.558.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 559                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           VACAVILLE PREMIUM OUTLETS
          State the term remaining       01/31/20                                          LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 112 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2879 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.559.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 560                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           ORLANDO PREMIUM OUTLET
          State the term remaining       01/31/20                                          VINELAND LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.560.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 561                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.561.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 562                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.562.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 563                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.563.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 564                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           ALLEN PREMIUM OUTLETS LLC
          State the term remaining       01/31/20                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 113 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2880 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.564.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 565                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           CINCINNATI PREMIUM OUTLETS
          State the term remaining       01/31/20                                          LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.565.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 567                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           SIMON PROPERTY GROUP
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           225 W WASHINGTON ST
          List the contract number of ________________________________________________     INDIANAPOLIS IN 46204
          any government contract


2.566.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 589                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           GRAND PRAIRIE PREMIUM
          State the term remaining       08/31/22                                          OUTLETS LLC
                                                                                           SIMON PROPERTY GROUP
          List the contract number of ________________________________________________     GENERAL COUNSEL
          any government contract                                                          225 W WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.567.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 712                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            THE PREMIUM OUTLETS
                                                                                           ST LOUIS PREMIUM OUTLETS LLC
          State the term remaining       08/31/23                                          SIMON PROPERTY GROUP
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     225 W WASHINGTON ST
          any government contract                                                          INDIANAPOLIS IN 46204


2.568.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 804                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TORG
                                                                                           OKC OUTLETS L LLC
          State the term remaining       01/31/26                                          SINGERMAN REAL ESTAT
                                                                                           CHARLIE KELLOGG
          List the contract number of ________________________________________________     980 N MICHIGAN AVE STE I660
          any government contract                                                          CHICAGO IL 60611




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 114 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19      Page 2881 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.569.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CLOUD & INFRA - TRAPS                              debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     TRACE3, LLC (CORPORATE
                                                                                            WORKSTATIONS ADVANCED
          State the term remaining       ________________________________________________   THREAT)
                                                                                            12636 HIGH BLUFF DR.
          List the contract number of ________________________________________________      SUITE 300
          any government contract                                                           SAN DIEGO CA 92130


2.570.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CLOUD & INFRA - FIREWALL FOR SAN DIEGO/ SAN        debtor has an executory contract or
          lease is for                   FRANCISCO/ ONTARIO                                 unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     TRACE3, LLC (FIREWALL)
                                                                                            12636 HIGH BLUFF DR.
          State the term remaining       ________________________________________________   SUITE 300
                                                                                            SAN DIEGO CA 92130
          List the contract number of ________________________________________________
          any government contract


2.571.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CLOUD & INFRA - OFFICE 365 AD INTEGRATION          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     TRACE3, LLC (OFFICE 365 AD
                                                                                            INTEGRATION)
          State the term remaining       ________________________________________________   12636 HIGH BLUFF DR.
                                                                                            SUITE 300
          List the contract number of ________________________________________________      SAN DIEGO CA 92130
          any government contract


2.572.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CLOUD & INFRA - SMART HAND SERVICES                debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     TRACE3, LLC (SMART HAND
                                                                                            SERVICES)
          State the term remaining       ________________________________________________   12636 HIGH BLUFF DR.
                                                                                            SUITE 300
          List the contract number of ________________________________________________      SAN DIEGO CA 92130
          any government contract


2.573.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 452                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TRADEMARK MANAGEMENT, LTD
                                                                                            GALLERIA MALL INVESTORS LP
          State the term remaining       01/31/19                                           SIMON PROPERTY GROUP
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      225 W WASHINGTON ST
          any government contract                                                           INDIANAPOLIS IN 46204




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 115 of 131
                      Case 19-10210-LSS              Doc 456     Filed 04/03/19     Page 2882 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.574.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 797                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            TRADEMARK MANAGEMENT, LTD
                                                                                           UPTOWN VILLAGE AT CEDAR HILL
          State the term remaining       01/31/26                                          LP
                                                                                           TRADEMARK PROPERTY CO
          List the contract number of ________________________________________________     LEGAL DEPT
          any government contract                                                          1701 RIVER RUN STE 500
                                                                                           FORT WORTH TX 76107


2.575.    Title of contract              GENERAL LIABILITY ‐ EMPLOYEE BENEFIT LIABILITY    State the name and mailing address
                                         INSURANCE POLICY NO. TC2J‐GLSA‐6E00763A‐19        for all other parties with whom the
                                                                                           debtor has an executory contract or
          State what the contract or     INSURANCE                                         unexpired lease
          lease is for
                                                                                           TRAVELERS PROPERTY
          Nature of debtor's interest    INSURED                                           CASUALTY CO. OF AMERICA
                                                                                           485 LEXINGTON AVE
          State the term remaining       1/31/2020                                         6TH FL
                                                                                           NEW YORK NY 10017
          List the contract number of ________________________________________________
          any government contract


2.576.    Title of contract              AUTOMOBILE INSURANCE POLICY NO.                   State the name and mailing address
                                         TJ‐CAP‐6E007641‐19                                for all other parties with whom the
                                                                                           debtor has an executory contract or
          State what the contract or     INSURANCE                                         unexpired lease
          lease is for
                                                                                           TRAVELERS PROPERTY
          Nature of debtor's interest    INSURED                                           CASUALTY CO. OF AMERICA
                                                                                           485 LEXINGTON AVE
          State the term remaining       1/31/2020                                         6TH FL
                                                                                           NEW YORK NY 10017
          List the contract number of ________________________________________________
          any government contract


2.577.    Title of contract              WORKERS’ COMPENSATION INSURANCE POLICY NO.        State the name and mailing address
                                         UB‐1L338947‐19‐51‐R (AZ,FL,MA,OR,WI)              for all other parties with whom the
                                                                                           debtor has an executory contract or
          State what the contract or     INSURANCE                                         unexpired lease
          lease is for
                                                                                           TRAVELERS PROPERTY
          Nature of debtor's interest    INSURED                                           CASUALTY CO. OF AMERICA
                                                                                           485 LEXINGTON AVE
          State the term remaining       1/31/2020                                         6TH FL
                                                                                           NEW YORK NY 10017
          List the contract number of ________________________________________________
          any government contract


2.578.    Title of contract              PROPERTY INSURANCE POLICY NO.                     State the name and mailing address
                                         KTJ‐CMB‐3065P37‐0‐19                              for all other parties with whom the
                                                                                           debtor has an executory contract or
          State what the contract or     INSURANCE                                         unexpired lease
          lease is for
                                                                                           TRAVELERS PROPERTY
          Nature of debtor's interest    INSURED                                           CASUALTY INSURANCE CO.
                                                                                           485 LEXINGTON AVE
          State the term remaining       1/31/2020                                         6TH FL
                                                                                           NEW YORK NY 10017
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 116 of 131
                      Case 19-10210-LSS              Doc 456     Filed 04/03/19     Page 2883 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.579.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 96                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TRI-COUNTY MALL
                                                                                            TRI COUNTY MALL
          State the term remaining       01/31/21                                           RENEE BELL
                                                                                            11700 PRINCETON PIKE
          List the contract number of ________________________________________________      CINCINNATI OH 45246
          any government contract


2.580.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 274                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             TRIPLE FIVE
                                                                                            MOAC MALL HOLDINGS LLC
          State the term remaining       01/31/24                                           60 EAST BROADWAY
                                                                                            BLOOMINGTON MN 55425
          List the contract number of ________________________________________________
          any government contract


2.581.    Title of contract              CARGO INSURANCE POLICY NO. M‐20831                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     INSURANCE                                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    INSURED                                            UNDERWRITERS AT LLOYD'S
                                                                                            LONDON
          State the term remaining       1/31/2020                                          ONE LIME ST
                                                                                            LONDON EC3M 7HA
          List the contract number of ________________________________________________      UNITED KINGDOM
          any government contract


2.582.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 7006                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             UNIVERSITY VILLAGE LIMITED
                                                                                            PARTNERSHIP
          State the term remaining       ________________________________________________   2623 NORTHEAST UNIVERSITY
                                                                                            VLG ST
          List the contract number of ________________________________________________      STE 7
          any government contract                                                           SEATTLE WA 98105


2.583.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 243                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             URBAN RETAIL PROPERTIES
                                                                                            ARNOT MALL
          State the term remaining       04/30/20                                           GENERAL MANAGER
                                                                                            3300 CHAMBERS RD SOUTH STE
          List the contract number of ________________________________________________      5127
          any government contract                                                           HORSEHEADS NY 14845




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 117 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2884 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.584.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 1801                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             USLV NEWCA 1, LLC
                                                                                            MARKET OFFICER
          State the term remaining       ________________________________________________   2817 EAST CEDAR ST STE 200
                                                                                            ONTARIO CA 91761
          List the contract number of ________________________________________________
          any government contract


2.585.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     CREDIT CARD PROCESSING - BANK CARD MERCHANT        debtor has an executory contract or
          lease is for                   AGREEMENT                                          unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     VANTIV, LLC
                                                                                            8500 GOVERNORS HILL DRIVE
          State the term remaining       ________________________________________________   SYMMES TOWNSHIP OH 45249-
                                                                                            1384
          List the contract number of ________________________________________________
          any government contract


2.586.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 446                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             VESTAR
                                                                                            YESTAR CPT TEMPE
          State the term remaining       01/31/20                                           MARKETPLACE LLC
                                                                                            VESTAR
          List the contract number of ________________________________________________      PRESIDENT- MANAGEMENT
          any government contract                                                           SERVICES
                                                                                            2425 EAST CAMELBACK RD STE
                                                                                            750
                                                                                            PHOENIX AZ 85016


2.587.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 538                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             VIRGINIA CENTER COMMON
                                                                                            REALTY HOLDING
          State the term remaining       04/30/19                                           (MIKE KOHAN)
                                                                                            VIRGINIA CENTER COMMON
          List the contract number of ________________________________________________      REALTY HOLDING LLC
          any government contract                                                           10101 BROOK RD
                                                                                            GLEN ALLEN VA 23059


2.588.    Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     GROUP VISION CARE PLAN                             debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     VISION SERVICE PLAN
                                                                                            PO BOX 45210
          State the term remaining       ________________________________________________   SAN FRANCISCO CA 94145
          List the contract number of ________________________________________________
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 118 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2885 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.589.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 432                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            VORNADO
                                                                                           OAKDALE MALL LLC
          State the term remaining       01/31/19                                          EXECUTIVE VICE PRESIDENT
                                                                                           RETAIL REAL ESTATE
          List the contract number of ________________________________________________     210 RTE 4 EAST
          any government contract                                                          PARAMUS NJ 07652


2.590.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 703                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WAS GROUP
                                                                                           VIEJAS SPRINGS VILLAGE OUTLET
          State the term remaining       04/30/23                                          CENTER
                                                                                           5005 WILLOWS RD STE 229
          List the contract number of ________________________________________________     ALPINE CA 91901
          any government contract


2.591.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 14                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           WESTMINSTER MALL LLC
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.592.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 42                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           BRE/PEARLRIDGE LLC
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.593.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 68                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           MELBOURNE SQUARE LLC
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 119 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2886 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.594.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 86                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           ORANGE PARK MALL LLC
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.595.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 148                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           SOUTHERN PARK MALL LLC
          State the term remaining       01/31/22                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.596.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 156                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           MAPLEWOOD MALL LLC
          State the term remaining       01/31/22                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.597.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 168                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           POLARIS FASHION PLACE LLC
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.598.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 178                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           WESTSHORE PLAZA LLC
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 120 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2887 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.599.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 186                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           BOYNTON BEACH MALL LLC
          State the term remaining       03/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.600.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 205                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           DAYTON MALL LL LLC
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.601.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 259                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           JEFFERSON VALLEY MALL LLC
          State the term remaining       01/31/22                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.602.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 267                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           TOWNE WEST SQUARE LLC
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.603.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 311                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           OAK COURT MALL LLC
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 121 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2888 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.604.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 313                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           WEST RIDGE MALL LLC
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.605.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 317                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           MUNCI MALL LLC
          State the term remaining       01/31/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.606.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 348                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           AURORA MALL LLC
          State the term remaining       01/31/23                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.607.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 349                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           GREAT LAKES MALL LLC
          State the term remaining       06/30/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.608.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 395                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           BRUNSWICK SQUARE LLC
          State the term remaining       01/31/19                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 122 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2889 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.609.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 456                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           PADDOCK MALL LLC
          State the term remaining       01/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.610.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 478                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           PORT CHARLOTTE MALL LLC
          State the term remaining       05/31/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.611.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 482                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           ROLLING OAKS MALL LLC
          State the term remaining       03/31/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.612.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 484                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           SM RUSHMORE MALL LLC
          State the term remaining       04/30/20                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.613.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 485                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           MFC BEAVERCREEK LLC
          State the term remaining       07/31/21                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 123 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2890 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.614.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 486                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WASHINGTON PRIME
                                                                                            GRAND CENTRAL PARKERSBURG
          State the term remaining       05/31/20                                           LLC
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      180 E BROAD ST FL 20
          any government contract                                                           COLUMBUS OH 43215


2.615.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 488                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WASHINGTON PRIME
                                                                                            SOUTHERN HILLS LLC
          State the term remaining       05/31/21                                           GENERAL COUNSEL
                                                                                            180 E BROAD ST FL 20
          List the contract number of ________________________________________________      COLUMBUS OH 43215
          any government contract


2.616.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 510                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WASHINGTON PRIME
                                                                                            NORTHWOODS SHOPPING
          State the term remaining       01/31/19                                           CENTER LLC
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      180 E BROAD ST FL 20
          any government contract                                                           COLUMBUS OH 43215


2.617.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 539                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WASHINGTON PRIME
                                                                                            LINCOLNWOOD TOWN CENTER
          State the term remaining       05/31/19                                           LLC
                                                                                            GENERAL COUNSEL
          List the contract number of ________________________________________________      180 E BROAD ST FL 20
          any government contract                                                           COLUMBUS OH 43215


2.618.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 7014                        debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WASHINGTON PRIME
                                                                                            SDQ FEE LLC
          State the term remaining       ________________________________________________   GENERAL COUNSEL
                                                                                            180 E BROAD STREETFLOOR 20
          List the contract number of ________________________________________________      COLUMBUS OH 43215
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 124 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2891 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.619.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 714                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           CHARLOTTESVILLE FASHION
          State the term remaining       05/31/23                                          SQUARE LLC
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     180 E BROAD ST FL 20
          any government contract                                                          COLUMBUS OH 43215


2.620.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 717                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           MESA MALL LLC
          State the term remaining       08/31/23                                          GENERAL COUNSEL
                                                                                           180 E BROAD ST FL 20
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.621.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 730                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           MORGANTOWN MALL ASSOCIATES
          State the term remaining       01/31/24                                          LIMITED
                                                                                           PARTNERSHIP, GENERAL
          List the contract number of ________________________________________________     COUNSEL
          any government contract                                                          180 EAST BROAD ST 21ST FL
                                                                                           COLUMBUS OH 43215


2.622.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 737                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           MALL AT JOHNSON CITY LLC
          State the term remaining       01/31/24                                          GENERAL COUNSEL
                                                                                           180 EAST BROAD ST 21TH FL
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.623.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 770                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           ATC GLIMCHER LLC
          State the term remaining       01/31/25                                          GENERAL COUNSEL
                                                                                           180 EAST BROAD ST 21ST FL
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 125 of 131
                      Case 19-10210-LSS             Doc 456         Filed 04/03/19   Page 2892 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.624.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 771                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           GLIMCHER SUPERMALL VENTURE
          State the term remaining       01/31/25                                          LLC
                                                                                           GENERAL COUNSEL
          List the contract number of ________________________________________________     180 EAST BROAD ST 21ST FL
          any government contract                                                          COLUMBUS OH 43215


2.625.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 778                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WASHINGTON PRIME
                                                                                           WTM GLIMCHER LLC
          State the term remaining       01/31/25                                          GENERAL COUNSEL
                                                                                           180 EAST BROAD ST 21ST FL
          List the contract number of ________________________________________________     COLUMBUS OH 43215
          any government contract


2.626.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 249                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WATSON CENTERS
                                                                                           VALLEY WEST DM
          State the term remaining       01/31/23                                          3100 WEST LAKE ST STE 420
                                                                                           MINNEAPOLIS MN 55416
          List the contract number of ________________________________________________
          any government contract


2.627.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 756                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WELCO REALTY
                                                                                           BAY PLAZA LLC
          State the term remaining       01/31/25                                          PRESTIGE PROPERTIES AND
                                                                                           DEVELOPMENT CO INC
          List the contract number of ________________________________________________     546 FIFTH AVE 15TH FL
          any government contract                                                          NEW YORK NY 10036


2.628.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 2                          debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           MISSION VALLEY SHOPPINGTOWN
          State the term remaining       01/31/19                                          LLC
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     2049 CENTURY PK EAST 41ST FL
          any government contract                                                          LOS ANGELES CA 90067




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 126 of 131
                      Case 19-10210-LSS             Doc 456         Filed 04/03/19   Page 2893 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.629.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 6                          debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           PLAZA BONITA LP
          State the term remaining       01/31/22                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract


2.630.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 9                          debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           EWH ESCONDIDO ASSOCIATES LP
          State the term remaining       01/31/21                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract


2.631.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 28                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           WESTFIELD TOPANGA OWNER LP
          State the term remaining       01/31/20                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract


2.632.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 79                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           CITRUS PARK VENTURE LIMITED
          State the term remaining       06/30/20                                          PARTNERSHIP
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     2049 CENTURY PK EAST 41ST FL
          any government contract                                                          LOS ANGELES CA 90067


2.633.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 89                         debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           MERIDEN SQUARE PARTNERSHIP
          State the term remaining       03/31/21                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 127 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2894 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.634.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 124                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           ROSEVILLE SHOPPINGTOWN LLC
          State the term remaining       03/31/23                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract


2.635.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 152                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           SUNRISE MALL LLC
          State the term remaining       02/28/22                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract


2.636.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 197                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           ARMAPOLIS MALL OWNER LLC
          State the term remaining       01/31/21                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract


2.637.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 222                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           WEA PALM DESERT LLC
          State the term remaining       01/31/25                                          WESTFIELD LLC
                                                                                           LEGAL DEPARTMENT
          List the contract number of ________________________________________________     2049 CENTURY PK EAST 41ST FL
          any government contract                                                          LOS ANGELES CA 90067


2.638.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 241                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           BRANDON SHOPPING CENTER
          State the term remaining       01/31/23                                          PARTNERS LTD
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     2049 CENTURY PK EAST 41ST FL
          any government contract                                                          LOS ANGELES CA 90067




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 128 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2895 of 2900

Debtor   Charlotte Russe, Inc.                                                                  Case number (if known) 19-10214

2.639.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 277                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           OAKRIDGE MALL LLC
          State the term remaining       01/31/22                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract


2.640.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 291                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           VALENCIA TOWN CENTER
          State the term remaining       01/31/20                                          VENTURE LP
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     2049 CENTURY PK EAST 41ST FL
          any government contract                                                          LOS ANGELES CA 90067


2.641.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 324                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           WHEATON PLAZA REGIONAL
          State the term remaining       01/31/19                                          SHOPPING CENTER LLC
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     2049 CENTURY PK EAST 41ST FL
          any government contract                                                          LOS ANGELES CA 90067


2.642.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 522                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           WEA SOUTHCENTER LLC
          State the term remaining       01/31/22                                          LEGAL DEPT
                                                                                           2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________     LOS ANGELES CA 90067
          any government contract


2.643.    Title of contract              REAL PROPERTY LEASE                               State the name and mailing address
                                                                                           for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 548                        debtor has an executory contract or
          lease is for                                                                     unexpired lease
          Nature of debtor's interest    LESSEE                                            WESTFIELD CORP
                                                                                           TRUMBULL SHOPPING CENTER #2
          State the term remaining       01/31/22                                          LLC
                                                                                           LEGAL DEPT
          List the contract number of ________________________________________________     2049 CENTURY PK EAST 41ST FL
          any government contract                                                          LOS ANGELES CA 90067




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                     Page 129 of 131
                      Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2896 of 2900

Debtor   Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.644.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 577                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WESTFIELD CORP
                                                                                            OLD ORCHARD URBAN LIMITED
          State the term remaining       11/30/20                                           PARTNERSHIP
                                                                                            LEGAL DEPT
          List the contract number of ________________________________________________      2049 CENTURY PK EAST 41ST FL
          any government contract                                                           LOS ANGELES CA 90067


2.645.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 736                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WESTFIELD CORP
                                                                                            WESTLAND SOUTH SHORE MALL
          State the term remaining       06/30/23                                           LP
                                                                                            LEGAL DEPT
          List the contract number of ________________________________________________      2049 CENTURY PK EAST 41ST FL
          any government contract                                                           LOS ANGELES CA 90067


2.646.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 782                         debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WESTFIELD CORP
                                                                                            CULVER CITY MALL LLC
          State the term remaining       01/31/25                                           LEGAL DEPT
                                                                                            2049 CENTURY PK EAST 41ST FL
          List the contract number of ________________________________________________      LOS ANGELES CA 90067
          any government contract


2.647.    Title of contract              SUBSCRIPTION AGREEMENT                             State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     SUBSCRIPTION TO PLATFORM                           debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    CONTRACT PARTY                                     WGSN INC.
                                                                                            229 WEST 43RD STREET
          State the term remaining       ________________________________________________   7TH FLOOR
                                                                                            NEW YORK NY 10036
          List the contract number of ________________________________________________
          any government contract


2.648.    Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                            for all other parties with whom the
          State what the contract or     RETAIL LEASE - STORE # 99                          debtor has an executory contract or
          lease is for                                                                      unexpired lease
          Nature of debtor's interest    LESSEE                                             WILMORITE, INC
                                                                                            EASTVIEW MALL LLC
          State the term remaining       02/29/20                                           GENERAL COUNSEL
                                                                                            1265 SCOTTSVILLE RD
          List the contract number of ________________________________________________      ROCHESTER NY 14624
          any government contract




Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                      Page 130 of 131
                       Case 19-10210-LSS             Doc 456      Filed 04/03/19     Page 2897 of 2900

Debtor    Charlotte Russe, Inc.                                                                   Case number (if known) 19-10214

2.649.     Title of contract              REAL PROPERTY LEASE                                State the name and mailing address
                                                                                             for all other parties with whom the
           State what the contract or     RETAIL LEASE - STORE # 263                         debtor has an executory contract or
           lease is for                                                                      unexpired lease
           Nature of debtor's interest    LESSEE                                             WILMORITE, INC
                                                                                             GREECE RIDGE LLC
           State the term remaining       01/31/24                                           1265 SCOTTSVILLE RD
                                                                                             ROCHESTER NY 14624
           List the contract number of ________________________________________________
           any government contract


2.650.     Title of contract              SUBSCRIPTION AGREEMENT                             State the name and mailing address
                                                                                             for all other parties with whom the
           State what the contract or     ECOMMERCE - SAAS SUBSCRIPTION AGREEMENT            debtor has an executory contract or
           lease is for                                                                      unexpired lease
           Nature of debtor's interest    CONTRACT PARTY                                     WRIKE, INC.
                                                                                             70 NORTH 2ND STREET
           State the term remaining       ________________________________________________   SAN JOSE CA 95113
           List the contract number of ________________________________________________
           any government contract


2.651.     Title of contract              SERVICES AGREEMENT                                 State the name and mailing address
                                                                                             for all other parties with whom the
           State what the contract or     ODC OPERATIONS - DAIFUKU WYNRIGHT CORP             debtor has an executory contract or
           lease is for                                                                      unexpired lease
           Nature of debtor's interest    CONTRACT PARTY                                     WYNRIGHT CORPORATION
                                                                                             PO BOX 71383
           State the term remaining       ________________________________________________   CHICAGO IL 60694-1383
           List the contract number of ________________________________________________
           any government contract


1
    MID-AMERICA




Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                      Page 131 of 131
                       Case 19-10210-LSS                Doc 456         Filed 04/03/19           Page 2898 of 2900


Fill in this information to identify the case:

Debtor name: Charlotte Russe, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10214

                                                                                                                              ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.

1.     Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
       schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the
       debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list
       each creditor separately in Column 2.

       Column 1: Codebtor                                                           Column 2: Creditor

       Name                               Mailing address                           Name                               Check all schedules that
                                                                                                                       apply:


2.1.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  BANK OF AMERICA, N.A.              þD
       ADMINISTRATION, INC.               SAN DIEGO CA 92121
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.2.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  JEFFRIES FINANCE LLC, AS           þD
       ADMINISTRATION, INC.               SAN DIEGO CA 92121                        ADMINISTRATIVE AGENT AND
                                                                                    AS COLLATERAL AGENT                ¨ E/F
                                                                                                                       ¨G
2.3.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  EMPLOYMENT                         þD
       ADMINISTRATION, INC.               SAN DIEGO CA 92121                        DEVELOPMENT
                                                                                    DEPARTMENT                         ¨ E/F
                                                                                                                       ¨G
2.4.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  BANK OF AMERICA, N.A.              þD
       HOLDING, INC.                      SAN DIEGO CA 92121
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.5.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  JEFFRIES FINANCE LLC, AS           þD
       HOLDING, INC.                      SAN DIEGO CA 92121                        ADMINISTRATIVE AGENT AND
                                                                                    AS COLLATERAL AGENT                ¨ E/F
                                                                                                                       ¨G
2.6.   CHARLOTTE RUSSE                    5910 PACIFIC CENTER BLVD                  BANK OF AMERICA, N.A.              þD
       MERCHANDISING, INC.                SAN DIEGO CA 92121
                                                                                                                       ¨ E/F
                                                                                                                       ¨G

Official Form 206H                                          Schedule H: Codebtors                                                       Page 1 of 2
                     Case 19-10210-LSS        Doc 456       Filed 04/03/19      Page 2899 of 2900

Debtor   Charlotte Russe, Inc.                                                            Case number (if known) 19-10214

       Column 1: Codebtor                                            Column 2: Creditor

       Name                      Mailing address                     Name                       Check all schedules that
                                                                                                apply:

2.7.   CHARLOTTE RUSSE           5910 PACIFIC CENTER BLVD            JEFFRIES FINANCE LLC, AS   þD
       MERCHANDISING, INC.       SAN DIEGO CA 92121                  ADMINISTRATIVE AGENT AND
                                                                     AS COLLATERAL AGENT        ¨ E/F
                                                                                                ¨G




Official Form 206H                                 Schedule H: Codebtors                                        Page 2 of 2
                        Case 19-10210-LSS                   Doc 456             Filed 04/03/19                         Page 2900 of 2900


Fill in this information to identify the case:

Debtor name: Charlotte Russe, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 19-10214



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
      another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



      þ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      þ Schedule H: Codebtors (Official Form 206H)
      þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ¨ Amended Schedule ____
      ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
      ¨ Other document that requires a declaration _______________________________________________________________________


      I declare under penalty of perjury that the foregoing is true and correct.



       Executed on      4/3/2019
                        MM/DD/YYYY                                û        /s/ Brian M. Cashman
                                                                      ______________________________________________________________
                                                                      Signature of individual signing on behalf of debtor


                                                                      Brian M. Cashman
                                                                      Printed name


                                                                      Chief Restructuring Officer
                                                                      Position or relationship to debtor




Official Form 202                     Declaration Under Penalty of Perjury for Non-Individual Debtors                                      Page 1 of 1
